19-11811-dsj          Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57                      Main Document
                                                Pg 1 of 565



WEIL, GOTSHAL & MANGES LLP
767 Fifth Avenue
New York, New York 10153
Telephone: (212) 310-8000
Facsimile: (212) 310-8007
Gary T. Holtzer
Sunny Singh

Attorneys for Debtors
and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
                                                               :
In re                                                          :       Chapter 11
                                                               :
FUSION CONNECT, INC., et al.,                                  :       Case No. 19-11811 (SMB)
                                                               :
                           Debtors. 1                          :       (Jointly Administered)
                                                               :
---------------------------------------------------------------X

                       NOTICE OF FILING OF AMENDED
           DISCLOSURE STATEMENT FOR SECOND AMENDED JOINT
    CHAPTER 11 PLAN OF FUSION CONNECT, INC. AND ITS SUBSIDIARY DEBTORS

                    PLEASE TAKE NOTICE that Fusion Connect, Inc. and its debtor subsidiaries,

as debtors and debtors in possession in the above-captioned chapter 11 cases (collectively, the

“Debtors”), filed the Disclosure Statement for Joint Chapter 11 Plan of Fusion Connect, Inc.

and Its Subsidiary Debtors, dated as of July 1, 2019 (ECF No. 147) (the “Disclosure

Statement”).



1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, as applicable, are Fusion Connect, Inc. (2021); Fusion BCHI Acquisition LLC (7402); Fusion NBS
      Acquisition Corp. (4332); Fusion LLC (0994); Fusion MPHC Holding Corporation (3066); Fusion MPHC
      Group, Inc. (1529); Fusion Cloud Company LLC (5568); Fusion Cloud Services, LLC (3012); Fusion CB
      Holdings, Inc. (6526); Fusion Communications, LLC (8337); Fusion Telecom, LLC (0894); Fusion Texas
      Holdings, Inc. (2636); Fusion Telecom of Kansas, LLC (0075); Fusion Telecom of Oklahoma , LLC (3260);
      Fusion Telecom of Missouri, LLC (5329); Fusion Telecom of Texas Ltd., L.L.P. (8531); Bircan Holdings,
      LLC (2819); Fusion Management Services LLC (5597); and Fusion PM Holdings, Inc. (2478). The principal
      executive office of the Debtors is located at 210 Interstate North Parkway, Suite 300, Atlanta, Georgia 30339.


WEIL:\97208644\1\47019.0005
19-11811-dsj          Doc 456    Filed 10/07/19 Entered 10/07/19 15:38:57    Main Document
                                             Pg 2 of 565



                    PLEASE TAKE FURTHER NOTICE that the Debtors filed the Amended

Disclosure Statement for Amended Joint Chapter 11 Plan of Fusion Connect, Inc. and Its

Subsidiary Debtors, dated as of September 3, 2019 (ECF No. 369) (the “September 3rd

Amended Disclosure Statement”).

                    PLEASE TAKE FURTHER NOTICE that the Debtors filed the Amended

Disclosure Statement for Amended Joint Chapter 11 Plan of Fusion Connect, Inc. and Its

Subsidiary Debtors, dated as of September 23, 2019 (ECF No. 429) (the “September 23rd

Amended Disclosure Statement”).

                    PLEASE TAKE FURTHER NOTICE that on September 24, 2019 a hearing

was held before the Honorable Stuart M. Bernstein, United States Bankruptcy Judge, on the

Debtors’ request for approval of the September 23 Amended Disclosure Statement.

                    PLEASE TAKE FURTHER NOTICE that the Debtors hereby file the Amended

Disclosure Statement for Second Amended Joint Chapter 11 Plan of Fusion Connect, Inc. and Its

Subsidiary Debtors, annexed hereto as Exhibit A (the “Amended Disclosure Statement”).




                              [Remainder of Page Intentionally Left Blank]




                                                   2
WEIL:\97208644\1\47019.0005
19-11811-dsj          Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57    Main Document
                                            Pg 3 of 565



                    PLEASE TAKE FURTHER NOTICE that a blackline reflecting the changes

from the September 23rd Amended Disclosure Statement is annexed hereto as Exhibit B (the

“Incremental Blackline”), and a blackline reflecting changes from the September 3rd Amended

Disclosure Statement is annexed hereto as Exhibit C (the “Cumulative Blackline”).


Dated: October 7, 2019
       New York, New York
                                         /s/ Sunny Singh
                                         WEIL, GOTSHAL & MANGES LLP
                                         767 Fifth Avenue
                                         New York, New York 10153
                                         Telephone: (212) 310-8000
                                         Facsimile: (212) 310-8007
                                         Gary T. Holtzer
                                         Sunny Singh

                                         Attorneys for Debtors
                                         and Debtors in Possession




                                                3
WEIL:\97208644\1\47019.0005
19-11811-dsj          Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57   Main Document
                                            Pg 4 of 565



                                           Exhibit A

                                  Amended Disclosure Statement




WEIL:\97208644\1\47019.0005
19-11811-dsj          Doc 456        Filed 10/07/19 Entered 10/07/19 15:38:57                     Main Document
                                                 Pg 5 of 565


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------------- X
                                                                     :
In re                                                                :   Chapter 11
                                                                     :
FUSION CONNECT, INC., et al.,                                        :   Case No. 19-11811 (SMB)
                                                                     :
                              Debtors. 1                             :   (Jointly Administered)
                                                                     :
-------------------------------------------------------------------- X


       AMENDED DISCLOSURE STATEMENT FOR SECOND AMENDED JOINT
    CHAPTER 11 PLAN OF FUSION CONNECT, INC. AND ITS SUBSIDIARY DEBTORS

        WEIL, GOTSHAL & MANGES LLP
        Gary T. Holtzer
        Sunny Singh
        Gaby Smith
        767 Fifth Avenue
        New York, New York 10153
        Telephone: (212) 310-8000
        Facsimile: (212) 310-8007


        Counsel for Debtors
        and Debtors in Possession

       Dated:       October 7, 2019
                    New York, New York




1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, as applicable, are: Fusion Connect, Inc. (2021); Fusion BCHI Acquisition LLC (7402); Fusion NBS
      Acquisition Corp. (4332); Fusion LLC (0994); Fusion MPHC Holding Corporation (3066); Fusion MPHC
      Group, Inc. (1529); Fusion Cloud Company LLC (5568); Fusion Cloud Services, LLC (3012); Fusion CB
      Holdings, Inc. (6526); Fusion Communications, LLC (8337); Fusion Telecom, LLC (0894); Fusion Texas
      Holdings, Inc. (2636); Fusion Telecom of Kansas, LLC (0075); Fusion Telecom of Oklahoma, LLC (3260);
      Fusion Telecom of Missouri, LLC (5329); Fusion Telecom of Texas Ltd., L.L.P. (8531); Bircan Holdings, LLC
      (2819); Fusion Management Services LLC (5597); and Fusion PM Holdings, Inc. (2478). The Debtors’ principal
      offices are located at 210 Interstate North Parkway, Suite 300, Atlanta, Georgia 30339.




WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57       Main Document
                                            Pg 6 of 565


THE    INFORMATION     CONTAINED    IN   THIS   DISCLOSURE     STATEMENT
(THE “DISCLOSURE STATEMENT”) IS INCLUDED FOR THE PURPOSE OF SOLICITING
ACCEPTANCES OF THE SECOND AMENDED JOINT CHAPTER 11 PLAN OF FUSION
CONNECT, INC. AND ITS SUBSIDIARY DEBTORS, DATED OCTOBER 7, 2019 (AS MAY BE
AMENDED, MODIFIED, OR SUPPLEMENTED FROM TIME TO TIME, THE “SECOND
AMENDED PLAN”) AND IS INTENDED TO BE USED SOLELY TO DETERMINE HOW TO
VOTE ON THE SECOND AMENDED PLAN.

 THE VOTING DEADLINE TO ACCEPT OR REJECT THE SECOND AMENDED PLAN IS 4:00
 P.M., PREVAILING EASTERN TIME, ON NOVEMBER 4, 2019, UNLESS EXTENDED BY THE
 DEBTORS WITH THE CONSENT OF THE FIRST LIEN LENDER GROUP.

 THE RECORD DATE FOR DETERMINING WHICH HOLDERS OF CLAIMS MAY VOTE ON
 THE SECOND AMENDED PLAN IS SEPTEMBER 24, 2019 AT 5:00 PM PREVAILING
 EASTERN TIME (THE “VOTING RECORD DATE”).


     RECOMMENDATION BY THE DEBTORS, THE FIRST LIEN LENDER GROUP, THE
  SECOND LIEN LENDER GROUP, AND THE OFFICIAL COMMITTEE OF UNSECURED
       CREDITORS (THE “CREDITORS’ COMMITTEE”) TO APPROVE THE SECOND
                                        AMENDED PLAN
The Restructuring Committee of the Board of Directors of Fusion Connect, Inc. (the
“Restructuring Committee”) and the board of directors, managers, limited partners or members,
as applicable, of each of its subsidiary Debtors have unanimously approved the transactions
contemplated by the Second Amended Plan and recommend that all creditors whose votes are being
solicited submit ballots to accept the Second Amended Plan. Holders of approximately 85% of
First Lien Claims (as defined herein) have already agreed to vote in favor of the Second Amended
Plan. The Second Lien Lender Group which holds 100% of Second Lien Claims (as defined herein)
and the Creditors’ Committee also support confirmation of the Second Amended Plan and
recommends that all holders of Second Lien Claims and all unsecured creditors vote to accept the
Second Amended Plan.




WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57   Main Document
                                            Pg 7 of 565


HOLDERS OF CLAIMS OR INTERESTS SHOULD NOT CONSTRUE THE CONTENTS OF
THIS DISCLOSURE STATEMENT AS PROVIDING ANY LEGAL, BUSINESS, FINANCIAL, OR
TAX ADVICE AND SHOULD CONSULT WITH THEIR OWN ADVISORS BEFORE VOTING
ON THE SECOND AMENDED PLAN.

THE ISSUANCE AND DISTRIBUTION UNDER THE SECOND AMENDED PLAN OF NEW
EQUITY INTERESTS AND/OR SPECIAL WARRANTS (EACH TERM AS DEFINED HEREIN)
WILL BE EXEMPT FROM REGISTRATION UNDER THE SECURITIES ACT OF 1933, AS
AMENDED (THE “SECURITIES ACT”) AND ANY OTHER APPLICABLE SECURITIES LAWS
PURSUANT TO SECTION 1145 OF THE BANKRUPTCY CODE. THESE SECURITIES MAY
BE RESOLD WITHOUT REGISTRATION UNDER THE SECURITIES ACT OR OTHER
FEDERAL SECURITIES LAWS PURSUANT TO THE EXEMPTION PROVIDED BY SECTION
4(A)(1) OF THE SECURITIES ACT, UNLESS THE HOLDER IS AN “UNDERWRITER” WITH
RESPECT TO SUCH SECURITIES, AS THAT TERM IS DEFINED IN SECTION 1145(B)(1) OF
THE BANKRUPTCY CODE. IN ADDITION, SUCH SECTION 1145 EXEMPT SECURITIES
GENERALLY MAY BE RESOLD WITHOUT REGISTRATION UNDER STATE SECURITIES
LAWS PURSUANT TO VARIOUS EXEMPTIONS PROVIDED BY THE RESPECTIVE LAWS
OF THE SEVERAL STATES. THE AVAILABILITY OF THE EXEMPTION UNDER SECTION
1145 OF THE BANKRUPTCY CODE OR ANY OTHER APPLICABLE SECURITIES LAWS
SHALL NOT BE A CONDITION TO THE OCCURRENCE OF THE EFFECTIVE DATE (AS
DEFINED IN THE SECOND AMENDED PLAN).

THE NEW EQUITY INTERESTS AND/OR SPECIAL WARRANTS TO BE ISSUED ON THE
EFFECTIVE DATE HAVE NOT BEEN APPROVED OR DISAPPROVED BY THE SECURITIES
AND EXCHANGE COMMISSION (THE “SEC”) OR BY ANY STATE SECURITIES
COMMISSION OR SIMILAR PUBLIC, GOVERNMENTAL, OR REGULATORY AUTHORITY,
AND NEITHER THE SEC NOR ANY SUCH AUTHORITY HAS PASSED UPON THE
ACCURACY OR ADEQUACY OF THE INFORMATION CONTAINED IN THIS DISCLOSURE
STATEMENT OR UPON THE MERITS OF THE SECOND AMENDED PLAN. ANY
REPRESENTATION TO THE CONTRARY IS A CRIMINAL OFFENSE.

CERTAIN STATEMENTS CONTAINED IN THIS DISCLOSURE STATEMENT, INCLUDING
STATEMENTS    INCORPORATED     BY    REFERENCE,    PROJECTED   FINANCIAL
INFORMATION, AND OTHER FORWARD-LOOKING STATEMENTS, ARE BASED ON
ESTIMATES AND ASSUMPTIONS.        CERTAIN OF THESE FORWARD-LOOKING
STATEMENTS CAN BE IDENTIFIED BY THE USE OF WORDS SUCH AS “BELIEVES,”
“EXPECTS,” “PROJECTS,” “INTENDS,” “PLANS,” “ESTIMATES,” “ASSUMES,” “MAY,”
“SHOULD,” “WILL,” “SEEKS,” “ANTICIPATES,” “OPPORTUNITY,” “PRO FORMA,”
“PROJECTIONS,” OR OTHER SIMILAR EXPRESSIONS. THERE CAN BE NO ASSURANCE
THAT SUCH STATEMENTS WILL BE REFLECTIVE OF ACTUAL OUTCOMES. FORWARD-
LOOKING STATEMENTS ARE PROVIDED IN THIS DISCLOSURE STATEMENT PURSUANT
TO THE SAFE HARBOR ESTABLISHED UNDER THE PRIVATE SECURITIES LITIGATION
REFORM ACT OF 1995 AND SHOULD BE EVALUATED IN THE CONTEXT OF THE
ESTIMATES, ASSUMPTIONS, UNCERTAINTIES, AND RISKS DESCRIBED HEREIN AND IN
FUSION CONNECT’S (AS DEFINED HEREIN) FILINGS WITH THE SEC.

READERS ARE CAUTIONED THAT ANY FORWARD-LOOKING STATEMENTS
CONTAINED HEREIN ARE BASED ON ASSUMPTIONS THAT ARE BELIEVED TO BE
REASONABLE, BUT ARE SUBJECT TO A WIDE RANGE OF RISKS, INCLUDING THOSE
IDENTIFIED IN SECTION IX OF THIS DISCLOSURE STATEMENT.     IMPORTANT
ASSUMPTIONS AND OTHER IMPORTANT FACTORS THAT COULD CAUSE ACTUAL




WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57   Main Document
                                            Pg 8 of 565


RESULTS TO DIFFER MATERIALLY FROM THOSE EXPECTED ALSO INCLUDE, BUT ARE
NOT LIMITED TO, THOSE FACTORS, RISKS, AND UNCERTAINTIES DESCRIBED IN MORE
DETAIL UNDER THE HEADING “RISK FACTORS” AND ELSEWHERE IN THE ANNUAL,
QUARTERLY AND CURRENT REPORTS OF FUSION CONNECT, INCLUDING
AMENDMENTS THERETO, AND ITS OTHER FILINGS WITH THE SEC. DUE TO THESE
UNCERTAINTIES, READERS CANNOT BE ASSURED THAT ANY FORWARD-LOOKING
STATEMENTS WILL PROVE TO BE CORRECT. THE DEBTORS ARE UNDER NO
OBLIGATION TO (AND EXPRESSLY DISCLAIM ANY OBLIGATION TO) UPDATE OR
ALTER ANY FORWARD-LOOKING STATEMENTS WHETHER AS A RESULT OF NEW
INFORMATION, FUTURE EVENTS, OR OTHERWISE, UNLESS INSTRUCTED TO DO SO BY
THE BANKRUPTCY COURT (AS DEFINED BELOW).

THE STATEMENTS CONTAINED IN THIS DISCLOSURE STATEMENT ARE MADE AS OF
THE DATE HEREOF UNLESS OTHERWISE SPECIFIED. THE TERMS OF THE SECOND
AMENDED PLAN GOVERN IN THE EVENT OF ANY INCONSISTENCY WITH THE
SUMMARIES IN THIS DISCLOSURE STATEMENT.

THE INFORMATION IN THIS DISCLOSURE STATEMENT IS BEING PROVIDED SOLELY
FOR PURPOSES OF VOTING TO ACCEPT OR REJECT THE SECOND AMENDED PLAN OR
IN CONNECTION WITH CONFIRMATION OF THE SECOND AMENDED PLAN. NOTHING
IN THIS DISCLOSURE STATEMENT MAY BE USED BY ANY PARTY FOR ANY OTHER
PURPOSE.

ALL EXHIBITS TO THE DISCLOSURE STATEMENT ARE INCORPORATED INTO, AND ARE
MADE A PART OF, THIS DISCLOSURE STATEMENT AS IF SET FORTH IN FULL HEREIN.




WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456            Filed 10/07/19 Entered 10/07/19 15:38:57                                         Main Document
                                                      Table
                                                        Pg of Contents
                                                            9 of 565

                                                                                                                                                 Page

I. INTRODUCTION ............................................................................................................................... 1
       Summary of Plan Release and Exculpation Provisions................................................................. 9

II. OVERVIEW OF COMPANY’S OPERATIONS .............................................................................. 12
       A. Debtors’ Business ............................................................................................................ 12
           B.      Debtors’ Organizational Structure.................................................................................... 14
           C.      Directors and Officers ..................................................................................................... 15
           D.      Regulation of Company’s Business .................................................................................. 17
           E.      Debtors’ Existing Capital Structure.................................................................................. 18

III. CIRCUMSTANCES LEADING TO COMMENCEMENT OF CHAPTER 11 CASES.................... 21
        A. Birch Merger ................................................................................................................... 21
           B.      Amortization and Interest Payments................................................................................. 22
           C.      Vendor Relationships and Lingo Dispute ......................................................................... 22
           D.      Pursuit of New Equity Investment ................................................................................... 22
           E.      Forbearance Agreement ................................................................................................... 22
           F.      Super Senior Financing.................................................................................................... 23
           G.      Formation of Restructuring Committee ............................................................................ 23
           H.      Formation and Function of Special Committee ................................................................ 24
           I.      Marketing Process ........................................................................................................... 24
           J.      Alternative Restructuring Proposals ................................................................................. 25

IV. OVERVIEW OF THE CHAPTER 11 CASES ................................................................................. 25
      A. Commencement of Chapter 11 Cases and First Day Motions ........................................... 25
           B.      DIP Facility and Cash Collateral ...................................................................................... 26
           C.      Procedural Motions and Retention of Professionals .......................................................... 30
           D.      Appointment of the Creditors’ Committee ....................................................................... 30
           E.      Schedules and Statements; Rule 2015.3 Financial Reports ............................................... 30
           F.      Bar Date .......................................................................................................................... 30
           G.      Lease Rejection Motions ................................................................................................. 30
           H.      Exclusivity ...................................................................................................................... 31
           I.      Litigation Matters ............................................................................................................ 31
           J.      Marketing Process and Bidding Procedures ..................................................................... 32
           K.      Creditors’ Committee’s Investigation............................................................................... 32
           L.      Plan Settlement Negotiations and the Global Settlement .................................................. 32

V. SUMMARY OF AMENDED PLAN ................................................................................................ 35
      A. Administrative Expense and Priority Claims. ................................................................... 35


                                                                           i
WEIL:\97221055\1\47019.0003
19-11811-dsj              Doc 456            Filed 10/07/19 Entered 10/07/19 15:38:57                                        Main Document
                                                       Table
                                                        Pg 10of Contents
                                                                of 565
                                                                   (continued)
                                                                                                                                                 Page

           B.       Classification of Claims and Interests. ............................................................................. 37
           C.       Treatment of Claims and Interests. ................................................................................... 38
           D.       Means for Implementation ............................................................................................... 41
           E.       Distributions .................................................................................................................... 56
           F.       Procedures for Disputed Claims ....................................................................................... 60
           G.       Executory Contracts and Unexpired Leases ..................................................................... 62
           H.       Conditions Precedent to Confirmation of Plan and Effective Date .................................... 66
           I.       Effect of Confirmation of Plan ......................................................................................... 69
           J.       Retention of Jurisdiction .................................................................................................. 76
           K.       Miscellaneous Second Amended Plan Provisions ............................................................. 78

VI. TRANSFER RESTRICTIONS AND CONSEQUENCES UNDER FEDERAL SECURITIES
     LAWS ......................................................................................................................................... 83

VII. REGULATORY MATTERS ......................................................................................................... 84

VIII. CERTAIN U.S. FEDERAL INCOME TAX CONSEQUENCES OF SECOND AMENDED
      PLAN .......................................................................................................................................... 90
       A. Consequences to the Debtors. .......................................................................................... 90
           B.       Consequences to Holders of Certain Claims ..................................................................... 93
           C.       Tax Treatment of Litigation Trust and Holders of Litigation Trust Interests ................... 103
           D.       Information Reporting and Withholding ........................................................................ 105

IX. CERTAIN RISK FACTORS TO BE CONSIDERED .................................................................... 105
       A. Certain Bankruptcy Law Considerations ........................................................................ 106
           B.       Additional Factors Affecting Value of Reorganized Debtors .......................................... 108
           C.       Risks Relating to Debtors’ Business and Financial Condition......................................... 109
           D.       Factors Relating to Securities to be Issued Under Second Amended Plan, Generally ...... 111
           E.       Risk Related to Obtaining Exit Financing ...................................................................... 111
           F.       Risks Related to Investment in New Equity Interests...................................................... 111
           G.       Additional Factors ......................................................................................................... 112

X. VOTING PROCEDURES AND REQUIREMENTS ....................................................................... 113
      A. Voting Deadline ............................................................................................................ 113
           B.       Voting Procedures ......................................................................................................... 114
           C.       Parties Entitled to Vote .................................................................................................. 114

XI. CONFIRMATION OF AMENDED PLAN ................................................................................... 117
      A. Confirmation Hearing .................................................................................................... 117
           B.       Objections to Confirmation............................................................................................ 117


                                                                           ii
WEIL:\97221055\1\47019.0003
19-11811-dsj            Doc 456          Filed 10/07/19 Entered 10/07/19 15:38:57                                 Main Document
                                                   Table
                                                    Pg 11of Contents
                                                            of 565
                                                             (continued)
                                                                                                                                    Page

          C.      Requirements for Confirmation of Second Amended Plan.............................................. 119

XII. ALTERNATIVES TO CONFIRMATION AND CONSUMMATION OF SECOND
      AMENDED PLAN .................................................................................................................... 124
       A. Alternative Plan of Reorganization ................................................................................ 124
          B.      Sale Under Section 363 of Bankruptcy Code.................................................................. 124
          C.      Liquidation Under Chapter 7 or Applicable Non-Bankruptcy Law ................................. 124

XIII. CONCLUSION AND RECOMMENDATION ........................................................................... 126




                                                                    iii
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456      Filed 10/07/19 Entered 10/07/19 15:38:57   Main Document
                                             Table
                                              Pg 12of Contents
                                                      of 565
                                                (continued)
                                                                                       Page

EXHIBIT A:          Amended Joint Plan of Reorganization

EXHIBIT B:          Restructuring Support Agreement

EXHIBIT C:          Financial Projections

EXHIBIT D:          Liquidation Analysis

EXHIBIT E:          Valuation Analysis




                                                      iv
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456     Filed 10/07/19 Entered 10/07/19 15:38:57                    Main Document
                                             Pg 13 of 565



                                                    I.
                                              INTRODUCTION

Fusion Connect, Inc. (“Fusion Connect” or “FCI”) and its U.S. subsidiary debtors (collectively, the
“Debtors” and together with FCI’s non-debtor Canadian subsidiaries, the “Company”) submit this
Disclosure Statement pursuant to Section 1125 of the Bankruptcy Code in connection with the solicitation
of votes with respect to the Second Amended Plan.1 The Second Amended Plan is annexed hereto as Exhibit
A and is incorporated herein by reference. The Debtors commenced their chapter 11 cases (the “Chapter
11 Cases”) in the United States Bankruptcy Court for the Southern District of New York (the “Bankruptcy
Court”) on June 3, 2019 (the “Commencement Date”).

The purpose of this Disclosure Statement, including the exhibits annexed hereto, is to provide information
of a kind, and in sufficient detail, to enable creditors of the Debtors that are entitled to vote on the Second
Amended Plan to make an informed decision on whether to vote to accept or reject the Second Amended
Plan. This Disclosure Statement contains summaries of the Second Amended Plan, certain statutory
provisions, events contemplated in the Chapter 11 Cases, and certain documents related to the Second
Amended Plan.

Fusion Connect is the ultimate parent of twenty (20) direct and indirect subsidiaries, eighteen (18) of which,
together with Fusion Connect, are Debtors in these Chapter 11 Cases. The Company is a provider of
integrated cloud solutions to small, medium, and large businesses in the United States and residential and
business customers in Canada. The Company offers services to customers, enabling them to successfully
migrate to and efficiently use the increasing power of the cloud. Such services include cloud
communications, cloud connectivity, and cloud computing. A significant part of the Company’s historical
expansion strategy has been to make strategic acquisitions of other providers. In May and June of 2018,
the Company closed a reverse merger transaction with Birch Communications Holdings, Inc. (“Birch” and
such transaction, the “Birch Merger”) and an acquisition of MegaPath Holding Corp. (“MegaPath” and
such transaction, the “MegaPath Merger”), respectively. The Company pursued the Birch Merger with a
vision of leveraging its existing processes and structures to create synergies between Fusion Connect’s and
Birch’s joined customer bases, combine network infrastructure assets to improve operational efficiencies,
and ultimately drive material growth in the combined companies’ annual revenue. In connection with the
Birch Merger and the MegaPath Merger, the Company incurred $680 million in secured debt.

Due to underperformance compared to business projections, the Company found itself with limited liquidity
and at risk of default under its debt documents by early 2019. Accordingly, in early 2019, the Company
began its formal review of strategic alternatives, including by engaging in dialogue and communications
with its key stakeholders. These efforts culminated in a restructuring support agreement (the
“Restructuring Support Agreement”) with the First Lien Lender Group — the Company’s senior
creditors — holding, in the aggregate, over 66 2/3% in aggregate principal amount of the outstanding First
Lien Claims. The Restructuring Support Agreement contemplates the continuation of the Company’s
prepetition marketing process that commenced in May 2019. A copy of the Restructuring Support
Agreement is attached hereto as Exhibit B.2




1
      Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in the Second
      Amended Plan. To the extent any inconsistencies exist between this Disclosure Statement and the Second
      Amended Plan, the Second Amended Plan shall govern.
2
      The signature pages for the Consenting First Lien Lenders (as defined in the Restructuring Support Agreement)
      have been removed from Exhibit B.




WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456      Filed 10/07/19 Entered 10/07/19 15:38:57                    Main Document
                                              Pg 14 of 565


By virtue of the Restructuring Support Agreement, the Company commenced the Chapter 11 Cases with a
clear path to a confirmable chapter 11 plan of reorganization and a viable recapitalization — in which,
among other things, approximately $411 million in funded debt will be extinguished, leaving a significantly
deleveraged reorganized Company wholly owned by the First Lien Lenders and an appropriately sized exit
working capital facility (the “Reorganization Transaction”). In addition, the Restructuring Support
Agreement also provides for the continuation of the Company’s prepetition marketing process
(the “Prepetition Marketing Process” and together with the postpetition sale and marketing process,
the “Marketing Process”). Pursuant to the Marketing Process, any and all bids for all or some portion of
the Company’s business have been evaluated as a precursor to confirmation of the chapter 11 plan. The
Marketing Process has provided a public and competitive forum in which the Debtors sought bids or
proposals for potential transactions that, if representing higher or otherwise better value for creditors of the
Debtors than the Reorganization Transaction, would have been pursued in lieu of the Reorganization
Transaction (the “Sale Transaction”).

The Debtors solicited bids for an investment in, or other acquisition of, the Debtors’ domestic business (the
“U.S. Business”), FCI’s Canadian business (the “Canadian Business”) and the U.S. Business and the
Canadian Business on a consolidated basis. Pursuant to the Bidding Procedures Order, the deadline for
parties to submit non-binding indications of interest was July 16, 2019. The Debtors and their advisors
have evaluated the indications of interest received and communicated with numerous potential bidders,
including the Second Lien Lenders. Based on this analysis, and with the support of each of the Consultation
Parties3 (as defined in the Bidding Procedures Order), the Debtors have decided to terminate the Marketing
Process solely with respect to their U.S. Business and to pursue the Reorganization Transaction.

Upon consummation of the Reorganization Transaction, on the Effective Date, pursuant to and in
accordance with the Second Amended Plan, the Reorganized Debtors will, among other things: (a) issue
one hundred percent (100%) of the issued and outstanding New Equity Interests to be issued on the
Effective Date to the holders of Allowed First Lien Claims (subject to dilution by the Special Warrants and
Management Incentive Plan) in accordance with the Equity Allocation Mechanism and the Special Warrant
Agreement, including a distribution of the Special Warrants to the holders of Allowed First Lien Claims in
an amount such that, after the exercise of all Special Warrants issued on the Effective Date, holders of
Allowed First Lien Claims would hold ninety-seven and one-half percent (97.5%) of the issued and
outstanding New Equity Interests (subject to dilution by the Management Incentive Plan), (b) issue the
Special Warrants to the holders of Allowed Second Lien Claims in an amount such that, after the exercise
of all Special Warrants issued on the Effective Date, holders of Allowed Second Lien Claims would hold
two and one-half percent (2.5%) of the issued and outstanding New Equity Interests (subject to dilution by
the Management Incentive Plan), (c) enter into the New Exit Facility Credit Agreement, which is currently
estimated to consist of loans and undrawn revolving commitments in an aggregate amount of $125 million,
the proceeds of which would provide for the payment of the DIP Facility and provide liquidity for the
Company’s working capital purposes, and (d) enter into the New First Lien Credit Agreement of up to $225
million to be issued to holders of Allowed First Lien Clams.

The Debtors filed their initial chapter 11 plan on July 1, 2019 (ECF No. 146) (the “Initial Plan”) with the
support of the First Lien Lender Group. The Creditors’ Committee, however, raised certain concerns and
potential objections with respect to the Initial Plan. Since filing the Initial Plan, the Debtors and the First
Lien Lender Group engaged in numerous discussions with the Creditors’ Committee regarding Plan-
related issues in order to determine whether support of the Creditors’ Committee could be secured. The
Debtors filed an amended chapter 11 plan (ECF No. 368) dated as of September 3, 2019, which reflects
the terms of a settlement reached by the Debtors, the Creditors’ Committee, and the First Lien Lender
Group (the “Global Settlement”). The terms of the Global Settlement are incorporated in that Amended
3
      The Company and its advisors continue to evaluate proposals for the sale of the Canadian Business.


                                                         2
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456     Filed 10/07/19 Entered 10/07/19 15:38:57                   Main Document
                                             Pg 15 of 565


Plan and the Global Settlement is set out in greater detail in Section 4(L) of this Disclosure Statement.
Pursuant to the Global Settlement, a litigation trust will be created and initially funded with $1.5 million
(and have a committed loan from Reorganized FCI for an additional $3.5 million, available to be drawn in
installments) to pursue certain causes of action. The proceeds of the litigation trust will be shared among
Reorganized FCI and holders of Litigation Trust Interests as described in Section 4(L) below.

During the Chapter 11 Cases, the Debtors, the First Lien Lender Group, and the Creditors’ Committee
have also engaged with an ad hoc group of holders of the Second Lien Claims (the “Second Lien Lender
Group”), which collectively holds one hundred percent (100%) of Second Lien Claims regarding the
terms of the Plan. On September 20, 2019, the Second Lien Lender Group filed an objection to the
Disclosure Statement that included potential objections to the Initial Plan and the Global Settlement,
including the proposed scope and beneficiaries of the releases and exculpation provisions of the Initial
Plan, among other issues. The Second Lien Lender Group also served discovery requests on the Debtors
and other parties. On September 24, 2019, the Debtors announced that the parties had reached a
settlement in principle on the terms of the Second Amended Plan and Global Settlement.
Contemporaneously herewith, the Debtors have filed the Second Amended Plan, which incorporates the
resolution reached among the Debtors, the First Lien Lender Group, the Second Lien Lender Group, and
the Creditors’ Committee and the amended terms of the Global Settlement.

Generally, the Second Amended Plan contemplates the following treatment for creditors or interest holders
under the Reorganization Transaction.

         As part of the restructuring contemplated by the Restructuring Support Agreement, the First Lien
          Lender Group backstopped a debtor-in-possession financing in the aggregate amount of $59.5
          million (the “DIP Facility”) to support the Company’s operations during the Chapter 11 Cases.
          On the Effective Date, the DIP Facility will be paid in full in cash or refinanced in full in cash from
          borrowing under the Exit Financing Facility.

         First Lien Claims. On the Effective Date, the holders of First Lien Claims will receive their Pro
          Rata share of (i) the First Lien Lender Equity Distribution (consisting of one hundred percent
          (100%) of the New Equity Interests issued and outstanding on the Effective Date and Special
          Warrants that, when all Special Warrants are exercised on a fully distributed basis, will cause
          holders of First Lien Claims to hold ninety-seven and one-half percent (97.5%) of the New Equity
          Interests (subject to dilution by the Management Incentive Plan)); provided, that, notwithstanding
          anything herein or in the Second Amended Plan to the contrary, the distribution of the First Lien
          Lender Equity Distribution shall be made pursuant to, and subject to the terms and conditions of,
          the Equity Allocation Mechanism attached as Exhibit A to the Second Amended Plan; (ii) the loans
          under the New First Lien Credit Facility in the aggregate amount of up to $225.0 million (the “New
          First Lien Term Loans”); and (iii) cash or other proceeds, if any, from the sale of the Debtors’
          Canadian Business unless otherwise agreed to by the Requisite First Lien Lenders.

         Second Lien Claims. On the Effective Date, the holders of Second Lien Claims will receive their
          Pro Rata share of the Second Lien Lender Special Warrant Distribution (consisting of Special
          Warrants that, when all Special Warrants are exercised on a fully distributed basis, will cause
          holders of Second Lien Claims to hold two and one-half percent (2.5%) of the New Equity Interests
          (subject to dilution by the Management Incentive Plan).

         General Unsecured Claims. On the Effective Date, the holders of General Unsecured Claims will
          receive their Pro Rata share of the Litigation Trust Interests.




                                                        3
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456     Filed 10/07/19 Entered 10/07/19 15:38:57                Main Document
                                             Pg 16 of 565


         Parent Equity Interests. On the Effective Date, the Parent Equity Interests will be extinguished and
          shall be of no further force and effect, whether surrendered for cancellation or otherwise.

         All Priority Non-Tax Claims, Other Secured Claims, Intercompany Claims, and Intercompany
          Interests are Unimpaired under the Second Amended Plan.

         Following the Effective Date, Reorganized FCI will adopt a post-emergence management incentive
          plan (the “Management Incentive Plan”), under which up to ten percent (10%) of the New Equity
          Interests (after taking into account the shares to be issued under the Management Incentive Plan)
          will be reserved for issuance as awards on terms and conditions as agreed to by the New Board.

The Equity Allocation Mechanism. As set forth in Section VII herein, the Debtors hold certain licenses
and telecommunications service authority necessary for their business operations. The Federal
Communications Commission (the “FCC”) and the various state public utility commissions or public
service commissions (the “State PUCs”) require that entities holding such licenses and authority obtain
prior consent in the event of a material change in the equity or voting ownership of the licensed entities.
Moreover, Section 310(b) of the Communications Act and the FCC’s foreign ownership rules limit the
aggregate foreign equity ownership or aggregate foreign voting percentage in Reorganized FCI to twenty-
five percent (25%) absent the issuance of a Declaratory Ruling by the FCC finding that the public interest
would not be served by refusing or revoking the Company’s licenses. In order to allow Reorganized FCI to
emerge without the need to seek such a Declaratory Ruling, the Equity Allocation Mechanism is designed
so that foreign ownership of the Company will not exceed twenty-two and one-half percent (22.5%) at
emergence. In addition, because the FCC rules require that Reorganized FCI disclose the identity of any
individual or entity that holds ten percent (10%) or more of its equity or voting interests, the Equity
Allocation Mechanism is designed so that, with the exception of Telecom Holdings, holders cannot hold
equity ownership or voting rights in Reorganized FCI in excess of nine and three-quarters percent (9.75%).
As such, the Debtors have submitted applications to the FCC and the State PUCs to obtain authorization
for Telecom Holdings, LLC, a domestic U.S. entity established by the First Lien Lenders, to hold in excess
of fifty percent (50%) but no more than seventy-seven and one-half percent (77.5%) of New Equity Interests
on the Effective Date. Telecom Holdings, LLC is owned by twelve (12) U.S. Holders (as defined below).
The remainder of the New Equity Interests in Reorganized FCI will be distributed on a Pro Rata basis to all
other holders of First Lien Claims, who, together with Telecom Holdings, LLC, will hold one hundred
percent (100%) of the New Equity Interests in Reorganized FCI on the Effective Date. The other holders
of First Lien Claims will also receive Special Warrants in accordance with the procedures set forth in the
Equity Allocation Mechanism. In total, the combination of New Equity Interests and Special Warrants
issued to holders of First Lien Claims will represent ninety-seven and one-half percent (97.5%) of
Reorganized FCI’s Common Stock on a fully diluted basis after the Exercise Date. All holders of Second
Lien Claims will receive Special Warrants representing two and one-half percent (2.5%) of Reorganized
FCI’s Common Stock on a fully diluted basis, pursuant to the Second Lien Lender Special Warrant
Distribution.

The First Lien Lender Equity Distribution, along with the Equity Allocation Mechanism, govern the
distribution of New Equity Interests and/or Special Warrants to the First Lien Lenders on the Effective
Date. On the Effective Date, holders of First Lien Claims will receive New Equity Interests to the maximum
extent permissible by relevant FCC rules and regulations, and will receive Special Warrants, which may be
freely transferred or sold, subject to applicable laws, for the remainder of the value of such Claims. The
implied value of the Special Warrants is equal to the value of a proportionate amount of New Equity
Interests. On the Effective Date or shortly thereafter, Reorganized FCI will submit a Petition for
Declaratory Ruling seeking authority to exceed twenty-five percent (25%) of foreign ownership and other
applications with the FCC and State PUCs needed to obtain other relevant regulatory approvals. Once such
approvals are obtained, holders of Special Warrants are automatically deemed to exercise their Special


                                                       4
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57         Main Document
                                                 Pg 17 of 565


Warrants in exchange for a corresponding number of New Equity Interests and convert into direct equity
of Reorganized FCI, subject to the procedures set forth in the Special Warrant Agreement and the relevant
regulatory approvals.

Included in this Amended Disclosure Statement are the Financial Projections, a revised Liquidation
Analysis, and the Valuation Analysis, each attached to this Amended Disclosure Statement as Exhibit C,
Exhibit D, and Exhibit E, respectively. In preparing each of these exhibits, the Debtors worked closely
with their advisors to develop a reasonably achievable business plan. The revisions to the Company’s
business plan involved, among other measures, observation and modeling of base trends and past
performance followed by forecasting of individual items, including revenue, expenses, and other line items.
The Debtors consulted with numerous internal and external parties and advisors to ensure that this business
plan was constructed with the utmost understanding of the Company’s business from financial, regulatory,
and marketing perspectives. The Debtors and their advisors also considered industry trends in the
development of the business plan, including both macro-trends within the telecommunications industry and
trends at the product level.

With this background, the Company and its advisors have concluded that the Reorganization Transaction
is expected to leave the U.S. business intact and significantly deleverage the Company’s balance sheet. It
is also expected to enhance Fusion Connect’s long-term growth prospects and operational performance.

Accomplishing a speedy and efficient resolution of the Chapter 11 Cases is essential to maximizing the
value of the Company. Under the Restructuring Support Agreement and pursuant to the terms of the DIP
Documents, the Debtors are obligated to meet certain milestones. Specifically, the Restructuring Support
Agreement and the DIP Facility may be terminated if, among other things, the Debtors fail to satisfy the
following milestones (unless the Requisite First Lien Lenders (as defined in the Restructuring Support
Agreement) agree to extend the relevant milestone in advance or waive the default):

                          Milestone                      Deadline (as extended from time to time)
  Entry of Order Approving Bidding Procedures
                                                      July 3, 2019
  (as defined below)
  Commence Solicitation of Non-Binding
                                                      July 3, 2019
  Indications of Interest (“Exit Financing IOIs”)
  Entry of Final DIP Order                            July 8, 2019
  Filing of State PUC Applications                    August 10, 2019
  Entry of Order Approving Disclosure Statement       October 11, 2019
  Receive Binding Commitment Letter for the
                                                      November 1, 2019
  New Exit Credit Agreement
  Entry of Order Confirming Second Amended            November 14, 2019 (Pending the Court’s
  Plan                                                availability)
                                                      December 4, 2019 (or December 19, 2019 if 15-
  Occurrence of Second Amended Plan Effective
                                                      day extension is exercised in accordance with the
  Date
                                                      terms of the Restructuring Support Agreement)




                                                     5
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456    Filed 10/07/19 Entered 10/07/19 15:38:57                   Main Document
                                            Pg 18 of 565




  THE DEBTORS, THE CREDITORS’ COMMITTEE, THE FIRST LIEN LENDER GROUP,
  AND THE SECOND LIEN LENDER GROUP SUPPORT CONFIRMATION OF THE
  SECOND AMENDED PLAN AND URGE ALL HOLDERS OF CLAIMS ENTITLED TO
  VOTE ON THE SECOND AMENDED PLAN TO VOTE TO ACCEPT THE SECOND
  AMENDED PLAN, BECAUSE THEY BELIEVE THAT THE SECOND AMENDED PLAN
  PROVIDES THE HIGHEST AND BEST RECOVERY FOR ALL STAKEHOLDERS.


WHO IS ENTITLED TO VOTE: Under the Bankruptcy Code, only holders of claims or interests in
“impaired” Classes are entitled to vote on the Second Amended Plan (unless, for reasons discussed in more
detail below, such holders are deemed to reject the Second Amended Plan pursuant to section 1126(g) of
the Bankruptcy Code). Under section 1124 of the Bankruptcy Code, a class of claims or interests is deemed
to be “impaired” unless (i) the Second Amended Plan leaves unaltered the legal, equitable, and contractual
rights to which such claim or interest entitles the holder thereof or (ii) notwithstanding any legal right to an
accelerated payment of such claim or interest, the Second Amended Plan, among other things, cures all
existing defaults (other than defaults resulting from the occurrence of events of bankruptcy) and reinstates
the maturity of such claim or interest as it existed before the default.

Holders of Claims in Class 3 (First Lien Claims), Class 4 (Second Lien Claims), and Class 5 (General
Unsecured Claims) are the only Classes being solicited under, and the only Classes entitled to vote on, the
Second Amended Plan.

THE SECOND AMENDED PLAN PROVIDES THAT THE HOLDERS OF CLAIMS IN CLASS 3,
CLASS 4, AND CLASS 5 WHO VOTE TO ACCEPT THE SECOND AMENDED PLAN ARE
DEEMED TO HAVE GRANTED THE RELEASES CONTAINED IN SECTION 10.6(b) OF THE
SECOND AMENDED PLAN.

The following table summarizes (i) the treatment of Claims and Interests that are classified under the
Second Amended Plan, (ii) which Classes are impaired by the Second Amended Plan, (iii) which Classes
are entitled to vote on the Second Amended Plan, and (iv) the estimated recoveries for holders of Claims
and Interests in the Reorganization Transaction. The table is qualified in its entirety by reference to the full
text of the Second Amended Plan. For a more detailed summary of the terms and provisions of the Second
Amended Plan, see Article V—Summary of Second Amended Plan below. The Second Amended Plan
constitutes a separate plan for each Debtor. Each class of Claims and Interests only address claims against
or interest in a particular Debtor. A discussion of the amount of Claims in each Class is set forth in Article
V.C hereof.




                                                       6
WEIL:\97221055\1\47019.0003
  19-11811-dsj          Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57                   Main Document
                                                 Pg 19 of 565



                                                                                          Entitled to   Approx.
                                                                                            Vote on   Recovery in
             Claim or                                                         Impaired or
Class                                            Treatment                                the Second Reorganization
           Equity Interest                                                    Unimpaired
                                                                                           Amended
                                                                                             Plan
                                Except to the extent that a holder of an Allowed
                                Priority Non-Tax Claim against the Debtors
                                agrees to a less favorable treatment of such
                                Claim, in full and final satisfaction of such
                                Allowed Priority Non-Tax Claim, at the sole
                                option of the Debtors or the Reorganized
                                Debtors, as applicable: (i) each such holder
                                                                                                No
                                shall receive payment in Cash in an amount
 1                                                                               Unimpaired (Presumed
                                equal to such Claim, payable on the later of the
          Priority Non-Tax                                                                  to Accept)    100.0%
                                Effective Date and the date that is ten (10)
               Claims           Business Days after the date on which such
                                Priority Non-Tax Claim becomes an Allowed
                                Priority Non-Tax Claim, or as soon thereafter
                                as is reasonably practicable; or (ii) such
                                holder’s Allowed Priority Non-Tax Claim shall
                                be Reinstated.
                                Except to the extent that a holder of an Allowed
                                Other Secured Claim agrees to different
                                treatment, on the later of the Effective Date and
                                the date that is ten (10) Business Days after the
                                date such Other Secured Claim becomes an
                                Allowed Claim, or as soon thereafter as is
                                reasonably practicable, each holder of an
                                                                                                 No
                                Allowed Other Secured Claim will receive, on
 2                                                                                Unimpaired (Presumed
                                account of such Allowed Claim, at the sole
            Other Secured                                                                    to Accept)   100.0%
                                option of the Debtors or the Reorganized
               Claims           Debtors, as applicable: (i) Cash in an amount
                                equal to the Allowed amount of such Claim;
                                (ii) Reinstatement of such holder’s Allowed
                                Other Secured Claim; or (iii) such other
                                treatment sufficient to render such holder’s
                                Allowed Other Secured Claim Unimpaired.




                                                             7
  WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57                 Main Document
                                                 Pg 20 of 565


                          Except to the extent that a holder of a First Lien
                          Claim agrees to less favorable treatment, in full
                          and final satisfaction, settlement, release, and
                          discharge of, and in exchange for such First Lien
                          Claim, each such holder thereof (or, with respect
                          to any New Equity Interests to be issued
                          pursuant to the First Lien Lender Equity
                          Distribution, such holder’s permitted designee)
                          shall receive on the Effective Date such holder’s
                          Pro Rata share of (a) the First Lien Lender
                          Equity Distribution; provided, that
                          notwithstanding anything in the Second
                          Amended Plan to the contrary, the distribution of
                          the First Lien Lender Equity Distribution shall
3       First Lien Claims be made pursuant to, and subject to the terms            Impaired   Yes    60.0-76.1%
                          and conditions of, the Equity Allocation
                          Mechanism; (b) the loans under the New First
                          Lien Credit Facility; and (c) cash or other
                          proceeds, if any, from the sale of the Debtors’
                          Canadian business unless otherwise agreed to by
                          the Requisite First Lien Lenders.

                              For the avoidance of doubt, on the Effective Date,
                              the Prepetition First Lien Credit Agreement shall
                              be deemed cancelled (except as set forth in
                              Section 5.9 of the Second Amended Plan) without
                              further action by or order of the Bankruptcy
                              Court.

                         Except to the extent that a holder of an Allowed
                         Second Lien Claim agrees to less favorable
                         treatment, in full and final satisfaction,
                         settlement, release, and discharge of, and in
                         exchange for such Allowed Second Lien Claim,
                         on the each such holder thereof shall receive on
                         the Effective Date such holder’s Pro Rata share
                         of the Second Lien Lender Special Warrant
4     Second Lien Claims Distribution.                                    Impaired            Yes     4.0-6.9%

                              For the avoidance of doubt, on the Effective Date,
                              the Prepetition Second Lien Credit Agreement
                              shall be deemed cancelled (except as set forth in
                              Section 5.9 of the Second Amended Plan) without
                              further action by or order of the Bankruptcy
                              Court.

                         Except to the extent that a holder of an Allowed
                         General Unsecured Claim agrees to less favorable
                         treatment, in full and final satisfaction,
                         settlement, release, and discharge of, and in
       General Unsecured
5                        exchange for an Allowed General Unsecured Impaired                   Yes      N/A4
            Claims
                         Claim, each such holder thereof shall receive such
                         holder’s Pro Rata share of the Litigation Trust
                         Interests on the Effective Date.




                                                             8
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57                    Main Document
                                               Pg 21 of 565



                              On or after the Effective Date, all Intercompany
                              Claims will be adjusted, continued, settled,
                              reinstated, discharged, or eliminated as                    No
          Intercompany                                                                                   N/A
6                             determined by the Debtors or the Reorganized Unimpaired (Presumed
              Claims
                              Debtors, as applicable, and the Requisite First         to Accept)
                              Lien Lenders, in their respective reasonable
                              discretion, but not paid in Cash.
                              On or after the Effective Date, all Intercompany
                              Interests shall be cancelled, reinstated, or
                              receive such other treatment as determined by             No
          Intercompany                                                                                   N/A
7                             the Debtors or the Reorganized Debtors, as Unimpaired (Presumed
             Interests
                              applicable, and the Requisite First Lien              to Accept)
                              Lenders, in their respective reasonable
                              discretion.
                              On the Effective Date, all Parent Equity
                              Interests shall be deemed cancelled without
                              further action by or order of the Bankruptcy
                              Court, and shall be of no further force and
                              effect, whether surrendered for cancellation or
                                                                                           No (Deemed
8                             otherwise.     To the extent permitted by         Impaired
                                                                                            to reject)
          Parent Equity       applicable law, on or promptly after the
            Interests         Effective Date, the Reorganized Debtors shall                              0.0%
                              file with the SEC a Form 15 for the purpose of
                              terminating the registration of any of FCI’s
                              publicly traded securities.
                              Holders of Subordinated Securities Claims
                              shall not receive or retain any property under
                              the Second Amended Plan on account of such
                              Subordinated Securities Claims.        On the
          Subordinated        Effective Date, all Subordinated Securities                  No (Deemed    0.0%
9       Securities Claims                                                       Impaired
                              Claims shall be deemed cancelled without                      to reject)
                              further action by or order of the Bankruptcy
                              Court, and shall be of no further force and
                              effect, whether surrendered for cancellation or
                              otherwise.

Summary of Plan Release and Exculpation Provisions

Section 10 of the Second Amended Plan provides for the release of the Released Parties (as defined below)
and the exculpation of the Exculpated Parties (as defined below). The Debtors’ releases of the Released
Parties pursuant to Section 10.6(a) of the Second Amended Plan (the “Estate Releases”), the consensual
third-party releases of the Released Parties pursuant to Section 10.6(b) of the Second Amended Plan (the
“Consensual Releases”), and the exculpation of the Exculpated Parties pursuant to Section 10.7 of the
Second Amended Plan are an integral part of the Debtors’ overall restructuring efforts and are an essential
element of the Second Amended Plan and the Global Settlement.

The Debtors believe that the Estate Releases satisfy the business judgment standard. The Estate Releases
provided in the Second Amended Plan grant a release and discharge of limited parties by the Debtors and
their Estates, the Reorganized Debtors, and the Litigation Trust. In exchange for the material benefits they


4
      “N/A” indicates that the amount cannot be calculated.


                                                           9
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456    Filed 10/07/19 Entered 10/07/19 15:38:57                   Main Document
                                            Pg 22 of 565


will receive from the Released Parties through the Second Amended Plan, among other things, the Debtors
have proposed to release the Released Parties. When considering releases by a debtor of non-debtor third
parties pursuant to section 1123(b)(3)(A), the appropriate standard is whether the release is a valid exercise
of the debtor’s business judgment and is fair, reasonable, and in the best interests of the estate. See In re
Angelica Corp., Case No. 17-10870 (JLG), Aug. 29, 2017 Hr’g Tr. at 12:23-13:11 (“In cases like this one
where there are no known claims against a party to receive a Release, Courts in this district approved Debtor
Releases when they represent a valid exercise of the Debtor’s business judgement and are in the best interest
of the estate.”); In re Motors Liquidation Co., 447 B.R. 198, 220 (Bankr. S.D.N.Y. 2011) (“Releases by
estates involve a give-up of potential rights that are owned by the estate, and are perfectly permissible in a
plan, either as parts of plan settlements or otherwise, though the court must satisfy itself (at least if anyone
raises the issue) that the give-up is an appropriate exercise of business judgment, and, possibly, in the best
interests of the estate.”); In re DBSD N. Am., Inc., 419 B.R. 179, 217 (Bankr. S.D.N.Y. 2009) (approving
plan provision that released and discharged claims and causes of action by debtors on basis that such
releases and discharges “represent a valid exercise of the Debtors’ business judgment, and are fair,
reasonable and in the best interests of the estate.”), aff’d, Case No. 90–13061 (REG), 2010 WL 1223109
(S.D.N.Y. Mar. 24, 2010), aff’d in part, rev’d in part sub nom. DISH Network Corp. v. DBSD N. Am. Inc.
(In re DBSD N. Am.), 634 F.3d 79 (2d Cir. 2011); In re Charter Commc’ns, 419 B.R. 221, 257-60 (Bankr.
S.D.N.Y. 2009) (“When reviewing releases in a debtor’s plan, courts consider whether such releases are in
the best interest of the estate”); In re Bally Total Fitness of Greater N.Y., Inc., Case No. 07-12395 (BRL),
2007 WL 2779438, at *12 (Bankr. S.D.N.Y. Sept. 17, 2007) (finding debtor releases appropriate where
they represented a valid exercise of the debtors’ business judgment and were in the best interests of the
estate). Debtors have considerable leeway in issuing releases of their own claims, and such releases are
considered “uncontroversial.” See In re Adelphia Commc’ns Corp., 368 B.R. 140, at 263 n. 289 (Bankr.
S.D.N.Y. 2007).

During the course of plan negotiations with the Consenting First Lien Lenders, it was clear that the Estate
Releases of such parties would be a necessary condition to entry into and consummation of the restructuring
transaction embodied in the Second Amended Plan. Without the Estate Releases, the Debtors and their
stakeholders would likely not have been able to secure the substantial benefits provided by the First Lien
Lender Group, including, without limitation, the Consenting First Lien Lenders’ financing of the Prepetition
Super Senior Loans and the DIP Facility. Had the Estate Releases not been provided, the Debtors’ chances
of avoiding detrimental business disruption during the Chapter 11 Cases and securing the valuable
consideration provided by the Second Amended Plan would have been next to impossible. The releases
exchanged are also appropriate with regard to the Creditors’ Committee, and the Debtors intend to present
ample evidence to support that the Estate Releases are a valid exercise of the business judgment rule.

With respect to the Consensual Releases, the Debtors believe that such releases are appropriate and may
become binding in accordance with section 1141(a) of the Bankruptcy Code and applicable law. In
addition, each of the Exculpated Parties has made a substantial contribution to the Debtors’ reorganization
efforts and played an integral role in working towards an expeditious resolution of these Chapter 11 Cases.
The Debtors believe that the exculpation provisions are appropriately limited to the Exculpated Parties’
participation in these Chapter 11 Cases and have appropriate carve outs for liability resulting from gross
negligence, willful misconduct, or intentional fraud. Accordingly, each of the Released Parties and the
Exculpated Parties warrant the benefit of the release and exculpation provisions.

The Debtors also believe that the release and exculpation provisions in the Second Amended Plan are
necessary and appropriate and meet the requisite legal standard promulgated by the United States Court of
Appeals for the Second Circuit (the “Second Circuit”). In the Second Circuit, exculpation provisions that
cover non-estate fiduciaries are permitted. See, e.g., In re Oneida, 351 B.R. 79, 94, n.22 (Bankr. S.D.N.Y.
2006) (approving an exculpation provision covering a number of prepetition actors with respect to certain
prepetition actions, as well as postpetition activity); In re Granite Broad. Corp., 369 B.R. 120, 139 (Bankr.


                                                      10
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57                 Main Document
                                           Pg 23 of 565


S.D.N.Y. 2007) (providing exculpation of controlling shareholder as well as estate fiduciaries); In re
Eastman Kodak Co., No. 12-10202 (Bankr. S.D.N.Y. Aug. 23, 2013) (overruling U.S. Trustee objection to
exculpation of both estate fiduciaries and nonfiduciaries from liability for “any prepetition or postpetition
act taken or omitted to be taken in connection with, or arising from or relating in any way to, the chapter
11 cases”); In re Charter Commc’ns, Inc., No. 09-11435 (Bankr. S.D.N.Y. Nov. 17, 2009) (approving
exculpation of estate fiduciaries and non-fiduciaries for “any pre-petition or postpetition act taken or
omitted to be taken in connection with, or related to . . . the restructuring of the Company”); In re Cengage
Learning, Inc., No. 13-44106 (Bankr. E.D.N.Y. Mar. 14, 2014) (approving exculpation provision for estate
fiduciaries and non-fiduciaries for “any prepetition or postpetition act taken or omitted to be taken in
connection with, or related to formulating, negotiating, soliciting, preparing, disseminating, confirming,
implementing, or consummating the Second Amended Plan”).

Courts have recognized the appropriateness of extending exculpation to parties who make a substantial
contribution to a debtor’s reorganization and, specifically, who play an integral role in building consensus
in support of a debtor’s restructuring. See, e.g., In re Residential Capital, No. 12-12020, Findings of Fact,
¶ 291 (ECF No. 6066) (Bankr. S.D.N.Y. Dec. 11, 2013) (approving exculpation of certain prepetition
lenders who “played a meaningful role. . . in the mediation process, and through the negotiation and
implementation of the Global Settlement and Plan”); In re Worldcom, Inc., No. 02-13533, 2003 WL
23861928, at *52 (approving exculpation provisions where “[t]he inclusion of the Exculpation Provision …
in the Second Amended Plan [was] vital to the successful negotiation of the terms of the Second Amended
Plan in that without such provisions, the Covered Parties would have been less likely to negotiate the terms
of the settlements and the Second Amended Plan.”). The Exculpated Parties provided a substantial
contribution to the estates, and the protections afforded by the Exculpation are, therefore, reasonable and
appropriate.

The “Released Parties” are, collectively, the: (a) Reorganized Debtors; (b) Consenting First Lien Lenders;
(c) Prepetition First Lien Administrative Agent; (d) Consenting Second Lien Lenders; (e) Prepetition
Second Lien Administrative Agent; (f) DIP Agent; (g) DIP Lenders; (h) Prepetition Super Senior
Administrative Agent; (i) Prepetition Super Senior Lenders; (j) Creditors’ Committee and each of its
members in such capacity; (k) the Specified Officers and Directors (four (4) individuals); (l) Non-Debtor
Related Parties; and (m) Debtor Related Parties. The “Debtor Related Parties” is a narrow class including
certain of the Debtor’s postpetition advisors, each Debtor’s successors, and all of the Debtors current non-
officer employees. The “Non-Debtor Related Parties” encompasses affiliates and employees of Non-
Debtor Released or Exculpated Parties.

The Second Amended Plan specifically identifies the following “Non-Released Parties”: (a) any current
or former director, officer, member, shareholder, or employee of the Debtors or predecessor of the Debtors,
other than the Specified Officers and Directors and the Debtor Employees; (b) any Affiliate of the Debtors
or predecessors of the Debtors, and any directors, officers, shareholders, or employees thereof; (c) any
predecessor of a Debtor; (d) Lingo Communications LLC, any Affiliates thereof, and their directors,
officers, shareholders, and employees; (e) any subsequent transferee of any of the foregoing; (f) any
counsel, accountant or other professional advisor to (x) any of the foregoing and (y) the Debtors or
predecessor of any Debtor prior to March 1, 2019; provided, that vendors and contract counterparties of
Reorganized FCI, other than Lingo Communications LLC and any Affiliates thereof, shall not be Non-
Released Parties solely with respect to any Preference Action against them; provided further, that no
Reorganized Debtor, Reorganized Debtor’s successor or Consenting First Lien Lender shall be a Non-
Released Party.

The “Exculpated Parties” are, collectively, each solely in their capacities as such, the (a) Debtors;
(b) Reorganized Debtors; (c) Consenting First Lien Lenders; (d) Prepetition First Lien Administrative
Agent; (e) Prepetition Super Senior Administrative Agent; (f) DIP Agent, (g) DIP Lenders; (h) New First


                                                     11
WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57             Main Document
                                              Pg 24 of 565


Lien Lenders; (i) New First Lien Agent; (j) New Exit Facility Lenders; (k) New Exit Facility Agent;
(l) Litigation Trust Oversight Committee; (m) Creditors’ Committee and each of its members in such
capacity; (n) Non-Debtor Related Parties; and (o) Debtor Exculpated Parties.

WHERE TO FIND ADDITIONAL INFORMATION: Fusion Connect files annual reports and
quarterly reports with, and furnishes other information to the SEC. Copies of any document filed
with the SEC may be obtained by visiting the SEC website at http://www.sec.gov and performing a
search under the “Company Filings” link.

As previously disclosed in the Current Report on Form 8-K filed with the SEC on April 2, 2019, the
Company’s audit committee, after consultation with management and discussion with our
independent registered public accounting firm, concluded that the Company’s previously issued
financial statements for the fiscal year ended December 31, 2017 and for the periods ended June 30,
2018 and September 30, 2018 (collectively, the “Restated Periods”) and other financial
communications for the Restated Periods should no longer be relied upon and should be restated for
certain accounting errors. The Debtors believe that these accounting errors resulted in a discrepancy
of approximately $3 million.

Any Current Reports on Form 8-K (other than information furnished pursuant to Items 2.02 or 7.01
and any related exhibits of any Form 8-K, unless expressly stated otherwise therein), Quarterly
Reports on Form 10-Q or Annual Reports on Form 10-K filed by Fusion Connect with the SEC after
the date of this Disclosure Statement will be considered a part of this Disclosure Statement from the
date of the filing of such documents.

Any statement contained in a document incorporated or deemed to be incorporated herein by
reference or contained in this Disclosure Statement shall be deemed to be modified or superseded for
purposes of this Disclosure Statement to the extent that a statement contained herein or in any other
subsequently dated or filed document which also is or is deemed to be incorporated by reference
herein modifies or supersedes such statement.

You should carefully read the entire Disclosure Statement and the documents incorporated by
reference herein. Any financial data included herein remains subject to the customary review
procedures associated with the completion of the Company’s public reporting requirements.

                                             II.
                              OVERVIEW OF COMPANY’S OPERATIONS

          A.        Debtors’ Business

                    1.        History and Formation

Fusion Connect was initially founded in Delaware by Marvin S. Rosen and Philip D. Turits in September
1997. Since then, the Company has expanded through a combination of organic growth and strategic
acquisitions and is now a provider of integrated cloud solutions for small, medium, and large businesses in
the United States and residential and business customers in Canada. On February 25, 2005, the Company
commenced its initial public offering, becoming a publicly listed company on the NASDAQ Stock Market
(“NASDAQ”). The Company was delisted from the NASDAQ Global Market effective May 13, 2019.




                                                      12
WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456    Filed 10/07/19 Entered 10/07/19 15:38:57                  Main Document
                                               Pg 25 of 565



                    2.        Current Business Operations

The Company’s broad operational goal is to provide companies with a unified platform to leverage cloud
and other communications technology and to serve as the single point of contact for related troubleshooting.
To fill this role, the Company offers a variety of products, including Unified Communications-as-a-Service
(“UCaaS”), dedicated internet access and private networks, and cloud storage and security, all on a single
platform that is supported by dedicated “Contact Customer” services. The Company also offers
Infrastructure-as-a-Service (“IaaS”) solutions that allow businesses to layer additional cloud services onto
its platform.

The Company categorizes its suite of services into three broad categories: (i) Cloud Communications,
(ii) Cloud Connectivity, and (iii) Cloud Computing. Depending on the needs and sizes of individual
customers, the Company offers different product bundles and service packages. In each case, the
Company’s goal is to provide companies with reduced secure data storage costs, as well as an advanced
and consistent communications network, all on a unified platform. The Company is able to achieve this
goal, in part, through its extensive North American network.

                              (a)   Cloud Communications

The Company’s Cloud Communications service consists primarily of its “Cloud Voice,” UCaaS, and SIP
trunking offerings. The Company’s Cloud Voice service allows customers to replace land-based office
telephone systems with a cloud-based digital telephone system, reducing upfront capital costs and
simplifying operations for office telephone systems. Cloud Voice provides efficiencies for companies with
multiple offices or a highly mobile workforce, and for companies that are opening a new office or need to
expand or replace existing legacy telephone systems. The Company supports its Cloud Voice service
through its UCaaS solutions, which integrate audio, video, messaging, and web services together, enhancing
customers’ ability to convey information and communicate effectively. The Company’s SIP trunking
service allows customers to retain their existing business telephone systems while operating those systems
using an internet connection.

                              (b)   Cloud Connectivity

The Company’s Cloud Connectivity service provides businesses with dedicated circuits to high-speed
broadband internet access, private networks, and other network-related services such as Multiprotocol
Label Switching (“MPLS”)5 services, and SD-WAN (Software-Defined Wide-Area Networks). The goal
of the Cloud Connectivity service is to facilitate optimized access to cloud services, private data centers,
and enterprise applications over the internet or by private links.

                              (c)   Cloud Computing

The Company’s Cloud Computing service provides customers with private and hybrid cloud computing
(IaaS) to centralize information management, hardware, network, and infrastructure in an off-premise
hosted location. In connection with its Cloud Computing services, the Company also supports secure file
sharing, backup and recovery services, and a unified threat management system to help detect, deter, and
defeat cyber-attacks to mitigate against business disruptions.



5
      MPLS is a routing technique in telecommunications networks that directs data from one node to the next based
      on short path labels rather than long network addresses, thus avoiding complex lookups in a routing table and
      speeding traffic flows.


                                                        13
WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                              Pg 26 of 565



                    3.        Employees

As of the Commencement Date, the Debtors employed 810 full-time employees and 3 part-time employees
who perform a variety of critical functions, including sales, marketing, engineering and development,
operations, customer service, human resources, general administration, legal, finance, and management. In
addition, the Debtors rely on services from a supplemental workforce comprised of approximately 45
independent contractors and consultants that provide services related to the Debtors’ operations.
Specifically, the supplemental workforce provides services with respect to accounting, information
technology, facilities maintenance, claims management, and other shared services.

          B.        Debtors’ Organizational Structure

Fusion Connect is currently a public company with the majority of its shares held by BCHI Holdings, LLC
(“BCHI”). Fusion Connect owns, directly or indirectly, 100% of the ownership interest in each of the other
Debtors and Fusion Connect’s non-debtor Canadian Subsidiaries (as defined below). The chart below
illustrates the Company’s current organizational structure:




The Company’s current corporate structure is the product of its 2018 acquisition of MegaPath and the
reverse merger with Birch. Specifically, Fusion MPHC Holding Corporation and its two (2) subsidiaries
reflect the MegaPath portion of the Company’s business. Fusion BCHI Acquisition LLC (“Fusion BCHI”)
and its subsidiaries represent the Company’s business that Fusion Connect acquired as part of the Birch
Merger. Fusion NBS Acquisition Corp. and Fusion LLC operate the remainder of the Company’s business.




                                                   14
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456     Filed 10/07/19 Entered 10/07/19 15:38:57               Main Document
                                             Pg 27 of 565


The two (2) non-Debtor entities included in the organizational structure chart — Primus Management ULC
(“Primus Management”) and Bircan Management ULC (collectively, the “Canadian Subsidiaries”) —
operate the Company’s Canadian Business, which provides telecommunications services to residential and
business customers in Canada. As described below, the Debtors provide certain direct and indirect financial
support to the Canadian Business in the ordinary course.

          C.        Directors and Officers

The following table sets forth the names of the members of Fusion Connect’s current Board of Directors:

                          Name                                                Position
                     Matthew D. Rosen                                  Director (Chairman)
                                                                     Director (Vice Chairman)
                  Holcombe T. Green, Jr.
                                                                              Director
                  Michael J. Del Giudice
                   Lewis W. Dickey, Jr.                                       Director
                                                                              Director
                      Neal P. Goldman
                                                                              Director
                  Holcombe T. Green, III
                                                                              Director
                  Rafe de la Gueronniere
                                                                              Director
                      Marvin S. Rosen

The following table sets forth the names of the members of the Restructuring Committee:

                                           Michael J. Del Giudice
                                            Lewis W. Dickey, Jr.
                                             Neal P. Goldman
                                           Rafe de la Gueronniere


The following table sets forth the name of the member of the Special Committee (as defined below):

                                             Neal P. Goldman


The following table sets forth the names of Fusion Connect’s current executive officers:

                          Name                                                Position
                    Matthew D. Rosen                                   Chief Executive Officer
                   Russell P. Markman                          President and Chief Operating Officer
                      Keith Soldan                                     Chief Financial Officer
                      Brian George                                    Chief Technology Officer
                   James P. Prenetta Jr.                    Executive Vice President and General Counsel




                                                       15
WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                              Pg 28 of 565


The composition of the board of directors of Reorganized FCI will be disclosed in accordance with section
1129(a)(5) of the Bankruptcy Code.

                    1.        Leadership Changes

The Debtors intend to file a motion seeking entry of an order authorizing the Debtors to (i) appoint Kevin
Brand as the Debtors’ President, Chief Operating Officer, and interim Chief Executive Officer pursuant to
and in accordance with the terms and conditions set forth in that certain Employment Agreement between
FCI and Mr. Brand (the “Employment Agreement”), (ii) payment of certain fees to Matthew D. Rosen in
connection with his role as Chairman of the Board, and (iii) enter into that certain Consulting Agreement
between FCI and Russell P. Markman (the “Markman Consulting Agreement”). The motion will also
request authority to waive certain retention payments that were made to Mr. Rosen and Mr. Markman prior
to the Commencement Date. Mr. Rosen and Mr. Markman will resign as Chief Executive Officer and Chief
Operating Officer of FCI, respectively, and from any and all officer and director positions at any of FCI’s
subsidiaries, effective October 7, 2019. Kevin Brand, FCI’s current Vice President of Customer Support,
will be named interim Chief Executive Officer of the Company upon the effective date of Mr. Rosen’s
resignation and until such time as a successor Chief Executive Officer is appointed. Mr. Brand will also
accept a permanent position as the Company’s Chief Operating Officer.

The Restructuring Committee believes that Mr. Brand’s deep industry and company knowledge, combined
with his past operational experience, make him an ideal candidate for these positions. Mr. Brand has been
in the technology and communications industry for more than thirty years. His background includes senior
leadership roles at AT&T, CAIS Internet, and EarthLink in a wide range of functional areas, including
product management, product marketing, network engineering and operations, customer support,
provisioning, and partner sales. Mr. Brand holds a B.S. in Systems Science and Mathematics from
Washington University in St. Louis and an M.S. in Operations Research from the University of California
at Berkeley. Mr. Brand joined FCI as Vice President – Customer Support, as part of the company’s
acquisition of the Cloud and Business Services business of Birch in May 2018, where he served in the same
positon after joining Birch in 2017. Prior to joining Birch, Mr. Brand served as Head of Products at
Promethean from 2015 to 2016.

Mr. Brand will enter into the Employment Agreement with the Company, which includes an initial annual
base salary of $550,000 which will remain in effect until a permanent CEO is appointed by the Board of
Directors, at which time Mr. Brand’s base salary will be reduced to $450,000.

Mr. Rosen will continue to serve as Chairman of the Board until the Effective Date and receive his current
base salary and remain eligible to participate in the Company’s retirement and health and welfare benefit
plans. In addition, pursuant to the Second Amended Plan, on the Effective Date, Mr. Rosen and the
Reorganized Debtors will enter into a consulting agreement (the “Rosen Consulting Agreement”), subject
to Court approval of the Second Amended Plan, pursuant to which Mr. Rosen will provide ongoing
consulting services to the Company. The Rosen Consulting Agreement provides that, among other things,
Mr. Rosen will begin a six-month consulting term on the Effective Date and will continue to receive his
current base salary during such term. Mr. Rosen will be subject to a number of covenants in favor of FCI,
including confidentiality during, and for 18 months after, the term of the Rosen Consulting Agreement and
non-solicitation of employees during the term of the Rosen Consulting Agreement, as well as other
restrictive covenants. As Chairman of the Board until the Effective Date and consultant thereafter, Mr.
Rosen will be available to assist Mr. Brand and the Company to stabilize the business and put the Company
on the right track to profitability. Mr. Rosen has extensive experience in the industry and strong
relationships with the Company’s employees, customers, and vendors that need to be carefully managed
and attended to.



                                                    16
WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57                 Main Document
                                              Pg 29 of 565


Mr. Markman will remain employed with the Company until his employment is formally terminated by the
Company. He will continue to receive bi-weekly pay at a level equivalent to Mr. Markman’s current base
salary. On the date upon which Mr. Markman is formally terminated by the Company, FCI will enter into
the Markman Consulting Agreement, pursuant to which Mr. Markman will provide ongoing consulting
services. The Markman Consulting Agreement provides that, among other things, Mr. Markman will
provide consulting services for a three-month term with FCI and receive a fixed monthly fee of $33,334.
Mr. Markman will be subject to a number of covenants in favor of FCI, including confidentiality during,
and for 18 months after, the term of the Markman Consulting Agreement and non-solicitation of employees
during the term of the Markman Consulting Agreement. Pursuant to the Consulting Agreement, Mr.
Markman’s scope of work includes, but is not limited to, being available, during normal business hours, to
respond to questions from Mr. Brand and/or his designee regarding strategic questions relating to sale and
marketing activities of the Company. As is the case with Mr. Rosen, Mr. Markman has deep relationships
with key stakeholders at the Company, in particular, the channel partners. A smooth transition of Mr.
Markman is essential for preservation of value.

Prior to the Commencement Date, Mr. Rosen and Mr. Markman were each paid a retention bonus pursuant
to the Company’s key employee retention program (“KERP”) of $200,000 and $250,000, respectively.
Following consultation with, and with the support of, the First Lien Lender Group and the Creditors’
Committee, the Company has elected not to pursue the return of these payments because Mr. Rosen and
Mr. Markman will continue to provide valuable contributions to the Company. The First Lien Lender
Group and the Creditors’ Committee consent to this treatment and it is a critical component of the Global
Settlement.

The Rosen Consulting Agreement has been incorporated into the Plan and will be entered into with the
Reorganized Debtors upon the Effective Date of the Plan. In addition, the Plan has been modified to provide
that any recovery by the Litigation Trust against Mr. Rosen and Mr. Markman will be limited to D&O
Insurance amounts. Modifications were made to the Global Settlement to account for this negotiated
change.

          D.        Regulation of Company’s Business

In the United States, Fusion Connect, Inc., Fusion LLC, Fusion Cloud Services, LLC (“FCS”), Fusion
Communications, LLC, Fusion Telecom of Kansas, LLC, Fusion Telecom of Oklahoma, LLC, Fusion
Telecom of Missouri, LLC, and Fusion Telecom of Texas Ltd., L.L.P.’s (collectively the “Fusion
Licensees”) services are generally subject to varying degrees of federal, state and local regulation,
including regulation by the FCC and the State PUCs. While these regulatory agencies grant the Fusion
Licensees the authority to operate those aspects of their services that are subject to regulation, they typically
exercise minimal control over the Fusion Licensees’ services and pricing.

                    1.        Telecommunications Services

As carriers, the Fusion Licensees are subject to FCC regulation under the Communications Act of 1934 (as
amended, the “Communications Act”). The Fusion Licensees have the necessary authority under Section
214 of the Communications Act to operate in the United States as providers of domestic interstate
telecommunications services and to provide international telecommunications services pursuant to FCI’s
international Section 214 authority. Fusion Cloud Services, LLC also holds FCC-issued common carrier
radio station licenses and a private radio station license. The Fusion Licensees also hold various intrastate
telecommunications authorizations issued by the State PUCs.

These agencies impose regulatory obligations upon the Fusion Licensees, including but not limited to
licensing/registration and tariffing requirements; annual FCC and State PUC regulatory assessments; 911


                                                       17
WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57                   Main Document
                                              Pg 30 of 565


emergency service requirements; Communications Assistance for Law Enforcement requirements;
obligations to support federal and state universal service funds; compliance with and contributions to
Telecommunications Relay Services (“TRS”); compliance with public safety and consumer protection
standards; compliance with the protocols of the North American Numbering Plan Administration
(“NAMPA”), and the Local Number Portability Administration as well as with Customer Proprietary
Network Information (“CPNI”) requirements and disability access obligations, Local Number Portability
(“LNP”) requirements, service discontinuance notification obligations, outage reporting requirements, and
rural call completion reporting and rules related to ring signal integrity. Should such Fusion Licensee fail
at any time to hold the licenses required to provide intrastate, interstate or international services, fail to meet
any of the FCC and State PUC requirements discussed above applicable to these licenses, including the
payment of required regulatory fees and fund contributions, the Fusion Licensee could be subject to fines
and/or other penalties, including revocation of operating authorizations.

                    2.        VoIP Services

The Company’s U.S. VoIP services are lightly regulated, although certain traditional telecommunications
regulations have been applied to VoIP services. The FCC does not require companies to hold an
authorization to provide VoIP services; however, the FCC does require providers of interconnected VoIP
services to comply with: 911 emergency service requirements; registration requirements; Communications
Assistance for Law Enforcement requirements; obligations to support Universal Service including the
Universal Service Fund (“USF”), TRS, FCC regulatory fees; NAMPA, and the Local Number Portability
Administration; CPNI requirements; disability access obligations; LNP requirements; service
discontinuance notification obligations; outage reporting requirements; and rural call completion reporting
and rules related to ring signal integrity. The FCC defines interconnected VoIP service as service that (i)
enables real-time, two-way voice communications, (ii) requires a broadband connection from the user’s
location, (iii) requires internet protocol compatible customer premises equipment, and (iv) permits users
generally to receive calls that originate on and terminate calls to the public switched telephone network.
Under this definition, the Fusion Licensees are providers of interconnected VoIP service. Should a Fusion
Licensee fail to meet any of the FCC requirements discussed above or fail to make required contributions
in the future, it could be subject to fines and/or penalties.

As a result of the FCC’s preemption of states’ ability to regulate certain aspects of VoIP service, and a trend
in state legislatures to affirmatively deregulate VoIP services for most purposes, the Company’s VoIP
services in the U.S. are subject to relatively few state regulatory requirements aside from a small number
of registrations, collection of state and local E911 fees and state Universal Service support obligations. The
state regulatory framework for Fusion Connect’s U.S. VoIP services continues to evolve, so the Company,
in conjunction with its professional advisors, monitors the actions of the various state regulatory agencies
and endeavors to ensure that it is in compliance with applicable state law, including any new statutes or
regulations that may be passed. However, there can be no assurance that the Company will become aware
of all applicable requirements on a timely basis, or that the Company will always be fully compliant with
applicable rules and regulations. Should the Company fail to be compliant with applicable state regulations,
or to file required reports with state regulatory agencies, the relevant Fusion Licensee could be subject to
fines and/or penalties. The Company expects to incur ongoing operational, legal, and system costs in order
to comply with these rules and regulations.

          E.        Debtors’ Existing Capital Structure

                         1. Prepetition Indebtedness

The following description is for informational purposes only and is qualified in its entirety by reference to
the documents setting forth the specific terms of such obligations and their respective related agreements.


                                                        18
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57                    Main Document
                                               Pg 31 of 565



                              (a)   Super Senior Loan Agreement

To obtain additional working capital during the weeks leading to the Commencement Date, the Debtors
entered into that certain Super Senior Secured Credit Agreement, dated as of May 9, 2019 (as amended,
supplemented, amended and restated or otherwise modified from time to time, the “Super Senior Loan
Agreement” and such obligations thereunder, the “Super Senior Loan Claims”) among Fusion Connect,
as borrower, the other Debtors, as guarantor subsidiaries, Wilmington Trust, National Association
(“Wilmington Trust”), as administrative agent and collateral agent, and the lenders party thereto
(the “Super Senior Lenders”).6 As of the Commencement Date, the aggregate principal amount
outstanding under the Super Senior Loan Agreement was $20.0 million. Obligations under the Super Senior
Loan Agreement are secured by a lien on substantially all of the Debtors’ assets, including 100% of the
equity of non-Debtor Primus Management.

                              (b)   First Lien Credit Agreement

As of the Commencement Date, the Debtors had outstanding first lien secured debt obligations under that
certain First Lien Credit and Guaranty Agreement, dated as of May 4, 2018 (as amended, supplemented,
amended and restated or otherwise modified from time to time, the “First Lien Credit Agreement” and
such obligations thereunder, the “First Lien Claims”) among Fusion Connect, as borrower, the other
Debtors, as guarantor subsidiaries, Wilmington Trust, as administrative agent and collateral agent, and the
lenders party thereto (the “First Lien Lenders”). As of the Commencement Date, the aggregate principal
amount outstanding under the First Lien Credit Agreement was approximately $585.5 million, which
amount consisted of the following tranches of debt, each secured by the same collateral with pari passu
lien priority: (i) approximately $44.2 million in “Tranche A” term loans (the “Tranche A Term Loans”),
(ii) approximately $499.0 million in “Tranche B” term loans (the “Tranche B Term Loans”), and
(iii) $39.8 million in loans under a revolving facility (the “Revolving Loans”), as well as approximately
$512,000 in aggregate face amount of issued and outstanding letters of credit. Obligations under the First
Lien Credit Agreement are secured by a lien on substantially all of the Debtors’ assets, with a junior priority
to the Super Senior Loan Claims (other than, in respect of the Vector Subordinated Note Collateral, the
Prepetition First Lien Revolving Lenders and the Prepetition Issuing Bank).

In connection with the closing of the First Lien Credit Agreement, Vector Fusion Holdings (Cayman), Ltd.
issued a subordinated note to Fusion Connect, dated as of May 4, 2018, in the aggregate principal amount
of $25.0 million (the “Vector Subordinated Note”). The Vector Subordinated Note and the proceeds
thereof are pledged to the collateral agent under the First Lien Credit Agreement for the benefit of the
secured parties thereunder. Under the first lien credit documents, the super senior loan documents, and the
DIP Order, any value received by the first lien collateral agent, the super senior collateral agent, the DIP
agent, or any secured party under any of the foregoing facilities in respect of the Vector Subordinated Note
Collateral must be applied first toward the payment in full of all obligations owing to holders of the
Revolving Loans and the Prepetition Issuing Bank prior to any application on any other secured obligations
in respect of the DIP Facility, the Super Senior Loan Agreement, or the First Lien Credit Agreement.

All rights, title and interest in the Vector Subordinated Note held by Fusion Connect shall vest in
Reorganized FCI upon the Effective Date. For the avoidance of doubt, nothing in the Second Amended
Plan shall impair the Revolving Lenders’ and Issuing Bank’s rights or priority with respect to the Vector
Subordinated Note Collateral under the Prepetition First Lien Credit Documents. Nothing herein shall be
deemed to be a finding that any rights set forth under the Prepetition First Lien Credit Documents are valid
and enforceable after the Effective Date, and nothing herein shall prejudice or constitute a waiver of any

6
      The Super Senior Lenders are a subset of lenders under the First Lien Credit Agreement.


                                                        19
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57             Main Document
                                               Pg 32 of 565


right, remedy, claim, defense or counterclaim of any First Lien Lender pursuant to the First Lien Credit
Documents or otherwise, including, without limitation, any defenses it may raise in any action commenced
by any Revolving Lender or other party. Subject to applicable law, any value received on account of the
Vector Subordinated Note Collateral may be applied at the discretion of the Reorganized Debtors.

                              (c)   Second Lien Credit Agreement

The Debtors have outstanding second lien term loan obligations under that certain Second Lien Credit and
Guaranty Agreement, dated as of May 4, 2018 (as amended, supplemented, amended and restated or
otherwise modified from time to time, the “Second Lien Credit Agreement” and such obligations
thereunder, the “Second Lien Claims”) among Fusion Connect, as borrower, the other Debtors, as
guarantor subsidiaries, GLAS Americas LLC (as successor to Wilmington Trust), as administrative agent
and collateral agent, and the lenders party thereto (the “Second Lien Lenders”). As of the Commencement
Date, the aggregate principal amount outstanding under the Second Lien Credit Agreement was
$85.0 million. Obligations under the Second Lien Credit Agreement are secured by a lien on substantially
all of the Debtors’ assets, with a junior priority to the Super Senior Loan Claims and the First Lien Claims.

                              (d)   Intercreditor Agreements

The secured parties under the Super Senior Loan Agreement and the First Lien Credit Agreement are subject
to that certain Super Senior Intercreditor Agreement, dated as of May 9, 2019 (as amended, supplemented,
amended and restated or otherwise modified from time to time, the “Super Senior Intercreditor
Agreement”) among Wilmington Trust, in its capacities as super senior representative and first lien
obligations representative. The secured parties under the Super Senior Loan Agreement, the First Lien
Credit Agreement, and the Second Lien Credit Agreement are subject to that certain Intercreditor
Agreement, dated as of May 4, 2018 (as amended, supplemented, amended and restated or otherwise
modified from time to time, the “1L / 2L Intercreditor Agreement”, and, together with the Super Senior
Intercreditor Agreement, the “Intercreditor Agreements”) among Wilmington Trust, in its capacities as
additional first lien obligations representative and first lien obligations representative, and GLAS Americas
LLC (as successor to Wilmington Trust) as second lien obligations representative.

                              (e)   Green Note

Fusion Connect has an outstanding note obligation under that certain Subordinated Promissory Note, dated
as of May 4, 2018 (the “Green Note”) between Fusion Connect and Holcombe T. Green, Jr. As of the
Commencement Date, the aggregate principal amount outstanding under the Green Note was $10.0 million.
Obligations under the Green Note are unsecured.

                              (f)   Bircan Notes

Fusion BCHI is party to three (3) outstanding notes (collectively, the “Bircan Notes”): (i) that certain
Amended and Restated Subordinated Promissory Note, dated as of May 4, 2018, with a principal
outstanding amount of approximately $1.5 million; (ii) that certain Amended and Restated Subordinated
Promissory Note, dated as of May 4, 2018, with a principal outstanding amount of $1.3 million; and
(iii) that certain Amended and Restated Subordinated Promissory Note, dated as of May 4, 2018, with a
principal outstanding amount of $0.5 million. As of the Commencement Date, the aggregate principal
amount outstanding under the Bircan Notes was approximately $3.3 million. Obligations under each of the
Bircan Notes are unsecured.

                              (g)   Intercompany Note


                                                     20
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57                 Main Document
                                               Pg 33 of 565


Each of the Debtors, as well as the Canadian Subsidiaries, are party to that certain Global Intercompany
Note, dated as of May 9, 2019 (the “Intercompany Note”). All parties to the Intercompany Note are both
“payors” and “payees,” and the Intercompany Note does not contemplate any static principal amount owing.
The Intercompany Note governs the fluctuating balance of intercompany receivables and payables between
each of FCI’s subsidiaries. All obligations under the Intercompany Note are unsecured as between payors
and payees, other than an intercompany loan in the principal amount of $2.0 million made by Fusion
Connect to Primus Management, which is secured by a lien on certain assets of Primus Management.
Obligations under the Intercompany Note are pledged as security for all tranches of the Company’s secured
debt.

                      2.      Equity Ownership

As of the Commencement Date, 150,000,000 shares of Fusion Connect common stock, $0.01 par value per
share, were authorized and 81,967,263 shares of Fusion Connect common stock were issued and
outstanding. As of June 21, 2019, there were 646 record holders of the common stock, with approximately
60.7% held by BCHI.7 As of the Commencement Date, 10,000,000 shares of Fusion Connect preferred
stock were authorized and 15,000 shares of Series D preferred stock were issued and outstanding, all of
which are held by BCHI. The Company was delisted from the NASDAQ Global Market effective May 13,
2019.

                               III.
    CIRCUMSTANCES LEADING TO COMMENCEMENT OF CHAPTER 11 CASES

          A.        Birch Merger

The Company has historically driven its growth in substantial part through strategic acquisitions. On
August 26, 2017, in furtherance of that strategy, Fusion Connect and Fusion BCHI entered into a merger
agreement with Birch, which underlying transaction closed on May 4, 2018. Due to a number of factors,
including the fact that Birch was the larger entity and the previous Birch shareholders would acquire 65.2%
of the outstanding shares of Fusion Common Stock, the transaction constituted a reverse merger with FCI
being the acquirer for legal purposes and Birch being the acquirer of FCI for accounting purposes. In
connection with the Birch Merger, the Company also spun-off Lingo Management, LLC (“Lingo”), 8 along
with certain related subsidiaries, to the previous Birch shareholders.

To finance the Birch Merger, the Company entered into the First Lien Credit Agreement and the Second
Lien Credit Agreement.9 The Company used proceeds from the foregoing to: (i) refinance the Company’s
and its subsidiaries’ existing indebtedness, (ii) pay expenses related to the Birch Merger and associated
transactions, and (iii) pay down certain subordinated notes owed by Birch to Holcombe T. Green, Jr., R.
Kirby Godsey, and Holcombe T. Green, III. The Company also applied a portion of the proceeds from the
First Lien Credit Agreement to pay a portion of the purchase price for MegaPath.

FCI pursued the Birch Merger with a vision of leveraging its existing processes and structures to create
synergies between Fusion Connect’s and Birch’s joined customer bases, combine network infrastructure
assets to improve operational efficiencies, and ultimately drive material growth in Fusion Connect’s and

7
      Holcombe T. Green, Jr. is the managing member of BCHI and has voting and dispositive power over BCHI’s
      shares of Fusion Connect common stock.
8
      Lingo operated Birch’s business relating to its U.S.-based consumer customers, wireless customers, and small
      business customer base.
9
      On the same date, Fusion Connect entered into the Green Note and Fusion BCHI entered into the Bircan Notes.


                                                        21
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57                Main Document
                                           Pg 34 of 565


Birch’s combined annual revenue. While the Company was able to improve operations and use the Birch
Merger as a platform for expansion, the Birch business plan proved to be overly aggressive in terms of
sustained customer bookings and price increases. A number of factors, including missed revenue
projections left the Company with significantly less liquidity than originally anticipated.

          B.        Amortization and Interest Payments

The Company’s liquidity position exposed it to default risk under both the First Lien Credit Agreement and
Second Lien Credit Agreement. By the end of March 2019, the Company faced a pending $6.7 million
amortization payment under the First Lien Credit Agreement and a $300,000 interest payment on the Green
Note due on March 31, 2019 (together, the “Amortization and Interest Payments”). In light of the
Company’s limited working capital, it determined that it was unlikely to be able to make the Amortization
and Interest Payments, and such non-payment would likely trigger a cross-default under the Second Lien
Credit Agreement.

Thus, the Company began liaising with its key constituencies to obtain a waiver of existing defaults, and to
engage in negotiations regarding potential restructuring of the Company’s indebtedness. Meanwhile, due
to the Company’s failure to timely file its 2018 Form 10-K with the SEC and to pay certain NASDAQ
listing fees, NASDAQ delisted Fusion Connect’s common stock from its exchange, effective May 13, 2019.

          C.        Vendor Relationships and Lingo Dispute

The Company’s precarious liquidity position forced it to stretch trade terms with its vendors. As a result,
the Company’s relationships with many of its vendors became increasingly strained.

The Company also is involved in disputes with Lingo regarding the value of the assets transferred to Lingo
in connection with the Birch Merger and also stemming from Lingo’s failure to remit payments owed to
the Company for certain services the Company has provided to Lingo since the Birch Merger pursuant to a
transition services agreement and a carrier services agreement. As of the Commencement Date, outstanding
amounts remain due and owing to the Company.

          D.        Pursuit of New Equity Investment

Weil, Gotshal & Manges LLP and FTI Consulting, Inc. were each retained in March 2019 to assist the
Company in exploring and evaluating potential transactions to improve its financial position. The Company
and its advisors began by engaging in discussions with the Company’s majority shareholder and certain
lenders regarding the possibility of a new capital infusion and amendments to the First Lien Credit
Agreement and the Second Lien Credit Agreement. By early April 2019, negotiations had progressed to a
point where the Company, the majority shareholder, and certain lenders were close to finalizing an
agreement in principle. Ultimately, however, the parties were unable to agree on final terms.

          E.        Forbearance Agreement

In light of the outstanding defaults under the First Lien Credit Agreement and Second Lien Credit
Agreement, the Company remained engaged in extensive discussions with the First Lien Lender Group,
certain lenders holding Tranche A Term Loans and Revolving Loans, the Second Lien Lenders, and each
of their respective advisors. Such discussions culminated in a forbearance agreement, dated April 15, 2019
(the “Forbearance Agreement”) among Fusion Connect and substantially all of its lenders under the First
Lien Credit Agreement (collectively, the “Forbearing Lenders”). Pursuant to the Forbearance Agreement,
the Forbearing Lenders agreed not to exercise any remedies under the First Lien Credit Agreement with



                                                    22
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57                  Main Document
                                           Pg 35 of 565


respect to the Company’s then existing defaults until April 29, 2019. Certain Forbearing Lenders
subsequently extended the term of the Forbearance Agreement to June 3, 2019.

Although the Company was unable to reach an agreement with the Second Lien Lenders as to a similar
forbearance, the Second Lien Lenders were nonetheless barred from exercising remedies under the Second
Lien Credit Agreement due to a 150-day standstill provision set forth in the 1L / 2L Intercreditor Agreement.

          F.        Super Senior Financing

As described above, during the forbearance period, the Company and the First Lien Lender Group continued
discussions to build a path toward a consensual sale or reorganization transaction. On May 9, 2019, the
Company closed the Super Senior Loan Agreement, securing an additional $15.0 million in liquidity, and
on May 28, 2019 obtained an incremental $5.0 million thereunder.

          G.        Formation of Restructuring Committee

On May 10, 2019, in connection with the Company’s evaluation of strategic alternatives and as
contemplated by the Super Senior Loan Agreement, Fusion Connect’s board of directors (the “Board”)
increased the size of the Board from seven (7) to eight (8) members and appointed Neal P. Goldman to the
Board. Given his experience and familiarity with the restructuring situations, Mr. Goldman understood that
he would take on a leading role with respect to the Company’s potential restructuring.

The Board selected Mr. Goldman from a slate of candidates proposed to the Board by the Company’s
advisors after interviewing several such candidates and determining that Mr. Goldman possesses the
relevant and appropriate qualifications, experience, and skills to serve as a director. More details about Mr.
Goldman’s qualifications and experience are set forth in the Company’s Current Report on Form 8-K filed
with the SEC on May 14, 2019. Mr. Goldman’s representative board experience, which the Board
determined makes Mr. Goldman an ideal candidate to serve as a Director and as a member of the Special
Committee, includes his current positions as Chairman of the Board of Talos Energy Inc., and member of
the Boards of Ultra Petroleum Corporation and Ditech Holding Corporation.

As explained in the Form 8-K, there are “no arrangements or understandings between Mr. Goldman and
any other persons pursuant to which Mr. Goldman was selected as director. There are no family
relationships between Mr. Goldman and the Company’s existing directors and officers. There has been no
transaction, nor is there any currently proposed transaction, between Mr. Goldman and the Company that
would require disclosure” under Item 404 of Regulation S-K. Based on information submitted to and
known by the Board, the Board assessed Mr. Goldman’s independence and determined that Mr. Goldman
is independent in accordance with the rules of Nasdaq Stock Market.

Mr. Goldman also has no relationship or connections to the Company’s Lenders whatsoever, including
Vector Capital. To his best knowledge and belief, Mr. Goldman does not know and has never met any
member of the Ziff family or any affiliate of Vector. Mr. Goldman served as a Managing Director at Och
Ziff Capital Management, L.P. (“Och Ziff”) from 2014-2016. Och Ziff is one of the largest institutional
alternative asset managers in the world. Och Ziff was founded in 1994 by Daniel Och with financial support
(an initial investment into Mr. Och’s enterprise known as “seed money”) from the Ziff family. When Mr.
Goldman was employed by Och Ziff, to his knowledge and belief, there was no remaining affiliation
between the Ziff family and Och Ziff.

On May 28, 2019, the Board established and appointed Mr. Goldman, along with Michael J. Del Giudice,
Lewis W. Dickey, Jr., and Rafe de la Gueronniere (collectively, the “Independent Directors”) to serve on



                                                     23
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57                  Main Document
                                           Pg 36 of 565


the Restructuring Committee of the Board to, among other things, evaluate and negotiate potential sale and
restructuring transactions for the Company.

The Restructuring Committee has complete and exclusive authority over the Debtors’ restructuring,
including all matters related to the Chapter 11 Cases other than the matters within the purview of the Special
Committee (as defined below).

          H.        Formation and Function of Special Committee

Separately, the Board established a special committee (the “Special Committee”) to review, investigate,
and determine whether to pursue any remedies or other appropriate actions with respect to potential claims
belonging to the Company against affiliates. In line with the mandate of the Special Committee, Mr.
Goldman was appointed as the sole member of the Special Committee principally because Mr. Goldman
(and only Mr. Goldman) was not involved in any of the prior transactions involving the Company that were
the subjects of the investigation.

In connection with its investigation, Mr. Goldman has been advised by Weil, Gotshal & Manges LLP, as
legal counsel. The Special Committee has reviewed internal documents and communications, including,
among other documents, (i) all board of director meeting minutes and associated materials dating from June
2017 through May 2018, (ii) all material documents pertaining to the Fusion and Birch Merger, (iii)
presentations by the Company’s financial advisor in connection with the merger, and (iv) a schedule
evidencing all Birch shareholder distributions and director payments from 2014-2016, along with
correspondence between Fusion and outside parties (including Lingo). The Special Committee also
interviewed four (4) Fusion current and former directors and officers, and interviewed the Company’s
outside auditor, Eisner Amper.

The Special Committee also conducted an analysis of potential claims the Debtors may have, including
against any current or former directors, officers, or affiliates of the Company. Among other things, the
Special Committee investigated claims for breaches of fiduciary duty, constructive fraudulent transfer, and
professional malpractice. Disclosure of the conclusions reached by the Special Committee, if any, could
prejudice these potential claims.

The Special Committee and the Company have also responded to document requests received from the
Creditors’ Committee (as defined below) and the Special Committee is coordinating with the Creditors’
Committee and the parties to the Restructuring Support Agreement regarding its investigation. Notably,
under the Second Amended Plan, the Special Committee has identified individuals and entities that will not
be released pursuant to the Second Amended Plan, including former directors and officers of the Debtors
as well as certain current directors of the Board and officers, to allow the Special Committee to complete
its work. The Special Committee is satisfied that none of the releases or exculpatory provisions in the
Second Amended Plan will impede the ability of the Litigation Trust Oversight Committee to complete its
investigation and, if appropriate, pursue claims. The Creditors’ Committee and the First Lien Lender Group
each agreed to the proposed releases and exculpations contemplated in the Second Amended Plan.

          I.        Marketing Process

In May 2019, the Company and its advisors conducted the Prepetition Marketing Process. PJT Partners LP
(“PJT”), on behalf of the Company, contacted over forty (40) potential investors, with the aim of attracting
multiple proposals to either (i) provide a preferred or common equity investment or (ii) acquire the
Company’s business on a cash-free, debt-free basis. In connection with this solicitation, the Company and
its advisors prepared, among other things, a confidential information memorandum (“CIM”) and an
electronic data room to provide potential investors and bidders with adequate information upon which to


                                                     24
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456    Filed 10/07/19 Entered 10/07/19 15:38:57                Main Document
                                            Pg 37 of 565


make a proposal. During this process, sixteen (16) interested investors executed confidentiality agreements
and were granted access to the CIM, which contains significant diligence and other confidential information
about the Company’s business. The deadline for interested investors to submit initial bids was May 21,
2019. Although no formal IOIs were received, several of these parties indicated ongoing interest, and the
Company and its advisors continue to engage in discussions with these parties and provide due diligence
information (including access to an electronic data room). In support of the Company’s Marketing Process,
the Company obtained approval of bidding and auction procedures for the orderly and value-maximizing
marketing and sale of the Company’s business.

Following the Commencement Date, PJT contacted approximately one hundred and twenty-five (125)
additional potential investors, twenty-two (22) of which entered into non-disclosure agreements and
received access to the CIM. Pursuant to the Bidding Procedures Order, the deadline to submit non-binding
indications of interest was July 16, 2019. The Debtors received five (5) IOIs indications of interest for the
U.S. Business and six (6) IOIs for the Canadian Business. The Debtors, with the assistance of their financial
advisors, engaged in numerous discussions with the parties that submitted IOIs in an attempt to increase
the value of the bids contained therein.

Following extensive analysis of the IOIs received, and with the support of each of the Consultation Parties
(as defined in the Bidding Procedures Order), on August 27, 2019, the Debtors filed a Notice of Election to
Pursue Reorganization Transaction and Termination of U.S. Sale Process with the Bankruptcy Court (the
“Notice of Election”). Notably, none of the IOIs would have resulted in any recovery to the Second Lien
Lenders or other junior creditors. The Debtors considered this as a significant factor in their valuation of
the Reorganization Transaction. Pursuant to the Restructuring Support Agreement, New Equity Interests
and/or Special Warrants will be distributed to the holders of Allowed First Lien Claims. Pursuant to the
Restructuring Support Agreement, the Requisite First Lien Lenders have consented to the termination of
the Marketing Process for the U.S. Business and instead have elected to pursue the Reorganization
Transaction. Fusion Connect is continuing to pursue the Marketing Process with respect to the Canadian
Business.

          J.        Alternative Restructuring Proposals

Simultaneously with its negotiations with the First Lien Lender Group, the Company remained in
discussions with other key stakeholders. The Company and the First Lien Lender Group have continued
discussions with all key stakeholders during the Chapter 11 Cases.

                                            IV.
                              OVERVIEW OF THE CHAPTER 11 CASES

          A.        Commencement of Chapter 11 Cases and First Day Motions

On June 3, 2019, the Debtors commenced the Chapter 11 Cases. The Debtors continue to manage their
estates as debtors-in-possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. To that
end, the Debtors filed various motions seeking relief from the Bankruptcy Court to promote a seamless
transition between the Debtors’ prepetition and postpetition business operations, facilitate a smooth
restructuring through the Chapter 11 Cases, and minimize any disruptions to the Debtors’ operations (the
“First Day Motions”). At the first day hearing held on June 4, 2019 and continued on June 10, 2019, the
Bankruptcy Court granted substantially all of the relief requested in the First Day Motions and entered
various orders authorizing the Debtors to, among other things:

         continue paying employee wages and benefits;



                                                     25
WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456    Filed 10/07/19 Entered 10/07/19 15:38:57                      Main Document
                                               Pg 38 of 565


         continue to use the Debtors’ cash management system, bank accounts, and business forms;

         pay certain critical vendors and obligations with respect to prepetition orders of goods and services
          to be delivered postpetition;

         pay prepetition claims of shippers, warehousemen, and other lien claimants;

         continue insurance and workers’ compensation programs, the processing of workers’
          compensation claims, and continue the Debtors’ surety bond program;

         continue to pay all taxes, fees, and similar charges and assessments, whether arising prepetition or
          postpetition, to the appropriate taxing, regulatory, or other governmental authority in the ordinary
          course;

         continue customer programs;

         establish procedures for utility companies to request adequate assurance of payment and to prohibit
          utility companies from altering or discontinuing services; and

         obtain debtor-in-possession financing and use cash collateral, as discussed in more detail herein.

          B.        DIP Facility and Cash Collateral

                    1.        DIP Facility

To pay their ordinary course operating expenses, finance the Chapter 11 Cases, and, ultimately, provide the
Debtors with the flexibility to consummate the transactions contemplated by the Restructuring Support
Agreement, the Debtors filed a motion (ECF No. 17) (the “DIP Motion”) to enter into the DIP Facility,
which consists of (i) up to $39.5 million in new money term loans and (ii) up to $20.0 million in roll-up
term loans. The DIP Facility ensures that the Debtors’ financing needs can be met during the Chapter 11
Cases. The term of the DIP Facility is four (4) months from the closing date of the DIP Facility, with an
option for up to three (3) extensions, each for a term of one (1) month, if approved by the Requisite Lenders.
The interim order granting the relief requested in the DIP Motion, including an interim draw of up to $20.0
million under the DIP Facility, can be found at ECF No. 57 (the “Interim DIP Order”) and the final order
granting the relief requested in the DIP Motion, including a draw of up to $19.5 million under the DIP
Facility, can be found at ECF No. 160 (the “Final DIP Order”, and, together with the Interim DIP Order,
the “DIP Orders”).10

On October 4, 2019, the Debtors and the DIP Lenders executed an amendment to the Superpriority Secured
Debtor-in-Possession Credit and Guaranty Agreement which, among other things, moved the Stated
Maturity Date (as defined in the DIP Credit Agreement) from October 7, 2019 to November 7, 2019.

                    2.        Cash Collateral

In addition, the Debtors are authorized, on an interim basis, to consensually use the cash collateral of the
Prepetition Secured Parties. In exchange, the Debtors are providing the Prepetition Secured Parties with
the following:


10
      Capitalized terms used but not otherwise defined in this Section IV.B shall have the respective meanings ascribed
      to such terms in the DIP Orders.


                                                          26
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57               Main Document
                                               Pg 39 of 565



                              (a)   Adequate Protection Liens

The Prepetition Super Senior Agent, for itself and for the benefit of the Prepetition Super Senior
Lenders, has, in the amount of the Prepetition Super Senior Secured Parties’ Adequate Protection
Claims, a valid, perfected replacement security interest in and lien upon all of the DIP Collateral, in each
case subject and subordinate only to (i) the Carve Out and (ii) the DIP Liens and any liens to which the DIP
Liens are junior (including the Prepetition Permitted Prior Liens and Senior Permitted Liens and, solely
with respect to the Vector Subordinated Note Collateral, the liens securing the claims of the Prepetition
First Lien Revolving Lenders and the Prepetition Issuing Bank arising under the Prepetition First Lien
Credit Agreement).

The Prepetition First Lien Agent, for itself and for the benefit of the Prepetition First Lien Lenders, has, in
the amount of the Prepetition First Lien Lenders’ Adequate Protection Claims, a valid, perfected
replacement security interest in and lien upon all of the DIP Collateral, in each case subject and subordinate
only to (i) the Carve Out, (ii) the DIP Liens and any liens to which the DIP Liens are junior (including the
Prepetition Permitted Prior Liens and Senior Permitted Liens and, solely with respect to the Vector
Subordinated Note Collateral, the liens securing the claims of the Prepetition First Lien Revolving Lenders
and the Prepetition Issuing Bank arising under the Prepetition First Lien Credit Agreement), (iii) the Super
Senior Adequate Protection Liens, and (iv) Prepetition Super Senior Credit Facility Liens.

The Prepetition Second Lien Agent, for itself and for the benefit of the Prepetition Second Lie Lenders,
has, in the amount of the Prepetition Second Lien Lenders’ Adequate Protection Claims, a valid, perfected
replacement security interest in and lien upon all of the DIP Collateral, in each case subject and subordinate
only to (i) the Carve Out, (ii) the DIP Liens and any liens to which the DIP Liens are junior (including the
Prepetition Permitted Prior Liens and Senior Permitted Liens), (iii) the Super Senior Adequate Protection
Liens, (iv) the Prepetition Super Senior Credit Facility Liens, (v) the First Lien Adequate Protection Liens,
and (vi) the Prepetition First Lien Credit Facility Liens.

                              (b)   507(b) Claims

The Prepetition Super Senior Agent, the Prepetition First Lien Agent, and the Prepetition Second Lien
Agent, for itself and for the benefit of each of the Prepetition Super Senior Lenders, the Prepetition First
Lien Lenders and the Prepetition Second Lien Lenders, respectively, are entitled to receive an
administrative expense claim pursuant to section 507(b) of the Bankruptcy Code, for and equal in amount
to the aggregate diminution in value of their collateral, if any, subject to the Carve-Out and the priorities
set forth in the DIP Facility.

                              (c)   Adequate Protection Payment and Interest Accrual

Only after the DIP Obligations are fully discharged, the Prepetition Super Senior Agent, on behalf of the
Prepetition Super Senior Lenders, until the Prepetition Debt Refinancing occurs, and the Prepetition First
Lien Agent, on behalf of the Prepetition First Lien Lenders, will receive cash payments in an amount equal
to the amount of the net cash proceeds received by the Debtors of the sale of any Prepetition Collateral
(including, for the avoidance of doubt, net cash proceeds from the sale of Prepetition Collateral in
connection with an Asset Sale (as such term is defined in the DIP Credit Agreement)), payable not later
than the fifth business day following the date of receipt of such proceeds; provided, that, in the event that
payment of such cash payments would result in the Debtors’ having less cash on hand than the amount of
the Carve-Out, the costs associated with administering the Debtors’ estates payable under the Budget prior
to any wind-down of the Debtors’ estates, and the reasonable expected costs associated with the wind-down
of the Debtors’ estates (the “Reserve Amount”), such cash payments shall be reduced to the extent that,
following the payment of such cash payments, the Debtors’ cash on hand is equal to the Reserve Amount.

                                                      27
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57               Main Document
                                               Pg 40 of 565


Until the Prepetition Debt Refinancing occurs, the Prepetition Super Senior Agent, on behalf of the
Prepetition Super Senior Lenders, received or will receive, as applicable, (x) on the date of entry of the
Interim DIP Order, all interest that accrued on the Prepetition Super Senior Loans and that was due and
payable on June 3, 2019, (y) on the last business day of each month, all interest that accrued on the
Prepetition Super Senior Loans during the monthly period (or portion thereof) ending on such last business
day and (z) on the date that the Prepetition Debt Refinancing occurs, all accrued and unpaid interest on the
Prepetition Super Senior Loans (with interest on the Prepetition Super Senior Loans, for purposes of clauses
(y) and (z) of this sentence, being calculated based upon the non-default “Base Rate” plus the “Applicable
Rate” applicable to “Base Rate Loans” as set forth in the Prepetition Super Senior Credit Agreement). The
Prepetition First Lien Agent, on behalf of the Prepetition First Lien Lenders, received or will receive (i) on
the date of entry of the Interim DIP Order, payment in-kind of all accrued and unpaid interest on the
Prepetition First Lien Loans (which interest shall be capitalized and added to the principal amount of the
applicable Prepetition First Lien Loans on the date hereof) and (ii) on the last business day of each month,
payment in-kind of all interest that accrued on the Prepetition First Lien Loans during the monthly period
(or portion thereof) ending on such last business day (which interest shall be capitalized and added to the
principal amount of the applicable Prepetition First Lien Loans on such last business day), with interest on
the Prepetition First Lien Loans, for purposes of this clauses (ii), being calculated based upon the non-
default “Base Rate” plus the “Applicable Rate” applicable to such “Base Rate Loans” as set forth in the
Prepetition First Lien Credit Agreement. In the event that it is determined by a final order, which order shall
not be subject to any appeal, stay, reversal or vacatur, that (i) no Diminution in Collateral Value of any
Prepetition First Lien Secured Party’s respective interests has occurred or (ii) such Prepetition First Lien
Secured Party is determined to be undersecured, then a party in interest shall have the right to assert that
such payments of adequate protection shall be applied toward repayment of the principal amount due on
such Prepetition First Lien Debt as is owing to such Prepetition First Lien Secured Party.

                              (d)   Adequate Protection Fees and Expenses

The Prepetition Super Senior Agent shall receive, for the benefit of the Prepetition Super Senior Lenders,
current cash payments of the reasonable and documented prepetition and postpetition fees and expenses of
the Prepetition Super Senior Agent under the Prepetition Super Senior Credit Documents and the First Lien
Lender Group, including, but not limited to, the reasonable and documented fees and out-of-pocket
expenses of Arnold & Porter Kaye Scholer LLP (solely in its capacity as counsel to the Prepetition Super
Senior Agent), Davis Polk & Wardwell LLP, Wiley Rein LLP, local counsel to the First Lien Lender Group,
if any, Greenhill & Co., Inc., Altman Vilandrie & Company and its sub-agents, and any other advisors
retained by the First Lien Lender Group, subject to the review procedures set forth in the DIP Orders. The
Prepetition First Lien Agent shall receive, for the benefit of the Prepetition First Lien Lenders, current cash
payments of the reasonable and documented prepetition and postpetition fees and expenses of (1) the
Prepetition First Lien Agent under the Prepetition First Lien Credit Documents and the First Lien Lender
Group, including, but not limited to, the reasonable and documented fees and out-of-pocket expenses of
Arnold & Porter Kaye Scholer LLP (solely in its capacity as counsel to the Prepetition First Lien Agent),
Davis Polk & Wardwell LLP, Wiley Rein LLP, local counsel to the First Lien Lender Group, if any,
Greenhill & Co., Inc., Altman Vilandrie & Company and its sub-agents, and any other advisors retained by
the First Lien Lender Group, to the extent not duplicative to the fees and expenses paid as Super Senior
Adequate Protection Fees and Expenses, and (2) certain of the Prepetition First Lien Revolving Lenders
constituting only those reasonable and documented fees and out-of-pocket disbursements of Simpson
Thacher & Bartlett LLP, incurred directly in connection with matters specific to the Prepetition First Lien
Revolving Lenders, each subject to the review procedures set forth in the DIP Orders.




                                                      28
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57               Main Document
                                               Pg 41 of 565



                              (e)   Adequate Protection Milestones

The Prepetition Super Senior Secured Parties and Prepetition First Lien Secured Parties are entitled to
performance of certain Adequate Protection Milestones, which cannot be waived, amended, modified or
extended from time to time, in each case (i) as to the Prepetition Super Senior Secured Parties absent (a)
order of the Court or (b) prior written consent of the Super Senior Requisite Lenders and (ii) as to the
Prepetition First Lien Secured Parties, absent (a) order of the Court or (b) prior written consent of the First
Lien Requisite Lenders, in certain instances as amended and reflected in the Final DIP Order.

                              (f)   Financial Covenant Compliance

The Prepetition Super Senior Secured Parties and the Prepetition First Lien Secured Parties are entitled to
compliance by the Debtors of those certain financial covenants set forth in section 6.7 of the DIP Credit
Agreement.

                              (g)   Information Rights

The Debtors will promptly provide the Prepetition Super Senior Agent, on behalf of itself and on behalf of
the Prepetition Super Senior Lenders, the Prepetition First Lien Agent, on behalf of itself and on behalf of
the Prepetition First Lien Lenders, and the Prepetition Second Lien Agent, on behalf of itself and on behalf
of the Prepetition Second Lien Lenders, with all required written financial reporting and other periodic
reporting that is required to be provided to the DIP Agent or the DIP Lenders under the DIP Documents.

                              (h)   Additional Adequate Protection

In the event the Debtors file, support, make a proposal or counterproposal to any party relating to, or take
any other similar action in furtherance of (any of the foregoing, a “Non-Permitted Action”) a plan of
reorganization that does not propose to pay all claims on account of the Prepetition First Lien Debt in cash
or with such other consideration acceptable to the First Lien Requisite Lenders (such plan, a “Non-
Permitted Plan”), the Debtors shall provide notice to counsel to the First Lien Lender Group not less than
seven (7) business days before taking such Non-Permitted Action (the “Non-Permitted Plan Notice”).
Upon delivery of a Non-Permitted Plan Notice, the Prepetition First Lien Secured Parties shall have the
right to immediately terminate Debtors’ right to use Cash Collateral pursuant to the DIP Orders.

                              (i)   Vector Subordinated Note Collateral

Notwithstanding anything to the contrary in the DIP Orders or in any DIP Document, with respect to the
Vector Subordinated Note Collateral, (i) each of the DIP Liens, the DIP Priming Liens, the DIP
Superpriority Claims, the other Adequate Protection Liens, the other Adequate Protection Obligations, and
the other Adequate Protection 507(b) Claims shall not prime, but are junior and subordinate to, the claims
and Liens, including the First Lien 507(b) Claims, the First Lien Adequate Protection Liens and the other
Adequate Protection Obligations, of the Prepetition First Lien Revolving Lenders and the Prepetition
Issuing Bank in respect of the Vector Subordinated Note Collateral, and nothing therein shall be deemed to
release the obligations of Vector SPV arising out of or related to the Vector Subordinated Note Collateral;
and (ii) nothing in the DIP Orders or the DIP Documents shall impair the Prepetition First Lien Revolving
Lenders’ and the Prepetition Issuing Bank’s rights or priority with respect to the Vector Subordinated Note
Collateral.




                                                      29
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57                  Main Document
                                           Pg 42 of 565



          C.        Procedural Motions and Retention of Professionals

The Debtors have also filed several other motions that are common in chapter 11 proceedings of similar
size and complexity as the Chapter 11 Cases, including applications to retain various professionals to assist
the Debtors in the Chapter 11 Cases.

          D.        Appointment of the Creditors’ Committee

On June 18, 2019, the Creditors’ Committee was appointed by the Office of the United States Trustee for
Region 2 (the “U.S. Trustee”) pursuant to section 1102 of the Bankruptcy Code to represent the interests
of unsecured creditors in the Chapter 11 Cases (ECF No. 98). The members of the Creditors’ Committee
are Abante Rooter and Plumbing, Inc., AT&T Services, Inc., and Equinix, Inc. The Creditors’ Committee
retained Cooley LLP as its counsel and AlixPartners as its financial advisor. The Debtors intend to continue
to consult with the Creditors’ Committee throughout the Chapter 11 Cases and have participated in
numerous teleconferences and an in-person meeting with advisors to the Creditors’ Committee to discuss
and consult with respect to the administration of the Chapter 11 Cases, the Marketing Process, and the
Second Amended Plan. These discussions have resulted in, among other positive outcomes, the Global
Settlement.

          E.        Schedules and Statements; Rule 2015.3 Financial Reports

On July 16, 2019, the Debtors each filed their schedules of assets and liabilities and statements of financial
affairs (collectively, the “Schedules and Statements”) (ECF Nos. 6-8 and 191-228). The Schedules and
Statements, as may be amended from time to time, and are incorporated into this Disclosure Statement by
reference. On July 12, 2019, the Debtors filed a Rule 2015.3 financial report (the “Rule 2015.3 Report”)
(ECF No. 179). The Rule 2015.3 Report is incorporated into the Disclosure Statement by reference.

          F.        Bar Date

On July 16, 2019, the Bankruptcy Court entered an order establishing (i) August 27, 2019 at 5:00 p.m.
(prevailing Eastern Time), as the deadline for all non-governmental units (as defined in section 101(27) of
the Bankruptcy Code) to file proofs of claim in the Chapter 11 Cases (the “General Bar Date”);
(ii) December 2, 2019 at 5:00 p.m. (prevailing Eastern Time) as the deadline for all governmental units (as
defined in section 101(27) of the Bankruptcy Code) to file proofs of claim in the Chapter 11 Cases (the
“Governmental Bar Date”); (iii) the later of (a) the General Bar Date or the Governmental Bar Date, as
applicable, and (b) 5:00 p.m. (prevailing Eastern Time) on the date that is thirty (30) days after entry of an
order approving rejection of any executory contract or unexpired lease of the Debtors as the deadline by
which persons or entities asserting claims resulting from such rejection must file proofs of claim in the
Chapter 11 Cases (the “Rejection Damages Bar Date”); and (iv) the later of the (a) General Bar Date or
the Governmental Bar Date, as applicable, and (b) 5:00 p.m. (prevailing Eastern Time) on the date that is
thirty (30) days from the date on which the Debtors provide notice of a previously unfiled Schedule or an
amendment or supplement to a Schedule as the deadline by which persons or entities affected by such filing,
amendment, or supplement must file proofs of claim in the Chapter 11 Cases (the “Amended Schedules
Bar Date”).

          G.        Lease Rejection Motions

Before and during the Chapter 11 Cases, the Debtors and their advisors have conducted and are continuing
to review their lease portfolio to identify leases that are no longer required and/or are burdensome to the
Debtors. In conjunction with this review and to preserve value to the Estate, the Debtors have filed two (2)
motions to reject certain unexpired leases of non-residential real property and to abandon certain property

                                                     30
WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456    Filed 10/07/19 Entered 10/07/19 15:38:57               Main Document
                                               Pg 43 of 565


in connection therewith (ECF Nos. 236, 365), and orders were entered granting both motions on August 1,
2019 (ECF No. 281) and September 16, 2019 (ECF No. 400), respectively. The Debtors may elect, in their
sole discretion, to file additional motions to reject non-residential real property on or after the Date of the
Disclosure Statement.

          H.        Exclusivity

Section 1121(b) of the Bankruptcy Code provides for a period of 120 days after the commencement of a
chapter 11 case during which time a debtor has the exclusive right to file a plan of reorganization (the
“Exclusive Plan Period”). In addition, section 1121(c)(3) of the Bankruptcy Code provides that if a debtor
files a plan within the Exclusive Plan Period, it has a period of 180 days after commencement of the chapter
11 case to obtain acceptances of such plan (the “Exclusive Solicitation Period,” and together with the
Exclusive Plan Period, the “Exclusive Periods”). Pursuant to section 1121(d) of the Bankruptcy Code, the
Bankruptcy Court may, upon a showing of cause, extend the Exclusive Periods.

On September 16, 2019, the Bankruptcy Court entered an order extending the Exclusive Plan Period to
December 30, 2019 and the Exclusive Solicitation Period to February 28, 2020 (ECF No. 399). The
Exclusive Periods may be further extended by the Bankruptcy Court subject to section 1121(d) of the
Bankruptcy Code.

          I.        Litigation Matters

In the ordinary course of business, the Debtors are involved in disputes with a variety of different parties.
The Company is also subject to regulatory and governmental examinations, information requests and
subpoenas, inquiries, investigations, and threatened legal actions and proceedings. In connection with
formal and informal inquiries, the Company receives occasional requests in connection with various aspects
of the Company’s activities.

                    1.        GrandSlam Capital Master Fund, Ltd. v. Rosen et al.

On June 7, 2019, a U.S. federal securities class action was filed in the Southern District of New York against
the following current and former officers of the Company, Matthew D. Rosen, Kevin M. Dotts, and Keith
Soldan. This case, captioned GrandSlam Capital Master Fund, Ltd. v. Rosen et al., No. 1:19-cv-05362-
PGG, asserts claims for monetary relief under Sections 10(b) and 20(a) of the Securities Exchange Act of
1934, during a class period alleged to range from May 11, 2018 to April 2, 2019. On July 23, 2019, the
court appointed a lead plaintiff and lead counsel in this action. A class has not yet been certified in this
action.

                    2.        Lingo Dispute

Lingo and the Company are involved in a dispute regarding (i) the value of assets transferred to Lingo in
connection with the Company’s closing of the Birch Merger and (ii) Lingo’s failure to remit payments owed
to the Company in connection with certain services the Company has provided to Lingo since the Birch
Merger pursuant to a transition services agreement and a carrier services agreement. As of the
Commencement Date, outstanding amounts remain due and owing to the Company. The Company has sent
a litigation hold notice, demands for payment, and advised Lingo it will end service to Lingo absent
payment. No litigation has commenced and the parties are still attempting to informally resolve the dispute.




                                                      31
WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456    Filed 10/07/19 Entered 10/07/19 15:38:57              Main Document
                                               Pg 44 of 565



                    3.        Other Litigation

As mentioned above, in the ordinary course of business, the Company is involved in occasional disputes,
including pending class action cases with the potential to result in high amounts of damages assessed against
the Company. All actions and claims asserted against the Debtors in such actions are stayed pursuant to
section 362 of the Bankruptcy Code during the pendency of the Chapter 11 Cases. On August 16, 2019,
the Debtors filed a motion with the Court seeking an order approving a stipulation between the Debtors and
75 Broad, LLC that will lift the automatic stay solely with respect to a certain enumerated lawsuit between
Fusion Telecommunications International, Inc. and 75 Broad LLC (ECF No. 336).

          J.        Marketing Process and Bidding Procedures

In support of the Marketing Process, the Debtors and their advisors developed bidding and auction
procedures for the marketing and sale of their business in the Chapter 11 Cases in an orderly and value
maximizing manner (the “Bidding Procedures”). Pursuant to the Bidding Procedures, parties had the
opportunity to submit bids for the purchase of the U.S. Business, the Canadian Business, or the U.S.
Business and the Canadian Business on a consolidated basis in accordance with the terms of the Bidding
Procedures. The Bidding Procedures are filed at ECF No. 36.

          K.        Creditors’ Committee’s Investigation

Since its formation and through the date hereof, the Creditors’ Committee has sought, and continues to
seek, informal discovery from the Debtors and other parties regarding the Litigation Trust Causes of Action.
The advisors to the Creditors’ Committee are continuing to analyze the documents produced by the Debtors
to date, and anticipate that the Debtors (and other parties) will be producing additional documents and
materials in response to the Creditors’ Committee’s requests.

While the Creditors’ Committee’s investigation is ongoing, the Creditors’ Committee believes that the
proceeds of any claims and causes of action may provide a meaningful source of potential value for
distribution to holders of General Unsecured Claims. The Creditors’ Committee has also determined that
the contribution of the Litigation Trust Initial Funding and Litigation Trust Loan Proceeds in exchange for
the support by the Creditors’ Committee of the Second Amended Plan’s limited release and exculpatory
provisions is reasonable under the circumstances and will provide the Litigation Trust with the necessary
initial funding to pursue any claims that it identifies for the benefit of holders of Allowed General
Unsecured Claims.

For the avoidance of doubt, the Second Amended Plan does not release any officers other than three officers
who will continue serving the Company and Mr. Goldman. The Second Amended Plan further does not
release: (a) the Released Parties from any claims arising out of a finding of gross negligence willful
misconduct, or fraud (as determined by a Final Order); (b) the obligations of Vector SPV arising under the
Vector Subordinated Note; (c) any post-Effective Date obligations of any Entity under the Second Amended
Plan, the Confirmation Order, the Litigation Trust Agreement, or any other document executed to
implement the Second Amended Plan; and (d) the Non-Released Parties. The Second Amended Plan does
release (a) current non-Officer employees, (b) the First Lien Lenders who have provided significant
consideration to the Debtors and their Estates as well as funding for the Litigation Trust, and (c) preference
claims against vendors.

          L.        Plan Settlement Negotiations and the Global Settlement

The Debtors filed the Initial Plan on July 1, 2019 with the support of the First Lien Lender Group. The
Creditors’ Committee, however, raised a number of informal concerns and potential objections with respect


                                                     32
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456          Filed 10/07/19 Entered 10/07/19 15:38:57                   Main Document
                                                  Pg 45 of 565


thereto. Since filing the Initial Plan, the Debtors and the First Lien Lender Group engaged the Creditors’
Committee regarding Plan-related issues to work towards a chapter 11 plan supported by the Creditors’
Committee. The Debtors, the Creditors’ Committee, and the First Lien Lender Group have reached a Global
Settlement, the terms of which are incorporated in the Second Amended Plan filed contemporaneously
herewith. Pursuant to the Global Settlement, the Debtors, the Creditors’ Committee, and the First Lien
Lender Group have agreed to the following:

                               i.   the establishment of the Litigation Trust in accordance with Section 5.16 of
                                    the Second Amended Plan, and the governance and administration of the
                                    Litigation Trust with the Litigation Trust Agreement;

                              ii.   on the Effective Date, the Reorganized Debtors will transfer the Litigation
                                    Trust Causes of Action and the Litigation Trust Debtor Causes of Action and
                                    the Litigation Trust Initial Funding to the Litigation Trust, the proceeds of
                                    which (if any) will benefit holders of Allowed General Unsecured Claims, and
                                    holders of Allowed First Lien Claims shall be deemed to transfer to the
                                    Litigation Trust any direct Causes of Action they may assert solely in their
                                    capacities as Lenders under the Prepetition First Lien Credit Agreement
                                    relating to the Debtors, which, for the avoidance of doubt, shall not include
                                    any Cause of Action against any Prepetition First Lien Lender or the
                                    Prepetition First Lien Administrative Agent, to the extent such Causes of
                                    Action are not released or subject to the exculpation provisions under the
                                    Second Amended Plan, each free and clear of all Liens, charges, Claims,
                                    encumbrances, and interests, in accordance with Section 1141 of the
                                    Bankruptcy Code;

                          iii.      on the Effective Date, the Reorganized Debtors will issue an interest-bearing
                                    loan in the amount of $3,500,000 to the Litigation Trust and will invest cash
                                    in the amount of $1,500,000 in the Litigation Trust, and the Litigation Trust
                                    Loan shall accrue payment-in-kind interest at the same rate as the New First
                                    Lien Credit Facility;

                          iv.       on the Effective Date, all Preference Action against any Entity other than a
                                    Non-Released Party that the Debtors or the Estates would have been legally
                                    entitled to assert in their own right (whether individually or collectively) or on
                                    behalf of the holder of any Claim or Interest or other Person shall be deemed
                                    conclusively, absolutely, unconditionally, irrevocably and forever released;

                              v.    the Litigation Trust will be overseen and controlled by the Litigation Trust
                                    Oversight Committee in accordance with the Litigation Trust Agreement, and
                                    shall (a) have the authority to determine whether to enforce, settle, release, or
                                    compromise the Litigation Trust Causes of Action, and (b) be solely
                                    responsible for selecting and retaining advisors to the Litigation Trust;

                          vi.       payment of Litigation Trust Expenses shall be deemed to be made first from
                                    the Litigation Trust Initial Funding and then from the Litigation Trust Loan
                                    Proceeds. The Litigation Trust shall be prohibited from using any Litigation
                                    Trust Loan Proceeds until no payment of the Litigation Trust Initial Funding
                                    is remaining;




                                                            33
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57                 Main Document
                                                 Pg 46 of 565


                          vii.     the Litigation Trust Assets will be distributed to the Reorganized Debtors and
                                   the holders of the Litigation Trust Interests in accordance with the waterfall
                                   provisions set forth in Section 5.2(b)(vii) of the Second Amended Plan;

                         viii.     after payment of Litigation Trust Expenses pursuant to the Litigation Trust
                                   Agreement, any Litigation Trust Assets that are proceeds of the Litigation
                                   Trust First Lien Lender Causes of Action shall be distributed in accordance
                                   with Section 5.2(b)(viii) of the Second Amended Plan;

                          ix.      holders of Allowed First Lien Claims shall not be entitled to receive a
                                   distribution from the Litigation Trust on account of the Term Loan
                                   Deficiency Claim;

                              x.   holders of Allowed Second Lien Claims shall not be entitled to receive a
                                   distribution from the Litigation Trust on account of the Second Lien
                                   Deficiency Claim;

                          xi.      Upon entry of the Confirmation Order, the Challenge Period (as defined in the
                                   Final DIP Order) will be deemed expired;

                          xii.     The Litigation Trust may be terminated in accordance with Section 5.16 of the
                                   Second Amended Plan and the Litigation Trust Agreement;

                         xiii.     The Litigation Trust shall have the authority and right on behalf of each of the
                                   Debtors, without the need for Bankruptcy Court approval (unless otherwise
                                   indicated), to, except to the extent Claims have been Allowed, control and
                                   effectuate the Claims reconciliation process of General Unsecured Claims,
                                   including to object to, seek to subordinate, compromise, or settle any and all
                                   General Unsecured Claims against the Debtors;

                         xiv.      the Litigation Trust shall have authority under Bankruptcy Rule 2004 to issue
                                   subpoenas for documents and testimony in connection with the Litigation
                                   Trust Causes of Action;

                          xv.      on the Effective Date, Reorganized FCI shall enter into the Consulting
                                   Agreement;

                         xvi.      on the Effective Date, proofs of Claim nos. 724, 777 and 840 filed by
                                   Greenberg Traurig, LLP against the Debtors on account of services performed




                                                          34
WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456        Filed 10/07/19 Entered 10/07/19 15:38:57                Main Document
                                                   Pg 47 of 565


                                     prior to the Commencement Date shall be deemed withdrawn and expunged
                                     with prejudice;

                         xvii.       the Other Officers and Directors shall be included in Section 10.8 of the
                                     Second Amended Plan;

                         xviii.      on the Effective Date, the Debtors shall pay the Settlement Restructuring
                                     Expenses;

                          xix.       on the Effective Date, the Debtors shall pay the Second Lien Lender
                                     Restructuring Expenses; and

                           xx.       as a condition precedent to consummation of the Global Settlement, the
                                     Creditors’ Committee, the First Lien Lender Group, the Second Lien Lender
                                     Group, and the Other Officers and Directors shall not object to the Disclosure
                                     Statement or the Second Amended Plan, or take any other action that is
                                     inconsistent with or that would reasonably be expected to prevent, interfere
                                     with, delay, or impede the confirmation and consummation of the Second
                                     Amended Plan or approval of the Global Settlement.

The Debtors, the First Lien Lender Group, the Second Lien Lender Group, and the Creditors’ Committee
believe the Global Settlement is fair and reasonable. The terms of the Global Settlement were negotiated
by sophisticated parties and their advisors at arm’s-length, and the agreement therein preserves and funds
potentially valuable causes of action for the benefit of the Reorganized Debtors and holders of allowed
General Unsecured Claims. The terms of the Global Settlement allow the Debtors to achieve their goal of
completing a speedy and efficient restructuring process that will allow the Debtors to emerge from chapter
11 with a de-levered balance sheet, enhanced liquidity, and the financing and support necessary to operate
a successful business.

                                                   V.
                                        SUMMARY OF AMENDED PLAN

This section of the Disclosure Statement summarizes the Second Amended Plan, a copy of which is annexed
hereto as Exhibit A.

          A.        Administrative Expense and Priority Claims.

                    1.            Administrative Expense Claims.

Except as otherwise set forth in the Second Amended Plan, and except to the extent that a holder of an
Allowed Administrative Expense Claim agrees to less favorable treatment, each holder of an Allowed
Administrative Expense Claim (other than a Fee Claim, a DIP Claim, or a Restructuring Expense) shall
receive, in full and final satisfaction of such Claim, Cash in an amount equal to such Allowed
Administrative Expense Claim on, or as soon thereafter as is reasonably practicable, the later of (a) the
Effective Date and (b) the first Business Day after the date that is thirty (30) calendar days after the date
such Administrative Expense Claim becomes an Allowed Administrative Expense Claim; provided, that
Allowed Administrative Expense Claims representing liabilities incurred in the ordinary course of business
by the Debtors, as Debtors in Possession, shall be paid by the Debtors or the Reorganized Debtors, as
applicable, in the ordinary course of business, consistent with past practice and in accordance with the terms
and subject to the conditions of any course of dealing or agreements governing, instruments evidencing, or
other documents relating to such transactions.


                                                            35
WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456    Filed 10/07/19 Entered 10/07/19 15:38:57               Main Document
                                               Pg 48 of 565



                    2.        Fee Claims.

                         (a)     All Entities seeking an award by the Bankruptcy Court of Fee Claims shall
file and serve on counsel to the Debtors or the Creditors’ Committee, as applicable, the U.S. Trustee, and
counsel to the First Lien Lender Group, on or before the date that is forty-five (45) days after the Effective
Date, their respective final applications for allowance of compensation for services rendered and
reimbursement of expenses incurred from the Commencement Date through the Effective Date. Objections
to any Fee Claims must be filed and served on counsel to the Debtors, counsel to the First Lien Lender
Group, and the requesting party no later than twenty-one (21) calendar days after the filing of the final
applications for compensation or reimbursement (unless otherwise agreed by the Debtors or the
Reorganized Debtors, as applicable, and the party requesting compensation of a Fee Claim).

                        (b)      Allowed Fee Claims shall be paid in full, in Cash, in such amounts as are
Allowed by the Bankruptcy Court (i) on the date upon which an order relating to any such Allowed Fee
Claim is entered or as soon as reasonably practicable thereafter; or (ii) upon such other terms as may be
mutually agreed upon between the holder of such an Allowed Fee Claim and the Debtors or the Reorganized
Debtors, as applicable. Notwithstanding the foregoing, any Fee Claims that are authorized to be paid
pursuant to any administrative orders entered by the Bankruptcy Court may be paid at the times and in the
amounts authorized pursuant to such orders.

                         (c)      On or about the Effective Date, holders of Fee Claims shall provide a
reasonable estimate of unpaid Fee Claims incurred in rendering services before the Effective Date to the
Debtors, and the Debtors or Reorganized Debtors, as applicable, shall escrow such estimated amounts for
the benefit of the holders of the Fee Claims until the fee applications related thereto are resolved by Final
Order or agreement of the parties. If a holder of a Fee Claim does not provide an estimate, the Debtors or
the Reorganized Debtors, as applicable, may estimate the unpaid and unbilled reasonable and necessary
fees and out-of-pocket expenses of such holder of a Fee Claim. When all such Allowed Fee Claims have
been paid in full, any remaining amount in such escrow shall promptly be released from such escrow and
revert to, and ownership thereof shall vest in, the Reorganized Debtors without any further action or order
of the Bankruptcy Court.

                        (d)    The Reorganized Debtors are authorized to pay compensation for services
rendered or reimbursement of expenses incurred after the Effective Date in the ordinary course and without
the need for Bankruptcy Court approval.

                    3.        Priority Tax Claims.

Except to the extent that a holder of an Allowed Priority Tax Claim agrees to less favorable treatment, each
holder of an Allowed Priority Tax Claim shall receive, in full and final satisfaction of such Allowed Priority
Tax Claim, at the sole option of the Debtors or the Reorganized Debtors, as applicable, (a) Cash in an
amount equal to such Allowed Priority Tax Claim on, or as soon thereafter as is reasonably practicable, the
later of (i) the Effective Date, to the extent such Claim is an Allowed Priority Tax Claim on the Effective
Date; (ii) the first Business Day after the date that is thirty (30) calendar days after the date such Priority
Tax Claim becomes an Allowed Priority Tax Claim; and (iii) the date such Allowed Priority Tax Claim is
due and payable in the ordinary course as such obligation becomes due; provided, that the Debtor reserves
the right to prepay all or a portion of any such amounts at any time under this option without penalty or
premium; or (b) equal annual Cash payments in an aggregate amount equal to the amount of such Allowed
Priority Tax Claim, together with interest at the applicable rate under section 511 of the Bankruptcy Code,
over a period not exceeding five (5) years from and after the Commencement Date.




                                                      36
WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456    Filed 10/07/19 Entered 10/07/19 15:38:57              Main Document
                                               Pg 49 of 565



                    4.        DIP Claims.

As of the Effective Date, the DIP Claims shall be Allowed in the full amount outstanding under the DIP
Credit Agreement, including principal, interest, fees, and expenses. On the Effective Date, in full and final
satisfaction of the DIP Claims, such claims shall be paid in full in Cash from the proceeds of the New Exit
Facility. Notwithstanding anything to the contrary in the Second Amended Plan or the Confirmation Order,
(i) the Contingent DIP Obligations shall survive the Effective Date and shall not be discharged or released
pursuant to the Second Amended Plan or the Confirmation Order, and (ii) the DIP Documents shall continue
in full force and effect after the Effective Date with respect to any obligations thereunder governing (1) the
Contingent DIP Obligations and (2) the relationships among the DIP Agent and the DIP Lenders.

On the later of (1) the Effective Date and (2) the date on which such fees, expenses, or disbursements would
be required to be paid under the terms of the DIP Order, the Debtors or Reorganized Debtors (as applicable)
shall pay all fees, expenses, and disbursements of the DIP Agent and DIP Lenders, in each case that have
accrued and are unpaid as of the Effective Date and are required to be paid under or pursuant to the DIP
Order. After the Effective Date, the Reorganized Debtors shall continue to reimburse the DIP Agent and
the DIP Lenders for the reasonable fees and expenses (including reasonable and documented legal fees and
expenses) incurred by the DIP Agent and the DIP Lenders after the Effective Date in accordance with the
terms thereof and/or the DIP Order. The Reorganized Debtors shall pay all of the amounts that may become
payable to the DIP Agent or any of the DIP Lenders on account of any Contingent DIP Obligations in
accordance with the terms of the DIP Documents and the DIP Order.

                    5.        Restructuring Expenses.

During the period commencing on the Commencement Date through the Effective Date, the Debtors will
promptly pay in full in Cash any Restructuring Expenses in accordance with the terms of the RSA. Without
limiting the foregoing, to the extent that any Restructuring Expenses remain unpaid as of the Business Day
prior to the Effective Date, on the Effective Date, the Reorganized Debtors shall pay in full in Cash any
outstanding Restructuring Expenses that are invoiced without the requirement for the filing of retention
applications, fee applications, or any other applications in the Chapter 11 Cases, and without any
requirement for further notice or Bankruptcy Court review or approval. For the avoidance of doubt, any
Restructuring Expenses invoiced after the Effective Date shall be paid promptly, but no later than ten (10)
business days of receiving an invoice.

          B.        Classification of Claims and Interests.

                    1.        Classification in General.

A Claim or Interest is placed in a particular Class for all purposes, including voting, confirmation, and
distribution under the Second Amended Plan and under sections 1122 and 1123(a)(1) of the Bankruptcy
Code; provided, that a Claim or Interest is placed in a particular Class for the purpose of receiving
distributions pursuant to the Second Amended Plan only to the extent that such Claim or Interest is an
Allowed Claim or Allowed Interest in that Class and such Allowed Claim or Allowed Interest has not been
satisfied, released, or otherwise settled prior to the Effective Date.

                    2.        Summary of Classification.

The following table designates the Classes of Claims against and Interests in the Debtor and specifies which
of those Classes are (a) Impaired or Unimpaired by the Second Amended Plan; (b) entitled to vote to accept
or reject the Second Amended Plan in accordance with section 1126 of the Bankruptcy Code; and



                                                      37
WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456    Filed 10/07/19 Entered 10/07/19 15:38:57              Main Document
                                               Pg 50 of 565


(c) deemed to accept or reject the Second Amended Plan. In accordance with section 1123(a)(1) of the
Bankruptcy Code, Administrative Expense Claims and Priority Tax Claims have not been classified.

   Class                   Designation                Treatment                Entitled to Vote
     1         Priority Non-Tax Claims                Unimpaired            No (Presumed to accept)
     2         Other Secured Claims                   Unimpaired            No (Presumed to accept)
     3         First Lien Claims                       Impaired                      Yes
     4         Second Lien Claims                      Impaired                      Yes
     5         General Unsecured Claims                Impaired                      Yes
     6         Intercompany Claims                    Unimpaired            No (Presumed to accept)
     7         Intercompany Interests                 Unimpaired            No (Presumed to accept)
     8         Parent Equity Interests                 Impaired              No (Deemed to reject)
     9         Subordinated Securities Claims          Impaired              No (Deemed to reject)

                    3.        Special Provision Governing Unimpaired Claims.

Nothing under the Second Amended Plan shall affect the rights of the Debtors or the Reorganized Debtors,
as applicable, in respect of any Unimpaired Claims, including all rights in respect of legal and equitable
defenses to, or setoffs or recoupments against, any such Unimpaired Claims.

                    4.        Elimination of Vacant Classes.

Any Class of Claims against or Interests in the Debtors that, as of the commencement of the Confirmation
Hearing, does not have at least one holder of a Claim or Interest that is Allowed in an amount greater than
zero for voting purposes shall be considered vacant, deemed eliminated from the Second Amended Plan
for purposes of voting to accept or reject the Second Amended Plan, and disregarded for purposes of
determining whether the Second Amended Plan satisfies section 1129(a)(8) of the Bankruptcy Code with
respect to that Class.

          C.        Treatment of Claims and Interests.

                    1.        Priority Non-Tax Claims (Class 1).

                              (a)   Classification: Class 1 consists of Priority Non-Tax Claims.

                           (b)     Treatment: Except to the extent that a holder of an Allowed Priority Non-
Tax Claim against the Debtors agrees to a less favorable treatment of such Claim, in full and final
satisfaction of such Allowed Priority Non-Tax Claim, at the sole option of the Debtors or the Reorganized
Debtors, as applicable: (i) each such holder shall receive payment in Cash in an amount equal to such
Claim, payable on the later of the Effective Date and the date that is ten (10) Business Days after the date
on which such Priority Non-Tax Claim becomes an Allowed Priority Non-Tax Claim, or as soon thereafter
as is reasonably practicable; (ii) such holder’s Allowed Priority Non-Tax Claim shall be Reinstated; or
(iii) such holder shall receive such other treatment so as to render such holder’s Allowed Priority Non-Tax
Claim Unimpaired.

                       (c)     Voting: Class 1 is Unimpaired, and holders of Priority Non-Tax Claims
are conclusively presumed to have accepted the Second Amended Plan pursuant to section 1126(f) of the
Bankruptcy Code. Therefore, holders of Priority Non-Tax Claims are not entitled to vote to accept or reject



                                                       38
WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456    Filed 10/07/19 Entered 10/07/19 15:38:57                  Main Document
                                               Pg 51 of 565


the Second Amended Plan, and the votes of such holders will not be solicited with respect to Priority Non-
Tax Claims.

                    2.        Other Secured Claims (Class 2).

                         (a)      Classification: Class 2 consists of the Other Secured Claims. To the
extent that Other Secured Claims are secured by different collateral or different interests in the same
collateral, such Claims shall be treated as separate subclasses of Class 2 for purposes of voting to accept or
reject the Second Amended Plan and receiving distributions under the Second Amended Plan.

                          (b)     Treatment: Except to the extent that a holder of an Allowed Other Secured
Claim agrees to different treatment, on the later of the Effective Date and the date that is ten (10) Business
Days after the date such Other Secured Claim becomes an Allowed Claim, or as soon thereafter as is
reasonably practicable, each holder of an Allowed Other Secured Claim will receive, on account of such
Allowed Claim, at the sole option of the Debtors or the Reorganized Debtors, as applicable: (i) Cash in an
amount equal to the Allowed amount of such Claim; (ii) Reinstatement of such holder’s Allowed Other
Secured Claim; or (iii) such other treatment sufficient to render such holder’s Allowed Other Secured Claim
Unimpaired.

                      (c)     Voting: Class 2 is Unimpaired, and holders of Other Secured Claims are
conclusively presumed to have accepted the Second Amended Plan pursuant to section 1126(f) of the
Bankruptcy Code. Therefore, holders of Other Secured Claims are not entitled to vote to accept or reject
the Second Amended Plan, and the votes of such holders will not be solicited with respect to such Other
Secured Claims.

                    3.        First Lien Claims (Class 3).

                              (a)    Classification: Class 3 consists of First Lien Claims.

                         (b)     Allowance: The First Lien Claims are Allowed pursuant to section 506(a)
of the Bankruptcy Code against the Debtors in the aggregate principal amount of $585,481,310.80
consisting of (i) $545,150,569.11 in aggregate outstanding principal amount of term loans,
(ii) $39,818,694.44 in aggregate outstanding principal amount of revolving loans, and (iii) $512,047.25 in
aggregate outstanding face amount of letters of credit issued, in each case, under the Prepetition First Lien
Credit Agreement, plus accrued and unpaid prepetition interest, accrued and unpaid post-petition interest,
fees, expenses and other amounts arising under the Prepetition First Lien Credit Agreement.

                          (c)     Treatment: Except to the extent that a holder of a First Lien Claim agrees
to less favorable treatment, in full and final satisfaction, settlement, release, and discharge of, and in
exchange for such First Lien Claim, each such holder thereof (or, with respect to any New Equity Interests
to be issued pursuant to the First Lien Lender Equity Distribution, such holder’s permitted designee) shall
receive on the Effective Date such holder’s Pro Rata share of (a) the First Lien Lender Equity Distribution;
provided, that notwithstanding anything in the Second Amended Plan to the contrary, the distribution of
the First Lien Lender Equity Distribution shall be made pursuant to, and subject to the terms and conditions
of, the Equity Allocation Mechanism; (b) the loans under the New First Lien Credit Facility; and (c) cash
or other proceeds, if any, from the sale of the Debtors’ Canadian business unless otherwise agreed to by the
Requisite First Lien Lenders.

For the avoidance of doubt, on the Effective Date, the Prepetition First Lien Credit Agreement shall be
deemed cancelled (except as set forth in Section 5.09 of the Second Amended Plan) without further action
by or order of the Bankruptcy Court.


                                                        39
WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456    Filed 10/07/19 Entered 10/07/19 15:38:57                Main Document
                                               Pg 52 of 565


                          (d)      Voting: Class 3 is Impaired, and holders of First Lien Claims in Class 3
are entitled to vote to accept or reject the Second Amended Plan.

                    4.        Second Lien Claims (Class 4).

                          (a)      Classification: Class 4 consists of Second Lien Claims in the aggregate
principal amount of $85,000,000 of term loans issued under the Prepetition Second Lien Credit Agreement,
plus interest, fees, expenses and other amounts arising under the Prepetition Second Lien Credit Agreement.

                  Treatment: Except to the extent that a holder of an Allowed Second Lien Claim agrees to
less favorable treatment, in full and final satisfaction, settlement, release, and discharge of, and in exchange
for such Allowed Second Lien Claim, each such holder thereof shall receive on the Effective Date such
holder’s Pro Rata share of the Second Lien Lender Special Warrant Distribution.

                 For the avoidance of doubt, on the Effective Date, the Prepetition Second Lien Credit
Agreement shall be deemed cancelled (except as set forth in Section 5.09 of the Second Amended Plan)
without further action by or order of the Bankruptcy Court.

                          (b)      Voting: Class 4 is Impaired, and holders of Second Lien Claims are
entitled to vote to accept or reject the Second Amended Plan.

                    5.        General Unsecured Claims (Class 5).

                              (a)   Classification: Class 5 consists of General Unsecured Claims.

                        (b)     Treatment: Except to the extent that a holder of an Allowed General
Unsecured Claim agrees to less favorable treatment, in full and final satisfaction, settlement, release, and
discharge of, and in exchange for an Allowed General Unsecured Claim, each such holder thereof shall
receive such holder’s Pro Rata share of the Litigation Trust Interests on the Effective Date.

                          (c)      Voting: Class 5 is Impaired, and holders of General Unsecured Claims are
entitled to vote to accept or reject the Second Amended Plan.

                    6.        Intercompany Claims (Class 6).

                              (a)   Classification: Class 6 consists of Intercompany Claims.

                          (b)     Treatment: On or after the Effective Date, all Intercompany Claims will
be adjusted, continued, settled, reinstated, discharged, or eliminated as determined by the Debtors or the
Reorganized Debtors, as applicable, and the Requisite First Lien Lenders, in their respective reasonable
discretion, but not paid in Cash.

                      (c)     Voting: Class 6 is Unimpaired, and holders of Intercompany Claims are
conclusively presumed to have accepted the Second Amended Plan pursuant to section 1126(f) of the
Bankruptcy Code. Therefore, holders of Intercompany Claims are not entitled to vote to accept or reject
the Second Amended Plan, and the votes of such holders will not be solicited with respect to such
Intercompany Claims.

                    7.        Intercompany Interests (Class 7).

                              (a)   Classification: Class 7 consists of Intercompany Interests.


                                                       40
WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456    Filed 10/07/19 Entered 10/07/19 15:38:57                 Main Document
                                               Pg 53 of 565


                          (b)     Treatment: On or after the Effective Date, all Intercompany Interests shall
be cancelled, reinstated, or receive such other treatment as determined by the Debtors or the Reorganized
Debtors, as applicable, and the Requisite First Lien Lenders, in their respective reasonable discretion.

                        (c)   Voting: Class 7 is Unimpaired, and holders of Intercompany Interests are
conclusively presumed to have accepted the Second Amended Plan pursuant to section 1126(f) of the
Bankruptcy Code. Therefore, holders of Intercompany Interests are not entitled to vote to accept or reject
the Second Amended Plan, and the votes of such holders will not be solicited with respect to such
Intercompany Interests.

                    8.        Parent Equity Interests (Class 8).

                              (a)    Classification: Class 8 consists of Parent Equity Interests.

                         (b)     Treatment: on the Effective Date, all Parent Equity Interests shall be
deemed cancelled without further action by or order of the Bankruptcy Court, and shall be of no further
force and effect, whether surrendered for cancellation or otherwise. To the extent permitted by applicable
law, on or promptly after the Effective Date, the Reorganized Debtors shall file with the SEC a Form 15
for the purpose of terminating the registration of any of FCI’s publicly traded securities.

                      (c)     Voting: Class 8 is Impaired, and holders of Parent Equity Interests are
conclusively deemed to have rejected the Second Amended Plan pursuant to section 1126(g) of the
Bankruptcy Code. Therefore, holders of Parent Equity Interests are not entitled to vote to accept or reject
the Second Amended Plan, and the votes of such holders will not be solicited with respect to such Parent
Equity Interests.

                    9.        Subordinated Securities Claims (Class 9).

                              (a)    Classification: Class 9 consists of Subordinated Securities Claims.

                         (b)      Treatment: Holders of Subordinated Securities Claims shall not receive
or retain any property under the Second Amended Plan on account of such Subordinated Securities Claims.
On the Effective Date, all Subordinated Securities Claims shall be deemed cancelled without further action
by or order of the Bankruptcy Court, and shall be of no further force and effect, whether surrendered for
cancellation or otherwise.

                         (c)     Voting: Class 9 is Impaired, and the holders of Subordinated Securities
Claims are conclusively deemed to have rejected the Second Amended Plan. Therefore, holders of
Subordinated Securities Claims are not entitled to vote to accept or reject the Second Amended Plan, and
the votes of such holders of Subordinated Securities Claims will not be solicited.

          D.        Means for Implementation

                    1.        No Substantive Consolidation

The Second Amended Plan is being proposed as a joint plan of reorganization of the Debtors for
administrative purposes only and constitutes a separate chapter 11 plan of reorganization for each Debtor.
However, this Plan contemplates and is predicated upon the deemed substantive consolidation of the Estate
and Chapter 11 Case of each Debtor with the Estate and Chapter 11 Case of each other Debtor for purposes
of distributions made by the Litigation Trust only. On the Effective Date, each Claim filed or to be filed
against any Debtor shall be deemed filed only against Fusion Connect, Inc. and shall be deemed a single


                                                        41
WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456    Filed 10/07/19 Entered 10/07/19 15:38:57                Main Document
                                               Pg 54 of 565


Claim against and a single obligation of Fusion Connect, Inc. for purposes of distributions made by the
Litigation Trust only and the claims register shall be updated accordingly. This limited substantive
consolidation effected pursuant to this Section 5.1 of the Second Amended Plan shall not affect the vesting
of any Litigation Trust Cause of Action in the Litigation Trust, nor shall it affect the prosecution of any
Litigation Trust Cause of Action by the Litigation Trust.

                    2.        Compromise and Settlement of Claims, Interests, and Controversies

                           (a)      Pursuant to sections 363 and 1123(b)(3) of the Bankruptcy Code and
Bankruptcy Rule 9019 and in consideration for the distributions and other benefits provided pursuant to the
Second Amended Plan, the provisions of the Second Amended Plan and the Global Settlement shall
constitute a good faith compromise of Claims, Interests, and controversies relating to the contractual, legal,
and subordination rights that a creditor or an Interest holder may have with respect to any Claim or Interest
or any distribution to be made on account of an Allowed Claim or Interest. The entry of the Confirmation
Order shall constitute the Bankruptcy Court’s approval of the compromise or settlement of all such Claims,
Interests, and controversies, as well as a finding by the Bankruptcy Court that such compromise or
settlement is in the best interests of the Debtors, their Estates, and holders of such Claims and Interests, and
is fair, equitable, and reasonable.

                       (b)     The Second Amended Plan incorporates and reflects the following
compromise and settlement by and among the Debtors, the Creditors’ Committee, the Consenting First Lien
Lenders, and the Consenting Second Lien Lenders (the “Global Settlement”).

                                (i)     On the Effective Date, the Litigation Trust shall be established in
accordance with Section 5.16 of the Second Amended Plan and shall be governed and administered in
accordance with the Litigation Trust Agreement.

                                  (ii)    On the Effective Date, or as soon as reasonably practicable
thereafter, (1) the Debtors shall be deemed to transfer to the Litigation Trust the Litigation Trust Debtor
Causes of Action, (2) the Reorganized Debtors shall transfer to the Litigation Trust the Litigation Trust
Initial Funding and (3) holders of Allowed First Lien Claims shall be deemed to transfer to the Litigation
Trust any direct Cause of Action they may assert solely in their capacities as lenders under the Prepetition
First Lien Credit Agreement relating to the Debtors, which, for the avoidance of doubt, shall not include
any Cause of Action against any Prepetition First Lien Lender or the Prepetition First Lien Administrative
Agent, to the extent such Causes of Action are not released or subject to the exculpation provisions under
the Second Amended Plan (the “Litigation Trust First Lien Lender Causes of Action”), each free and
clear of all Liens, charges, Claims, encumbrances, and interests, in accordance with Section 1141 of the
Bankruptcy Code. All of the Litigation Trust Assets, as well as the rights and powers of the Debtors’
Estates applicable to the Litigation Trust Assets, shall vest in the Litigation Trust, for the benefit of the
holders of Litigation Trust Interests and Reorganized FCI.

                                 (iii)    On the Effective Date, or as soon as reasonably practicable
thereafter, the Reorganized Debtors and Litigation Trust shall enter into the Litigation Trust Loan
Agreement pursuant to which the Reorganized Debtors shall agree to lend the Litigation Trust Loan
Proceeds to the Litigation Trust. The Litigation Trust Loan Proceeds shall be available to be drawn in
$1,000,000 installments six (6) and twelve (12) months after the Effective Date, and $500,000 installments
eighteen (18), twenty-four (24), and thirty (30) months after the Effective Date. The Litigation Trust Loan
shall accrue payment-in-kind interest at same rate as the New First Lien Credit Facility. The amount of the
Litigation Trust Loan may be increased post-Effective Date upon the agreement of the Reorganized Debtors
and the Litigation Trust. In the event the Reorganized Debtors fail to honor a Litigation Trust Loan draw
installment when due, such failure shall be deemed to be an automatic exercise of the Termination Right

                                                      42
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57                 Main Document
                                           Pg 55 of 565


(as defined below) without the consent of the member the Creditors’ Committee appointed to the Litigation
Trust Oversight Committee.

                                 (iv)    On the Effective Date, all Preference Actions against any Entity
other than a Non-Released Party that the Debtors or the Estates would have been legally entitled to assert
in their own right (whether individually or collectively) or on behalf of the holder of any Claim or Interest
or other Person shall be deemed conclusively, absolutely, unconditionally, irrevocably and forever,
released.

                               (v)      The Litigation Trust shall be overseen and controlled by the
Litigation Trust Oversight Committee in accordance with the Litigation Trust Agreement. The Litigation
Trust Oversight Committee shall have the authority to determine whether to enforce, settle, release, or
compromise the Litigation Trust Causes of Action (or decline to do any of the foregoing). The Litigation
Trust Oversight Committee shall be solely responsible for selecting and retaining advisors to the Litigation
Trust.

                                 (vi)   In accordance with the Litigation Trust Agreement, payment of
Litigation Trust Expenses shall be deemed to be made first from the Litigation Trust Initial Funding and
then from the Litigation Trust Loan Proceeds. The Litigation Trust shall be deemed to be prohibited from
using any Litigation Trust Loan Proceeds until no portion of the Litigation Trust Initial Funding is
remaining.

                                  (vii) After payment of Litigation Trust Expenses pursuant to the
Litigation Trust Agreement, the Litigation Trust Assets (other than any proceeds of the Litigation Trust
First Lien Lender Causes of Action) shall be shared and distributed as follows: first, payment in full in
Cash of all amounts due to Reorganized FCI under the Litigation Trust Loan; second, distribution of up to
$180,000 to Reorganized FCI; third, distribution to the Litigation Trust for the benefit of the holders of
Litigation Trust Interests in accordance with the Second Amended Plan of up to $1,500,000 (the “GUC
Payment”); fourth, to the extent the remaining Litigation Trust Assets are equal to or less than $20,000,000,
sixty percent (60%) of such Litigation Trust Assets shall be distributed to Reorganized FCI and forty percent
(40%) of such Litigation Trust Assets shall be distributed to the Litigation Trust for the benefit of the
holders of Litigation Trust Interests in accordance with the Second Amended Plan; and fifth, to the extent
there are any remaining Litigation Trust Assets greater than $20,000,000, fifty percent (50%) of such
Litigation Trust Assets shall be distributed to Reorganized FCI and fifty percent (50%) of such Litigation
Trust Assets shall be distributed to the Litigation Trust for the benefit of the holders of Litigation Trust
Interests in accordance with the Second Amended Plan.

                                  (viii) After payment of Litigation Trust Expenses pursuant to the
Litigation Trust Agreement, any Litigation Trust Assets that are proceeds of the Litigation Trust First Lien
Lender Causes of Action shall be shared and distributed as follows: first, payment in full in Cash of all
amounts due to the Reorganized Debtors under the Litigation Trust Loan; second, eighty-five percent (85%)
of such Litigation Trust Assets shall be distributed to the Reorganized FCI and fifteen percent (15%) of
such Litigation Trust Assets shall be distributed to the Litigation Trust for the benefit of the holders of
Litigation Trust Interests in accordance with the Second Amended Plan.

                                  (ix)    Holders of Allowed First Lien Claims shall not be entitled to
receive a distribution from the Litigation Trust on account of the Term Loan Deficiency Claim.

                                  (x)     Holders of Allowed Second Lien Claims shall not be entitled to
receive a distribution from the Litigation Trust on account of the Second Lien Deficiency Claim.


                                                     43
WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57               Main Document
                                              Pg 56 of 565



                                 (xi)   Upon entry of the Confirmation Order, the Challenge Period (as
defined in the DIP Order) shall be deemed expired.

                              (xii) The Litigation Trust may be terminated in accordance with
Section 5.16 of the Second Amended Plan and the Litigation Trust Agreement.

                                    (xiii)
                                        The Litigation Trust shall have the authority and right on behalf
of each of the Debtors, without the need for Bankruptcy Court approval (unless otherwise indicated), to,
except to the extent Claims have been Allowed, control and effectuate the Claims reconciliation process of
General Unsecured Claims, including to object to, seek to subordinate, compromise or settle any and all
General Unsecured Claims against the Debtors.

                                    (xiv)
                                      The Litigation Trust shall have authority under Bankruptcy Rule
2004 to issue subpoenas for documents and testimony in connection with the Litigation Trust Causes of
Action.

                                    (xv)     On the Effective Date, Reorganized FCI shall enter into the
Consulting Agreement.

                             (xvi) On the Effective Date, proofs of Claim nos. 724, 777, and 840
filed by Greenberg Traurig, LLP against the Debtors on account of services performed prior to the
Commencement Date shall be deemed withdrawn and expunged with prejudice.

                                    (xvii) The Other Officers and Directors shall be included in Section 10.8
of the Second Amended Plan.

                                    (xviii) On the Effective Date, the Debtors shall pay the Settlement
Restructuring Expenses.

                                    (xix)    On the Effective Date, the Debtors shall pay the Second Lien
Lender Restructuring Expenses.

                                   (xx) As a condition precedent to consummation of the Global
Settlement, the Creditors’ Committee, the First Lien Lender Group, the Second Lien Lender Group, and
the Other Officers and Directors shall not object to the Disclosure Statement or the Second Amended Plan,
or take any other action that is inconsistent with or that would reasonably be expected to prevent, interfere
with, delay, or impede the confirmation and consummation of the Second Amended Plan or approval of the
Global Settlement.

                    3.        Sources of Consideration for Plan Distributions Implementing the
                              Reorganization Transaction

The Debtors shall fund distributions and satisfy applicable Allowed Claims and Allowed Interests under
the Second Amended Plan with Cash on hand, the proceeds of the New Exit Facility, loans under the New
First Lien Credit Facility, the New Equity Interests, and the Special Warrants, and through the issuance and
distribution of the Litigation Trust Interests.

The Litigation Trust Causes of Action exclude all Preference Actions against any Entity other than a Non-
Released Party, and on the Effective Date, all such Preference Actions will be released. Providing vendors
with assurance that they will not be subject to Preference Actions was necessary for the Debtors’


                                                       44
WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456    Filed 10/07/19 Entered 10/07/19 15:38:57               Main Document
                                               Pg 57 of 565


preservation of go-forward trade relationships and, absent such a provision, would have dampened the
Debtors’ business prospects and threatened the Debtors’ successful emergence from chapter 11. The
Debtors also believe that the value of any Preference Action claims would be very low, as the majority of
transfers or payments made to creditors within the ninety (90) days preceding commencement of the Cases
were made to vendors, suppliers, or services providers, many of whom are paid regularly under contracts
with the Debtors. The Debtors have disclosed all known transfers or payments made within the ninety (90)
days preceding the Commencement Date on their Schedules and Statements. The Debtors will be assuming
most of their vendor contracts upon Confirmation. The Debtors believe all of the Releases in the Second
Amended Plan are appropriate and note that both the Creditors’ Committee and the First Lien Lender Group
agreed to exclude these certain Preference Actions from the Litigation Trust Causes of Action through
arm’s-length negotiations, and as part of the Global Settlement.

                    4.        Reorganization Transaction

                      (a)           The Debtors shall implement the Reorganization Transaction as set forth
in the Second Amended Plan.

                              (b)   New First Lien Credit Facility

                                  (i)   On the Effective Date, the New First Lien Credit Agreement shall
be executed and delivered, and the Reorganized Debtors shall be authorized to execute, deliver and enter
into, the New First Lien Credit Documents, without the need for any further corporate, limited liability
partnership or limited liability company action and without further action by the holders of Claims or
Interests.

                                  (ii)   The obligations arising under the New First Lien Credit
Agreement shall be secured by a senior priority perfected security interest (junior to the liens securing the
New Exit Facility Credit Agreement) in substantially all present and after acquired property (whether
tangible, intangible, real, personal or mixed) of the Reorganized Debtors, wherever located, including,
without limitation, all accounts, inventory, equipment, capital stock in subsidiaries of the Reorganized
Debtors, investment property, instruments, chattel paper, real estate, leasehold interests, contracts, patents,
copyrights, trademarks and other general intangibles, and all products and proceeds thereof, subject to any
exceptions and materiality thresholds reasonably acceptable to the Requisite New First Lien Lenders (as
defined in the New First Lien Term Sheet).

                                   (iii)    The Reorganized Debtors shall be authorized to execute, deliver,
and enter into and perform under the New First Lien Credit Agreement without the need for any further
corporate, limited liability partnership or limited liability company action and without further action by the
holders of Claims or Interests.

                              (c)   New Exit Facility.

On the Effective Date, the Reorganized Debtors shall be authorized to execute, deliver, enter into and
perform under the New Exit Facility Credit Agreement without the need for any further corporate, limited
liability partnership or limited liability company action and without further action by the holders of Claims
or Interests.




                                                       45
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57               Main Document
                                               Pg 58 of 565



                              (d)   Authorization and Issuance of New Equity Interests and Special
Warrants.

                                  (i)      On the Effective Date, the Debtors or the Reorganized Debtors, as
applicable, are authorized to issue or cause to be issued and shall issue the New Equity Interests and Special
Warrants in accordance with the terms of the Second Amended Plan, the Amended Organizational
Documents, the Special Warrant Agreement, and the Equity Allocation Mechanism without the need for
any further corporate or stockholder action. All of the New Equity Interests issuable under the Second
Amended Plan, when so issued, shall be duly authorized, validly issued, fully paid, and non-assessable, and
the Special Warrants issued pursuant to the Second Amended Plan shall be duly authorized and validly
issued. For the avoidance of doubt, the acceptance of New Equity Interests and/or Special Warrants by a
holder of an Allowed First Lien Claim or Second Lien Claim shall be deemed as such holder’s agreement
to the Amended Organizational Documents and/or the Special Warrant Agreement, as applicable, as each
may be amended or modified from time to time following the Effective Date in accordance with the terms
of such documents.

                                  (ii)    The distribution of the New Equity Interests and Special Warrants
pursuant to the Second Amended Plan may be made by means of book-entry registration on the books of a
transfer agent for shares of New Equity Interests and Special Warrants or by means of book-entry exchange
through the facilities of a transfer agent reasonably satisfactory to the Debtors, in accordance with the
customary practices of such agent, as and to the extent practicable.

                              (e)   Continued Corporate Existence.

                                (i)     The Debtors shall continue to exist after the Effective Date as
Reorganized Debtors as a private company in accordance with the applicable laws of the respective
jurisdictions in which they are incorporated or organized and pursuant to the Amended Organizational
Documents unless otherwise determined in accordance with Section 5.09 of the Second Amended Plan.

                                  (ii)     On or after the Effective Date, the Reorganized Debtors may take
such reasonable action that may be necessary or appropriate as permitted by applicable law and the
Amended Organizational Documents, as the Reorganized Debtors may reasonably determine is reasonable
and appropriate to effect any transaction described in, approved by, or necessary or appropriate to effectuate
the Second Amended Plan, including, without limitation, taking necessary steps to dissolve or merge out
of existence any of the Reorganized Debtors that are reasonably determined to be unnecessary for the
continued successful performance of the Reorganized Debtors.

                              (f)   Officers and Board of Directors.

                                   (i)      Upon the Effective Date, the New Board shall consist of seven (7)
directors. If known, the identities of the directors and officers of the Reorganized Debtors shall be disclosed
prior to the Confirmation Hearing in accordance with section 1129(a)(5) of the Bankruptcy Code.

                                  (ii)    Except to the extent that a member of the board of directors,
managers, or limited partners, as applicable, of a Debtor continues to serve as a director, manager, or limited
partner of such Debtor on and after the Effective Date, the members of the board of directors, managers, or
limited partners of each Debtor prior to the Effective Date, in their capacities as such, shall have no
continuing obligations to the Reorganized Debtors on or after the Effective Date and each such director,
manager or limited partner will be deemed to have resigned or shall otherwise cease to be a director,
manager or limited partner of the applicable Debtor on the Effective Date.


                                                      46
WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456    Filed 10/07/19 Entered 10/07/19 15:38:57               Main Document
                                               Pg 59 of 565



                              (g)   Reorganized Debtors’ Authority.

                                   (i)      The Reorganized Debtors shall have the authority and right on
behalf of each of the Debtors, without the need for Bankruptcy Court approval (unless otherwise indicated),
to carry out and implement all provisions of the Second Amended Plan, including, without limitation, to:
(a) except to the extent Claims have been previously Allowed, control and effectuate the Claims
reconciliation process, including to object to, seek to subordinate, compromise or settle any and all Claims
against the Debtors, other than with respect to General Unsecured Claims; (b) make distributions to holders
of Allowed Claims in accordance with the Second Amended Plan, other than with respect to General
Unsecured Claims; (c) prosecute all Causes of Action on behalf of the Debtors, elect not to pursue any
Causes of Action, and determine whether and when to compromise, settle, abandon, dismiss, or otherwise
dispose of any such Causes of Action, other than with respect to the Litigation Trust Causes of Action;
(d) retain professionals to assist in performing their duties under the Second Amended Plan; (e) maintain
the books, records, and accounts of the Debtors; (f) complete and file, as necessary, all final or otherwise
required federal, state, and local tax returns for the Debtors; and (g) perform other duties and functions that
are consistent with the implementation of the Second Amended Plan.

                                 (ii)    After the Effective Date, the Reorganized Debtors may operate the
Debtors’ business and may use, acquire, or dispose of property and compromise or settle any Claims,
Interests, or Causes of Action without approval by the Bankruptcy Court and free of any restrictions of the
Bankruptcy Code or Bankruptcy Rules.

                    5.        FCC Licenses and State PUC Authorizations

The required FCC Applications were filed prior to the date of the Second Amended Plan, as were
applications seeking the consent of State PUCs with jurisdiction over the Reorganized Debtors to the
transactions contemplated by the Reorganization Transaction (which, for the avoidance of doubt, excludes
any transactions which may occur on or after the Exercise Date, as defined in the Equity Allocation
Mechanism). As a result, any Entity that acquires a First Lien Claim may be issued Special Warrants in
lieu of any New Equity Interests that would otherwise be issued to such Entity under the Second Amended
Plan. In addition, the Debtors may request that the Bankruptcy Court implement restrictions on trading of
Claims and Interests that might adversely affect the FCC approval or State PUC approval processes that
will be sought on or prior to the Effective Date.

The Petition for Declaratory Ruling and the FCC and/or state transfer of control applications necessary to
enable the exercise of the Special Warrants (the “Post-Effective Date Transfer Applications”) shall be
filed as promptly as practicable following the Effective Date. The Debtors or the Reorganized Debtors, as
applicable, shall diligently prosecute all FCC Applications and the State PUC Applications associated with
the Reorganization Transaction and, after the Effective Date, the Post-Effective Date Transfer Applications
and the Petition for Declaratory Ruling. The Debtors or Reorganized Debtors, as applicable, shall promptly
provide such additional documents or information requested by the FCC or any State PUC in connection
with the respective agencies’ review of the foregoing applications.

                    6.        Employee Matters

                        (a)    Subject to Section 5.6(c) of the Second Amended Plan, on the Effective
Date, the Reorganized Debtors shall be deemed (i) to have assumed all Benefit Plans and (ii) to have
rejected any employment agreements, offer letters, or award letters to which the Debtors are a party
(collectively, the “Employee Arrangements”), unless set forth on the Assumption Schedule. With respect
to any Benefit Plan and Employee Arrangement that is set forth on the Assumption Schedule, upon the
Effective Date such Benefit Plan and Employee Arrangement shall be deemed to be amended where

                                                      47
WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57                  Main Document
                                              Pg 60 of 565


applicable to provide and clarify that the consummation of the Reorganization Transaction and any
associated organizational changes shall not constitute a “Change in Control,” be considered a “Good
Reason” event, or serve as a basis to trigger any rights or benefits under such Benefit Plan or Employee
Arrangement. To the extent that the Benefit Plans or any Employee Arrangements set forth on the
Assumption Schedule are executory contracts, pursuant to sections 365 and 1123 of the Bankruptcy Code,
unless an Assumption Dispute is timely filed and properly served, each of them will be deemed assumed
(as modified or terminated) as of the Effective Date with a Cure Amount of zero dollars. However,
notwithstanding anything else in the Second Amended Plan, the assumed Benefit Plans and Employee
Arrangements, if any, shall be subject to modification in accordance with the terms thereof at the discretion
of the Reorganized Debtors.

                          (b)    Following the Effective Date, the applicable Reorganized Debtors shall
enter into the Management Incentive Plan. All awards issued under the Management Incentive Plan will
be dilutive of all other New Equity Interests issued pursuant to the Second Amended Plan (including those
issued upon the exercise of any Special Warrants).

                         (c)      For the avoidance of doubt, if an Employee Arrangement or a Benefit Plan
provides for an award or potential award of Interests or consideration based on the value of Interests prior
to the Effective Date, such Interest shall be treated in accordance with Section 4.8 of the Second Amended
Plan and cancelled notwithstanding assumption of the applicable Employee Arrangement or Benefit Plan.

                         (d)    On the Effective Date, the Reorganized Debtors shall be deemed to have
assumed all prepetition Key Employee Retention Agreements. Notwithstanding anything to the contrary
in Section 5.6(a), the consummation of the Restructuring Transactions and any associated organizational
changes shall constitute a “Change of Control” under all prepetition Key Employee Retention Agreements.

                    7.        Effectuating Documents; Further Transactions

                           (a)       On or as soon as practicable after the Effective Date, the Reorganized
Debtors shall take such reasonable actions as may be or become necessary or appropriate to effect any
transaction described in, approved by, contemplated by, or necessary to effectuate the Second Amended
Plan and the Global Settlement, including (i) the execution and delivery of appropriate agreements or other
documents of merger, consolidation, restructuring, financing, conversion, disposition, transfer, dissolution,
or liquidation containing terms that are consistent with the terms of the Second Amended Plan and that
satisfy the applicable requirements of applicable law and any other terms to which the applicable Entities
may determine; (ii) the execution and delivery of appropriate instruments of transfer, assignment,
assumption, or delegation of any Asset, property, right, liability, debt, or obligation on terms consistent
with the terms of the Second Amended Plan and having other terms to which the applicable parties agree;
(iii) the filing of appropriate certificates or articles of incorporation, reincorporation, merger, consolidation,
conversion, or dissolution and the Amended Organizational Documents pursuant to applicable state law;
(iv) the issuance of securities, all of which shall be authorized and approved in all respects, in each case,
without further action being required under applicable law, regulation, order, or rule; (v) the execution,
delivery, or filing of contracts, instruments, releases, and other agreements to effectuate and implement the
distribution of the Litigation Trust Interests to be issued pursuant hereto without the need for any approvals,
authorizations, actions, or consents; and (vi) all other actions that the applicable Entities determine to be
necessary or appropriate, including making filings or recordings that may be required by applicable law or
to reincorporate in another jurisdiction, subject, in each case, to the Amended Organizational Documents.

                        (b)     Each officer, manager, limited partner or member of the board of directors
of the Debtors is (and each officer, manager, limited partner or member of the board of directors of the
Reorganized Debtors shall be) authorized and directed to issue, execute, deliver, file, or record such


                                                       48
WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456    Filed 10/07/19 Entered 10/07/19 15:38:57                Main Document
                                               Pg 61 of 565


contracts, securities, instruments, releases, indentures, and other agreements or documents and take such
actions as may be necessary or appropriate to effectuate, implement, and further evidence the terms and
conditions of the Second Amended Plan and the securities issued pursuant to the Second Amended Plan in
the name of and on behalf of the Reorganized Debtors, all of which shall be authorized and approved in all
respects, in each case, without the need for any approvals, authorization, consents, or any further action
required under applicable law, regulation, order, or rule (including, without limitation, any action by the
stockholders, limited partners, directors or managers of the Debtors, the Reorganized Debtors) except for
those expressly required pursuant to the Second Amended Plan.

                           (c)     In order to preserve the Reorganized Debtors’ ability to utilize certain tax
attributes that exist as of the Effective Date, the charter, bylaws, and other organizational documents may
restrict certain transfers of the New Equity Interests.

                          (d)      The Reorganization Transaction and the Global Settlement, including the
creation of the Litigation Trust, shall be conducted in a manner that, in the business judgment of the Debtors,
with the consent of the Requisite First Lien Lenders (which consent shall not be unreasonably withheld),
ensures that the Reorganized Debtors receive favorable and efficient tax treatment, given the totality of the
circumstances.

                          (e)     All matters provided for in the Second Amended Plan involving the
corporate structure of the Debtors, Reorganized Debtors, to the extent applicable, or any corporate or related
action required by the Debtors, or the Reorganized Debtors in connection herewith shall be deemed to have
occurred and shall be in effect, without any requirement of further action by the stockholders, members,
limited partners, directors or managers of the Debtors or Reorganized Debtors, and with like effect as
though such action had been taken unanimously by the stockholders, members, limited partners, directors,
managers, or officers, as applicable, of the Debtors, or the Reorganized Debtors.

                    8.        Section 1145 Exemption

                          (a)      The offer, issuance, and distribution of (i) the New Equity Interests and
the Special Warrants to holders of the First Lien Claims; (ii) the Special Warrants hereunder to holders of
the Second Lien Claims; and (iii) the Litigation Trust Interests (to the extent they are deemed to be
securities) to holders of General Unsecured Claims shall be exempt, pursuant to section 1145 of the
Bankruptcy Code, without further act or action by any Entity, from registration under (a) the Securities Act
of 1933, as amended, and all rules and regulations promulgated thereunder and (b) any state or local law
requiring registration for the offer, issuance, or distribution of Securities.

                           (b)      The New Equity Interests shall be freely tradable by the recipients thereof,
subject to (i) the provisions of section 1145(b)(1) of the Bankruptcy Code relating to the definition of an
underwriter in section 2(a)(11) of the Securities Act of 1933; (ii) compliance with any rules and regulations
of the Securities and Exchange Commission, if any, applicable at the time of any future transfer of such
securities or instruments; (iii) any reasonable restrictions, to the extent necessary for the Debtors to preserve
their ability to utilize certain tax attributes that exist as of the Effective Date, on the transferability and
ownership of New Equity Interests; (iv) applicable regulatory approval; (v) the Stockholders Agreement;
(vi) the Amended Organizational Documents and (vii) any other applicable law.

                    9.        Cancellation of Existing Securities and Agreements

                        (a)      Except for the purpose of evidencing a right to a distribution under the
Second Amended Plan and except as otherwise set forth in the Second Amended Plan, including with
respect to executory contracts or unexpired leases that shall be assumed by the Reorganized Debtors, and


                                                       49
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456     Filed 10/07/19 Entered 10/07/19 15:38:57                   Main Document
                                             Pg 62 of 565


subject in all respects to the Prepetition Intercreditor Agreement (as applicable), on the Effective Date, all
agreements, instruments, and other documents evidencing or issued pursuant to the DIP Documents, the
Prepetition First Lien Credit Documents, the Prepetition Second Lien Credit Agreement and any other
“Credit Document” as defined in the Second Amended Plan, the Prepetition Subordinated Notes, or any
indebtedness or other obligations thereunder, and any Interest in any of the Debtors (other than
Intercompany Interests), or any other certificate, share, note, bond, indenture, purchase right, option,
warrant, call, put, award, commitment, registration rights, preemptive right, right of first refusal, right of
first offer, co-sale right, investor rights, or other instrument or document of any character directly or
indirectly evidencing or creating any indebtedness or obligation of or ownership interest in the Debtors
giving rise to any Claim or Interest, and any rights of any holder in respect thereof, shall be deemed
cancelled, discharged, and of no force or effect, and the obligations of the Debtors thereunder shall be
deemed fully satisfied, released, and discharged.

                           (b)      Notwithstanding such cancellation and discharge, the DIP Documents, the
Prepetition First Lien Credit Documents and the Prepetition Second Lien Credit Agreement, the Prepetition
Subordinated Notes and any other indenture or agreement that governs the rights of a holder of an Allowed
Claim shall continue in effect to the extent necessary (i) to allow the holders of such Claims to receive
distributions under the Second Amended Plan; (ii) to allow the Debtors, the Reorganized Debtors, the DIP
Agent, the Prepetition First Lien Administrative Agent, and the Prepetition Second Lien Administrative
Agent to make post-Effective Date distributions or take such other action pursuant to the Second Amended
Plan on account of such Claims and to otherwise exercise their rights and discharge their obligations relating
to the interests of the holders of such Claims; (iii) to allow holders of Claims to retain their respective rights
and obligations vis-à-vis other holders of Claims pursuant to any applicable loan document or other
agreement; (iv) to allow the DIP Agent, the Prepetition First Lien Administrative Agent and the Prepetition
Second Lien Administrative Agent to enforce their rights, claims, and interests vis-à-vis any party other
than the Debtors, including any rights with respect to priority of payment and/or to exercise charging liens;
(v) to preserve any rights of the DIP Agent, the Prepetition First Lien Administrative Agent and the
Prepetition Second Lien Administrative Agent to payment of fees, expenses, and indemnification
obligations as against any money or property distributable to lenders under the DIP Documents, the
Prepetition First Lien Credit Agreement and the Prepetition Second Lien Credit Agreement, as applicable,
including any rights to priority of payment and/or to exercise charging liens; (vi) to allow the DIP Agent,
the Prepetition First Lien Administrative Agent and the Prepetition Second Lien Administrative Agent to
enforce any obligations owed to it under the Second Amended Plan; (vii) to allow the DIP Agent, the
Prepetition First Lien Administrative Agent and the Prepetition Second Lien Administrative Agent to
exercise rights and obligations relating to the interests of lenders under the DIP Documents, the Prepetition
First Lien Credit Agreement and the Prepetition Second Lien Credit Agreement, as applicable; (viii) to
permit the DIP Agent, the Prepetition First Lien Administrative Agent and the Prepetition Second Lien
Administrative Agent to perform any function necessary to effectuate the foregoing; (ix) to allow the DIP
Agent, the Prepetition First Lien Administrative Agent and the Prepetition Second Lien Administrative
Agent to appear in the Chapter 11 Cases or in any proceeding in the Bankruptcy Court or any other court
relating to the DIP Documents, the Prepetition First Lien Credit Agreement or the Prepetition Second Lien
Credit Agreement; provided that, nothing in Section 5.9 of the Second Amended Plan shall affect the
discharge of Claims pursuant to the Bankruptcy Code, the Confirmation Order, or the Second Amended
Plan; and (x) to preserve all rights of the Prepetition First Lien Lenders to the extent necessary for the
Litigation Trust to pursue the Litigation Trust First Lien Lender Causes of Action.

                          (c)     Except for the foregoing, subsequent to the performance by the DIP Agent
of its obligations pursuant to the Second Amended Plan, the DIP Agent and its agents shall be relieved of
all further duties and responsibilities related to the DIP Documents. Nothing in Section 5.9 of the Second
Amended Plan shall in any way affect or diminish the rights of the DIP Agent to exercise any charging lien
against distributions to holders of DIP Claims with respect to any unpaid fees.


                                                       50
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57                Main Document
                                               Pg 63 of 565


                          (d)      Except for the foregoing, subsequent to the performance by the Prepetition
First Lien Administrative Agent of its obligations pursuant to the Second Amended Plan, the Prepetition
First Lien Administrative Agent and its agents shall be relieved of all further duties and responsibilities
related to the Prepetition First Lien Credit Agreement. Nothing in Section 5.9 of the Second Amended Plan
shall in any way affect or diminish the rights of the Prepetition First Lien Administrative Agent to exercise
any charging lien against distributions to holders of First Lien Claims with respect to any unpaid fees.

                          (e)    Except for the foregoing, subsequent to the performance by the Prepetition
Second Lien Administrative Agent of its obligations pursuant to the Second Amended Plan, the Prepetition
Second Lien Administrative Agent and its agents shall be relieved of all further duties and responsibilities
related to the Prepetition Second Lien Credit Agreement. Nothing in Section 5.9 of the Second Amended
Plan shall in any way affect or diminish the rights of the Prepetition Second Lien Administrative Agent to
exercise any charging lien against distributions to holders of Second Lien Claims with respect to any unpaid
fees.

                          (f)      Notwithstanding anything to the contrary in the Second Amended Plan, all
rights under the Prepetition First Lien Credit Agreement and the Prepetition Second Lien Credit Agreement
shall remain subject to the Prepetition Intercreditor Agreement.

                          (g)      Notwithstanding the foregoing, any provision in any document,
instrument, lease, or other agreement that causes or effectuates, or purports to cause or effectuate, a default,
termination, waiver, or other forfeiture of, or by, the Debtors as a result of the cancellations, terminations,
satisfaction, releases, or discharges provided for in the Second Amended Plan shall be deemed null and
void and shall be of no force and effect. Nothing contained in the Second Amended Plan shall be deemed
to cancel, terminate, release, or discharge the obligation of the Debtors or any of their counterparties under
any executory contract or unexpired lease to the extent such executory contract or unexpired lease has been
assumed by the Debtors pursuant to a Final Order of the Bankruptcy Court or hereunder.

                    10.       Cancellation of Liens

Except as otherwise specifically provided in the Second Amended Plan, on the Effective Date, any Lien
securing an Allowed Claim that is paid in full, in Cash, shall be deemed released, and the holder of such
Other Secured Claim shall be authorized and directed to release any collateral or other property of the
Debtors (including any Cash collateral) held by such holder and to take such actions as may be requested
by the Reorganized Debtors, to evidence the release of such Lien, including the execution, delivery and
filing or recording of such releases as may be requested by the Reorganized Debtors.

                    11.       Subordination Agreements

Pursuant to section 510(a) of the Bankruptcy Code, all subordination agreements, including but not limited
to, the Prepetition Intercreditor Agreement, governing Claims or Interests shall be enforced in accordance
with such agreement’s terms.

                    12.       Nonconsensual Confirmation

The Debtors intend to undertake to have the Bankruptcy Court confirm the Second Amended Plan under
section 1129(b) of the Bankruptcy Code as to any Classes that reject or are deemed to reject the Second
Amended Plan.




                                                      51
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57                     Main Document
                                               Pg 64 of 565



                    13.       Closing of Chapter 11 Cases

After an Estate has been fully administered, the Reorganized Debtors shall seek authority from the
Bankruptcy Court to close the applicable Chapter 11 Case(s) in accordance with the Bankruptcy Code and
Bankruptcy Rules.

                    14.       Notice of Effective Date

As soon as practicable, but not later than three (3) Business Days following the Effective Date, the Debtors
shall file a notice of the occurrence of the Effective Date with the Bankruptcy Court.

                    15.       Separability

Notwithstanding the combination of the separate plans of reorganization for the Debtors set forth in the
Second Amended Plan for purposes of economy and efficiency, the Second Amended Plan constitutes a
separate chapter 11 plan for each Debtor. Accordingly, if the Bankruptcy Court does not confirm the
Second Amended Plan with respect to one or more Debtors, it may still, subject to the consent of the
applicable Debtors, confirm the Second Amended Plan with respect to any other Debtor that satisfies the
confirmation requirements of section 1129 of the Bankruptcy Code.

                    16.       Litigation Trust

                              (a)    Interest in the Litigation Trust

Any and all interests in the Litigation Trust will not constitute “securities” and will not be registered
pursuant to the Securities Act, as amended, or any state securities law. However, if it should be determined
that interests in the Litigation Trust constitute “securities,” the exemption provisions of Section 1145 of the
Bankruptcy Code will apply to the interests in the Litigation Trust. Any and all interests in the Litigation
Trust shall not be certificated, shall be subject to certain restrictions, and all interests shall be non-
transferable other than if transferred by will, intestate succession, or otherwise by operation of law.

                              (b)    Creation and Governance of the Litigation Trust

On the Effective Date, the Debtors shall be deemed to transfer the Litigation Trust Debtor Causes of Action
to the Litigation Trust, the Reorganized Debtors shall transfer the Litigation Trust Initial Funding to the
Litigation Trust, the holders of Allowed First Lien Claims shall be deemed to transfer the Litigation Trust
First Lien Lender Causes of Action to the Litigation Trust and the Reorganized Debtors (solely in their
capacity as successors to the Debtors), the Litigation Trust Oversight Committee and the Creditors’
Committee shall execute the Litigation Trust Agreement and shall take all steps necessary to establish the
Litigation Trust in accordance with the Second Amended Plan and the beneficial interests tin the Second
Amended Plan, which shall be for the benefit of the holders of Litigation Trust Interest and Reorganized
FCI. In the event of any conflict between the terms of the Second Amended Plan and the terms of the
Litigation Trust Agreement, the terms of the Second Amended Plan shall govern. Additionally, on the
Effective Date, (1) the Debtors shall be deemed to transfer to the Litigation Trust all of their rights, title and
interest in and to all of the Litigation Trust Debtor Causes of Action (2) the Reorganized Debtors shall
transfer to the Litigation Trust all of their rights, title and interest in and to all of the Litigation Trust Initial
Funding and (3) the holders of Allowed First Lien Claims shall be deemed to transfer to the Litigation Trust
all of their rights, title and interest in and to all of the Litigation Trust First Lien Lender Causes of Action,
and in accordance with section 1141 of the Bankruptcy Code, the Litigation Trust Debtor Causes of Action,
the Litigation Trust Initial Funding and the Litigation Trust First Lien Lender Causes of Action shall
automatically vest in the Litigation Trust free and clear of all Claims and Liens and such transfer shall be

                                                         52
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57                Main Document
                                               Pg 65 of 565


exempt from any stamp, real estate transfer, mortgage reporting, sales, use or other similar tax. The
Litigation Trust Oversight Committee shall be the exclusive administrator of the assets of the Litigation
Trust for purposes of 31 U.S.C. § 3713(b) and 26 U.S.C. § 6012(b)(3), as well as the representatives of the
Estate of each of the Debtors appointed pursuant to section 1123(b)(3)(B) of the Bankruptcy Code, solely
for purposes of carrying out the Litigation Trust Oversight Committee’s duties under the Litigation Trust
Agreement. Notwithstanding the foregoing, all net proceeds of such Litigation Trust Debtor Cause of
Action shall be transferred to the Litigation Trust to be distributed in accordance with the Second Amended
Plan. The Litigation Trust shall be governed by the Litigation Trust Agreement and administered by the
Litigation Trust Oversight Committee. The powers, rights, and responsibilities of the Litigation Trust
Oversight Committee shall be specified in the Litigation Trust Agreement and shall include the authority
and responsibility to, among other things, take the actions set forth in Section 5.16 of the Second Amended
Plan. The Litigation Trust Oversight Committee shall hold and distribute the Litigation Trust Assets in
accordance with the provisions of the Second Amended Plan and the Litigation Trust Agreement. Other
rights and duties of the Litigation Trust Oversight Committee shall be as set forth in the Litigation Trust
Agreement. After the Effective Date, the Debtors and the Reorganized Debtors shall have no interest in
the Litigation Trust Assets except as set forth in the Litigation Trust Agreement.

                              (c)   Litigation Trust Oversight Committee and Litigation Trust
Agreement

The Litigation Trust Agreement generally will provide for, among other things: (i) the transfer of the
Litigation Trust Assets to the Litigation Trust; (ii) the payment of Litigation Trust Expenses; (iii) the
retention of counsel, accountants, financial advisors, or other professionals; (iv) litigation of any Litigation
Trust Causes of Action, which may include the prosecution, settlement, abandonment or dismissal of any
such Causes of Action; and (v) making distributions to holders of Litigation Trust Interests and to
Reorganized FCI, as provided in the Second Amended Plan and in the Litigation Trust Agreement. The
Litigation Trust Oversight Committee, on behalf of the Litigation Trust, may employ, without further order
of the Bankruptcy Court, professionals to assist in carrying out its duties hereunder and may compensate
and reimburse the reasonable expenses of those professionals without further order of the Bankruptcy Court
from the Litigation Trust Assets in accordance with the Second Amended Plan and the Litigation Trust
Agreement. The Litigation Trust Agreement shall include reasonable and customary provisions that allow
for indemnification of the Litigation Trust Oversight Committee by the Litigation Trust. Any such
indemnification shall be the sole responsibility of the Litigation Trust and payable solely from the Litigation
Trust Assets. The Litigation Trust Oversight Committee shall be responsible for all decisions and duties
with respect to the Litigation Trust and the Litigation Trust Assets, except as otherwise provided in the
Litigation Trust Agreement.

                              (d)   Cooperation of Reorganized Debtors

The Reorganized Debtors shall reasonably cooperate with the Litigation Trust and its agents and
representatives in the administration of the Litigation Trust, including, providing reasonable access to books
and records and current employees and officers, including for interviews, deposition, or testimony, with
respect to (i) the investigation, prosecution, compromise, and/or settlement of the Litigation Trust Causes
of Action, (ii) contesting, settling, compromising, reconciling, and objecting to General Unsecured Claims,
and (iii) administering the Litigation Trust (collectively, “Trust Responsibilities”) and in each case, the
Litigation Trust agrees to reimburse reasonable out-of-pocket expenses incurred in connection with such
cooperation. The Reorganized Debtors shall take all reasonable efforts to assist the Litigation Trust with
the Trust Responsibilities and the Litigation Trust may enter into agreements with the Reorganized Debtors
and/or the Creditors’ Committee in order to obtain information from the Reorganized Debtors and/or the
Creditors’ Committee on a confidential basis, without being restricted by or waiving any applicable work
product, attorney-client, or other privilege. The Litigation Trust’s receipt of documents, information or

                                                      53
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57                Main Document
                                               Pg 66 of 565


communications from the Reorganized Debtors shall not constitute a waiver of any privilege. For the
avoidance of doubt, the Litigation Trust shall not be responsible for legal fees, if any, incurred by the
Reorganized Debtors in fulfilling its obligations under this Section.

                              (e)   Cooperation Agreements

To the extent requested by the Committee, with the consent of the First Lien Lender Group (not to be
unreasonably withheld), any of the Specified Officers and Directors shall enter into an agreement prior to
the Effective Date pursuant to which he will agree to cooperate with the Litigation Trust and provide
reasonable assistance to the Litigation Trust until the Litigation Trust is terminated, regardless of whether
he remains an officer of the Reorganized Debtors.

                              (f)   Litigation Trust Assets

The Litigation Trust Oversight Committee shall have the exclusive right in respect of all Litigation Trust
Causes of Action to institute, file, prosecute, enforce, settle, compromise, release, abandon, or withdraw
any and all Litigation Trust Causes of Action without any further order of the Bankruptcy Court or consent
of any other party, except as otherwise provided in the Second Amended Plan or in the Litigation Trust
Agreement. From and after the Effective Date, the Litigation Trust Oversight Committee, in accordance
with section 1123(b)(3) of the Bankruptcy Code, and on behalf of the Litigation Trust, shall serve as a
representative of the Estates, solely for purposes of carrying out the Litigation Trust Oversight Committee’s
duties under the Litigation Trust Agreement. In connection with the investigation, prosecution and/or
compromise of the Litigation Trust Causes of Action, the Litigation Trust Oversight Committee may
expend such portion of the Litigation Trust Assets as the Litigation Trust Oversight Committee deems
necessary.

                              (g)   Litigation Trust Fees and Expenses

From and after the Effective Date, the Litigation Trust, shall, in the ordinary course of business and without
the necessity of any approval by the Bankruptcy Court, pay the Litigation Trust Expenses, including but
not limited to reasonable fees and expenses of the Litigation Trust Oversight Committee and the fees and
expenses of any professionals retained by the Litigation Trust from the Litigation Trust Assets, except as
otherwise provided in the Litigation Trust Agreement. The Reorganized Debtors shall not be responsible
for any costs, fees, or expenses of the Litigation Trust.

                              (h)   Tax Treatment

In furtherance of Section 5.16 of the Second Amended Plan, (i) the Litigation Trust shall be structured to
qualify as a “liquidating trust” within the meaning of Treasury Regulation section 301.7701-4(d) and in
compliance with Revenue Procedure 94-45, 1994-2 C.B. 684, and, thus, as a “grantor trust” within the
meaning of sections 671 through 679 of the Tax Code to the holders of Litigation Trust Interests, consistent
with the terms of the Second Amended Plan; (ii) the sole purpose of the Litigation Trust shall be the
liquidation and distribution of the Litigation Trust Assets in accordance with Treasury Regulation section
301.7701-4(d), including the resolution of General Unsecured Claims in accordance with the Second
Amended Plan, with no objective to continue or engage in the conduct of a trade or business; (iii) all parties
(including the Debtors and the Estates, holders of Litigation Trust Interests and the Litigation Trust
Oversight Committee) shall report consistently with such treatment (including the deemed receipt of the
underlying assets, subject to applicable liabilities and obligations, by the holders of Litigation Trust
Interests, followed by the deemed transfer of such assets to the Litigation Trust); (iv) all parties shall report
consistently with the valuation of the Litigation Trust Assets transferred to the Litigation Trust as
determined by the Litigation Trust Oversight Committee (or its designee); (v) the Litigation Trust Oversight


                                                       54
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57                 Main Document
                                               Pg 67 of 565


Committee shall be responsible for filing returns for the Litigation Trust as a grantor trust pursuant to
Treasury Regulation section 1.671-4(a); and (vi) the Litigation Trust Oversight Committee shall annually
send to each holder of Litigation Trust Interests a separate statement regarding the receipts and expenditures
of the trust as relevant for U.S. federal income tax purposes. Subject to definitive guidance from the Internal
Revenue Service or a court of competent jurisdiction to the contrary (including the receipt by the Litigation
Trust Oversight Committee of a private letter ruling if the Litigation Trust Oversight Committee so requests
one, or the receipt of an adverse determination by the Internal Revenue Service upon audit if not contested
by the Litigation Trust Oversight Committee), the Litigation Trust Oversight Committee, with the consent
of the Requisite First Lien Lenders (which consent shall not be unreasonably withheld or delayed), may
timely elect to (i) treat any portion of the Litigation Trust allocable to Disputed General Unsecured Claims
as a “disputed ownership fund” governed by Treasury Regulation section 1.468B-9 (and make any
appropriate elections) and (ii) to the extent permitted by applicable law, report consistently with the
foregoing for state and local income tax purposes. If a “disputed ownership fund” election is made, all
parties (including the Debtors and the Estates, holders of Litigation Trust Interests and the Litigation Trust
Oversight Committee) shall report for United States federal, state, and local income tax purposes
consistently with the foregoing. As to any assets allocable to, or retained on account of, Disputed General
Unsecured Claims, all distributions shall be net of any expenses, including taxes, relating to the retention
or disposition of such assets, and the Litigation Trust Oversight Committee shall be responsible for
payment, out of the assets of such retained assets, of any taxes imposed on or in respect of such assets. All
parties (including, without limitation, the Debtors, the Reorganized Debtors, the Litigation Trust and the
holders of Litigation Trust Interests) will be required to report for tax purposes consistently with the
foregoing.

                              (i)   Termination and Dissolution of the Litigation Trust

The Litigation Trust Oversight Committee shall have the right to terminate the Litigation Trust, when it
determines, in its sole discretion, that the pursuit of additional Litigation Trust Causes of Action is not likely
to yield sufficient additional proceeds to justify further pursuit of such claims (the “Termination Right”).
The Litigation Trust Oversight Committee and the Litigation Trust shall be discharged or dissolved, as the
case may be, at such time as (i) the Litigation Trust Oversight Committee exercises its Termination Right
and (ii) all distributions required to be made by the Litigation Trust Oversight Committee under the Second
Amended Plan and the Litigation Trust Agreement have been made. Upon termination and dissolution of
the Litigation Trust, any remaining Litigation Trust Proceeds shall be distributed to holders of Litigation
Trust Interests and Reorganized FCI in accordance with Section 5.2(b) of the Second Amended Plan and
the Litigation Trust Agreement; provided, that in the event the Litigation Trust Oversight Committee
exercises its Termination Right without the consent (which may not be unreasonably withheld, conditioned
or delayed) of the member appointed by the Creditors’ Committee to the Litigation Trust Oversight
Committee, the Litigation Trust shall distribute the GUC Payment before making any other distributions
pursuant to Section 5.2 of the Second Amended Plan (with the GUC Payment deemed to have been made
for purposes of the waterfall set forth in Section 5.2(b)(vi)); provided that the member appointed by the
Creditors’ Committee to the Litigation Trust Oversight Committee may choose to use the GUC Payment
to either (a) make a distribution to holders of Litigation Trust Interests that are holders of Allowed General
Unsecured Claims or (b) continue the Litigation Trust and prosecute Litigation Trust Causes of Action for
the sole benefit of holders of Litigation Trust Interests that are holders of Allowed General Unsecured
Claims.

                              (j)   Single Satisfaction of Allowed Claims From Litigation Trust

Notwithstanding anything to the contrary in the Second Amended Plan, in no event shall holders of
Litigation Trust Interests recover more than the full amount of their Allowed Claims from the Litigation
Trust.

                                                       55
WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456    Filed 10/07/19 Entered 10/07/19 15:38:57              Main Document
                                               Pg 68 of 565



          E.        Distributions

                    1.        Distributions Generally

Except as otherwise provided in the Second Amended Plan and the Litigation Trust Agreement, one or
more Disbursing Agents shall make all distributions under the Second Amended Plan to the appropriate
holders of Allowed Claims in accordance with the terms of the Second Amended Plan.

                    2.        Distribution Record Date

As of the close of business on the Distribution Record Date, the various transfer registers for each of the
Classes of Claims or Interests as maintained by the Debtors or their respective agents shall be deemed
closed for purposes of determining whether a holder of such a Claim or Interest is a record holder entitled
to distributions under the Second Amended Plan, and there shall be no further changes in the record holders
or the permitted designees of any such Claims or Interests. The Debtors, the Reorganized Debtors, or the
Litigation Trust Oversight Committee, as applicable, shall have no obligation to recognize any transfer or
designation of such Claims or Interests occurring after the close of business on the Distribution Record
Date. In addition, with respect to payment of any Cure Amounts or assumption disputes, neither the Debtors
nor the Disbursing Agent shall have any obligation to recognize or deal with any party other than the non-
Debtor party to the applicable executory contract or unexpired lease as of the close of business on the
Distribution Record Date, even if such non-Debtor party has sold, assigned, or otherwise transferred its
Claim for a Cure Amount.

                    3.        Date of Distributions

Except as otherwise provided in the Second Amended Plan and in the Litigation Trust Agreement, any
distributions and deliveries to be made under the Second Amended Plan shall be made on the Effective
Date or as otherwise determined in accordance with the Second Amended Plan, including, without
limitation, the treatment provisions of V.C of the Second Amended Plan, or as soon as practicable
thereafter; provided, that the Litigation Trust Oversight Committee shall from time to time determine
distribution dates of Litigation Trust Assets as and when they determine to be appropriate.

                    4.        Disbursing Agent

All distributions under the Second Amended Plan shall be made by the Disbursing Agent on and after the
Effective Date as provided in the Second Amended Plan. The Disbursing Agent shall not be required to
give any bond or surety or other security for the performance of its duties. The Reorganized Debtors shall
use all commercially reasonable efforts to provide the Disbursing Agent (if other than the Reorganized
Debtors) with the amounts of Claims and the identities and addresses of holders of Claims, in each case, as
set forth in the Debtors’ or the Reorganized Debtors’ books and records. The Reorganized Debtors shall
cooperate in good faith with the applicable Disbursing Agent (if other than the Reorganized Debtors) to
comply with the reporting and withholding requirements outlined in Section 6.19 of the Second Amended
Plan.

                    5.        Rights and Powers of Disbursing Agent

                         (a)      From and after the Effective Date, the Disbursing Agent, solely in its
capacity as Disbursing Agent, shall be exculpated by all Entities, including, without limitation, holders of
Claims against and Interests in the Debtors and other parties in interest, from any and all Claims, Causes of
Action, and other assertions of liability arising out of the discharge of the powers and duties conferred upon
such Disbursing Agent by the Second Amended Plan or any order of the Bankruptcy Court entered pursuant

                                                      56
WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456    Filed 10/07/19 Entered 10/07/19 15:38:57             Main Document
                                               Pg 69 of 565


to or in furtherance of the Second Amended Plan, or applicable law, except for actions or omissions to act
arising out of the gross negligence or willful misconduct, fraud, malpractice, criminal conduct, or ultra
vires acts of such Disbursing Agent. No holder of a Claim or Interest or other party in interest shall have
or pursue any claim or Cause of Action against the Disbursing Agent, solely in its capacity as Disbursing
Agent, for making distributions in accordance with the Second Amended Plan or for implementing
provisions of the Second Amended Plan, except for actions or omissions to act arising out of the gross
negligence or willful misconduct, fraud, malpractice, criminal conduct, or ultra vires acts of such
Disbursing Agent.

                          (b)    A Disbursing Agent shall be empowered to (i) effect all reasonable actions
and execute all agreements, instruments, and other documents necessary to perform its duties hereunder;
(ii) make all distributions contemplated hereby; and (iii) exercise such other powers as may be vested in
the Disbursing Agent by order of the Bankruptcy Court, pursuant to the Second Amended Plan, or as
deemed by the Disbursing Agent to be necessary and proper to implement the provisions of the Second
Amended Plan.

                    6.        Expenses of Disbursing Agent

Except as otherwise ordered by the Bankruptcy Court, any reasonable and documented fees and expenses
incurred by the Disbursing Agent acting in such capacity (including reasonable documented attorneys’ and
other professional fees and expenses) on or after the Effective Date shall be paid in Cash.

                    7.        No Postpetition Interest on Claims

Except as otherwise provided in the Second Amended Plan, the Confirmation Order, the DIP Order, or
another order of the Bankruptcy Court or required by the Bankruptcy Code (including postpetition interest
in accordance with sections 506(b) and 726(a)(5) of the Bankruptcy Code), interest shall not accrue or be
paid on any Claims on or after the Commencement Date; provided, that if interest is payable pursuant to
the preceding sentence, interest shall accrue at the federal judgment rate pursuant to 28 U.S.C. § 1961 on a
non-compounded basis from the date the obligation underlying the Claim becomes due and is not timely
paid through the date of payment.

                    8.        Delivery of Distributions

                          (a)     Subject to Bankruptcy Rule 9010, all distributions to any holder or
permitted designee, as applicable, of an Allowed Claim or Interest shall be made to a Disbursing Agent,
who shall transmit such distribution to the applicable holders or permitted designees of Allowed Claims or
Interests on behalf of the Debtors. In the event that any distribution to any holder or permitted designee is
returned as undeliverable, no further distributions shall be made to such holder or such permitted designee
unless and until such Disbursing Agent is notified in writing of such holder’s or permitted designee’s, as
applicable, then-current address, at which time all currently-due, missed distributions shall be made to such
holder as soon as reasonably practicable thereafter without interest. Nothing in the Second Amended Plan
shall require the Disbursing Agent to attempt to locate holders or permitted designees, as applicable, of
undeliverable distributions and, if located, assist such holders or permitted designees, as applicable, in
complying with Section 6.19 of the Second Amended Plan.

                          (b)     Notwithstanding the foregoing, all distributions of Cash on account of
First Lien Claims or Second Lien Claims, if any, shall be deposited with the Prepetition First Lien
Administrative Agent and the Prepetition Second Lien Administrative Agent, as applicable, for distribution
to holders of First Lien Claims or Second Lien Claims in accordance with the terms of the Prepetition Credit
Agreement, the Prepetition Second Lien Credit Agreement and the Prepetition Intercreditor Agreement.


                                                     57
WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456    Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                               Pg 70 of 565


All distributions other than of Cash on account of First Lien Claims or Second Lien Claims, if any, may,
with the consent of the Prepetition First Lien Administrative Agent and the Prepetition Second Lien
Administrative Agent, be made by the Disbursing Agent directly to holders of First Lien Claims and Second
Lien Claims in accordance with the terms of the Second Amended Plan, the Prepetition First Lien Credit
Agreement, the Prepetition Second Lien Credit Agreement and the Prepetition Intercreditor Agreement. To
the extent the Prepetition First Lien Administrative Agent or the Prepetition Second Lien Administrative
Agent effectuates, or is requested to effectuate, any distributions hereunder, the Prepetition First Lien
Administrative Agent and the Prepetition Second Lien Administrative Agent shall be deemed a “Disbursing
Agent” for purposes of the Second Amended Plan.

                    9.        Distributions after Effective Date

Distributions made after the Effective Date to holders of Disputed Claims that are not Allowed Claims as
of the Effective Date but which later become Allowed Claims shall be deemed to have been made on the
Effective Date.

                    10.       Unclaimed Property

Undeliverable distributions or unclaimed distributions shall remain in the possession of the Debtors or the
Litigation Trust, as applicable, until such time as a distribution becomes deliverable or holder accepts
distribution, or such distribution reverts back to the Debtors, Reorganized Debtors, or Litigation Trust, as
applicable, and shall not be supplemented with any interest, dividends, or other accruals of any kind. Such
distributions shall be deemed unclaimed property under section 347(b) of the Bankruptcy Code at the
expiration of three hundred and sixty-five (365) days from the date of distribution. After such date all
unclaimed property or interest in property shall revert to the Reorganized Debtors or Litigation Trust, as
applicable, and the Claim of any other holder to such property or interest in property shall be discharged
and forever barred.

                    11.       Time Bar to Cash Payments

Checks issued by the Disbursing Agent in respect of Allowed Claims shall be null and void if not negotiated
within one hundred and twenty (120) days after the date of issuance thereof. Thereafter, the amount
represented by such voided check shall irrevocably revert to the Reorganized Debtors or the Litigation
Trust, as applicable, and any Claim in respect of such voided check shall be discharged and forever barred,
notwithstanding any federal or state escheat laws to the contrary. Requests for re-issuance of any check
shall be made to the Disbursing Agent or Litigation Trust Oversight Committee, as applicable, by the holder
of the Allowed Claim to whom such check was originally issued.

                    12.       Manner of Payment under Plan

Except as otherwise specifically provided in the Second Amended Plan, at the option of the Debtors, the
Reorganized Debtors, or Litigation Trust Oversight Committee, as applicable, any Cash payment to be
made hereunder may be made by a check or wire transfer or as otherwise required or provided in applicable
agreements or customary practices of the Debtors.

                    13.       Satisfaction of Claims

Except as otherwise specifically provided in the Second Amended Plan, any distributions and deliveries to
be made on account of Allowed Claims under the Second Amended Plan shall be in complete and final
satisfaction, settlement, and discharge of and exchange for such Allowed Claims.



                                                       58
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57             Main Document
                                               Pg 71 of 565



                    14.       Fractional Stock and Notes

If any distributions of New Equity Interests pursuant to the Second Amended Plan would result in the
issuance of a fractional share of New Equity Interests, then the number of shares of New Equity Interests
to be issued in respect of such distribution will be calculated to one decimal place and rounded up or down
to the closest whole share (with a half share or greater rounded up and less than a half share rounded down).
The total number of shares of New Equity Interests to be distributed in connection with the Second
Amended Plan shall be adjusted as necessary to account for the rounding provided for in Section 6.14 of
the Second Amended Plan. No consideration shall be provided in lieu of fractional shares that are rounded
down. Neither the Reorganized Debtors, nor the Disbursing Agent shall have any obligation to make a
distribution that is less than one (1) share of New Equity Interests.

                    15.       Minimum Cash Distributions

The Disbursing Agent shall not be required to make any distribution of Cash less than One Hundred Dollars
($100) to any holder of an Allowed Claim; provided, that if any distribution is not made pursuant to Section
6.15 of the Second Amended Plan, such distribution shall be added to any subsequent distribution to be
made on behalf of the holder’s Allowed Claim.

                    16.       Setoffs and Recoupments

The Debtors or the Reorganized Debtors, as applicable, or such entity’s designee (including, without
limitation, the Disbursing Agent) may, but shall not be required to, set off or recoup against any Claim, and
any distribution to be made on account of such Claim, any and all claims, rights, and Causes of Action of
any nature whatsoever that the Debtors or the Reorganized Debtors may have against the holder of such
Claim pursuant to the Bankruptcy Code or applicable non-bankruptcy law; provided, that neither the failure
to do so nor the allowance of any Claim hereunder shall constitute a waiver or release by a Debtor or
Reorganized Debtor or its successor of any claims, rights, or Causes of Action that a Debtor or Reorganized
Debtor or its successor or assign may possess against the holder of such Claim.

                    17.       Allocation of Distributions between Principal and Interest

Except as otherwise required by law (as reasonably determined by the Reorganized Debtors), distributions
with respect to an Allowed Claim shall be allocated first to the principal portion of such Allowed Claim (as
determined for United States federal income tax purposes) and, thereafter, to the remaining portion of such
Allowed Claim, if any.

                    18.       No Distribution in Excess of Amount of Allowed Claim

Except as provided in Section 6.7 of the Second Amended Plan, no holder of an Allowed Claim shall
receive, on account of such Allowed Claim, distributions in excess of the Allowed amount of such Claim.

                    19.       Withholding and Reporting Requirements

                              (a)    Withholding Rights

In connection with the Second Amended Plan, any party issuing any instrument or making any distribution
described in the Second Amended Plan shall comply with all applicable withholding and reporting
requirements imposed by any federal, state, or local taxing authority, and all distributions pursuant to the
Second Amended Plan and all related agreements shall be subject to any such withholding or reporting
requirements. In the case of a non-Cash distribution that is subject to withholding, the distributing party

                                                     59
WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456    Filed 10/07/19 Entered 10/07/19 15:38:57               Main Document
                                               Pg 72 of 565


may withhold an appropriate portion of such distributed property and either (i) sell such withheld property
to generate Cash necessary to pay over the withholding tax (or reimburse the distributing party for any
advance payment of the withholding tax), or (ii) pay the withholding tax using its own funds and retain
such withheld property. Any amounts withheld pursuant to the preceding sentence shall be deemed to have
been distributed to and received by the applicable recipient for all purposes of the Second Amended Plan.
Notwithstanding the foregoing, each holder of an Allowed Claim or any other Entity that receives a
distribution pursuant to the Second Amended Plan shall have responsibility for any taxes imposed by any
governmental unit, including, without limitation, income, withholding, and other taxes, on account of such
distribution. Any party issuing any instrument or making any distribution pursuant to the Second Amended
Plan has the right, but not the obligation, to not make a distribution until such holder has made arrangements
satisfactory to such issuing or disbursing party for payment of any such tax obligations.

                              (b)   Forms

Any party entitled to receive any property as an issuance or distribution under the Second Amended Plan
shall, upon request, deliver to the Disbursing Agent or such other Entity designated by the Reorganized
Debtors or Litigation Trust, as applicable (which Entity shall subsequently deliver to the Disbursing Agent
any applicable IRS Form W-8 or Form W-9 received) an appropriate Form W-9 or (if the payee is a foreign
Entity) Form W-8. If such request is made by the Reorganized Debtors, the Disbursing Agent, or such
other Entity designated by the Reorganized Debtors or Disbursing Agent and the holder fails to comply
before the earlier of (i) the date that is one hundred and eighty (180) days after the request is made and (ii)
the date that is one hundred and eighty (180) days after the date of distribution, the amount of such
distribution shall irrevocably revert to the applicable Reorganized Debtor and any Claim in respect of such
distribution shall be discharged and forever barred from assertion against such Reorganized Debtor or its
respective property.

          F.        Procedures for Disputed Claims

                    1.        Objections to Claims

The Debtors, the Reorganized Debtors, or the Litigation Trust, as applicable, shall exclusively be entitled
to object to Claims. After the Effective Date, the Reorganized Debtors or the Litigation Trust Oversight
Committee, as applicable, shall have and retain any and all rights and defenses that the Debtors had with
regard to any Claim to which they may object, except with respect to any Claim that is Allowed. Any
objections to proofs of Claim shall be served and filed on or before the later of (a) one-hundred and eighty
(180) days after the Effective Date, and (b) on such later date as may be fixed by the Bankruptcy Court,
after notice and a hearing, upon a motion by the Reorganized Debtors that is filed before the date that is
one-hundred and eighty (180) days after the Effective Date. The expiration of such period shall not limit
or affect the Debtors’ or the Reorganized Debtors’ rights to dispute Claims asserted in the ordinary course
of business other than through a proof of Claim.

                    2.        Resolution of Disputed Claims

On and after the Effective Date, (a) the Debtors or the Reorganized Debtors, as applicable, shall have the
authority to compromise, settle, otherwise resolve, or withdraw any objections to Claims (other than
General Unsecured Claims) without approval of the Bankruptcy Court, other than with respect to Fee
Claims; and (b) upon the creation of the Litigation Trust, the Litigation Trust Oversight Committee shall
have the exclusive authority to compromise, settle, otherwise resolve, or withdraw any objections to
General Unsecured Claims without approval of the Bankruptcy Court. The Debtors or the Reorganized
Debtors, as applicable, and the Litigation Trust Oversight Committee shall cooperate with respect to any
objections to Claims that seek to convert Claims into General Unsecured Claims or General Unsecured

                                                      60
WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456    Filed 10/07/19 Entered 10/07/19 15:38:57             Main Document
                                               Pg 73 of 565


Claims into other Claims. The rights and defenses of the Debtors, the Reorganized Debtors or the Litigation
Trust, as applicable, to any such objections are fully preserved.

                    3.        Payments and Distributions with Respect to Disputed Claims

Notwithstanding anything in the Second Amended Plan to the contrary, if any portion of a Claim is a
Disputed Claim, no payment or distribution provided hereunder shall be made on account of such Claim
unless and until such Disputed Claim becomes an Allowed Claim.

                    4.        Distributions after Allowance

After such time as a Disputed Claim becomes, in whole or in part, an Allowed Claim, the holder thereof
shall be entitled to distributions, if any, to which such holder is then entitled as provided in the Second
Amended Plan, without interest, as provided in Section 7.9 of the Second Amended Plan. Such distributions
shall be made as soon as practicable after the date that the order or judgment of the Bankruptcy Court
allowing such Disputed Claim (or portion thereof) becomes a Final Order.

                    5.        Disallowance of Claims

Except to the extent otherwise agreed to by the Debtors, the Reorganized Debtors, or the Litigation Trust
Oversight Committee, as applicable, or as provided in Section .2(b) of the Second Amended Plan, any
Claims held by Entities from which property is recoverable under sections 542, 543, 550, or 553 of the
Bankruptcy Code or that is a transferee of a transfer avoidable under section 522(f), 522(h), 544, 545, 547,
548, 549, or 724(a) of the Bankruptcy Code, as determined by a Final Order, shall be deemed disallowed
pursuant to section 502(d) of the Bankruptcy Code, and holders of such Claims may not receive any
distributions on account of such Claims until such time as such Causes of Action against that Entity have
been settled or a Final Order with respect thereto has been entered and all sums due, if any, to the Debtors
by that Entity have been turned over or paid to the Debtors, the Reorganized Debtors, or the Litigation Trust
Oversight Committee, as applicable.

                    6.        Estimation of Claims

The Debtors, the Reorganized Debtors, or the Litigation Trust Oversight Committee, as applicable, may
(a) determine, resolve and otherwise adjudicate all contingent, unliquidated, and Disputed Claims in the
Bankruptcy Court and (b) at any time request that the Bankruptcy Court estimate any contingent,
unliquidated, or Disputed Claim pursuant to section 502(c) of the Bankruptcy Code regardless of whether
the Debtors previously objected to such Claim or whether the Bankruptcy Court has ruled on any such
objection. The Bankruptcy Court will retain jurisdiction to estimate any Claim at any time during litigation
concerning any objection to any Claim, including, without limitation, during the pendency of any appeal
relating to any such objection. In the event that the Bankruptcy Court estimates any contingent,
unliquidated, or Disputed Claim, the amount so estimated shall constitute either the Allowed amount of
such Claim or a maximum limitation on such Claim, as determined by the Bankruptcy Court. If the
estimated amount constitutes a maximum limitation on the amount of such Claim, the Debtors, the
Reorganized Debtors, or the Litigation Trust Oversight Committee, as applicable, may pursue
supplementary proceedings to object to the allowance of such Claim; provided, that such limitation shall
not apply to Claims requested by the Debtors to be estimated for voting purposes only.




                                                       61
WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456    Filed 10/07/19 Entered 10/07/19 15:38:57              Main Document
                                               Pg 74 of 565



                    7.        No Distributions Pending Allowance

If an objection, motion to estimate, or other challenge to a Claim is filed, no payment or distribution
provided under the Second Amended Plan shall be made on account of such Claim unless and until (and
only to the extent that) such Claim becomes an Allowed Claim.

                    8.        Claim Resolution Procedures Cumulative

All of the objection, estimation, and resolution procedures in the Second Amended Plan are intended to be
cumulative and not exclusive of one another. Claims may be estimated and subsequently settled,
compromised, withdrawn, or resolved in accordance with the Second Amended Plan without further notice
or Bankruptcy Court approval.

                    9.        Interest

To the extent that a Disputed Claim becomes an Allowed Claim after the Effective Date, the holder of such
Claim shall not be entitled to any interest that accrued thereon from and after the Effective Date, except as
provided in Section 6.7 of the Second Amended Plan.

                    10.       Insured Claims

If any portion of an Allowed Claim is an Insured Claim, no distributions under the Second Amended Plan
shall be made on account of such Allowed Claim until the holder of such Allowed Claim has exhausted all
remedies with respect to any applicable insurance policies. To the extent that the Debtors’ insurers agree
to satisfy a Claim in whole or in part, then immediately upon such agreement, the portion of such Claim so
satisfied may be expunged without an objection to such Claim having to be filed and without any further
notice to or action, order or approval of the Court.

          G.        Executory Contracts and Unexpired Leases

                    1.        General Treatment

                            (a)      As of and subject to the occurrence of the Effective Date, all executory
contracts and unexpired leases to which any of the Debtors are parties shall be deemed rejected, unless such
contract or lease (i) was previously assumed or rejected by the Debtors pursuant to an order of the
Bankruptcy Court; (ii) previously expired or terminated pursuant to its own terms or by agreement of the
parties thereto; (iii) is the subject of a motion to assume filed by the Debtors on or before the Confirmation
Date; (iv) is identified in section 5.7(a) of the Second Amended Plan; (v) is identified in section 8.4 of the
Second Amended Plan; or (vi) is identified for assumption on the Assumption Schedule included in the
Plan Supplement.

                        (b)      Subject to the occurrence of the Effective Date, entry of the Confirmation
Order by the Bankruptcy Court shall constitute approval of the assumptions, assumptions and assignments,
or rejections provided for in the Second Amended Plan pursuant to sections 365(a) and 1123 of the
Bankruptcy Code and a determination by the Bankruptcy Court that the Reorganized Debtors or the
Successful Bidder, as applicable, have provided adequate assurance of future performance under such
assumed executory contracts and unexpired leases. Each executory contract and unexpired lease assumed
or assumed and assigned pursuant to the Second Amended Plan shall vest in and be fully enforceable by
the Reorganized Debtors or the Successful Bidder, as applicable, in accordance with its terms, except as
modified by the provision of the Second Amended Plan, any order of the Bankruptcy Court authorizing and
providing for its assumption, or applicable law.

                                                     62
WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57                Main Document
                                              Pg 75 of 565



                    2.        Determination of Assumption Disputes and Deemed Consent

                         (a)      Any Cure Amount shall be satisfied, pursuant to section 365(b)(1) of the
Bankruptcy Code, by payment of the Cure Amount, as reflected in the applicable cure notice, in Cash on
the Effective Date, subject to the limitations described below, or on such other terms as the parties to such
executory contracts or unexpired leases and the Debtors may otherwise agree.

                           (b)      The Debtors shall file, as part of the Plan Supplement, the Assumption
Schedule. The Debtors shall serve a notice on parties to executory contracts or unexpired leases to be
assumed or assumed and assigned reflecting the Debtors’ intention to assume or assume and assign the
contract or lease in connection with the Second Amended Plan and, where applicable, setting forth the
proposed Cure Amount (if any), in accordance with the Disclosure Statement Order. Any objection by a
counterparty to an executory contract or unexpired lease to the proposed assumption, assumption and
assignment, or related Cure Amount must be filed and served in accordance with the Disclosure Statement
Order. Any counterparty to an executory contract or unexpired lease that does not timely object to the
notice of the proposed assumption of such executory contract or unexpired lease shall be deemed to have
assented to assumption of the applicable executory contract or unexpired lease notwithstanding any
provision thereof that purports to (i) prohibit, restrict, or condition the transfer or assignment of such
contract or lease; (ii) terminate or modify, or permit the termination or modification of, a contract or lease
as a result of any direct or indirect transfer or assignment of the rights of any Debtor under such contract or
lease or a change, if any, in the ownership or control to the extent contemplated by the Second Amended
Plan; (iii) increase, accelerate, or otherwise alter any obligations or liabilities of any Debtor or any
Reorganized Debtor under such executory contract or unexpired lease; or (iv) create or impose a Lien upon
any property or Asset of any Debtor or any Reorganized Debtor, as applicable. Each such provision shall
be deemed to not apply to the assumption of such executory contract or unexpired lease pursuant to the
Second Amended Plan and counterparties to assumed executory contracts or unexpired leases that fail to
object to the proposed assumption in accordance with the terms set forth in Section 8.2(b) of the Second
Amended Plan, shall forever be barred and enjoined from objecting to the proposed assumption or to the
validity of such assumption (including with respect to any Cure Amounts or the provision of adequate
assurance of future performance), or taking actions prohibited by the foregoing or the Bankruptcy Code on
account of transactions contemplated by the Second Amended Plan.

                         (c)     If there is an Assumption Dispute pertaining to assumption of an executory
contract or unexpired lease (other than a dispute pertaining to a Cure Amount), such dispute shall be heard
by the Bankruptcy Court prior to such assumption being effective, provided, that the Debtors or the
Reorganized Debtors, as applicable, may settle any dispute regarding the Cure Amount or the nature thereof
without any further notice to any party or any action, order, or approval of the Bankruptcy Court.

                          (d)     To the extent an Assumption Dispute relates solely to the Cure Amount,
the Debtors may assume and/or assume and assign the applicable executory contract or unexpired lease
prior to the resolution of such Assumption Dispute; provided, that the Debtors or the Reorganized Debtors
reserve Cash in an amount sufficient to pay the full amount reasonably asserted as the required cure payment
by the non-Debtor party to such executory contract or unexpired lease (or such smaller amount as may be
fixed or estimated by the Bankruptcy Court or otherwise agreed to by such non-Debtor party and the
applicable Reorganized Debtor).

                         (e)      Assumption or assumption and assignment of any executory contract or
unexpired lease pursuant to the Second Amended Plan or otherwise shall result in the full release and
satisfaction of any Claims against any Debtor or defaults by any Debtor, whether monetary or nonmonetary,
including defaults of provisions restricting the change in control or ownership interest composition or other
bankruptcy-related defaults, arising under any assumed executory contract or unexpired lease at any time


                                                      63
WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456    Filed 10/07/19 Entered 10/07/19 15:38:57                 Main Document
                                               Pg 76 of 565


before the date that the Debtors assume or assume and assign such executory contract or unexpired lease.
Any proofs of Claim filed with respect to an executory contract or unexpired lease that has been assumed
or assumed and assigned shall be deemed disallowed and expunged, without further notice to or action,
order, or approval of the Bankruptcy Court or any other Entity, upon the assumption of such executory
contract or unexpired lease.

                    3.        Rejection Damages Claims

In the event that the rejection of an executory contract or unexpired lease hereunder results in damages to
the other party or parties to such executory contract or unexpired lease, any Claim for such damages shall
be classified and treated in Class 5 (General Unsecured Claims). Such Claim shall be forever barred and
shall not be enforceable against the Debtors, the Reorganized Debtors, or the Litigation Trust, as applicable,
or their respective Estates, properties or interests in property as agents, successors, or assigns, unless a proof
of Claim is filed with the Bankruptcy Court and served upon counsel for the Debtors or the Reorganized
Debtors, as applicable, no later than forty-five (45) days after the filing and service of the notice of the
occurrence of the Effective Date.

                    4.        Insurance Policies

Notwithstanding anything to the contrary in the Definitive Documents, the Second Amended Plan, the Plan
Supplement, any bar date notice or claim objection, and any other document related to any of the foregoing,:
on the Effective Date, (a) all insurance policies issued or providing coverage to the Debtors and all related
agreements shall be assumed in their entirety by the Debtors or the Reorganized Debtors, as applicable
pursuant to sections 105 and 365(a) of the Bankruptcy Code, shall continue in full force and effect thereafter
in accordance with their respective terms, and upon such assumption, the Reorganized Debtors shall remain
liable in full for any and all now existing or hereinafter arising obligations, liabilities, terms, provisions,
and covenants of any of the Debtors under such insurance policies and agreements, without the need or
requirement for an insurer to file a proof of Claim, Administrative Claim, or objection to any cure amount;
(b) the Debtors or the Reorganized Debtors, as applicable, shall not sell, assign or otherwise transfer any
insurance policies or related agreements except in accordance with the terms of thereof and applicable non-
bankruptcy law; and (c) the automatic stay of Bankruptcy Code section 362(a) and the injunctions set forth
in the Second Amended Plan, if and to the extent applicable, shall be deemed lifted without further order
of this Court, solely to permit: (i) claimants with valid workers’ compensation claims or direct action claims
against an insurer under applicable non-bankruptcy law to proceed with their claims; and (ii) the insurers
to administer, handle, defend, settle, and/or pay, in the ordinary course of business and without further
order of the Bankruptcy Court, (A) workers’ compensation claims, (B) claims where a claimant asserts a
direct claim against any insurer under applicable non-bankruptcy law, or an order has been entered by the
Bankruptcy Court granting a claimant relief from the automatic stay to proceed with its claim, and (C) all
costs in relation to each of the foregoing.

                    5.        Intellectual Property Licenses and Agreements

Notwithstanding anything to the contrary in the Definitive Documents, the Second Amended Plan, the Plan
Supplement, any bar date notice or claim objection, and any other document related to any of the foregoing,
all intellectual property contracts, licenses, royalties, or other similar agreements to which the Debtors have
any rights or obligations in effect as of the date of the Confirmation Order shall be deemed and treated as
executory contracts pursuant to the Second Amended Plan and shall, with the consent of the Requisite First
Lien Lenders (which consent shall not be unreasonably withheld), be assumed by the Debtors and
Reorganized Debtors and shall continue in full force and effect unless any such intellectual property
contract, license, royalty, or other similar agreement otherwise is specifically rejected pursuant to a separate
order of the Bankruptcy Court or is the subject of a separate rejection motion filed by the Debtors in


                                                       64
WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57               Main Document
                                              Pg 77 of 565


accordance with Section 8.1 Error! Reference source not found.of the Second Amended Plan. Unless
otherwise noted hereunder, all other intellectual property contracts, licenses, royalties, or other similar
agreements shall vest in the Reorganized Debtors and the Reorganized Debtors may take all actions as may
be necessary or appropriate to ensure such vesting as contemplated in the Second Amended Plan.

                    6.        Tax Agreements

Notwithstanding anything to the contrary in the Definitive Documents, the Second Amended Plan, the Plan
Supplement, any bar date notice or claim objection, and any other document related to any of the foregoing,
any tax sharing agreements to which the Debtors are a party (of which the principal purpose is the allocation
of taxes) in effect as of the date of the Confirmation Order shall be deemed and treated as executory
contracts pursuant to the Second Amended Plan and, to the extent the Debtors determine, with the consent
of the Requisite First Lien Lenders (which consent shall not be unreasonably withheld), that such
agreements are beneficial to the Debtors, shall be assumed by the Debtors and Reorganized Debtors and
shall continue in full force and effect thereafter in accordance with their respective terms, unless any such
tax sharing agreement (of which the principal purpose is the allocation of taxes) otherwise is specifically
rejected pursuant to a separate order of the Bankruptcy Court or is the subject of a separate rejection motion
filed by the Debtors in accordance with Section 8.1 of the Second Amended Plan. Unless otherwise noted
hereunder, all other tax sharing agreements to which the Debtors are a party (of which the principal purpose
is the allocation of taxes) shall vest in the Reorganized Debtors and the Reorganized Debtors may take all
actions as may be necessary or appropriate to ensure such vesting as contemplated in the Second Amended
Plan.

                    7.        Assignment

To the extent provided under the Bankruptcy Code or other applicable law, any executory contract or
unexpired lease transferred and assigned hereunder shall remain in full force and effect for the benefit of
the transferee or assignee in accordance with its terms, notwithstanding any provision in such executory
contract or unexpired lease (including those of the type set forth in section 365(b)(2) of the Bankruptcy
Code) that prohibits, restricts, or conditions such transfer or assignment. To the extent provided under the
Bankruptcy Code or other applicable law, any provision that prohibits, restricts, or conditions the
assignment or transfer of any such executory contract or unexpired lease or that terminates or modifies such
executory contract or unexpired lease or allows the counterparty to such executory contract or unexpired
lease to terminate, modify, recapture, impose any penalty, condition renewal or extension, or modify any
term or condition upon any such transfer and assignment, constitutes an unenforceable anti-assignment
provision and is void and of no force or effect with respect to any assignment pursuant to the Second
Amended Plan.

                    8.        Modifications, Amendments, Supplements, Restatements, or Other
                              Agreements

Unless otherwise provided in the Second Amended Plan or by separate order of the Bankruptcy Court, each
executory contract and unexpired lease that is assumed shall include any and all modifications,
amendments, supplements, restatements, or other agreements made directly or indirectly by any agreement,
instrument, or other document that in any manner affects such executory contract or unexpired lease,
without regard to whether such agreement, instrument, or other document is listed in the notice of assumed
contracts.




                                                     65
WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456           Filed 10/07/19 Entered 10/07/19 15:38:57              Main Document
                                                      Pg 78 of 565



                    9.        Reservation of Rights

                          (a)    The Debtors, with the consent of the Requisite First Lien Lenders, which
consent may not be unreasonably withheld, may amend the Assumption Schedule and any cure notice until
the Business Day immediately prior to the commencement of the Confirmation Hearing in order to (i) add,
delete, or reclassify any executory contract or unexpired lease or amend a proposed assignment and/or
(ii) amend the proposed Cure Amount; provided, that if the Confirmation Hearing is adjourned for a period
of more than two (2) consecutive calendar days, the Debtors’ right to amend such schedules and notices
shall be extended to the Business Day immediately prior to the adjourned date of the Confirmation Hearing,
with such extension applying in the case of any and all subsequent adjournments of the Confirmation
Hearing. The Debtors shall provide notice of such amendment to any affected counterparty as soon as
reasonably practicable.

                         (b)     Neither the exclusion nor inclusion of any contract or lease by the Debtors
on any exhibit, schedule, or other annex to the Second Amended Plan or in the Plan Supplement, nor
anything contained in the Second Amended Plan, will constitute an admission by the Debtors that any such
contract or lease is or is not in fact an executory contract or unexpired lease or that the Debtors, the
Reorganized Debtors or their respective Affiliates have any liability thereunder.

                        (c)      Except as otherwise provided in the Second Amended Plan, nothing in the
Second Amended Plan shall waive, excuse, limit, diminish, or otherwise alter any of the defenses, Claims,
Causes of Action, or other rights of the Debtors and the Reorganized Debtors under any executory or non-
executory contract or any unexpired or expired lease.

                         (d)      Nothing in the Second Amended Plan will increase, augment, or add to
any of the duties, obligations, responsibilities, or liabilities of the Debtors or the Reorganized Debtors, as
applicable, under any executory or non-executory contract or any unexpired or expired lease.

          H.        Conditions Precedent to Confirmation of Plan and Effective Date

                              (a)          Conditions Precedent to Confirmation of Plan

                                          The following are conditions precedent to entry of the Confirmation Order:

                                     i. the Disclosure Statement Order shall have been entered and shall be in full
                                        force and effect and no stay thereof shall be in effect;

                                    ii. the Plan Supplement and all of the schedules, documents, and exhibits
                                        contained tin the Second Amended Plan shall have been filed;

                                    iii. the RSA shall not have been terminated and shall be in full force and
                                         effect; and

                                    iv. the DIP Order and the DIP Documents shall be in full force and effect in
                                        accordance with the terms thereof, and no event of default shall have
                                        occurred and be continuing thereunder.

                              (b)          Conditions Precedent to Effective Date

                                     i.       The following are conditions precedent to the Effective Date of the
                                              Second Amended Plan:


                                                              66
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57               Main Document
                                           Pg 79 of 565


                                   1. the Confirmation Order shall have been entered and shall be in full
                                      force and effect and no stay thereof shall be in effect;

                                   2. no event of default under the DIP Documents shall have occurred
                                      or be continuing and an acceleration of the obligations or
                                      termination of the DIP Lenders’ commitments under the DIP
                                      Documents shall not have occurred;

                                   3. all actions, documents, and agreements necessary to implement
                                      and consummate the Second Amended Plan shall have been
                                      effected or executed and binding on all parties thereto and, to the
                                      extent required, filed with the applicable governmental units in
                                      accordance with applicable laws;

                                   4. all applicable governmental, regulatory and/or third-party
                                      approvals and consents, including FCC Approval, approval of
                                      State PUCs, and Bankruptcy Court approval, necessary in
                                      connection with the transactions contemplated by the Second
                                      Amended Plan shall have been obtained (including approval of the
                                      FCC Applications), not be subject to unfulfilled conditions, and
                                      be in full force and effect, and all applicable waiting periods shall
                                      have expired without any action being taken or threatened by any
                                      competent authority that would restrain, prevent, or otherwise
                                      impose materially adverse conditions on such transactions;

                                   5. the RSA shall not have been terminated and shall be in full force
                                      and effect, and no notice shall have been delivered in accordance
                                      with the RSA that, upon expiration of a cure period, would give
                                      rise to a Lender Termination Event (as defined in the RSA);

                                   6. the Global Settlement shall have been approved by the Bankruptcy
                                      Court without material modification (unless the modification is
                                      consented to by the Debtors, the Requisite First Lien Lenders, and
                                      the Creditors’ Committee);

                                   7. all accrued and unpaid Restructuring Expenses, Second Lien
                                      Lender Restructuring Expenses, and Settlement Restructuring
                                      Expenses shall have been paid in Cash to the extent invoiced at
                                      least two (2) business days prior to the Effective Date (or such
                                      shorter period as the Debtors may agree); provided that, any
                                      modification to the Second Amended Plan that adversely affects
                                      the treatment of Second Lien Claims or the rights of the Second
                                      Lien Lender Group to receive the Second Lien Lender
                                      Restructuring Expenses shall be in form and substance reasonably
                                      acceptable to the Second Lien Lender Group;

                                   8. the Amended Organizational Documents shall have been filed
                                      with the appropriate governmental authority, as applicable;




                                                  67
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456             Filed 10/07/19 Entered 10/07/19 15:38:57               Main Document
                                                     Pg 80 of 565


                                              9. the Special Warrant Agreement shall have been executed and
                                                 delivered, and any conditions precedent to effectiveness contained
                                                 therein have been satisfied or waived in accordance therewith;

                                              10. the New First Lien Credit Documents and the New Exit Facility
                                                  Credit Documents, shall (i) have been (or deemed) executed and
                                                  delivered, and any conditions precedent to effectiveness contained
                                                  therein have been satisfied or waived in accordance therewith, (ii)
                                                  be in full force and effect and binding upon the relevant parties;
                                                  and (iii) contain terms and conditions consistent in all material
                                                  respects with the RSA; and

                                              11. the Consulting Agreement shall have been executed and
                                                  delivered, and any conditions precedent therein shall have been
                                                  satisfied or waived in accordance therewith and be in full force
                                                  and effect and binding on the relevant parties.

                                    ii.     Notwithstanding when a condition precedent to the Effective Date
                                            occurs, for purposes of the Second Amended Plan, such condition
                                            precedent shall be deemed to have occurred simultaneously upon the
                                            occurrence of the applicable conditions precedent to the Effective Date;
                                            provided, that to the extent a condition precedent (a “Prerequisite
                                            Condition”) may be required to occur prior to another condition
                                            precedent (a “Subsequent Condition”) then, for purposes of the Second
                                            Amended Plan, the Prerequisite Condition shall be deemed to have
                                            occurred immediately prior to a Subsequent Condition regardless of
                                            when such Prerequisite Condition or Subsequent Condition shall have
                                            occurred.

                              (c)         Waiver of Conditions Precedent

                                     i.     Except as otherwise provided in the Second Amended Plan, all actions
                                            required to be taken on the Effective Date shall take place and shall be
                                            deemed to have occurred simultaneously and no such action shall be
                                            deemed to have occurred prior to the taking of any other such action.
                                            Each of the conditions precedent in Section 9.1 and Section 9.2 of the
                                            Second Amended Plan may be waived in writing by the Debtors with
                                            the prior written consent of (i) the Requisite First Lien Lenders, which
                                            consent shall not be unreasonably withheld (and (a) solely with respect
                                            to the condition set forth in Section 9.1(d) and 9.2(a)(ii) of the Second
                                            Amended Plan, with the consent of the DIP Agent, such consent not to
                                            be unreasonably withheld, and (b) solely with respect to the condition
                                            set forth in Section 9.2(a)(xi) of the Second Amended Plan, with the
                                            consent of Matthew D. Rosen, such consent not to be unreasonably
                                            withheld) without leave of or order of the Bankruptcy Court, and (ii) the
                                            Creditors’ Committee, with respect to Section 9.2(a)(vii) of the Second
                                            Amended Plan, which consent shall not be unreasonably withheld. If
                                            the Second Amended Plan is confirmed for fewer than all of the Debtors
                                            as provided for in Section 5.16 of the Second Amended Plan, only the
                                            conditions applicable to the Debtor or Debtors for which the Second



                                                             68
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456             Filed 10/07/19 Entered 10/07/19 15:38:57              Main Document
                                                     Pg 81 of 565


                                            Amended Plan is confirmed must be satisfied or waived for the Effective
                                            Date to occur as to such Debtors.

                                    ii.     The stay of the Confirmation Order pursuant to Bankruptcy Rule
                                            3020(e) shall be deemed waived by and upon the entry of the
                                            Confirmation Order, and the Confirmation Order shall take effect
                                            immediately upon its entry.

                              (d)         Effect of Failure of a Condition

If the conditions listed in Section 9.2 of the Second Amended Plan are not satisfied or waived in accordance
with Section 9.2(c)(i) of the Second Amended Plan on or before the first Business Day that is more than
sixty (60) days after the date on which the Confirmation Order is entered or by such later date as set forth
by the Debtors in a notice filed with the Bankruptcy Court prior to the expiration of such period, the Second
Amended Plan shall be null and void in all respects and nothing contained in the Second Amended Plan or
the Disclosure Statement shall (a) constitute a waiver or release of any Claims by or against or any Interests
in the Debtors, (b) prejudice in any manner the rights of any Entity, or (c) constitute an admission,
acknowledgement, offer, or undertaking by the Debtors, the Requisite First Lien Lenders, or any other
Entity.

          I.        Effect of Confirmation of Plan

                              (a)         Vesting of Assets

On the Effective Date, pursuant to sections 1141(b) and (c) of the Bankruptcy Code, all remaining property
of the Debtors’ Estates shall vest in the Reorganized Debtors free and clear of all Claims, Liens,
encumbrances, charges, and other interests, except as provided pursuant to the Second Amended Plan, the
Confirmation Order, the Litigation Trust Agreement, the New First Lien Credit Documents, or the New
Exit Facility Credit Documents. On and after the Effective Date, the Reorganized Debtors may take any
action, including, without limitation, the operation of its businesses; the use, acquisition, sale, lease and
disposition of property; and the entry into transactions, agreements, understandings, or arrangements,
whether in or other than in the ordinary course of business, and execute, deliver, implement, and fully
perform any and all obligations, instruments, documents, and papers or otherwise in connection with any
of the foregoing, free of any restrictions of the Bankruptcy Code or Bankruptcy Rules and in all respects as
if there were no pending cases under any chapter or provision of the Bankruptcy Code, except as expressly
provided in the Second Amended Plan. Without limiting the foregoing, the Reorganized Debtors may pay
the charges that they incur on or after the Effective Date for professional fees, disbursements, expenses, or
related support services without application to the Bankruptcy Court.

                              (b)         Binding Effect

As of the Effective Date, the Second Amended Plan shall bind all holders of Claims against and Interests
in the Debtors and their respective successors and assigns, notwithstanding whether any such holders
(a) were Impaired or Unimpaired under the Second Amended Plan; (b) were deemed to accept or reject the
Second Amended Plan; (c) failed to vote to accept or reject the Second Amended Plan; (d) voted to reject
the Second Amended Plan; or (e) received any distribution under the Second Amended Plan.

                              (c)         Discharge of Claims and Termination of Interests

Upon the Effective Date, and in consideration of the distributions to be made hereunder, except as otherwise
expressly provided under the Second Amended Plan, each holder (as well as any representatives, trustees,


                                                            69
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456             Filed 10/07/19 Entered 10/07/19 15:38:57                  Main Document
                                                     Pg 82 of 565


or agents on behalf of each holder) of a Claim or Interest and any Affiliate of such holder shall be deemed
to have forever waived, released, and discharged the Debtors, to the fullest extent permitted by section 1141
of the Bankruptcy Code, of and from any and all Claims, Interest, rights, and liabilities that arose prior to
the Effective Date. Upon the Effective Date, all such Entities shall be forever precluded and enjoined,
pursuant to section 524 of the Bankruptcy Code, from prosecuting or asserting any such discharged Claim
against or terminated Interest in the Debtors against the Debtors, the Reorganized Debtors, or any of their
Assets or property, whether or not such holder has filed a proof of Claim and whether or not the facts or
legal bases therefor were known or existed prior to the Effective Date.

                              (d)         Term of Injunctions or Stays

Unless otherwise provided under the Second Amended Plan, the Confirmation Order, or in a Final Order
of the Bankruptcy Court, all injunctions or stays arising under or entered during the Chapter 11 Cases under
section 105 or 362 of the Bankruptcy Code, or otherwise, and in existence on the Confirmation Date, shall
remain in full force and effect until the later of the Effective Date and the date indicated in the order
providing for such injunction or stay.

                              (e)         Injunction

                                     i.     Upon entry of the Confirmation Order, all holders of Claims and
                                            Interests and other parties in interest, along with their respective present
                                            or former employees, agents, officers, directors, principals, and
                                            Affiliates, shall be enjoined from taking any actions to interfere with the
                                            implementation or consummation of the Second Amended Plan in
                                            relation to any Claim or Interest extinguished, discharged, or released
                                            pursuant to the Second Amended Plan.

                                    ii.     Except as expressly provided in the Second Amended Plan, the
                                            Confirmation Order, or a separate order of the Bankruptcy Court or as
                                            agreed to by the Debtors and a holder of a Claim against or Interest in
                                            the Debtors, all Entities who have held, hold, or may hold Claims against
                                            or Interests in the Debtors (whether proof of such Claims or Interests has
                                            been filed or not and whether or not such Entities vote in favor of,
                                            against or abstain from voting on the Second Amended Plan or are
                                            presumed to have accepted or deemed to have rejected the Second
                                            Amended Plan) and other parties in interest, along with their respective
                                            present or former employees, agents, officers, directors, principals, and
                                            Affiliates are permanently enjoined, on and after the Effective Date,
                                            solely with respect to any Claims, Interests, and Causes of Action that
                                            will be or are extinguished, discharged, or released pursuant to the
                                            Second Amended Plan from (i) commencing, conducting, or continuing
                                            in any manner, directly or indirectly, any suit, action, or other
                                            proceeding of any kind (including, without limitation, any proceeding in
                                            a judicial, arbitral, administrative or other forum) against or affecting the
                                            Debtors, the Reorganized Debtors, or the Litigation Trust, or the
                                            property of any of the Debtors, the Reorganized Debtors, or the
                                            Litigation Trust; (ii) enforcing, levying, attaching (including, without
                                            limitation, any prejudgment attachment), collecting, or otherwise
                                            recovering by any manner or means, whether directly or indirectly, any
                                            judgment, award, decree, or order against the Debtors, the Reorganized
                                            Debtors, or the Litigation Trust, or the property of any of the Debtors,


                                                              70
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456              Filed 10/07/19 Entered 10/07/19 15:38:57                Main Document
                                                      Pg 83 of 565


                                             the Reorganized Debtors, or the Litigation Trust; (iii) creating,
                                             perfecting, or otherwise enforcing in any manner, directly or indirectly,
                                             any encumbrance of any kind against the Debtors, the Reorganized
                                             Debtors, or the Litigation Trust, or the property of any of the Debtors,
                                             the Reorganized Debtors, or the Litigation Trust; (iv) asserting any right
                                             of setoff, directly or indirectly, against any obligation due from the
                                             Debtors, the Reorganized Debtors, or the Litigation Trust, or against
                                             property or interests in property of any of the Debtors, the Reorganized
                                             Debtors, or the Litigation Trust, except as contemplated or Allowed by
                                             the Second Amended Plan; and (v) acting or proceeding in any manner,
                                             in any place whatsoever, that does not conform to or comply with the
                                             provisions of the Second Amended Plan.

                                    iii.     Each holder of an Allowed Claim or Interest extinguished, discharged,
                                             or released pursuant to the Second Amended Plan will be deemed to
                                             have affirmatively and specifically consented to be bound by the Second
                                             Amended Plan, including, without limitation, the injunctions set forth in
                                             section 10.5 of the Second Amended Plan.

                                    iv.      The injunctions in section 10.5 of the Second Amended Plan shall
                                             extend to any successors of the Debtors, the Reorganized Debtors, and
                                             the Litigation Trust, and their respective property and interests in
                                             property.

                              (f)          Releases

                                      i.     Estate Releases

As of the Confirmation Date, pursuant to section 1123(b) of the Bankruptcy Code, except for the rights that
remain in effect from and after the Confirmation Date to enforce the Second Amended Plan and the
Definitive Documents, for good and valuable consideration, the adequacy of which is hereby confirmed,
including, without limitation, the service of the Released Parties to facilitate the reorganization of the
Debtors and the implementation of the restructuring, and except as otherwise provided in the Second
Amended Plan or in the Confirmation Order, the Released Parties will be deemed expressly, conclusively,
absolutely, unconditionally, irrevocably and forever released and discharged, to the maximum extent
permitted by law, by the Debtors and their Estates, the Reorganized Debtors, and the Litigation Trust, from
any and all Claims, obligations, suits, judgments, damages, demands, debts, rights, Causes of Action,
remedies, losses, and liabilities whatsoever, including any derivative claims, asserted or assertable on behalf
of the Debtors, or the Reorganized Debtors, as applicable, the Litigation Trust, or the Estates, or their
respective successors, predecessors, assigns, and representatives and any and all other Persons or Entities
that may purport to assert any Cause of Action derivatively, by or through the foregoing, whether liquidated
or unliquidated, fixed or contingent, matured or unmatured, known or unknown, foreseen or unforeseen,
existing or hereafter arising, in law, equity, contract, tort, by statute, violations of federal or state securities
law, or otherwise, that the Debtors or the Reorganized Debtors (as applicable), the Litigation Trust, or the
Estates would have been legally entitled to assert in their own right (whether individually or collectively)
or on behalf of the holder of any Claim or Interest or other Person, based on or relating to, or in any manner
arising prior to the Confirmation Date from, in whole or in part, the Debtors, the Chapter 11 Cases, the pre-
and postpetition marketing and sale process, the purchase, sale, or rescission of the purchase or sale of any
Security of the Debtors, the subject matter of, or the transactions or events giving rise to, any Claim or
Interest that is treated in the Second Amended Plan, the Prepetition First Lien Credit Documents, the
Prepetition Second Lien Credit Documents, the Prepetition Super Senior Credit Documents, the


                                                               71
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456        Filed 10/07/19 Entered 10/07/19 15:38:57             Main Document
                                                Pg 84 of 565


Forbearance Agreement (as defined in the RSA), the DIP Documents, the business or contractual
arrangements between any of the Debtors and any Released Party, the restructuring, the restructuring of
any Claim or Interest before or during the Chapter 11 Cases, the Disclosure Statement, the RSA, and the
Second Amended Plan (including, for the avoidance of doubt, the Plan Supplement) and related agreements,
instruments, and other documents (including the Definitive Documents), and the negotiation, formulation,
or preparation of any documents or transactions in connection with any of the foregoing, the solicitation of
votes with respect to the Second Amended Plan, the pursuit of the confirmation and consummation of the
Second Amended Plan, or any other act or omission, in all cases based upon any act or omission, transaction,
agreement, event or other occurrence taking place on or before the Confirmation Date; provided, that
nothing in Section 10.6(a) of the Second Amended Plan shall be construed to release the Released Parties
from gross negligence, willful misconduct, or fraud as determined by a Final Order; provided, further, that
nothing in Section 10.6(a) of the Second Amended Plan shall be construed to release the obligations of
Vector SPV (as defined in the Prepetition First Lien Credit Agreement) arising under the Vector
Subordinated Note (as defined in the Prepetition First Lien Credit Agreement). The Debtors, the
Reorganized Debtors and their Estates, and the Litigation Trust, or their respective successors, predecessors,
assigns, and representatives and any and all other Persons or Entities that may purport to assert any Cause
of Action derivatively, by or through the foregoing, shall be permanently enjoined from prosecuting any of
the foregoing Claims or Causes of Action released under Section 10.6(a) of the Second Amended Plan
against each of the Released Parties. Notwithstanding anything to the contrary in the foregoing or in the
Second Amended Plan, the releases set forth above do not release any post-Confirmation Date obligations
of any Entity under the Second Amended Plan, the Confirmation Order, the Litigation Trust Agreement, or
any document, instrument, or agreement (including those set forth in the Plan Supplement) executed to
implement the Second Amended Plan.

                               ii.     Consensual Releases by Holders of Impaired Claims

As of the Confirmation Date, except (i) for the right to enforce the Second Amended Plan or any right or
obligation arising under the Definitive Documents that remains in effect or becomes effective after the
Confirmation Date or (ii) as otherwise expressly provided in the Second Amended Plan or in the
Confirmation Order, in exchange for good and valuable consideration, the adequacy of which is hereby
confirmed, including the obligations of the Debtors under the Second Amended Plan and the contributions
of the Released Parties to facilitate and implement the Second Amended Plan, to the fullest extent
permissible under applicable law, as such law may be extended or integrated after the Confirmation Date,
the Released Parties shall be deemed expressly, conclusively, absolutely, unconditionally, irrevocably and
forever, released, and discharged by:

                    a. the holders of Impaired Claims who voted to accept the Second Amended Plan;

                    b. the Consenting First Lien Lenders;

                    c. the Consenting Second Lien Lenders;

                    d. the Creditors’ Committee and each of its members in their capacity as such; and

                    e. with respect to any Entity in the foregoing clauses (a) through (c), such Entity’s
                       (x) predecessors, successors and assigns, (y) subsidiaries, Affiliates, managed
                       accounts or funds, managed or controlled by such Entity and (z) all Persons
                       entitled to assert Claims through or on behalf of such Entities with respect to the
                       matters for which the releasing entities are providing releases.




                                                      72
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57               Main Document
                                               Pg 85 of 565


in each case, from any and all Claims, Interests, or Causes of Action whatsoever, including any derivative
Claims asserted on behalf of a Debtor, whether known or unknown, foreseen or unforeseen, existing or
hereafter arising, in law, equity, contract, tort, by statute, violation of federal or state securities law, or
otherwise, that such Entity would have been legally entitled to assert (whether individually or collectively),
based on, relating to, or arising prior to the Confirmation Date from, in whole or in part, the Debtors, the
restructuring, the Chapter 11 Cases, the pre- and postpetition marketing and sale process, the purchase, sale
or rescission of the purchase or sale of any security of the Debtors or Reorganized Debtors, the subject
matter of, or the transactions or events giving rise to, any Claim or Interest that is treated in the Second
Amended Plan, the Prepetition First Lien Credit Documents, the Prepetition Second Lien Credit
Documents, the Prepetition Super Senior Credit Documents, the Forbearance Agreement (as defined in the
RSA), the DIP Documents, the business or contractual arrangements between any Debtor and any Released
Party, the restructuring of Claims and Interests before or during the Chapter 11 Cases, the negotiation,
formulation, preparation, or consummation of the Second Amended Plan (including the Plan Supplement),
the RSA, the Definitive Documents, or any related agreements, instruments, or other documents, the
solicitation of votes with respect to the Second Amended Plan, the pursuit of the confirmation and
consummation of the Second Amended Plan, in all cases based upon any act or omission, transaction,
agreement, event or other occurrence taking place on or before the Confirmation Date; provided, that
nothing in Section 10.6(b) of the Second Amended Plan shall be construed to release the Released Parties
from gross negligence, willful misconduct, or fraud as determined by a Final Order. The Persons and
Entities in (a) through (d) of Section 10.6(b) of the Second Amended Plan shall be permanently enjoined
from prosecuting any of the foregoing Claims or Causes of Action released under Section 10.6(b) of the
Second Amended Plan against each of the Released Parties. Notwithstanding anything to the contrary in
the foregoing or in the Second Amended Plan, the releases set forth above do not release any post-
Confirmation Date obligations of any Entity under the Second Amended Plan, the Confirmation Order, the
Litigation Trust Agreement, or any document, instrument, or agreement (including those set forth in the
Plan Supplement) executed to implement the Second Amended Plan.

                              (g)   Exculpation

To the maximum extent permitted by Section 1125(e) of the Bankruptcy Code and without affecting or
limiting either the estate release set forth in Section 10.6(a) of the Second Amended Plan or the consensual
releases by holders of Impaired Claims set forth in Section 10.6(b) of the Second Amended Plan, and
notwithstanding anything in the Second Amended Plan to the contrary, no Exculpated Party will have or
incur, and each Exculpated Party is hereby released and exculpated from, any claim, obligation, suit,
judgment, damage, demand, debt, right, cause of action, remedy, loss, and liability for any claim in
connection with or arising out of the administration of the Chapter 11 Cases, the postpetition marketing and
sale process, the postpetition purchase, sale, or rescission of the purchase or sale of any security of the
Debtors; the postpetition negotiation and pursuit of the Disclosure Statement, the RSA, the Reorganization
Transaction, the Second Amended Plan, the solicitation of votes for, or confirmation of, the Second
Amended Plan or the Litigation Trust Agreement; the funding or consummation of the Second Amended
Plan; the occurrence of the Effective Date; the administration of the Second Amended Plan or the property
to be distributed under the Second Amended Plan, including but not limited to the issuance and distribution
of the Litigation Trust Interests; the issuance of Securities under or in connection with the Second Amended
Plan; or the transactions in furtherance of any of the foregoing; provided, that nothing in Section 10.7 of
the Second Amended Plan shall be construed to release or exculpate an Exculpated Party from gross
negligence, willful misconduct, or fraud as determined by a Final Order; provided, further, that nothing in
Section 10.7 of the Second Amended Plan shall be construed to release the obligations of Vector SPV (as
defined in the Prepetition First Lien Credit Agreement) arising under the Vector Subordinated Note (as
defined in the Prepetition First Lien Credit Agreement).




                                                      73
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57               Main Document
                                               Pg 86 of 565



                              (h)   Limitations on Executable Assets with Respect to Certain Causes of
Action

The Independent Directors and Other Officers and Directors shall remain legally obligated to pay for any
wrongful acts to the extent of the Debtors’ available D&O Policies’ combined limits, subject to the
following: any recovery by or on behalf of the Litigation Trust (and the beneficiaries thereof) on account
of any Litigation Trust Causes of Action (other than with respect to claims for gross negligence, willful
misconduct, or fraud) or the Reorganized Debtors on account of any Causes of Action (other than with
respect to claims for gross negligence, willful misconduct, or fraud) against any Independent Directors or
Other officers and Directors, each solely in his capacity as a director or officer of the Debtors prior to the
Effective Date, including in each case by way of settlement or judgment, shall be limited to the Debtors’
available D&O Policies’ combined limits, after payment from such D&O Policies of any and all covered
costs and expenses incurred by the covered parties in connection with the defense of any Litigation Trust
Causes of Action or Causes of Action.

                              (i)   SEC Rights and Powers

Notwithstanding any language to the contrary contained in the Second Amended Plan, Disclosure Statement
or the Confirmation Order, no provision of the Second Amended Plan or the Confirmation Order shall
(i) preclude the SEC from enforcing its police or regulatory powers; or (ii) enjoin, limit, impair or delay the
SEC from commencing or continuing any claims, causes of action, proceedings or investigations against
any non-Debtor person or non-Debtor entity in any forum.

                              (j)   FCC Rights and Powers

No provision in the Second Amended Plan or the Confirmation Order relieves the Debtors or the
Reorganized Debtors from their obligations to comply with the Communications Act and the rules,
regulations and orders promulgated thereunder by the FCC. No transfer of any FCC license or authorization
held by Debtors or transfer of control of any Debtor, or transfer of control of a FCC licensee controlled by
Debtors shall take place prior to the issuance of FCC regulatory approval for such transfer pursuant to
applicable FCC regulations. The FCC’s rights and powers to take any action pursuant to its regulatory
authority including, but not limited to, imposing any regulatory conditions on any of the above described
transfers, are fully preserved, and nothing in the Second Amended Plan shall proscribe or constrain the
FCC’s exercise of such power or authority.

                              (k)   Subordinated Claims

The allowance, classification, and treatment of all Allowed Claims and Interests and the respective
distributions and treatments under the Second Amended Plan take into account and conform to the relative
priority and rights of the Claims and Interests in each Class in connection with any contractual, legal, and
equitable subordination rights relating thereto, whether arising under general principles of equitable
subordination, section 510(b) of the Bankruptcy Code, or otherwise. Pursuant to section 510 of the
Bankruptcy Code, the Debtors (or the Litigation Trust, solely with respect to General Unsecured Claims)
reserve the right, with the consent of the Required First Lien Lenders, which consent shall not be
unreasonably withheld, to reclassify any Allowed Claim or Interest in accordance with any contractual,
legal, or equitable subordination relating thereto.

                              (l)   Retention of Causes of Action/Reservation of Rights

Except as otherwise provided in Sections 10.5, 10.6, and 10.7 of the Second Amended Plan, nothing
contained in the Second Amended Plan or the Confirmation Order shall be deemed to be a waiver or

                                                      74
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57               Main Document
                                               Pg 87 of 565


relinquishment of any rights, Claims, Causes of Action (including, for the avoidance of doubt, Litigation
Trust Causes of Action), rights of setoff or recoupment, or other legal or equitable defenses that the Debtors
had immediately prior to the Effective Date on behalf of their Estates or itself in accordance with any
provision of the Bankruptcy Code or any applicable non-bankruptcy law, including, without limitation, any
affirmative Causes of Action against parties with a relationship with the Debtors including actions arising
under chapter 5 of the Bankruptcy Code. Except as provided in any order entered by the Bankruptcy Court,
the Reorganized Debtors or the Litigation Trust Oversight Committee, in connection with the pursuit of
Litigation Trust Causes of Action or objection to General Unsecured Claims, shall have, retain, reserve,
and be entitled to assert all such Claims, Causes of Action, rights of setoff or recoupment, and other legal
or equitable defenses as fully as if the Chapter 11 Cases had not been commenced, and all of the Debtors’
legal and equitable rights in respect of any Unimpaired Claim may be asserted after the Confirmation Date
and Effective Date to the same extent as if the Chapter 11 Cases had not been commenced. Notwithstanding
the foregoing, the Debtors and the Reorganized Debtors shall not retain any Claims or Causes of Action
released or barred pursuant to the Second Amended Plan against the Released Parties.

                              (m)   Solicitation of Plan

As of and subject to the occurrence of the Confirmation Date: (a) the Debtors shall be deemed to have
solicited acceptances of the Second Amended Plan in good faith and in compliance with the applicable
provisions of the Bankruptcy Code, including without limitation, sections 1125(a) and (e) of the Bankruptcy
Code, and any applicable non-bankruptcy law, rule, or regulation governing the adequacy of disclosure in
connection with such solicitation; and (b) the Debtors and each of their respective directors, officers,
employees, Affiliates, agents, financial advisors, investment bankers, professionals, accountants, and
attorneys shall be deemed to have participated in good faith and in compliance with the applicable
provisions of the Bankruptcy Code in the offer and issuance of any securities under the Second Amended
Plan, and therefore are not, and on account of such offer, issuance, and solicitation shall not be, liable at
any time for any violation of any applicable law, rule, or regulation governing the solicitation of acceptances
or rejections of the Second Amended Plan or the offer and issuance of any securities under the Second
Amended Plan.

                              (n)   Corporate and Limited Liability Company Action

Upon the Effective Date, all actions contemplated by the Second Amended Plan shall be deemed authorized
and approved in all respects, including (a) those set forth in Sections 5.5 and 5.6 of the Second Amended
Plan; (b) the performance of the RSA; and (c) all other actions contemplated by the Second Amended Plan
(whether to occur before, on, or after the Effective Date), in each case, in accordance with and subject to
the terms hereof. All matters provided for in the Second Amended Plan involving the corporate, limited
liability company or partnership structure of the Debtors or the Reorganized Debtors, and any corporate,
limited liability company or partnership action required by the Debtors or the Reorganized Debtors in
connection with the Second Amended Plan shall be deemed to have occurred and shall be in effect, without
any requirement of further action by the Security holders, directors, managers, limited partners or officers
of the Debtors or the Reorganized Debtors. On or (as applicable) before the Effective Date, the authorized
officers of the Debtors or the Reorganized Debtors, as applicable, shall be authorized and directed to issue,
execute, and deliver the agreements, documents, Securities, and instruments contemplated by the Second
Amended Plan (or necessary or desirable to effect the transactions contemplated by the Second Amended
Plan) in the name and on behalf of the Reorganized Debtors, including, but not limited to: (i) the Amended
Organizational Documents; (ii) the New First Lien Credit Agreement; (iii) the New Exit Facility Credit
Agreement; (iv) the Litigation Trust Agreement; and (v) any and all other agreements, documents,
securities, and instruments relating to the foregoing. The authorizations and approvals contemplated by
Section 10.11 of the Second Amended Plan shall be effective notwithstanding any requirements under non-
bankruptcy law.

                                                      75
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456              Filed 10/07/19 Entered 10/07/19 15:38:57                Main Document
                                                      Pg 88 of 565



          J.        Retention of Jurisdiction

                              (a)          Retention of Jurisdiction

On and after the Effective Date, the Bankruptcy Court shall retain non-exclusive jurisdiction over all
matters arising in, arising under, and related to the Chapter 11 Cases for, among other things, the following
purposes:

                                      i.     to hear and determine motions and/or applications for the assumption or
                                             rejection of executory contracts or unexpired leases, including
                                             Assumption Disputes, and the allowance, classification, priority,
                                             compromise, estimation, or payment of Claims resulting therefrom;

                                     ii.     to determine any motion, adversary proceeding, application, contested
                                             matter, and other litigated matter pending on or commenced after the
                                             Confirmation Date;

                                    iii.     to ensure that distributions to holders of Allowed Claims are
                                             accomplished as provided for in the Second Amended Plan and
                                             Confirmation Order and to adjudicate any and all disputes arising from
                                             or relating to distributions under the Second Amended Plan, including,
                                             cases, controversies, suits, disputes, or Causes of Action with respect to
                                             the repayment or return of distributions and the recovery of additional
                                             amounts owed by the holder of a Claim or Interest for amounts not
                                             timely paid;

                                    iv.      to consider the allowance, classification, priority, compromise,
                                             estimation, or payment of any Claim;

                                     v.      to resolve disputes concerning Disputed Claims or the administration
                                             thereof;

                                    vi.      to hear and determine all Fee Claims and Restructuring Expenses;

                                    vii.     to hear and resolve any dispute over the application to any Claim of any
                                             limit on the allowance of such Claim set forth in sections 502 or 503 of
                                             the Bankruptcy Code, other than defenses or limits that are asserted
                                             under non-bankruptcy law pursuant to section 502(b)(1) of the
                                             Bankruptcy Code;

                                viii.        to enter, implement, or enforce such orders as may be appropriate in the
                                             event the Confirmation Order is for any reason stayed, reversed,
                                             revoked, modified, or vacated;

                                    ix.      to issue injunctions, enter and implement other orders, and take such
                                             other actions as may be necessary or appropriate to restrain interference
                                             by any Entity with the consummation, implementation, or enforcement
                                             of the Second Amended Plan, the Confirmation Order, or any other order
                                             of the Bankruptcy Court;




                                                              76
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456          Filed 10/07/19 Entered 10/07/19 15:38:57                Main Document
                                                  Pg 89 of 565


                                 x.      to hear and determine any application to modify the Second Amended
                                         Plan in accordance with section 1127 of the Bankruptcy Code, to remedy
                                         any defect or omission or reconcile any inconsistency in the Second
                                         Amended Plan, or any order of the Bankruptcy Court, including the
                                         Confirmation Order, in such a manner as may be necessary to carry out
                                         the purposes and effects thereof;

                                 xi.     to hear and determine disputes arising in connection with the
                                         interpretation, implementation, or enforcement of the Second Amended
                                         Plan, the Plan Supplement, the Global Settlement, the Litigation Trust
                                         Agreement, the Confirmation Order, or any agreement, instrument, or
                                         other document governing or relating to any of the foregoing;

                                xii.     to take any action and issue such orders as may be necessary to construe,
                                         interpret, enforce, implement, execute, and consummate the Second
                                         Amended Plan;

                               xiii.     to determine such other matters and for such other purposes as may be
                                         provided in the Confirmation Order;

                               xiv.      to hear and determine matters concerning state, local, and federal taxes
                                         in accordance with sections 346, 505, and 1146 of the Bankruptcy Code
                                         (including any requests for expedited determinations under section
                                         505(b) of the Bankruptcy Code);

                                xv.      to hear, adjudicate, decide, or resolve any and all matters related to
                                         Article X of the Second Amended Plan, including, without limitation,
                                         the releases, discharge, exculpations, and injunctions issued thereunder;

                               xvi.      to recover all Assets of the Debtors and property of the Debtors’ Estates,
                                         wherever located;

                              xvii.      to resolve any disputes concerning whether an Entity had sufficient
                                         notice of the Chapter 11 Cases, the Disclosure Statement, any
                                         solicitation conducted in connection with the Chapter 11 Cases, any bar
                                         date established in the Chapter 11 Cases, or any deadline for responding
                                         or objecting to a Cure Amount, in each case, for the purpose of
                                         determining whether a Claim or Interest is discharged hereunder or for
                                         any other purpose;

                              xviii.     to hear and determine any rights, Claims, or Causes of Action held by
                                         or accruing to the Reorganized Debtors or the Litigation Trust pursuant
                                         to the Bankruptcy Code or pursuant to any federal statute or legal theory;

                               xix.      to enter one or more final decrees closing the Chapter 11 Cases;

                                xx.      to consider any motion brought under or in connection with Bankruptcy
                                         Rule 2004; and




                                                          77
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456          Filed 10/07/19 Entered 10/07/19 15:38:57              Main Document
                                                  Pg 90 of 565


                                xxi.     to hear and determine any other matters related hereto and not
                                         inconsistent with the Bankruptcy Code and title 28 of the United States
                                         Code.

                              (b)      Courts of Competent Jurisdiction

If the Bankruptcy Court abstains from exercising, or declines to exercise, jurisdiction or is otherwise
without jurisdiction over any matter arising out of the Second Amended Plan, such abstention, refusal, or
failure of jurisdiction shall have no effect upon and shall not control, prohibit, or limit the exercise of
jurisdiction by any other court having competent jurisdiction with respect to such matter.

          K.        Miscellaneous Second Amended Plan Provisions

                              (a)      Payment of Statutory Fees

On the Effective Date and thereafter as may be required, the Reorganized Debtors shall pay all fees incurred
pursuant to sections 1911 through 1930 of chapter 123 of title 28 of the United States Code, together with
interest, if any, pursuant to section 3717 of title 31 of the United States Code with the Chapter 11 Cases, or
until such time as a final decree is entered closing the Chapter 11 Cases, a Final Order converting the
Chapter 11 Cases to cases under chapter 7 of the Bankruptcy Code is entered, or a Final Order dismissing
the Chapter 11 Cases is entered.

                              (b)      Substantial Consummation of the Second Amended Plan

On the Effective Date, the Second Amended Plan shall be deemed to be substantially consummated under
sections 1101 and 1127(b) of the Bankruptcy Code.

                              (c)      Plan Supplement

The Plan Supplement shall be filed with the Clerk of the Bankruptcy Court. Upon its filing with the
Bankruptcy Court, the Plan Supplement may be inspected in the office of the Clerk of the Bankruptcy Court
during normal court hours. Documents included in the Plan Supplement will be posted at the website of
the Debtors’ notice, claims, and solicitation agent.

                              (d)      Request for Expedited Determination of Taxes

The Debtors shall have the right to request an expedited determination under section 505(b) of the
Bankruptcy Code with respect to tax returns filed, or to be filed, for any and all taxable periods ending after
the Commencement Date through the dissolution of the Debtors.

                              (e)      Exemption from Certain Transfer Taxes

Pursuant to section 1146 of the Bankruptcy Code, (a) the issuance, transfer or exchange of any securities,
instruments or documents, (b) the creation of any Lien, mortgage, deed of trust, or other security interest,
(c) the making or assignment of any lease or sublease or the making or delivery of any deed or other
instrument of transfer under, pursuant to, in furtherance of, or in connection with the Second Amended
Plan, including, without limitation, any deeds, bills of sale, or assignments executed in connection with any
of the transactions contemplated under the Second Amended Plan or the reinvesting, transfer, or sale of any
real or personal property of the Debtors pursuant to, in implementation of or as contemplated in the Second
Amended Plan (whether to one or more of the Reorganized Debtors or otherwise), (d) the grant of collateral
under the New Exit Facility and the New First Lien Credit Facility, and (e) the issuance, renewal,


                                                         78
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456             Filed 10/07/19 Entered 10/07/19 15:38:57             Main Document
                                                     Pg 91 of 565


modification, or securing of indebtedness by such means, and the making, delivery or recording of any
deed or other instrument of transfer under, in furtherance of, or in connection with, the Second Amended
Plan, including, without limitation, the Confirmation Order, shall not be subject to any document recording
tax, stamp tax, conveyance fee, or other similar tax, mortgage tax, real estate transfer tax, mortgage
recording tax, Uniform Commercial Code filing or recording fee, regulatory filing or recording fee, sales
tax, use tax, or other similar tax or governmental assessment. Consistent with the foregoing, each recorder
of deeds or similar official for any county, city, or governmental unit in which any instrument hereunder is
to be recorded shall, pursuant to the Confirmation Order, be ordered and directed to accept such instrument
without requiring the payment of any filing fees, documentary stamp tax, deed stamps, stamp tax, transfer
tax, intangible tax, or similar tax.

                              (f)         Amendments

                                     i.     Plan Modifications. Subject to the terms of the RSA, (i) the Debtors
                                            reserve the right, in accordance with the Bankruptcy Code and the
                                            Bankruptcy Rules, to amend or modify the Second Amended Plan prior
                                            to the entry of the Confirmation Order, including amendments or
                                            modifications to satisfy section 1129(b) of the Bankruptcy Code, and
                                            (ii) after entry of the Confirmation Order, the Debtors may, upon order
                                            of the Court, amend, modify or supplement the Second Amended Plan
                                            in the manner provided for by section 1127 of the Bankruptcy Code or
                                            as otherwise permitted by law, in each case without additional
                                            disclosure pursuant to section 1125 of the Bankruptcy Code. In
                                            addition, after the Confirmation Date, so long as such action does not
                                            materially and adversely affect the treatment of holders of Allowed
                                            Claims or Allowed Interests pursuant to the Second Amended Plan and
                                            subject to the reasonable consent of the Requisite First Lien Lenders
                                            (and the Creditors’ Committee, solely as it pertains to the Global
                                            Settlement or treatment of General Unsecured Claims), the Debtors
                                            may remedy any defect or omission or reconcile any inconsistencies in
                                            the Second Amended Plan or the Confirmation Order with respect to
                                            such matters as may be necessary to carry out the purposes or effects
                                            of the Second Amended Plan, and any holder of a Claim or Interest that
                                            has accepted the Second Amended Plan shall be deemed to have
                                            accepted the Second Amended Plan as amended, modified, or
                                            supplemented.

                                    ii.     Other Amendments. Subject to the terms of the RSA, before the
                                            Effective Date, the Debtors may make appropriate technical
                                            adjustments and modifications to the Second Amended Plan and the
                                            documents contained in the Plan Supplement without further order or
                                            approval of the Bankruptcy Court.

                              (g)         Effectuating Documents and Further Transactions

Each of the officers, managers, limited partners or members of the Reorganized Debtors is authorized to
execute, deliver, file, or record such contracts, instruments, releases, indentures, and other agreements or
documents and take such reasonable actions as may be necessary or appropriate to effectuate and further
evidence the terms and conditions of the Second Amended Plan.

                              (h)         Revocation or Withdrawal of Plan

                                                            79
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57               Main Document
                                               Pg 92 of 565


Subject to the terms of the RSA, the Debtors reserve the right to revoke or withdraw the Second Amended
Plan prior to the Effective Date. If the Second Amended Plan has been revoked or withdrawn prior to the
Effective Date, or if confirmation or the occurrence of the Effective Date does not occur, then: (a) the
Second Amended Plan shall be null and void in all respects; (b) any settlement or compromise embodied
in the Second Amended Plan (including the fixing or limiting to an amount any Claim or Interest or Class
of Claims or Interests), assumption of executory contracts or unexpired leases affected by the Second
Amended Plan, and any document or agreement executed pursuant to the Second Amended Plan shall be
deemed null and void; and (c) nothing contained in the Second Amended Plan shall (i) constitute a waiver
or release of any Claim by or against, or any Interest in, the Debtors or any other Entity; (ii) prejudice in
any manner the rights of the Debtors or any other Entity; or (iii) constitute an admission of any sort by the
Debtors, any Consenting First Lien Lenders, or any other Entity. This provision shall have no impact on
the rights of the Consenting First Lien Lenders or the Debtors, as set forth in the RSA, in respect of any
such revocation or withdrawal.

                              (i)   Dissolution of Statutory Committees

On the Effective Date, any statutory committee (a “Committee”) formed in these Chapter 11 Cases shall
dissolve and, on the Effective Date, each member (including each officer, director, employee, or agent
thereof) of such Committee and each professional retained by such Committee shall be released and
discharged from all rights, duties, responsibilities, and obligations arising from, or related to, the Debtors,
their membership on such Committee, the Second Amended Plan, or the Chapter 11 Cases, except with
respect to any matters concerning any Fee Claims held or asserted by any professional retained by such
Committee.

                              (j)   Severability of Plan Provisions

If, before the entry of the Confirmation Order, any term or provision of the Second Amended Plan is held
by the Bankruptcy Court to be invalid, void, or unenforceable, the Bankruptcy Court, at the request of the
Debtors, shall have the power to alter and interpret such term or provision to make it valid or enforceable
to the maximum extent practicable, consistent with the original purpose of the term or provision held to be
invalid, void, or unenforceable, and such term or provision shall then be applicable as altered or interpreted.
Notwithstanding any such holding, alteration, or interpretation, the remainder of the terms and provisions
of the Second Amended Plan will remain in full force and effect and will in no way be affected, impaired
or invalidated by such holding, alteration, or interpretation. The Confirmation Order shall constitute a
judicial determination and shall provide that each term and provision of the Second Amended Plan, as it
may have been altered or interpreted in accordance with the foregoing, is (a) valid and enforceable pursuant
to its terms, (b) integral to the Second Amended Plan and may not be deleted or modified without the
consent of the Debtors or the Reorganized Debtors (as the case may be), and (c) nonseverable and mutually
dependent.

                              (k)   Governing Law

Except to the extent that the Bankruptcy Code or other federal law is applicable, or to the extent an exhibit
hereto or a schedule in the Plan Supplement or a Definitive Document provides otherwise, the rights, duties,
and obligations arising under the Second Amended Plan shall be governed by, and construed and enforced
in accordance with, the laws of the State of New York, without giving effect to the principles of conflict of
laws thereof; provided, however, that corporate or entity governance matters relating to any Debtors or
Reorganized Debtors shall be governed by the laws of the state of incorporation or organization of the
applicable Debtors or Reorganized Debtors.

                              (l)   Time

                                                      80
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                               Pg 93 of 565


In computing any period of time prescribed or allowed by the Second Amended Plan, unless otherwise set
forth in the Second Amended Plan or determined by the Bankruptcy Court, the provisions of Bankruptcy
Rule 9006 shall apply.

                              (m)   Dates of Actions to Implement the Second Amended Plan

In the event that any payment or act under the Second Amended Plan is required to be made or performed
on a date that is not a Business Day, then the making of such payment or the performance of such act may
be completed on or as soon as reasonably practicable after the next succeeding Business Day, but shall be
deemed to have been completed as of the required date.

                              (n)   Immediate Binding Effect

Notwithstanding Bankruptcy Rules 3020(e), 6004(h), 7062, or otherwise, upon the occurrence of the
Effective Date, the terms of the Second Amended Plan and Plan Supplement shall be immediately effective
and enforceable and deemed binding upon and inure to the benefit of the Debtors, the holders of Claims
and Interests, the Released Parties, and each of their respective successors and assigns, including, without
limitation, the Reorganized Debtors.

                              (o)   Deemed Acts

Subject to and conditioned on the occurrence of the Effective Date, whenever an act or event is expressed
under the Second Amended Plan to have been deemed done or to have occurred, it shall be deemed to have
been done or to have occurred without any further act by any party, by virtue of the Second Amended Plan
and the Confirmation Order.

                              (p)   Successor and Assigns

The rights, benefits, and obligations of any Entity named or referred to in the Second Amended Plan shall
be binding on, and shall inure to the benefit of any heir, executor, administrator, successor, or permitted
assign, if any, of each Entity.

                              (q)   Entire Agreement

On the Effective Date, the Second Amended Plan, the Plan Supplement, and the Confirmation Order shall
supersede all previous and contemporaneous negotiations, promises, covenants, agreements,
understandings, and representations on such subjects, all of which have become merged and integrated into
the Second Amended Plan.

                              (r)   Exhibits to Plan

All exhibits, schedules, supplements, and appendices to the Second Amended Plan (including the Plan
Supplement) are incorporated into and are a part of the Second Amended Plan as if set forth in full in the
Second Amended Plan.

                              (s)   Notices

All notices, requests, and demands hereunder to be effective shall be in writing (including by electronic
transmission) and, unless otherwise expressly provided in the Second Amended Plan, shall be deemed to
have been duly given or made when actually delivered as follows:



                                                       81
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456           Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                                   Pg 94 of 565


                                   i.     If to the Debtors or the Reorganized Debtors:

                              Fusion Connect, Inc.,
                              210 Interstate North Parkway, Suite 300,
                              Atlanta, Georgia 30339
                              Attn: James P. Prenetta, Jr., Executive Vice President and General Counsel
                              Email: JPrenetta@fusionconnect.com

                                        -and-

                              Weil, Gotshal & Manges LLP
                              767 Fifth Avenue
                              New York, New York 10153
                              Attn: Gary T. Holtzer
                                      Sunny Singh
                                      Gaby Smith
                              Telephone: (212) 310-8000
                              Email: gary.holtzer@weil.com
                                      sunny.singh@weil.com
                                      gaby.smith@weil.com

                                  ii.     If to the Consenting First Lien Lenders:

                              Davis Polk & Wardwell LLP
                              450 Lexington Avenue
                              New York, NY 10017
                              Attn: Damian S. Schaible
                                     Adam L. Shpeen
                              Email: damian.schaible@davispolk.com
                                      adam.shpeen@davispolk.com

                                 iii.     If to members of the Ad Hoc Group of Tranche A Term Loans / Revolving
                                          Lenders:

                              Simpson Thacher & Bartlett LLP
                              425 Lexington Avenue
                              New York, NY 10017
                              Attn: Sandeep Qusba
                                     Hyang Sook Lee
                                     Edward R. Linden
                              Email: squsba@stblaw.com
                                     slee@stblaw.com
                                     edward.linden@stblaw.com

After the Effective Date, the Debtors have authority to send a notice to Entities providing that, to continue
to receive documents pursuant to Bankruptcy Rule 2002, they must file a renewed request to receive
documents pursuant to Bankruptcy Rule 2002. After the Effective Date, the Debtors and the Reorganized
Debtors, as applicable, are authorized to limit the list of Entities receiving documents pursuant to
Bankruptcy Rule 2002 to those Entities who have filed such renewed requests.




                                                           82
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456    Filed 10/07/19 Entered 10/07/19 15:38:57                   Main Document
                                            Pg 95 of 565



                                       VI.
                            TRANSFER RESTRICTIONS AND
                    CONSEQUENCES UNDER FEDERAL SECURITIES LAWS

The offer, issuance, and distribution of the Special Warrants and the New Equity Interests shall be exempt,
pursuant to section 1145 of the Bankruptcy Code, from registration under the Securities Act and all rules
and regulations promulgated thereunder, and any state or local law requiring registration for the offer,
issuance, and distribution of Securities.

Section 1145 of the Bankruptcy Code generally exempts from registration under the Securities Act the
offer, issuance, or sale under a chapter 11 plan of a security of the debtor, of an affiliate participating in a
joint plan with the debtor, or of a successor to the debtor under a plan, if such securities are offered or sold
in exchange for a claim against, or an interest in, the debtor or such affiliate, or principally in such exchange
and partly for cash. In reliance upon this exemption, the New Equity Interests and the Special Warrants
will be exempt from the registration requirements of the Securities Act, and state and local securities laws.
These securities may be resold without registration under the Securities Act or other federal or state
securities laws pursuant to the exemption provided by Section 4(a)(1) of the Securities Act, unless the
holder is an “underwriter” with respect to such securities, as that term is defined in section 1145(b) of the
Bankruptcy Code. In addition, such section 1145 exempt securities generally may be resold without
registration under state securities laws pursuant to various exemptions provided by the respective laws of
the several states.

Section 1145(b) of the Bankruptcy Code defines “underwriter” for purposes of the Securities Act as one
who, except with respect to ordinary trading transactions, (a) purchases a claim with a view to distribution
of any security to be received in exchange for the claim, (b) offers to sell securities issued under a plan for
the holders of such securities, (c) offers to buy securities issued under a plan from persons receiving such
securities, if the offer to buy is made with a view to distribution or (d) is an issuer, as used in Section
2(a)(11) of the Securities Act, with respect to such securities, which includes control persons of the issuer.
Further, based on the legislative history of Section 1145 of the Bankruptcy Code, a creditor who owns 10%
or more of the voting securities of a reorganized debtor and/or has the right to appoint a director to the
board of directors of a reorganized debtor may be presumed to be a control person, and therefore, an
underwriter.

Notwithstanding the foregoing, control person underwriters may be able to sell securities without
registration pursuant to the resale limitations of Rule 144 of the Securities Act which, in effect, permit the
resale of securities received by such underwriters pursuant to a chapter 11 plan, subject to applicable volume
limitations, notice and manner of sale requirements, and certain other conditions. Parties who believe they
may be statutory underwriters as defined in section 1145 of the Bankruptcy Code are advised to consult
with their own legal advisers as to the availability of the exemption provided by Rule 144.

In any case, recipients of New Equity Interests and/or Special Warrants issued under the Second Amended
Plan are advised to consult with their own legal advisers as to the availability of any such exemption from
registration under state law in any given instance and as to any applicable requirements or conditions to
such availability. In order to preserve the ability to utilize tax attributes following the Effective Date, the
charter, bylaws, and other organizational documents, as applicable, of the Reorganized Debtors may restrict
certain transfers of the New Equity Interests and/or Special Warrants.

Legends. To the extent certificated, certificates evidencing New Equity Interests and Special Warrants held
by holders of 10% or more of the outstanding New Equity Interests and Special Warrants or who are
otherwise underwriters as defined in Section 1145(b) of the Bankruptcy Code, will bear a legend
substantially in the form below:


                                                       83
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456      Filed 10/07/19 Entered 10/07/19 15:38:57                     Main Document
                                              Pg 96 of 565


THE NEW EQUITY INTERESTS AND SPECIAL WARRANTS HAVE NOT BEEN REGISTERED
UNDER THE SECURITIES ACT OF 1933, AS AMENDED, OR UNDER THE SECURITIES LAWS OF
ANY STATE OR OTHER JURISDICTION AND MAY NOT BE SOLD, OFFERED FOR SALE OR
OTHERWISE TRANSFERRED UNLESS REGISTERED OR QUALIFIED UNDER SUCH ACT AND
APPLICABLE STATE SECURITIES LAWS OR UNLESS FUSION CONNECT RECEIVES AN
OPINION OF COUNSEL REASONABLY SATISFACTORY TO IT THAT SUCH REGISTRATION OR
QUALIFICATION IS NOT REQUIRED.

                                               VII.
                                        REGULATORY MATTERS

The Debtors’ operations are subject to varying degrees of regulation by the FCC under the Communications
Act and the FCC rules and regulations promulgated thereunder, as well as by the State PUCs and their
respective authorizing statutes and regulations. Obtaining approval from the FCC and a number of State
PUCs is generally required for the issuance, renewal, transfer of control, assignment, or modification of
operating licenses.

The Fusion Licensees were required to submit applications notifying the FCC upon entry into chapter 11.
Following the Commencement Date, the Fusion Licensees filed the requisite applications informing the
FCC of the pro forma transfer of the FCC licenses to the Fusion Licensees as “debtors in possession” under
chapter 11. The FCC provided notice of those filings in a Public Notice dated June 13, 2019 and labeled
as Report No. TEL-01964, DA No. 19-552.11

On the Effective Date, Telecom Holdings, LLC (“Telecom Holdings”) will acquire over fifty percent (50%)
of the New Equity Interests, resulting in de jure control of Reorganized FCI. Consequently, the emergence
transaction will effect a transfer of control of the Fusion Licensees. The New Equity Interests that are not
issued to Telecom Holdings will be held by certain other holders of First Lien Claims, none of whom will
hold New Equity Interests that represent voting or equity interests of ten percent (10%) or more of
Reorganized FCI. On July 24, 2019 and August 2, 2019, 2019, the Fusion Licensees and Telecom Holdings
submitted applications to the FCC to obtain its consent for the proposed transfer of control of the Fusion
Licensees and separately filed applications to the requisite State PUCs on or prior to August 9, 2019.

Following its review of the FCC Applications submitted by the Fusion Licensees, the FCC will issue a
public notice (or notices) announcing the acceptance of the FCC Applications for filing (each, a “Public
Notice”). For purposes of the wireless licenses, pursuant to Section 309(d) of the Communications Act and
related FCC rules, any party that qualifies as a “party in interest” may file a “petition to deny” the FCC
Applications within thirty (30) days of the date of a Public Notice. If such petitions to deny are filed, the
Fusion Licensees will have the opportunity to file oppositions and the petitioners will have the opportunity
to reply, with the formal pleading cycle closing approximately fifteen (15) days following the deadline for
petitions to deny (unless a different schedule is set by the FCC).

Pursuant to Section 214 of the Communications Act and related FCC rules, a party may file comments or
file a petition to deny the international and domestic Section 214 applications within fourteen (14) days of
the Public Notice. For domestic Section 214 applications, parties are also permitted to file reply comments
within twenty-one (21) days of the Public Notice. The Fusion Licensees will have the opportunity to
respond to any such comments. Thereafter, unless the FCC notifies the Fusion Licensees otherwise, the
Fusion Licensees may consummate the transfer of control on the thirty-first day (31st) after the Public


11
      As a consequence of entry into chapter 11, the wireless licenses held by FCS were assigned to FCS, as debtor in
      possession, in File Nos. 000868350 and 0008686355, effective as of July 9, 2019.


                                                         84
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57                 Main Document
                                           Pg 97 of 565


Notice with respect to the domestic Section 214 authority and on the fourteenth day (14th) after the Public
Notice with respect to the international Section 214 authority.

As a practical matter, however, the FCC is not expected to grant any of the applications until after all
required periods for the FCC Applications have passed. In any event, the Reorganization Transaction cannot
be consummated until, among other things, all required FCC Approvals have been obtained.

Following the Debtors’ emergence from Chapter 11 on the Effective Date, the proposed exercise of Special
Warrants or any other conditional interests issued pursuant to the Second Amended Plan will result in (i) a
second transfer of control of the Fusion Licensees because Telecom Holdings’ interests in Reorganized FCI
will drop below fifty (50) percent, constituting a “negative transfer of control” for FCC purposes. Moreover,
the exercise of the Special Warrants on the Exercise Date will result in the aggregate foreign ownership of
the Fusion Licensees exceeding twenty-five percent (25%), which is prohibited by federal law unless the
FCC issues a declaratory ruling as discussed below. Therefore, as soon as practicable following the
Effective Date, the Fusion Licensees and Telecom Holdings will file an additional set of applications with
the FCC and State PUCs (as required), as well as a Petition for Declaratory Ruling seeking FCC approval
for the proposed foreign ownership of the Fusion Licensees that will take place on the Exercise Date.
Consistent with the Second Amended Plan, no Special Warrants or other conditional interests in
Reorganized FCI that are issued on the Effective Date may be exercised until all of the conditions for the
Exercise Date have been met.

               A. State Public Service Commissions

The Fusion Licensees were required to notify certain State PUCs upon entry into chapter 11. Following
the Commencement Date, therefore, the Fusion Licensees filed notices informing the State PUCs in all
states where the Fusion Licensees operate of the Fusion Licensees’ status as debtors in possession under
chapter 11.

The Fusion Licensees and Telecom Holdings were also required to submit applications to certain State
PUCs to request approval of the transfer of control of the Fusion Licensees to Telecom Holdings. The
Fusion Licensees and Telecom Holdings filed the requisite State PUC Applications in California, Colorado,
the District of Columbia Georgia, Hawaii, Indiana, Louisiana, Maryland, Minnesota, Mississippi,
Nebraska, New Jersey, New York, Ohio, Pennsylvania, Texas, Virginia and West Virginia on behalf of
each entity that holds intrastate telecommunications authority in these states. The level of review
undertaken by the State PUCs, and the length of time until an approval of a State PUC Application will be
granted, will vary by state. One or more State PUCs may issue its grant of approval contingent upon
issuance of approvals by the FCC and/or the Bankruptcy Court.

In order to comply with any applicable regulatory requirements in states where approval of a transfer of
control is not required and where a Fusion Licensee holds authority to provide telecommunications services,
the Fusion Licensees (together with Telecom Holdings) are filing the State PUC Notices with the respective
State PUCs regarding the transfer of control that will occur as a result of the Reorganization Transaction.

In connection with the exercise of Special Warrants on the Exercise Date, and the resulting material change
to the ownership of the Fusion Licensees, advance approvals will have to be obtained from certain State
PUCs. Prior to the Exercise Date but after the Effective Date, the Fusion Licensees and Telecom Holdings
will file additional State PUC applications for such approvals as required and will file additional State PUC
notices in the states where notice (but not approval) is required for the change to ownership. Consistent
with the Second Amended Plan, no Special Warrants or other conditional interests in Reorganized FCI that
may be exercised until all of the conditions for the Exercise Date have been met.


                                                     85
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57                Main Document
                                           Pg 98 of 565




The following is important information concerning the FCC approval process and the ownership
requirements and restrictions that must be met in order for parties to hold equity interests in
Reorganized FCI. The following summary of certain FCC rules and policies is for informational
purposes only and is not a substitute for careful planning and advice based upon the individual
circumstances pertaining to a Holder of an Allowed First Lien Claim or an Allowed Second Lien
Claim. Holders of Allowed First Lien Claims or Allowed Second Lien Claims are urged to consult
their own advisors as to FCC ownership issues and other consequences of the Second Amended Plan.

               B. Information Required from Prospective Stockholders of Reorganized FCI

In processing applications for consent to a transfer of control or assignment of FCC licenses, the FCC
considers, among other things, whether the prospective owners or new licensee, as applicable, possess the
legal, character, and other qualifications to hold FCC licenses in a manner consistent with the public
interest.

As described in the Equity Allocation Mechanism, Holders of Allowed First Lien Claims will receive New
Equity Interests and/or Special Warrants on account of such Claims. Holders of Allowed Second Lien
Claims will receive Special Warrants on account of such Claims. In accordance with the terms of the
Special Warrant Agreement, the Special Warrants will automatically be exercised for New Equity Interests,
to the extent legally permissible, upon the Exercise Date, which will not occur until all prerequisites are
met, including upon obtaining a declaratory ruling from the FCC and grants of approvals of the transfer of
control of Reorganized FCI from the FCC and applicable State PUC approvals.

Each holder of an Allowed First Lien Claim must submit an Ownership Certification providing
information regarding the prospective stockholder to establish that issuance of the New Equity
Interests and/or Special Warrants to such holder would not result in a violation of law, impair the
qualifications of the Reorganized Debtors to hold FCC Licenses, or impede the grant of any FCC
Applications on behalf of the Reorganized Debtors.

Each holder of an Allowed First Lien Claim will be required to provide information regarding the
extent of their direct and indirect ownership and control by non-U.S. persons sufficient to establish
whether any non-U.S. persons will hold a direct or indirect ownership interest in Reorganized FCI.
Based on the Results of the Ownership Certifications, holders will receive a mix of New Equity
Interests and Special Warrants as set forth in the Warrant Agreement and the Equity Allocation
Mechanism.

Consistent with the Special Warrant Agreement, holders of Allowed First Lien Claims or Allowed Second
Lien Claims that are directly or indirectly owned or controlled by a non-U.S. individual or entity will only
be permitted to exercise Special Warrants upon the Exercise Date, at which time, such holder may only
exercise Special Warrants and/or other conditional interest insofar as permitted by the FCC’s Declaratory
Ruling. For the avoidance of doubt, holders of Allowed First Lien Claims or Allowed Second Lien Claims
shall not be permitted to exercise Special Warrants if the non-U.S. ownership or voting percentage of such
prospective holders, as calculated in accordance with FCC rules, would result in an amount in excess of the
foreign ownership amount permitted by the Declaratory Ruling.

On September 23, 2019, The Court entered an order (ECF No. 425) approving the Motion of Debtors for
Authority to Establish Procedures for Compliance with Federal Communications Law (the “Ownership
Procedures Motion”) for entry of an order (i) approving procedures to comply with foreign ownership




                                                    86
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456      Filed 10/07/19 Entered 10/07/19 15:38:57                    Main Document
                                              Pg 99 of 565


restrictions and other ownership disclosure requirement of the federal communications law and the FCC12,
including the forms of Ownership Certification and Notice of Ownership Certification Procedures and
deadlines by which holders of Allowed First Lien Claims must submit an Ownership Certification to Prime
Clerk as the Certification Agent to facilitate the allocation of New Equity Interests and Special Warrants
under the Second Amended Plan; and (ii) authorizing Prime Clerk to serve as the Certification Agent and
to perform the relevant services related to the certification process (each as defined in the Ownership
Procedures Motion).

Any holder that fails to timely provide an Ownership Certification by October 25, 2019 (the “Ownership
Certification Deadline”) or that fails to deliver an Ownership Certification that allows the Debtors to
clearly determine such holder’s foreign ownership in compliance with the limitations set forth in the Equity
Allocation Mechanism will be treated as a one hundred percent (100%) foreign-owned, non-U.S. holder,
unless the Debtors, in their sole discretion, elect to treat an Ownership Certification delivered after the
Ownership Certification Deadline (but prior to the Effective Date) as if such Ownership Certification had
been delivered prior to the Ownership Certification Deadline.

               C. FCC Foreign Ownership Restrictions and Ownership Disclosure Requirements

On the Effective Date, Telecom Holdings will hold over fifty percent (50%) of the New Equity Interests.
The membership interests in Telecom Holdings on the Effective Date will be held by twelve (12) U.S.
Holders (as defined herein), none of whom will hold a direct or indirect economic interest in Reorganized
FCI of ten percent (10%) or more.

Section 310 of the Communications Act prohibits foreign individuals and foreign entities from having direct
or indirect ownership or voting rights totaling in the aggregate more than twenty-five percent (25%) in a
U.S. corporation that controls a U.S. broadcast, common carrier, or aeronautical fixed or en route radio
station licensee (“Licensee”). The FCC, which has adopted rules to implement Section 310(b), may
authorize aggregate foreign equity ownership or voting interests to exceed the twenty-five percent (25%)
limitation by granting a declaratory ruling in response to the filing of a Petition for Declaratory Ruling by
the applicable Licensee. In addition, if the parent company of a Licensee already has, or proposes to have,
foreign ownership that exceeds the twenty-five percent (25%) Ownership Limitations, any entity (including
entities subject to aggregation under applicable FCC rules) that has or would receive in excess of either five
percent (5%) or, in certain cases, ten percent (10%) of the equity ownership or voting rights in the
Licensee’s parent company must receive specific approval from the FCC (a “Specific Approval”). The
determination of whether the five percent (5%) or ten percent (10%) Specific Approval threshold applies
to an entity is determined pursuant to the FCC’s foreign ownership rules.

To ensure compliance with the twenty-five percent (25%) limitation, the distribution of New Equity
Interests to holders of Allowed First Lien Claims is being structured in a manner that will prevent the
aggregate foreign equity ownership or aggregate foreign voting percentage in Reorganized FCI from
exceeding twenty-two and one-half percent (22.5%) (the “22.5 Percent Limitation”). Any distribution of
New Equity Interests on the Effective Date in contravention of the preceding sentence will be deemed
automatically adjusted to the minimum extent necessary to comply with this limitation. Historically,




12
      See, e.g., 47 C.F.R. § 1.5000 et seq. (implementing the Ownership Limitations of Section 310 of the
      Communications Act for broadcast, common carrier, aeronautical en route, and aeronautical fixed radio station
      licensees and common carrier spectrum lessees); 47 C.F.R. § 63.04, 18) (requiring disclosure of certain equity
      ownership and voting interest in Section 214 transfer of control applications).


                                                        87
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57                Main Document
                                           Pg 100 of 565


warrants and other future or conditional interests have not been taken into account in determining foreign
ownership compliance.

Ownership Limitations also apply to partnerships and limited liability companies. The FCC historically has
treated partnerships with foreign partners as foreign-controlled if there are any foreign general partners.
The interests of any foreign limited partners or foreign members of limited liability companies are
considered in determining the equity ownership and voting rights held by such entities. The interests of
limited partners or limited liability company members that are not properly insulated from active
involvement in the management or operation of the company are considered to have the same voting interest
in the licensee as the entity itself. Limited partners and members of limited liability companies that are
properly insulated are deemed to have a voting interest that is the same as their own equity interest.

The FCC’s rules implementing Section 214 of the Communications Act require a U.S. company that holds
domestic and international Section 214 telecommunications service authority to disclose the identity of all
direct or indirect holders of ten percent (10%) or more of the voting or equity ownership in such company
when applying for authority or consent to a transfer of control or assignment. To ensure that the FCC
Applications have disclosed all such holders, with the exception of distributions to Telecom Holdings, the
distribution of New Equity Interests to any holders of Allowed First Lien Claims is being limited to nine
and three-quarters percent (9.75%) of the equity or voting percentage of Reorganized FCI (the “9.75
Percent Limitation”). Holders that are subject to restriction pursuant to the 9.75 Percent Limitation will
receive a mix of New Equity Interests and Special Warrants. Any distribution of New Equity Interests on
the Effective Date that would contravene the 9.75 Percent Limitation will be deemed automatically adjusted
to the minimum extent necessary to comply with this limitation.

In order to ensure Reorganized FCI’s compliance with the FCC’s foreign ownership rules, the Equity
Allocation Mechanism provides for the distribution of New Equity Interests and Special Warrants on the
Effective Date to Holders of Allowed First Lien Claims. Holders that receive Special Warrants will be
permitted to exercise their Special Warrants only in accordance with the terms of the Special Warrant
Agreement on the Exercise Date, which is a date occurring within five (5) business days of the satisfaction
of the following conditions: (i) the FCC has issued all requisite approvals for the transfer of control of
Reorganized FCI that will result from the exercise of the Special Warrants; (ii) for any common carrier
radio station licenses held by FCS on the Exercise Date, the FCC has granted the requisite approvals under
Section 310 of the Communications Act for the transfer of control of a wireless license that will arise from
the exercise of the Special Warrants; (iii) the FCC has granted the Declaratory Ruling allowing Reorganized
FCI or its affiliates, as applicable, to exceed twenty-five percent (25%) foreign ownership; and (iii) the
State PUCs grant any requisite approvals for the change of ownership that will arise from the exercise of
the Special Warrants.

As set forth in the Special Warrant Agreement, if the FCC adopts a Declaratory Ruling allowing one
hundred percent (100%) foreign ownership of Reorganized FCI (the “100% Declaratory Ruling”), then,
subject to having received any needed Specific Approval, all Non-U.S. Holders that complete and deliver
an Ownership Certification that is satisfactory to Reorganized FCI will be deemed to have exercised their
Special Warrants on the Exercise Date and will receive the corresponding number of New Equity Interests;
provided, however, that a Non-U.S. Holder of Special Warrants may not hold more than five percent (5%)
of the New Equity Interests until the requisite Specific Approval has been obtained from the FCC.

If the FCC adopts a Declaratory Ruling allowing foreign ownership of Reorganized FCI between twenty-
five percent (25%) and ninety-nine and nine-tenths percent (99.9%) (the “Partial Declaratory Ruling
Percentage” and the “Partial Declaratory Ruling”), then, subject to having received any needed Specific
Approval, each Non-U.S. Holder of Special Warrants that completes and delivers an Ownership
Certification that is satisfactory to Reorganized FCI will have all or a portion of its Special Warrants


                                                    88
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57                 Main Document
                                           Pg 101 of 565


exercised and converted into New Equity Interests on the Exercise Date, according to the following
principles: (i) each such Non-U.S. Holder’s ownership of New Equity Interests will be maximized to the
extent possible taking into account such Non-U.S. Holder’s foreign equity and voting percentage and
Reorganized FCI’s aggregate foreign equity percentage upon completion of all such exercises; provided,
however, that Non-U.S. Holders of Special Warrants may not hold more than five percent (5%) of the New
Equity Interests until the requisite Specific Approval has been obtained from the FCC; (ii) each such Non-
U.S. Holder shall be entitled to receive New Equity Interests corresponding to its domestic equity
percentage and/or its domestic voting percentage, as determined by Reorganized FCI; and (iii) after taking
into account the exercise of the Special Warrants described above, the remaining Special Warrants held by
each such Non-U.S. Holder will be exercised on a pro rata basis based upon the aggregate number of
Special Warrants held by all such Non-U.S. Holders.

If the FCC does not issue a Declaratory Ruling, then Non-U.S. Holders may not elect to exercise their
Special Warrants and must either hold such Special Warrants or transfer them, except to the extent that
Reorganized FCI reasonably determines that such exercise will not cause a violation of the 22.5 Percent
Limitation, 9.75 Percent Limitation, or any other limitations on equity ownership set forth in the Special
Warrants.

Because the proposed exercise of Special Warrants will cause Telecom Holdings to hold less than fifty
percent (50%) of the ownership of Reorganized FCI, Reorganized FCI and Telecom Holdings shall file the
requisite applications under Sections 214 and 310 of the Communications Act and any requisite State PUC
applications for consent to the transfer of control. If the exercise of the Special Warrants would result in
any holder, besides Telecom Holdings, holding ten percent (10%) or more of the New Equity Interests,
Reorganized FCI, and Telecom Holdings shall also disclose the identity or identities of such holder(s) in
the requisite applications. The FCC and applicable State PUCs must grant such applications as a condition
to such holders of a Special Warrant(s) to exercise its rights to exchange its Special Warrant(s) for New
Equity Interests.

               D. Commitment to Obtain Approvals

The Debtors have agreed to use reasonable best efforts to file all notices and obtain all consents and
approvals of any governmental entity or third party required in connection with the Reorganization
Transaction. Regulators may object to the Reorganization Transaction and/or impose conditions or
restrictions on approvals that are materially adverse to the Debtors, Reorganized Debtors, and/or Telecom
Holdings. In no event will the Debtors, Reorganized Debtors, Telecom Holdings, or any of their affiliates
be required (i) to divest or hold separate assets, including any assets acquired by the Debtors, Reorganized
Debtors, Telecom Holdings, or any of their respective affiliates in connection with the Reorganization
Transaction, or agree to limit their future activities, method or place of doing business, (ii) to commence
any litigation against any person in order to facilitate the consummation of the Reorganization Transaction,
or (iii) to defend against any litigation filed with or brought by any governmental entity seeking to prevent
the consummation of, or impose limitations on, any of the transactions contemplated by the Reorganization
Transaction.

               E. Receipt of Regulatory Approvals

The Debtors estimate that the requisite regulatory approvals to effectuate the Reorganization Transaction
pursuant to the Second Amended Plan will be obtained no later than December 30, 2019, although the
receipt of such approvals cannot be assured or guaranteed.




                                                     89
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57                  Main Document
                                           Pg 102 of 565



                               VIII.
CERTAIN U.S. FEDERAL INCOME TAX CONSEQUENCES OF SECOND AMENDED
                              PLAN

The following discussion summarizes certain material U.S. federal income tax consequences of the
implementation of the Second Amended Plan to the Debtors (which, as used herein, includes the
Reorganized Debtors) and to holders of certain Claims. This discussion does not address the U.S. federal
income tax consequences to holders of Claims or equity interests who are unimpaired or deemed to reject
the Second Amended Plan (e.g., the holders of Parent Equity Interests).

The discussion of U.S. federal income tax consequences below is based on the Internal Revenue Code of
1986, as amended (the “Tax Code”), the Treasury regulations promulgated thereunder (the “Treasury
Regulations”), judicial authorities, published positions of the IRS, and other applicable authorities, all as
in effect on the date of this Disclosure Statement and all of which are subject to change or differing
interpretations (possibly with retroactive effect). The U.S. federal income tax consequences of the
contemplated transactions are complex and subject to significant uncertainties. The Debtors have not
requested an opinion of counsel or a ruling from the IRS or any other taxing authority with respect to any
of the tax aspects of the contemplated transactions, and the discussion below is not binding upon the IRS
or any court. No assurance can be given that the IRS will not assert, or that a court will not sustain, a
different position than any position discussed herein.

This summary does not address non-U.S., state, or local tax consequences of the contemplated transactions,
nor does it purport to address the U.S. federal income tax consequences of the transactions to special classes
of taxpayers (e.g., non-U.S. taxpayers, small business investment companies, regulated investment
companies, real estate investment trusts, banks and certain other financial institutions, insurance companies,
tax-exempt organizations, retirement plans, individual retirement and other tax-deferred accounts, holders
that are, or hold their Claims through, S corporations, partnerships or other pass-through entities for U.S.
federal income tax purposes, persons whose functional currency is not the U.S. dollar, dealers in securities
or foreign currency, traders that mark-to-market their securities, persons subject to the “Medicare” tax on
net investment income, persons subject to special accounting rules under Section 451(b) of the Tax Code,
and persons whose Claims are part of a straddle, hedging, constructive sale, or conversion transaction). In
addition, this discussion does not address U.S. federal taxes other than income taxes, nor does it apply to
any person that acquires any of the New Equity Interests or New First Lien Term Loans in the secondary
market, unless otherwise provided herein.

For purposes of the discussion below, all references to New Equity Interests are intended to apply equally
to the Special Warrants, which are economically equivalent to, and thus generally should be treated the
same as, the New Equity Interests for U.S. federal income tax purposes (unless otherwise indicated).

This discussion also assumes that the New Equity Interests and the New First Lien Term Loans will be held
as “capital assets” (generally, property held for investment) within the meaning of section 1221 of the Tax
Code, and that the various debt and other arrangements to which any of the Debtors is a party will be
respected for U.S. federal income tax purposes in accordance with their form.

The following summary of certain U.S. federal income tax consequences is for informational purposes
only and is not a substitute for careful tax planning and advice based upon the individual circumstances
of Claim holders. Holders are urged to consult their own tax advisor for the U.S. federal, state, local,
non-U.S., and other tax consequences applicable under the Second Amended Plan.

          A.        Consequences to the Debtors.


                                                     90
WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456    Filed 10/07/19 Entered 10/07/19 15:38:57              Main Document
                                               Pg 103 of 565


For U.S. federal income tax purposes, Fusion Connect is a common parent of an affiliated group of
companies that files a single consolidated U.S. federal income tax return (the “Fusion Tax Group”), of
which the other Debtors are members or are disregarded entities directly or indirectly wholly-owned by a
member of the group. The Debtors estimate that, as of the Commencement Date, the Fusion Tax Group had
available net operating loss (“NOL”) carryforwards of at least approximately $150 million (which is subject
to certain existing annual and other limitations) and disallowed business interest carryforwards of at least
approximately $29 million, that may be used to offset current or future taxable income. Technically, the
Fusion Tax Group also has estimated additional NOL carryforwards of at least $500 million; however, due
to existing limitations, such NOLs are effectively unusable against future taxable income but are an
available tax attribute for purposes of reduction under the cancellation of debt (“COD”) rules, which are
discussed below.

The amount of any NOL carryforwards and other tax attributes, as well as the application of any limitations,
remain subject to review and adjustment by the IRS. In addition, equity trading activity and certain other
actions prior to the Effective Date could result in an ownership change of Fusion Connect independent of
the Second Amended Plan which could adversely affect the ability to utilize the Fusion Tax Group’s NOL
carryforwards. In an attempt to minimize the likelihood of such an ownership change occurring, at the
inception of the Chapter 11 Cases the Debtors obtained an interim order from the Bankruptcy Court
authorizing certain protective equity trading and worthless stock deduction claim procedures (ECF No. 52).

As discussed below, in connection with the implementation of the Reorganization Transaction, the Debtors
expect that the amount of the Fusion Tax Group’s NOLs, and possibly certain other tax attributes, will be
reduced. In addition, the subsequent utilization of any remaining NOLs and other tax attributes remaining
following the Effective Date may be severely restricted.

                    1.        Cancellation of Debt

In general, the Tax Code provides that a debtor in a bankruptcy case must reduce certain of its tax attributes
— such as NOL carryforwards (whether or not such NOLs can otherwise be used to offset future taxable
income) and current year NOLs, capital loss carryforwards, certain tax credits, and tax basis in assets — by
the amount of any COD incurred pursuant to a confirmed chapter 11 plan. Although not free from doubt,
it is expected that carryover of disallowed business interest expense would not be a tax attribute subject to
such reduction. In applying the attribute reduction rule to the tax basis in assets, the tax law limits the
reduction in tax basis to the amount by which the tax basis immediately following the discharge exceeds
the debtor’s post-emergence liabilities. The amount of COD incurred is generally the amount by which the
indebtedness discharged exceeds the value of any consideration given in exchange therefor. Certain
statutory or judicial exceptions may apply to limit the amount of COD incurred for U.S. federal income tax
purposes. If advantageous, the debtor can elect to reduce the basis of depreciable property prior to any
reduction in its NOL carryforwards or other tax attributes. Where the debtor joins in the filing of a
consolidated U.S. federal income tax return, applicable Treasury Regulations require, in certain
circumstances, that the tax attributes of the consolidated subsidiaries of the debtor and other members of
the group must also be reduced. Any reduction in tax attributes in respect of COD generally does not occur
until after the determination of the debtor’s net income or loss for the taxable year in which the COD is
incurred.

The Debtors expect to incur a substantial amount of COD as a result of the implementation of the Second
Amended Plan. The amount of such COD and resulting tax attribute reduction will depend primarily on
the fair market value of the New Equity Interests, the issue price (as defined below) of the New First Lien
Term Loan and the amount of any Net Cash Proceeds. Aside from any current year NOLs, the Debtors
expect that a significant portion of the required attribute reduction will reduce NOL carryforwards that
would otherwise be unusable. Accordingly, the Debtors expect that a substantial portion of the NOL


                                                     91
WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57                 Main Document
                                              Pg 104 of 565


carryforwards and other tax attributes of the Fusion Tax Group currently available to offset future taxable
income will be unaffected by the required attribute reduction.

                    2.        Limitation of NOL Carryforwards and Other Tax Attributes

Following the Effective Date, any NOL carryforwards and certain other tax attributes (collectively, “Pre-
Change Losses”) may be subject to additional limitations under section 382 and 383 of the Tax Code. Any
such limitation applies in addition to, and not in lieu of, the reduction of tax attributes that results from
COD income arising in connection with the Second Amended Plan.

Under section 382 of the Tax Code, if a corporation (or consolidated group) undergoes an “ownership
change” and the corporation does not qualify for (or elects out of) the special bankruptcy exception in
section 382(l)(5) of the Tax Code discussed below, the amount of its Pre-Change Losses that may be utilized
to offset future taxable income or tax liability is subject to an annual limitation. The Debtors anticipate that
the distribution of the New Equity Interests pursuant to the Second Amended Plan will result in an
“ownership change” of the Fusion Tax Group.

In general, the amount of the annual limitation to which a corporation that undergoes an “ownership
change” will be subject is equal to the product of (a) the fair market value of the stock of the corporation
immediately before the “ownership change” (with certain adjustments) multiplied by (b) the “long-term
tax-exempt rate” in effect for the month in which the ownership change occurs (e.g., 1.77% for ownership
changes in October 2019). As discussed below, this annual limitation potentially may be increased in the
event the corporation (or consolidated group) has an overall “built-in” gain in its assets at the time of the
ownership change. For a corporation (or consolidated group) in bankruptcy that undergoes an ownership
change pursuant to a confirmed bankruptcy plan, the fair market value of the stock of the corporation (or
the parent of the consolidated group) is generally determined immediately after (rather than before) the
ownership change, but subject to certain adjustments; in no event, however, can the stock value for this
purpose exceed the pre-change gross value of the corporation’s assets.

If the loss corporation (or consolidated group) has a net unrealized “built-in” gain at the time of an
ownership change (taking into account most assets and items of “built-in” income and deductions), any
built-in gains recognized (or, according to an IRS notice, treated as recognized) during the sixty (60) month
period following the ownership change (up to the amount of the original net unrealized built-in gain)
generally will increase the annual limitation in the year recognized, such that the loss corporation (or
consolidated group) would be permitted to use its Pre-Change Losses against such built-in gain income in
addition to its regular annual allowance. Alternatively, if a corporation (or consolidated group) has a net
unrealized built-in loss at the time of an ownership change (taking into account most assets and items of
“built-in” income and deductions), then built-in losses (including, but not limited to, amortization or
depreciation deductions attributable to such built-in losses) recognized during the sixty (60) month period
following the “ownership change” (up to the amount of the original net unrealized built-in loss) generally
will be treated as Pre-Change Losses, the deductibility of which will be subject to the annual limitation.
Although the rule applicable to net unrealized built-in losses generally applies to consolidated groups on a
consolidated basis, certain corporations that joined the consolidated group within the preceding five (5)
years may not be able to be taken into account in the group computation of net unrealized built-in loss.
Such corporations would nevertheless still be taken into account in determining whether the consolidated
group has a net unrealized built-in gain. In general, a corporation’s (or consolidated group’s) net unrealized
built-in loss will be deemed to be zero unless it is greater than the lesser of (a) $10,000,000 or (b) fifteen
percent (15%) of the fair market value of its assets (with certain adjustments) before the ownership change.
It is currently uncertain whether the Fusion Tax Group will have a net unrealized built-in loss or a net
unrealized built-in gain as of the Effective Date.



                                                      92
WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456    Filed 10/07/19 Entered 10/07/19 15:38:57                Main Document
                                               Pg 105 of 565


Any unused annual limitation may be carried forward and therefore available to be utilized in a subsequent
taxable year. However, if the corporation (or consolidated group) does not continue its historic business or
use a significant portion of its historic assets in a new business for at least two (2) years after the ownership
change, the regular annual limitation resulting from the ownership change is reduced to zero, thereby
precluding any utilization of the corporation’s Pre-Change Losses, absent any increases due to recognized
built-in gains. Where a corporation (or consolidated group) is subject to one or more prior annual
limitations, each annual limitation applies, effectively subjecting any Pre-Change Losses which pre-date
the prior ownership change to the more restrictive of the limitations.

Under section 382(l)(5) of the Tax Code, an exception to the foregoing annual limitation rules generally
applies where qualified creditors of a debtor corporation receive, in respect of their claims, at least fifty
percent (50%) of the vote and value of the stock of the reorganized debtor (or a controlling corporation if
also in bankruptcy) pursuant to a confirmed chapter 11 plan. The Debtors do not anticipate that such
exception will apply in the present case.

                    3.        Transfer of Assets to, and Continuing Interest in, the Litigation Trust

Pursuant to the Second Amended Plan, on the Effective Date, the Debtors will transfer the Litigation Trust
Assets (including all of the Debtors’ right, title and interest in the Litigation Causes of Action) to the
Litigation Trust, on behalf of the holders of Allowed General Unsecured Claims. In addition, the Debtors
will retain an interest in the Litigation Trust Assets. As structured, the Litigation Trust is intended to be
treated as a “liquidating trust” for federal income tax purposes, and the transfer of the Litigation Trust
Assets by the Debtors to the Litigation Trust (other than the Litigation Trust First Lien Lender Causes of
Action) is intended to be treated as an exchange of an undivided interest in such assets to holders of Allowed
General Unsecured Claims in full or partial satisfaction of their Claims. See Section C, “Tax Treatment of
Litigation Trust and Holders of Litigation Trust Interests,” below. Accordingly, the transfer of assets by
the Debtors may result in the recognition of gain or income by the Debtors, depending in part on the value
of such assets on the Effective Date and the Debtors’ tax basis in such assets, and thus a current tax liability
to the Debtors, in the event or to the extent available NOL carryforwards are insufficient (due to existing
limitations) to offset such income or gain. In addition, the Debtors may have additional income or gain
over time in respect of its continued interest in the Litigation Trust Assets.

There is no assurance, however, that the IRS will not take a contrary position as to the ownership of the
Litigation Trust Assets for U.S. federal income tax purposes, due to the retained interest. For example, it
is possible that the Debtors could continue to be viewed for U.S. federal income tax purposes as owners of
the Litigation Trust Assets (other than possibly the Litigation Trust First Lien Lender Causes of Action),
with an obligation to make contingent payments to the holders of Claims that received Litigation Trust
Interests. In such event, the U.S. federal income tax treatment to the Debtors would differ from those
described, in that the Debtors could have increased income or gain over time as the underlying causes of
action are resolved (rather than recognizing any income or gain on the exchange date), potentially with
partially offsetting deductions in respect of any contingent amounts actually payable to holders of Allowed
General Unsecured Claims. All holders of Claims are urged to consult their tax advisors regarding the
U.S.        federal       income         tax       treatment      of        the      Litigation       Trust.

          B.        Consequences to Holders of Certain Claims

This summary discusses the U.S. federal income tax consequences to holders of Allowed First Lien Claims,
Allowed Second Lien Claims, and Allowed General Unsecured Claims who are U.S. Holders and does not
discuss tax consequences for those who are not U.S. Holders. As used herein, the term “U.S. Holder”
means a beneficial owner that is, for U.S. federal income tax purposes:



                                                       93
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57                   Main Document
                                               Pg 106 of 565


          •         an individual who is a citizen or resident of the United States;

          •         a corporation, or other entity taxable as a corporation for U.S. federal income tax purposes,
                    created or organized in or under the laws of the United States, any state thereof or the
                    District of Columbia;

          •         an estate the income of which is subject to U.S. federal income taxation regardless of its
                    source; or

          •         a trust, if a court within the United States is able to exercise primary jurisdiction over its
                    administration and one or more U.S. persons have authority to control all of its substantial
                    decisions, or if the trust has a valid election in effect under applicable Treasury regulations
                    to be treated as a U.S. person.

If a partnership or other entity or arrangement taxable as a partnership for U.S. federal income tax purposes
holds First Lien Claims, Second Lien Claims, General Unsecured Claims, New First Lien Term Loans, or
New Equity Interests, the tax treatment of a partner in such partnership generally will depend upon the
status of the partner and the activities of the partnership. Any partner in such a partnership holding any of
such instruments should consult its own tax advisor.

The U.S. federal income tax consequences of the Second Amended Plan to a U.S. Holder of Allowed First
Lien Claims depends, in part, on whether such Claim constitutes a “security” of Fusion Connect for U.S.
federal income tax purposes – which can differ for the Revolving Loans, the Tranche A Term Loans and
the Tranche B Term Loans – and whether the New First Lien Term Loan constitutes a “security” of Fusion
Connect. Similarly, the U.S. federal income tax consequences to a U.S. Holder of an Allowed Second Lien
Claim depends, in part, on whether such Claim constitutes a “security” of Fusion Connect for U.S. federal
income tax purposes. See “—1. Consequences to Holders of First Lien Claims” and “—2. Consequences
to Holders of Second Lien Claims,” below.

The term “security” is not defined in the Tax Code or in the Treasury regulations and has not been clearly
defined by judicial decisions. The determination of whether a particular debt obligation constitutes a
“security” depends on an overall evaluation of the nature of the debt, including whether the holder of such
debt obligation is subject to a material level of entrepreneurial risk and whether a continuing proprietary
interest is intended or not. One of the most significant factors considered in determining whether a
particular debt obligation is a security is its original term. In general, debt obligations issued with a
weighted average maturity at issuance of less than five (5) years do not constitute securities, whereas debt
obligations with a weighted average maturity at issuance of ten (10) years or more constitute securities.
Additionally, the IRS has ruled that new debt obligations with a term of less than five (5) years issued in
exchange for and bearing the same terms (other than interest rate) as securities should also be classified as
securities for this purpose, since the new debt represents a continuation of the holder’s investment in the
corporation in substantially the same form. The Tranche A Term Loans and the Revolving Loans had a
four (4) year maturity at original issuance and the Tranche B Term Loans had a five (5) year maturity at the
time of original issuance. Such loans, however, underwent a deemed reissuance for U.S. federal income
tax purposes in mid-April 2019 as a result of certain modifications.

Although the determination of whether a new instrument issued in exchange for an original instrument
constitutes a security is generally made by looking to the terms of the new instrument, based on the IRS
ruling mentioned above, that determination may be governed by whether the original instrument constituted
a security. The Second Lien Term Loans had a five and a half (5 1/2) year maturity at original issuance.
The discussion herein takes no position as to whether any of the First Lien Claims or Second Lien Claims
constitutes a security, but does assume that the New First Lien Term Loans (which will have a four (4) year


                                                         94
WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456    Filed 10/07/19 Entered 10/07/19 15:38:57               Main Document
                                               Pg 107 of 565


maturity) do not constitute a security. Each holder of a First Lien Claim or / and a Second Lien Claim is
urged to consult its own tax advisor regarding the appropriate status for U.S. federal income tax purposes
of its Claim and, if applicable, the New First Lien Term Loan.

As indicated above, the Special Warrants are economically equivalent to, and generally should be treated
the same, as New Equity Interests for U.S. federal income tax purposes; thus, for purposes of the tax
discussion herein, all references to New Equity Interests are intended to apply equally to the Special
Warrants (unless otherwise indicated).

                    1.        Consequences to Holders of First Lien Claims

Pursuant to the Second Amended Plan, holders of Allowed First Lien Claims generally will receive New
Equity Interests (and/or Special Warrants) and New First Lien Term Loans in complete and final
satisfaction of their First Lien Claims. A holder of an Allowed First Lien Claim that would otherwise
receive Special Warrants may, in lieu thereof, receive an alternative distribution; the following discussion
assumes that each holder receives New Equity Interests and/or Special Warrants.

As mentioned above, the U.S. federal income tax consequences of the Second Amended Plan to a U.S.
Holder of Allowed First Lien Claims depends, in part, on whether such Claim constitutes a “security” of
Fusion Connect for U.S. federal income tax purposes – which can differ for the Revolving Loans, the
Tranche A Term Loans and the Tranche B Term Loans – and whether the New First Lien Term Loan
constitutes a “security” of Fusion Connect. If an Allowed First Lien Claim does not constitute a security,
the receipt of consideration in satisfaction of such Claim will be a fully taxable transaction. Alternatively,
if the Claim is a security of Fusion Connect, the transaction will qualify for “recapitalization” treatment for
U.S. federal income tax purposes. Each of these alternatives is discussed below.

         (a) Fully Taxable Transaction—First Lien Claim that does not constitute a Security. If an Allowed
First Lien Claim does not constitute a security, the distribution to such U.S. Holder will be a fully taxable
transaction. In such event, a U.S. Holder of an Allowed First Lien Claim should generally recognize gain
or loss in an amount equal to the difference, if any, between (i) the sum of the fair market value of the New
Equity Interests received, the amount of cash received and either (a) the issue price (as defined below) of
the New First Lien Term Loan received or (b) in the event the New First Lien Term Loan is considered a
contingent payment debt obligation (as discussed below in B.7.b. — “Ownership and Disposition of the
New First Lien Term Loan – Treatment as a Contingent Payment Debt Instrument”), the issue price of the
New First Lien Term Loan increased by the fair market value of any contingent payments on the New First
Lien Term Loan (other than any consideration received in respect of a First Lien Claim for accrued but
unpaid interest and possibly accrued original issue discount, “OID”), and (ii) the holder’s adjusted tax basis
in the Allowed First Lien Claim exchanged (other than any tax basis attributable to accrued but unpaid
interest and possibly accrued OID). See B.5 — “Character of Gain or Loss,” below. In addition, a U.S.
Holder of an Allowed First Lien Claim will have ordinary interest income to the extent of any exchange
consideration allocable to accrued but unpaid interest (or accrued OID) not previously included in income.
See B.4 — “Distributions in Discharge of Accrued Interest,” below.

         The “issue price” of the New First Lien Term Loan for U.S. federal income tax purposes depends
on whether, at any time during the 31-day period ending 15 days after the Effective Date, the New First
Lien Term Loan or the Tranche B Term Loan (regardless whether the holder’s Claim is a Tranche B Term
Loan) is considered traded on an “established market.” Pursuant to applicable Treasury regulations, an
“established market” need not be a formal market. It is sufficient if there is a readily available sales price
for an executed purchase or sale of the New First Lien Term Loan or the Tranche B Term Loan, or if there
are one or more “firm quotes” or “indicative quotes” with respect to the New First Lien Term Loan or for
the Tranche B Term Loan, in each case as such terms are defined in applicable Treasury regulations. If the


                                                      95
WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57              Main Document
                                              Pg 108 of 565


New First Lien Term Loan received is considered traded on an established market, the issue price of the
New First Lien Term Loan for U.S. federal income tax purposes will equal its fair market value as of the
Effective Date. If the New First Lien Term Loan is not considered traded on an established market but the
Tranche B Term Loan is so treated, the issue price of the New First Lien Term Loan will be based on the
fair market value of the Tranche B Term Loan (with appropriate adjustments, such as for the fair market
value of the New Equity Interests and any cash received). Alternatively, if neither the New First Lien Term
Loan nor the Tranche B Term Loan is considered traded on an established market, the issue price of the
New First Lien Term Loan generally will be its stated principal amount. If the Debtors determine that the
New First Lien Term Loan or the Tranche B Term Loan is traded on an established market, such
determination and the determination of issue price will be binding on a U.S. Holder unless such holder
discloses, on a timely-filed U.S. federal income tax return for the taxable year that includes the Effective
Date that such holder’s determination is different from Debtors’ determination, the reasons for such holder’s
different determination and, if applicable, how such holder determined the fair market value.

In the case of a taxable exchange, a U.S. Holder of an Allowed First Lien Claim will have a tax basis in the
New First Lien Term Loan received equal to its issue price and a tax basis in the New Equity Interests
received equal to their fair market value. The U.S. Holder’s holding period in such New First Lien Term
Loan and New Equity Interests received should begin on the day following the exchange date.

         (b)     Recapitalization Treatment—First Lien Claim that Constitutes a Security. If an Allowed
First Lien Claim constitutes a security for U.S. federal income tax purposes, the distribution to such U.S.
Holder will qualify for recapitalization treatment for U.S. federal income tax purposes. In such event, a
U.S. Holder of an Allowed First Lien Claim generally will not recognize loss, but will recognize gain
(computed as described above in the case of a fully taxable exchange) to the extent of any “boot” received,
i.e., any consideration other than stock or “securities” of Fusion Connect. In the present case, the boot
received would equal the sum of the amount of any cash received and the amount taken into account with
respect to the New First Lien Term Loan in determining the amount of gain or loss in a fully taxable
exchange (assuming, for purposes of the discussion herein as indicated above, that the New First Lien Term
Loan does not constitute a “security”). See B.1.a. — “Consequences to Holders of First Lien Claims –
Fully Taxable Transaction”. In addition, even within an otherwise tax-free exchange, a U.S. Holder will
have interest income to the extent of any exchange consideration allocable to accrued but unpaid interest
(or OID) not previously included in income. See B.4 — “Distributions in Discharge of Accrued Interest,”
below.

In a recapitalization exchange, a U.S. Holder’s aggregate tax basis in the New Equity Interests will equal
such holder’s aggregate adjusted tax basis in its Allowed First Lien Claim exchanged therefor, increased
by any gain or interest income recognized in the exchange and decreased by the amount of boot received
in the exchange and any deductions claimed in respect of any previously accrued but unpaid interest or
OID. The U.S. Holder’s holding period in the New Equity Interests will include its holding period in the
Allowed First Lien Claim exchanged therefor, except to the extent of any exchange consideration received
in respect of accrued but unpaid interest (and possibly OID, depending on whether the increase in a holder’s
adjusted basis for recently accrued OID retains its short-term character for holding period purposes).

The U.S. Holder will have a tax basis in the New First Lien Term Loan received equal to the amount taken
into account as boot with respect to the New First Lien Term Loan. The holding period in the New First
Lien Term Loan received generally will begin on the day following the Effective Date.

                    2.        Consequences to Holders of Second Lien Claims

Pursuant to the Second Amended Plan, holders of Allowed Second Lien Claims generally will receive
Special Warrants (which, as indicated above, are generally treated like New Equity Interests for U.S. federal


                                                     96
WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57                Main Document
                                              Pg 109 of 565


income tax purposes and are thus referred to as New Equity Interests in this section B) in complete and
final satisfaction of their Second Lien Claims. A holder of an Allowed Second Lien Claim that would
otherwise receive Special Warrants may, in lieu thereof, receive an alternative distribution; the following
discussion assumes that each holder of Allowed Second Lien Claims receives Special Warrants.

As mentioned above, the U.S. federal income tax consequences to a U.S. Holder of an Allowed Second
Lien Claim depends, in part, on whether such Claim constitutes a “security” of Fusion Connect for U.S.
federal income tax purposes. If an Allowed Second Lien Claim does not constitute a security, the receipt
of consideration in satisfaction of such Claim will be a fully taxable transaction. Alternatively, if the Claim
is a security of Fusion Connect, the transaction will qualify for “recapitalization” treatment for U.S. federal
income tax purposes. Each of these alternatives is discussed below.

        (a) Fully Taxable Transaction—Second Lien Claim that Does Not Constitute a Security. A U.S.
Holder of an Allowed Second Lien Claim that does not constitute a security for U.S. federal income tax
purposes should recognize gain or loss in an amount equal to the difference, if any, between (i) the fair
market value of any New Equity Interests received (other than any consideration received in respect of a
Claim for accrued but unpaid interest and possibly accrued OID) and (ii) the holder’s adjusted tax basis in
the Claim exchanged (other than any tax basis attributable to accrued but unpaid interest and possibly
accrued OID). See B.5 — “Character of Gain or Loss,” below. In addition, a U.S. Holder of an Allowed
Second Lien Claim will have ordinary interest income to the extent of any exchange consideration allocable
to accrued but unpaid interest (or accrued OID) not previously included in income. See B.4 —
“Distributions in Discharge of Accrued Interest,” below.

In the case of a taxable exchange, a U.S. Holder of Allowed Second Lien Claims will have a tax basis in
the New Equity Interests received equal to their fair market value. A U.S. Holder’s holding period in any
such New Equity Interests generally will begin the day following the exchange date.

        (b)     Recapitalization Treatment—Second Lien Claim Constitutes a Security. If an Allowed
Second Lien Claim constitutes a security for U.S. federal income tax purposes, the distribution to such U.S.
Holder will qualify for recapitalization treatment for U.S. federal income tax purposes. In such event, a
U.S. Holder of an Allowed Second Lien Claim generally will not recognize loss, and generally will not
recognize gain. Even within an otherwise tax-free exchange, a U.S. Holder will have interest income to the
extent of any exchange consideration allocable to accrued but unpaid interest (or OID) not previously
included in income. See B.4 — “Distributions in Discharge of Accrued Interest,” below.

In a recapitalization exchange, a U.S. Holder’s aggregate tax basis in the New Equity Interests generally
will equal such holder’s aggregate adjusted tax basis in its Allowed Second Lien Claim exchanged therefor,
increased by any gain or interest income recognized in the exchange and decreased by any deductions
claimed in respect of any previously accrued but unpaid interest or OID. The U.S. Holder’s holding period
in the New Equity Interests will include its holding period in the Allowed Second Lien Claim exchanged
therefor, except to the extent of any exchange consideration received in respect of accrued but unpaid
interest (and possibly OID, depending on whether the increase in a holder’s adjusted basis for recently
accrued OID retains its short-term character for holding period purposes).

                    3.        Consequences to Holders of General Unsecured Claims

Pursuant to the Second Amended Plan, holders of Allowed General Unsecured Claims will receive
Litigation Trust Interests in complete and final satisfaction of their General Unsecured Claims.

As discussed below (see Section C, “Tax Treatment of Litigation Trust and Holders of Litigation Trust
Interests”), the Litigation Trust has been structured to qualify as a “grantor trust” for U.S. federal income


                                                      97
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456    Filed 10/07/19 Entered 10/07/19 15:38:57                  Main Document
                                            Pg 110 of 565


tax purposes. Accordingly, each holder of an Allowed General Unsecured Claim receiving a Litigation
Trust Interest is intended to be treated for U.S. federal income tax purposes as directly receiving, and as a
direct owner of, an undivided interest in the Litigation Trust Assets (consistent with its economic rights in
the trust). Accordingly, the following discussion assumes such treatment. However, due to the Debtors’
retained interest in the Litigation Trust Assets (other than the Litigation Trust First Lien Lender Causes of
Action), it is possible that the Debtors could continue to be viewed for U.S. federal income tax purposes as
the owners of such assets, with an obligation to make contingent payments to the Litigation Trust. Each
holder of a General Unsecured Claim is urged to consult its tax advisor regarding the U.S. federal income
tax treatment of the Litigation Trust. Pursuant to the Second Amended Plan, the Litigation Trust Oversight
Committee will determine the fair market value of the non-cash assets transferred to the Liquidating Trust,
and all parties to the Liquidating Trust (including holders of Allowed General Unsecured Claims receiving
Liquidating Trust Interests) must consistently use such valuation for all U.S. federal income tax purposes.

It is possible that the fair market value of the undivided interest received in the Litigation Trust First Lien
Lender Causes of Action may be treated as ordinary income to U.S. Holders of Allowed General Unsecured
Claims as some form of payment to accept or not to object to the Second Amended Plan, rather than as
additional consideration in respect of their Claim for purposes of determining gain or loss. The following
discussion assumes such amounts are treated as additional consideration in respect of their Claims, but each
holder should consult its own tax advisor.

Accordingly, a U.S. Holder of an Allowed General Unsecured Claim generally should recognize gain or
loss in an amount equal to the difference, if any, between (i) the amount of any cash and the fair market
value of the undivided interest in the Litigation Trust Causes of Action deemed received by the holder for
U.S. federal income tax purposes (other than any consideration received in respect of a Claim for accrued
but unpaid interest and possibly accrued OID), and (ii) the holder’s adjusted tax basis in the Claim
exchanged (other than any tax basis attributable to accrued but unpaid interest and possibly accrued OID).
See B.5 — “Character of Gain or Loss,” below. In addition, a U.S. Holder of an Allowed General
Unsecured Claim will have ordinary interest income to the extent of any exchange consideration allocable
to accrued but unpaid interest (or accrued OID) not previously included in income. See B.4 —
“Distributions in Discharge of Accrued Interest,” below.

After the Effective Date, a holder’s share of any recoveries received on the assets of the Litigation Trust
(other than as a result of the subsequent disallowance of Disputed Claims) should not be included, for
federal income tax purposes, in the holder’s amount realized in respect of its Allowed General Unsecured
Claim but should be separately treated as amounts realized in respect of such holder's ownership interest in
the underlying assets of the Liquidating Trust.

In the event of the subsequent disallowance of any Disputed General Unsecured Claim, it is possible that a
holder of a previously Allowed General Unsecured Claim may receive additional distributions in respect
of its Claim. Accordingly, it is possible that the recognition of any loss realized by a holder with respect to
an Allowed General Unsecured Claim may be deferred until all General Unsecured Claims are Allowed or
Disallowed. Alternatively, it is possible that a holder will have additional gain in respect of any additional
distributions received due to the disallowance of a Disputed General Unsecured Claim. See also Section
C, “Tax Treatment of Litigation Trust and Holders of Litigation Trust Interests,” below.

A U.S. Holder of General Unsecured Claims will have an aggregate tax basis in its undivided interest in the
Litigation Trust Assets equal to the fair market value of such interest increased by its share of the Debtors’
liabilities to which such assets remain subject upon transfer to the Litigation Trust. A U.S. Holder’s holding
period in any such Litigation Trust Assets generally will begin the day following the exchange date.




                                                      98
WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456    Filed 10/07/19 Entered 10/07/19 15:38:57               Main Document
                                               Pg 111 of 565



                    4.        Distributions in Discharge of Accrued Interest

In general, to the extent that any exchange consideration received pursuant to the Second Amended Plan
by a U.S. Holder of an Allowed First Lien Claim, Second Lien Claim or General Unsecured Claim (whether
stock, notes or cash) is received in satisfaction of interest accrued during its holding period, such amount
will be taxable to the holder as interest income (if not previously included in the holder’s gross income).
Conversely, a U.S. Holder may be entitled to recognize a deductible loss to the extent any accrued interest
or amortized OID was previously included in its gross income and is not paid in full. However, the IRS
has privately ruled that a holder of a “security” of a corporate issuer, in an otherwise tax-free exchange,
could not claim a current deduction with respect to any unpaid OID. Accordingly, it is also unclear whether,
by analogy, a U.S. Holder of an Allowed First Lien Claim or an Allowed Second Lien Claim that does not
constitute a “security” would be required to recognize a capital loss, rather than an ordinary loss, with
respect to previously included OID that is not paid in full.

The Second Amended Plan provides that, except as otherwise required by law (as reasonably determined
by the Debtors), consideration received in respect of an Allowed Claim is allocable first to the principal
amount of the Allowed Claim (as determined for U.S. federal income tax purposes) and then, to the extent
of any excess, to the remaining portion of the Allowed Claim. See Section 6.17 of the Second Amended
Plan. There is no assurance that the IRS will respect such allocation for U.S. federal income tax purposes.
Holders of Allowed Claims are urged to consult their own tax advisor regarding the allocation of
consideration received under the Second Amended Plan, as well as the deductibility of accrued but unpaid
interest (including OID) and the character of any loss claimed with respect to accrued but unpaid interest
(including OID) previously included in gross income for U.S. federal income tax purposes.

                    5.        Character of Gain or Loss

Where gain or loss is recognized by a U.S. Holder, the character of such gain or loss as long-term or short-
term capital gain or loss or as ordinary income or loss will be determined by a number of factors, including
the tax status of the holder, whether the Claim constitutes a capital asset in the hands of the holder and how
long it has been held, whether the Claim was acquired at a market discount, and whether and to what extent
the holder previously claimed a bad debt deduction.

A U.S. Holder that purchased its Claims from a prior holder at a “market discount” (relative to the principal
amount of the Claims at the time of acquisition) may be subject to the market discount rules of the Tax
Code. In general, a debt instrument is considered to have been acquired with “market discount” if the U.S.
Holder’s adjusted tax basis in the debt instrument is less than (i) its stated principal amount or (ii) in the
case of a debt instrument issued with OID, its adjusted issue price, in each case, by at least a de minimis
amount. Under these rules, any gain recognized on the exchange of Claims (other than in respect of a Claim
for accrued but unpaid interest) generally will be treated as ordinary income to the extent of the market
discount accrued (on a straight line basis or, at the election of the holder, on a constant yield basis) during
the U.S. Holder’s period of ownership, unless the holder elected to include the market discount in income
as it accrued. If a U.S. Holder of a Claim did not elect to include market discount in income as it accrued
and, thus, under the market discount rules, was required to defer all or a portion of any deductions for
interest on debt incurred or maintained to purchase or carry its Claim, such deferred amounts would become
deductible at the time of the exchange but, if the exchange qualifies for recapitalization treatment, only up
to the amount of gain that the holder recognizes in the exchange.

In the case of an exchange of an Allowed First Lien Claim or Allowed Second Lien Claim that qualifies for
recapitalization treatment, the Tax Code indicates that any accrued market discount in respect of the Claim
should not be currently includible in income under Treasury Regulations to be issued. Any accrued market
discount that is not included in income should carry over to any nonrecognition property received in


                                                      99
WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456    Filed 10/07/19 Entered 10/07/19 15:38:57                Main Document
                                               Pg 112 of 565


exchange therefor, i.e., to the New Equity Interests received. Any gain recognized by a U.S. Holder upon
a subsequent disposition of such New Equity Interests should then be treated as ordinary income to the
extent of any accrued market discount not previously included in income. To date, specific Treasury
Regulations implementing this rule have not been issued.

                    6.        Disposition of New Equity Interests

Unless a nonrecognition provision applies and subject to the discussion in the preceding section with respect
to market discount and the discussion below, U.S. Holders generally will recognize capital gain or loss
upon the sale or exchange of the New Equity Interests in an amount equal to the difference between (i) the
holder’s adjusted tax basis in the New Equity Interests held and (ii) the sum of the cash and the fair market
value of any property received from such disposition. Any such gain or loss generally should be long-term
capital gain or loss if the U.S. Holder’s holding period for its New Equity Interests is more than one year at
that time. A reduced tax rate on long-term capital gain may apply to non-corporate U.S. Holders. The
deductibility of capital loss is subject to significant limitations.

In general, any gain recognized by a U.S. Holder upon a disposition of the New Equity Interests (or any
stock or property received for such interests in a later tax-free exchange) received in exchange for an
Allowed First Lien Claim or an Allowed Second Lien Claim will be treated as ordinary income for U.S.
federal income tax purposes to the extent of (i) any ordinary loss deductions previously claimed as a result
of the write-down of the Claim, decreased by any income (other than interest income) recognized by the
holder upon exchange of the Claim, and (ii) with respect to a cash-basis holder and in addition to clause (i)
above, any amounts which would have been included in its gross income if the holder’s Claim had been
satisfied in full but which was not included by reason of the cash method of accounting.

                    7.        Ownership and Disposition of the New First Lien Term Loan

Based on the preliminary terms of the New First Lien Term Loan that mandate its repayment, in whole or
in part, upon the occurrence of certain contingencies (including excess cash flow), it is possible that, the
New First Lien Term Loan may be treated as a “contingent payment debt instrument” under the applicable
Treasury Regulations (unless such contingencies would be treated as “remote” thereunder). The terms of
the New First Lien Term Loan remain under negotiation and thus are subject to change. Ultimately, the
Debtors’ determination of whether the New First Lien Term Loan is a contingent payment debt instrument
will be made based on the facts and circumstances as of the Effective Date. However, the Debtors’
treatment of the New First Lien Term Loan is not binding on the IRS. Accordingly, holders are urged to
consult their tax advisors regarding the application of the contingent payment debt regulations to the New
First Lien Term Loan.

         The taxation of contingent payment debt instruments is complex. In general, the rules applicable
to such instruments could require a U.S. Holder to accrue ordinary income at a higher rate than the stated
interest rate and the rate that would otherwise be imputed under the OID rules, and to treat as ordinary
income (rather than capital gain) any gain recognized on the taxable disposition of the New First Lien Term
Loan.

         (a)      Not Treated as a Contingent Payment Debt Instrument. If the New First Lien Term Loan
is not treated as a contingent payment debt instrument, it will be subject to the OID provisions of the Tax
Code. The amount of OID will be equal to the excess of the “stated redemption price at maturity” of such
loan over its “issue price” (as defined above, see B.1.a. — Consequences to Holders of First Lien Claims –
Fully Taxable Transaction”). For this purpose, the general rule is that the stated redemption price at
maturity of a debt instrument is the sum of all payments provided by the debt instrument other than
payments of “qualified stated interest”. Stated interest is “qualified stated interest” if it is payable in cash


                                                     100
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57                  Main Document
                                           Pg 113 of 565


at least annually. All of the stated interest on the New First Lien Term Loan is payable in cash at a constant
rate, and so all the interest is expected to be treated as qualified stated interest. Such portion will be
includible in the U.S. Holder’s income in accordance with the holder’s regular method of accounting for
U.S. federal income tax purposes. Accordingly, the New First Lien Term Loan will be considered to be
issued with OID for U.S. federal income tax purposes only if the principal amount of the New First Lien
Term Loan exceeds the issue price by at least a de minimis amount.

A U.S. Holder will be required to include any OID in income for U.S. federal income tax purposes as it
accrues, regardless of its regular method of accounting, in accordance with a constant-yield method, before
the receipt of cash payments attributable to this income. Under this method, a U.S. Holder generally will
be required to include in income increasingly greater amounts of OID in successive accrual periods.

Upon the sale or other taxable disposition of a New First Lien Term Loan, a U.S. Holder will recognize
taxable gain or loss equal to the difference between the amount realized on the sale or other taxable
disposition and its adjusted tax basis in the New First Lien Term Loan. A U.S. Holder’s adjusted tax basis
in a New First Lien Term Loan generally will equal its initial tax basis in the New First Lien Term Loan,
increased by any OID previously included in income with respect to the New First Lien Term Loan and
decreased by payments on the New First Lien Term Loan other than payments of qualified stated interest.
For these purposes, the amount realized does not include any amount attributable to accrued interest, which
will be taxable as interest if not previously included in income. Gain or loss recognized on the sale or other
taxable disposition of a New First Lien Term Loan will generally be capital gain or loss and will be long-
term capital gain or loss if, at the time of sale or other taxable disposition, the New First Lien Term Loan
is treated as held for more than one (1) year.

        (b)      Treatment as a Contingent Payment Debt Instrument. If the New First Lien Term Loan is
treated as a contingent payment debt instrument, the Debtors must construct a “projected payment
schedule.” U.S. Holders of contingent payment debt instruments generally must recognize all interest
income with respect to such loans (including stated interest) on a constant yield basis (regardless of their
method of accounting) at a rate determined based on the “issue price” and the projected payment schedule
for such loans, subject to certain adjustments if actual contingent payments differ from those projected. In
the present case, the projected payment schedule generally will be determined by including each
noncontingent payment and the “expected value” as of the issue date of each projected contingent payment
of principal and interest on the contingent payment debt instrument, adjusted as necessary so that the
projected payments discounted at the “comparable yield” (which is the greater of the yield at which the
Debtors would issue a fixed-rate debt instrument with terms and conditions similar to those of the
contingent payment debt instrument, as applicable, or the applicable federal rate) equals the issue price for
such debt.

The amount of interest that is treated as accruing during an accrual period on a contingent payment debt
instrument is the product of the “comparable yield” and debt’s adjusted issue price at the beginning of such
accrual period. The “adjusted issue price” of a contingent payment debt instrument is the issue price of
such debt increased by interest previously accrued on such instrument (determined without adjustments for
differences between the projected payments and the actual payments on such debt), and decreased by the
amount of any noncontingent payments and the projected amount of any contingent payments previously
made on such debt.

Except for adjustments made for differences between actual and projected payments, the amount of interest
included in income by a U.S. Holder of a contingent payment debt instrument is the portion that accrues
while such holder holds such instrument (with the amount attributable to each accrual period allocated
ratably to each day in such period). If actual payments differ from projected payments, then the U.S. Holder
generally would be required in any given taxable year either to include additional interest in gross income


                                                     101
WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456    Filed 10/07/19 Entered 10/07/19 15:38:57             Main Document
                                               Pg 114 of 565


(i.e., where the actual payments exceed projected payments in such taxable year) or to reduce the amount
of interest income otherwise accounted for on the contingent payment debt instrument (i.e., where the actual
payments are less than the projected payments in such taxable year), as applicable. If the negative
adjustment exceeds the interest for the taxable year that otherwise would have been accounted for on the
contingent payment debt instrument, the excess would be treated as ordinary loss. However, the amount
treated as an ordinary loss in any taxable year is limited to the amount by which the U.S. Holder’s total
interest inclusions on such contingent payment debt instrument exceed the total amount of the net negative
adjustments the U.S. Holder treated as ordinary loss on such contingent payment debt instrument in prior
taxable years. Any remaining excess would be a negative adjustment carryforward and may be used to
offset interest income in succeeding years. If a contingent term loan is sold, exchanged or retired, any
negative adjustment carryforward from the prior year would reduce the U.S. Holder’s amount realized on
the sale, exchange or retirement.

The yield, timing and amounts set forth on the projected payment schedules are for U.S. federal income tax
purposes only and are not assurances by the Debtors with respect to any aspect of the contingent payment
debt instrument. After issuance, any holder of a contingent payment debt instrument may obtain the
comparable yield, the projected payment schedule, the issue price, the amount of OID, and the issue date
for the contingent payment debt instrument by writing to the Debtors. For U.S. federal income tax purposes,
a U.S. Holder generally must use the Debtors’ comparable yield and projected payment schedule for a
contingent payment debt instrument in determining the amount and accrual of OID on such loan unless
such schedule is unreasonable and the U.S. Holder explicitly discloses in accordance with the contingent
payment debt regulations its differing position and why the Debtors’ schedule is unreasonable. The IRS
generally is bound by the Debtors’ comparable yield and projected payment schedule unless either is
unreasonable.

Upon a disposition of the New First Lien Term Loans and unless a non-recognition provision applies, a
U.S. Holder generally will recognize gain or loss upon the sale, redemption (including at maturity) or other
taxable disposition of a contingent payment debt instrument equal to the difference, if any, between such
holder’s adjusted tax basis in such debt and the amount realized on the sale, redemption or other disposition
(with any negative adjustment carryforward from the prior year reducing such holder’s amount realized).
Any gain recognized on the sale, redemption or other taxable disposition of a contingent payment debt
instrument generally will be ordinary interest income, and any loss will be an ordinary loss to the extent a
U.S. Holder’s total interest inclusions on such debt exceed the total amount of ordinary loss such holder
took into account through the date of the disposition with respect to differences between actual payments
and projected payments (and any additional loss generally will be a capital loss).

For purposes of computing gain or loss, a U.S. Holder’s adjusted tax basis in a contingent payment debt
instrument generally will equal the holder’s initial tax basis in such debt, increased by the amount of any
interest previously accrued on such debt (determined without adjustments for differences between the
projected payment schedule and the actual payments on such debt) up through the date of the sale,
redemption or taxable disposition, and decreased by the amount of any noncontingent payments and the
projected amount of any contingent payments previously made on such debt.

Each holder of a New First Lien Term Loan is urged to consult its tax advisor regarding the application of
the OID rules, including the contingent payment debt rules, to the New First Lien Term Loan.

                    8.        Recent legislation

Pursuant to recent legislation, for taxable years beginning after December 31, 2017 (and for taxable years
beginning after 2018 in the case of OID), an accrual method taxpayer that reports revenues on an applicable
financial statement generally must recognize income for U.S. federal income tax purposes no later than the


                                                    102
WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456    Filed 10/07/19 Entered 10/07/19 15:38:57                Main Document
                                               Pg 115 of 565


taxable year in which such income is taken into account as revenue in the applicable financial statement. It
is unclear how this rule applies to U.S. Holders of debt instruments issued with OID or contingent payment
debt instruments. Accordingly, this rule could potentially require such a taxpayer to recognize income for
U.S. federal income tax purposes with respect to the New First Lien Term Loan prior to the time such
income would otherwise have been recognized. Each holder is urged to consult its tax advisor regarding
the possible application of the recent legislation to the New First Lien Term Loan.

          C.        Tax Treatment of Litigation Trust and Holders of Litigation Trust Interests

                    1.        Classification of a Liquidating Trust

The Litigation Trust is intended to qualify as a “liquidating trust” for U.S. federal income tax purposes. In
general, a liquidating trust is not a separate taxable entity but rather is treated for U.S. federal income tax
purposes as a “grantor” trust (i.e., a pass-through entity). The IRS, in Revenue Procedure 94-45, 1994-2
C.B. 684, set forth the general criteria for obtaining an IRS ruling as to the grantor trust status of a
liquidating trust under a chapter 11 plan. The Litigation Trust will be structured with the intention of
complying with such general criteria. In conformity with Revenue Procedure 94-45, all parties (including,
without limitation, the Debtors, the trustee of the Litigation Trust and holders of Allowed Claims that
receive a beneficial interest in the Litigation Trust) are required pursuant to the Second Amended Plan to
treat the transfer of assets to the Litigation Trust, except to the extent the Debtors retain an interest in the
Litigation Trust, as (1) a transfer of the assets (subject to any obligations relating to those assets) directly
to the holders of Allowed Claims that receive Litigation Trust Interests (other than to the extent any assets
are allocable to Disputed Claims), followed by (2) the transfer of the assets by such holders to the Litigation
Trust in exchange for Litigation Trust Interests. Accordingly, except in the event of contrary definitive
guidance, holders of Litigation Trust Interests will be treated, and required to report, for U.S. federal income
tax purposes as the grantors and direct owners of an undivided interest in their respective share of the
underlying assets of the Litigation Trust (other than such assets as are allocable to Disputed Claims).

Although the following discussion assumes that the Litigation Trust will be respected as a liquidating trust
for U.S. federal income tax purposes, no ruling is currently contemplated from the IRS concerning the tax
status of the Litigation Trust as a grantor trust. If the IRS were to successfully challenge such classification,
the U.S. federal income tax consequences to the trust and to U.S. Holders of Allowed Claims receiving
Litigation Trust Interests could vary from those discussed herein. Each holder of a General Unsecured
Claim is urged to consult its own tax advisor regarding the receipt and ownership of a Litigation Trust
Interest.

                    2.        General Tax Reporting of a Liquidating Trust and Holders of
                              Liquidating Trust Interests

All parties will be required to treat the Litigation Trust as a grantor trust for all applicable U.S. federal
income tax purposes of which holders of Allowed Claims who receive Litigation Trust Interests are the
owners and grantors. The trustee of the Litigation Trust will file tax returns treating the Litigation Trust as
a grantor trust pursuant to section 1.671-4(a) of the Treasury Regulations. The trustee also will annually
provide to each holder a separate statement regarding the receipts and expenditures of the Litigation Trust
as relevant for U.S. federal income tax purposes.

Accordingly, each holder of a Litigation Trust Interest will be treated for U.S. federal income tax purposes
as the direct owner of an undivided interest in the underlying assets of the Litigation Trust (other than any
assets allocable to Disputed Claims), consistent with its economic interests therein. As discussed above,
however, there is a risk that the Litigation Trust may be treated as owning a right to contingent payments
from the Debtors, rather than having actual ownership of the Litigation Trust Assets (other than the

                                                      103
WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57                 Main Document
                                              Pg 116 of 565


Litigation Trust First Lien Lender Causes of Action). See Section B.3, “Consequences to Holders of Certain
Claims – Consequences to Holders of General Unsecured Claims,” above.

All taxable income and loss of the Litigation Trust will be allocated among, and treated as directly earned
and incurred by, the holders of Litigation Trust Interests with respect to such holder’s interest in the assets
of the Litigation Trust (and not as income or loss with respect to its prior Claims), with the possible
exception of any taxable income and loss allocable to any assets allocable to, or retained on account of,
Disputed Claims. The character of any income and the character and ability to use any loss would depend
on the particular situation of the holder.

All parties will be required to report for U.S. federal income tax purposes consistent with the valuation of
the assets (and the amount of cash assets) transferred to the Litigation Trust as determined by the Litigation
Trust Oversight Committee (or its designee). The valuation will be made available, from time to time, as
relevant for tax reporting purposes.

The U.S. federal income tax obligations of a holder of Litigation Trust Interests will not be dependent on
the Litigation Trust distributing any cash or other proceeds. Thus, a holder may incur a U.S. federal income
tax liability with respect to its allocable share of Litigation Trust income even if the Litigation Trust does
not make a concurrent distribution to the holder. In general, other than in respect of cash retained on account
of Disputed Claims, a distribution of cash by the Litigation Trust will not be separately taxable to a holder
of Litigation Trust Interests since the holder will already be regarded for U.S. federal income tax purposes
as owning the underlying assets (and will have been taxed at the time the cash was earned or received by
the Litigation Trust). Holders of Allowed Claims are urged to consult their tax advisors regarding the
appropriate U.S. federal income tax treatment of any subsequent distributions of cash originally retained
by the Litigation Trust on account of Disputed Claims. See also “—3. Tax Reporting for Assets Allocable
to Disputed General Unsecured Claims,” below.

The trustee of the Litigation Trust will comply with all applicable governmental withholding requirements
(see section 6.19 of the Second Amended Plan).

                    3.        Tax Reporting for Assets Allocable to Disputed General Unsecured
                              Claims

Subject to definitive guidance from the IRS or a court of competent jurisdiction to the contrary (including
the receipt by the Litigation Trust Oversight Committee of an IRS private letter ruling if the Litigation Trust
Oversight Committee so requests, or the receipt of an adverse determination by the IRS upon audit if not
contested by the Litigation Trust Oversight Committee), the Litigation Trust Oversight Committee, with
the consent of the Requisite First Lien Lenders, which consent shall not be unreasonably withheld, (A) may
elect to treat any Litigation Trust Assets allocable to, or retained on account of, Disputed General Unsecured
Claims (herein referred to loosely as a reserve) as a “disputed ownership fund” governed by section 1.468B-
9 of the Treasury Regulations, if applicable, and (B) to the extent permitted by applicable law, will report
consistently for state and local income tax purposes.

Accordingly, if a “disputed ownership fund” election is made with respect to a Litigation Trust Assets
allocable to, or retained on account of, Disputed General Unsecured Claims, such reserve will be subject to
tax annually on a separate entity basis on any net income earned with respect to the Litigation Trust Assets
(including any gain recognized upon the disposition of such assets). All distributions from such reserve
(which distributions may be net of any expenses, including taxes, relating to the retention or disposition of
such assets) will be treated as received by holders in respect of their Claims as if distributed by the Debtors.
All parties (including, without limitation, the Debtors, the Litigation Trust and the holders of Litigation
Trust Interests) will be required to report for tax purposes consistently with the foregoing.


                                                     104
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456      Filed 10/07/19 Entered 10/07/19 15:38:57                  Main Document
                                              Pg 117 of 565


The reserve will be responsible for payment, out of the assets of the reserve, of any taxes imposed on the
reserve or its assets. In the event, and to the extent, any cash of the reserve is insufficient to pay the portion
of any such taxes attributable to the taxable income arising from the assets of the reserve (including any
income that may arise upon the distribution of the assets in such reserve), assets of the reserve may be sold
to pay such taxes.

          D.        Information Reporting and Withholding

Payments of interest (including accruals of OID) or dividends and any other reportable payments, possibly
including amounts received pursuant to the Second Amended Plan and payments of proceeds from the sale,
retirement or other disposition of the exchange consideration, may be subject to “backup withholding”
(currently at a rate of 24%) if a recipient of those payments fails to furnish to the payor certain identifying
information and, in some cases, a certification that the recipient is not subject to backup withholding.
Backup withholding is not an additional tax. Any amounts deducted and withheld generally should be
allowed as a credit against that recipient’s U.S. federal income tax, provided that appropriate proof is timely
provided under rules established by the IRS. Furthermore, certain penalties may be imposed by the IRS on
a recipient of payments who is required to supply information but who does not do so in the proper manner.
Backup withholding generally should not apply with respect to payments made to certain exempt recipients,
such as corporations and financial institutions. Information may also be required to be provided to the IRS
concerning payments, unless an exemption applies. A holder of a Claim is urged to consult its own tax
advisor regarding its qualification for exemption from backup withholding and information reporting and
the procedures for obtaining such an exemption.

As indicated above, the foregoing discussion of the U.S. federal income tax consequences of the Second
Amended Plan does not generally address the consequences to non-U.S. holders; accordingly, such holders
should consult their tax advisors with respect to the U.S. federal income tax consequences of the Second
Amended Plan, including owning Litigation Trust Interests.

The foregoing summary has been provided for informational purposes only and does not discuss all aspects
of U.S. federal income taxation that may be relevant to a particular holder of a Claim. All holders of
Claims are urged to consult their tax advisors concerning the federal, state, local, non-U.S., and other tax
consequences applicable under the Second Amended Plan.

                                               IX.
                              CERTAIN RISK FACTORS TO BE CONSIDERED

Prior to voting to accept or reject the Second Amended Plan, holders of Claims and Interests should read
and carefully consider the risk factors set forth below, in addition to the other information set forth in this
Disclosure Statement including any attachments, exhibits, or documents incorporated by reference.

THIS SECTION PROVIDES INFORMATION REGARDING POTENTIAL RISKS IN CONNECTION
WITH THE SECOND AMENDED PLAN. THE FACTORS BELOW SHOULD NOT BE REGARDED
AS THE ONLY RISKS ASSOCIATED WITH THE SECOND AMENDED PLAN OR ITS
IMPLEMENTATION. ADDITIONAL RISK FACTORS IDENTIFIED IN THE COMPANY’S PUBLIC
FILINGS WITH THE SEC MAY ALSO BE APPLICABLE TO THE MATTERS SET OUT HEREIN
AND SHOULD BE REVIEWED AND CONSIDERED IN CONJUNCTION WITH THIS DISCLOSURE
STATEMENT, TO THE EXTENT APPLICABLE. THE RISK FACTORS SET FORTH IN FUSION
CONNECT’S ANNUAL REPORT ON FORM 10-K FOR THE FISCAL YEAR ENDED DECEMBER
31, 2017 FILED WITH THE SEC ON MARCH 22, 2018, AS UPDATED BY THE QUARTERLY
REPORT ON FORM 10-Q FOR THE QUARTER ENDED MARCH 31, 2018 FILED WITH THE SEC
ON MAY 6, 2018, THE QUARTERLY REPORT ON FORM 10-Q FOR THE QUARTER ENDED JUNE


                                                      105
WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456    Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                               Pg 118 of 565


30, 2018 FILED WITH THE SEC ON AUGUST 14, 2018, AND THE QUARTERLY REPORT ON
FORM 10-Q FOR THE QUARTER ENDED SEPTEMBER 30, 2018 FILED WITH THE SEC ON
NOVEMBER 3, 2018 ARE HEREBY INCORPORATED BY REFERENCE. ANY CURRENT
REPORTS ON FORM 8-K (OTHER THAN INFORMATION FURNISHED PURSUANT TO ITEMS
2.02 OR 7.01 AND ANY RELATED EXHIBITS OF ANY FORM 8-K, UNLESS EXPRESSLY STATED
OTHERWISE THEREIN), QUARTERLY REPORTS ON FORM 10-Q OR ANNUAL REPORTS ON
FORM 10-K FILED BY FUSION CONNECT WITH THE SEC AFTER THE DATE OF THIS
DISCLOSURE STATEMENT MAY ALSO INCLUDE RISK FACTORS AND WILL BE CONSIDERED
A PART OF THIS DISCLOSURE STATEMENT FROM THE DATE OF THE FILING OF SUCH
DOCUMENTS. NEW FACTORS, RISKS AND UNCERTAINTIES EMERGE FROM TIME TO TIME
AND IT IS NOT POSSIBLE TO PREDICT ALL SUCH FACTORS, RISKS AND UNCERTAINTIES.

          A.        Certain Bankruptcy Law Considerations

                    1.        General

While the Debtors believe that the Chapter 11 Cases will be of short duration and will not be materially
disruptive to the Company’s business, the Debtors cannot be certain that this will be the case. Although
the Second Amended Plan is designed to minimize the length of the Chapter 11 Cases, it is impossible to
predict with certainty the amount of time that the Debtors may spend in bankruptcy or to assure parties in
interest that the Second Amended Plan will be confirmed. Even if confirmed on a timely basis, bankruptcy
proceedings to confirm the Second Amended Plan could have an adverse effect on the Company’s business.
Among other things, it is possible that bankruptcy proceedings could adversely affect the Company’s
relationships with its key vendors, suppliers, customers and employees. In addition, the bankruptcy
proceedings may divert some of the attention of the Debtors’ management away from business operations
and the Company will incur additional expenses.

                    2.        Risk of Non-Confirmation of Second Amended Plan

Although the Debtors believe that the Second Amended Plan will satisfy all requirements necessary for
confirmation by the Bankruptcy Court, there can be no assurance that the Bankruptcy Court will reach the
same conclusion or that modifications to the Second Amended Plan will not be required for confirmation
or that such modifications will not necessitate re-solicitation of votes. Moreover, the Debtors can make no
assurances that they will receive the requisite acceptances to confirm the Second Amended Plan, and even
if the Voting Classes voted in favor of the Second Amended Plan or the requirements for “cramdown” are
met with respect to any Class that rejected the Second Amended Plan, the Bankruptcy Court, which may
exercise substantial discretion as a court of equity, may choose not to confirm the Second Amended Plan.
If the Second Amended Plan is not confirmed, it is unclear what distributions (if any) holders of Claims or
Interests ultimately would receive with respect to their Claims or Interests in a subsequent plan of
reorganization.

                    3.        Risk of Failing to Satisfy Vote Requirement

In the event that the Debtors are unable to obtain sufficient votes from the Voting Classes, the Debtors may
seek to accomplish an alternative chapter 11 plan. There can be no assurance that the terms of any such
alternative chapter 11 plan would be similar or as favorable to holders of Allowed Claims as those proposed
in the Second Amended Plan.




                                                    106
WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456    Filed 10/07/19 Entered 10/07/19 15:38:57              Main Document
                                               Pg 119 of 565



                    4.        Releases, Injunctions, and Exculpations Provisions May Not Be
                              Approved

Section 10 of the Second Amended Plan provides for certain releases, injunctions, and exculpations, for
claims and Causes of Action that may otherwise be asserted against the Debtors, the Reorganized Debtors,
the Exculpated Parties, or the Released Parties, as applicable. The releases, injunctions, and exculpations
provided in the Second Amended Plan are subject to objection by parties in interest and may not be
approved. If the releases and exculpations are not approved, certain parties may not be considered Released
Parties or Exculpated Parties, and certain Released Parties or Exculpated Parties may withdraw their support
for the Second Amended Plan.

                    5.        Risk of Non-Consensual Confirmation

In the event that any impaired class of Claims or Interests does not accept or is deemed not to accept the
Second Amended Plan, the Bankruptcy Court may nevertheless confirm such Second Amended Plan at the
request of the Debtors if at least one impaired class has accepted the Second Amended Plan (with such
acceptance being determined without including the vote of any “insider” in such class), and as to each
impaired class that has not accepted the Second Amended Plan, the Bankruptcy Court determines that the
Second Amended Plan “does not discriminate unfairly” and is “fair and equitable” with respect to the
dissenting impaired classes. Should any Class vote to reject the Second Amended Plan, then these
requirements must be satisfied with respect to such rejecting Classes. The Debtors believe that the Second
Amended Plan satisfies these requirements.

                    6.        Risk of Non-Occurrence of Effective Date

There can be no assurance as to the timing of the Effective Date. If the conditions precedent to the Effective
Date set forth in the Second Amended Plan have not occurred or have not been waived as set forth in Section
9.3 of the Second Amended Plan, then the Confirmation Order may be vacated, in which event no
distributions will be made under the Second Amended Plan, the Debtors and all holders of Claims or
Interests will be restored to the status quo as of the day immediately preceding the Confirmation Date, and
the Debtors’ obligations with respect to Claims and Interests would remain unchanged.

                    7.        Risk of Termination of Restructuring Support Agreement

The Restructuring Support Agreement contains certain provisions that give the parties the ability to
terminate the Restructuring Support Agreement if various conditions are not satisfied. As noted above,
termination of the Restructuring Support Agreement could result in protracted Chapter 11 Cases, which
could significantly and detrimentally impact the Company’s relationships with regulators, government
agencies, vendors, suppliers, employees, and customers. If the Restructuring Support Agreement is
terminated, each vote or any consent given by any Consenting First Lien Lender (as defined in the
Restructuring Support Agreement) prior to such termination will be deemed null and void ab initio. If the
termination of the Restructuring Support Agreement takes place when Bankruptcy Court approval is
required for a Consenting First Lien Lender to change or withdraw its vote to accept the Second Amended
Plan, the Company has agreed to support and not oppose any such attempt to change or withdraw a vote.




                                                     107
WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456    Filed 10/07/19 Entered 10/07/19 15:38:57              Main Document
                                               Pg 120 of 565


Future termination of the Restructuring Support Agreement is an “Event of Default” under the DIP Facility.
If the Debtors lose access to the DIP Facility, the Debtors may be forced to liquidate.

                    8.        Risk Related to Parties in Interest Objecting to Debtors’ Classification
                              of Claims and Interests

Bankruptcy Code Section 1122 provides that a plan may place a claim or an interest in a particular class
only if such claim or interest is substantially similar to the other claims or interests in such class. The
Debtors believe that the classification of Claims and Interests under the Second Amended Plan complies
with the requirements set forth in the Bankruptcy Code. However, there can be no assurance that a party
in interest will not object or that the Bankruptcy Court will approve the classifications.

                    9.        Risk Related to Possible Objections to Second Amended Plan

There is a risk that certain parties could oppose and object to the Second Amended Plan in the Bankruptcy
Court either in its entirety or to specific provisions thereof. While the Debtors believe that the Second
Amended Plan complies with all relevant Bankruptcy Code provisions, there can be no guarantee that a
party in interest will not file an objection to the Second Amended Plan or that the Bankruptcy Court will
not sustain such an objection.

                    10.       Conversion to Chapter 7 Case

If no plan of reorganization is confirmed, or if the Bankruptcy Court otherwise finds that it would be in the
best interest of holders of Claims and Interests, the Chapter 11 Cases may be converted to cases under
chapter 7 of the Bankruptcy Code, pursuant to which a trustee would be appointed or elected to liquidate
the Debtors’ assets for distribution in accordance with the priorities established by the Bankruptcy Code.
See Article XIII.C hereof, as well as the Liquidation Analysis attached hereto as Exhibit D, for a discussion
of the effects that a chapter 7 liquidation would have on the recoveries of holders of Claims and Interests.

          B.        Additional Factors Affecting Value of Reorganized Debtors

                    1.        Claims Could Be More than Projected

There can be no assurance that the estimated Allowed amount of Claims in certain Classes will not be
significantly more than projected, which, in turn, could cause the value of distributions to be reduced
substantially. Inevitably, some assumptions will not materialize, and unanticipated events and
circumstances may affect the ultimate results. Therefore, the actual amount of Allowed Claims may vary
from the Debtors’ projections and feasibility analysis, and the variation may be material.

                    2.        Projections and Other Forward-Looking Statements Are Not Assured,
                              and Actual Results May Vary

Certain of the information contained in this Disclosure Statement is, by nature, forward-looking, and
contains (i) estimates and assumptions that might ultimately prove to be incorrect and (ii) projections which
may be materially different from actual future experiences. There are uncertainties associated with any
projections and estimates, and they should not be considered assurances or guarantees of the amount of
funds or the amount of Claims in the various Classes that might be allowed. The future results of the
Reorganized Debtors are dependent upon various factors, many of which are beyond the control or
knowledge of the Debtors, and consequently are inherently difficult to project. The Reorganized Debtors’
actual future results may differ materially (positively or negatively) from the financial projections and as a


                                                     108
WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456    Filed 10/07/19 Entered 10/07/19 15:38:57               Main Document
                                               Pg 121 of 565


result, the actual total enterprise value of the Reorganized Debtors may be significantly higher or lower
than the estimated range herein.

          C.        Risks Relating to Debtors’ Business and Financial Condition

                    1.        Risks Associated with Debtors’ Business and Industry

The Debtors’ business is subject to extensive regulation by federal, state and local governmental and
regulatory authorities. Further, in recent years the policies, laws, rules and regulations applicable to the
Debtors’ business have been rapidly evolving. Such changes, as well as the actual or alleged failure to
comply with applicable federal, state, and local laws and regulations may have an adverse consequence on
the Company or its business, in addition to the following factors, risks or uncertainties that may affect the
Company or its business:

         Limitations, restrictions or complete bans on the Debtors’ business or various segments of the
          business;

         Damage to the Debtors’ reputation;

         Scrutiny of the industry by, and potential enforcement actions by, federal and state authorities;

         The substantial resources (including senior management time and attention) the Company devotes
          to, and the significant compliance costs the Company incurs in connection with, regulatory
          compliance and regulatory examinations and inquiries, and any redress, fines, penalties or similar
          payments made in connection with resolving such matters;

         Potential costs and uncertainties, including the effect on future revenues, associated with and
          arising from litigation, regulatory investigations, enforcements and other legal proceedings, and
          uncertainties relating to the reaction of key counterparties to the announcement of any such matters;

         Risks related to a significant amount of senior management turnover and employee reductions;

         Risks related to the substantial level of indebtedness, including ability to comply with covenants
          contained in debt agreements or obtain any necessary waivers or amendments, generate sufficient
          cash to service such indebtedness and refinance such indebtedness on favorable terms, if at all, as
          well as the ability to incur substantially more debt;

         The success of the business strategy in returning to sustained profitability;

         Risks and potential costs associated with technology and cybersecurity, including: the risks of
          technology failures and of cyber-attacks against the Company or its vendors; the Company’s ability
          to adequately respond to actual or attempted cyber-attacks; and the Company’s ability to implement
          adequate internal security measures and protect confidential customer information;

         Risks and potential costs associated with the implementation of new or more current technology,
          the use of vendors, or the transfer of the Company’s servers or other infrastructure to new data
          center facilities;

         Risks related to the Company’s reliance upon proprietary rights in the Company’s technology,
          systems, and business processes, including the potential risk that the compromise of such rights



                                                      109
WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456    Filed 10/07/19 Entered 10/07/19 15:38:57              Main Document
                                               Pg 122 of 565


          could impact the Company’s ability to compete or to achieve its projected business and financial
          results;

         Risks related to the Company’s deferred tax asset, risk of an “ownership change,” including
          uncertainties as to the Company’s ability to preserve the tax assets through and after a bankruptcy
          filing;

         The effects of competition on existing and potential future business, including the impact of
          competitors with greater financial resources and broader scopes of operation;

         The ability to comply with evolving and complex accounting rules, many of which involve
          significant judgment and assumptions;

         The ability to implement and maintain effective internal controls over financial reporting and
          disclosure controls and procedures;

         Increased taxation and / or government regulations of the cloud communications industry;

         Administrative fines and financial penalties;

         The adoption of new regulations, in addition to the potential that existing laws and regulations may
          be applied to telecommunications, cloud, VoIP, and/or internet service providers, which could
          hinder the Company’s growth

         Litigation, including class action lawsuits; and

         Civil and criminal liability.

                    2.        Downgrade in the Company’s Credit Ratings

Standard & Poor’s and Moody’s rate Fusion Connect’s debt securities. Certain of these ratings have been
downgraded in the past, and any of these ratings may be downgraded in the future. Any such downgrade
could adversely affect the Company, its financial condition, or results of operations.

                    3.        DIP Facility

The DIP Facility is intended to provide liquidity to the Debtors during the pendency of the Chapter 11
Cases. If the Chapter 11 Cases take longer than expected to conclude, the Debtors may exhaust or lose
access to their financing. There is no assurance that the Debtors will be able to obtain additional financing
from the Debtors’ existing lenders or otherwise. In either such case, the liquidity necessary for the orderly
functioning of the Debtors’ business may be materially impaired.

                    4.        Post-Effective Date Indebtedness

Following the Effective Date, in the Reorganization Transaction only, the Reorganized Debtors expect to
have outstanding funded debt of up to approximately $400 million. The Reorganized Debtors’ ability to
service their debt obligations will depend on, among other things, the Debtors’ compliance with affirmative
and negative covenants, the Debtors’ future operating performance, which depends partly on economic,
financial, competitive, and other factors beyond the Reorganized Debtors’ control. The Reorganized
Debtors may not be able to generate sufficient cash from operations to meet their debt service obligations
as well as fund necessary capital expenditures. In addition, if the Reorganized Debtors need to refinance


                                                      110
WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456    Filed 10/07/19 Entered 10/07/19 15:38:57                Main Document
                                               Pg 123 of 565


their debt, obtain additional financing, or sell assets or equity, they may not be able to do so on commercially
reasonable terms, if at all.

          D.        Factors Relating to Securities to be Issued Under Second Amended Plan,
                    Generally

                    1.        Market for Securities

There is currently no market for the New Equity Interests or the Special Warrants, and there can be no
assurance as to the development or liquidity of any market for any such securities. The Reorganized Debtors
are under no obligation to list any securities on any national securities exchange. Therefore, there can be
no assurance that any of the foregoing securities will be tradable or liquid at any time after the Effective
Date. If a trading market does not develop or is not maintained, holders of the foregoing securities may
experience difficulty in reselling such securities or may be unable to sell them at all. Even if such a market
were to exist, such securities could trade at prices higher or lower than the estimated value set forth in this
Disclosure Statement depending upon many factors including, without limitation, prevailing interest rates,
markets for similar securities, industry conditions, and the performance of, and investor expectations for,
the Reorganized Debtors.

                    2.        Potential Dilution

The ownership percentage represented by the New Equity Interests distributed on the Effective Date under
the Second Amended Plan will be subject to dilution from the conversion of any options, warrants,
convertible securities, exercisable securities, or other securities that may be issued post-emergence,
including the Special Warrants or any securities issued under the Management Incentive Plan.

In the future, similar to all companies, additional equity financings or other share issuances by any of the
Reorganized Debtors could adversely affect the value of the New Equity Interests and/or the Special
Warrants. The amount and dilutive effect of any of the foregoing could be material.

                    3.        Risks Related to the Litigation Trust

There is no guarantee that the Litigation Trust Oversight Committee will choose to prosecute any of the
Litigation Trust Causes of Action. Furthermore, to the extent the Litigation Trust Oversight Committee
determines to prosecute a potential Litigation Trust Cause of Action, there is no guarantee as to the success
of the Litigation Trust Oversight Board in pursuing the Litigation Trust Causes of Action. The success of
the Litigation Trust Oversight Board in pursuing any Litigation Trust Cause of Action, as well as the
expenses incurred in investigating and prosecuting the Litigation Trust Causes of Action, may materially
affect the recoveries for the beneficiaries of the Litigation Trust Causes of Action.

          E.        Risk Related to Obtaining Exit Financing

During the course of these Chapter 11 Cases, the Debtors will solicit commitments to provide exit financing
to refinance the DIP Facility. However, there is no assurance that such commitments will be obtained,
which will hinder the Debtors’ ability to consummate the Reorganization Transaction.

          F.        Risks Related to Investment in New Equity Interests




                                                      111
WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456    Filed 10/07/19 Entered 10/07/19 15:38:57                Main Document
                                               Pg 124 of 565



                    1.        Significant Holders

Pursuant to the Second Amended Plan, certain holders of First Lien Claims may acquire a significant
ownership interest in the New Equity Interests. If such holders of New Equity Interests were to act as a
group, such holders would be in a position to control all actions requiring stockholder approval, including
the election of directors, without the approval of other stockholders. This concentration of ownership could
also facilitate or hinder a negotiated change of control of the Reorganized Debtors and, consequently, have
an impact upon the value of the New Equity Interests. In addition, the SEC has special considerations in
connection with its foreign ownership rules with respect to “groups.”

                    2.        New Equity Interests Subordinated to Reorganized Debtors’
                              Indebtedness

In any subsequent liquidation, dissolution, or winding up of the Reorganized Debtors, the New Equity
Interests will rank below all debt claims against the Reorganized Debtors. As a result, holders of the New
Equity Interests will not be entitled to receive any payment or other distribution of assets upon the
liquidation, dissolution, or winding up of the Reorganized Debtors until after all the Reorganized Debtors’
obligations to its debt holders have been satisfied.

                    3.        Implied Valuation of New Equity Interests Not Intended to Represent
                              Trading Value of New Equity Interests

The valuation of the Reorganized Debtors may not represent the trading value of the New Equity Interests
in public or private markets and is subject to additional uncertainties and contingencies, all of which are
difficult to predict. Actual market prices of such securities at issuance will depend upon, among other
things: (i) conditions in the financial markets; (ii) the anticipated initial securities holdings of prepetition
creditors, some of whom may prefer to liquidate their investment rather than hold it on a long-term basis;
and (iii) other factors that generally influence the prices of securities. The actual market price of the New
Equity Interests is likely to be volatile. Many factors including factors unrelated to the Reorganized
Debtors’ actual operating performance and other factors not possible to predict, could cause the market
price of the New Equity Interests to rise and fall. Accordingly, the implied value, stated herein and in the
Second Amended Plan, of the New Equity Interests, does not necessarily reflect, and should not be
construed as reflecting, values that will be attained for the New Equity Interests in the public or private
markets.

                    4.        No Intention to Pay Dividends

The Reorganized Debtors do not anticipate paying any dividends on the New Equity Interests as they expect
to retain any future cash flows for debt reduction and to support operations. As a result, the success of an
investment in the New Equity Interests will depend entirely upon any future appreciation in the value of
the New Equity Interests. There is, however, no guarantee that the New Equity Interests will appreciate in
value or even maintain its initial value. In addition, holders of Special Warrants would likely not be able
to participate in the distribution of any dividends.

          G.        Additional Factors

                    1.        Debtors Have No Duty to Update

The statements contained in this Disclosure Statement are made by the Debtors as of the date hereof, unless
otherwise specified herein, and the delivery of this Disclosure Statement after that date does not imply that


                                                     112
WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456    Filed 10/07/19 Entered 10/07/19 15:38:57             Main Document
                                               Pg 125 of 565


there has been no change in the information set forth herein since that date. The Debtors have no duty to
update this Disclosure Statement unless otherwise ordered to do so by the Bankruptcy Court.

                    2.        No Representations Outside Disclosure Statement are Authorized

No representations concerning or related to the Debtors, the Chapter 11 Cases, or the Second Amended
Plan are authorized by the Bankruptcy Court or the Bankruptcy Code, other than as set forth in this
Disclosure Statement. Any representations or inducements made to secure your acceptance or rejection of
the Second Amended Plan that are other than those contained in, or included with, this Disclosure Statement
should not be relied upon in making the decision to accept or reject the Second Amended Plan.

                    3.        No Legal or Tax Advice is Provided by Disclosure Statement

The contents of this Disclosure Statement should not be construed as legal, business, or tax advice. Each
Claim or Interest holder should consult their own legal counsel and accountant as to legal, tax, and other
matters concerning their Claim or Interest. This Disclosure Statement is not legal advice. This Disclosure
Statement may not be relied upon for any purpose other than to determine how to vote on the Second
Amended Plan.

                    4.        No Admission Made

Nothing contained herein or in the Second Amended Plan constitutes an admission of, or will be deemed
evidence of, the tax or other legal effects of the Second Amended Plan on the Debtors or on holders of
Claims or Interests.

                    5.        Certain Tax Consequences

For a discussion of certain tax considerations to the Debtors and certain holders of Claims in connection
with the implementation of the Second Amended Plan, see Article VIII thereof.

                                              X.
                              VOTING PROCEDURES AND REQUIREMENTS

Before voting to accept or reject the Second Amended Plan, each holder of a Claim in Class 3 (First Lien
Claims), Class 4 (Second Lien Claims), and Class 5 (General Unsecured Claims) (each, an “Eligible
Holder” and, collectively, the “Eligible Holders”) should carefully review the Second Amended Plan
attached hereto as Exhibit A. All descriptions of the Second Amended Plan set forth in this Disclosure
Statement are subject to the terms and conditions of the Second Amended Plan.

          A.        Voting Deadline

All Eligible Holders as of the Voting Record Date (September 24, 2019) will be provided with a Ballot
together with this Disclosure Statement. Such holders should read the Ballot carefully and follow the
instructions therein. Only Eligible Holders are entitled to vote to accept or reject the Second Amended Plan.
Because Classes 1, 2, 6 and 7 are unimpaired and deemed to accept, and Classes 8 and 9 are conclusively
deemed to reject, only Classes 3, 4, and 5 are entitled to vote on the Second Amended Plan.

The Debtors have engaged Prime Clerk LLC as its voting agent (the “Voting Agent”) to assist in the
transmission of voting materials and in the tabulation of votes with respect to the Second Amended Plan.
FOR YOUR VOTE TO BE COUNTED, YOUR BALLOT MUST BE EXECUTED IN ACCORDANCE
WITH THE INSTRUCTIONS INCLUDED IN THE BALLOT AND RECEIVED BY THE VOTING

                                                    113
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456    Filed 10/07/19 Entered 10/07/19 15:38:57                   Main Document
                                            Pg 126 of 565


AGENT ON OR BEFORE THE VOTING DEADLINE OF 4:00 P.M., PREVAILING EASTERN TIME,
ON NOVEMBER 4, 2019, UNLESS EXTENDED BY THE DEBTORS WITH THE CONSENT OF THE
FIRST LIEN LENDER GROUP UPON RECEIPT OF AN ORDER FROM THE COURT (THE
“VOTING DEADLINE”).

IF A BALLOT IS DAMAGED OR LOST, YOU MAY CONTACT THE VOTING AGENT AT THE
NUMBER SET FORTH BELOW TO RECEIVE A REPLACEMENT BALLOT. ANY BALLOT THAT
IS EXECUTED AND RETURNED BUT WHICH DOES NOT INDICATE AN ACCEPTANCE OR
REJECTION OF THE SECOND AMENDED PLAN WILL NOT BE COUNTED.

IF YOU HAVE ANY QUESTIONS CONCERNING VOTING PROCEDURES, YOU MAY CONTACT
THE VOTING AGENT AT:

                                                   Prime Clerk LLC
                        Telephone: (844) 230-7218 (toll free) or +1 (347) 859-8784 (international)
                     E-mail: Fusionconnectballots@Primeclerk.com with “Fusion Connect, Inc.” in the
                                                      subject line

Additional copies of this Disclosure Statement are available upon a request made to the Voting Agent, at
the telephone numbers or e-mail address set forth immediately above.

          B.        Voting Procedures

The Debtors are providing copies of this Disclosure Statement (including all exhibits and appendices) and
related materials and a Ballot (collectively, a “Solicitation Package”) to Eligible Holders. In order to vote,
Eligible Holders must provide all of the information requested by the Ballot and, as applicable, should
complete and deliver their completed Ballots pursuant to the instructions set forth on the Ballot so that they
are actually received by the Voting Agent no later than the Voting Deadline.

          C.        Parties Entitled to Vote

Under the Bankruptcy Code, only holders of claims or interests in “impaired” classes are entitled to vote
on a plan. Under section 1124 of the Bankruptcy Code, a class of claims or interests is deemed to be
“impaired” under a plan unless (i) the Second Amended Plan leaves unaltered the legal, equitable, and
contractual rights to which such claim or interest entitles the holder thereof or (ii) notwithstanding any legal
right to an accelerated payment of such claim or interest, the Second Amended Plan cures all existing
defaults (other than defaults resulting from the occurrence of events of bankruptcy) and reinstates the
maturity of such claim or interest as it existed before the default.

If, however, the holder of an impaired claim or interest will not receive or retain any distribution under the
Second Amended Plan on account of such claim or interest, the Bankruptcy Code deems such holder to
have rejected the Second Amended Plan, and, accordingly, holders of such claims and interests do not
actually vote on the Second Amended Plan. If a claim or interest is not impaired by the Second Amended
Plan, the Bankruptcy Code deems the holder of such claim or interest to have accepted the Second Amended
Plan and, accordingly, holders of such claims and interests are not entitled to vote on the Second Amended
Plan.

A vote may be disregarded if the Bankruptcy Court determines, pursuant to section 1126(e) of the
Bankruptcy Code, that it was not solicited or procured in good faith or in accordance with the provisions of
the Bankruptcy Code.



                                                     114
WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57                  Main Document
                                              Pg 127 of 565


The Bankruptcy Code defines “acceptance” of a plan by a class of: (i) claims as acceptance by creditors in
that class that hold at least two-thirds (2/3) in dollar amount and more than one-half (1/2) in number of the
claims that cast ballots for acceptance or rejection of the Second Amended Plan; and (ii) interests as
acceptance by interest holders in that class that hold at least two-thirds (2/3) in dollar amount of the interests
that cast ballots for acceptance or rejection of the Second Amended Plan.

Class 3 (First Lien Claims), Class 4 (Second Lien Claims), and Class 5 (General Unsecured Claims) are
impaired under the Second Amended Plan and the only Classes of Claims entitled to vote to accept or reject
the Second Amended Plan (the “Voting Classes” or the “Voting Claims”).

Claims in all other Classes are either unimpaired and deemed to accept or impaired and deemed to reject
the Second Amended Plan and are not entitled to vote. For a detailed description of the treatment of Claims
and Interests under the Second Amended Plan, see Article I of this Disclosure Statement.

The Debtors will request confirmation of the Second Amended Plan pursuant to section 1129(b) of the
Bankruptcy Code over the deemed rejection of the Second Amended Plan by all Parent Equity Interests and
Subordinated Securities Claims. Section 1129(b) of the Bankruptcy Code permits the confirmation of a
chapter 11 plan notwithstanding the rejection of such plan by one or more impaired classes of claims or
interests. Under section 1129(b), a plan may be confirmed by a bankruptcy court if it does not “discriminate
unfairly” and is “fair and equitable” with respect to each rejecting class. For a more detailed description of
the requirements for confirmation of a nonconsensual plan, see Article XII.C of this Disclosure Statement.

                    1.        Miscellaneous

All Ballots must be signed by the Eligible Holder, or any person who has obtained a properly completed
Ballot proxy from the Eligible Holder by the Voting Record Date. Unless otherwise ordered by the
Bankruptcy Court, Ballots that are signed, dated, and timely received, but on which a vote to accept or
reject the Second Amended Plan has not been indicated, will not be counted. The Debtors, in their sole
discretion, may request that the Voting Agent attempt to contact such voters to cure any such Ballot defects.
Any Ballot marked to both accept and reject the Second Amended Plan will not be counted. If an Eligible
Holder casts more than one Ballot voting the same Claim(s) before the Voting Deadline, the last valid Ballot
received on or before the Voting Deadline will be deemed to reflect such Holder’s intent, and thus, will
supersede any prior Ballot. If an Eligible Holder casts Ballots received by the Voting Agent on the same
day, but which are voted inconsistently, such Ballots will not be counted.

The Ballots provided to Eligible Holders will reflect the amount of such Eligible Holder’s Claim; however,
when tabulating votes, the Voting Agent may adjust the amount of such Eligible Holder’s Claim (as directed
by the Debtors) by multiplying that amount by a factor that reflects all amounts accrued between the Voting
Record Date and the Commencement Date including, without limitation, interest.

Under the Bankruptcy Code, for purposes of determining whether the requisite votes for acceptance have
been received, only holders of the First Lien Claims who actually vote will be counted. The failure of a
holder to deliver a duly executed Ballot to the Voting Agent will be deemed to constitute an abstention by
such holder with respect to voting on the Second Amended Plan and such abstentions will not be counted
as votes for or against the Second Amended Plan.

Except as provided below, unless the Ballot, together with any other documents required by such Ballot, is
timely submitted to the Voting Agent before the Voting Deadline the Debtors may, in their sole discretion,
reject such Ballot as invalid, and therefore decline to utilize it in connection with seeking confirmation of
the Second Amended Plan.



                                                      115
WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456    Filed 10/07/19 Entered 10/07/19 15:38:57                 Main Document
                                               Pg 128 of 565



                    2.        Fiduciaries and Other Representatives

If a Ballot is signed by a trustee, executor, administrator, guardian, attorney-in-fact, officer of a corporation,
or another, acting in a fiduciary or representative capacity, such person should indicate such capacity when
signing and, if requested, must submit proper evidence satisfactory to the Debtor of authority to so act.
Authorized signatories should submit a separate Ballot of each Eligible Holder for whom they are voting.

UNLESS THE BALLOT IS SUBMITTED TO THE VOTING AGENT ON OR PRIOR TO THE VOTING
DEADLINE, SUCH BALLOT WILL BE REJECTED AS INVALID AND WILL NOT BE COUNTED
AS AN ACCEPTANCE OR REJECTION OF THE SECOND AMENDED PLAN; PROVIDED, THAT
THE DEBTORS RESERVE THE RIGHT, IN THEIR SOLE DISCRETION, TO REQUEST THE
BANKRUPTCY COURT TO ALLOW SUCH BALLOT TO BE COUNTED.

                    3.        Agreements Upon Furnishing Ballots

The delivery of an accepting Ballot pursuant to one of the procedures set forth above will constitute the
agreement of the creditor with respect to such Ballot to accept: (i) all of the terms of, and conditions to, the
solicitation; and (ii) the terms of the Second Amended Plan including the injunction, releases, and
exculpations set forth in Sections 10.5, 10.6, and 10.7 of the Second Amended Plan. All parties in interest
retain their right to object to confirmation of the Second Amended Plan pursuant to section 1128 of the
Bankruptcy Code, subject to any applicable terms of the Restructuring Support Agreement.

                    4.        Change of Vote

Subject to the terms of the Restructuring Support Agreement, any party that has previously submitted a
properly completed Ballot to the Voting Agent prior to the Voting Deadline may revoke such Ballot and
change its vote, subject to Local Bankruptcy Rule 3018, by submitting to the Voting Agent prior to the
Voting Deadline a subsequent, properly completed Ballot voting for acceptance or rejection of the Second
Amended Plan, upon Court approval.

                    5.        Waivers of Defects, Irregularities, etc.

Unless otherwise directed by the Bankruptcy Court, all questions as to the validity, form, eligibility
(including time of receipt), acceptance, and revocation or withdrawals of Ballots will be determined by the
Voting Agent and/or the Debtors, as applicable, in their sole discretion, which determination will be final
and binding. The Debtors reserve the right to reject any and all Ballots submitted that are not in proper
form, the acceptance of which would, in the opinion of the Debtors or their counsel, as applicable, be
unlawful. The Debtors further reserve their respective rights to waive any defects or irregularities or
conditions of delivery as to any particular Ballot by any Eligible Holder. The interpretation (including the
Ballot and the respective instructions thereto) by the applicable Debtor, unless otherwise directed by the
Bankruptcy Court, will be final and binding on all parties. Unless waived, any defects or irregularities in
connection with deliveries of Ballots must be cured within such time as the Debtors (or the Bankruptcy
Court) determines. Neither the Debtors nor any other person will be under any duty to provide notification
of defects or irregularities with respect to deliveries of Ballots nor will any of them incur any liabilities for
failure to provide such notification. Unless otherwise directed by the Bankruptcy Court, delivery of such
Ballots will not be deemed to have been made until such irregularities have been cured or waived. Ballots
previously furnished (and as to which any irregularities have not theretofore been cured or waived) will be
invalidated.




                                                      116
WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456     Filed 10/07/19 Entered 10/07/19 15:38:57              Main Document
                                                Pg 129 of 565



                    6.        Further Information, Additional Copies

Should an Eligible Holder have any questions or require further information about the
voting procedures, or about the packet of material received, or if an Eligible Holder wishes
to obtain an additional copy of the Second Amended Plan, this Disclosure Statement, or any
exhibits to such documents, please contact the Voting Agent at the telephone number or
email address set forth above.

                                                 XI.
                                    CONFIRMATION OF AMENDED PLAN

          A.        Confirmation Hearing

Section 1128(a) of the Bankruptcy Code requires the Bankruptcy Court to hold a confirmation hearing upon
appropriate notice to all required parties. The Debtors will request that the Bankruptcy Court schedule the
Confirmation Hearing. Subject to the Court’s availability, the Confirmation Hearing will be held on
November 14, 2019 at 10:00 am, prevailing Eastern Time. Notice of the Confirmation Hearing will be
provided to all known creditors and equity holders or their representatives. The Confirmation Hearing may
be adjourned from time to time by the Bankruptcy Court without further notice except for the announcement
of the adjourned date made at the Confirmation Hearing, at any subsequent adjourned Confirmation
Hearing, or pursuant to a notice filed on the docket of the Chapter 11 Cases.

          B.        Objections to Confirmation

Section 1128(b) of the Bankruptcy Code provides that any party in interest may object to the confirmation
of a plan. Any objection to confirmation of the Second Amended Plan must (i) be in writing; (ii) state the
name and address of the objecting party and the amount and nature of the Claim or Interest of such party;
(iii) state with particularity the basis and nature of any objection, and provide proposed language that, if
accepted and incorporated by the Debtors, would obviate such objection; (iv) conform to the Bankruptcy
Rules and the Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for
the Southern District of New York; (v) be filed with the Bankruptcy Court, with a copy to the chambers of
the United States Bankruptcy Judge appointed to the Chapter 11 Cases, together with proof of service
thereof by the plan confirmation objection deadline of 4:00 p.m., prevailing eastern time, on November 4,
2019; and (vi) be served upon the following parties, including such other parties as the Bankruptcy Court
may order:

                              (a)     The Debtor at:

                              Fusion Connect, Inc.
                              210 Interstate North Parkway
                              Suite 300
                              Atlanta, Georgia 30339
                              Attn: James P. Prenetta, Jr., Executive Vice President and General Counsel

                              (b)     Office of the U.S. Trustee at:

                              Office of the U.S. Trustee for Region 2
                              U.S. Federal Office Building
                              201 Varick Street, Suite 1006
                              New York, New York 10014


                                                        117
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57         Main Document
                                                 Pg 130 of 565


                              Attn:   Richard C. Morrissey
                                      Susan A. Arbeit

                              (c)     Counsel to the Debtors at:

                              Weil, Gotshal & Manges LLP
                              767 Fifth Avenue
                              New York, New York 10153
                              Attn: Gary T. Holtzer
                                      Sunny Singh
                                      Gaby Smith

                              (d)     Counsel to the First Lien Lender Group at:

                              Davis Polk & Wardwell LLP
                              450 Lexington Avenue
                              New York, New York, 10017
                              Attn: Damian S. Schaible
                                     Adam L. Shpeen

                              (e)     Counsel to the Ad Hoc Group of Tranche A Term Loans /
                                      Revolving Lenders:

                              Simpson Thacher & Bartlett LLP
                              425 Lexington Avenue
                              New York, NY 10017
                              Attn: Sandeep Qusba
                                     Hyang Sook Lee
                                     Edward R. Linden

                              (f)     Counsel to the DIP Agent, Prepetition Super Senior Agent, and
                                      Prepetition First Lien Agent at:

                              Arnold & Porter Kaye Scholer LLP
                              70 West Madison Street, Suite 4200
                              Chicago, Illinois 60602
                              Attn: Michael D. Messersmith
                                     Sarah Gryll

                              (g)     Counsel to the Creditors’ Committee at:

                              Cooley LLP
                              55 Hudson Yards
                              New York, New York 10001
                              Attn: Cathy Hershcopf
                                     Seth Van Aalten
                                     Robert Winning
                                     Sarah Carnes

 UNLESS AN OBJECTION TO CONFIRMATION IS TIMELY SERVED AND FILED, IT MAY
              NOT BE CONSIDERED BY THE BANKRUPTCY COURT.


                                                       118
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456        Filed 10/07/19 Entered 10/07/19 15:38:57                   Main Document
                                                Pg 131 of 565



          C.        Requirements for Confirmation of Second Amended Plan

               1.     Requirements of Section 1129(a) of Bankruptcy Code

                              (a)     General Requirements

At the Confirmation Hearing, the Bankruptcy Court will determine whether the confirmation requirements
specified in section 1129(a) of the Bankruptcy Code have been satisfied including, without limitation,
whether:

                    (i)       the Second Amended Plan complies with the applicable provisions of the
                              Bankruptcy Code;

                    (ii)      the Debtors have complied with the applicable provisions of the Bankruptcy Code;

                    (iii)     the Second Amended Plan has been proposed in good faith and not by any means
                              forbidden by law;

                    (iv)      any payment made or promised by the Debtors or by a person issuing securities or
                              acquiring property under the Second Amended Plan, for services or for costs and
                              expenses in or in connection with the Chapter 11 Cases, or in connection with the
                              Second Amended Plan and incident to the Chapter 11 Cases, has been disclosed to
                              the Bankruptcy Court, and any such payment made before confirmation of the
                              Second Amended Plan is reasonable, or if such payment is to be fixed after
                              confirmation of the Second Amended Plan, such payment is subject to the approval
                              of the Bankruptcy Court as reasonable;

                    (v)       the Debtors have disclosed the identity and affiliations of any individual proposed
                              to serve, after confirmation of the Second Amended Plan, as a director or officer
                              of the Reorganized Debtors, an affiliate of the Debtors participating in the Second
                              Amended Plan with the Debtors, or a successor to the Debtors under the Second
                              Amended Plan, and the appointment to, or continuance in, such office of such
                              individual is consistent with the interests of the holders of Claims and Interests and
                              with public policy, and the Debtors have disclosed the identity of any insider who
                              will be employed or retained by the Reorganized Debtors, and the nature of any
                              compensation for such insider;

                    (vi)      with respect to each Class of Claims or Interests, each holder of an impaired Claim
                              or impaired Interest has either accepted the Second Amended Plan or will receive
                              or retain under the Second Amended Plan, on account of such holder’s Claim or
                              Interest, property of a value, as of the Effective Date of the Second Amended Plan,
                              that is not less than the amount such holder would receive or retain if the Debtors
                              were liquidated on the Effective Date of the Second Amended Plan under chapter
                              7 of the Bankruptcy Code;

                    (vii)     except to the extent the Second Amended Plan meets the requirements of section
                              1129(b) of the Bankruptcy Code (as discussed further below), each Class of Claims
                              either accepted the Second Amended Plan or is not impaired under the Second
                              Amended Plan;



                                                          119
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456        Filed 10/07/19 Entered 10/07/19 15:38:57                 Main Document
                                                Pg 132 of 565



                    (viii)    except to the extent that the holder of a particular Claim has agreed to a different
                              treatment of such Claim, the Second Amended Plan provides that administrative
                              expenses and priority Claims, other than Priority Tax Claims, will be paid in full
                              on the Effective Date, and that Priority Tax Claims will receive either payment in
                              full on the Effective Date or deferred cash payments over a period not exceeding
                              five years after the Commencement Date, of a value, as of the Effective Date of
                              the Second Amended Plan, equal to the Allowed amount of such Claims;

                    (ix)      at least one (1) Class of impaired Claims has accepted the Second Amended Plan,
                              determined without including any acceptance of the Second Amended Plan by any
                              insider holding a Claim in such Class;

                    (x)       confirmation of the Second Amended Plan is not likely to be followed by the
                              liquidation, or the need for further financial reorganization, of the Debtors or any
                              successor to the Debtors under the Second Amended Plan; and

                    (xi)      all fees payable under section 1930 of title 28 of the United States Code, as
                              determined by the Bankruptcy Court at the Confirmation Hearing, have been paid
                              or the Second Amended Plan provides for the payment of all such fees on the
                              Effective Date of the Second Amended Plan.

                              (b)     Best Interests Test

As noted above, with respect to each impaired class of claims and equity interests, confirmation of a plan
requires that each such holder either (i) accept the Second Amended Plan or (ii) receive or retain under the
Second Amended Plan property of a value, as of the effective date of the Second Amended Plan, that is not
less than the value such holder would receive or retain if the debtor was liquidated under chapter 7 of the
Bankruptcy Code. This requirement is referred to as the “best interests test.”

This test requires a bankruptcy court to determine what the holders of allowed claims and allowed equity
interests in each impaired class would receive from a liquidation of the debtor’s assets and properties in the
context of a liquidation under chapter 7 of the Bankruptcy Code. To determine if a plan is in the best
interests of each impaired class, the value of the distributions from the proceeds of the liquidation of the
debtor’s assets and properties (after subtracting the amounts attributable to the aforesaid claims) is then
compared with the value offered to such classes of claims and equity interests under the Second Amended
Plan.

The Debtors believe that under the Second Amended Plan all holders of impaired Claims and Interests will
receive property with a value not less than the value such holder would receive in a liquidation under chapter
7 of the Bankruptcy Code. The Debtors’ belief is based primarily on (i) consideration of the effects that a
chapter 7 liquidation would have on the ultimate proceeds available for distribution to holders of impaired
Claims and Interests and (ii) the liquidation analysis analyzing the effects that a chapter 7 liquidation would
have on the recoveries of holders of Claims and Interests (the “Liquidation Analysis”).

The Debtors believe that any liquidation analysis is speculative, as it is necessarily premised on assumptions
and estimates which are inherently subject to significant uncertainties and contingencies, many of which
would be beyond the control of the Debtors. The Liquidation Analysis, which is attached hereto as Exhibit
D, is solely for the purpose of disclosing to holders of Claims and Interests the effects of a hypothetical
chapter 7 liquidation of the Debtors, subject to the assumptions set forth therein. There can be no assurance
as to values that would actually be realized in a chapter 7 liquidation nor can there be any assurance that a



                                                            120
WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456    Filed 10/07/19 Entered 10/07/19 15:38:57              Main Document
                                               Pg 133 of 565


bankruptcy court will accept the Debtors’ conclusions or concur with such assumptions in making its
determinations under section 1129(a)(7) of the Bankruptcy Code.

                              (c)   Feasibility

Also as noted above, section 1129(a)(11) of the Bankruptcy Code requires that a debtor demonstrate that
confirmation of a plan is not likely to be followed by liquidation or the need for further financial
reorganization. For purposes of determining whether the Second Amended Plan meets this requirement,
the Debtors have analyzed their ability to meet their obligations under the Second Amended Plan and
intends to prepare the projections upon conclusion of the Marketing Process. Moreover, Article IX hereof
sets forth certain risk factors that could impact the feasibility of the Second Amended Plan.

                              (d)   Equitable Distribution of Voting Power

On or before the Effective Date, pursuant to and only to the extent required by section 1123(a)(6) of the
Bankruptcy Code, the organizational documents for the Debtors will be amended as necessary to satisfy the
provisions of the Bankruptcy Code and will include, among other things, pursuant to section 1123(a)(6) of
the Bankruptcy Code, (i) a provision prohibiting the issuance of non-voting equity securities and (ii) a
provision setting forth an appropriate distribution of voting power among classes of equity securities
possessing voting power.

                    2.        The Estate Releases, Consensual Releases, and Exculpation Provisions

                              (a)   Estate Releases

Section 10.6(a) of the Second Amended Plan provides a release of certain claims and Causes of Action of
the Debtors, the Reorganized Debtors, and the Estates against the Released Parties in exchange for good
and valuable consideration and valuable compromises made by the Released Parties. The Debtors’ Releases
do not release any claims or Causes of Action arising after the Effective Date against any party or affect
the rights of the Debtors or Reorganized Debtors to enforce the terms of the Second Amended Plan or any
right or obligation arising under the Definitive Documents that remain in effect after the Effective Date.

The Second Amended Plan will be deemed to constitute a motion pursuant to sections 363 and 1123(b)(3)
of the Bankruptcy Code and Bankruptcy Rule 9019, seeking approval of the Global Settlement, including
the Estate Releases in connection therewith, and the entry of the Confirmation Order will constitute the
Bankruptcy Court’s approval of such motion and each of the compromises and settlements that comprise
the Global Settlement. The Estate Releases are fair and reasonable and in the best interests of the Debtors
and their creditors and fair consideration is being received in exchange for such releases.

The Debtors believe that the Estate Releases constitute a sound exercise of the Debtors’ business judgment
and are an essential component of the Second Amended Plan. It is well-settled that debtors are authorized
to settle or release their claims in a chapter 11 plan. See 11 U.S.C. § 1123(b)(3)(A) (permitting a plan to
provide for the “settlement or adjustment of any claim or interest belonging to the debtor or to the estate”);
see also In re Adelphia Commc’ns Corp., 368 B.R. 140, 263 n.289 (Bankr. S.D.N.Y. 2007) (debtor has
“considerable leeway” in releasing its own claims); In re Spiegel, Inc., Case No. 03-11540 (BRL), 2005
WL 1278094, at *11 (Bankr. S.D.N.Y. May 25, 2005) (approving debtor releases pursuant to section
1123(b)(3) of the Bankruptcy Code and Bankruptcy Rule 9019(a)); In re Bally Total Fitness of Greater
New York, Inc., Case No. 07-12395 (BRL), 2007 WL 2779438, at *12 (Bankr. S.D.N.Y. Sept. 17, 2007)
(“To the extent that a release or other provision in the Second Amended Plan constitutes a compromise of
a controversy, this Confirmation Order shall constitute an order under Bankruptcy Rule 9019 approving
such compromise.”). Debtor releases are granted by courts in the Second Circuit where the Debtors


                                                      121
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57             Main Document
                                               Pg 134 of 565


establish that such releases are a valid exercise of the Debtors’ business judgment and in the best interests
of the estate. See JP Morgan Chase Bank, N.A. v. Charter Commc’ns Operating, LLC (In re Charter
Commc’ns), 419 B.R. 221, 257-61 (Bankr. S.D.N.Y. 2009) (“When reviewing releases in a debtor’s plan,
courts consider whether such releases are in the best interest of the estate.”); In re DBSD N. Am., Inc., 419
B.R. 179, 217 (Bankr. S.D.N.Y. 2009), aff’d, Case No. 09 CIV. 10156 (LAK), 2010 WL 1223109 (S.D.N.Y.
Mar. 24 2010), aff’d in part, rev’d in part, 627 F.3d 496 (2d Cir. 2010) (finding debtor releases appropriate
where they represented a valid exercise of the debtors’ business judgment and were in the best interests of
the estate).

The Estate Releases satisfy the business judgment standard because, in exchange for the Estate Releases,
the Debtors received valuable consideration from the Released Parties in the form of (i) financing of the
Prepetition Super Senior Credit Agreement, (ii) financing of the DIP Facility, (iii) granting the Debtors’
use of cash collateral to support their restructuring in addition to numerous other tangible and intangible
benefits key to effectuating the Debtors’ consensual restructuring.

                              (b)   Consensual Releases

The Consensual Releases in Section 10.6(b) of the Second Amended Plan provide for the release of claims
and Causes of Action by those parties voting in favor of the Second Amended Plan against the Released
Parties in exchange for good and valuable consideration and the valuable compromises made by the
Released Parties.

The Second Amended Plan provides that all holders of Claims who are entitled to vote on the Second
Amended Plan who vote to accept the Second Amended Plan will be granting a release of any claims or
rights they have or may have as against the Released Parties. The Consensual Releases include any and all
claims that such holders may have against the Released Parties which in any way relate to the restructuring.

In the Second Circuit, third-party releases are permissible where “unusual circumstances” render the release
terms integral to the success of the Second Amended Plan. In re Metromedia Fiber Network, Inc., 416 F.3d
136, 141 (2d Cir. 2005). “Unusual circumstances” include instances in which: (a) the estate received a
substantial contribution; (b) the enjoined claims were “channeled” to a settlement fund rather than
extinguished; (c) the enjoined claims would indirectly impact the debtors’ reorganization by way of
indemnity or contribution; (d) the Second Amended Plan otherwise provided for the full payment of the
enjoined claims; and (e) the affected creditors consent. Id. (emphasis added).

Pursuant to Section 10.6(b), only consenting creditors will be subject to the Second Amended Plan’s release
and exculpation provisions.

                              (c)   Exculpations

Section 10.7 of the Second Amended Plan provides for the exculpation of each Exculpated Party for acts
and omissions taken in connection with the Chapter 11 Cases after the Commencement Date. The Debtors
believe that the exculpation provision in Section 10.7 of the Second Amended Plan is an integral part of the
Second Amended Plan and otherwise satisfies the governing standards in the Second Circuit. This
provision provides customary protections to those parties in interest (whether estate fiduciaries or
otherwise) whose efforts were instrumental in achieving the confirmation of the Second Amended Plan and
the conclusion of these Chapter 11 Cases. In light of the record of these Chapter 11 Cases, the protections
afforded by the exculpation provisions are reasonable and appropriate.

At confirmation, the Debtors will demonstrate that in the Second Circuit, exculpation provisions that
include non-estate fiduciaries are frequently approved, including exculpatory provisions far broader than


                                                    122
WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456    Filed 10/07/19 Entered 10/07/19 15:38:57                Main Document
                                               Pg 135 of 565


those provided for in the Second Amended Plan. See, e.g., In re Cenveo, Inc., Case No. 17-22178 (RDD)
(Bankr. S.D.N.Y. Aug. 21, 2018) (ECF No. 685) (confirming plan containing exculpation for non-estate
fiduciaries); In re Cengage Learning, Inc., Case No. 13-44106 (ESS) (Bankr. E.D.N.Y. Mar. 14, 2014)
(ECF No. 1225) (same); In re Eastman Kodak Co., Case No. 12-10202 (ALG) (Bankr. S.D.N.Y. Aug. 23,
2013) (ECF No. 4996) (same).

                    3.        Additional Requirements for Non-Consensual Confirmation

In the event that any impaired Class of Claims or Interests does not accept or is deemed to reject the Second
Amended Plan, the Bankruptcy Court may still confirm the Second Amended Plan at the request of the
Debtors if, as to each impaired Class of Claims or Interests that has not accepted the Second Amended Plan,
the Second Amended Plan “does not discriminate unfairly” and is “fair and equitable” with respect to such
Classes of Claims or Interests, pursuant to section 1129(b) of the Bankruptcy Code. Both of these
requirements are in addition to other requirements established by case law interpreting the statutory
requirements.

Pursuant to the Second Amended Plan, holders of Claims and Interests in Class 4 (Second Lien Claims),
Class 5 (General Unsecured Claims), Class 8 (Parent Equity Interests), and Class 9 (Subordinated Securities
Claims) will not receive a distribution and are thereby deemed to reject the Second Amended Plan.
However, the Debtors submit that they satisfy the “unfair discrimination” and “fair and equitable” tests, as
discussed in further detail below.

                              (a)   Unfair Discrimination Test

The “unfair discrimination” test applies to classes of claims or interests that are of equal priority and are
receiving different treatment under a plan. A chapter 11 plan does not discriminate unfairly, within the
meaning of the Bankruptcy Code, if the legal rights of a dissenting class are treated in a manner consistent
with the treatment of other classes whose legal rights are substantially similar to those of the dissenting
class and if no class of claims or interests receives more than it legally is entitled to receive for its Claims
or Interests. This test does not require that the treatment be the same or equivalent, but that such treatment
is “fair.”

The Debtors believe the Second Amended Plan satisfies the “unfair discrimination” test. Claims of equal
priority are receiving comparable treatment and such treatment is fair under the circumstances.

                              (b)   Fair and Equitable Test

The “fair and equitable” test applies to classes of different priority and status (e.g., secured versus
unsecured) and includes the general requirement that no class of claims receive more than 100% of the
allowed amount of the claims in such class. As to dissenting classes, the test sets different standards
depending on the type of claims in such class. The Debtors believe that the Second Amended Plan satisfies
the “fair and equitable” test as further explained below.

                                    (i)    Other Secured Creditors

The Bankruptcy Code provides that each holder of an impaired secured claim either (i) retains its liens on
the property to the extent of the allowed amount of its secured claim and receives deferred cash payments
having a value, as of the effective date, of at least the allowed amount of such claim, (ii) has the right to
credit bid the amount of its claim if its property is sold and retains its liens on the proceeds of the sale or
(iii) receives the “indubitable equivalent” of its allowed secured claim.



                                                     123
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456    Filed 10/07/19 Entered 10/07/19 15:38:57                  Main Document
                                            Pg 136 of 565



                                  (ii)    Unsecured Creditors

The Bankruptcy Code provides that either (i) each holder of an impaired unsecured claim receives or retains
under the Second Amended Plan of reorganization, property of a value equal to the amount of its allowed
claim or (ii) the holders of claims and equity interests that are junior to the claims of the dissenting class
will not receive any property under the Second Amended Plan of reorganization. The Second Amended
Plan provides that the holders of General Unsecured Claims in Class 5 will receive the treatment
summarized above in Article V of this Disclosure Statement.

                                  (iii)   Parent Equity Interests

The Bankruptcy Code requires that either (a) each holder of an equity interest receive or retain under the
Second Amended Plan property of a value equal to the greater of (i) the fixed liquidation preference or
redemption price, if any, of such stock and (ii) the value of the stock; or (b) the holders of equity interests
that are junior to any dissenting class of equity interests not receive any property under the Second Amended
Plan. Pursuant to the Second Amended Plan, all Parent Equity Interests will be cancelled and the holders
of Parent Equity Interests will neither receive nor retain any property on account of such interests.

                                XII.
      ALTERNATIVES TO CONFIRMATION AND CONSUMMATION OF SECOND
                            AMENDED PLAN

The Debtors have evaluated several alternatives to the Second Amended Plan. After studying these
alternatives, the Debtors have concluded that the Second Amended Plan is the best alternative and will
maximize recoveries to parties in interest, assuming confirmation and consummation of the Second
Amended Plan. If the Second Amended Plan is not confirmed and consummated, the alternatives to the
Second Amended Plan are (i) the preparation and presentation of an alternative plan of reorganization, (ii) a
sale of some or all of the Debtors’ assets pursuant to section 363 of the Bankruptcy Code, or (iii) a
liquidation under chapter 7 of the Bankruptcy Code.

          A.        Alternative Plan of Reorganization

If the Second Amended Plan is not confirmed, the Debtors (or if the Debtors’ exclusive period in which to
file a plan of reorganization has expired, any other party in interest) could attempt to formulate a different
plan. Such a plan might involve either: (i) a reorganization and continuation of the Debtors’ business or
(ii) an orderly liquidation of the Debtors’ assets. The Debtors, however, submit that the Second Amended
Plan, enables their creditors to realize the most value under the circumstances.

          B.        Sale Under Section 363 of Bankruptcy Code

If the Second Amended Plan is not confirmed, the Debtors could seek from the Bankruptcy Court, after
notice and a hearing, authorization to sell their assets through a stand-alone alternative transaction under
section 363 of the Bankruptcy Code. Upon analysis and consideration of this alternative, the Debtors do
not believe that a stand-alone alternative sale of their assets under section 363 of the Bankruptcy Code
would yield a higher recovery for holders of Claims and Interests than the Second Amended Plan.

          C.        Liquidation Under Chapter 7 or Applicable Non-Bankruptcy Law




                                                     124
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57                Main Document
                                           Pg 137 of 565


If no plan can be confirmed, the Chapter 11 Cases may be converted to a case under chapter 7 of the
Bankruptcy Code in which a trustee would be elected or appointed to liquidate the assets of the Debtors for
distribution to the Debtors’ creditors in accordance with the priorities established by the Bankruptcy Code.

The Debtors believe that liquidation under chapter 7 would result in smaller distributions to creditors than
those provided for in the Second Amended Plan because of the delay resulting from the conversion of the
cases and the additional administrative expenses associated with the appointment of a trustee and the
trustee’s retention of professionals who would be required to become familiar with the many legal and
factual issues in the Chapter 11 Cases.




                                                    125
WEIL:\97221055\1\47019.0003
19-11811-dsj          Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57           Main Document
                                           Pg 138 of 565



                                           XIII.
                              CONCLUSION AND RECOMMENDATION

The Debtors believe the Second Amended Plan is in the best interests of all stakeholders and urge the
holders of Claims in Classes 3, 4, and 5 to vote in favor thereof.

Dated: October 7, 2019


                                              DEBTORS
                                                  FUSION CONNECT, INC.
                                                  FUSION BCHI ACQUISITION LLC
                                                  FUSION NBS ACQUISITION CORP.
                                                  FUSION LLC
                                                  FUSION MPHC HOLDING CORPORATION
                                                  FUSION MPHC GROUP, INC.
                                                  FUSION CLOUD COMPANY LLC
                                                  FUSION CLOUD SERVICES, LLC
                                                  FUSION CB HOLDINGS, INC.
                                                  FUSION COMMUNICATIONS, LLC
                                                  FUSION TELECOM, LLC
                                                  FUSION TEXAS HOLDINGS, INC.
                                                  FUSION TELECOM OF KANSAS, LLC
                                                  FUSION TELECOM OF OKLAHOMA, LLC
                                                  FUSION TELECOM OF MISSOURI, LLC
                                                  BIRCAN HOLDINGS, LLC
                                                  FUSION MANAGEMENT SERVICES LLC
                                                  FUSION PM HOLDINGS, INC.

                                                  By: /s/ James P. Prenetta, Jr.
                                                     Name: James P. Prenetta, Jr.
                                                     Title: Executive Vice President and
                                                     General Counsel

                                                  FUSION TELECOM OF TEXAS LTD., L.L.P.

                                                  BY: FUSION TEXAS HOLDINGS, INC., AS
                                                  LIMITED PARTNER


                                                  By: /s/ James P. Prenetta, Jr.
                                                     Name: James P. Prenetta, Jr.
                                                     Title: Executive Vice President and
                                                     General Counsel




                              SIGNATURE PAGE TO DISCLOSURE STATEMENT
WEIL:\97221055\1\47019.0003
19-11811-dsj   Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57   Main Document
                                    Pg 139 of 565



                                    Exhibit A

                         Second Amended Chapter 11 Plan
19-11811-dsj          Doc 456        Filed 10/07/19 Entered 10/07/19 15:38:57                    Main Document
                                                Pg 140 of 565


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------------- X
                                                                     :
In re                                                                :   Chapter 11
                                                                     :
FUSION CONNECT, INC., et al.,                                        :   Case No. 19-11811 (SMB)
                                                                     :
                              Debtors. 1                             :   (Jointly Administered)
                                                                     :
-------------------------------------------------------------------- X

                          SECOND AMENDED JOINT CHAPTER 11 PLAN
                    OF FUSION CONNECT, INC., AND ITS SUBSIDIARY DEBTORS

        WEIL, GOTSHAL & MANGES LLP
        Gary T. Holtzer
        Sunny Singh
        Gaby Smith
        767 Fifth Avenue
        New York, New York 10153
        Telephone: (212) 310-8000
        Facsimile: (212) 310-8007


        Counsel for Debtors
        and Debtors in Possession

       Dated:       October 7, 2019
                    New York, New York




1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, as applicable, are: Fusion Connect, Inc. (2021); Fusion BCHI Acquisition LLC (7402); Fusion NBS
    Acquisition Corp. (4332); Fusion LLC (0994); Fusion MPHC Holding Corporation (3066); Fusion MPHC
    Group, Inc. (1529); Fusion Cloud Company LLC (5568); Fusion Cloud Services, LLC (3012); Fusion CB
    Holdings, Inc. (6526); Fusion Communications, LLC (8337); Fusion Telecom LLC (0894); Fusion Texas
    Holdings, Inc. (2636); Fusion Telecom of Kansas, LLC (0075); Fusion Telecom of Oklahoma, LLC (3260);
    Fusion Telecom of Missouri, LLC (5329); Fusion Telecom of Texas Ltd., L.L.P. (8531); Bircan Holdings, LLC
    (2819); Fusion Management Services LLC (5597); and Fusion PM Holdings, Inc. (2478). The Debtors’ principal
    offices are located at 210 Interstate North Parkway, Suite 300, Atlanta, Georgia 30339.



WEIL:\97220973\1\47019.0003
19-11811-dsj              Doc 456            Filed 10/07/19 Entered 10/07/19 15:38:57                                          Main Document
                                                        Pg 141 of 565



                                                              Table of Contents

                                                                                                                                                   Page


ARTICLE I              DEFINITIONS AND INTERPRETATION. ................................................................... 1
     A.          Definitions. ........................................................................................................................... 1
     B.          Interpretation; Application of Definitions and Rules of Construction. .................................. 16
     C.          Reference to Monetary Figures. .......................................................................................... 17
     D.          Controlling Document. ....................................................................................................... 17
     E.          Certain Consent Rights. ...................................................................................................... 17
ARTICLE II ADMINISTRATIVE EXPENSE AND PRIORITY CLAIMS. ...................................... 17
          2.1.            Administrative Expense Claims. ................................................................................ 17
          2.2.            Fee Claims. ............................................................................................................... 18
          2.3.            Priority Tax Claims. .................................................................................................. 18
          2.4.            DIP Claims. .............................................................................................................. 19
          2.5.            Restructuring Expenses. ............................................................................................ 19

ARTICLE III CLASSIFICATION OF CLAIMS AND INTERESTS. ................................................. 19
          3.1.            Classification in General. .......................................................................................... 19
          3.2.            Summary of Classification. ....................................................................................... 19
          3.3.            Special Provision Governing Unimpaired Claims. ..................................................... 20
          3.4.            Elimination of Vacant Classes. .................................................................................. 20

ARTICLE IV TREATMENT OF CLAIMS AND INTERESTS. ......................................................... 20
          4.1.            Priority Non-Tax Claims (Class 1)............................................................................. 20
          4.2.            Other Secured Claims (Class 2). ................................................................................ 21
          4.3.            First Lien Claims (Class 3). ....................................................................................... 21
          4.4.            Second Lien Claims (Class 4). ................................................................................... 22
          4.5.            General Unsecured Claims (Class 5).......................................................................... 22
          4.6.            Intercompany Claims (Class 6). ................................................................................. 22
          4.7.            Intercompany Interests (Class 7). ............................................................................... 22
          4.8.            Parent Equity Interests (Class 8). ............................................................................... 23
          4.9.            Subordinated Securities Claims (Class 9)................................................................... 23

ARTICLE V MEANS FOR IMPLEMENTATION. ........................................................................... 23
          5.1.            No Substantive Consolidation. ................................................................................... 23
          5.2.            Compromise and Settlement of Claims, Interests, and Controversies. ......................... 24
          5.3.            Sources of Consideration for Plan Distributions Implementing the
                          Reorganization Transaction. ...................................................................................... 27
          5.4.            Reorganization Transaction. ...................................................................................... 27
          5.5.            FCC Licenses and State PUC Authorizations ............................................................. 29
          5.6.            Employee Matters. .................................................................................................... 29
          5.7.            Effectuating Documents; Further Transactions. ......................................................... 30
          5.8.            Section 1145 Exemption. ........................................................................................... 31
          5.9.            Cancellation of Existing Securities and Agreements. ................................................. 32


                                                                            i


WEIL:\97220973\1\47019.0003
19-11811-dsj           Doc 456           Filed 10/07/19 Entered 10/07/19 15:38:57                                           Main Document
                                                    Pg 142 of 565




                                                          Table of Contents
                                                            (continued)
                                                                                                                                                Page


          5.10.       Cancellation of Liens................................................................................................. 33
          5.11.       Subordination Agreements. ....................................................................................... 33
          5.12.       Nonconsensual Confirmation..................................................................................... 34
          5.13.       Closing of Chapter 11 Cases. ..................................................................................... 34
          5.14.       Notice of Effective Date. ........................................................................................... 34
          5.15.       Separability. .............................................................................................................. 34
          5.16.       Litigation Trust ......................................................................................................... 34

ARTICLE VI DISTRIBUTIONS. ....................................................................................................... 37
          6.1.        Distributions Generally. ............................................................................................ 37
          6.2.        Distribution Record Date. .......................................................................................... 38
          6.3.        Date of Distributions. ................................................................................................ 38
          6.4.        Disbursing Agent. ..................................................................................................... 38
          6.5.        Rights and Powers of Disbursing Agent. .................................................................... 38
          6.6.        Expenses of Disbursing Agent. .................................................................................. 39
          6.7.        No Postpetition Interest on Claims. ............................................................................ 39
          6.8.        Delivery of Distributions. .......................................................................................... 39
          6.9.        Distributions after Effective Date. ............................................................................. 40
          6.10.       Unclaimed Property................................................................................................... 40
          6.11.       Time Bar to Cash Payments....................................................................................... 40
          6.12.       Manner of Payment under Plan. ................................................................................. 40
          6.13.       Satisfaction of Claims. .............................................................................................. 40
          6.14.       Fractional Stock and Notes. ....................................................................................... 40
          6.15.       Minimum Cash Distributions. .................................................................................... 41
          6.16.       Setoffs and Recoupments. ......................................................................................... 41
          6.17.       Allocation of Distributions between Principal and Interest. ........................................ 41
          6.18.       No Distribution in Excess of Amount of Allowed Claim. ........................................... 41
          6.19.       Withholding and Reporting Requirements. ................................................................ 41
          6.20.       Hart-Scott-Rodino Antitrust Improvements Act. ........................................................ 42

ARTICLE VII PROCEDURES FOR DISPUTED CLAIMS................................................................. 42
          7.1.        Objections to Claims. ................................................................................................ 42
          7.2.        Resolution of Disputed Claims. ................................................................................. 42
          7.3.        Payments and Distributions with Respect to Disputed Claims. ................................... 43
          7.4.        Distributions after Allowance. ................................................................................... 43
          7.5.        Disallowance of Claims. ............................................................................................ 43
          7.6.        Estimation of Claims. ................................................................................................ 43
          7.7.        No Distributions Pending Allowance. ........................................................................ 43
          7.8.        Claim Resolution Procedures Cumulative. ................................................................. 44
          7.9.        Interest. ..................................................................................................................... 44
          7.10.       Insured Claims. ......................................................................................................... 44




                                                                        ii

WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456            Filed 10/07/19 Entered 10/07/19 15:38:57                                         Main Document
                                                    Pg 143 of 565




                                                          Table of Contents
                                                            (continued)
                                                                                                                                              Page


ARTICLE VIII                              EXECUTORY CONTRACTS AND UNEXPIRED LEASES. ............. 44
          8.1.        General Treatment. .................................................................................................... 44
          8.2.        Determination of Assumption Disputes and Deemed Consent. ................................... 44
          8.3.        Rejection Damages Claims. ....................................................................................... 46
          8.4.        Insurance Policies...................................................................................................... 46
          8.5.        Intellectual Property Licenses and Agreements. ......................................................... 46
          8.6.        Tax Agreements. ....................................................................................................... 47
          8.7.        Assignment. .............................................................................................................. 47
          8.8.        Modifications, Amendments, Supplements, Restatements, or Other
                      Agreements. .............................................................................................................. 47
          8.9.        Reservation of Rights. ............................................................................................... 47

ARTICLE IX CONDITIONS PRECEDENT TO CONFIRMATION OF PLAN AND
           EFFECTIVE DATE. .................................................................................................... 48
          9.1.        Conditions Precedent to Confirmation of Plan. .......................................................... 48
          9.2.        Conditions Precedent to Effective Date. ..................................................................... 48
          9.3.        Waiver of Conditions Precedent. ............................................................................... 50
          9.4.        Effect of Failure of a Condition. ................................................................................ 50

ARTICLE X           EFFECT OF CONFIRMATION OF PLAN. ................................................................. 50
          10.1.       Vesting of Assets. ..................................................................................................... 50
          10.2.       Binding Effect. .......................................................................................................... 51
          10.3.       Discharge of Claims and Termination of Interests. ..................................................... 51
          10.4.       Term of Injunctions or Stays...................................................................................... 51
          10.5.       Injunction. ................................................................................................................. 51
          10.6.       Releases. ................................................................................................................... 52
          10.7.       Exculpation. .............................................................................................................. 54
          10.8.       Limitations on Executable Assets with Respect to Certain Causes of Action. ............. 55
          10.9.       SEC Rights and Powers ............................................................................................. 55
          10.10.      FCC Rights and Powers............................................................................................. 55
          10.11.      Subordinated Claims. ................................................................................................ 55
          10.12.      Retention of Causes of Action/Reservation of Rights. ................................................ 55
          10.13.      Solicitation of Plan. ................................................................................................... 56
          10.14.      Corporate and Limited Liability Company Action. .................................................... 56

ARTICLE XI RETENTION OF JURISDICTION. ............................................................................. 57
          11.1.       Retention of Jurisdiction. ........................................................................................... 57
          11.2.       Courts of Competent Jurisdiction. .............................................................................. 58

ARTICLE XII MISCELLANEOUS PROVISIONS. ............................................................................ 58
          12.1.       Payment of Statutory Fees. ........................................................................................ 58
          12.2.       Substantial Consummation of the Plan. ...................................................................... 59

                                                                       iii

WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456            Filed 10/07/19 Entered 10/07/19 15:38:57                                          Main Document
                                                    Pg 144 of 565




                                                          Table of Contents
                                                            (continued)
                                                                                                                                               Page


          12.3.       Plan Supplement. ...................................................................................................... 59
          12.4.       Request for Expedited Determination of Taxes. ......................................................... 59
          12.5.       Exemption from Certain Transfer Taxes. ................................................................... 59
          12.6.       Amendments. ............................................................................................................ 59
          12.7.       Effectuating Documents and Further Transactions. .................................................... 60
          12.8.       Revocation or Withdrawal of Plan. ............................................................................ 60
          12.9.       Dissolution of Statutory Committees. ........................................................................ 60
          12.10.      Severability of Plan Provisions. ................................................................................. 60
          12.11.      Governing Law. ........................................................................................................ 61
          12.12.      Time. ........................................................................................................................ 61
          12.13.      Dates of Actions to Implement the Plan. .................................................................... 61
          12.14.      Immediate Binding Effect.......................................................................................... 61
          12.15.      Deemed Acts. ............................................................................................................ 61
          12.16.      Successor and Assigns. .............................................................................................. 61
          12.17.      Entire Agreement. ..................................................................................................... 62
          12.18.      Exhibits to Plan. ........................................................................................................ 62
          12.19.      Notices. ..................................................................................................................... 62




                                                                       iv

WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456      Filed 10/07/19 Entered 10/07/19 15:38:57               Main Document
                                              Pg 145 of 565


                 Each of Fusion Connect, Inc., Fusion BCHI Acquisition LLC, Fusion NBS Acquisition
Corp., Fusion LLC, Fusion MPHC Holding Corporation, Fusion MPHC Group, Inc., Fusion Cloud
Company LLC, Fusion Cloud Services, LLC, Fusion CB Holdings, Inc., Fusion Communications, LLC,
Fusion Telecom, LLC, Fusion Texas Holdings, Inc., Fusion Telecom of Kansas, LLC, Fusion Telecom of
Oklahoma, LLC, Fusion Telecom of Missouri, LLC, Fusion Telecom of Texas Ltd., L.L.P., Bircan
Holdings, LLC, Fusion Management Services LLC, and Fusion PM Holdings, Inc. (each, a “Debtor” and,
collectively, the “Debtors”) propose the following joint chapter 11 plan of reorganization pursuant to
section 1121(a) of the Bankruptcy Code. Capitalized terms used herein shall have the meanings set forth
in Article I.A or elsewhere herein.

                          ARTICLE I      DEFINITIONS AND INTERPRETATION.

          A.        Definitions.

The following terms shall have the respective meanings specified below:

        1.1    Accepting Class means a Class that votes to accept the Plan in accordance with section
1126 of the Bankruptcy Code.

        1.2     Administrative Expense Claim means any Claim for costs or expenses of administration
incurred during the Chapter 11 Cases of a kind specified under sections 503(b), 507(a)(2), 507(b), or
1114(e)(2) of the Bankruptcy Code, including, without limitation, (a) the actual and necessary costs and
expenses incurred after the Commencement Date and through the Effective Date of preserving the Estates
and operating the businesses of the Debtors; (b) Fee Claims; (c) Restructuring Expenses; and (d) the DIP
Claims.

          1.3       Affiliates means “Affiliates” as such term is defined in section 101(2) of the Bankruptcy
Code.

         1.4     Allowed means, with reference to any Claim or Interest, a Claim or Interest (a) arising on
or before the Effective Date as to which (i) no objection to allowance or priority, and no request for
estimation or other challenge, including, without limitation, pursuant to section 502(d) of the Bankruptcy
Code or otherwise, has been interposed and not withdrawn within the applicable period fixed by the Plan
or applicable law, or (ii) any objection has been determined in favor of the holder of the Claim or Interest
by a Final Order; (b) that is compromised, settled, or otherwise resolved pursuant to the authority of the
Debtors, the Reorganized Debtors, or the Litigation Trust Oversight Committee, as applicable; (c) as to
which the liability of the Debtors or the Reorganized Debtors, as applicable, and the amount thereof are
determined by a Final Order of a court of competent jurisdiction; or (d) expressly allowed hereunder;
provided, however, that notwithstanding the foregoing, (x) unless expressly waived by the Plan, the
Allowed amount of Claims or Interests shall be subject to and shall not exceed the limitations or
maximum amounts permitted by the Bankruptcy Code, including sections 502 or 503 of the Bankruptcy
Code, to the extent applicable, and (y) the Reorganized Debtors or the Litigation Trust, as applicable,
shall retain all claims and defenses with respect to Allowed Claims that are Reinstated or otherwise
Unimpaired pursuant to the Plan, if any.

         1.5      Amended Organizational Documents means the forms of certificates of incorporation,
certificates of formation, limited liability company agreements, partnership agreements or other forms of
organizational documents and bylaws, as applicable, of the Reorganized Debtors, to be amended in
connection with the Reorganization Transaction, substantially final forms of which shall be contained in
the Plan Supplement to the extent they contain material changes to the existing forms.




WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456      Filed 10/07/19 Entered 10/07/19 15:38:57                Main Document
                                              Pg 146 of 565


        1.6     Asset means all of the right, title, and interest of the Debtors in and to property of
whatever type or nature (including, without limitation, real, personal, mixed, intellectual, tangible, and
intangible property).

        1.7     Assumption Dispute means a pending objection relating to assumption of an executory
contract or unexpired lease pursuant to section 365 of the Bankruptcy Code.

       1.8     Assumption Schedule means the schedule of executory contracts and unexpired leases to
be assumed by the Debtors pursuant to the Plan that will be included in the Plan Supplement.

      1.9      Bankruptcy Code means title 11 of the United States Code, 11 U.S.C. § 101, et seq., as
amended from time to time, as applicable to the Chapter 11 Cases.

        1.10    Bankruptcy Court means the United States Bankruptcy Court for the Southern District of
New York having jurisdiction over the Chapter 11 Cases or any other court having jurisdiction over the
Chapter 11 Cases, including, to the extent of the withdrawal of any reference under 28 U.S.C. § 157, the
United States District Court for the Southern District of New York.

        1.11    Bankruptcy Rules means the Federal Rules of Bankruptcy Procedure as promulgated by
the United States Supreme Court under section 2075 of title 28 of the United States Code and any local
bankruptcy rules of the Bankruptcy Court, in each case, as amended from time to time and applicable to
the Chapter 11 Cases.

        1.12    Benefit Plans means each (a) “employee benefit plan,” as defined in section 3(3) of
ERISA and (b) all other pension, retirement, bonus, incentive, health, life, disability, group insurance,
vacation, holiday and fringe benefit plan, program, contract, or arrangement (whether written or
unwritten) maintained, contributed to, or required to be contributed to, by the Debtors for the collective
benefit of any of its current or former employees or independent contractors, other than those that entitle
employees to, or that otherwise give rise to, Interests or consideration based on the value of Interests, in
the Debtors.

          1.13      Board of Directors means FCI’s board of directors during the Chapter 11 Cases.

       1.14      Business Day means any day other than a Saturday, a Sunday, or any other day on which
banking institutions in New York, New York are required or authorized to close by law or executive
order.

          1.15      Cash means legal tender of the United States of America.

         1.16    Causes of Action means any action, claim, cross-claim, third-party claim, cause of
action, controversy, demand, right, lien, indemnity, guaranty, suit, obligation, liability, loss, debt, damage,
judgment, account, defense, remedy, offset, power, privilege, proceeding, license and franchise of any
kind or character whatsoever, known, unknown, foreseen or unforeseen, existing or hereafter arising,
contingent or non-contingent, matured or unmatured, suspected or unsuspected, liquidated or
unliquidated, disputed or undisputed, secured or unsecured, assertable directly or derivatively, whether
arising before, on, or after the Commencement Date, in contract or in tort, in law or in equity or pursuant
to any other theory of law (including, without limitation, under any state or federal securities laws).
Causes of Action also includes: (a) any right of setoff, counterclaim or recoupment and any claim for
breach of contract or for breach of duties imposed by law or in equity; (b) the right to object to Claims or
Interests; (c) any claim pursuant to section 362 or chapter 5 of the Bankruptcy Code; (d) any claim or
defense including fraud, mistake, duress and usury and any other defenses set forth in section 558 of the



                                                       2
WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456      Filed 10/07/19 Entered 10/07/19 15:38:57              Main Document
                                              Pg 147 of 565


Bankruptcy Code; and (e) any claims under any state law or foreign law, including, without limitation,
any fraudulent transfer or similar claims.

        1.17   Chapter 11 Cases means the jointly administered cases under chapter 11 of the
Bankruptcy Code commenced by the Debtors on the Commencement Date in the Bankruptcy Court styled
In re Fusion Connect, Inc., et al., Case No. 19-11811 (SMB).

          1.18      Claim has the meaning set forth in section 101(5) of the Bankruptcy Code, as against any
Debtor.

        1.19    Class means any group of Claims or Interests classified under the Plan pursuant to
sections 1122 and 1123(a)(1) of the Bankruptcy Code.

          1.20      Commencement Date means June 3, 2019.

        1.21    Communications Act means chapter 5 of title 47 of the United States Code, 47 U.S.C. §§
151-622, as now in effect or hereafter amended, or any other successor federal statute, and the rules and
regulations promulgated thereunder.

       1.22    Confirmation Date means the date on which the Clerk of the Bankruptcy Court enters the
Confirmation Order.

       1.23     Confirmation Hearing means the hearing to be held by the Bankruptcy Court to consider
confirmation of the Plan, as such hearing may be adjourned or continued from time to time.

       1.24      Confirmation Order means the order of the Bankruptcy Court confirming the Plan
pursuant to section 1129 of the Bankruptcy Code.

       1.25    Consenting First Lien Lenders means the Prepetition First Lien Lenders that are or
become party to the RSA together with their respective successors and permitted assigns.

        1.26     Consenting Second Lien Lenders means the Prepetition Second Lien Lenders that vote
to accept the Plan together with their respective successors and permitted assigns.

        1.27    Consulting Agreement means that certain Consulting Agreement, in the form attached to
Matthew D. Rosen's resignation letter or otherwise mutually acceptable to the First Lien Lender Group
and Matthew D. Rosen, to be executed as soon as reasonably practicable and to go into effect on the
Effective Date, by and among Reorganized FCI and Matthew D. Rosen.

        1.28     Contingent DIP Obligations means all of the Debtors’ obligations under the DIP
Documents and the DIP Order that are contingent and/or unliquidated, other than DIP Claims that are
paid in full in Cash on or prior to the Effective Date and contingent indemnification obligations as to
which a Claim has been asserted on or prior to the Effective Date.

        1.29    Creditors’ Committee means the statutory committee of unsecured creditors appointed by
the U.S. Trustee in the Chapter 11 Cases pursuant to section 1102 of the Bankruptcy Code.

        1.30    Cure Amount means the payment of Cash by the Debtors, or the distribution of other
property (as the parties may agree or the Bankruptcy Court may order), as necessary pursuant to section
365(b)(1)(A) of the Bankruptcy Code to permit the Debtors to assume an executory contract or unexpired
lease.



                                                       3
WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456      Filed 10/07/19 Entered 10/07/19 15:38:57               Main Document
                                              Pg 148 of 565


         1.31     D&O Policy means any insurance policy that covers, among others, current or former
directors, members, trustees, managers, and officers liability issued at any time to or providing coverage
to the Debtors and all agreements, documents or instruments relating thereto, including any runoff
policies or tail coverage.

          1.32      Debtor or Debtors has the meaning set forth in the introductory paragraph of the Plan.

         1.33   Debtor Employees means any employee of the Debtors as of the Commencement Date
and immediately prior to the Effective Date other than any director or officer of the Debtors identified as
such in the Disclosure Statement.

        1.34     Debtor Exculpated Parties means (a) any individual serving as an officer of the Debtors
during the Chapter 11 Cases; (b) any individual serving as a director on the Restructuring Committee
and/or the Special Committee during the Chapter 11 Cases; (c) Mr. Marvin Rosen; and (d) the Debtor
Related Parties.

       1.35    Debtors in Possession means the Debtors in their capacity as debtors in possession in the
Chapter 11 Cases pursuant to sections 1101, 1107(a), and 1108 of the Bankruptcy Code.

         1.36    Debtor Related Parties means with respect to the Debtors, each Debtor’s successors,
Debtor Employees, postpetition financial advisors, postpetition attorneys, postpetition accountants,
postpetition investment bankers, postpetition investment advisors, postpetition consultants, postpetition
representatives, and other postpetition professionals; for the avoidance of doubt, Debtor Related Parties
do not include the Debtors themselves, any Non-Released Party, or any current or former director or
officer of the Debtors.

        1.37    Declaratory Ruling means a declaratory ruling adopted by the FCC granting the relief
requested in a Petition for Declaratory Ruling.

         1.38    Definitive Documents means the documents (including any related orders, agreements,
instruments, schedules or exhibits) that are necessary or desirable to implement, or otherwise relate to the
Reorganization Transaction, including, but not limited to: (a) the Plan; (b) the Disclosure Statement;
(c) the Disclosure Statement Motion; (d) the Disclosure Statement Order; (e) the Consulting Agreement;
(f) each of the documents comprising the Plan Supplement; and (g) the Confirmation Order.

          1.39      DIP Agent means the “DIP Agent” as defined in the DIP Order.

         1.40    DIP Claims means all Claims held by the DIP Lenders on account of, arising under or
relating to the DIP Documents or the DIP Order, which, for the avoidance of doubt, shall include all “DIP
Obligations” as such term is defined in the DIP Order.

          1.41      DIP Credit Agreement means the “DIP Credit Agreement” as defined in the DIP Order.

          1.42      DIP Documents means the “DIP Documents” as defined in the DIP Order.

          1.43      DIP Lenders means the “DIP Lenders” as defined in the DIP Order.

        1.44    DIP Motion means the Motion of Debtors for (I) Authorization (A) To Obtain
Postpetition Financing, (B) To Use Cash Collateral, (C) To Grant Liens and Provide Superpriority
Administrative Expense Status, (D) To Grant Adequate Protection, (E) To Modify the Automatic Stay;
(F) To Schedule a Final Hearing and (II) Related Relief (ECF No. 17).



                                                        4
WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456     Filed 10/07/19 Entered 10/07/19 15:38:57               Main Document
                                             Pg 149 of 565


        1.45    DIP Order means the Final Order (I) Authorizing the Debtors To (A) Obtain Postpetition
Financing, (B) Use Cash Collateral, (II) Granting Liens and Providing Superpriority Administrative
Expense Status, (III) Granting Adequate Protection To the Prepetition Secured Parties, (IV) Modifying
the Automatic Stay, and (V) Granting Related Relief (ECF No. 160).

        1.46   Disallowed means, with respect to any Claim or Interest, that such Claim or Interest has
been determined by a Final Order or specified in a provision of the Plan not to be Allowed.

       1.47   Disbursing Agent means (a) with respect to the Reorganization Transaction, the
Reorganized Debtors; and (b) with respect to the Litigation Trust Assets, the Litigation Trust or its agent.

        1.48     Disclosure Statement means the disclosure statement filed by the Debtors in support of
the Plan, as amended, supplemented or modified from time to time, as approved by the Bankruptcy Court
pursuant to section 1125 of the Bankruptcy Code.

       1.49    Disclosure Statement Motion means the motion of the Debtors seeking entry of an order
approving the Disclosure Statement and authorizing solicitation of the Plan.

        1.50    Disclosure Statement Order means the order entered by the Bankruptcy Court granting
the Disclosure Statement Motion.

        1.51    Disputed means with respect to a Claim or Interest, any Claim or Interest that (a) is
neither Allowed nor Disallowed under the Plan or a Final Order, nor deemed Allowed under sections 502,
503, or 1111 of the Bankruptcy Code; or (b) the Debtors or any parties in interest have interposed a timely
objection or request for estimation, and such objection or request for estimation has not been withdrawn
or determined by a Final Order. If the Debtors dispute only a portion of a Claim, such Claim shall be
deemed Allowed in any amount the Debtors do not dispute, and Disputed as to the balance of such Claim.

          1.52      Distribution Record Date means the Effective Date.

        1.53     Effective Date means the date that is the first Business Day on which all conditions to the
effectiveness of the Plan set forth in Article IX hereof have been satisfied or waived in accordance with
the terms of the Plan.

        1.54        Employee Arrangements shall have the meaning ascribed to such term in Section 5.8 of
the Plan.

         1.55    Entity means an individual, corporation, partnership, limited partnership, limited liability
company, association, joint stock company, joint venture, estate, trust, unincorporated organization,
governmental unit (as defined in section 101(27) of the Bankruptcy Code) or any political subdivision
thereof, or other person (as defined in section 101(41) of the Bankruptcy Code) or other entity.

         1.56    Equity Allocation Mechanism means the methodology for allocating the New Equity
Interests and/or Special Warrants among the holders of Allowed First Lien Claims set forth on Exhibit A
to the Plan.

          1.57      ERISA means the Employee Retirement Income Security Act of 1974, as amended.

        1.58    Estate or Estates means, individually or collectively, the estate or estates of the Debtors
created under section 541 of the Bankruptcy Code.




                                                      5
WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456     Filed 10/07/19 Entered 10/07/19 15:38:57                Main Document
                                             Pg 150 of 565


        1.59    Exculpated Parties means collectively, each solely in their capacities as such, the
(a) Debtors; (b) Reorganized Debtors; (c) Consenting First Lien Lenders; (d) Prepetition First Lien
Administrative Agent; (e) Prepetition Super Senior Administrative Agent; (f) DIP Agent, (g) DIP
Lenders; (h) New First Lien Lenders; (i) New First Lien Agent; (j) New Exit Facility Lenders; (k) New
Exit Facility Agent; (l) Litigation Trust Oversight Committee; (m) Creditors’ Committee and each of its
members in such capacity; (n) Non-Debtor Related Parties; and (o) Debtor Exculpated Parties.

        1.60    FCC means the Federal Communications Commission, including any official bureau or
division thereof acting on delegated authority, and any successor governmental agency performing
functions similar to those performed by the Federal Communications Commission on the Effective Date.

        1.61      FCC Applications means, collectively, each requisite application, petition, or other
request filed or to be filed with the FCC in connection with the Reorganization Transaction and this Plan,
including the FCC Applications.

        1.62     FCC Approval means the FCC’s grant of the FCC Applications; provided that, subject to
the consent of the Requisite First Lien Lenders, the possibility that an appeal, request for stay, or petition
for rehearing or review by a court or administrative agency may be filed with respect to such grant, or that
the FCC may reconsider or review such grant on its own authority, shall not prevent such grant from
constituting FCC Approval for purposes of the Plan.

         1.63    FCC Licenses means licenses, authorizations, waivers, and permits that are issued from
time to time by the FCC.

        1.64    FCC Applications means the applications filed with the FCC seeking FCC consent to the
Transfer of Control.

         1.65    FCC Ownership Procedures Order means an order entered by the Bankruptcy Court
establishing procedures for, among other things, completion and submission of the Ownership
Certifications, which order shall be in form and substance reasonably acceptable to the Requisite First
Lien Lenders.

          1.66      FCI means Fusion Connect, Inc.

        1.67    Fee Claim means a Claim for professional services rendered or costs incurred on or after
the Commencement Date through the Effective Date by professional persons retained by the Debtors or
the Creditors’ Committee by an order of the Bankruptcy Court pursuant to sections 327, 328, 329, 330,
331, or 503(b) of the Bankruptcy Code in the Chapter 11 Cases.

         1.68    Final Order means an order or judgment of a court of competent jurisdiction that has
been entered on the docket maintained by the clerk of such court and is in full force and effect, which has
not been reversed, vacated or stayed and as to which (a) the time to appeal, petition for certiorari, or move
for a new trial, reargument or rehearing has expired and as to which no appeal, petition for certiorari, or
other proceedings for a new trial, reargument, or rehearing shall then be pending; or (b) if an appeal, writ
of certiorari, new trial, reargument, or rehearing thereof has been sought, such order or judgment shall
have been affirmed by the highest court to which such order was appealed, or certiorari shall have been
denied, or a new trial, reargument, or rehearing shall have been denied or resulted in no modification of
such order, and the time to take any further appeal, petition for certiorari or move for a new trial,
reargument, or rehearing shall have expired; provided, however, that no order or judgment shall fail to be
a “Final Order” solely because of the possibility that a motion under Rules 59 or 60 of the Federal Rules
of Civil Procedure or any analogous Bankruptcy Rule (or any analogous rules applicable in another court



                                                      6
WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456      Filed 10/07/19 Entered 10/07/19 15:38:57             Main Document
                                              Pg 151 of 565


of competent jurisdiction) or sections 502(j) or 1144 of the Bankruptcy Code has been or may be filed
with respect to such order or judgment.

         1.69    First Lien Claims means all Claims arising under or in connection with the Prepetition
First Lien Credit Agreement.

         1.70    First Lien Lender Equity Distribution means a distribution of New Equity Interests
and/or Special Warrants, which New Equity Interests shall constitute one hundred percent (100%) of all
of the issued and outstanding New Equity Interests issued on the Effective Date, subject to dilution by the
Special Warrants and the Management Incentive Plan, and to be allocated among the holders of Allowed
First Lien Claims pursuant to, and subject to the terms and conditions of, the Equity Allocation
Mechanism; provided, that holders of Allowed First Lien Claims may receive a distribution on account of
their Claims in lieu of Special Warrants that is otherwise satisfactory to such holders and compliant with
the rules and regulations of the FCC and in the reasonable judgment of the Debtors, with the consent of
the Requisite First Lien Lenders, would not result in an undue delay of obtaining FCC Approval.

        1.71    First Lien Lender Group means the ad hoc group of Consenting First Lien Lenders
represented by Davis Polk & Wardwell LLP and Greenhill & Co., LLC.

         1.72    General Unsecured Claim means any Claim against the Debtors (other than any
Intercompany Claims) as of the Commencement Date that is neither secured by collateral nor entitled to
priority under the Bankruptcy Code or any Final Order of the Bankruptcy Court, including any deficiency
claim under section 506(a) of the Bankruptcy Code. For the avoidance of doubt, the Prepetition
Subordinated Notes Claim shall be deemed a General Unsecured Claim, but the Prepetition Subordinated
Notes Claim is not being deemed Allowed under this Plan.

          1.73      Global Settlement shall have the meaning ascribed to such term in Section 5.2(b) of the
Plan.

       1.74    Impaired means, with respect to a Claim, Interest, or Class of Claims or Interests,
“impaired” within the meaning of sections 1123(a)(4) and 1124 of the Bankruptcy Code.

         1.75    Independent Directors means the independent directors (other than Mr. Neal Goldman)
who have served on the Restructuring Committee at all times from its formation until immediately prior
to the Effective Date.

        1.76    Insured Claims means any Claim or portion of a Claim that is, or may be, insured under
any of the Debtors’ insurance policies.

        1.77    Intercompany Claim means any pre- or postpetition Claim against a Debtor held by
another Debtor.

       1.78    Intercompany Interest means an Interest in a Debtor held by another Debtor. For the
avoidance of doubt, an Intercompany Interest shall exclude a Parent Equity Interest.

         1.79    Interests means any equity security (as defined in section 101(16) of the Bankruptcy
Code) of a Debtor, including all shares, common stock, preferred stock, units, membership interest,
partnership interest, or other instrument evidencing any fixed or contingent ownership interest in any
Debtor, whether or not transferable, and any option, warrant, or other right, contractual or otherwise, to
acquire any such interest in the Debtors, whether fully vested or vesting in the future, including, without
limitation, equity or equity-based incentives, grants, or other instruments issued, granted or promised to



                                                      7
WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456      Filed 10/07/19 Entered 10/07/19 15:38:57              Main Document
                                              Pg 152 of 565


be granted to current or former employees, directors, officers, or contractors of the Debtors, to acquire
any such interests in the Debtors that existed immediately before the Effective Date.

        1.80     Key Employee Retention Agreements shall mean the key employee retention agreements
entered into by FCI and certain key employees of FCI on or about May 30, 2019.

          1.81      Lien has the meaning set forth in section 101(37) of the Bankruptcy Code.

       1.82   Lingo Receivable means amounts payable to the Debtors under the Carrier Solutions
Master Services Agreement and Transition Services Agreement among the Debtors and Lingo
Communications, Inc.

         1.83    Litigation Trust means the trust that will be created on the Effective Date pursuant to the
Litigation Trust Agreement and in accordance with the terms of this Plan.

         1.84    Litigation Trust Agreement means the trust agreement by and among the Reorganized
Debtors (solely in their capacity as successors to the Debtors), the Litigation Trust Oversight Committee
and the Creditors’ Committee, that, among other things, establishes the Litigation Trust and describes the
powers, duties, and responsibilities of the Litigation Trust Oversight Committee, substantially in the form
included in the Plan Supplement and consistent with Section 5.2(b) and Section 5.16 of the Plan, which
shall be in form and substance reasonably acceptable to the Requisite First Lien Lenders.

        1.85    Litigation Trust Assets means the Litigation Trust Causes of Action and the Litigation
Trust Proceeds.

         1.86  Litigation Trust Causes of Action means, collectively, the Litigation Trust Debtor
Causes of Action and the Litigation Trust First Lien Lender Causes of Action (as defined in Section
5.2(b)).

         1.87    Litigation Trust Debtor Causes of Action means (i) all Causes of Action of the Debtors
under chapter 5 of the Bankruptcy Code or under similar or related state or federal statutes and common
law, including, without limitation, all preference, fraudulent conveyance, fraudulent transfer, and/or other
similar avoidance claims, rights, and causes of action, and commercial tort law, (ii) all Causes of Action
of any Debtor (including for the avoidance of doubt any predecessor of any Debtor) or any Debtor’s
Estate against any Non-Released Party, other than Causes of Action arising in connection with the Lingo
Receivable, (iii) all Causes of Action of the Debtors arising in connection with the Debtors and relating to
any act or omission of any Non-Released Party; and (iv) all Causes of Action of any Debtor (including for
the avoidance of doubt any predecessor of any Debtor), the Debtors’ Estates, and the Reorganized
Debtors arising under any D&O Policy solely to the extent such Causes of Action are based on Causes of
Action described in sub-sections (i), (ii), and (iii) of this section and to the extent assignable to the
Litigation Trust pursuant to the terms of the applicable D&O Policy; provided, however, that Litigation
Trust Debtor Causes of Action shall not include: (a) any Causes of Action against any Released Party that
is released pursuant to the Plan and (b) Preference Actions against any Entity other than Non-Released
Parties.

        1.88    Litigation Trust Expenses means all reasonable fees, costs, and expenses of and incurred
by the Litigation Trust, including legal and other professional fees, costs, and expenses, administrative
fees and expenses, insurance fees, taxes, and escrow expenses, including reasonable fees and expenses of
the Litigation Trust Oversight Committee, which shall be paid in accordance with the Litigation Trust
Agreement; provided, however, that neither the Debtors nor the Reorganized Debtors shall be required in
any event to pay the Litigation Trust Expenses.



                                                       8
WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456      Filed 10/07/19 Entered 10/07/19 15:38:57              Main Document
                                              Pg 153 of 565


         1.89     Litigation Trust First Lien Lender Causes of Action has the meaning set forth in Section
5.2 of this Plan.

       1.90    Litigation Trust Initial Funding means an initial amount of $1,500,000 cash to be
funded by the Reorganized Debtors to the Litigation Trust on the Effective Date.

         1.91    Litigation Trust Interest means a non-certificated beneficial interest in the Litigation
Trust granted to each holder of an Allowed General Unsecured Claim (other than the Term Loan
Deficiency Claim and the Second Lien Deficiency Claim), which shall entitle such holder to a Pro Rata
share in the Litigation Trust Assets in accordance with the Litigation Trust Agreement and Sections 4.4,
4.5, 5.2(b) and 5.16 of the Plan.

        1.92    Litigation Trust Litigation Proceeds means proceeds of the Litigation Trust Causes of
Action payable to the Litigation Trust in accordance with Section 5.2(b) of the Plan.

         1.93    Litigation Trust Loan means an interest-bearing loan in the aggregate amount of
$3,500,000 to be made by Reorganized FCI or its affiliates to the Litigation Trust in accordance with the
Litigation Trust Loan Agreement and Sections 5.2(b) and 5.16 of the Plan.

        1.94     Litigation Trust Loan Agreement means an agreement among the Reorganized Debtors
and the Litigation Trust governing the Litigation Trust Loan Proceeds to be entered on the Effective Date,
or as soon thereafter as reasonably practicable, consistent with Sections 5.2(b) and 5.16 of the Plan, which
shall be in form and substance reasonably acceptable to the Committee and the Requisite First Lien
Lenders.

          1.95      Litigation Trust Loan Proceeds means the proceeds of the Litigation Trust Loan.

        1.96      Litigation Trust Oversight Committee means a three-person committee with the role,
responsibilities, and authority relating to the Litigation Trust and the Litigation Trust Assets set forth in
the Litigation Trust Agreement and Sections 5.2(b) and 5.16 of the Plan, which shall initially be
comprised of: (a) a member appointed by the Creditors’ Committee; (b) a member appointed by the First
Lien Lender Group; and (c) Mr. Neal Goldman.

         1.97   Litigation Trust Proceeds means the Litigation Trust Initial Funding, the Litigation Trust
Litigation Proceeds, and the Litigation Trust Loan Proceeds.

        1.98    Management Incentive Plan means a post-emergence management incentive plan, under
which up to ten percent (10%) of the New Equity Interests (after taking into account the shares to be
issued under the Management Incentive Plan) will be reserved for issuance as awards on terms and
conditions as agreed to by the New Board.

        1.99    New Board means the new board of directors of Reorganized FCI selected in accordance
with Section 5.5 of the Plan.

        1.100 New Equity Interests means the new common stock to be issued by Reorganized FCI on
the Effective Date or upon exercise of the Special Warrants, authorized pursuant to the Amended
Organizational Documents of Reorganized FCI.

      1.101         New Exit Facility means the facility arising pursuant to the New Exit Facility Credit
Agreement.




                                                      9
WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456     Filed 10/07/19 Entered 10/07/19 15:38:57              Main Document
                                             Pg 154 of 565


        1.102 New Exit Facility Agent means the administrative agent under the New Exit Facility
Credit Agreement.

        1.103 New Exit Facility Credit Agreement means the agreement to be entered into by the
Reorganized Debtors, the New Exit Facility Agent and the New Exit Facility Lenders on the Effective
Date that shall govern the New Exit Facility.

        1.104 New Exit Facility Documents means, collectively, the New Exit Facility Credit
Agreement and all other documents required to be delivered by any of the Reorganized Debtors pursuant
to the New Exit Facility Credit Agreement.

      1.105         New Exit Facility means the facility arising pursuant to the New Exit Facility Credit
Agreement.

       1.106 New Exit Facility Lenders means the Persons party to the New Exit Facility Credit
Agreement as “Lenders” thereunder, each in its capacity as such, and each of their respective successors
and permitted assigns.

      1.107         New First Lien Agent means the administrative agent under the New First Lien Credit
Agreement.

         1.108 New First Lien Credit Agreement means the agreement to be entered into by the
Reorganized Debtors, the New First Lien Agent, and the New First Lien Lenders on the Effective Date
that shall govern the New First Lien Credit Facility.

        1.109 New First Lien Credit Facility means the facility arising pursuant to the New First Lien
Credit Agreement, on terms consistent with the New First Lien Term Sheet.

         1.110 New First Lien Documents means, collectively, the New First Lien Credit Agreement
and all other documents required to be delivered by any of the Reorganized Debtors pursuant to the New
First Lien Credit Agreement.

        1.111 New First Lien Lenders means the Persons party to the New First Lien Credit Agreement
as “Lenders” thereunder, each in its capacity as such, and each of their respective successors and
permitted assigns.

        1.112 New First Lien Term Sheet means the term sheet attached as Schedule 2 to the
Restructuring Term Sheet attached as Exhibit A to the RSA and as Exhibit B to the Plan, as may be
amended from time to time.

        1.113 Non-Debtor Related Parties means with respect to any Exculpated Party (other than the
Debtors and the Debtor Exculpated Parties) or any Released Party (other than the Debtor Related Parties),
and in their capacities as such, such Entities’ predecessors (other than predecessors of the Reorganized
Debtors), successors and assigns, subsidiaries, Affiliates, managed accounts or funds, and all of their
respective current and former officers, directors, managers, limited partners, principals, stockholders (and
any fund managers, fiduciaries or other agents of stockholders with any involvement related to the
Debtors), members, partners, managers, employees, subcontractors, agents, advisory board members,
financial advisors, attorneys, accountants, investment bankers, investment managers, investment advisors,
consultants, representatives, management companies, fund advisors and other professionals, and such
persons’ respective heirs, executors, estates, servants and nominees; for the avoidance of doubt, the Non-
Debtor Related Parties do not include the Debtors themselves or any Non-Released Party.



                                                     10
WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456      Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                              Pg 155 of 565


        1.114 Non-Released Party means (i) any current or former director, officer, member,
shareholder, or employee of the Debtors or predecessor of the Debtors, other than the Specified Officers
and Directors and the Debtor Employees, (ii) any Affiliate of the Debtors or predecessors of the Debtors,
and any directors, officers, shareholders, or employees thereof, (iii) any predecessor of a Debtor, (iv)
Lingo Communications LLC, any Affiliates thereof, and their directors, officers, shareholders, and
employees, (v) any subsequent transferee of any of the foregoing, (vii) any counsel, accountant or other
professional advisor to (x) any of the foregoing and (y) the Debtors or predecessor of any Debtor prior to
March 1, 2019; provided, that vendors and contract counterparties of Reorganized FCI, other than Lingo
Communications LLC and any Affiliates thereof, shall not be Non-Released Parties solely with respect to
any Preference Action against them; provided further, that no Reorganized Debtor, Reorganized Debtor’s
successor or Consenting First Lien Lender shall be a Non-Released Party.

         1.115 Other Officers and Directors means the following directors and officers of the Debtors
as of the Commencement Date: (i) Chief Executive Officer, (ii) President and Chief Operating Officer,
and (iii) Marvin S. Rosen.

        1.116 Other Secured Claim means a Secured Claim, other than an Administrative Expense
Claim, a DIP Claim, a Priority Tax Claim, a First Lien Claim, or a Second Lien Claim.

         1.117 Ownership Certification means a written certification, in the form attached to the FCC
Ownership Procedures Order, which shall, among other things, be sufficient to enable the Debtors or
Reorganized Debtors, as applicable, to determine the extent to which direct and indirect voting and equity
interests of the certifying party are held by non-U.S. Persons, as determined under sections 214 and
310(b) of the Communications Act, as interpreted and applied by the FCC.

       1.118 Ownership Certification Deadline means the deadline set forth in the FCC Ownership
Procedures Order for returning Ownership Certifications.

          1.119     Parent Equity Interests means any Interest in FCI.

         1.120 Person means any individual, corporation, partnership, limited liability company,
association, organization, joint stock company, joint venture, estate, trust, Governmental Unit or any
political subdivision thereof, or any other Entity.

        1.121 Petition for Declaratory Ruling means a filing that shall be submitted to the FCC by the
Debtors or Reorganized Debtors, as applicable, pursuant to 47 C.F.R. §§ 1.5000 et seq. for Reorganized
FCI to exceed the twenty five percent (25%) indirect foreign ownership benchmark contained in 47
U.S.C. § 310(b)(4).

         1.122 Plan means this joint chapter 11 plan, including all appendices, exhibits, schedules, and
supplements hereto (including, without limitation, any appendices, schedules, and supplements to the
Plan contained in the Plan Supplement), as the same may be amended, supplemented, or modified from
time to time in accordance with the RSA, the provisions of the Bankruptcy Code and the terms hereof.

         1.123 Plan Supplement means a supplemental appendix to the Plan containing, among other
things, forms of applicable documents, schedules, and exhibits to the Plan to be filed with the Bankruptcy
Court, including, but not limited to, the following: (a) Amended Organizational Documents (to the extent
such Amended Organizational Documents reflect material changes from the Debtors’ existing
organizational documents and bylaws); (b) New First Lien Credit Agreement; (c) New Exit Facility
Credit Agreement; (d) Stockholders Agreement; (e) Special Warrant Agreement; (f) Assumption
Schedule; (g) the Litigation Trust Agreement; (h) the Litigation Trust Loan Agreement; and (i) to the



                                                      11
WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57              Main Document
                                           Pg 156 of 565


extent known, information required to be disclosed in accordance with section 1129(a)(5) of the
Bankruptcy Code; provided, that through the Effective Date, the Debtors shall have the right to amend the
Plan Supplement and any schedules, exhibits, or amendments thereto, in accordance with the terms of the
Plan and the RSA. The Plan Supplement shall be filed with the Bankruptcy Court no later than seven (7)
calendar days prior to the deadline to object to the Plan. The Debtors shall have the right to amend the
documents contained in the Plan Supplement through and including the Effective Date in accordance with
the terms of the Plan.

       1.124 Preference Actions means any Causes of Action arising under section 547 of the
Bankruptcy Code or similar preference-related actions arising under the Bankruptcy Code or applicable
non-bankruptcy law.

       1.125 Prepetition First Lien Administrative Agent means Wilmington Trust, in its capacity as
administrative agent under the Prepetition First Lien Credit Agreement, and its successors and assigns.

         1.126 Prepetition First Lien Credit Agreement means that certain First Lien Credit and
Guaranty Agreement, dated as of May 4, 2018, by and among FCI, as borrower, certain subsidiaries of
FCI, as guarantor subsidiaries, Wilmington Trust, as administrative agent and collateral agent, and the
Prepetition First Lien Lenders, as amended, restated, modified or supplemented from time to time prior to
the Commencement Date.

        1.127 Prepetition First Lien Credit Documents means, collectively, each “Credit Document”
as defined in the Prepetition First Lien Credit Agreement.

        1.128 Prepetition First Lien Lenders means any lender party to the Prepetition First Lien
Credit Agreement, each in its capacity as such.

        1.129 Prepetition First Lien Loans means “Loans” as defined in the Prepetition First Lien
Credit Agreement.

        1.130 Prepetition Intercreditor Agreement means that certain Intercreditor Agreement, dated
as of May 4, 2018, among Wilmington Trust, as First Lien representative, and GLAS Americas LLC (as
successor to Wilmington Trust), as Second Lien representative.

        1.131 Prepetition Second Lien Administrative Agent means GLAS USA LLC, in its capacity
as successor administrative agent under the Prepetition Second Lien Credit Agreement, and its successors
and assigns.

        1.132 Prepetition Second Lien Credit Agreement means that certain Second Lien Credit and
Guaranty Agreement, dated as of May 4, 2018, by and among FCI, as borrower, certain subsidiaries of
FCI, as guarantor subsidiaries, GLAS Americas LLC as collateral agent (as successor to Wilmington
Trust in such capacity), GLAS USA LLC, as administrative agent (as successor to Wilmington Trust in
such capacity), and the Prepetition Second Lien Lenders, as amended, restated, modified or supplemented
from time to time prior to the Commencement Date.

        1.133 Prepetition Second Lien Lenders means any lender under the Prepetition Second Lien
Credit Agreement, each in its capacity as such.

        1.134 Prepetition Subordinated Notes means, collectively, the subordinated unsecured note,
dated as of May 4, 2018, in favor of Holcombe T. Green, Jr. (or an entity majority-owned and controlled
by Holcombe T. Green, Jr. or his heirs, beneficiaries, trusts or estate) and the subordinated unsecured



                                                   12
WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456     Filed 10/07/19 Entered 10/07/19 15:38:57              Main Document
                                             Pg 157 of 565


notes, each dated as of October 28, 2016, as amended and restated as of May 4, 2018, in favor of
Holcombe T. Green, Jr., R. Kirby Godsey and the Holcombe T. Green, Jr. 2013 Five-Year Annuity Trust.

         1.135 Prepetition Subordinated Notes Claims means all Claims on account of, arising under, or
relating to the Prepetition Subordinated Notes.

       1.136 Prepetition Super Senior Administrative Agent means Wilmington Trust, in its capacity
as administrative agent under the Prepetition Super Senior Credit Agreement.

        1.137 Prepetition Super Senior Credit Agreement means that certain Super Senior Secured
Credit Agreement, dated as of May 9, 2019, by and among FCI, as borrower, certain subsidiaries of FCI,
as guarantor subsidiaries, Wilmington Trust, as administrative agent and collateral agent, and the lenders
party thereto, as amended by that certain Incremental Amendment and Amendment No. 1 thereto, dated
as of May 28, 2019, and as further amended, restated, modified or supplemented from time to time prior
to the Commencement Date.

      1.138 Prepetition Super Senior Credit Documents means, collectively, each “Credit
Document” as defined in the Prepetition Super Senior Credit Agreement.

        1.139 Priority Non-Tax Claim means any Claim other than an Administrative Expense Claim
or a Priority Tax Claim, entitled to priority in payment as specified in section 507(a) of the Bankruptcy
Code.

       1.140 Priority Tax Claim means any Claim of a governmental unit as defined in section
101(27) of the Bankruptcy Code of the kind entitled to priority in payment as specified in sections 502(i)
and 507(a)(8) of the Bankruptcy Code.

         1.141 Pro Rata means the proportion that an Allowed Claim or Interest in a particular Class
bears to the aggregate amount of Allowed Claims or Interests in that Class, or the proportion that Allowed
Claims or Interests in a particular Class bear to the aggregate amount of Allowed Claims and Disputed
Claims or Allowed Interests and Disputed Interests in a particular Class and other Classes entitled to share
in the same recovery as such Class under the Plan.

          1.142     Reinstate, Reinstated, or Reinstatement means leaving a Claim Unimpaired under the
Plan.

        1.143 Released Parties means collectively the: (a) Reorganized Debtors; (b) Consenting First
Lien Lenders; (c) Prepetition First Lien Administrative Agent; (d) Consenting Second Lien Lenders;
(e) Prepetition Second Lien Administrative Agent; (f) DIP Agent; (g) DIP Lenders; (h) Prepetition Super
Senior Administrative Agent; (i) Prepetition Super Senior Lenders; (j) Creditors’ Committee and each of
its members in such capacity; (k) the Specified Officers and Directors; (l) Non-Debtor Related Parties;
and (m) Debtor Related Parties; provided, however, that notwithstanding anything to the contrary herein,
no Non-Released Party shall be a Released Party.

         1.144 Reorganization Transaction means, collectively, (a) issuance of the New Equity
Interests; (b) entry into the New First Lien Credit Documents; (c) entry into the New Exit Facility
Documents; (d) entry into the Special Warrant Agreement; (e) entry into the Litigation Trust Agreement;
(f) entry into the Litigation Trust Loan Agreement; (g) execution of the Amended Organizational
Documents; (h) vesting of the Debtors’ assets in the Reorganized Debtors, in each case, in accordance
with the Plan; and (i) the other transactions that the Debtors and the Requisite First Lien Lenders




                                                    13
WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456     Filed 10/07/19 Entered 10/07/19 15:38:57              Main Document
                                             Pg 158 of 565


reasonably determine are necessary or appropriate to implement the foregoing, in each case, in
accordance with the Plan and the RSA.

        1.145 Reorganized Debtors means, the Debtors, as reorganized pursuant to and under the Plan
on and after the Effective Date.

        1.146 Reorganized FCI means, FCI, as reorganized pursuant to and under the Plan on or after
the Effective Date

       1.147 Requisite First Lien Lenders means, as of the date of determination, Consenting First
Lien Lenders holding at least a majority in aggregate principal amount outstanding of the Prepetition First
Lien Loans held by the Consenting First Lien Lenders as of such date.

        1.148 Restructuring Committee means the restructuring committee appointed by the Board of
Directors on May 28, 2019.

         1.149 Restructuring Expenses means the reasonable and documented fees and expenses
incurred by the Consenting First Lien Lenders in connection with the Chapter 11 Cases, including the fees
and expenses of (i) Davis Polk & Wardwell LLP, (ii) Greenhill & Co., LLC, (iii) Altman Vilandrie &
Company and its sub-contractors, (iv) Wiley Rein LLP, (v) the Prepetition First Lien Administrative
Agent, (vi) Arnold & Porter Kaye Scholer LLP, (vii) one firm acting as local counsel (if any), and
(vi) any other advisors retained by the Requisite First Lien Lenders, payable in accordance with the terms
of any applicable engagement or fee letters executed with such parties and without the requirement for the
filing of retention applications, fee applications, or any other application in the Chapter 11 Cases, which
shall be Allowed as Administrative Expense Claims upon incurrence and shall not be subject to any
offset, defense, counterclaim, reduction, or credit.

        1.150 RSA means that certain Restructuring Support Agreement, dated as of June 3, 2019, by
and among the Debtors and the Consenting First Lien Lenders (as may be amended, supplemented, or
modified from time to time in accordance with the terms thereof) annexed to the Disclosure Statement as
Exhibit B.

          1.151     SEC means the U.S. Securities and Exchange Commission and any successor agency.

       1.152 Second Lien Claims means any Claims arising from or in connection with the Prepetition
Second Lien Credit Agreement.

        1.153 Second Lien Deficiency Claim means the unsecured Claims on account of the
indebtedness under the Prepetition Second Lien Credit Agreement under section 506(a) of the Bankruptcy
Code.

        1.154 Second Lien Lender Group means the ad hoc group of Consenting Second Lien Lenders
represented by Proskauer Rose, LLP.

        1.155 Second Lien Lender Restructuring Expenses means the reasonable and documented fees
and expenses incurred by the Second Lien Lender Group in connection with the Chapter 11 Cases,
including: (i) the fees and expenses of Proskauer Rose, LLP and (ii) M-III Partners, in an aggregate
amount not to exceed $1.25 million.

       1.156 Second Lien Lender Special Warrant Distribution means a distribution of Special
Warrants to purchase 2.5% of all of the issued and outstanding New Equity Interests, subject to dilution



                                                    14
WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456      Filed 10/07/19 Entered 10/07/19 15:38:57               Main Document
                                              Pg 159 of 565


by the Management Incentive Plan; provided, that holders of Allowed Second Lien Claims may receive a
distribution on account of their Claims in lieu of Special Warrants that is otherwise satisfactory to such
holders and compliant with the rules and regulations of the FCC and in the reasonable judgment of the
Debtors would not result in an undue delay of obtaining FCC Approval.

         1.157 Secured Claim means a Claim (a) secured by a Lien on collateral to the extent of the
value of such collateral as (i) set forth in the Plan, (ii) agreed to by the holder of such Claim and the
Debtors, or (iii) determined by a Final Order in accordance with section 506(a) of the Bankruptcy Code;
or (b) secured by the amount of any right of setoff of the holder thereof in accordance with section 553 of
the Bankruptcy Code.

          1.158     Security has the meaning set forth in section 101(49) of the Bankruptcy Code.

         1.159 Settlement Restructuring Expenses means the reasonable and documented fees and
expenses incurred by O’Melveny & Myers LLP, counsel to Matthew D. Rosen, solely to the extent
directly related to negotiating and finalizing the Consulting Agreement and Mr. Rosen’s resignation as
Chief Executive Officer of the Debtors.

       1.160 Special Committee means the committee established by the Board of Directors prior to
the Commencement Date.

        1.161 Special Warrant means a warrant, issued by Reorganized FCI pursuant to the Plan, the
Equity Allocation Mechanism and the Special Warrant Agreement, to purchase New Equity Interests, the
terms of which will provide that (i) the holder may exercise its rights to purchase New Equity Interests at
no cost and (ii) it will not be exercisable unless such exercise complies with applicable law, including,
without limitation, the Communications Act and the rules and regulations of the FCC, which shall be in
form and substance acceptable to the Debtors and the Requisite First Lien Lenders.

        1.162 Special Warrant Agreement means the warrant agreement, to be effective on the
Effective Date, governing the Special Warrants to be issued by Reorganized FCI, the form of which shall
be included in the Plan Supplement.

         1.163 Specified Officers and Directors means (a) the following officers of the Debtors who
served in such capacity during the Chapter 11 Cases, so long as such officers do not voluntarily terminate
their employment or are not terminated for cause prior to the Effective Date: (i) Chief Financial Officer;
(ii) Executive Vice President and General Counsel; and (iii) Chief Technology Officer; and (b) Mr. Neal
Goldman.

       1.164 State Public Utility Commissions (PUCs) means the regulatory agency in each U.S. state
(which, for this definition, shall include the District of Columbia) with jurisdiction over intrastate
telecommunications services.

        1.165 State PUC Applications means, collectively, each requisite application, petition, or other
request filed or to be filed with the PUCs in connection with the Reorganization Transaction and this
Plan.

        1.166 State PUC Approvals means the State PUCs’ grant(s) of the State PUC Applications;
provided that, subject to the consent of the Requisite First Lien Lenders, the possibility that an appeal,
request for stay, or petition for rehearing or review by a court or administrative agency may be filed with
respect to such grant(s), or that the State PUCs may reconsider or review such grant(s) on their own




                                                       15
WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456      Filed 10/07/19 Entered 10/07/19 15:38:57               Main Document
                                              Pg 160 of 565


authority, shall not prevent such grant(s) from constituting State PUC Approval(s) for purposes of the
Plan.

        1.167 State PUC Licenses means licenses, authorizations, waivers and permits that are issued
from time to time by the State PUCs in connection with the provision of intrastate telecommunications
services and Voice-over-Internet-Protocol (VoIP) services.

        1.168 State PUC Notices means the required or customary informational filings to be made
with State PUCs where applications for approval are not required in connection with the Reorganization
Transaction and this Plan.

        1.169 Stockholders Agreement means that certain stockholders agreement substantially in the
form included as an exhibit to the Plan Supplement.

        1.170 Subordinated Securities Claims means a Claim subject to subordination under section
510(b) of the Bankruptcy Code.

          1.171     Tax Code means the Internal Revenue Code of 1986, as amended.

        1.172 Term Loan Deficiency Claim means the unsecured Claims on account of the
indebtedness under the Prepetition First Lien Credit Agreement under section 506(a) of the Bankruptcy
Code (if any).

        1.173 Transfer of Control means the transfer of control of the FCC Licenses and State PUC
Licenses held by any of FCI or its subsidiaries as a result of the issuance of the New Equity Interests
and/or Special Warrants to holders of First Lien Claims after the FCC grants the FCC Applications.

        1.174 Unimpaired means, with respect to a Claim, Interest, or Class of Claims or Interests, not
“impaired” within the meaning of sections 1123(a)(2) and 1124 of the Bankruptcy Code.

          1.175     U.S. Trustee means the United States Trustee for the Southern District of New York.

       1.176 Voting Deadline means the date by which all persons or Entities entitled to vote on the
Plan must vote to accept or reject the Plan.

          1.177     Wilmington Trust means Wilmington Trust, National Association.

          B.        Interpretation; Application of Definitions and Rules of Construction.

                  Unless otherwise specified, all section or exhibit references in the Plan are to the
respective section in, or exhibit to, the Plan, as the same may be amended, waived, or modified from time
to time. The words “herein,” “hereof,” “hereto,” “hereunder,” and other words of similar import refer to
the Plan as a whole and not to any particular section, subsection, or clause contained therein. The
headings in the Plan are for convenience of reference only and shall not limit or otherwise affect the
provisions hereof. For purposes herein: (a) in the appropriate context, each term, whether stated in the
singular or the plural, shall include both the singular and the plural, and pronouns stated in the masculine,
feminine, or neuter gender shall include the masculine, feminine, and the neuter gender; (b) any reference
herein to a contract, lease, instrument, release, indenture, or other agreement or document being in a
particular form or on particular terms and conditions means that the referenced document shall be
substantially in that form or substantially on those terms and conditions; (c) unless otherwise specified, all
references herein to “Sections” are references to Sections hereof or hereto; (d) the rules of construction set



                                                      16
WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456     Filed 10/07/19 Entered 10/07/19 15:38:57               Main Document
                                             Pg 161 of 565


forth in section 102 of the Bankruptcy Code shall apply; and (e) any term used in capitalized form herein
that is not otherwise defined but that is used in the Bankruptcy Code or the Bankruptcy Rules shall have
the meaning assigned to that term in the Bankruptcy Code or the Bankruptcy Rules, as the case may be.

          C.        Reference to Monetary Figures.

                All references in the Plan to monetary figures shall refer to the legal tender of the United
States of America, unless otherwise expressly provided.

          D.        Controlling Document.

                 In the event of any conflict between the terms and provisions in the Plan (without
reference to the Plan Supplement) and the terms and provisions in the Disclosure Statement, the Plan
Supplement, any other instrument or document created or executed pursuant to the Plan (including any
other Definitive Document), or any order (other than the Confirmation Order) referenced in the Plan (or
any exhibits, schedules, appendices, supplements, or amendments to any of the foregoing), the Plan
(without reference to the Plan Supplement) shall govern and control; provided, however, that, in the event
of a conflict between the Confirmation Order, on the one hand, and any of the Plan, the Plan Supplement,
the other Definitive Documents, on the other hand, the Confirmation Order shall govern and control in all
respects.

          E.        Certain Consent Rights.

                 Notwithstanding anything in the Plan to the contrary, any and all consent rights of the
parties to the RSA and the DIP Agent as set forth in the RSA and the DIP Documents with respect to the
form and substance of the Plan, the Plan Supplement, and any Definitive Document, including any
amendments, restatements, supplements, or other modifications to such documents, and any consents,
waivers, or other deviations under or from any such documents, shall be incorporated herein by this
reference (including to the applicable definitions in Article I hereof) and fully enforceable as if stated in
full herein.

                 ARTICLE II ADMINISTRATIVE EXPENSE AND PRIORITY CLAIMS.

          2.1.      Administrative Expense Claims.

                Except as otherwise set forth herein, and except to the extent that a holder of an Allowed
Administrative Expense Claim agrees to less favorable treatment, each holder of an Allowed
Administrative Expense Claim (other than a Fee Claim, a DIP Claim, or a Restructuring Expense) shall
receive, in full and final satisfaction of such Claim, Cash in an amount equal to such Allowed
Administrative Expense Claim on, or as soon thereafter as is reasonably practicable, the later of (a) the
Effective Date and (b) the first Business Day after the date that is thirty (30) calendar days after the date
such Administrative Expense Claim becomes an Allowed Administrative Expense Claim; provided, that
Allowed Administrative Expense Claims representing liabilities incurred in the ordinary course of
business by the Debtors, as Debtors in Possession, shall be paid by the Debtors or the Reorganized
Debtors, as applicable, in the ordinary course of business, consistent with past practice and in accordance
with the terms and subject to the conditions of any course of dealing or agreements governing,
instruments evidencing, or other documents relating to such transactions.




                                                     17
WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456     Filed 10/07/19 Entered 10/07/19 15:38:57              Main Document
                                             Pg 162 of 565


          2.2.      Fee Claims.

                 (a)      All Entities seeking an award by the Bankruptcy Court of Fee Claims shall file
and serve on counsel to the Debtors or the Creditors’ Committee, as applicable, the U.S. Trustee, and
counsel to the First Lien Lender Group, on or before the date that is forty-five (45) days after the
Effective Date, their respective final applications for allowance of compensation for services rendered and
reimbursement of expenses incurred from the Commencement Date through the Effective Date.
Objections to any Fee Claims must be filed and served on counsel to the Debtors, counsel to the First
Lien Lender Group, and the requesting party no later than twenty-one (21) calendar days after the filing of
the final applications for compensation or reimbursement (unless otherwise agreed by the Debtors or the
Reorganized Debtors, as applicable, and the party requesting compensation of a Fee Claim).

                (b)      Allowed Fee Claims shall be paid in full, in Cash, in such amounts as are
Allowed by the Bankruptcy Court (i) on the date upon which an order relating to any such Allowed Fee
Claim is entered or as soon as reasonably practicable thereafter; or (ii) upon such other terms as may be
mutually agreed upon between the holder of such an Allowed Fee Claim and the Debtors or the
Reorganized Debtors, as applicable. Notwithstanding the foregoing, any Fee Claims that are authorized
to be paid pursuant to any administrative orders entered by the Bankruptcy Court may be paid at the times
and in the amounts authorized pursuant to such orders.

                  (c)    On or about the Effective Date, holders of Fee Claims shall provide a reasonable
estimate of unpaid Fee Claims incurred in rendering services before the Effective Date to the Debtors, and
the Debtors or Reorganized Debtors, as applicable, shall escrow such estimated amounts for the benefit of
the holders of the Fee Claims until the fee applications related thereto are resolved by Final Order or
agreement of the parties. If a holder of a Fee Claim does not provide an estimate, the Debtors or the
Reorganized Debtors, as applicable, may estimate the unpaid and unbilled reasonable and necessary fees
and out-of-pocket expenses of such holder of a Fee Claim. When all such Allowed Fee Claims have been
paid in full, any remaining amount in such escrow shall promptly be released from such escrow and revert
to, and ownership thereof shall vest in, the Reorganized Debtors without any further action or order of the
Bankruptcy Court.

                (d)     The Reorganized Debtors are authorized to pay compensation for services
rendered or reimbursement of expenses incurred after the Effective Date in the ordinary course and
without the need for Bankruptcy Court approval.

          2.3.      Priority Tax Claims.

                 Except to the extent that a holder of an Allowed Priority Tax Claim agrees to less
favorable treatment, each holder of an Allowed Priority Tax Claim shall receive, in full and final
satisfaction of such Allowed Priority Tax Claim, at the sole option of the Debtors or the Reorganized
Debtors, as applicable, (a) Cash in an amount equal to such Allowed Priority Tax Claim on, or as soon
thereafter as is reasonably practicable, the later of (i) the Effective Date, to the extent such Claim is an
Allowed Priority Tax Claim on the Effective Date; (ii) the first Business Day after the date that is thirty
(30) calendar days after the date such Priority Tax Claim becomes an Allowed Priority Tax Claim; and
(iii) the date such Allowed Priority Tax Claim is due and payable in the ordinary course as such
obligation becomes due; provided, that the Debtor reserves the right to prepay all or a portion of any such
amounts at any time under this option without penalty or premium; or (b) equal annual Cash payments in
an aggregate amount equal to the amount of such Allowed Priority Tax Claim, together with interest at
the applicable rate under section 511 of the Bankruptcy Code, over a period not exceeding five (5) years
from and after the Commencement Date.




                                                    18
WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456      Filed 10/07/19 Entered 10/07/19 15:38:57              Main Document
                                              Pg 163 of 565


          2.4.      DIP Claims.

                  As of the Effective Date, the DIP Claims shall be Allowed in the full amount outstanding
under the DIP Credit Agreement, including principal, interest, fees, and expenses. On the Effective Date,
in full and final satisfaction of the DIP Claims, such claims shall be paid in full in Cash from the proceeds
of the New Exit Facility. Notwithstanding anything to the contrary in the Plan or the Confirmation Order,
(i) the Contingent DIP Obligations shall survive the Effective Date and shall not be discharged or released
pursuant to the Plan or the Confirmation Order, and (ii) the DIP Documents shall continue in full force
and effect after the Effective Date with respect to any obligations thereunder governing (1) the Contingent
DIP Obligations and (2) the relationships among the DIP Agent and the DIP Lenders.

                 On the later of (1) the Effective Date and (2) the date on which such fees, expenses, or
disbursements would be required to be paid under the terms of the DIP Order, the Debtors or Reorganized
Debtors (as applicable) shall pay all fees, expenses, and disbursements of the DIP Agent and DIP
Lenders, in each case that have accrued and are unpaid as of the Effective Date and are required to be
paid under or pursuant to the DIP Order. After the Effective Date, the Reorganized Debtors shall
continue to reimburse the DIP Agent and the DIP Lenders for the reasonable fees and expenses (including
reasonable and documented legal fees and expenses) incurred by the DIP Agent and the DIP Lenders after
the Effective Date in accordance with the terms thereof and/or the DIP Order. The Reorganized Debtors
shall pay all of the amounts that may become payable to the DIP Agent or any of the DIP Lenders on
account of any Contingent DIP Obligations in accordance with the terms of the DIP Documents and the
DIP Order.

          2.5.      Restructuring Expenses.

                  During the period commencing on the Commencement Date through the Effective Date,
the Debtors will promptly pay in full in Cash any Restructuring Expenses in accordance with the terms of
the RSA. Without limiting the foregoing, to the extent that any Restructuring Expenses remain unpaid as
of the Business Day prior to the Effective Date, on the Effective Date, the Reorganized Debtors shall pay
in full in Cash any outstanding Restructuring Expenses that are invoiced without the requirement for the
filing of retention applications, fee applications, or any other applications in the Chapter 11 Cases, and
without any requirement for further notice or Bankruptcy Court review or approval. For the avoidance of
doubt, any Restructuring Expenses invoiced after the Effective Date shall be paid promptly, but no later
than ten (10) business days of receiving an invoice.

                   ARTICLE III CLASSIFICATION OF CLAIMS AND INTERESTS.

          3.1.      Classification in General.

                 A Claim or Interest is placed in a particular Class for all purposes, including voting,
confirmation, and distribution under the Plan and under sections 1122 and 1123(a)(1) of the Bankruptcy
Code; provided, that a Claim or Interest is placed in a particular Class for the purpose of receiving
distributions pursuant to the Plan only to the extent that such Claim or Interest is an Allowed Claim or
Allowed Interest in that Class and such Allowed Claim or Allowed Interest has not been satisfied,
released, or otherwise settled prior to the Effective Date.

          3.2.      Summary of Classification.

                The following table designates the Classes of Claims against and Interests in the Debtor
and specifies which of those Classes are (a) Impaired or Unimpaired by the Plan; (b) entitled to vote to
accept or reject the Plan in accordance with section 1126 of the Bankruptcy Code; and (c) deemed to



                                                     19
WEIL:\97220973\1\47019.0003
19-11811-dsj           Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57                Main Document
                                                Pg 164 of 565


accept or reject the Plan. In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative
Expense Claims and Priority Tax Claims have not been classified.

   Class                     Designation                Treatment                Entitled to Vote
     1           Priority Non-Tax Claims                Unimpaired            No (Presumed to accept)
     2           Other Secured Claims                   Unimpaired            No (Presumed to accept)
     3           First Lien Claims                       Impaired                      Yes
     4           Second Lien Claims                      Impaired                      Yes
     5           General Unsecured Claims                Impaired                      Yes
     6           Intercompany Claims                    Unimpaired            No (Presumed to accept)
     7           Intercompany Interests                 Unimpaired            No (Presumed to accept)
     8           Parent Equity Interests                 Impaired              No (Deemed to reject)
     9           Subordinated Securities Claims          Impaired              No (Deemed to reject)

          3.3.      Special Provision Governing Unimpaired Claims.

                 Nothing under the Plan shall affect the rights of the Debtors or the Reorganized Debtors,
as applicable, in respect of any Unimpaired Claims, including all rights in respect of legal and equitable
defenses to, or setoffs or recoupments against, any such Unimpaired Claims.

          3.4.      Elimination of Vacant Classes.

                  Any Class of Claims against or Interests in the Debtors that, as of the commencement of
the Confirmation Hearing, does not have at least one holder of a Claim or Interest that is Allowed in an
amount greater than zero for voting purposes shall be considered vacant, deemed eliminated from the Plan
for purposes of voting to accept or reject the Plan, and disregarded for purposes of determining whether
the Plan satisfies section 1129(a)(8) of the Bankruptcy Code with respect to that Class.

                       ARTICLE IV TREATMENT OF CLAIMS AND INTERESTS.

          4.1.      Priority Non-Tax Claims (Class 1).

                    (a)       Classification: Class 1 consists of Priority Non-Tax Claims.

                  (b)     Treatment: Except to the extent that a holder of an Allowed Priority Non-Tax
Claim against the Debtors agrees to a less favorable treatment of such Claim, in full and final satisfaction
of such Allowed Priority Non-Tax Claim, at the sole option of the Debtors or the Reorganized Debtors, as
applicable: (i) each such holder shall receive payment in Cash in an amount equal to such Claim, payable
on the later of the Effective Date and the date that is ten (10) Business Days after the date on which such
Priority Non-Tax Claim becomes an Allowed Priority Non-Tax Claim, or as soon thereafter as is
reasonably practicable; or (ii) such holder’s Allowed Priority Non-Tax Claim shall be Reinstated.

                (c)      Voting: Class 1 is Unimpaired, and holders of Priority Non-Tax Claims are
conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code.
Therefore, holders of Priority Non-Tax Claims are not entitled to vote to accept or reject the Plan, and the
votes of such holders will not be solicited with respect to Priority Non-Tax Claims.




                                                         20
WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456        Filed 10/07/19 Entered 10/07/19 15:38:57             Main Document
                                                Pg 165 of 565


          4.2.      Other Secured Claims (Class 2).

                (a)      Classification: Class 2 consists of the Other Secured Claims. To the extent that
Other Secured Claims are secured by different collateral or different interests in the same collateral, such
Claims shall be treated as separate subclasses of Class 2 for purposes of voting to accept or reject the Plan
and receiving distributions under the Plan.

                (b)      Treatment: Except to the extent that a holder of an Allowed Other Secured
Claim agrees to different treatment, on the later of the Effective Date and the date that is ten (10) Business
Days after the date such Other Secured Claim becomes an Allowed Claim, or as soon thereafter as is
reasonably practicable, each holder of an Allowed Other Secured Claim will receive, on account of such
Allowed Claim, at the sole option of the Debtors or the Reorganized Debtors, as applicable: (i) Cash in
an amount equal to the Allowed amount of such Claim; (ii) Reinstatement of such holder’s Allowed
Other Secured Claim; or (iii) such other treatment sufficient to render such holder’s Allowed Other
Secured Claim Unimpaired.

                (c)     Voting: Class 2 is Unimpaired, and holders of Other Secured Claims are
conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code.
Therefore, holders of Other Secured Claims are not entitled to vote to accept or reject the Plan, and the
votes of such holders will not be solicited with respect to such Other Secured Claims.

          4.3.      First Lien Claims (Class 3).

                    (a)       Classification: Class 3 consists of First Lien Claims.

                (b)     Allowance: The First Lien Claims are Allowed pursuant to section 506(a) of the
Bankruptcy Code against the Debtors in the aggregate principal amount of $585,481,310.80 consisting of
(i) $545,150,569.11 in aggregate outstanding principal amount of term loans, (ii) $39,818,694.44 in
aggregate outstanding principal amount of revolving loans, and (iii) $512,047.25 in aggregate outstanding
face amount of letters of credit issued, in each case, under the Prepetition First Lien Credit Agreement,
plus accrued and unpaid prepetition interest, accrued and unpaid post-petition interest, fees, expenses and
other amounts arising under the Prepetition First Lien Credit Agreement.

                 (c)      Treatment: Except to the extent that a holder of a First Lien Claim agrees to less
favorable treatment, in full and final satisfaction, settlement, release, and discharge of, and in exchange
for such First Lien Claim, each such holder thereof (or, with respect to any New Equity Interests to be
issued pursuant to the First Lien Lender Equity Distribution, such holder’s permitted designee) shall
receive on the Effective Date such holder’s Pro Rata share of (a) the First Lien Lender Equity
Distribution; provided, that notwithstanding anything herein to the contrary, the distribution of the First
Lien Lender Equity Distribution shall be made pursuant to, and subject to the terms and conditions of, the
Equity Allocation Mechanism, (b) the loans under the New First Lien Credit Facility; and (c) cash or
other proceeds, if any, from the sale of the Debtors’ Canadian business unless otherwise agreed to by the
Requisite First Lien Lenders.

                          For the avoidance of doubt, on the Effective Date, the Prepetition First Lien
Credit Agreement shall be deemed cancelled (except as set forth in Section 5.9 hereof) without further
action by or order of the Bankruptcy Court.

                  (d)     Voting: Class 3 is Impaired, and holders of First Lien Claims in Class 3 are
entitled to vote to accept or reject the Plan.




                                                         21
WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456        Filed 10/07/19 Entered 10/07/19 15:38:57                 Main Document
                                                Pg 166 of 565


          4.4.      Second Lien Claims (Class 4).

                  (a)     Classification: Class 4 consists of Second Lien Claims in the aggregate principal
amount of $85,000,000 of term loans issued under the Prepetition Second Lien Credit Agreement, plus
interest, fees, expenses and other amounts arising under the Prepetition Second Lien Credit Agreement.

                 (b)     Treatment: Except to the extent that a holder of an Allowed Second Lien Claim
agrees to less favorable treatment, in full and final satisfaction, settlement, release, and discharge of, and
in exchange for such Allowed Second Lien Claim, each such holder thereof shall receive on the Effective
Date such holder’s Pro Rata share of the Second Lien Lender Special Warrant Distribution.

                 For the avoidance of doubt, on the Effective Date, the Prepetition Second Lien Credit
Agreement shall be deemed cancelled (except as set forth in Section 5.9 hereof) without further action by
or order of the Bankruptcy Court.

                 (c)      Voting: Class 4 is Impaired, and holders of Second Lien Claims are entitled to
vote to accept or reject the Plan.

          4.5.      General Unsecured Claims (Class 5).

                    (a)       Classification: Class 5 consists of General Unsecured Claims.

                (b)      Treatment: Except to the extent that a holder of an Allowed General Unsecured
Claim agrees to less favorable treatment, in full and final satisfaction, settlement, release, and discharge
of, and in exchange for an Allowed General Unsecured Claim, each such holder thereof shall receive such
holder’s Pro Rata share of the Litigation Trust Interests on the Effective Date.

                  (c)     Voting: Class 5 is Impaired, and holders of General Unsecured Claims are
entitled to vote to accept or reject the Plan.

          4.6.      Intercompany Claims (Class 6).

                    (a)       Classification: Class 6 consists of Intercompany Claims.

                 (b)      Treatment: On or after the Effective Date, all Intercompany Claims will be
adjusted, continued, settled, reinstated, discharged, or eliminated as determined by the Debtors or the
Reorganized Debtors, as applicable, and the Requisite First Lien Lenders, in their respective reasonable
discretion, but not paid in Cash.

                (c)     Voting: Class 6 is Unimpaired, and holders of Intercompany Claims are
conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code.
Therefore, holders of Intercompany Claims are not entitled to vote to accept or reject the Plan, and the
votes of such holders will not be solicited with respect to such Intercompany Claims.

          4.7.      Intercompany Interests (Class 7).

                    (a)       Classification: Class 7 consists of Intercompany Interests.

                 (b)     Treatment: On or after the Effective Date, all Intercompany Interests shall be
cancelled, reinstated, or receive such other treatment as determined by the Debtors or the Reorganized
Debtors, as applicable, and the Requisite First Lien Lenders, in their respective reasonable discretion.



                                                         22
WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456        Filed 10/07/19 Entered 10/07/19 15:38:57                Main Document
                                                Pg 167 of 565


                (c)     Voting: Class 7 is Unimpaired, and holders of Intercompany Interests are
conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code.
Therefore, holders of Intercompany Interests are not entitled to vote to accept or reject the Plan, and the
votes of such holders will not be solicited with respect to such Intercompany Interests.

          4.8.      Parent Equity Interests (Class 8).

                    (a)       Classification: Class 8 consists of Parent Equity Interests.

                (b)     Treatment: on the Effective Date, all Parent Equity Interests shall be deemed
cancelled without further action by or order of the Bankruptcy Court, and shall be of no further force and
effect, whether surrendered for cancellation or otherwise. To the extent permitted by applicable law, on
or promptly after the Effective Date, the Reorganized Debtors shall file with the SEC a Form 15 for the
purpose of terminating the registration of any of FCI’s publicly traded securities.

                (c)     Voting: Class 8 is Impaired, and holders of Parent Equity Interests are
conclusively deemed to have rejected the Plan pursuant to section 1126(g) of the Bankruptcy Code.
Therefore, holders of Parent Equity Interests are not entitled to vote to accept or reject the Plan, and the
votes of such holders will not be solicited with respect to such Parent Equity Interests.

          4.9.      Subordinated Securities Claims (Class 9).

                    (a)       Classification: Class 9 consists of Subordinated Securities Claims.

                (b)     Treatment: Holders of Subordinated Securities Claims shall not receive or retain
any property under the Plan on account of such Subordinated Securities Claims. On the Effective Date,
all Subordinated Securities Claims shall be deemed cancelled without further action by or order of the
Bankruptcy Court, and shall be of no further force and effect, whether surrendered for cancellation or
otherwise.

                (c)      Voting: Class 9 is Impaired, and the holders of Subordinated Securities Claims
are conclusively deemed to have rejected the Plan. Therefore, holders of Subordinated Securities Claims
are not entitled to vote to accept or reject the Plan, and the votes of such holders of Subordinated
Securities Claims will not be solicited.

                              ARTICLE V MEANS FOR IMPLEMENTATION.

          5.1.      No Substantive Consolidation.

                 The Plan is being proposed as a joint plan of reorganization of the Debtors for
administrative purposes only and constitutes a separate chapter 11 plan of reorganization for each Debtor.
However, this Plan contemplates and is predicated upon the deemed substantive consolidation of the
Estate and Chapter 11 Case of each Debtor with the Estate and Chapter 11 Case of each other Debtor for
purposes of distributions made by the Litigation Trust only. On the Effective Date, each Claim filed or to
be filed against any Debtor shall be deemed filed only against Fusion Connect, Inc. and shall be deemed a
single Claim against and a single obligation of Fusion Connect, Inc. for purposes of distributions made by
the Litigation Trust only and the claims register shall be updated accordingly. This limited substantive
consolidation effected pursuant to this Section 5.1 of the Plan shall not affect the vesting of any Litigation
Trust Cause of Action in the Litigation Trust, nor shall it affect the prosecution of any Litigation Trust
Cause of Action by the Litigation Trust.




                                                          23
WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456        Filed 10/07/19 Entered 10/07/19 15:38:57                   Main Document
                                                Pg 168 of 565


          5.2.      Compromise and Settlement of Claims, Interests, and Controversies.

                 (a)      Pursuant to sections 363 and 1123(b)(3) of the Bankruptcy Code and Bankruptcy
Rule 9019 and in consideration for the distributions and other benefits provided pursuant to the Plan, the
provisions of the Plan and the Global Settlement shall constitute a good faith compromise of Claims,
Interests, and controversies relating to the contractual, legal, and subordination rights that a creditor or an
Interest holder may have with respect to any Claim or Interest or any distribution to be made on account
of an Allowed Claim or Interest. The entry of the Confirmation Order shall constitute the Bankruptcy
Court’s approval of the compromise or settlement of all such Claims, Interests, and controversies, as well
as a finding by the Bankruptcy Court that such compromise or settlement is in the best interests of the
Debtors, their Estates, and holders of such Claims and Interests, and is fair, equitable, and reasonable.

               (b)     The Plan incorporates and reflects the following compromise and settlement by
and among the Debtors, the Creditors’ Committee, the Consenting First Lien Lenders, and the Consenting
Second Lien Lenders (the “Global Settlement”).

                       i.     On the Effective Date, the Litigation Trust shall be established in accordance
                              with Section 5.16 of the Plan and shall be governed and administered in
                              accordance with the Litigation Trust Agreement.

                      ii.     On the Effective Date, or as soon as reasonably practicable thereafter, (1) the
                              Debtors shall be deemed to transfer to the Litigation Trust the Litigation Trust
                              Debtor Causes of Action, (2) the Reorganized Debtors shall transfer to the
                              Litigation Trust the Litigation Trust Initial Funding and (3) holders of Allowed
                              First Lien Claims shall be deemed to transfer to the Litigation Trust any direct
                              Cause of Action they may assert solely in their capacities as lenders under the
                              Prepetition First Lien Credit Agreement relating to the Debtors, which, for the
                              avoidance of doubt, shall not include any Cause of Action against any Prepetition
                              First Lien Lender or the Prepetition First Lien Administrative Agent, to the
                              extent such Causes of Action are not released or subject to the exculpation
                              provisions under the Plan (the “Litigation Trust First Lien Lender Causes of
                              Action”), each free and clear of all Liens, charges, Claims, encumbrances, and
                              interests, in accordance with Section 1141 of the Bankruptcy Code. All of the
                              Litigation Trust Assets, as well as the rights and powers of the Debtors’ Estates
                              applicable to the Litigation Trust Assets, shall vest in the Litigation Trust, for the
                              benefit of the holders of Litigation Trust Interests and Reorganized FCI.

                     iii.     On the Effective Date, or as soon as reasonably practicable thereafter, the
                              Reorganized Debtors and Litigation Trust shall enter into the Litigation Trust
                              Loan Agreement pursuant to which the Reorganized Debtors shall agree to lend
                              the Litigation Trust Loan Proceeds to the Litigation Trust. The Litigation Trust
                              Loan Proceeds shall be available to be drawn in $1,000,000 installments six (6)
                              and twelve (12) months after the Effective Date, and $500,000 installments
                              eighteen (18), twenty-four (24), and thirty (30) months after the Effective Date.
                              The Litigation Trust Loan shall accrue payment-in-kind interest at same rate as
                              the New First Lien Credit Facility. The amount of the Litigation Trust Loan may
                              be increased post-Effective Date upon the agreement of the Reorganized Debtors
                              and the Litigation Trust. In the event the Reorganized Debtors fail to honor a
                              Litigation Trust Loan draw installment when due, such failure shall be deemed to
                              be an automatic exercise of the Termination Right (as defined below) without the




                                                          24
WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456        Filed 10/07/19 Entered 10/07/19 15:38:57                Main Document
                                                Pg 169 of 565


                              consent of the member the Creditors’ Committee appointed to the Litigation
                              Trust Oversight Committee.

                     iv.      On the Effective Date, all Preference Actions against any Entity other than a
                              Non-Released Party that the Debtors or the Estates would have been legally
                              entitled to assert in their own right (whether individually or collectively) or on
                              behalf of the holder of any Claim or Interest or other Person shall be deemed
                              conclusively, absolutely, unconditionally, irrevocably and forever, released.

                      v.      The Litigation Trust shall be overseen and controlled by the Litigation Trust
                              Oversight Committee in accordance with the Litigation Trust Agreement. The
                              Litigation Trust Oversight Committee shall have the authority to determine
                              whether to enforce, settle, release, or compromise the Litigation Trust Causes of
                              Action (or decline to do any of the foregoing). The Litigation Trust Oversight
                              Committee shall be solely responsible for selecting and retaining advisors to the
                              Litigation Trust.

                     vi.      In accordance with the Litigation Trust Agreement, payment of Litigation Trust
                              Expenses shall be deemed to be made first from the Litigation Trust Initial
                              Funding and then from the Litigation Trust Loan Proceeds. The Litigation Trust
                              shall be deemed to be prohibited from using any Litigation Trust Loan Proceeds
                              until no portion of the Litigation Trust Initial Funding is remaining.

                     vii.     After payment of Litigation Trust Expenses pursuant to the Litigation Trust
                              Agreement, the Litigation Trust Assets (other than any proceeds of the Litigation
                              Trust First Lien Lender Causes of Action) shall be shared and distributed as
                              follows: first, payment in full in Cash of all amounts due to Reorganized FCI
                              under the Litigation Trust Loan; second, distribution of up to $180,000 to
                              Reorganized FCI; third, distribution to the Litigation Trust for the benefit of the
                              holders of Litigation Trust Interests in accordance with the Plan of up to
                              $1,500,000 (the “GUC Payment”); fourth, to the extent the remaining Litigation
                              Trust Assets are equal to or less than $20,000,000, sixty percent (60%) of such
                              Litigation Trust Assets shall be distributed to Reorganized FCI and forty percent
                              (40%) of such Litigation Trust Assets shall be distributed to the Litigation Trust
                              for the benefit of the holders of Litigation Trust Interests in accordance with the
                              Plan; and fifth, to the extent there are any remaining Litigation Trust Assets
                              greater than $20,000,000, fifty percent (50%) of such Litigation Trust Assets
                              shall be distributed to Reorganized FCI and fifty percent (50%) of such Litigation
                              Trust Assets shall be distributed to the Litigation Trust for the benefit of the
                              holders of Litigation Trust Interests in accordance with the Plan.

                    viii.     After payment of Litigation Trust Expenses pursuant to the Litigation Trust
                              Agreement, any Litigation Trust Assets that are proceeds of the Litigation Trust
                              First Lien Lender Causes of Action shall be shared and distributed as follows:
                              first, payment in full in Cash of all amounts due to the Reorganized Debtors
                              under the Litigation Trust Loan; second, eighty-five percent (85%) of such
                              Litigation Trust Assets shall be distributed to the Reorganized FCI and fifteen
                              percent (15%) of such Litigation Trust Assets shall be distributed to the
                              Litigation Trust for the benefit of the holders of Litigation Trust Interests in
                              accordance with the Plan.




                                                         25
WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456        Filed 10/07/19 Entered 10/07/19 15:38:57                Main Document
                                                Pg 170 of 565


                     ix.      Holders of Allowed First Lien Claims shall not be entitled to receive a
                              distribution from the Litigation Trust on account of the Term Loan Deficiency
                              Claim.

                      x.      Holders of Allowed Second Lien Claims shall not be entitled to receive a
                              distribution from the Litigation Trust on account of the Second Lien Deficiency
                              Claim.

                     xi.      Upon entry of the Confirmation Order, the Challenge Period (as defined in the
                              DIP Order) shall be deemed expired.

                     xii.     The Litigation Trust may be terminated in accordance with Section 5.16 of this
                              Plan and the Litigation Trust Agreement.

                    xiii.     The Litigation Trust shall have the authority and right on behalf of each of the
                              Debtors, without the need for Bankruptcy Court approval (unless otherwise
                              indicated), to, except to the extent Claims have been Allowed, control and
                              effectuate the Claims reconciliation process of General Unsecured Claims,
                              including to object to, seek to subordinate, compromise or settle any and all
                              General Unsecured Claims against the Debtors.

                    xiv.      The Litigation Trust shall have authority under Bankruptcy Rule 2004 to issue
                              subpoenas for documents and testimony in connection with the Litigation Trust
                              Causes of Action.

                     xv.      On the Effective Date, Reorganized FCI shall enter into the Consulting
                              Agreement.

                    xvi.      On the Effective Date, proofs of Claim nos. 724, 777 and 840 filed by Greenberg
                              Traurig, LLP against the Debtors on account of services performed prior to the
                              Commencement Date shall be deemed withdrawn and expunged with prejudice.

                   xvii.      The Other Officers and Directors shall be included in Section 10.8 of the Plan.

                  xviii.      On the Effective Date, the Debtors shall pay the Settlement Restructuring
                              Expenses.

                    xix.      On the Effective Date, the Debtors shall pay the Second Lien Lender
                              Restructuring Expenses.

                     xx.      As a condition precedent to consummation of the Global Settlement, the
                              Creditors’ Committee, the First Lien Lender Group, the Second Lien Lender
                              Group, and the Other Officers and Directors shall not object to the Disclosure
                              Statement or the Plan, or take any other action that is inconsistent with or that
                              would reasonably be expected to prevent, interfere with, delay, or impede the
                              confirmation and consummation of the Plan or approval of the Global Settlement.




                                                         26
WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456        Filed 10/07/19 Entered 10/07/19 15:38:57                Main Document
                                                Pg 171 of 565


       5.3.         Sources of Consideration for Plan Distributions Implementing the Reorganization
Transaction.

                 The Debtors shall fund distributions and satisfy applicable Allowed Claims and Allowed
Interests under the Plan with Cash on hand, the proceeds of the New Exit Facility, loans under the New
First Lien Credit Facility, the New Equity Interests, and the Special Warrants, and through the issuance
and distribution of the Litigation Trust Interests.

          5.4.      Reorganization Transaction.

                    (a)       The Debtors shall implement the Reorganization Transaction as set forth herein.

                    (b)       New First Lien Credit Facility.

                            (i)      On the Effective Date, the New First Lien Credit Agreement shall be
                    executed and delivered, and the Reorganized Debtors shall be authorized to execute,
                    deliver and enter into, the New First Lien Credit Documents, without the need for any
                    further corporate, limited liability partnership or limited liability company action and
                    without further action by the holders of Claims or Interests.

                             (ii)   The obligations arising under the New First Lien Credit Agreement shall
                    be secured by a senior priority perfected security interest (junior to the liens securing the
                    New Exit Facility Credit Agreement) in substantially all present and after acquired
                    property (whether tangible, intangible, real, personal or mixed) of the Reorganized
                    Debtors, wherever located, including, without limitation, all accounts, inventory,
                    equipment, capital stock in subsidiaries of the Reorganized Debtors, investment property,
                    instruments, chattel paper, real estate, leasehold interests, contracts, patents, copyrights,
                    trademarks and other general intangibles, and all products and proceeds thereof, subject
                    to any exceptions and materiality thresholds reasonably acceptable to the Requisite New
                    First Lien Lenders (as defined in the New First Lien Term Sheet).

                             (iii)   The Reorganized Debtors shall be authorized to execute, deliver, and
                    enter into and perform under the New First Lien Credit Agreement without the need for
                    any further corporate, limited liability partnership or limited liability company action and
                    without further action by the holders of Claims or Interests.

                    (c)       New Exit Facility.

                             On the Effective Date, the Reorganized Debtors shall be authorized to execute,
                    deliver, enter into and perform under the New Exit Facility Credit Agreement without the
                    need for any further corporate, limited liability partnership or limited liability company
                    action and without further action by the holders of Claims or Interests.

                    (d)       Authorization and Issuance of New Equity Interests and Special Warrants

                             (i)     On the Effective Date, the Debtors or the Reorganized Debtors, as
                    applicable, are authorized to issue or cause to be issued and shall issue the New Equity
                    Interests and Special Warrants in accordance with the terms of the Plan, the Amended
                    Organizational Documents, the Special Warrant Agreement, and the Equity Allocation
                    Mechanism without the need for any further corporate or stockholder action. All of the
                    New Equity Interests issuable under the Plan, when so issued, shall be duly authorized,



                                                         27
WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456        Filed 10/07/19 Entered 10/07/19 15:38:57              Main Document
                                                Pg 172 of 565


                    validly issued, fully paid, and non-assessable, and the Special Warrants issued pursuant
                    to the Plan shall be duly authorized and validly issued. For the avoidance of doubt, the
                    acceptance of New Equity Interests and/or Special Warrants by a holder of an Allowed
                    First Lien Claim or Second Lien Claim shall be deemed as such holder’s agreement to the
                    Amended Organizational Documents and/or the Special Warrant Agreement, as
                    applicable, as each may be amended or modified from time to time following the
                    Effective Date in accordance with the terms of such documents.

                             (ii)    The distribution of the New Equity Interests and Special Warrants
                    pursuant to the Plan may be made by means of book-entry registration on the books of a
                    transfer agent for shares of New Equity Interests and Special Warrants or by means of
                    book-entry exchange through the facilities of a transfer agent reasonably satisfactory to
                    the Debtors, in accordance with the customary practices of such agent, as and to the
                    extent practicable.

                    (e)       Continued Corporate Existence.

                            (i)      The Debtors shall continue to exist after the Effective Date as
                    Reorganized Debtors as a private company in accordance with the applicable laws of the
                    respective jurisdictions in which they are incorporated or organized and pursuant to the
                    Amended Organizational Documents unless otherwise determined in accordance with
                    Section 5.9 of the Plan.

                             (ii)    On or after the Effective Date, the Reorganized Debtors may take such
                    reasonable action that may be necessary or appropriate as permitted by applicable law
                    and the Amended Organizational Documents, as the Reorganized Debtors may
                    reasonably determine is reasonable and appropriate to effect any transaction described in,
                    approved by, or necessary or appropriate to effectuate the Plan, including, without
                    limitation, taking necessary steps to dissolve or merge out of existence any of the
                    Reorganized Debtors that are reasonably determined to be unnecessary for the continued
                    successful performance of the Reorganized Debtors.

                    (f)       Officers and Board of Directors.

                            (i)     Upon the Effective Date, the New Board shall consist of seven (7)
                    directors. If known, the identities of the directors and officers of the Reorganized
                    Debtors shall be disclosed prior to the Confirmation Hearing in accordance with section
                    1129(a)(5) of the Bankruptcy Code.

                            (ii)     Except to the extent that a member of the board of directors, managers,
                    or limited partners, as applicable, of a Debtor continues to serve as a director, manager,
                    or limited partner of such Debtor on and after the Effective Date, the members of the
                    board of directors, managers, or limited partners of each Debtor prior to the Effective
                    Date, in their capacities as such, shall have no continuing obligations to the Reorganized
                    Debtors on or after the Effective Date and each such director, manager or limited partner
                    will be deemed to have resigned or shall otherwise cease to be a director, manager or
                    limited partner of the applicable Debtor on the Effective Date.




                                                        28
WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57                  Main Document
                                               Pg 173 of 565


                    (g)       Reorganized Debtors’ Authority.

                             (i)     The Reorganized Debtors shall have the authority and right on behalf of
                    each of the Debtors, without the need for Bankruptcy Court approval (unless otherwise
                    indicated), to carry out and implement all provisions of the Plan, including, without
                    limitation, to: (a) except to the extent Claims have been previously Allowed, control and
                    effectuate the Claims reconciliation process, including to object to, seek to subordinate,
                    compromise or settle any and all Claims against the Debtors, other than with respect to
                    General Unsecured Claims; (b) make distributions to holders of Allowed Claims in
                    accordance with the Plan, other than with respect to General Unsecured Claims;
                    (c) prosecute all Causes of Action on behalf of the Debtors, elect not to pursue any
                    Causes of Action, and determine whether and when to compromise, settle, abandon,
                    dismiss, or otherwise dispose of any such Causes of Action, other than with respect to the
                    Litigation Trust Causes of Action; (d) retain professionals to assist in performing their
                    duties under the Plan; (e) maintain the books, records, and accounts of the Debtors; (f)
                    complete and file, as necessary, all final or otherwise required federal, state, and local tax
                    returns for the Debtors; and (g) perform other duties and functions that are consistent
                    with the implementation of the Plan.

                             (ii)     After the Effective Date, the Reorganized Debtors may operate the
                    Debtors’ business and may use, acquire, or dispose of property and compromise or settle
                    any Claims, Interests, or Causes of Action without approval by the Bankruptcy Court and
                    free of any restrictions of the Bankruptcy Code or Bankruptcy Rules.

          5.5.      FCC Licenses and State PUC Authorizations

                 The required FCC Applications were filed prior to the date of this Plan, as were
applications seeking the consent of State PUCs with jurisdiction over the Reorganized Debtors to the
transactions contemplated by the Reorganization Transaction (which, for the avoidance of doubt, excludes
any transactions which may occur on or after the Exercise Date, as defined in the Equity Allocation
Mechanism). As a result, any Entity that acquires a First Lien Claim may be issued Special Warrants in
lieu of any New Equity Interests that would otherwise be issued to such Entity under the Plan. In
addition, the Debtors may request that the Bankruptcy Court implement restrictions on trading of Claims
and Interests that might adversely affect the FCC Approval or State PUC approval processes that will be
sought on or prior to the Effective Date.

                The Petition for Declaratory Ruling and the FCC and/or state transfer of control
applications necessary to enable the exercise of the Special Warrants (the “Post-Effective Date Transfer
Applications”) shall be filed as promptly as practicable following the Effective Date. The Debtors or the
Reorganized Debtors, as applicable, shall diligently prosecute all FCC Applications and the State PUC
Applications associated with the Reorganization Transaction and, after the Effective Date, the Post-
Effective Date Transfer Applications and the Petition for Declaratory Ruling. The Debtors or
Reorganized Debtors, as applicable, shall promptly provide such additional documents or information
requested by the FCC or any State PUC in connection with the respective agencies’ review of the
foregoing applications.

          5.6.      Employee Matters.

                (a)      Subject to Section 5.6(c) of the Plan, on the Effective Date, the Reorganized
Debtors shall be deemed (i) to have assumed all Benefit Plans and (ii) to have rejected any employment
agreements, offer letters, or award letters to which the Debtors are a party (collectively, the “Employee



                                                         29
WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456     Filed 10/07/19 Entered 10/07/19 15:38:57                Main Document
                                             Pg 174 of 565


Arrangements”), unless set forth on the Assumption Schedule. With respect to any Benefit Plan and
Employee Arrangement that is set forth on the Assumption Schedule, upon the Effective Date such
Benefit Plan and Employee Arrangement shall be deemed to be amended where applicable to provide and
clarify that the consummation of the Reorganization Transaction and any associated organizational
changes shall not constitute a “Change in Control,” be considered a “Good Reason” event, or serve as a
basis to trigger any rights or benefits under such Benefit Plan or Employee Arrangement. To the extent
that the Benefit Plans or any Employee Arrangements set forth on the Assumption Schedule are executory
contracts, pursuant to sections 365 and 1123 of the Bankruptcy Code, unless an Assumption Dispute is
timely filed and properly served, each of them will be deemed assumed (as modified or terminated) as of
the Effective Date with a Cure Amount of zero dollars. However, notwithstanding anything else herein,
the assumed Benefit Plans and Employee Arrangements, if any, shall be subject to modification in
accordance with the terms thereof at the discretion of the Reorganized Debtors.

                (b)     Following the Effective Date, the applicable Reorganized Debtors shall enter into
the Management Incentive Plan. All awards issued under the Management Incentive Plan will be dilutive
of all other New Equity Interests issued pursuant to the Plan (including those issued upon the exercise of
any Special Warrants).

                (c)     For the avoidance of doubt, if an Employee Arrangement or a Benefit Plan
provides for an award or potential award of Interests or consideration based on the value of Interests prior
to the Effective Date, such Interest shall be treated in accordance with Section 4.8 of the Plan and
cancelled notwithstanding assumption of the applicable Employee Arrangement or Benefit Plan.

                (d)      On the Effective Date, the Reorganized Debtors shall be deemed to have
assumed all prepetition Key Employee Retention Agreements. Notwithstanding anything to the contrary
in Section 5.6(a), the consummation of the Restructuring Transactions and any associated organizational
changes shall constitute a “Change of Control” under all prepetition Key Employee Retention
Agreements.

          5.7.      Effectuating Documents; Further Transactions.

                  (a)      On or as soon as practicable after the Effective Date, the Reorganized Debtors
shall take such reasonable actions as may be or become necessary or appropriate to effect any transaction
described in, approved by, contemplated by, or necessary to effectuate the Plan and the Global
Settlement, including (i) the execution and delivery of appropriate agreements or other documents of
merger, consolidation, restructuring, financing, conversion, disposition, transfer, dissolution, or
liquidation containing terms that are consistent with the terms of the Plan and that satisfy the applicable
requirements of applicable law and any other terms to which the applicable Entities may determine;
(ii) the execution and delivery of appropriate instruments of transfer, assignment, assumption, or
delegation of any Asset, property, right, liability, debt, or obligation on terms consistent with the terms of
the Plan and having other terms to which the applicable parties agree; (iii) the filing of appropriate
certificates or articles of incorporation, reincorporation, merger, consolidation, conversion, or dissolution
and the Amended Organizational Documents pursuant to applicable state law; (iv) the issuance of
securities, all of which shall be authorized and approved in all respects, in each case, without further
action being required under applicable law, regulation, order, or rule; (v) the execution, delivery, or filing
of contracts, instruments, releases, and other agreements to effectuate and implement the distribution of
the Litigation Trust Interests to be issued pursuant hereto without the need for any approvals,
authorizations, actions, or consents; and (vi) all other actions that the applicable Entities determine to be
necessary or appropriate, including making filings or recordings that may be required by applicable law or
to reincorporate in another jurisdiction, subject, in each case, to the Amended Organizational Documents.




                                                     30
WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456    Filed 10/07/19 Entered 10/07/19 15:38:57                  Main Document
                                            Pg 175 of 565


                 (b)       Each officer, manager, limited partner or member of the board of directors of the
Debtors is (and each officer, manager, limited partner or member of the board of directors of the
Reorganized Debtors shall be) authorized and directed to issue, execute, deliver, file, or record such
contracts, securities, instruments, releases, indentures, and other agreements or documents and take such
actions as may be necessary or appropriate to effectuate, implement, and further evidence the terms and
conditions of the Plan and the securities issued pursuant to the Plan in the name of and on behalf of the
Reorganized Debtors, all of which shall be authorized and approved in all respects, in each case, without
the need for any approvals, authorization, consents, or any further action required under applicable law,
regulation, order, or rule (including, without limitation, any action by the stockholders, limited partners,
directors or managers of the Debtors, the Reorganized Debtors) except for those expressly required
pursuant to the Plan.

                   (c)     In order to preserve the Reorganized Debtors’ ability to utilize certain tax
attributes that exist as of the Effective Date, the charter, bylaws, and other organizational documents may
restrict certain transfers of the New Equity Interests.

                   (d)    The Reorganization Transaction and the Global Settlement, including the
creation of the Litigation Trust, shall be conducted in a manner that, in the business judgment of the
Debtors, with the consent of the Requisite First Lien Lenders (which consent shall not be unreasonably
withheld), ensures that the Reorganized Debtors receive favorable and efficient tax treatment, given the
totality of the circumstances.

                 (e)     All matters provided for herein involving the corporate structure of the Debtors,
Reorganized Debtors, to the extent applicable, or any corporate or related action required by the Debtors,
or the Reorganized Debtors in connection herewith shall be deemed to have occurred and shall be in
effect, without any requirement of further action by the stockholders, members, limited partners, directors
or managers of the Debtors or Reorganized Debtors, and with like effect as though such action had been
taken unanimously by the stockholders, members, limited partners, directors, managers, or officers, as
applicable, of the Debtors, or the Reorganized Debtors.

          5.8.      Section 1145 Exemption.

                  (a)     The offer, issuance, and distribution of (i) the New Equity Interests and the
Special Warrants hereunder to holders of the First Lien Claims (ii) the Special Warrants hereunder to
holders of the Second Lien Claims and (iii) the Litigation Trust Interests (to the extent they are deemed to
be securities) hereunder to holders of General Unsecured Claims shall be exempt, pursuant to section
1145 of the Bankruptcy Code, without further act or action by any Entity, from registration under (a) the
Securities Act of 1933, as amended, and all rules and regulations promulgated thereunder and (b) any
state or local law requiring registration for the offer, issuance, or distribution of Securities.

                  (b)     The New Equity Interests shall be freely tradable by the recipients thereof,
subject to (i) the provisions of section 1145(b)(1) of the Bankruptcy Code relating to the definition of an
underwriter in section 2(a)(11) of the Securities Act of 1933; (ii) compliance with any rules and
regulations of the Securities and Exchange Commission, if any, applicable at the time of any future
transfer of such securities or instruments; (iii) any reasonable restrictions, to the extent necessary for the
Debtors to preserve their ability to utilize certain tax attributes that exist as of the Effective Date, on the
transferability and ownership of New Equity Interests; (iv) applicable regulatory approval; (v) the
Stockholders Agreement; (vi) the Amended Organizational Documents and (vii) any other applicable law.




                                                      31
WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456     Filed 10/07/19 Entered 10/07/19 15:38:57                    Main Document
                                             Pg 176 of 565


          5.9.      Cancellation of Existing Securities and Agreements.

                 (a)      Except for the purpose of evidencing a right to a distribution under the Plan and
except as otherwise set forth in the Plan, including with respect to executory contracts or unexpired leases
that shall be assumed by the Reorganized Debtors, and subject in all respects to the Prepetition
Intercreditor Agreement (as applicable), on the Effective Date, all agreements, instruments, and other
documents evidencing or issued pursuant to the DIP Documents, the Prepetition First Lien Credit
Documents, the Prepetition Second Lien Credit Agreement and any other “Credit Document” as defined
therein, the Prepetition Subordinated Notes, or any indebtedness or other obligations thereunder, and any
Interest in any of the Debtors (other than Intercompany Interests), or any other certificate, share, note,
bond, indenture, purchase right, option, warrant, call, put, award, commitment, registration rights,
preemptive right, right of first refusal, right of first offer, co-sale right, investor rights, or other instrument
or document of any character directly or indirectly evidencing or creating any indebtedness or obligation
of or ownership interest in the Debtors giving rise to any Claim or Interest, and any rights of any holder in
respect thereof, shall be deemed cancelled, discharged, and of no force or effect, and the obligations of
the Debtors thereunder shall be deemed fully satisfied, released, and discharged.

                  (b)     Notwithstanding such cancellation and discharge, the DIP Documents, the
Prepetition First Lien Credit Documents and the Prepetition Second Lien Credit Agreement, the
Prepetition Subordinated Notes and any other indenture or agreement that governs the rights of a holder
of an Allowed Claim shall continue in effect to the extent necessary (i) to allow the holders of such
Claims to receive distributions under the Plan; (ii) to allow the Debtors, the Reorganized Debtors, the DIP
Agent, the Prepetition First Lien Administrative Agent, and the Prepetition Second Lien Administrative
Agent to make post-Effective Date distributions or take such other action pursuant to the Plan on account
of such Claims and to otherwise exercise their rights and discharge their obligations relating to the
interests of the holders of such Claims; (iii) to allow holders of Claims to retain their respective rights and
obligations vis-à-vis other holders of Claims pursuant to any applicable loan document or other
agreement; (iv) to allow the DIP Agent, the Prepetition First Lien Administrative Agent and the
Prepetition Second Lien Administrative Agent to enforce their rights, claims, and interests vis-à-vis any
party other than the Debtors, including any rights with respect to priority of payment and/or to exercise
charging liens; (v) to preserve any rights of the DIP Agent, the Prepetition First Lien Administrative
Agent and the Prepetition Second Lien Administrative Agent to payment of fees, expenses, and
indemnification obligations as against any money or property distributable to lenders under the DIP
Documents, the Prepetition First Lien Credit Agreement and the Prepetition Second Lien Credit
Agreement, as applicable, including any rights to priority of payment and/or to exercise charging liens;
(vi) to allow the DIP Agent, the Prepetition First Lien Administrative Agent and the Prepetition Second
Lien Administrative Agent to enforce any obligations owed to it under the Plan; (vii) to allow the DIP
Agent, the Prepetition First Lien Administrative Agent and the Prepetition Second Lien Administrative
Agent to exercise rights and obligations relating to the interests of lenders under the DIP Documents, the
Prepetition First Lien Credit Agreement and the Prepetition Second Lien Credit Agreement, as applicable;
(viii) to permit the DIP Agent, the Prepetition First Lien Administrative Agent and the Prepetition Second
Lien Administrative Agent to perform any function necessary to effectuate the foregoing; (ix) to allow the
DIP Agent, the Prepetition First Lien Administrative Agent and the Prepetition Second Lien
Administrative Agent to appear in the Chapter 11 Cases or in any proceeding in the Bankruptcy Court or
any other court relating to the DIP Documents, the Prepetition First Lien Credit Agreement or the
Prepetition Second Lien Credit Agreement; provided that, nothing in this Section 5.9 shall affect the
discharge of Claims pursuant to the Bankruptcy Code, the Confirmation Order, or the Plan; and (x) to
preserve all rights of the Prepetition First Lien Lenders to the extent necessary for the Litigation Trust to
pursue the Litigation Trust First Lien Lender Causes of Action.




                                                        32
WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456     Filed 10/07/19 Entered 10/07/19 15:38:57                  Main Document
                                             Pg 177 of 565


                 (c)      Except for the foregoing, subsequent to the performance by the DIP Agent of its
obligations pursuant to the Plan, the DIP Agent and its agents shall be relieved of all further duties and
responsibilities related to the DIP Documents. Nothing in this Section 5.9 shall in any way affect or
diminish the rights of the DIP Agent to exercise any charging lien against distributions to holders of DIP
Claims with respect to any unpaid fees.

                 (d)      Except for the foregoing, subsequent to the performance by the Prepetition First
Lien Administrative Agent of its obligations pursuant to the Plan, the Prepetition First Lien
Administrative Agent and its agents shall be relieved of all further duties and responsibilities related to
the Prepetition First Lien Credit Agreement. Nothing in this Section 5.9 shall in any way affect or
diminish the rights of the Prepetition First Lien Administrative Agent to exercise any charging lien
against distributions to holders of First Lien Claims with respect to any unpaid fees.

                 (e)      Except for the foregoing, subsequent to the performance by the Prepetition
Second Lien Administrative Agent of its obligations pursuant to the Plan, the Prepetition Second Lien
Administrative Agent and its agents shall be relieved of all further duties and responsibilities related to
the Prepetition Second Lien Credit Agreement. Nothing in this Section 5.9 shall in any way affect or
diminish the rights of the Prepetition Second Lien Administrative Agent to exercise any charging lien
against distributions to holders of Second Lien Claims with respect to any unpaid fees.

                 (f)     Notwithstanding anything to the contrary herein, all rights under the Prepetition
First Lien Credit Agreement and the Prepetition Second Lien Credit Agreement shall remain subject to
the Prepetition Intercreditor Agreement.

                 (g)      Notwithstanding the foregoing, any provision in any document, instrument, lease,
or other agreement that causes or effectuates, or purports to cause or effectuate, a default, termination,
waiver, or other forfeiture of, or by, the Debtors as a result of the cancellations, terminations, satisfaction,
releases, or discharges provided for in the Plan shall be deemed null and void and shall be of no force and
effect. Nothing contained herein shall be deemed to cancel, terminate, release, or discharge the obligation
of the Debtors or any of their counterparties under any executory contract or unexpired lease to the extent
such executory contract or unexpired lease has been assumed by the Debtors pursuant to a Final Order of
the Bankruptcy Court or hereunder.

          5.10.     Cancellation of Liens.

                 Except as otherwise specifically provided herein, on the Effective Date, any Lien
securing an Allowed Claim that is paid in full, in Cash, shall be deemed released, and the holder of such
Other Secured Claim shall be authorized and directed to release any collateral or other property of the
Debtors (including any Cash collateral) held by such holder and to take such actions as may be requested
by the Reorganized Debtors, to evidence the release of such Lien, including the execution, delivery and
filing or recording of such releases as may be requested by the Reorganized Debtors.

          5.11.     Subordination Agreements.

                Pursuant to section 510(a) of the Bankruptcy Code, all subordination agreements,
including but not limited to, the Prepetition Intercreditor Agreement, governing Claims or Interests shall
be enforced in accordance with such agreement’s terms.




                                                      33
WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57                Main Document
                                               Pg 178 of 565


          5.12.     Nonconsensual Confirmation.

                The Debtors intend to undertake to have the Bankruptcy Court confirm the Plan under
section 1129(b) of the Bankruptcy Code as to any Classes that reject or are deemed to reject the Plan.

          5.13.     Closing of Chapter 11 Cases.

               After an Estate has been fully administered, the Reorganized Debtors shall seek authority
from the Bankruptcy Court to close the applicable Chapter 11 Case(s) in accordance with the Bankruptcy
Code and Bankruptcy Rules.

          5.14.     Notice of Effective Date.

                As soon as practicable, but not later than three (3) Business Days following the Effective
Date, the Debtors shall file a notice of the occurrence of the Effective Date with the Bankruptcy Court.

          5.15.     Separability.

                 Notwithstanding the combination of the separate plans of reorganization for the Debtors
set forth in the Plan for purposes of economy and efficiency, the Plan constitutes a separate chapter 11
plan for each Debtor. Accordingly, if the Bankruptcy Court does not confirm the Plan with respect to one
or more Debtors, it may still, subject to the consent of the applicable Debtors, confirm the Plan with
respect to any other Debtor that satisfies the confirmation requirements of section 1129 of the Bankruptcy
Code.

          5.16.     Litigation Trust

                  (a)     Interest in the Litigation Trust. Any and all interests in the Litigation Trust will
not constitute “securities” and will not be registered pursuant to the Securities Act, as amended, or any
state securities law. However, if it should be determined that interests in the Litigation Trust constitute
“securities,” the exemption provisions of Section 1145 of the Bankruptcy Code will apply to the interests
in the Litigation Trust. Any and all interests in the Litigation Trust shall not be certificated, shall be
subject to certain restrictions, and all interests shall be non-transferable other than if transferred by will,
intestate succession, or otherwise by operation of law.

                 (b)      Creation and Governance of the Litigation Trust. On the Effective Date, the
Debtors shall be deemed to transfer the Litigation Trust Debtor Causes of Action to the Litigation Trust,
the Reorganized Debtors shall transfer the Litigation Trust Initial Funding to the Litigation Trust, the
holders of Allowed First Lien Claims shall be deemed to transfer the Litigation Trust First Lien Lender
Causes of Action to the Litigation Trust and the Reorganized Debtors (solely in their capacity as
successors to the Debtors), the Litigation Trust Oversight Committee and the Creditors’ Committee shall
execute the Litigation Trust Agreement and shall take all steps necessary to establish the Litigation Trust
in accordance with the Plan and the beneficial interests therein, which shall be for the benefit of the
holders of Litigation Trust Interest and Reorganized FCI. In the event of any conflict between the terms
of the Plan and the terms of the Litigation Trust Agreement, the terms of the Plan shall govern.
Additionally, on the Effective Date, (1) the Debtors shall be deemed to transfer to the Litigation Trust all
of their rights, title and interest in and to all of the Litigation Trust Debtor Causes of Action (2) the
Reorganized Debtors shall transfer to the Litigation Trust all of their rights, title and interest in and to all
of the Litigation Trust Initial Funding and (3) the holders of Allowed First Lien Claims shall be deemed
to transfer to the Litigation Trust all of their rights, title and interest in and to all of the Litigation Trust
First Lien Lender Causes of Action, and in accordance with section 1141 of the Bankruptcy Code, the



                                                       34
WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57                Main Document
                                           Pg 179 of 565


Litigation Trust Debtor Causes of Action, the Litigation Trust Initial Funding and the Litigation Trust
First Lien Lender Causes of Action shall automatically vest in the Litigation Trust free and clear of all
Claims and Liens and such transfer shall be exempt from any stamp, real estate transfer, mortgage
reporting, sales, use or other similar tax. The Litigation Trust Oversight Committee shall be the exclusive
administrator of the assets of the Litigation Trust for purposes of 31 U.S.C. § 3713(b) and 26 U.S.C. §
6012(b)(3), as well as the representatives of the Estate of each of the Debtors appointed pursuant to
section 1123(b)(3)(B) of the Bankruptcy Code, solely for purposes of carrying out the Litigation Trust
Oversight Committee’s duties under the Litigation Trust Agreement. Notwithstanding the foregoing, all
net proceeds of such Litigation Trust Debtor Cause of Action shall be transferred to the Litigation Trust to
be distributed in accordance with this Plan. The Litigation Trust shall be governed by the Litigation Trust
Agreement and administered by the Litigation Trust Oversight Committee. The powers, rights, and
responsibilities of the Litigation Trust Oversight Committee shall be specified in the Litigation Trust
Agreement and shall include the authority and responsibility to, among other things, take the actions set
forth in this Section 5.16. The Litigation Trust Oversight Committee shall hold and distribute the
Litigation Trust Assets in accordance with the provisions of this Plan and the Litigation Trust Agreement.
Other rights and duties of the Litigation Trust Oversight Committee shall be as set forth in the Litigation
Trust Agreement. After the Effective Date, the Debtors and the Reorganized Debtors shall have no
interest in the Litigation Trust Assets except as set forth in the Litigation Trust Agreement.

                 (c)     Litigation Trust Oversight Committee and Litigation Trust Agreement. The
Litigation Trust Agreement generally will provide for, among other things: (i) the transfer of the
Litigation Trust Assets to the Litigation Trust; (ii) the payment of Litigation Trust Expenses; (iii) the
retention of counsel, accountants, financial advisors, or other professionals; (iv) litigation of any
Litigation Trust Causes of Action, which may include the prosecution, settlement, abandonment or
dismissal of any such Causes of Action; and (v) making distributions to holders of Litigation Trust
Interests and to Reorganized FCI, as provided in this Plan and in the Litigation Trust Agreement. The
Litigation Trust Oversight Committee, on behalf of the Litigation Trust, may employ, without further
order of the Bankruptcy Court, professionals to assist in carrying out its duties hereunder and may
compensate and reimburse the reasonable expenses of those professionals without further order of the
Bankruptcy Court from the Litigation Trust Assets in accordance with this Plan and the Litigation Trust
Agreement. The Litigation Trust Agreement shall include reasonable and customary provisions that
allow for indemnification of the Litigation Trust Oversight Committee by the Litigation Trust. Any such
indemnification shall be the sole responsibility of the Litigation Trust and payable solely from the
Litigation Trust Assets. The Litigation Trust Oversight Committee shall be responsible for all decisions
and duties with respect to the Litigation Trust and the Litigation Trust Assets, except as otherwise
provided in the Litigation Trust Agreement.

                 (d)     Cooperation of Reorganized Debtors. The Reorganized Debtors shall reasonably
cooperate with the Litigation Trust and its agents and representatives in the administration of the
Litigation Trust, including, providing reasonable access to books and records and current employees and
officers, including for interviews, deposition, or testimony, with respect to (i) the investigation,
prosecution, compromise, and/or settlement of the Litigation Trust Causes of Action, (ii) contesting,
settling, compromising, reconciling, and objecting to General Unsecured Claims, and (iii) administering
the Litigation Trust (collectively, “Trust Responsibilities”) and in each case, the Litigation Trust agrees
to reimburse reasonable out-of-pocket expenses incurred in connection with such cooperation. The
Reorganized Debtors shall take all reasonable efforts to assist the Litigation Trust with the Trust
Responsibilities and the Litigation Trust may enter into agreements with the Reorganized Debtors and/or
the Creditors’ Committee in order to obtain information from the Reorganized Debtors and/or the
Creditors’ Committee on a confidential basis, without being restricted by or waiving any applicable work
product, attorney-client, or other privilege. The Litigation Trust’s receipt of documents, information or
communications from the Reorganized Debtors shall not constitute a waiver of any privilege. For the



                                                    35
WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57                 Main Document
                                           Pg 180 of 565


avoidance of doubt, the Litigation Trust shall not be responsible for legal fees, if any, incurred by the
Reorganized Debtors in fulfilling its obligations under this Section.

                 (e)      Cooperation Agreements. To the extent requested by the Committee, with the
consent of the First Lien Lender Group (not to be unreasonably withheld), any of the Specified Officers
and Directors shall enter into an agreement prior to the Effective Date pursuant to which he will agree to
cooperate with the Litigation Trust and provide reasonable assistance to the Litigation Trust until the
Litigation Trust is terminated, regardless of whether he remains an officer of the Reorganized Debtors.

                 (f)     Litigation Trust Assets. The Litigation Trust Oversight Committee shall have the
exclusive right in respect of all Litigation Trust Causes of Action to institute, file, prosecute, enforce,
settle, compromise, release, abandon, or withdraw any and all Litigation Trust Causes of Action without
any further order of the Bankruptcy Court or consent of any other party, except as otherwise provided
herein or in the Litigation Trust Agreement. From and after the Effective Date, the Litigation Trust
Oversight Committee, in accordance with section 1123(b)(3) of the Bankruptcy Code, and on behalf of
the Litigation Trust, shall serve as a representative of the Estates, solely for purposes of carrying out the
Litigation Trust Oversight Committee’s duties under the Litigation Trust Agreement. In connection with
the investigation, prosecution and/or compromise of the Litigation Trust Causes of Action, the Litigation
Trust Oversight Committee may expend such portion of the Litigation Trust Assets as the Litigation Trust
Oversight Committee deems necessary.

                 (g)       Litigation Trust Fees and Expenses. From and after the Effective Date, the
Litigation Trust, shall, in the ordinary course of business and without the necessity of any approval by the
Bankruptcy Court, pay the Litigation Trust Expenses, including but not limited to reasonable fees and
expenses of the Litigation Trust Oversight Committee and the fees and expenses of any professionals
retained by the Litigation Trust from the Litigation Trust Assets, except as otherwise provided in the
Litigation Trust Agreement. The Reorganized Debtors shall not be responsible for any costs, fees, or
expenses of the Litigation Trust.

                 (h)     Tax Treatment. In furtherance of this Section 5.16 of the Plan, (i) the Litigation
Trust shall be structured to qualify as a “liquidating trust” within the meaning of Treasury Regulation
section 301.7701-4(d) and in compliance with Revenue Procedure 94-45, 1994-2 C.B. 684, and, thus, as a
“grantor trust” within the meaning of sections 671 through 679 of the Tax Code to the holders of
Litigation Trust Interests, consistent with the terms of the Plan; (ii) the sole purpose of the Litigation
Trust shall be the liquidation and distribution of the Litigation Trust Assets in accordance with Treasury
Regulation section 301.7701-4(d), including the resolution of General Unsecured Claims in accordance
with this Plan, with no objective to continue or engage in the conduct of a trade or business; (iii) all
parties (including the Debtors and the Estates, holders of Litigation Trust Interests and the Litigation
Trust Oversight Committee) shall report consistently with such treatment (including the deemed receipt of
the underlying assets, subject to applicable liabilities and obligations, by the holders of Litigation Trust
Interests, followed by the deemed transfer of such assets to the Litigation Trust); (iv) all parties shall
report consistently with the valuation of the Litigation Trust Assets transferred to the Litigation Trust as
determined by the Litigation Trust Oversight Committee (or its designee); (v) the Litigation Trust
Oversight Committee shall be responsible for filing returns for the Litigation Trust as a grantor trust
pursuant to Treasury Regulation section 1.671-4(a); and (vi) the Litigation Trust Oversight Committee
shall annually send to each holder of Litigation Trust Interests a separate statement regarding the receipts
and expenditures of the trust as relevant for U.S. federal income tax purposes. Subject to definitive
guidance from the Internal Revenue Service or a court of competent jurisdiction to the contrary (including
the receipt by the Litigation Trust Oversight Committee of a private letter ruling if the Litigation Trust
Oversight Committee so requests one, or the receipt of an adverse determination by the Internal Revenue
Service upon audit if not contested by the Litigation Trust Oversight Committee), the Litigation Trust



                                                     36
WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456     Filed 10/07/19 Entered 10/07/19 15:38:57                Main Document
                                             Pg 181 of 565


Oversight Committee, with the consent of the Requisite First Lien Lenders (which consent shall not be
unreasonably withheld or delayed), may timely elect to (i) treat any portion of the Litigation Trust
allocable to Disputed General Unsecured Claims as a “disputed ownership fund” governed by Treasury
Regulation section 1.468B-9 (and make any appropriate elections) and (ii) to the extent permitted by
applicable law, report consistently with the foregoing for state and local income tax purposes. If a
“disputed ownership fund” election is made, all parties (including the Debtors and the Estates, holders of
Litigation Trust Interests and the Litigation Trust Oversight Committee) shall report for United States
federal, state, and local income tax purposes consistently with the foregoing. As to any assets allocable
to, or retained on account of, Disputed General Unsecured Claims, all distributions shall be net of any
expenses, including taxes, relating to the retention or disposition of such assets, and the Litigation Trust
Oversight Committee shall be responsible for payment, out of the assets of such retained assets, of any
taxes imposed on or in respect of such assets. All parties (including, without limitation, the Debtors, the
Reorganized Debtors, the Litigation Trust and the holders of Litigation Trust Interests) will be required to
report for tax purposes consistently with the foregoing.

                  (i)     Termination and Dissolution of the Litigation Trust. The Litigation Trust
Oversight Committee shall have the right to terminate the Litigation Trust, when it determines, in its sole
discretion, that the pursuit of additional Litigation Trust Causes of Action is not likely to yield sufficient
additional proceeds to justify further pursuit of such claims (the “Termination Right”). The Litigation
Trust Oversight Committee and the Litigation Trust shall be discharged or dissolved, as the case may be,
at such time as (i) the Litigation Trust Oversight Committee exercises its Termination Right and (ii) all
distributions required to be made by the Litigation Trust Oversight Committee under the Plan and the
Litigation Trust Agreement have been made. Upon termination and dissolution of the Litigation Trust,
any remaining Litigation Trust Proceeds shall be distributed to holders of Litigation Trust Interests and
Reorganized FCI in accordance with Section 5.2(b) of the Plan and the Litigation Trust Agreement;
provided, that in the event the Litigation Trust Oversight Committee exercises its Termination Right
without the consent (which may not be unreasonably withheld, conditioned or delayed) of the member
appointed by the Creditors’ Committee to the Litigation Trust Oversight Committee, the Litigation Trust
shall distribute the GUC Payment before making any other distributions pursuant to Section 5.2 of the
Plan (with the GUC Payment deemed to have been made for purposes of the waterfall set forth in Section
5.2(b)(vi)); provided that the member appointed by the Creditors’ Committee to the Litigation Trust
Oversight Committee may choose to use the GUC Payment to either (a) make a distribution to holders of
Litigation Trust Interests that are holders of Allowed General Unsecured Claims or (b) continue the
Litigation Trust and prosecute Litigation Trust Causes of Action for the sole benefit of holders of
Litigation Trust Interests that are holders of Allowed General Unsecured Claims.

                (j)      Single Satisfaction of Allowed Claims From Litigation Trust. Notwithstanding
anything to the contrary herein, in no event shall holders of Litigation Trust Interests recover more than
the full amount of their Allowed Claims from the Litigation Trust.

                                     ARTICLE VI DISTRIBUTIONS.

          6.1.      Distributions Generally.

                Except as otherwise provided in the Plan and the Litigation Trust Agreement, one or
more Disbursing Agents shall make all distributions under the Plan to the appropriate holders of Allowed
Claims in accordance with the terms of the Plan.




                                                     37
WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456      Filed 10/07/19 Entered 10/07/19 15:38:57             Main Document
                                              Pg 182 of 565


          6.2.      Distribution Record Date.

                 As of the close of business on the Distribution Record Date, the various transfer registers
for each of the Classes of Claims or Interests as maintained by the Debtors or their respective agents shall
be deemed closed for purposes of determining whether a holder of such a Claim or Interest is a record
holder entitled to distributions under the Plan, and there shall be no further changes in the record holders
or the permitted designees of any such Claims or Interests. The Debtors, the Reorganized Debtors, or the
Litigation Trust Oversight Committee, as applicable, shall have no obligation to recognize any transfer or
designation of such Claims or Interests occurring after the close of business on the Distribution Record
Date. In addition, with respect to payment of any Cure Amounts or assumption disputes, neither the
Debtors nor the Disbursing Agent shall have any obligation to recognize or deal with any party other than
the non-Debtor party to the applicable executory contract or unexpired lease as of the close of business on
the Distribution Record Date, even if such non-Debtor party has sold, assigned, or otherwise transferred
its Claim for a Cure Amount.

          6.3.      Date of Distributions.

                 Except as otherwise provided in the Plan and in the Litigation Trust Agreement, any
distributions and deliveries to be made under the Plan shall be made on the Effective Date or as otherwise
determined in accordance with the Plan, including, without limitation, the treatment provisions of Article
IV of the Plan, or as soon as practicable thereafter; provided, that the Litigation Trust Oversight
Committee shall from time to time determine distribution dates of Litigation Trust Assets as and when
they determine to be appropriate.

          6.4.      Disbursing Agent.

                 All distributions under this Plan shall be made by the Disbursing Agent on and after the
Effective Date as provided herein. The Disbursing Agent shall not be required to give any bond or surety
or other security for the performance of its duties. The Reorganized Debtors shall use all commercially
reasonable efforts to provide the Disbursing Agent (if other than the Reorganized Debtors) with the
amounts of Claims and the identities and addresses of holders of Claims, in each case, as set forth in the
Debtors’ or the Reorganized Debtors’ books and records. The Reorganized Debtors shall cooperate in
good faith with the applicable Disbursing Agent (if other than the Reorganized Debtors) to comply with
the reporting and withholding requirements outlined in Section 6.19 of the Plan.

          6.5.      Rights and Powers of Disbursing Agent.

                (a)      From and after the Effective Date, the Disbursing Agent, solely in its capacity as
Disbursing Agent, shall be exculpated by all Entities, including, without limitation, holders of Claims
against and Interests in the Debtors and other parties in interest, from any and all Claims, Causes of
Action, and other assertions of liability arising out of the discharge of the powers and duties conferred
upon such Disbursing Agent by the Plan or any order of the Bankruptcy Court entered pursuant to or in
furtherance of the Plan, or applicable law, except for actions or omissions to act arising out of the gross
negligence or willful misconduct, fraud, malpractice, criminal conduct, or ultra vires acts of such
Disbursing Agent. No holder of a Claim or Interest or other party in interest shall have or pursue any
claim or Cause of Action against the Disbursing Agent, solely in its capacity as Disbursing Agent, for
making distributions in accordance with the Plan or for implementing provisions of the Plan, except for
actions or omissions to act arising out of the gross negligence or willful misconduct, fraud, malpractice,
criminal conduct, or ultra vires acts of such Disbursing Agent.




                                                    38
WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456      Filed 10/07/19 Entered 10/07/19 15:38:57             Main Document
                                              Pg 183 of 565


                 (b)      A Disbursing Agent shall be empowered to (i) effect all reasonable actions and
execute all agreements, instruments, and other documents necessary to perform its duties hereunder;
(ii) make all distributions contemplated hereby; and (iii) exercise such other powers as may be vested in
the Disbursing Agent by order of the Bankruptcy Court, pursuant to the Plan, or as deemed by the
Disbursing Agent to be necessary and proper to implement the provisions of the Plan.

          6.6.      Expenses of Disbursing Agent.

               Except as otherwise ordered by the Bankruptcy Court, any reasonable and documented
fees and expenses incurred by the Disbursing Agent acting in such capacity (including reasonable
documented attorneys’ and other professional fees and expenses) on or after the Effective Date shall be
paid in Cash.

          6.7.      No Postpetition Interest on Claims.

                Except as otherwise provided in the Plan, the Confirmation Order, the DIP Order, or
another order of the Bankruptcy Court or required by the Bankruptcy Code (including postpetition interest
in accordance with sections 506(b) and 726(a)(5) of the Bankruptcy Code), interest shall not accrue or be
paid on any Claims on or after the Commencement Date; provided, that if interest is payable pursuant to
the preceding sentence, interest shall accrue at the federal judgment rate pursuant to 28 U.S.C. § 1961 on
a non-compounded basis from the date the obligation underlying the Claim becomes due and is not timely
paid through the date of payment.

          6.8.      Delivery of Distributions.

                 (a)      Subject to Bankruptcy Rule 9010, all distributions to any holder or permitted
designee, as applicable, of an Allowed Claim or Interest shall be made to a Disbursing Agent, who shall
transmit such distribution to the applicable holders or permitted designees of Allowed Claims or Interests
on behalf of the Debtors. In the event that any distribution to any holder or permitted designee is returned
as undeliverable, no further distributions shall be made to such holder or such permitted designee unless
and until such Disbursing Agent is notified in writing of such holder’s or permitted designee’s, as
applicable, then-current address, at which time all currently-due, missed distributions shall be made to
such holder as soon as reasonably practicable thereafter without interest. Nothing herein shall require the
Disbursing Agent to attempt to locate holders or permitted designees, as applicable, of undeliverable
distributions and, if located, assist such holders or permitted designees, as applicable, in complying with
Section 6.19 of the Plan.

                 (b)      Notwithstanding the foregoing, all distributions of Cash on account of First Lien
Claims or Second Lien Claims, if any, shall be deposited with the Prepetition First Lien Administrative
Agent and the Prepetition Second Lien Administrative Agent, as applicable, for distribution to holders of
First Lien Claims or Second Lien Claims in accordance with the terms of the Prepetition Credit
Agreement, the Prepetition Second Lien Credit Agreement and the Prepetition Intercreditor Agreement.
All distributions other than of Cash on account of First Lien Claims or Second Lien Claims, if any, may,
with the consent of the Prepetition First Lien Administrative Agent and the Prepetition Second Lien
Administrative Agent, be made by the Disbursing Agent directly to holders of First Lien Claims and
Second Lien Claims in accordance with the terms of the Plan, the Prepetition First Lien Credit
Agreement, the Prepetition Second Lien Credit Agreement and the Prepetition Intercreditor Agreement.
To the extent the Prepetition First Lien Administrative Agent or the Prepetition Second Lien
Administrative Agent effectuates, or is requested to effectuate, any distributions hereunder, the
Prepetition First Lien Administrative Agent and the Prepetition Second Lien Administrative Agent shall
be deemed a “Disbursing Agent” for purposes of the Plan.



                                                      39
WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456      Filed 10/07/19 Entered 10/07/19 15:38:57              Main Document
                                              Pg 184 of 565


          6.9.      Distributions after Effective Date.

               Distributions made after the Effective Date to holders of Disputed Claims that are not
Allowed Claims as of the Effective Date but which later become Allowed Claims shall be deemed to have
been made on the Effective Date.

          6.10.     Unclaimed Property.

                 Undeliverable distributions or unclaimed distributions shall remain in the possession of
the Debtors or the Litigation Trust, as applicable, until such time as a distribution becomes deliverable or
holder accepts distribution, or such distribution reverts back to the Debtors, Reorganized Debtors, or
Litigation Trust, as applicable, and shall not be supplemented with any interest, dividends, or other
accruals of any kind. Such distributions shall be deemed unclaimed property under section 347(b) of the
Bankruptcy Code at the expiration of three hundred and sixty-five (365) days from the date of
distribution. After such date all unclaimed property or interest in property shall revert to the Reorganized
Debtors or Litigation Trust, as applicable, and the Claim of any other holder to such property or interest in
property shall be discharged and forever barred.

          6.11.     Time Bar to Cash Payments.

                Checks issued by the Disbursing Agent in respect of Allowed Claims shall be null and
void if not negotiated within one hundred and twenty (120) days after the date of issuance thereof.
Thereafter, the amount represented by such voided check shall irrevocably revert to the Reorganized
Debtors or the Litigation Trust, as applicable, and any Claim in respect of such voided check shall be
discharged and forever barred, notwithstanding any federal or state escheat laws to the contrary. Requests
for re-issuance of any check shall be made to the Disbursing Agent or Litigation Trust Oversight
Committee, as applicable, by the holder of the Allowed Claim to whom such check was originally issued.

          6.12.     Manner of Payment under Plan.

                Except as otherwise specifically provided in the Plan, at the option of the Debtors, the
Reorganized Debtors, or Litigation Trust Oversight Committee, as applicable, any Cash payment to be
made hereunder may be made by a check or wire transfer or as otherwise required or provided in
applicable agreements or customary practices of the Debtors.

          6.13.     Satisfaction of Claims.

                Except as otherwise specifically provided in the Plan, any distributions and deliveries to
be made on account of Allowed Claims under the Plan shall be in complete and final satisfaction,
settlement, and discharge of and exchange for such Allowed Claims.

          6.14.     Fractional Stock and Notes.

                 If any distributions of New Equity Interests pursuant to the Plan would result in the
issuance of a fractional share of New Equity Interests, then the number of shares of New Equity Interests
to be issued in respect of such distribution will be calculated to one decimal place and rounded up or
down to the closest whole share (with a half share or greater rounded up and less than a half share
rounded down). The total number of shares of New Equity Interests to be distributed in connection with
the Plan shall be adjusted as necessary to account for the rounding provided for in this Section 6.14. No
consideration shall be provided in lieu of fractional shares that are rounded down. Neither the




                                                          40
WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456      Filed 10/07/19 Entered 10/07/19 15:38:57              Main Document
                                              Pg 185 of 565


Reorganized Debtors, nor the Disbursing Agent shall have any obligation to make a distribution that is
less than one (1) share of New Equity Interests.

          6.15.     Minimum Cash Distributions.

               The Disbursing Agent shall not be required to make any distribution of Cash less than
One Hundred Dollars ($100) to any holder of an Allowed Claim; provided, that if any distribution is not
made pursuant to this Section 6.15, such distribution shall be added to any subsequent distribution to be
made on behalf of the holder’s Allowed Claim.

          6.16.     Setoffs and Recoupments.

                The Debtors or the Reorganized Debtors, as applicable, or such entity’s designee
(including, without limitation, the Disbursing Agent) may, but shall not be required to, set off or recoup
against any Claim, and any distribution to be made on account of such Claim, any and all claims, rights,
and Causes of Action of any nature whatsoever that the Debtors or the Reorganized Debtors may have
against the holder of such Claim pursuant to the Bankruptcy Code or applicable non-bankruptcy law;
provided, that neither the failure to do so nor the allowance of any Claim hereunder shall constitute a
waiver or release by a Debtor or Reorganized Debtor or its successor of any claims, rights, or Causes of
Action that a Debtor or Reorganized Debtor or its successor or assign may possess against the holder of
such Claim.

          6.17.     Allocation of Distributions between Principal and Interest.

                 Except as otherwise required by law (as reasonably determined by the Reorganized
Debtors), distributions with respect to an Allowed Claim shall be allocated first to the principal portion of
such Allowed Claim (as determined for United States federal income tax purposes) and, thereafter, to the
remaining portion of such Allowed Claim, if any.

          6.18.     No Distribution in Excess of Amount of Allowed Claim.

                Except as provided in Section 6.7 of the Plan, no holder of an Allowed Claim shall
receive, on account of such Allowed Claim, distributions in excess of the Allowed amount of such Claim.

          6.19.     Withholding and Reporting Requirements.

                 (a)     Withholding Rights. In connection with the Plan, any party issuing any
instrument or making any distribution described in the Plan shall comply with all applicable withholding
and reporting requirements imposed by any federal, state, or local taxing authority, and all distributions
pursuant to the Plan and all related agreements shall be subject to any such withholding or reporting
requirements. In the case of a non-Cash distribution that is subject to withholding, the distributing party
may withhold an appropriate portion of such distributed property and either (i) sell such withheld property
to generate Cash necessary to pay over the withholding tax (or reimburse the distributing party for any
advance payment of the withholding tax), or (ii) pay the withholding tax using its own funds and retain
such withheld property. Any amounts withheld pursuant to the preceding sentence shall be deemed to
have been distributed to and received by the applicable recipient for all purposes of the Plan.
Notwithstanding the foregoing, each holder of an Allowed Claim or any other Entity that receives a
distribution pursuant to the Plan shall have responsibility for any taxes imposed by any governmental
unit, including, without limitation, income, withholding, and other taxes, on account of such distribution.
Any party issuing any instrument or making any distribution pursuant to the Plan has the right, but not the




                                                      41
WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456     Filed 10/07/19 Entered 10/07/19 15:38:57               Main Document
                                             Pg 186 of 565


obligation, to not make a distribution until such holder has made arrangements satisfactory to such issuing
or disbursing party for payment of any such tax obligations.

                  (b)    Forms. Any party entitled to receive any property as an issuance or distribution
under the Plan shall, upon request, deliver to the Disbursing Agent or such other Entity designated by the
Reorganized Debtors or Litigation Trust, as applicable (which Entity shall subsequently deliver to the
Disbursing Agent any applicable IRS Form W-8 or Form W-9 received) an appropriate Form W-9 or (if
the payee is a foreign Entity) Form W-8. If such request is made by the Reorganized Debtors, the
Disbursing Agent, or such other Entity designated by the Reorganized Debtors or Disbursing Agent and
the holder fails to comply before the earlier of (i) the date that is one hundred and eighty (180) days after
the request is made and (ii) the date that is one hundred and eighty (180) days after the date of
distribution, the amount of such distribution shall irrevocably revert to the applicable Reorganized Debtor
and any Claim in respect of such distribution shall be discharged and forever barred from assertion
against such Reorganized Debtor or its respective property.

          6.20.     Hart-Scott-Rodino Antitrust Improvements Act.

                 Any New Equity Interests to be distributed under the Plan to an Entity required as a result
of such distribution to file a premerger notification and report form under the Hart-Scott-Rodino Antitrust
Improvements Act of 1976, as amended, to the extent applicable, shall not be distributed until the
notification and waiting periods applicable under such Act to such Entity have expired or been
terminated.

                         ARTICLE VII PROCEDURES FOR DISPUTED CLAIMS.

          7.1.      Objections to Claims.

                 The Debtors, the Reorganized Debtors, or the Litigation Trust, as applicable, shall
exclusively be entitled to object to Claims. After the Effective Date, the Reorganized Debtors or the
Litigation Trust Oversight Committee, as applicable, shall have and retain any and all rights and defenses
that the Debtors had with regard to any Claim to which they may object, except with respect to any Claim
that is Allowed. Any objections to proofs of Claim shall be served and filed on or before the later of
(a) one-hundred and eighty (180) days after the Effective Date, and (b) on such later date as may be fixed
by the Bankruptcy Court, after notice and a hearing, upon a motion by the Reorganized Debtors that is
filed before the date that is one-hundred and eighty (180) days after the Effective Date. The expiration of
such period shall not limit or affect the Debtors’ or the Reorganized Debtors’ rights to dispute Claims
asserted in the ordinary course of business other than through a proof of Claim.

          7.2.      Resolution of Disputed Claims.

                 On and after the Effective Date, (a) the Debtors or the Reorganized Debtors, as
applicable, shall have the authority to compromise, settle, otherwise resolve, or withdraw any objections
to Claims (other than General Unsecured Claims) without approval of the Bankruptcy Court, other than
with respect to Fee Claims; and (b) upon the creation of the Litigation Trust, the Litigation Trust
Oversight Committee shall have the exclusive authority to compromise, settle, otherwise resolve, or
withdraw any objections to General Unsecured Claims without approval of the Bankruptcy Court. The
Debtors or the Reorganized Debtors, as applicable, and the Litigation Trust Oversight Committee shall
cooperate with respect to any objections to Claims that seek to convert Claims into General Unsecured
Claims or General Unsecured Claims into other Claims. The rights and defenses of the Debtors, the
Reorganized Debtors or the Litigation Trust, as applicable, to any such objections are fully preserved.




                                                     42
WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456      Filed 10/07/19 Entered 10/07/19 15:38:57                Main Document
                                              Pg 187 of 565


          7.3.      Payments and Distributions with Respect to Disputed Claims.

                Notwithstanding anything herein to the contrary, if any portion of a Claim is a Disputed
Claim, no payment or distribution provided hereunder shall be made on account of such Claim unless and
until such Disputed Claim becomes an Allowed Claim.

          7.4.      Distributions after Allowance.

                After such time as a Disputed Claim becomes, in whole or in part, an Allowed Claim, the
holder thereof shall be entitled to distributions, if any, to which such holder is then entitled as provided in
this Plan, without interest, as provided in Section 7.9 of the Plan. Such distributions shall be made as
soon as practicable after the date that the order or judgment of the Bankruptcy Court allowing such
Disputed Claim (or portion thereof) becomes a Final Order.

          7.5.      Disallowance of Claims.

                 Except to the extent otherwise agreed to by the Debtors, the Reorganized Debtors, or the
Litigation Trust Oversight Committee, as applicable, or as provided in Section .2(b) of the Plan, any
Claims held by Entities from which property is recoverable under sections 542, 543, 550, or 553 of the
Bankruptcy Code or that is a transferee of a transfer avoidable under section 522(f), 522(h), 544, 545,
547, 548, 549, or 724(a) of the Bankruptcy Code, as determined by a Final Order, shall be deemed
disallowed pursuant to section 502(d) of the Bankruptcy Code, and holders of such Claims may not
receive any distributions on account of such Claims until such time as such Causes of Action against that
Entity have been settled or a Final Order with respect thereto has been entered and all sums due, if any, to
the Debtors by that Entity have been turned over or paid to the Debtors, the Reorganized Debtors, or the
Litigation Trust Oversight Committee, as applicable.

          7.6.      Estimation of Claims.

                  The Debtors, the Reorganized Debtors, or the Litigation Trust Oversight Committee, as
applicable, may (a) determine, resolve and otherwise adjudicate all contingent, unliquidated, and Disputed
Claims in the Bankruptcy Court and (b) at any time request that the Bankruptcy Court estimate any
contingent, unliquidated, or Disputed Claim pursuant to section 502(c) of the Bankruptcy Code regardless
of whether the Debtors previously objected to such Claim or whether the Bankruptcy Court has ruled on
any such objection. The Bankruptcy Court will retain jurisdiction to estimate any Claim at any time
during litigation concerning any objection to any Claim, including, without limitation, during the
pendency of any appeal relating to any such objection. In the event that the Bankruptcy Court estimates
any contingent, unliquidated, or Disputed Claim, the amount so estimated shall constitute either the
Allowed amount of such Claim or a maximum limitation on such Claim, as determined by the Bankruptcy
Court. If the estimated amount constitutes a maximum limitation on the amount of such Claim, the
Debtors, the Reorganized Debtors, or the Litigation Trust Oversight Committee, as applicable, may
pursue supplementary proceedings to object to the allowance of such Claim; provided, that such
limitation shall not apply to Claims requested by the Debtors to be estimated for voting purposes only.

          7.7.      No Distributions Pending Allowance.

                  If an objection, motion to estimate, or other challenge to a Claim is filed, no payment or
distribution provided under the Plan shall be made on account of such Claim unless and until (and only to
the extent that) such Claim becomes an Allowed Claim.




                                                      43
WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456     Filed 10/07/19 Entered 10/07/19 15:38:57               Main Document
                                             Pg 188 of 565


          7.8.      Claim Resolution Procedures Cumulative.

                All of the objection, estimation, and resolution procedures in the Plan are intended to be
cumulative and not exclusive of one another. Claims may be estimated and subsequently settled,
compromised, withdrawn, or resolved in accordance with the Plan without further notice or Bankruptcy
Court approval.

          7.9.      Interest.

                 To the extent that a Disputed Claim becomes an Allowed Claim after the Effective Date,
the holder of such Claim shall not be entitled to any interest that accrued thereon from and after the
Effective Date, except as provided in Section 6.7 of the Plan.

          7.10.     Insured Claims.

                 If any portion of an Allowed Claim is an Insured Claim, no distributions under the Plan
shall be made on account of such Allowed Claim until the holder of such Allowed Claim has exhausted
all remedies with respect to any applicable insurance policies. To the extent that the Debtors’ insurers
agree to satisfy a Claim in whole or in part, then immediately upon such agreement, the portion of such
Claim so satisfied may be expunged without an objection to such Claim having to be filed and without
any further notice to or action, order or approval of the Court.

          ARTICLE VIII                EXECUTORY CONTRACTS AND UNEXPIRED LEASES.

          8.1.      General Treatment.

                   (a)     As of and subject to the occurrence of the Effective Date, all executory contracts
and unexpired leases to which any of the Debtors are parties shall be deemed rejected, unless such
contract or lease (i) was previously assumed or rejected by the Debtors pursuant to an order of the
Bankruptcy Court; (ii) previously expired or terminated pursuant to its own terms or by agreement of the
parties thereto; (iii) is the subject of a motion to assume filed by the Debtors on or before the
Confirmation Date; (iv) is identified in section 5.7(a) of the Plan; (v) is identified in section 8.4 of the
Plan; or (vi) is identified for assumption on the Assumption Schedule included in the Plan Supplement.

                (b)      Subject to the occurrence of the Effective Date, entry of the Confirmation Order
by the Bankruptcy Court shall constitute approval of the assumptions, assumptions and assignments, or
rejections provided for in the Plan pursuant to sections 365(a) and 1123 of the Bankruptcy Code and a
determination by the Bankruptcy Court that the Reorganized Debtors or the Successful Bidder, as
applicable, have provided adequate assurance of future performance under such assumed executory
contracts and unexpired leases. Each executory contract and unexpired lease assumed or assumed and
assigned pursuant to the Plan shall vest in and be fully enforceable by the Reorganized Debtors or the
Successful Bidder, as applicable, in accordance with its terms, except as modified by the provision of the
Plan, any order of the Bankruptcy Court authorizing and providing for its assumption, or applicable law.

          8.2.      Determination of Assumption Disputes and Deemed Consent.

                (a)      Any Cure Amount shall be satisfied, pursuant to section 365(b)(1) of the
Bankruptcy Code, by payment of the Cure Amount, as reflected in the applicable cure notice, in Cash on
the Effective Date, subject to the limitations described below, or on such other terms as the parties to such
executory contracts or unexpired leases and the Debtors may otherwise agree.




                                                     44
WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57                  Main Document
                                           Pg 189 of 565


                  (b)    The Debtors shall file, as part of the Plan Supplement, the Assumption Schedule.
The Debtors shall serve a notice on parties to executory contracts or unexpired leases to be assumed or
assumed and assigned reflecting the Debtors’ intention to assume or assume and assign the contract or
lease in connection with this Plan and, where applicable, setting forth the proposed Cure Amount (if any),
in accordance with the Disclosure Statement Order. Any objection by a counterparty to an executory
contract or unexpired lease to the proposed assumption, assumption and assignment, or related Cure
Amount must be filed and served in accordance with the Disclosure Statement Order. Any counterparty
to an executory contract or unexpired lease that does not timely object to the notice of the proposed
assumption of such executory contract or unexpired lease shall be deemed to have assented to assumption
of the applicable executory contract or unexpired lease notwithstanding any provision thereof that
purports to (i) prohibit, restrict, or condition the transfer or assignment of such contract or lease;
(ii) terminate or modify, or permit the termination or modification of, a contract or lease as a result of any
direct or indirect transfer or assignment of the rights of any Debtor under such contract or lease or a
change, if any, in the ownership or control to the extent contemplated by the Plan; (iii) increase,
accelerate, or otherwise alter any obligations or liabilities of any Debtor or any Reorganized Debtor under
such executory contract or unexpired lease; or (iv) create or impose a Lien upon any property or Asset of
any Debtor or any Reorganized Debtor, as applicable. Each such provision shall be deemed to not apply
to the assumption of such executory contract or unexpired lease pursuant to the Plan and counterparties to
assumed executory contracts or unexpired leases that fail to object to the proposed assumption in
accordance with the terms set forth in this Section 8.2(b), shall forever be barred and enjoined from
objecting to the proposed assumption or to the validity of such assumption (including with respect to any
Cure Amounts or the provision of adequate assurance of future performance), or taking actions prohibited
by the foregoing or the Bankruptcy Code on account of transactions contemplated by the Plan.

                (c)      If there is an Assumption Dispute pertaining to assumption of an executory
contract or unexpired lease (other than a dispute pertaining to a Cure Amount), such dispute shall be
heard by the Bankruptcy Court prior to such assumption being effective, provided, that the Debtors or the
Reorganized Debtors, as applicable, may settle any dispute regarding the Cure Amount or the nature
thereof without any further notice to any party or any action, order, or approval of the Bankruptcy Court.

                (d)     To the extent an Assumption Dispute relates solely to the Cure Amount, the
Debtors may assume and/or assume and assign the applicable executory contract or unexpired lease prior
to the resolution of such Assumption Dispute; provided, that the Debtors or the Reorganized Debtors
reserve Cash in an amount sufficient to pay the full amount reasonably asserted as the required cure
payment by the non-Debtor party to such executory contract or unexpired lease (or such smaller amount
as may be fixed or estimated by the Bankruptcy Court or otherwise agreed to by such non-Debtor party
and the applicable Reorganized Debtor).

                 (e)     Assumption or assumption and assignment of any executory contract or
unexpired lease pursuant to the Plan or otherwise shall result in the full release and satisfaction of any
Claims against any Debtor or defaults by any Debtor, whether monetary or nonmonetary, including
defaults of provisions restricting the change in control or ownership interest composition or other
bankruptcy-related defaults, arising under any assumed executory contract or unexpired lease at any time
before the date that the Debtors assume or assume and assign such executory contract or unexpired lease.
Any proofs of Claim filed with respect to an executory contract or unexpired lease that has been assumed
or assumed and assigned shall be deemed disallowed and expunged, without further notice to or action,
order, or approval of the Bankruptcy Court or any other Entity, upon the assumption of such executory
contract or unexpired lease.




                                                     45
WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456     Filed 10/07/19 Entered 10/07/19 15:38:57               Main Document
                                             Pg 190 of 565


          8.3.      Rejection Damages Claims.

                 In the event that the rejection of an executory contract or unexpired lease hereunder
results in damages to the other party or parties to such executory contract or unexpired lease, any Claim
for such damages shall be classified and treated in Class 5 (General Unsecured Claims). Such Claim shall
be forever barred and shall not be enforceable against the Debtors, the Reorganized Debtors, or the
Litigation Trust, as applicable, or their respective Estates, properties or interests in property as agents,
successors, or assigns, unless a proof of Claim is filed with the Bankruptcy Court and served upon
counsel for the Debtors or the Reorganized Debtors, as applicable, no later than forty-five (45) days after
the filing and service of the notice of the occurrence of the Effective Date.

          8.4.      Insurance Policies.

                  Notwithstanding anything to the contrary in the Definitive Documents, the Plan, the Plan
Supplement, any bar date notice or claim objection, and any other document related to any of the
foregoing: on the Effective Date (a) all insurance policies issued or providing coverage to the Debtors and
all related agreements shall be assumed in their entirety by the Debtors or the Reorganized Debtors, as
applicable pursuant to sections 105 and 365(a) of the Bankruptcy Code, shall continue in full force and
effect thereafter in accordance with their respective terms, and upon such assumption, the Reorganized
Debtors shall remain liable in full for any and all now existing or hereinafter arising obligations,
liabilities, terms, provisions, and covenants of any of the Debtors under such insurance policies and
agreements, without the need or requirement for an insurer to file a proof of Claim, Administrative Claim,
or objection to any cure amount; (b) the Debtors or the Reorganized Debtors, as applicable, shall not sell,
assign or otherwise transfer any insurance policies or related agreements except in accordance with the
terms of thereof and applicable non-bankruptcy law; and (c) the automatic stay of Bankruptcy Code
section 362(a) and the injunctions set forth in the Plan, if and to the extent applicable, shall be deemed
lifted without further order of this Court, solely to permit: (I) claimants with valid workers’ compensation
claims or direct action claims against an insurer under applicable non-bankruptcy law to proceed with
their claims; and (II) the insurers to administer, handle, defend, settle, and/or pay, in the ordinary course
of business and without further order of the Bankruptcy Court, (A) workers’ compensation claims, (B)
claims where a claimant asserts a direct claim against any insurer under applicable non-bankruptcy law,
or an order has been entered by the Bankruptcy Court granting a claimant relief from the automatic stay to
proceed with its claim, and (C) all costs in relation to each of the foregoing.

          8.5.      Intellectual Property Licenses and Agreements.

                 Notwithstanding anything to the contrary in the Definitive Documents, the Plan, the Plan
Supplement, any bar date notice or claim objection, and any other document related to any of the
foregoing, all intellectual property contracts, licenses, royalties, or other similar agreements to which the
Debtors have any rights or obligations in effect as of the date of the Confirmation Order shall be deemed
and treated as executory contracts pursuant to the Plan and shall, with the consent of the Requisite First
Lien Lenders (which consent shall not be unreasonably withheld), be assumed by the Debtors and
Reorganized Debtors and shall continue in full force and effect unless any such intellectual property
contract, license, royalty, or other similar agreement otherwise is specifically rejected pursuant to a
separate order of the Bankruptcy Court or is the subject of a separate rejection motion filed by the Debtors
in accordance with Section 8.1 of the Plan. Unless otherwise noted hereunder, all other intellectual
property contracts, licenses, royalties, or other similar agreements shall vest in the Reorganized Debtors
and the Reorganized Debtors may take all actions as may be necessary or appropriate to ensure such
vesting as contemplated herein.




                                                     46
WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456     Filed 10/07/19 Entered 10/07/19 15:38:57              Main Document
                                             Pg 191 of 565


          8.6.      Tax Agreements.

                  Notwithstanding anything to the contrary in the Definitive Documents, the Plan, the Plan
Supplement, any bar date notice or claim objection, and any other document related to any of the
foregoing, any tax sharing agreements to which the Debtors are a party (of which the principal purpose is
the allocation of taxes) in effect as of the date of the Confirmation Order shall be deemed and treated as
executory contracts pursuant to the Plan and, to the extent the Debtors determine, with the consent of the
Requisite First Lien Lenders (which consent shall not be unreasonably withheld), that such agreements
are beneficial to the Debtors, shall be assumed by the Debtors and Reorganized Debtors and shall
continue in full force and effect thereafter in accordance with their respective terms, unless any such tax
sharing agreement (of which the principal purpose is the allocation of taxes) otherwise is specifically
rejected pursuant to a separate order of the Bankruptcy Court or is the subject of a separate rejection
motion filed by the Debtors in accordance with Section 8.1 of the Plan. Unless otherwise noted
hereunder, all other tax sharing agreements to which the Debtors are a party (of which the principal
purpose is the allocation of taxes) shall vest in the Reorganized Debtors and the Reorganized Debtors may
take all actions as may be necessary or appropriate to ensure such vesting as contemplated herein.

          8.7.      Assignment.

                 To the extent provided under the Bankruptcy Code or other applicable law, any executory
contract or unexpired lease transferred and assigned hereunder shall remain in full force and effect for the
benefit of the transferee or assignee in accordance with its terms, notwithstanding any provision in such
executory contract or unexpired lease (including those of the type set forth in section 365(b)(2) of the
Bankruptcy Code) that prohibits, restricts, or conditions such transfer or assignment. To the extent
provided under the Bankruptcy Code or other applicable law, any provision that prohibits, restricts, or
conditions the assignment or transfer of any such executory contract or unexpired lease or that terminates
or modifies such executory contract or unexpired lease or allows the counterparty to such executory
contract or unexpired lease to terminate, modify, recapture, impose any penalty, condition renewal or
extension, or modify any term or condition upon any such transfer and assignment, constitutes an
unenforceable anti-assignment provision and is void and of no force or effect with respect to any
assignment pursuant to the Plan.

          8.8.      Modifications, Amendments, Supplements, Restatements, or Other Agreements.

                 Unless otherwise provided herein or by separate order of the Bankruptcy Court, each
executory contract and unexpired lease that is assumed shall include any and all modifications,
amendments, supplements, restatements, or other agreements made directly or indirectly by any
agreement, instrument, or other document that in any manner affects such executory contract or unexpired
lease, without regard to whether such agreement, instrument, or other document is listed in the notice of
assumed contracts.

          8.9.      Reservation of Rights.

                 (a)     The Debtors, with the consent of the Requisite First Lien Lenders, which consent
may not be unreasonably withheld, may amend the Assumption Schedule and any cure notice until the
Business Day immediately prior to the commencement of the Confirmation Hearing in order to (i) add,
delete, or reclassify any executory contract or unexpired lease or amend a proposed assignment and/or
(ii) amend the proposed Cure Amount; provided, that if the Confirmation Hearing is adjourned for a
period of more than two (2) consecutive calendar days, the Debtors’ right to amend such schedules and
notices shall be extended to the Business Day immediately prior to the adjourned date of the Confirmation
Hearing, with such extension applying in the case of any and all subsequent adjournments of the



                                                    47
WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456        Filed 10/07/19 Entered 10/07/19 15:38:57                Main Document
                                                Pg 192 of 565


Confirmation Hearing. The Debtors shall provide notice of such amendment to any affected counterparty
as soon as reasonably practicable.

                 (b)      Neither the exclusion nor inclusion of any contract or lease by the Debtors on any
exhibit, schedule, or other annex to the Plan or in the Plan Supplement, nor anything contained in the
Plan, will constitute an admission by the Debtors that any such contract or lease is or is not in fact an
executory contract or unexpired lease or that the Debtors, the Reorganized Debtors or their respective
Affiliates have any liability thereunder.

                 (c)     Except as otherwise provided in the Plan, nothing herein shall waive, excuse,
limit, diminish, or otherwise alter any of the defenses, Claims, Causes of Action, or other rights of the
Debtors and the Reorganized Debtors under any executory or non-executory contract or any unexpired or
expired lease.

                 (d)      Nothing in the Plan will increase, augment, or add to any of the duties,
obligations, responsibilities, or liabilities of the Debtors or the Reorganized Debtors, as applicable, under
any executory or non-executory contract or any unexpired or expired lease.

ARTICLE IX CONDITIONS PRECEDENT TO CONFIRMATION OF PLAN AND EFFECTIVE
                                DATE.

          9.1.      Conditions Precedent to Confirmation of Plan.

                    The following are conditions precedent to entry of the Confirmation Order:

                (a)      the Disclosure Statement Order shall have been entered and shall be in full force
and effect and no stay thereof shall be in effect;

                 (b)     the Plan Supplement and all of the schedules, documents, and exhibits contained
therein shall have been filed;

                    (c)       the RSA shall not have been terminated and shall be in full force and effect; and

               (d)    the DIP Order and the DIP Documents shall be in full force and effect in
accordance with the terms thereof, and no event of default shall have occurred and be continuing
thereunder.

          9.2.      Conditions Precedent to Effective Date.

                    (a)       The following are conditions precedent to the Effective Date of the Plan:

                            (i)     the Confirmation Order shall have been entered and shall be in full force
                    and effect and no stay thereof shall be in effect;

                            (ii)   no event of default under the DIP Documents shall have occurred or be
                    continuing and an acceleration of the obligations or termination of the DIP Lenders’
                    commitments under the DIP Documents shall not have occurred;

                          (iii)   all actions, documents, and agreements necessary to implement and
                    consummate the Plan shall have been effected or executed and binding on all parties




                                                         48
WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456      Filed 10/07/19 Entered 10/07/19 15:38:57                 Main Document
                                              Pg 193 of 565


                    thereto and, to the extent required, filed with the applicable governmental units in
                    accordance with applicable laws;

                             (iv)   all applicable governmental, regulatory and/or third-party approvals and
                    consents, including FCC Approval, approval of State PUCs, and Bankruptcy Court
                    approval, necessary in connection with the transactions contemplated by the Plan shall
                    have been obtained (including approval of the FCC Applications), not be subject to
                    unfulfilled conditions, and be in full force and effect, and all applicable waiting periods
                    shall have expired without any action being taken or threatened by any competent
                    authority that would restrain, prevent, or otherwise impose materially adverse conditions
                    on such transactions;

                             (v)     the RSA shall not have been terminated and shall be in full force and
                    effect, and no notice shall have been delivered in accordance with the RSA that, upon
                    expiration of a cure period, would give rise to a Lender Termination Event (as defined in
                    the RSA;

                            (vi)     the Global Settlement shall have been approved by the Bankruptcy Court
                    without material modification (unless the modification is consented to by the Debtors, the
                    Requisite First Lien Lenders, and the Creditors’ Committee);

                             (vii)  all accrued and unpaid Restructuring Expenses, Second Lien Lender
                    Restructuring Expenses, and Settlement Restructuring Expenses shall have been paid in
                    Cash to the extent invoiced at least two (2) business days prior to the Effective Date (or
                    such shorter period as the Debtors may agree); provided that, any modification to the
                    Plan that adversely affects the treatment of Second Lien Claims or the rights of the
                    Second Lien Lender Group to receive Second Lien Lender Restructuring Expenses shall
                    be in form and substance reasonably acceptable to the Second Lien Lender Group;

                            (viii) the Amended Organizational Documents shall have been filed with the
                    appropriate governmental authority, as applicable;

                           (ix)    the Special Warrant Agreement shall have been executed and delivered,
                    and any conditions precedent to effectiveness contained therein have been satisfied or
                    waived in accordance therewith;

                            (x)      the New First Lien Credit Documents and the New Exit Facility Credit
                    Documents, shall (i) have been (or deemed) executed and delivered, and any conditions
                    precedent to effectiveness contained therein have been satisfied or waived in accordance
                    therewith, (ii) be in full force and effect and binding upon the relevant parties; and (iii)
                    contain terms and conditions consistent in all material respects with the RSA; and

                            (xi)    the Consulting Agreement shall have been executed and delivered, and
                    any conditions precedent therein shall have been satisfied or waived in accordance
                    therewith and be in full force and effect and binding on the relevant parties.

                (b)      Notwithstanding when a condition precedent to the Effective Date occurs, for
purposes of the Plan, such condition precedent shall be deemed to have occurred simultaneously upon the
occurrence of the applicable conditions precedent to the Effective Date; provided, that to the extent a
condition precedent (a “Prerequisite Condition”) may be required to occur prior to another condition
precedent (a “Subsequent Condition”) then, for purposes of the Plan, the Prerequisite Condition shall be



                                                        49
WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456      Filed 10/07/19 Entered 10/07/19 15:38:57               Main Document
                                              Pg 194 of 565


deemed to have occurred immediately prior to a Subsequent Condition regardless of when such
Prerequisite Condition or Subsequent Condition shall have occurred.

          9.3.      Waiver of Conditions Precedent.

                 (a)     Except as otherwise provided herein, all actions required to be taken on the
Effective Date shall take place and shall be deemed to have occurred simultaneously and no such action
shall be deemed to have occurred prior to the taking of any other such action. Each of the conditions
precedent in Section 9.1 and Section 9.2 of the Plan may be waived in writing by the Debtors with the
prior written consent of (i) the Requisite First Lien Lenders, which consent shall not be unreasonably
withheld (and (a) solely with respect to the condition set forth in Section 9.1(d) and 9.2(a)(ii) of the Plan,
with the consent of the DIP Agent, such consent not to be unreasonably withheld, and (b) solely with
respect to the condition set forth in Section 9.2(a)(xi) of the Plan, with the consent of Matthew D. Rosen,
such consent not to be unreasonably withheld) without leave of or order of the Bankruptcy Court, and
(ii) the Creditors’ Committee, with respect to Section 9.2(a)(vi) of the Plan, which consent shall not be
unreasonably withheld. If the Plan is confirmed for fewer than all of the Debtors as provided for in
Section 5.16 of the Plan, only the conditions applicable to the Debtor or Debtors for which the Plan is
confirmed must be satisfied or waived for the Effective Date to occur as to such Debtors.

                (b)    The stay of the Confirmation Order pursuant to Bankruptcy Rule 3020(e) shall be
deemed waived by and upon the entry of the Confirmation Order, and the Confirmation Order shall take
effect immediately upon its entry.

          9.4.      Effect of Failure of a Condition.

                 If the conditions listed in Section 9.2 of the Plan are not satisfied or waived in accordance
with Section 9.2(b) of the Plan on or before the first Business Day that is more than sixty (60) days after
the date on which the Confirmation Order is entered or by such later date as set forth by the Debtors in a
notice filed with the Bankruptcy Court prior to the expiration of such period, the Plan shall be null and
void in all respects and nothing contained in the Plan or the Disclosure Statement shall (a) constitute a
waiver or release of any Claims by or against or any Interests in the Debtors, (b) prejudice in any manner
the rights of any Entity, or (c) constitute an admission, acknowledgement, offer, or undertaking by the
Debtors, the Requisite First Lien Lenders, or any other Entity.

                          ARTICLE X      EFFECT OF CONFIRMATION OF PLAN.

          10.1.     Vesting of Assets.

                On the Effective Date, pursuant to sections 1141(b) and (c) of the Bankruptcy Code, all
remaining property of the Debtors’ Estates shall vest in the Reorganized Debtors free and clear of all
Claims, Liens, encumbrances, charges, and other interests, except as provided pursuant to the Plan, the
Confirmation Order, the Litigation Trust Agreement, the New First Lien Credit Documents, or the New
Exit Facility Credit Documents. On and after the Effective Date, the Reorganized Debtors may take any
action, including, without limitation, the operation of its businesses; the use, acquisition, sale, lease and
disposition of property; and the entry into transactions, agreements, understandings, or arrangements,
whether in or other than in the ordinary course of business, and execute, deliver, implement, and fully
perform any and all obligations, instruments, documents, and papers or otherwise in connection with any
of the foregoing, free of any restrictions of the Bankruptcy Code or Bankruptcy Rules and in all respects
as if there were no pending cases under any chapter or provision of the Bankruptcy Code, except as
expressly provided herein. Without limiting the foregoing, the Reorganized Debtors may pay the charges




                                                        50
WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456     Filed 10/07/19 Entered 10/07/19 15:38:57                Main Document
                                             Pg 195 of 565


that they incur on or after the Effective Date for professional fees, disbursements, expenses, or related
support services without application to the Bankruptcy Court.

          10.2.     Binding Effect.

                As of the Effective Date, the Plan shall bind all holders of Claims against and Interests in
the Debtors and their respective successors and assigns, notwithstanding whether any such holders
(a) were Impaired or Unimpaired under the Plan; (b) were deemed to accept or reject the Plan; (c) failed
to vote to accept or reject the Plan; (d) voted to reject the Plan; or (e) received any distribution under the
Plan.

          10.3.     Discharge of Claims and Termination of Interests.

                 Upon the Effective Date, and in consideration of the distributions to be made hereunder,
except as otherwise expressly provided under the Plan, each holder (as well as any representatives,
trustees, or agents on behalf of each holder) of a Claim or Interest and any Affiliate of such holder shall
be deemed to have forever waived, released, and discharged the Debtors, to the fullest extent permitted by
section 1141 of the Bankruptcy Code, of and from any and all Claims, Interest, rights, and liabilities that
arose prior to the Effective Date. Upon the Effective Date, all such Entities shall be forever precluded
and enjoined, pursuant to section 524 of the Bankruptcy Code, from prosecuting or asserting any such
discharged Claim against or terminated Interest in the Debtors against the Debtors, the Reorganized
Debtors, or any of their Assets or property, whether or not such holder has filed a proof of Claim and
whether or not the facts or legal bases therefor were known or existed prior to the Effective Date.

          10.4.     Term of Injunctions or Stays.

                Unless otherwise provided under the Plan, the Confirmation Order, or in a Final Order of
the Bankruptcy Court, all injunctions or stays arising under or entered during the Chapter 11 Cases under
section 105 or 362 of the Bankruptcy Code, or otherwise, and in existence on the Confirmation Date, shall
remain in full force and effect until the later of the Effective Date and the date indicated in the order
providing for such injunction or stay.

          10.5.     Injunction.

                 (a)     Upon entry of the Confirmation Order, all holders of Claims and Interests
and other parties in interest, along with their respective present or former employees, agents,
officers, directors, principals, and Affiliates, shall be enjoined from taking any actions to interfere
with the implementation or consummation of the Plan in relation to any Claim or Interest
extinguished, discharged, or released pursuant to the Plan.

                (b)     Except as expressly provided in the Plan, the Confirmation Order, or a
separate order of the Bankruptcy Court or as agreed to by the Debtors and a holder of a Claim
against or Interest in the Debtors, all Entities who have held, hold, or may hold Claims against or
Interests in the Debtors (whether proof of such Claims or Interests has been filed or not and
whether or not such Entities vote in favor of, against or abstain from voting on the Plan or are
presumed to have accepted or deemed to have rejected the Plan) and other parties in interest, along
with their respective present or former employees, agents, officers, directors, principals, and
Affiliates are permanently enjoined, on and after the Effective Date, solely with respect to any
Claims, Interests, and Causes of Action that will be or are extinguished, discharged, or released
pursuant to the Plan from (i) commencing, conducting, or continuing in any manner, directly or
indirectly, any suit, action, or other proceeding of any kind (including, without limitation, any



                                                     51
WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57         Main Document
                                               Pg 196 of 565


proceeding in a judicial, arbitral, administrative or other forum) against or affecting the Debtors,
the Reorganized Debtors, or the Litigation Trust, or the property of any of the Debtors, the
Reorganized Debtors, or the Litigation Trust; (ii) enforcing, levying, attaching (including, without
limitation, any prejudgment attachment), collecting, or otherwise recovering by any manner or
means, whether directly or indirectly, any judgment, award, decree, or order against the Debtors,
the Reorganized Debtors, or the Litigation Trust, or the property of any of the Debtors, the
Reorganized Debtors, or the Litigation Trust; (iii) creating, perfecting, or otherwise enforcing in
any manner, directly or indirectly, any encumbrance of any kind against the Debtors, the
Reorganized Debtors, or the Litigation Trust, or the property of any of the Debtors, the
Reorganized Debtors, or the Litigation Trust; (iv) asserting any right of setoff, directly or
indirectly, against any obligation due from the Debtors, the Reorganized Debtors, or the Litigation
Trust, or against property or interests in property of any of the Debtors, the Reorganized Debtors,
or the Litigation Trust, except as contemplated or Allowed by the Plan; and (v) acting or
proceeding in any manner, in any place whatsoever, that does not conform to or comply with the
provisions of the Plan.

               (c)     Each holder of an Allowed Claim or Interest extinguished, discharged, or
released pursuant to the Plan will be deemed to have affirmatively and specifically consented to be
bound by the Plan, including, without limitation, the injunctions set forth in this Section 10.5.

                (d)    The injunctions in this Section 10.5 shall extend to any successors of the
Debtors, the Reorganized Debtors, and the Litigation Trust, and their respective property and
interests in property.

          10.6.     Releases.

                    (a)       Estate Releases.

                 As of the Confirmation Date, pursuant to section 1123(b) of the Bankruptcy Code,
except for the rights that remain in effect from and after the Confirmation Date to enforce the Plan
and the Definitive Documents, for good and valuable consideration, the adequacy of which is
hereby confirmed, including, without limitation, the service of the Released Parties to facilitate the
reorganization of the Debtors and the implementation of the restructuring, and except as otherwise
provided in the Plan or in the Confirmation Order, the Released Parties will be deemed expressly,
conclusively, absolutely, unconditionally, irrevocably and forever released and discharged, to the
maximum extent permitted by law, by the Debtors and their Estates, the Reorganized Debtors, and
the Litigation Trust, from any and all Claims, obligations, suits, judgments, damages, demands,
debts, rights, Causes of Action, remedies, losses, and liabilities whatsoever, including any derivative
claims, asserted or assertable on behalf of the Debtors, or the Reorganized Debtors, as applicable,
the Litigation Trust, or the Estates, or their respective successors, predecessors, assigns, and
representatives and any and all other Persons or Entities that may purport to assert any Cause of
Action derivatively, by or through the foregoing, whether liquidated or unliquidated, fixed or
contingent, matured or unmatured, known or unknown, foreseen or unforeseen, existing or
hereafter arising, in law, equity, contract, tort, by statute, violations of federal or state securities
law, or otherwise, that the Debtors or the Reorganized Debtors (as applicable), the Litigation Trust,
or the Estates would have been legally entitled to assert in their own right (whether individually or
collectively) or on behalf of the holder of any Claim or Interest or other Person, based on or
relating to, or in any manner arising prior to the Confirmation Date from, in whole or in part, the
Debtors, the Chapter 11 Cases, the pre- and postpetition marketing and sale process, the purchase,
sale, or rescission of the purchase or sale of any Security of the Debtors, the subject matter of, or
the transactions or events giving rise to, any Claim or Interest that is treated in the Plan, the



                                                   52
WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57          Main Document
                                                 Pg 197 of 565


Prepetition First Lien Credit Documents, the Prepetition Super Senior Credit Documents, the
Forbearance Agreement (as defined in the RSA), the DIP Documents, the business or contractual
arrangements between any of the Debtors and any Released Party, the restructuring, the
restructuring of any Claim or Interest before or during the Chapter 11 Cases, the Disclosure
Statement, the RSA, and the Plan (including, for the avoidance of doubt, the Plan Supplement) and
related agreements, instruments, and other documents (including the Definitive Documents), and
the negotiation, formulation, or preparation of any documents or transactions in connection with
any of the foregoing, the solicitation of votes with respect to the Plan, the pursuit of the
confirmation and consummation of the Plan, or any other act or omission, in all cases based upon
any act or omission, transaction, agreement, event or other occurrence taking place on or before
the Confirmation Date; provided, that nothing in this Section 10.6(a) shall be construed to release
the Released Parties from gross negligence, willful misconduct, or fraud as determined by a Final
Order; provided, further, that nothing in this Section 10.6(a) shall be construed to release the
obligations of Vector SPV (as defined in the Prepetition First Lien Credit Agreement) arising under
the Vector Subordinated Note (as defined in the Prepetition First Lien Credit Agreement). The
Debtors, the Reorganized Debtors and their Estates, and the Litigation Trust, or their respective
successors, predecessors, assigns, and representatives and any and all other Persons or Entities that
may purport to assert any Cause of Action derivatively, by or through the foregoing, shall be
permanently enjoined from prosecuting any of the foregoing Claims or Causes of Action released
under this Section 10.6(a) against each of the Released Parties. Notwithstanding anything to the
contrary in the foregoing or in this Plan, the releases set forth above do not release any post-
Confirmation Date obligations of any Entity under the Plan, the Confirmation Order, the Litigation
Trust Agreement, or any document, instrument, or agreement (including those set forth in the Plan
Supplement) executed to implement the Plan.

                    (b)       Consensual Releases by Holders of Impaired Claims.

                As of the Confirmation Date, except (i) for the right to enforce the Plan or any right
or obligation arising under the Definitive Documents that remains in effect or becomes effective
after the Confirmation Date or (ii) as otherwise expressly provided in the Plan or in the
Confirmation Order, in exchange for good and valuable consideration, the adequacy of which is
hereby confirmed, including the obligations of the Debtors under the Plan and the contributions of
the Released Parties to facilitate and implement the Plan, to the fullest extent permissible under
applicable law, as such law may be extended or integrated after the Confirmation Date, the
Released Parties shall be deemed expressly, conclusively, absolutely, unconditionally, irrevocably
and forever, released, and discharged by:

                              (i)     the holders of Impaired Claims who voted to accept the Plan;

                              (ii)    the Consenting First Lien Lenders;

                              (iii)   the Consenting Second Lien Lenders;

                            (iv)      the Creditors’ Committee and each of its members in their capacity
                    as such; and

                            (v)     with respect to any Entity in the foregoing clauses (i) through (iii),
                    such Entity’s (x) predecessors, successors and assigns, (y) subsidiaries, Affiliates,
                    managed accounts or funds, managed or controlled by such Entity and (z) all
                    Persons entitled to assert Claims through or on behalf of such Entities with respect
                    to the matters for which the releasing entities are providing releases.



                                                       53
WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456      Filed 10/07/19 Entered 10/07/19 15:38:57           Main Document
                                              Pg 198 of 565


                in each case, from any and all Claims, Interests, or Causes of Action whatsoever,
including any derivative Claims asserted on behalf of a Debtor, whether known or unknown,
foreseen or unforeseen, existing or hereafter arising, in law, equity, contract, tort, by statute,
violation of federal or state securities law, or otherwise, that such Entity would have been legally
entitled to assert (whether individually or collectively), based on, relating to, or arising prior to the
Confirmation Date from, in whole or in part, the Debtors, the restructuring, the Chapter 11 Cases,
the pre- and postpetition marketing and sale process, the purchase, sale or rescission of the
purchase or sale of any security of the Debtors or Reorganized Debtors, the subject matter of, or
the transactions or events giving rise to, any Claim or Interest that is treated in the Plan, the
Prepetition First Lien Credit Documents, the Prepetition Super Senior Credit Documents, the
Forbearance Agreement (as defined in the RSA), the DIP Documents, the business or contractual
arrangements between any Debtor and any Released Party, the restructuring of Claims and
Interests before or during the Chapter 11 Cases, the negotiation, formulation, preparation, or
consummation of the Plan (including the Plan Supplement), the RSA, the Definitive Documents, or
any related agreements, instruments, or other documents, the solicitation of votes with respect to
the Plan, the pursuit of the confirmation and consummation of the Plan, in all cases based upon any
act or omission, transaction, agreement, event or other occurrence taking place on or before the
Confirmation Date; provided, that nothing in this Section 10.6(b) shall be construed to release the
Released Parties from gross negligence, willful misconduct, or fraud as determined by a Final
Order. The Persons and Entities in (i) through (iv) of this Section 10.6(b) shall be permanently
enjoined from prosecuting any of the foregoing Claims or Causes of Action released under this
Section 10.6(b) against each of the Released Parties. Notwithstanding anything to the contrary in
the foregoing or in this Plan, the releases set forth above do not release any post-Confirmation Date
obligations of any Entity under the Plan, the Confirmation Order, the Litigation Trust Agreement,
or any document, instrument, or agreement (including those set forth in the Plan Supplement)
executed to implement the Plan.

          10.7.     Exculpation.

                 To the maximum extent permitted by Section 1125(e) of the Bankruptcy Code and
without affecting or limiting either the estate release set forth in Section 10.5 or the consensual
releases by holders of Impaired Claims set forth in Section 10.6, and notwithstanding anything
herein to the contrary, no Exculpated Party will have or incur, and each Exculpated Party is
hereby released and exculpated from, any claim, obligation, suit, judgment, damage, demand, debt,
right, cause of action, remedy, loss, and liability for any claim in connection with or arising out of
the administration of the Chapter 11 Cases, the postpetition marketing and sale process, the
postpetition purchase, sale, or rescission of the purchase or sale of any security of the Debtors; the
negotiation and pursuit of the Disclosure Statement, the RSA, the Reorganization Transaction, the
Plan, the solicitation of votes for, or confirmation of, the Plan or the Litigation Trust Agreement;
the funding or consummation of the Plan; the occurrence of the Effective Date; the administration
of the Plan or the property to be distributed under the Plan, including but not limited to the
issuance and distribution of the Litigation Trust Interests; the issuance of Securities under or in
connection with the Plan; or the transactions in furtherance of any of the foregoing; provided, that
nothing in this Section 10.7 shall be construed to release or exculpate an Exculpated Party from
gross negligence, willful misconduct, or fraud as determined by a Final Order; provided, further,
that nothing in this Section 10.7 shall be construed to release the obligations of Vector SPV (as
defined in the Prepetition First Lien Credit Agreement) arising under the Vector Subordinated
Note (as defined in the Prepetition First Lien Credit Agreement).




                                                   54
WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456     Filed 10/07/19 Entered 10/07/19 15:38:57              Main Document
                                             Pg 199 of 565


          10.8.     Limitations on Executable Assets with Respect to Certain Causes of Action.

                 The Independent Directors and Other Officers and Directors shall remain legally
obligated to pay for any wrongful acts to the extent of the Debtors’ available D&O Policies’
combined limits, subject to the following: any recovery by or on behalf of the Litigation Trust (and
the beneficiaries thereof) on account of any Litigation Trust Causes of Action (other than with
respect to claims for gross negligence, willful misconduct or fraud) or the Reorganized Debtors on
account of any Causes of Action (other than with respect to claims for gross negligence, willful
misconduct, or fraud) against any Independent Directors or Other Officers and Directors, each
solely in his capacity as a director or officer of the Debtors prior to the Effective Date, including in
each case by way of settlement or judgment, shall be limited to the Debtors’ available D&O
Policies’ combined limits, after payment from such D&O Policies of any and all covered costs and
expenses incurred by the covered parties in connection with the defense of any such Litigation
Trust Causes of Action or Causes of Action.

          10.9.     SEC Rights and Powers

               Notwithstanding any language to the contrary contained in the Plan, Disclosure Statement
or the Confirmation Order, no provision of the Plan or the Confirmation Order shall (i) preclude the SEC
from enforcing its police or regulatory powers; or (ii) enjoin, limit, impair or delay the SEC from
commencing or continuing any claims, causes of action, proceedings or investigations against any non-
Debtor person or non-Debtor entity in any forum.

          10.10. FCC Rights and Powers

                 No provision in the Plan or the Confirmation Order relieves the Debtors or the
Reorganized Debtors from their obligations to comply with the Communications Act of 1934, as
amended, and the rules, regulations and orders promulgated thereunder by the FCC. No transfer of any
FCC license or authorization held by Debtors or transfer of control of any Debtor, or transfer of control of
a FCC licensee controlled by Debtors shall take place prior to the issuance of FCC regulatory approval for
such transfer pursuant to applicable FCC regulations. The FCC’s rights and powers to take any action
pursuant to its regulatory authority including, but not limited to, imposing any regulatory conditions on
any of the above described transfers, are fully preserved, and nothing herein shall proscribe or constrain
the FCC’s exercise of such power or authority.

          10.11. Subordinated Claims.

                 The allowance, classification, and treatment of all Allowed Claims and Interests and the
respective distributions and treatments under the Plan take into account and conform to the relative
priority and rights of the Claims and Interests in each Class in connection with any contractual, legal, and
equitable subordination rights relating thereto, whether arising under general principles of equitable
subordination, section 510(b) of the Bankruptcy Code, or otherwise. Pursuant to section 510 of the
Bankruptcy Code, the Debtors (or the Litigation Trust, solely with respect to General Unsecured Claims)
reserve the right, with the consent of the Required First Lien Lenders, which consent shall not be
unreasonably withheld, to reclassify any Allowed Claim or Interest in accordance with any contractual,
legal, or equitable subordination relating thereto.

          10.12. Retention of Causes of Action/Reservation of Rights.

                Except as otherwise provided in Sections 10.5, 10.6, and 10.7 of the Plan, nothing
contained in the Plan or the Confirmation Order shall be deemed to be a waiver or relinquishment of any



                                                     55
WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456    Filed 10/07/19 Entered 10/07/19 15:38:57               Main Document
                                            Pg 200 of 565


rights, Claims, Causes of Action (including, for the avoidance of doubt, Litigation Trust Causes of
Action), rights of setoff or recoupment, or other legal or equitable defenses that the Debtors had
immediately prior to the Effective Date on behalf of their Estates or itself in accordance with any
provision of the Bankruptcy Code or any applicable non-bankruptcy law, including, without limitation,
any affirmative Causes of Action against parties with a relationship with the Debtors including actions
arising under chapter 5 of the Bankruptcy Code. Except as provided in any order entered by the
Bankruptcy Court, the Reorganized Debtors or the Litigation Trust Oversight Committee, in connection
with the pursuit of Litigation Trust Causes of Action or objection to General Unsecured Claims, shall
have, retain, reserve, and be entitled to assert all such Claims, Causes of Action, rights of setoff or
recoupment, and other legal or equitable defenses as fully as if the Chapter 11 Cases had not been
commenced, and all of the Debtors’ legal and equitable rights in respect of any Unimpaired Claim may be
asserted after the Confirmation Date and Effective Date to the same extent as if the Chapter 11 Cases had
not been commenced. Notwithstanding the foregoing, the Debtors and the Reorganized Debtors shall not
retain any Claims or Causes of Action released or barred pursuant to the Plan against the Released Parties.

          10.13. Solicitation of Plan.

                 As of and subject to the occurrence of the Confirmation Date: (a) the Debtors shall be
deemed to have solicited acceptances of the Plan in good faith and in compliance with the applicable
provisions of the Bankruptcy Code, including without limitation, sections 1125(a) and (e) of the
Bankruptcy Code, and any applicable non-bankruptcy law, rule, or regulation governing the adequacy of
disclosure in connection with such solicitation; and (b) the Debtors and each of their respective directors,
officers, employees, Affiliates, agents, financial advisors, investment bankers, professionals, accountants,
and attorneys shall be deemed to have participated in good faith and in compliance with the applicable
provisions of the Bankruptcy Code in the offer and issuance of any securities under the Plan, and
therefore are not, and on account of such offer, issuance, and solicitation shall not be, liable at any time
for any violation of any applicable law, rule, or regulation governing the solicitation of acceptances or
rejections of the Plan or the offer and issuance of any securities under the Plan.

          10.14. Corporate and Limited Liability Company Action.

                  Upon the Effective Date, all actions contemplated by the Plan shall be deemed authorized
and approved in all respects, including (a) those set forth in Sections 5.5 and 5.6 of the Plan; (b) the
performance of the RSA; and (c) all other actions contemplated by the Plan (whether to occur before, on,
or after the Effective Date), in each case, in accordance with and subject to the terms hereof. All matters
provided for in the Plan involving the corporate, limited liability company or partnership structure of the
Debtors or the Reorganized Debtors, and any corporate, limited liability company or partnership action
required by the Debtors or the Reorganized Debtors in connection with the Plan shall be deemed to have
occurred and shall be in effect, without any requirement of further action by the Security holders,
directors, managers, limited partners or officers of the Debtors or the Reorganized Debtors. On or (as
applicable) before the Effective Date, the authorized officers of the Debtors or the Reorganized Debtors,
as applicable, shall be authorized and directed to issue, execute, and deliver the agreements, documents,
Securities, and instruments contemplated by the Plan (or necessary or desirable to effect the transactions
contemplated by the Plan) in the name and on behalf of the Reorganized Debtors, including, but not
limited to: (i) the Amended Organizational Documents; (ii) the New First Lien Credit Agreement; (iii) the
New Exit Facility Credit Agreement; (iv) the Litigation Trust Agreement; and (v) any and all other
agreements, documents, securities, and instruments relating to the foregoing. The authorizations and
approvals contemplated by this Section 10.11 shall be effective notwithstanding any requirements under
non-bankruptcy law.




                                                    56
WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456        Filed 10/07/19 Entered 10/07/19 15:38:57               Main Document
                                                Pg 201 of 565


                               ARTICLE XI RETENTION OF JURISDICTION.

          11.1.     Retention of Jurisdiction.

                 On and after the Effective Date, the Bankruptcy Court shall retain non-exclusive
jurisdiction over all matters arising in, arising under, and related to the Chapter 11 Cases for, among other
things, the following purposes:

                  (a)      to hear and determine motions and/or applications for the assumption or rejection
of executory contracts or unexpired leases, including Assumption Disputes, and the allowance,
classification, priority, compromise, estimation, or payment of Claims resulting therefrom;

                  (b)    to determine any motion, adversary proceeding, application, contested matter,
and other litigated matter pending on or commenced after the Confirmation Date;

                 (c)     to ensure that distributions to holders of Allowed Claims are accomplished as
provided for in the Plan and Confirmation Order and to adjudicate any and all disputes arising from or
relating to distributions under the Plan, including, cases, controversies, suits, disputes, or Causes of
Action with respect to the repayment or return of distributions and the recovery of additional amounts
owed by the holder of a Claim or Interest for amounts not timely paid;

               (d)    to consider the allowance, classification, priority, compromise, estimation, or
payment of any Claim;

                    (e)       to resolve disputes concerning Disputed Claims or the administration thereof;

                    (f)       to hear and determine all Fee Claims and Restructuring Expenses;

                 (g)     to hear and resolve any dispute over the application to any Claim of any limit on
the allowance of such Claim set forth in sections 502 or 503 of the Bankruptcy Code, other than defenses
or limits that are asserted under non-bankruptcy law pursuant to section 502(b)(1) of the Bankruptcy
Code;

               (h)      to enter, implement, or enforce such orders as may be appropriate in the event the
Confirmation Order is for any reason stayed, reversed, revoked, modified, or vacated;

                (i)     to issue injunctions, enter and implement other orders, and take such other
actions as may be necessary or appropriate to restrain interference by any Entity with the consummation,
implementation, or enforcement of the Plan, the Confirmation Order, or any other order of the Bankruptcy
Court;

                (j)     to hear and determine any application to modify the Plan in accordance with
section 1127 of the Bankruptcy Code, to remedy any defect or omission or reconcile any inconsistency in
the Plan, or any order of the Bankruptcy Court, including the Confirmation Order, in such a manner as
may be necessary to carry out the purposes and effects thereof;

                 (k)      to hear and determine disputes arising in connection with the interpretation,
implementation, or enforcement of the Plan, the Plan Supplement, the Global Settlement, the Litigation
Trust Agreement, the Confirmation Order, or any agreement, instrument, or other document governing or
relating to any of the foregoing;




                                                         57
WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456        Filed 10/07/19 Entered 10/07/19 15:38:57                Main Document
                                                Pg 202 of 565


                 (l)     to take any action and issue such orders as may be necessary to construe,
interpret, enforce, implement, execute, and consummate the Plan;

                (m)    to determine such other matters and for such other purposes as may be provided
in the Confirmation Order;

                (n)    to hear and determine matters concerning state, local, and federal taxes in
accordance with sections 346, 505, and 1146 of the Bankruptcy Code (including any requests for
expedited determinations under section 505(b) of the Bankruptcy Code);

                (o)    to hear, adjudicate, decide, or resolve any and all matters related to Article X of
the Plan, including, without limitation, the releases, discharge, exculpations, and injunctions issued
thereunder;

               (p)            to recover all Assets of the Debtors and property of the Debtors’ Estates,
wherever located;

                (q)     to resolve any disputes concerning whether an Entity had sufficient notice of the
Chapter 11 Cases, the Disclosure Statement, any solicitation conducted in connection with the Chapter 11
Cases, any bar date established in the Chapter 11 Cases, or any deadline for responding or objecting to a
Cure Amount, in each case, for the purpose of determining whether a Claim or Interest is discharged
hereunder or for any other purpose;

                  (r)      to hear and determine any rights, Claims, or Causes of Action held by or accruing
to the Reorganized Debtors or the Litigation Trust pursuant to the Bankruptcy Code or pursuant to any
federal statute or legal theory;

                    (s)       to enter one or more final decrees closing the Chapter 11 Cases;

                    (t)       to consider any motion brought under or in connection with Bankruptcy Rule
2004; and

               (u)    to hear and determine any other matters related hereto and not inconsistent with
the Bankruptcy Code and title 28 of the United States Code.

          11.2.     Courts of Competent Jurisdiction.

                 If the Bankruptcy Court abstains from exercising, or declines to exercise, jurisdiction or
is otherwise without jurisdiction over any matter arising out of the Plan, such abstention, refusal, or
failure of jurisdiction shall have no effect upon and shall not control, prohibit, or limit the exercise of
jurisdiction by any other court having competent jurisdiction with respect to such matter.

                               ARTICLE XII MISCELLANEOUS PROVISIONS.

          12.1.     Payment of Statutory Fees.

                 On the Effective Date and thereafter as may be required, the Reorganized Debtors shall
pay all fees incurred pursuant to sections 1911 through 1930 of chapter 123 of title 28 of the United States
Code, together with interest, if any, pursuant to section 3717 of title 31 of the United States Code with the
Chapter 11 Cases, or until such time as a final decree is entered closing the Chapter 11 Cases, a Final




                                                         58
WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456     Filed 10/07/19 Entered 10/07/19 15:38:57               Main Document
                                             Pg 203 of 565


Order converting the Chapter 11 Cases to cases under chapter 7 of the Bankruptcy Code is entered, or a
Final Order dismissing the Chapter 11 Cases is entered.

          12.2.     Substantial Consummation of the Plan.

                On the Effective Date, the Plan shall be deemed to be substantially consummated under
sections 1101 and 1127(b) of the Bankruptcy Code.

          12.3.     Plan Supplement.

                 The Plan Supplement shall be filed with the Clerk of the Bankruptcy Court. Upon its
filing with the Bankruptcy Court, the Plan Supplement may be inspected in the office of the Clerk of the
Bankruptcy Court during normal court hours. Documents included in the Plan Supplement will be posted
at the website of the Debtors’ notice, claims, and solicitation agent.

          12.4.     Request for Expedited Determination of Taxes.

                The Debtors shall have the right to request an expedited determination under section
505(b) of the Bankruptcy Code with respect to tax returns filed, or to be filed, for any and all taxable
periods ending after the Commencement Date through the dissolution of the Debtors.

          12.5.     Exemption from Certain Transfer Taxes.

                  Pursuant to section 1146 of the Bankruptcy Code, (a) the issuance, transfer or exchange
of any securities, instruments or documents, (b) the creation of any Lien, mortgage, deed of trust, or other
security interest, (c) the making or assignment of any lease or sublease or the making or delivery of any
deed or other instrument of transfer under, pursuant to, in furtherance of, or in connection with the Plan,
including, without limitation, any deeds, bills of sale, or assignments executed in connection with any of
the transactions contemplated under the Plan or the reinvesting, transfer, or sale of any real or personal
property of the Debtors pursuant to, in implementation of or as contemplated in the Plan (whether to one
or more of the Reorganized Debtors or otherwise), (d) the grant of collateral under the New Exit Facility
and the New First Lien Credit Facility, and (e) the issuance, renewal, modification, or securing of
indebtedness by such means, and the making, delivery or recording of any deed or other instrument of
transfer under, in furtherance of, or in connection with, the Plan, including, without limitation, the
Confirmation Order, shall not be subject to any document recording tax, stamp tax, conveyance fee, or
other similar tax, mortgage tax, real estate transfer tax, mortgage recording tax, Uniform Commercial
Code filing or recording fee, regulatory filing or recording fee, sales tax, use tax, or other similar tax or
governmental assessment. Consistent with the foregoing, each recorder of deeds or similar official for
any county, city, or governmental unit in which any instrument hereunder is to be recorded shall, pursuant
to the Confirmation Order, be ordered and directed to accept such instrument without requiring the
payment of any filing fees, documentary stamp tax, deed stamps, stamp tax, transfer tax, intangible tax, or
similar tax.

          12.6.     Amendments.

                 (a)     Plan Modifications. Subject to the terms of the RSA, (i) the Debtors reserve the
right, in accordance with the Bankruptcy Code and the Bankruptcy Rules, to amend or modify the Plan
prior to the entry of the Confirmation Order, including amendments or modifications to satisfy section
1129(b) of the Bankruptcy Code, and (ii) after entry of the Confirmation Order, the Debtors may, upon
order of the Court, amend, modify or supplement the Plan in the manner provided for by section 1127 of
the Bankruptcy Code or as otherwise permitted by law, in each case without additional disclosure



                                                     59
WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456     Filed 10/07/19 Entered 10/07/19 15:38:57                 Main Document
                                             Pg 204 of 565


pursuant to section 1125 of the Bankruptcy Code. In addition, after the Confirmation Date, so long as
such action does not materially and adversely affect the treatment of holders of Allowed Claims or
Allowed Interests pursuant to this Plan and subject to the reasonable consent of the Requisite First Lien
Lenders (and the Creditors’ Committee, solely as it pertains to the Global Settlement or treatment of
General Unsecured Claims), the Debtors may remedy any defect or omission or reconcile any
inconsistencies in this Plan or the Confirmation Order with respect to such matters as may be necessary to
carry out the purposes or effects of this Plan, and any holder of a Claim or Interest that has accepted this
Plan shall be deemed to have accepted this Plan as amended, modified, or supplemented.

                 (b)    Other Amendments. Subject to the terms of the RSA, before the Effective Date,
the Debtors may make appropriate technical adjustments and modifications to the Plan and the documents
contained in the Plan Supplement without further order or approval of the Bankruptcy Court.

          12.7.     Effectuating Documents and Further Transactions.

                 Each of the officers, managers, limited partners or members of the Reorganized Debtors
is authorized to execute, deliver, file, or record such contracts, instruments, releases, indentures, and other
agreements or documents and take such reasonable actions as may be necessary or appropriate to
effectuate and further evidence the terms and conditions of the Plan.

          12.8.     Revocation or Withdrawal of Plan.

                 Subject to the terms of the RSA, the Debtors reserve the right to revoke or withdraw the
Plan prior to the Effective Date. If the Plan has been revoked or withdrawn prior to the Effective Date, or
if confirmation or the occurrence of the Effective Date does not occur, then: (a) the Plan shall be null and
void in all respects; (b) any settlement or compromise embodied in the Plan (including the fixing or
limiting to an amount any Claim or Interest or Class of Claims or Interests), assumption of executory
contracts or unexpired leases affected by the Plan, and any document or agreement executed pursuant to
the Plan shall be deemed null and void; and (c) nothing contained in the Plan shall (i) constitute a waiver
or release of any Claim by or against, or any Interest in, the Debtors or any other Entity; (ii) prejudice in
any manner the rights of the Debtors or any other Entity; or (iii) constitute an admission of any sort by the
Debtors, any Consenting First Lien Lenders, or any other Entity. This provision shall have no impact on
the rights of the Consenting First Lien Lenders or the Debtors, as set forth in the RSA, in respect of any
such revocation or withdrawal.

          12.9.     Dissolution of Statutory Committees.

                On the Effective Date, any statutory committee (a “Committee”) formed in these
Chapter 11 Cases shall dissolve and, on the Effective Date, each member (including each officer, director,
employee, or agent thereof) of such Committee and each professional retained by such Committee shall
be released and discharged from all rights, duties, responsibilities, and obligations arising from, or related
to, the Debtors, their membership on such Committee, the Plan, or the Chapter 11 Cases, except with
respect to any matters concerning any Fee Claims held or asserted by any professional retained by such
Committee.

          12.10. Severability of Plan Provisions.

                If, before the entry of the Confirmation Order, any term or provision of the Plan is held
by the Bankruptcy Court to be invalid, void, or unenforceable, the Bankruptcy Court, at the request of the
Debtors, shall have the power to alter and interpret such term or provision to make it valid or enforceable
to the maximum extent practicable, consistent with the original purpose of the term or provision held to



                                                      60
WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57                Main Document
                                           Pg 205 of 565


be invalid, void, or unenforceable, and such term or provision shall then be applicable as altered or
interpreted. Notwithstanding any such holding, alteration, or interpretation, the remainder of the terms
and provisions of the Plan will remain in full force and effect and will in no way be affected, impaired or
invalidated by such holding, alteration, or interpretation. The Confirmation Order shall constitute a
judicial determination and shall provide that each term and provision of the Plan, as it may have been
altered or interpreted in accordance with the foregoing, is (a) valid and enforceable pursuant to its terms,
(b) integral to the Plan and may not be deleted or modified without the consent of the Debtors or the
Reorganized Debtors (as the case may be), and (c) nonseverable and mutually dependent.

          12.11. Governing Law.

                 Except to the extent that the Bankruptcy Code or other federal law is applicable, or to the
extent an exhibit hereto or a schedule in the Plan Supplement or a Definitive Document provides
otherwise, the rights, duties, and obligations arising under the Plan shall be governed by, and construed
and enforced in accordance with, the laws of the State of New York, without giving effect to the
principles of conflict of laws thereof; provided, however, that corporate or entity governance matters
relating to any Debtors or Reorganized Debtors shall be governed by the laws of the state of incorporation
or organization of the applicable Debtors or Reorganized Debtors.

          12.12. Time.

                 In computing any period of time prescribed or allowed by the Plan, unless otherwise set
forth herein or determined by the Bankruptcy Court, the provisions of Bankruptcy Rule 9006 shall apply.

          12.13. Dates of Actions to Implement the Plan.

                  In the event that any payment or act under the Plan is required to be made or performed
on a date that is not a Business Day, then the making of such payment or the performance of such act may
be completed on or as soon as reasonably practicable after the next succeeding Business Day, but shall be
deemed to have been completed as of the required date.

          12.14. Immediate Binding Effect.

                 Notwithstanding Bankruptcy Rules 3020(e), 6004(h), 7062, or otherwise, upon the
occurrence of the Effective Date, the terms of the Plan and Plan Supplement shall be immediately
effective and enforceable and deemed binding upon and inure to the benefit of the Debtors, the holders of
Claims and Interests, the Released Parties, and each of their respective successors and assigns, including,
without limitation, the Reorganized Debtors.

          12.15. Deemed Acts.

                Subject to and conditioned on the occurrence of the Effective Date, whenever an act or
event is expressed under the Plan to have been deemed done or to have occurred, it shall be deemed to
have been done or to have occurred without any further act by any party, by virtue of the Plan and the
Confirmation Order.

          12.16. Successor and Assigns.

                  The rights, benefits, and obligations of any Entity named or referred to in the Plan shall
be binding on, and shall inure to the benefit of any heir, executor, administrator, successor, or permitted
assign, if any, of each Entity.



                                                    61
WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456        Filed 10/07/19 Entered 10/07/19 15:38:57               Main Document
                                                Pg 206 of 565


          12.17. Entire Agreement.

                On the Effective Date, the Plan, the Plan Supplement, and the Confirmation Order shall
supersede all previous and contemporaneous negotiations, promises, covenants, agreements,
understandings, and representations on such subjects, all of which have become merged and integrated
into the Plan.

          12.18. Exhibits to Plan.

               All exhibits, schedules, supplements, and appendices to the Plan (including the Plan
Supplement) are incorporated into and are a part of the Plan as if set forth in full herein.

          12.19. Notices.

                 All notices, requests, and demands hereunder to be effective shall be in writing (including
by electronic transmission) and, unless otherwise expressly provided herein, shall be deemed to have been
duly given or made when actually delivered as follows:

                    (a)       If to the Debtors or the Reorganized Debtors:

                              Fusion Connect, Inc.,
                              210 Interstate North Parkway, Suite 300,
                              Atlanta, Georgia 30339
                              Attn: James P. Prenetta, Jr., Executive Vice President and General Counsel
                              Email: JPrenetta@fusionconnect.com

                                      -and-

                              Weil, Gotshal & Manges LLP
                              767 Fifth Avenue
                              New York, New York 10153
                              Attn: Gary T. Holtzer
                                      Sunny Singh
                                      Gaby Smith
                              Telephone: (212) 310-8000
                              Email: gary.holtzer@weil.com
                                      sunny.singh@weil.com
                                      gaby.smith@weil.com

                    (b)       If to the Consenting First Lien Lenders:

                              Davis Polk & Wardwell LLP
                              450 Lexington Avenue
                              New York, NY 10017

                              Attn: Damian S. Schaible
                                    Adam L. Shpeen
                              Email: damian.schaible.davispolk.com
                                      adam.shpeen@davispolk.com




                                                         62
WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                               Pg 207 of 565


                 After the Effective Date, the Debtors have authority to send a notice to Entities providing
that, to continue to receive documents pursuant to Bankruptcy Rule 2002, they must file a renewed
request to receive documents pursuant to Bankruptcy Rule 2002. After the Effective Date, the Debtors
and/or the Reorganized Debtors are authorized to limit the list of Entities receiving documents pursuant to
Bankruptcy Rule 2002 to those Entities who have filed such renewed requests.



                              [REMAINDER OF PAGE INTENTIONALLY LEFT BLANK]




                                                    63
WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57        Main Document
                                           Pg 208 of 565


Dated: October 7, 2019

                                                FUSION CONNECT, INC.
                                                FUSION BCHI ACQUISITION LLC
                                                FUSION NBS ACQUISITION CORP.
                                                FUSION LLC
                                                FUSION MPHC HOLDING CORPORATION
                                                FUSION MPHC GROUP, INC.
                                                FUSION CLOUD COMPANY LLC
                                                FUSION CLOUD SERVICES, LLC
                                                FUSION CB HOLDINGS, INC.
                                                FUSION COMMUNICATIONS, LLC
                                                FUSION TELECOM, LLC
                                                FUSION TEXAS HOLDINGS, INC.
                                                FUSION TELECOM OF KANSAS, LLC
                                                FUSION TELECOM OF OKLAHOMA, LLC
                                                FUSION TELECOM OF MISSOURI, LLC
                                                BIRCAN HOLDINGS, LLC
                                                FUSION MANAGEMENT SERVICES LLC
                                                FUSION PM HOLDINGS, INC.

                                                By: /s/ James P. Prenetta, Jr.________
                                                    Name: James P. Prenetta, Jr.
                                                    Title: Executive Vice President and
                                                    General Counsel

                                                FUSION TELECOM OF TEXAS LTD., L.L.P.

                                                BY: FUSION TEXAS HOLDINGS, INC., AS
                                                LIMITED PARTNER


                                                By: /s/ James P. Prenetta, Jr.________
                                                    Name: James P. Prenetta, Jr.
                                                    Title: Executive Vice President and
                                                    General Counsel




WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57   Main Document
                                           Pg 209 of 565


                                             Exhibit A

                                    Equity Allocation Mechanism




WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57                    Main Document
                                               Pg 210 of 565


                                  EQUITY ALLOCATION MECHANISM1

Solely with respect to the Reorganization Transaction, on the Effective Date, the allocation of Plan
consideration to holders of Allowed First Lien Claims will include distributing New Equity Interests and
Special Warrants pursuant to the terms and conditions set forth herein. This mechanism also provides
information regarding when and under what conditions Special Warrants may be exercised for New
Equity Interests after the Effective Date. 2

A.        GENERAL

1. Overview.

          a. FCI holds domestic and international Section 214 telecommunications service authority from
             the FCC and a number of FCI’s wholly-owned operating subsidiaries hold domestic Section
             214 authority to provide interstate telecommunications services and to provide international
             telecommunications services pursuant to FCI’s international Section 214 authority. Fusion
             Cloud Services, LLC holds FCC-issued common carrier radio station licenses and a private
             radio station license.       FCI’s operating subsidiaries also hold various intrastate
             telecommunications authorizations issued by state public utility commissions (“State
             PUCs”). The FCC and certain State PUCs require that entities holding such authorizations
             obtain prior consent in the event of a material change in the equity ownership of a licensed
             entity, 3 which will be triggered upon the issuance of the New Equity Interests and the
             cancellation of the Debtors’ existing equity on the Effective Date.

          b. The applications seeking the FCC’s consent to the transfer of control of the Debtors pursuant
             to the Reorganization Transaction (the “FCC Applications”) require, among other things, the
             disclosure of any entity that will, directly or indirectly, hold ten percent (10%) or more of the
             New Equity Interests on the Effective Date (including affiliated entities whose interests must
             be aggregated under applicable FCC rules). In addition, under FCC procedures, any transfer
             of control application involving international or domestic 214 authorizations or common
             carrier radio licenses that discloses a non-U.S. holder will be referred to Team Telecom for a
             national security review. As discussed more fully below, FCI’s common carrier radio station
             authorizations are subject to the restrictions on foreign ownership set forth in Section 310(b)
             of the Communications Act. Under Section 310(b) of the Communications Act and
             applicable FCC rules, any common carrier licensee that would have non-U.S. ownership
             exceeding twenty-five percent (25%) of its voting or equity interests must first obtain a
             declaratory ruling from the FCC approving such non-U.S. ownership. The Debtors


1
      Capitalized terms used but not otherwise defined herein shall have the respective meanings ascribed to such
      terms in the Plan.
2
      For the avoidance of doubt, the procedures set forth in this Equity Allocation Mechanism shall not affect the
      issuance of any securities or other instruments under the Management Incentive Plan, which issuance shall be
      governed by the terms of the Management Incentive Plan. The individuals that will be eligible to receive
      securities or other instruments under the Management Incentive Plan are (or will be) U.S. Holders (as defined
      herein) and as such, the terms of the Management Incentive Plan will not affect the amount of foreign
      ownership of Reorganized FCI’s securities. Furthermore, as currently contemplated, the Management Incentive
      Plan will not result in a distribution of ten percent (10%) or more of direct or indirect economic interests in
      Reorganized FCI to any individual Management Incentive Plan participant. As such, the issuance of securities
      under the Management Incentive Plan will not affect the amount of reportable interest as described herein.
3
     The threshold for this requirement varies among State PUCs.


WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456     Filed 10/07/19 Entered 10/07/19 15:38:57                 Main Document
                                             Pg 211 of 565


               understand that non-U.S. holders represent significantly more than twenty-five percent (25%)
               of the holders of Allowed First Lien Claims. Because it is anticipated that a referral to Team
               Telecom or the filing of a Petition for Declaratory Ruling would delay the receipt of FCC
               approval of the FCC Applications, Special Warrants will be issued to enable FCI to emerge
               from bankruptcy with an ownership structure in which (i) less than twenty-five percent (25%)
               of the voting and equity interests are held by non-U.S. entities and (ii) only one U.S. entity,
               Telecom Holdings, LLC (“Telecom Holdings”), will hold ten percent (10%) or more of the
               New Equity Interests on the Effective Date. The remainder of the New Equity Interests to be
               issued on the Effective Date will be held by certain holders of Allowed First Lien Claims,
               none of whom will hold New Equity Interests that represent voting or equity interests of ten
               percent (10%) or more of Reorganized FCI.

          c. As a result of these considerations, on the Effective Date, Telecom Holdings will hold over
             fifty percent (50%) of the New Equity Interests and will have de jure control of Reorganized
             FCI. The Debtors have submitted the FCC Applications to obtain consent to the ownership
             changes described herein in addition to submitting applications to the requisite State PUCs.

2. Ownership Certification. In order to determine the proper distribution of New Equity Interests and
   Special Warrants on the Effective Date, each eligible holder of an Allowed First Lien Claim will be
   required to provide an Ownership Certification by the Ownership Certification Deadline.

3. FCC Foreign Ownership Rules and Practices.

          a. The Communications Act as well as the FCC’s foreign ownership rules and practices impose
             certain reporting requirements related to, restrictions on, and special treatment of carriers and
             common carrier radio station licenses in cases where foreign ownership or foreign control of
             an authorized carrier is proposed.

          b. Section 310 of the Communications Act prohibits foreign individuals and foreign entities
             from having direct or indirect equity ownership or voting rights totaling more than twenty-
             five percent (25%) in a U.S. corporation that controls a U.S. broadcast, common carrier, or
             aeronautical fixed or en route radio station licensee (“Licensee”), unless the FCC authorizes
             aggregate foreign equity ownership or voting interests to exceed the twenty-five percent
             (25%) limitation by granting a declaratory ruling in response to the filing of a Petition for
             Declaratory Ruling by the applicable Licensee. In addition, if the parent company of a
             Licensee already has, or proposes to have, foreign ownership that exceeds the twenty-five
             percent (25%) foreign ownership limitation, any entity that has or would receive in excess of
             either five percent (5%) or, in certain cases, ten percent (10%) of the equity or voting rights in
             the Licensee’s parent company must receive prior specific approval from the FCC (a
             “Specific Approval”). The determination of whether the five percent (5%) or ten percent
             (10%) Specific Approval threshold applies to an entity is determined pursuant to the FCC
             foreign ownership rules. To ensure compliance with the twenty-five percent (25%)
             limitation, the distribution of New Equity Interests and/or Special Warrants to holders of
             Allowed First Lien Claims is being structured in a manner that will prevent the aggregate
             foreign equity ownership or aggregate foreign voting percentage in Reorganized FCI from
             exceeding twenty-two and one-half percent (22.5%) (the “22.5 Percent Limitation”). Any
             distribution in contravention of the preceding sentence shall be deemed automatically
             adjusted to the minimum extent necessary to comply with this limitation.

          c. Section 214 of the Communications Act requires a U.S. company that holds domestic and
             international Section 214 telecommunications service authority to disclose the identity of all


WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456     Filed 10/07/19 Entered 10/07/19 15:38:57                Main Document
                                             Pg 212 of 565


               direct or indirect holders of ten percent (10%) or more of the equity or voting rights in such
               company when applying for authority or consent to a transfer of control or assignment. To
               ensure that this threshold is not exceeded, except in connection with the distribution of New
               Equity Interests to Telecom Holdings, the distribution of New Equity Interests to any holders
               of Allowed First Lien Claims is being limited to nine and three-quarters percent (9.75%) of
               the equity or voting percentage of Reorganized FCI (the “9.75 Percent Limitation”). Any
               distribution of New Equity Interests that would contravene the 9.75 Percent Limitation shall
               be deemed automatically adjusted to the minimum extent necessary to comply with this
               limitation.

          d. In determining foreign ownership for distributions of New Equity Interests on the Effective
             Date, FCI will rely on the information provided in each holder’s Ownership Certification.
             FCI will treat any holder that does not (i) timely deliver an Ownership Certification by the
             Ownership Certification Deadline or (ii) deliver an Ownership Certification that allows FCI
             to clearly determine such holder’s foreign ownership as a one hundred percent (100%)
             foreign-owned, non-U.S. holder; provided, that FCI shall have discretion, in consultation with
             counsel to the First Lien Lender Group, to treat any Ownership Certification delivered after
             the Ownership Certification Deadline but prior to the Effective Date as if such Ownership
             Certification had been delivered prior to the Ownership Certification Deadline if FCI
             reasonably believes, after consulting with counsel to the First Lien Lender Group, that doing
             so will not delay the receipt of FCC Approval or the occurrence of the Effective Date.

4. Aggregation of Interests. In determining whether a holder of Allowed First Lien Claims would
   exceed or cause FCI to exceed the 9.75 Percent Limitation, a holder will be attributed with any equity
   held by another holder under common ownership or control or whose interests otherwise would be
   aggregated under the FCC’s ownership attribution rules or foreign ownership rules, as applicable.

5. Compliance with the Communications Act and FCC Rules. All distributions made on the Effective
   Date and, thereafter, all exercises of Special Warrants for New Equity Interests, shall be subject, as
   applicable, to the Communications Act, the FCC’s foreign ownership rules, the FCC’s rules
   concerning ownership and control of radio station licenses, and the FCC’s rules governing Section
   214 authority. To the extent the Communications Act and applicable FCC rules require approval
   from or notice to the FCC regarding changes in ownership interests resulting from any such
   distribution or exercise, no such distribution or exercise shall be made until all required approvals
   from or notices to the FCC have been obtained or made.

6. Threshold Compliance. All distributions made on the Effective Date and, thereafter, all exercises of
   Special Warrants, shall be subject to, as applicable, the 22.5 Percent Limitation, 9.75 Percent
   Limitation, and any limitations set forth in the Special Warrants, unless and until the FCC grants the
   Petition for Declaratory Ruling and/or other approvals necessary to enable holders of New Equity
   Interests and/or Special Warrants to exceed those limits, and are, in all cases, subject to the provisions
   of the Communications Act and applicable FCC rules.

B.        ALLOCATION OF NEW EQUITY INTERESTS AND SPECIAL WARRANTS

The distribution of New Equity Interests on and as of the Effective Date shall be as follows:

     1. First, each holder of an Allowed First Lien Claim that (i) timely delivers an Ownership
        Certification by the Ownership Certification Deadline (or delivers an Ownership Certification
        that FCI determines in its discretion to treat as timely pursuant to Section A.3(d) herein) and
        (ii) certifies therein that its foreign ownership, as calculated in accordance with FCC rules, is


WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57                      Main Document
                                               Pg 213 of 565


          zero, and is thus a “U.S. Holder”, shall receive New Equity Interests on the Effective Date,
          provided, that, in all cases, (x) all holders other than Telecom Holdings shall be subject to the
          9.75 Percent Limitation., (y) Telecom Holdings shall receive more than fifty percent (50%) of the
          New Equity Interests, and (z) to the extent that a U.S. Holder does not receive its full pro rata
          share of the distribution in the form of New Equity Interests, it shall receive the remainder of its
          distribution in the form of Special Warrants.

     2. Second, each holder of an Allowed First Lien Claim that (i) (A) timely delivers an Ownership
        Certification by the Ownership Certification Deadline (or delivers an Ownership Certification
        that FCI determines in its discretion to treat as timely pursuant to Section A.3(d) herein) and (B)
        certifies therein that its foreign ownership, calculated in accordance with FCC rules, is greater
        than zero, (ii) does not timely deliver, and FCI is not treating as having timely delivered pursuant
        to Section A.3(d) herein, an Ownership Certification by the Ownership Certification Deadline, or
        (iii) delivers an Ownership Certification that does not allow FCI to determine such holder’s
        foreign ownership (with respect to sections (A)–(C) herein, each a “Non-U.S. Holder,” and
        collectively, the “Non-U.S. Holders”) shall, on the Effective Date, receive a combination of New
        Equity Interests and Special Warrants, as determined on a pro rata basis based on the amount of
        its Allowed First Lien Claim subject, in each case, to the satisfaction of the 9.75 Percent
        Limitation and 22.5 Percent Limitation.

     3. Third, Special Warrants may be exercised only on or after the Exercise Date, 4 subject to the terms
        and conditions set forth in Section C herein and the provisions of the Special Warrant Agreement.

C.        POST-EFFECTIVE DATE DECISIONS

Subject to the terms of the Special Warrants, if the FCC issues a Declaratory Ruling,5 any exercise or
deemed exercise of the Special Warrants by a Non-U.S. Holder thereafter shall be made as follows on the
Exercise Date:

1. 100% Foreign Ownership. If the FCC adopts a Declaratory Ruling allowing one hundred percent
   (100%) foreign ownership of Reorganized FCI (the “100% Declaratory Ruling”), then all Non-U.S.
   Holders that complete and deliver an Ownership Certification that is satisfactory to Reorganized FCI
   shall be deemed to have exercised their Special Warrants on the Exercise Date and shall receive the
   corresponding number of New Equity Interests; provided, however, that a Non-U.S. Holder of Special
   Warrants may not hold more than five percent (5%) of the New Equity Interests until the requisite
   Specific Approval has been obtained from the FCC.



4
     “Exercise Date” shall mean a date occurring within five (5) business days after the following conditions have
     been satisfied: (i) for any common carrier radio station licenses held by Fusion Cloud Services, LLC on the
     Exercise Date, (A) the FCC has granted the requisite approvals under Section 310 of the Communications Act
     for the transfer of control of a wireless license that will arise from the exercise of the Special Warrants and (B)
     the Declaratory Ruling is granted to allow Reorganized FCI or its affiliates, as applicable, to exceed twenty-five
     percent (25%) foreign ownership, and any required Specific Approvals have been obtained; (ii) the FCC has
     issued all other requisite approvals for the transfer of control of Reorganized FCI that will arise from the
     exercise of the Special Warrants; and (iii) the State PUCs grant any requisite approvals for the change of
     ownership that will arise from the exercise of the Special Warrants.
5
      The Petition for Declaratory Ruling submitted to the FCC shall seek Specific Approval for any Non-U.S.
      Holder that is anticipated to hold more than five percent (5%) of the New Equity Interests upon exercising the
      Special Warrants.


WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57               Main Document
                                           Pg 214 of 565


2. Foreign Ownership Between 25% and 100%. If the FCC adopts a Declaratory Ruling allowing
   foreign ownership of Reorganized FCI between twenty-five percent (25%) and ninety-nine and nine-
   tenths percent (99.9%) (the “Partial Declaratory Ruling Percentage” and the “Partial Declaratory
   Ruling”), then each Non-U.S. Holder of Special Warrants that completes and delivers an Ownership
   Certification that is satisfactory to Reorganized FCI will have all or a portion of its Special Warrants
   exercised and converted into New Equity Interests on the Exercise Date, according to the following
   principles:

          a. each such Non-U.S. Holder’s ownership of New Equity Interests, after giving effect to this
             Section C.2(a), shall be maximized to the extent possible taking into account such Non-U.S.
             Holder’s foreign equity and voting percentage and Reorganized FCI’s aggregate foreign
             equity and voting percentage upon completion of all such exercises; provided, however, that
             Non-U.S. Holders of Special Warrants may not hold more than five percent (5%) of the New
             Equity Interests until the requisite Specific Approval has been obtained from the FCC;

          b. each such Non-U.S. Holder shall be entitled to receive New Equity Interests corresponding to
             its domestic equity percentage and/or its domestic voting percentage, as determined by
             Reorganized FCI; and

          c. after taking into account the exercise of the Special Warrants pursuant to the principle set
             forth in Section C.2(b), the remaining Special Warrants held by each such Non-U.S. Holder
             shall be exercised on a pro rata basis based upon the aggregate number of Special Warrants
             held by all such Non-U.S. Holders after giving effect to the exercise of Special Warrants
             pursuant to the principle set forth in Section C.2.(b) into New Equity Interests.

3. Foreign Ownership in the Absence of a Declaratory Ruling. If the FCC does not issue a Declaratory
   Ruling, then Non-U.S. Holders may not elect to exercise their Special Warrants and must either hold
   such Special Warrants or transfer them, except to the extent that Reorganized FCI reasonably
   determines that such exercise will not cause a violation of the 22.5 Percent Limitation, 9.75 Percent
   Limitation, or any other limitations on equity or voting ownership set forth in the Special Warrants.

4. Required Applications. In each of Sections C(1)-(3) above, because the proposed exercise of Special
   Warrants will cause Telecom Holdings to hold less than fifty percent (50%) of the ownership of
   Reorganized FCI, Reorganized FCI shall file the requisite applications under Sections 214 and 310 of
   the Communications Act and the requisite State PUC applications for consent to the transfer of
   control of Reorganized FCI. If the exercise of Special Warrants would result in a holder owning ten
   percent (10%) or more of the New Equity Interests, Reorganized FCI shall disclose the identity of
   such holder in the requisite applications. The FCC and applicable State PUCs must grant such
   applications as a condition to a holder of a Special Warrant exercising its rights thereunder.




WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57   Main Document
                                           Pg 215 of 565


                                             Exhibit B

                                     New First Lien Term Sheet




WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456    Filed 10/07/19 Entered 10/07/19 15:38:57               Main Document
                                            Pg 216 of 565


                                NEW FIRST LIEN CREDIT AGREEMENT
                                       SUMMARY OF TERMS

This term sheet (the “New First Lien Term Loan Term Sheet”) is Schedule 2 to the Restructuring
Support Agreement Term Sheet (the “Term Sheet”). Capitalized terms used but not defined herein have
the meanings given to them in the Term Sheet attached to the Restructuring Support Agreement as
Exhibit B and the Restructuring Support Agreement, as applicable.
This New First Lien Term Loan Term Sheet sets forth the principal terms of a potential takeback first lien
term loan facility (the “New First Lien Credit Facility”; the credit agreement evidencing the New First
Lien Credit Facility, the “New First Lien Credit Agreement” and, together with the other definitive
documents governing the New First Lien Credit Facility, the “New First Lien Credit Documents,” each
of which shall be in form and substance reasonably acceptable to the New First Lien Agent and the
Requisite New First Lien Lenders (each as defined herein)) to be entered into with the Loan Parties (as
defined herein). The New First Lien Credit Facility will be subject to (a) the approval of the Bankruptcy
Court and (b) emergence by the Loan Parties from the Chapter 11 Cases (the date of such emergence, the
“Plan Effective Date” or the “Closing Date”), in accordance with (i) the chapter 11 plan of
reorganization (the “Plan”), (ii) any order entered by the Bankruptcy Court authorizing the Loan Parties
to enter into the New First Lien Credit Facility, which order may be part of the order confirming the Plan,
each of which shall be in form and substance reasonably acceptable to the New First Lien Agent and the
Requisite New First Lien Lenders, and (iii) the New First Lien Credit Documents to be executed by the
Loan Parties, the New First Lien Agent and the New First Lien Lenders (as defined below).


Borrower:                           Reorganized FCI (the “Borrower” or the “Company”).

Guarantors:                         All of the obligations of the Borrower under the New First Lien Credit
                                    Agreement shall be guaranteed by each of the Reorganized Debtors
                                    and each of their non-Debtor subsidiaries (subject, in the case of non-
                                    domestic subsidiaries, to limitations as required by legal requirements
                                    or fiduciary duties under applicable local law) (collectively, the
                                    “Guarantors”; and Guarantors, together with the Borrower, the
                                    “Loan Parties”).

Administrative Agent:               An entity to be selected by the Requisite First Lien Lenders, with the
                                    consent of the Borrower (not to be unreasonably withheld or delayed),
                                    shall act as administrative agent and collateral agent for the New First
                                    Lien Credit Facility (in such capacities, the “New First Lien Agent”)
                                    on behalf of the New First Lien Lenders.

Lenders:                            The Prepetition First Lien Lenders (collectively, the “New First Lien
                                    Lenders”).

Amount & Type:                      A junior secured term loan credit facility in an aggregate principal
                                    amount of (i) $350.0 million (subject to reduction to be reasonably
                                    agreed if the Canadian subsidiaries of the Borrower are sold prior to
                                    the Plan Effective Date) minus (ii) the aggregate amount of the loans
                                    and commitments under the New Exit Credit Agreement on the Plan
                                    Effective Date, which is currently anticipated to be $125.0 million (the
                                    loans made thereunder, the “New First Lien Term Loans”).



WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57               Main Document
                                           Pg 217 of 565


Borrower:                         Reorganized FCI (the “Borrower” or the “Company”).

Maturity Date:                    The date that is 4 years after the Closing Date.

Fees and Interest Rate:           Interest shall be paid in cash at the LIBOR Rate plus the Margin.
                                  “Margin” means 8.00% per annum. The term “LIBOR Rate” will
                                  have a meaning customary for financings of this type (and in no event
                                  shall be less than 1.00%), and the basis for calculating accrued interest
                                  and the interest periods for loans bearing interest at the LIBOR Rate
                                  will be customary for financings of this type.

                                  During the continuance of a payment event of default, any overdue
                                  amount under the New First Lien Credit Documents, and during the
                                  continuance of a bankruptcy event of default, the New First Lien Term
                                  Loans and all other outstanding obligations will bear interest at an
                                  additional 2.00% per annum above the otherwise applicable interest
                                  rate.

Amortization:                     The New First Lien Term Loans will amortize in equal quarterly
                                  installments (commencing with the fiscal quarter during which the
                                  Closing Date occurs), in aggregate amounts equal to (i) during the first
                                  two years after the Closing Date, 0.5% of the original principal
                                  amount of the New First Lien Term Loans and (ii) thereafter, 1.25% of
                                  the original principal amount of the New First Lien Term Loans.

Collateral:                       The New First Lien Term Loans will be secured by a senior priority
                                  perfected security interest (junior to the liens securing the New Exit
                                  Credit Agreement) in substantially all present and after acquired
                                  property (whether tangible, intangible, real, personal or mixed) of the
                                  Loan Parties, wherever located, including, without limitation, all
                                  accounts, inventory, equipment, capital stock in subsidiaries of the
                                  Loan Parties, investment property, instruments, chattel paper, real
                                  estate, leasehold interests, contracts, patents, copyrights, trademarks
                                  and other general intangibles, and all products and proceeds thereof,
                                  subject to certain exceptions and materiality thresholds reasonably
                                  acceptable to the Requisite New First Lien Lenders (collectively, the
                                  “Collateral”).

Representations and               Customary for facilities of this type and reasonably acceptable to the
Warranties:                       Requisite New First Lien Lenders.

Mandatory Prepayments:            Customary for facilities of this type and reasonably acceptable to the
                                  Requisite New First Lien Lenders.

                                  Mandatory prepayments will, in any event, be required from 75% of
                                  Excess Cash Flow (to be defined), with step downs to 50% if the
                                  Leverage Ratio (to be defined as the ratio of total funded indebtedness,
                                  including capital leases, to EBITDA) is below 3.00:1.00 and 0% if the
                                  Leverage Ratio is below 2.00:1.00.




WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57              Main Document
                                           Pg 218 of 565


Borrower:                         Reorganized FCI (the “Borrower” or the “Company”).

Voluntary Prepayments:            All voluntary prepayments (regardless of whether before or after the
                                  occurrence of an event of default, an acceleration of the New First
                                  Lien Term Loans or the commencement of any bankruptcy or
                                  insolvency proceeding) of the New First Lien Term Loans shall be
                                  subject to a prepayment premium in an amount equal to (a) 103.0% of
                                  the New First Lien Term Loans if such prepayment is made on or
                                  prior to the first anniversary of the Closing Date, and (b) 102.0% of
                                  the New First Lien Term Loans if such prepayment is made after the
                                  first anniversary of the Closing Date but prior to the second
                                  anniversary of the Closing Date (the premium referred to in clauses (a)
                                  and (b) above, the “New First Lien Prepayment Premium”).

Affirmative Covenants:            Customary for facilities of this type and reasonably acceptable to the
                                  Requisite New First Lien Lenders.

Reporting Requirements:           Customary for facilities of this type and reasonably acceptable to the
                                  Requisite New First Lien Lenders and to be initially based on the
                                  reporting requirements in the Prepetition Super Senior Secured Credit
                                  Agreement, but (i) to include a customary covenant to deliver annual
                                  audited financial statements within 90 days after the end of each fiscal
                                  year, (ii) to include a requirement to deliver a budget within 90 days
                                  after the end of each fiscal year to be built on a monthly basis and to
                                  include a balance sheet, income statement and cash flow statement and
                                  KPIs, (iii) not to include clauses (o) (updated budget), (p) (variance
                                  reports), (q) (telecommunications supplier report) and (s) (Lingo
                                  report) of Section 5.1 of the Prepetition Super Senior Secured Credit
                                  Agreement, and (iv) to provide that the requirement to deliver
                                  unaudited monthly financials and associated monthly KPIs will no
                                  longer apply if the Leverage Ratio (calculated on a four-quarter basis)
                                  for two consecutive fiscal quarters is less than 2.50:1.00.

Negative Covenants:               Customary for facilities of this type with exceptions and baskets
                                  reasonably acceptable to the Requisite New First Lien Lenders.

Financial Covenants:              Customary for facilities of this type and reasonably acceptable to the
                                  Requisite New First Lien Lenders, but in any event to include a
                                  minimum EBITDA covenant, a maximum capital expenditures
                                  covenant and a maximum Leverage Ratio covenant, in each case with
                                  a 20% cushion to the then approved forecast.




WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57                Main Document
                                           Pg 219 of 565


Borrower:                         Reorganized FCI (the “Borrower” or the “Company”).

Voting                            Amendments and waivers of the New First Lien Credit Agreement
                                  will require the approval of at least two (2) New First Lien Lenders
                                  (New First Lien Lenders affiliated with each other or under common
                                  management being deemed to be one single New First Lien Lender),
                                  collectively holding more than 50% in the aggregate of the amount of
                                  the New First Lien Term Loans (the “Requisite New First Lien
                                  Lenders”); provided that, notwithstanding the foregoing, the vote of
                                  each affected New First Lien Lender shall be required for, among
                                  other things, (i) reductions of interest (or the rate thereon or any
                                  increase in the allowed amount of, or acceleration in the allowed or
                                  prescribed date with respect to, interest payable in kind) or principal or
                                  fees or any postponement of any date for payment for any of the
                                  foregoing, (ii) extension of the maturity date, (iii) changes to the
                                  payment waterfall, (iv) changes to certain pro rata sharing provisions,
                                  (v) releases of all or substantially all of the value of the guarantees of
                                  the Guarantors or a release of all or substantially all of the Collateral
                                  and (vi) changes in the voting provisions, the definition of required
                                  lenders (or similar terms) or voting percentages specified in the
                                  definition of required lenders or related terms.

Events of Default:                Substantially consistent with the New Exit Credit Agreement with
                                  such changes as may be mutually agreed.

Conditions Precedent to           Customary for facilities of this type and reasonably acceptable to the
Closing Date:                     Requisite New First Lien Lenders.

Fees and Expenses                 The facilities documentation will include expense reimbursement,
Indemnification:                  indemnification and other provisions as are usual and customary for
                                  facilities of this kind and in the case of expense reimbursement and
                                  indemnification provisions, reimbursement for the costs, fees and
                                  expenses of the advisors to the New First Lien Lenders.


Governing Law and                 New York.
Submission to Jurisdiction:

Counsel to the New First Lien     Davis Polk & Wardwell LLP.
Lenders:




WEIL:\97220973\1\47019.0003
19-11811-dsj          Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57   Main Document
                                           Pg 220 of 565



                                             Exhibit B

                                  Restructuring Support Agreement




WEIL:\97197633\1\47019.0003
19-11811-dsj          Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57 Main Document
                                               Pg 221 of 565
                                                                      EXECUTION VERSION



                              RESTRUCTURING SUPPORT AGREEMENT

               This RESTRUCTURING SUPPORT AGREEMENT (this “Agreement”), dated
as of June 3, 2019, is entered into by and among:

                    (i)       Fusion Connect, Inc. (“Fusion”) and its direct and indirect U.S.
                              subsidiaries (each, a “Company Party” and collectively, including Fusion,
                              the “Company Parties”); and

                    (ii)      each undersigned First Lien Lender (as defined herein, and, together with
                              their respective successors and permitted assigns and any subsequent First
                              Lien Lender that becomes a party hereto in accordance with the terms
                              hereof, the “Consenting First Lien Lenders”).

               Each Company Party, each Consenting First Lien Lender, and any subsequent
Person that becomes a party hereto in accordance with the terms hereof are referred to herein as
the “Parties” and individually as a “Party.”

               WHEREAS, the Parties have agreed to the Restructuring Transactions (as
defined herein) consistent with the terms and subject to the conditions set forth herein, including
in the Term Sheet (as defined herein), which are the product of arms’-length, good faith
discussions between the Parties and their respective professionals;

                WHEREAS, as of the date hereof, the Consenting First Lien Lenders in the
aggregate hold, or act as the nominee, investment adviser, sub-adviser, or investment manager to
entities that (x) hold, as of the date hereof, in excess of 66 2/3% of the aggregate outstanding
principal amount of the First Lien Loans (as defined herein) and (y) constitute the Requisite
Lenders (as defined in the Credit Agreement);

             WHEREAS, the Parties desire to express to each other their mutual support and
commitment in respect of the matters discussed in this Agreement and in the Term Sheet.

               NOW, THEREFORE, in consideration of the premises and the mutual covenants
and agreements set forth herein, and for other good and valuable consideration, the receipt and
sufficiency of which are hereby acknowledged, the Parties, intending to be legally bound, agree
as follows:




WEIL:\97023175\4\47019.0003
19-11811-dsj             Doc 456    Filed 10/07/19 Entered 10/07/19 15:38:57         Main Document
                                               Pg 222 of 565



                    1.        Certain Definitions.

               Capitalized terms used but not defined in this Agreement shall have the meaning
ascribed to them in the restructuring term sheet attached hereto as Exhibit A (together with all
schedules, exhibits, and annexes attached thereto, and as may be modified in accordance with
Section 9 hereof, the “Term Sheet”).

                    As used in this Agreement, the following terms have the following meanings:

                   (a)    “Administrative Agent” means Wilmington Trust, National Association,
          in its capacity as administrative agent under the Credit Agreement, and its successors and
          assigns.

                  (b)     “Alternative Transaction” means any plan, dissolution, winding up,
          liquidation, sale or disposition, reorganization, merger or restructuring of the Company
          Parties or their assets other than the Restructuring Transactions, as set forth in the Term
          Sheet.

                 (c)      “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C.
          §§ 101, et seq., as amended from time to time.

                 (d)    “Bankruptcy Court” means the United States Bankruptcy Court for the
          Southern District of New York having jurisdiction over the Chapter 11 Cases.

                 (e)     “Bidding Procedures” means the procedures governing the auction and
          Sale Process in the form attached to the Term Sheet as Schedule 3.

                 (f)    “Bidding Procedures Motion” means a motion filed by the Debtors with
          the Bankruptcy Court for entry of the Bidding Procedures Order.

                 (g)     “Bidding Procedures Order” means an order (i) approving the Bidding
          Procedures, (ii) setting dates for the submission of bids and the auction (if any) in
          accordance with the Bidding Procedures, and (iii) granting related relief.

                    (h)       “Claim” has the meaning set forth in the Bankruptcy Code.

                 (i)    “Commencement Date” means the date that the Debtors commence the
          Chapter 11 Cases.

                 (j)    “Confirmation Order” means an order of the Bankruptcy Court
          confirming the Plan.

                  (k)     “Credit Agreement” means that certain First Lien Credit and Guaranty
          Agreement, dated as of May 4, 2018 (as amended, restated, amended and restated,
          supplemented, or otherwise modified from time to time in accordance with the terms
          thereof), by and among Fusion, as the borrower, certain subsidiaries of Fusion, as
          guarantors, the Administrative Agent, and the lenders party thereto.


                                                      2
WEIL:\97023175\4\47019.0003
19-11811-dsj          Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57        Main Document
                                               Pg 223 of 565



                  (l)     “Definitive Documents” means the documents (including any related
          orders, agreements, instruments, schedules or exhibits) that are contemplated by the Term
          Sheet and that are otherwise necessary or desirable to implement, or otherwise relate to
          the Restructuring Transactions, including, without limitation: (i) the Plan; (ii) the
          Bidding Procedures; (iii) the Bidding Procedures Motion; (iv) the Bidding Procedures
          Order; (v) the Disclosure Statement; (vi) the Disclosure Statement Motion; (vii) the
          Disclosure Statement Order; (viii) the Plan Solicitation Materials; (ix) the Confirmation
          Order; (x) the motion seeking approval by the Bankruptcy Court of the DIP Facility and
          the DIP Orders (including any declarations or affidavits submitted in support thereof)
          (the “DIP Motion”); (xi) the interim and final orders of the Bankruptcy Court approving
          the DIP Motion (the “Interim DIP Order” and the “Final DIP Order,” respectively),
          (xii) those motions and proposed orders that the Company Parties file on or after the
          Commencement Date and seek to have heard on an expedited basis at the “First Day
          Hearing”, including for the avoidance of doubt, the first day declaration (the “First Day
          Pleadings”); (xiii) those motions and proposed court orders that the Company Parties file
          and seek to have heard at the “Second Day Hearing”, including final orders in respect of
          those First Day Pleadings where only interim relief is provided at the “First Day Hearing”
          (the “Second Day Pleadings”); (xiv) all documents or agreements relating to the Sale
          Transaction,; (xv) the New Exit Credit Agreement and material documents related
          thereto; (xvi) the New First Lien Term Loan Credit Agreement and material documents
          related thereto; (xvii) the Plan Supplement; (xviii) the organizational documents and all
          other governing documents and agreements of the reorganized Company Parties, as
          applicable, including any stockholders’ agreement and/or a registration rights agreement,
          in each case, with respect to the equity interests in Reorganized FCI; and (xix) any other
          material (with materiality determined in the reasonable discretion of the Requisite First
          Lien Lenders’ advisors, in consultation with the Debtors’ advisors) agreements, motions,
          pleadings, briefs, applications, orders, and other filings with the Bankruptcy Court related
          to the Restructuring Transactions. Each of the Definitive Documents shall contain terms
          and conditions consistent with this Agreement and the Term Sheet, and shall otherwise be
          reasonably acceptable to the Required Parties, including with respect to any
          modifications, amendments, or supplements to such Definitive Documents at any time
          during the RSA Support Period; provided, that the terms of the Plan, the Plan
          Supplement, the Plan Solicitation Materials, the Disclosure Statement, the Disclosure
          Statement Motion, the Disclosure Statement Order, the Confirmation Order, the Bidding
          Procedures, the Bidding Procedures Order, the DIP Credit Agreement, the DIP Motion,
          and the DIP Orders shall be acceptable to the Requisite First Lien Lenders.

                 (m)    “DIP Backstop Commitment” has the meaning set forth in Section 4(e) of
          this Agreement.

                (n)           “DIP Backstop Party” has the meaning set forth in Section 4(e) of this
          Agreement.

                (o)           “DIP Commitment” has the meaning set forth in Section 4(e) of this
          Agreement.



                                                     3
WEIL:\97023175\4\47019.0003
19-11811-dsj          Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57         Main Document
                                               Pg 224 of 565



                (p)           “DIP Commitment Party” has the meaning set forth in Section 4(e) of this
          Agreement.

                  (q)         “DIP Credit Agreement” means the credit agreement evidencing the DIP
          Facility.

                  (r)      “DIP Facility” means the debtor-in-possession term loan facility to be
          provided to the Company Parties consistent with the terms set forth in the DIP Term
          Sheet and in accordance with the terms, and subject in all respects to the conditions, as
          set forth in the DIP Credit Agreement and pursuant to the terms and conditions of the DIP
          Orders.

                (s)           “DIP Orders” means, collectively, the Interim DIP Order and the Final
          DIP Order.

                 (t)     “DIP Term Sheet” means the term sheet setting forth the material terms of
          the DIP Facility attached to the Term Sheet as Schedule 1.

                  (u)    “Disclosure Statement” means the disclosure statement in respect of the
          Plan, including all exhibits and schedules thereto.

                 (v)     “Disclosure Statement Motion” means the motion seeking approval of the
          Disclosure Statement.

                  (w)   “Disclosure Statement Order” means an order of the Bankruptcy Court
          approving the Disclosure Statement, the Plan Solicitation Materials, and the solicitation
          of the Plan.

                  (x)    “FCC” means the Federal Communications Commission, including any
          official bureau or division thereof acting on delegated authority, and any successor
          governmental agency performing functions similar to those performed by the Federal
          Communications Commission.

                  (y)     “FCC Applications” means collectively, each application, petition, or
          other request filed with the FCC in connection with the Restructuring Transactions.

                 (z)     “FCC Approval” means the FCC’s grant of the FCC Applications, which
          grant shall have become a FCC Final Order, subject to the right of the Requisite First
          Lien Lenders to waive the requirement that such grant shall have become a FCC Final
          Order.

                  (aa) “FCC Final Order” means an FCC action or decision as soon as (i) the
          time has passed within which any related petition for reconsideration or application for
          review (including any related requests for stay) must be filed and no such petition or
          application has been filed, (ii) if any related initial petition for reconsideration or
          application for review has been filed (including any related requests for stay), the FCC
          (including through delegated authority) has made a disposition of such filing(s) that does
          not overturn or nullify the original action or decision, and (iii) the deadline for filing any
                                                      4
WEIL:\97023175\4\47019.0003
19-11811-dsj          Doc 456      Filed 10/07/19 Entered 10/07/19 15:38:57      Main Document
                                              Pg 225 of 565



          appeal that may be designated by statute or rule has passed, and no appeal is pending or
          in effect.

                  (bb) “FCC Pro Forma Applications” means, collectively, each application,
          petition or other request required to be filed with the FCC as a result of the Company
          Parties’ commencement of the Chapter 11 Cases.

                   (cc) “First Lien Lender” means any Lender under the Credit Agreement, each
          in its capacity as such.

                 (dd) “First Lien Loan” means any outstanding loan issued and other credit
          extended under the Credit Agreement.

                 (ee) “Forbearance Agreement” means that certain forbearance agreement,
          dated as of April 15, 2019 (as amended, modified, or otherwise supplemented from time
          to time) among Fusion, as borrower, the other Company Parties as guarantors, and the
          Forbearing Lenders (as defined in the Forbearance Agreement).

                 (ff)    “Governmental Authority” means any federal, state, local or other
          governmental regulatory authority having jurisdiction over the Company Parties,
          including, without limitation, state public service and public utility commissions.

                 (gg) “Governmental Approval” means the approval of any Governmental
          Authority having jurisdiction over the Company Parties required in connection with the
          Restructuring Transactions.

                  (hh) “Individual Support Period” means, as to a Consenting First Lien Lender,
          the period commencing on the later of (x) Support Effective Date and (y) the date upon
          which such Consenting First Lien Lender became a Party to this Agreement, and ending
          on the earlier of (i) the date on which this Agreement is terminated in accordance with
          Section 5, (ii) the date on which this Agreement is terminated with respect to such
          Consenting First Lien Lender in accordance with Section 5, (iii) the date on which such
          Consenting First Lien Lender becomes a Non-Consenting First Lien Lender (as defined
          herein) in accordance with Section 9, and (iv) the Plan Effective Date.

                  (ii)   “New First Lien Term Loan Term Sheet” means the term sheet setting
          forth the material terms of the New First Lien Term Loan attached to the Term Sheet as
          Schedule 2.

                    (jj)      “Outside Commencement Date” means June 3, 2019.

                   (kk)    “Person” means any “person” as defined in section 101(41) of the
          Bankruptcy Code, including, without limitation, any individual, corporation, limited
          liability company, partnership, joint venture, association, joint-stock company, trust,
          unincorporated organization or government or any agency or political subdivision thereof
          or other entity.


                                                    5
WEIL:\97023175\4\47019.0003
19-11811-dsj          Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57          Main Document
                                               Pg 226 of 565



                 (ll)    “Plan” means a chapter 11 plan of reorganization implementing the
          Restructuring Transactions.

                  (mm) “Plan Effective Date” means the date upon which all conditions precedent
          to the effectiveness of the Plan have been satisfied or are expressly waived in accordance
          with the terms thereof, as the case may be.

                 (nn) “Plan Solicitation Materials” means the ballots and other related
          materials to be distributed in connection with the solicitation of acceptances of the Plan.

                  (oo) “Plan Supplement” means the supplement to the Plan comprised of
          documents, forms of documents, schedules, and/or exhibits to be filed by the Company
          Parties with the Bankruptcy Court.

                 (pp) “Required Parties” means each of (i) Fusion and (ii) the Requisite First
          Lien Lenders.

                 (qq) “Requisite DIP Commitment Parties” means, as of the date of
          determination, DIP Commitment Parties holding at least a majority in aggregate principal
          amount of the DIP Commitments held by the DIP Commitment Parties as of such date.

                 (rr)    “Requisite First Lien Lenders” means, as of the date of determination,
          Consenting First Lien Lenders holding at least a majority in aggregate principal amount
          outstanding of the First Lien Loans held by the Consenting First Lien Lenders as of such
          date.

                  (ss)  “Restructuring Transactions” means all acts, events, and transactions
          contemplated by, required for, and taken to implement the Restructuring pursuant to the
          Definitive Documents, and this Agreement, each in the singular and collectively, as
          applicable.

                  (tt)   “RSA Support Period” means the period commencing on the Support
          Effective Date and ending on the earlier of (i) the date on which this Agreement is
          terminated in accordance with Section 5 and (ii) the Plan Effective Date.

                    (uu)      “SEC” means the Securities and Exchange Commission.

                    (vv)      “Securities Act” means the Securities Act of 1933, as amended.

                  (ww) “Support Effective Date” means the date on which the counterpart
          signature pages to this Agreement have been executed and delivered by the Company
          Parties and Consenting First Lien Lenders (i) holding at least 66 2/3% in aggregate
          principal amount outstanding of the First Lien Loans and (ii) representing the Requisite
          First Lien Lenders.




                                                      6
WEIL:\97023175\4\47019.0003
19-11811-dsj             Doc 456    Filed 10/07/19 Entered 10/07/19 15:38:57      Main Document
                                               Pg 227 of 565



                     2.       Term Sheet.

               The Term Sheet is expressly incorporated herein by reference and made part of
this Agreement as if fully set forth herein. The Term Sheet, including the schedules, annexes
and exhibits thereto, sets forth certain material terms and conditions of the Restructuring
Transactions. Notwithstanding anything else in this Agreement to the contrary, in the event of
any inconsistency between this Agreement and the Term Sheet (including the attachments
thereto, as applicable), the Term Sheet (including the attachments thereto, as applicable) shall
control.

                    3.        Agreements of the Consenting First Lien Lenders.

                 (a)    Agreement to Support. During the Individual Support Period with respect
          to such Consenting First Lien Lender, subject to the terms and conditions hereof, each of
          the Consenting First Lien Lenders agrees, severally and not jointly, that it shall:

                         (i)     use its commercially reasonable efforts to support the
          Restructuring and the Restructuring Transactions, to act in good faith and to take any and
          all reasonable actions necessary to consummate the Restructuring and the Restructuring
          Transactions, in a manner consistent with this Agreement;

                         (ii)   not direct the Administrative Agent to take any action inconsistent
          with the Consenting First Lien Lenders’ obligations under this Agreement, and, if the
          Administrative Agent takes any action inconsistent with the Consenting First Lien
          Lenders’ obligations under this Agreement, the Consenting First Lien Lenders shall direct
          and use their commercially reasonable efforts to cause the Administrative Agent to cease,
          withdraw, and refrain from taking any such action;

                        (iii) timely vote (pursuant to the Plan) or cause to be voted all of its
          Claims (including on account of any claims other than those relating to the Credit
          Agreement, owned or controlled by such Consenting First Lien Lender) to accept the
          Plan by delivering its duly executed and completed ballot or ballots, as applicable,
          accepting the Plan on a timely basis following commencement of the solicitation of
          acceptances of the Plan in accordance with sections 1125 and 1126 of the Bankruptcy
          Code;

                        (iv)  negotiate in good faith with the Company Parties the forms of the
          Definitive Documents and, subject to the consent thresholds specified herein, execute the
          Definitive Documents (to the extent such Consenting First Lien Lender is a party
          thereto);

                         (v)    not change or withdraw its votes to accept the Plan (or cause or
          direct such vote to be changed or withdrawn); provided, however, that such vote shall,
          without any further action by the applicable Consenting First Lien Lender, be deemed
          automatically revoked (and, upon such revocation, deemed void ab initio) by the
          applicable Consenting First Lien Lender at any time following the expiration of the
          Individual Support Period with respect to such Consenting First Lien Lender;

                                                     7
WEIL:\97023175\4\47019.0003
19-11811-dsj          Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57                     Main Document
                                               Pg 228 of 565



                          (vi)   other than in respect of any such rights preserved under Section
          3(d) below, not directly or indirectly, through any Person, take any action, including
          initiating (or encouraging any other Person to initiate) any legal proceeding, that is
          inconsistent with or that would reasonably be expected to prevent, interfere with, delay,
          or impede the consummation of the Restructuring or Restructuring Transactions,
          including the approval of the DIP Motion, the entry of the DIP Orders, the approval of
          the Bidding Procedures Motion, the entry of the Bidding Procedures Order, the approval
          of the Disclosure Statement, or the solicitation of votes on, and confirmation of, the Plan;

                         (vii) to the extent any legal or structural impediment arises that would
          prevent, hinder, or delay the consummation of the Restructuring Transactions, negotiate
          in good faith appropriate additional or alternative provisions to address any such
          impediment;

                         (viii) use its commercially reasonable efforts to obtain any and all
          required regulatory and third-party approvals for such Consenting First Lien Lender to
          consummate the Restructuring Transactions and to support the Company Parties in
          connection with the same;

                         (ix)   support and take all reasonable actions necessary or reasonably
          requested by the Company Parties to confirm such Consenting First Lien Lender’s
          support for the Bankruptcy Court’s approval of the Plan and Disclosure Statement, the
          solicitation of votes on the Plan by the Company Parties, and the confirmation and
          consummation of the Plan and the Restructuring Transactions; and

                         (x)    prior to the Commencement Date, (A) agree not, and not request or
          direct the Administrative Agent to, (x) accelerate all of the First Lien Loans and the
          Obligations (as defined in the Credit Agreement) related thereto or (y) exercise any other
          rights or remedies available to the Administrative Agent or to such Consenting First Lien
          Lender pursuant to Section 8.1 of the Credit Agreement or Section 5.01 of the Pledge and
          Security Agreement (as defined in the Credit Agreement) forbear and (B) direct the
          Administrative Agent to abstain from taking any of the actions described in clause
          (A) above.

                    (b)       Transfers.

                           (i)     Each Consenting First Lien Lender agrees that, for the duration of
          the Individual Support Period, with respect to such Consenting First Lien Lender, it shall
          not sell, transfer, loan, issue, participate, pledge, hypothecate, assign or otherwise dispose
          of (other than ordinary course pledges or swaps) (each, a “Transfer”), directly or
          indirectly, in whole or in part, any of its Claims, including any beneficial ownership in
          any such Claims, 1 or any option thereon or any right or interest therein, unless the
          transferee thereof either (A) is a Consenting First Lien Lender (with respect to a Transfer

1
      As used herein, the term “beneficial ownership” means the direct or indirect economic ownership of, and/or
      the power, whether by contract or otherwise, to direct the exercise of the voting rights and the disposition of,
      any Claims subject to this Agreement or the right to acquire such Claims.

                                                          8
WEIL:\97023175\4\47019.0003
19-11811-dsj          Doc 456      Filed 10/07/19 Entered 10/07/19 15:38:57                     Main Document
                                              Pg 229 of 565



          by a Consenting First Lien Lender) or (B) prior to such Transfer, agrees in writing for the
          benefit of the Parties to become a Consenting First Lien Lender and to be bound by all of
          the terms of this Agreement applicable to Consenting First Lien Lenders (including with
          respect to any and all Claims it already may hold against or in the Company Parties prior
          to such Transfer) by executing a joinder agreement, a form of which is attached hereto as
          Exhibit B (a “Joinder Agreement”), which shall include making the representations and
          warranties of the Consenting First Lien Lenders set forth in Section 7 of this Agreement
          to each other Party to this Agreement, and delivering an executed copy thereof within
          two (2) business days of such execution, to (1) Weil, Gotshal and Manges LLP (“Weil”),
          as counsel to the Company Parties and (2) Davis Polk & Wardwell LLP (“Davis Polk”),
          as counsel to the Ad Hoc First Lien Lender Group, in which event (x) the transferee shall
          be deemed to be a Consenting First Lien Lender hereunder to the extent of such
          Transferred Claims and (y) the transferor shall be deemed to relinquish its rights (and be
          released from its obligations) under this Agreement to the extent of and solely with
          respect to such transferred Claims (but not with respect to any other Claims or equity
          interests acquired or held by such transferor) (such Transfer, a “Permitted Transfer” and
          such party to such Permitted Transfer, a “Permitted Transferee”). Each Consenting First
          Lien Lender agrees that any Transfer of any Claim that does not comply with the terms
          and procedures set forth herein shall be deemed void ab initio, and the Company Parties
          and each other Consenting First Lien Lender shall have the right to enforce the voiding of
          such Transfer.

                          (ii)    Notwithstanding anything to the contrary herein, (A) a Qualified
          Marketmaker 2 that acquires any Claims subject to this Agreement held by a Consenting
          First Lien Lender with the purpose and intent of acting as a Qualified Marketmaker for
          such Claims, shall not be required to become a party to this Agreement as a Consenting
          First Lien Lender, if such Qualified Marketmaker Transfers such Claims (by purchase,
          sale, assignment, or other similar means) within the earlier of ten (10) business days of its
          acquisition and the plan voting deadline to a Permitted Transferee and the Transfer
          otherwise is a Permitted Transfer; provided, that a Qualified Marketmaker’s failure to
          comply with this Section 3(b) shall result in the Transfer of such Claims to such
          Qualified Marketmaker being deemed void ab initio, and (B) to the extent any Party is
          acting solely in its capacity as a Qualified Marketmaker, it may Transfer any ownership
          interests in the Claims that it acquires from a holder of Claims that is not a Consenting
          First Lien Lender to a transferee that is not a Consenting First Lien Lender at the time of
          such Transfer without the requirement that the transferee be or become a signatory to this
          Agreement or execute a Joinder Agreement.

                          (iii) This Section 3(b) shall not impose any obligation on the Company
          Parties to issue any “cleansing letter” or otherwise publicly disclose information for the

2
      As used herein, the term “Qualified Marketmaker” means an entity that (a) holds itself out to the public, the
      syndicated loan market, or the applicable private markets as standing ready in the ordinary course of business
      to purchase from customers and sell to customers claims against, or equity interests in, the Company (including
      First Lien Loans), or enter with customers into long and short positions in claims against the Company, in its
      capacity as a dealer or market maker in such claims and (b) is, in fact, regularly in the business of making a
      market in claims against issuers or borrowers (including term, loans, or debt or equity securities).

                                                          9
WEIL:\97023175\4\47019.0003
19-11811-dsj          Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57              Main Document
                                           Pg 230 of 565



          purpose of enabling a Consenting First Lien Lender to Transfer any Claims.
          Notwithstanding anything to the contrary herein, to the extent the Company Parties and
          another Party have entered into a separate agreement with respect to the issuance of a
          “cleansing letter” or other public disclosure of information, the terms of such
          confidentiality agreement shall continue to apply and remain in full force and effect
          according to its terms.

                   (c)    Additional Claims. This Agreement shall in no way be construed to
          preclude a Consenting First Lien Lenders from acquiring additional Claims; provided
          that, to the extent any Consenting First Lien Lender (i) acquires additional Claims,
          (ii) holds or acquires any other claims against the Company Parties entitled to vote on the
          Plan or (iii) holds or acquires any equity interests in the Company Parties entitled to vote
          on the Plan, then, in each case, each such Consenting First Lien Lender shall promptly
          notify Weil and Davis Polk, and each such Consenting First Lien Lender agrees that all
          such Claims and/or equity interests shall be subject to this Agreement, and agrees that,
          for the duration of the Individual Support Period with respect to such Consenting First
          Lien Lender and subject to the terms of this Agreement, it shall vote in favor of the Plan
          (or cause to be voted) any such additional Claims and/or equity interests entitled to vote
          on the Plan (to the extent still held by it on or on its behalf at the time of such vote), in a
          manner consistent with Section 3(a) hereof. For the avoidance of doubt, any obligation to
          vote for the Plan or any other plan of reorganization shall be subject to sections 1125 and
          1126 of the Bankruptcy Code.

                  (d)     Preservation of Rights. Notwithstanding the foregoing, nothing in this
          Agreement, and neither a vote to accept the Plan by any Consenting First Lien Lender,
          nor the acceptance of the Plan by any Consenting First Lien Lender, shall: (i) be
          construed to limit consent and approval rights provided in this Agreement, the Term
          Sheet, and the Definitive Documents; (ii) be construed to prohibit any Consenting First
          Lien Lender from contesting whether any matter, fact, or thing is a breach of, or is
          inconsistent with, this Agreement; (iii) limit the rights of any Consenting First Lien
          Lender under any applicable bankruptcy, insolvency, foreclosure or similar proceeding,
          or be construed to prohibit any Consenting First Lien Lender from appearing as a party-
          in-interest in any matter to be adjudicated in or arising in connection with the Chapter 11
          Cases, so long as such appearance and the positions advocated in connection therewith
          are not inconsistent with this Agreement or such Consenting First Lien Lenders’
          obligations hereunder; (iv) limit the ability of any Consenting First Lien Lender to
          purchase, sell, or enter into any transaction in connection with its Claims, in compliance
          with the terms hereof and applicable law; (v) constitute a waiver or amendment of any
          provision of the Credit Agreement, the Collateral Documents (as defined in the Credit
          Agreement) or any related documents or any other documents or agreements that give
          rise to a Consenting First Lien Lender’s Claims; (vi) bar any Consenting First Lien
          Lender or the Administrative Agent on behalf of the Consenting First Lien Lenders from
          filing a proof of claim with the Bankruptcy Court, or taking action to establish the
          amount of such claim; or (vii) limit the ability of any Consenting First Lien Lender to
          assert any rights, claims, or defenses under the Credit Agreement, the Collateral
          Documents (as defined in the Credit Agreement), and any related documents or any other
          documents or agreements that give rise to a Consenting First Lien Lender’s Claims, to the
                                                    10
WEIL:\97023175\4\47019.0003
19-11811-dsj             Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57        Main Document
                                              Pg 231 of 565



          extent the assertion of such rights, claims, or defenses are not inconsistent with this
          Agreement or such Consenting First Lien Lenders’ obligations hereunder.

                  (e)     Subject to Section 5 of this Agreement, each Consenting First Lien Lender
          party hereto as of the date of this Agreement that is set forth on Schedule 1 hereto (such
          Consenting First Lien Lender, a “DIP Backstop Party”) commits, severally and not
          jointly, to provide its share of the DIP Facility as set forth on Schedule 1 hereto on the
          terms and conditions substantially as set forth in the DIP Term Sheet and otherwise
          subject to relevant Definitive Documents (such commitment, the “DIP Backstop
          Commitment”), provided, that any Consenting First Lien Lender that executes a Joinder
          to this Agreement by June 10, 2019 (the “DIP Election Date”) may, by making the
          appropriate election on such Joinder, commit, severally and not jointly, to provide a share
          of the DIP Facility in an amount not greater than the pro rata percentage of First Lien
          Loans held by such Consenting First Lien Lender as of June 3, 2019 (such date, the “DIP
          Commitment Record Date” and such commitment, a “DIP Commitment”), and
          otherwise on the terms and conditions agreed to by the DIP Backstop Parties in the DIP
          Term Sheet and the DIP Credit Agreement, as applicable (any Consenting First Lien
          Lender that elects to make such commitment, together with any DIP Backstop Party, a
          “DIP Commitment Party”). Not less than one (1) calendar day after the DIP Election
          Date, each DIP Backstop Party’s DIP Backstop Commitment shall be automatically
          reduced, pro rata, by the amount of such additional commitments of the Consenting First
          Lien Lenders, to reflect the share of the DIP Facility to be provided by all DIP
          Commitment Parties and this Agreement and Schedule 1 hereto shall automatically be
          deemed amended to reflect such reduction; provided, further, that upon a termination of
          this Agreement in accordance with the provisions hereof prior to the funding of the DIP
          Facility, all DIP Backstop Commitments and DIP Commitments shall terminate. The
          amount of a DIP Commitment Party Party’s share of the DIP Facility shall be reduced, on
          a dollar-for-dollar basis, by the amount of Super Senior Loans held by such DIP
          Commitment Party on the DIP Commitment Record Date.

                    4.        Agreements of the Company Parties.

                (a)     Covenants. Each Company Party agrees that, for the duration of the RSA
          Support Period, such Company Party shall:

                         (i)    (A) support and use commercially reasonable efforts to
          consummate and complete the Restructuring Transactions, and all transactions
          contemplated under this Agreement (including, without limitation, those described in the
          Term Sheet, and, once filed, the Plan) including, without limitation, (1) take any and all
          reasonably necessary actions in furtherance of the Restructuring Transactions, and the
          transactions contemplated under this Agreement, including, without limitation, as set
          forth in the Term Sheet (including with respect to an exit facility), and, once filed, the
          Plan, (2) commence the Chapter 11 Cases on or before the Outside Commencement Date
          and complete and file, within the timeframes contemplated herein, the Plan, the
          Disclosure Statement, and the other Definitive Documents, (3) use commercially
          reasonable efforts to obtain orders of the Bankruptcy Court approving the DIP Credit
          Agreement, the Bidding Procedures Motion, and the Disclosure Statement and
                                                   11
WEIL:\97023175\4\47019.0003
19-11811-dsj          Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                           Pg 232 of 565



          confirming the Plan within the timeframes contemplated by this Agreement; and
          (4) prosecute and defend any objections or appeals relating to the DIP Orders, the
          Disclosure Statement Order, the Confirmation Order, and/or the Restructuring
          Transactions; and (B) not take any action that is inconsistent with, or to alter, delay,
          impede, or interfere with, approval of the DIP Orders, the Bidding Procedures Order, or
          the Disclosure Statement, confirmation of the Plan, or consummation of the Plan and the
          Restructuring Transactions, in the case of each of clauses (A) and (B) to the extent
          consistent with, upon the advice of counsel, the fiduciary duties of the boards of directors
          of the Company;

                          (ii)    if the Company Parties receive an unsolicited bona fide proposal or
          expression of interest in undertaking an Alternative Transaction that the boards of
          directors, members, or managers (as applicable) of the Company Parties, determine in
          their good-faith judgment provides a higher or better economic recovery to the Company
          Parties’ stakeholders than that set forth in this Agreement and such Alternative
          Transaction is from a proponent that the boards of directors, members, or managers (as
          applicable) of the Company Parties have reasonably determined is capable of timely
          consummating such Alternative Transaction, the Company Parties will, within 24 hours
          of the receipt of such proposal or expression of interest, notify Davis Polk and Greenhill
          (as defined herein) of the receipt thereof, with such notice to include the material terms
          thereof, including the identity of the Person or group of Persons involved;

                          (iii) provide draft copies of all material motions or applications and
          other documents (including the Plan, the Disclosure Statement, the ballots and other
          solicitation materials in respect of the Plan, and the Confirmation Order) the Debtors
          intend to file with the Bankruptcy Court to Davis Polk, if reasonably practical, at least
          three (3) business days prior to the date when the Company Parties intend to file any such
          pleading or other document (provided that if delivery of such motions, orders or materials
          (other than the Plan, the Disclosure Statement, the Confirmation Order or the DIP
          Orders) at least three (3) business days in advance is not reasonably practicable, such
          motion, order or material shall be delivered as soon as reasonably practicable prior to
          filing) and shall consult in good faith with such counsel regarding the form and substance
          of any such proposed filing with the Bankruptcy Court;

                        (iv)   file the First Day Pleadings reasonably determined by the Debtors,
          in form and substance reasonably acceptable to the Requisite First Lien Lenders, to be
          necessary, and to seek interim and final (to the extent necessary) orders, in form and
          substance reasonably acceptable to the Debtors and the Requisite First Lien Lenders,
          from the Bankruptcy Court approving the relief requested in the First Day Pleadings;

                      (v)     not seek to amend or modify, or file a pleading seeking authority to
          amend or modify, the Definitive Documents in a manner that is inconsistent with this
          Agreement;

                         (vi)    not file or seek authority to file any pleading inconsistent with the
          Restructuring Transactions or the terms of this Agreement; provided, that if a Company
          Party receives written notice from any Consenting First Lender regarding a breach of this

                                                  12
WEIL:\97023175\4\47019.0003
19-11811-dsj          Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57             Main Document
                                           Pg 233 of 565



          Section 4(a)(vi), the Company Parties shall have two (2) business days after the receipt of
          such written notice to cure such breach;

                           (vii) not, nor encourage any other person or entity to, take any action
          which would, or would reasonably be expected to, breach or be inconsistent with this
          Agreement or delay, impede, appeal, or take any other negative action, directly or
          indirectly, to interfere with the acceptance, confirmation, or consummation of the Plan or
          implementation of the Restructuring Transactions;

                         (viii) (x) not file or support any motion, application, or adversary
          proceeding and (y) timely object to any motion, application, or adversary proceeding
          filed with the Bankruptcy Court or any other court of competent jurisdiction by any
          Person seeking the entry of an order (i) directing the appointment of a trustee with
          authority to operate the Company’s business in the Chapter 11 Cases, (ii) converting the
          Chapter 11 Cases to cases under chapter 7 of the Bankruptcy Code, (iii) dismissing the
          Chapter 11 Cases or (iv) for relief that (x) is inconsistent with this Agreement in any
          material respect or (y) would, or would reasonably be expected to, frustrate the purposes
          of this Agreement, including by preventing the consummation of the Restructuring
          Transactions.

                         (ix)   seek entry of the DIP Orders and, if necessary, timely file a formal
          written response in opposition to any objection filed with the Bankruptcy Court by any
          person or entity with respect to entry of the DIP Orders or with respect to any adequate
          protection proposed to be granted or granted to the Consenting First Lien Lenders
          pursuant to the DIP Orders;

                          (x)     timely (A) file a motion to extend the period for the Debtors’
          exclusive right to file and/or solicit acceptances of a plan of reorganization, and (B) file a
          formal written objection to any motion filed with the Bankruptcy Court by any Person
          seeking the entry of an order modifying or terminating the Debtors’ exclusive right to file
          and/or solicit acceptances of a plan of reorganization;

                         (xi)    subject to appropriate confidentiality arrangements, provide to the
          Consenting First Lien Lenders’ professionals, upon reasonable advance notice to the
          Company Parties: (A) reasonable access (without any material disruption to the conduct
          of the Company Parties; business) during normal business hours to the Company Parties’
          books, records, and facilities; (B) reasonable access to the respective management and
          advisors of the Company Parties for the purposes of evaluating the Company Parties’
          finances and operations and participating in the planning process with respect to the
          Restructuring Transactions; (C) prompt access to any information provided to any
          existing or prospective financing sources (including lenders under any debtor-in-
          possession and/or exit financing); and (D) prompt and reasonable responses to all
          reasonable diligence requests;

                        (xii) promptly pay all prepetition and postpetition reasonable and
          documented fees and expenses of (A) Davis Polk, (B) Greenhill & Co., LLC
          (“Greenhill”), (C) Altman Vilandrie & Company and its sub-agents (“Altman

                                                   13
WEIL:\97023175\4\47019.0003
19-11811-dsj          Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                           Pg 234 of 565



          Vilandrie”), (D) one firm acting as local counsel for the Ad Hoc First Lien Lender
          Group, if any, (E) Wiley Rein LLP, and (F) any other advisors retained by the Ad Hoc
          First Lien Lender Group, in each case of clauses (A)-(F), in accordance with the terms of
          their respective engagement letters with the Company, if any (collectively, the
          “Restructuring Expenses”); and unless otherwise agreed by the Company Parties and the
          applicable firm, the Company Parties shall (i) on the date that is at least one (1) business
          day prior to the Commencement Date, pay (x) all Restructuring Expenses accrued but
          unpaid as of such date (to the extent invoiced), whether or not such Restructuring
          Expenses are then due, outstanding, or otherwise payable in connection with this matter
          and (y) fund or replenish, as the case may be, any retainers reasonably requested by any
          of the foregoing professionals, in each case in accordance with the terms of their
          respective engagement letters with the Company Parties; (ii) after the Commencement
          Date, pay all accrued but unpaid Restructuring Expenses on a regular and continuing
          basis and (iii) on the Plan Effective Date, so long as this Agreement has not been
          terminated as to all Parties, pay all accrued and unpaid Restructuring Expenses incurred
          up to (and including) the Plan Effective Date by Parties still subject to this Agreement
          (provided, for the avoidance of doubt, that such Restructuring Expenses have not been
          satisfied during the Chapter 11 Cases pursuant to the DIP Orders), without any
          requirement for Bankruptcy Court review or further Bankruptcy Court order; provided
          that, notwithstanding the foregoing, nothing herein shall affect or limit any obligations of
          the Company Parties to pay the Restructuring Expenses as provided in the DIP Orders;

                         (xiii) to the extent any legal or structural impediment arises that would
          prevent, hinder, or delay the consummation of the Restructuring Transactions, negotiate
          in good faith appropriate additional or alternative provisions to address any such
          impediment;

                          (xiv) subject to applicable laws, use commercially reasonable efforts to,
          consistent with the pursuit and consummation of the Restructuring Transactions, preserve
          intact in all material respects the current business operations of the Company Parties
          (other than as consistent with applicable fiduciary duties), keep available the services of
          its current officers and material employees (in each case, other than as contemplated by
          the Company Parties’ current business plan provided to the Consenting First Lien
          Lenders, voluntary resignations, terminations for cause, or terminations consistent with
          applicable fiduciary duties) and preserve in all material respects its relationships with
          customers, sales representatives, suppliers, distributors, and others, in each case, having
          material business dealings with the Company Parties (other than terminations for cause or
          consistent with applicable fiduciary duties); and

                          (xv) provide prompt written notice (in accordance with Section 19
          hereof) to the Consenting First Lien Lenders and Davis Polk between the date hereof and
          the Plan Effective Date of (A) the occurrence, or failure to occur, of any event of which
          any of the Company Parties has actual knowledge which occurrence or failure would be
          likely to cause any covenant of the Company Parties contained in this Agreement not to
          be satisfied in any material respect; (B) receipt of any written notice from any third party
          alleging that the consent of such party is or may be required in connection with the
          Restructuring Transactions; (C) receipt of any notice or correspondence (whether written
                                                  14
WEIL:\97023175\4\47019.0003
19-11811-dsj             Doc 456    Filed 10/07/19 Entered 10/07/19 15:38:57         Main Document
                                               Pg 235 of 565



          or oral) from any counterparty to a contract or license that is material to the operation of
          the business of the Company Parties; (D) receipt of any written notice from any
          governmental body in connection with this Agreement or the Restructuring Transactions;
          (E) receipt of any written notice of any proceeding commenced, or, to the actual
          knowledge of the Company Parties, threatened against the Company Parties, relating to
          or involving or otherwise affecting in any material respect the Restructuring
          Transactions; and (F) any failure of any Company Party to comply, in any material
          respect, with or satisfy any covenant, condition, or agreement to be complied with or
          satisfied by it hereunder; and

                         (xvi) use its commercially reasonable efforts to promptly obtain the FCC
          Approval, any and all required Governmental Approvals, any and all approvals of any
          foreign regulatory bodies, and any and all third-party approvals for the Restructuring
          Transactions embodied in the Definitive Documents, including the Plan, within the
          timeframes contemplated by this Agreement, as applicable.

                  (b)     Automatic Stay. Each Company Party acknowledges, agrees, and shall
          not dispute that after the commencement of the Chapter 11 Cases, the giving of notice of
          termination by any Party pursuant to this Agreement shall not be a violation of the
          automatic stay of section 362 of the Bankruptcy Code (and the Company hereby waives,
          to the extent legally possible, the applicability of the automatic stay to the giving of such
          notice); provided that nothing herein shall prejudice any Party’s rights to argue that the
          giving of notice of default or termination was not proper under the terms of this
          Agreement.

                    5.        Termination of Agreement.

                  (a)     This Agreement shall terminate upon the receipt of written notice to the
          other Parties, delivered in accordance with Section 19 hereof, from, as applicable, (x) the
          Requisite First Lien Lenders at any time after and during the continuance of any Lender
          Termination Event or (y) Company Parties at any time after and during the continuance
          of any Company Termination Event, as applicable. Notwithstanding any provision to the
          contrary in this Section 5, no Party may exercise any of its respective termination rights
          as set forth herein if such Party has failed to perform or comply in all material respects
          with the terms and conditions of this Agreement (unless such failure to perform or
          comply arises as a result of another Party’s actions or inactions), with such failure to
          perform or comply causing, or resulting in, the occurrence of a Lender Termination Event
          (as defined below) or Company Termination Event specified herein. This Agreement
          shall terminate on the Plan Effective Date without any further required action or notice.

                    (b)       A “Lender Termination Event” shall mean any of the following:

                        (i)     the breach by any Company Party of (a) any covenant contained in
          this Agreement or (b) any other obligations of the Company Parties set forth in this
          Agreement, and, in each case, such breach remains uncured for a period of five (5)
          business days after receipt of written notice thereof pursuant to Section 19 hereof (as
          applicable);

                                                     15
WEIL:\97023175\4\47019.0003
19-11811-dsj          Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                           Pg 236 of 565



                       (ii)    any representation or warranty in this Agreement made by a
          Company Party shall have been untrue in any material respect when made or shall have
          become untrue in any material respect;

                        (iii) the Definitive Documents and any amendments, modifications, or
          supplements thereto filed by the Company include terms that are inconsistent with the
          Term Sheet and are not otherwise reasonably acceptable to the Requisite First Lien
          Lenders, and such event remains unremedied for a period of three (3) business days
          following the Company Parties’ receipt of notice pursuant to Section 19 hereto (as
          applicable);

                          (iv)  a Definitive Document alters the treatment of the First Lien
          Lenders specified in the Term Sheet without complying with Section 9 hereof and the
          Requisite First Lien Lenders have not otherwise consented to such Definitive Document;

                          (v)    the issuance by any governmental authority, including any
          regulatory authority or court of competent jurisdiction, of any ruling, judgment or order
          declaring this Agreement to be unenforceable, enjoining the consummation of a material
          portion of the Restructuring Transactions or rendering illegal this Agreement, the Plan or
          the Restructuring Transactions, and either (A) such ruling, judgment or order has been
          issued at the request of or with the acquiescence of a Company Party, or (B) in all other
          circumstances, such ruling, judgment or order has not been not stayed, reversed or
          vacated within fifteen (15) calendar days after such issuance;

                    (vi)     the Support Effective Date shall not have occurred on or before the
          Commencement Date;

                      (vii) the Commencement Date shall not have occurred on or before the
          Outside Commencement Date;

                        (viii) if the Debtors fail to meet any milestone or deadline set forth in the
          Bidding Procedures;

                         (ix)  if, as of 11:59 p.m. prevailing Eastern Time on the date that is one
          (1) calendar day from the Commencement Date, the Debtors have not filed the Bidding
          Procedures Motion;

                         (x)   if, as of 11:59 p.m. prevailing Eastern Time on the date that is five
          (5) calendar days from the Commencement Date, the Interim DIP Order has not been
          entered by the Bankruptcy Court;

                          (xi)   if, as of 11:59 p.m. prevailing Eastern Time on the date that is five
          (5) business days after the Commencement Date, the Company Parties have not
          completed the filing of the FCC Pro Forma Applications, and any material applications,
          petitions or other requests to be filed with any other Governmental Authority as a result
          of the commencement of the Chapter 11 Cases;


                                                  16
WEIL:\97023175\4\47019.0003
19-11811-dsj          Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57             Main Document
                                           Pg 237 of 565



                         (xii) if, as of 11:59 p.m. prevailing Eastern Time on the date that is
          fourteen (14) calendar days from the Commencement Date, the Company Parties have
          not completed the filing of (x) the FCC Applications, (y) any material applications,
          petitions or other requests to be filed with any other Governmental Authority that are
          required to obtain the Governmental Approvals and (z) any other material applications,
          petitions or other requests to be filed with any foreign regulatory agencies in order to
          obtain their approvals or otherwise that are necessary to effectuate the Restructuring
          Transactions;

                         (xiii) if, as of 11:59 p.m. prevailing Eastern Time on the date that is
          twenty-one (21) calendar days from the Commencement Date, the Debtors have not filed
          the Disclosure Statement Motion, the Disclosure Statement, and the Plan;

                        (xiv) if, as of 11:59 p.m. prevailing Eastern Time on the date that is
          twenty-one (21) calendar days following the filing of the Bidding Procedures Motion, the
          Bidding Procedures Order has not been entered by the Bankruptcy Court;

                        (xv) if, as of 11:59 p.m. prevailing Eastern Time on the date that is
          thirty (30) calendar days from the Commencement Date, the Debtors have not
          commenced solicitation of non-binding indications of interest (“Exit Financing IOIs”) to
          provide the New Exit Loans in a manner reasonably satisfactory to Greenhill;

                          (xvi) if, as of 11:59 p.m. prevailing Eastern Time on the date that is
          thirty-five (35) calendar days from the Commencement Date, the Final DIP Order has not
          been entered by the Bankruptcy Court;

                         (xvii) if, as of 11:59 p.m. prevailing Eastern Time on the date that is sixty
          (60) calendar days from the Commencement Date, the Bankruptcy Court has not entered
          the Disclosure Statement Order;

                         (xviii) if, as of 11:59 p.m. prevailing Eastern Time on the date that is fifty
          (50) calendar days from the Commencement Date, the deadline set by the Debtors to
          receive Exit Financing IOIs shall not have passed;

                         (xix) if, as of 11:59 p.m. prevailing Eastern Time on the date that is
          ninety five (95) calendar days from the Commencement Date, the Debtors have not
          received at least one, irrevocable and binding commitment letter for the New Exit Credit
          Agreement acceptable to the Requisite First Lien Lenders;

                         (xx) if, as of 11:59 p.m. prevailing Eastern Time on the date that is one-
          hundred and twenty (120) calendar days from the Commencement Date, the Bankruptcy
          Court has not entered the Confirmation Order;

                          (xxi) if, as of the earlier of 11:59 p.m. prevailing Eastern Time on the
          date that is twenty (20) calendar days following entry of the Confirmation Order, the Plan
          Effective Date has not occurred; provided, that this date shall be extended to thirty-five
          (35) calendar days following entry of the Confirmation Order if all other conditions to the
          Plan have been satisfied or waived in accordance with the terms thereof other than a
                                                   17
WEIL:\97023175\4\47019.0003
19-11811-dsj          Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57           Main Document
                                               Pg 238 of 565



          condition that the Debtors shall have obtained FCC Approval, any and all other required
          Governmental Approvals, any and all approvals of any foreign regulatory bodies;

                         (xxii) the Bankruptcy Court enters an order that is not stayed
          (A) directing the appointment of a trustee with authority to operate the Company’s
          business in the Chapter 11 Cases, (B) converting the Chapter 11 Cases to cases under
          chapter 7 of the Bankruptcy Code, (C) dismissing the Chapter 11 Cases, (D) denying
          confirmation of the Plan, the effect of which would render the Plan incapable of
          consummation on the terms set forth herein or (E) granting relief that is inconsistent with,
          or denies relief sought that is contemplated by this Agreement or the Plan in any
          materially adverse respect to the Consenting First Lien Lenders, in each case;

                              (xxiii) the Confirmation Order is reversed or vacated;

                          (xxiv) if either (A) any Company Party (or any person or entity on behalf
          of any Company Party or its bankruptcy estate with proper standing) files a motion,
          application or adversary proceeding (or supports or fails to timely object to such a
          filing) (1) challenging the validity, enforceability, perfection or priority of, or seeking
          invalidation, avoidance, disallowance, recharacterization or subordination of any of the
          obligations or Claims under the Credit Agreement or (2) asserting any other cause of
          action against and/or with respect or relating to all or any portion of the First Lien Loans
          or the liens securing the First Lien Loans or (B) the Bankruptcy Court (or any court with
          jurisdiction over the Chapter 11 Cases) enters an order providing relief against the
          interests of the First Lien Lenders with respect to any of the foregoing causes of action or
          proceedings, including, but not limited to, invalidating, avoiding, disallowing,
          recharacterizing, subordinating, or limiting the enforceability of any of the obligations or
          Claims arising under or related to the Credit Agreement;

                        (xxv) any Company Party files or seeks approval of, or supports (or fails
          to timely object to) another party in filing or seeking approval of an Alternative
          Transaction;

                          (xxvi) the commencement of an involuntary bankruptcy case against any
          Company Party under the Bankruptcy Code, if such involuntary case is not dismissed
          within forty-five (45) calendar days after the filing thereof, or if a court order grants the
          relief sought in such involuntary case;

                          (xxvii) if any Company Party (A) withdraws the Plan, (B) publicly
          announces its intention not to support the Restructuring Transactions or the Plan, (C) files
          a motion with the Bankruptcy Court seeking the approval of an Alternative Transaction
          or (D) agrees to pursue (including, for the avoidance of doubt, as may be evidenced by a
          term sheet, letter of intent, or similar document) or publicly announces its intent to pursue
          an Alternative Transaction;

                         (xxviii)the Bankruptcy Court enters an order modifying or terminating the
          Company Parties’ exclusive right to file and solicit acceptances of a plan of
          reorganization (including the Plan);

                                                      18
WEIL:\97023175\4\47019.0003
19-11811-dsj          Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57       Main Document
                                               Pg 239 of 565



                       (xxix) a Default or Event of Default (as each us defined in the DIP Credit
          Agreement) under the DIP Credit Agreement has occurred and is continuing; or

                          (xxx) the occurrence of a Company Termination Event described in
          Section 5(c)(ii) of this Agreement.

                    (c)       A “Company Termination Event” shall mean any of the following:

                         (i)     the breach in any material respect by one or more of the
          Consenting First Lien Lenders, of any of the undertakings, representations, warranties, or
          covenants of the Consenting First Lien Lenders set forth herein in any material respect
          that remains uncured for a period of five (5) business days after the receipt of written
          notice of such breach pursuant to Section 19 hereof (as applicable); but only if the non-
          breaching Consenting First Lien Lenders hold less than 66⅔% of the aggregate principal
          amount of all First Lien Loans;

                         (ii)   the board of directors, members, or managers (as applicable) of
          any Company Party reasonably determines in good faith based upon the advice of outside
          counsel that continued performance under this Agreement or pursuit of the Restructuring
          Transactions would be inconsistent with the exercise of its fiduciary duties under
          applicable law; provided, that the Company Parties shall provide notice of such
          determination to Davis Polk via email within one (1) business day after the date thereof;
          or

                         (iii) the issuance by any governmental authority, including any
          regulatory authority or court of competent jurisdiction, of any ruling, judgment or order
          declaring this Agreement unenforceable, enjoining the consummation of a material
          portion of the Restructuring Transactions or rendering illegal this Agreement, the Plan or
          the Restructuring Transactions, and such ruling, judgment or order has not been not
          stayed, reversed or vacated within fifteen (15) calendar days after such issuance.

                  (d)    Mutual Termination. This Agreement may be terminated by mutual
          agreement of the Company and the Requisite First Lien Lenders upon the receipt of
          written notice delivered in accordance with Section 19 hereof.

                  (e)    Automatic Termination. This Agreement shall terminate automatically,
          without any further action required by any Party, upon the occurrence of the Plan
          Effective Date.

                  (f)     Effect of Termination. Upon the termination of this Agreement in
          accordance with this Section 5 (other than pursuant to Section 5(e)) if the Restructuring
          Transactions have not been consummated, and except as provided in Section 13 hereof,
          this Agreement shall forthwith become void and of no further force or effect and each
          Party shall, except as provided otherwise in this Agreement, be immediately released
          from its liabilities, obligations, commitments, undertakings and agreements under or
          related to this Agreement and shall have all the rights and remedies that it would have
          had and shall be entitled to take all actions, whether with respect to the Restructuring
          Transactions or otherwise, that it would have been entitled to take had it not entered into
                                                  19
WEIL:\97023175\4\47019.0003
19-11811-dsj             Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57         Main Document
                                              Pg 240 of 565



          this Agreement, including all rights and remedies available to it under applicable law, the
          Credit Agreement and any ancillary documents or agreements thereto; provided,
          however, that in no event shall any such termination relieve a Party from liability for its
          breach or non-performance of its obligations hereunder prior to the date of such
          termination; provided, further, however, that in no event shall any such termination affect
          the obligation of any Company Party to pay within five (5) business days of such
          termination date all fees and expenses contemplated by Section 4(a)(xii) of this
          Agreement actually incurred prior to such termination. Upon any such termination of this
          Agreement as to a Consenting First Lien Lender, each vote or any consents given by such
          Consenting First Lien Lender prior to such termination shall be deemed, for all purposes,
          to be null and void ab initio and shall not be considered or otherwise used in any manner
          by the Parties in connection with the Restructuring Transactions and this Agreement, in
          each case, without further confirmation or other action by such Consenting First Lien
          Lender. If this Agreement has been terminated as to any Consenting First Lien Lender in
          accordance with this Section 5 (other than pursuant to Section 5(e) at a time when
          permission of the Bankruptcy Court shall be required for a Consenting First Lien Lender
          to change or withdraw (or cause to change or withdraw) its vote to accept the Plan, the
          Company Parties shall support and not oppose any attempt by such Consenting First Lien
          Lender to change or withdraw (or cause to change or withdraw) such vote at such time.
          Such Consenting First Lien Lender shall have no liability to the Company Parties or to
          any other Consenting First Lien Lender in respect of any termination of this Agreement
          in accordance with the terms of this Section 5 and Section 19 hereof.

                  (g)    If the Restructuring Transactions has not been consummated prior to the
          date of termination of this Agreement, nothing herein shall be construed as a waiver by
          any Party of any or all of such Party’s rights and the Parties expressly reserve any and all
          of their respective rights. Pursuant to Federal Rule of Evidence 408 and any other
          applicable rules of evidence, this Agreement and all negotiations relating hereto shall not
          be admissible into evidence in any proceeding other than a proceeding to enforce its
          terms.

                    6.        Definitive Documents; Good Faith Cooperation; Further Assurances

                Subject to the terms and conditions described herein, during the Individual
Support Period as to each Consenting First Lien Lender and during the RSA Support Period as to
the Company Parties, each Consenting First Lien Lender, severally and not jointly, and each
Company Party, severally and jointly, hereby covenant and agree to reasonably cooperate with
each other in good faith in connection with, and shall exercise commercially reasonable efforts
with respect to the pursuit, approval, implementation, and consummation of the Plan and the
Restructuring Transactions, as well as the negotiation, drafting, execution (to the extent such
Party is a party thereto), and delivery of the Definitive Documents. Furthermore, subject to the
terms and conditions hereof, each Consenting First Lien Lender, severally and not jointly, and
each Company Party, severally and jointly, shall take such action as may be reasonably
necessary or reasonably requested by the other Parties to carry out the purposes and intent of this
Agreement, including making and filing of any required regulatory filings and voting any claims
against or securities of the Company Parties in favor of the Restructuring Transactions, and shall
refrain from taking any action that would frustrate the purposes and intent of this Agreement;
                                                   20
WEIL:\97023175\4\47019.0003
19-11811-dsj             Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57        Main Document
                                              Pg 241 of 565



provided that no Consenting First Lien Lender shall be required to incur any material cost,
expense, or liability in connection therewith.

                    7.        Representations and Warranties.

                  (a)    Each Consenting First Lien Lender, severally and not jointly and each
          Company Party, severally and jointly, represent and warrant to the other Parties that the
          following statements are true, correct and complete as of the date hereof (or, with respect
          to a Consenting First Lien Lender that becomes a party hereto after the date hereof, as of
          the date such Consenting First Lien Lender becomes a party hereto):

                         (i)     such Party is validly existing and in good standing under the laws
          of its jurisdiction of incorporation or organization, and has all requisite corporate,
          partnership, limited liability company or similar authority to enter into this Agreement
          and carry out the transactions contemplated hereby and perform its obligations
          contemplated hereunder, and the execution and delivery of this Agreement and the
          performance of such Party’s obligations hereunder have been duly authorized by all
          necessary corporate, limited liability company, partnership or other similar action on its
          part;

                         (ii)   the execution, delivery and performance by such Party of this
          Agreement does not and will not (A) violate any material provision of law, rule or
          regulation applicable to it or any of its subsidiaries or its charter or bylaws (or other
          similar governing documents) or those of any of its subsidiaries or (B) conflict with,
          result in a breach of or constitute (with due notice or lapse of time or both) a default
          under any material contractual obligation to which it or any of its subsidiaries is a party
          other than any default caused by the commencement of the Chapter 11 Cases or as
          contemplated by the Restructuring Transactions;

                         (iii) the execution, delivery and performance by such Party of this
          Agreement does not and will not require any registration or filing with, consent or
          approval of, or notice to, or other action, with or by, any federal, state or governmental
          authority or regulatory body, except such filings as may be necessary or required by the
          SEC, FCC, and/or state public utility commissions; and

                         (iv)     this Agreement is the legally valid and binding obligation of such
          Party, enforceable against it in accordance with its terms, except as enforcement may be
          limited by bankruptcy, insolvency, reorganization, moratorium or other similar laws
          relating to or limiting creditors’ rights generally or by equitable principles relating to
          enforceability or a ruling of the Bankruptcy Court.

                 (b)      Each Consenting First Lien Lender severally (and not jointly), represents
          and warrants to the Company Parties that, as of the date hereof (or as of the date such
          Consenting First Lien Lender becomes a party hereto), such Consenting First Lien
          Lender (i) is the beneficial owner of, or investment advisor or manager of funds that are
          beneficial owners of, the aggregate principal amount of First Lien Loans set forth below
          its name on the signature page hereof (or below its name on the signature page of a

                                                   21
WEIL:\97023175\4\47019.0003
19-11811-dsj             Doc 456    Filed 10/07/19 Entered 10/07/19 15:38:57        Main Document
                                               Pg 242 of 565



          Joinder Agreement for any Consenting First Lien Lender that becomes a party hereto
          after the date hereof) and does not beneficially own, or manager or advisor funds that
          own, any other First Lien Loans and (ii) has, with respect to the beneficial owners of such
          First Lien Loans, (A) sole investment or voting discretion with respect to such First Lien
          Loans, (B) full power and authority to vote on and consent to matters concerning such
          First Lien Loans or to exchange, assign and transfer such First Lien Loans, and (C) full
          power and authority to bind or act on the behalf of, such beneficial owners.

                   (c)   Each Consenting First Lien Lender severally and not jointly makes the
          representations and warranties set forth in this Section 7, in each case, to the other
          Parties.

                    8.        Disclosure; Publicity.

                  (a)    Subject to the provisions set forth in Section 8(b), Fusion shall disseminate
          publication on Form 8-K or a press release disclosing the existence of this Agreement and
          the terms hereof with such redactions as may be reasonably requested by Davis Polk to
          maintain the confidentiality of the items identified in Section 8(b). In the event that
          Fusion fails to make the foregoing disclosures in compliance with the terms specified
          herein, any such Consenting First Lien Lender may publicly disclose the foregoing,
          including, without limitation, this Agreement and all of its exhibits and schedules (subject
          to the redactions called for by Section 8 hereof), and each of the Company Parties hereby
          waives any claims against the Consenting First Lien Lenders arising as a result of such
          disclosure by a Consenting First Lien Lender in compliance with this Agreement.

                  (b)     The Company Parties shall submit drafts to Davis Polk of any press
          releases, public documents and any and all filings with the SEC that constitute disclosure
          of the existence or terms of this Agreement or any amendment to the terms of this
          Agreement, or any other matter relating to the First Lien Loans, at least one (1) business
          day prior to making any such disclosure, and any such press releases, public documents,
          and other SEC filings shall be reasonably acceptable in all material respects to Davis
          Polk. Except as required by applicable law or otherwise permitted under the terms of any
          other agreement between the Company Parties and any Consenting First Lien Lender, no
          Party or its advisors shall disclose to any person (including, for the avoidance of doubt,
          any other Consenting First Lien Lender), other than advisors to the Company Parties, the
          principal amount of the First Lien Loans held by the Consenting First Lien Lender or the
          Consenting First Lien Lender’s DIP Backstop Commitment or DIP Commitment, without
          such Consenting First Lien Lender’s prior written consent; provided, however, that (i) if
          such disclosure is required by law, subpoena, or other legal process or regulation, the
          disclosing Party shall, to the extent permitted by law, afford the relevant Consenting First
          Lien Lender a reasonable opportunity to review and comment in advance of such
          disclosure and shall take all reasonable measures to limit such disclosure (the expense of
          which, if any, shall be borne by the relevant Consenting First Lien Lender) and (ii) the
          foregoing shall not prohibit the disclosure of the aggregate percentage or aggregate
          outstanding principal amount of the First Lien Loans held by all the Consenting First
          Lien Lenders collectively.


                                                       22
WEIL:\97023175\4\47019.0003
19-11811-dsj             Doc 456    Filed 10/07/19 Entered 10/07/19 15:38:57       Main Document
                                               Pg 243 of 565



                    9.        Amendments and Waivers.

                This Agreement, including any exhibits or schedules hereto, may not be waived,
modified, amended or supplemented except with the written consent of the Company Parties and
the Requisite First Lien Lenders; provided, however, that any waiver, modification, amendment
or supplement to this Section 9 shall require the written consent of all of the Parties; provided,
further, that any modification, amendment or change to the definition of Requisite First Lien
Lenders shall require the written consent of each Consenting First Lien Lender; provided,
further, that any change, waiver, modification or amendment to this Agreement or the Term
Sheet that treats or affects any Consenting First Lien Lender in a manner that is
disproportionately and materially adverse, on an economic or non-economic basis, to the manner
in which any of the other Consenting First Lien Lenders are treated (after taking into account
each of the Consenting First Lien Lender’s respective Claims and the recoveries contemplated by
the Term Sheet (as in effect on the date hereof)) shall require the written consent of such
Consenting First Lien Lender. In the event that an adversely affected Consenting First Lien
Lender does not consent to a waiver, change, modification or amendment to this Agreement
requiring the consent of each Consenting First Lien Lender (such lender, a “Non-Consenting
First Lien Lender”), but such waiver, change, modification or amendment receives the consent
of Consenting First Lien Lenders owning at least 66 2/3% of the aggregate outstanding principal
amount of the First Lien Loans, this Agreement shall be deemed to have been terminated only as
to such Non-Consenting First Lien Lender, but this Agreement shall continue in full force and
effect in respect to all other Consenting First Lien Lenders who have so consented, in a way
consistent with this Agreement and the Term Sheet as waived, changed, modified, or amended,
as applicable. Any waiver, change, modification or amendment to this Agreement and the Term
Sheet that adversely affects the right of the DIP Backstop Parties or the DIP Commitment Parties
as a class in their capacity as such shall require the consent of the Requisite DIP Commitment
Parties, as applicable.

                    10.       Effectiveness.

               This Agreement shall become effective and binding upon each Party upon the
execution and delivery by such Party of an executed signature page hereto and shall become
effective and binding on all Parties on the Support Effective Date; provided that signature pages
executed by Consenting First Lien Lenders shall be delivered to (a) the other Consenting First
Lien Lenders in a redacted form that removes such Consenting First Lien Lenders’ holdings of
the First Lien Loans or any other Claims against or interests in the Company Parties and any
schedules to such Consenting First Lien Lenders’ holdings (if applicable) and (b) the Company
Parties, Weil, and Davis Polk in an unredacted form (and to be kept confidential by the
Company, Weil, and Davis Polk).

                    11.       Governing Law; Jurisdiction; Waiver of Jury Trial.

                  (a)     This Agreement shall be construed and enforced in accordance with, and
          the rights of the parties shall be governed by, the law of the State of New York, without
          giving effect to the conflict of laws principles thereof.



                                                    23
WEIL:\97023175\4\47019.0003
19-11811-dsj          Doc 456      Filed 10/07/19 Entered 10/07/19 15:38:57          Main Document
                                              Pg 244 of 565



                  (b)     Each of the Parties irrevocably agrees that any legal action, suit or
          proceeding arising out of or relating to this Agreement brought by any Party or its
          successors or assigns shall be brought and determined in any federal or state court in the
          Borough of Manhattan in the State of New York, and each of the Parties hereby
          irrevocably submits to the exclusive jurisdiction of the aforesaid courts for itself and with
          respect to its property, generally and unconditionally, with regard to any such proceeding
          arising out of or relating to this Agreement or the Restructuring Transactions. Each of
          the Parties agrees not to commence any proceeding relating hereto or thereto except in
          the courts described above in the Borough of Manhattan in the State of New York, other
          than proceedings in any court of competent jurisdiction to enforce any judgment, decree
          or award rendered by any such court in New York as described herein. Each of the
          Parties further agrees that notice as provided herein shall constitute sufficient service of
          process and the Parties further waive any argument that such service is insufficient. Each
          of the Parties hereby irrevocably and unconditionally waives, and agrees not to assert, by
          way of motion or as a defense, counterclaim or otherwise, in any proceeding arising out
          of or relating to this Agreement or the Restructuring Transactions, (i) any claim that it is
          not personally subject to the jurisdiction of the courts in New York as described herein
          for any reason, (ii) that it or its property is exempt or immune from jurisdiction of any
          such court or from any legal process commenced in such courts (whether through service
          of notice, attachment prior to judgment, attachment in aid of execution of judgment,
          execution of judgment or otherwise) and (iii) that (A) the proceeding in any such court is
          brought in an inconvenient forum, (B) the venue of such proceeding is improper or
          (C) this Agreement, or the subject matter hereof, may not be enforced in or by such
          courts. Notwithstanding the foregoing, during the pendency of the Chapter 11 Cases, all
          proceedings contemplated by this Section 11(b) shall be brought in the Bankruptcy Court
          to the extent the Bankruptcy Court has jurisdiction over such proceedings.

               (c)    EACH PARTY HEREBY WAIVES, TO THE FULLEST EXTENT
          PERMITTED BY APPLICABLE LAW, ANY RIGHT IT MAY HAVE TO A TRIAL
          BY JURY IN ANY LEGAL PROCEEDING DIRECTLY OR INDIRECTLY ARISING
          OUT OF OR RELATING TO THIS AGREEMENT OR THE TRANSACTIONS
          CONTEMPLATED HEREBY (WHETHER BASED ON CONTRACT, TORT OR ANY
          OTHER THEORY). EACH PARTY (I) CERTIFIES THAT NO REPRESENTATIVE,
          AGENT OR ATTORNEY OF ANY OTHER PARTY HAS REPRESENTED,
          EXPRESSLY OR OTHERWISE, THAT SUCH OTHER PARTY WOULD NOT, IN
          THE EVENT OF LITIGATION, SEEK TO ENFORCE THE FOREGOING WAIVER
          AND (II) ACKNOWLEDGES THAT IT AND THE OTHER PARTIES HAVE BEEN
          INDUCED TO ENTER INTO THIS AGREEMENT BY, AMONG OTHER THINGS,
          THE MUTUAL WAIVERS AND CERTIFICATIONS IN THIS SECTION.

                    12.       Specific Performance/Remedies.

               It is understood and agreed by the Parties that money damages would not be a
sufficient remedy for any breach of this Agreement by any Party and each non-breaching Party
shall be entitled to specific performance and injunctive or other equitable relief (including
attorneys’ fees and costs) as a remedy of any such breach, without the necessity of proving the
inadequacy of money damages as a remedy, including an order of the Bankruptcy Court
                                                   24
WEIL:\97023175\4\47019.0003
19-11811-dsj          Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57       Main Document
                                               Pg 245 of 565



requiring any Party to comply promptly with any of its obligations hereunder. Each Party also
agrees that it will not seek, and will waive any requirement for, the securing or posting of a bond
in connection with any Party seeking or obtaining such relief.

                    13.       Survival.

                Notwithstanding the termination of this Agreement pursuant to Section 5 hereof,
the agreements and obligations of the Parties in this Section 13, and Sections 4(b), 5(f), 7, 8, 10
(with respect to the redacted information), 11, 12, 13, 14, 15, 16, 17, 18, 19, and 20 (and any
defined terms used in any such Sections) shall survive such termination and shall continue in full
force and effect in accordance with the terms hereof; provided, however, that any liability of a
Party for failure to comply with the terms of this Agreement shall survive such termination.

                    14.       Headings.

               The headings of the sections, paragraphs and subsections of this Agreement are
inserted for convenience only and shall not affect the interpretation hereof or, for any purpose, be
deemed a part of this Agreement.

                    15.       Successors and Assigns; Severability; Several Obligations.

                This Agreement is intended to bind and inure to the benefit of the Parties and their
respective successors, permitted assigns, heirs, executors, administrators and representatives;
provided, however, that nothing contained in this Section 15 shall be deemed to permit Transfers
of the First Lien Loans or claims arising under the First Lien Loans other than in accordance
with the express terms of this Agreement. If any provision of this Agreement, or the application
of any such provision to any Person or circumstance, shall be held invalid or unenforceable in
whole or in part, such invalidity or unenforceability shall attach only to such provision or part
thereof and the remaining part of such provision hereof and this Agreement shall continue in full
force and effect so long as the economic or legal substance of the transactions contemplated
hereby is not affected in any manner materially adverse to any Party. Upon any such
determination of invalidity, the Parties shall negotiate in good faith to modify this Agreement so
as to effect the original intent of the Parties as closely as possible in a reasonably acceptable
manner in order that the transactions contemplated hereby are consummated as originally
contemplated to the greatest extent possible. The agreements, representations and obligations of
the Parties are, in all respects, ratable and several and neither joint nor joint and several.

                    16.       No Third-Party Beneficiaries.

               Unless expressly stated herein, this Agreement shall be solely for the benefit of
the Parties (and their respective successors, permitted assigns, heirs, executors, administrators
and representatives) and no other Person shall be a third-party beneficiary hereof.

                    17.       Prior Negotiations; Entire Agreement.

               This Agreement, including the exhibits and schedules hereto (including the Term
Sheet) constitutes the entire agreement of the Parties, and supersedes all other prior negotiations,
with respect to the subject matter hereof and thereof, except that the Parties acknowledge that
                                                     25
WEIL:\97023175\4\47019.0003
19-11811-dsj          Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57          Main Document
                                               Pg 246 of 565



any confidentiality agreements (if any) heretofore executed between the Company Parties and
each Consenting First Lien Lender shall continue in full force and effect.

                    18.       Counterparts.

               This Agreement may be executed in counterparts, each of which shall be deemed
to be an original, and all of which together shall be deemed to be one and the same agreement.
Execution copies of this Agreement may be delivered by electronic mail in portable document
format (pdf), which shall be deemed to be an original for the purposes of this paragraph.

                    19.       Notices.

                All notices hereunder shall be deemed given if in writing and delivered, if
contemporaneously sent by electronic mail, by overnight courier or by registered or certified
mail (return receipt requested) to the following addresses:

                    (1)       If to the Company Parties or Debtors, to:

                              Fusion Connect, Inc.
                              420 Lexington Avenue, Suite 1718
                              New York, NY 10170
                              Attn: James Prenetta, Jr., Executive Vice President and General Counsel
                              Email: jprenetta@fusionconnect.com
                              With a copy to (which shall not constitute notice):

                              Weil, Gotshal & Manges LLP
                              767 Fifth Avenue
                              New York, NY 10153
                              Attn: Gary T. Holtzer, Esq.
                              Email: gary.holtzer@weil.com
                              Attn: Sunny Singh, Esq.
                              Email: sunny.singh@weil.com
                              Attn: Gaby Smith, Esq.
                              Email: gaby.smith@weil.com


                    (2)       If to a Consenting First Lien Lender, or a transferee thereof, to the
                              addresses set forth below following the Consenting First Lien Lender’s
                              signature (or as directed by any transferee thereof), as the case may be,
                              with copies to:

                              Davis Polk & Wardwell LLP
                              450 Lexington Avenue
                              New York, NY 10017
                              Attn: Damian S. Schaible
                              Email: damian.schaible@davispolk.com
                              Attn: Adam L. Shpeen
                              Email: adam.shpeen@davispolk.com
                                                     26
WEIL:\97023175\4\47019.0003
19-11811-dsj          Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57         Main Document
                                               Pg 247 of 565




              Any notice given by delivery, mail or courier shall be effective when received.
Any notice given by electronic mail shall be effective upon transmission.

                    20.       Reservation of Rights; No Admission.

                  (a)     Nothing contained herein shall: limit (A) the ability of any Party to
          consult with other Parties or (B) the rights of any Party under any applicable bankruptcy,
          insolvency, foreclosure, or similar proceeding, including the right to appear as a party in
          interest in any matter to be adjudicated in order to be heard concerning any matter arising
          in the Chapter 11 Cases, in each case, so long as such consultation or appearance is
          consistent with such Party’s obligations hereunder, or under the terms of the Plan.

                  (b)     Except as expressly provided in this Agreement, nothing herein is
          intended to, or does, in any manner waive, limit, impair, or restrict the ability of each of
          the Parties to protect and preserve its rights, remedies, and interests, including its claims
          against any of the other Parties (or their respective affiliates or subsidiaries) or its full
          participation in any bankruptcy case filed by the Company or any of its affiliates and
          subsidiaries. This Agreement and the Term Sheet are part of a proposed settlement of
          matters that could otherwise be the subject of litigation among the Parties. Pursuant to
          Rule 408 of the Federal Rules of Evidence and any other applicable rules of evidence,
          and any other applicable law, foreign or domestic, this Agreement and all negotiations
          relating hereto shall not be admissible into evidence in any proceeding other than a
          proceeding to enforce its terms. This Agreement shall in no event be construed as or be
          deemed to be evidence of an admission or concession on the part of any Party of any
          claim or fault or liability or damages whatsoever. Each of the Parties denies any and all
          wrongdoing or liability of any kind and does not concede any infirmity in the claims or
          defenses which it has asserted or could assert.

                    21.       Relationship Among Consenting First Lien Lenders.

                It is understood and agreed that no Consenting First Lien Lender has any duty of
trust or confidence of any kind or form with any other Consenting First Lien Lender, and, except
as expressly provided in this Agreement, there are no commitments among or between them. No
prior history, pattern, or practice of sharing confidences among or between the Consenting First
Lien Lender shall in any way affect or negate this understanding and agreement.

                    22.       No Solicitation; Representation by Counsel; Adequate Information.

                  (a)     This Agreement is not and shall not be deemed to be a solicitation for
          votes in favor of the Plan in the Chapter 11 Cases by the Consenting First Lien Lenders
          or a solicitation to tender or exchange any of the First Lien Loans. The acceptances of
          the Consenting First Lien Lenders with respect to the Plan will not be solicited until such
          Consenting First Lien Lender has received the Disclosure Statement and related ballots
          and solicitation materials, each as approved or ratified by the Bankruptcy Court.


                                                    27
WEIL:\97023175\4\47019.0003
19-11811-dsj          Doc 456      Filed 10/07/19 Entered 10/07/19 15:38:57           Main Document
                                              Pg 248 of 565



                 (b)     Each Party acknowledges that it has had an opportunity to receive
          information from the Company Parties and that it has been, or is part of a group that has
          been, represented by counsel in connection with this Agreement and the transactions
          contemplated hereby. Accordingly, any rule of law or any legal decision that would
          provide any Party with a defense to the enforcement of the terms of this Agreement
          against such Party based upon lack of legal counsel shall have no application and is
          expressly waived.

                   (c)    Although none of the Parties intends that this Agreement should
          constitute, and they each believe it does not constitute, a solicitation or acceptance of a
          chapter 11 plan of reorganization or an offering of securities, each Consenting First Lien
          Lender acknowledges, agrees and represents to the other Parties that it (i) is an accredited
          investor (as such term is defined in Rule 501(a) of Regulation D promulgated under the
          Securities Act), (ii) understands that the securities to be acquired by it (if any) pursuant to
          the Restructuring have not been registered under the Securities Act and that such
          securities are, to the extent not acquired pursuant to section 1145 of the Bankruptcy
          Code, being offered and sold pursuant to an exemption from registration contained in the
          Securities Act, based in part upon such Consenting First Lien Lender’s representations
          contained in this Agreement and cannot be sold unless subsequently registered under the
          Securities Act or an exemption from registration is available, and (iii) has such
          knowledge and experience in financial and business matters that such Consenting First
          Lien Lender is capable of evaluating the merits and risks of the securities to be acquired
          by it (if any) pursuant to Restructuring and understands and is able to bear any economic
          risks with such investment.




                              [REMAINDER OF PAGE INTENTIONALLY LEFT BLANK]




                                                    28
WEIL:\97023175\4\47019.0003
19-11811-dsj   Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57   Main Document
                                    Pg 249 of 565
19-11811-dsj          Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57   Main Document
                                           Pg 250 of 565



                                            Exhibit C
                                       Financial Projections




WEIL:\97197633\1\47019.0003
19-11811-dsj       Doc 456        Filed 10/07/19 Entered 10/07/19 15:38:57                   Main Document
                                             Pg 251 of 565


                                      FINANCIAL PROJECTIONS 1

THE DEBTORS DO NOT, AS A MATTER OF COURSE, PUBLISH THEIR BUSINESS PLANS,
BUDGETS OR STRATEGIES OR MAKE EXTERNAL PROJECTIONS OR FORECASTS OF THEIR
ANTICIPATED FINANCIAL POSITIONS OR RESULTS OF OPERATIONS. ACCORDINGLY, THE
DEBTORS DO NOT ANTICIPATE THAT THEY WILL, AND DISCLAIM ANY OBLIGATION TO,
FURNISH UPDATED BUSINESS PLANS, BUDGETS OR PROJECTIONS TO STOCKHOLDERS
PRIOR TO THE EFFECTIVE DATE OR TO INCLUDE SUCH INFORMATION IN DOCUMENTS
REQUIRED TO BE FILED WITH THE SEC OR OTHERWISE MAKE SUCH INFORMATION
PUBLICLY AVAILABLE.

The Debtors prepared the financial projections set forth herein (the “Financial Projections”) based on,
among other things, the anticipated future financial condition and results of operations of the Debtors in the
Reorganization Transaction. The following forecast was not prepared with a view toward compliance with
published guidelines of the SEC or the American Institute of Certified Public Accountants regarding
forecasts. EisnerAmper LLP, the independent auditor of the Debtors, has not audited, reviewed, compiled
or otherwise applied procedures to the forecast and consequently, does not express an opinion or any other
form of assurance with respect to the forecast. The forecast data is not measured on a basis consistent with
generally accepted accounting principles (“GAAP”) as applied to the Debtors’ historical financial
statements and should not be relied upon as such.

THE FINANCIAL PROJECTIONS HEREIN HAVE BEEN PREPARED BY THE DEBTORS’
MANAGEMENT, IN CONJUNCTION WITH THE DEBTORS’ ADVISORS. THESE PROJECTIONS,
WHILE PRESENTED WITH NUMERICAL SPECIFICITY, ARE NECESSARILY BASED ON A
VARIETY OF ESTIMATES AND ASSUMPTIONS WHICH, THOUGH CONSIDERED
REASONABLE BY MANAGEMENT, MAY NOT BE REALIZED, AND ARE INHERENTLY
SUBJECT TO SIGNIFICANT BUSINESS, ECONOMIC AND COMPETITIVE UNCERTAINTIES AND
CONTINGENCIES, MANY OF WHICH ARE BEYOND THE DEBTORS’ CONTROL. THE DEBTORS
CAUTION THAT NO REPRESENTATIONS CAN BE MADE AS TO THE ACCURACY OF THESE
FINANCIAL PROJECTIONS OR TO THE REORGANIZED DEBTORS’ ABILITY TO ACHIEVE THE
PROJECTED RESULTS. SOME ASSUMPTIONS INEVITABLY WILL NOT MATERIALIZE.
FURTHER, EVENTS AND CIRCUMSTANCES OCCURRING SUBSEQUENT TO THE DATE ON
WHICH THESE PROJECTIONS WERE PREPARED MAY BE DIFFERENT FROM THOSE
ASSUMED OR, ALTERNATIVELY, MAY HAVE BEEN UNANTICIPATED, AND THUS THE
OCCURRENCE OF THESE EVENTS MAY AFFECT FINANCIAL RESULTS IN A MATERIAL AND
POSSIBLY ADVERSE MANNER. THE PROJECTIONS, THEREFORE, MAY NOT BE RELIED
UPON AS A GUARANTY OR OTHER ASSURANCE OF THE ACTUAL RESULTS THAT WILL
OCCUR.

Risks Associated with Forward-Looking Statements

The Financial Projections are, by their nature, forward-looking and are necessarily based on certain
assumptions and estimates. Should any or all of these assumptions or estimates ultimately prove to be
incorrect, the actual future results of the Reorganized Debtors may differ from those set forth from the
Financial Projections.




1
     Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
     Disclosure Statement (ECF No. 369) or the Plan (ECF No. 368), as applicable.
19-11811-dsj       Doc 456      Filed 10/07/19 Entered 10/07/19 15:38:57                  Main Document
                                           Pg 252 of 565


The Financial Projections reflect numerous assumptions concerning the anticipated future performance of
the Reorganized Debtors, some of which may not materialize, including, without limitation, assumptions
concerning: (a) the timing of confirmation and consummation of the Plan in accordance with its terms;
(b) the anticipated future performance of the Reorganized Debtors, including, without limitation, the
Debtors’ ability to maintain or increase revenue and gross margins, control future operating expenses or
make necessary capital expenditures; (c) general business and economic conditions; (d) overall industry
performance and trends; and (e) the Debtors’ ability to maintain market strength and receive vendor support.

                                      GENERAL ASSUMPTIONS

A.      Emergence Date

The Financial Projections were finalized as of September 11, 2019 and assume that the Effective Date of
the Plan will occur on December 31, 2019.

B.      Methodology

The Financial Projections are presented on a consolidated basis, including estimates of operating results for
the Debtor entities. The Financial Projections were prepared by Debtors’ management, in conjunction with
the Debtors’ advisors. During the forecasting process, the Debtors reviewed current business performance
and established reasonable assumptions relating to industry trends and demand and pricing of the Debtors’
products and services, while also considering direct and indirect costs associated with the Debtors’ business.

C.      Net Revenue

The Debtors’ revenue forecast is primarily based upon assumptions for bookings, monthly recurring
revenue, usage revenue, and other revenue. Monthly recurring revenue comprises most of the total revenue.

Monthly Recurring Revenue. Monthly Recurring Revenue (“MRR”) represents revenue received by the
Debtors from business and their customers. Customers pay a fixed monthly charge for a specific set of
telecommunication services and most customers hold multi-year or annual contracts with the Debtors.
Customers pay a defined amount to the Debtors every calendar month.

Usage Revenue. Usage Revenue represents amounts paid to the Debtors by customers in exchange for
exceeding the quantity of prepaid voice minutes or internet bandwidth contained as part of the MRR charge.
Usage revenue is variable based on the quantity of voice minutes or internet bandwidth that a customer
uses. The per unit rate paid is contained within the customer contract.

Other Revenue. Other Revenue represents non-recurring installation revenue, pass-through regulatory
taxes, and other miscellaneous revenue.

D.      Cost of Revenue Expense

Cost of Revenue Expense represents the Debtors’ directs costs of providing telecommunications services
to their customers. These costs include the costs of operating the Debtor-owned portion of its
telecommunications network as well as circuit costs and third-party services costs with other
telecommunications carriers.




                                                      2
19-11811-dsj      Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57                Main Document
                                           Pg 253 of 565


E.      Operating Expenses

Operating Expenses include costs associated with sales and marketing, compensation and other expense for
executive, operations, service delivery, engineering, finance, product development, human resources and
administrative personnel, professional fees and other general corporate costs. 2019 operating expenses
reflect cost savings and rationalization actions undertaken by the Debtors beginning Q2 2019. Operating
expenses reflect an annual inflation adjustment where appropriate.

F.      Depreciation and Amortization (“D&A”)

D&A reflects the anticipated depreciation and amortization of the Debtors’ net property, plant & equipment,
and intangible assets based on book values. D&A reflects the Debtors’ estimated adjustment to the carrying
values of intangible assets and goodwill based on limited information available to them.

G.      Interest Expense

The forecast period reflects interest expense associated with the reorganized capital structure. The
reorganized capital structure includes the New Exit Facility with a principal balance of $100.0 million at
7.75% annual interest paid quarterly and the New First Lien Credit Agreement with a principal balance of
$225.0 million at 10.00% annual interest paid quarterly, but with an annual maximum of $13.75 million of
interest paid in cash and the remaining amount paid in kind interest.

H.      Restructuring Expenditures

Restructuring Expenditures reflect estimated one-time costs and transaction fees related to the
Reorganization Transaction. No adjustment has been made to reflect potential “fresh start” reporting as
required by Topic 852, Reorganizations, of the Financial Accounting Standards Board Accounting
Standards Codification.

I.      Income Taxes

The projections assume that $29.4 million of Net Operating Losses offset taxable income during the forecast
period and that the Debtors pay taxes on earned income at a rate of 26%. Income tax payments of $10.9
million are incurred and $5.1 million are paid in cash during the forecast period due to the payment of
income taxes following the year in which they are incurred.

J.      Impairment Charge to Goodwill and Intangible Assets

The Debtors have estimated a potential adjustment to the carrying values of intangible assets and goodwill
based on limited information. The Debtors’ 2018 audit is not complete as of the time that the Financial
Projections were prepared and the annual asset impairment analysis has not yet been undertaken. Asset
values will be further readjusted based upon the application of “fresh start” reporting as required by Topic
852, Reorganizations, of the Financial Accounting Standards Board Accounting Standards Codification as
a result of the occurrence of the Effective Date. The actual impairment adjustments could differ materially
from the estimates shown herein. The adjustments resulting from “fresh start” reporting may increase or
decrease these carrying values materially.




                                                     3
19-11811-dsj      Doc 456      Filed 10/07/19 Entered 10/07/19 15:38:57               Main Document
                                          Pg 254 of 565


K.      Capital Expenditures

Capital Expenditures primarily relate to maintenance-oriented capital necessary to maintain the operating
capability of the Debtors’ existing assets in the ordinary course and success-based capital required to
provision and install new customer services.




                                                   4
                                 19-11811-dsj    Doc 456            Filed 10/07/19 Entered 10/07/19 15:38:57                     Main Document
                                                                               Pg 255 of 565


CONSOLIDATED BALANCE SHEET
($ in millions)

                                                                                                      As of December 31,
Unaudited                                       Pre‐Reorganization Debtor                                                      Pro‐Forma Reorganized Debtor
                                                                                                                                 (Unaudited, Pro‐Forma for
                                                                                                                                   Estimated Anticipated
                                                      (Unaudited)                                                                      Adjustments)
                                                        2019E                 Adjustments                   2019E                         2020P               2021P
ASSETS
Current assets:
 Cash and Cash Equivalents                                           $ 5.0                  $ 20.0                    $ 25.0                        $ 67.0            $ 99.5
 Accounts Receivable                                                 50.7                       ‐                       50.7                          47.0              44.5
 Other Current Assets                                                22.1                       ‐                       22.1                          22.1              22.0
Total Current Assets                                                 77.9                     20.0                      97.9                        136.1             166.0

Long‐term assets:
Net PP&E                                                             115.5                   (26.1)                    89.4                          73.3              63.2
Other non‐Current Assets                                             405.3                      ‐                     405.3                         378.0             353.6
TOTAL ASSETS                                                         598.7                    (6.1)                   592.5                         587.4             582.8

LIABILITIES & EQUITY
Current liabilities:
  Accounts payable and accrued liabilities                           173.5                   (79.6)                    94.0                          17.4              16.4
  Other Current Liabilities                                            9.4                      ‐                       9.4                           9.4               9.4
  Total Current Liabilities                                          182.9                   (79.6)                   103.3                          26.8              25.7

 Short Term/Long Term Debt                                           736.0                  (411.0)                   325.0                         324.5             324.9
 Other non‐current liabilities                                        30.0                   (26.1)                     3.9                           3.9               3.9
 TOTAL LIABILITIES                                                   948.9                  (516.7)                   432.2                         355.1             354.5

 Shareholders' Equity                                               (350.3)                 510.6                     160.3                         232.3             228.3

TOTAL LIABILITIES & EQUITY                                           598.7                    (6.1)                   592.5                         587.4             582.8

Memo: Net Debt                                                                                                        300.0                         257.5             225.4
                         19-11811-dsj   Doc 456        Filed 10/07/19 Entered 10/07/19 15:38:57   Main Document
                                                                  Pg 256 of 565


CONSOLIDATED INCOME STATEMENT
($ in millions)



Unaudited                                  Fiscal Year Ending December 31,
                                        2019E             2020P           2021P
Revenue                                   $ 526.7           $ 476.1          $ 432.9
Cost of Revenue                             281.5             246.2            218.9
 Gross Profit                               245.2             229.9            213.9

SG&A Expense                                143.8             130.4           117.4
Depreciation and Amortization                47.1              71.0            63.7
Other non‐Current Assets                       ‐                 ‐               ‐
 Total Operating Expenses                   190.9             201.4           181.1

Operating Income                                54.2              28.5            32.8

Net Interest Income (Expense)                     ‐           (30.8)           (30.9)
Other Expense/Income                              ‐              ‐                ‐
Taxes                                             ‐            (5.1)            (5.8)

 Net Income (Loss)                              54.2              (7.4)           (3.9)

Memo: EBITDA                                101.4                 99.5            96.5
                         19-11811-dsj    Doc 456          Filed 10/07/19 Entered 10/07/19 15:38:57   Main Document
                                                                     Pg 257 of 565


CONSOLIDATED CASH FLOW STATEMENT
($ in millions)



Unaudited                               Fiscal Year Ending December 31,
                                           2020P               2021P
Operating Activites
Net Income                                      $ (7.4)            $ (3.9)
Depreciation and Amortization                    71.0               63.7
Changes in Working Capital                         1.4               (4.3)
Other                                            14.6               16.3
 Operating Cash Flow                             79.6               71.7

Investing Activities
Capital Expenditures                               (27.6)              (29.3)
Investments                                           ‐                   ‐
Sale of Assets                                        ‐                   ‐
  Investing Cash Flow                              (27.6)              (29.3)

Financing Activities
Payments on Long Term Debt                         (10.0)              (10.0)
Other Expense/Income                                  ‐                   ‐
  Financing Cash Flow                              (10.0)              (10.0)

Net Change in Cash                                 42.0                32.4
19-11811-dsj          Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57   Main Document
                                           Pg 258 of 565




                                            Exhibit D
                                       Liquidation Analysis




WEIL:\97197633\1\47019.0003
19-11811-dsj          Doc 456      Filed 10/07/19 Entered 10/07/19 15:38:57                   Main Document
                                              Pg 259 of 565

                                        LIQUIDATION ANALYSIS1


      NOTHING CONTAINED IN THE FOLLOWING LIQUIDATION ANALYSIS IS INTENDED
      TO BE OR CONSTITUTES A CONCESSION OR ADMISSION OF THE DEBTORS. THE
      ESTIMATED AMOUNT OF ALLOWED CLAIMS SET FORTH HEREIN SHOULD NOT BE
      RELIED UPON FOR ANY OTHER PURPOSE, INCLUDING ANY DETERMINATION OF
      THE VALUE OF ANY DISTRIBUTION TO BE MADE ON ACCOUNT OF ALLOWED
      CLAIMS UNDER THE PLAN. THE ACTUAL AMOUNT OF ALLOWED CLAIMS IN
      THESE CHAPTER 11 CASES COULD DIFFER MATERIALLY FROM THE ESTIMATED
      AMOUNTS SET FORTH IN THE LIQUIDATION ANALYSIS.




A. Introduction

A chapter 11 plan cannot be confirmed unless a bankruptcy court determines that the plan is in the
“best interests” of all holders of claims and interests that are impaired by the plan and that have
not accepted the plan. The “best interests” test, as set forth in section 1129(a)(7) of the Bankruptcy
Code, requires that a bankruptcy court find either that: (i) all members of an impaired class of
claims or interests have accepted the plan or (ii) the plan will provide a member of an impaired
class of claims or interests who has not accepted the plan with a recovery of property of a value,
as of the effective date of the plan, that is not less than the amount that such holder would recover
if the debtor were liquidated under chapter 7 of the Bankruptcy Code on such date, prior to
confirming the plan. To determine the Debtors’ compliance with section 1129(a)(7), the
Bankruptcy Court must evaluate the Debtors’ estimate of: (a) the cash proceeds that a chapter 7
trustee would generate if each Debtor’s chapter 11 case were converted to a chapter 7 case on the
Effective Date and the assets of such Debtor’s estate were liquidated; (b) the distribution that each
non-accepting Holder of a Claim or Interest would receive from the net estimated liquidation
proceeds under the priority scheme set forth in chapter 7; and (c) comparison of each Holder’s
estimated recovery under liquidation to the distribution under the Plan that such Holder would
receive if the Plan were confirmed and consummated.


Based on the following hypothetical liquidation analysis set forth herein (the “Liquidation
Analysis”), the Debtors believe that the Plan satisfies the best interests test and that each Holder
of an Impaired Claim or Interest will receive value under the Plan on the Effective Date that is not
less than the value such Holder would receive if the Debtors liquidated under chapter 7 of the
Bankruptcy Code. The Debtors believe that this Liquidation Analysis and the conclusions set forth
herein are fair and represent management’s best judgment regarding the results of a hypothetical
liquidation of the Debtors under chapter 7 of the Bankruptcy Code, taking into account various
factors, including the negative impact on values arising from a liquidation of the Debtors’ assets
under current market conditions. This Liquidation Analysis was prepared for the sole purpose of
assisting the Bankruptcy Court and Holders of Impaired Claims or Interests in making this
determination, and should not be used for any other purpose. Nothing contained in this Liquidation
Analysis is intended as or constitutes a concession or admission for any purpose other than the
presentation of a hypothetical liquidation for purposes of the best interests test. Accordingly, asset
values discussed herein may be different than amounts referred to in the Plan. This Liquidation
Analysis is based upon certain assumptions discussed herein and in the Disclosure Statement.




1
      Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
      Disclosure Statement (ECF No.369) or the Plan (ECF No. 368), as applicable.

WEIL:\97121458\1\47019.0005
19-11811-dsj          Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57           Main Document
                                           Pg 260 of 565

This Liquidation Analysis was prepared by FTI Consulting, Inc. (“FTI”) in connection with FTI’s
representation of the Debtors in these chapter 11 cases. This Liquidation Analysis assumes that
the Debtors’ liquidation would commence on or about November 6, 2019 (the “Conversion
Date”) under the direction of a chapter 7 trustee, during which time the Debtors’ assets would be
administered and the cash proceeds (net of liquidation-related costs), together with cash on hand,
would then be distributed to creditors in accordance with the priority scheme established under the
Bankruptcy Code. It is assumed that the Debtors would (i) immediately cease all operations
following the Conversion Date; (ii) lose access to cash collateral and the financing provided under
the DIP Facility; (iii) lose access to critical employees as a result of immediate departures,
including employees involved in accounting, treasury, IT support, and management; and (iv) not
receive relief from the regulations of the Federal Communications Commission or state regulators
that provide for restrictions on and notice requirements for the transfer of customer accounts and
services to other providers. All other operations, management, and corporate functions are
assumed to immediately cease in order to minimize costs associated with the chapter 7 liquidation.
The Debtors would expect the chapter 7 trustee to retain professionals to assist in the liquidation
of the Debtors’ estates.

For purposes of this Liquidation Analysis, FTI has attempted to ascribe value to the assets based
on general classes by estimating the percentage recoveries that a chapter 7 trustee might achieve
under these conditions. Where applicable, asset recoveries below are shown net of the costs to
achieve those recoveries.


B. Statements of Limitation

The preparation of a liquidation analysis is an uncertain process involving the use of estimates and
assumptions that, although considered reasonable by the Debtors based upon their business
judgment and input from their advisors, are inherently subject to significant business, economic,
and competitive risks, uncertainties and contingencies, most of which are difficult to predict and
many of which are beyond the control of the Debtors, their management, and their advisors.
Inevitably, some assumptions in the Liquidation Analysis would not materialize in an actual
chapter 7 liquidation and unanticipated events and circumstances could materially affect the
ultimate results in an actual chapter 7 liquidation. The Liquidation Analysis was prepared for the
sole purpose of generating a reasonable good faith estimate of the proceeds that would be generated
if the Debtors’ assets were liquidated in accordance with chapter 7 of the Bankruptcy Code; it is
not intended, and should not be used, for any other purpose. The underlying financial information
in the Liquidation Analysis, and the values stated herein, have not been subject to review,
compilation, or audit by any independent accounting firm. In addition, various liquidation
decisions, upon which certain of the assumptions are based, are subject to change. As a result, the
actual amount of the Claims against the Debtors’ Estates could vary significantly from the
estimates stated herein, depending on the nature and amount of Claims asserted during the
pendency of the chapter 7 cases. Similarly, the value of the Debtors’ assets in a liquidation
scenario is uncertain and could vary significantly from the values set forth in the Liquidation
Analysis.

As further detailed below, in preparing the Liquidation Analysis, the Debtors estimated Allowed
Claims based on the Debtors’ financial statements. The Debtors have not estimated, and the
Liquidation Analysis does not take into account: (i) the tax consequences that may result from the
liquidation and sale of the Debtors’ assets; (ii) recoveries resulting from any potential preference,
fraudulent transfer, or other litigation or avoidance actions; or (iii) certain of the Claims that may

                                                  2
WEIL:\97121458\1\47019.0005
19-11811-dsj          Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                           Pg 261 of 565

be entitled to priority under the Bankruptcy Code, including certain administrative priority Claims
under sections 503(b) and 507(b) of the Bankruptcy Code.

In addition, the Liquidation Analysis includes estimates for Claims not currently asserted in these
Chapter 11 Cases, but which could be asserted and allowed in a chapter 7 liquidation, including
chapter 7 administrative claims such as wind down costs and chapter 7 trustee fees. To date, the
Bankruptcy Court has not estimated or otherwise fixed the total amount of Allowed Claims used
for purposes of preparing the Liquidation Analysis. Therefore, the Debtors’ estimate of Allowed
Claims set forth in the Liquidation Analysis should not be relied on for any other purpose,
including determining the value of any distribution to be made on account of Allowed Claims and
Interests under the Plan.

THE DEBTORS BELIEVE THAT ANY ANALYSIS OF A HYPOTHETICAL
LIQUIDATION IS NECESSARILY SPECULATIVE. THERE ARE A NUMBER OF
ESTIMATES AND ASSUMPTIONS UNDERLYING THE LIQUIDATION ANALYSIS
THAT ARE INHERENTLY SUBJECT TO SIGNIFICANT UNCERTAINTIES AND
CONTINGENCIES BEYOND THE CONTROL OF THE DEBTORS OR A CHAPTER 7
TRUSTEE. NEITHER THE LIQUIDATION ANALYSIS NOR THE FINANCIAL
INFORMATION ON WHICH IT IS BASED HAS BEEN EXAMINED OR REVIEWED BY
INDEPENDENT ACCOUNTANTS IN ACCORDANCE WITH STANDARDS
PROMULGATED BY THE AMERICAN INSTITUTE OF CERTIFIED PUBLIC
ACCOUNTANTS. THERE CAN BE NO ASSURANCE THAT ACTUAL RESULTS WILL
NOT VARY MATERIALLY FROM THE HYPOTHETICAL RESULTS PRESENTED IN
THE LIQUIDATION ANALYSIS.


C. Summary Notes to Liquidation Analysis

     1. Dependence on Assumptions. The Liquidation Analysis is based on a number of estimates
        and assumptions that are inherently subject to significant economic, business, regulatory
        and competitive uncertainties and contingencies beyond the control of the Debtors.
        Accordingly, there can be no assurance that the values reflected in the Liquidation Analysis
        would be realized if the Debtors were, in fact, to undergo such liquidation and actual results
        could vary materially and adversely from those contained herein.
     2. Additional Claims in a Liquidation. The liquidation itself may trigger certain obligations
        and priority payments that otherwise would not be due in the ordinary course of business
        or would otherwise not exist under a chapter 11 plan. These priority payments must be
        paid in full before any distribution of proceeds to Holders of General Unsecured Claims or
        Parent Equity Interests. The liquidation would likely prompt certain other events to occur,
        including the immediate rejection of executory contracts and unexpired leases, defaults
        under agreements with vendors and customers, the exercise of set-off rights by creditors,
        and acceleration of severance obligations. Such events, if triggered, would subject the
        chapter 7 estates to additional claims.

     3. Litigation Claims. The Liquidation Analysis does not attribute any value to potential
        litigation claims that may belong to the Debtors’ estates, including any claims to recover
        potentially avoidable preferential and/or fraudulent transfers.

     4. Chapter 7 Liquidation Costs. It is assumed that a period of six to nine months would be
        required to complete the liquidation of the Debtors’ estates. The fees and operating
        expenses incurred during the chapter 7 process are included in the estimate of Chapter 7
        Administrative Claims and Trustee Expenses. In addition, there are liquidation costs
        associated with most of the Debtors’ assets. Costs of liquidation are displayed as a
                                               3
WEIL:\97121458\1\47019.0005
 19-11811-dsj          Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57           Main Document
                                            Pg 262 of 565

           reduction to gross liquidation proceeds.

      5. Claim Estimates. Claims are estimated at the Conversion Date based on management’s
         current projections. In instances where claims could not be projected, liabilities as of July
         31, 2019 were used.


D. Detailed Assumptions. Asset recovery estimates presented in the Liquidation Analysis are
   based on the Debtors’ unaudited balance sheets as of July 31, 2019.

      1. [a] Cash and Cash Equivalents. The Debtors estimate 100% realization on Cash and Cash
         Equivalents as of July 31, 2019.

      2. [b] Accounts Receivable. The Debtors estimate an overall 10% to 20% realization rate on
         accounts receivable, which is based on collecting 15% to 30% of accounts receivable
         balances less than sixty (60) days past their due dates.

      3. [c] Prepaid Expenses. Prepaid expenses include a variety of asset balances, the major part
         of which are assumed not to have any realizable value. The Debtors estimate an overall
         0% to 1.3% realization rate on prepaid expenses, which is based on realizing 0% to 50%
         of the carrying value of prepaid insurance.

      4. [d] Inventory. The Debtors estimate an overall realization rate of 10% to 20% on inventory,
         which consists of finished goods such as network components, customer premises
         equipment, and ancillary network supplies.

      5. [e] PP&E (Net). Property, plant, and equipment includes a variety of asset types, some of
         which are assumed not to have any realizable value. Leased assets and assets securing
         financings (excluding assets that secure the loans under the Prepetition First Lien Credit
         Agreement and the Prepetition Second Lien Credit Agreement) are assumed to have been
         immediately returned to the lessors or secured parties upon the Conversion Date. The
         Debtors estimate an overall 2% to 4% realization on total net book value as of July 31,
         2019, which is based on realizing 20% to 30% of the gross book value of vehicles and 10%
         to 20% of the net book value of network hardware.

      6. [f] Land & Buildings (Net). Fusion Management Services, LLC owns a parcel of land and
         an office building in Emporia, Kansas. The Debtors estimate realizing 57% to 76%, after
         commissions, of the value set forth in a third-party appraisal report dated March 23, 2018.

      7. [g] Intangibles (Net). Intangible assets include a variety of asset types, the major part of
         which are assumed not to have any realizable value. The Debtors estimate an overall 6%
         to 13% realization rate on total net book value as of July 31, 2019, which is based on
         realizing proceeds from sale of Internet Protocol v4 addresses held by certain Debtors at
         an estimated range of market values.

      8. [h] Global Intercompany Note (Secured). Fusion Connect, Inc. is owed $2.0 million from
         Primus Management ULC on account of the Global Intercompany Note that is secured by
         the assets of Primus Management ULC, the Debtors’ principal Canadian non-debtor
         subsidiary. The Debtors estimate 100% realization on this note receivable.

      9. [i] Intercompany Note (Unsecured). Certain Debtors are owed $29.8 million in aggregate
         from Primus Management ULC on account of an unsecured intercompany note. The
         estimated realization rate on this note receivable is 0% to 35%.

      10. [j] Asset Sale Commissions. The Debtors estimate a 10% commission cost on the proceeds
          realized from sale of inventory and net property, plant, and equipment.
                                                   4
 WEIL:\97121458\1\47019.0005
19-11811-dsj          Doc 456    Filed 10/07/19 Entered 10/07/19 15:38:57           Main Document
                                            Pg 263 of 565


     11. [k] Chapter 7 Administrative Claims and Expenses. These claims represent the estimated
         chapter 7 operating and administrative expenses, costs of the chapter 7 trustee’s
         professionals, and other associated costs.

               a. Operating Expenses. Operating expenses incurred following the Conversion Date
                  consist primarily of liquidation expenses, including payroll, office and
                  administration costs.

               b. Chapter 7 Trustee Professional Fees. Legal and financial professionals assisting
                  the chapter 7 trustee are estimated to cost $200,000 to $300,000 for the entirety of
                  the liquidation period.

               c. Chapter 7 Trustee Fees. The Liquidation Analysis assumes that the chapter 7
                  trustee would be compensated in accordance with the guidelines of section 326 of
                  the Bankruptcy Code.

     12. [l] Accrued & Unpaid Estate Professional Fees. As provided in the DIP Credit
         Agreement, an amount equal to the aggregate of (i) all unpaid U.S. Trustee fees; (ii)
         professional fees incurred through the Conversion Date by advisors to the Debtors and
         Unsecured Creditors’ Committee; and (iii) a further amount of up to $2.5 million of post-
         Conversion Date professional fees incurred by advisors to the Debtors and Unsecured
         Creditors’ Committee otherwise allocable to the First Lien Lenders and Second Lien
         lenders is carved out for chapter 7 administrative claims and chapter 7 trustee expenses.

     13. [m] Collection Costs. It is assumed that a chapter 7 trustee would retain or hire personnel
         to conduct a collection effort for outstanding accounts receivable. The Debtors estimate
         that the costs associated with collecting accounts receivable, including salaries for the
         collections team, office rent, subscription costs for billing systems, and professional fees
         would range from $1.2 million to $1.6 million. The chapter 7 trustee is assumed to be
         reimbursed for such costs from the proceeds of collection of accounts receivable otherwise
         allocable to the First Lien Lenders and Second Lien lenders.


 F. Conclusion

 Based on the assumptions outlined herein, the Debtors project they would realize $84.6 million
 to $111.3 million in net liquidation proceeds from their encumbered assets in a chapter 7
 liquidation, representing 13% to 17% of aggregate net book value. After estimated asset sale
 commissions, chapter 7 administrative claims and operating expenses, the carve-out for accrued
 and unpaid estate professional fees, costs for collection of receivables, and repayment of the loans
 under the DIP Credit Agreement, recovery to holders of First Lien Claims is estimated to range
 from $10.8 million to $36.4 million, or a recovery rate of 2% to 6%.
 Holders of Second Lien Claims are not projected to realize any recoveries in a chapter 7
 liquidation from the encumbered assets. Holders of General Unsecured Claims, including the
 Term Loan Deficiency Claim and the Second Lien Deficiency Claim, against the estates of all
 Debtors are not expected to realize any recoveries in a chapter 7 liquidation. Holders of Parent
 Equity Interests and Subordinated Securities Claims are not expected to realize any recoveries in
 a chapter 7 liquidation.




                                                    5
WEIL:\97121458\1\47019.0005
Attorney Work Product - Priviliged and Confidential   19-11811-dsj         Doc 456           Filed 10/07/19 Entered 10/07/19 15:38:57 Main Document                           For Discussion Purposes Only

   Liquidation Analysis                                                                                 Pg 264 of 565
                                                                                         Fusion Connect, Inc.          Fusion BCHI Acquisition LLC Fusion NBS Acquisition Corp.
   $USD 000's                                                      Note     Low % High % Book Value      Low $                   High $        Low % High %     Book Value        Low $       High $       Low % High %     Book Value        Low $          High $
   Proceeds From Sale of Assets
       Cash and equivalents                                         [a]      100%    100%    $          18   $          18   $            18      n/a     n/a   $     -       $       -   $       -           n/a     n/a   $      -      $       -      $       -
       Accounts receivable                                          [b]        n/a     n/a          -               -                 -           n/a     n/a         -               -           -           n/a     n/a          -              -              -
       Prepaid expenses                                             [c]        0%      1%               21          -                      0      0%      1%              0           -                0      n/a     n/a          -              -              -
       Inventory                                                    [d]       10%     20%               55               6                11      n/a     n/a         -               -           -           n/a     n/a          -              -              -
       PP&E, net                                                    [e]        2%      4%               11               0                 0      n/a     n/a         -               -           -           n/a     n/a          -              -              -
       Land & buildings, net                                        [f]        n/a     n/a          -               -                -            n/a     n/a         -               -           -           n/a     n/a          -              -              -
       Intangible assets, net                                       [g]        n/a     n/a          -               -                -            n/a     n/a         -               -           -           n/a     n/a          -              -              -
       Intercompany – Secured                                       [h]      100%    100%         2,000           2,000            2,000          n/a     n/a         -               -           -           n/a     n/a          -              -              -
       Intercompany – Unsecured                                     [i]        0%     35%             21            -                  7          n/a     n/a         -               -           -           n/a     n/a          -              -              -
     Total proceeds from liquidation of assets                                                                    2,024             2,037                                             -                0                                          -              -
      Less: Asset sale commissions                                   [j]                                              (1)               (1)                                           -           -                                               -              -
      Less: Chapter 7 administrative claims and trustee expenses    [k]                                          (2,389)           (2,641)
      Less: Carve-out for accrued & unpaid professional fees         [l]                                         (8,360)           (8,360)                                            -           -                                               -              -
      Less: Collection costs                                        [m]                                             -                 -                                               -           -                                               -              -
     Proceeds available for distribution to secured lenders                                                  $      -        $        -                                       $       -   $            0                                  $       -      $       -

     Proceeds available for distribution to unsecured creditors                                              $      -        $        -                                       $       -   $       -                                       $       -      $       -

   Liquidation Analysis                                                                Fusion Cloud Services, LLC                                     Fusion MPHC Holding Corporation                                          Fusion LLC
   $USD 000's                                                      Note     Low % High % Book Value        Low $                 High $        Low % High % Book Value     Low $      High $               Low % High %     Book Value    Low $              High $
   Proceeds From Sale of Assets                                    #REF!
       Cash and equivalents                                         [a]      100%    100%    $   57,412      $   57,412      $    57,412          n/a     n/a   $     -       $       -   $       -         100%    100%    $    7,412    $     7,412    $     7,412
       Accounts receivable                                          [b]        7%     15%         9,643             717            1,434          n/a     n/a         -               -           -           9%     17%         9,954            857          1,715
       Prepaid expenses                                             [c]        0%      1%         7,060             -                  89         n/a     n/a         -               -           -           0%      1%         3,285            -                41
       Inventory                                                    [d]       10%     20%         1,419             142              284          n/a     n/a         -               -           -          10%     20%         1,150            115            230
       PP&E, net                                                    [e]        2%      4%        29,295             588            1,175          n/a     n/a         -               -           -           2%      4%        15,236            306            611
       Land & buildings, net                                        [f]        n/a     n/a          -               -                -            n/a     n/a         -               -           -           n/a     n/a          -              -              -
       Intangible assets, net                                       [g]        1%      3%        19,387             251              502          n/a     n/a         -               -           -           2%      3%        84,642          1,331          2,662
       Intercompany – Secured                                       [h]        n/a     n/a          -               -                -            n/a     n/a         -               -           -           n/a     n/a          -              -              -
       Intercompany – Unsecured                                      [i]       0%     35%        29,731             -             10,406          n/a     n/a         -               -           -           0%     35%             20           -                 7
     Total proceeds from liquidation of assets                                                                   59,110           71,302                                              -           -                                            10,022         12,679
      Less: Asset sale commissions                                   [j]                                            (98)            (196)                                             -           -                                              (175)          (350)
      Less: Chapter 7 administrative claims and trustee expenses    [k]                                             -                -                                                -           -                                               -              -
      Less: Carve-out for accrued & unpaid professional fees         [l]                                            -                -                                                -           -                                               -              -
      Less: Collection costs                                        [m]                                            (410)            (321)                                             -           -                                              (423)          (332)
     Proceeds available for distribution to secured lenders                                                  $   58,603      $    70,784                                      $       -   $       -                                       $     9,424    $    11,997

     Proceeds available for distribution to unsecured creditors                                              $      -        $        -                                       $       -   $       -                                       $       -      $       -




Draft Subject to Change                                                                                            LIQUIDATION SUMMARY                                                                                                                                  9/25/2019
Attorney Work Product - Priviliged and Confidential   19-11811-dsj         Doc 456           Filed 10/07/19 Entered 10/07/19 15:38:57 Main Document                                                                                             For Discussion Purposes Only

   Liquidation Analysis                                                                                 Pg 265 of 565
                                                                                       Fusion MPHC Group, Inc.          Fusion Cloud Company LLC    Fusion CB Holdings, Inc.
   $USD 000's                                                      Note     Low % High % Book Value    Low $                 High $     Low % High %      Book Value       Low $          High $     Low % High %     Book Value       Low $             High $
   Proceeds From Sale of Assets                                    #REF!
       Cash and equivalents                                         [a]        n/a     n/a    $      -     $      -      $       -       100%    100%     $      847   $      847     $       847       n/a     n/a   $     -      $       -         $       -
       Accounts receivable                                          [b]        n/a     n/a           -            -              -        13%     27%          5,129          684           1,368       n/a     n/a         -              -                 -
       Prepaid expenses                                             [c]        n/a     n/a           -            -              -         0%      1%          1,206          -                 15      n/a     n/a         -              -                 -
       Inventory                                                    [d]        n/a     n/a           -            -              -        10%     20%            291            29              58      n/a     n/a         -              -                 -
       PP&E, net                                                    [e]        n/a     n/a           -            -              -         2%      4%          9,679          194             388       n/a     n/a         -              -                 -
       Land & buildings, net                                        [f]        n/a     n/a           -            -              -         n/a     n/a           -            -               -         n/a     n/a         -              -                 -
       Intangible assets, net                                       [g]        n/a     n/a           -            -              -         0%      0%         31,433          -               -         n/a     n/a         -              -                 -
       Intercompany – Secured                                       [h]        n/a     n/a           -            -              -         n/a     n/a           -            -               -         n/a     n/a         -              -                 -
       Intercompany – Unsecured                                      [i]       n/a     n/a           -            -              -         n/a     n/a           -            -               -         n/a     n/a         -              -                 -
     Total proceeds from liquidation of assets                                                                    -              -                                           1,754          2,676                                          -                 -
      Less: Asset sale commissions                                   [j]                                          -              -                                             (22)           (45)                                         -                 -
      Less: Chapter 7 administrative claims and trustee expenses    [k]                                           -              -                                             -              -                                            -                 -
      Less: Carve-out for accrued & unpaid professional fees         [l]                                          -              -                                             -              -                                            -                 -
      Less: Collection costs                                        [m]                                           -              -                                            (218)          (171)                                         -                 -
     Proceeds available for distribution to secured lenders                                                $      -      $       -                                     $     1,514    $     2,461                                  $       -         $       -

     Proceeds available for distribution to unsecured creditors                                            $      -      $       -                                     $       -      $       -                                    $       -         $       -

   Liquidation Analysis                                                                      Fusion Telecom, LLC                                   Fusion Texas Holdings, Inc.                                Fusion Telecom of Kansas, LLC
   $USD 000's                                                      Note     Low % High %      Book Value      Low $          High $     Low % High % Book Value       Low $               High $     Low % High % Book Value       Low $                 High $
   Proceeds From Sale of Assets
       Cash and equivalents                                         [a]        n/a     n/a    $      -     $      -      $       -         n/a      n/a   $      -     $       -      $       -         n/a     n/a   $     -      $       -         $       -
       Accounts receivable                                          [b]        n/a     n/a           -            -              -         n/a      n/a          -             -              -         5%     10%          179                9                 17
       Prepaid expenses                                             [c]        n/a     n/a           -            -              -         n/a      n/a          -             -              -         0%      1%            1            -                      0
       Inventory                                                    [d]        n/a     n/a           -            -              -         n/a      n/a          -             -              -         n/a     n/a         -              -                 -
       PP&E, net                                                    [e]        n/a     n/a           -            -              -         n/a      n/a          -             -              -         n/a     n/a         -              -                 -
       Land & buildings, net                                        [f]        n/a     n/a           -            -              -         n/a      n/a          -             -              -         n/a     n/a         -              -                 -
       Intangible assets, net                                       [g]       50%    100%          4,019        2,010          4,019       n/a      n/a          -             -              -         n/a     n/a         -              -                 -
       Intercompany – Secured                                       [h]        n/a     n/a           -            -              -         n/a      n/a          -             -              -         n/a     n/a         -              -                 -
       Intercompany – Unsecured                                     [i]        n/a     n/a           -            -              -         n/a      n/a          -             -              -         n/a     n/a         -              -                 -
     Total proceeds from liquidation of assets                                                                  2,010          4,019                                           -              -                                                9                 17
      Less: Asset sale commissions                                   [j]                                         (201)          (402)                                          -              -                                            -                 -
      Less: Chapter 7 administrative claims and trustee expenses    [k]                                           -              -                                             -              -                                            -                 -
      Less: Carve-out for accrued & unpaid professional fees         [l]                                          -              -                                             -              -                                            -                 -
      Less: Collection costs                                        [m]                                           -              -                                             -              -                                                (8)               (6)
     Proceeds available for distribution to secured lenders                                                $    1,809    $     3,617                                   $       -      $       -                                    $           1     $           11

     Proceeds available for distribution to unsecured creditors                                            $      -      $       -                                     $       -      $       -                                    $       -         $       -




Draft Subject to Change                                                                                          LIQUIDATION SUMMARY                                                                                                                                   9/25/2019
Attorney Work Product - Priviliged and Confidential   19-11811-dsj        Doc 456           Filed 10/07/19 Entered 10/07/19 15:38:57 Main Document                                                                                               For Discussion Purposes Only

   Liquidation Analysis                                                                                Pg 266 of 565
                                                                                  Fusion Telecom of Oklahoma, LLC     Fusion Telecom of Missouri, LLC                                                                 Bircan Holdings, LLC
   $USD 000's                                                      Note    Low % High % Book Value       Low $    High $                  Low % High %     Book Value       Low $            High $       Low % High % Book Value      Low $            High $
   Proceeds From Sale of Assets
       Cash and equivalents                                        [a]        n/a     n/a   $      -      $     -        $       -           n/a     n/a   $     -      $       -        $       -           n/a     n/a   $     -     $     -      $        -
       Accounts receivable                                         [b]        5%     10%           314              16               31      5%     10%          377                18               36      n/a     n/a         -           -               -
       Prepaid expenses                                            [c]        0%      1%             0          -                     0      0%      1%            3            -                     0      n/a     n/a         -           -               -
       Inventory                                                   [d]        n/a     n/a          -            -                -           n/a     n/a         -              -                -           n/a     n/a         -           -               -
       PP&E, net                                                   [e]        n/a     n/a          -            -                -           n/a     n/a         -              -                -           n/a     n/a         -           -               -
       Land & buildings, net                                       [f]        n/a     n/a          -            -                -           n/a     n/a         -              -                -           n/a     n/a         -           -               -
       Intangible assets, net                                      [g]        n/a     n/a          -            -                -           n/a     n/a         -              -                -           n/a     n/a         -           -               -
       Intercompany – Secured                                      [h]        n/a     n/a          -            -                -           n/a     n/a         -              -                -           n/a     n/a         -           -               -
       Intercompany – Unsecured                                    [i]        n/a     n/a          -            -                -           n/a     n/a         -              -                -           n/a     n/a         -           -               -
     Total proceeds from liquidation of assets                                                                    16               31                                             18               36                                        -               -
      Less: Asset sale commissions                                  [j]                                         -                -                                              -                -                                           -               -
      Less: Chapter 7 administrative claims and trustee expenses   [k]                                          -                -                                              -                -                                           -               -
      Less: Carve-out for accrued & unpaid professional fees        [l]                                         -                -                                              -                -                                           -               -
      Less: Collection costs                                       [m]                                          (13)             (10)                                           (16)             (13)                                        -               -
     Proceeds available for distribution to secured lenders                                               $          2   $           21                                 $            2   $           24                               $      -      $        -

     Proceeds available for distribution to unsecured creditors                                           $     -        $       -                                      $       -        $       -                                    $      -      $        -

   Liquidation Analysis                                                              Fusion Communications, LLC                                   Fusion Management Services LLC                                      Fusion PM Holdings, Inc.
   $USD 000's                                                      Note    Low % High % Book Value      Low $                High $       Low % High % Book Value      Low $     High $                   Low % High % Book Value      Low $            High $
   Proceeds From Sale of Assets
       Cash and equivalents                                        [a]      100%    100%    $        44   $       44     $         44        n/a     n/a   $     -      $       -        $       -           n/a     n/a   $     -     $     -      $        -
       Accounts receivable                                         [b]       14%     28%         9,304        1,318            2,636         n/a     n/a         -              -                -           n/a     n/a         -           -               -
       Prepaid expenses                                            [c]        0%      1%           626          -                   8        0%      1%            46           -                   1        n/a     n/a         -           -               -
       Inventory                                                   [d]       10%     20%           226            23               45       10%     20%             0              0                0        n/a     n/a         -           -               -
       PP&E, net                                                   [e]        2%      4%        46,750          939            1,876         2%      4%        1,943              39               78        n/a     n/a         -           -               -
       Land & buildings, net                                       [f]        n/a     n/a          -            -                -          57%     76%        1,750            998            1,330         n/a     n/a         -           -               -
       Intangible assets, net                                      [g]       41%     82%        14,765        6,072           12,145         n/a     n/a         -              -                -           n/a     n/a         -           -               -
       Intercompany – Secured                                      [h]        n/a     n/a          -            -                -           n/a     n/a         -              -                -           n/a     n/a         -           -               -
       Intercompany – Unsecured                                    [i]        n/a     n/a          -            -                -           n/a     n/a         -              -                -           n/a     n/a         -           -               -
     Total proceeds from liquidation of assets                                                                8,396           16,754                                          1,037            1,409                                         -               -
      Less: Asset sale commissions                                  [j]                                        (703)          (1,407)                                             (4)              (8)                                       -               -
      Less: Chapter 7 administrative claims and trustee expenses   [k]                                          -                -                                              -                -                                           -               -
      Less: Carve-out for accrued & unpaid professional fees        [l]                                         -                -                                              -                -                                           -               -
      Less: Collection costs                                       [m]                                         (395)            (310)                                           -                -                                           -               -
     Proceeds available for distribution to secured lenders                                               $   7,297      $    15,037                                    $     1,033      $     1,401                                  $      -      $        -

     Proceeds available for distribution to unsecured creditors                                           $     -        $       -                                      $       -        $       -                                    $      -      $        -




Draft Subject to Change                                                                                        LIQUIDATION SUMMARY                                                                                                                                  9/25/2019
Attorney Work Product - Priviliged and Confidential   19-11811-dsj        Doc 456            Filed 10/07/19 Entered 10/07/19 15:38:57                                           Main Document         For Discussion Purposes Only

   Liquidation Analysis                                                                                 Pg 267 of 565
                                                                                  Fusion Telecom of Texas Ltd., L.L.P.    Debtors Consolidated                                                  bcg
   $USD 000's                                                      Note    Low % High % Book Value        Low $        High $       Low % High %   Book Value        Low $          High $
   Proceeds From Sale of Assets
       Cash and equivalents                                        [a]        n/a      n/a   $     -      $    -         $   -       100%   100%   $    65,734   $    65,734    $    65,734
       Accounts receivable                                         [b]        8%      15%        2,086         158           316      10%    20%        36,986         3,776          7,552
       Prepaid expenses                                            [c]        0%       1%            79        -               1       0%     1%        12,327           -              155
       Inventory                                                   [d]        n/a      n/a         -           -             -        10%    20%         3,141           314            628
       PP&E, net                                                   [e]        n/a      n/a         -           -             -         2%     4%       102,914         2,067          4,130
       Land & buildings, net                                       [f]        n/a      n/a         -           -             -        57%    76%         1,750           998          1,330
       Intangible assets, net                                      [g]        n/a      n/a         -           -             -         6%    13%       154,246         9,664         19,328
       Intercompany – Secured                                      [h]        n/a      n/a         -           -             -       100%   100%         2,000         2,000          2,000
       Intercompany – Unsecured                                    [i]        n/a      n/a         -           -             -         0%    35%        29,772           -           10,420
     Total proceeds from liquidation of assets                                                                 158           317                                      84,552        111,277
      Less: Asset sale commissions                                  [j]                                        -             -                                        (1,205)        (2,409)
      Less: Chapter 7 administrative claims and trustee expenses   [k]                                         -             -                                        (2,389)        (2,641)
      Less: Carve-out for accrued & unpaid professional fees        [l]                                        -             -                                        (8,360)        (8,360)
      Less: Collection costs                                       [m]                                         (89)          (70)                                     (1,571)        (1,233)
     Proceeds available for distribution to secured lenders                                               $         69   $   247                                      71,028         96,635
       Less: DIP Claims                                                                                                                                              (60,189)        (60,189)
     Proceeds available for distribution to First Lien lenders                                                                                                   $    10,839    $    36,446

     Proceeds available for distribution to unsecured creditors                                           $     -        $   -                                   $       -      $        -




Draft Subject to Change                                                                                        LIQUIDATION SUMMARY                                                                                       9/25/2019
                    19-11811-dsj                         Doc 456                   Filed 10/07/19 Entered 10/07/19 15:38:57                                                                       Main Document
                                                                                              Pg 268 of 565

                       G. Estimated Recovery by Creditor Class

                    Creditor recoveries under the Plan and under a hypothetical chapter 7 liquidation are summarized
                    below.

Summary for Estimated Claims and Interests                                                                                                    Recovery – Plan                          Recovery – Hypothetical Chapter 7 Liquidation             Pass/Fail
Creditor Class                                                                                                    Note              Low %                        High %                       Low %                  High %
1 - Priority Non-Tax Claims                                                                                        [a]                        100.0%                       100.0%                        100.0%                        100.0%      Pass
2 - Other Secured Claims                                                                                           [b]                        100.0%                       100.0%                        100.0%                        100.0%      Pass
3 - First Lien Claims[1][2]                                                                                        [c]                         60.0%                        76.1%                           1.8%                         6.0%      Pass
4 - Second Lien Claims[3][4]                                                                                       [d]                           4.0%                         6.9%                          0.0%                         0.0%      Pass
5 - General Unsecured Claims[5]                                                                                    [e]                             n/a                          n/a                         0.0%                         0.0%      Pass
6 - Intercompany Claims                                                                                                                            n/a                          n/a                           n/a                          n/a      n/a
7 - Intercompany Interests                                                                                                                         n/a                          n/a                           n/a                          n/a      n/a
8 - Parent Equity Interests                                                                                                                      0.0%                         0.0%                          0.0%                         0.0%      Pass
9 - Subordinated Securities Claims                                                                                                                 n/a                          n/a                           n/a                          n/a      n/a

 [1] - Based on the low range of reorganization value of $225 million for the new first lien debt plus 97.5% of $143 million for the new equity, as valued by PJT Partners.
 [2] - Based on the high range of reorganization value of $225 million for the new first lien debt plus 97.5% of $243 million for the new equity, as valued by PJT Partners.
 [3] - Based on the low range of reorganization value of 2.5% of $143 million for the new equity, as valued by PJT Partners.
 [4] - Based on the high range of reorganization value of 2.5% of $243 million for the new equity, as valued by PJT Partners.
 [5] - “n/a” indicates the amount and percentage recovery cannot be calculated because the outcome and the amount and allocation of net proceeds of the litigation to be transferred to the Litigation Trust cannot be predicted at this time.




                    [a] Class 1: Priority Non-Tax Claims. Holders of Priority Non-Tax Claims are expected to receive
                    full recovery both under the Plan and a hypothetical chapter 7 liquidation.

                    [b] Class 2: Other Secured Claims. Holders of Other Secured Claims are expected to receive full
                    recovery both under the Plan and a hypothetical chapter 7 liquidation.

                    [c] Class 3: First Lien Claims. The estimated recovery for Holders of First Lien Claims under the
                    Plan is based on the valuation conclusions of the Debtors’ investment banker, PJT Partners, which
                    estimated an enterprise value of $450 million to $550 million and a value of plan consideration to
                    the First Lien lenders aggregating from $364 million to $462 million. The Debtors estimate that,
                    using this valuation, Holders of First Lien Claims will receive a recovery ranging from 60% to
                    76% under the Plan. Under a chapter 7 liquidation it is estimated that Holders of First Lien Claims
                    will receive a recovery ranging from 2% to 6%.

                    [d] Class 4: Second Lien Claims. The estimated recovery for Holders of Second Lien Claims
                    under the Plan is based on the valuation conclusions of the Debtors’ investment banker, PJT
                    Partners, which estimated an enterprise value of $450 million to $550 million and a value of plan
                    consideration to the Second Lien lenders aggregating from $3.6 million to $6.1 million. The
                    Debtors estimate that, using this valuation, Holders of Second Lien Claims will receive a recovery
                    ranging from 4% to 7% under the Plan. Under a chapter 7 liquidation, Holders of Second Lien
                    Claims are expected to receive no recovery.

                    [e] Class 5: General Unsecured Claims. Holders of General Unsecured Claims will realize a
                    recovery through interests in the Litigation Trust received under the Plan. The amount and
                    percentage recovery of the interests in the Litigation Trust cannot be estimated because the
                    outcome and the amount and allocation of net proceeds cannot be predicted at this time. The
                    estimated recovery for Holders of General Unsecured Claims under a hypothetical chapter 7
                    liquidation is 0%.




                                                                                                                            6
                    WEIL:\97121458\1\47019.0005
19-11811-dsj          Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57   Main Document
                                           Pg 269 of 565



                                            Exhibit E

                                        Valuation Analysis




WEIL:\97197633\1\47019.0003
19-11811-dsj           Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57                     Main Document
                                                Pg 270 of 565



                                           VALUATION ANALYSIS 1

     THE INFORMATION CONTAINED HEREIN IS NOT A PREDICTION OR
GUARANTEE OF THE ACTUAL MARKET VALUE THAT MAY BE REALIZED THROUGH
THE SALE OF ANY SECURITIES TO BE ISSUED PURSUANT TO THE PLAN. THIS
INFORMATION IS PRESENTED SOLELY FOR THE PURPOSE OF PROVIDING
ADEQUATE INFORMATION UNDER SECTION 1125 OF THE BANKRUPTCY CODE TO
ENABLE THE HOLDERS OF CLAIMS ENTITLED TO VOTE TO ACCEPT OR REJECT THE
PLAN TO MAKE AN INFORMED JUDGMENT ABOUT THE PLAN AND SHOULD NOT BE
USED OR RELIED UPON FOR ANY OTHER PURPOSE, INCLUDING THE PURCHASE OR
SALE OF CLAIMS AGAINST THE DEBTORS OR ANY OF THEIR AFFILIATES.

        Solely for the purposes of the Plan and the Disclosure Statement, PJT Partners LP (“PJT”),
as investment banker to the Debtors, has estimated a range of total enterprise value (“Enterprise
Value”) and implied equity value (“Equity Value”) for the Reorganized Debtors pro forma for
the transactions contemplated by the Plan (the “Valuation Analysis”). The Valuation Analysis is
based on financial and other information provided by the Debtors’ management, as well as the
financial projections attached to the Disclosure Statement (the “Financial Projections”), and
information provided by other sources. The valuation estimates set forth herein represent valuation
analyses of the Reorganized Debtors generally based on the application of customary valuation
techniques to the extent deemed appropriate by PJT. The Valuation Analysis is dated as of
September 12, 2019 and is based on data and information as of that date. PJT makes no
representations as to changes to such data and information that may have occurred since September
12, 2019.

            The preparation of the Valuation Analysis is a complex analytical process involving
    subjective determinations about which methodologies of financial analysis are most appropriate and
    relevant and the application of those methodologies to particular facts and circumstances in a manner
    that is not readily susceptible to summary description. In preparing its valuation, PJT evaluated:
    (a) discounted cash flow analysis, (b) comparable companies analysis, and (c) non-binding bids
    received as part of the sale process.

           The Valuation Analysis considered the non-binding indications of interest received from
    prospective purchasers as part of the sale process that PJT conducted prior to and during the Debtors’
    chapter 11 cases (the “Sale Process”). Certain prospective purchasers submitted their indications of
    interest after signing non-disclosure agreements with the Debtors and receiving extensive
    information through an electronic data room. In total, PJT contacted 75 potential purchasers, more
    than 25 of whom signed a non-disclosure agreement with the Company and received a confidential
    information memorandum and access to an electronic data room. PJT received three non-binding
    indications of interest for the Company’s entire business, including its U.S. and Canadian operations,
    and continued to facilitate due diligence and purchase price discussions with these parties until the
    termination of the U.S. sale process on August 27, 2019.


1
       Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
       Disclosure Statement (ECF No. 369) or the Plan (ECF No. 368), as applicable.
19-11811-dsj    Doc 456     Filed 10/07/19 Entered 10/07/19 15:38:57          Main Document
                                       Pg 271 of 565



     THE VALUATION ANALYSIS REFLECTS WORK PERFORMED BY PJT ON THE
BASIS OF INFORMATION IN RESPECT OF THE BUSINESSES AND ASSETS OF THE
DEBTORS AVAILABLE TO PJT AS OF SEPTEMBER 12, 2019. IT SHOULD BE
UNDERSTOOD THAT, ALTHOUGH SUBSEQUENT DEVELOPMENTS MAY HAVE
AFFECTED OR MAY AFFECT PJT’S CONCLUSIONS, PJT DOES NOT HAVE ANY
OBLIGATION TO UPDATE, REVISE, OR REAFFIRM THE VALUATION ANALYSIS AND
DOES NOT INTEND TO DO SO.

      PJT DID NOT INDEPENDENTLY VERIFY THE FINANCIAL PROJECTIONS OR
OTHER INFORMATION THAT PJT USED IN THE VALUATION ANALYSIS, AND NO
INDEPENDENT VALUATIONS OR APPRAISALS OF THE DEBTORS OR THEIR ASSETS
WERE SOUGHT OR OBTAINED IN CONNECTION THEREWITH. THE VALUATION
ANALYSIS WAS DEVELOPED SOLELY FOR PURPOSES OF THE PLAN AND THE
ANALYSIS OF POTENTIAL RELATIVE RECOVERIES TO CREDITORS THEREUNDER.
THE VALUATION ANALYSIS REFLECTS THE APPLICATION OF VARIOUS
VALUATION TECHNIQUES, DOES NOT PURPORT TO BE AN OPINION AND DOES NOT
PURPORT TO REFLECT OR CONSTITUTE AN APPRAISAL, LIQUIDATION VALUE, OR
ESTIMATE OF THE ACTUAL MARKET VALUE THAT MAY BE REALIZED THROUGH
THE SALE OF ANY SECURITIES TO BE ISSUED OR ASSETS TO BE SOLD PURSUANT
TO THE PLAN, WHICH MAY BE SIGNIFICANTLY DIFFERENT THAN THE AMOUNTS
SET FORTH IN THE VALUATION ANALYSIS.

      THE VALUE OF AN OPERATING BUSINESS IS SUBJECT TO NUMEROUS
UNCERTAINTIES AND CONTINGENCIES THAT ARE DIFFICULT TO PREDICT AND
WILL FLUCTUATE WITH CHANGES IN FACTORS AFFECTING THE FINANCIAL
CONDITION AND PROSPECTS OF SUCH A BUSINESS. AS A RESULT, THE VALUATION
ANALYSIS IS NOT NECESSARILY INDICATIVE OF ACTUAL OUTCOMES, WHICH MAY
BE SIGNIFICANTLY MORE OR LESS FAVORABLE THAN THOSE SET FORTH HEREIN.
BECAUSE SUCH ESTIMATES ARE INHERENTLY SUBJECT TO UNCERTAINTIES,
NEITHER THE DEBTORS, PJT, NOR ANY OTHER PERSON ASSUMES RESPONSIBILITY
FOR THEIR ACCURACY. IN ADDITION, THE POTENTIAL VALUATION OF NEWLY
ISSUED FUNDED DEBT AND SECURITIES IS SUBJECT TO ADDITIONAL
UNCERTAINTIES AND CONTINGENCIES, ALL OF WHICH ARE DIFFICULT TO
PREDICT. ACTUAL MARKET PRICES OF SUCH FUNDED DEBT AND SECURITIES AT
ISSUANCE WILL DEPEND UPON, AMONG OTHER THINGS, PREVAILING INTEREST
RATES, CONDITIONS IN THE FINANCIAL MARKETS, THE ANTICIPATED INITIAL
FUNDED DEBT AND SECURITIES HOLDINGS OF PREPETITION CREDITORS, SOME OF
WHICH MAY PREFER TO LIQUIDATE THEIR INVESTMENT RATHER THAN HOLD IT
ON A LONG-TERM BASIS, THE POTENTIALLY DILUTIVE IMPACT OF CERTAIN
EVENTS, INCLUDING THE ISSUANCE OF EQUITY SECURITIES PURSUANT TO A
MANAGEMENT INCENTIVE PLAN, AND OTHER FACTORS THAT GENERALLY
INFLUENCE THE PRICES OF FUNDED DEBT.

       Management of the Debtors advised PJT that the Financial Projections were reasonably
prepared in good faith and on a basis reflecting the Debtors’ best estimates and judgments as to
the future operating and financial performance of the Reorganized Debtors. If the business



                                               2
19-11811-dsj     Doc 456      Filed 10/07/19 Entered 10/07/19 15:38:57             Main Document
                                         Pg 272 of 565



performs at levels below or above those set forth in the Financial Projections such performance
may have a materially negative or positive impact, respectively, on the valuation of the
Reorganized Debtors and the Enterprise Value thereof.

        In preparing the Valuation Analysis, PJT has, among other things: (1) reviewed certain
historical financial results of the Debtors; (2) reviewed certain financial and operating data of the
Debtors, including the Financial Projections; (3) discussed with certain of the Debtors’ senior
executives and third-party advisors the current operations and prospects of the Debtors;
(4) discussed with certain of the Debtors’ senior executives key assumptions related to the Financial
Projections; (5) prepared discounted cash flow analyses based on the Financial Projections;
(6) considered the market value of certain publicly-traded companies in businesses reasonably
comparable to the operating business of the Debtors; (7) considered the results of the Sale Process,
including the non-binding indications of interest received; (8) considered certain economic and
industry information that PJT deemed generally relevant to the Debtors; (9) conducted such other
analyses as PJT deemed necessary and/or appropriate under the circumstances; and (10) considered
a range of potential risk factors.

        PJT assumed, without independent verification, the accuracy, completeness, and fairness
of all of the financial and other information available to it from public sources or as provided to
PJT by the Debtors or their representatives. PJT also assumed that the Financial Projections
have been reasonably prepared on a basis reflecting the Debtors’ best estimates and good faith
judgment as to future operating and financial performance. To the extent the valuation is
dependent upon the Reorganized Debtors’ achievement of the Financial Projections, the
Valuation Analysis must be considered speculative. PJT does not make any representation or
warranty as to the fairness of the terms of the Plan.

       In addition to the foregoing, PJT relied upon the following assumptions in preparing the
Valuation Analysis:

       1. The Reorganized Debtors will be able to maintain adequate liquidity to operate in
          accordance with the Financial Projections;
       2. The Reorganized Debtors will operate consistently within the levels specified in the
          Financial Projections;
       3. The Plan will become effective on December 31, 2019 (the “Assumed Effective
          Date”);
       4. Future values were appropriately discounted to December 31, 2019; and
       5. General financial and market conditions as of the Assumed Effective Date will not
          differ materially from those conditions prevailing as of the date of the Valuation
          Analysis of September 12, 2019.

       As a result of such analyses, review, discussions, considerations, and assumptions, PJT
estimated the Enterprise Value and implied Equity Value of the Reorganized Debtors as of the
Assumed Effective Date as shown in the table below. The Equity Value shown below is subject to
dilution as a result of the issuance of any equity under the Management Incentive Plan and any
conversion of the Warrants, to the extent applicable.




                                                 3
19-11811-dsj      Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57          Main Document
                                       Pg 273 of 565



      ($ in millions)                              Low          Mid            High
      Enterprise Value (at 12/31/19)                  $450          $500           $550
      Less: Total Debt and Capital Leases             (332)         (332)         (332)
      Plus: Cash                                         25            25            25
      Equity Value (at 12/31/19)                      $143          $193           $243

       The Valuation Analysis does not constitute a recommendation to any Holder of Allowed
Claims or any other person as to how such person should vote or otherwise act with respect to
the Plan. PJT has not been requested to, and does not, express any view as to the potential
trading value of the Reorganized Debtors’ funded debt and securities on issuance or at any other
time.

     THE SUMMARY SET FORTH ABOVE DOES NOT PURPORT TO BE A COMPLETE
DESCRIPTION OF THE VALUATION ANALYSES PERFORMED BY PJT. THE
PREPARATION OF AN ESTIMATE OF VALUE INVOLVES VARIOUS DETERMINATIONS
AS TO THE MOST APPROPRIATE AND RELEVANT METHODS OF FINANCIAL
ANALYSIS AND THE APPLICATION OF THESE METHODS IN THE PARTICULAR
CIRCUMSTANCES AND, THEREFORE, SUCH AN ESTIMATE IS NOT READILY
SUSCEPTIBLE TO SUMMARY DESCRIPTION.

     PJT IS ACTING AS RESTRUCTURING ADVISOR TO THE DEBTORS, AND HAS
NOT AND, WILL NOT BE RESPONSIBLE FOR, AND HAS NOT AND WILL NOT PROVIDE
ANY TAX, ACCOUNTING, ACTUARIAL, LEGAL, OR OTHER SPECIALIST ADVICE TO
THE DEBTORS OR ANY OTHER PARTY IN CONNECTION WITH THE DEBTORS’
CHAPTER 11 CASES, THE PLAN OR OTHERWISE.




                                               4
19-11811-dsj          Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57   Main Document
                                           Pg 274 of 565



                                           Exhibit B

                                      Incremental Blackline




WEIL:\97208644\1\47019.0005
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57                   Main Document
                                                  Pg 275 of 565



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------------- X
                                                                     :
In re                                                                :   Chapter 11
                                                                     :
FUSION CONNECT, INC., et al.,                                        :   Case No. 19-11811 (SMB)
                                                                     :
                              Debtors.1                              :   (Jointly Administered)
                                                                     :
-------------------------------------------------------------------- X


       AMENDED DISCLOSURE STATEMENT FOR SECOND AMENDED JOINT
    CHAPTER 11 PLAN OF FUSION CONNECT, INC. AND ITS SUBSIDIARY DEBTORS

        WEIL, GOTSHAL & MANGES LLP
        Gary T. Holtzer
        Sunny Singh
        Gaby Smith
        767 Fifth Avenue
        New York, New York 10153
        Telephone: (212) 310-8000
        Facsimile: (212) 310-8007


        Counsel for Debtors
        and Debtors in Possession

       Dated:       September 24October 7, 2019
                    New York, New York




1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
      identification number, as applicable, are: Fusion Connect, Inc. (2021); Fusion BCHI Acquisition LLC
      (7402); Fusion NBS Acquisition Corp. (4332); Fusion LLC (0994); Fusion MPHC Holding Corporation
      (3066); Fusion MPHC Group, Inc. (1529); Fusion Cloud Company LLC (5568); Fusion Cloud Services, LLC
      (3012); Fusion CB Holdings, Inc. (6526); Fusion Communications, LLC (8337); Fusion Telecom, LLC
      (0894); Fusion Texas Holdings, Inc. (2636); Fusion Telecom of Kansas, LLC (0075); Fusion Telecom of
      Oklahoma, LLC (3260); Fusion Telecom of Missouri, LLC (5329); Fusion Telecom of Texas Ltd., L.L.P.
      (8531); Bircan Holdings, LLC (2819); Fusion Management Services LLC (5597); and Fusion PM Holdings,
      Inc. (2478). The Debtors’ principal offices are located at 210 Interstate North Parkway, Suite 300, Atlanta,
      Georgia 30339.




WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57   Main Document
                                                  Pg 276 of 565




THE     INFORMATION    CONTAINED   IN   THIS  DISCLOSURE    STATEMENT
(THE “DISCLOSURE STATEMENT”) IS INCLUDED FOR THE PURPOSE OF SOLICITING
ACCEPTANCES OF THE SECOND AMENDED JOINT CHAPTER 11 PLAN OF FUSION
CONNECT, INC. AND ITS SUBSIDIARY DEBTORS, DATED SEPTEMBER 17OCTOBER 7,
2019 (AS MAY BE AMENDED, MODIFIED, OR SUPPLEMENTED FROM TIME TO TIME,
THE “SECOND AMENDED PLAN”) AND IS INTENDED TO BE USED SOLELY TO
DETERMINE HOW TO VOTE ON THE SECOND AMENDED PLAN.

 THE VOTING DEADLINE TO ACCEPT OR REJECT THE AMENDED PLANSECOND
 AMENDED PLAN IS 4:00 P.M., PREVAILING EASTERN TIME, ON OCTOBER
 25NOVEMBER 4, 2019, UNLESS EXTENDED BY THE DEBTORS WITH THE CONSENT
 OF THE FIRST LIEN LENDER GROUP.

 THE RECORD DATE FOR DETERMINING WHICH HOLDERS OF CLAIMS MAY VOTE
 ON THE AMENDED PLANSECOND AMENDED PLAN IS SEPTEMBER 24, 2019 AT 5:00
 PM PREVAILING EASTERN TIME (THE “VOTING RECORD DATE”).


    RECOMMENDATION BY THE DEBTORS, THE FIRST LIEN LENDER GROUP, THE
  SECOND LIEN LENDER GROUP, AND THE OFFICIAL COMMITTEE OF UNSECURED
      CREDITORS (THE “CREDITORS’ COMMITTEE”) TO APPROVE THE SECOND
                                           AMENDED PLAN
The Restructuring Committee of the Board of Directors of Fusion Connect, Inc. (the
“Restructuring Committee”) and the board of directors, managers, limited partners or members,
as applicable, of each of its subsidiary Debtors have unanimously approved the transactions
contemplated by the Second Amended Plan and recommend that all creditors whose votes are
being solicited submit ballots to accept the Second Amended Plan. Holders of approximately 85%
of First Lien Claims (as defined herein) have already agreed to vote in favor of the Second
Amended Plan. The Second Lien Lender Group which holds 100% of Second Lien Claims (as
defined herein) and the Creditors’ Committee also supports confirmation of the Second Amended
Plan and recommends that all holders of Second Lien Claims and all unsecured creditors vote to
accept the Second Amended Plan.




WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57   Main Document
                                                  Pg 277 of 565



HOLDERS OF CLAIMS OR INTERESTS SHOULD NOT CONSTRUE THE CONTENTS OF
THIS DISCLOSURE STATEMENT AS PROVIDING ANY LEGAL, BUSINESS, FINANCIAL,
OR TAX ADVICE AND SHOULD CONSULT WITH THEIR OWN ADVISORS BEFORE
VOTING ON THE AMENDED PLANSECOND AMENDED PLAN.

THE ISSUANCE AND DISTRIBUTION UNDER THE AMENDED PLANSECOND AMENDED
PLAN OF NEW EQUITY INTERESTS AND/OR SPECIAL WARRANTS AND IF THE
AMENDED PLAN IS ACCEPTED BY CLASS 4 (ALLOWED SECOND LIEN CLAIMS),
SECOND LIEN WARRANTS (EACH TERM AS DEFINED HEREIN) WILL BE EXEMPT
FROM REGISTRATION UNDER THE SECURITIES ACT OF 1933, AS AMENDED (THE
“SECURITIES ACT”) AND ANY OTHER APPLICABLE SECURITIES LAWS PURSUANT TO
SECTION 1145 OF THE BANKRUPTCY CODE. THESE SECURITIES MAY BE RESOLD
WITHOUT REGISTRATION UNDER THE SECURITIES ACT OR OTHER FEDERAL
SECURITIES LAWS PURSUANT TO THE EXEMPTION PROVIDED BY SECTION 4(A)(1)
OF THE SECURITIES ACT, UNLESS THE HOLDER IS AN “UNDERWRITER” WITH
RESPECT TO SUCH SECURITIES, AS THAT TERM IS DEFINED IN SECTION 1145(B)(1)
OF THE BANKRUPTCY CODE.       IN ADDITION, SUCH SECTION 1145 EXEMPT
SECURITIES GENERALLY MAY BE RESOLD WITHOUT REGISTRATION UNDER STATE
SECURITIES LAWS PURSUANT TO VARIOUS EXEMPTIONS PROVIDED BY THE
RESPECTIVE LAWS OF THE SEVERAL STATES. THE AVAILABILITY OF THE
EXEMPTION UNDER SECTION 1145 OF THE BANKRUPTCY CODE OR ANY OTHER
APPLICABLE SECURITIES LAWS SHALL NOT BE A CONDITION TO THE
OCCURRENCE OF THE EFFECTIVE DATE (AS DEFINED IN THE AMENDED
PLANSECOND AMENDED PLAN).

THE NEW EQUITY INTERESTS AND/OR SPECIAL WARRANTS AND, IF THE AMENDED
PLAN IS ACCEPTED BY CLASS 4 (ALLOWED SECOND LIEN CLAIMS), THE SECOND
LIEN WARRANTS, TO BE ISSUED ON THE EFFECTIVE DATE HAVE NOT BEEN
APPROVED OR DISAPPROVED BY THE SECURITIES AND EXCHANGE COMMISSION
(THE “SEC”) OR BY ANY STATE SECURITIES COMMISSION OR SIMILAR PUBLIC,
GOVERNMENTAL, OR REGULATORY AUTHORITY, AND NEITHER THE SEC NOR ANY
SUCH AUTHORITY HAS PASSED UPON THE ACCURACY OR ADEQUACY OF THE
INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT OR UPON THE
MERITS OF THE AMENDED PLANSECOND AMENDED PLAN. ANY REPRESENTATION
TO THE CONTRARY IS A CRIMINAL OFFENSE.

CERTAIN STATEMENTS CONTAINED IN THIS DISCLOSURE STATEMENT, INCLUDING
STATEMENTS    INCORPORATED BY REFERENCE, PROJECTED FINANCIAL
INFORMATION, AND OTHER FORWARD-LOOKING STATEMENTS, ARE BASED ON
ESTIMATES AND ASSUMPTIONS.        CERTAIN OF THESE FORWARD-LOOKING
STATEMENTS CAN BE IDENTIFIED BY THE USE OF WORDS SUCH AS “BELIEVES,”
“EXPECTS,” “PROJECTS,” “INTENDS,” “PLANS,” “ESTIMATES,” “ASSUMES,” “MAY,”
“SHOULD,” “WILL,” “SEEKS,” “ANTICIPATES,” “OPPORTUNITY,” “PRO FORMA,”
“PROJECTIONS,” OR OTHER SIMILAR EXPRESSIONS.         THERE CAN BE NO
ASSURANCE THAT SUCH STATEMENTS WILL BE REFLECTIVE OF ACTUAL
OUTCOMES.     FORWARD-LOOKING STATEMENTS ARE PROVIDED IN THIS
DISCLOSURE STATEMENT PURSUANT TO THE SAFE HARBOR ESTABLISHED UNDER
THE PRIVATE SECURITIES LITIGATION REFORM ACT OF 1995 AND SHOULD BE
EVALUATED IN THE CONTEXT OF THE ESTIMATES, ASSUMPTIONS,




WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57   Main Document
                                                  Pg 278 of 565



UNCERTAINTIES, AND RISKS DESCRIBED HEREIN AND IN FUSION CONNECT’S (AS
DEFINED HEREIN) FILINGS WITH THE SEC.

READERS ARE CAUTIONED THAT ANY FORWARD-LOOKING STATEMENTS
CONTAINED HEREIN ARE BASED ON ASSUMPTIONS THAT ARE BELIEVED TO BE
REASONABLE, BUT ARE SUBJECT TO A WIDE RANGE OF RISKS, INCLUDING THOSE
IDENTIFIED IN SECTION IX OF THIS DISCLOSURE STATEMENT. IMPORTANT
ASSUMPTIONS AND OTHER IMPORTANT FACTORS THAT COULD CAUSE ACTUAL
RESULTS TO DIFFER MATERIALLY FROM THOSE EXPECTED ALSO INCLUDE, BUT
ARE NOT LIMITED TO, THOSE FACTORS, RISKS, AND UNCERTAINTIES DESCRIBED
IN MORE DETAIL UNDER THE HEADING “RISK FACTORS” AND ELSEWHERE IN THE
ANNUAL, QUARTERLY AND CURRENT REPORTS OF FUSION CONNECT, INCLUDING
AMENDMENTS THERETO, AND ITS OTHER FILINGS WITH THE SEC. DUE TO THESE
UNCERTAINTIES, READERS CANNOT BE ASSURED THAT ANY FORWARD-LOOKING
STATEMENTS WILL PROVE TO BE CORRECT. THE DEBTORS ARE UNDER NO
OBLIGATION TO (AND EXPRESSLY DISCLAIM ANY OBLIGATION TO) UPDATE OR
ALTER ANY FORWARD-LOOKING STATEMENTS WHETHER AS A RESULT OF NEW
INFORMATION, FUTURE EVENTS, OR OTHERWISE, UNLESS INSTRUCTED TO DO SO
BY THE BANKRUPTCY COURT (AS DEFINED BELOW).

THE STATEMENTS CONTAINED IN THIS DISCLOSURE STATEMENT ARE MADE AS OF
THE DATE HEREOF UNLESS OTHERWISE SPECIFIED. THE TERMS OF THE AMENDED
PLANSECOND AMENDED PLAN GOVERN IN THE EVENT OF ANY INCONSISTENCY
WITH THE SUMMARIES IN THIS DISCLOSURE STATEMENT.

THE INFORMATION IN THIS DISCLOSURE STATEMENT IS BEING PROVIDED SOLELY
FOR PURPOSES OF VOTING TO ACCEPT OR REJECT THE AMENDED PLANSECOND
AMENDED PLAN OR IN CONNECTION WITH CONFIRMATION OF THE AMENDED
PLANSECOND AMENDED PLAN. NOTHING IN THIS DISCLOSURE STATEMENT MAY
BE USED BY ANY PARTY FOR ANY OTHER PURPOSE.

ALL EXHIBITS TO THE DISCLOSURE STATEMENT ARE INCORPORATED INTO, AND
ARE MADE A PART OF, THIS DISCLOSURE STATEMENT AS IF SET FORTH IN FULL
HEREIN.




WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57   Main Document
                                                 Table of Contents
                                                  Pg 279   of 565

                                                                                           Page


I. INTRODUCTION                                                                               1
       Summary of Plan Release and Exculpation Provisions                                     9

II. OVERVIEW OF COMPANY’S OPERATIONS                                                         12
       A. Debtors’ Business                                                                  12
          B.     Debtors’ Organizational Structure                                           14
          C.     Directors and Officers                                                      15
          D.     Regulation of Company’s Business                                          1617
          E.     Debtors’ Existing Capital Structure                                       1718

III. CIRCUMSTANCES LEADING TO COMMENCEMENT OF CHAPTER 11 CASES                             2021
        A. Birch Merger                                                                    2021
          B.     Amortization and Interest Payments                                        2022
          C.     Vendor Relationships and Lingo Dispute                                    2022
          D.     Pursuit of New Equity Investment                                          2122
          E.     Forbearance Agreement                                                     2122
          F.     Super Senior Financing                                                    2123
          G.     Formation of Restructuring Committee                                      2123
          H.     Formation and Function of Special Committee                               2224
          I.     Marketing Process                                                         2325
          J.     Alternative Restructuring Proposals                                       2425

IV. OVERVIEW OF THE CHAPTER 11 CASES                                                       2425
      A. Commencement of Chapter 11 Cases and First Day Motions                            2425
          B.     DIP Facility and Cash Collateral                                          2426
          C.     Procedural Motions and Retention of Professionals                        2830
          D.     Appointment of the Creditors’ Committee                                   2830
          E.     Schedules and Statements; Rule 2015.3 Financial Reports                   2830
          F.     Bar Date                                                                  2830
          G.     Lease Rejection Motions                                                   2930
          H.     Exclusivity                                                               2931
          I.     Litigation Matters                                                        2931
          J.     Marketing Process and Bidding Procedures                                  3032
          K.     Creditors’ Committee’s Investigation                                      3032
          L.     Plan Settlement Negotiations and the Global Settlement                    3132



                                                         i
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57           Main Document
                                                 Table of Contents
                                                  Pg 280  of 565
                                                         (continued)
                                                                                                    Page


V. SUMMARY OF AMENDED PLAN 33AMENDED PLAN                                                             35
          A.     Administrative Expense and Priority Claims.                                       3335
          B.     Classification of Claims and Interests.                                           3537
          C.     Treatment of Claims and Interests.                                                3638
          D.     Means for Implementation                                                          3941
          E.     Distributions                                                                      5356
          F.     Procedures for Disputed Claims                                                    5860
          G.     Executory Contracts and Unexpired Leases                                          6062
          H.     Conditions Precedent to Confirmation of Plan and Effective Date                   6366
          I.     Effect of Confirmation of Plan                                                    6669
          J.     Retention of Jurisdiction                                                         7376
          K.     Miscellaneous Second Amended Plan Provisions                                      7578

VI. TRANSFER RESTRICTIONS AND CONSEQUENCES UNDER FEDERAL
     SECURITIES LAWS                                                                                8083

VII. REGULATORY MATTERS                                                                            8184

VIII. CERTAIN U.S. FEDERAL INCOME TAX CONSEQUENCES OF AMENDEDSECOND
      AMENDED PLANN 87                                                                               90
       A. Consequences to the Debtors.                                                             8790
          B.     Consequences to Holders of Certain Claims                                         9093
          C.     Tax Treatment of Litigation Trust and Holders of Litigation Trust Interests       1003
          D.     Information Reporting and Withholding                                             1025

IX. CERTAIN RISK FACTORS TO BE CONSIDERED                                                          1035
      A. Certain Bankruptcy Law Considerations                                                     1036
          B.     Additional Factors Affecting Value of Reorganized Debtors                         1058
          C.     Risks Relating to Debtors’ Business and Financial Condition                       1069
          D.     Factors Relating to Securities to be Issued Under Second Amended Plan, Generally 108111
          E.     Risk Related to Obtaining Exit Financing                                        109111
          F.     Risks Related to Investment in New Equity Interests                             109111
          G.     Additional Factors                                                                1102

X. VOTING PROCEDURES AND REQUIREMENTS                                                              1103
      A. Voting Deadline                                                                           1113
          B.     Voting Procedures                                                                 1114
          C.     Parties Entitled to Vote                                                          1114


                                                             ii
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57   Main Document
                                                 Table of Contents
                                                  Pg 281  of 565
                                                         (continued)
                                                                                           Page


XI. CONFIRMATION OF AMENDEDAMENDED PLAN                                                    1147
          A.     Confirmation Hearing                                                      1147
          B.     Objections to Confirmation                                                1147
          C.     Requirements for Confirmation of Second Amended Plan                     1169

XII. ALTERNATIVES TO CONFIRMATION AND CONSUMMATION OF SECOND
      AMENDED PLAN                                                                         1214
       A. Alternative Plan of Reorganization                                               1214
          B.     Sale Under Section 363 of Bankruptcy Code                                 1214
          C.     Liquidation Under Chapter 7 or Applicable Non-Bankruptcy Law             1224

XIII. CONCLUSION AND RECOMMENDATION                                                        1236




                                                             iii
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57   Main Document
                                                 Table of Contents
                                                  Pg 282  of 565
                                                         (continued)
                                                                                           Page


EXHIBIT A:          Amended Joint Plan of Reorganization

EXHIBIT B:          Restructuring Support Agreement

EXHIBIT C:          Financial Projections

EXHIBIT D:          Liquidation Analysis

EXHIBIT E:          Valuation Analysis




                                                             iv
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57              Main Document
                                                  Pg 283 of 565



                                                         I.
                                                    INTRODUCTION

Fusion Connect, Inc. (“Fusion Connect” or “FCI”) and its U.S. subsidiary debtors (collectively, the
“Debtors” and together with FCI’s non-debtor Canadian subsidiaries, the “Company”) submit this
Disclosure Statement pursuant to Section 1125 of the Bankruptcy Code in connection with the solicitation
of votes with respect to the Second Amended Plan.1 The Second Amended Plan is annexed hereto as
Exhibit A and is incorporated herein by reference. The Debtors commenced their chapter 11 cases (the
“Chapter 11 Cases”) in the United States Bankruptcy Court for the Southern District of New York (the
“Bankruptcy Court”) on June 3, 2019 (the “Commencement Date”).

The purpose of this Disclosure Statement, including the exhibits annexed hereto, is to provide information
of a kind, and in sufficient detail, to enable creditors of the Debtors that are entitled to vote on the Second
Amended Plan to make an informed decision on whether to vote to accept or reject the Second Amended
Plan. This Disclosure Statement contains summaries of the Second Amended Plan, certain statutory
provisions, events contemplated in the Chapter 11 Cases, and certain documents related to the Second
Amended Plan.

Fusion Connect is the ultimate parent of twenty (20) direct and indirect subsidiaries, eighteen (18) of
which, together with Fusion Connect, are Debtors in these Chapter 11 Cases. The Company is a provider
of integrated cloud solutions to small, medium, and large businesses in the United States and residential
and business customers in Canada. The Company offers services to customers, enabling them to
successfully migrate to and efficiently use the increasing power of the cloud. Such services include cloud
communications, cloud connectivity, and cloud computing. A significant part of the Company’s historical
expansion strategy has been to make strategic acquisitions of other providers. In May and June of 2018,
the Company closed a reverse merger transaction with Birch Communications Holdings, Inc. (“Birch”
and such transaction, the “Birch Merger”) and an acquisition of MegaPath Holding Corp. (“MegaPath”
and such transaction, the “MegaPath Merger”), respectively. The Company pursued the Birch Merger
with a vision of leveraging its existing processes and structures to create synergies between Fusion
Connect’s and Birch’s joined customer bases, combine network infrastructure assets to improve
operational efficiencies, and ultimately drive material growth in the combined companies’ annual revenue.
In connection with the Birch Merger and the MegaPath Merger, the Company incurred $680 million in
secured debt.

Due to underperformance compared to business projections, the Company found itself with limited
liquidity and at risk of default under its debt documents by early 2019. Accordingly, in early 2019, the
Company began its formal review of strategic alternatives, including by engaging in dialogue and
communications with its key stakeholders. These efforts culminated in a restructuring support agreement
(the “Restructuring Support Agreement”) with the First Lien Lender Group — the Company’s senior
creditors — holding, in the aggregate, over 66 2/3% in aggregate principal amount of the outstanding First
Lien Claims. The Restructuring Support Agreement contemplates the continuation of the Company’s




1
      Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in the Second
      Amended Plan. To the extent any inconsistencies exist between this Disclosure Statement and the Second
      Amended Plan, the Second Amended Plan shall govern.




WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57               Main Document
                                                  Pg 284 of 565



prepetition marketing process that commenced in May 2019. A copy of the Restructuring Support
Agreement is attached hereto as Exhibit B.2

By virtue of the Restructuring Support Agreement, the Company commenced the Chapter 11 Cases with a
clear path to a confirmable chapter 11 plan of reorganization and a viable recapitalization — in which,
among other things, approximately $272411 million in funded debt will be extinguished, leaving a
significantly deleveraged reorganized Company wholly owned by the First Lien Lenders and an
appropriately sized exit working capital facility (the “Reorganization Transaction”). In addition, the
Restructuring Support Agreement also provides for the continuation of the Company’s prepetition
marketing process (the “Prepetition Marketing Process” and together with the postpetition sale and
marketing process, the “Marketing Process”). Pursuant to the Marketing Process, any and all bids for
all or some portion of the Company’s business have been evaluated as a precursor to confirmation of the
chapter 11 plan. The Marketing Process has provided a public and competitive forum in which the
Debtors sought bids or proposals for potential transactions that, if representing higher or otherwise better
value for creditors of the Debtors than the Reorganization Transaction, would have been pursued in lieu
of the Reorganization Transaction (the “Sale Transaction”).

The Debtors solicited bids for an investment in, or other acquisition of, the Debtors’ domestic business
(the “U.S. Business”), FCI’s Canadian business (the “Canadian Business”) and the U.S. Business and
the Canadian Business on a consolidated basis. Pursuant to the Bidding Procedures Order, the deadline
for parties to submit non-binding indications of interest was July 16, 2019. The Debtors and their
advisors have evaluated the indications of interest received and communicated with numerous potential
bidders, including the Second Lien Lenders.3 Based on this analysis, and with the support of each of the
Consultation Parties4 3 (as defined in the Bidding Procedures Order), the Debtors have decided to
terminate the Marketing Process solely with respect to their U.S. Business and to pursue the
Reorganization Transaction.

Upon consummation of the Reorganization Transaction, on the Effective Date, pursuant to and in
accordance with the Second Amended Plan, the Reorganized Debtors will, among other things: (a) issue
one hundred percent (100%) of the issued and outstanding New Equity Interests and Special Warrantsto
be issued on the Effective Date to the holders of Allowed First Lien Claims (subject to dilution by the
Special Warrants and Management Incentive Plan and, if the Amended Plan is accepted by Class 4
(Second Lien Claims), the Second Lien Warrants, if exercised) in accordance with the Equity Allocation
Mechanism, and the Special Warrant Agreement, and the Second Lien Warrant Agreement (if any), (b) if
the Amended Plan is accepted by Class 4 (Second Lien Claims), issue the Second Lien Warrants,
including a distribution of the Special Warrants to the holders of Allowed First Lien Claims in an amount
such that, after the exercise of all Special Warrants issued on the Effective Date, holders of Allowed First
Lien Claims would hold ninety-seven and one-half percent (97.5%) of the issued and outstanding New



2
      The signature pages for the Consenting First Lien Lenders (as defined in the Restructuring Support
      Agreement) have been removed from Exhibit B.
3
      The Second Lien Lenders have filed an objection to this Disclosure Statement. Contrary to certain
      allegations in the Second Lien Lenders’ objection, the Debtors entered into non-disclosure agreements with
      the Second Lien Lenders and their advisors before the Commencement Date and have offered the Second
      Lien Lenders extensive information, along with opportunities to participate in the Debtors’ restructuring.
      The Second Lien Lenders were not Consultation Parties during the Marketing Process because the Second
      Lien Lenders submitted a bid to purchase the Debtors’ assets.
43
      The Company and its advisors continue to evaluate proposals for the sale of the Canadian Business.


                                                         2
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57             Main Document
                                                  Pg 285 of 565



Equity Interests (subject to dilution by the Management Incentive Plan), (b) issue the Special Warrants to
the holders of Allowed Second Lien Claims in an amount such that, after the exercise of all Special
Warrants issued on the Effective Date, holders of Allowed Second Lien Claims would hold two and one-
half percent (2.5%) of the issued and outstanding New Equity Interests (subject to dilution by the
Management Incentive Plan), (c) enter into the New Exit Facility Credit Agreement, which is currently
estimated to beconsist of loans and undrawn revolving commitments in an aggregate amount of $125
million, the proceeds of which would provide for the payment of the DIP Facility and provide liquidity for
the Company’s working capital purposes;, and (d) enter into the New First Lien Credit Agreement of up
to $225 million to be issued to holders of Allowed First Lien Clams.

The Debtors filed their initial chapter 11 plan on July 1, 2019 (ECF No. 146) (the “Initial Plan”) with the
support of the First Lien Lender Group. The Creditors’ Committee, however, raised certain concerns and
potential objections with respect to the Initial Plan. Since filing the Initial Plan, the Debtors and the First
Lien Lender Group engaged in numerous discussions with the Creditors’ Committee regarding Plan-
related issues in order to determine whether support of the Creditors’ Committee could be secured. The
Debtors filed an amended chapter 11 plan (ECF No. 368) dated as of September 3, 2019, which reflects
the terms of a settlement reached by the Debtors, the Creditors’ Committee, and the First Lien Lender
Group (the “Global Settlement”). The terms of the Global Settlement are incorporated in that aAmended
pPlan and the Global Settlement is set out in greater detail in Section 4(L) of this Disclosure Statement.
Pursuant to the Global Settlement, a litigation trust will be created and initially funded with $1.5 million
(and have a committed loan from Reorganized FCI for an additional $3.5 million, available to be drawn in
installments) to pursue certain causes of action. The proceeds of the litigation trust will be shared among
Reorganized FCI and holders of Litigation Trust Interests as described in Section 4(L) below. The
Debtors filed a further amended chapter 11 plan (ECF No. 412) on September 17, 2019 (the “Amended
Plan”), which, among other things, clarified the terms of the Global Settlement.

During the Chapter 11 Cases, the Debtors, the First Lien Lender Group, and the Creditors’ Committee
have also engaged with an ad hoc group of holders of the Second Lien Claims (the “Second Lien Lender
Group”), which collectively holds one hundred percent (100%) of Second Lien Claims regarding the
terms of the Plan. On September 20, 2019, the Second Lien Lender Group filed an objection to the
Disclosure Statement that included potential objections to the Initial Plan and the Global Settlement,
including the proposed scope and beneficiaries of the releases and exculpation provisions of the Initial
Plan, among other issues. The Second Lien Lender Group also served discovery requests on the Debtors
and other parties. On September 24, 2019, the Debtors announced that the parties had reached a
settlement in principle on the terms of the Second Amended Plan and Global Settlement.
Contemporaneously herewith, the Debtors have filed the Second Amended Plan, which incorporates the
resolution reached among the Debtors, the First Lien Lender Group, the Second Lien Lender Group, and
the Creditors’ Committee and the amended terms of the Global Settlement.

Generally, the Second Amended Plan contemplates the following treatment for creditors or interest holders
under the Reorganization Transaction.

         As part of the restructuring contemplated by the Restructuring Support Agreement, the First Lien
          Lender Group backstopped a debtor-in-possession financing in the aggregate amount of $59.5
          million (the “DIP Facility”) to support the Company’s operations during the Chapter 11 Cases.
          On the Effective Date, the DIP Facility will be paid in full in cash or refinanced in full in cash
          from borrowing under the Exit Financing Facility.

         First Lien Claims. On the Effective Date, the holders of First Lien Claims will receive their Pro
          Rata share of (i) the First Lien Lender Equity Distribution (consisting of one hundred percent
          (100%) of the New Equity Interests issued and outstanding on the Effective Date and Special

                                                         3
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57           Main Document
                                                  Pg 286 of 565



          Warrants that, when all Special Warrants are exercised on a fully distributed basis, will cause
          holders of First Lien Claims to hold ninety-seven and one-half percent (97.5%) of the New Equity
          Interests (subject to dilution by the Management Incentive Plan)); provided, that, notwithstanding
          anything herein or in the Second Amended Plan to the contrary, the distribution of the First Lien
          Lender Equity Distribution shall be made pursuant to, and subject to the terms and conditions of,
          the Equity Allocation Mechanism attached as Exhibit A to the Second Amended Plan, less any
          New Equity Interests and/or Special Warrants distributable to other classes of Claims in order for
          the Bankruptcy Court to determine that the Amended Plan satisfies section 1129(a)(7) of the
          Bankruptcy Code; (ii) the loans under the New First Lien Credit Facility in the aggregate amount
          of up to $225.0 million (the “New First Lien Term Loans”); and (iii) cash or other proceeds, if
          any, from the sale of the Debtors’ Canadian Business unless otherwise agreed to by the Requisite
          First Lien Lenders.

         Second Lien Claims. On the Effective Date, the holders of Second Lien Claims will receive (i) if
          Class 4 is an Accepting Class, a Pro Rata share of Second Lien Warrants, in full satisfaction of
          its Allowed Second Lien Claim and Second Lien Deficiency Claim; provided, that,
          notwithstanding anything herein or in the Amended Plan to the contrary, the distribution of the
          Second Lien Warrants shall be made pursuant to and subject to (a) the Communications Act of
          1934 (as amended, the “Communications Act”) and the rules and regulations of the Federal
          Communications Commission (“FCC”); (b) state laws, rules, and regulations; and (c) the rules or
          regulations of the various state public utility commissions or public service commissions (the
          “State PUCs”); or (ii) if Class 4 is not an Accepting Class, their Pro Rata share of (x) the
          Litigation Trust Interests on account of each holder’s Second Lien Deficiency Claims (subject to
          the terms and conditions of the Prepetition Intercreditor Agreement) and (y) the percentage of the
          New Equity Interests and/or their Pro Rata share of the Second Lien Lender Special Warrant
          Distribution (consisting of Special Warrants, as determined by the Bankruptcy Court to satisfy
          section 1129(a)(7) of the Bankruptcy Code as to that, when all Special Warrants are exercised on
          a fully distributed basis, will cause holders of Second Lien Claims (if any). On the Effective
          Date, the Prepetition Second Lien Credit Agreement will be deemed cancelled except as otherwise
          stated in the Amended Plan.to hold two and one-half percent (2.5%) of the New Equity Interests
          (subject to dilution by the Management Incentive Plan).

         General Unsecured Claims. On the Effective Date, the holders of General Unsecured Claims will
          receive their Pro Rata share of the Litigation Trust Interests.

         Parent Equity Interests. On the Effective Date, the Parent Equity Interests will be extinguished
          and shall be of no further force and effect, whether surrendered for cancellation or otherwise.

         All Priority Non-Tax Claims, Other Secured Claims, Intercompany Claims, and Intercompany
          Interests are Unimpaired under the Second Amended Plan.

         Following the Effective Date, Reorganized FCI will adopt a post-emergence management
          incentive plan (the “Management Incentive Plan”), under which up to ten percent (10%) of the
          New Equity Interests (after taking into account the shares to be issued under the Management
          Incentive Plan) will be reserved for issuance as awards on terms and conditions as agreed to by
          the New Board.

The Equity Allocation Mechanism. As set forth in Section VII herein, the Debtors hold certain licenses
and telecommunications service authority necessary for their business operations. The Federal
Communications Commission (the “FCC”) and the various state public utility commissions or public
service commissions (the “State PUCs”) require that entities holding such licenses and authority obtain

                                                         4
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57          Main Document
                                                  Pg 287 of 565



prior consent in the event of a material change in the equity or voting ownership of the licensed entities.
Moreover, Section 310(b) of the Communications Act and the FCC’s foreign ownership rules limit the
aggregate foreign equity ownership or aggregate foreign voting percentage in Reorganized FCI to twenty-
five percent (25%) absent the issuance of a Declaratory Ruling by the FCC finding that the public interest
would not be served by refusing or revoking the Company’s licenses. In order to allow Reorganized FCI
to emerge without the need to seek such a Declaratory Ruling, the Equity Allocation Mechanism is
designed so that foreign ownership of the Company will not exceed twenty-two and one-half percent
(22.5%) at emergence. In addition, because the FCC rules require that Reorganized FCI disclose the
identity of any individual or entity that holds ten percent (10%) or more of its equity or voting interests,
the Equity Allocation Mechanism is designed so that, with the exception of Telecom Holdings, holders
cannot hold equity ownership or voting rights in Reorganized FCI in excess of nine and three-quarters
percent (9.75%). As such, the Debtors have submitted applications to the FCC and the State PUCs to
obtain authorization for Telecom Holdings, LLC, a domestic U.S. entity established by the First Lien
Lenders, to hold in excess of fifty percent (50%) but no more than seventy-seven and one-half percent
(77.5%) of New Equity Interests on the Effective Date. Telecom Holdings, LLC is owned by twelve (12)
U.S. Holders (as defined below). The remainder of the New Equity Interests in Reorganized FCI will be
distributed on a Pro Rata basis to all other holders of First Lien Claims, who, together with Telecom
Holdings, LLC, will hold one hundred percent (100%) of the New Equity Interests in Reorganized FCI on
the Effective Date. The other holders of First Lien Claims will also receive Special Warrants in
accordance with the procedures set forth in the Equity Allocation Mechanism. In total, the combination of
New Equity Interests and Special Warrants issued to holders of First Lien Claims will represent ninety-
seven and one-half percent (97.5%) of Reorganized FCI’s Common Stock on a fully diluted basis after the
Exercise Date. All holders of Second Lien Claims will receive Special Warrants representing two and
one-half percent (2.5%) of Reorganized FCI’s Common Stock on a fully diluted basis, pursuant to the
Second Lien Lender Special Warrant Distribution.

The First Lien Lender Equity Distribution, along with the Equity Allocation Mechanism, govern the
distribution of New Equity Interests and/or Special Warrants to the First Lien Lenders on the Effective
Date. On the Effective Date, holders of First Lien Claims will receive New Equity Interests to the
maximum extent permissible by relevant FCC rules and regulations, and will receive Special Warrants,
which may be freely transferred or sold, subject to applicable laws, for the remainder of the value of such
Claims. The implied value of the Special Warrants is equal to the value of a proportionate amount of
New Equity Interests. On the Effective Date or shortly thereafter, Reorganized FCI will submit a Petition
for Declaratory Ruling seeking authority to exceed twenty-five percent (25%) of foreign ownership and
other applications with the FCC and State PUCs needed to obtain other relevant regulatory approvals.
Once such approvals are obtained, holders of Special Warrants are automatically deemed to exercise their
Special Warrants in exchange for a corresponding number of New Equity Interests and convert into direct
equity of Reorganized FCI, subject to the procedures set forth in the Special Warrant Agreement and the
relevant regulatory approvals.




                                                         5
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57          Main Document
                                                  Pg 288 of 565



The Debtors also filed the Liquidation Analysis, Valuation Analysis, and Financial Projects of Fusion
Connect, Inc. and its Debtors Subsidiaries on September 17, 2019 (ECF No. 409). TheIncluded in this
Amended Disclosure Statement are the Financial Projections, a revised Liquidation Analysis, and the
Valuation Analysis are, each attached to this Amended Disclosure Statement as Exhibit C, Exhibit D,
and Exhibit E, respectively. In preparing each of these exhibits, the Debtors worked closely with their
advisors to develop a reasonably achievable business plan. The revisions to the Company’s business plan
involved, among other measures, observation and modeling of base trends and past performance followed
by forecasting of individual items, including revenue, expenses, and other line items. The Debtors
consulted with numerous internal and external parties and advisors to ensure that this business plan was
constructed with the utmost understanding of the Company’s business from financial, regulatory, and
marketing perspectives. The Debtors and their advisors also considered industry trends in the
development of the business plan, including both macro-trends within the telecommunications industry
and trends at the product level.

With this background, the Company and its advisors have concluded that the Reorganization Transaction
is expected to leave the U.S. business intact and significantly deleverage the Company’s balance sheet. It
is also expected to enhance Fusion Connect’s long-term growth prospects and operational performance.

Accomplishing a speedy and efficient resolution of the Chapter 11 Cases is essential to maximizing the
value of the Company. Under the Restructuring Support Agreement and pursuant to the terms of the DIP
Documents, the Debtors are obligated to meet certain milestones. Specifically, the Restructuring Support
Agreement and the DIP Facility may be terminated if, among other things, the Debtors fail to satisfy the
following milestones (unless the Requisite First Lien Lenders (as defined in the Restructuring Support
Agreement) agree to extend the relevant milestone in advance or waive the default):

                          Milestone                          Deadline (as extended from time to time)
  Entry of Order Approving Bidding Procedures
  (as defined below)                                     July 3, 2019

  Commence Solicitation of Non-Binding
  Indications of Interest (“Exit Financing IOIs”)        July 3, 2019

  Entry of Final DIP Order                               July 8, 2019
  Deadline to Receive Exit Financing IOIs                July 16, 2019
  Filing of State PUC Applications                       August 10, 2019
  Entry of Order Approving Disclosure Statement          September 24October 11, 2019
  Receive Binding Commitment Letter for the
  New Exit Credit Agreement                              October 4November 1, 2019

  Entry of Order Confirming Second Amended               November 714, 2019 (Pending the Court’s
  Plan                                                   availability)
                                                         NovDecember 74, 2019 (or NovDecember 2219,
  Occurrence of Second Amended Plan Effective            2019 if 15-day extension is exercised in
  Date                                                   accordance with the terms of the Restructuring
                                                         Support Agreement)




                                                         6
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57          Main Document
                                                  Pg 289 of 565



  THE DEBTORS, THE CREDITORS’ COMMITTEE, AND THE FIRST LIEN LENDER
  GROUP, AND THE SECOND LIEN LENDER GROUP SUPPORT CONFIRMATION OF
  THE SECOND AMENDED PLAN AND URGE ALL HOLDERS OF CLAIMS ENTITLED
  TO VOTE ON THE SECOND AMENDED PLAN TO VOTE TO ACCEPT THE SECOND
  AMENDED PLAN, BECAUSE THEY BELIEVE THAT THE SECOND AMENDED PLAN
  PROVIDES THE HIGHEST AND BEST RECOVERY FOR ALL STAKEHOLDERS.




WHO IS ENTITLED TO VOTE: Under the Bankruptcy Code, only holders of claims or interests in
“impaired” Classes are entitled to vote on the Second Amended Plan (unless, for reasons discussed in
more detail below, such holders are deemed to reject the Second Amended Plan pursuant to section
1126(g) of the Bankruptcy Code). Under section 1124 of the Bankruptcy Code, a class of claims or
interests is deemed to be “impaired” unless (i) the Second Amended Plan leaves unaltered the legal,
equitable, and contractual rights to which such claim or interest entitles the holder thereof or
(ii) notwithstanding any legal right to an accelerated payment of such claim or interest, the Second
Amended Plan, among other things, cures all existing defaults (other than defaults resulting from the
occurrence of events of bankruptcy) and reinstates the maturity of such claim or interest as it existed
before the default.

Holders of Claims in Class 3 (First Lien Claims), Class 4 (Second Lien Claims), and Class 5 (General
Unsecured Claims) are the only Classes being solicited under, and the only Classes entitled to vote on, the
Second Amended Plan.

THE SECOND AMENDED PLANPLAN PROVIDES THAT THE HOLDERS OF CLAIMS IN
CLASS 3, CLASS 4, AND CLASS 5 WHO VOTE TO ACCEPT THE SECOND AMENDED
PLANPLAN ARE DEEMED TO HAVE GRANTED THE RELEASES CONTAINED IN
SECTION 10.6(b) OF THE AMENDED PLANSECOND AMENDED PLAN.

The following table summarizes (i) the treatment of Claims and Interests that are classified under the
Second Amended Plan, (ii) which Classes are impaired by the Second Amended Plan, (iii) which Classes
are entitled to vote on the Second Amended Plan, and (iv) the estimated recoveries for holders of Claims
and Interests in the Reorganization Transaction. The table is qualified in its entirety by reference to the
full text of the Second Amended Plan. For a more detailed summary of the terms and provisions of the
Second Amended Plan, see Article V—Summary of Second Amended Plan below. The Second Amended
Plan constitutes a separate plan for each Debtor. Each class of Claims and Interests only address claims
against or interest in a particular Debtor. A discussion of the amount of Claims in each Class is set forth
in Article V.C hereof.




                                                         7
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
  19-11811-dsj              Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57                Main Document
                                                       Pg 290 of 565



                                                                                             Entitled to   Approx.
                                                                                               Vote on   Recovery in
               Claim or                                                          Impaired or
Class                                                   Treatment                            the Second Reorganization
             Equity Interest                                                     Unimpaired
                                                                                              Amended
                                                                                                Plan
                                    Except to the extent that a holder of an
                                    Allowed Priority Non-Tax Claim against the
                                    Debtors agrees to a less favorable treatment of
                                    such Claim, in full and final satisfaction of
                                    such Allowed Priority Non-Tax Claim, at the
                                    sole option of the Debtors or the Reorganized
                                    Debtors, as applicable: (i) each such holder
                                    shall receive payment in Cash in an amount
                                    equal to such Claim, payable on the later of               No
 1           Priority Non-Tax       the Effective Date and the date that is ten Unimpaired (Presumed         100.0%
                  Claims            (10) Business Days after the date on which             to Accept)
                                    such Priority Non-Tax Claim becomes an
                                    Allowed Priority Non-Tax Claim, or as soon
                                    thereafter as is reasonably practicable; or
                                    (ii) such holder’s Allowed Priority Non-Tax
                                    Claim shall be Reinstated; or (iii) such holder
                                    shall receive such other treatment so as to
                                    render such holder’s Allowed Priority Non-
                                    Tax Claim Unimpaired.
                                    Except to the extent that a holder of an
                                    Allowed Other Secured Claim agrees to
                                    different treatment, on the later of the
                                    Effective Date and the date that is ten (10)
                                    Business Days after the date such Other
                                    Secured Claim becomes an Allowed Claim, or
                                    as soon thereafter as is reasonably practicable,
                                    each holder of an Allowed Other Secured
                                    Claim will receive, on account of such
              Other Secured                                                                         No       100.0%
                                    Allowed Claim, at the sole option of the
 2               Claims                                                              Unimpaired (Presumed
                                    Debtors or the Reorganized Debtors, as
                                                                                                to Accept)
                                    applicable: (i) Cash in an amount equal to
                                    the Allowed amount of such Claim;
                                    (ii) Reinstatement of such holder’s Allowed
                                    Other Secured Claim; or (iii) such other
                                    treatment sufficient to render such holder’s
                                    Allowed Other Secured Claim Unimpaired;
                                    or (iv) return of the applicable collateral in
                                    satisfaction of the Allowed amount of such
                                    Other Secured Claim.




                                                                    8
     WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
  19-11811-dsj              Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57                Main Document
                                                       Pg 291 of 565



                                                                                                Entitled to   Approx.
                                                                                                  Vote on   Recovery in
               Claim or                                                             Impaired or
Class                                                   Treatment                               the Second Reorganization
             Equity Interest                                                        Unimpaired
                                                                                                 Amended
                                                                                                   Plan
                                    Except to the extent that a holder of an
                                    Allowed Priority Non-Tax Claim against the
                                    Debtors agrees to a less favorable treatment of
                                    such Claim, in full and final satisfaction of
                                    such Allowed Priority Non-Tax Claim, at the
                                    sole option of the Debtors or the Reorganized
                                    Debtors, as applicable: (i) each such holder
                                    shall receive payment in Cash in an amount
                                    equal to such Claim, payable on the later of               No
 1           Priority Non-Tax       the Effective Date and the date that is ten Unimpaired (Presumed           100.0%
                  Claims            (10) Business Days after the date on which             to Accept)
                                    such Priority Non-Tax Claim becomes an
                                    Allowed Priority Non-Tax Claim, or as soon
                                    thereafter as is reasonably practicable; or
                                    (ii) such holder’s Allowed Priority Non-Tax
                                    Claim shall be Reinstated; or (iii) such holder
                                    shall receive such other treatment so as to
                                    render such holder’s Allowed Priority Non-
                                    Tax Claim Unimpaired.
                                    Except to the extent that a holder of an
                                    Allowed Other Secured Claim agrees to
                                    different treatment, on the later of the
                                    Effective Date and the date that is ten (10)
                                    Business Days after the date such Other
                                    Secured Claim becomes an Allowed Claim, or
                                    as soon thereafter as is reasonably practicable,
                                    each holder of an Allowed Other Secured
                                    Claim will receive, on account of such
              Other Secured                                                                         No         100.0%
                                    Allowed Claim, at the sole option of the
 2               Claims                                                              Unimpaired (Presumed
                                    Debtors or the Reorganized Debtors, as
                                                                                                to Accept)
                                    applicable: (i) Cash in an amount equal to
                                    the Allowed amount of such Claim;
                                    (ii) Reinstatement of such holder’s Allowed
                                    Other Secured Claim; or (iii) such other
                                    treatment sufficient to render such holder’s
                                    Allowed Other Secured Claim Unimpaired;
                                    or (iv) return of the applicable collateral in
                                    satisfaction of the Allowed amount of such
                                    Other Secured Claim.
 3           First Lien Claims Except to the extent that a holder of a First Lien    Impaired      Yes       60.60-776.1%
                               Claim agrees to less favorable treatment, in full
                               and final satisfaction, settlement, release, and
                               discharge of, and in exchange for such First
                               Lien Claim, each such holder thereof (or, with
                               respect to any New Equity Interests to be issued
                               pursuant to the First Lien Lender Equity
                               Distribution, such holder’s permitted designee)
                               shall receive on the Effective Date such holder’s
                               Pro Rata share of (a) the First Lien Lender


                                                                    9
     WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57   Main Document
                                                  Pg 292 of 565


                              Equity Distribution; provided, that
                              notwithstanding anything in the Second
                              Amended Plan to the contrary, the distribution
                              of the First Lien Lender Equity Distribution
                              shall be made pursuant to, and subject to the
                              terms and conditions of, the Equity Allocation
                              Mechanism, less any New Equity Interests
                              and/or Special Warrants distributable to other
                              classes of Claims in order for the Bankruptcy
                              Court to determine that the Amended Plan
                              satisfies section 1129(a)(7) of the Bankruptcy
                              Code; (b) the loans under the New First Lien
                              Credit Facility; and (c) cash or other proceeds,
                              if any, from the sale of the Debtors’ Canadian
                              business unless otherwise agreed to by the
                              Requisite First Lien Lenders.

                              For the avoidance of doubt, on the Effective
                              Date, the Prepetition First Lien Credit
                              Agreement shall be deemed cancelled (except as
                              set forth in Section 5.9 of the Second Amended
                              Plan) without further action by or order of the
                              Bankruptcy Court.




                                                            10
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj               Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57              Main Document
                                                      Pg 293 of 565


                             Except to the extent that a holder of an Allowed
                             Second Lien Claim agrees to less favorable
                             treatment, in full and final satisfaction,
                             settlement, release, and discharge of, and in
                             exchange for ansuch Allowed Second Lien
                             Claim, on the Effective Date each such holder
                             thereof shall receive: (i) if Class 4 is an
                             Accepting Class, holders of First Lien Claims
                             shall be deemed to have consented to a
                             distribution to holders of Second Lien Claims
                             of, and each holder of a Second Lien Claim and
                             Second Lien Deficiency Claim shall receive on
                             the Effective Date, in full satisfaction of its
                             Allowed Second Lien Claim and Second Lien
                             Deficiency Claim, such holder’s Pro Rata share
                             of Second Lien Warrants; provided, that,
                             notwithstanding anything herein to the
                             contrary, the distribution of the Second Lien
                             Warrants to the holders of Second Lien Claims                                4.0-6.9%(i) if
                             shall be made pursuant to and subject to                                     Class 4 is an
                             Communications Act and the rules and                                        Accepting Class:
                             regulations of the FCC as well as applicable                                   0.1-2.6%
4         Second Lien Claims state laws and the rules and regulations of the        Impaired   Yes
                             State PUCs; or (ii) if Class 4 is not an
                             Accepting Class, then each holder of a Second                                (ii) if Class 4 is
                             Lien Claim will receive its Pro Rata share of (x)                           not an Accepting
                             the Litigation Trust Interests on account of its                               Class: N/A56
                             Second Lien Deficiency Claim (subject to the
                             terms and conditions of the Prepetition
                             Intercreditor Agreement) and (y) the percentage
                             of the New Equity Interests and/orthe Second
                             Lien Lender Special Warrants in accordance
                             with the Equity Allocation Mechanism, as
                             determined by the Bankruptcy Court to satisfy
                             section 1129(a)(7) of the Bankruptcy Code as to
                             holders of Second Lien Claims (if
                             any).Distribution.

                                  For the avoidance of doubt, on the Effective
                                  Date, the Prepetition Second Lien Credit
                                  Agreement shall be deemed cancelled (except as
                                  set forth in Section 5.9 of the Second Amended
                                  Plan) without further action by or order of the
                                  Bankruptcy Court.




    5
          “N/A” indicates that the amount cannot be calculated.
    6
          If the Second Lien Lenders are required to turn over any recoveries from the Litigation Trust to the First
          Lien Lenders, their estimated recovery would be 0.0%.


                                                               11
    WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj               Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57                   Main Document
                                                      Pg 294 of 565


                             Except to the extent that a holder of an Allowed
                             General Unsecured Claim agrees to less
                             favorable treatment, in full and final
                             satisfaction, settlement, release, and discharge
           General Unsecured
5                            of, and in exchange for an Allowed General               Impaired      Yes        N/A4
                Claims
                             Unsecured Claim, each such holder thereof
                             shall receive such holder’s Pro Rata share of the
                             Litigation Trust Interests on the Effective Date.

                                   On or after the Effective Date, all
                                   Intercompany Claims will be adjusted,
                                   continued, settled, reinstated, discharged, or
              Intercompany                                                                          No         N/A
                                   eliminated as determined by the Debtors or
6                 Claims                                                             Unimpaired (Presumed
                                   the Reorganized Debtors, as applicable, and
                                                                                                to Accept)
                                   the Requisite First Lien Lenders, in their
                                   respective reasonable discretion, but not paid
                                   in Cash.
                                   On or after the Effective Date, all
                                   Intercompany Interests shall be cancelled,
                                   reinstated, or receive such other treatment as              No
              Intercompany                                                                                     N/A
7                                  determined by the Debtors or the Reorganized Unimpaired (Presumed
                 Interests
                                   Debtors, as applicable, and the Requisite First         to Accept)
                                   Lien Lenders, in their respective reasonable
                                   discretion.
                                   On the Effective Date, all Parent Equity
                                   Interests shall be deemed cancelled without
                                   further action by or order of the Bankruptcy
                                   Court, and shall be of no further force and
                                   effect, whether surrendered for cancellation
                                                                                                 No (Deemed
8                                  or otherwise. To the extent permitted by           Impaired
                                                                                                  to reject)
              Parent Equity        applicable law, on or promptly after the
                Interests          Effective Date, the Reorganized Debtors shall                               0.0%
                                   file with the SEC a Form 15 for the purpose
                                   of terminating the registration of any of FCI’s
                                   publicly traded securities.
                                   Holders of Subordinated Securities Claims
                                   shall not receive or retain any property under
                                   the Second Amended Plan on account of such
                                   Subordinated Securities Claims. On the
              Subordinated         Effective Date, all Subordinated Securities                   No (Deemed    0.0%
9           Securities Claims                                                         Impaired
                                   Claims shall be deemed cancelled without                       to reject)
                                   further action by or order of the Bankruptcy
                                   Court, and shall be of no further force and
                                   effect, whether surrendered for cancellation
                                   or otherwise.

    Summary of Plan Release and Exculpation Provisions




    4
          “N/A” indicates that the amount cannot be calculated.


                                                                12
    WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57          Main Document
                                                  Pg 295 of 565



Section 10 of the Second Amended Plan provides for the release of the Released Parties (as defined below)
and the exculpation of the Exculpated Parties (as defined below). The Debtors’ releases of the Released
Parties pursuant to Section 10.6(a) of the Second Amended Plan (the “Estate Releases”), the consensual
third-party releases of the Released Parties pursuant to Section 10.6(b) of the Second Amended Plan (the
“Consensual Releases”), and the exculpation of the Exculpated Parties pursuant to Section 10.7 of the
Second Amended Plan are an integral part of the Debtors’ overall restructuring efforts and are an essential
element of the Second Amended Plan and the Global Settlement.

The Debtors believe that the Estate Releases satisfy the business judgment standard. The Estate Releases
provided in the Second Amended Plan grant a release and discharge of limited parties by the Debtors and
their Estates, the Reorganized Debtors, and the Litigation Trust. In exchange for the material benefits
they will receive from the Released Parties through the Second Amended Plan, among other things, the
Debtors have proposed to release the Released Parties. When considering releases by a debtor of non-
debtor third parties pursuant to section 1123(b)(3)(A), the appropriate standard is whether the release is a
valid exercise of the debtor’s business judgment and is fair, reasonable, and in the best interests of the
estate. See In re Angelica Corp., Case No. 17-10870 (JLG), Aug. 29, 2017 Hr’g Tr. at 12:23-13:11 (“In
cases like this one where there are no known claims against a party to receive a Release, Courts in this
district approved Debtor Releases when they represent a valid exercise of the Debtor’s business judgement
and are in the best interest of the estate.”); In re Motors Liquidation Co., 447 B.R. 198, 220 (Bankr.
S.D.N.Y. 2011) (“Releases by estates involve a give-up of potential rights that are owned by the estate,
and are perfectly permissible in a plan, either as parts of plan settlements or otherwise, though the court
must satisfy itself (at least if anyone raises the issue) that the give-up is an appropriate exercise of
business judgment, and, possibly, in the best interests of the estate.”); In re DBSD N. Am., Inc., 419 B.R.
179, 217 (Bankr. S.D.N.Y. 2009) (approving plan provision that released and discharged claims and
causes of action by debtors on basis that such releases and discharges “represent a valid exercise of the
Debtors’ business judgment, and are fair, reasonable and in the best interests of the estate.”), aff’d, Case
No. 90–13061 (REG), 2010 WL 1223109 (S.D.N.Y. Mar. 24, 2010), aff’d in part, rev’d in part sub
nom. DISH Network Corp. v. DBSD N. Am. Inc. (In re DBSD N. Am.), 634 F.3d 79 (2d Cir. 2011); In re
Charter Commc’ns, 419 B.R. 221, 257-60 (Bankr. S.D.N.Y. 2009) (“When reviewing releases in a
debtor’s plan, courts consider whether such releases are in the best interest of the estate”); In re Bally
Total Fitness of Greater N.Y., Inc., Case No. 07-12395 (BRL), 2007 WL 2779438, at *12 (Bankr.
S.D.N.Y. Sept. 17, 2007) (finding debtor releases appropriate where they represented a valid exercise of
the debtors’ business judgment and were in the best interests of the estate). Debtors have considerable
leeway in issuing releases of their own claims, and such releases are considered “uncontroversial.” See In
re Adelphia Commc’ns Corp., 368 B.R. 140, at 263 n. 289 (Bankr. S.D.N.Y. 2007).

During the course of plan negotiations with the Consenting Term LoanFirst Lien Lenders, it was clear
that the Estate Releases of such parties would be a necessary condition to entry into and consummation of
the restructuring transaction embodied in the Second Amended Plan. Without the Estate Releases, the
Debtors and their stakeholders would likely not have been able to secure the substantial benefits provided
by the First Lien Lender Group, including, without limitation, the Consenting Term LoanFirst Lien
Lenders’ financing of the Prepetition Super Senior Loans and the DIP Facility. Had the Estate Releases
not been provided, the Debtors’ chances of avoiding detrimental business disruption during the Chapter 11
Cases and securing the valuable consideration provided by the Second Amended Plan would have been
next to impossible. At tThe Confirmation Hearing—the appropriate time to address the appropriateness
of the release and exculpation provisions in the Amended Plan—releases exchanged are also appropriate
with regard to the Creditors’ Committee, and the Debtors intend to present ample evidence to support that
the Estate Releases are a valid exercise of the business judgment rule.

With respect to the Consensual Releases, the Debtors believe that such releases are appropriate and may
become binding in accordance with section 1141(a) of the Bankruptcy Code and applicable law. In

                                                         13
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                                  Pg 296 of 565



addition, each of the Exculpated Parties has made a substantial contribution to the Debtors’
reorganization efforts and played an integral role in working towards an expeditious resolution of these
Chapter 11 Cases. The Debtors believe that the exculpation provisions are appropriately limited to the
Exculpated Parties’ participation in these cChapter 11 cCases and have appropriate carve outs for liability
resulting from gross negligence, willful misconduct, or intentional fraud. Accordingly, each of the
Released Parties and the Exculpated Parties warrant the benefit of the release and exculpation provisions.

The Debtors also believe that the release and exculpation provisions in the Second Amended Plan are
necessary and appropriate and meet the requisite legal standard promulgated by the United States Court of
Appeals for the Second Circuit (the “Second Circuit”). In the Second Circuit, exculpation provisions
that cover non-estate fiduciaries are permitted. See, e.g., In re Oneida, 351 B.R. 79, 94, n.22 (Bankr.
S.D.N.Y. 2006) (approving an exculpation provision covering a number of prepetition actors with respect
to certain prepetition actions, as well as postpetition activity); In re Granite Broad. Corp., 369 B.R. 120,
139 (Bankr. S.D.N.Y. 2007) (providing exculpation of controlling shareholder as well as estate
fiduciaries); In re Eastman Kodak Co., No. 12-10202 (Bankr. S.D.N.Y. Aug. 23, 2013) (overruling U.S.
Trustee objection to exculpation of both estate fiduciaries and nonfiduciaries from liability for “any
prepetition or postpetition act taken or omitted to be taken in connection with, or arising from or relating
in any way to, the chapter 11 cases”); In re Charter Commc’ns, Inc., No. 09-11435 (Bankr. S.D.N.Y.
Nov. 17, 2009) (approving exculpation of estate fiduciaries and non-fiduciaries for “any pre-petition or
postpetition act taken or omitted to be taken in connection with, or related to . . . the restructuring of the
Company”); In re Cengage Learning, Inc., No. 13-44106 (Bankr. E.D.N.Y. Mar. 14, 2014) (approving
exculpation provision for estate fiduciaries and non-fiduciaries for “any prepetition or postpetition act
taken or omitted to be taken in connection with, or related to formulating, negotiating, soliciting,
preparing, disseminating, confirming, implementing, or consummating the Second Amended Plan”).

Courts have recognized the appropriateness of extending exculpation to parties who make a substantial
contribution to a debtor’s reorganization and, specifically, who play an integral role in building consensus
in support of a debtor’s restructuring. See, e.g., In re Residential Capital, No. 12-12020, Findings of
Fact, ¶ 291 (ECF No. 6066) (Bankr. S.D.N.Y. Dec. 11, 2013) (approving exculpation of certain
prepetition lenders who “played a meaningful role. . . in the mediation process, and through the
negotiation and implementation of the Global Settlement and Plan”); In re Worldcom, Inc., No. 02-13533,
2003 WL 23861928, at *52 (approving exculpation provisions where “[t]he inclusion of the Exculpation
Provision … in the Second Amended Plan [was] vital to the successful negotiation of the terms of the
Second Amended Plan in that without such provisions, the Covered Parties would have been less likely to
negotiate the terms of the settlements and the Second Amended Plan.”). The Exculpated Parties provided
a substantial contribution to the estates, and the protections afforded by the Exculpation are, therefore,
reasonable and appropriate.

The “Released Parties” are, collectively, the: (a) Reorganized Debtors; (b) Consenting First Lien
Lenders; (c) Prepetition First Lien Administrative Agent; (d) Consenting Second Lien Lenders; (e)
Prepetition Second Lien Administrative Agent; (f) DIP Agent; (eg) DIP Lenders; (fh) Prepetition Super
Senior Administrative Agent; (gi) Prepetition Super Senior Lenders; (hj) Creditors’ Committee and each
of its members in such capacity; (ik) the Specified Officers and Directors (four (4) individuals); (jl) Non-
Debtor Related Parties; and (km) Debtor Related Parties. The “Debtor Related Parties” is a narrow
class including certain of the Debtor’s postpetition advisors, each Debtor’s successors, and certain of the
Debtors’ officers and current officers and directors, and all of the Debtors current non-officer employees.
The “Non-Debtor Related Parties” is a narrow group including and encompassinges affiliates and
employees of Non-Debtor Released or Exculpated Parties.

The Second Amended Plan specifically identifies the following “Non-Released Parties”: (a) any current
or former director, officer, member, shareholder, or employee of the Debtors or predecessor of the

                                                         14
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57          Main Document
                                                  Pg 297 of 565



Debtors, other than the Specified Officers and Directors and the Debtor Employees; (b) any Affiliate of
the Debtors or predecessors of the Debtors, and any directors, officers, shareholders, or employees
thereof; (c) any predecessor of a Debtor; (d) Lingo Communications LLC, any Affiliates thereof, and their
directors, officers, shareholders, and employees; (e) any subsequent transferee of any of the foregoing; (f)
any counsel, accountant or other professional advisor to (x) any of the foregoing and (y) the Debtors or
predecessor of any Debtor prior to March 1, 2019; provided, that vendors and contract counterparties of
Reorganized FCI, other than Lingo Communications LLC and any Affiliates thereof, shall not be Non-
Released Parties solely with respect to any Preference Action against them; provided further, that no
Reorganized Debtor, Reorganized Debtor’s successor or Consenting First Lien Lender shall be a Non-
Released Party.

The “Exculpated Parties” are, collectively, each solely in their capacities as such, the (a) Debtors;
(b) Reorganized Debtors; (c) Consenting First Lien Lenders; (d) Prepetition First Lien Administrative
Agent; (e) Prepetition Super Senior Administrative Agent; (f) DIP Agent, (g) DIP Lenders; (h) New First
Lien Lenders; (i) New First Lien Agent; (j) New Exit Facility Lenders; (k) New Exit Facility Agent;
(l) Litigation Trust Oversight Committee; (m) Creditors’ Committee and each of its members in such
capacity; (n) Non-Debtor Related Parties; and (o) Debtor Exculpated Parties.

The Second Lien Lenders have filed an objection to the Disclosure Statement (ECF No. 421) that opposes,
among other things, the scope and recipients of the Estate Releases and Exculpation Provisions. The
Second Lien Lenders have also served discovery requests in connection with their objections. The
Debtors disagree with the Second Lien Lenders’ positions and will respond in connection with the
Confirmation Hearing.

WHERE TO FIND ADDITIONAL INFORMATION: Fusion Connect files annual reports and
quarterly reports with, and furnishes other information to the SEC. Copies of any document filed
with the SEC may be obtained by visiting the SEC website at http://www.sec.gov and performing a
search under the “Company Filings” link.

As previously disclosed in the Current Report on Form 8-K filed with the SEC on April 2, 2019, the
Company’s audit committee, after consultation with management and discussion with our
independent registered public accounting firm, concluded that the Company’s previously issued
financial statements for the fiscal year ended December 31, 2017 and for the periods ended June 30,
2018 and September 30, 2018 (collectively, the “Restated Periods”) and other financial
communications for the Restated Periods should no longer be relied upon and should be restated for
certain accounting errors. The Debtors believe that these accounting errors resulted in a
discrepancy of approximately $3 million.

Any Current Reports on Form 8-K (other than information furnished pursuant to Items 2.02 or 7.01
and any related exhibits of any Form 8-K, unless expressly stated otherwise therein), Quarterly
Reports on Form 10-Q or Annual Reports on Form 10-K filed by Fusion Connect with the SEC after
the date of this Disclosure Statement will be considered a part of this Disclosure Statement from the
date of the filing of such documents.

Any statement contained in a document incorporated or deemed to be incorporated herein by
reference or contained in this Disclosure Statement shall be deemed to be modified or superseded for
purposes of this Disclosure Statement to the extent that a statement contained herein or in any other
subsequently dated or filed document which also is or is deemed to be incorporated by reference
herein modifies or supersedes such statement.




                                                         15
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57          Main Document
                                                  Pg 298 of 565




You should carefully read the entire Disclosure Statement and the documents incorporated by
reference herein. Any financial data included herein remains subject to the customary review
procedures associated with the completion of the Company’s public reporting requirements.

                                              II.
                               OVERVIEW OF COMPANY’S OPERATIONS

          A.        Debtors’ Business

                    1.        History and Formation

Fusion Connect was initially founded in Delaware by Marvin S. Rosen and Philip D. Turits in September
1997. Since then, the Company has expanded through a combination of organic growth and strategic
acquisitions and is now a provider of integrated cloud solutions for small, medium, and large businesses
in the United States and residential and business customers in Canada. On February 25, 2005, the
Company commenced its initial public offering, becoming a publicly listed company on the NASDAQ
Stock Market (“NASDAQ”). The Company was delisted from the NASDAQ Global Market effective
May 13, 2019.

                    2.        Current Business Operations

The Company’s broad operational goal is to provide companies with a unified platform to leverage cloud
and other communications technology and to serve as the single point of contact for related
troubleshooting. To fill this role, the Company offers a variety of products, including Unified
Communications-as-a-Service (“UCaaS”), dedicated internet access and private networks, and cloud
storage and security, all on a single platform that is supported by dedicated “Contact Customer” services.
The Company also offers Infrastructure-as-a-Service (“IaaS”) solutions that allow businesses to layer
additional cloud services onto its platform.

The Company categorizes its suite of services into three broad categories: (i) Cloud Communications,
(ii) Cloud Connectivity, and (iii) Cloud Computing. Depending on the needs and sizes of individual
customers, the Company offers different product bundles and service packages. In each case, the
Company’s goal is to provide companies with reduced secure data storage costs, as well as an advanced
and consistent communications network, all on a unified platform. The Company is able to achieve this
goal, in part, through its extensive North American network.

                              (a)       Cloud Communications

The Company’s Cloud Communications service consists primarily of its “Cloud Voice,” UCaaS, and SIP
trunking offerings. The Company’s Cloud Voice service allows customers to replace land-based office
telephone systems with a cloud-based digital telephone system, reducing upfront capital costs and
simplifying operations for office telephone systems. Cloud Voice provides efficiencies for companies with
multiple offices or a highly mobile workforce, and for companies that are opening a new office or need to
expand or replace existing legacy telephone systems. The Company supports its Cloud Voice service
through its UCaaS solutions, which integrate audio, video, messaging, and web services together,
enhancing customers’ ability to convey information and communicate effectively. The Company’s SIP
trunking service allows customers to retain their existing business telephone systems while operating those
systems using an internet connection.



                                                         16
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57             Main Document
                                                  Pg 299 of 565



                              (b)       Cloud Connectivity

The Company’s Cloud Connectivity service provides businesses with dedicated circuits to high-speed
broadband internet access, private networks, and other network-related services such as Multiprotocol
Label Switching (“MPLS”)7 5 services, and SD-WAN (Software-Defined Wide-Area Networks). The
goal of the Cloud Connectivity service is to facilitate optimized access to cloud services, private data
centers, and enterprise applications over the internet or by private links.

                              (c)       Cloud Computing

The Company’s Cloud Computing service provides customers with private and hybrid cloud computing
(IaaS) to centralize information management, hardware, network, and infrastructure in an off-premise
hosted location. In connection with its Cloud Computing services, the Company also supports secure file
sharing, backup and recovery services, and a unified threat management system to help detect, deter, and
defeat cyber-attacks to mitigate against business disruptions.

                    3.        Employees

As of the Commencement Date, the Debtors employed 810 full-time employees and 3 part-time employees
who perform a variety of critical functions, including sales, marketing, engineering and development,
operations, customer service, human resources, general administration, legal, finance, and management.
In addition, the Debtors rely on services from a supplemental workforce comprised of approximately 45
independent contractors and consultants that provide services related to the Debtors’ operations.
Specifically, the supplemental workforce provides services with respect to accounting, information
technology, facilities maintenance, claims management, and other shared services.

          B.        Debtors’ Organizational Structure

Fusion Connect is currently a public company with the majority of its shares held by BCHI Holdings,
LLC (“BCHI”). Fusion Connect owns, directly or indirectly, 100% of the ownership interest in each of
the other Debtors and Fusion Connect’s non-debtor Canadian Subsidiaries (as defined below). The chart
below illustrates the Company’s current organizational structure:




75
      MPLS is a routing technique in telecommunications networks that directs data from one node to the next
      based on short path labels rather than long network addresses, thus avoiding complex lookups in a routing
      table and speeding traffic flows.


                                                         17
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57        Main Document
                                                  Pg 300 of 565




The Company’s current corporate structure is the product of its 2018 acquisition of MegaPath and the
reverse merger with Birch. Specifically, Fusion MPHC Holding Corporation and its two (2) subsidiaries
reflect the MegaPath portion of the Company’s business. Fusion BCHI Acquisition LLC (“Fusion
BCHI”) and its subsidiaries represent the Company’s business that Fusion Connect acquired as part of
the Birch Merger. Fusion NBS Acquisition Corp. and Fusion LLC operate the remainder of the
Company’s business.

The two (2) non-Debtor entities included in the organizational structure chart — Primus Management
ULC (“Primus Management”) and Bircan Management ULC (collectively, the “Canadian
Subsidiaries”) — operate the Company’s Canadian Business, which provides telecommunications
services to residential and business customers in Canada. As described below, the Debtors provide certain
direct and indirect financial support to the Canadian Business in the ordinary course.

          C.        Directors and Officers

The following table sets forth the names of the members of Fusion Connect’s current Board of Directors:

                             Name                                          Position
                                                                     Director (Chairman)
                     Matthew D. Rosen
                                                                  Director (Vice Chairman)
                  Holcombe T. Green, Jr.
                                                                           Director
                  Michael J. Del Giudice



                                                         18
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57              Main Document
                                                  Pg 301 of 565



                   Lewis W. Dickey, Jr.                                           Director
                                                                                  Director
                      Neal P. Goldman
                                                                                  Director
                  Holcombe T. Green, III
                                                                                  Director
                  Rafe de la Gueronniere
                                                                                  Director
                      Marvin S. Rosen

The following table sets forth the names of the members of the Restructuring Committee:

                                              Michael J. Del Giudice
                                               Lewis W. Dickey, Jr.
                                                Neal P. Goldman
                                              Rafe de la Gueronniere


The following table sets forth the name of the member of the Special Committee (as defined below):

                                                  Neal P. Goldman


The following table sets forth the names of Fusion Connect’s current executive officers:

                           Name                                                   Position
                     Matthew D. Rosen                                      Chief Executive Officer
                    Russell P. Markman                             President and Chief Operating Officer
                       Keith Soldan                                        Chief Financial Officer
                       Brian George                                       Chief Technology Officer
                    James P. Prenetta Jr.                       Executive Vice President and General Counsel


The composition of the board of directors of Reorganized FCI will be disclosed in accordance with section
1129(a)(5) of the Bankruptcy Code.

                    1.        Leadership Changes

The Debtors intend to file a motion seeking entry of an order authorizing the Debtors to (i) appoint Kevin
Brand as the Debtors’ President, Chief Operating Officer, and interim Chief Executive Officer pursuant to
and in accordance with the terms and conditions set forth in that certain Employment Agreement between
FCI and Mr. Brand (the “Employment Agreement”), (ii) payment of certain fees to Matthew D. Rosen in
connection with his role as Chairman of the Board, and (iii) enter into that certain Consulting Agreement
between FCI and Russell P. Markman (the “Markman Consulting Agreement”). The motion will also
request authority to waive certain retention payments that were made to Mr. Rosen and Mr. Markman
prior to the Commencement Date. Mr. Rosen and Mr. Markman will resign as Chief Executive Officer
and Chief Operating Officer of FCI, respectively, and from any and all officer and director positions at
any of FCI’s subsidiaries, effective October 7, 2019. Kevin Brand, FCI’s current Vice President of
Customer Support, will be named interim Chief Executive Officer of the Company upon the effective date



                                                           19
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57         Main Document
                                                  Pg 302 of 565



of Mr. Rosen’s resignation and until such time as a successor Chief Executive Officer is appointed. Mr.
Brand will also accept a permanent position as the Company’s Chief Operating Officer.

The Restructuring Committee believes that Mr. Brand’s deep industry and company knowledge, combined
with his past operational experience, make him an ideal candidate for these positions. Mr. Brand has been
in the technology and communications industry for more than thirty years. His background includes
senior leadership roles at AT&T, CAIS Internet, and EarthLink in a wide range of functional areas,
including product management, product marketing, network engineering and operations, customer
support, provisioning, and partner sales. Mr. Brand holds a B.S. in Systems Science and Mathematics
from Washington University in St. Louis and an M.S. in Operations Research from the University of
California at Berkeley. Mr. Brand joined FCI as Vice President – Customer Support, as part of the
company’s acquisition of the Cloud and Business Services business of Birch in May 2018, where he
served in the same positon after joining Birch in 2017. Prior to joining Birch, Mr. Brand served as Head
of Products at Promethean from 2015 to 2016.

Mr. Brand will enter into the Employment Agreement with the Company, which includes an initial annual
base salary of $550,000 which will remain in effect until a permanent CEO is appointed by the Board of
Directors, at which time Mr. Brand’s base salary will be reduced to $450,000.

Mr. Rosen will continue to serve as Chairman of the Board until the Effective Date and receive his current
base salary and remain eligible to participate in the Company’s retirement and health and welfare benefit
plans. In addition, pursuant to the Second Amended Plan, on the Effective Date, Mr. Rosen and the
Reorganized Debtors will enter into a consulting agreement (the “Rosen Consulting Agreement”),
subject to Court approval of the Second Amended Plan, pursuant to which Mr. Rosen will provide
ongoing consulting services to the Company. The Rosen Consulting Agreement provides that, among
other things, Mr. Rosen will begin a six-month consulting term on the Effective Date and will continue to
receive his current base salary during such term. Mr. Rosen will be subject to a number of covenants in
favor of FCI, including confidentiality during, and for 18 months after, the term of the Rosen Consulting
Agreement and non-solicitation of employees during the term of the Rosen Consulting Agreement, as well
as other restrictive covenants. As Chairman of the Board until the Effective Date and consultant
thereafter, Mr. Rosen will be available to assist Mr. Brand and the Company to stabilize the business and
put the Company on the right track to profitability. Mr. Rosen has extensive experience in the industry
and strong relationships with the Company’s employees, customers, and vendors that need to be carefully
managed and attended to.

Mr. Markman will remain employed with the Company until his employment is formally terminated by
the Company. He will continue to receive bi-weekly pay at a level equivalent to Mr. Markman’s current
base salary. On the date upon which Mr. Markman is formally terminated by the Company, FCI will
enter into the Markman Consulting Agreement, pursuant to which Mr. Markman will provide ongoing
consulting services. The Markman Consulting Agreement provides that, among other things, Mr.
Markman will provide consulting services for a three-month term with FCI and receive a fixed monthly
fee of $33,334. Mr. Markman will be subject to a number of covenants in favor of FCI, including
confidentiality during, and for 18 months after, the term of the Markman Consulting Agreement and non-
solicitation of employees during the term of the Markman Consulting Agreement. Pursuant to the
Consulting Agreement, Mr. Markman’s scope of work includes, but is not limited to, being available,
during normal business hours, to respond to questions from Mr. Brand and/or his designee regarding
strategic questions relating to sale and marketing activities of the Company. As is the case with Mr.
Rosen, Mr. Markman has deep relationships with key stakeholders at the Company, in particular, the
channel partners. A smooth transition of Mr. Markman is essential for preservation of value.




                                                         20
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                                  Pg 303 of 565



Prior to the Commencement Date, Mr. Rosen and Mr. Markman were each paid a retention bonus
pursuant to the Company’s key employee retention program (“KERP”) of $200,000 and $250,000,
respectively. Following consultation with, and with the support of, the First Lien Lender Group and the
Creditors’ Committee, the Company has elected not to pursue the return of these payments because Mr.
Rosen and Mr. Markman will continue to provide valuable contributions to the Company. The First Lien
Lender Group and the Creditors’ Committee consent to this treatment and it is a critical component of the
Global Settlement.

The Rosen Consulting Agreement has been incorporated into the Plan and will be entered into with the
Reorganized Debtors upon the Effective Date of the Plan. In addition, the Plan has been modified to
provide that any recovery by the Litigation Trust against Mr. Rosen and Mr. Markman will be limited to
D&O Insurance amounts. Modifications were made to the Global Settlement to account for this
negotiated change.

          D.        Regulation of Company’s Business

In the United States, Fusion Connect, Inc., Fusion LLC, Fusion Cloud Services, LLC (“FCS”), Fusion
Communications, LLC, Fusion Telecom of Kansas, LLC, Fusion Telecom of Oklahoma, LLC, Fusion
Telecom of Missouri, LLC, and Fusion Telecom of Texas Ltd., L.L.P.’s (collectively the “Fusion
Licensees”) services are generally subject to varying degrees of federal, state and local regulation,
including regulation by the FCC and the State PUCs. While these regulatory agencies grant the Fusion
Licensees the authority to operate those aspects of their services that are subject to regulation, they
typically exercise minimal control over the Fusion Licensees’ services and pricing.

                    1.        Telecommunications Services

As carriers, the Fusion Licensees are subject to FCC regulation under the Communications Act of 1934
(as amended, the “Communications Act”). The Fusion Licensees have the necessary authority under
Section 214 of the Communications Act to operate in the United States as providers of domestic interstate
telecommunications services and to provide international telecommunications services pursuant to FCI’s
international Section 214 authority. Fusion Cloud Services, LLC also holds FCC-issued common carrier
radio station licenses and a private radio station license. The Fusion Licensees also hold various
intrastate telecommunications authorizations issued by the State PUCs.

These agencies impose regulatory obligations upon the Fusion Licensees, including but not limited to
licensing/registration and tariffing requirements; annual FCC and State PUC regulatory assessments; 911
emergency service requirements; Communications Assistance for Law Enforcement requirements;
obligations to support federal and state universal service funds; compliance with and contributions to
Telecommunications Relay Services (“TRS”); compliance with public safety and consumer protection
standards; compliance with the protocols of the North American Numbering Plan Administration
(“NAMPA”), and the Local Number Portability Administration as well as with Customer Proprietary
Network Information (“CPNI”) requirements and disability access obligations, Local Number Portability
(“LNP”) requirements, service discontinuance notification obligations, outage reporting requirements, and
rural call completion reporting and rules related to ring signal integrity. Should such Fusion Licensee fail
at any time to hold the licenses required to provide intrastate, interstate or international services, fail to
meet any of the FCC and State PUC requirements discussed above applicable to these licenses, including
the payment of required regulatory fees and fund contributions, the Fusion Licensee could be subject to
fines and/or other penalties, including revocation of operating authorizations.




                                                         21
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                                  Pg 304 of 565



                    2.        VoIP Services

The Company’s U.S. VoIP services are lightly regulated, although certain traditional telecommunications
regulations have been applied to VoIP services. The FCC does not require companies to hold an
authorization to provide VoIP services; however, the FCC does require providers of interconnected VoIP
services to comply with: 911 emergency service requirements; registration requirements; Communications
Assistance for Law Enforcement requirements; obligations to support Universal Service including the
Universal Service Fund (“USF”), TRS, FCC regulatory fees; NAMPA, and the Local Number Portability
Administration; CPNI requirements; disability access obligations; LNP requirements; service
discontinuance notification obligations; outage reporting requirements; and rural call completion reporting
and rules related to ring signal integrity. The FCC defines interconnected VoIP service as service that (i)
enables real-time, two-way voice communications, (ii) requires a broadband connection from the user’s
location, (iii) requires internet protocol compatible customer premises equipment, and (iv) permits users
generally to receive calls that originate on and terminate calls to the public switched telephone network.
Under this definition, the Fusion Licensees are providers of interconnected VoIP service. Should a Fusion
Licensee fail to meet any of the FCC requirements discussed above or fail to make required contributions
in the future, it could be subject to fines and/or penalties.

As a result of the FCC’s preemption of states’ ability to regulate certain aspects of VoIP service, and a
trend in state legislatures to affirmatively deregulate VoIP services for most purposes, the Company’s
VoIP services in the U.S. are subject to relatively few state regulatory requirements aside from a small
number of registrations, collection of state and local E911 fees and state Universal Service support
obligations. The state regulatory framework for Fusion Connect’s U.S. VoIP services continues to
evolve, so the Company, in conjunction with its professional advisors, monitors the actions of the various
state regulatory agencies and endeavors to ensure that it is in compliance with applicable state law,
including any new statutes or regulations that may be passed. However, there can be no assurance that
the Company will become aware of all applicable requirements on a timely basis, or that the Company
will always be fully compliant with applicable rules and regulations. Should the Company fail to be
compliant with applicable state regulations, or to file required reports with state regulatory agencies, the
relevant Fusion Licensee could be subject to fines and/or penalties. The Company expects to incur
ongoing operational, legal, and system costs in order to comply with these rules and regulations.

          E.        Debtors’ Existing Capital Structure

                         1. Prepetition Indebtedness

The following description is for informational purposes only and is qualified in its entirety by reference to
the documents setting forth the specific terms of such obligations and their respective related agreements.

                              (a)       Super Senior Loan Agreement

To obtain additional working capital during the weeks leading to the Commencement Date, the Debtors
entered into that certain Super Senior Secured Credit Agreement, dated as of May 9, 2019 (as amended,
supplemented, amended and restated or otherwise modified from time to time, the “Super Senior Loan
Agreement” and such obligations thereunder, the “Super Senior Loan Claims”) among Fusion Connect,
as borrower, the other Debtors, as guarantor subsidiaries, Wilmington Trust, National Association
(“Wilmington Trust”), as administrative agent and collateral agent, and the lenders party thereto




                                                         22
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57                 Main Document
                                                  Pg 305 of 565



(the “Super Senior Lenders”).8 6 As of the Commencement Date, the aggregate principal amount
outstanding under the Super Senior Loan Agreement was $20.0 million. Obligations under the Super
Senior Loan Agreement are secured by a lien on substantially all of the Debtors’ assets, including 100%
of the equity of non-Debtor Primus Management.

                              (b)       First Lien Credit Agreement

As of the Commencement Date, the Debtors had outstanding first lien secured debt obligations under that
certain First Lien Credit and Guaranty Agreement, dated as of May 4, 2018 (as amended, supplemented,
amended and restated or otherwise modified from time to time, the “First Lien Credit Agreement” and
such obligations thereunder, the “First Lien Claims”) among Fusion Connect, as borrower, the other
Debtors, as guarantor subsidiaries, Wilmington Trust, as administrative agent and collateral agent, and
the lenders party thereto (the “First Lien Lenders”). As of the Commencement Date, the aggregate
principal amount outstanding under the First Lien Credit Agreement was approximately $585.5 million,
which amount consisted of the following tranches of debt, each secured by the same collateral with pari
passu lien priority: (i) approximately $44.2 million in “Tranche A” term loans (the “Tranche A Term
Loans”), (ii) approximately $499.0 million in “Tranche B” term loans (the “Tranche B Term Loans”),
and (iii) $39.8 million in loans under a revolving facility (the “Revolving Loans”), as well as
approximately $512,000 in aggregate face amount of issued and outstanding letters of credit. Obligations
under the First Lien Credit Agreement are secured by a lien on substantially all of the Debtors’ assets,
with a junior priority to the Super Senior Loan Claims (other than, in respect of the Vector Subordinated
Note Collateral, the Prepetition First Lien Revolving Lenders and the Prepetition Issuing Bank).

In connection with the closing of the First Lien Credit Agreement, Vector Fusion Holdings (Cayman),
Ltd. issued a subordinated note to Fusion Connect, dated as of May 4, 2018, in the aggregate principal
amount of $25.0 million (the “Vector Subordinated Note”). The Vector Subordinated Note and the
proceeds thereof are pledged to the collateral agent under the First Lien Credit Agreement for the benefit
of the secured parties thereunder. Under the first lien credit documents, the super senior loan documents,
and the DIP Order, any value received by the first lien collateral agent, the super senior collateral agent,
the DIP agent, or any secured party under any of the foregoing facilities in respect of the Vector
Subordinated Note Collateral must be applied first toward the payment in full of all obligations owing to
holders of the Revolving Loans and the Prepetition Issuing Bank prior to any application on any other
secured obligations in respect of the DIP Facility, the Super Senior Loan Agreement, or the First Lien
Credit Agreement.

All rights, title and interest in the Vector Subordinated Note held by Fusion Connect shall vest in
Reorganized FCI upon the Effective Date. For the avoidance of doubt, nothing in the Second Amended
Plan shall impair the Revolving Lenders’ and Issuing Bank’s rights or priority with respect to the Vector
Subordinated Note Collateral under the Prepetition First Lien Credit Documents. Nothing herein shall be
deemed to be a finding that any rights set forth under the Prepetition First Lien Credit Documents are
valid and enforceable after the Effective Date, and nothing herein shall prejudice or constitute a waiver of
any right, remedy, claim, defense or counterclaim of any First Lien Lender pursuant to the First Lien
Credit Documents or otherwise, including, without limitation, any defenses it may raise in any action
commenced by any Revolving Lender or other party. Subject to applicable law, any value received on




86
      The Super Senior Lenders are a subset of lenders under the First Lien Credit Agreement.


                                                         23
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57           Main Document
                                                  Pg 306 of 565



account of the Vector Subordinated Note Collateral may be applied at the discretion of the Reorganized
Debtors.

                              (c)       Second Lien Credit Agreement

The Debtors have outstanding second lien term loan obligations under that certain Second Lien Credit and
Guaranty Agreement, dated as of May 4, 2018 (as amended, supplemented, amended and restated or
otherwise modified from time to time, the “Second Lien Credit Agreement” and such obligations
thereunder, the “Second Lien Claims”) among Fusion Connect, as borrower, the other Debtors, as
guarantor subsidiaries, GLAS Americas LLC (as successor to Wilmington Trust), as administrative agent
and collateral agent, and the lenders party thereto (the “Second Lien Lenders”). As of the
Commencement Date, the aggregate principal amount outstanding under the Second Lien Credit
Agreement was $85.0 million. Obligations under the Second Lien Credit Agreement are secured by a lien
on substantially all of the Debtors’ assets, with a junior priority to the Super Senior Loan Claims and the
First Lien Claims.

                              (d)       Intercreditor Agreements

The secured parties under the Super Senior Loan Agreement and the First Lien Credit Agreement are
subject to that certain Super Senior Intercreditor Agreement, dated as of May 9, 2019 (as amended,
supplemented, amended and restated or otherwise modified from time to time, the “Super Senior
Intercreditor Agreement”) among Wilmington Trust, in its capacities as super senior representative and
first lien obligations representative. The secured parties under the Super Senior Loan Agreement, the
First Lien Credit Agreement, and the Second Lien Credit Agreement are subject to that certain
Intercreditor Agreement, dated as of May 4, 2018 (as amended, supplemented, amended and restated or
otherwise modified from time to time, the “1L / 2L Intercreditor Agreement”, and, together with the
Super Senior Intercreditor Agreement, the “Intercreditor Agreements”) among Wilmington Trust, in its
capacities as additional first lien obligations representative and first lien obligations representative, and
GLAS Americas LLC (as successor to Wilmington Trust) as second lien obligations representative.

                              (e)       Green Note

Fusion Connect has an outstanding note obligation under that certain Subordinated Promissory Note,
dated as of May 4, 2018 (the “Green Note”) between Fusion Connect and Holcombe T. Green, Jr. As of
the Commencement Date, the aggregate principal amount outstanding under the Green Note was
$10.0 million. Obligations under the Green Note are unsecured.

                              (f)       Bircan Notes

Fusion BCHI is party to three (3) outstanding notes (collectively, the “Bircan Notes”): (i) that certain
Amended and Restated Subordinated Promissory Note, dated as of May 4, 2018, with a principal
outstanding amount of approximately $1.5 million; (ii) that certain Amended and Restated Subordinated
Promissory Note, dated as of May 4, 2018, with a principal outstanding amount of $1.3 million; and
(iii) that certain Amended and Restated Subordinated Promissory Note, dated as of May 4, 2018, with a
principal outstanding amount of $0.5 million. As of the Commencement Date, the aggregate principal
amount outstanding under the Bircan Notes was approximately $3.3 million. Obligations under each of
the Bircan Notes are unsecured.

                              (g)       Intercompany Note



                                                         24
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57           Main Document
                                                  Pg 307 of 565



Each of the Debtors, as well as the Canadian Subsidiaries, are party to that certain Global Intercompany
Note, dated as of May 9, 2019 (the “Intercompany Note”). All parties to the Intercompany Note are
both “payors” and “payees,” and the Intercompany Note does not contemplate any static principal amount
owing. The Intercompany Note governs the fluctuating balance of intercompany receivables and payables
between each of FCI’s subsidiaries. All obligations under the Intercompany Note are unsecured as
between payors and payees, other than an intercompany loan in the principal amount of $2.0 million made
by Fusion Connect to Primus Management, which is secured by a lien on certain assets of Primus
Management. Obligations under the Intercompany Note are pledged as security for all tranches of the
Company’s secured debt.

                      2.    Equity Ownership

As of the Commencement Date, 150,000,000 shares of Fusion Connect common stock, $0.01 par value
per share, were authorized and 81,967,263 shares of Fusion Connect common stock were issued and
outstanding. As of June 21, 2019, there were 646 record holders of the common stock, with
approximately 60.7% held by BCHI.9 7 As of the Commencement Date, 10,000,000 shares of Fusion
Connect preferred stock were authorized and 15,000 shares of Series D preferred stock were issued and
outstanding, all of which are held by BCHI. The Company was delisted from the NASDAQ Global
Market effective May 13, 2019.

                                 III.
      CIRCUMSTANCES LEADING TO COMMENCEMENT OF CHAPTER 11 CASES

          A.        Birch Merger

The Company has historically driven its growth in substantial part through strategic acquisitions. On
August 26, 2017, in furtherance of that strategy, Fusion Connect and Fusion BCHI entered into a merger
agreement with Birch, which underlying transaction closed on May 4, 2018. Due to a number of factors,
including the fact that Birch was the larger entity and the previous Birch shareholders would acquire
65.2% of the outstanding shares of Fusion Common Stock, the transaction constituted a reverse merger
with FCI being the acquirer for legal purposes and Birch being the acquirer of FCI for accounting
purposes. In connection with the Birch Merger, the Company also spun-off Lingo Management, LLC
(“Lingo”),10 8 along with certain related subsidiaries, to the previous Birch shareholders.

To finance the Birch Merger, the Company entered into the First Lien Credit Agreement and the Second
Lien Credit Agreement.11 9 The Company used proceeds from the foregoing to: (i) refinance the
Company’s and its subsidiaries’ existing indebtedness, (ii) pay expenses related to the Birch Merger and
associated transactions, and (iii) pay down certain subordinated notes owed by Birch to Holcombe T.




97
      Holcombe T. Green, Jr. is the managing member of BCHI and has voting and dispositive power over BCHI’s
      shares of Fusion Connect common stock.
108
      Lingo operated Birch’s business relating to its U.S.-based consumer customers, wireless customers, and
      small business customer base.
119
      On the same date, Fusion Connect entered into the Green Note and Fusion BCHI entered into the Bircan
      Notes.


                                                         25
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57          Main Document
                                                  Pg 308 of 565



Green, Jr., R. Kirby Godsey, and Holcombe T. Green, III. The Company also applied a portion of the
proceeds from the First Lien Credit Agreement to pay a portion of the purchase price for MegaPath.

FCI pursued the Birch Merger with a vision of leveraging its existing processes and structures to create
synergies between Fusion Connect’s and Birch’s joined customer bases, combine network infrastructure
assets to improve operational efficiencies, and ultimately drive material growth in Fusion Connect’s and
Birch’s combined annual revenue. While the Company was able to improve operations and use the Birch
Merger as a platform for expansion, the Birch business plan proved to be overly aggressive in terms of
sustained customer bookings and price increases. A number of factors, including missed revenue
projections left the Company with significantly less liquidity than originally anticipated.

          B.        Amortization and Interest Payments

The Company’s liquidity position exposed it to default risk under both the First Lien Credit Agreement
and Second Lien Credit Agreement. By the end of March 2019, the Company faced a pending $6.7
million amortization payment under the First Lien Credit Agreement and a $300,000 interest payment on
the Green Note due on March 31, 2019 (together, the “Amortization and Interest Payments”). In light
of the Company’s limited working capital, it determined that it was unlikely to be able to make the
Amortization and Interest Payments, and such non-payment would likely trigger a cross-default under the
Second Lien Credit Agreement.

Thus, the Company began liaising with its key constituencies to obtain a waiver of existing defaults, and
to engage in negotiations regarding potential restructuring of the Company’s indebtedness. Meanwhile,
due to the Company’s failure to timely file its 2018 Form 10-K with the SEC and to pay certain
NASDAQ listing fees, NASDAQ delisted Fusion Connect’s common stock from its exchange, effective
May 13, 2019.

          C.        Vendor Relationships and Lingo Dispute

The Company’s precarious liquidity position forced it to stretch trade terms with its vendors. As a result,
the Company’s relationships with many of its vendors became increasingly strained.

The Company also is involved in disputes with Lingo regarding the value of the assets transferred to
Lingo in connection with the Birch Merger and also stemming from Lingo’s failure to remit payments
owed to the Company for certain services the Company has provided to Lingo since the Birch Merger
pursuant to a transition services agreement and a carrier services agreement. As of the Commencement
Date, outstanding amounts remain due and owing to the Company.

          D.        Pursuit of New Equity Investment

Weil, Gotshal & Manges LLP and FTI Consulting, Inc. were each retained in March 2019 to assist the
Company in exploring and evaluating potential transactions to improve its financial position. The
Company and its advisors began by engaging in discussions with the Company’s majority shareholder and
certain lenders regarding the possibility of a new capital infusion and amendments to the First Lien Credit
Agreement and the Second Lien Credit Agreement. By early April 2019, negotiations had progressed to a
point where the Company, the majority shareholder, and certain lenders were close to finalizing an
agreement in principle. Ultimately, however, the parties were unable to agree on final terms.

          E.        Forbearance Agreement



                                                         26
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57         Main Document
                                                  Pg 309 of 565



In light of the outstanding defaults under the First Lien Credit Agreement and Second Lien Credit
Agreement, the Company remained engaged in extensive discussions with the First Lien Lender Group,
certain lenders holding Tranche A Term Loans and Revolving Loans, the Second Lien Lenders, and each
of their respective advisors. Such discussions culminated in a forbearance agreement, dated
April 15, 2019 (the “Forbearance Agreement”) among Fusion Connect and substantially all of its
lenders under the First Lien Credit Agreement (collectively, the “Forbearing Lenders”). Pursuant to the
Forbearance Agreement, the Forbearing Lenders agreed not to exercise any remedies under the First Lien
Credit Agreement with respect to the Company’s then existing defaults until April 29, 2019. Certain
Forbearing Lenders subsequently extended the term of the Forbearance Agreement to June 3, 2019.

Although the Company was unable to reach an agreement with the Second Lien Lenders as to a similar
forbearance, the Second Lien Lenders were nonetheless barred from exercising remedies under the Second
Lien Credit Agreement due to a 150-day standstill provision set forth in the 1L / 2L Intercreditor
Agreement.

          F.        Super Senior Financing

As described above, during the forbearance period, the Company and the First Lien Lender Group
continued discussions to build a path toward a consensual sale or reorganization transaction. On May 9,
2019, the Company closed the Super Senior Loan Agreement, securing an additional $15.0 million in
liquidity, and on May 28, 2019 obtained an incremental $5.0 million thereunder.

          G.        Formation of Restructuring Committee

On May 10, 2019, in connection with the Company’s evaluation of strategic alternatives and as
contemplated by the Super Senior Loan Agreement, Fusion Connect’s board of directors (the “Board”)
increased the size of the Board from seven (7) to eight (8) members and appointed Neal P. Goldman to the
Board. Given his experience and familiarity with the restructuring situations, Mr. Goldman understood
that he would take on a leading role with respect to the Company’s potential restructuring.

The Board selected Mr. Goldman from a slate of candidates proposed to the Board by the Company’s
advisors after interviewing several such candidates and determining that Mr. Goldman possesses the
relevant and appropriate qualifications, experience, and skills to serve as a director. More details about
Mr. Goldman’s qualifications and experience are set forth in the Company’s Current Report on Form 8-K
filed with the SEC on May 14, 2019. Mr. Goldman’s representative board experience, which the Board
determined makes Mr. Goldman an ideal candidate to serve as a Director and as a member of the Special
Committee, includes his current positions as Chairman of the Board of Talos Energy Inc., and member of
the Boards of Ultra Petroleum Corporation and Ditech Holding Corporation.

As explained in the Form 8-K, there are “no arrangements or understandings between Mr. Goldman and
any other persons pursuant to which Mr. Goldman was selected as director. There are no family
relationships between Mr. Goldman and the Company’s existing directors and officers. There has been no
transaction, nor is there any currently proposed transaction, between Mr. Goldman and the Company that
would require disclosure” under Item 404 of Regulation S-K. Based on information submitted to and
known by the Board, the Board assessed Mr. Goldman’s independence and determined that Mr. Goldman
is independent in accordance with the rules of Nasdaq Stock Market.

Mr. Goldman also has no relationship or connections to the Company’s Lenders whatsoever, including
Vector Capital. To his best knowledge and belief, Mr. Goldman does not know and has never met any
member of the Ziff family or any affiliate of Vector. Mr. Goldman served as a Managing Director at Och
Ziff Capital Management, L.P. (“Och Ziff”) from 2014-2016. Och Ziff is one of the largest institutional

                                                         27
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57         Main Document
                                                  Pg 310 of 565



alternative asset managers in the world. Och Ziff was founded in 1994 by Daniel Och with financial
support (an initial investment into Mr. Och’s enterprise known as “seed money”) from the Ziff family.
When Mr. Goldman was employed by Och Ziff, to his knowledge and belief, there was no remaining
affiliation between the Ziff family and Och Ziff.

On May 28, 2019, the Board established and appointed Mr. Goldman, along with Michael J. Del Giudice,
Lewis W. Dickey, Jr., and Rafe de la Gueronniere (collectively, the “Independent Directors”) to serve on
the Restructuring Committee of the Board to, among other things, evaluate and negotiate potential sale
and restructuring transactions for the Company.

The Restructuring Committee has complete and exclusive authority over the Debtors’ restructuring,
including all matters related to the Chapter 11 Cases other than the matters within the purview of the
Special Committee (as defined below).

          H.        Formation and Function of Special Committee

Separately, the Board established a special committee (the “Special Committee”) to review, investigate,
and determine whether to pursue any remedies or other appropriate actions with respect to potential claims
belonging to the Company against affiliates. In line with the mandate of the Special Committee, Mr.
Goldman was appointed as the sole member of the Special Committee principally because Mr. Goldman
(and only Mr. Goldman) was not involved in any of the prior transactions involving the Company that
were the subjects of the investigation.

In connection with its investigation, Mr. Goldman has been advised by Weil, Gotshal & Manges LLP, as
legal counsel. The Special Committee has reviewed internal documents and communications, including,
among other documents, (i) all board of director meeting minutes and associated materials dating from
June 2017 through May 2018, (ii) all material documents pertaining to the Fusion and Birch Merger, (iii)
presentations by the Company’s financial advisor in connection with the merger, and (iv) a schedule
evidencing all Birch shareholder distributions and director payments from 2014-2016, along with
correspondence between Fusion and outside parties (including Lingo). The Special Committee also
interviewed four (4) Fusion current and former directors and officers, and interviewed the Company’s
outside auditor, Eisner Amper.

The Special Committee also conducted an analysis of potential claims the Debtors may have, including
against any current or former directors, officers, or affiliates of the Company. Among other things, the
Special Committee investigated claims for breaches of fiduciary duty, constructive fraudulent transfer,
and professional malpractice. Disclosure of the conclusions reached by the Special Committee, if any,
could prejudice these potential claims.

The Special Committee and the Company have also responded to document requests received from the
Creditors’ Committee (as defined below) and the Special Committee is coordinating with the Creditors’
Committee and the parties to the Restructuring Support Agreement regarding its investigation. Notably,
under the Second Amended Plan, the Special Committee has identified individuals and entities that will
not be released pursuant to the Second Amended Plan, including former directors and officers of the
Debtors as well as certain current directors of the Board and officers, to allow the Special Committee to
complete its work. The Special Committee is satisfied that none of the releases or exculpatory provisions
in the Second Amended Plan will impede the ability of the Litigation Trust Oversight Committee to
complete its investigation and, if appropriate, pursue claims. The Creditors’ Committee and the First Lien
Lender Group each agreed to the proposed releases and exculpations contemplated in the Second Amended
Plan.



                                                         28
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57          Main Document
                                                  Pg 311 of 565



          I.        Marketing Process

In May 2019, the Company and its advisors conducted the Prepetition Marketing Process. PJT Partners
LP (“PJT”), on behalf of the Company, contacted over forty (40) potential investors, with the aim of
attracting multiple proposals to either (i) provide a preferred or common equity investment or (ii) acquire
the Company’s business on a cash-free, debt-free basis. In connection with this solicitation, the Company
and its advisors prepared, among other things, a confidential information memorandum (“CIM”) and an
electronic data room to provide potential investors and bidders with adequate information upon which to
make a proposal. During this process, sixteen (16) interested investors executed confidentiality
agreements and were granted access to the CIM, which contains significant diligence and other
confidential information about the Company’s business. The deadline for interested investors to submit
initial bids was May 21, 2019. Although no formal IOIs were received, several of these parties indicated
ongoing interest, and the Company and its advisors continue to engage in discussions with these parties
and provide due diligence information (including access to an electronic data room). In support of the
Company’s Marketing Process, the Company obtained approval of bidding and auction procedures for the
orderly and value-maximizing marketing and sale of the Company’s business.

Following the Commencement Date, PJT contacted approximately one hundred and twenty-five (125)
additional potential investors, twenty-two (22) of which entered into non-disclosure agreements and
received access to the CIM. Pursuant to the Bidding Procedures Order, the deadline to submit non-
binding indications of interest was July 16, 2019. The Debtors received five (5) IOIs indications of
interest for the U.S. Business and six (6) IOIs for the Canadian Business. The Debtors, with the
assistance of their financial advisors, engaged in numerous discussions with the parties that submitted
IOIs in an attempt to increase the value of the bids contained therein.

Following extensive analysis of the IOIs received, and with the support of each of the Consultation Parties
(as defined in the Bidding Procedures Order), on August 27, 2019, the Debtors filed a Notice of Election
to Pursue Reorganization Transaction and Termination of U.S. Sale Process with the Bankruptcy Court
(the “Notice of Election”). Notably, none of the IOIs would have resulted in any recovery to the Second
Lien Lenders or other junior creditors. The Debtors considered this as a significant factor in their
valuation of the Reorganization Transaction. Pursuant to the Restructuring Support Agreement, New
Equity Interests and/or Special Warrants will be distributed to the holders of Allowed First Lien Claims.
Pursuant to the Restructuring Support Agreement, the Requisite First Lien Lenders have consented to the
termination of the Marketing Process for the U.S. Business and instead have elected to pursue the
Reorganization Transaction. Fusion Connect is continuing to pursue the Marketing Process with respect
to the Canadian Business.

          J.        Alternative Restructuring Proposals

Simultaneously with its negotiations with the First Lien Lender Group, the Company remained in
discussions with other key stakeholders. The Company and the First Lien Lender Group have continued
discussions with all key stakeholders during the Chapter 11 Cases.

                                              IV.
                                OVERVIEW OF THE CHAPTER 11 CASES

          A.        Commencement of Chapter 11 Cases and First Day Motions

On June 3, 2019, the Debtors commenced the Chapter 11 Cases. The Debtors continue to manage their
estates as debtors-in-possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. To that


                                                         29
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57          Main Document
                                                  Pg 312 of 565



end, the Debtors filed various motions seeking relief from the Bankruptcy Court to promote a seamless
transition between the Debtors’ prepetition and postpetition business operations, facilitate a smooth
restructuring through the Chapter 11 Cases, and minimize any disruptions to the Debtors’ operations (the
“First Day Motions”). At the first day hearing held on June 4, 2019 and continued on June 10, 2019, the
Bankruptcy Court granted substantially all of the relief requested in the First Day Motions and entered
various orders authorizing the Debtors to, among other things:

      continue paying employee wages and benefits;

      continue to use the Debtors’ cash management system, bank accounts, and business forms;

      pay certain critical vendors and obligations with respect to prepetition orders of goods and
        services to be delivered postpetition;

      pay prepetition claims of shippers, warehousemen, and other lien claimants;

      continue insurance and workers’ compensation programs, the processing of workers’
        compensation claims, and continue the Debtors’ surety bond program;

      continue to pay all taxes, fees, and similar charges and assessments, whether arising prepetition or
        postpetition, to the appropriate taxing, regulatory, or other governmental authority in the
        ordinary course;

      continue customer programs;

      establish procedures for utility companies to request adequate assurance of payment and to
        prohibit utility companies from altering or discontinuing services; and

      obtain debtor-in-possession financing and use cash collateral, as discussed in more detail herein.

          B.        DIP Facility and Cash Collateral

                    1.        DIP Facility

To pay their ordinary course operating expenses, finance the Chapter 11 Cases, and, ultimately, provide
the Debtors with the flexibility to consummate the transactions contemplated by the Restructuring Support
Agreement, the Debtors filed a motion (ECF No. 17) (the “DIP Motion”) to enter into the DIP Facility,
which consists of (i) up to $39.5 million in new money term loans and (ii) up to $20.0 million in roll-up
term loans. The DIP Facility ensures that the Debtors’ financing needs can be met during the Chapter 11
Cases. The term of the DIP Facility is four (4) months from the closing date of the DIP Facility, with an
option for up to three (3) extensions, each for a term of one (1) month, if approved by the Requisite
Lenders. The interim order granting the relief requested in the DIP Motion, including an interim draw of
up to $20.0 million under the DIP Facility, can be found at ECF No. 57 (the “Interim DIP Order”) and
the final order granting the relief requested in the DIP Motion, including a draw of up to $19.5 million




                                                         30
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57              Main Document
                                                  Pg 313 of 565



under the DIP Facility, can be found at ECF No. 160 (the “Final DIP Order”, and, together with the
Interim DIP Order, the “DIP Orders”).12 10

On October 4, 2019, the Debtors and the DIP Lenders executed an amendment to the Superpriority
Secured Debtor-in-Possession Credit and Guaranty Agreement which, among other things, moved the
Stated Maturity Date (as defined in the DIP Credit Agreement) from October 7, 2019 to November 7,
2019.

                    2.        Cash Collateral

In addition, the Debtors are authorized, on an interim basis, to consensually use the cash collateral of the
Prepetition Secured Parties. In exchange, the Debtors are providing the Prepetition Secured Parties with
the following:

                              (a)       Adequate Protection Liens

The Prepetition Super Senior Agent, for itself and for the benefit of the Prepetition Super Senior
Lenders, has, in the amount of the Prepetition Super Senior Secured Parties’ Adequate
Protection Claims, a valid, perfected replacement security interest in and lien upon all of the DIP
Collateral, in each case subject and subordinate only to (i) the Carve Out and (ii) the DIP Liens and any
liens to which the DIP Liens are junior (including the Prepetition Permitted Prior Liens and Senior
Permitted Liens and, solely with respect to the Vector Subordinated Note Collateral, the liens securing the
claims of the Prepetition First Lien Revolving Lenders and the Prepetition Issuing Bank arising under the
Prepetition First Lien Credit Agreement).

The Prepetition First Lien Agent, for itself and for the benefit of the Prepetition First Lien Lenders, has, in
the amount of the Prepetition First Lien Lenders’ Adequate Protection Claims, a valid, perfected
replacement security interest in and lien upon all of the DIP Collateral, in each case subject and
subordinate only to (i) the Carve Out, (ii) the DIP Liens and any liens to which the DIP Liens are junior
(including the Prepetition Permitted Prior Liens and Senior Permitted Liens and, solely with respect to the
Vector Subordinated Note Collateral, the liens securing the claims of the Prepetition First Lien Revolving
Lenders and the Prepetition Issuing Bank arising under the Prepetition First Lien Credit Agreement), (iii)
the Super Senior Adequate Protection Liens, and (iv) Prepetition Super Senior Credit Facility Liens.

The Prepetition Second Lien Agent, for itself and for the benefit of the Prepetition Second Lie Lenders,
has, in the amount of the Prepetition Second Lien Lenders’ Adequate Protection Claims, a valid, perfected
replacement security interest in and lien upon all of the DIP Collateral, in each case subject and
subordinate only to (i) the Carve Out, (ii) the DIP Liens and any liens to which the DIP Liens are junior
(including the Prepetition Permitted Prior Liens and Senior Permitted Liens), (iii) the Super Senior
Adequate Protection Liens, (iv) the Prepetition Super Senior Credit Facility Liens, (v) the First Lien
Adequate Protection Liens, and (vi) the Prepetition First Lien Credit Facility Liens.

                              (b)       507(b) Claims




1210
       Capitalized terms used but not otherwise defined in this Section IV.B shall have the respective meanings
       ascribed to such terms in the DIP Orders.


                                                         31
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                                  Pg 314 of 565



The Prepetition Super Senior Agent, the Prepetition First Lien Agent, and the Prepetition Second Lien
Agent, for itself and for the benefit of each of the Prepetition Super Senior Lenders, the Prepetition First
Lien Lenders and the Prepetition Second Lien Lenders, respectively, are entitled to receive an
administrative expense claim pursuant to section 507(b) of the Bankruptcy Code, for and equal in amount
to the aggregate diminution in value of their collateral, if any, subject to the Carve-Out and the priorities
set forth in the DIP Facility.

                              (c)       Adequate Protection Payment and Interest Accrual

Only after the DIP Obligations are fully discharged, the Prepetition Super Senior Agent, on behalf of the
Prepetition Super Senior Lenders, until the Prepetition Debt Refinancing occurs, and the Prepetition First
Lien Agent, on behalf of the Prepetition First Lien Lenders, will receive cash payments in an amount
equal to the amount of the net cash proceeds received by the Debtors of the sale of any Prepetition
Collateral (including, for the avoidance of doubt, net cash proceeds from the sale of Prepetition Collateral
in connection with an Asset Sale (as such term is defined in the DIP Credit Agreement)), payable not later
than the fifth business day following the date of receipt of such proceeds; provided, that, in the event that
payment of such cash payments would result in the Debtors’ having less cash on hand than the amount of
the Carve-Out, the costs associated with administering the Debtors’ estates payable under the Budget
prior to any wind-down of the Debtors’ estates, and the reasonable expected costs associated with the
wind-down of the Debtors’ estates (the “Reserve Amount”), such cash payments shall be reduced to the
extent that, following the payment of such cash payments, the Debtors’ cash on hand is equal to the
Reserve Amount. Until the Prepetition Debt Refinancing occurs, the Prepetition Super Senior Agent, on
behalf of the Prepetition Super Senior Lenders, received or will receive, as applicable, (x) on the date of
entry of the Interim DIP Order, all interest that accrued on the Prepetition Super Senior Loans and that
was due and payable on June 3, 2019, (y) on the last business day of each month, all interest that accrued
on the Prepetition Super Senior Loans during the monthly period (or portion thereof) ending on such last
business day and (z) on the date that the Prepetition Debt Refinancing occurs, all accrued and unpaid
interest on the Prepetition Super Senior Loans (with interest on the Prepetition Super Senior Loans, for
purposes of clauses (y) and (z) of this sentence, being calculated based upon the non-default “Base Rate”
plus the “Applicable Rate” applicable to “Base Rate Loans” as set forth in the Prepetition Super Senior
Credit Agreement). The Prepetition First Lien Agent, on behalf of the Prepetition First Lien Lenders,
received or will receive (i) on the date of entry of the Interim DIP Order, payment in-kind of all accrued
and unpaid interest on the Prepetition First Lien Loans (which interest shall be capitalized and added to
the principal amount of the applicable Prepetition First Lien Loans on the date hereof) and (ii) on the last
business day of each month, payment in-kind of all interest that accrued on the Prepetition First Lien
Loans during the monthly period (or portion thereof) ending on such last business day (which interest
shall be capitalized and added to the principal amount of the applicable Prepetition First Lien Loans on
such last business day), with interest on the Prepetition First Lien Loans, for purposes of this clauses (ii),
being calculated based upon the non-default “Base Rate” plus the “Applicable Rate” applicable to such
“Base Rate Loans” as set forth in the Prepetition First Lien Credit Agreement. In the event that it is
determined by a final order, which order shall not be subject to any appeal, stay, reversal or vacatur, that
(i) no Diminution in Collateral Value of any Prepetition First Lien Secured Party’s respective interests has
occurred or (ii) such Prepetition First Lien Secured Party is determined to be undersecured, then a party in
interest shall have the right to assert that such payments of adequate protection shall be applied toward
repayment of the principal amount due on such Prepetition First Lien Debt as is owing to such Prepetition
First Lien Secured Party.

                              (d)       Adequate Protection Fees and Expenses




                                                         32
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57           Main Document
                                                  Pg 315 of 565



The Prepetition Super Senior Agent shall receive, for the benefit of the Prepetition Super Senior Lenders,
current cash payments of the reasonable and documented prepetition and postpetition fees and expenses of
the Prepetition Super Senior Agent under the Prepetition Super Senior Credit Documents and the First
Lien Lender Group, including, but not limited to, the reasonable and documented fees and out-of-pocket
expenses of Arnold & Porter Kaye Scholer LLP (solely in its capacity as counsel to the Prepetition Super
Senior Agent), Davis Polk & Wardwell LLP, Wiley Rein LLP, local counsel to the First Lien Lender
Group, if any, Greenhill & Co., Inc., Altman Vilandrie & Company and its sub-agents, and any other
advisors retained by the First Lien Lender Group, subject to the review procedures set forth in the DIP
Orders. The Prepetition First Lien Agent shall receive, for the benefit of the Prepetition First Lien
Lenders, current cash payments of the reasonable and documented prepetition and postpetition fees and
expenses of (1) the Prepetition First Lien Agent under the Prepetition First Lien Credit Documents and the
First Lien Lender Group, including, but not limited to, the reasonable and documented fees and out-of-
pocket expenses of Arnold & Porter Kaye Scholer LLP (solely in its capacity as counsel to the Prepetition
First Lien Agent), Davis Polk & Wardwell LLP, Wiley Rein LLP, local counsel to the First Lien Lender
Group, if any, Greenhill & Co., Inc., Altman Vilandrie & Company and its sub-agents, and any other
advisors retained by the First Lien Lender Group, to the extent not duplicative to the fees and expenses
paid as Super Senior Adequate Protection Fees and Expenses, and (2) certain of the Prepetition First Lien
Revolving Lenders constituting only those reasonable and documented fees and out-of-pocket
disbursements of Simpson Thacher & Bartlett LLP, incurred directly in connection with matters specific
to the Prepetition First Lien Revolving Lenders, each subject to the review procedures set forth in the DIP
Orders.

                              (e)       Adequate Protection Milestones

The Prepetition Super Senior Secured Parties and Prepetition First Lien Secured Parties are entitled to
performance of certain Adequate Protection Milestones, which cannot be waived, amended, modified or
extended from time to time, in each case (i) as to the Prepetition Super Senior Secured Parties absent (a)
order of the Court or (b) prior written consent of the Super Senior Requisite Lenders and (ii) as to the
Prepetition First Lien Secured Parties, absent (a) order of the Court or (b) prior written consent of the
First Lien Requisite Lenders, in certain instances as amended and reflected in the Final DIP Order.

                              (f)       Financial Covenant Compliance

The Prepetition Super Senior Secured Parties and the Prepetition First Lien Secured Parties are entitled to
compliance by the Debtors of those certain financial covenants set forth in section 6.7 of the DIP Credit
Agreement.

                              (g)       Information Rights

The Debtors will promptly provide the Prepetition Super Senior Agent, on behalf of itself and on behalf of
the Prepetition Super Senior Lenders, the Prepetition First Lien Agent, on behalf of itself and on behalf of
the Prepetition First Lien Lenders, and the Prepetition Second Lien Agent, on behalf of itself and on
behalf of the Prepetition Second Lien Lenders, with all required written financial reporting and other
periodic reporting that is required to be provided to the DIP Agent or the DIP Lenders under the DIP
Documents.

                              (h)       Additional Adequate Protection

In the event the Debtors file, support, make a proposal or counterproposal to any party relating to, or take
any other similar action in furtherance of (any of the foregoing, a “Non-Permitted Action”) a plan of
reorganization that does not propose to pay all claims on account of the Prepetition First Lien Debt in

                                                         33
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57         Main Document
                                                  Pg 316 of 565



cash or with such other consideration acceptable to the First Lien Requisite Lenders (such plan, a “Non-
Permitted Plan”), the Debtors shall provide notice to counsel to the First Lien Lender Group not less than
seven (7) business days before taking such Non-Permitted Action (the “Non-Permitted Plan Notice”).
Upon delivery of a Non-Permitted Plan Notice, the Prepetition First Lien Secured Parties shall have the
right to immediately terminate Debtors’ right to use Cash Collateral pursuant to the DIP Orders.

                              (i)       Vector Subordinated Note Collateral

Notwithstanding anything to the contrary in the DIP Orders or in any DIP Document, with respect to the
Vector Subordinated Note Collateral, (i) each of the DIP Liens, the DIP Priming Liens, the DIP
Superpriority Claims, the other Adequate Protection Liens, the other Adequate Protection Obligations,
and the other Adequate Protection 507(b) Claims shall not prime, but are junior and subordinate to, the
claims and Liens, including the First Lien 507(b) Claims, the First Lien Adequate Protection Liens and
the other Adequate Protection Obligations, of the Prepetition First Lien Revolving Lenders and the
Prepetition Issuing Bank in respect of the Vector Subordinated Note Collateral, and nothing therein shall
be deemed to release the obligations of Vector SPV arising out of or related to the Vector Subordinated
Note Collateral; and (ii) nothing in the DIP Orders or the DIP Documents shall impair the Prepetition
First Lien Revolving Lenders’ and the Prepetition Issuing Bank’s rights or priority with respect to the
Vector Subordinated Note Collateral.

          C.        Procedural Motions and Retention of Professionals

The Debtors have also filed several other motions that are common in chapter 11 proceedings of similar
size and complexity as the Chapter 11 Cases, including applications to retain various professionals to
assist the Debtors in the Chapter 11 Cases.

          D.        Appointment of the Creditors’ Committee

On June 18, 2019, the Creditors’ Committee was appointed by the Office of the United States Trustee for
Region 2 (the “U.S. Trustee”) pursuant to section 1102 of the Bankruptcy Code to represent the interests
of unsecured creditors in the Chapter 11 Cases (ECF No. 98). The members of the Creditors’ Committee
are Abante Rooter and Plumbing, Inc., AT&T Services, Inc., and Equinix, Inc. The Creditors’
Committee retained Cooley LLP as its counsel and AlixPartners as its financial advisor. The Debtors
intend to continue to consult with the Creditors’ Committee throughout the Chapter 11 Cases and have
participated in numerous teleconferences and an in-person meeting with advisors to the Creditors’
Committee to discuss and consult with respect to the administration of the Chapter 11 Cases, the
Marketing Process, and the Second Amended Plan. These discussions have resulted in, among other
positive outcomes, the Global Settlement.

          E.        Schedules and Statements; Rule 2015.3 Financial Reports

On July 16, 2019, the Debtors each filed their schedules of assets and liabilities and statements of
financial affairs (collectively, the “Schedules and Statements”) (ECF Nos. 6-8 and 191-228). The
Schedules and Statements, as may be amended from time to time, and are incorporated into this
Disclosure Statement by reference. On July 12, 2019, the Debtors filed a Rule 2015.3 financial report
(the “Rule 2015.3 Report”) (ECF No. 179). The Rule 2015.3 Report is incorporated into the Disclosure
Statement by reference.

          F.        Bar Date



                                                         34
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                                  Pg 317 of 565



On July 16, 2019, the Bankruptcy Court entered an order establishing (i) August 27, 2019 at 5:00 p.m.
(prevailing Eastern Time), as the deadline for all non-governmental units (as defined in section 101(27) of
the Bankruptcy Code) to file proofs of claim in the Chapter 11 Cases (the “General Bar Date”); (ii)
December 2, 2019 at 5:00 p.m. (prevailing Eastern Time) as the deadline for all governmental units (as
defined in section 101(27) of the Bankruptcy Code) to file proofs of claim in the Chapter 11 Cases (the
“Governmental Bar Date”); (iii) the later of (a) the General Bar Date or the Governmental Bar Date, as
applicable, and (b) 5:00 p.m. (prevailing Eastern Time) on the date that is thirty (30) days after entry of
an order approving rejection of any executory contract or unexpired lease of the Debtors as the deadline
by which persons or entities asserting claims resulting from such rejection must file proofs of claim in the
Chapter 11 Cases (the “Rejection Damages Bar Date”); and (iv) the later of the (a) General Bar Date or
the Governmental Bar Date, as applicable, and (b) 5:00 p.m. (prevailing Eastern Time) on the date that is
thirty (30) days from the date on which the Debtors provide notice of a previously unfiled Schedule or an
amendment or supplement to a Schedule as the deadline by which persons or entities affected by such
filing, amendment, or supplement must file proofs of claim in the Chapter 11 Cases (the “Amended
Schedules Bar Date”).

          G.        Lease Rejection Motions

Before and during the Chapter 11 Cases, the Debtors and their advisors have conducted and are
continuing to review their lease portfolio to identify leases that are no longer required and/or are
burdensome to the Debtors. In conjunction with this review and to preserve value to the Estate, the
Debtors have filed two (2) motions to reject certain unexpired leases of non-residential real property and
to abandon certain property in connection therewith (ECF Nos. 236, 365), and orders were entered
granting both motions on August 1, 2019 (ECF No. 281) and September 16, 2019 (ECF No. 400),
respectively. The Debtors may elect, in their sole discretion, to file additional motions to reject non-
residential real property on or after the Date of the Disclosure Statement.

          H.        Exclusivity

Section 1121(b) of the Bankruptcy Code provides for a period of 120 days after the commencement of a
chapter 11 case during which time a debtor has the exclusive right to file a plan of reorganization (the
“Exclusive Plan Period”). In addition, section 1121(c)(3) of the Bankruptcy Code provides that if a
debtor files a plan within the Exclusive Plan Period, it has a period of 180 days after commencement of
the chapter 11 case to obtain acceptances of such plan (the “Exclusive Solicitation Period,” and together
with the Exclusive Plan Period, the “Exclusive Periods”). Pursuant to section 1121(d) of the Bankruptcy
Code, the Bankruptcy Court may, upon a showing of cause, extend the Exclusive Periods.

On September 16, 2019, the Bankruptcy Court entered an order extending the Exclusive Plan Period to
December 30, 2019 and the Exclusive Solicitation Period to February 28, 2020 (ECF No. 399). The
Exclusive Periods may be further extended by the Bankruptcy Court subject to section 1121(d) of the
Bankruptcy Code.

          I.        Litigation Matters

In the ordinary course of business, the Debtors are involved in disputes with a variety of different parties.
The Company is also subject to regulatory and governmental examinations, information requests and
subpoenas, inquiries, investigations, and threatened legal actions and proceedings. In connection with
formal and informal inquiries, the Company receives occasional requests in connection with various
aspects of the Company’s activities.




                                                         35
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57        Main Document
                                                  Pg 318 of 565



                    1.        GrandSlam Capital Master Fund, Ltd. v. Rosen et al.

On June 7, 2019, a U.S. federal securities class action was filed in the Southern District of New York
against the following current and former officers of the Company, Matthew D. Rosen, Kevin M. Dotts,
and Keith Soldan. This case, captioned GrandSlam Capital Master Fund, Ltd. v. Rosen et al., No. 1:19-
cv-05362-PGG, asserts claims for monetary relief under Sections 10(b) and 20(a) of the Securities
Exchange Act of 1934, during a class period alleged to range from May 11, 2018 to April 2, 2019. On
July 23, 2019, the court appointed a lead plaintiff and lead counsel in this action. A class has not yet
been certified in this action.

                    2.        Lingo Dispute

Lingo and the Company are involved in a dispute regarding (i) the value of assets transferred to Lingo in
connection with the Company’s closing of the Birch Merger and (ii) Lingo’s failure to remit payments
owed to the Company in connection with certain services the Company has provided to Lingo since the
Birch Merger pursuant to a transition services agreement and a carrier services agreement. As of the
Commencement Date, outstanding amounts remain due and owing to the Company. The Company has
sent a litigation hold notice, demands for payment, and advised Lingo it will end service to Lingo absent
payment. No litigation has commenced and the parties are still attempting to informally resolve the
dispute.

                    3.        Other Litigation

As mentioned above, in the ordinary course of business, the Company is involved in occasional disputes,
including pending class action cases with the potential to result in high amounts of damages assessed
against the Company. All actions and claims asserted against the Debtors in such actions are stayed
pursuant to section 362 of the Bankruptcy Code during the pendency of the Chapter 11 Cases. On August
16, 2019, the Debtors filed a motion with the Court seeking an order approving a stipulation between the
Debtors and 75 Broad, LLC that will lift the automatic stay solely with respect to a certain enumerated
lawsuit between Fusion Telecommunications International, Inc. and 75 Broad LLC (ECF No. 336).

          J.        Marketing Process and Bidding Procedures

In support of the Marketing Process, the Debtors and their advisors developed bidding and auction
procedures for the marketing and sale of their business in the Chapter 11 Cases in an orderly and value
maximizing manner (the “Bidding Procedures”). Pursuant to the Bidding Procedures, parties had the
opportunity to submit bids for the purchase of the U.S. Business, the Canadian Business, or the U.S.
Business and the Canadian Business on a consolidated basis in accordance with the terms of the Bidding
Procedures. The Bidding Procedures are filed at ECF No. 36.

          K.        Creditors’ Committee’s Investigation

Since its formation and through the date hereof, the Creditors’ Committee has sought, and continues to
seek, informal discovery from the Debtors and other parties regarding the Litigation Trust Causes of
Action. The advisors to the Creditors’ Committee are continuing to analyze the documents produced by
the Debtors to date, and anticipate that the Debtors (and other parties) will be producing additional
documents and materials in response to the Creditors’ Committee’s requests.

While the Creditors’ Committee’s investigation is ongoing, the Creditors’ Committee believes that the
proceeds of any claims and causes of action may provide a meaningful source of potential value for
distribution to holders of General Unsecured Claims. The Creditors’ Committee has also determined that

                                                         36
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57               Main Document
                                                  Pg 319 of 565



the contribution of the Litigation Trust Initial Funding and Litigation Trust Loan Proceeds in exchange
for the support by the Creditors’ Committee of the Second Amended Plan’s limited release and
exculpatory provisions is reasonable under the circumstances and will provide the Litigation Trust with
the necessary initial funding to pursue any claims that it identifies for the benefit of holders of Allowed
General Unsecured Claims.

For the avoidance of doubt, the Second Amended Plan does not release any officers other than three
officers who will continue serving the Company and Mr. Goldman. The Second Amended Plan further
does not release: (a) the Released Parties from any claims arising out of a finding of gross negligence
willful misconduct, or fraud (as determined by a Final Order); (b) the obligations of Vector SPV arising
under the Vector Subordinated Note; (c) any post-Effective Date obligations of any Entity under the
Second Amended Plan, the Confirmation Order, the Litigation Trust Agreement, or any other document
executed to implement the Second Amended Plan; and (d) the Non-Released Parties. The Second
Amended Plan does release (a) current non-Officer employees, (b) the First Lien Lenders who have
provided significant consideration to the Debtors and their Estates as well as funding for the Litigation
Trust, and (c) preference claims against vendors.

          L.        Plan Settlement Negotiations and the Global Settlement

The Debtors filed the Initial Plan on July 1, 2019 with the support of the First Lien Lender Group. The
Creditors’ Committee, however, raised a number of informal concerns and potential objections with
respect thereto. Since filing the Initial Plan, the Debtors and the First Lien Lender Group engaged the
Creditors’ Committee regarding Plan-related issues to work towards a chapter 11 plan supported by the
Creditors’ Committee. The Debtors, the Creditors’ Committee, and the First Lien Lender Group have
reached a Global Settlement, the terms of which are incorporated in the Second Amended Plan filed
contemporaneously herewith. Pursuant to the Global Settlement, the Debtors, the Creditors’ Committee,
and the First Lien Lender Group have agreed to the following:

                             i.    the establishment of the Litigation Trust in accordance with Section 5.16 of
                                   the Second Amended Plan, and the governance and administration of the
                                   Litigation Trust with the Litigation Trust Agreement;

                            ii.    on the Effective Date, the Reorganized Debtors will transfer the Litigation
                                   Trust Causes of Action and the Litigation Trust Debtor Causes of Action and
                                   the Litigation Trust Initial Funding to the Litigation Trust, the proceeds of
                                   which (if any) will benefit holders of Allowed Second Lien Claims and
                                   Allowed General Unsecured Claims, and holders of Allowed First Lien
                                   Claims shall be deemed to transfer to the Litigation Trust any direct Causes
                                   of Action they may assert solely in their capacities as Lenders under the
                                   Prepetition First Lien Credit Agreement relating to the Debtors, which, for
                                   the avoidance of doubt, shall not include any Cause of Action against any
                                   Prepetition First Lien Lender or the Prepetition First Lien Administrative
                                   Agent, to the extent such Causes of Action are not released or subject to the
                                   exculpation provisions under the Second Amended Plan, each free and clear
                                   of all Liens, charges, Claims, encumbrances, and interests, in accordance
                                   with Section 1141 of the Bankruptcy Code;

                           iii.    on the Effective Date, the Reorganized Debtors will issue an interest-bearing
                                   loan in the amount of $3,500,000 to the Litigation Trust and will invest cash
                                   in the amount of $1,500,000 in the Litigation Trust, and the Litigation Trust



                                                          37
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57                  Main Document
                                                  Pg 320 of 565



                                   Loan shall accrue payment-in-kind interest at the same rate as the New First
                                   Lien Credit Facility;

                           iv.     on the Effective Date, all Preference Action against any Entity other than a
                                   Non-Released Party that the Debtors or the Estates would have been legally
                                   entitled to assert in their own right (whether individually or collectively) or
                                   on behalf of the holder of any Claim or Interest or other Person shall be
                                   deemed conclusively, absolutely, unconditionally, irrevocably and forever
                                   released;

                            v.     the Litigation Trust will be overseen and controlled by the Litigation Trust
                                   Oversight Committee in accordance with the Litigation Trust Agreement, and
                                   shall (a) have the authority to determine whether to enforce, settle, release, or
                                   compromise the Litigation Trust Causes of Action, and (b) be solely
                                   responsible for selecting and retaining advisors to the Litigation Trust;

                           vi.     payment of Litigation Trust Expenses shall be deemed to be made first from
                                   the Litigation Trust Initial Funding and then from the Litigation Trust Loan
                                   Proceeds. The Litigation Trust shall be prohibited from using any Litigation
                                   Trust Loan Proceeds until no payment of the Litigation Trust Initial Funding
                                   is remaining;

                          vii.     vi. the Litigation Trust Assets will be distributed to the Reorganized Debtors
                                   and the holders of the Litigation Trust Interests in accordance with the
                                   waterfall provisions set forth in Section 5.2(b)(vii) of the Second Amended
                                   Plan;

                         viii.     after payment of Litigation Trust Expenses pursuant to the Litigation Trust
                                   Agreement, any Litigation Trust Assets that are proceeds of the Litigation
                                   Trust First Lien Lender Causes of Action shall be distributed in accordance
                                   with Section 5.2(b)(viii) of the Second Amended Plan;

                           ix.     vii. holders of Second Lien Claims, on account of the Second Lien Deficiency
                                   Claim (subject to the terms and conditions of the Prepetition Intercreditor
                                   Agreement), and General Unsecured Claims shall be entitled to share Pro
                                   Rata in the Litigation Trust Assets that are not paid to Reorganized FCI.
                                   Holders of Allowed First Lien Claims willshall not be entitled to receive a
                                   distribution from the Litigation Trust on account of the Term Loan
                                   Deficiency Claim other than on account of the turnover provision of the
                                   Prepetition Intercreditor Agreement;

                            x.          holders of Allowed Second Lien Claims shall not be entitled to receive a
                                   distribution from the Litigation Trust on account of the Second Lien
                                   Deficiency Claim;

                           xi.     viii. Upon entry of the Confirmation Order, the Challenge Period (as defined
                                   in the Final DIP Order) will be deemed expired;

                          xii.     ix. The Litigation Trust may be terminated in accordance with Section 5.16
                                   of the Second Amended Plan and the Litigation Trust Agreement;



                                                           38
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57                Main Document
                                                  Pg 321 of 565



                         xiii.     x. The Litigation Trust shall have the authority and right on behalf of each of
                                   the Debtors, without the need for Bankruptcy Court approval (unless
                                   otherwise indicated), to, except to the extent Claims have been Allowed,
                                   control and effectuate the Claims reconciliation process of General Unsecured
                                   Claims, including to object to, seek to subordinate, compromise, or settle any
                                   and all General Unsecured Claims against the Debtors; and

                         xiv.      the Litigation Trust shall have authority under Bankruptcy Rule 2004 to
                                   issue subpoenas for documents and testimony in connection with the
                                   Litigation Trust Causes of Action;

                          xv.         on the Effective Date, Reorganized FCI shall enter into the Consulting
                                   Agreement;

                         xvi.          on the Effective Date, proofs of Claim nos. 724, 777 and 840 filed by
                                   Greenberg Traurig, LLP against the Debtors on account of services
                                   performed prior to the Commencement Date shall be deemed withdrawn and
                                   expunged with prejudice;

                        xvii.         the Other Officers and Directors shall be included in Section 10.8 of the
                                   Second Amended Plan;

                        xviii.        on the Effective Date, the Debtors shall pay the Settlement Restructuring
                                   Expenses;

                         xix.          on the Effective Date, the Debtors shall pay the Second Lien Lender
                                   Restructuring Expenses; and

                          xx.      xi. as a condition precedent to consummation of the Global Settlement, the
                                   Creditors’ Committee and, the First Lien Lender Group have agreed not to,
                                   the Second Lien Lender Group, and the Other Officers and Directors shall
                                   not object to the Disclosure Statement or the Second Amended Plan, or take
                                   any other action that is inconsistent with or that would reasonably be
                                   expected to prevent, interfere with, delay, or impede the confirmation and
                                   consummation of the Second Amended Plan or approval of the Global
                                   Settlement.

The Debtors, the First Lien Lender Group, the Second Lien Lender Group, and the Creditors’ Committee
believe the Global Settlement is fair and reasonable. The terms of the Global Settlement were negotiated
by sophisticated parties and their advisors at arm’s-length, and the agreement therein preserves and funds
potentially valuable causes of action for the benefit of the Reorganized Debtors and holders of allowed
General Unsecured Claims. The terms of the Global Settlement allow the Debtors to achieve their goal of
completing a speedy and efficient restructuring process that will allow the Debtors to emerge from chapter
11 with a de-levered balance sheet, enhanced liquidity, and the financing and support necessary to operate
a successful business.




                                                          39
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                                  Pg 322 of 565



                                          V.
                          SUMMARY OF AMENDED PLANAMENDED PLAN

This section of the Disclosure Statement summarizes the Second Amended Plan, a copy of which is
annexed hereto as Exhibit A.

          A.        Administrative Expense and Priority Claims.

                    1.        Administrative Expense Claims.

Except as otherwise set forth in the Second Amended Plan, and except to the extent that a holder of an
Allowed Administrative Expense Claim agrees to less favorable treatment, each holder of an Allowed
Administrative Expense Claim (other than a Fee Claim, a DIP Claim, or a Restructuring Expense) shall
receive, in full and final satisfaction of such Claim, Cash in an amount equal to such Allowed
Administrative Expense Claim on, or as soon thereafter as is reasonably practicable, the later of (a) the
Effective Date and (b) the first Business Day after the date that is thirty (30) calendar days after the date
such Administrative Expense Claim becomes an Allowed Administrative Expense Claim; provided, that
Allowed Administrative Expense Claims representing liabilities incurred in the ordinary course of
business by the Debtors, as Debtors in Possession, shall be paid by the Debtors or the Reorganized
Debtors, as applicable, in the ordinary course of business, consistent with past practice and in accordance
with the terms and subject to the conditions of any course of dealing or agreements governing, instruments
evidencing, or other documents relating to such transactions.

                    2.        Fee Claims.

                          (a)      All Entities seeking an award by the Bankruptcy Court of Fee Claims
shall file and serve on counsel to the Debtors or the Creditors’ Committee, as applicable, the U.S. Trustee,
and counsel to the First Lien Lender Group, on or before the date that is forty-five (45) days after the
Effective Date, their respective final applications for allowance of compensation for services rendered and
reimbursement of expenses incurred from the Commencement Date through the Effective Date.
Objections to any Fee Claims must be filed and served on counsel to the Debtors, counsel to the First Lien
Lender Group, and the requesting party no later than twenty-one (21) calendar days after the filing of the
final applications for compensation or reimbursement (unless otherwise agreed by the Debtors or the
Reorganized Debtors, as applicable, and the party requesting compensation of a Fee Claim).

                         (b)     Allowed Fee Claims shall be paid in full, in Cash, in such amounts as are
Allowed by the Bankruptcy Court (i) on the date upon which an order relating to any such Allowed Fee
Claim is entered or as soon as reasonably practicable thereafter; or (ii) upon such other terms as may be
mutually agreed upon between the holder of such an Allowed Fee Claim and the Debtors or the
Reorganized Debtors, as applicable. Notwithstanding the foregoing, any Fee Claims that are authorized
to be paid pursuant to any administrative orders entered by the Bankruptcy Court may be paid at the times
and in the amounts authorized pursuant to such orders.

                          (c)      On or about the Effective Date, holders of Fee Claims shall provide a
reasonable estimate of unpaid Fee Claims incurred in rendering services before the Effective Date to the
Debtors, and the Debtors or Reorganized Debtors, as applicable, shall escrow such estimated amounts for
the benefit of the holders of the Fee Claims until the fee applications related thereto are resolved by Final
Order or agreement of the parties. If a holder of a Fee Claim does not provide an estimate, the Debtors or
the Reorganized Debtors, as applicable, may estimate the unpaid and unbilled reasonable and necessary
fees and out-of-pocket expenses of such holder of a Fee Claim. When all such Allowed Fee Claims have


                                                         40
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57           Main Document
                                                  Pg 323 of 565



been paid in full, any remaining amount in such escrow shall promptly be released from such escrow and
revert to, and ownership thereof shall vest in, the Reorganized Debtors without any further action or order
of the Bankruptcy Court.

                         (d)    The Reorganized Debtors are authorized to pay compensation for
services rendered or reimbursement of expenses incurred after the Effective Date in the ordinary course
and without the need for Bankruptcy Court approval.

                    3.        Priority Tax Claims.

Except to the extent that a holder of an Allowed Priority Tax Claim agrees to less favorable treatment,
each holder of an Allowed Priority Tax Claim shall receive, in full and final satisfaction of such Allowed
Priority Tax Claim, at the sole option of the Debtors or the Reorganized Debtors, as applicable, (a) Cash
in an amount equal to such Allowed Priority Tax Claim on, or as soon thereafter as is reasonably
practicable, the later of (i) the Effective Date, to the extent such Claim is an Allowed Priority Tax Claim
on the Effective Date; (ii) the first Business Day after the date that is thirty (30) calendar days after the
date such Priority Tax Claim becomes an Allowed Priority Tax Claim; and (iii) the date such Allowed
Priority Tax Claim is due and payable in the ordinary course as such obligation becomes due; provided,
that the Debtor reserves the right to prepay all or a portion of any such amounts at any time under this
option without penalty or premium; or (b) equal annual Cash payments in an aggregate amount equal to
the amount of such Allowed Priority Tax Claim, together with interest at the applicable rate under section
511 of the Bankruptcy Code, over a period not exceeding five (5) years from and after the Commencement
Date.

                    4.        DIP Claims.

As of the Effective Date, the DIP Claims shall be Allowed in the full amount outstanding under the DIP
Credit Agreement, including principal, interest, fees, and expenses. On the Effective Date, in full and
final satisfaction of the DIP Claims, such claims shall be paid in full in Cash from the proceeds of the
New Exit Facility. Notwithstanding anything to the contrary in the Second Amended Plan or the
Confirmation Order, (i) the Contingent DIP Obligations shall survive the Effective Date and shall not be
discharged or released pursuant to the Second Amended Plan or the Confirmation Order, and (ii) the DIP
Documents shall continue in full force and effect after the Effective Date with respect to any obligations
thereunder governing (1) the Contingent DIP Obligations and (2) the relationships among the DIP Agent
and the DIP Lenders.

On the later of (1) the Effective Date and (2) the date on which such fees, expenses, or disbursements
would be required to be paid under the terms of the DIP Order, the Debtors or Reorganized Debtors (as
applicable) shall pay all fees, expenses, and disbursements of the DIP Agent and DIP Lenders, in each
case that have accrued and are unpaid as of the Effective Date and are required to be paid under or
pursuant to the DIP Order. After the Effective Date, the Reorganized Debtors shall continue to reimburse
the DIP Agent and the DIP Lenders for the reasonable fees and expenses (including reasonable and
documented legal fees and expenses) incurred by the DIP Agent and the DIP Lenders after the Effective
Date in accordance with the terms thereof and/or the DIP Order. The Reorganized Debtors shall pay all
of the amounts that may become payable to the DIP Agent or any of the DIP Lenders on account of any
Contingent DIP Obligations in accordance with the terms of the DIP Documents and the DIP Order.




                                                         41
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57         Main Document
                                                  Pg 324 of 565



                    5.        Restructuring Expenses.

During the period commencing on the Commencement Date through the Effective Date, the Debtors will
promptly pay in full in Cash any Restructuring Expenses in accordance with the terms of the RSA.
Without limiting the foregoing, to the extent that any Restructuring Expenses remain unpaid as of the
Business Day prior to the Effective Date, on the Effective Date, the Reorganized Debtors shall pay in full
in Cash any outstanding Restructuring Expenses that are invoiced without the requirement for the filing of
retention applications, fee applications, or any other applications in the Chapter 11 Cases, and without
any requirement for further notice or Bankruptcy Court review or approval. For the avoidance of doubt,
any Restructuring Expenses invoiced after the Effective Date shall be paid promptly, but no later than ten
(10) business days of receiving an invoice.

          B.        Classification of Claims and Interests.

                    1.        Classification in General.

A Claim or Interest is placed in a particular Class for all purposes, including voting, confirmation, and
distribution under the Second Amended Plan and under sections 1122 and 1123(a)(1) of the Bankruptcy
Code; provided, that a Claim or Interest is placed in a particular Class for the purpose of receiving
distributions pursuant to the Second Amended Plan only to the extent that such Claim or Interest is an
Allowed Claim or Allowed Interest in that Class and such Allowed Claim or Allowed Interest has not
been satisfied, released, or otherwise settled prior to the Effective Date.

                    2.        Summary of Classification.

The following table designates the Classes of Claims against and Interests in the Debtor and specifies
which of those Classes are (a) Impaired or Unimpaired by the Second Amended Plan; (b) entitled to vote
to accept or reject the Second Amended Plan in accordance with section 1126 of the Bankruptcy Code;
and (c) deemed to accept or reject the Second Amended Plan. In accordance with section 1123(a)(1) of
the Bankruptcy Code, Administrative Expense Claims and Priority Tax Claims have not been classified.

   Class                   Designation                   Treatment           Entitled to Vote
     1         Priority Non-Tax Claims                   Unimpaired       No (Presumed to accept)
     2         Other Secured Claims                      Unimpaired       No (Presumed to accept)
     3         First Lien Claims                          Impaired                  Yes
     4         Second Lien Claims                         Impaired                  Yes
     5         General Unsecured Claims                   Impaired                  Yes
     6         Intercompany Claims                       Unimpaired       No (Presumed to accept)
     7         Intercompany Interests                    Unimpaired       No (Presumed to accept)
     8         Parent Equity Interests                    Impaired         No (Deemed to reject)
     9         Subordinated Securities Claims             Impaired         No (Deemed to reject)

                    3.        Special Provision Governing Unimpaired Claims.

Nothing under the Second Amended Plan shall affect the rights of the Debtors or the Reorganized
Debtors, as applicable, in respect of any Unimpaired Claims, including all rights in respect of legal and
equitable defenses to, or setoffs or recoupments against, any such Unimpaired Claims.




                                                         42
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57               Main Document
                                                  Pg 325 of 565



                    4.        Elimination of Vacant Classes.

Any Class of Claims against or Interests in the Debtors that, as of the commencement of the Confirmation
Hearing, does not have at least one holder of a Claim or Interest that is Allowed in an amount greater than
zero for voting purposes shall be considered vacant, deemed eliminated from the Second Amended Plan
for purposes of voting to accept or reject the Second Amended Plan, and disregarded for purposes of
determining whether the Second Amended Plan satisfies section 1129(a)(8) of the Bankruptcy Code with
respect to that Class.

          C.        Treatment of Claims and Interests.

                    1.        Priority Non-Tax Claims (Class 1).

                              (a)       Classification: Class 1 consists of Priority Non-Tax Claims.

                          (b)     Treatment: Except to the extent that a holder of an Allowed Priority
Non-Tax Claim against the Debtors agrees to a less favorable treatment of such Claim, in full and final
satisfaction of such Allowed Priority Non-Tax Claim, at the sole option of the Debtors or the Reorganized
Debtors, as applicable: (i) each such holder shall receive payment in Cash in an amount equal to such
Claim, payable on the later of the Effective Date and the date that is ten (10) Business Days after the date
on which such Priority Non-Tax Claim becomes an Allowed Priority Non-Tax Claim, or as soon
thereafter as is reasonably practicable; (ii) such holder’s Allowed Priority Non-Tax Claim shall be
Reinstated; or (iii) such holder shall receive such other treatment so as to render such holder’s Allowed
Priority Non-Tax Claim Unimpaired.

                       (c)      Voting: Class 1 is Unimpaired, and holders of Priority Non-Tax Claims
are conclusively presumed to have accepted the Second Amended Plan pursuant to section 1126(f) of the
Bankruptcy Code. Therefore, holders of Priority Non-Tax Claims are not entitled to vote to accept or
reject the Second Amended Plan, and the votes of such holders will not be solicited with respect to
Priority Non-Tax Claims.

                    2.        Other Secured Claims (Class 2).

                         (a)      Classification: Class 2 consists of the Other Secured Claims. To the
extent that Other Secured Claims are secured by different collateral or different interests in the same
collateral, such Claims shall be treated as separate subclasses of Class 2 for purposes of voting to accept
or reject the Second Amended Plan and receiving distributions under the Second Amended Plan.

                         (b)     Treatment: Except to the extent that a holder of an Allowed Other
Secured Claim agrees to different treatment, on the later of the Effective Date and the date that is ten (10)
Business Days after the date such Other Secured Claim becomes an Allowed Claim, or as soon thereafter
as is reasonably practicable, each holder of an Allowed Other Secured Claim will receive, on account of
such Allowed Claim, at the sole option of the Debtors or the Reorganized Debtors, as applicable: (i) Cash
in an amount equal to the Allowed amount of such Claim; (ii) Reinstatement of such holder’s Allowed
Other Secured Claim; or (iii) such other treatment sufficient to render such holder’s Allowed Other
Secured Claim Unimpaired; or (iv) return of the applicable collateral in satisfaction of the Allowed
amount of such Other Secured Claim.

                       (c)    Voting: Class 2 is Unimpaired, and holders of Other Secured Claims are
conclusively presumed to have accepted the Second Amended Plan pursuant to section 1126(f) of the
Bankruptcy Code. Therefore, holders of Other Secured Claims are not entitled to vote to accept or reject

                                                           43
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57                  Main Document
                                                  Pg 326 of 565



the Second Amended Plan, and the votes of such holders will not be solicited with respect to such Other
Secured Claims.

                    3.        First Lien Claims (Class 3).

                              (a)       Classification: Class 3 consists of First Lien Claims.

                         (b)     Allowance: The First Lien Claims are Allowed pursuant to section
506(a) of the Bankruptcy Code against the Debtors in the aggregate principal amount of $585,481,310.80
consisting of (i) $545,150,569.11 in aggregate outstanding principal amount of term loans,
(ii) $39,818,694.44 in aggregate outstanding principal amount of revolving loans, and (iii) $512,047.25 in
aggregate outstanding face amount of letters of credit issued, in each case, under the Prepetition First Lien
Credit Agreement, plus accrued and unpaid prepetition interest, accrued and unpaid post-petition interest,
fees, expenses and other amounts arising under the Prepetition First Lien Credit Agreement.

                          (c)      Treatment: Except to the extent that a holder of a First Lien Claim
agrees to less favorable treatment, in full and final satisfaction, settlement, release, and discharge of, and
in exchange for such First Lien Claim, each such holder thereof (or, with respect to any New Equity
Interests to be issued pursuant to the First Lien Lender Equity Distribution, such holder’s permitted
designee) shall receive on the Effective Date such holder’s Pro Rata share of (a) the First Lien Lender
Equity Distribution; provided, that notwithstanding anything in the Second Amended Plan to the contrary,
the distribution of the First Lien Lender Equity Distribution shall be made pursuant to, and subject to the
terms and conditions of, the Equity Allocation Mechanism, less any New Equity Interests and/or Special
Warrants distributable to other classes of Claims in order for the Bankruptcy Court to determine that the
Amended Plan satisfies section 1129(a)(7) of the Bankruptcy Code; (b) the loans under the New First Lien
Credit Facility; and (c) cash or other proceeds, if any, from the sale of the Debtors’ Canadian business
unless otherwise agreed to by the Requisite First Lien Lenders.

For the avoidance of doubt, on the Effective Date, the Prepetition First Lien Credit Agreement shall be
deemed cancelled (except as set forth in Section 5.10 hereof5.09 of the Second Amended Plan) without
further action by or order of the Bankruptcy Court.

                           (d)      Voting: Class 3 is Impaired, and holders of First Lien Claims in Class 3
are entitled to vote to accept or reject the Second Amended Plan.

                    4.        Second Lien Claims (Class 4).

                        (a)      Classification: Class 4 consists of Second Lien Claims in the aggregate
principal amount of $85,000,000 of term loans issued under the Prepetition Second Lien Credit
Agreement, plus interest, fees, expenses and other amounts arising under the Prepetition Second Lien
Credit Agreement.

                 (b) Treatment: Except to the extent that a holder of an Allowed Second Lien Claim
agrees to less favorable treatment, in full and final satisfaction, settlement, release, and discharge of, and
in exchange for ansuch Allowed Second Lien Claim, on the Effective Date each such holder thereof shall
receive: on the Effective Date such holder’s Pro Rata share of the Second Lien Lender Special Warrant
Distribution.

                              (i) if Class 4 is an Accepting Class, holders of First Lien Claims shall be
deemed to have consented to a distribution to holders of Second Lien Claims of, and each holder of a
Second Lien Claim and Second Lien Deficiency Claim shall receive on the Effective Date, in full

                                                           44
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57                Main Document
                                                  Pg 327 of 565



satisfaction of its Allowed Second Lien Claim and Second Lien Deficiency Claim, such holder’s Pro Rata
share of Second Lien Warrants; provided, that, notwithstanding anything in the Amended Plan to the
contrary, the distribution of the Second Lien Warrants to the holders of Second Lien Claims shall be made
pursuant to and subject to Communications Act and the rules and regulations of the FCC as well as
applicable state laws and the rules and regulations of the State PUCs; or

                                        (ii) if Class 4 is not an Accepting Class, then each holder of a Second
Lien Claim will receive its Pro Rata share of (x) the Litigation Trust Interests on account of its Second
Lien Deficiency Claim (subject to the terms and conditions of the Prepetition Intercreditor Agreement) and
(y) the percentage of the New Equity Interests and/or Special Warrants in accordance with the Equity
Allocation Mechanism, as determined by the Bankruptcy Court to satisfy section 1129(a)(7) of the
Bankruptcy Code as to holders of Second Lien Claims (if any).

               For the avoidance of doubt, on the Effective Date, the Prepetition Second Lien Credit
Agreement shall be deemed cancelled (except as set forth in Section 5.10 hereof5.09 of the Second
Amended Plan) without further action by or order of the Bankruptcy Court.

                           (b)      (c) Voting: Class 4 is Impaired, and holders of Second Lien Claims are
entitled to vote to accept or reject the Second Amended Plan.

                    5.        General Unsecured Claims (Class 5).

                              (a)       Classification: Class 5 consists of General Unsecured Claims.

                         (b)     Treatment: Except to the extent that a holder of an Allowed General
Unsecured Claim agrees to less favorable treatment, in full and final satisfaction, settlement, release, and
discharge of, and in exchange for an Allowed General Unsecured Claim, each such holder thereof shall
receive such holder’s Pro Rata share of the Litigation Trust Interests on the Effective Date.

                           (c)      Voting: Class 5 is Impaired, and holders of General Unsecured Claims
are entitled to vote to accept or reject the Second Amended Plan.

                    6.        Intercompany Claims (Class 6).

                              (a)       Classification: Class 6 consists of Intercompany Claims.

                          (b)     Treatment: On or after the Effective Date, all Intercompany Claims will
be adjusted, continued, settled, reinstated, discharged, or eliminated as determined by the Debtors or the
Reorganized Debtors, as applicable, and the Requisite First Lien Lenders, in their respective reasonable
discretion, but not paid in Cash.

                       (c)    Voting: Class 6 is Unimpaired, and holders of Intercompany Claims are
conclusively presumed to have accepted the Second Amended Plan pursuant to section 1126(f) of the
Bankruptcy Code. Therefore, holders of Intercompany Claims are not entitled to vote to accept or reject
the Second Amended Plan, and the votes of such holders will not be solicited with respect to such
Intercompany Claims.

                    7.        Intercompany Interests (Class 7).

                              (a)       Classification: Class 7 consists of Intercompany Interests.



                                                           45
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57                 Main Document
                                                  Pg 328 of 565



                        (b)      Treatment: On or after the Effective Date, all Intercompany Interests
shall be cancelled, reinstated, or receive such other treatment as determined by the Debtors or the
Reorganized Debtors, as applicable, and the Requisite First Lien Lenders, in their respective reasonable
discretion.

                        (c)     Voting: Class 7 is Unimpaired, and holders of Intercompany Interests
are conclusively presumed to have accepted the Second Amended Plan pursuant to section 1126(f) of the
Bankruptcy Code. Therefore, holders of Intercompany Interests are not entitled to vote to accept or reject
the Second Amended Plan, and the votes of such holders will not be solicited with respect to such
Intercompany Interests.

                    8.        Parent Equity Interests (Class 8).

                              (a)       Classification: Class 8 consists of Parent Equity Interests.

                         (b)      Treatment: on the Effective Date, all Parent Equity Interests shall be
deemed cancelled without further action by or order of the Bankruptcy Court, and shall be of no further
force and effect, whether surrendered for cancellation or otherwise. To the extent permitted by applicable
law, on or promptly after the Effective Date, the Reorganized Debtors shall file with the SEC a Form 15
for the purpose of terminating the registration of any of FCI’s publicly traded securities.

                      (c)     Voting: Class 8 is Impaired, and holders of Parent Equity Interests are
conclusively deemed to have rejected the Second Amended Plan pursuant to section 1126(g) of the
Bankruptcy Code. Therefore, holders of Parent Equity Interests are not entitled to vote to accept or reject
the Second Amended Plan, and the votes of such holders will not be solicited with respect to such Parent
Equity Interests.

                    9.        Subordinated Securities Claims (Class 9).

                              (a)       Classification: Class 9 consists of Subordinated Securities Claims.

                         (b)      Treatment: Holders of Subordinated Securities Claims shall not receive
or retain any property under the Second Amended Plan on account of such Subordinated Securities
Claims. On the Effective Date, all Subordinated Securities Claims shall be deemed cancelled without
further action by or order of the Bankruptcy Court, and shall be of no further force and effect, whether
surrendered for cancellation or otherwise.

                         (c)     Voting: Class 9 is Impaired, and the holders of Subordinated Securities
Claims are conclusively deemed to have rejected the Second Amended Plan. Therefore, holders of
Subordinated Securities Claims are not entitled to vote to accept or reject the Second Amended Plan, and
the votes of such holders of Subordinated Securities Claims will not be solicited.

          D.        Means for Implementation

                    1.        No Substantive Consolidation

The Second Amended Plan is being proposed as a joint plan of reorganization of the Debtors for
administrative purposes only and constitutes a separate chapter 11 plan of reorganization for each Debtor.
However, this Plan contemplates and is predicated upon the deemed substantive consolidation of the
Estate and Chapter 11 Case of each Debtor with the Estate and Chapter 11 Case of each other Debtor for
purposes of distributions made by the Litigation Trust only. On the Effective Date, each Claim filed or to

                                                           46
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57           Main Document
                                                  Pg 329 of 565



be filed against any Debtor shall be deemed filed only against Fusion Connect, Inc. and shall be deemed a
single Claim against and a single obligation of Fusion Connect, Inc. for purposes of distributions made by
the Litigation Trust only and the claims register shall be updated accordingly. This limited substantive
consolidation effected pursuant to this Section 5.1 of the Second Amended Plan shall not affect the vesting
of any Litigation Trust Cause of Action in the Litigation Trust, nor shall it affect the prosecution of any
Litigation Trust Cause of Action by the Litigation Trust.

                    2.        Compromise and Settlement of Claims, Interests, and Controversies

                           (a)      Pursuant to sections 363 and 1123(b)(3) of the Bankruptcy Code and
Bankruptcy Rule 9019 and in consideration for the distributions and other benefits provided pursuant to
the Second Amended Plan, the provisions of the Second Amended Plan and the Global Settlement shall
constitute a good faith compromise of Claims, Interests, and controversies relating to the contractual,
legal, and subordination rights that a creditor or an Interest holder may have with respect to any Claim or
Interest or any distribution to be made on account of an Allowed Claim or Interest. The entry of the
Confirmation Order shall constitute the Bankruptcy Court’s approval of the compromise or settlement of
all such Claims, Interests, and controversies, as well as a finding by the Bankruptcy Court that such
compromise or settlement is in the best interests of the Debtors, their Estates, and holders of such Claims
and Interests, and is fair, equitable, and reasonable.

                         (b)    The Second Amended Plan incorporates and reflects the following
compromise and settlement by and among the Debtors, the Creditors’ Committee, and the Consenting
First Lien Lenders, and the Consenting Second Lien Lenders (the “Global Settlement”).

                                 (i)    On the Effective Date, the Litigation Trust shall be established in
accordance with Section 5.16 of the Second Amended Plan and shall be governed and administered in
accordance with the Litigation Trust Agreement.

                                  (ii)     On the Effective Date, or as soon as reasonably practicable
thereafter, (1) the Debtors shall be deemed to transfer to the Litigation Trust the Litigation Trust Debtor
Causes of Action, (2) the Reorganized Debtors shall transfer to the Litigation Trust the Litigation Trust
Initial Funding and (3) holders of Allowed First Lien Claims shall be deemed to transfer to the Litigation
Trust any direct Cause of Action they may assert solely in their capacities as lenders under the Prepetition
First Lien Credit Agreement relating to the Debtors, which, for the avoidance of doubt, shall not include
any Cause of Action against any Prepetition First Lien Lender or the Prepetition First Lien Administrative
Agent, to the extent such Causes of Action are not released or subject to the exculpation provisions under
the Second Amended Plan (the “Litigation Trust First Lien Lender Causes of Action”), each free and
clear of all Liens, charges, Claims, encumbrances, and interests, in accordance with Section 1141 of the
Bankruptcy Code. All of the Litigation Trust Assets, as well as the rights and powers of the Debtors’
Estates applicable to the Litigation Trust Assets, shall vest in the Litigation Trust, for the benefit of the
holders of Litigation Trust Interests and Reorganized FCI.

                                 (iii)  On the Effective Date, or as soon as reasonably practicable
thereafter, the Reorganized Debtors and Litigation Trust shall enter into the Litigation Trust Loan
Agreement pursuant to which the Reorganized Debtors shall agree to lend the Litigation Trust Loan
Proceeds to the Litigation Trust. The Litigation Trust Loan Proceeds shall be available to be drawn in
$1,000,000 installments six (6) and twelve (12) months after the Effective Date, and $500,000
installments eighteen (18), twenty-four (24), and thirty (30) months after the Effective Date. The
Litigation Trust Loan shall accrue payment-in-kind interest at same rate as the New First Lien Credit
Facility. The amount of the Litigation Trust Loan may be increased post-Effective Date upon the
agreement of the Reorganized Debtors and the Litigation Trust. In the event the Reorganized Debtors fail

                                                         47
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                                  Pg 330 of 565



to honor a Litigation Trust Loan draw installment when due, such failure shall be deemed to be an
automatic exercise of the Termination Right (as defined below) without the consent of the member the
Creditors’ Committee appointed to the Litigation Trust Oversight Committee.

                                  (iv)    On the Effective Date, all Preference Actions against any Entity
other than a Non-Released Party that the Debtors or the Estates would have been legally entitled to assert
in their own right (whether individually or collectively) or on behalf of the holder of any Claim or Interest
or other Person shall be deemed conclusively, absolutely, unconditionally, irrevocably and forever,
released.

                                (v)     The Litigation Trust shall be overseen and controlled by the
Litigation Trust Oversight Committee in accordance with the Litigation Trust Agreement. The Litigation
Trust Oversight Committee shall have the authority to determine whether to enforce, settle, release, or
compromise the Litigation Trust Causes of Action (or decline to do any of the foregoing). The Litigation
Trust Oversight Committee shall be solely responsible for selecting and retaining advisors to the
Litigation Trust.

                                 (vi)   In accordance with the Litigation Trust Agreement, payment of
Litigation Trust Expenses shall be deemed to be made first from the Litigation Trust Initial Funding and
then from the Litigation Trust Loan Proceeds. The Litigation Trust shall be deemed to be prohibited
from using any Litigation Trust Loan Proceeds until no portion of the Litigation Trust Initial Funding is
remaining.

                                   (vii) After payment of Litigation Trust Expenses pursuant to the
Litigation Trust Agreement, the Litigation Trust Assets (other than any proceeds of the Litigation Trust
First Lien Lender Causes of Action) shall be shared and distributed as follows: first, payment in full in
Cash of all amounts due to the Reorganized DebtorsFCI under the Litigation Trust Loan; second,
distribution of up to $180,000 to Reorganized FCI; third, distribution to the Litigation Trust for the
benefit of the holders of Litigation Trust Interests in accordance with the Second Amended Plan of up to
$1,500,000 (the “GUC Payment”); thirdfourth, to the extent the remaining Litigation Trust Assets are
equal to or less than $20,000,000, seventysixty percent (7060%) of such Litigation Trust Assets shall be
distributed to Reorganized FCI and thirtyforty percent (3040%) of such Litigation Trust Assets shall be
distributed to the Litigation Trust for the benefit of the holders of Litigation Trust Interests in accordance
with the Second Amended Plan; and fourthfifth, to the extent there are any remaining Litigation Trust
Assets greater than $20,000,000, fifty percent (50%) of such Litigation Trust Assets shall be distributed
to the Reorganized FCI and fifty percent (50%) of such Litigation Trust Assets shall be distributed to the
Litigation Trust for the benefit of the holders of Litigation Trust Interests in accordance with the Second
Amended Plan.

                                  (viii) After payment of Litigation Trust Expenses pursuant to the
Litigation Trust Agreement, any Litigation Trust Assets that are proceeds of the Litigation Trust First
Lien Lender Causes of Action shall be shared and distributed as follows: first, payment in full in Cash of
all amounts due to the Reorganized Debtors under the Litigation Trust Loan; second, eighty-five percent
(85%) of such Litigation Trust Assets shall be distributed to the Reorganized FCI and fifteen percent
(15%) of such Litigation Trust Assets shall be distributed to the Litigation Trust for the benefit of the
holders of Litigation Trust Interests in accordance with the Second Amended Plan.

                                (ix)    Holders of Second Lien Claims, on account of the Second Lien
Deficiency Claims (subject to the terms and conditions of the Prepetition Intercreditor Agreement), and
General Unsecured Claims shall be entitled to share Pro Rata in the Litigation Trust Assets that are not
paid to Reorganized FCI. Holders of Allowed First Lien Claims shall not be entitled to receive a


                                                         48
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57                 Main Document
                                                  Pg 331 of 565



distribution from the Litigation Trust on account of the Term Loan Deficiency Claim other than on
account of the turnover provision of the Prepetition Intercreditor Agreement.

                                        (x)(which the Prepetition First Lien Administrative Agent shall use
commercially reasonable efforts to enforce with respect to any distributions made by the Litigation Trust);
in the event that hHolders of Allowed FirstSecond Lien Claims shall not be entitled to receive a
distribution from the Litigation Trust on account of the Term LoanSecond Lien Deficiency Claim, such
distribution shall be credited against, and reduce, on a dollar-for-dollar basis, any distribution of
Litigation Trust Assets that are distributable to Reorganized FCI.

                                 (xi)     (x) Upon entry of the Confirmation Order, the Challenge Period
(as defined in the DIP Order) shall be deemed expired.

                                        (xii)     (xi) The Litigation Trust may be terminated in accordance with
Section 5.16 of the Second Amended Plan and the Litigation Trust Agreement.

                                 (xiii) (xii) The Litigation Trust shall have the authority and right on
behalf of each of the Debtors, without the need for Bankruptcy Court approval (unless otherwise
indicated), to, except to the extent Claims have been Allowed, control and effectuate the Claims
reconciliation process of General Unsecured Claims, including to object to, seek to subordinate,
compromise or settle any and all General Unsecured Claims against the Debtors.

                                        (xiv)     (xiii) The Litigation Trust shall have authority under Bankruptcy
Rule 2004 to issue subpoenas for documents and testimony in connection with the Litigation Trust Causes
of Action.

                                        (xv)      On the Effective Date, Reorganized FCI shall enter into the
Consulting Agreement.

                              (xvi) On the Effective Date, proofs of Claim nos. 724, 777, and 840
filed by Greenberg Traurig, LLP against the Debtors on account of services performed prior to the
Commencement Date shall be deemed withdrawn and expunged with prejudice.

                                        (xvii) The Other Officers and Directors shall be included in Section
10.8 of the Second Amended Plan.

                                        (xviii) On the Effective Date, the Debtors shall pay the Settlement
Restructuring Expenses.

                                        (xix)     On the Effective Date, the Debtors shall pay the Second Lien
Lender Restructuring Expenses.

                                 (xx) (xiv) As a condition precedent to consummation of the Global
Settlement, the Creditors’ Committee and/or, the First Lien Lender Group, the Second Lien Lender Group,
and the Other Officers and Directors shall not object to the Disclosure Statement or the Second Amended
Plan, or take any other action that is inconsistent with or that would reasonably be expected to prevent,
interfere with, delay, or impede the confirmation and consummation of the Second Amended Plan or
approval of the Global Settlement.




                                                             49
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57              Main Document
                                                  Pg 332 of 565



                    3.        Sources of Consideration for Plan Distributions Implementing the
                              Reorganization Transaction

The Debtors shall fund distributions and satisfy applicable Allowed Claims and Allowed Interests under
the Second Amended Plan with Cash on hand, the proceeds of the New Exit Facility, loans under the New
First Lien Credit Facility, the New Equity Interests, and the Special Warrants, and the Second Lien
Warrants (if any) and through the issuance and distribution of the Litigation Trust Interests.

The Litigation Trust Causes of Action exclude all Preference Actions against any Entity other than a Non-
Released Party, and on the Effective Date, all such Preference Actions will be released. Providing
vendors with assurance that they will not be subject to Preference Actions was necessary for the Debtors’
preservation of go-forward trade relationships and, absent such a provision, would have dampened the
Debtors’ business prospects and threatened the Debtors’ successful emergence from chapter 11. The
Debtors also believe that the value of any Preference Action claims would be very low, as the majority of
transfers or payments made to creditors within the ninety (90) days preceding commencement of the Cases
were made to vendors, suppliers, or services providers, many of whom are paid regularly under contracts
with the Debtors. The Debtors have disclosed all known transfers or payments made within the ninety
(90) days preceding the Commencement Date on their Schedules and Statements. The Debtors will be
assuming most of their vendor contracts upon Confirmation. A limited set of “insiders” are Released
Parties, which the Second Lien Lenders take issue with in their objection to the Disclosure Statement and
Amended Plan, but theThe Debtors believe all of the Releases in the Second Amended Plan are
appropriate and note that both the Creditors’ Committee and the First Lien Lender Group agreed to
exclude these certain Preference Actions from the Litigation Trust Causes of Action through arm’s-length
negotiations, and as part of the Global Settlement.

                    4.        Reorganization Transaction

                       (a)              The Debtors shall implement the Reorganization Transaction as set forth
in the Second Amended Plan.

                              (b)       New First Lien Credit Facility

                                  (i)   On the Effective Date, the New First Lien Credit Agreement shall
be executed and delivered, and the Reorganized Debtors shall be authorized to execute, deliver and enter
into, the New First Lien Credit Documents, without the need for any further corporate, limited liability
partnership or limited liability company action and without further action by the holders of Claims or
Interests.

                                  (ii)    The obligations arising under the New First Lien Credit
Agreement shall be secured by a senior priority perfected security interest (junior to the liens securing the
New Exit Facility Credit Agreement) in substantially all present and after acquired property (whether
tangible, intangible, real, personal or mixed) of the Reorganized Debtors, wherever located, including,
without limitation, all accounts, inventory, equipment, capital stock in subsidiaries of the Reorganized
Debtors, investment property, instruments, chattel paper, real estate, leasehold interests, contracts,
patents, copyrights, trademarks and other general intangibles, and all products and proceeds thereof,
subject to any exceptions and materiality thresholds reasonably acceptable to the Requisite New First Lien
Lenders (as defined in the New First Lien Term Sheet).

                               (iii)   The Reorganized Debtors shall be authorized to execute, deliver,
and enter into and perform under the New First Lien Credit Agreement without the need for any further


                                                           50
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57         Main Document
                                                  Pg 333 of 565



corporate, limited liability partnership or limited liability company action and without further action by
the holders of Claims or Interests.

                              (c)       New Exit Facility.

On the Effective Date, the Reorganized Debtors shall be authorized to execute, deliver, enter into and
perform under the New Exit Facility Credit Agreement without the need for any further corporate, limited
liability partnership or limited liability company action and without further action by the holders of
Claims or Interests.

                     (d)   Authorization and Issuance of New Equity Interests, and Special
Warrants, and Second Lien Warrants.

                                  (i)      On the Effective Date, the Debtors or the Reorganized Debtors,
as applicable, are authorized to issue or cause to be issued and shall issue the New Equity Interests, and
Special Warrants and Second Lien Warrants (if any) in accordance with the terms of the Second Amended
Plan, the Amended Organizational Documents, the Special Warrant Agreement, the Second Lien Warrant
Agreement (if any), and the Equity Allocation Mechanism without the need for any further corporate or
stockholder action. All of the New Equity Interests issuable under the Second Amended Plan, when so
issued, shall be duly authorized, validly issued, fully paid, and non-assessable, and the Special Warrants
issued pursuant to the Amended Plan shall be duly authorized and validly issued and the Second Lien
Warrants (if any) issued pursuant to the AmendedSecond Amended Plan shall be duly authorized and
validly issued. For the avoidance of doubt, the acceptance of New Equity Interests and/or Special
Warrants by a holder of an Allowed First Lien Claim or Second Lien Claim shall be deemed as such
holder’s agreement to the Amended Organizational Documents and/or the Special Warrant Agreement, as
applicable, as each may be amended or modified from time to time following the Effective Date in
accordance with the terms of such documents and for the avoidance of doubt, the acceptance of Second
Lien Warrants (if any) by a holder of an Allowed Second Lien Claim shall be deemed as such holder’s
agreement to the Amended Organizational Documents and/or the Second Lien Warrant Agreement, as
applicable, as each may be amended or modified from time to time following the Effective Date in
accordance with the terms of such documents..

                                  (ii)     The distribution of the New Equity Interests, and Special
Warrants and Second Lien Warrants (if any) pursuant to the Second Amended Plan may be made by
means of book-entry registration on the books of a transfer agent for shares of New Equity Interests, and
Special Warrants and Second Lien Warrants (if any) or by means of book-entry exchange through the
facilities of a transfer agent reasonably satisfactory to the Debtors, in accordance with the customary
practices of such agent, as and to the extent practicable.

                              (e)       Continued Corporate Existence.

                                        (i)
                                         The Debtors shall continue to exist after the Effective Date as
Reorganized Debtors as a private company in accordance with the applicable laws of the respective
jurisdictions in which they are incorporated or organized and pursuant to the Amended Organizational
Documents unless otherwise determined in accordance with Section 5.105.09 of the Second Amended
Plan.

                                        (ii)
                                       On or after the Effective Date, the Reorganized Debtors may take
such reasonable action that may be necessary or appropriate as permitted by applicable law and the
Amended Organizational Documents, as the Reorganized Debtors may reasonably determine is reasonable
and appropriate to effect any transaction described in, approved by, or necessary or appropriate to

                                                         51
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57           Main Document
                                                  Pg 334 of 565



effectuate the Second Amended Plan, including, without limitation, taking necessary steps to dissolve or
merge out of existence any of the Reorganized Debtors that are reasonably determined to be unnecessary
for the continued successful performance of the Reorganized Debtors.

                              (f)       Officers and Board of Directors.

                                 (i)       Upon the Effective Date, the New Board shall consist of
seven (7) directors. If known, the identities of the directors and officers of the Reorganized Debtors shall
be disclosed prior to the Confirmation Hearing in accordance with section 1129(a)(5) of the Bankruptcy
Code.

                                 (ii)     Except to the extent that a member of the board of directors,
managers, or limited partners, as applicable, of a Debtor continues to serve as a director, manager, or
limited partner of such Debtor on and after the Effective Date, the members of the board of directors,
managers, or limited partners of each Debtor prior to the Effective Date, in their capacities as such, shall
have no continuing obligations to the Reorganized Debtors on or after the Effective Date and each such
director, manager or limited partner will be deemed to have resigned or shall otherwise cease to be a
director, manager or limited partner of the applicable Debtor on the Effective Date.

                              (g)       Reorganized Debtors’ Authority.

                                  (i)      The Reorganized Debtors shall have the authority and right on
behalf of each of the Debtors, without the need for Bankruptcy Court approval (unless otherwise
indicated), to carry out and implement all provisions of the Second Amended Plan, including, without
limitation, to: (a) except to the extent Claims have been previously Allowed, control and effectuate the
Claims reconciliation process, including to object to, seek to subordinate, compromise or settle any and all
Claims against the Debtors, other than with respect to General Unsecured Claims; (b) make distributions
to holders of Allowed Claims in accordance with the Second Amended Plan, other than with respect to
General Unsecured Claims; (c) prosecute all Causes of Action on behalf of the Debtors, elect not to
pursue any Causes of Action, and determine whether and when to compromise, settle, abandon, dismiss,
or otherwise dispose of any such Causes of Action, other than with respect to the Litigation Trust Causes
of Action; (d) retain professionals to assist in performing their duties under the Second Amended Plan;
(e) maintain the books, records, and accounts of the Debtors; (f) complete and file, as necessary, all final
or otherwise required federal, state, and local tax returns for the Debtors; and (g) perform other duties and
functions that are consistent with the implementation of the Second Amended Plan.

                                (ii)    After the Effective Date, the Reorganized Debtors may operate
the Debtors’ business and may use, acquire, or dispose of property and compromise or settle any Claims,
Interests, or Causes of Action without approval by the Bankruptcy Court and free of any restrictions of
the Bankruptcy Code or Bankruptcy Rules.

                    5.        FCC Licenses and State PUC Authorizations

The required FCC Applications were filed prior to the date of the Second Amended Plan, as were
applications seeking the consent of State PUCs with jurisdiction over the Reorganized Debtors to the
transactions contemplated by the Reorganization Transaction (which, for the avoidance of doubt, excludes
any transactions which may occur on or after the Exercise Date, as defined in the Equity Allocation
Mechanism). As a result, any Entity that acquires a First Lien Claim may be issued Special Warrants in
lieu of any New Equity Interests that would otherwise be issued to such Entity under the Second Amended
Plan. In addition, the Debtors may request that the Bankruptcy Court implement restrictions on trading of


                                                         52
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57          Main Document
                                                  Pg 335 of 565



Claims and Interests that might adversely affect the FCC approval or State PUC approval processes that
will be sought on or prior to the Effective Date.

The Petition for Declaratory Ruling and the FCC and/or state transfer of control applications necessary to
enable the exercise of the Special Warrants (the “Post-Effective Date Transfer Applications”) shall be
filed as promptly as practicable following the Effective Date. The Debtors or the Reorganized Debtors, as
applicable, shall diligently prosecute all FCC Applications and the State PUC Applications associated
with the Reorganization Transaction and, after the Effective Date, the Post-Effective Date Transfer
Applications and the Petition for Declaratory Ruling. The Debtors or Reorganized Debtors, as
applicable, shall promptly provide such additional documents or information requested by the FCC or any
State PUC in connection with the respective agencies’ review of the foregoing applications.

                    6.        Employee Matters

                         (a)     Subject to Section 5.6(c) of the Second Amended Plan, on the Effective
Date, the Reorganized Debtors shall be deemed (i) to have assumed all Benefit Plans and (ii) to have
rejected any employment agreements, offer letters, or award letters to which the Debtors are a party
(collectively, the “Employee Arrangements”), unless set forth on the Assumption Schedule. With
respect to any Benefit Plan and Employee Arrangement that is set forth on the Assumption Schedule, upon
the Effective Date such Benefit Plan and Employee Arrangement shall be deemed to be amended where
applicable to provide and clarify that the consummation of the Reorganization Transaction and any
associated organizational changes shall not constitute a “Change in Control,” be considered a “Good
Reason” event, or serve as a basis to trigger any rights or benefits under such Benefit Plan or Employee
Arrangement. To the extent that the Benefit Plans or any Employee Arrangements set forth on the
Assumption Schedule are executory contracts, pursuant to sections 365 and 1123 of the Bankruptcy Code,
unless an Assumption Dispute is timely filed and properly served, each of them will be deemed assumed
(as modified or terminated) as of the Effective Date with a Cure Amount of zero dollars. However,
notwithstanding anything else in the Second Amended Plan, the assumed Benefit Plans and Employee
Arrangements, if any, shall be subject to modification in accordance with the terms thereof at the
discretion of the Reorganized Debtors.

                          (b)     Following the Effective Date, the applicable Reorganized Debtors shall
enter into the Management Incentive Plan. All awards issued under the Management Incentive Plan will
be dilutive of all other New Equity Interests issued pursuant to the Second Amended Plan (including those
issued upon the exercise of any Special Warrants).

                        (c)      For the avoidance of doubt, if an Employee Arrangement or a Benefit
Plan provides for an award or potential award of Interests or consideration based on the value of Interests
prior to the Effective Date, such Interest shall be treated in accordance with Section 4.8 of the Second
Amended Plan and cancelled notwithstanding assumption of the applicable Employee Arrangement or
Benefit Plan.

                         (d)    On the Effective Date, the Reorganized Debtors shall be deemed to have
assumed all prepetition Key Employee Retention Agreements. Notwithstanding anything to the contrary
in Section 5.6(a), the consummation of the Restructuring Transactions and any associated organizational
changes shall constitute a “Change of Control” under all prepetition Key Employee Retention Agreements.

                    7.        Effectuating Documents; Further Transactions

                        (a)    On or as soon as practicable after the Effective Date, the Reorganized
Debtors shall take such reasonable actions as may be or become necessary or appropriate to effect any

                                                         53
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57              Main Document
                                                  Pg 336 of 565



transaction described in, approved by, contemplated by, or necessary to effectuate the Second Amended
Plan and the Global Settlement, including (i) the execution and delivery of appropriate agreements or
other documents of merger, consolidation, restructuring, financing, conversion, disposition, transfer,
dissolution, or liquidation containing terms that are consistent with the terms of the Second Amended Plan
and that satisfy the applicable requirements of applicable law and any other terms to which the applicable
Entities may determine; (ii) the execution and delivery of appropriate instruments of transfer, assignment,
assumption, or delegation of any Asset, property, right, liability, debt, or obligation on terms consistent
with the terms of the Second Amended Plan and having other terms to which the applicable parties agree;
(iii) the filing of appropriate certificates or articles of incorporation, reincorporation, merger,
consolidation, conversion, or dissolution and the Amended Organizational Documents pursuant to
applicable state law; (iv) the issuance of securities, all of which shall be authorized and approved in all
respects, in each case, without further action being required under applicable law, regulation, order, or
rule; (v) the execution, delivery, or filing of contracts, instruments, releases, and other agreements to
effectuate and implement the distribution of the Litigation Trust Interests to be issued pursuant hereto
without the need for any approvals, authorizations, actions, or consents; and (vi) all other actions that the
applicable Entities determine to be necessary or appropriate, including making filings or recordings that
may be required by applicable law or to reincorporate in another jurisdiction, subject, in each case, to the
Amended Organizational Documents.

                           (b)    Each officer, manager, limited partner or member of the board of
directors of the Debtors is (and each officer, manager, limited partner or member of the board of directors
of the Reorganized Debtors shall be) authorized and directed to issue, execute, deliver, file, or record such
contracts, securities, instruments, releases, indentures, and other agreements or documents and take such
actions as may be necessary or appropriate to effectuate, implement, and further evidence the terms and
conditions of the Second Amended Plan and the securities issued pursuant to the Second Amended Plan in
the name of and on behalf of the Reorganized Debtors, all of which shall be authorized and approved in
all respects, in each case, without the need for any approvals, authorization, consents, or any further
action required under applicable law, regulation, order, or rule (including, without limitation, any action
by the stockholders, limited partners, directors or managers of the Debtors, the Reorganized Debtors)
except for those expressly required pursuant to the Second Amended Plan.

                           (c)      In order to preserve the Reorganized Debtors’ ability to utilize certain tax
attributes that exist as of the Effective Date, the charter, bylaws, and other organizational documents may
restrict certain transfers of the New Equity Interests.

                          (d)    The Reorganization Transaction and the Global Settlement, including the
creation of the Litigation Trust, shall be conducted in a manner that, in the business judgment of the
Debtors, with the consent of the Requisite First Lien Lenders (which consent shall not be unreasonably
withheld), ensures that the Reorganized Debtors receive favorable and efficient tax treatment, given the
totality of the circumstances.

                         (e)      All matters provided for in the Second Amended Plan involving the
corporate structure of the Debtors, Reorganized Debtors, to the extent applicable, or any corporate or
related action required by the Debtors, or the Reorganized Debtors in connection herewith shall be deemed
to have occurred and shall be in effect, without any requirement of further action by the stockholders,
members, limited partners, directors or managers of the Debtors or Reorganized Debtors, and with like
effect as though such action had been taken unanimously by the stockholders, members, limited partners,
directors, managers, or officers, as applicable, of the Debtors, or the Reorganized Debtors.




                                                         54
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57              Main Document
                                                  Pg 337 of 565



                    8.        Section 1145 Exemption

                          (a)      The offer, issuance, and distribution of (i) the New Equity Interests and
the Special Warrants to holders of the First Lien Claims under Section 4.3 of the Amended Plan; (ii) the
Second LienSpecial Warrants (if any)hereunder to holders of the Second Lien Claims (if applicable); and
(iii) the Litigation Trust Interests (to the extent they are deemed to be securities) to holders of General
Unsecured Claims and holders of Second Lien Claims (if applicable) shall be exempt, pursuant to section
1145 of the Bankruptcy Code, without further act or action by any Entity, from registration under (a) the
Securities Act of 1933, as amended, and all rules and regulations promulgated thereunder and (b) any
state or local law requiring registration for the offer, issuance, or distribution of Securities.

                          (b)     The New Equity Interests shall be freely tradable by the recipients
thereof, subject to (i) the provisions of section 1145(b)(1) of the Bankruptcy Code relating to the
definition of an underwriter in section 2(a)(11) of the Securities Act of 1933; (ii) compliance with any
rules and regulations of the Securities and Exchange Commission, if any, applicable at the time of any
future transfer of such securities or instruments; (iii) any reasonable restrictions, to the extent necessary
for the Debtors to preserve their ability to utilize certain tax attributes that exist as of the Effective Date,
on the transferability and ownership of New Equity Interests; (iv) applicable regulatory approval; (v) the
Stockholders Agreement; (vi) the Amended Organizational Documents and (vii) any other applicable law.

                          (c) The Debtors do not intend for the Litigation Trust Interests to be “securities”
under applicable laws. Notwithstanding this intention, to the extent such units are deemed to be
“securities,” the issuance of such units under the Amended Plan is exempt, pursuant to (i) section 1145 of
the Bankruptcy Code (except with respect to an entity that is an “underwriter” as defined in subsection (b)
of section 1145 of the Bankruptcy Code) or (ii) pursuant to section 4(a)(2) under the Securities Act and/or
Regulation D thereunder (including with respect to an entity that is an “underwriter”).

                    9.        Cancellation of Existing Securities and Agreements

                           (a)     Except for the purpose of evidencing a right to a distribution under the
Second Amended Plan and except as otherwise set forth in the Second Amended Plan, including with
respect to executory contracts or unexpired leases that shall be assumed by the Reorganized Debtors, and
subject in all respects to the Prepetition Intercreditor Agreement (as applicable), on the Effective Date, all
agreements, instruments, and other documents evidencing or issued pursuant to the DIP Documents, the
Prepetition First Lien Credit Documents, the Prepetition Second Lien Credit Agreement and any other
“Credit Document” as defined tin the Second Amended Plan, the Prepetition Subordinated Notes, or any
indebtedness or other obligations thereunder, and any Interest in any of the Debtors (other than
Intercompany Interests), or any other certificate, share, note, bond, indenture, purchase right, option,
warrant, call, put, award, commitment, registration rights, preemptive right, right of first refusal, right of
first offer, co-sale right, investor rights, or other instrument or document of any character directly or
indirectly evidencing or creating any indebtedness or obligation of or ownership interest in the Debtors
giving rise to any Claim or Interest, and any rights of any holder in respect thereof, shall be deemed
cancelled, discharged, and of no force or effect, and the obligations of the Debtors thereunder shall be
deemed fully satisfied, released, and discharged.

                         (b)      Notwithstanding such cancellation and discharge, the DIP Documents,
the Prepetition First Lien Credit Documents and the Prepetition Second Lien Credit Agreement, the
Prepetition Subordinated Notes and any other indenture or agreement that governs the rights of a holder of
an Allowed Claim shall continue in effect to the extent necessary (i) to allow the holders of such Claims to
receive distributions under the Second Amended Plan; (ii) to allow the Debtors, the Reorganized Debtors,
the DIP Agent, the Prepetition First Lien Administrative Agent, and the Prepetition Second Lien

                                                         55
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                                  Pg 338 of 565



Administrative Agent to make post-Effective Date distributions or take such other action pursuant to the
Second Amended Plan on account of such Claims and to otherwise exercise their rights and discharge
their obligations relating to the interests of the holders of such Claims; (iii) to allow holders of Claims to
retain their respective rights and obligations vis-à-vis other holders of Claims pursuant to any applicable
loan document or other agreement; (iv) to allow the DIP Agent, the Prepetition First Lien Administrative
Agent and the Prepetition Second Lien Administrative Agent to enforce their rights, claims, and interests
vis-à-vis any party other than the Debtors, including any rights with respect to priority of payment and/or
to exercise charging liens; (v) to preserve any rights of the DIP Agent, the Prepetition First Lien
Administrative Agent and the Prepetition Second Lien Administrative Agent to payment of fees, expenses,
and indemnification obligations as against any money or property distributable to lenders under the DIP
Documents, the Prepetition First Lien Credit Agreement and the Prepetition Second Lien Credit
Agreement, as applicable, including any rights to priority of payment and/or to exercise charging liens;
(vi) to allow the DIP Agent, the Prepetition First Lien Administrative Agent and the Prepetition Second
Lien Administrative Agent to enforce any obligations owed to it under the Second Amended Plan; (vii) to
allow the DIP Agent, the Prepetition First Lien Administrative Agent and the Prepetition Second Lien
Administrative Agent to exercise rights and obligations relating to the interests of lenders under the DIP
Documents, the Prepetition First Lien Credit Agreement and the Prepetition Second Lien Credit
Agreement, as applicable; (viii) to permit the DIP Agent, the Prepetition First Lien Administrative Agent
and the Prepetition Second Lien Administrative Agent to perform any function necessary to effectuate the
foregoing; (ix) to allow the DIP Agent, the Prepetition First Lien Administrative Agent and the Prepetition
Second Lien Administrative Agent to appear in the Chapter 11 Cases or in any proceeding in the
Bankruptcy Court or any other court relating to the DIP Documents, the Prepetition First Lien Credit
Agreement or the Prepetition Second Lien Credit Agreement; provided that, nothing in Section 5.105.9 of
the Second Amended Plan shall affect the discharge of Claims pursuant to the Bankruptcy Code, the
Confirmation Order, or the Second Amended Plan; and (x) to preserve all rights of the Prepetition First
Lien Lenders to the extent necessary for the Litigation Trust to pursue the Litigation Trust First Lien
Lender Causes of Action.

                         (c)     Except for the foregoing, subsequent to the performance by the DIP
Agent of its obligations pursuant to the Second Amended Plan, the DIP Agent and its agents shall be
relieved of all further duties and responsibilities related to the DIP Documents. Nothing in Section
5.105.9 of the Second Amended Plan shall in any way affect or diminish the rights of the DIP Agent to
exercise any charging lien against distributions to holders of DIP Claims with respect to any unpaid fees.

                          (d)     Except for the foregoing, subsequent to the performance by the
Prepetition First Lien Administrative Agent of its obligations pursuant to the Second Amended Plan, the
Prepetition First Lien Administrative Agent and its agents shall be relieved of all further duties and
responsibilities related to the Prepetition First Lien Credit Agreement. Nothing in Section 5.9 of the
Second Amended Plan shall in any way affect or diminish the rights of the Prepetition First Lien
Administrative Agent to exercise any charging lien against distributions to holders of First Lien Claims
with respect to any unpaid fees.

                           (e)     Except for the foregoing, subsequent to the performance by the
Prepetition Second Lien Administrative Agent of its obligations pursuant to the Second Amended Plan,
the Prepetition Second Lien Administrative Agent and its agents shall be relieved of all further duties and
responsibilities related to the Prepetition Second Lien Credit Agreement. Nothing in Section 5.9 of the
Second Amended Plan shall in any way affect or diminish the rights of the Prepetition Second Lien
Administrative Agent to exercise any charging lien against distributions to holders of Second Lien Claims
with respect to any unpaid fees.




                                                         56
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57         Main Document
                                                  Pg 339 of 565



                        (f)      Notwithstanding anything to the contrary in the Second Amended Plan,
all rights under the Prepetition First Lien Credit Agreement and the Prepetition Second Lien Credit
Agreement shall remain subject to the Prepetition Intercreditor Agreement.

                         (g)      Notwithstanding the foregoing, any provision in any document,
instrument, lease, or other agreement that causes or effectuates, or purports to cause or effectuate, a
default, termination, waiver, or other forfeiture of, or by, the Debtors as a result of the cancellations,
terminations, satisfaction, releases, or discharges provided for in the Second Amended Plan shall be
deemed null and void and shall be of no force and effect. Nothing contained in the Second Amended Plan
shall be deemed to cancel, terminate, release, or discharge the obligation of the Debtors or any of their
counterparties under any executory contract or unexpired lease to the extent such executory contract or
unexpired lease has been assumed by the Debtors pursuant to a Final Order of the Bankruptcy Court or
hereunder.

                    10.       Cancellation of Liens

Except as otherwise specifically provided in the Second Amended Plan, on the Effective Date, any Lien
securing an Allowed Claim that is paid in full, in Cash, shall be deemed released, and the holder of such
Other Secured Claim shall be authorized and directed to release any collateral or other property of the
Debtors (including any Cash collateral) held by such holder and to take such actions as may be requested
by the Reorganized Debtors, to evidence the release of such Lien, including the execution, delivery and
filing or recording of such releases as may be requested by the Reorganized Debtors.

                    11.       Subordination Agreements

Pursuant to section 510(a) of the Bankruptcy Code, all subordination agreements, including but not
limited to, the Prepetition Intercreditor Agreement, governing Claims or Interests shall be enforced in
accordance with such agreement’s terms.

                    12.       Nonconsensual Confirmation

The Debtors intend to undertake to have the Bankruptcy Court confirm the Second Amended Plan under
section 1129(b) of the Bankruptcy Code as to any Classes that reject or are deemed to reject the Second
Amended Plan.

                    13.       Closing of Chapter 11 Cases

After an Estate has been fully administered, the Reorganized Debtors shall seek authority from the
Bankruptcy Court to close the applicable Chapter 11 Case(s) in accordance with the Bankruptcy Code
and Bankruptcy Rules.

                    14.       Notice of Effective Date

As soon as practicable, but not later than three (3) Business Days following the Effective Date, the
Debtors shall file a notice of the occurrence of the Effective Date with the Bankruptcy Court.

                    15.       Separability

Notwithstanding the combination of the separate plans of reorganization for the Debtors set forth in the
Second Amended Plan for purposes of economy and efficiency, the Second Amended Plan constitutes a
separate chapter 11 plan for each Debtor. Accordingly, if the Bankruptcy Court does not confirm the

                                                         57
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57                 Main Document
                                                  Pg 340 of 565



Second Amended Plan with respect to one or more Debtors, it may still, subject to the consent of the
applicable Debtors, confirm the Second Amended Plan with respect to any other Debtor that satisfies the
confirmation requirements of section 1129 of the Bankruptcy Code.

                    16.       Litigation Trust

                              (a)       Interest in the Litigation Trust

Any and all interests in the Litigation Trust will not constitute “securities” and will not be registered
pursuant to the Securities Act, as amended, or any state securities law. However, if it should be
determined that interests in the Litigation Trust constitute “securities,” the exemption provisions of
Section 1145 of the Bankruptcy Code will apply to the interests in the Litigation Trust. Any and all
interests in the Litigation Trust shall not be certificated, shall be subject to certain restrictions, and all
interests shall be non-transferable other than if transferred by will, intestate succession, or otherwise by
operation of law.

                              (b)       Creation and Governance of the Litigation Trust

On the Effective Date, the Debtors shall be deemed to transfer the Litigation Trust Debtor Causes of
Action to the Litigation Trust, the Reorganized Debtors shall transfer the Litigation Trust Initial Funding
to the Litigation Trust, the holders of Allowed First Lien Claims shall be deemed to transfer the Litigation
Trust First Lien Lender Causes of Action to the Litigation Trust and the Reorganized Debtors (solely in
their capacity as successors to the Debtors), the Litigation Trust Oversight Committee and the Creditors’
Committee shall execute the Litigation Trust Agreement and shall take all steps necessary to establish the
Litigation Trust in accordance with the Second Amended Plan and the beneficial interests tin the Second
Amended Plan, which shall be for the benefit of the holders of Litigation Trust Interest and Reorganized
FCI. In the event of any conflict between the terms of the Second Amended Plan and the terms of the
Litigation Trust Agreement, the terms of the Second Amended Plan shall govern. Additionally, on the
Effective Date, (1) the Debtors shall be deemed to transfer to the Litigation Trust all of their rights, title
and interest in and to all of the Litigation Trust Debtor Causes of Action (2) the Reorganized Debtors
shall transfer to the Litigation Trust all of their rights, title and interest in and to all of the Litigation Trust
Initial Funding and (3) the holders of Allowed First Lien Claims shall be deemed to transfer to the
Litigation Trust all of their rights, title and interest in and to all of the Litigation Trust First Lien Lender
Causes of Action, and in accordance with section 1141 of the Bankruptcy Code, the Litigation Trust
Debtor Causes of Action, the Litigation Trust Initial Funding and the Litigation Trust First Lien Lender
Causes of Action shall automatically vest in the Litigation Trust free and clear of all Claims and Liens
and such transfer shall be exempt from any stamp, real estate transfer, mortgage reporting, sales, use or
other similar tax. The Litigation Trust Oversight Committee shall be the exclusive administrator of the
assets of the Litigation Trust for purposes of 31 U.S.C. § 3713(b) and 26 U.S.C. § 6012(b)(3), as well as
the representatives of the Estate of each of the Debtors appointed pursuant to section 1123(b)(3)(B) of the
Bankruptcy Code, solely for purposes of carrying out the Litigation Trust Oversight Committee’s duties
under the Litigation Trust Agreement. Notwithstanding the foregoing, all net proceeds of such Litigation
Trust Debtor Cause of Action shall be transferred to the Litigation Trust to be distributed in accordance
with the Second Amended Plan. The Litigation Trust shall be governed by the Litigation Trust
Agreement and administered by the Litigation Trust Oversight Committee. The powers, rights, and
responsibilities of the Litigation Trust Oversight Committee shall be specified in the Litigation Trust
Agreement and shall include the authority and responsibility to, among other things, take the actions set
forth in Section 5.16 of the Second Amended Plan. The Litigation Trust Oversight Committee shall hold
and distribute the Litigation Trust Assets in accordance with the provisions of the Second Amended Plan
and the Litigation Trust Agreement. Other rights and duties of the Litigation Trust Oversight Committee


                                                          58
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                                  Pg 341 of 565



shall be as set forth in the Litigation Trust Agreement. After the Effective Date, the Debtors and the
Reorganized Debtors shall have no interest in the Litigation Trust Assets except as set forth in the
Litigation Trust Agreement.

                              (c)       Litigation Trust Oversight Committee and Litigation Trust
Agreement

The Litigation Trust Agreement generally will provide for, among other things: (i) the transfer of the
Litigation Trust Assets to the Litigation Trust; (ii) the payment of Litigation Trust Expenses; (iii) the
retention of counsel, accountants, financial advisors, or other professionals; (iv) litigation of any
Litigation Trust Causes of Action, which may include the prosecution, settlement, abandonment or
dismissal of any such Causes of Action; and (v) making distributions to holders of Litigation Trust
Interests and to Reorganized FCI, as provided in the Second Amended Plan and in the Litigation Trust
Agreement. The Litigation Trust Oversight Committee, on behalf of the Litigation Trust, may employ,
without further order of the Bankruptcy Court, professionals to assist in carrying out its duties hereunder
and may compensate and reimburse the reasonable expenses of those professionals without further order
of the Bankruptcy Court from the Litigation Trust Assets in accordance with the Second Amended Plan
and the Litigation Trust Agreement. The Litigation Trust Agreement shall include reasonable and
customary provisions that allow for indemnification of the Litigation Trust Oversight Committee by the
Litigation Trust. Any such indemnification shall be the sole responsibility of the Litigation Trust and
payable solely from the Litigation Trust Assets. The Litigation Trust Oversight Committee shall be
responsible for all decisions and duties with respect to the Litigation Trust and the Litigation Trust
Assets, except as otherwise provided in the Litigation Trust Agreement.

                              (d)       Cooperation of Reorganized Debtors

The Reorganized Debtors shall reasonably cooperate with the Litigation Trust and its agents and
representatives in the administration of the Litigation Trust, including, providing reasonable access to
books and records and current employees and officers, including for interviews, deposition, or testimony,
with respect to (i) the investigation, prosecution, compromise, and/or settlement of the Litigation Trust
Causes of Action, (ii) contesting, settling, compromising, reconciling, and objecting to General Unsecured
Claims, and (iii) administering the Litigation Trust (collectively, “Trust Responsibilities”) and in each
case, the Litigation Trust agrees to reimburse reasonable out-of-pocket expenses incurred in connection
with such cooperation. The Reorganized Debtors shall take all reasonable efforts to assist the Litigation
Trust with the Trust Responsibilities and the Litigation Trust may enter into agreements with the
Reorganized Debtors and/or the Creditors’ Committee in order to obtain information from the
Reorganized Debtors and/or the Creditors’ Committee on a confidential basis, without being restricted by
or waiving any applicable work product, attorney-client, or other privilege. The Litigation Trust’s receipt
of documents, information or communications from the Reorganized Debtors shall not constitute a waiver
of any privilege. For the avoidance of doubt, the Litigation Trust shall not be responsible for legal fees, if
any, incurred by the Reorganized Debtors in fulfilling its obligations under this Section.

                              (e)       Cooperation Agreements

To the extent requested by the Committee, with the consent of the First Lien Lender Group (not to be
unreasonably withheld), any of the Specified Officers and Directors shall enter into an agreement prior to
the Effective Date pursuant to which he will agree to cooperate with the Litigation Trust and provide
reasonable assistance to the Litigation Trust until the Litigation Trust is terminated, regardless of whether
he remains an officer of the Reorganized Debtors.



                                                         59
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57           Main Document
                                                  Pg 342 of 565



                              (f)       Litigation Trust Assets

The Litigation Trust Oversight Committee shall have the exclusive right in respect of all Litigation Trust
Causes of Action to institute, file, prosecute, enforce, settle, compromise, release, abandon, or withdraw
any and all Litigation Trust Causes of Action without any further order of the Bankruptcy Court or
consent of any other party, except as otherwise provided in the Second Amended Plan or in the Litigation
Trust Agreement. From and after the Effective Date, the Litigation Trust Oversight Committee, in
accordance with section 1123(b)(3) of the Bankruptcy Code, and on behalf of the Litigation Trust, shall
serve as a representative of the Estates, solely for purposes of carrying out the Litigation Trust Oversight
Committee’s duties under the Litigation Trust Agreement. In connection with the investigation,
prosecution and/or compromise of the Litigation Trust Causes of Action, the Litigation Trust Oversight
Committee may expend such portion of the Litigation Trust Assets as the Litigation Trust Oversight
Committee deems necessary.

                              (g)       Litigation Trust Fees and Expenses

From and after the Effective Date, the Litigation Trust, shall, in the ordinary course of business and
without the necessity of any approval by the Bankruptcy Court, pay the Litigation Trust Expenses,
including but not limited to reasonable fees and expenses of the Litigation Trust Oversight Committee and
the fees and expenses of any professionals retained by the Litigation Trust from the Litigation Trust
Assets, except as otherwise provided in the Litigation Trust Agreement. The Reorganized Debtors shall
not be responsible for any costs, fees, or expenses of the Litigation Trust.

                              (h)       Tax Treatment

In furtherance of Section 5.16 of the Second Amended Plan, (i) the Litigation Trust shall be structured to
qualify as a “liquidating trust” within the meaning of Treasury Regulation section 301.7701-4(d) and in
compliance with Revenue Procedure 94-45, 1994-2 C.B. 684, and, thus, as a “grantor trust” within the
meaning of sections 671 through 679 of the Tax Code to the holders of Litigation Trust Interests,
consistent with the terms of the Second Amended Plan; (ii) the sole purpose of the Litigation Trust shall
be the liquidation and distribution of the Litigation Trust Assets in accordance with Treasury Regulation
section 301.7701-4(d), including the resolution of General Unsecured Claims in accordance with the
Second Amended Plan, with no objective to continue or engage in the conduct of a trade or business;
(iii) all parties (including the Debtors and the Estates, holders of Litigation Trust Interests and the
Litigation Trust Oversight Committee) shall report consistently with such treatment (including the deemed
receipt of the underlying assets, subject to applicable liabilities and obligations, by the holders of
Litigation Trust Interests, followed by the deemed transfer of such assets to the Litigation Trust); (iv) all
parties shall report consistently with the valuation of the Litigation Trust Assets transferred to the
Litigation Trust as determined by the Litigation Trust Oversight Committee (or its designee); (v) the
Litigation Trust Oversight Committee shall be responsible for filing returns for the Litigation Trust as a
grantor trust pursuant to Treasury Regulation section 1.671-4(a); and (vi) the Litigation Trust Oversight
Committee shall annually send to each holder of Litigation Trust Interests a separate statement regarding
the receipts and expenditures of the trust as relevant for U.S. federal income tax purposes. Subject to
definitive guidance from the Internal Revenue Service or a court of competent jurisdiction to the contrary
(including the receipt by the Litigation Trust Oversight Committee of a private letter ruling if the
Litigation Trust Oversight Committee so requests one, or the receipt of an adverse determination by the
Internal Revenue Service upon audit if not contested by the Litigation Trust Oversight Committee), the
Litigation Trust Oversight Committee, with the consent of the Requisite First Lien Lenders (which consent
shall not be unreasonably withheld or delayed), may timely elect to (i) treat any portion of the Litigation
Trust allocable to Disputed General Unsecured Claims as a “disputed ownership fund” governed by


                                                         60
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                                  Pg 343 of 565



Treasury Regulation section 1.468B-9 (and make any appropriate elections) and (ii) to the extent
permitted by applicable law, report consistently with the foregoing for state and local income tax
purposes. If a “disputed ownership fund” election is made, all parties (including the Debtors and the
Estates, holders of Litigation Trust Interests and the Litigation Trust Oversight Committee) shall report
for United States federal, state, and local income tax purposes consistently with the foregoing. As to any
assets allocable to, or retained on account of, Disputed General Unsecured Claims, all distributions shall
be net of any expenses, including taxes, relating to the retention or disposition of such assets, and the
Litigation Trust Oversight Committee shall be responsible for payment, out of the assets of such retained
assets, of any taxes imposed on or in respect of such assets. All parties (including, without limitation, the
Debtors, the Reorganized Debtors, the Litigation Trust and the holders of Litigation Trust Interests) will
be required to report for tax purposes consistently with the foregoing.

                              (i)       Termination and Dissolution of the Litigation Trust

The Litigation Trust Oversight Committee shall have the right to terminate the Litigation Trust, when it
determines, in its sole discretion, that the pursuit of additional Litigation Trust Causes of Action is not
likely to yield sufficient additional proceeds to justify further pursuit of such claims (the “Termination
Right”). The Litigation Trust Oversight Committee and the Litigation Trust shall be discharged or
dissolved, as the case may be, at such time as (i) the Litigation Trust Oversight Committee exercises its
Termination Right and (ii) all distributions required to be made by the Litigation Trust Oversight
Committee under the Second Amended Plan and the Litigation Trust Agreement have been made. Upon
termination and dissolution of the Litigation Trust, any remaining Litigation Trust Proceeds shall be
distributed to holders of Litigation Trust Interests and Reorganized FCI in accordance with Section 5.2(b)
of the Second Amended Plan and the Litigation Trust Agreement; provided, that in the event the Litigation
Trust Oversight Committee exercises its Termination Right without the consent (which may not be
unreasonably withheld, conditioned or delayed) of the member appointed by the Creditors’ Committee to
the Litigation Trust Oversight Committee, the Litigation Trust shall distribute the GUC Payment before
making any other distributions pursuant to Section 5.2 of the Second Amended Plan (with the GUC
Payment deemed to have been made for purposes of the waterfall set forth in Section 5.2(b)(vi)); provided
that the member appointed by the Creditors’ Committee to the Litigation Trust Oversight Committee may
choose to use the GUC Payment to either (a) make a distribution to holders of Litigation Trust Interests
that are holders of Allowed General Unsecured Claims or (b) continue the Litigation Trust and prosecute
Litigation Trust Causes of Action for the sole benefit of holders of Litigation Trust Interests that are
holders of Allowed General Unsecured Claims.

                              (j)       Single Satisfaction of Allowed Claims From Litigation Trust

Notwithstanding anything to the contrary in the Second Amended Plan, in no event shall holders of
Litigation Trust Interests recover more than the full amount of their Allowed Claims from the Litigation
Trust.

          E.        Distributions

                    1.        Distributions Generally

Except as otherwise provided in the Second Amended Plan and the Litigation Trust Agreement, one or
more Disbursing Agents shall make all distributions under the Second Amended Plan to the appropriate
holders of Allowed Claims in accordance with the terms of the Second Amended Plan.




                                                         61
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57           Main Document
                                                  Pg 344 of 565



                    2.        Distribution Record Date

As of the close of business on the Distribution Record Date, the various transfer registers for each of the
Classes of Claims or Interests as maintained by the Debtors or their respective agents shall be deemed
closed for purposes of determining whether a holder of such a Claim or Interest is a record holder entitled
to distributions under the Second Amended Plan, and there shall be no further changes in the record
holders or the permitted designees of any such Claims or Interests. The Debtors, the Reorganized
Debtors, or the Litigation Trust Oversight Committee, as applicable, shall have no obligation to recognize
any transfer or designation of such Claims or Interests occurring after the close of business on the
Distribution Record Date. In addition, with respect to payment of any Cure Amounts or assumption
disputes, neither the Debtors nor the Disbursing Agent shall have any obligation to recognize or deal with
any party other than the non-Debtor party to the applicable executory contract or unexpired lease as of the
close of business on the Distribution Record Date, even if such non-Debtor party has sold, assigned, or
otherwise transferred its Claim for a Cure Amount.

                    3.        Date of Distributions

Except as otherwise provided in the Second Amended Plan and in the Litigation Trust Agreement, any
distributions and deliveries to be made under the Second Amended Plan shall be made on the Effective
Date or as otherwise determined in accordance with the Second Amended Plan, including, without
limitation, the treatment provisions of V.C of the Second Amended Plan, or as soon as practicable
thereafter; provided, that the Litigation Trust Oversight Committee shall from time to time determine
distribution dates of Litigation Trust Assets as and when they determine to be appropriate.

                    4.        Disbursing Agent

All distributions under the Second Amended Plan shall be made by the Disbursing Agent on and after the
Effective Date as provided in the Second Amended Plan. The Disbursing Agent shall not be required to
give any bond or surety or other security for the performance of its duties. The Reorganized Debtors shall
use all commercially reasonable efforts to provide the Disbursing Agent (if other than the Reorganized
Debtors) with the amounts of Claims and the identities and addresses of holders of Claims, in each case,
as set forth in the Debtors’ or the Reorganized Debtors’ books and records. The Reorganized Debtors
shall cooperate in good faith with the applicable Disbursing Agent (if other than the Reorganized Debtors)
to comply with the reporting and withholding requirements outlined in Section 6.19 of the Second
Amended Plan.

                    5.        Rights and Powers of Disbursing Agent

                         (a)      From and after the Effective Date, the Disbursing Agent, solely in its
capacity as Disbursing Agent, shall be exculpated by all Entities, including, without limitation, holders of
Claims against and Interests in the Debtors and other parties in interest, from any and all Claims, Causes
of Action, and other assertions of liability arising out of the discharge of the powers and duties conferred
upon such Disbursing Agent by the Second Amended Plan or any order of the Bankruptcy Court entered
pursuant to or in furtherance of the Second Amended Plan, or applicable law, except for actions or
omissions to act arising out of the gross negligence or willful misconduct, fraud, malpractice, criminal
conduct, or ultra vires acts of such Disbursing Agent. No holder of a Claim or Interest or other party in
interest shall have or pursue any claim or Cause of Action against the Disbursing Agent, solely in its
capacity as Disbursing Agent, for making distributions in accordance with the Second Amended Plan or
for implementing provisions of the Second Amended Plan, except for actions or omissions to act arising



                                                         62
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57           Main Document
                                                  Pg 345 of 565



out of the gross negligence or willful misconduct, fraud, malpractice, criminal conduct, or ultra vires acts
of such Disbursing Agent.

                          (b)      A Disbursing Agent shall be empowered to (i) effect all reasonable
actions and execute all agreements, instruments, and other documents necessary to perform its duties
hereunder; (ii) make all distributions contemplated hereby; and (iii) exercise such other powers as may be
vested in the Disbursing Agent by order of the Bankruptcy Court, pursuant to the Second Amended Plan,
or as deemed by the Disbursing Agent to be necessary and proper to implement the provisions of the
Second Amended Plan.

                    6.        Expenses of Disbursing Agent

Except as otherwise ordered by the Bankruptcy Court, any reasonable and documented fees and expenses
incurred by the Disbursing Agent acting in such capacity (including reasonable documented attorneys’
and other professional fees and expenses) on or after the Effective Date shall be paid in Cash.

                    7.        No Postpetition Interest on Claims

Except as otherwise provided in the Second Amended Plan, the Confirmation Order, the DIP Order, or
another order of the Bankruptcy Court or required by the Bankruptcy Code (including postpetition interest
in accordance with sections 506(b) and 726(a)(5) of the Bankruptcy Code), interest shall not accrue or be
paid on any Claims on or after the Commencement Date; provided, that if interest is payable pursuant to
the preceding sentence, interest shall accrue at the federal judgment rate pursuant to 28 U.S.C. § 1961 on
a non-compounded basis from the date the obligation underlying the Claim becomes due and is not timely
paid through the date of payment.

                    8.        Delivery of Distributions

                          (a)     Subject to Bankruptcy Rule 9010, all distributions to any holder or
permitted designee, as applicable, of an Allowed Claim or Interest shall be made to a Disbursing Agent,
who shall transmit such distribution to the applicable holders or permitted designees of Allowed Claims or
Interests on behalf of the Debtors. In the event that any distribution to any holder or permitted designee is
returned as undeliverable, no further distributions shall be made to such holder or such permitted designee
unless and until such Disbursing Agent is notified in writing of such holder’s or permitted designee’s, as
applicable, then-current address, at which time all currently-due, missed distributions shall be made to
such holder as soon as reasonably practicable thereafter without interest. Nothing in the Second Amended
Plan shall require the Disbursing Agent to attempt to locate holders or permitted designees, as applicable,
of undeliverable distributions and, if located, assist such holders or permitted designees, as applicable, in
complying with Section 6.19 of the Second Amended Plan.

                         (b)      Notwithstanding the foregoing, all distributions of Cash on account of
First Lien Claims or Second Lien Claims, if any, shall be deposited with the Prepetition First Lien
Administrative Agent and the Prepetition Second Lien Administrative Agent, as applicable, for
distribution to holders of First Lien Claims or Second Lien Claims in accordance with the terms of the
Prepetition Credit Agreement, the Prepetition Second Lien Credit Agreement and the Prepetition
Intercreditor Agreement. All distributions other than of Cash on account of First Lien Claims or Second
Lien Claims, if any, may, with the consent of the Prepetition First Lien Administrative Agent and the
Prepetition Second Lien Administrative Agent, be made by the Disbursing Agent directly to holders of
First Lien Claims and Second Lien Claims in accordance with the terms of the Second Amended Plan, the
Prepetition First Lien Credit Agreement, the Prepetition Second Lien Credit Agreement and the Prepetition
Intercreditor Agreement. To the extent the Prepetition First Lien Administrative Agent or the Prepetition

                                                         63
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57           Main Document
                                                  Pg 346 of 565



Second Lien Administrative Agent effectuates, or is requested to effectuate, any distributions hereunder,
the Prepetition First Lien Administrative Agent and the Prepetition Second Lien Administrative Agent
shall be deemed a “Disbursing Agent” for purposes of the Second Amended Plan.

                    9.        Distributions after Effective Date

Distributions made after the Effective Date to holders of Disputed Claims that are not Allowed Claims as
of the Effective Date but which later become Allowed Claims shall be deemed to have been made on the
Effective Date.

                    10.       Unclaimed Property

Undeliverable distributions or unclaimed distributions shall remain in the possession of the Debtors or the
Litigation Trust, as applicable, until such time as a distribution becomes deliverable or holder accepts
distribution, or such distribution reverts back to the Debtors, Reorganized Debtors, or Litigation Trust, as
applicable, and shall not be supplemented with any interest, dividends, or other accruals of any kind.
Such distributions shall be deemed unclaimed property under section 347(b) of the Bankruptcy Code at
the expiration of three hundred and sixty-five (365) days from the date of distribution. After such date all
unclaimed property or interest in property shall revert to the Reorganized Debtors or Litigation Trust, as
applicable, and the Claim of any other holder to such property or interest in property shall be discharged
and forever barred.

                    11.       Time Bar to Cash Payments

Checks issued by the Disbursing Agent in respect of Allowed Claims shall be null and void if not
negotiated within one hundred and twenty (120) days after the date of issuance thereof. Thereafter, the
amount represented by such voided check shall irrevocably revert to the Reorganized Debtors or the
Litigation Trust, as applicable, and any Claim in respect of such voided check shall be discharged and
forever barred, notwithstanding any federal or state escheat laws to the contrary. Requests for re-issuance
of any check shall be made to the Disbursing Agent or Litigation Trust Oversight Committee, as
applicable, by the holder of the Allowed Claim to whom such check was originally issued.

                    12.       Manner of Payment under Plan

Except as otherwise specifically provided in the Second Amended Plan, at the option of the Debtors, the
Reorganized Debtors, or Litigation Trust Oversight Committee, as applicable, any Cash payment to be
made hereunder may be made by a check or wire transfer or as otherwise required or provided in
applicable agreements or customary practices of the Debtors.

                    13.       Satisfaction of Claims

Except as otherwise specifically provided in the Second Amended Plan, any distributions and deliveries to
be made on account of Allowed Claims under the Second Amended Plan shall be in complete and final
satisfaction, settlement, and discharge of and exchange for such Allowed Claims.

                    14.       Fractional Stock and Notes

If any distributions of New Equity Interests pursuant to the Second Amended Plan would result in the
issuance of a fractional share of New Equity Interests, then the number of shares of New Equity Interests
to be issued in respect of such distribution will be calculated to one decimal place and rounded up or
down to the closest whole share (with a half share or greater rounded up and less than a half share

                                                         64
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57           Main Document
                                                  Pg 347 of 565



rounded down). The total number of shares of New Equity Interests to be distributed in connection with
the Second Amended Plan shall be adjusted as necessary to account for the rounding provided for in
Section 6.14 of the Second Amended Plan. No consideration shall be provided in lieu of fractional shares
that are rounded down. Neither the Reorganized Debtors, nor the Disbursing Agent shall have any
obligation to make a distribution that is less than one (1) share of New Equity Interests.

                    15.       Minimum Cash Distributions

The Disbursing Agent shall not be required to make any distribution of Cash less than One Hundred
Dollars ($100) to any holder of an Allowed Claim; provided, that if any distribution is not made pursuant
to Section 6.15 of the Second Amended Plan, such distribution shall be added to any subsequent
distribution to be made on behalf of the holder’s Allowed Claim.

                    16.       Setoffs and Recoupments

The Debtors or the Reorganized Debtors, as applicable, or such entity’s designee (including, without
limitation, the Disbursing Agent) may, but shall not be required to, set off or recoup against any Claim,
and any distribution to be made on account of such Claim, any and all claims, rights, and Causes of
Action of any nature whatsoever that the Debtors or the Reorganized Debtors may have against the holder
of such Claim pursuant to the Bankruptcy Code or applicable non-bankruptcy law; provided, that neither
the failure to do so nor the allowance of any Claim hereunder shall constitute a waiver or release by a
Debtor or Reorganized Debtor or its successor of any claims, rights, or Causes of Action that a Debtor or
Reorganized Debtor or its successor or assign may possess against the holder of such Claim.

                    17.       Allocation of Distributions between Principal and Interest

Except as otherwise required by law (as reasonably determined by the Reorganized Debtors), distributions
with respect to an Allowed Claim shall be allocated first to the principal portion of such Allowed Claim
(as determined for United States federal income tax purposes) and, thereafter, to the remaining portion of
such Allowed Claim, if any.

                    18.       No Distribution in Excess of Amount of Allowed Claim

Except as provided in Section 6.7 of the Second Amended Plan, no holder of an Allowed Claim shall
receive, on account of such Allowed Claim, distributions in excess of the Allowed amount of such Claim.

                    19.       Withholding and Reporting Requirements

                              (a)       Withholding Rights

In connection with the Second Amended Plan, any party issuing any instrument or making any
distribution described in the Second Amended Plan shall comply with all applicable withholding and
reporting requirements imposed by any federal, state, or local taxing authority, and all distributions
pursuant to the Second Amended Plan and all related agreements shall be subject to any such withholding
or reporting requirements. In the case of a non-Cash distribution that is subject to withholding, the
distributing party may withhold an appropriate portion of such distributed property and either (i) sell such
withheld property to generate Cash necessary to pay over the withholding tax (or reimburse the
distributing party for any advance payment of the withholding tax), or (ii) pay the withholding tax using
its own funds and retain such withheld property. Any amounts withheld pursuant to the preceding
sentence shall be deemed to have been distributed to and received by the applicable recipient for all
purposes of the Second Amended Plan. Notwithstanding the foregoing, each holder of an Allowed Claim

                                                         65
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57           Main Document
                                                  Pg 348 of 565



or any other Entity that receives a distribution pursuant to the Second Amended Plan shall have
responsibility for any taxes imposed by any governmental unit, including, without limitation, income,
withholding, and other taxes, on account of such distribution. Any party issuing any instrument or
making any distribution pursuant to the Second Amended Plan has the right, but not the obligation, to not
make a distribution until such holder has made arrangements satisfactory to such issuing or disbursing
party for payment of any such tax obligations.

                              (b)       Forms

Any party entitled to receive any property as an issuance or distribution under the Second Amended Plan
shall, upon request, deliver to the Disbursing Agent or such other Entity designated by the Reorganized
Debtors or Litigation Trust, as applicable (which Entity shall subsequently deliver to the Disbursing
Agent any applicable IRS Form W-8 or Form W-9 received) an appropriate Form W-9 or (if the payee is
a foreign Entity) Form W-8. If such request is made by the Reorganized Debtors, the Disbursing Agent,
or such other Entity designated by the Reorganized Debtors or Disbursing Agent and the holder fails to
comply before the earlier of (i) the date that is one hundred and eighty (180) days after the request is made
and (ii) the date that is one hundred and eighty (180) days after the date of distribution, the amount of
such distribution shall irrevocably revert to the applicable Reorganized Debtor and any Claim in respect
of such distribution shall be discharged and forever barred from assertion against such Reorganized
Debtor or its respective property.

          F.        Procedures for Disputed Claims

                    1.        Objections to Claims

The Debtors, the Reorganized Debtors, or the Litigation Trust, as applicable, shall exclusively be entitled
to object to Claims. After the Effective Date, the Reorganized Debtors or the Litigation Trust Oversight
Committee, as applicable, shall have and retain any and all rights and defenses that the Debtors had with
regard to any Claim to which they may object, except with respect to any Claim that is Allowed. Any
objections to proofs of Claim shall be served and filed on or before the later of (a) one-hundred and eighty
(180) days after the Effective Date, and (b) on such later date as may be fixed by the Bankruptcy Court,
after notice and a hearing, upon a motion by the Reorganized Debtors that is filed before the date that is
one-hundred and eighty (180) days after the Effective Date. The expiration of such period shall not limit
or affect the Debtors’ or the Reorganized Debtors’ rights to dispute Claims asserted in the ordinary course
of business other than through a proof of Claim.

                    2.        Resolution of Disputed Claims

On and after the Effective Date, (a) the Debtors or the Reorganized Debtors, as applicable, shall have the
authority to compromise, settle, otherwise resolve, or withdraw any objections to Claims (other than
General Unsecured Claims) without approval of the Bankruptcy Court, other than with respect to Fee
Claims; and (b) upon the creation of the Litigation Trust, the Litigation Trust Oversight Committee shall
have the exclusive authority to compromise, settle, otherwise resolve, or withdraw any objections to
General Unsecured Claims without approval of the Bankruptcy Court. The Debtors or the Reorganized
Debtors, as applicable, and the Litigation Trust Oversight Committee shall cooperate with respect to any
objections to Claims that seek to convert Claims into General Unsecured Claims or General Unsecured
Claims into other Claims. The rights and defenses of the Debtors, the Reorganized Debtors or the
Litigation Trust, as applicable, to any such objections are fully preserved.




                                                         66
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57           Main Document
                                                  Pg 349 of 565



                    3.        Payments and Distributions with Respect to Disputed Claims

Notwithstanding anything in the Second Amended Plan to the contrary, if any portion of a Claim is a
Disputed Claim, no payment or distribution provided hereunder shall be made on account of such Claim
unless and until such Disputed Claim becomes an Allowed Claim.

                    4.        Distributions after Allowance

After such time as a Disputed Claim becomes, in whole or in part, an Allowed Claim, the holder thereof
shall be entitled to distributions, if any, to which such holder is then entitled as provided in the Second
Amended Plan, without interest, as provided in Section 7.9 of the Second Amended Plan. Such
distributions shall be made as soon as practicable after the date that the order or judgment of the
Bankruptcy Court allowing such Disputed Claim (or portion thereof) becomes a Final Order.

                    5.        Disallowance of Claims

Except to the extent otherwise agreed to by the Debtors, the Reorganized Debtors, or the Litigation Trust
Oversight Committee, as applicable, or as provided in Section .2(b) of the Second Amended Plan, any
Claims held by Entities from which property is recoverable under sections 542, 543, 550, or 553 of the
Bankruptcy Code or that is a transferee of a transfer avoidable under section 522(f), 522(h), 544, 545,
547, 548, 549, or 724(a) of the Bankruptcy Code, as determined by a Final Order, shall be deemed
disallowed pursuant to section 502(d) of the Bankruptcy Code, and holders of such Claims may not
receive any distributions on account of such Claims until such time as such Causes of Action against that
Entity have been settled or a Final Order with respect thereto has been entered and all sums due, if any, to
the Debtors by that Entity have been turned over or paid to the Debtors, the Reorganized Debtors, or the
Litigation Trust Oversight Committee, as applicable.

                    6.        Estimation of Claims

The Debtors, the Reorganized Debtors, or the Litigation Trust Oversight Committee, as applicable, may
(a) determine, resolve and otherwise adjudicate all contingent, unliquidated, and Disputed Claims in the
Bankruptcy Court and (b) at any time request that the Bankruptcy Court estimate any contingent,
unliquidated, or Disputed Claim pursuant to section 502(c) of the Bankruptcy Code regardless of whether
the Debtors previously objected to such Claim or whether the Bankruptcy Court has ruled on any such
objection. The Bankruptcy Court will retain jurisdiction to estimate any Claim at any time during
litigation concerning any objection to any Claim, including, without limitation, during the pendency of
any appeal relating to any such objection. In the event that the Bankruptcy Court estimates any
contingent, unliquidated, or Disputed Claim, the amount so estimated shall constitute either the Allowed
amount of such Claim or a maximum limitation on such Claim, as determined by the Bankruptcy Court.
If the estimated amount constitutes a maximum limitation on the amount of such Claim, the Debtors, the
Reorganized Debtors, or the Litigation Trust Oversight Committee, as applicable, may pursue
supplementary proceedings to object to the allowance of such Claim; provided, that such limitation shall
not apply to Claims requested by the Debtors to be estimated for voting purposes only.

                    7.        No Distributions Pending Allowance

If an objection, motion to estimate, or other challenge to a Claim is filed, no payment or distribution
provided under the Second Amended Plan shall be made on account of such Claim unless and until (and
only to the extent that) such Claim becomes an Allowed Claim.



                                                         67
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57         Main Document
                                                  Pg 350 of 565



                    8.        Claim Resolution Procedures Cumulative

All of the objection, estimation, and resolution procedures in the Second Amended Plan are intended to be
cumulative and not exclusive of one another. Claims may be estimated and subsequently settled,
compromised, withdrawn, or resolved in accordance with the Second Amended Plan without further notice
or Bankruptcy Court approval.

                    9.        Interest

To the extent that a Disputed Claim becomes an Allowed Claim after the Effective Date, the holder of
such Claim shall not be entitled to any interest that accrued thereon from and after the Effective Date,
except as provided in Section 6.7 of the Second Amended Plan.

                    10.       Insured Claims

If any portion of an Allowed Claim is an Insured Claim, no distributions under the Second Amended Plan
shall be made on account of such Allowed Claim until the holder of such Allowed Claim has exhausted all
remedies with respect to any applicable insurance policies. To the extent that the Debtors’ insurers agree
to satisfy a Claim in whole or in part, then immediately upon such agreement, the portion of such Claim
so satisfied may be expunged without an objection to such Claim having to be filed and without any
further notice to or action, order or approval of the Court.

          G.        Executory Contracts and Unexpired Leases

                    1.        General Treatment

                          (a)     As of and subject to the occurrence of the Effective Date, all executory
contracts and unexpired leases to which any of the Debtors are parties shall be deemed rejected, unless
such contract or lease (i) was previously assumed or rejected by the Debtors pursuant to an order of the
Bankruptcy Court; (ii) previously expired or terminated pursuant to its own terms or by agreement of the
parties thereto; (iii) is the subject of a motion to assume filed by the Debtors on or before the
Confirmation Date; (iv) is identified in section 5.7(a) of the Second Amended Plan; (v) is identified in
section 8.4 of the Second Amended Plan; or (vi) is identified for assumption on the Assumption Schedule
included in the Amended Plan Supplement.

                         (b)     Subject to the occurrence of the Effective Date, entry of the Confirmation
Order by the Bankruptcy Court shall constitute approval of the assumptions, assumptions and
assignments, or rejections provided for in the Second Amended Plan pursuant to sections 365(a) and 1123
of the Bankruptcy Code and a determination by the Bankruptcy Court that the Reorganized Debtors or the
Successful Bidder, as applicable, have provided adequate assurance of future performance under such
assumed executory contracts and unexpired leases. Each executory contract and unexpired lease assumed
or assumed and assigned pursuant to the Second Amended Plan shall vest in and be fully enforceable by
the Reorganized Debtors or the Successful Bidder, as applicable, in accordance with its terms, except as
modified by the provision of the Second Amended Plan, any order of the Bankruptcy Court authorizing
and providing for its assumption, or applicable law.

                    2.        Determination of Assumption Disputes and Deemed Consent

                      (a)    Any Cure Amount shall be satisfied, pursuant to section 365(b)(1) of the
Bankruptcy Code, by payment of the Cure Amount, as reflected in the applicable cure notice, in Cash on


                                                         68
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                                  Pg 351 of 565



the Effective Date, subject to the limitations described below, or on such other terms as the parties to such
executory contracts or unexpired leases and the Debtors may otherwise agree.

                          (b)      The Debtors shall file, as part of the Amended Plan Supplement, the
Assumption Schedule. The Debtors shall serve a notice on parties to executory contracts or unexpired
leases to be assumed or assumed and assigned reflecting the Debtors’ intention to assume or assume and
assign the contract or lease in connection with the Second Amended Plan and, where applicable, setting
forth the proposed Cure Amount (if any), in accordance with the Disclosure Statement Order. Any
objection by a counterparty to an executory contract or unexpired lease to the proposed assumption,
assumption and assignment, or related Cure Amount must be filed and served in accordance with the
Disclosure Statement Order. Any counterparty to an executory contract or unexpired lease that does not
timely object to the notice of the proposed assumption of such executory contract or unexpired lease shall
be deemed to have assented to assumption of the applicable executory contract or unexpired lease
notwithstanding any provision thereof that purports to (i) prohibit, restrict, or condition the transfer or
assignment of such contract or lease; (ii) terminate or modify, or permit the termination or modification
of, a contract or lease as a result of any direct or indirect transfer or assignment of the rights of any
Debtor under such contract or lease or a change, if any, in the ownership or control to the extent
contemplated by the Second Amended Plan; (iii) increase, accelerate, or otherwise alter any obligations or
liabilities of any Debtor or any Reorganized Debtor under such executory contract or unexpired lease; or
(iv) create or impose a Lien upon any property or Asset of any Debtor or any Reorganized Debtor, as
applicable. Each such provision shall be deemed to not apply to the assumption of such executory
contract or unexpired lease pursuant to the Second Amended Plan and counterparties to assumed
executory contracts or unexpired leases that fail to object to the proposed assumption in accordance with
the terms set forth in Section 8.2(b) of the Second Amended Plan, shall forever be barred and enjoined
from objecting to the proposed assumption or to the validity of such assumption (including with respect to
any Cure Amounts or the provision of adequate assurance of future performance), or taking actions
prohibited by the foregoing or the Bankruptcy Code on account of transactions contemplated by the
Second Amended Plan.

                        (c)     If there is an Assumption Dispute pertaining to assumption of an
executory contract or unexpired lease (other than a dispute pertaining to a Cure Amount), such dispute
shall be heard by the Bankruptcy Court prior to such assumption being effective, provided, that the
Debtors or the Reorganized Debtors, as applicable, may settle any dispute regarding the Cure Amount or
the nature thereof without any further notice to any party or any action, order, or approval of the
Bankruptcy Court.

                           (d)    To the extent an Assumption Dispute relates solely to the Cure Amount,
the Debtors may assume and/or assume and assign the applicable executory contract or unexpired lease
prior to the resolution of such Assumption Dispute; provided, that the Debtors or the Reorganized Debtors
reserve Cash in an amount sufficient to pay the full amount reasonably asserted as the required cure
payment by the non-Debtor party to such executory contract or unexpired lease (or such smaller amount
as may be fixed or estimated by the Bankruptcy Court or otherwise agreed to by such non-Debtor party
and the applicable Reorganized Debtor).

                         (e)     Assumption or assumption and assignment of any executory contract or
unexpired lease pursuant to the Second Amended Plan or otherwise shall result in the full release and
satisfaction of any Claims against any Debtor or defaults by any Debtor, whether monetary or
nonmonetary, including defaults of provisions restricting the change in control or ownership interest
composition or other bankruptcy-related defaults, arising under any assumed executory contract or
unexpired lease at any time before the date that the Debtors assume or assume and assign such executory
contract or unexpired lease. Any proofs of Claim filed with respect to an executory contract or unexpired

                                                         69
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57             Main Document
                                                  Pg 352 of 565



lease that has been assumed or assumed and assigned shall be deemed disallowed and expunged, without
further notice to or action, order, or approval of the Bankruptcy Court or any other Entity, upon the
assumption of such executory contract or unexpired lease.

                    3.        Rejection Damages Claims

In the event that the rejection of an executory contract or unexpired lease hereunder results in damages to
the other party or parties to such executory contract or unexpired lease, any Claim for such damages shall
be classified and treated in Class 5 (General Unsecured Claims). Such Claim shall be forever barred and
shall not be enforceable against the Debtors, the Reorganized Debtors, or the Litigation Trust, as
applicable, or their respective Estates, properties or interests in property as agents, successors, or assigns,
unless a proof of Claim is filed with the Bankruptcy Court and served upon counsel for the Debtors or the
Reorganized Debtors, as applicable, no later than forty-five (45) days after the filing and service of the
notice of the occurrence of the Effective Date.

                    4.        Insurance Policies

Notwithstanding anything to the contrary in the Definitive Documents, the Second Amended Plan, the
Amended Plan Supplement, any bar date notice or claim objection, and any other document related to any
of the foregoing,: on the Effective Date, (a) all insurance policies pursuant to whichissued or providing
coverage to the Debtors have any obligations in effect as of the Effective Date shall be deemed and treated
as executory contracts pursuant to the Amended Plan andand all related agreements shall be assumed in
their entirety by the Debtors or the Reorganized Debtors, as applicable, and pursuant to sections 105 and
365(a) of the Bankruptcy Code, shall continue in full force and effect thereafter in accordance with their
respective terms. All other insurance policies shall vest in, and upon such assumption, the Reorganized
Debtors. shall remain liable in full for any and all now existing or hereinafter arising obligations,
liabilities, terms, provisions, and covenants of any of the Debtors under such insurance policies and
agreements, without the need or requirement for an insurer to file a proof of Claim, Administrative Claim,
or objection to any cure amount; (b) the Debtors or the Reorganized Debtors, as applicable, shall not sell,
assign or otherwise transfer any insurance policies or related agreements except in accordance with the
terms of thereof and applicable non-bankruptcy law; and (c) the automatic stay of Bankruptcy Code
section 362(a) and the injunctions set forth in the Second Amended Plan, if and to the extent applicable,
shall be deemed lifted without further order of this Court, solely to permit: (i) claimants with valid
workers’ compensation claims or direct action claims against an insurer under applicable non-bankruptcy
law to proceed with their claims; and (ii) the insurers to administer, handle, defend, settle, and/or pay, in
the ordinary course of business and without further order of the Bankruptcy Court, (A) workers’
compensation claims, (B) claims where a claimant asserts a direct claim against any insurer under
applicable non-bankruptcy law, or an order has been entered by the Bankruptcy Court granting a claimant
relief from the automatic stay to proceed with its claim, and (C) all costs in relation to each of the
foregoing.

                    5.        Intellectual Property Licenses and Agreements

Notwithstanding anything to the contrary in the Definitive Documents, the Second Amended Plan, the
Amended Plan Supplement, any bar date notice or claim objection, and any other document related to any
of the foregoing, all intellectual property contracts, licenses, royalties, or other similar agreements to
which the Debtors have any rights or obligations in effect as of the date of the Confirmation Order shall
be deemed and treated as executory contracts pursuant to the Second Amended Plan and shall, with the
consent of the Requisite First Lien Lenders (which consent shall not be unreasonably withheld), be
assumed by the Debtors and Reorganized Debtors and shall continue in full force and effect unless any
such intellectual property contract, license, royalty, or other similar agreement otherwise is specifically

                                                         70
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57          Main Document
                                                  Pg 353 of 565



rejected pursuant to a separate order of the Bankruptcy Court or is the subject of a separate rejection
motion filed by the Debtors in accordance with Section 8.1 of the Second Amended Plan. Unless
otherwise noted hereunder, all other intellectual property contracts, licenses, royalties, or other similar
agreements shall vest in the Reorganized Debtors and the Reorganized Debtors may take all actions as
may be necessary or appropriate to ensure such vesting as contemplated in the Second Amended Plan.

                    6.        Tax Agreements

Notwithstanding anything to the contrary in the Definitive Documents, the Second Amended Plan, the
Amended Plan Supplement, any bar date notice or claim objection, and any other document related to any
of the foregoing, any tax sharing agreements to which the Debtors are a party (of which the principal
purpose is the allocation of taxes) in effect as of the date of the Confirmation Order shall be deemed and
treated as executory contracts pursuant to the Second Amended Plan and, to the extent the Debtors
determine, with the consent of the Requisite First Lien Lenders (which consent shall not be unreasonably
withheld), that such agreements are beneficial to the Debtors, shall be assumed by the Debtors and
Reorganized Debtors and shall continue in full force and effect thereafter in accordance with their
respective terms, unless any such tax sharing agreement (of which the principal purpose is the allocation
of taxes) otherwise is specifically rejected pursuant to a separate order of the Bankruptcy Court or is the
subject of a separate rejection motion filed by the Debtors in accordance with Section 8.1 of the Second
Amended Plan. Unless otherwise noted hereunder, all other tax sharing agreements to which the Debtors
are a party (of which the principal purpose is the allocation of taxes) shall vest in the Reorganized
Debtors and the Reorganized Debtors may take all actions as may be necessary or appropriate to ensure
such vesting as contemplated in the Second Amended Plan.

                    7.        Assignment

To the extent provided under the Bankruptcy Code or other applicable law, any executory contract or
unexpired lease transferred and assigned hereunder shall remain in full force and effect for the benefit of
the transferee or assignee in accordance with its terms, notwithstanding any provision in such executory
contract or unexpired lease (including those of the type set forth in section 365(b)(2) of the Bankruptcy
Code) that prohibits, restricts, or conditions such transfer or assignment. To the extent provided under the
Bankruptcy Code or other applicable law, any provision that prohibits, restricts, or conditions the
assignment or transfer of any such executory contract or unexpired lease or that terminates or modifies
such executory contract or unexpired lease or allows the counterparty to such executory contract or
unexpired lease to terminate, modify, recapture, impose any penalty, condition renewal or extension, or
modify any term or condition upon any such transfer and assignment, constitutes an unenforceable anti-
assignment provision and is void and of no force or effect with respect to any assignment pursuant to the
Second Amended Plan.

                    8.        Modifications, Amendments, Supplements, Restatements, or Other
                              Agreements

Unless otherwise provided in the Second Amended Plan or by separate order of the Bankruptcy Court,
each executory contract and unexpired lease that is assumed shall include any and all modifications,
amendments, supplements, restatements, or other agreements made directly or indirectly by any
agreement, instrument, or other document that in any manner affects such executory contract or unexpired
lease, without regard to whether such agreement, instrument, or other document is listed in the notice of
assumed contracts.




                                                         71
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456            Filed 10/07/19 Entered 10/07/19 15:38:57               Main Document
                                                       Pg 354 of 565



                    9.        Reservation of Rights

                         (a)      The Debtors, with the consent of the Requisite First Lien Lenders, which
consent may not be unreasonably withheld, may amend the Assumption Schedule and any cure notice until
the Business Day immediately prior to the commencement of the Confirmation Hearing in order to (i) add,
delete, or reclassify any executory contract or unexpired lease or amend a proposed assignment and/or
(ii) amend the proposed Cure Amount; provided, that if the Confirmation Hearing is adjourned for a
period of more than two (2) consecutive calendar days, the Debtors’ right to amend such schedules and
notices shall be extended to the Business Day immediately prior to the adjourned date of the Confirmation
Hearing, with such extension applying in the case of any and all subsequent adjournments of the
Confirmation Hearing. The Debtors shall provide notice of such amendment to any affected counterparty
as soon as reasonably practicable.

                        (b)      Neither the exclusion nor inclusion of any contract or lease by the
Debtors on any exhibit, schedule, or other annex to the Second Amended Plan or in the Amended Plan
Supplement, nor anything contained in the Second Amended Plan, will constitute an admission by the
Debtors that any such contract or lease is or is not in fact an executory contract or unexpired lease or that
the Debtors, the Reorganized Debtors or their respective Affiliates have any liability thereunder.

                        (c)     Except as otherwise provided in the Second Amended Plan, nothing in
the Second Amended Plan shall waive, excuse, limit, diminish, or otherwise alter any of the defenses,
Claims, Causes of Action, or other rights of the Debtors and the Reorganized Debtors under any
executory or non-executory contract or any unexpired or expired lease.

                          (d)      Nothing in the Second Amended Plan will increase, augment, or add to
any of the duties, obligations, responsibilities, or liabilities of the Debtors or the Reorganized Debtors, as
applicable, under any executory or non-executory contract or any unexpired or expired lease.

          H.        Conditions Precedent to Confirmation of Plan and Effective Date

                              (a)            Conditions Precedent to Confirmation of Plan

                                           The following are conditions precedent to entry of the Confirmation Order:

                                      i.      the Disclosure Statement Order shall have been entered and shall be in
                                             full force and effect and no stay thereof shall be in effect;

                                     ii.      the Amended Plan Supplement and all of the schedules, documents, and
                                             exhibits contained tin the Second Amended Plan shall have been filed;

                                    iii.      the RSA shall not have been terminated and shall be in full force and
                                             effect; and

                                    iv.      the DIP Order and the DIP Documents shall be in full force and effect in
                                             accordance with the terms thereof, and no event of default shall have
                                             occurred and be continuing thereunder.




                                                                72
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456           Filed 10/07/19 Entered 10/07/19 15:38:57               Main Document
                                                    Pg 355 of 565



                              (b)        Conditions Precedent to Effective Date

                                    i.     The following are conditions precedent to the Effective Date of the
                                           Second Amended Plan:

                                             1. the Confirmation Order shall have been entered and shall be in
                                                full force and effect and no stay thereof shall be in effect;

                                             2. no event of default under the DIP Documents shall have occurred
                                                or be continuing and an acceleration of the obligations or
                                                termination of the DIP Lenders’ commitments under the DIP
                                                Documents shall not have occurred;

                                             3. all actions, documents, and agreements necessary to implement
                                                and consummate the Second Amended Plan shall have been
                                                effected or executed and binding on all parties thereto and, to the
                                                extent required, filed with the applicable governmental units in
                                                accordance with applicable laws;

                                             4. all applicable governmental, regulatory and/or third-party
                                                approvals and consents, including FCC Approval, approval of
                                                State PUCs, and Bankruptcy Court approval, necessary in
                                                connection with the transactions contemplated by the Second
                                                Amended Plan shall have been obtained (including approval of
                                                the FCC Applications), not be subject to unfulfilled conditions,
                                                and be in full force and effect, and all applicable waiting periods
                                                shall have expired without any action being taken or threatened
                                                by any competent authority that would restrain, prevent, or
                                                otherwise impose materially adverse conditions on such
                                                transactions;

                                             5. the RSA shall not have been terminated and shall be in full force
                                                and effect, and no notice shall have been delivered in accordance
                                                with the RSA that, upon expiration of a cure period, would give
                                                rise to a Lender Termination Event (as defined in the RSA);

                                             6. the Global Settlement shall have been approved by the
                                                Bankruptcy Court without material modification (unless the
                                                modification is consented to by the Debtors, the Requisite First
                                                Lien Lenders, and the Creditors’ Committee);

                                             7. 6. all accrued and unpaid Restructuring Expenses, Second Lien
                                                Lender Restructuring Expenses, and Settlement Restructuring
                                                Expenses shall have been paid in Cash to the extent invoiced at
                                                least two (2) business days prior to the Effective Date (or such
                                                shorter period as the Debtors may agree); provided that, any
                                                modification to the Second Amended Plan that adversely affects
                                                the treatment of Second Lien Claims or the rights of the Second
                                                Lien Lender Group to receive the Second Lien Lender




                                                            73
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456            Filed 10/07/19 Entered 10/07/19 15:38:57                Main Document
                                                     Pg 356 of 565



                                                  Restructuring Expenses shall be in form and substance
                                                  reasonably acceptable to the Second Lien Lender Group;

                                              7. the Global Settlement shall have been approved without material
                                                  modification (unless the modification is consented to by the
                                                  Debtors, the Requisite First Lien Lenders and the Creditors’
                                                  Committee);

                                              8. the Amended Organizational Documents shall have been filed
                                                 with the appropriate governmental authority, as applicable;

                                              9. the Special Warrant Agreement shall have been executed and
                                                 delivered, and any conditions precedent to effectiveness
                                                 contained therein have been satisfied or waived in accordance
                                                 therewith; and

                                              10. the New First Lien Credit Documents and the New Exit Facility
                                                  Credit Documents, shall (i) have been (or deemed) executed and
                                                  delivered, and any conditions precedent to effectiveness
                                                  contained therein have been satisfied or waived in accordance
                                                  therewith, (ii) be in full force and effect and binding upon the
                                                  relevant parties; and (iii) contain terms and conditions consistent
                                                  in all material respects with the RSA.; and

                                              11. the Consulting Agreement shall have been executed and
                                                  delivered, and any conditions precedent therein shall have been
                                                  satisfied or waived in accordance therewith and be in full force
                                                  and effect and binding on the relevant parties.

                                    ii.     Notwithstanding when a condition precedent to the Effective Date
                                            occurs, for purposes of the Second Amended Plan, such condition
                                            precedent shall be deemed to have occurred simultaneously upon the
                                            occurrence of the applicable conditions precedent to the Effective Date;
                                            provided, that to the extent a condition precedent (a “Prerequisite
                                            Condition”) may be required to occur prior to another condition
                                            precedent (a “Subsequent Condition”) then, for purposes of the
                                            Second Amended Plan, the Prerequisite Condition shall be deemed to
                                            have occurred immediately prior to a Subsequent Condition regardless
                                            of when such Prerequisite Condition or Subsequent Condition shall
                                            have occurred.

                              (c)         Waiver of Conditions Precedent

                                     i.     Except as otherwise provided in the Second Amended Plan, all actions
                                            required to be taken on the Effective Date shall take place and shall be
                                            deemed to have occurred simultaneously and no such action shall be
                                            deemed to have occurred prior to the taking of any other such action.
                                            Each of the conditions precedent in Section 9.1 and Section 9.2 of the
                                            Second Amended Plan may be waived in writing by the Debtors with
                                            the prior written consent of (i) the Requisite First Lien Lenders, which
                                            consent shall not be unreasonably withheld (and, (a) solely with respect


                                                             74
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456            Filed 10/07/19 Entered 10/07/19 15:38:57                Main Document
                                                     Pg 357 of 565



                                            to the condition set forth in Section 9.1(d) and 9.2(a)(ii) of the Second
                                            Amended Plan, with the consent of the DIP Agent, such consent not to
                                            be unreasonably withheld, and (b) solely with respect to the condition
                                            set forth in Section 9.2(a)(xi) of the Second Amended Plan, with the
                                            consent of Matthew D. Rosen, such consent not to be unreasonably
                                            withheld) without leave of or order of the Bankruptcy Court, and
                                            (ii) the Creditors’ Committee, with respect to Section 9.2(a)(vii) of the
                                            Second Amended Plan, which consent shall not be unreasonably
                                            withheld. If the Second Amended Plan is confirmed for fewer than all
                                            of the Debtors as provided for in Section 5.16 of the Second Amended
                                            Plan, only the conditions applicable to the Debtor or Debtors for which
                                            the Second Amended Plan is confirmed must be satisfied or waived for
                                            the Effective Date to occur as to such Debtors.

                                    ii.     The stay of the Confirmation Order pursuant to Bankruptcy Rule
                                            3020(e) shall be deemed waived by and upon the entry of the
                                            Confirmation Order, and the Confirmation Order shall take effect
                                            immediately upon its entry.

                              (d)         Effect of Failure of a Condition

If the conditions listed in Section 9.2 of the Second Amended Plan are not satisfied or waived in
accordance with Section 9.2(c)(i) of the Second Amended Plan on or before the first Business Day that is
more than sixty (60) days after the date on which the Confirmation Order is entered or by such later date
as set forth by the Debtors in a notice filed with the Bankruptcy Court prior to the expiration of such
period, the Second Amended Plan shall be null and void in all respects and nothing contained in the
Second Amended Plan or the Disclosure Statement shall (a) constitute a waiver or release of any Claims
by or against or any Interests in the Debtors, (b) prejudice in any manner the rights of any Entity, or
(c) constitute an admission, acknowledgement, offer, or undertaking by the Debtors, the Requisite First
Lien Lenders, or any other Entity.

          I.        Effect of Confirmation of Plan

                              (a)         Vesting of Assets

On the Effective Date, pursuant to sections 1141(b) and (c) of the Bankruptcy Code, all remaining
property of the Debtors’ Estates shall vest in the Reorganized Debtors free and clear of all Claims, Liens,
encumbrances, charges, and other interests, except as provided pursuant to the Second Amended Plan, the
Confirmation Order, the Litigation Trust Agreement, the New First Lien Credit Documents, or the New
Exit Facility Credit Documents. On and after the Effective Date, the Reorganized Debtors may take any
action, including, without limitation, the operation of its businesses; the use, acquisition, sale, lease and
disposition of property; and the entry into transactions, agreements, understandings, or arrangements,
whether in or other than in the ordinary course of business, and execute, deliver, implement, and fully
perform any and all obligations, instruments, documents, and papers or otherwise in connection with any
of the foregoing, free of any restrictions of the Bankruptcy Code or Bankruptcy Rules and in all respects
as if there were no pending cases under any chapter or provision of the Bankruptcy Code, except as
expressly provided in the Second Amended Plan. Without limiting the foregoing, the Reorganized Debtors
may pay the charges that they incur on or after the Effective Date for professional fees, disbursements,
expenses, or related support services without application to the Bankruptcy Court.



                                                              75
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456            Filed 10/07/19 Entered 10/07/19 15:38:57                Main Document
                                                     Pg 358 of 565



                              (b)         Binding Effect

As of the Effective Date, the Second Amended Plan shall bind all holders of Claims against and Interests
in the Debtors and their respective successors and assigns, notwithstanding whether any such holders
(a) were Impaired or Unimpaired under the Second Amended Plan; (b) were deemed to accept or reject the
Second Amended Plan; (c) failed to vote to accept or reject the Second Amended Plan; (d) voted to reject
the Second Amended Plan; or (e) received any distribution under the Second Amended Plan.

                              (c)         Discharge of Claims and Termination of Interests

Upon the Effective Date, and in consideration of the distributions to be made hereunder, except as
otherwise expressly provided under the Second Amended Plan, each holder (as well as any
representatives, trustees, or agents on behalf of each holder) of a Claim or Interest and any Affiliate of
such holder shall be deemed to have forever waived, released, and discharged the Debtors, to the fullest
extent permitted by section 1141 of the Bankruptcy Code, of and from any and all Claims, Interest, rights,
and liabilities that arose prior to the Effective Date. Upon the Effective Date, all such Entities shall be
forever precluded and enjoined, pursuant to section 524 of the Bankruptcy Code, from prosecuting or
asserting any such discharged Claim against or terminated Interest in the Debtors against the Debtors, the
Reorganized Debtors, or any of their Assets or property, whether or not such holder has filed a proof of
Claim and whether or not the facts or legal bases therefor were known or existed prior to the Effective
Date.

                              (d)         Term of Injunctions or Stays

Unless otherwise provided under the Second Amended Plan, the Confirmation Order, or in a Final Order
of the Bankruptcy Court, all injunctions or stays arising under or entered during the Chapter 11 Cases
under section 105 or 362 of the Bankruptcy Code, or otherwise, and in existence on the Confirmation
Date, shall remain in full force and effect until the later of the Effective Date and the date indicated in the
order providing for such injunction or stay.

                              (e)         Injunction

                                     i.     Upon entry of the Confirmation Order, all holders of Claims and
                                            Interests and other parties in interest, along with their respective
                                            present or former employees, agents, officers, directors, principals, and
                                            Affiliates, shall be enjoined from taking any actions to interfere with
                                            the implementation or consummation of the Second Amended Plan in
                                            relation to any Claim or Interest extinguished, discharged, or released
                                            pursuant to the Second Amended Plan.

                                    ii.     Except as expressly provided in the Second Amended Plan, the
                                            Confirmation Order, or a separate order of the Bankruptcy Court or as
                                            agreed to by the Debtors and a holder of a Claim against or Interest in
                                            the Debtors, all Entities who have held, hold, or may hold Claims
                                            against or Interests in the Debtors (whether proof of such Claims or
                                            Interests has been filed or not and whether or not such Entities vote in
                                            favor of, against or abstain from voting on the Second Amended Plan
                                            or are presumed to have accepted or deemed to have rejected the
                                            Second Amended Plan) and other parties in interest, along with their
                                            respective present or former employees, agents, officers, directors,
                                            principals, and Affiliates are permanently enjoined, on and after the

                                                             76
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456             Filed 10/07/19 Entered 10/07/19 15:38:57                   Main Document
                                                      Pg 359 of 565



                                             Effective Date, solely with respect to any Claims, Interests, and Causes
                                             of Action that will be or are extinguished, discharged, or released
                                             pursuant to the Second Amended Plan from (i) commencing,
                                             conducting, or continuing in any manner, directly or indirectly, any
                                             suit, action, or other proceeding of any kind (including, without
                                             limitation, any proceeding in a judicial, arbitral, administrative or other
                                             forum) against or affecting the Debtors, the Reorganized Debtors, or
                                             the Litigation Trust, or the property of any of the Debtors, the
                                             Reorganized Debtors, or the Litigation Trust; (ii) enforcing, levying,
                                             attaching (including, without limitation, any prejudgment attachment),
                                             collecting, or otherwise recovering by any manner or means, whether
                                             directly or indirectly, any judgment, award, decree, or order against the
                                             Debtors, the Reorganized Debtors, or the Litigation Trust, or the
                                             property of any of the Debtors, the Reorganized Debtors, or the
                                             Litigation Trust; (iii) creating, perfecting, or otherwise enforcing in any
                                             manner, directly or indirectly, any encumbrance of any kind against the
                                             Debtors, the Reorganized Debtors, or the Litigation Trust, or the
                                             property of any of the Debtors, the Reorganized Debtors, or the
                                             Litigation Trust; (iv) asserting any right of setoff, directly or indirectly,
                                             against any obligation due from the Debtors, the Reorganized Debtors,
                                             or the Litigation Trust, or against property or interests in property of
                                             any of the Debtors, the Reorganized Debtors, or the Litigation Trust,
                                             except as contemplated or Allowed by the Second Amended Plan; and
                                             (v) acting or proceeding in any manner, in any place whatsoever, that
                                             does not conform to or comply with the provisions of the Second
                                             Amended Plan.

                                    iii.     Each holder of an Allowed Claim or Interest extinguished, discharged,
                                             or released pursuant to the Second Amended Plan will be deemed to
                                             have affirmatively and specifically consented to be bound by the
                                             Second Amended Plan, including, without limitation, the injunctions set
                                             forth in section 10.5 of the Second Amended Plan.

                                    iv.      The injunctions in section 10.5 of the Second Amended Plan shall
                                             extend to any successors of the Debtors, the Reorganized Debtors, and
                                             the Litigation Trust, and their respective property and interests in
                                             property.

                              (f)          Releases

                                      i.     Estate Releases

As of the EffectiveConfirmation Date, pursuant to section 1123(b) of the Bankruptcy Code, except for the
rights that remain in effect from and after the EffectiveConfirmation Date to enforce the Second Amended
Plan and the Definitive Documents, for good and valuable consideration, the adequacy of which is hereby
confirmed, including, without limitation, the service of the Released Parties to facilitate the reorganization
of the Debtors and the implementation of the restructuring, and except as otherwise provided in the
Second Amended Plan or in the Confirmation Order, the Released Parties will be deemed expressly,
conclusively, absolutely, unconditionally, irrevocably and forever released and discharged, to the
maximum extent permitted by law, by the Debtors and their Estates, the Reorganized Debtors, and the
Litigation Trust, from any and all Claims, obligations, suits, judgments, damages, demands, debts, rights,

                                                               77
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456           Filed 10/07/19 Entered 10/07/19 15:38:57         Main Document
                                                    Pg 360 of 565



Causes of Action, remedies, losses, and liabilities whatsoever, including any derivative claims, asserted or
assertable on behalf of the Debtors, or the Reorganized Debtors, as applicable, the Litigation Trust, or the
Estates, or their respective successors, predecessors, assigns, and representatives and any and all other
Persons or Entities that may purport to assert any Cause of Action derivatively, by or through the
foregoing, whether liquidated or unliquidated, fixed or contingent, matured or unmatured, known or
unknown, foreseen or unforeseen, existing or hereafter arising, in law, equity, contract, tort, by statute,
violations of federal or state securities law, or otherwise, that the Debtors or the Reorganized Debtors (as
applicable), the Litigation Trust, or the Estates would have been legally entitled to assert in their own
right (whether individually or collectively) or on behalf of the holder of any Claim or Interest or other
Person, based on or relating to, or in any manner arising prior to the EffectiveConfirmation Date from, in
whole or in part, the Debtors, the Chapter 11 Cases, the pre- and postpetition marketing and sale process,
the purchase, sale, or rescission of the purchase or sale of any Security of the Debtors, the subject matter
of, or the transactions or events giving rise to, any Claim or Interest that is treated in the Second Amended
Plan, the Prepetition First Lien Credit Documents, the Prepetition Second Lien Credit Documents, the
Prepetition Super Senior Credit Documents, the Forbearance Agreement (as defined in the RSA), the DIP
Documents, the business or contractual arrangements between any of the Debtors and any Released Party,
the restructuring, the restructuring of any Claim or Interest before or during the Chapter 11 Cases, the
Disclosure Statement, the RSA, and the Second Amended Plan (including, for the avoidance of doubt, the
Amended Plan Supplement) and related agreements, instruments, and other documents (including the
Definitive Documents), and the negotiation, formulation, or preparation of any documents or transactions
in connection with any of the foregoing, the solicitation of votes with respect to the Second Amended
Plan, the pursuit of the confirmation and consummation of the Second Amended Plan, or any other act or
omission, in all cases based upon any act or omission, transaction, agreement, event or other occurrence
taking place on or before the EffectiveConfirmation Date; provided, that nothing in Section 10.6(a) of the
Second Amended Plan shall be construed to release the Released Parties from gross negligence, willful
misconduct, or fraud as determined by a Final Order; provided, further, that nothing in Section 10.6(a) of
the Second Amended Plan shall be construed to release the obligations of Vector SPV (as defined in the
Prepetition First Lien Credit Agreement) arising under the Vector Subordinated Note (as defined in the
Prepetition First Lien Credit Agreement). The Debtors, the Reorganized Debtors and their Estates, and
the Litigation Trust, or their respective successors, predecessors, assigns, and representatives and any and
all other Persons or Entities that may purport to assert any Cause of Action derivatively, by or through
the foregoing, shall be permanently enjoined from prosecuting any of the foregoing Claims or Causes of
Action released under Section 10.6(a) of the Second Amended Plan against each of the Released Parties.
Notwithstanding anything to the contrary in the foregoing or in the Second Amended Plan, the releases set
forth above do not release any post-Effectivepost-Confirmation Date obligations of any Entity under the
Second Amended Plan, the Confirmation Order, the Litigation Trust Agreement, or any document,
instrument, or agreement (including those set forth in the Amended Plan Supplement) executed to
implement the Second Amended Plan.

                                   ii.     Consensual Releases by Holders of Impaired Claims

As of the EffectiveConfirmation Date, except (i) for the right to enforce the Second Amended Plan or any
right or obligation arising under the Definitive Documents that remains in effect or becomes effective after
the EffectiveConfirmation Date or (ii) as otherwise expressly provided in the Second Amended Plan or in
the Confirmation Order, in exchange for good and valuable consideration, the adequacy of which is
hereby confirmed, including the obligations of the Debtors under the Second Amended Plan and the
contributions of the Released Parties to facilitate and implement the Second Amended Plan, to the fullest
extent permissible under applicable law, as such law may be extended or integrated after the
EffectiveConfirmation Date, the Released Parties shall be deemed expressly, conclusively, absolutely,
unconditionally, irrevocably and forever, released, and discharged by:


                                                          78
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57             Main Document
                                                  Pg 361 of 565



                    a.        the holders of Impaired Claims who voted to accept the Second Amended
                          Plan;

                    b.        the Consenting First Lien Lenders;

                    c.        the Consenting Second Lien Lenders;

                    d.        c. the Creditors’ Committee and each of its members in their capacity as
                          such; and

                    e.        d. with respect to any Entity in the foregoing clauses (a) through (c), such
                          Entity’s (x) predecessors, successors and assigns, (y) subsidiaries, Affiliates,
                          managed accounts or funds, managed or controlled by such Entity and (z) all
                          Persons entitled to assert Claims through or on behalf of such Entities with
                          respect to the matters for which the releasing entities are providing releases.

in each case, from any and all Claims, Interests, or Causes of Action whatsoever, including any derivative
Claims asserted on behalf of a Debtor, whether known or unknown, foreseen or unforeseen, existing or
hereafter arising, in law, equity, contract, tort, by statute, violation of federal or state securities law, or
otherwise, that such Entity would have been legally entitled to assert (whether individually or
collectively), based on, relating to, or arising prior to the EffectiveConfirmation Date from, in whole or in
part, the Debtors, the restructuring, the Chapter 11 Cases, the pre- and postpetition marketing and sale
process, the purchase, sale or rescission of the purchase or sale of any security of the Debtors or
Reorganized Debtors, the subject matter of, or the transactions or events giving rise to, any Claim or
Interest that is treated in the Second Amended Plan, the Prepetition First Lien Credit Documents, the
Prepetition Second Lien Credit Documents, the Prepetition Super Senior Credit Documents, the
Forbearance Agreement (as defined in the RSA), the DIP Documents, the business or contractual
arrangements between any Debtor and any Released Party, the restructuring of Claims and Interests
before or during the Chapter 11 Cases, the negotiation, formulation, preparation, or consummation of the
Second Amended Plan (including the Amended Plan Supplement), the RSA, the Definitive Documents, or
any related agreements, instruments, or other documents, the solicitation of votes with respect to the
Second Amended Plan, the pursuit of the confirmation and consummation of the Second Amended Plan, in
all cases based upon any act or omission, transaction, agreement, event or other occurrence taking place
on or before the EffectiveConfirmation Date; provided, that nothing in Section 10.6(b) of the Second
Amended Plan shall be construed to release the Released Parties from gross negligence, willful
misconduct, or fraud as determined by a Final Order. The Persons and Entities in (a) through (d) of
Section 10.6(b) of the Second Amended Plan shall be permanently enjoined from prosecuting any of the
foregoing Claims or Causes of Action released under Section 10.6(b) of the Second Amended Plan against
each of the Released Parties. Notwithstanding anything to the contrary in the foregoing or in the Second
Amended Plan, the releases set forth above do not release any post-Effectivepost-Confirmation Date
obligations of any Entity under the Second Amended Plan, the Confirmation Order, the Litigation Trust
Agreement, or any document, instrument, or agreement (including those set forth in the Amended Plan
Supplement) executed to implement the Second Amended Plan.

                              (g)       Exculpation

To the maximum extent permitted by applicable lawSection 1125(e) of the Bankruptcy Code and without
affecting or limiting either the estate release set forth in Section 10.56(a) of the Second Amended Plan or
the consensual releases by holders of Impaired Claims set forth in Section 10.6(b) of the Second Amended
Plan, and notwithstanding anything in the Second Amended Plan to the contrary, no Exculpated Party will
have or incur, and each Exculpated Party is hereby released and exculpated from, any claim, obligation,

                                                         79
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                                  Pg 362 of 565



suit, judgment, damage, demand, debt, right, cause of action, remedy, loss, and liability for any claim in
connection with or arising out of the administration of the Chapter 11 Cases, the postpetition marketing
and sale process, the postpetition purchase, sale, or rescission of the purchase or sale of any security of
the Debtors; the postpetition negotiation and pursuit of the Disclosure Statement, the RSA, the
Reorganization Transaction, the Second Amended Plan, the solicitation of votes for, or confirmation of,
the Second Amended Plan or the Litigation Trust Agreement; the funding or consummation of the Second
Amended Plan; the occurrence of the Effective Date; the administration of the Second Amended Plan or
the property to be distributed under the Second Amended Plan, including but not limited to the issuance
and distribution of the Litigation Trust Interests; the issuance of Securities under or in connection with the
Second Amended Plan; or the transactions in furtherance of any of the foregoing; provided, that nothing in
Section 10.7 of the Second Amended Plan shall be construed to release or exculpate an Exculpated Party
from gross negligence, willful misconduct, or fraud as determined by a Final Order; provided, further, that
nothing in Section 10.7 of the Second Amended Plan shall be construed to release the obligations of
Vector SPV (as defined in the Prepetition First Lien Credit Agreement) arising under the Vector
Subordinated Note (as defined in the Prepetition First Lien Credit Agreement). Each Exculpated Party
has, and upon consummation of the Amended Plan shall be deemed to have, participated in good faith and
in compliance with the applicable laws with regard to the restructuring of Claims and Interests in the
Chapter 11 Cases and in connection with the Reorganization Transaction, the negotiation, formulation, or
preparation of the agreements, instruments, or other documents pursuant to the Amended Plan, and the
solicitation and distribution of the Amended Plan and, therefore, is not, and on account of such
distributions shall not be, liable at any time for the violation of any applicable law, rule, or regulation
governing the solicitation of acceptances or rejections of the Amended Plan or such distributions made
pursuant to the Amended Plan.

                              (h)       Limitations on Executable Assets with Respect to Certain Causes
of Action

AnyThe Independent Directors and Other Officers and Directors shall remain legally obligated to pay for
any wrongful acts to the extent of the Debtors’ available D&O Policies’ combined limits, subject to the
following: any recovery by or on behalf of the Litigation Trust (and the beneficiaries thereof) on account
of any Litigation Trust Causes of Action (other than with respect to claims for gross negligence, willful
misconduct, or fraud) or the Reorganized Debtors on account of any Causes of Action (other than with
respect to claims for gross negligence, willful misconduct, or fraud) against any Independent Directors ,or
Other officers and Directors, each solely in his capacity as a director or officer of the Debtors prior to the
Effective Date, including in each case by way of settlement or judgment, shall be limited to the Debtors’
available D&O Policies’ combined limits, after payment from such D&O Policies of any and all covered
costs and expenses incurred by the covered parties in connection with the defense of any such Causes of
Action (the “D&O Insurance Coverage”). No party, including the Litigation Trust or the Reorganized
Debtors, shall execute, garnish or otherwise attempt to collect on any settlement or judgment upon any
assets of the Independent Directors on account of any Litigation Trust Causes of Action or Causes of
Action (other than D&O Insurance Coverage to the extent that is an asset of the Independent Directors).
In the event D&O Insurance Coverage is denied for any settlement or judgment in the Litigation Trust’s or
the Reorganized Debtors’ favor, the Independent Directors shall assign any claims for coverage or other
rights of recovery they may have against the D&O Policy insurers to the Litigation Trust or the
Reorganized Debtors, as applicable. In agreeing to this, the Independent Directors do not admit liability
and can at no point confirm that there is D&O Insurance Coverage for any recovery by or on behalf of the
Litigation Trust (and the beneficiaries thereof) on account of any Litigation Trust Causes of Action or the
Reorganized Debtors on account of any Causes of Action against any Independent Director..




                                                         80
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57           Main Document
                                                  Pg 363 of 565



                              (i)       SEC Rights and Powers

Notwithstanding any language to the contrary contained in the Second Amended Plan, Disclosure
Statement or the Confirmation Order, no provision of the Second Amended Plan or the Confirmation
Order shall (i) preclude the SEC from enforcing its police or regulatory powers; or (ii) enjoin, limit,
impair or delay the SEC from commencing or continuing any claims, causes of action, proceedings or
investigations against any non-Debtor person or non-Debtor entity in any forum.

                              (j)       FCC Rights and Powers

No provision in the Second Amended Plan or the Confirmation Order relieves the Debtors or the
Reorganized Debtors from their obligations to comply with the Communications Act of 1934, as
amended, and the rules, regulations and orders promulgated thereunder by the FCC. No transfer of any
FCC license or authorization held by Debtors or transfer of control of any Debtor, or transfer of control
of a FCC licensee controlled by Debtors shall take place prior to the issuance of FCC regulatory approval
for such transfer pursuant to applicable FCC regulations. The FCC’s rights and powers to take any
action pursuant to its regulatory authority including, but not limited to, imposing any regulatory
conditions on any of the above described transfers, are fully preserved, and nothing in the Second
Amended Plan shall proscribe or constrain the FCC’s exercise of such power or authority.

                              (k)       Subordinated Claims

The allowance, classification, and treatment of all Allowed Claims and Interests and the respective
distributions and treatments under the Second Amended Plan take into account and conform to the relative
priority and rights of the Claims and Interests in each Class in connection with any contractual, legal, and
equitable subordination rights relating thereto, whether arising under general principles of equitable
subordination, section 510(b) of the Bankruptcy Code, or otherwise. Pursuant to section 510 of the
Bankruptcy Code, the Debtors (or the Litigation Trust, solely with respect to General Unsecured Claims)
reserve the right, with the consent of the Required First Lien Lenders, which consent shall not be
unreasonably withheld, to reclassify any Allowed Claim or Interest in accordance with any contractual,
legal, or equitable subordination relating thereto.

                              (l)       Retention of Causes of Action/Reservation of Rights

Except as otherwise provided in Sections 10.5, 10.6, and 10.7 of the Second Amended Plan, nothing
contained in the Second Amended Plan or the Confirmation Order shall be deemed to be a waiver or
relinquishment of any rights, Claims, Causes of Action (including, for the avoidance of doubt, Litigation
Trust Causes of Action), rights of setoff or recoupment, or other legal or equitable defenses that the
Debtors had immediately prior to the Effective Date on behalf of their Estates or itself in accordance with
any provision of the Bankruptcy Code or any applicable non-bankruptcy law, including, without
limitation, any affirmative Causes of Action against parties with a relationship with the Debtors including
actions arising under chapter 5 of the Bankruptcy Code. Except as provided in any order entered by the
Bankruptcy Court, the Reorganized Debtors or the Litigation Trust Oversight Committee, in connection
with the pursuit of Litigation Trust Causes of Action or objection to General Unsecured Claims, shall
have, retain, reserve, and be entitled to assert all such Claims, Causes of Action, rights of setoff or
recoupment, and other legal or equitable defenses as fully as if the Chapter 11 Cases had not been
commenced, and all of the Debtors’ legal and equitable rights in respect of any Unimpaired Claim may be
asserted after the Confirmation Date and Effective Date to the same extent as if the Chapter 11 Cases had
not been commenced. Notwithstanding the foregoing, the Debtors and the Reorganized Debtors shall not



                                                         81
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456           Filed 10/07/19 Entered 10/07/19 15:38:57             Main Document
                                                    Pg 364 of 565



retain any Claims or Causes of Action released or barred pursuant to the Second Amended Plan against
the Released Parties.

                              (m)        Solicitation of Plan

As of and subject to the occurrence of the Confirmation Date: (a) the Debtors shall be deemed to have
solicited acceptances of the Second Amended Plan in good faith and in compliance with the applicable
provisions of the Bankruptcy Code, including without limitation, sections 1125(a) and (e) of the
Bankruptcy Code, and any applicable non-bankruptcy law, rule, or regulation governing the adequacy of
disclosure in connection with such solicitation; and (b) the Debtors and each of their respective directors,
officers, employees, Affiliates, agents, financial advisors, investment bankers, professionals, accountants,
and attorneys shall be deemed to have participated in good faith and in compliance with the applicable
provisions of the Bankruptcy Code in the offer and issuance of any securities under the Second Amended
Plan, and therefore are not, and on account of such offer, issuance, and solicitation shall not be, liable at
any time for any violation of any applicable law, rule, or regulation governing the solicitation of
acceptances or rejections of the Second Amended Plan or the offer and issuance of any securities under
the Second Amended Plan.

                              (n)        Corporate and Limited Liability Company Action

Upon the Effective Date, all actions contemplated by the Second Amended Plan shall be deemed
authorized and approved in all respects, including (a) those set forth in Sections 5.5 and 5.6 of the Second
Amended Plan; (b) the performance of the RSA; and (c) all other actions contemplated by the Second
Amended Plan (whether to occur before, on, or after the Effective Date), in each case, in accordance with
and subject to the terms hereof. All matters provided for in the Second Amended Plan involving the
corporate, limited liability company or partnership structure of the Debtors or the Reorganized Debtors,
and any corporate, limited liability company or partnership action required by the Debtors or the
Reorganized Debtors in connection with the Second Amended Plan shall be deemed to have occurred and
shall be in effect, without any requirement of further action by the Security holders, directors, managers,
limited partners or officers of the Debtors or the Reorganized Debtors. On or (as applicable) before the
Effective Date, the authorized officers of the Debtors or the Reorganized Debtors, as applicable, shall be
authorized and directed to issue, execute, and deliver the agreements, documents, Securities, and
instruments contemplated by the Second Amended Plan (or necessary or desirable to effect the
transactions contemplated by the Second Amended Plan) in the name and on behalf of the Reorganized
Debtors, including, but not limited to: (i) the Amended Organizational Documents; (ii) the New First Lien
Credit Agreement; (iii) the New Exit Facility Credit Agreement; (iv) the Litigation Trust Agreement; and
(v) any and all other agreements, documents, securities, and instruments relating to the foregoing. The
authorizations and approvals contemplated by Section 10.11 of the Second Amended Plan shall be
effective notwithstanding any requirements under non-bankruptcy law.

          J.        Retention of Jurisdiction

                              (a)        Retention of Jurisdiction

On and after the Effective Date, the Bankruptcy Court shall retain non-exclusive jurisdiction over all
matters arising in, arising under, and related to the Chapter 11 Cases for, among other things, the
following purposes:

                                    i.     to hear and determine motions and/or applications for the assumption
                                           or rejection of executory contracts or unexpired leases, including


                                                           82
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456           Filed 10/07/19 Entered 10/07/19 15:38:57               Main Document
                                                    Pg 365 of 565



                                           Assumption Disputes, and the allowance, classification, priority,
                                           compromise, estimation, or payment of Claims resulting therefrom;

                                   ii.     to determine any motion, adversary proceeding, application, contested
                                           matter, and other litigated matter pending on or commenced after the
                                           Confirmation Date;

                                  iii.     to ensure that distributions to holders of Allowed Claims are
                                           accomplished as provided for in the Second Amended Plan and
                                           Confirmation Order and to adjudicate any and all disputes arising from
                                           or relating to distributions under the Second Amended Plan, including,
                                           cases, controversies, suits, disputes, or Causes of Action with respect
                                           to the repayment or return of distributions and the recovery of
                                           additional amounts owed by the holder of a Claim or Interest for
                                           amounts not timely paid;

                                  iv.      to consider the allowance, classification, priority, compromise,
                                           estimation, or payment of any Claim;

                                   v.      to resolve disputes concerning Disputed Claims or the administration
                                           thereof;

                                  vi.      to hear and determine all Fee Claims and Restructuring Expenses;

                                  vii.     to hear and resolve any dispute over the application to any Claim of
                                           any limit on the allowance of such Claim set forth in sections 502 or
                                           503 of the Bankruptcy Code, other than defenses or limits that are
                                           asserted under non-bankruptcy law pursuant to section 502(b)(1) of the
                                           Bankruptcy Code;

                                 viii.     to enter, implement, or enforce such orders as may be appropriate in
                                           the event the Confirmation Order is for any reason stayed, reversed,
                                           revoked, modified, or vacated;

                                  ix.      to issue injunctions, enter and implement other orders, and take such
                                           other actions as may be necessary or appropriate to restrain
                                           interference by any Entity with the consummation, implementation, or
                                           enforcement of the Second Amended Plan, the Confirmation Order, or
                                           any other order of the Bankruptcy Court;

                                   x.      to hear and determine any application to modify the Second Amended
                                           Plan in accordance with section 1127 of the Bankruptcy Code, to
                                           remedy any defect or omission or reconcile any inconsistency in the
                                           Second Amended Plan, or any order of the Bankruptcy Court,
                                           including the Confirmation Order, in such a manner as may be
                                           necessary to carry out the purposes and effects thereof;

                                  xi.      to hear and determine disputes arising in connection with the
                                           interpretation, implementation, or enforcement of the Second Amended
                                           Plan, the Amended Plan Supplement, the Global Settlement, the
                                           Litigation Trust Agreement, the Confirmation Order, or any agreement,


                                                            83
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456             Filed 10/07/19 Entered 10/07/19 15:38:57                Main Document
                                                      Pg 366 of 565



                                             instrument, or other document governing or relating to any of the
                                             foregoing;

                                    xii.     to take any action and issue such orders as may be necessary to
                                             construe, interpret, enforce, implement, execute, and consummate the
                                             Second Amended Plan;

                                 xiii.       to determine such other matters and for such other purposes as may be
                                             provided in the Confirmation Order;

                                 xiv.        to hear and determine matters concerning state, local, and federal taxes
                                             in accordance with sections 346, 505, and 1146 of the Bankruptcy
                                             Code (including any requests for expedited determinations under
                                             section 505(b) of the Bankruptcy Code);

                                    xv.      to hear, adjudicate, decide, or resolve any and all matters related to
                                             Article X of the Second Amended Plan, including, without limitation,
                                             the releases, discharge, exculpations, and injunctions issued thereunder;

                                 xvi.        to recover all Assets of the Debtors and property of the Debtors’
                                             Estates, wherever located;

                                xvii.        to resolve any disputes concerning whether an Entity had sufficient
                                             notice of the Chapter 11 Cases, the Disclosure Statement, any
                                             solicitation conducted in connection with the Chapter 11 Cases, any
                                             bar date established in the Chapter 11 Cases, or any deadline for
                                             responding or objecting to a Cure Amount, in each case, for the
                                             purpose of determining whether a Claim or Interest is discharged
                                             hereunder or for any other purpose;

                               xviii.        to hear and determine any rights, Claims, or Causes of Action held by
                                             or accruing to the Reorganized Debtors or the Litigation Trust
                                             pursuant to the Bankruptcy Code or pursuant to any federal statute or
                                             legal theory;

                                 xix.        to enter one or more final decrees closing the Chapter 11 Cases;

                                    xx.      to consider any motion brought under or in connection with
                                             Bankruptcy Rule 2004; and

                                 xxi.        to hear and determine any other matters related hereto and not
                                             inconsistent with the Bankruptcy Code and title 28 of the United States
                                             Code.

                              (b)          Courts of Competent Jurisdiction

If the Bankruptcy Court abstains from exercising, or declines to exercise, jurisdiction or is otherwise
without jurisdiction over any matter arising out of the Second Amended Plan, such abstention, refusal, or
failure of jurisdiction shall have no effect upon and shall not control, prohibit, or limit the exercise of
jurisdiction by any other court having competent jurisdiction with respect to such matter.



                                                              84
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57          Main Document
                                                  Pg 367 of 565



          K.        Miscellaneous Second Amended Plan Provisions

                              (a)       Payment of Statutory Fees

On the Effective Date and thereafter as may be required, the Reorganized Debtors shall pay all fees
incurred pursuant to sections 1911 through 1930 of chapter 123 of title 28 of the United States Code,
together with interest, if any, pursuant to section 3717 of title 31 of the United States Code with the
Chapter 11 Cases, or until such time as a final decree is entered closing the Chapter 11 Cases, a Final
Order converting the Chapter 11 Cases to cases under chapter 7 of the Bankruptcy Code is entered, or a
Final Order dismissing the Chapter 11 Cases is entered.

                              (b)       Substantial Consummation of the Second Amended Plan

On the Effective Date, the Second Amended Plan shall be deemed to be substantially consummated under
sections 1101 and 1127(b) of the Bankruptcy Code.

                              (c)       Plan Supplement

The Amended Plan Supplement shall be filed with the Clerk of the Bankruptcy Court. Upon its filing
with the Bankruptcy Court, the Amended Plan Supplement may be inspected in the office of the Clerk of
the Bankruptcy Court during normal court hours. Documents included in the Amended Plan Supplement
will be posted at the website of the Debtors’ notice, claims, and solicitation agent.

                              (d)       Request for Expedited Determination of Taxes

The Debtors shall have the right to request an expedited determination under section 505(b) of the
Bankruptcy Code with respect to tax returns filed, or to be filed, for any and all taxable periods ending
after the Commencement Date through the dissolution of the Debtors.

                              (e)       Exemption from Certain Transfer Taxes

Pursuant to section 1146 of the Bankruptcy Code, (a) the issuance, transfer or exchange of any securities,
instruments or documents, (b) the creation of any Lien, mortgage, deed of trust, or other security interest,
(c) the making or assignment of any lease or sublease or the making or delivery of any deed or other
instrument of transfer under, pursuant to, in furtherance of, or in connection with the Second Amended
Plan, including, without limitation, any deeds, bills of sale, or assignments executed in connection with
any of the transactions contemplated under the Second Amended Plan or the reinvesting, transfer, or sale
of any real or personal property of the Debtors pursuant to, in implementation of or as contemplated in the
Second Amended Plan (whether to one or more of the Reorganized Debtors or otherwise), (d) the grant of
collateral under the New Exit Facility and the New First Lien Credit Facility, and (e) the issuance,
renewal, modification, or securing of indebtedness by such means, and the making, delivery or recording
of any deed or other instrument of transfer under, in furtherance of, or in connection with, the Second
Amended Plan, including, without limitation, the Confirmation Order, shall not be subject to any
document recording tax, stamp tax, conveyance fee, or other similar tax, mortgage tax, real estate transfer
tax, mortgage recording tax, Uniform Commercial Code filing or recording fee, regulatory filing or
recording fee, sales tax, use tax, or other similar tax or governmental assessment. Consistent with the
foregoing, each recorder of deeds or similar official for any county, city, or governmental unit in which
any instrument hereunder is to be recorded shall, pursuant to the Confirmation Order, be ordered and
directed to accept such instrument without requiring the payment of any filing fees, documentary stamp
tax, deed stamps, stamp tax, transfer tax, intangible tax, or similar tax.


                                                          85
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456            Filed 10/07/19 Entered 10/07/19 15:38:57             Main Document
                                                     Pg 368 of 565



                              (f)         Amendments

                                     i.     Plan Modifications. Subject to the terms of the RSA, (i) the Debtors
                                            reserve the right, in accordance with the Bankruptcy Code and the
                                            Bankruptcy Rules, to amend or modify the Second Amended Plan
                                            prior to the entry of the Confirmation Order, including amendments or
                                            modifications to satisfy section 1129(b) of the Bankruptcy Code, and
                                            (ii) after entry of the Confirmation Order, the Debtors may, upon
                                            order of the Court, amend, modify or supplement the Second Amended
                                            Plan in the manner provided for by section 1127 of the Bankruptcy
                                            Code or as otherwise permitted by law, in each case without
                                            additional disclosure pursuant to section 1125 of the Bankruptcy
                                            Code. In addition, after the Confirmation Date, so long as such action
                                            does not materially and adversely affect the treatment of holders of
                                            Allowed Claims or Allowed Interests pursuant to the Second Amended
                                            Plan and subject to the reasonable consent of the Requisite First Lien
                                            Lenders (and the Creditors’ Committee, solely as it pertains to the
                                            Global Settlement or treatment of General Unsecured Claims), the
                                            Debtors may remedy any defect or omission or reconcile any
                                            inconsistencies in the Second Amended Plan or the Confirmation
                                            Order with respect to such matters as may be necessary to carry out
                                            the purposes or effects of the Second Amended Plan, and any holder
                                            of a Claim or Interest that has accepted the Second Amended Plan
                                            shall be deemed to have accepted the Second Amended Plan as
                                            amended, modified, or supplemented.

                                    ii.     Other Amendments. Subject to the terms of the RSA, before the
                                            Effective Date, the Debtors may make appropriate technical
                                            adjustments and modifications to the Second Amended Plan and the
                                            documents contained in the Amended Plan Supplement without further
                                            order or approval of the Bankruptcy Court.

                              (g)         Effectuating Documents and Further Transactions

Each of the officers, managers, limited partners or members of the Reorganized Debtors is authorized to
execute, deliver, file, or record such contracts, instruments, releases, indentures, and other agreements or
documents and take such reasonable actions as may be necessary or appropriate to effectuate and further
evidence the terms and conditions of the Second Amended Plan.

                              (h)         Revocation or Withdrawal of Plan

Subject to the terms of the RSA, the Debtors reserve the right to revoke or withdraw the Second Amended
Plan prior to the Effective Date. If the Second Amended Plan has been revoked or withdrawn prior to the
Effective Date, or if confirmation or the occurrence of the Effective Date does not occur, then: (a) the
Second Amended Plan shall be null and void in all respects; (b) any settlement or compromise embodied
in the Second Amended Plan (including the fixing or limiting to an amount any Claim or Interest or Class
of Claims or Interests), assumption of executory contracts or unexpired leases affected by the Second
Amended Plan, and any document or agreement executed pursuant to the Second Amended Plan shall be
deemed null and void; and (c) nothing contained in the Second Amended Plan shall (i) constitute a waiver
or release of any Claim by or against, or any Interest in, the Debtors or any other Entity; (ii) prejudice in
any manner the rights of the Debtors or any other Entity; or (iii) constitute an admission of any sort by the

                                                            86
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57             Main Document
                                                  Pg 369 of 565



Debtors, any Consenting First Lien Lenders, or any other Entity. This provision shall have no impact on
the rights of the Consenting First Lien Lenders or the Debtors, as set forth in the RSA, in respect of any
such revocation or withdrawal.

                              (i)       Dissolution of Statutory Committees

On the Effective Date, any statutory committee (a “Committee”) formed in these Chapter 11 Cases shall
dissolve and, on the Effective Date, each member (including each officer, director, employee, or agent
thereof) of such Committee and each professional retained by such Committee shall be released and
discharged from all rights, duties, responsibilities, and obligations arising from, or related to, the Debtors,
their membership on such Committee, the Second Amended Plan, or the Chapter 11 Cases, except with
respect to any matters concerning any Fee Claims held or asserted by any professional retained by such
Committee.

                              (j)       Severability of Plan Provisions

If, before the entry of the Confirmation Order, any term or provision of the Second Amended Plan is held
by the Bankruptcy Court to be invalid, void, or unenforceable, the Bankruptcy Court, at the request of the
Debtors, shall have the power to alter and interpret such term or provision to make it valid or enforceable
to the maximum extent practicable, consistent with the original purpose of the term or provision held to be
invalid, void, or unenforceable, and such term or provision shall then be applicable as altered or
interpreted. Notwithstanding any such holding, alteration, or interpretation, the remainder of the terms
and provisions of the Second Amended Plan will remain in full force and effect and will in no way be
affected, impaired or invalidated by such holding, alteration, or interpretation. The Confirmation Order
shall constitute a judicial determination and shall provide that each term and provision of the Second
Amended Plan, as it may have been altered or interpreted in accordance with the foregoing, is (a) valid
and enforceable pursuant to its terms, (b) integral to the Second Amended Plan and may not be deleted or
modified without the consent of the Debtors or the Reorganized Debtors (as the case may be), and
(c) nonseverable and mutually dependent.

                              (k)       Governing Law

Except to the extent that the Bankruptcy Code or other federal law is applicable, or to the extent an
exhibit hereto or a schedule in the Amended Plan Supplement or a Definitive Document provides
otherwise, the rights, duties, and obligations arising under the Second Amended Plan shall be governed
by, and construed and enforced in accordance with, the laws of the State of New York, without giving
effect to the principles of conflict of laws thereof; provided, however, that corporate or entity governance
matters relating to any Debtors or Reorganized Debtors shall be governed by the laws of the state of
incorporation or organization of the applicable Debtors or Reorganized Debtors.

                              (l)       Time

In computing any period of time prescribed or allowed by the Second Amended Plan, unless otherwise set
forth in the Second Amended Plan or determined by the Bankruptcy Court, the provisions of Bankruptcy
Rule 9006 shall apply.

                              (m)       Dates of Actions to Implement the Second Amended Plan

In the event that any payment or act under the Second Amended Plan is required to be made or performed
on a date that is not a Business Day, then the making of such payment or the performance of such act may


                                                         87
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456           Filed 10/07/19 Entered 10/07/19 15:38:57           Main Document
                                                    Pg 370 of 565



be completed on or as soon as reasonably practicable after the next succeeding Business Day, but shall be
deemed to have been completed as of the required date.

                              (n)        Immediate Binding Effect

Notwithstanding Bankruptcy Rules 3020(e), 6004(h), 7062, or otherwise, upon the occurrence of the
Effective Date, the terms of the Second Amended Plan and Plan Supplement shall be immediately effective
and enforceable and deemed binding upon and inure to the benefit of the Debtors, the holders of Claims
and Interests, the Released Parties, and each of their respective successors and assigns, including, without
limitation, the Reorganized Debtors.

                              (o)        Deemed Acts

Subject to and conditioned on the occurrence of the Effective Date, whenever an act or event is expressed
under the Second Amended Plan to have been deemed done or to have occurred, it shall be deemed to have
been done or to have occurred without any further act by any party, by virtue of the Second Amended
Plan and the Confirmation Order.

                              (p)        Successor and Assigns

The rights, benefits, and obligations of any Entity named or referred to in the Second Amended Plan shall
be binding on, and shall inure to the benefit of any heir, executor, administrator, successor, or permitted
assign, if any, of each Entity.

                              (q)        Entire Agreement

On the Effective Date, the Second Amended Plan, the Amended Plan Supplement, and the Confirmation
Order shall supersede all previous and contemporaneous negotiations, promises, covenants, agreements,
understandings, and representations on such subjects, all of which have become merged and integrated
into the Second Amended Plan.

                              (r)        Exhibits to Plan

All exhibits, schedules, supplements, and appendices to the Second Amended Plan (including the
Amended Plan Supplement) are incorporated into and are a part of the Second Amended Plan as if set
forth in full in the Second Amended Plan.

                              (s)        Notices

All notices, requests, and demands hereunder to be effective shall be in writing (including by electronic
transmission) and, unless otherwise expressly provided in the Second Amended Plan, shall be deemed to
have been duly given or made when actually delivered as follows:

                                    i.     If to the Debtors or the Reorganized Debtors:

                              Fusion Connect, Inc.,
                              210 Interstate North Parkway, Suite 300,
                              Atlanta, Georgia 30339
                              Attn: James P. Prenetta, Jr., Executive Vice President and General Counsel
                              Email: JPrenetta@fusionconnect.com



                                                            88
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456           Filed 10/07/19 Entered 10/07/19 15:38:57         Main Document
                                                    Pg 371 of 565



                                         -and-

                              Weil, Gotshal & Manges LLP
                              767 Fifth Avenue
                              New York, New York 10153
                              Attn: Gary T. Holtzer
                                      Sunny Singh
                                      Gaby Smith
                              Telephone: (212) 310-8000
                              Email: gary.holtzer@weil.com
                                      sunny.singh@weil.com
                                      gaby.smith@weil.com

                                   ii.     If to the Consenting First Lien Lenders:

                              Davis Polk & Wardwell LLP
                              450 Lexington Avenue
                              New York, NY 10017
                              Attn: Damian S. Schaible
                                     Adam L. Shpeen
                              Email: damian.schaible@davispolk.com
                                      adam.shpeen@davispolk.com

                                  iii.     If to members of the Ad Hoc Group of Tranche A Term Loans /
                                           Revolving Lenders:

                              Simpson Thacher & Bartlett LLP
                              425 Lexington Avenue
                              New York, NY 10017
                              Attn: Sandeep Qusba
                                     Hyang Sook Lee
                                     Edward R. Linden
                              Email: squsba@stblaw.com
                                     slee@stblaw.com
                                     edward.linden@stblaw.com

After the Effective Date, the Debtors have authority to send a notice to Entities providing that, to continue
to receive documents pursuant to Bankruptcy Rule 2002, they must file a renewed request to receive
documents pursuant to Bankruptcy Rule 2002. After the Effective Date, the Debtors and the Reorganized
Debtors, as applicable, are authorized to limit the list of Entities receiving documents pursuant to
Bankruptcy Rule 2002 to those Entities who have filed such renewed requests.

                                       VI.
                            TRANSFER RESTRICTIONS AND
                    CONSEQUENCES UNDER FEDERAL SECURITIES LAWS

The offer, issuance, and distribution of the Special Warrants, and the New Equity Interests, and the
Second Lien Warrants (if any) shall be exempt, pursuant to section 1145 of the Bankruptcy Code, from
registration under the Securities Act and all rules and regulations promulgated thereunder, and any state
or local law requiring registration for the offer, issuance, and distribution of Securities.


                                                            89
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57              Main Document
                                                  Pg 372 of 565



Section 1145 of the Bankruptcy Code generally exempts from registration under the Securities Act the
offer, issuance, or sale under a chapter 11 plan of a security of the debtor, of an affiliate participating in a
joint plan with the debtor, or of a successor to the debtor under a plan, if such securities are offered or
sold in exchange for a claim against, or an interest in, the debtor or such affiliate, or principally in such
exchange and partly for cash. In reliance upon this exemption, the New Equity Interests, and the Special
Warrants, and the Second Lien Warrants, if applicable, will be exempt from the registration requirements
of the Securities Act, and state and local securities laws. These securities may be resold without
registration under the Securities Act or other federal or state securities laws pursuant to the exemption
provided by Section 4(a)(1) of the Securities Act, unless the holder is an “underwriter” with respect to
such securities, as that term is defined in section 1145(b) of the Bankruptcy Code. In addition, such
section 1145 exempt securities generally may be resold without registration under state securities laws
pursuant to various exemptions provided by the respective laws of the several states.

Section 1145(b) of the Bankruptcy Code defines “underwriter” for purposes of the Securities Act as one
who, except with respect to ordinary trading transactions, (a) purchases a claim with a view to
distribution of any security to be received in exchange for the claim, (b) offers to sell securities issued
under a plan for the holders of such securities, (c) offers to buy securities issued under a plan from
persons receiving such securities, if the offer to buy is made with a view to distribution or (d) is an issuer,
as used in Section 2(a)(11) of the Securities Act, with respect to such securities, which includes control
persons of the issuer. Further, based on the legislative history of Section 1145 of the Bankruptcy Code, a
creditor who owns 10% or more of the voting securities of a reorganized debtor and/or has the right to
appoint a director to the board of directors of a reorganized debtor may be presumed to be a control
person, and therefore, an underwriter.

Notwithstanding the foregoing, control person underwriters may be able to sell securities without
registration pursuant to the resale limitations of Rule 144 of the Securities Act which, in effect, permit the
resale of securities received by such underwriters pursuant to a chapter 11 plan, subject to applicable
volume limitations, notice and manner of sale requirements, and certain other conditions. Parties who
believe they may be statutory underwriters as defined in section 1145 of the Bankruptcy Code are advised
to consult with their own legal advisers as to the availability of the exemption provided by Rule 144.

In any case, recipients of New Equity Interests, Special Warrants, and/or Second LienSpecial Warrants, if
applicable, issued under the Second Amended Plan are advised to consult with their own legal advisers as
to the availability of any such exemption from registration under state law in any given instance and as to
any applicable requirements or conditions to such availability. In order to preserve the ability to utilize
tax attributes following the Effective Date, the charter, bylaws, and other organizational documents, as
applicable, of the Reorganized Debtors may restrict certain transfers of the New Equity Interests and/or
Special Warrants, and Second Lien Warrants, if applicable.

Legends. To the extent certificated, certificates evidencing New Equity Interests, and Special Warrants,
and Second Lien Warrants, if applicable, held by holders of 10% or more of the outstanding New Equity
Interests, and Special Warrants and Second Lien Warrants, if applicable, or who are otherwise
underwriters as defined in Section 1145(b) of the Bankruptcy Code, will bear a legend substantially in the
form below:

THE NEW EQUITY INTERESTS, AND SPECIAL WARRANTS, AND SECOND LIEN
WARRANTS, IF APPLICABLE, HAVE NOT BEEN REGISTERED UNDER THE SECURITIES
ACT OF 1933, AS AMENDED, OR UNDER THE SECURITIES LAWS OF ANY STATE OR
OTHER JURISDICTION AND MAY NOT BE SOLD, OFFERED FOR SALE OR OTHERWISE
TRANSFERRED UNLESS REGISTERED OR QUALIFIED UNDER SUCH ACT AND
APPLICABLE STATE SECURITIES LAWS OR UNLESS FUSION CONNECT RECEIVES AN

                                                         90
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57                 Main Document
                                                  Pg 373 of 565



OPINION OF COUNSEL REASONABLY SATISFACTORY TO IT THAT SUCH REGISTRATION
OR QUALIFICATION IS NOT REQUIRED.

                                                   VII.
                                            REGULATORY MATTERS

The Debtors’ operations are subject to varying degrees of regulation by the FCC under the
Communications Act and the FCC rules and regulations promulgated thereunder, as well as by the State
PUCs and their respective authorizing statutes and regulations. Obtaining approval from the FCC and a
number of State PUCs is generally required for the issuance, renewal, transfer of control, assignment, or
modification of operating licenses.

The Fusion Licensees were required to submit applications notifying the FCC upon entry into chapter 11.
Following the Commencement Date, the Fusion Licensees filed the requisite applications informing the
FCC of the pro forma transfer of the FCC licenses to the Fusion Licensees as “debtors in possession”
under chapter 11. The FCC provided notice of those filings in a Public Notice dated June 13, 2019 and
labeled as Report No. TEL-01964, DA No. 19-552.13       11



On the Effective Date, Telecom Holdings, LLC (“Telecom Holdings”) will acquire over fifty percent
(50%) of the New Equity Interests, resulting in de jure control of Reorganized FCI. Consequently, the
emergence transaction will effect a transfer of control of the Fusion Licensees. The New Equity Interests
that are not issued to Telecom Holdings will be held by certain other holders of First Lien Claims, none of
whom will hold New Equity Interests that represent voting or equity interests of ten percent (10%) or
more of Reorganized FCI. On July 24, 2019 and August 2, 2019, 2019, the Fusion Licensees and
Telecom Holdings submitted applications to the FCC to obtain its consent for the proposed transfer of
control of the Fusion Licensees and separately filed applications to the requisite State PUCs on or prior to
August 9, 2019.

Following its review of the FCC Applications submitted by the Fusion Licensees, the FCC will issue a
public notice (or notices) announcing the acceptance of the FCC Applications for filing (each, a “Public
Notice”). For purposes of the wireless licenses, pursuant to Section 309(d) of the Communications Act
and related FCC rules, any party that qualifies as a “party in interest” may file a “petition to deny” the
FCC Applications within thirty (30) days of the date of a Public Notice. If such petitions to deny are
filed, the Fusion Licensees will have the opportunity to file oppositions and the petitioners will have the
opportunity to reply, with the formal pleading cycle closing approximately fifteen (15) days following the
deadline for petitions to deny (unless a different schedule is set by the FCC).

Pursuant to Section 214 of the Communications Act and related FCC rules, a party may file comments or
file a petition to deny the international and domestic Section 214 applications within fourteen (14) days of
the Public Notice. For domestic Section 214 applications, parties are also permitted to file reply
comments within twenty-one (21) days of the Public Notice. The Fusion Licensees will have the
opportunity to respond to any such comments. Thereafter, unless the FCC notifies the Fusion Licensees
otherwise, the Fusion Licensees may consummate the transfer of control on the thirty-first day (31st) after




1311
       As a consequence of entry into chapter 11, the wireless licenses held by FCS were assigned to FCS, as debtor
       in possession, in File Nos. 000868350 and 0008686355, effective as of July 9, 2019.


                                                         91
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57           Main Document
                                                  Pg 374 of 565



the Public Notice with respect to the domestic Section 214 authority and on the fourteenth day (14th) after
the Public Notice with respect to the international Section 214 authority.

As a practical matter, however, the FCC is not expected to grant any of the applications until after all
required periods for the FCC Applications have passed. In any event, the Reorganization Transaction
cannot be consummated until, among other things, all required FCC Approvals have been obtained.

Following the Debtors’ emergence from Chapter 11 on the Effective Date, the proposed exercise of
Special Warrants or any other conditional interests issued pursuant to the Second Amended Plan will
result in (i) a second transfer of control of the Fusion Licensees because Telecom Holdings’ interests in
Reorganized FCI will drop below fifty (50) percent, constituting a “negative transfer of control” for FCC
purposes. Moreover, the exercise of the Special Warrants on the Exercise Date will result in the aggregate
foreign ownership of the Fusion Licensees exceeding twenty-five percent (25%), which is prohibited by
federal law unless the FCC issues a declaratory ruling as discussed below. Therefore, as soon as
practicable following the Effective Date, the Fusion Licensees and Telecom Holdings will file an
additional set of applications with the FCC and State PUCs (as required), as well as a Petition for
Declaratory Ruling seeking FCC approval for the proposed foreign ownership of the Fusion Licensees
that will take place on the Exercise Date. Consistent with the Second Amended Plan, no Special Warrants
or other conditional interests in Reorganized FCI that are issued on the Effective Date may be exercised
until all of the conditions for the Exercise Date have been met.

               A. State Public Service Commissions

The Fusion Licensees were required to notify certain State PUCs upon entry into chapter 11. Following
the Commencement Date, therefore, the Fusion Licensees filed notices informing the State PUCs in all
states where the Fusion Licensees operate of the Fusion Licensees’ status as debtors in possession under
chapter 11.

The Fusion Licensees and Telecom Holdings were also required to submit applications to certain State
PUCs to request approval of the transfer of control of the Fusion Licensees to Telecom Holdings. The
Fusion Licensees and Telecom Holdings filed the requisite State PUC Applications in California,
Colorado, the District of Columbia Georgia, Hawaii, Indiana, Louisiana, Maryland, Minnesota,
Mississippi, Nebraska, New Jersey, New York, Ohio, Pennsylvania, Texas, Virginia and West Virginia
on behalf of each entity that holds intrastate telecommunications authority in these states. The level of
review undertaken by the State PUCs, and the length of time until an approval of a State PUC Application
will be granted, will vary by state. One or more State PUCs may issue its grant of approval contingent
upon issuance of approvals by the FCC and/or the Bankruptcy Court.

In order to comply with any applicable regulatory requirements in states where approval of a transfer of
control is not required and where a Fusion Licensee holds authority to provide telecommunications
services, the Fusion Licensees (together with Telecom Holdings) are filing the State PUC Notices with the
respective State PUCs regarding the transfer of control that will occur as a result of the Reorganization
Transaction.

In connection with the exercise of Special Warrants on the Exercise Date, and the resulting material
change to the ownership of the Fusion Licensees, advance approvals will have to be obtained from certain
State PUCs. Prior to the Exercise Date but after the Effective Date, the Fusion Licensees and Telecom
Holdings will file additional State PUC applications for such approvals as required and will file additional
State PUC notices in the states where notice (but not approval) is required for the change to ownership.



                                                         92
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57         Main Document
                                                  Pg 375 of 565



Consistent with the Second Amended Plan, no Special Warrants or other conditional interests in
Reorganized FCI that may be exercised until all of the conditions for the Exercise Date have been met.

The following is important information concerning the FCC approval process and the ownership
requirements and restrictions that must be met in order for parties to hold equity interests in
Reorganized FCI. The following summary of certain FCC rules and policies is for informational
purposes only and is not a substitute for careful planning and advice based upon the individual
circumstances pertaining to a Holder of an Allowed First Lien Claim or an Allowed Second Lien
Claim. Holders of Allowed First Lien Claims or Allowed Second Lien Claims are urged to consult
their own advisors as to FCC ownership issues and other consequences of the Second Amended Plan.

               B. Information Required from Prospective Stockholders of Reorganized FCI

In processing applications for consent to a transfer of control or assignment of FCC licenses, the FCC
considers, among other things, whether the prospective owners or new licensee, as applicable, possess the
legal, character, and other qualifications to hold FCC licenses in a manner consistent with the public
interest.

As described in the Equity Allocation Mechanism, Holders of Allowed First Lien Claims will receive New
Equity Interests and/or Special Warrants on account of such Claims. Holders of Allowed Second Lien
Claims will receive Special Warrants on account of such Claims. In accordance with the terms of the
Special Warrant Agreement, the Special Warrants will automatically be exercised for New Equity
Interests, to the extent legally permissible, upon the Exercise Date, which will not occur until all
prerequisites are met, including upon obtaining a declaratory ruling from the FCC and grants of approvals
of the transfer of control of Reorganized FCI from the FCC and applicable State PUC approvals.

Each holder of an Allowed First Lien Claim must submit an Ownership Certification providing
information regarding the prospective stockholder to establish that issuance of the New Equity
Interests and/or Special Warrants to such holder would not result in a violation of law, impair the
qualifications of the Reorganized Debtors to hold FCC Licenses, or impede the grant of any FCC
Applications on behalf of the Reorganized Debtors.

Each holder of an Allowed First Lien Claim will be required to provide information regarding the
extent of their direct and indirect ownership and control by non-U.S. persons sufficient to establish
whether any non-U.S. persons will hold a direct or indirect ownership interest in Reorganized FCI.
Based on the Results of the Ownership Certifications, holders will receive a mix of New Equity
Interests and Special Warrants as set forth in the Warrant Agreement and the Equity Allocation
Mechanism.

Consistent with the Equity Allocation Mechanism and the Special Warrant Agreement, holders of
Allowed First Lien Claims or Allowed Second Lien Claims that are directly or indirectly owned or
controlled by a non-U.S. individual or entity will only be permitted to exercise Special Warrants upon the
Exercise Date, at which time, such holder may only exercise Special Warrants and/or other conditional
interest insofar as permitted by the FCC’s Declaratory Ruling. For the avoidance of doubt, holders of
Allowed First Lien Claims or Allowed Second Lien Claims shall not be permitted to exercise Special
Warrants if the non-U.S. ownership or voting percentage of such prospective holders, as calculated in
accordance with FCC rules, would result in an amount in excess of the foreign ownership amount
permitted by the Declaratory Ruling.

On September 323, 2019, and concurrently hereto, the Debtors are filingThe Court entered an order (ECF
No. 425) approving the Motion of Debtors for Authority to Establish Procedures for Compliance with

                                                         93
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57             Main Document
                                                  Pg 376 of 565



Federal Communications Law (the “Foreign Ownership Procedures Motion”) for entry of an order
(i) approving procedures to comply with foreign ownership restrictions and other ownership disclosure
requirement of the federal communications law and the FCC1412, including the forms of Ownership
Certification and Notice of Ownership Certification Procedures and deadlines by which holders of
Allowed First Lien Claims must submit an Ownership Certification to Prime Clerk as the Certification
Agent to facilitate the allocation of New Equity Interests and Special Warrants under the Second
Amended Plan; and (ii) authorizing Prime Clerk to serve as the Certification Agent and to perform the
relevant services related to the certification process (each as defined in the Foreign Ownership Procedures
Motion).

Any holder that fails to timely provide an Ownership Certification by October 25, 2019 (the “Ownership
Certification Deadline”) or that fails to deliver an Ownership Certification that allows the Debtors to
clearly determine such holder’s foreign ownership in compliance with the limitations set forth in the
Equity Allocation Mechanism will be treated as a one hundred percent (100%) foreign-owned, non-U.S.
holder, unless the Debtors, in their sole discretion, elect to treat an Ownership Certification delivered after
the Ownership Certification Deadline (but prior to the Effective Date) as if such Ownership Certification
had been delivered prior to the Ownership Certification Deadline.

A hearing to approve the Ownership Certification Procedures Motion is currently scheduled to occur on
September 24, 2019.




1412
       See, e.g., 47 C.F.R. § 1.5000 et seq. (implementing the Ownership Limitations of Section 310 of the
       Communications Act for broadcast, common carrier, aeronautical en route, and aeronautical fixed radio
       station licensees and common carrier spectrum lessees); 47 C.F.R. § 63.04, 18) (requiring disclosure of
       certain equity ownership and voting interest in Section 214 transfer of control applications).


                                                         94
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                                  Pg 377 of 565



               C. FCC Foreign Ownership Restrictions and Ownership Disclosure Requirements

On the Effective Date, Telecom Holdings will hold over fifty percent (50%) of the New Equity Interests.
The membership interests in Telecom Holdings on the Effective Date will be held by twelve (12) U.S.
Holders (as defined herein), none of whom will hold a direct or indirect economic interest in Reorganized
FCI of ten percent (10%) or more.

Section 310 of the Communications Act prohibits foreign individuals and foreign entities from having
direct or indirect ownership or voting rights totaling in the aggregate more than twenty-five percent (25%)
in a U.S. corporation that controls a U.S. broadcast, common carrier, or aeronautical fixed or en route
radio station licensee (“Licensee”). The FCC, which has adopted rules to implement Section 310(b), may
authorize aggregate foreign equity ownership or voting interests to exceed the twenty-five percent (25%)
limitation by granting a declaratory ruling in response to the filing of a Petition for Declaratory Ruling by
the applicable Licensee. In addition, if the parent company of a Licensee already has, or proposes to
have, foreign ownership that exceeds the twenty-five percent (25%) Ownership Limitations, any entity
(including entities subject to aggregation under applicable FCC rules) that has or would receive in excess
of either five percent (5%) or, in certain cases, ten percent (10%) of the equity ownership or voting rights
in the Licensee’s parent company must receive specific approval from the FCC (a “Specific Approval”).
The determination of whether the five percent (5%) or ten percent (10%) Specific Approval threshold
applies to an entity is determined pursuant to the FCC’s foreign ownership rules.

To ensure compliance with the twenty-five percent (25%) limitation, the distribution of New Equity
Interests to holders of Allowed First Lien Claims is being structured in a manner that will prevent the
aggregate foreign equity ownership or aggregate foreign voting percentage in Reorganized FCI from
exceeding twenty-two and one-half percent (22.5%) (the “22.5 Percent Limitation”). Any distribution of
New Equity Interests on the Effective Date in contravention of the preceding sentence will be deemed
automatically adjusted to the minimum extent necessary to comply with this limitation. Historically,
warrants and other future or conditional interests have not been taken into account in determining foreign
ownership compliance.

Ownership Limitations also apply to partnerships and limited liability companies. The FCC historically
has treated partnerships with foreign partners as foreign-controlled if there are any foreign general
partners. The interests of any foreign limited partners or foreign members of limited liability companies
are considered in determining the equity ownership and voting rights held by such entities. The interests
of limited partners or limited liability company members that are not properly insulated from active
involvement in the management or operation of the company are considered to have the same voting
interest in the licensee as the entity itself. Limited partners and members of limited liability companies
that are properly insulated are deemed to have a voting interest that is the same as their own equity
interest.




                                                         95
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57           Main Document
                                                  Pg 378 of 565



The FCC’s rules implementing Section 214 of the Communications Act require a U.S. company that holds
domestic and international Section 214 telecommunications service authority to disclose the identity of all
direct or indirect holders of ten percent (10%) or more of the voting or equity ownership in such company
when applying for authority or consent to a transfer of control or assignment. To ensure that the FCC
Applications have disclosed all such holders, with the exception of distributions to Telecom Holdings, the
distribution of New Equity Interests to any holders of Allowed First Lien Claims is being limited to nine
and three-quarters percent (9.75%) of the equity or voting percentage of Reorganized FCI (the “9.75
Percent Limitation”). Holders that are subject to restriction pursuant to the 9.75 Percent Limitation will
receive a mix of New Equity Interests and Special Warrants. Any distribution of New Equity Interests on
the Effective Date that would contravene the 9.75 Percent Limitation will be deemed automatically
adjusted to the minimum extent necessary to comply with this limitation.

In order to ensure Reorganized FCI’s compliance with the FCC’s foreign ownership rules, the Equity
Allocation Mechanism provides for the distribution of New Equity Interests and Special Warrants on the
Effective Date to Holders of Allowed First Lien Claims. Holders that receive Special Warrants will be
permitted to exercise their Special Warrants only in accordance with the terms of the Equity Allocation
MechanismSpecial Warrant Agreement on the Exercise Date, which is a date occurring within five (5)
business days of the satisfaction of the following conditions: (i) the FCC has issued all requisite approvals
for the transfer of control of Reorganized FCI that will result from the exercise of the Special Warrants;
(ii) for any common carrier radio station licenses held by FCS on the Exercise Date, the FCC has granted
the requisite approvals under Section 310 of the Communications Act for the transfer of control of a
wireless license that will arise from the exercise of the Special Warrants; (iii) the FCC has granted the
Declaratory Ruling allowing Reorganized FCI or its affiliates, as applicable, to exceed twenty-five percent
(25%) foreign ownership; and (iii) the State PUCs grant any requisite approvals for the change of
ownership that will arise from the exercise of the Special Warrants.

As set forth in the Equity Allocation MechanismSpecial Warrant Agreement, if the FCC adopts a
Declaratory Ruling allowing one hundred percent (100%) foreign ownership of Reorganized FCI (the
“100% Declaratory Ruling”), then, subject to having received any needed Specific Approval, all Non-
U.S. Holders that complete and deliver an Ownership Certification that is satisfactory to Reorganized FCI
will be deemed to have exercised their Special Warrants on the Exercise Date and will receive the
corresponding number of New Equity Interests; provided, however, that a Non-U.S. Holder of Special
Warrants may not hold more than five percent (5%) of the New Equity Interests until the requisite
Specific Approval has been obtained from the FCC.

If the FCC adopts a Declaratory Ruling allowing foreign ownership of Reorganized FCI between twenty-
five percent (25%) and ninety-nine and nine-tenths percent (99.9%) (the “Partial Declaratory Ruling
Percentage” and the “Partial Declaratory Ruling”), then, subject to having received any needed Specific
Approval, each Non-U.S. Holder of Special Warrants that completes and delivers an Ownership
Certification that is satisfactory to Reorganized FCI will have all or a portion of its Special Warrants
exercised and converted into New Equity Interests on the Exercise Date, according to the following
principles: (i) each such Non-U.S. Holder’s ownership of New Equity Interests will be maximized to the
extent possible taking into account such Non-U.S. Holder’s foreign equity and voting percentage and
Reorganized FCI’s aggregate foreign equity percentage upon completion of all such exercises; provided,
however, that Non-U.S. Holders of Special Warrants may not hold more than five percent (5%) of the
New Equity Interests until the requisite Specific Approval has been obtained from the FCC; (ii) each such
Non-U.S. Holder shall be entitled to receive New Equity Interests corresponding to its domestic equity
percentage and/or its domestic voting percentage, as determined by Reorganized FCI; and (iii) after taking
into account the exercise of the Special Warrants described above, the remaining Special Warrants held



                                                         96
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57          Main Document
                                                  Pg 379 of 565



by each such Non-U.S. Holder will be exercised on a pro rata basis based upon the aggregate number of
Special Warrants held by all such Non-U.S. Holders.

If the FCC does not issue a Declaratory Ruling, then Non-U.S. Holders may not elect to exercise their
Special Warrants and must either hold such Special Warrants or transfer them, except to the extent that
Reorganized FCI reasonably determines that such exercise will not cause a violation of the 22.5 Percent
Limitation, 9.75 Percent Limitation, or any other limitations on equity ownership set forth in the Special
Warrants.

 Because the proposed exercise of Special Warrants will cause Telecom Holdings to hold less than fifty
percent (50%) of the ownership of Reorganized FCI, Reorganized FCI and Telecom Holdings shall file
the requisite applications under Sections 214 and 310 of the Communications Act and any requisite State
PUC applications for consent to the transfer of control. If the exercise of the Special Warrants would
result in any holder, besides Telecom Holdings, holding ten percent (10%) or more of the New Equity
Interests, Reorganized FCI, and Telecom Holdings shall also disclose the identity or identities of such
holder(s) in the requisite applications. The FCC and applicable State PUCs must grant such applications
as a condition to such holders of a Special Warrant(s) to exercise its rights to exchange its Special
Warrant(s) for New Equity Interests.

               D. Commitment to Obtain Approvals

The Debtors have agreed to use reasonable best efforts to file all notices and obtain all consents and
approvals of any governmental entity or third party required in connection with the Reorganization
Transaction. Regulators may object to the Reorganization Transaction and/or impose conditions or
restrictions on approvals that are materially adverse to the Debtors, Reorganized Debtors, and/or Telecom
Holdings. In no event will the Debtors, Reorganized Debtors, Telecom Holdings, or any of their affiliates
be required (i) to divest or hold separate assets, including any assets acquired by the Debtors, Reorganized
Debtors, Telecom Holdings, or any of their respective affiliates in connection with the Reorganization
Transaction, or agree to limit their future activities, method or place of doing business, (ii) to commence
any litigation against any person in order to facilitate the consummation of the Reorganization
Transaction, or (iii) to defend against any litigation filed with or brought by any governmental entity
seeking to prevent the consummation of, or impose limitations on, any of the transactions contemplated by
the Reorganization Transaction.

               E. Receipt of Regulatory Approvals

The Debtors estimate that the requisite regulatory approvals to effectuate the Reorganization Transaction
pursuant to the Second Amended Plan will be obtained no later than December 30, 2019, although the
receipt of such approvals cannot be assured or guaranteed.

                               VIII.
 CERTAIN U.S. FEDERAL INCOME TAX CONSEQUENCES OF AMENDEDSECOND
                          AMENDED PLANN

The following discussion summarizes certain material U.S. federal income tax consequences of the
implementation of the Second Amended Plan to the Debtors (which, as used herein, includes the
Reorganized Debtors) and to holders of certain Claims. This discussion does not address the U.S. federal
income tax consequences to holders of Claims or equity interests who are unimpaired or deemed to reject
the Second Amended Plan (e.g., the holders of Parent Equity Interests).



                                                         97
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                                  Pg 380 of 565



The discussion of U.S. federal income tax consequences below is based on the Internal Revenue Code of
1986, as amended (the “Tax Code”), the Treasury regulations promulgated thereunder (the “Treasury
Regulations”), judicial authorities, published positions of the IRS, and other applicable authorities, all as
in effect on the date of this Disclosure Statement and all of which are subject to change or differing
interpretations (possibly with retroactive effect). The U.S. federal income tax consequences of the
contemplated transactions are complex and subject to significant uncertainties. The Debtors have not
requested an opinion of counsel or a ruling from the IRS or any other taxing authority with respect to any
of the tax aspects of the contemplated transactions, and the discussion below is not binding upon the IRS
or any court. No assurance can be given that the IRS will not assert, or that a court will not sustain, a
different position than any position discussed herein.

This summary does not address non-U.S., state, or local tax consequences of the contemplated
transactions, nor does it purport to address the U.S. federal income tax consequences of the transactions
to special classes of taxpayers (e.g., non-U.S. taxpayers, small business investment companies, regulated
investment companies, real estate investment trusts, banks and certain other financial institutions,
insurance companies, tax-exempt organizations, retirement plans, individual retirement and other tax-
deferred accounts, holders that are, or hold their Claims through, S corporations, partnerships or other
pass-through entities for U.S. federal income tax purposes, persons whose functional currency is not the
U.S. dollar, dealers in securities or foreign currency, traders that mark-to-market their securities, persons
subject to the “Medicare” tax on net investment income, persons subject to special accounting rules under
Section 451(b) of the Tax Code, and persons whose Claims are part of a straddle, hedging, constructive
sale, or conversion transaction). In addition, this discussion does not address U.S. federal taxes other
than income taxes, nor does it apply to any person that acquires any of the New Equity Interests or New
First Lien Term Loans in the secondary market, unless otherwise provided herein.

For purposes of the discussion below, all references to New Equity Interests are intended to apply equally
to the Special Warrants, which are economically equivalent to, and thus generally should be treated the
same as, the New Equity Interests for U.S. federal income tax purposes (unless otherwise indicated).

This discussion also assumes that the New Equity Interests, and the New First Lien Term Loans, and the
Second Lien Warrants will be held as “capital assets” (generally, property held for investment) within the
meaning of section 1221 of the Tax Code, and that the various debt and other arrangements to which any
of the Debtors is a party will be respected for U.S. federal income tax purposes in accordance with their
form.

The following summary of certain U.S. federal income tax consequences is for informational purposes
only and is not a substitute for careful tax planning and advice based upon the individual
circumstances of Claim holders. Holders are urged to consult their own tax advisor for the U.S.
federal, state, local, non-U.S., and other tax consequences applicable under the Second Amended
Plan.

          A.        Consequences to the Debtors.

For U.S. federal income tax purposes, Fusion Connect is a common parent of an affiliated group of
companies that files a single consolidated U.S. federal income tax return (the “Fusion Tax Group”), of
which the other Debtors are members or are disregarded entities directly or indirectly wholly-owned by a
member of the group. The Debtors estimate that, as of the Commencement Date, the Fusion Tax Group
had available net operating loss (“NOL”) carryforwards of at least approximately $150 million (which is
subject to certain existing annual and other limitations) and disallowed business interest carryforwards of
at least approximately $29 million, that may be used to offset current or future taxable income.
Technically, the Fusion Tax Group also has estimated additional NOL carryforwards of at least $500

                                                         98
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                                  Pg 381 of 565



million; however, due to existing limitations, such NOLs are effectively unusable against future taxable
income but are an available tax attribute for purposes of reduction under the cancellation of debt
(“COD”) rules, which are discussed below.

The amount of any NOL carryforwards and other tax attributes, as well as the application of any
limitations, remain subject to review and adjustment by the IRS. In addition, equity trading activity and
certain other actions prior to the Effective Date could result in an ownership change of Fusion Connect
independent of the Second Amended Plan which could adversely affect the ability to utilize the Fusion
Tax Group’s NOL carryforwards. In an attempt to minimize the likelihood of such an ownership change
occurring, at the inception of the Chapter 11 Cases the Debtors obtained an interim order from the
Bankruptcy Court authorizing certain protective equity trading and worthless stock deduction claim
procedures (ECF No. 52).

As discussed below, in connection with the implementation of the Reorganization Transaction, the
Debtors expect that the amount of the Fusion Tax Group’s NOLs, and possibly certain other tax
attributes, will be reduced. In addition, the subsequent utilization of any remaining NOLs and other tax
attributes remaining following the Effective Date may be severely restricted.

                    1.        Cancellation of Debt

In general, the Tax Code provides that a debtor in a bankruptcy case must reduce certain of its tax
attributes — such as NOL carryforwards (whether or not such NOLs can otherwise be used to offset
future taxable income) and current year NOLs, capital loss carryforwards, certain tax credits, and tax
basis in assets — by the amount of any COD incurred pursuant to a confirmed chapter 11 plan. Although
not free from doubt, it is expected that carryover of disallowed business interest expense would not be a
tax attribute subject to such reduction. In applying the attribute reduction rule to the tax basis in assets,
the tax law limits the reduction in tax basis to the amount by which the tax basis immediately following
the discharge exceeds the debtor’s post-emergence liabilities. The amount of COD incurred is generally
the amount by which the indebtedness discharged exceeds the value of any consideration given in
exchange therefor. Certain statutory or judicial exceptions may apply to limit the amount of COD
incurred for U.S. federal income tax purposes. If advantageous, the debtor can elect to reduce the basis of
depreciable property prior to any reduction in its NOL carryforwards or other tax attributes. Where the
debtor joins in the filing of a consolidated U.S. federal income tax return, applicable Treasury
Regulations require, in certain circumstances, that the tax attributes of the consolidated subsidiaries of the
debtor and other members of the group must also be reduced. Any reduction in tax attributes in respect of
COD generally does not occur until after the determination of the debtor’s net income or loss for the
taxable year in which the COD is incurred.

The Debtors expect to incur a substantial amount of COD as a result of the implementation of the Second
Amended Plan. The amount of such COD and resulting tax attribute reduction will depend primarily on
the fair market value of the New Equity Interests, the issue price (as defined below) of the New First Lien
Term Loan and the amount of any Net Cash Proceeds. Aside from any current year NOLs, the Debtors
expect that a significant portion of the required attribute reduction will reduce NOL carryforwards that
would otherwise be unusable. Accordingly, the Debtors expect that a substantial portion of the NOL
carryforwards and other tax attributes of the Fusion Tax Group currently available to offset future
taxable income will be unaffected by the required attribute reduction.

                    2.        Limitation of NOL Carryforwards and Other Tax Attributes

Following the Effective Date, any NOL carryforwards and certain other tax attributes (collectively, “Pre-
Change Losses”) may be subject to additional limitations under section 382 and 383 of the Tax Code.

                                                         99
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                                  Pg 382 of 565



Any such limitation applies in addition to, and not in lieu of, the reduction of tax attributes that results
from COD income arising in connection with the Second Amended Plan.

Under section 382 of the Tax Code, if a corporation (or consolidated group) undergoes an “ownership
change” and the corporation does not qualify for (or elects out of) the special bankruptcy exception in
section 382(l)(5) of the Tax Code discussed below, the amount of its Pre-Change Losses that may be
utilized to offset future taxable income or tax liability is subject to an annual limitation. The Debtors
anticipate that the distribution of the New Equity Interests pursuant to the Second Amended Plan will
result in an “ownership change” of the Fusion Tax Group.

In general, the amount of the annual limitation to which a corporation that undergoes an “ownership
change” will be subject is equal to the product of (a) the fair market value of the stock of the corporation
immediately before the “ownership change” (with certain adjustments) multiplied by (b) the “long-term
tax-exempt rate” in effect for the month in which the ownership change occurs (e.g., 1.891.77% for
ownership changes in SeptemberOctober 2019). As discussed below, this annual limitation potentially
may be increased in the event the corporation (or consolidated group) has an overall “built-in” gain in its
assets at the time of the ownership change. For a corporation (or consolidated group) in bankruptcy that
undergoes an ownership change pursuant to a confirmed bankruptcy plan, the fair market value of the
stock of the corporation (or the parent of the consolidated group) is generally determined immediately
after (rather than before) the ownership change, but subject to certain adjustments; in no event, however,
can the stock value for this purpose exceed the pre-change gross value of the corporation’s assets.

If the loss corporation (or consolidated group) has a net unrealized “built-in” gain at the time of an
ownership change (taking into account most assets and items of “built-in” income and deductions), any
built-in gains recognized (or, according to an IRS notice, treated as recognized) during the sixty (60)
month period following the ownership change (up to the amount of the original net unrealized built-in
gain) generally will increase the annual limitation in the year recognized, such that the loss corporation (or
consolidated group) would be permitted to use its Pre-Change Losses against such built-in gain income in
addition to its regular annual allowance. Alternatively, if a corporation (or consolidated group) has a net
unrealized built-in loss at the time of an ownership change (taking into account most assets and items of
“built-in” income and deductions), then built-in losses (including, but not limited to, amortization or
depreciation deductions attributable to such built-in losses) recognized during the sixty (60) month period
following the “ownership change” (up to the amount of the original net unrealized built-in loss) generally
will be treated as Pre-Change Losses, the deductibility of which will be subject to the annual limitation.
Although the rule applicable to net unrealized built-in losses generally applies to consolidated groups on a
consolidated basis, certain corporations that joined the consolidated group within the preceding five (5)
years may not be able to be taken into account in the group computation of net unrealized built-in loss.
Such corporations would nevertheless still be taken into account in determining whether the consolidated
group has a net unrealized built-in gain. In general, a corporation’s (or consolidated group’s) net
unrealized built-in loss will be deemed to be zero unless it is greater than the lesser of (a) $10,000,000 or
(b) fifteen percent (15%) of the fair market value of its assets (with certain adjustments) before the
ownership change. It is currently uncertain whether the Fusion Tax Group will have a net unrealized
built-in loss or a net unrealized built-in gain as of the Effective Date.

Any unused annual limitation may be carried forward and therefore available to be utilized in a
subsequent taxable year. However, if the corporation (or consolidated group) does not continue its
historic business or use a significant portion of its historic assets in a new business for at least two (2)
years after the ownership change, the regular annual limitation resulting from the ownership change is
reduced to zero, thereby precluding any utilization of the corporation’s Pre-Change Losses, absent any
increases due to recognized built-in gains. Where a corporation (or consolidated group) is subject to one



                                                         100
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                                  Pg 383 of 565



or more prior annual limitations, each annual limitation applies, effectively subjecting any Pre-Change
Losses which pre-date the prior ownership change to the more restrictive of the limitations.

Under section 382(l)(5) of the Tax Code, an exception to the foregoing annual limitation rules generally
applies where qualified creditors of a debtor corporation receive, in respect of their claims, at least fifty
percent (50%) of the vote and value of the stock of the reorganized debtor (or a controlling corporation if
also in bankruptcy) pursuant to a confirmed chapter 11 plan. The Debtors do not anticipate that such
exception will apply in the present case.

                    3.        Transfer of Assets to, and Continuing Interest in, the Litigation Trust

Pursuant to the Second Amended Plan, on the Effective Date, the Debtors will transfer the Litigation
Trust Assets (including all of the Debtors’ right, title and interest in the Litigation Causes of Action) to
the Litigation Trust, on behalf of the holders of Allowed Second Lien Claims (if applicable) and Allowed
General Unsecured Claims. In addition, the Debtors will retain an interest in the Litigation Trust Assets.
As structured, the Litigation Trust is intended to be treated as a “liquidating trust” for federal income tax
purposes, and the transfer of the Litigation Trust Assets by the Debtors to the Litigation Trust (other than
the Litigation Trust First Lien Lender Causes of Action) is intended to be treated as an exchange of an
undivided interest in such assets to holders of Allowed Second Lien Claims (if applicable) and Allowed
General Unsecured Claims in full or partial satisfaction of their Claims. See Section C, “Tax Treatment
of Litigation Trust and Holders of Litigation Trust Interests,” below. Accordingly, the transfer of assets
by the Debtors may result in the recognition of gain or income by the Debtors, depending in part on the
value of such assets on the Effective Date and the Debtors’ tax basis in such assets, and thus a current tax
liability to the Debtors, in the event or to the extent available NOL carryforwards are insufficient (due to
existing limitations) to offset such income or gain. In addition, the Debtors may have additional income
or gain over time in respect of its continued interest in the Litigation Trust Assets.

There is no assurance, however, that the IRS will not take a contrary position as to the ownership of the
Litigation Trust Assets for U.S. federal income tax purposes, due to the retained interest. For example, it
is possible that the Debtors could continue to be viewed for U.S. federal income tax purposes as owners of
the Litigation Trust Assets (other than possibly the Litigation Trust First Lien Lender Causes of Action),
with an obligation to make contingent payments to the holders of Claims that received Litigation Trust
Interests. In such event, the U.S. federal income tax treatment to the Debtors would differ from those
described, in that the Debtors could have increased income or gain over time as the underlying causes of
action are resolved (rather than recognizing any income or gain on the exchange date), potentially with
partially offsetting deductions in respect of any contingent amounts actually payable to holders of
Allowed Second Lien Claims and Allowed General Unsecured Claims. All holders of Claims are urged
to consult their tax advisors regarding the U.S. federal income tax treatment of the Litigation Trust.

          B.        Consequences to Holders of Certain Claims

This summary discusses the U.S. federal income tax consequences to holders of Allowed First Lien
Claims, Allowed Second Lien Claims, and Allowed General Unsecured Claims who are U.S. Holders and
does not discuss tax consequences for those who are not U.S. Holders. As used herein, the term “U.S.
Holder” means a beneficial owner that is, for U.S. federal income tax purposes:

          •         an individual who is a citizen or resident of the United States;




                                                         101
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57                Main Document
                                                  Pg 384 of 565



          •         a corporation, or other entity taxable as a corporation for U.S. federal income tax
                    purposes, created or organized in or under the laws of the United States, any state thereof
                    or the District of Columbia;

          •         an estate the income of which is subject to U.S. federal income taxation regardless of its
                    source; or

          •         a trust, if a court within the United States is able to exercise primary jurisdiction over its
                    administration and one or more U.S. persons have authority to control all of its
                    substantial decisions, or if the trust has a valid election in effect under applicable
                    Treasury regulations to be treated as a U.S. person.

If a partnership or other entity or arrangement taxable as a partnership for U.S. federal income tax
purposes holds First Lien Claims, Second Lien Claims, General Unsecured Claims, New First Lien Term
Loans, Second Lien Warrants, or New Equity Interests, the tax treatment of a partner in such partnership
generally will depend upon the status of the partner and the activities of the partnership. Any partner in
such a partnership holding any of such instruments should consult its own tax advisor.

The U.S. federal income tax consequences of the Second Amended Plan to a U.S. Holder of Allowed First
Lien Claims depends, in part, on whether such Claim constitutes a “security” of Fusion Connect for U.S.
federal income tax purposes – which can differ for the Revolving Loans, the Tranche A Term Loans and
the Tranche B Term Loans – and whether the New First Lien Term Loan constitutes a “security” of
Fusion Connect. Similarly, the U.S. federal income tax consequences to a U.S. Holder of an Allowed
Second Lien Claim depends, in part, on whether such Claim constitutes a “security” of Fusion Connect
for U.S. federal income tax purposes. See “—1. Consequences to Holders of First Lien Claims” and
“—2. Consequences to Holders of Second Lien Claims and General Unsecured Claims,” below.

The term “security” is not defined in the Tax Code or in the Treasury regulations and has not been clearly
defined by judicial decisions. The determination of whether a particular debt obligation constitutes a
“security” depends on an overall evaluation of the nature of the debt, including whether the holder of such
debt obligation is subject to a material level of entrepreneurial risk and whether a continuing proprietary
interest is intended or not. One of the most significant factors considered in determining whether a
particular debt obligation is a security is its original term. In general, debt obligations issued with a
weighted average maturity at issuance of less than five (5) years do not constitute securities, whereas debt
obligations with a weighted average maturity at issuance of ten (10) years or more constitute securities.
Additionally, the IRS has ruled that new debt obligations with a term of less than five (5) years issued in
exchange for and bearing the same terms (other than interest rate) as securities should also be classified as
securities for this purpose, since the new debt represents a continuation of the holder’s investment in the
corporation in substantially the same form. The Tranche A Term Loans and the Revolving Loans had a
four (4) year maturity at original issuance and the Tranche B Term Loans had a five (5) year maturity at
the time of original issuance. Such loans, however, underwent a deemed reissuance for U.S. federal
income tax purposes in mid-April 2019 as a result of certain modifications.

Although the determination of whether a new instrument issued in exchange for an original instrument
constitutes a security is generally made by looking to the terms of the new instrument, based on the IRS
ruling mentioned above, that determination may be governed by whether the original instrument
constituted a security. The Second Lien Term Loans had a five and a half (5 1/2) year maturity at original
issuance. The discussion herein takes no position as to whether any of the First Lien Claims or Second
Lien Claims constitutes a security, but does assume that the New First Lien Term Loans (which will have
a four (4) year maturity) do not constitute a security. Each holder of a First Lien Claim or / and a



                                                         102
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                                  Pg 385 of 565



Second Lien Claim is urged to consult its own tax advisor regarding the appropriate status for U.S.
federal income tax purposes of its Claim and, if applicable, the New First Lien Term Loan.

As indicated above, the Special Warrants are economically equivalent to, and generally should be treated
the same, as New Equity Interests for U.S. federal income tax purposes; thus, for purposes of the tax
discussion herein, all references to New Equity Interests are intended to apply equally to the Special
Warrants (unless otherwise indicated).

                    1.        Consequences to Holders of First Lien Claims

Pursuant to the Second Amended Plan, holders of Allowed First Lien Claims generally will receive New
Equity Interests (and/or Special Warrants) and New First Lien Term Loans in complete and final
satisfaction of their First Lien Claims. A holder of an Allowed First Lien Claim that would otherwise
receive Special Warrants may, in lieu thereof, receive an alternative distribution; the following discussion
assumes that each holder receives New Equity Interests and/or Special Warrants.

As mentioned above, the U.S. federal income tax consequences of the Second Amended Plan to a U.S.
Holder of Allowed First Lien Claims depends, in part, on whether such Claim constitutes a “security” of
Fusion Connect for U.S. federal income tax purposes – which can differ for the Revolving Loans, the
Tranche A Term Loans and the Tranche B Term Loans – and whether the New First Lien Term Loan
constitutes a “security” of Fusion Connect. If an Allowed First Lien Claim does not constitute a security,
the receipt of consideration in satisfaction of such Claim will be a fully taxable transaction. Alternatively,
if the Claim is a security of Fusion Connect, the transaction will qualify for “recapitalization” treatment
for U.S. federal income tax purposes. Each of these alternatives is discussed below.

         (a) Fully Taxable Transaction—First Lien Claim that does not constitute a Security. If an
Allowed First Lien Claim does not constitute a security, the distribution to such U.S. Holder will be a
fully taxable transaction. In such event, a U.S. Holder of an Allowed First Lien Claim should generally
recognize gain or loss in an amount equal to the difference, if any, between (i) the sum of the fair market
value of the New Equity Interests received, the amount of cash received and either (a) the issue price (as
defined below) of the New First Lien Term Loan received or (b) in the event the New First Lien Term
Loan is considered a contingent payment debt obligation (as discussed below in B.7.b. — “Ownership and
Disposition of the New First Lien Term Loan – Treatment as a Contingent Payment Debt Instrument”),
the issue price of the New First Lien Term Loan increased by the fair market value of any contingent
payments on the New First Lien Term Loan (other than any consideration received in respect of a First
Lien Claim for accrued but unpaid interest and possibly accrued original issue discount, “OID”), and (ii)
the holder’s adjusted tax basis in the Allowed First Lien Claim exchanged (other than any tax basis
attributable to accrued but unpaid interest and possibly accrued OID). See B.45 — “Character of Gain or
Loss,” below. In addition, a U.S. Holder of an Allowed First Lien Claim will have ordinary interest
income to the extent of any exchange consideration allocable to accrued but unpaid interest (or accrued
OID) not previously included in income. See B.34 — “Distributions in Discharge of Accrued Interest,”
below.

         The “issue price” of the New First Lien Term Loan for U.S. federal income tax purposes depends
on whether, at any time during the 31-day period ending 15 days after the Effective Date, the New First
Lien Term Loan or the Tranche B Term Loan (regardless whether the holder’s Claim is a Tranche B
Term Loan) is considered traded on an “established market.” Pursuant to applicable Treasury
regulations, an “established market” need not be a formal market. It is sufficient if there is a readily
available sales price for an executed purchase or sale of the New First Lien Term Loan or the Tranche B
Term Loan, or if there are one or more “firm quotes” or “indicative quotes” with respect to the New First
Lien Term Loan or for the Tranche B Term Loan, in each case as such terms are defined in applicable

                                                         103
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57          Main Document
                                                  Pg 386 of 565



Treasury Rregulations. If the New First Lien Term Loan received is considered traded on an established
market, the issue price of the New First Lien Term Loan for U.S. federal income tax purposes will equal
its fair market value as of the Effective Date. If the New First Lien Term Loan is not considered traded
on an established market but the Tranche B Term Loan is so treated, the issue price of the New First Lien
Term Loan will be based on the fair market value of the Tranche B Term Loan (with appropriate
adjustments, such as for the fair market value of the New Equity Interests and any cash received).
Alternatively, if neither the New First Lien Term Loan nor the Tranche B Term Loan is considered traded
on an established market, the issue price of the New First Lien Term Loan generally will be its stated
principal amount. If the Debtors determine that the New First Lien Term Loan or the Tranche B Term
Loan is traded on an established market, such determination and the determination of issue price will be
binding on a U.S. Holder unless such holder discloses, on a timely-filed U.S. federal income tax return for
the taxable year that includes the Effective Date that such holder’s determination is different from
Debtors’ determination, the reasons for such holder’s different determination and, if applicable, how such
holder determined the fair market value.

In the case of a taxable exchange, a U.S. Holder of an Allowed First Lien Claim will have a tax basis in
the New First Lien Term Loan received equal to its issue price and a tax basis in the New Equity Interests
received equal to their fair market value. The U.S. Holder’s holding period in such New First Lien Term
Loan and New Equity Interests received should begin on the day following the exchange date.

         (b)     Recapitalization Treatment—First Lien Claim that Constitutes a Security. If an Allowed
First Lien Claim constitutes a security for U.S. federal income tax purposes, the distribution to such U.S.
Holder will qualify for recapitalization treatment for U.S. federal income tax purposes. In such event, a
U.S. Holder of an Allowed First Lien Claim generally will not recognize loss, but will recognize gain
(computed as described above in the case of a fully taxable exchange) to the extent of any “boot” received,
i.e., any consideration other than stock or “securities” of Fusion Connect. In the present case, the boot
received would equal the sum of the amount of any cash received and the amount taken into account with
respect to the New First Lien Term Loan in determining the amount of gain or loss in a fully taxable
exchange (assuming, for purposes of the discussion herein as indicated above, that the New First Lien
Term Loan does not constitute a “security”). See B.1.a. — “Consequences to Holders of First Lien
Claims – Fully Taxable Transaction”. In addition, even within an otherwise tax-free exchange, a U.S.
Holder will have interest income to the extent of any exchange consideration allocable to accrued but
unpaid interest (or OID) not previously included in income. See B.34 — “Distributions in Discharge of
Accrued Interest,” below.

In a recapitalization exchange, a U.S. Holder’s aggregate tax basis in the New Equity Interests will equal
such holder’s aggregate adjusted tax basis in its Allowed First Lien Claim exchanged therefor, increased
by any gain or interest income recognized in the exchange and decreased by the amount of boot received
in the exchange and any deductions claimed in respect of any previously accrued but unpaid interest or
OID. The U.S. Holder’s holding period in the New Equity Interests will include its holding period in the
Allowed First Lien Claim exchanged therefor, except to the extent of any exchange consideration received
in respect of accrued but unpaid interest (and possibly OID, depending on whether the increase in a
holder’s adjusted basis for recently accrued OID retains its short-term character for holding period
purposes).

The U.S. Holder will have a tax basis in the New First Lien Term Loan received equal to the amount
taken into account as boot with respect to the New First Lien Term Loan. The holding period in the New
First Lien Term Loan received generally will begin on the day following the Effective Date.




                                                         104
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57           Main Document
                                                  Pg 387 of 565



                    2.        Consequences to Holders of Second Lien Claims and General
                              Unsecured Claims

Pursuant to the Amended Plan:

          • holders of Allowed Second Lien Claims will receive Second Lien Warrants or, alternatively, if
          the class of Second Lien Claims do not vote to accept the Amended Plan, Litigation Trust
          Interests and New Equity Interests (and/or Special Warrants), in complete and final satisfaction
          of their Second Lien Claims; and

Pursuant to the Second Amended Plan, holders of Allowed Second Lien Claims generally will receive
Special Warrants (which, as indicated above, are generally treated like New Equity Interests for U.S.
federal income tax purposes and are thus referred to as New Equity Interests in this section B) in complete
and final satisfaction of their Second Lien Claims. A holder of an Allowed Second Lien Claim that would
otherwise receive Special Warrants may, in lieu thereof, receive an alternative distribution; the following
discussion assumes that each holder of Allowed Second Lien Claims receives Special Warrants.

As mentioned above, the U.S. federal income tax consequences to a U.S. Holder of an Allowed Second
Lien Claim depends, in part, on whether such Claim constitutes a “security” of Fusion Connect for U.S.
federal income tax purposes. If an Allowed Second Lien Claim does not constitute a security, the receipt
of consideration in satisfaction of such Claim will be a fully taxable transaction. Alternatively, if the
Claim is a security of Fusion Connect, the transaction will qualify for “recapitalization” treatment for
U.S. federal income tax purposes. Each of these alternatives is discussed below.

        (a) Fully Taxable Transaction—Second Lien Claim that Does Not Constitute a Security. A
U.S. Holder of an Allowed Second Lien Claim that does not constitute a security for U.S. federal income
tax purposes should recognize gain or loss in an amount equal to the difference, if any, between (i) the fair
market value of any New Equity Interests received (other than any consideration received in respect of a
Claim for accrued but unpaid interest and possibly accrued OID) and (ii) the holder’s adjusted tax basis in
the Claim exchanged (other than any tax basis attributable to accrued but unpaid interest and possibly
accrued OID). See B.5 — “Character of Gain or Loss,” below. In addition, a U.S. Holder of an Allowed
Second Lien Claim will have ordinary interest income to the extent of any exchange consideration
allocable to accrued but unpaid interest (or accrued OID) not previously included in income. See B.4 —
“Distributions in Discharge of Accrued Interest,” below.

In the case of a taxable exchange, a U.S. Holder of Allowed Second Lien Claims will have a tax basis in
the New Equity Interests received equal to their fair market value. A U.S. Holder’s holding period in any
such New Equity Interests generally will begin the day following the exchange date.

        (b)     Recapitalization Treatment—Second Lien Claim Constitutes a Security. If an Allowed
Second Lien Claim constitutes a security for U.S. federal income tax purposes, the distribution to such
U.S. Holder will qualify for recapitalization treatment for U.S. federal income tax purposes. In such
event, a U.S. Holder of an Allowed Second Lien Claim generally will not recognize loss, and generally
will not recognize gain. Even within an otherwise tax-free exchange, a U.S. Holder will have interest
income to the extent of any exchange consideration allocable to accrued but unpaid interest (or OID) not
previously included in income. See B.4 — “Distributions in Discharge of Accrued Interest,” below.

In a recapitalization exchange, a U.S. Holder’s aggregate tax basis in the New Equity Interests generally
will equal such holder’s aggregate adjusted tax basis in its Allowed Second Lien Claim exchanged
therefor, increased by any gain or interest income recognized in the exchange and decreased by any
deductions claimed in respect of any previously accrued but unpaid interest or OID. The U.S. Holder’s

                                                         105
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57           Main Document
                                                  Pg 388 of 565



holding period in the New Equity Interests will include its holding period in the Allowed Second Lien
Claim exchanged therefor, except to the extent of any exchange consideration received in respect of
accrued but unpaid interest (and possibly OID, depending on whether the increase in a holder’s adjusted
basis for recently accrued OID retains its short-term character for holding period purposes).

                    3.        Consequences to Holders of General Unsecured Claims

•Pursuant to the Second Amended Plan, holders of Allowed General Unsecured Claims will receive
Litigation Trust Interests in complete and final satisfaction of their General Unsecured Claims.

As discussed below (see Section C, “Tax Treatment of Litigation Trust and Holders of Litigation Trust
Interests”), the Litigation Trust has been structured to qualify as a “grantor trust” for U.S. federal income
tax purposes. Accordingly, each holder of an Allowed General Unsecured Claim receiving a Litigation
Trust Interest is intended to be treated for U.S. federal income tax purposes as directly receiving, and as a
direct owner of, an undivided interest in the Litigation Trust Assets (consistent with its economic rights in
the trust). Accordingly, the following discussion assumes such treatment. However, due to the Debtors’
retained interest in the Litigation Trust Assets (other than the Litigation Trust First Lien Lender Causes of
Action), it is possible that the Debtors could continue to be viewed for U.S. federal income tax purposes
as the owners of such assets, with an obligation to make contingent payments to the Litigation Trust.
Each holder of a Second Lien Claim and General Unsecured Claim is urged to consult its tax advisor
regarding the U.S. federal income tax treatment of the Litigation Trust. Pursuant to the Second Amended
Plan, the Litigation Trust Oversight Committee will determine the fair market value of the non-cash assets
transferred to the Liquidating Trust, and all parties to the Liquidating Trust (including holders of Allowed
General Unsecured Claims receiving Liquidating Trust Interests) must consistently use such valuation for
all U.S. federal income tax purposes.

After the Effective Date, a holder’s share of any recoveries received on the assets of the Litigation Trust
(other than as a result of the subsequent disallowance of Disputed Claims) should not be included, for
federal income tax purposes, in the holder’s amount realized in respect of its Allowed Claim but should be
separately treated as amounts realized in respect of such holder's ownership interest in the underlying
assets of the Liquidating Trust.

As mentioned above, the U.S. federal income tax consequences to a U.S. Holder of an Allowed Second
Lien Claim depends, in part, on whether such Claim constitutes a “security” of Fusion Connect for U.S.
federal income tax purposes. If an Allowed Second Lien Claim does not constitute a security, the receipt
of consideration in satisfaction of such Claim will be a fully taxable transaction. Alternatively, if the
Claim is a security of Fusion Connect, the transaction will qualify for “recapitalization” treatment for
U.S. federal income tax purposes. Each of these alternatives is discussed below.

In addition, the U.S. federal income tax consequences to U.S. Holders of an Allowed General Unsecured
Claim and, if receiving Litigation Trust Interests, Allowed Second Lien Claims depends, in part, on the
treatment of such holders’ receipt of an undivided interest in the Litigation Trust First Lien Lender Causes
of Action. Pursuant to the Amended Plan, holders of Allowed First Lien Claims will transfer such causes
of actions to the Litigation Trust. It is possible that the fair market value of the undivided interest
received in suchthe Litigation Trust First Lien Lender cCauses of aAction may be treated as ordinary
income to U.S. Holders of Allowed General Unsecured Claims and, if receiving Litigation Trust Interests,
Allowed Second Lien Claims as some form of payment to accept or not to object to the Second Amended
Plan, rather than as additional consideration in respect of their Claim for purposes of determining gain or
loss. The following discussion assumes such amounts are treated as additional consideration in respect of
their Claims, but each holder should consult its own tax advisor.



                                                         106
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                                  Pg 389 of 565



        (a) Fully Taxable Transaction—Second Lien Claim that Does Not Constitute a Security and
General Unsecured Claims. A U.S. Holder of an Allowed Second Lien Claim that does not constitute a
security for U.S. federal income tax purposes andAccordingly, a U.S. Holder of an Allowed General
Unsecured Claim generally should recognize gain or loss in an amount equal to the difference, if any,
between (i) the sum of the fair market value of any Second Lien Warrants or New Equity Interests
received and, with respect to any Litigation Trust Interests received, the amount of any cash and the fair
market value of the undivided interest in the Litigation Trust Causes of Action deemed received by the
holder for U.S. federal income tax purposes (other than any consideration received in respect of a Claim
for accrued but unpaid interest and possibly accrued OID), and (ii) the holder’s adjusted tax basis in the
Claim exchanged (other than any tax basis attributable to accrued but unpaid interest and possibly
accrued OID). See B.45 — “Character of Gain or Loss,” below. In addition, a U.S. Holder of an
Allowed General Unsecured Claim will have ordinary interest income to the extent of any exchange
consideration allocable to accrued but unpaid interest (or accrued OID) not previously included in income.
See B.34 — “Distributions in Discharge of Accrued Interest,” below.

After the Effective Date, a holder’s share of any recoveries received on the assets of the Litigation Trust
(other than as a result of the subsequent disallowance of Disputed Claims) should not be included, for
federal income tax purposes, in the holder’s amount realized in respect of its Allowed General Unsecured
Claim but should be separately treated as amounts realized in respect of such holder's ownership interest
in the underlying assets of the Liquidating Trust.

In the event of the subsequent disallowance of any Disputed General Unsecured Claim, it is possible that a
holder of a previously Allowed Second Lien Claim (if also receiving Litigation Trust Interests) and a
holder of a previously Allowed General Unsecured Claim may receive additional distributions in respect
of its Claim. Accordingly, it is possible that the recognition of any loss realized by a holder with respect
to an Allowed Second Lien Claim or Allowed General Unsecured Claim may be deferred until all General
Unsecured Claims are Allowed or Disallowed. Alternatively, it is possible that a holder will have
additional gain in respect of any additional distributions received due to the disallowance of a Disputed
General Unsecured Claim. See also Section C, “Tax Treatment of Litigation Trust and Holders of
Litigation Trust Interests,” below.

In the case of a taxable exchange, a A U.S. Holder of Allowed Second LienGeneral Unsecured Claims
will have a tax basis in the New Second Lien Warrants or New Equity Interests received equal to their fair
market value. A U.S. holder’san aggregate tax basis in its undivided interest in the Litigation Trust
Assets will equal to the fair market value of such interest increased by its share of the Debtors’ liabilities
to which such assets remain subject upon transfer to the Litigation Trust. A U.S. Holder’s holding period
in any such Second Lien Warrants, New Equity Interests and Litigation Trust Assets generally will begin
the day following the exchange date.

         (b)    Recapitalization Treatment—Second Lien Claim Constitutes a Security. If an Allowed
Second Lien Claim constitutes a security for U.S. federal income tax purposes, the distribution to such
U.S. Holder will qualify for recapitalization treatment for U.S. federal income tax purposes. In such
event, a U.S. Holder of an Allowed Second Lien Claim generally will not recognize loss, but will
recognize gain (computed as described above in the case of a fully taxable exchange) to the extent of any
“boot” received, i.e., the amount of cash and the fair market value of its undivided interest in the
Litigation Trust Causes of Action deemed received. In addition, even within an otherwise tax-free
exchange, a U.S. Holder will have interest income to the extent of any exchange consideration allocable to
accrued but unpaid interest (or OID) not previously included in income. See B.3 — “Distributions in
Discharge of Accrued Interest,” below.




                                                         107
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                                  Pg 390 of 565



In the event of the subsequent disallowance of any Disputed General Unsecured Claim, it is possible that a
holder of a previously Allowed Second Lien Claim (if also receiving Litigation Trust Interests) and a
holder of a previously Allowed General Unsecured Claim may receive additional distributions in respect
of its Claim. Accordingly, it is possible that a holder will have additional gain in respect of any
additional distributions received due to the disallowance of a Disputed General Unsecured Claim. See
also Section C, “Tax Treatment of Litigation Trust and Holders of Litigation Trust Interests,” below.

In a recapitalization exchange, a U.S. Holder’s aggregate tax basis in the Second Lien Warrants or New
Equity Interests will equal such holder’s aggregate adjusted tax basis in its Allowed Second Lien Claim
exchanged therefor, increased by any gain or interest income recognized in the exchange and decreased by
the amount of boot received in the exchange and any deductions claimed in respect of any previously
accrued but unpaid interest or OID. The U.S. Holder’s holding period in the Second Lien Warrants or
New Equity Interests will include its holding period in the Allowed Second Lien Claim exchanged
therefor, except to the extent of any exchange consideration received in respect of accrued but unpaid
interest (and possibly OID, depending on whether the increase in a holder’s adjusted basis for recently
accrued OID retains its short-term character for holding period purposes).

A U.S. Holder’s aggregate tax basis in its undivided interest in the Liquidating Trust Assets, if received,
will equal the fair market value of such interest increased by its share of the Debtors’ liabilities to which
such assets remain subject upon transfer to the Liquidating Trust, and a holder’s holding period generally
will begin the day following the exchange date.

                    4.        3. Distributions in Discharge of Accrued Interest

In general, to the extent that any exchange consideration received pursuant to the Second Amended Plan
by a U.S. Holder of an Allowed First Lien Claim, Second Lien Claim or General Unsecured Claim
(whether stock, notes or cash) is received in satisfaction of interest accrued during its holding period, such
amount will be taxable to the holder as interest income (if not previously included in the holder’s gross
income). Conversely, a U.S. Holder may be entitled to recognize a deductible loss to the extent any
accrued interest or amortized OID was previously included in its gross income and is not paid in full.
However, the IRS has privately ruled that a holder of a “security” of a corporate issuer, in an otherwise
tax-free exchange, could not claim a current deduction with respect to any unpaid OID. Accordingly, it is
also unclear whether, by analogy, a U.S. Holder of an Allowed First Lien Claim or an Allowed Second
Lien Claim that does not constitute a “security” would be required to recognize a capital loss, rather than
an ordinary loss, with respect to previously included OID that is not paid in full.

The Second Amended Plan provides that, except as otherwise required by law (as reasonably determined
by the Debtors), consideration received in respect of an Allowed Claim is allocable first to the principal
amount of the Allowed Claim (as determined for U.S. federal income tax purposes) and then, to the extent
of any excess, to the remaining portion of the Allowed Claim. See Section 6.17 of the Second Amended
Plan. There is no assurance that the IRS will respect such allocation for U.S. federal income tax
purposes. Holders of Allowed Claims are urged to consult their own tax advisor regarding the
allocation of consideration received under the Second Amended Plan, as well as the deductibility of
accrued but unpaid interest (including OID) and the character of any loss claimed with respect to
accrued but unpaid interest (including OID) previously included in gross income for U.S. federal income
tax purposes.

                    5.        4. Character of Gain or Loss

Where gain or loss is recognized by a U.S. Holder, the character of such gain or loss as long-term or
short-term capital gain or loss or as ordinary income or loss will be determined by a number of factors,

                                                         108
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57             Main Document
                                                  Pg 391 of 565



including the tax status of the holder, whether the Claim constitutes a capital asset in the hands of the
holder and how long it has been held, whether the Claim was acquired at a market discount, and whether
and to what extent the holder previously claimed a bad debt deduction.

A U.S. Holder that purchased its Claims from a prior holder at a “market discount” (relative to the
principal amount of the Claims at the time of acquisition) may be subject to the market discount rules of
the Tax Code. In general, a debt instrument is considered to have been acquired with “market discount” if
the U.S. Holder’s adjusted tax basis in the debt instrument is less than (i) its stated principal amount or
(ii) in the case of a debt instrument issued with OID, its adjusted issue price, in each case, by at least a de
minimis amount. Under these rules, any gain recognized on the exchange of Claims (other than in respect
of a Claim for accrued but unpaid interest) generally will be treated as ordinary income to the extent of
the market discount accrued (on a straight line basis or, at the election of the holder, on a constant yield
basis) during the U.S. Holder’s period of ownership, unless the holder elected to include the market
discount in income as it accrued. If a U.S. Holder of a Claim did not elect to include market discount in
income as it accrued and, thus, under the market discount rules, was required to defer all or a portion of
any deductions for interest on debt incurred or maintained to purchase or carry its Claim, such deferred
amounts would become deductible at the time of the exchange but, if the exchange qualifies for
recapitalization treatment, only up to the amount of gain that the holder recognizes in the exchange.

In the case of an exchange of an Allowed First Lien Claim or Allowed Second Lien Claim that qualifies
for recapitalization treatment, the Tax Code indicates that any accrued market discount in respect of the
Claim should not be currently includible in income under Treasury Regulations to be issued. Any accrued
market discount that is not included in income should carry over to any nonrecognition property received
in exchange therefor, i.e., to the New Equity Interests or Second Lien Warrants received. Any gain
recognized by a U.S. Holder upon a subsequent disposition of such New Equity Interests or Second Lien
Warrants (or disposition of any New Equity Interests received upon exercise of the Second Lien
Warrants) should then be treated as ordinary income to the extent of any accrued market discount not
previously included in income. To date, specific Treasury Regulations implementing this rule have not
been issued.

                    5. Ownership and Disposition of Second Lien Warrants; Constructive
                         Distributions to Holders of New Equity Interests

A U.S. Holder of a Second Lien Warrant generally will not recognize gain or loss upon the exercise of
such warrant. A U.S. Holder’s tax basis in the New Equity Interests received upon exercise of a Second
Lien Warrant will be equal to the sum of the holder’s tax basis in the Second Lien Warrant and the
exercise price. The holder will commence a new holding period with respect to the New Equity Interests
received.

If the terms of the Second Lien Warrant provide for any adjustment to the number of shares of New
Equity Interests for which the Second Lien New Warrant may be exercised or to the exercise price of the
Second Lien Warrants, such adjustment may, under certain circumstances, result in constructive
distributions that could be taxable to the holder of the Second Lien Warrants. Conversely, the absence of
an appropriate adjustment may result in a constructive distribution that could be taxable to the holders of
the New Equity Interests.

Upon the lapse or disposition of a Second Lien Warrant, the U.S. Holder generally would recognize gain
or loss equal to the difference between the amount received (zero in the case of a lapse) and its tax basis in
the warrant. In general, such gain or loss would be a capital gain or loss, long-term or short-term,
depending on whether the requisite holding period was satisfied.


                                                         109
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57              Main Document
                                                  Pg 392 of 565



                    6.        Disposition of New Equity Interests

Unless a nonrecognition provision applies and subject to the discussion in the preceding section with
respect to market discount and the discussion below, U.S. Holders generally will recognize capital gain or
loss upon the sale or exchange of the New Equity Interests in an amount equal to the difference between
(i) the holder’s adjusted tax basis in the New Equity Interests held and (ii) the sum of the cash and the fair
market value of any property received from such disposition. Any such gain or loss generally should be
long-term capital gain or loss if the U.S. Holder’s holding period for its New Equity Interests is more than
one year at that time. A reduced tax rate on long-term capital gain may apply to non-corporate U.S.
Holders. The deductibility of capital loss is subject to significant limitations.

In general, any gain recognized by a U.S. Holder upon a disposition of the New Equity Interests (or any
stock or property received for such interests in a later tax-free exchange) received in exchange for an
Allowed First Lien Claim or an Allowed Second Lien Claim will be treated as ordinary income for U.S.
federal income tax purposes to the extent of (i) any ordinary loss deductions previously claimed as a result
of the write-down of the Claim, decreased by any income (other than interest income) recognized by the
holder upon exchange of the Claim, and (ii) with respect to a cash-basis holder and in addition to clause
(i) above, any amounts which would have been included in its gross income if the holder’s Claim had been
satisfied in full but which was not included by reason of the cash method of accounting.

                    7.        Ownership and Disposition of the New First Lien Term Loan

Based on the preliminary terms of the New First Lien Term Loan that mandate its repayment, in whole or
in part, upon the occurrence of certain contingencies (including excess cash flow), it is possible that, the
New First Lien Term Loan may be treated as a “contingent payment debt instrument” under the applicable
Treasury Regulations (unless such contingencies would be treated as “remote” thereunder). The terms of
the New First Lien Term Loan remain under negotiation and thus are subject to change. Ultimately, the
Debtors’ determination of whether the New First Lien Term Loan is a contingent payment debt instrument
will be made based on the facts and circumstances as of the Effective Date. However, the Debtors’
treatment of the New First Lien Term Loan is not binding on the IRS. Accordingly, holders are urged to
consult their tax advisors regarding the application of the contingent payment debt regulations to the
New First Lien Term Loan.

         The taxation of contingent payment debt instruments is complex. In general, the rules applicable
to such instruments could require a U.S. Holder to accrue ordinary income at a higher rate than the stated
interest rate and the rate that would otherwise be imputed under the OID rules, and to treat as ordinary
income (rather than capital gain) any gain recognized on the taxable disposition of the New First Lien
Term Loan.

         (a)     Not Treated as a Contingent Payment Debt Instrument. If the New First Lien Term
Loan is not treated as a contingent payment debt instrument, it will be subject to the OID provisions of the
Tax Code. The amount of OID will be equal to the excess of the “stated redemption price at maturity” of
such loan over its “issue price” (as defined above, see B.1.a. — Consequences to Holders of First Lien
Claims – Fully Taxable Transaction”). For this purpose, the general rule is that the stated redemption
price at maturity of a debt instrument is the sum of all payments provided by the debt instrument other
than payments of “qualified stated interest”. Stated interest is “qualified stated interest” if it is payable in
cash at least annually. All of the stated interest on the New First Lien Term Loan is payable in cash at a
constant rate, and so all the interest is expected to be treated as qualified stated interest. Such portion will
be includible in the U.S. Holder’s income in accordance with the holder’s regular method of accounting
for U.S. federal income tax purposes. Accordingly, the New First Lien Term Loan will be considered to


                                                         110
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                                  Pg 393 of 565



be issued with OID for U.S. federal income tax purposes only if the principal amount of the New First
Lien Term Loan exceeds the issue price by at least a de minimis amount.

A U.S. Holder will be required to include any OID in income for U.S. federal income tax purposes as it
accrues, regardless of its regular method of accounting, in accordance with a constant-yield method,
before the receipt of cash payments attributable to this income. Under this method, a U.S. Holder
generally will be required to include in income increasingly greater amounts of OID in successive accrual
periods.

Upon the sale or other taxable disposition of a New First Lien Term Loan, a U.S. Holder will recognize
taxable gain or loss equal to the difference between the amount realized on the sale or other taxable
disposition and its adjusted tax basis in the New First Lien Term Loan. A U.S. Holder’s adjusted tax
basis in a New First Lien Term Loan generally will equal its initial tax basis in the New First Lien Term
Loan, increased by any OID previously included in income with respect to the New First Lien Term Loan
and decreased by payments on the New First Lien Term Loan other than payments of qualified stated
interest. For these purposes, the amount realized does not include any amount attributable to accrued
interest, which will be taxable as interest if not previously included in income. Gain or loss recognized on
the sale or other taxable disposition of a New First Lien Term Loan will generally be capital gain or loss
and will be long-term capital gain or loss if, at the time of sale or other taxable disposition, the New First
Lien Term Loan is treated as held for more than one (1) year.

         (b)     Treatment as a Contingent Payment Debt Instrument. If the New First Lien Term Loan
is treated as a contingent payment debt instrument, the Debtors must construct a “projected payment
schedule.” U.S. Holders of contingent payment debt instruments generally must recognize all interest
income with respect to such loans (including stated interest) on a constant yield basis (regardless of their
method of accounting) at a rate determined based on the “issue price” and the projected payment schedule
for such loans, subject to certain adjustments if actual contingent payments differ from those projected. In
the present case, the projected payment schedule generally will be determined by including each
noncontingent payment and the “expected value” as of the issue date of each projected contingent payment
of principal and interest on the contingent payment debt instrument, adjusted as necessary so that the
projected payments discounted at the “comparable yield” (which is the greater of the yield at which the
Debtors would issue a fixed-rate debt instrument with terms and conditions similar to those of the
contingent payment debt instrument, as applicable, or the applicable federal rate) equals the issue price for
such debt.

The amount of interest that is treated as accruing during an accrual period on a contingent payment debt
instrument is the product of the “comparable yield” and debt’s adjusted issue price at the beginning of
such accrual period. The “adjusted issue price” of a contingent payment debt instrument is the issue price
of such debt increased by interest previously accrued on such instrument (determined without adjustments
for differences between the projected payments and the actual payments on such debt), and decreased by
the amount of any noncontingent payments and the projected amount of any contingent payments
previously made on such debt.

Except for adjustments made for differences between actual and projected payments, the amount of
interest included in income by a U.S. Holder of a contingent payment debt instrument is the portion that
accrues while such holder holds such instrument (with the amount attributable to each accrual period
allocated ratably to each day in such period). If actual payments differ from projected payments, then the
U.S. Holder generally would be required in any given taxable year either to include additional interest in
gross income (i.e., where the actual payments exceed projected payments in such taxable year) or to
reduce the amount of interest income otherwise accounted for on the contingent payment debt instrument
(i.e., where the actual payments are less than the projected payments in such taxable year), as applicable.

                                                         111
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57           Main Document
                                                  Pg 394 of 565



If the negative adjustment exceeds the interest for the taxable year that otherwise would have been
accounted for on the contingent payment debt instrument, the excess would be treated as ordinary loss.
However, the amount treated as an ordinary loss in any taxable year is limited to the amount by which the
U.S. Holder’s total interest inclusions on such contingent payment debt instrument exceed the total
amount of the net negative adjustments the U.S. Holder treated as ordinary loss on such contingent
payment debt instrument in prior taxable years. Any remaining excess would be a negative adjustment
carryforward and may be used to offset interest income in succeeding years. If a contingent term loan is
sold, exchanged or retired, any negative adjustment carryforward from the prior year would reduce the
U.S. Holder’s amount realized on the sale, exchange or retirement.

The yield, timing and amounts set forth on the projected payment schedules are for U.S. federal income
tax purposes only and are not assurances by the Debtors with respect to any aspect of the contingent
payment debt instrument. After issuance, any holder of a contingent payment debt instrument may obtain
the comparable yield, the projected payment schedule, the issue price, the amount of OID, and the issue
date for the contingent payment debt instrument by writing to the Debtors. For U.S. federal income tax
purposes, a U.S. Holder generally must use the Debtors’ comparable yield and projected payment
schedule for a contingent payment debt instrument in determining the amount and accrual of OID on such
loan unless such schedule is unreasonable and the U.S. Holder explicitly discloses in accordance with the
contingent payment debt regulations its differing position and why the Debtors’ schedule is unreasonable.
The IRS generally is bound by the Debtors’ comparable yield and projected payment schedule unless
either is unreasonable.

Upon a disposition of the New First Lien Term Loans and unless a non-recognition provision applies, a
U.S. Holder generally will recognize gain or loss upon the sale, redemption (including at maturity) or
other taxable disposition of a contingent payment debt instrument equal to the difference, if any, between
such holder’s adjusted tax basis in such debt and the amount realized on the sale, redemption or other
disposition (with any negative adjustment carryforward from the prior year reducing such holder’s amount
realized). Any gain recognized on the sale, redemption or other taxable disposition of a contingent
payment debt instrument generally will be ordinary interest income, and any loss will be an ordinary loss
to the extent a U.S. Holder’s total interest inclusions on such debt exceed the total amount of ordinary loss
such holder took into account through the date of the disposition with respect to differences between
actual payments and projected payments (and any additional loss generally will be a capital loss).

For purposes of computing gain or loss, a U.S. Holder’s adjusted tax basis in a contingent payment debt
instrument generally will equal the holder’s initial tax basis in such debt, increased by the amount of any
interest previously accrued on such debt (determined without adjustments for differences between the
projected payment schedule and the actual payments on such debt) up through the date of the sale,
redemption or taxable disposition, and decreased by the amount of any noncontingent payments and the
projected amount of any contingent payments previously made on such debt.

Each holder of a New First Lien Term Loan is urged to consult its tax advisor regarding the application
of the OID rules, including the contingent payment debt rules, to the New First Lien Term Loan.

                    8.        Recent legislation

Pursuant to recent legislation, for taxable years beginning after December 31, 2017 (and for taxable years
beginning after 2018 in the case of OID), an accrual method taxpayer that reports revenues on an
applicable financial statement generally must recognize income for U.S. federal income tax purposes no
later than the taxable year in which such income is taken into account as revenue in the applicable
financial statement. It is unclear how this rule applies to U.S. Holders of debt instruments issued with
OID or contingent payment debt instruments. Accordingly, this rule could potentially require such a

                                                         112
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57              Main Document
                                                  Pg 395 of 565



taxpayer to recognize income for U.S. federal income tax purposes with respect to the New First Lien
Term Loan prior to the time such income would otherwise have been recognized. Each holder is urged to
consult its tax advisor regarding the possible application of the recent legislation to the New First Lien
Term Loan.

          C.        Tax Treatment of Litigation Trust and Holders of Litigation Trust Interests

                    1.        Classification of a Liquidating Trust

The Litigation Trust is intended to qualify as a “liquidating trust” for U.S. federal income tax purposes.
In general, a liquidating trust is not a separate taxable entity but rather is treated for U.S. federal income
tax purposes as a “grantor” trust (i.e., a pass-through entity). The IRS, in Revenue Procedure 94-45,
1994-2 C.B. 684, set forth the general criteria for obtaining an IRS ruling as to the grantor trust status of
a liquidating trust under a chapter 11 plan. The Litigation Trust will be structured with the intention of
complying with such general criteria. In conformity with Revenue Procedure 94-45, all parties (including,
without limitation, the Debtors, the trustee of the Litigation Trust and holders of Allowed Claims that
receive a beneficial interest in the Litigation Trust) are required pursuant to the Second Amended Plan to
treat the transfer of assets to the Litigation Trust, except to the extent the Debtors retain an interest in the
Litigation Trust, as (1) a transfer of the assets (subject to any obligations relating to those assets) directly
to the holders of Allowed Claims that receive Litigation Trust Interests (other than to the extent any assets
are allocable to Disputed Claims), followed by (2) the transfer of the assets by such holders to the
Litigation Trust in exchange for Litigation Trust Interests. Accordingly, except in the event of contrary
definitive guidance, holders of Litigation Trust Interests will be treated, and required to report, for U.S.
federal income tax purposes as the grantors and direct owners of an undivided interest in their respective
share of the underlying assets of the Litigation Trust (other than such assets as are allocable to Disputed
Claims).

Although the following discussion assumes that the Litigation Trust will be respected as a liquidating trust
for U.S. federal income tax purposes, no ruling is currently contemplated from the IRS concerning the tax
status of the Litigation Trust as a grantor trust.      If the IRS were to successfully challenge such
classification, the U.S. federal income tax consequences to the trust and to U.S. Holders of Allowed
Claims receiving Litigation Trust Interests could vary from those discussed herein. Each holder of a
General Unsecured Claim and Second Lien Claim is urged to consult its own tax advisor regarding the
receipt and ownership of a Litigation Trust Interest.

                    2.        General Tax Reporting of a Liquidating Trust and Holders of
                              Liquidating Trust Interests

All parties will be required to treat the Litigation Trust as a grantor trust for all applicable U.S. federal
income tax purposes of which holders of Allowed Claims who receive Litigation Trust Interests are the
owners and grantors. The trustee of the Litigation Trust will file tax returns treating the Litigation Trust
as a grantor trust pursuant to section 1.671-4(a) of the Treasury Regulations. The trustee also will
annually provide to each holder a separate statement regarding the receipts and expenditures of the
Litigation Trust as relevant for U.S. federal income tax purposes.

Accordingly, each holder of a Litigation Trust Interest will be treated for U.S. federal income tax
purposes as the direct owner of an undivided interest in the underlying assets of the Litigation Trust (other
than any assets allocable to Disputed Claims), consistent with its economic interests therein. As discussed
above, however, there is a risk that the Litigation Trust may be treated as owning a right to contingent
payments from the Debtors, rather than having actual ownership of the Litigation Trust Assets (other than


                                                         113
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57             Main Document
                                                  Pg 396 of 565



the Litigation Trust First Lien Lender Causes of Action). See Section B.23, “Consequences to Holders of
Certain Claims – Consequences to Holders of Second Lien Claims and General Unsecured Claims,”
above.

All taxable income and loss of the Litigation Trust will be allocated among, and treated as directly earned
and incurred by, the holders of Litigation Trust Interests with respect to such holder’s interest in the assets
of the Litigation Trust (and not as income or loss with respect to its prior Claims), with the possible
exception of any taxable income and loss allocable to any assets allocable to, or retained on account of,
Disputed Claims. The character of any income and the character and ability to use any loss would depend
on the particular situation of the holder.

All parties will be required to report for U.S. federal income tax purposes consistent with the valuation of
the assets (and the amount of cash assets) transferred to the Litigation Trust as determined by the
Litigation Trust Oversight Committee (or its designee). The valuation will be made available, from time
to time, as relevant for tax reporting purposes.

The U.S. federal income tax obligations of a holder of Litigation Trust Interests will not be dependent on
the Litigation Trust distributing any cash or other proceeds. Thus, a holder may incur a U.S. federal
income tax liability with respect to its allocable share of Litigation Trust income even if the Litigation
Trust does not make a concurrent distribution to the holder. In general, other than in respect of cash
retained on account of Disputed Claims, a distribution of cash by the Litigation Trust will not be
separately taxable to a holder of Litigation Trust Interests since the holder will already be regarded for
U.S. federal income tax purposes as owning the underlying assets (and will have been taxed at the time
the cash was earned or received by the Litigation Trust). Holders of Allowed Claims are urged to consult
their tax advisors regarding the appropriate U.S. federal income tax treatment of any subsequent
distributions of cash originally retained by the Litigation Trust on account of Disputed Claims. See also
“—3. Tax Reporting for Assets Allocable to Disputed General Unsecured Claims,” below.

The trustee of the Litigation Trust will comply with all applicable governmental withholding requirements
(see section 6.19 of the Second Amended Plan).

                    3.        Tax Reporting for Assets Allocable to Disputed General Unsecured
                              Claims

Subject to definitive guidance from the IRS or a court of competent jurisdiction to the contrary (including
the receipt by the Litigation Trust Oversight Committee of an IRS private letter ruling if the Litigation
Trust Oversight Committee so requests, or the receipt of an adverse determination by the IRS upon audit
if not contested by the Litigation Trust Oversight Committee), the Litigation Trust Oversight Committee,
with the consent of the Requisite First Lien Lenders, which consent shall not be unreasonably withheld,
(A) may elect to treat any Litigation Trust Assets allocable to, or retained on account of, Disputed
General Unsecured Claims (herein referred to loosely as a reserve) as a “disputed ownership fund”
governed by section 1.468B-9 of the Treasury Regulations, if applicable, and (B) to the extent permitted
by applicable law, will report consistently for state and local income tax purposes.

Accordingly, if a “disputed ownership fund” election is made with respect to a Litigation Trust Assets
allocable to, or retained on account of, Disputed General Unsecured Claims, such reserve will be subject
to tax annually on a separate entity basis on any net income earned with respect to the Litigation Trust
Assets (including any gain recognized upon the disposition of such assets). All distributions from such
reserve (which distributions may be net of any expenses, including taxes, relating to the retention or
disposition of such assets) will be treated as received by holders in respect of their Claims as if distributed
by the Debtors. All parties (including, without limitation, the Debtors, the Litigation Trust and the

                                                         114
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57              Main Document
                                                  Pg 397 of 565



holders of Litigation Trust Interests) will be required to report for tax purposes consistently with the
foregoing.

The reserve will be responsible for payment, out of the assets of the reserve, of any taxes imposed on the
reserve or its assets. In the event, and to the extent, any cash of the reserve is insufficient to pay the
portion of any such taxes attributable to the taxable income arising from the assets of the reserve
(including any income that may arise upon the distribution of the assets in such reserve), assets of the
reserve may be sold to pay such taxes.

          D.        Information Reporting and Withholding

Payments of interest (including accruals of OID) or dividends and any other reportable payments, possibly
including amounts received pursuant to the Second Amended Plan and payments of proceeds from the
sale, retirement or other disposition of the exchange consideration, may be subject to “backup
withholding” (currently at a rate of 24%) if a recipient of those payments fails to furnish to the payor
certain identifying information and, in some cases, a certification that the recipient is not subject to
backup withholding. Backup withholding is not an additional tax. Any amounts deducted and withheld
generally should be allowed as a credit against that recipient’s U.S. federal income tax, provided that
appropriate proof is timely provided under rules established by the IRS. Furthermore, certain penalties
may be imposed by the IRS on a recipient of payments who is required to supply information but who
does not do so in the proper manner. Backup withholding generally should not apply with respect to
payments made to certain exempt recipients, such as corporations and financial institutions. Information
may also be required to be provided to the IRS concerning payments, unless an exemption applies. A
holder of a Claim is urged to consult its own tax advisor regarding its qualification for exemption from
backup withholding and information reporting and the procedures for obtaining such an exemption.

As indicated above, the foregoing discussion of the U.S. federal income tax consequences of the Second
Amended Plan does not generally address the consequences to non-U.S. holders; accordingly, such
holders should consult their tax advisors with respect to the U.S. federal income tax consequences of the
Second Amended Plan, including owning Litigation Trust Interests.

The foregoing summary has been provided for informational purposes only and does not discuss all
aspects of U.S. federal income taxation that may be relevant to a particular holder of a Claim. All
holders of Claims are urged to consult their tax advisors concerning the federal, state, local, non-U.S.,
and other tax consequences applicable under the Second Amended Plan.

                                            IX.
                           CERTAIN RISK FACTORS TO BE CONSIDERED

Prior to voting to accept or reject the Second Amended Plan, holders of Claims and Interests should read
and carefully consider the risk factors set forth below, in addition to the other information set forth in this
Disclosure Statement including any attachments, exhibits, or documents incorporated by reference.

THIS SECTION PROVIDES INFORMATION REGARDING POTENTIAL RISKS IN CONNECTION
WITH THE AMENDED PLANSECOND AMENDED PLAN. THE FACTORS BELOW SHOULD
NOT BE REGARDED AS THE ONLY RISKS ASSOCIATED WITH THE AMENDED
PLANSECOND AMENDED PLAN OR ITS IMPLEMENTATION. ADDITIONAL RISK FACTORS
IDENTIFIED IN THE COMPANY’S PUBLIC FILINGS WITH THE SEC MAY ALSO BE
APPLICABLE TO THE MATTERS SET OUT HEREIN AND SHOULD BE REVIEWED AND
CONSIDERED IN CONJUNCTION WITH THIS DISCLOSURE STATEMENT, TO THE EXTENT
APPLICABLE. THE RISK FACTORS SET FORTH IN FUSION CONNECT’S ANNUAL REPORT

                                                         115
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57         Main Document
                                                  Pg 398 of 565



ON FORM 10-K FOR THE FISCAL YEAR ENDED DECEMBER 31, 2017 FILED WITH THE SEC
ON MARCH 22, 2018, AS UPDATED BY THE QUARTERLY REPORT ON FORM 10-Q FOR THE
QUARTER ENDED MARCH 31, 2018 FILED WITH THE SEC ON MAY 6, 2018, THE
QUARTERLY REPORT ON FORM 10-Q FOR THE QUARTER ENDED JUNE 30, 2018 FILED
WITH THE SEC ON AUGUST 14, 2018, AND THE QUARTERLY REPORT ON FORM 10-Q FOR
THE QUARTER ENDED SEPTEMBER 30, 2018 FILED WITH THE SEC ON NOVEMBER 3, 2018
ARE HEREBY INCORPORATED BY REFERENCE. ANY CURRENT REPORTS ON FORM 8-K
(OTHER THAN INFORMATION FURNISHED PURSUANT TO ITEMS 2.02 OR 7.01 AND ANY
RELATED EXHIBITS OF ANY FORM 8-K, UNLESS EXPRESSLY STATED OTHERWISE
THEREIN), QUARTERLY REPORTS ON FORM 10-Q OR ANNUAL REPORTS ON FORM 10-K
FILED BY FUSION CONNECT WITH THE SEC AFTER THE DATE OF THIS DISCLOSURE
STATEMENT MAY ALSO INCLUDE RISK FACTORS AND WILL BE CONSIDERED A PART OF
THIS DISCLOSURE STATEMENT FROM THE DATE OF THE FILING OF SUCH DOCUMENTS.
NEW FACTORS, RISKS AND UNCERTAINTIES EMERGE FROM TIME TO TIME AND IT IS
NOT POSSIBLE TO PREDICT ALL SUCH FACTORS, RISKS AND UNCERTAINTIES.

          A.        Certain Bankruptcy Law Considerations

                    1.        General

While the Debtors believe that the Chapter 11 Cases will be of short duration and will not be materially
disruptive to the Company’s business, the Debtors cannot be certain that this will be the case. Although
the Second Amended Plan is designed to minimize the length of the Chapter 11 Cases, it is impossible to
predict with certainty the amount of time that the Debtors may spend in bankruptcy or to assure parties in
interest that the Second Amended Plan will be confirmed. Even if confirmed on a timely basis,
bankruptcy proceedings to confirm the Second Amended Plan could have an adverse effect on the
Company’s business. Among other things, it is possible that bankruptcy proceedings could adversely
affect the Company’s relationships with its key vendors, suppliers, customers and employees. In addition,
the bankruptcy proceedings may divert some of the attention of the Debtors’ management away from
business operations and the Company will incur additional expenses.

                    2.        Risk of Non-Confirmation of Second Amended Plan

Although the Debtors believe that the Second Amended Plan will satisfy all requirements necessary for
confirmation by the Bankruptcy Court, there can be no assurance that the Bankruptcy Court will reach the
same conclusion or that modifications to the Second Amended Plan will not be required for confirmation
or that such modifications will not necessitate re-solicitation of votes. Moreover, the Debtors can make
no assurances that they will receive the requisite acceptances to confirm the Second Amended Plan, and
even if the Voting Classes voted in favor of the Second Amended Plan or the requirements for
“cramdown” are met with respect to any Class that rejected the Second Amended Plan, the Bankruptcy
Court, which may exercise substantial discretion as a court of equity, may choose not to confirm the
Second Amended Plan. If the Second Amended Plan is not confirmed, it is unclear what distributions (if
any) holders of Claims or Interests ultimately would receive with respect to their Claims or Interests in a
subsequent plan of reorganization.

                    3.        Risk of Failing to Satisfy Vote Requirement

In the event that the Debtors are unable to obtain sufficient votes from the Voting Classes, the Debtors
may seek to accomplish an alternative chapter 11 plan. There can be no assurance that the terms of any



                                                         116
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57          Main Document
                                                  Pg 399 of 565



such alternative chapter 11 plan would be similar or as favorable to holders of Allowed Claims as those
proposed in the Second Amended Plan.

                    4.        Releases, Injunctions, and Exculpations Provisions May Not Be
                              Approved

Section 10 of the Second Amended Plan provides for certain releases, injunctions, and exculpations, for
claims and Causes of Action that may otherwise be asserted against the Debtors, the Reorganized
Debtors, the Exculpated Parties, or the Released Parties, as applicable. The releases, injunctions, and
exculpations provided in the Second Amended Plan are subject to objection by parties in interest and may
not be approved. If the releases and exculpations are not approved, certain parties may not be considered
Released Parties or Exculpated Parties, and certain Released Parties or Exculpated Parties may withdraw
their support for the Second Amended Plan.

                    5.        Risk of Non-Consensual Confirmation

In the event that any impaired class of Claims or Interests does not accept or is deemed not to accept the
Second Amended Plan, the Bankruptcy Court may nevertheless confirm such Second Amended Plan at the
request of the Debtors if at least one impaired class has accepted the Second Amended Plan (with such
acceptance being determined without including the vote of any “insider” in such class), and as to each
impaired class that has not accepted the Second Amended Plan, the Bankruptcy Court determines that the
Second Amended Plan “does not discriminate unfairly” and is “fair and equitable” with respect to the
dissenting impaired classes. Should any Class vote to reject the Second Amended Plan, then these
requirements must be satisfied with respect to such rejecting Classes. The Debtors believe that the Second
Amended Plan satisfies these requirements.

                    6.        Risk of Non-Occurrence of Effective Date

There can be no assurance as to the timing of the Effective Date. If the conditions precedent to the
Effective Date set forth in the Second Amended Plan have not occurred or have not been waived as set
forth in Section 9.3 of the Second Amended Plan, then the Confirmation Order may be vacated, in which
event no distributions will be made under the Second Amended Plan, the Debtors and all holders of
Claims or Interests will be restored to the status quo as of the day immediately preceding the Confirmation
Date, and the Debtors’ obligations with respect to Claims and Interests would remain unchanged.




                                                         117
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57          Main Document
                                                  Pg 400 of 565



                    7.        Risk of Termination of Restructuring Support Agreement

The Restructuring Support Agreement contains certain provisions that give the parties the ability to
terminate the Restructuring Support Agreement if various conditions are not satisfied. As noted above,
termination of the Restructuring Support Agreement could result in protracted Chapter 11 Cases, which
could significantly and detrimentally impact the Company’s relationships with regulators, government
agencies, vendors, suppliers, employees, and customers. If the Restructuring Support Agreement is
terminated, each vote or any consent given by any Consenting First Lien Lender (as defined in the
Restructuring Support Agreement) prior to such termination will be deemed null and void ab initio. If the
termination of the Restructuring Support Agreement takes place when Bankruptcy Court approval is
required for a Consenting First Lien Lender to change or withdraw its vote to accept the Second Amended
Plan, the Company has agreed to support and not oppose any such attempt to change or withdraw a vote.
Future termination of the Restructuring Support Agreement is an “Event of Default” under the DIP
Facility. If the Debtors lose access to the DIP Facility, the Debtors may be forced to liquidate.

                    8.        Risk Related to Parties in Interest Objecting to Debtors’
                              Classification of Claims and Interests

Bankruptcy Code Section 1122 provides that a plan may place a claim or an interest in a particular class
only if such claim or interest is substantially similar to the other claims or interests in such class. The
Debtors believe that the classification of Claims and Interests under the Second Amended Plan complies
with the requirements set forth in the Bankruptcy Code. However, there can be no assurance that a party
in interest will not object or that the Bankruptcy Court will approve the classifications.

                    9.        Risk Related to Possible Objections to Second Amended Plan

There is a risk that certain parties could oppose and object to the Second Amended Plan in the Bankruptcy
Court either in its entirety or to specific provisions thereof. While the Debtors believe that the Second
Amended Plan complies with all relevant Bankruptcy Code provisions, there can be no guarantee that a
party in interest will not file an objection to the Second Amended Plan or that the Bankruptcy Court will
not sustain such an objection.

                    10.       Conversion to Chapter 7 Case

If no plan of reorganization is confirmed, or if the Bankruptcy Court otherwise finds that it would be in
the best interest of holders of Claims and Interests, the Chapter 11 Cases may be converted to cases under
chapter 7 of the Bankruptcy Code, pursuant to which a trustee would be appointed or elected to liquidate
the Debtors’ assets for distribution in accordance with the priorities established by the Bankruptcy Code.
See Article XIII.C hereof, as well as the Liquidation Analysis attached hereto as Exhibit D, for a
discussion of the effects that a chapter 7 liquidation would have on the recoveries of holders of Claims
and Interests.

          B.        Additional Factors Affecting Value of Reorganized Debtors

                    1.        Claims Could Be More than Projected

There can be no assurance that the estimated Allowed amount of Claims in certain Classes will not be
significantly more than projected, which, in turn, could cause the value of distributions to be reduced
substantially. Inevitably, some assumptions will not materialize, and unanticipated events and



                                                         118
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57             Main Document
                                                  Pg 401 of 565



circumstances may affect the ultimate results. Therefore, the actual amount of Allowed Claims may vary
from the Debtors’ projections and feasibility analysis, and the variation may be material.

                    2.        Projections and Other Forward-Looking Statements Are Not
                              Assured, and Actual Results May Vary

Certain of the information contained in this Disclosure Statement is, by nature, forward-looking, and
contains (i) estimates and assumptions that might ultimately prove to be incorrect and (ii) projections
which may be materially different from actual future experiences. There are uncertainties associated with
any projections and estimates, and they should not be considered assurances or guarantees of the amount
of funds or the amount of Claims in the various Classes that might be allowed. The future results of the
Reorganized Debtors are dependent upon various factors, many of which are beyond the control or
knowledge of the Debtors, and consequently are inherently difficult to project. The Reorganized Debtors’
actual future results may differ materially (positively or negatively) from the financial projections and as a
result, the actual total enterprise value of the Reorganized Debtors may be significantly higher or lower
than the estimated range herein.

          C.        Risks Relating to Debtors’ Business and Financial Condition

                    1.        Risks Associated with Debtors’ Business and Industry

The Debtors’ business is subject to extensive regulation by federal, state and local governmental and
regulatory authorities. Further, in recent years the policies, laws, rules and regulations applicable to the
Debtors’ business have been rapidly evolving. Such changes, as well as the actual or alleged failure to
comply with applicable federal, state, and local laws and regulations may have an adverse consequence on
the Company or its business, in addition to the following factors, risks or uncertainties that may affect the
Company or its business:

         Limitations, restrictions or complete bans on the Debtors’ business or various segments of the
          business;

         Damage to the Debtors’ reputation;

         Scrutiny of the industry by, and potential enforcement actions by, federal and state authorities;

         The substantial resources (including senior management time and attention) the Company devotes
          to, and the significant compliance costs the Company incurs in connection with, regulatory
          compliance and regulatory examinations and inquiries, and any redress, fines, penalties or similar
          payments made in connection with resolving such matters;

         Potential costs and uncertainties, including the effect on future revenues, associated with and
          arising from litigation, regulatory investigations, enforcements and other legal proceedings, and
          uncertainties relating to the reaction of key counterparties to the announcement of any such
          matters;

         Risks related to a significant amount of senior management turnover and employee reductions;

         Risks related to the substantial level of indebtedness, including ability to comply with covenants
          contained in debt agreements or obtain any necessary waivers or amendments, generate sufficient




                                                         119
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                                  Pg 402 of 565



          cash to service such indebtedness and refinance such indebtedness on favorable terms, if at all, as
          well as the ability to incur substantially more debt;

         The success of the business strategy in returning to sustained profitability;

         Risks and potential costs associated with technology and cybersecurity, including: the risks of
          technology failures and of cyber-attacks against the Company or its vendors; the Company’s
          ability to adequately respond to actual or attempted cyber-attacks; and the Company’s ability to
          implement adequate internal security measures and protect confidential customer information;

         Risks and potential costs associated with the implementation of new or more current technology,
          the use of vendors, or the transfer of the Company’s servers or other infrastructure to new data
          center facilities;

         Risks related to the Company’s reliance upon proprietary rights in the Company’s technology,
          systems, and business processes, including the potential risk that the compromise of such rights
          could impact the Company’s ability to compete or to achieve its projected business and financial
          results;

         Risks related to the Company’s deferred tax asset, risk of an “ownership change,” including
          uncertainties as to the Company’s ability to preserve the tax assets through and after a
          bankruptcy filing;

         The effects of competition on existing and potential future business, including the impact of
          competitors with greater financial resources and broader scopes of operation;

         The ability to comply with evolving and complex accounting rules, many of which involve
          significant judgment and assumptions;

         The ability to implement and maintain effective internal controls over financial reporting and
          disclosure controls and procedures;

         Increased taxation and / or government regulations of the cloud communications industry;

         Administrative fines and financial penalties;

         The adoption of new regulations, in addition to the potential that existing laws and regulations
          may be applied to telecommunications, cloud, VoIP, and/or internet service providers, which
          could hinder the Company’s growth

         Litigation, including class action lawsuits; and

         Civil and criminal liability.

                    2.        Downgrade in the Company’s Credit Ratings

Standard & Poor’s and Moody’s rate Fusion Connect’s debt securities. Certain of these ratings have been
downgraded in the past, and any of these ratings may be downgraded in the future. Any such downgrade
could adversely affect the Company, its financial condition, or results of operations.




                                                         120
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                                  Pg 403 of 565



                    3.        DIP Facility

The DIP Facility is intended to provide liquidity to the Debtors during the pendency of the Chapter 11
Cases. If the Chapter 11 Cases take longer than expected to conclude, the Debtors may exhaust or lose
access to their financing. There is no assurance that the Debtors will be able to obtain additional
financing from the Debtors’ existing lenders or otherwise. In either such case, the liquidity necessary for
the orderly functioning of the Debtors’ business may be materially impaired.

                    4.        Post-Effective Date Indebtedness

Following the Effective Date, in the Reorganization Transaction only, the Reorganized Debtors expect to
have outstanding funded debt of up to approximately $400 million. The Reorganized Debtors’ ability to
service their debt obligations will depend on, among other things, the Debtors’ compliance with
affirmative and negative covenants, the Debtors’ future operating performance, which depends partly on
economic, financial, competitive, and other factors beyond the Reorganized Debtors’ control. The
Reorganized Debtors may not be able to generate sufficient cash from operations to meet their debt service
obligations as well as fund necessary capital expenditures. In addition, if the Reorganized Debtors need
to refinance their debt, obtain additional financing, or sell assets or equity, they may not be able to do so
on commercially reasonable terms, if at all.

          D.        Factors Relating to Securities to be Issued Under Second Amended Plan,
                    Generally

                    1.        Market for Securities

There is currently no market for the New Equity Interests, or the Special Warrants, or the Second Lien
Warrants, and there can be no assurance as to the development or liquidity of any market for any such
securities. The Reorganized Debtors are under no obligation to list any securities on any national
securities exchange. Therefore, there can be no assurance that any of the foregoing securities will be
tradable or liquid at any time after the Effective Date. If a trading market does not develop or is not
maintained, holders of the foregoing securities may experience difficulty in reselling such securities or
may be unable to sell them at all. Even if such a market were to exist, such securities could trade at prices
higher or lower than the estimated value set forth in this Disclosure Statement depending upon many
factors including, without limitation, prevailing interest rates, markets for similar securities, industry
conditions, and the performance of, and investor expectations for, the Reorganized Debtors.

                    2.        Potential Dilution

The ownership percentage represented by the New Equity Interests distributed on the Effective Date under
the Second Amended Plan will be subject to dilution from the conversion of any options, warrants,
convertible securities, exercisable securities, or other securities that may be issued post-emergence,
including the Special Warrants, the Second Lien Warrants, or any securities issued under the Management
Incentive Plan.

In the future, similar to all companies, additional equity financings or other share issuances by any of the
Reorganized Debtors could adversely affect the value of the New Equity Interests, and/or the Special
Warrants, and or the Second Lien Warrants. The amount and dilutive effect of any of the foregoing could
be material.




                                                         121
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57              Main Document
                                                  Pg 404 of 565



                    3.        Risks Related to the Litigation Trust

There is no guarantee that the Litigation Trust Oversight Committee will choose to prosecute any of the
Litigation Trust Causes of Action. Furthermore, to the extent the Litigation Trust Oversight Committee
determines to prosecute a potential Litigation Trust Cause of Action, there is no guarantee as to the
success of the Litigation Trust Oversight Board in pursuing the Litigation Trust Causes of Action. The
success of the Litigation Trust Oversight Board in pursuing any Litigation Trust Cause of Action, as well
as the expenses incurred in investigating and prosecuting the Litigation Trust Causes of Action, may
materially affect the recoveries for the beneficiaries of the Litigation Trust Causes of Action.

          E.        Risk Related to Obtaining Exit Financing

During the course of these Chapter 11 Cases, the Debtors will solicit commitments to provide exit
financing to refinance the DIP Facility. However, there is no assurance that such commitments will be
obtained, which will hinder the Debtors’ ability to consummate the Reorganization Transaction.

          F.        Risks Related to Investment in New Equity Interests

                    1.        Significant Holders

Pursuant to the Second Amended Plan, certain holders of First Lien Claims may acquire a significant
ownership interest in the New Equity Interests. If such holders of New Equity Interests were to act as a
group, such holders would be in a position to control all actions requiring stockholder approval, including
the election of directors, without the approval of other stockholders. This concentration of ownership
could also facilitate or hinder a negotiated change of control of the Reorganized Debtors and,
consequently, have an impact upon the value of the New Equity Interests. In addition, the SEC has
special considerations in connection with its foreign ownership rules with respect to “groups.”

                    2.        New Equity Interests Subordinated to Reorganized Debtors’
                              Indebtedness

In any subsequent liquidation, dissolution, or winding up of the Reorganized Debtors, the New Equity
Interests will rank below all debt claims against the Reorganized Debtors. As a result, holders of the New
Equity Interests will not be entitled to receive any payment or other distribution of assets upon the
liquidation, dissolution, or winding up of the Reorganized Debtors until after all the Reorganized Debtors’
obligations to its debt holders have been satisfied.

                    3.        Implied Valuation of New Equity Interests Not Intended to Represent
                              Trading Value of New Equity Interests

The valuation of the Reorganized Debtors may not represent the trading value of the New Equity Interests
in public or private markets and is subject to additional uncertainties and contingencies, all of which are
difficult to predict. Actual market prices of such securities at issuance will depend upon, among other
things: (i) conditions in the financial markets; (ii) the anticipated initial securities holdings of prepetition
creditors, some of whom may prefer to liquidate their investment rather than hold it on a long-term basis;
and (iii) other factors that generally influence the prices of securities. The actual market price of the New
Equity Interests is likely to be volatile. Many factors including factors unrelated to the Reorganized
Debtors’ actual operating performance and other factors not possible to predict, could cause the market
price of the New Equity Interests to rise and fall. Accordingly, the implied value, stated herein and in the
Second Amended Plan, of the New Equity Interests, does not necessarily reflect, and should not be


                                                         122
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57          Main Document
                                                  Pg 405 of 565



construed as reflecting, values that will be attained for the New Equity Interests in the public or private
markets.

                    4.        No Intention to Pay Dividends

The Reorganized Debtors do not anticipate paying any dividends on the New Equity Interests as they
expect to retain any future cash flows for debt reduction and to support operations. As a result, the
success of an investment in the New Equity Interests will depend entirely upon any future appreciation in
the value of the New Equity Interests. There is, however, no guarantee that the New Equity Interests will
appreciate in value or even maintain its initial value. In addition, holders of Special Warrants or Second
Lien Warrants would likely not be able to participate in the distribution of any dividends.

          G.        Additional Factors

                    1.        Debtors Have No Duty to Update

The statements contained in this Disclosure Statement are made by the Debtors as of the date hereof,
unless otherwise specified herein, and the delivery of this Disclosure Statement after that date does not
imply that there has been no change in the information set forth herein since that date. The Debtors have
no duty to update this Disclosure Statement unless otherwise ordered to do so by the Bankruptcy Court.

                    2.        No Representations Outside Disclosure Statement are Authorized

No representations concerning or related to the Debtors, the Chapter 11 Cases, or the Second Amended
Plan are authorized by the Bankruptcy Court or the Bankruptcy Code, other than as set forth in this
Disclosure Statement. Any representations or inducements made to secure your acceptance or rejection of
the Second Amended Plan that are other than those contained in, or included with, this Disclosure
Statement should not be relied upon in making the decision to accept or reject the Second Amended Plan.

                    3.        No Legal or Tax Advice is Provided by Disclosure Statement

The contents of this Disclosure Statement should not be construed as legal, business, or tax advice. Each
Claim or Interest holder should consult their own legal counsel and accountant as to legal, tax, and other
matters concerning their Claim or Interest. This Disclosure Statement is not legal advice. This
Disclosure Statement may not be relied upon for any purpose other than to determine how to vote on the
Second Amended Plan.

                    4.        No Admission Made

Nothing contained herein or in the Second Amended Plan constitutes an admission of, or will be deemed
evidence of, the tax or other legal effects of the Second Amended Plan on the Debtors or on holders of
Claims or Interests.

                    5.        Certain Tax Consequences

For a discussion of certain tax considerations to the Debtors and certain holders of Claims in connection
with the implementation of the Second Amended Plan, see Article VIII thereof.




                                                         123
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57          Main Document
                                                  Pg 406 of 565



                                            X.
                            VOTING PROCEDURES AND REQUIREMENTS

Before voting to accept or reject the Second Amended Plan, each holder of a Claim in Class 3 (First Lien
Claims), Class 4 (Second Lien Claims), and Class 5 (General Unsecured Claims) (each, an “Eligible
Holder” and, collectively, the “Eligible Holders”) should carefully review the Second Amended Plan
attached hereto as Exhibit A. All descriptions of the Second Amended Plan set forth in this Disclosure
Statement are subject to the terms and conditions of the Second Amended Plan.

          A.        Voting Deadline

All Eligible Holders as of the Voting Record Date (September 24, 2019) will be provided with a Ballot
together with this Disclosure Statement. Such holders should read the Ballot carefully and follow the
instructions therein. Only Eligible Holders are entitled to vote to accept or reject the Second Amended
Plan. Because Classes 1, 2, 6 and 7 are unimpaired and deemed to accept, and Classes 8 and 9 are
conclusively deemed to reject, only Classes 3, 4, and 5 are entitled to vote on the Second Amended Plan.

The Debtors have engaged Prime Clerk LLC as its voting agent (the “Voting Agent”) to assist in the
transmission of voting materials and in the tabulation of votes with respect to the Second Amended Plan.
FOR YOUR VOTE TO BE COUNTED, YOUR BALLOT MUST BE EXECUTED IN ACCORDANCE
WITH THE INSTRUCTIONS INCLUDED IN THE BALLOT AND RECEIVED BY THE VOTING
AGENT ON OR BEFORE THE VOTING DEADLINE OF 4:00 P.M., PREVAILING EASTERN
TIME, ON OCTOBER 25NOVEMBER 4, 2019, UNLESS EXTENDED BY THE DEBTORS WITH
THE CONSENT OF THE FIRST LIEN LENDER GROUP UPON RECEIPT OF AN ORDER FROM
THE COURT (THE “VOTING DEADLINE”).

IF A BALLOT IS DAMAGED OR LOST, YOU MAY CONTACT THE VOTING AGENT AT THE
NUMBER SET FORTH BELOW TO RECEIVE A REPLACEMENT BALLOT. ANY BALLOT
THAT IS EXECUTED AND RETURNED BUT WHICH DOES NOT INDICATE AN ACCEPTANCE
OR REJECTION OF THE AMENDED PLANSECOND AMENDED PLAN WILL NOT BE
COUNTED.

IF YOU HAVE ANY QUESTIONS CONCERNING VOTING PROCEDURES, YOU MAY
CONTACT THE VOTING AGENT AT:

                                                    Prime Clerk LLC
                         Telephone: (844) 230-7218 (toll free) or +1 (347) 859-8784 (international)
                      E-mail: Fusionconnectballots@Primeclerk.com with “Fusion Connect, Inc.” in the
                                                       subject line

Additional copies of this Disclosure Statement are available upon a request made to the Voting Agent, at
the telephone numbers or e-mail address set forth immediately above.

          B.        Voting Procedures

The Debtors are providing copies of this Disclosure Statement (including all exhibits and appendices) and
related materials and a Ballot (collectively, a “Solicitation Package”) to Eligible Holders. In order to
vote, Eligible Holders must provide all of the information requested by the Ballot and, as applicable,
should complete and deliver their completed Ballots pursuant to the instructions set forth on the Ballot so
that they are actually received by the Voting Agent no later than the Voting Deadline.


                                                         124
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                                  Pg 407 of 565



          C.        Parties Entitled to Vote

Under the Bankruptcy Code, only holders of claims or interests in “impaired” classes are entitled to vote
on a plan. Under section 1124 of the Bankruptcy Code, a class of claims or interests is deemed to be
“impaired” under a plan unless (i) the Second Amended Plan leaves unaltered the legal, equitable, and
contractual rights to which such claim or interest entitles the holder thereof or (ii) notwithstanding any
legal right to an accelerated payment of such claim or interest, the Second Amended Plan cures all
existing defaults (other than defaults resulting from the occurrence of events of bankruptcy) and reinstates
the maturity of such claim or interest as it existed before the default.

If, however, the holder of an impaired claim or interest will not receive or retain any distribution under the
Second Amended Plan on account of such claim or interest, the Bankruptcy Code deems such holder to
have rejected the Second Amended Plan, and, accordingly, holders of such claims and interests do not
actually vote on the Second Amended Plan. If a claim or interest is not impaired by the Second Amended
Plan, the Bankruptcy Code deems the holder of such claim or interest to have accepted the Second
Amended Plan and, accordingly, holders of such claims and interests are not entitled to vote on the Second
Amended Plan.

A vote may be disregarded if the Bankruptcy Court determines, pursuant to section 1126(e) of the
Bankruptcy Code, that it was not solicited or procured in good faith or in accordance with the provisions
of the Bankruptcy Code.

The Bankruptcy Code defines “acceptance” of a plan by a class of: (i) claims as acceptance by creditors
in that class that hold at least two-thirds (2/3) in dollar amount and more than one-half (1/2) in number of
the claims that cast ballots for acceptance or rejection of the Second Amended Plan; and (ii) interests as
acceptance by interest holders in that class that hold at least two-thirds (2/3) in dollar amount of the
interests that cast ballots for acceptance or rejection of the Second Amended Plan.

Class 3 (First Lien Claims), Class 4 (Second Lien Claims), and Class 5 (General Unsecured Claims) are
impaired under the Second Amended Plan and the only Classes of Claims entitled to vote to accept or
reject the Second Amended Plan (the “Voting Classes” or the “Voting Claims”).

Claims in all other Classes are either unimpaired and deemed to accept or impaired and deemed to reject
the Second Amended Plan and are not entitled to vote. For a detailed description of the treatment of
Claims and Interests under the Second Amended Plan, see Article I of this Disclosure Statement.

The Debtors will request confirmation of the Second Amended Plan pursuant to section 1129(b) of the
Bankruptcy Code over the deemed rejection of the Second Amended Plan by all Parent Equity Interests
and Subordinated Securities Claims. Section 1129(b) of the Bankruptcy Code permits the confirmation of
a chapter 11 plan notwithstanding the rejection of such plan by one or more impaired classes of claims or
interests. Under section 1129(b), a plan may be confirmed by a bankruptcy court if it does not
“discriminate unfairly” and is “fair and equitable” with respect to each rejecting class. For a more
detailed description of the requirements for confirmation of a nonconsensual plan, see Article XII.C of
this Disclosure Statement.

                    1.        Miscellaneous

All Ballots must be signed by the Eligible Holder, or any person who has obtained a properly completed
Ballot proxy from the Eligible Holder by the Voting Record Date. Unless otherwise ordered by the
Bankruptcy Court, Ballots that are signed, dated, and timely received, but on which a vote to accept or
reject the Second Amended Plan has not been indicated, will not be counted. The Debtors, in their sole

                                                         125
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57           Main Document
                                                  Pg 408 of 565



discretion, may request that the Voting Agent attempt to contact such voters to cure any such Ballot
defects. Any Ballot marked to both accept and reject the Second Amended Plan will not be counted. If an
Eligible Holder casts more than one Ballot voting the same Claim(s) before the Voting Deadline, the last
valid Ballot received on or before the Voting Deadline will be deemed to reflect such Holder’s intent, and
thus, will supersede any prior Ballot. If an Eligible Holder casts Ballots received by the Voting Agent on
the same day, but which are voted inconsistently, such Ballots will not be counted.

The Ballots provided to Eligible Holders will reflect the amount of such Eligible Holder’s Claim;
however, when tabulating votes, the Voting Agent may adjust the amount of such Eligible Holder’s Claim
(as directed by the Debtors) by multiplying that amount by a factor that reflects all amounts accrued
between the Voting Record Date and the Commencement Date including, without limitation, interest.

Under the Bankruptcy Code, for purposes of determining whether the requisite votes for acceptance have
been received, only holders of the First Lien Claims who actually vote will be counted. The failure of a
holder to deliver a duly executed Ballot to the Voting Agent will be deemed to constitute an abstention by
such holder with respect to voting on the Second Amended Plan and such abstentions will not be counted
as votes for or against the Second Amended Plan.

Except as provided below, unless the Ballot, together with any other documents required by such Ballot, is
timely submitted to the Voting Agent before the Voting Deadline the Debtors may, in their sole discretion,
reject such Ballot as invalid, and therefore decline to utilize it in connection with seeking confirmation of
the Second Amended Plan.

                    2.        Fiduciaries and Other Representatives

If a Ballot is signed by a trustee, executor, administrator, guardian, attorney-in-fact, officer of a
corporation, or another, acting in a fiduciary or representative capacity, such person should indicate such
capacity when signing and, if requested, must submit proper evidence satisfactory to the Debtor of
authority to so act. Authorized signatories should submit a separate Ballot of each Eligible Holder for
whom they are voting.

UNLESS THE BALLOT IS SUBMITTED TO THE VOTING AGENT ON OR PRIOR TO THE
VOTING DEADLINE, SUCH BALLOT WILL BE REJECTED AS INVALID AND WILL NOT BE
COUNTED AS AN ACCEPTANCE OR REJECTION OF THE AMENDED PLANSECOND
AMENDED PLAN; PROVIDED, THAT THE DEBTORS RESERVE THE RIGHT, IN THEIR SOLE
DISCRETION, TO REQUEST THE BANKRUPTCY COURT TO ALLOW SUCH BALLOT TO BE
COUNTED.

                    3.        Agreements Upon Furnishing Ballots

The delivery of an accepting Ballot pursuant to one of the procedures set forth above will constitute the
agreement of the creditor with respect to such Ballot to accept: (i) all of the terms of, and conditions to,
the solicitation; and (ii) the terms of the Second Amended Plan including the injunction, releases, and
exculpations set forth in Sections 10.5, 10.6, and 10.7 of the Second Amended Plan. All parties in
interest retain their right to object to confirmation of the Second Amended Plan pursuant to section 1128
of the Bankruptcy Code, subject to any applicable terms of the Restructuring Support Agreement.

                    4.        Change of Vote

Subject to the terms of the Restructuring Support Agreement, any party that has previously submitted a
properly completed Ballot to the Voting Agent prior to the Voting Deadline may revoke such Ballot and

                                                         126
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                                  Pg 409 of 565



change its vote, subject to Local Bankruptcy Rule 3018, by submitting to the Voting Agent prior to the
Voting Deadline a subsequent, properly completed Ballot voting for acceptance or rejection of the Second
Amended Plan, upon Court approval.

                    5.        Waivers of Defects, Irregularities, etc.

Unless otherwise directed by the Bankruptcy Court, all questions as to the validity, form, eligibility
(including time of receipt), acceptance, and revocation or withdrawals of Ballots will be determined by the
Voting Agent and/or the Debtors, as applicable, in their sole discretion, which determination will be final
and binding. The Debtors reserve the right to reject any and all Ballots submitted that are not in proper
form, the acceptance of which would, in the opinion of the Debtors or their counsel, as applicable, be
unlawful. The Debtors further reserve their respective rights to waive any defects or irregularities or
conditions of delivery as to any particular Ballot by any Eligible Holder. The interpretation (including the
Ballot and the respective instructions thereto) by the applicable Debtor, unless otherwise directed by the
Bankruptcy Court, will be final and binding on all parties. Unless waived, any defects or irregularities in
connection with deliveries of Ballots must be cured within such time as the Debtors (or the Bankruptcy
Court) determines. Neither the Debtors nor any other person will be under any duty to provide
notification of defects or irregularities with respect to deliveries of Ballots nor will any of them incur any
liabilities for failure to provide such notification. Unless otherwise directed by the Bankruptcy Court,
delivery of such Ballots will not be deemed to have been made until such irregularities have been cured or
waived. Ballots previously furnished (and as to which any irregularities have not theretofore been cured
or waived) will be invalidated.

                    6.        Further Information, Additional Copies

Should an Eligible Holder have any questions or require further information about the
voting procedures, or about the packet of material received, or if an Eligible Holder wishes
to obtain an additional copy of the Second Amended Plan, this Disclosure Statement, or
any exhibits to such documents, please contact the Voting Agent at the telephone number
or email address set forth above.

                                           XI.
                          CONFIRMATION OF AMENDEDAMENDED PLAN

          A.        Confirmation Hearing

Section 1128(a) of the Bankruptcy Code requires the Bankruptcy Court to hold a confirmation hearing
upon appropriate notice to all required parties. The Debtors will request that the Bankruptcy Court
schedule the Confirmation Hearing. Subject to the Court’s availability, the Confirmation Hearing will be
held on November 714, 2019 at 10:00 am, prevailing Eastern Time. Notice of the Confirmation Hearing
will be provided to all known creditors and equity holders or their representatives. The Confirmation
Hearing may be adjourned from time to time by the Bankruptcy Court without further notice except for
the announcement of the adjourned date made at the Confirmation Hearing, at any subsequent adjourned
Confirmation Hearing, or pursuant to a notice filed on the docket of the Chapter 11 Cases.

          B.        Objections to Confirmation

Section 1128(b) of the Bankruptcy Code provides that any party in interest may object to the confirmation
of a plan. Any objection to confirmation of the Second Amended Plan must (i) be in writing; (ii) state the
name and address of the objecting party and the amount and nature of the Claim or Interest of such party;


                                                         127
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57             Main Document
                                                  Pg 410 of 565



(iii) state with particularity the basis and nature of any objection, and provide proposed language that, if
accepted and incorporated by the Debtors, would obviate such objection; (iv) conform to the Bankruptcy
Rules and the Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court
for the Southern District of New York; (v) be filed with the Bankruptcy Court, with a copy to the
chambers of the United States Bankruptcy Judge appointed to the Chapter 11 Cases, together with proof
of service thereof by the plan confirmation objection deadline of 4:00 p.m., prevailing eastern time, on
October 25November 4, 2019; and (vi) be served upon the following parties, including such other parties
as the Bankruptcy Court may order:

                              (a)       The Debtor at:

                              Fusion Connect, Inc.
                              210 Interstate North Parkway
                              Suite 300
                              Atlanta, Georgia 30339
                              Attn: James P. Prenetta, Jr., Executive Vice President and General Counsel

                              (b)       Office of the U.S. Trustee at:

                              Office of the U.S. Trustee for Region 2
                              U.S. Federal Office Building
                              201 Varick Street, Suite 1006
                              New York, New York 10014
                              Attn: Richard C. Morrissey
                                      Susan A. Arbeit

                              (c)       Counsel to the Debtors at:

                              Weil, Gotshal & Manges LLP
                              767 Fifth Avenue
                              New York, New York 10153
                              Attn: Gary T. Holtzer
                                      Sunny Singh
                                      Gaby Smith

                              (d)       Counsel to the First Lien Lender Group at:

                              Davis Polk & Wardwell LLP
                              450 Lexington Avenue
                              New York, New York, 10017
                              Attn: Damian S. Schaible
                                     Adam L. Shpeen

                              (e)       Counsel to the Ad Hoc Group of Tranche A Term Loans /
                                        Revolving Lenders:

                              Simpson Thacher & Bartlett LLP
                              425 Lexington Avenue
                              New York, NY 10017
                              Attn: Sandeep Qusba
                                     Hyang Sook Lee


                                                          128
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                                  Pg 411 of 565



                                        Edward R. Linden

                              (f)       Counsel to the DIP Agent, Prepetition Super Senior Agent, and
                                        Prepetition First Lien Agent at:

                              Arnold & Porter Kaye Scholer LLP
                              70 West Madison Street, Suite 4200
                              Chicago, Illinois 60602
                              Attn: Michael D. Messersmith
                                     Sarah Gryll

                              (g)       Counsel to the Creditors’ Committee at:

                              Cooley LLP
                              55 Hudson Yards
                              New York, New York 10001
                              Attn: Cathy Hershcopf
                                     Seth Van Aalten
                                     Robert Winning
                                     Sarah Carnes

 UNLESS AN OBJECTION TO CONFIRMATION IS TIMELY SERVED AND FILED, IT MAY
              NOT BE CONSIDERED BY THE BANKRUPTCY COURT.

          C.        Requirements for Confirmation of Second Amended Plan

               1.     Requirements of Section 1129(a) of Bankruptcy Code

                              (a)       General Requirements

At the Confirmation Hearing, the Bankruptcy Court will determine whether the confirmation requirements
specified in section 1129(a) of the Bankruptcy Code have been satisfied including, without limitation,
whether:

                    (i)       the Second Amended Plan complies with the applicable provisions of the
                              Bankruptcy Code;

                    (ii)      the Debtors have complied with the applicable provisions of the Bankruptcy
                              Code;

                    (iii)     the Second Amended Plan has been proposed in good faith and not by any means
                              forbidden by law;

                    (iv)      any payment made or promised by the Debtors or by a person issuing securities
                              or acquiring property under the Second Amended Plan, for services or for costs
                              and expenses in or in connection with the Chapter 11 Cases, or in connection
                              with the Second Amended Plan and incident to the Chapter 11 Cases, has been
                              disclosed to the Bankruptcy Court, and any such payment made before
                              confirmation of the Second Amended Plan is reasonable, or if such payment is to



                                                           129
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57                Main Document
                                                  Pg 412 of 565



                              be fixed after confirmation of the Second Amended Plan, such payment is subject
                              to the approval of the Bankruptcy Court as reasonable;

                    (v)       the Debtors have disclosed the identity and affiliations of any individual proposed
                              to serve, after confirmation of the Second Amended Plan, as a director or officer
                              of the Reorganized Debtors, an affiliate of the Debtors participating in the
                              Second Amended Plan with the Debtors, or a successor to the Debtors under the
                              Second Amended Plan, and the appointment to, or continuance in, such office of
                              such individual is consistent with the interests of the holders of Claims and
                              Interests and with public policy, and the Debtors have disclosed the identity of
                              any insider who will be employed or retained by the Reorganized Debtors, and
                              the nature of any compensation for such insider;

                    (vi)      with respect to each Class of Claims or Interests, each holder of an impaired
                              Claim or impaired Interest has either accepted the Second Amended Plan or will
                              receive or retain under the Second Amended Plan, on account of such holder’s
                              Claim or Interest, property of a value, as of the Effective Date of the Second
                              Amended Plan, that is not less than the amount such holder would receive or
                              retain if the Debtors were liquidated on the Effective Date of the Second
                              Amended Plan under chapter 7 of the Bankruptcy Code;

                    (vii)     except to the extent the Second Amended Plan meets the requirements of section
                              1129(b) of the Bankruptcy Code (as discussed further below), each Class of
                              Claims either accepted the Second Amended Plan or is not impaired under the
                              Second Amended Plan;

                    (viii)    except to the extent that the holder of a particular Claim has agreed to a different
                              treatment of such Claim, the Second Amended Plan provides that administrative
                              expenses and priority Claims, other than Priority Tax Claims, will be paid in full
                              on the Effective Date, and that Priority Tax Claims will receive either payment in
                              full on the Effective Date or deferred cash payments over a period not exceeding
                              five years after the Commencement Date, of a value, as of the Effective Date of
                              the Second Amended Plan, equal to the Allowed amount of such Claims;

                    (ix)      at least one (1) Class of impaired Claims has accepted the Second Amended Plan,
                              determined without including any acceptance of the Second Amended Plan by any
                              insider holding a Claim in such Class;

                    (x)       confirmation of the Second Amended Plan is not likely to be followed by the
                              liquidation, or the need for further financial reorganization, of the Debtors or any
                              successor to the Debtors under the Second Amended Plan; and

                    (xi)      all fees payable under section 1930 of title 28 of the United States Code, as
                              determined by the Bankruptcy Court at the Confirmation Hearing, have been paid
                              or the Second Amended Plan provides for the payment of all such fees on the
                              Effective Date of the Second Amended Plan.

                              (b)       Best Interests Test

As noted above, with respect to each impaired class of claims and equity interests, confirmation of a plan
requires that each such holder either (i) accept the Second Amended Plan or (ii) receive or retain under the


                                                              130
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                                  Pg 413 of 565



Second Amended Plan property of a value, as of the effective date of the Second Amended Plan, that is
not less than the value such holder would receive or retain if the debtor was liquidated under chapter 7 of
the Bankruptcy Code. This requirement is referred to as the “best interests test.”

This test requires a bankruptcy court to determine what the holders of allowed claims and allowed equity
interests in each impaired class would receive from a liquidation of the debtor’s assets and properties in
the context of a liquidation under chapter 7 of the Bankruptcy Code. To determine if a plan is in the best
interests of each impaired class, the value of the distributions from the proceeds of the liquidation of the
debtor’s assets and properties (after subtracting the amounts attributable to the aforesaid claims) is then
compared with the value offered to such classes of claims and equity interests under the Second Amended
Plan.

The Debtors believe that under the Second Amended Plan all holders of impaired Claims and Interests will
receive property with a value not less than the value such holder would receive in a liquidation under
chapter 7 of the Bankruptcy Code. The Debtors’ belief is based primarily on (i) consideration of the
effects that a chapter 7 liquidation would have on the ultimate proceeds available for distribution to
holders of impaired Claims and Interests and (ii) the liquidation analysis analyzing the effects that a
chapter 7 liquidation would have on the recoveries of holders of Claims and Interests (the “Liquidation
Analysis”).

The Debtors believe that any liquidation analysis is speculative, as it is necessarily premised on
assumptions and estimates which are inherently subject to significant uncertainties and contingencies,
many of which would be beyond the control of the Debtors. The Liquidation Analysis, which is attached
hereto as Exhibit D, is solely for the purpose of disclosing to holders of Claims and Interests the effects of
a hypothetical chapter 7 liquidation of the Debtors, subject to the assumptions set forth therein. There can
be no assurance as to values that would actually be realized in a chapter 7 liquidation nor can there be any
assurance that a bankruptcy court will accept the Debtors’ conclusions or concur with such assumptions
in making its determinations under section 1129(a)(7) of the Bankruptcy Code.

                              (c)       Feasibility

Also as noted above, section 1129(a)(11) of the Bankruptcy Code requires that a debtor demonstrate that
confirmation of a plan is not likely to be followed by liquidation or the need for further financial
reorganization. For purposes of determining whether the Second Amended Plan meets this requirement,
the Debtors have analyzed their ability to meet their obligations under the Second Amended Plan and
intends to prepare the projections upon conclusion of the Marketing Process. Moreover, Article IX hereof
sets forth certain risk factors that could impact the feasibility of the Second Amended Plan.

                              (d)       Equitable Distribution of Voting Power

On or before the Effective Date, pursuant to and only to the extent required by section 1123(a)(6) of the
Bankruptcy Code, the organizational documents for the Debtors will be amended as necessary to satisfy
the provisions of the Bankruptcy Code and will include, among other things, pursuant to section
1123(a)(6) of the Bankruptcy Code, (i) a provision prohibiting the issuance of non-voting equity securities
and (ii) a provision setting forth an appropriate distribution of voting power among classes of equity
securities possessing voting power.

                    2.        The Estate Releases, Consensual Releases, and Exculpation Provisions

                              (a)       Estate Releases


                                                          131
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                                  Pg 414 of 565



Section 10.6(a) of the Second Amended Plan provides a release of certain claims and Causes of Action of
the Debtors, the Reorganized Debtors, and the Estates against the Released Parties in exchange for good
and valuable consideration and valuable compromises made by the Released Parties. The Debtors’
Releases do not release any claims or Causes of Action arising after the Effective Date against any party
or affect the rights of the Debtors or Reorganized Debtors to enforce the terms of the Second Amended
Plan or any right or obligation arising under the Definitive Documents that remain in effect after the
Effective Date.

The Second Amended Plan will be deemed to constitute a motion pursuant to sections 363 and 1123(b)(3)
of the Bankruptcy Code and Bankruptcy Rule 9019, seeking approval of the Global Settlement, including
the Estate Releases in connection therewith, and the entry of the Confirmation Order will constitute the
Bankruptcy Court’s approval of such motion and each of the compromises and settlements that comprise
the Global Settlement. The Estate Releases are fair and reasonable and in the best interests of the Debtors
and their creditors and fair consideration is being received in exchange for such releases.

The Debtors believe that the Estate Releases constitute a sound exercise of the Debtors’ business judgment
and are an essential component of the Second Amended Plan. It is well-settled that debtors are authorized
to settle or release their claims in a chapter 11 plan. See 11 U.S.C. § 1123(b)(3)(A) (permitting a plan to
provide for the “settlement or adjustment of any claim or interest belonging to the debtor or to the estate”);
see also In re Adelphia Commc’ns Corp., 368 B.R. 140, 263 n.289 (Bankr. S.D.N.Y. 2007) (debtor has
“considerable leeway” in releasing its own claims); In re Spiegel, Inc., Case No. 03-11540 (BRL), 2005
WL 1278094, at *11 (Bankr. S.D.N.Y. May 25, 2005) (approving debtor releases pursuant to section
1123(b)(3) of the Bankruptcy Code and Bankruptcy Rule 9019(a)); In re Bally Total Fitness of Greater
New York, Inc., Case No. 07-12395 (BRL), 2007 WL 2779438, at *12 (Bankr. S.D.N.Y. Sept. 17, 2007)
(“To the extent that a release or other provision in the Second Amended Plan constitutes a compromise of
a controversy, this Confirmation Order shall constitute an order under Bankruptcy Rule 9019 approving
such compromise.”). Debtor releases are granted by courts in the Second Circuit where the Debtors
establish that such releases are a valid exercise of the Debtors’ business judgment and in the best interests
of the estate. See JP Morgan Chase Bank, N.A. v. Charter Commc’ns Operating, LLC (In re Charter
Commc’ns), 419 B.R. 221, 257-61 (Bankr. S.D.N.Y. 2009) (“When reviewing releases in a debtor’s plan,
courts consider whether such releases are in the best interest of the estate.”); In re DBSD N. Am., Inc.,
419 B.R. 179, 217 (Bankr. S.D.N.Y. 2009), aff’d, Case No. 09 CIV. 10156 (LAK), 2010 WL 1223109
(S.D.N.Y. Mar. 24 2010), aff’d in part, rev’d in part, 627 F.3d 496 (2d Cir. 2010) (finding debtor
releases appropriate where they represented a valid exercise of the debtors’ business judgment and were in
the best interests of the estate).

The Estate Releases satisfy the business judgment standard because, in exchange for the Estate Releases,
the Debtors received valuable consideration from the Released Parties in the form of (i) financing of the
Prepetition Super Senior Credit Agreement, (ii) financing of the DIP Facility, (iii) granting the Debtors’
use of cash collateral to support their restructuring in addition to numerous other tangible and intangible
benefits key to effectuating the Debtors’ consensual restructuring.

                              (b)       Consensual Releases

The Consensual Releases in Section 10.6(b) of the Second Amended Plan provide for the release of claims
and Causes of Action by those parties voting in favor of the Second Amended Plan against the Released
Parties in exchange for good and valuable consideration and the valuable compromises made by the
Released Parties.

The Second Amended Plan provides that all holders of Claims who are entitled to vote on the Second
Amended Plan who vote to accept the Second Amended Plan will be granting a release of any claims or

                                                         132
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57         Main Document
                                                  Pg 415 of 565



rights they have or may have as against the Released Parties. The Consensual Releases include any and
all claims that such holders may have against the Released Parties which in any way relate to the
restructuring.

In the Second Circuit, third-party releases are permissible where “unusual circumstances” render the
release terms integral to the success of the Second Amended Plan. In re Metromedia Fiber Network, Inc.,
416 F.3d 136, 141 (2d Cir. 2005). “Unusual circumstances” include instances in which: (a) the estate
received a substantial contribution; (b) the enjoined claims were “channeled” to a settlement fund rather
than extinguished; (c) the enjoined claims would indirectly impact the debtors’ reorganization by way of
indemnity or contribution; (d) the Second Amended Plan otherwise provided for the full payment of the
enjoined claims; and (e) the affected creditors consent. Id. (emphasis added).

Pursuant to Section 10.6(b), only consenting creditors will be subject to the Second Amended Plan’s
release and exculpation provisions.

                              (c)       Exculpations

Section 10.7 of the Second Amended Plan provides for the exculpation of each Exculpated Party for acts
and omissions taken in connection with the Chapter 11 Cases after the Commencement Date. The Debtors
believe that the exculpation provision in Section 10.7 of the Second Amended Plan is an integral part of
the Second Amended Plan and otherwise satisfies the governing standards in the Second Circuit. This
provision provides customary protections to those parties in interest (whether estate fiduciaries or
otherwise) whose efforts were instrumental in achieving the confirmation of the Second Amended Plan
and the conclusion of these Chapter 11 Cases. In light of the record of these Chapter 11 Cases, the
protections afforded by the exculpation provisions are reasonable and appropriate.

The Second Lien Lenders have filed an objection to the Debtors’ Disclosure Statement and Plan alleging,
among other things, that the exculpatory provisions in the Amended Plan are impermissibly broad. At
confirmation, the Debtors will demonstrate that in the Second Circuit, exculpation provisions that include
non-estate fiduciaries are frequently approved, including exculpatory provisions far broader than those
provided for in the Second Amended Plan. See, e.g., In re Cenveo, Inc., Case No. 17-22178 (RDD)
(Bankr. S.D.N.Y. Aug. 21, 2018) (ECF No. 685) (confirming plan containing exculpation for non-estate
fiduciaries); In re Cengage Learning, Inc., Case No. 13-44106 (ESS) (Bankr. E.D.N.Y. Mar. 14, 2014)
(ECF No. 1225) (same); In re Eastman Kodak Co., Case No. 12-10202 (ALG) (Bankr. S.D.N.Y. Aug.
23, 2013) (ECF No. 4996) (same).

                    3.        Additional Requirements for Non-Consensual Confirmation

In the event that any impaired Class of Claims or Interests does not accept or is deemed to reject the
Second Amended Plan, the Bankruptcy Court may still confirm the Second Amended Plan at the request
of the Debtors if, as to each impaired Class of Claims or Interests that has not accepted the Second
Amended Plan, the Second Amended Plan “does not discriminate unfairly” and is “fair and equitable”
with respect to such Classes of Claims or Interests, pursuant to section 1129(b) of the Bankruptcy Code.
Both of these requirements are in addition to other requirements established by case law interpreting the
statutory requirements.

Pursuant to the Second Amended Plan, holders of Claims and Interests in Class 4 (Second Lien Claims),
Class 5 (General Unsecured Claims), Class 8 (Parent Equity Interests), and Class 9 (Subordinated
Securities Claims) will not receive a distribution and are thereby deemed to reject the Second Amended




                                                         133
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57              Main Document
                                                  Pg 416 of 565



Plan. However, the Debtors submit that they satisfy the “unfair discrimination” and “fair and equitable”
tests, as discussed in further detail below.

                              (a)       Unfair Discrimination Test

The “unfair discrimination” test applies to classes of claims or interests that are of equal priority and are
receiving different treatment under a plan. A chapter 11 plan does not discriminate unfairly, within the
meaning of the Bankruptcy Code, if the legal rights of a dissenting class are treated in a manner consistent
with the treatment of other classes whose legal rights are substantially similar to those of the dissenting
class and if no class of claims or interests receives more than it legally is entitled to receive for its Claims
or Interests. This test does not require that the treatment be the same or equivalent, but that such
treatment is “fair.”

The Debtors believe the Second Amended Plan satisfies the “unfair discrimination” test. Claims of equal
priority are receiving comparable treatment and such treatment is fair under the circumstances.

                              (b)       Fair and Equitable Test

The “fair and equitable” test applies to classes of different priority and status (e.g., secured versus
unsecured) and includes the general requirement that no class of claims receive more than 100% of the
allowed amount of the claims in such class. As to dissenting classes, the test sets different standards
depending on the type of claims in such class. The Debtors believe that the Second Amended Plan
satisfies the “fair and equitable” test as further explained below.

                                        (i)       Other Secured Creditors

The Bankruptcy Code provides that each holder of an impaired secured claim either (i) retains its liens on
the property to the extent of the allowed amount of its secured claim and receives deferred cash payments
having a value, as of the effective date, of at least the allowed amount of such claim, (ii) has the right to
credit bid the amount of its claim if its property is sold and retains its liens on the proceeds of the sale or
(iii) receives the “indubitable equivalent” of its allowed secured claim.

                                        (ii)      Unsecured Creditors

The Bankruptcy Code provides that either (i) each holder of an impaired unsecured claim receives or
retains under the Second Amended Plan of reorganization, property of a value equal to the amount of its
allowed claim or (ii) the holders of claims and equity interests that are junior to the claims of the
dissenting class will not receive any property under the Second Amended Plan of reorganization. The
Second Amended Plan provides that the holders of General Unsecured Claims in Class 5 will receive the
treatment summarized above in Article V of this Disclosure Statement.

                                        (iii)     Parent Equity Interests

The Bankruptcy Code requires that either (a) each holder of an equity interest receive or retain under the
Second Amended Plan property of a value equal to the greater of (i) the fixed liquidation preference or
redemption price, if any, of such stock and (ii) the value of the stock; or (b) the holders of equity interests
that are junior to any dissenting class of equity interests not receive any property under the Second
Amended Plan. Pursuant to the Second Amended Plan, all Parent Equity Interests will be cancelled and
the holders of Parent Equity Interests will neither receive nor retain any property on account of such
interests.


                                                           134
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                                  Pg 417 of 565



                                XII.
      ALTERNATIVES TO CONFIRMATION AND CONSUMMATION OF SECOND
                            AMENDED PLAN

The Debtors have evaluated several alternatives to the Second Amended Plan. After studying these
alternatives, the Debtors have concluded that the Second Amended Plan is the best alternative and will
maximize recoveries to parties in interest, assuming confirmation and consummation of the Second
Amended Plan. If the Second Amended Plan is not confirmed and consummated, the alternatives to the
Second Amended Plan are (i) the preparation and presentation of an alternative plan of reorganization,
(ii) a sale of some or all of the Debtors’ assets pursuant to section 363 of the Bankruptcy Code, or (iii) a
liquidation under chapter 7 of the Bankruptcy Code.

          A.        Alternative Plan of Reorganization

If the Second Amended Plan is not confirmed, the Debtors (or if the Debtors’ exclusive period in which to
file a plan of reorganization has expired, any other party in interest) could attempt to formulate a different
plan. Such a plan might involve either: (i) a reorganization and continuation of the Debtors’ business or
(ii) an orderly liquidation of the Debtors’ assets. The Debtors, however, submit that the Second Amended
Plan, enables their creditors to realize the most value under the circumstances.

          B.        Sale Under Section 363 of Bankruptcy Code

If the Second Amended Plan is not confirmed, the Debtors could seek from the Bankruptcy Court, after
notice and a hearing, authorization to sell their assets through a stand-alone alternative transaction under
section 363 of the Bankruptcy Code. Upon analysis and consideration of this alternative, the Debtors do
not believe that a stand-alone alternative sale of their assets under section 363 of the Bankruptcy Code
would yield a higher recovery for holders of Claims and Interests than the Second Amended Plan.

          C.        Liquidation Under Chapter 7 or Applicable Non-Bankruptcy Law

If no plan can be confirmed, the Chapter 11 Cases may be converted to a case under chapter 7 of the
Bankruptcy Code in which a trustee would be elected or appointed to liquidate the assets of the Debtors
for distribution to the Debtors’ creditors in accordance with the priorities established by the Bankruptcy
Code.

The Debtors believe that liquidation under chapter 7 would result in smaller distributions to creditors than
those provided for in the Second Amended Plan because of the delay resulting from the conversion of the
cases and the additional administrative expenses associated with the appointment of a trustee and the
trustee’s retention of professionals who would be required to become familiar with the many legal and
factual issues in the Chapter 11 Cases.




                                                         135
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                                  Pg 418 of 565



                                             XIII.
                                CONCLUSION AND RECOMMENDATION

The Debtors believe the Second Amended Plan is in the best interests of all stakeholders and urge the
holders of Claims in Classes 3, 4, and 5 to vote in favor thereof.

Dated: September 24October 7, 2019


                                                         DEBTORS
                                                           FUSION CONNECT, INC.
                                                           FUSION BCHI ACQUISITION LLC
                                                           FUSION NBS ACQUISITION CORP.
                                                           FUSION LLC
                                                           FUSION MPHC HOLDING CORPORATION
                                                           FUSION MPHC GROUP, INC.
                                                           FUSION CLOUD COMPANY LLC
                                                           FUSION CLOUD SERVICES, LLC
                                                           FUSION CB HOLDINGS, INC.
                                                           FUSION COMMUNICATIONS, LLC
                                                           FUSION TELECOM, LLC
                                                           FUSION TEXAS HOLDINGS, INC.
                                                           FUSION TELECOM OF KANSAS, LLC
                                                           FUSION TELECOM OF OKLAHOMA, LLC
                                                           FUSION TELECOM OF MISSOURI, LLC
                                                           BIRCAN HOLDINGS, LLC
                                                           FUSION MANAGEMENT SERVICES LLC
                                                           FUSION PM HOLDINGS, INC.

                                                           By: /s/ James P. Prenetta, Jr.
                                                              Name: James P. Prenetta, Jr.
                                                              Title: Executive Vice President and
                                                              General Counsel

                                                           FUSION TELECOM OF TEXAS LTD., L.L.P.

                                                           BY: FUSION TEXAS HOLDINGS, INC., AS
                                                           LIMITED PARTNER


                                                           By: /s/ James P. Prenetta, Jr.
                                                              Name: James P. Prenetta, Jr.
                                                              Title: Executive Vice President and
                                                              General Counsel




                                   SIGNATURE PAGE TO DISCLOSURE STATEMENT
WEIL:\97197633\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj   Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57   Main Document
                                    Pg 419 of 565




                                    Summary report:
          Litéra® Change-Pro TDC 10.1.0.800 Document comparison done on
                                  10/7/2019 3:03:10 PM
      Style name: Default Style
      Intelligent Table Comparison: Active
      Original filename: Fusion - Amended Disclosure Statement 9.23.19
      (FILING).docx
      Modified DMS: iw://WEILDMS/WEIL/97221055/1
      Changes:
      Add                                                         1000
      Delete                                                      412
      Move From                                                   40
      Move To                                                     40
      Table Insert                                                3
      Table Delete                                                6
      Table moves to                                              0
      Table moves from                                            0
      Embedded Graphics (Visio, ChemDraw, Images etc.)            0
      Embedded Excel                                              0
      Format changes                                              0
      Total Changes:                                              1501
19-11811-dsj          Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57   Main Document
                                           Pg 420 of 565



                                           Exhibit C

                                      Cumulative Blackline




                                               6
WEIL:\97208644\1\47019.0005
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57                   Main Document
                                                  Pg 421 of 565



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------------- X
                                                                     :
In re                                                                :   Chapter 11
                                                                     :
FUSION CONNECT, INC., et al.,                                        :   Case No. 19-11811 (SMB)
                                                                     :
                              Debtors.1                              :   (Jointly Administered)
                                                                     :
-------------------------------------------------------------------- X


       AMENDED DISCLOSURE STATEMENT FOR SECOND AMENDED JOINT
    CHAPTER 11 PLAN OF FUSION CONNECT, INC. AND ITS SUBSIDIARY DEBTORS

        WEIL, GOTSHAL & MANGES LLP
        Gary T. Holtzer
        Sunny Singh
        Gaby Smith
        767 Fifth Avenue
        New York, New York 10153
        Telephone: (212) 310-8000
        Facsimile: (212) 310-8007


        Counsel for Debtors
        and Debtors in Possession

       Dated:       September 3October 7, 2019
                    New York, New York




1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
      identification number, as applicable, are: Fusion Connect, Inc. (2021); Fusion BCHI Acquisition LLC
      (7402); Fusion NBS Acquisition Corp. (4332); Fusion LLC (0994); Fusion MPHC Holding Corporation
      (3066); Fusion MPHC Group, Inc. (1529); Fusion Cloud Company LLC (5568); Fusion Cloud Services, LLC
      (3012); Fusion CB Holdings, Inc. (6526); Fusion Communications, LLC (8337); Fusion Telecom, LLC
      (0894); Fusion Texas Holdings, Inc. (2636); Fusion Telecom of Kansas, LLC (0075); Fusion Telecom of
      Oklahoma, LLC (3260); Fusion Telecom of Missouri, LLC (5329); Fusion Telecom of Texas Ltd., L.L.P.
      (8531); Bircan Holdings, LLC (2819); Fusion Management Services LLC (5597); and Fusion PM Holdings,
      Inc. (2478). The Debtors’ principal offices are located at 210 Interstate North Parkway, Suite 300, Atlanta,
      Georgia 30339.




WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57   Main Document
                                                  Pg 422 of 565




THE     INFORMATION   CONTAINED    IN   THIS  DISCLOSURE    STATEMENT
(THE “DISCLOSURE STATEMENT”) IS INCLUDED FOR THE PURPOSE OF SOLICITING
ACCEPTANCES OF THE SECOND AMENDED JOINT CHAPTER 11 PLAN OF FUSION
CONNECT, INC. AND ITS SUBSIDIARY DEBTORS, DATED SEPTEMBER 3OCTOBER 7,
2019 (AS MAY BE AMENDED, MODIFIED, OR SUPPLEMENTED FROM TIME TO TIME,
THE “SECOND AMENDED PLAN”) AND IS INTENDED TO BE USED SOLELY TO
DETERMINE HOW TO VOTE ON THE SECOND AMENDED PLAN.

 THE VOTING DEADLINE TO ACCEPT OR REJECT THE PLANSECOND AMENDED
 PLAN IS 4:00 P.M., PREVAILING EASTERN TIME, ON OCTOBER 17NOVEMBER 4, 2019,
 UNLESS EXTENDED BY THE DEBTORS WITH THE CONSENT OF THE FIRST LIEN
 LENDER GROUP.

 THE RECORD DATE FOR DETERMINING WHICH HOLDERS OF CLAIMS MAY VOTE
 ON THE PLANSECOND AMENDED PLAN IS SEPTEMBER 1724, 2019 AT 5:00 PM
 PREVAILING EASTERN TIME (THE “VOTING RECORD DATE”).


    RECOMMENDATION BY THE DEBTORS, THE FIRST LIEN LENDER GROUP, THE
  SECOND LIEN LENDER GROUP, AND THE OFFICIAL COMMITTEE OF UNSECURED
      CREDITORS (THE “CREDITORS’ COMMITTEE”) TO APPROVE THE SECOND
                                           AMENDED PLAN
The Restructuring Committee of the Board of Directors of Fusion Connect, Inc. (the
“Restructuring Committee”) and the board of directors, managers, limited partners or members,
as applicable, of each of its subsidiary Debtors have unanimously approved the transactions
contemplated by the Second Amended Plan and recommend that all creditors whose votes are
being solicited submit ballots to accept the Second Amended Plan. Holders of approximately 85%
of First Lien Claims (as defined herein) have already agreed to vote in favor of the Second
Amended Plan. The Second Lien Lender Group which holds 100% of Second Lien Claims (as
defined herein) and the Creditors’ Committee also supports confirmation of the Second Amended
Plan and recommends that all holders of Second Lien Claims and all unsecured creditors vote to
accept the Second Amended Plan.




WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57   Main Document
                                                  Pg 423 of 565



HOLDERS OF CLAIMS OR INTERESTS SHOULD NOT CONSTRUE THE CONTENTS OF
THIS DISCLOSURE STATEMENT AS PROVIDING ANY LEGAL, BUSINESS, FINANCIAL,
OR TAX ADVICE AND SHOULD CONSULT WITH THEIR OWN ADVISORS BEFORE
VOTING ON THE PLANSECOND AMENDED PLAN.

THE ISSUANCE AND DISTRIBUTION UNDER THE PLANSECOND AMENDED PLAN OF
NEW EQUITY INTERESTS AND/OR SPECIAL WARRANTS AND IF THE PLAN IS
ACCEPTED BY CLASS 4 (ALLOWED SECOND LIEN CLAIMS), SECOND LIEN
WARRANTS (EACH TERM AS DEFINED HEREIN) WILL BE EXEMPT FROM
REGISTRATION UNDER THE SECURITIES ACT OF 1933, AS AMENDED (THE
“SECURITIES ACT”) AND ANY OTHER APPLICABLE SECURITIES LAWS PURSUANT TO
SECTION 1145 OF THE BANKRUPTCY CODE. THESE SECURITIES MAY BE RESOLD
WITHOUT REGISTRATION UNDER THE SECURITIES ACT OR OTHER FEDERAL
SECURITIES LAWS PURSUANT TO THE EXEMPTION PROVIDED BY SECTION 4(A)(1)
OF THE SECURITIES ACT, UNLESS THE HOLDER IS AN “UNDERWRITER” WITH
RESPECT TO SUCH SECURITIES, AS THAT TERM IS DEFINED IN SECTION 1145(B)(1)
OF THE BANKRUPTCY CODE.       IN ADDITION, SUCH SECTION 1145 EXEMPT
SECURITIES GENERALLY MAY BE RESOLD WITHOUT REGISTRATION UNDER STATE
SECURITIES LAWS PURSUANT TO VARIOUS EXEMPTIONS PROVIDED BY THE
RESPECTIVE LAWS OF THE SEVERAL STATES. THE AVAILABILITY OF THE
EXEMPTION UNDER SECTION 1145 OF THE BANKRUPTCY CODE OR ANY OTHER
APPLICABLE SECURITIES LAWS SHALL NOT BE A CONDITION TO THE
OCCURRENCE OF THE EFFECTIVE DATE (AS DEFINED IN THE PLANSECOND
AMENDED PLAN).

THE NEW EQUITY INTERESTS AND/OR SPECIAL WARRANTS AND, IF THE PLAN IS
ACCEPTED BY CLASS 4 (ALLOWED SECOND LIEN CLAIMS), THE SECOND LIEN
WARRANTS, TO BE ISSUED ON THE EFFECTIVE DATE HAVE NOT BEEN APPROVED
OR DISAPPROVED BY THE SECURITIES AND EXCHANGE COMMISSION (THE “SEC”)
OR BY ANY STATE SECURITIES COMMISSION OR SIMILAR PUBLIC,
GOVERNMENTAL, OR REGULATORY AUTHORITY, AND NEITHER THE SEC NOR ANY
SUCH AUTHORITY HAS PASSED UPON THE ACCURACY OR ADEQUACY OF THE
INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT OR UPON THE
MERITS OF THE PLANSECOND AMENDED PLAN. ANY REPRESENTATION TO THE
CONTRARY IS A CRIMINAL OFFENSE.

CERTAIN STATEMENTS CONTAINED IN THIS DISCLOSURE STATEMENT, INCLUDING
STATEMENTS    INCORPORATED BY REFERENCE, PROJECTED FINANCIAL
INFORMATION, AND OTHER FORWARD-LOOKING STATEMENTS, ARE BASED ON
ESTIMATES AND ASSUMPTIONS.        CERTAIN OF THESE FORWARD-LOOKING
STATEMENTS CAN BE IDENTIFIED BY THE USE OF WORDS SUCH AS “BELIEVES,”
“EXPECTS,” “PROJECTS,” “INTENDS,” “PLANS,” “ESTIMATES,” “ASSUMES,” “MAY,”
“SHOULD,” “WILL,” “SEEKS,” “ANTICIPATES,” “OPPORTUNITY,” “PRO FORMA,”
“PROJECTIONS,” OR OTHER SIMILAR EXPRESSIONS.         THERE CAN BE NO
ASSURANCE THAT SUCH STATEMENTS WILL BE REFLECTIVE OF ACTUAL
OUTCOMES.     FORWARD-LOOKING STATEMENTS ARE PROVIDED IN THIS
DISCLOSURE STATEMENT PURSUANT TO THE SAFE HARBOR ESTABLISHED UNDER
THE PRIVATE SECURITIES LITIGATION REFORM ACT OF 1995 AND SHOULD BE
EVALUATED IN THE CONTEXT OF THE ESTIMATES, ASSUMPTIONS,




WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57   Main Document
                                                  Pg 424 of 565



UNCERTAINTIES, AND RISKS DESCRIBED HEREIN AND IN FUSION CONNECT’S (AS
DEFINED HEREIN) FILINGS WITH THE SEC.

READERS ARE CAUTIONED THAT ANY FORWARD-LOOKING STATEMENTS
CONTAINED HEREIN ARE BASED ON ASSUMPTIONS THAT ARE BELIEVED TO BE
REASONABLE, BUT ARE SUBJECT TO A WIDE RANGE OF RISKS, INCLUDING THOSE
IDENTIFIED IN SECTION IX OF THIS DISCLOSURE STATEMENT. IMPORTANT
ASSUMPTIONS AND OTHER IMPORTANT FACTORS THAT COULD CAUSE ACTUAL
RESULTS TO DIFFER MATERIALLY FROM THOSE EXPECTED ALSO INCLUDE, BUT
ARE NOT LIMITED TO, THOSE FACTORS, RISKS, AND UNCERTAINTIES DESCRIBED
IN MORE DETAIL UNDER THE HEADING “RISK FACTORS” AND ELSEWHERE IN THE
ANNUAL, QUARTERLY AND CURRENT REPORTS OF FUSION CONNECT, INCLUDING
AMENDMENTS THERETO, AND ITS OTHER FILINGS WITH THE SEC. DUE TO THESE
UNCERTAINTIES, READERS CANNOT BE ASSURED THAT ANY FORWARD-LOOKING
STATEMENTS WILL PROVE TO BE CORRECT. THE DEBTORS ARE UNDER NO
OBLIGATION TO (AND EXPRESSLY DISCLAIM ANY OBLIGATION TO) UPDATE OR
ALTER ANY FORWARD-LOOKING STATEMENTS WHETHER AS A RESULT OF NEW
INFORMATION, FUTURE EVENTS, OR OTHERWISE, UNLESS INSTRUCTED TO DO SO
BY THE BANKRUPTCY COURT (AS DEFINED BELOW).

THE STATEMENTS CONTAINED IN THIS DISCLOSURE STATEMENT ARE MADE AS OF
THE DATE HEREOF UNLESS OTHERWISE SPECIFIED.      THE TERMS OF THE
PLANSECOND AMENDED PLAN GOVERN IN THE EVENT OF ANY INCONSISTENCY
WITH THE SUMMARIES IN THIS DISCLOSURE STATEMENT.

THE INFORMATION IN THIS DISCLOSURE STATEMENT IS BEING PROVIDED SOLELY
FOR PURPOSES OF VOTING TO ACCEPT OR REJECT THE PLANSECOND AMENDED
PLAN OR IN CONNECTION WITH CONFIRMATION OF THE PLANSECOND AMENDED
PLAN. NOTHING IN THIS DISCLOSURE STATEMENT MAY BE USED BY ANY PARTY
FOR ANY OTHER PURPOSE.

ALL EXHIBITS TO THE DISCLOSURE STATEMENT ARE INCORPORATED INTO, AND
ARE MADE A PART OF, THIS DISCLOSURE STATEMENT AS IF SET FORTH IN FULL
HEREIN.




WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57   Main Document
                                                 Table of Contents
                                                  Pg 425   of 565

                                                                                           Page


I. INTRODUCTION                                                                               1
       Summary of Plan Release and Exculpation Provisions                                     9

II. OVERVIEW OF COMPANY’S OPERATIONS                                                       1012
          A.     Debtors’ Business                                                         1012
          B.     Debtors’ Organizational Structure                                         1114
          C.     Directors and Officers                                                    1215
          D.     Regulation of Company’s Business                                          1317
          E.     Debtors’ Existing Capital Structure                                       1418

III. CIRCUMSTANCES LEADING TO COMMENCEMENT OF CHAPTER 11 CASES                             1721
        A. Birch Merger                                                                    1721
          B.     Amortization and Interest Payments                                        1722
          C.     Vendor Relationships and Lingo Dispute                                    1822
          D.     Pursuit of New Equity Investment                                          1822
          E.     Forbearance Agreement                                                     1822
          F.     Super Senior Financing                                                    1823
          G.     Formation of Restructuring Committee and Special Committee 18               23
          H.     Formation and Function of Special Committee                                 24
          HI.    Marketing Process                                                         1925
          IJ.    Alternative Restructuring Proposals                                       2025

IV. OVERVIEW OF THE CHAPTER 11 CASES                                                       2025
      A. Commencement of Chapter 11 Cases and First Day Motions                            2025
          B.     DIP Facility and Cash Collateral                                          2026
          C.     Procedural Motions and Retention of Professionals                        2330
          D.     Appointment of the Creditors’ Committee                                   2430
          E.     Schedules and Statements; Rule 2015.3 Financial Reports                   2430
          F.     Bar Date                                                                  2430
          G.     Lease Rejection Motions                                                   2430
          H.     Exclusivity                                                                 31
          HI.    Litigation Matters                                                        2431
          IJ.    Marketing Process and Bidding Procedures                                  2532
          K.     Creditors’ Committee’s Investigation                                        32
          JL.    Plan Settlement Negotiations and the Global Settlement                    2532



                                                         i
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57           Main Document
                                                 Table of Contents
                                                  Pg 426  of 565
                                                         (continued)
                                                                                                    Page


V. SUMMARY OF AMENDED PLAN 27AMENDED PLAN                                                             35
          A.     Administrative Expense and Priority Claims.                                       2735
          B.     Classification of Claims and Interests.                                           2937
          C.     Treatment of Claims and Interests.                                                3038
          D.     Means for Implementation.                                                         3441
          E.     Distributions.                                                                    4756
          F.     Procedures for Disputed Claims.                                                   5260
          G.     Executory Contracts and Unexpired Leases.                                         5462
          H.     Conditions Precedent to Confirmation of Plan and Effective Date.                  5766
          I.     Effect of Confirmation of Plan.                                                   6069
          J.     Retention of Jurisdiction.                                                          767
          K.     Miscellaneous Second Amended Plan Provisions.                                     6978

VI. TRANSFER RESTRICTIONS AND CONSEQUENCES UNDER FEDERAL
     SECURITIES LAWS                                                                                7383

VII. REGULATORY MATTERS                                                                            7484

VIII. CERTAIN U.S. FEDERAL INCOME TAX CONSEQUENCES OF AMENDEDSECOND
      AMENDED PLANN 80                                                                               90
       A. Consequences to the Debtors.                                                             8190
          B.     Consequences to Holders of Certain Claims                                         8493
          C.     Tax Treatment of Litigation Trust and Holders of Litigation Trust Interests      94103
          D.     Information Reporting and Withholding                                            96105

IX. CERTAIN RISK FACTORS TO BE CONSIDERED                                                         96105
      A. Certain Bankruptcy Law Considerations                                                    97106
          B.     Additional Factors Affecting Value of Reorganized Debtors                        99108
          C.     Risks Relating to Debtors’ Business and Financial Condition                      99109
          D.     Factors Relating to Securities to be Issued Under Second Amended Plan, Generally 101111
          E.     Risk Related to Obtaining Exit Financing                                        102111
          F.     Risks Related to Investment in New Equity Interests                             102111
          G.     Additional Factors                                                              103112

X. VOTING PROCEDURES AND REQUIREMENTS                                                            104113
      A. Voting Deadline                                                                         104113
          B.     Voting Procedures                                                               104114
          C.     Parties Entitled to Vote                                                        104114


                                                             ii
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57   Main Document
                                                 Table of Contents
                                                  Pg 427  of 565
                                                         (continued)
                                                                                           Page


XI. CONFIRMATION OF AMENDEDAMENDED PLAN                                                  107117
          A.     Confirmation Hearing                                                    107117
          B.     Objections to Confirmation                                              107117
          C.     Requirements for Confirmation of Second Amended Plan                    109119

XII. ALTERNATIVES TO CONFIRMATION AND CONSUMMATION OF SECOND
      AMENDED PLAN                                                                       112124
       A. Alternative Plan of Reorganization                                             113124
          B.     Sale Under Section 363 of Bankruptcy Code                               113124
          C.     Liquidation Under Chapter 7 or Applicable Non-Bankruptcy Law            113124

XIII. CONCLUSION AND RECOMMENDATION                                                      114126




                                                             iii
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57   Main Document
                                                 Table of Contents
                                                  Pg 428  of 565
                                                         (continued)
                                                                                           Page


EXHIBIT A:          Amended Joint Plan of Reorganization

EXHIBIT B:          Restructuring Support Agreement

EXHIBIT C:          Financial Projections (To Be Filed Separately)

EXHIBIT D:          Liquidation Analysis (To Be Filed Separately)

EXHIBIT E:          Valuation Analysis (To Be Filed Separately)




                                                             iv
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57              Main Document
                                                  Pg 429 of 565



                                                         I.
                                                    INTRODUCTION

Fusion Connect, Inc. (“Fusion Connect” or “FCI”) and its U.S. subsidiary debtors (collectively, the
“Debtors” and together with FCI’s non-debtor Canadian subsidiaries, the “Company”) submit this
Disclosure Statement pursuant to Section 1125 of the Bankruptcy Code in connection with the solicitation
of votes with respect to the Second Amended Plan.1 The Second Amended Plan is annexed hereto as
Exhibit A and is incorporated herein by reference. The Debtors commenced their chapter 11 cases (the
“Chapter 11 Cases”) in the United States Bankruptcy Court for the Southern District of New York (the
“Bankruptcy Court”) on June 3, 2019 (the “Commencement Date”).

The purpose of this Disclosure Statement, including the exhibits annexed hereto, is to provide information
of a kind, and in sufficient detail, to enable creditors of the Debtors that are entitled to vote on the Second
Amended Plan to make an informed decision on whether to vote to accept or reject the Second Amended
Plan. This Disclosure Statement contains summaries of the Second Amended Plan, certain statutory
provisions, events contemplated in the Chapter 11 Cases, and certain documents related to the Second
Amended Plan.

Fusion Connect is the ultimate parent of twenty (20) direct and indirect subsidiaries, eighteen (18) of
which, together with Fusion Connect, are Debtors in these Chapter 11 Cases. The Company is a provider
of integrated cloud solutions to small, medium, and large businesses in the United States and residential
and business customers in Canada. The Company offers services to customers, enabling them to
successfully migrate to and efficiently use the increasing power of the cloud. Such services include cloud
communications, cloud connectivity, and cloud computing. A significant part of the Company’s historical
expansion strategy has been to make strategic acquisitions of other providers. In May and June of 2018,
the Company closed a reverse merger transaction with Birch Communications Holdings, Inc. (“Birch”
and such transaction, the “Birch Merger”) and an acquisition of MegaPath Holding Corp. (“MegaPath”
and such transaction, the “MegaPath Merger”), respectively. The Company pursued the Birch Merger
with a vision of leveraging its existing processes and structures to create synergies between Fusion
Connect’s and Birch’s joined customer bases, combine network infrastructure assets to improve
operational efficiencies, and ultimately drive material growth in the combined companies’ annual revenue.
In connection with the Birch Merger and the MegaPath Merger, the Company incurred $680 million in
secured debt.

Due to underperformance compared to business projections, the Company found itself with limited
liquidity and at risk of default under its debt documents by early 2019. Accordingly, in early 2019, the
Company began its formal review of strategic alternatives, including by engaging in dialogue and
communications with its key stakeholders. These efforts culminated in a restructuring support agreement
(the “Restructuring Support Agreement”) with the First Lien Lender Group — the Company’s senior
creditors — holding, in the aggregate, over 66 2/3% in aggregate principal amount of the outstanding First
Lien Claims. The Restructuring Support Agreement contemplates the continuation of the Company’s




1
      Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in the Second
      Amended Plan. To the extent any inconsistencies exist between this Disclosure Statement and the Second
      Amended Plan, the Second Amended Plan shall govern.




WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57               Main Document
                                                  Pg 430 of 565



prepetition marketing process that commenced in May 2019. A copy of the Restructuring Support
Agreement is attached hereto as Exhibit B.2

By virtue of the Restructuring Support Agreement, the Company commenced the Chapter 11 Cases with a
clear path to a confirmable chapter 11 plan of reorganization and a viable recapitalization — in which,
among other things, approximately $272411 million in funded debt will be extinguished, leaving a
significantly deleveraged reorganized Company wholly owned by the First Lien Lenders and an
appropriately sized exit working capital facility (the “Reorganization Transaction”). In addition, the
Restructuring Support Agreement also provides for the continuation of the Company’s prepetition
marketing process (the “Prepetition Marketing Process” and together with the postpetition sale and
marketing process, the “Marketing Process”). Pursuant to the Marketing Process, any and all bids for
all or some portion of the Company’s business have been evaluated as a precursor to confirmation of the
chapter 11 plan. The Marketing Process has provided a public and competitive forum in which the
Debtors sought bids or proposals for potential transactions that, if representing higher or otherwise better
value for creditors of the Debtors than the Reorganization Transaction, would have been pursued in lieu
of the Reorganization Transaction (the “Sale Transaction”).

The Debtors solicited bids for an investment in, or other acquisition of, the Debtors’ domestic business
(the “U.S. Business”), FCI’s Canadian business (the “Canadian Business”) and the U.S. Business and
the Canadian Business on a consolidated basis. Pursuant to the Bidding Procedures Order, the deadline
for parties to submit non-binding indications of interest was July 16, 2019. The Debtors and their
advisors have evaluated the indications of interest received and communicated with numerous potential
bidders, including the Second Lien Lenders. Based on this analysis, and with the support of each of the
Consultation Parties3 (as defined in the Bidding Procedures Order), the Debtors have decided to terminate
the Marketing Process solely with respect to their U.S. Business and to pursue the Reorganization
Transaction.3

Upon consummation of the Reorganization Transaction, on the Effective Date, pursuant to and in
accordance with the Second Amended Plan, the Reorganized Debtors will, among other things: (a) issue
one hundred percent (100%) of the issued and outstanding New Equity Interests and Special Warrantsto
be issued on the Effective Date to the holders of Allowed First Lien Claims (subject to dilution by the
Special Warrants and Management Incentive Plan and, if the Amended Plan is accepted by Class 4
(Second Lien Claims), the Second Lien Warrants, if exercised) in accordance with the Equity Allocation
Mechanism, and the Special Warrant Agreement, and the Second Lien Warrant Agreement (if any), (b) if
the Amended Plan is accepted by Class 4 (Second Lien Claims), issue the Second Lien Warrants,
including a distribution of the Special Warrants to the holders of Allowed First Lien Claims in an amount
such that, after the exercise of all Special Warrants issued on the Effective Date, holders of Allowed First
Lien Claims would hold ninety-seven and one-half percent (97.5%) of the issued and outstanding New
Equity Interests (subject to dilution by the Management Incentive Plan), (b) issue the Special Warrants to
the holders of Allowed Second Lien Claims in an amount such that, after the exercise of all Special
Warrants issued on the Effective Date, holders of Allowed Second Lien Claims would hold two and one-
half percent (2.5%) of the issued and outstanding New Equity Interests (subject to dilution by the




2
      The signature pages for the Consenting First Lien Lenders (as defined in the Restructuring Support
      Agreement) have been removed from Exhibit B.
3
      The Company and its advisors continue to evaluate proposals for the sale of the Canadian Business.
3
      The Company and its advisors continue to evaluate proposals for the sale of the Canadian Business.


                                                         2
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57           Main Document
                                                  Pg 431 of 565



Management Incentive Plan), (c) enter into the New Exit Facility Credit Agreement of up to, which is
currently estimated to consist of loans and undrawn revolving commitments in an aggregate amount of
$125 million, the proceeds of which would provide for the payment of the DIP Facility and provide
liquidity for the Company’s working capital purposes;, and (d) enter into the New First Lien Credit
Agreement of up to $275225 million to be issued to holders of Allowed First Lien Clams.

The Debtors filed their initial chapter 11 plan on July 1, 2019 (ECF No. 146) (the “Initial Plan”) with the
support of the First Lien Lender Group. The Creditors’ Committee, however, raised a number of
informalcertain concerns and potential objections with respect to the Initial Plan. Since filing the Initial
Plan, the Debtors and the First Lien Lender Group engaged in numerous discussions with the Creditors’
Committee regarding Plan-related issues in order to determine whether support of the Creditors’
Committee could be secured for a consensual. The Debtors filed an amended chapter 11 plan. The (ECF
No. 368) dated as of September 3, 2019, which reflects the terms of a settlement reached by the Debtors,
the Creditors’ Committee, and the First Lien Lender Group have reached a settlement (the “Global
Settlement”),. tThe terms of whichthe Global Settlement are incorporated in thethat Amended Plan filed
contemporaneously herewith and whichand the Global Settlement is set out in greater detail in Section
4(JL) of this Disclosure Statement. Pursuant to the Global Settlement, a litigation trust will be created
and initially funded with $1.5 million (and have a committed loan from Reorganized FCI for an additional
$3.5 million, available to be drawn in installments) to pursue certain causes of action. The proceeds of
the litigation trust will be shared among Reorganized FCI and holders of Litigation Trust Interests as
described in Section 4(JL) below.

During the Chapter 11 Cases, the Debtors, the First Lien Lender Group, and the Creditors’ Committee
have also engaged with an ad hoc group of holders of the Second Lien Claims (the “Second Lien Lender
Group”), which collectively holds one hundred percent (100%) of Second Lien Claims regarding the
terms of the Plan. On September 20, 2019, the Second Lien Lender Group filed an objection to the
Disclosure Statement that included potential objections to the Initial Plan and the Global Settlement,
including the proposed scope and beneficiaries of the releases and exculpation provisions of the Initial
Plan, among other issues. The Second Lien Lender Group also served discovery requests on the Debtors
and other parties. On September 24, 2019, the Debtors announced that the parties had reached a
settlement in principle on the terms of the Second Amended Plan and Global Settlement.
Contemporaneously herewith, the Debtors have filed the Second Amended Plan, which incorporates the
resolution reached among the Debtors, the First Lien Lender Group, the Second Lien Lender Group, and
the Creditors’ Committee and the amended terms of the Global Settlement.

Generally, the Second Amended Plan contemplates the following treatment for creditors or interest holders
under the Reorganization Transaction.

         As part of the restructuring contemplated by the Restructuring Support Agreement, the First Lien
          Lender Group backstopped a debtor-in-possession financing in the aggregate amount of $59.5
          million (the “DIP Facility”) to support the Company’s operations during the Chapter 11 Cases.
          On the Effective Date, the DIP Facility will be paid in full in cash or refinanced in full in cash
          from borrowing under the Exit Financing Facility.

         First Lien Claims. On the Effective Date, the holders of First Lien Claims will receive their Pro
          Rata share of (i) the First Lien Lender Equity Distribution (consisting of one hundred percent
          (100%) of the New Equity Interests issued and outstanding on the Effective Date and Special
          Warrants that, when all Special Warrants are exercised on a fully distributed basis, will cause
          holders of First Lien Claims to hold ninety-seven and one-half percent (97.5%) of the New Equity
          Interests (subject to dilution by the Management Incentive Plan)); provided, that, notwithstanding
          anything herein or in the Second Amended Plan to the contrary, the distribution of the First Lien

                                                         3
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57           Main Document
                                                  Pg 432 of 565



          Lender Equity Distribution shall be made pursuant to, and subject to the terms and conditions of,
          the Equity Allocation Mechanism attached as Exhibit A to the Second Amended Plan, less any
          New Equity Interests and/or Special Warrants distributable to other classes of Claims in order for
          the Bankruptcy Court to determine that the Amended Plan satisfies section 1129(a)(7) of the
          Bankruptcy Code; (ii) the loans under the New First Lien Credit Facility in the aggregate amount
          of up to $275225.0 million (the “New First Lien Term Loans”); and (iii) cash or other proceeds,
          if any, from the sale of the Debtors’ Canadian Business unless otherwise agreed to by the
          Requisite First Lien Lenders.

         Second Lien Claims. On the Effective Date, the holders of Second Lien Claims will receive (i) if
          Class 4 is an Accepting Class, a Pro Rata share of Second Lien Warrants, in full satisfaction of
          its Allowed Second Lien Claim and Second Lien Deficiency Claim; provided, that,
          notwithstanding anything herein or in the Amended Plan to the contrary, the distribution of the
          Second Lien Warrants shall be made pursuant to and subject to (a) the Communications Act of
          1934 (as amended, the “Communications Act”) and the rules and regulations of the Federal
          Communications Commission (“FCC”); (b) state laws, rules, and regulations; and (c) the rules or
          regulations of the various state public utility commissions or public service commissions (the
          “State PUCs”); or (ii) if Class 4 is not an Accepting Class, their Pro Rata share of (x) the
          Litigation Trust Interests on account of each holder’s Second Lien Deficiency Claims (subject to
          the terms and conditions of the Prepetition Intercreditor Agreement) and (y) the percentage of the
          New Equity Interests and/or their Pro Rata share of the Second Lien Lender Special Warrant
          Distribution (consisting of Special Warrants, as determined by the Bankruptcy Court to satisfy
          section 1129(a)(7) of the Bankruptcy Code as to that, when all Special Warrants are exercised on
          a fully distributed basis, will cause holders of Second Lien Claims (if any). On the Effective
          Date, the Prepetition Second Lien Credit Agreement will be deemed cancelled except as otherwise
          stated in the Amended Plan.to hold two and one-half percent (2.5%) of the New Equity Interests
          (subject to dilution by the Management Incentive Plan).

         General Unsecured Claims. On the Effective Date, the holders of General Unsecured Claims will
          receive their Pro Rata share of the Litigation Trust Interests.

         Parent Equity Interests. On the Effective Date, the Parent Equity Interests will be extinguished
          and shall be of no further force and effect, whether surrendered for cancellation or otherwise.

         All Priority Non-Tax Claims, Other Secured Claims, Intercompany Claims, and Intercompany
          Interests are Unimpaired under the Second Amended Plan.

         Following the Effective Date, Reorganized FCI will adopt a post-emergence management
          incentive plan (the “Management Incentive Plan”), under which up to ten percent (10%) of the
          New Equity Interests (after taking into account the shares to be issued under the Management
          Incentive Plan) will be reserved for issuance as awards on terms and conditions as agreed to by
          the New Board.

The Equity Allocation Mechanism. As set forth in Section VII herein, the Debtors hold certain licenses
and telecommunications service authority necessary for their business operations. The Federal
Communications Commission (the “FCC”) and the various state public utility commissions or public
service commissions (the “State PUCs”) require that entities holding such licenses and authority obtain
prior consent in the event of a material change in the equity or voting ownership of the licensed entities.
Moreover, Section 310(b) of the Communications Act and the FCC’s foreign ownership rules limit the
aggregate foreign equity ownership or aggregate foreign voting percentage in Reorganized FCI to twenty-
five percent (25%) absent the issuance of a Declaratory Ruling by the FCC finding that the public interest


                                                         4
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57          Main Document
                                                  Pg 433 of 565



would not be served by refusing or revoking the Company’s licenses. In order to allow Reorganized FCI
to emerge without the need to seek such a Declaratory Ruling, the Equity Allocation Mechanism is
designed so that foreign ownership of the Company will not exceed twenty-two and one-half percent
(22.5%) at emergence. In addition, because the FCC rules require that Reorganized FCI disclose the
identity of any individual or entity that holds ten percent (10%) or more of its equity or voting interests,
the Equity Allocation Mechanism is designed so that, with the exception of Telecom Holdings, holders
cannot hold equity ownership or voting rights in Reorganized FCI in excess of nine and three-quarters
percent (9.75%). As such, the Debtors have submitted applications to the FCC and the State PUCs to
obtain authorization for Telecom Holdings, LLC, a domestic U.S. entity established by the First Lien
Lenders, to hold in excess of fifty percent (50%) but no more than seventy-seven and one-half percent
(77.5%) of New Equity Interests on the Effective Date. Telecom Holdings, LLC is owned by twelve (12)
U.S. Holders (as defined below). The remainder of the New Equity Interests in Reorganized FCI will be
distributed on a Pro Rata basis to all other holders of First Lien Claims, who, together with Telecom
Holdings, LLC, will hold one hundred percent (100%) of the New Equity Interests in Reorganized FCI on
the Effective Date. The other holders of First Lien Claims will also receive Special Warrants in
accordance with the procedures set forth in the Equity Allocation Mechanism. In total, the combination of
New Equity Interests and Special Warrants issued to holders of First Lien Claims will represent ninety-
seven and one-half percent (97.5%) of Reorganized FCI’s Common Stock on a fully diluted basis after the
Exercise Date. All holders of Second Lien Claims will receive Special Warrants representing two and
one-half percent (2.5%) of Reorganized FCI’s Common Stock on a fully diluted basis, pursuant to the
Second Lien Lender Special Warrant Distribution.

The First Lien Lender Equity Distribution, along with the Equity Allocation Mechanism, govern the
distribution of New Equity Interests and/or Special Warrants to the First Lien Lenders on the Effective
Date. On the Effective Date, holders of First Lien Claims will receive New Equity Interests to the
maximum extent permissible by relevant FCC rules and regulations, and will receive Special Warrants,
which may be freely transferred or sold, subject to applicable laws, for the remainder of the value of such
Claims. The implied value of the Special Warrants is equal to the value of a proportionate amount of
New Equity Interests. On the Effective Date or shortly thereafter, Reorganized FCI will submit a Petition
for Declaratory Ruling seeking authority to exceed twenty-five percent (25%) of foreign ownership and
other applications with the FCC and State PUCs needed to obtain other relevant regulatory approvals.
Once such approvals are obtained, holders of Special Warrants are automatically deemed to exercise their
Special Warrants in exchange for a corresponding number of New Equity Interests and convert into direct
equity of Reorganized FCI, subject to the procedures set forth in the Special Warrant Agreement and the
relevant regulatory approvals.

Included in this Amended Disclosure Statement are the Financial Projections, a revised Liquidation
Analysis, and the Valuation Analysis, each attached to this Amended Disclosure Statement as Exhibit C,
Exhibit D, and Exhibit E, respectively. In preparing each of these exhibits, the Debtors worked closely
with their advisors to develop a reasonably achievable business plan. The revisions to the Company’s
business plan involved, among other measures, observation and modeling of base trends and past
performance followed by forecasting of individual items, including revenue, expenses, and other line
items. The Debtors consulted with numerous internal and external parties and advisors to ensure that this
business plan was constructed with the utmost understanding of the Company’s business from financial,
regulatory, and marketing perspectives. The Debtors and their advisors also considered industry trends in
the development of the business plan, including both macro-trends within the telecommunications industry
and trends at the product level.

TheWith this background, the Company and its advisors have concluded that the Reorganization
Transaction is expected to leave the U.S. business intact and significantly deleverage the Company’s


                                                         5
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57          Main Document
                                                  Pg 434 of 565



balance sheet. It is also expected to enhance Fusion Connect’s long-term growth prospects and
operational performance.

Accomplishing a speedy and efficient resolution of the Chapter 11 Cases is essential to maximizing the
value of the Company. Under the Restructuring Support Agreement and pursuant to the terms of the DIP
Documents, the Debtors are obligated to meet certain milestones. Specifically, the Restructuring Support
Agreement and the DIP Facility may be terminated if, among other things, the Debtors fail to satisfy the
following milestones (unless the Requisite First Lien Lenders (as defined in the Restructuring Support
Agreement) agree to extend the relevant milestone in advance or waive the default):

                          Milestone                          Deadline (as extended from time to time)
  Entry of Order Approving Bidding Procedures
  (as defined below)                                     July 3, 2019

  Commence Solicitation of Non-Binding
  Indications of Interest (“Exit Financing IOIs”)        July 3, 2019

  Entry of Final DIP Order                               July 8, 2019
  Deadline to Receive Exit Financing IOIsFiling
  of State PUC Applications                              July 16August 10, 2019

  Filing of FCC ApplicationsEntry of Order
  Approving Disclosure Statement                         September 10October 11, 2019

  Receive Binding Commitment Letter for the
  New Exit Credit Agreement                              September 6November 1, 2019

  Entry of Order Approving Disclosure Statement          September 17, 2019
  Entry of Order Confirming Second Amended               October 30November 14, 2019 (Pending the
  Plan                                                   Court’s availability)
                                                         October 30December 4, 2019 (or NovDecember
  Occurrence of Second Amended Plan Effective            1419, 2019 if 15-day extension is exercised in
  Date                                                   accordance with the terms of the Restructuring
                                                         Support Agreement)
  THE DEBTORS, THE CREDITORS’ COMMITTEE, AND THE FIRST LIEN LENDER
  GROUP, AND THE SECOND LIEN LENDER GROUP SUPPORT CONFIRMATION OF
  THE SECOND AMENDED PLAN AND URGE ALL HOLDERS OF CLAIMS ENTITLED
  TO VOTE ON THE SECOND AMENDED PLAN TO VOTE TO ACCEPT THE SECOND
  AMENDED PLAN, BECAUSE THEY BELIEVE THAT THE SECOND AMENDED PLAN
  PROVIDES THE HIGHEST AND BEST RECOVERY FOR ALL STAKEHOLDERS.




WHO IS ENTITLED TO VOTE: Under the Bankruptcy Code, only holders of claims or interests in
“impaired” Classes are entitled to vote on the Second Amended Plan (unless, for reasons discussed in
more detail below, such holders are deemed to reject the Second Amended Plan pursuant to section
1126(g) of the Bankruptcy Code). Under section 1124 of the Bankruptcy Code, a class of claims or
interests is deemed to be “impaired” unless (i) the Second Amended Plan leaves unaltered the legal,


                                                         6
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57          Main Document
                                                  Pg 435 of 565



equitable, and contractual rights to which such claim or interest entitles the holder thereof or
(ii) notwithstanding any legal right to an accelerated payment of such claim or interest, the Second
Amended Plan, among other things, cures all existing defaults (other than defaults resulting from the
occurrence of events of bankruptcy) and reinstates the maturity of such claim or interest as it existed
before the default.

Holders of Claims in Class 3 (First Lien Claims), Class 4 (Second Lien Claims), and Class 5 (General
Unsecured Claims) are the only Classes being solicited under, and the only Classes entitled to vote on, the
Second Amended Plan.

THE SECOND AMENDED PLANPLAN PROVIDES THAT THE HOLDERS OF CLAIMS IN
CLASS 3, CLASS 4, AND CLASS 5 WHO VOTE TO ACCEPT THE SECOND AMENDED
PLANPLAN ARE DEEMED TO HAVE GRANTED THE RELEASES CONTAINED IN
SECTION 10.6(b) OF THE AMENDED PLANSECOND AMENDED PLAN.

The following table summarizes (i) the treatment of Claims and Interests that are classified under the
Second Amended Plan, (ii) which Classes are impaired by the Second Amended Plan, (iii) which Classes
are entitled to vote on the Second Amended Plan, and (iv) the estimated recoveries for holders of Claims
and Interests in the Reorganization Transaction. The table is qualified in its entirety by reference to the
full text of the Second Amended Plan. For a more detailed summary of the terms and provisions of the
Second Amended Plan, see Article V—Summary of Second Amended Plan below. The Second Amended
Plan constitutes a separate plan for each Debtor. Each class of Claims and Interests only address claims
against or interest in a particular Debtor. A discussion of the amount of Claims in each Class is set forth
in Article V.C hereof.




                                                         7
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
  19-11811-dsj              Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57                Main Document
                                                       Pg 436 of 565



                                                                                             Entitled to   Approx.
                                                                                               Vote on   Recovery in
               Claim or                                                          Impaired or
Class                                                   Treatment                            the Second Reorganization
             Equity Interest                                                     Unimpaired
                                                                                              Amended
                                                                                                Plan
                                    Except to the extent that a holder of an
                                    Allowed Priority Non-Tax Claim against the
                                    Debtors agrees to a less favorable treatment of
                                    such Claim, in full and final satisfaction of
                                    such Allowed Priority Non-Tax Claim, at the
                                    sole option of the Debtors or the Reorganized
                                    Debtors, as applicable: (i) each such holder
                                    shall receive payment in Cash in an amount
                                    equal to such Claim, payable on the later of               No
 1           Priority Non-Tax       the Effective Date and the date that is ten Unimpaired (Presumed         100.0%
                  Claims            (10) Business Days after the date on which             to Accept)
                                    such Priority Non-Tax Claim becomes an
                                    Allowed Priority Non-Tax Claim, or as soon
                                    thereafter as is reasonably practicable; or
                                    (ii) such holder’s Allowed Priority Non-Tax
                                    Claim shall be Reinstated; or (iii) such holder
                                    shall receive such other treatment so as to
                                    render such holder’s Allowed Priority Non-
                                    Tax Claim Unimpaired.
                                    Except to the extent that a holder of an
                                    Allowed Other Secured Claim agrees to
                                    different treatment, on the later of the
                                    Effective Date and the date that is ten (10)
                                    Business Days after the date such Other
                                    Secured Claim becomes an Allowed Claim, or
                                    as soon thereafter as is reasonably practicable,
                                    each holder of an Allowed Other Secured
                                    Claim will receive, on account of such
              Other Secured                                                                         No       100.0%
                                    Allowed Claim, at the sole option of the
 2               Claims                                                              Unimpaired (Presumed
                                    Debtors or the Reorganized Debtors, as
                                                                                                to Accept)
                                    applicable: (i) Cash in an amount equal to
                                    the Allowed amount of such Claim;
                                    (ii) Reinstatement of such holder’s Allowed
                                    Other Secured Claim; or (iii) such other
                                    treatment sufficient to render such holder’s
                                    Allowed Other Secured Claim Unimpaired;
                                    or (iv) return of the applicable collateral in
                                    satisfaction of the Allowed amount of such
                                    Other Secured Claim.




                                                                    8
     WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
  19-11811-dsj              Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57                Main Document
                                                       Pg 437 of 565



                                                                                                Entitled to   Approx.
                                                                                                  Vote on   Recovery in
               Claim or                                                             Impaired or
Class                                                   Treatment                               the Second Reorganization
             Equity Interest                                                        Unimpaired
                                                                                                 Amended
                                                                                                   Plan
                                    Except to the extent that a holder of an
                                    Allowed Priority Non-Tax Claim against the
                                    Debtors agrees to a less favorable treatment of
                                    such Claim, in full and final satisfaction of
                                    such Allowed Priority Non-Tax Claim, at the
                                    sole option of the Debtors or the Reorganized
                                    Debtors, as applicable: (i) each such holder
                                    shall receive payment in Cash in an amount
                                    equal to such Claim, payable on the later of               No
 1           Priority Non-Tax       the Effective Date and the date that is ten Unimpaired (Presumed             100.0%
                  Claims            (10) Business Days after the date on which             to Accept)
                                    such Priority Non-Tax Claim becomes an
                                    Allowed Priority Non-Tax Claim, or as soon
                                    thereafter as is reasonably practicable; or
                                    (ii) such holder’s Allowed Priority Non-Tax
                                    Claim shall be Reinstated; or (iii) such holder
                                    shall receive such other treatment so as to
                                    render such holder’s Allowed Priority Non-
                                    Tax Claim Unimpaired.
                                    Except to the extent that a holder of an
                                    Allowed Other Secured Claim agrees to
                                    different treatment, on the later of the
                                    Effective Date and the date that is ten (10)
                                    Business Days after the date such Other
                                    Secured Claim becomes an Allowed Claim, or
                                    as soon thereafter as is reasonably practicable,
                                    each holder of an Allowed Other Secured
                                    Claim will receive, on account of such
              Other Secured                                                                         No           100.0%
                                    Allowed Claim, at the sole option of the
 2               Claims                                                              Unimpaired (Presumed
                                    Debtors or the Reorganized Debtors, as
                                                                                                to Accept)
                                    applicable: (i) Cash in an amount equal to
                                    the Allowed amount of such Claim;
                                    (ii) Reinstatement of such holder’s Allowed
                                    Other Secured Claim; or (iii) such other
                                    treatment sufficient to render such holder’s
                                    Allowed Other Secured Claim Unimpaired;
                                    or (iv) return of the applicable collateral in
                                    satisfaction of the Allowed amount of such
                                    Other Secured Claim.
 3           First Lien Claims Except to the extent that a holder of a First Lien    Impaired      Yes       [TBD]60.0-76.1%
                               Claim agrees to less favorable treatment, in full
                               and final satisfaction, settlement, release, and
                               discharge of, and in exchange for such First
                               Lien Claim, each such holder thereof (or, with
                               respect to any New Equity Interests to be issued
                               pursuant to the First Lien Lender Equity
                               Distribution, such holder’s permitted designee)
                               shall receive on the Effective Date such holder’s
                               Pro Rata share of (a) the First Lien Lender


                                                                    9
     WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57   Main Document
                                                  Pg 438 of 565


                              Equity Distribution; provided, that
                              notwithstanding anything hereinin the Second
                              Amended Plan to the contrary, the distribution
                              of the First Lien Lender Equity Distribution
                              shall be made pursuant to, and subject to the
                              terms and conditions of, the Equity Allocation
                              Mechanism, less any New Equity Interests
                              and/or Special Warrants distributable to other
                              classes of Claims in order for the Bankruptcy
                              Court to determine that the Amended Plan
                              satisfies section 1129(a)(7) of the Bankruptcy
                              Code; (b) the loans under the New First Lien
                              Credit Facility; and (c) cash or other proceeds,
                              if any, from the sale of the Debtors’ Canadian
                              business unless otherwise agreed to by the
                              Requisite First Lien Lenders.

                              For the avoidance of doubt, on the Effective
                              Date, the Prepetition First Lien Credit
                              Agreement shall be deemed cancelled (except as
                              set forth in Section 5.9 of the Second Amended
                              Plan) without further action by or order of the
                              Bankruptcy Court.




                                                            10
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj               Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57             Main Document
                                                      Pg 439 of 565


                             Except to the extent that a holder of an Allowed
                             Second Lien Claim agrees to less favorable
                             treatment, in full and final satisfaction,
                             settlement, release, and discharge of, and in
                             exchange for ansuch Allowed Second Lien
                             Claim, on the Effective Date each such holder
                             thereof shall receive: (i) if Class 4 is an
                             Accepting Class, holders of First Lien Claims
                             shall be deemed to have consented to a
                             distribution to holders of Second Lien Claims
                             of, and each holder of a Second Lien Claim and
                             Second Lien Deficiency Claim shall receive on
                             the Effective Date, in full satisfaction of its
                             Allowed Second Lien Claim and Second Lien
                             Deficiency Claim, such holder’s Pro Rata share
                             of Second Lien Warrants; provided, that,
                             notwithstanding anything herein to the
                             contrary, the distribution of the Second Lien
                             Warrants to the holders of Second Lien Claims
                             shall be made pursuant to and subject to
                             Communications Act and the rules and
                             regulations of the FCC as well as applicable
4         Second Lien Claims state laws and the rules and regulations of the        Impaired   Yes   [TBD]4.0-6.9%
                             State PUCs; or (ii) if Class 4 is not an
                             Accepting Class, then each holder of a Second
                             Lien Claim will receive its Pro Rata share of (x)
                             the Litigation Trust Interests on account of its
                             Second Lien Deficiency Claim (subject to the
                             terms and conditions of the Prepetition
                             Intercreditor Agreement) and (y) the percentage
                             of the New Equity Interests and/orthe Second
                             Lien Lender Special Warrants in accordance
                             with the Equity Allocation Mechanism, as
                             determined by the Bankruptcy Court to satisfy
                             section 1129(a)(7) of the Bankruptcy Code as to
                             holders of Second Lien Claims (if
                             any).Distribution.

                                  For the avoidance of doubt, on the Effective
                                  Date, the Prepetition Second Lien Credit
                                  Agreement shall be deemed cancelled (except as
                                  set forth in Section 5.9 of the Second Amended
                                  Plan) without further action by or order of the
                                  Bankruptcy Court.




                                                               11
    WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj               Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57                   Main Document
                                                      Pg 440 of 565


                             Except to the extent that a holder of an Allowed
                             General Unsecured Claim agrees to less
                             favorable treatment, in full and final
                             satisfaction, settlement, release, and discharge
           General Unsecured
5                            of, and in exchange for an Allowed General               Impaired      Yes        N/A4
                Claims
                             Unsecured Claim, each such holder thereof
                             shall receive such holder’s Pro Rata share of the
                             Litigation Trust Interests on the Effective Date.

                                   On or after the Effective Date, all
                                   Intercompany Claims will be adjusted,
                                   continued, settled, reinstated, discharged, or
              Intercompany                                                                          No         N/A
                                   eliminated as determined by the Debtors or
6                 Claims                                                             Unimpaired (Presumed
                                   the Reorganized Debtors, as applicable, and
                                                                                                to Accept)
                                   the Requisite First Lien Lenders, in their
                                   respective reasonable discretion, but not paid
                                   in Cash.
                                   On or after the Effective Date, all
                                   Intercompany Interests shall be cancelled,
                                   reinstated, or receive such other treatment as              No
              Intercompany                                                                                     N/A
7                                  determined by the Debtors or the Reorganized Unimpaired (Presumed
                 Interests
                                   Debtors, as applicable, and the Requisite First         to Accept)
                                   Lien Lenders, in their respective reasonable
                                   discretion.
                                   On the Effective Date, all Parent Equity
                                   Interests shall be deemed cancelled without
                                   further action by or order of the Bankruptcy
                                   Court, and shall be of no further force and
                                   effect, whether surrendered for cancellation
                                                                                                 No (Deemed
8                                  or otherwise. To the extent permitted by           Impaired
                                                                                                  to reject)
              Parent Equity        applicable law, on or promptly after the
                Interests          Effective Date, the Reorganized Debtors shall                               00.0%
                                   file with the SEC a Form 15 for the purpose
                                   of terminating the registration of any of FCI’s
                                   publicly traded securities.
                                   Holders of Subordinated Securities Claims
                                   shall not receive or retain any property under
                                   the Second Amended Plan on account of such
                                   Subordinated Securities Claims. On the
              Subordinated         Effective Date, all Subordinated Securities                   No (Deemed    00.0%
9           Securities Claims                                                         Impaired
                                   Claims shall be deemed cancelled without                       to reject)
                                   further action by or order of the Bankruptcy
                                   Court, and shall be of no further force and
                                   effect, whether surrendered for cancellation
                                   or otherwise.

    Summary of Plan Release and Exculpation Provisions




    4
          “N/A” indicates that the amount cannot be calculated.


                                                                12
    WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57          Main Document
                                                  Pg 441 of 565



Section 10 of the Second Amended Plan provides for the release of the Released Parties (as defined below)
and the exculpation of the Exculpated Parties (as defined below). The Debtors’ releases of the Released
Parties pursuant to Section 10.6(a) of the Second Amended Plan (the “Estate Releases”), the consensual
third-party releases of the Released Parties pursuant to Section 10.6(b) of the Second Amended Plan (the
“Consensual Releases”), and the exculpation of the Exculpated Parties pursuant to Section 10.7 of the
Second Amended Plan are an integral part of the Debtors’ overall restructuring efforts and are an essential
element of the Second Amended Plan and the Global Settlement.

The Debtors believe that the Estate Releases satisfy the business judgment standard. The Estate Releases
provided in the Second Amended Plan grant a release and discharge of limited parties by the Debtors and
their Estates, the Reorganized Debtors, and the Litigation Trust. In exchange for the material benefits
they will receive from the Released Parties through the Second Amended Plan, among other things, the
Debtors have proposed to release the Released Parties. When considering releases by a debtor of non-
debtor third parties pursuant to section 1123(b)(3)(A), the appropriate standard is whether the release is a
valid exercise of the debtor’s business judgment and is fair, reasonable, and in the best interests of the
estate. See In re Angelica Corp., Case No. 17-10870 (JLG), Aug. 29, 2017 Hr’g Tr. at 12:23-13:11 (“In
cases like this one where there are no known claims against a party to receive a Release, Courts in this
district approved Debtor Releases when they represent a valid exercise of the Debtor’s business judgement
and are in the best interest of the estate.”); In re Motors Liquidation Co., 447 B.R. 198, 220 (Bankr.
S.D.N.Y. 2011) (“Releases by estates involve a give-up of potential rights that are owned by the estate,
and are perfectly permissible in a plan, either as parts of plan settlements or otherwise, though the court
must satisfy itself (at least if anyone raises the issue) that the give-up is an appropriate exercise of
business judgment, and, possibly, in the best interests of the estate.”); In re DBSD N. Am., Inc., 419 B.R.
179, 217 (Bankr. S.D.N.Y. 2009) (approving plan provision that released and discharged claims and
causes of action by debtors on basis that such releases and discharges “represent a valid exercise of the
Debtors’ business judgment, and are fair, reasonable and in the best interests of the estate.”), aff’d, Case
No. 90–13061 (REG), 2010 WL 1223109 (S.D.N.Y. Mar. 24, 2010), aff’d in part, rev’d in part sub
nom. DISH Network Corp. v. DBSD N. Am. Inc. (In re DBSD N. Am.), 634 F.3d 79 (2d Cir. 2011); In re
Charter Commc’ns, 419 B.R. 221, 257-60 (Bankr. S.D.N.Y. 2009) (“When reviewing releases in a
debtor’s plan, courts consider whether such releases are in the best interest of the estate”); In re Bally
Total Fitness of Greater N.Y., Inc., Case No. 07-12395 (BRL), 2007 WL 2779438, at *12 (Bankr.
S.D.N.Y. Sept. 17, 2007) (finding debtor releases appropriate where they represented a valid exercise of
the debtors’ business judgment and were in the best interests of the estate). Debtors have considerable
leeway in issuing releases of their own claims, and such releases are considered “uncontroversial.” See In
re Adelphia Commc’ns Corp., 368 B.R. 140, at 263 n. 289 (Bankr. S.D.N.Y. 2007).

During the course of plan negotiations with the Consenting First Lien Lenders, it was clear that the Estate
Releases of such parties would be a necessary condition to entry into and consummation of the
restructuring transaction embodied in the Second Amended Plan. Without the Estate Releases, the
Debtors and their stakeholders would likely not have been able to secure the substantial benefits provided
by the First Lien Lender Group, including, without limitation, the Consenting First Lien Lenders’
financing of the Prepetition Super Senior Loans and the DIP Facility. Had the Estate Releases not been
provided, the Debtors’ chances of avoiding detrimental business disruption during the Chapter 11 Cases
and securing the valuable consideration provided by the Second Amended Plan would have been next to
impossible. The releases exchanged are also appropriate with regard to the Creditors’ Committee, and the
Debtors intend to present ample evidence to support that the Estate Releases are a valid exercise of the
business judgment rule.

With respect to the Consensual Releases, the Debtors believe that such releases are appropriate and may
become binding in accordance with section 1141(a) of the Bankruptcy Code and applicable law. In
addition, each of the Exculpated Parties has made a substantial contribution to the Debtors’

                                                         13
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                                  Pg 442 of 565



reorganization efforts and played an integral role in working towards an expeditious resolution of these
Chapter 11 Cases. The Debtors believe that the exculpation provisions are appropriately limited to the
Exculpated Parties’ participation in these Chapter 11 Cases and have appropriate carve outs for liability
resulting from gross negligence, willful misconduct, or intentional fraud. Accordingly, each of the
Released Parties and the Exculpated Parties warrant the benefit of the release and exculpation provisions.

The Debtors also believe that the release and exculpation provisions in the Second Amended Plan are
necessary and appropriate and meet the requisite legal standard promulgated by the United States Court of
Appeals for the Second Circuit (the “Second Circuit”). In the Second Circuit, exculpation provisions
that cover non-estate fiduciaries are permitted. See, e.g., In re Oneida, 351 B.R. 79, 94, n.22 (Bankr.
S.D.N.Y. 2006) (approving an exculpation provision covering a number of prepetition actors with respect
to certain prepetition actions, as well as postpetition activity); In re Granite Broad. Corp., 369 B.R. 120,
139 (Bankr. S.D.N.Y. 2007) (providing exculpation of controlling shareholder as well as estate
fiduciaries); In re Eastman Kodak Co., No. 12-10202 (Bankr. S.D.N.Y. Aug. 23, 2013) (overruling U.S.
Trustee objection to exculpation of both estate fiduciaries and nonfiduciaries from liability for “any
prepetition or postpetition act taken or omitted to be taken in connection with, or arising from or relating
in any way to, the chapter 11 cases”); In re Charter Commc’ns, Inc., No. 09-11435 (Bankr. S.D.N.Y.
Nov. 17, 2009) (approving exculpation of estate fiduciaries and non-fiduciaries for “any pre-petition or
postpetition act taken or omitted to be taken in connection with, or related to . . . the restructuring of the
Company”); In re Cengage Learning, Inc., No. 13-44106 (Bankr. E.D.N.Y. Mar. 14, 2014) (approving
exculpation provision for estate fiduciaries and non-fiduciaries for “any prepetition or postpetition act
taken or omitted to be taken in connection with, or related to formulating, negotiating, soliciting,
preparing, disseminating, confirming, implementing, or consummating the Second Amended Plan”).

Courts have recognized the appropriateness of extending exculpation to parties who make a substantial
contribution to a debtor’s reorganization and, specifically, who play an integral role in building consensus
in support of a debtor’s restructuring. See, e.g., In re Residential Capital, No. 12-12020, Findings of
Fact, ¶ 291 (ECF No. 6066) (Bankr. S.D.N.Y. Dec. 11, 2013) (approving exculpation of certain
prepetition lenders who “played a meaningful role. . . in the mediation process, and through the
negotiation and implementation of the Global Settlement and Plan”); In re Worldcom, Inc., No. 02-13533,
2003 WL 23861928, at *52 (approving exculpation provisions where “[t]he inclusion of the Exculpation
Provision … in the Second Amended Plan [was] vital to the successful negotiation of the terms of the
Second Amended Plan in that without such provisions, the Covered Parties would have been less likely to
negotiate the terms of the settlements and the Second Amended Plan.”). The Exculpated Parties provided
a substantial contribution to the estates, and the protections afforded by the Exculpation are, therefore,
reasonable and appropriate.

The “Released Parties” are, collectively, the: (a) Reorganized Debtors; (b) Consenting First Lien
Lenders; (c) Prepetition First Lien Administrative Agent; (d) Consenting Second Lien Lenders; (e)
Prepetition Second Lien Administrative Agent; (f) DIP Agent; (g) DIP Lenders; (h) Prepetition Super
Senior Administrative Agent; (i) Prepetition Super Senior Lenders; (j) Creditors’ Committee and each of
its members in such capacity; (k) the Specified Officers and Directors (four (4) individuals); (l) Non-
Debtor Related Parties; and (m) Debtor Related Parties. The “Debtor Related Parties” is a narrow
class including certain of the Debtor’s postpetition advisors, each Debtor’s successors, and all of the
Debtors current non-officer employees. The “Non-Debtor Related Parties” encompasses affiliates and
employees of Non-Debtor Released or Exculpated Parties.

The Second Amended Plan specifically identifies the following “Non-Released Parties”: (a) any current
or former director, officer, member, shareholder, or employee of the Debtors or predecessor of the
Debtors, other than the Specified Officers and Directors and the Debtor Employees; (b) any Affiliate of
the Debtors or predecessors of the Debtors, and any directors, officers, shareholders, or employees

                                                         14
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57          Main Document
                                                  Pg 443 of 565



thereof; (c) any predecessor of a Debtor; (d) Lingo Communications LLC, any Affiliates thereof, and their
directors, officers, shareholders, and employees; (e) any subsequent transferee of any of the foregoing; (f)
any counsel, accountant or other professional advisor to (x) any of the foregoing and (y) the Debtors or
predecessor of any Debtor prior to March 1, 2019; provided, that vendors and contract counterparties of
Reorganized FCI, other than Lingo Communications LLC and any Affiliates thereof, shall not be Non-
Released Parties solely with respect to any Preference Action against them; provided further, that no
Reorganized Debtor, Reorganized Debtor’s successor or Consenting First Lien Lender shall be a Non-
Released Party.

The “Exculpated Parties” are, collectively, each solely in their capacities as such, the (a) Debtors;
(b) Reorganized Debtors; (c) Consenting First Lien Lenders; (d) Prepetition First Lien Administrative
Agent; (e) Prepetition Super Senior Administrative Agent; (f) DIP Agent, (g) DIP Lenders; (h) New First
Lien Lenders; (i) New First Lien Agent; (j) New Exit Facility Lenders; (k) New Exit Facility Agent;
(l) Litigation Trust Oversight Committee; (m) Creditors’ Committee and each of its members in such
capacity; (n) Non-Debtor Related Parties; and (o) Debtor Exculpated Parties.

WHERE TO FIND ADDITIONAL INFORMATION: Fusion Connect files annual reports and
quarterly reports with, and furnishes other information to the SEC. Copies of any document filed
with the SEC may be obtained by visiting the SEC website at http://www.sec.gov and performing a
search under the “Company Filings” link.

As previously disclosed in the Current Report on Form 8-K filed with the SEC on April 2, 2019, the
Company’s audit committee, after consultation with management and discussion with our
independent registered public accounting firm, concluded that the Company’s previously issued
financial statements for the fiscal year ended December 31, 2017 and for the periods ended June 30,
2018 and September 30, 2018 (collectively, the “Restated Periods”) and other financial
communications for the Restated Periods should no longer be relied upon and should be restated for
certain accounting errors. The Debtors believe that these accounting errors resulted in a
discrepancy of approximately $3 million.

Any Current Reports on Form 8-K (other than information furnished pursuant to Items 2.02 or 7.01
and any related exhibits of any Form 8-K, unless expressly stated otherwise therein), Quarterly
Reports on Form 10-Q or Annual Reports on Form 10-K filed by Fusion Connect with the SEC after
the date of this Disclosure Statement will be considered a part of this Disclosure Statement from the
date of the filing of such documents.

Any statement contained in a document incorporated or deemed to be incorporated herein by
reference or contained in this Disclosure Statement shall be deemed to be modified or superseded for
purposes of this Disclosure Statement to the extent that a statement contained herein or in any other
subsequently dated or filed document which also is or is deemed to be incorporated by reference
herein modifies or supersedes such statement.

You should carefully read the entire Disclosure Statement and the documents incorporated by
reference herein. Any financial data included herein remains subject to the customary review
procedures associated with the completion of the Company’s public reporting requirements.

                                              II.
                               OVERVIEW OF COMPANY’S OPERATIONS

          A.        Debtors’ Business


                                                         15
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57             Main Document
                                                  Pg 444 of 565



                    1.        History and Formation

Fusion Connect was initially founded in Delaware by Marvin S. Rosen and Philip D. Turits in September
1997. Since then, the Company has expanded through a combination of organic growth and strategic
acquisitions and is now a provider of integrated cloud solutions for small, medium, and large businesses
in the United States and residential and business customers in Canada. On February 25, 2005, the
Company commenced its initial public offering, becoming a publicly listed company on the NASDAQ
Stock Market (“NASDAQ”). The Company was delisted from the NASDAQ Global Market effective
May 13, 2019.

                    2.        Current Business Operations

The Company’s broad operational goal is to provide companies with a unified platform to leverage cloud
and other communications technology and to serve as the single point of contact for related
troubleshooting. To fill this role, the Company offers a variety of products, including Unified
Communications-as-a-Service (“UCaaS”), dedicated internet access and private networks, and cloud
storage and security, all on a single platform that is supported by dedicated “Contact Customer” services.
The Company also offers Infrastructure-as-a-Service (“IaaS”) solutions that allow businesses to layer
additional cloud services onto its platform.

The Company categorizes its suite of services into three broad categories: (i) Cloud Communications,
(ii) Cloud Connectivity, and (iii) Cloud Computing. Depending on the needs and sizes of individual
customers, the Company offers different product bundles and service packages. In each case, the
Company’s goal is to provide companies with reduced secure data storage costs, as well as an advanced
and consistent communications network, all on a unified platform. The Company is able to achieve this
goal, in part, through its extensive North American network.

                              (a)       Cloud Communications

The Company’s Cloud Communications service consists primarily of its “Cloud Voice,” UCaaS, and SIP
trunking offerings. The Company’s Cloud Voice service allows customers to replace land-based office
telephone systems with a cloud-based digital telephone system, reducing upfront capital costs and
simplifying operations for office telephone systems. Cloud Voice provides efficiencies for companies with
multiple offices or a highly mobile workforce, and for companies that are opening a new office or need to
expand or replace existing legacy telephone systems. The Company supports its Cloud Voice service
through its UCaaS solutions, which integrate audio, video, messaging, and web services together,
enhancing customers’ ability to convey information and communicate effectively. The Company’s SIP
trunking service allows customers to retain their existing business telephone systems while operating those
systems using an internet connection.

                              (b)       Cloud Connectivity

The Company’s Cloud Connectivity service provides businesses with dedicated circuits to high-speed
broadband internet access, private networks, and other network-related services such as Multiprotocol
Label Switching (“MPLS”)5 services, and SD-WAN (Software-Defined Wide-Area Networks). The goal


5
      MPLS is a routing technique in telecommunications networks that directs data from one node to the next
      based on short path labels rather than long network addresses, thus avoiding complex lookups in a routing
      table and speeding traffic flows.


                                                         16
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57           Main Document
                                                  Pg 445 of 565



of the Cloud Connectivity service is to facilitate optimized access to cloud services, private data centers,
and enterprise applications over the internet or by private links.

                              (c)       Cloud Computing

The Company’s Cloud Computing service provides customers with private and hybrid cloud computing
(IaaS) to centralize information management, hardware, network, and infrastructure in an off-premise
hosted location. In connection with its Cloud Computing services, the Company also supports secure file
sharing, backup and recovery services, and a unified threat management system to help detect, deter, and
defeat cyber-attacks to mitigate against business disruptions.

                    3.        Employees

As of the Commencement Date, the Debtors employed 810 full-time employees and 3 part-time employees
who perform a variety of critical functions, including sales, marketing, engineering and development,
operations, customer service, human resources, general administration, legal, finance, and management.
In addition, the Debtors rely on services from a supplemental workforce comprised of approximately 45
independent contractors and consultants that provide services related to the Debtors’ operations.
Specifically, the supplemental workforce provides services with respect to accounting, information
technology, facilities maintenance, claims management, and other shared services.

          B.        Debtors’ Organizational Structure

Fusion Connect is currently a public company with the majority of its shares held by BCHI Holdings,
LLC (“BCHI”). Fusion Connect owns, directly or indirectly, 100% of the ownership interest in each of
the other Debtors and Fusion Connect’s non-debtor Canadian Subsidiaries (as defined below). The chart
below illustrates the Company’s current organizational structure:




                                                         17
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57        Main Document
                                                  Pg 446 of 565




The Company’s current corporate structure is the product of its 2018 acquisition of MegaPath and the
reverse merger with Birch. Specifically, Fusion MPHC Holding Corporation and its two (2) subsidiaries
reflect the MegaPath portion of the Company’s business. Fusion BCHI Acquisition LLC (“Fusion
BCHI”) and its subsidiaries represent the Company’s business that Fusion Connect acquired as part of
the Birch Merger. Fusion NBS Acquisition Corp. and Fusion LLC operate the remainder of the
Company’s business.

The two (2) non-Debtor entities included in the organizational structure chart — Primus Management
ULC (“Primus Management”) and Bircan Management ULC (collectively, the “Canadian
Subsidiaries”) — operate the Company’s Canadian Business, which provides telecommunications
services to residential and business customers in Canada. As described below, the Debtors provide certain
direct and indirect financial support to the Canadian Business in the ordinary course.

          C.        Directors and Officers

The following table sets forth the names of the members of Fusion Connect’s current Board of Directors:

                             Name                                          Position
                                                                     Director (Chairman)
                     Matthew D. Rosen
                                                                  Director (Vice Chairman)
                  Holcombe T. Green, Jr.
                                                                           Director
                  Michael J. Del Giudice



                                                         18
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57              Main Document
                                                  Pg 447 of 565



                   Lewis W. Dickey, Jr.                                           Director
                                                                                  Director
                      Neal P. Goldman
                                                                                  Director
                  Holcombe T. Green, III
                                                                                  Director
                  Rafe de la Gueronniere
                                                                                  Director
                      Marvin S. Rosen

The following table sets forth the names of the members of the Restructuring Committee:

                                              Michael J. Del Giudice
                                               Lewis W. Dickey, Jr.
                                                Neal P. Goldman
                                              Rafe de la Gueronniere


The following table sets forth the name of the member of the Special Committee (as defined below):

                                                  Neal P. Goldman


The following table sets forth the names of Fusion Connect’s current executive officers:

                           Name                                                   Position
                     Matthew D. Rosen                                      Chief Executive Officer
                    Russell P. Markman                             President and Chief Operating Officer
                       Keith Soldan                                        Chief Financial Officer
                       Brian George                                       Chief Technology Officer
                    James P. Prenetta Jr.                       Executive Vice President and General Counsel


The composition of the board of directors of Reorganized FCI will be disclosed in accordance with section
1129(a)(5) of the Bankruptcy Code.

                    1.        Leadership Changes

The Debtors intend to file a motion seeking entry of an order authorizing the Debtors to (i) appoint Kevin
Brand as the Debtors’ President, Chief Operating Officer, and interim Chief Executive Officer pursuant to
and in accordance with the terms and conditions set forth in that certain Employment Agreement between
FCI and Mr. Brand (the “Employment Agreement”), (ii) payment of certain fees to Matthew D. Rosen in
connection with his role as Chairman of the Board, and (iii) enter into that certain Consulting Agreement
between FCI and Russell P. Markman (the “Markman Consulting Agreement”). The motion will also
request authority to waive certain retention payments that were made to Mr. Rosen and Mr. Markman
prior to the Commencement Date. Mr. Rosen and Mr. Markman will resign as Chief Executive Officer
and Chief Operating Officer of FCI, respectively, and from any and all officer and director positions at
any of FCI’s subsidiaries, effective October 7, 2019. Kevin Brand, FCI’s current Vice President of
Customer Support, will be named interim Chief Executive Officer of the Company upon the effective date



                                                           19
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57         Main Document
                                                  Pg 448 of 565



of Mr. Rosen’s resignation and until such time as a successor Chief Executive Officer is appointed. Mr.
Brand will also accept a permanent position as the Company’s Chief Operating Officer.

The Restructuring Committee believes that Mr. Brand’s deep industry and company knowledge, combined
with his past operational experience, make him an ideal candidate for these positions. Mr. Brand has been
in the technology and communications industry for more than thirty years. His background includes
senior leadership roles at AT&T, CAIS Internet, and EarthLink in a wide range of functional areas,
including product management, product marketing, network engineering and operations, customer
support, provisioning, and partner sales. Mr. Brand holds a B.S. in Systems Science and Mathematics
from Washington University in St. Louis and an M.S. in Operations Research from the University of
California at Berkeley. Mr. Brand joined FCI as Vice President – Customer Support, as part of the
company’s acquisition of the Cloud and Business Services business of Birch in May 2018, where he
served in the same positon after joining Birch in 2017. Prior to joining Birch, Mr. Brand served as Head
of Products at Promethean from 2015 to 2016.

Mr. Brand will enter into the Employment Agreement with the Company, which includes an initial annual
base salary of $550,000 which will remain in effect until a permanent CEO is appointed by the Board of
Directors, at which time Mr. Brand’s base salary will be reduced to $450,000.

Mr. Rosen will continue to serve as Chairman of the Board until the Effective Date and receive his current
base salary and remain eligible to participate in the Company’s retirement and health and welfare benefit
plans. In addition, pursuant to the Second Amended Plan, on the Effective Date, Mr. Rosen and the
Reorganized Debtors will enter into a consulting agreement (the “Rosen Consulting Agreement”),
subject to Court approval of the Second Amended Plan, pursuant to which Mr. Rosen will provide
ongoing consulting services to the Company. The Rosen Consulting Agreement provides that, among
other things, Mr. Rosen will begin a six-month consulting term on the Effective Date and will continue to
receive his current base salary during such term. Mr. Rosen will be subject to a number of covenants in
favor of FCI, including confidentiality during, and for 18 months after, the term of the Rosen Consulting
Agreement and non-solicitation of employees during the term of the Rosen Consulting Agreement, as well
as other restrictive covenants. As Chairman of the Board until the Effective Date and consultant
thereafter, Mr. Rosen will be available to assist Mr. Brand and the Company to stabilize the business and
put the Company on the right track to profitability. Mr. Rosen has extensive experience in the industry
and strong relationships with the Company’s employees, customers, and vendors that need to be carefully
managed and attended to.

Mr. Markman will remain employed with the Company until his employment is formally terminated by
the Company. He will continue to receive bi-weekly pay at a level equivalent to Mr. Markman’s current
base salary. On the date upon which Mr. Markman is formally terminated by the Company, FCI will
enter into the Markman Consulting Agreement, pursuant to which Mr. Markman will provide ongoing
consulting services. The Markman Consulting Agreement provides that, among other things, Mr.
Markman will provide consulting services for a three-month term with FCI and receive a fixed monthly
fee of $33,334. Mr. Markman will be subject to a number of covenants in favor of FCI, including
confidentiality during, and for 18 months after, the term of the Markman Consulting Agreement and non-
solicitation of employees during the term of the Markman Consulting Agreement. Pursuant to the
Consulting Agreement, Mr. Markman’s scope of work includes, but is not limited to, being available,
during normal business hours, to respond to questions from Mr. Brand and/or his designee regarding
strategic questions relating to sale and marketing activities of the Company. As is the case with Mr.
Rosen, Mr. Markman has deep relationships with key stakeholders at the Company, in particular, the
channel partners. A smooth transition of Mr. Markman is essential for preservation of value.




                                                         20
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                                  Pg 449 of 565



Prior to the Commencement Date, Mr. Rosen and Mr. Markman were each paid a retention bonus
pursuant to the Company’s key employee retention program (“KERP”) of $200,000 and $250,000,
respectively. Following consultation with, and with the support of, the First Lien Lender Group and the
Creditors’ Committee, the Company has elected not to pursue the return of these payments because Mr.
Rosen and Mr. Markman will continue to provide valuable contributions to the Company. The First Lien
Lender Group and the Creditors’ Committee consent to this treatment and it is a critical component of the
Global Settlement.

The Rosen Consulting Agreement has been incorporated into the Plan and will be entered into with the
Reorganized Debtors upon the Effective Date of the Plan. In addition, the Plan has been modified to
provide that any recovery by the Litigation Trust against Mr. Rosen and Mr. Markman will be limited to
D&O Insurance amounts. Modifications were made to the Global Settlement to account for this
negotiated change.

          D.        Regulation of Company’s Business

In the United States, Fusion Connect, Inc., Fusion LLC, Fusion Cloud Services, LLC (“FCS”), Fusion
Communications, LLC, Fusion Telecom of Kansas, LLC, Fusion Telecom of Oklahoma, LLC, Fusion
Telecom of Missouri, LLC, and Fusion Telecom of Texas Ltd., L.L.P.’s (collectively the “Fusion
Licensees”) services are generally subject to varying degrees of federal, state and local regulation,
including regulation by the FCC and the State PUCs. While these regulatory agencies grant the Fusion
Licensees the authority to operate those aspects of their services that are subject to regulation, they
typically exercise minimal control over the Fusion Licensees’ services and pricing.

                    1.        Telecommunications Services

As carriers, the Fusion Licensees are subject to FCC regulation under the Communications Act of 1934
(as amended, the “Communications Act”). The Fusion Licensees have the necessary authority under
Section 214 of the Communications Act to operate in the United States as providers of domestic interstate
telecommunications services and to provide international telecommunications services pursuant to FCI’s
international Section 214 authority. Fusion Cloud Services, LLC also holds FCC-issued common carrier
radio station licenses and a private radio station license. The Fusion Licensees also hold various
intrastate telecommunications authorizations issued by the State PUCs.

These agencies impose regulatory obligations upon the Fusion Licensees, including but not limited to
licensing/registration and tariffing requirements; annual FCC and State PUC regulatory assessments; 911
emergency service requirements; Communications Assistance for Law Enforcement requirements;
obligations to support federal and state universal service funds; compliance with and contributions to
Telecommunications Relay Services (“TRS”); compliance with public safety and consumer protection
standards; compliance with the protocols of the North American Numbering Plan Administration
(“NAMPA”), and the Local Number Portability Administration as well as with Customer Proprietary
Network Information (“CPNI”) requirements and disability access obligations, Local Number Portability
(“LNP”) requirements, service discontinuance notification obligations, outage reporting requirements, and
rural call completion reporting and rules related to ring signal integrity. Should such Fusion Licensee fail
at any time to hold the licenses required to provide intrastate, interstate or international services, fail to
meet any of the FCC and State PUC requirements discussed above applicable to these licenses, including
the payment of required regulatory fees and fund contributions, the Fusion Licensee could be subject to
fines and/or other penalties, including revocation of operating authorizations.




                                                         21
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                                  Pg 450 of 565



                    2.        VoIP Services

The Company’s U.S. VoIP services are lightly regulated, although certain traditional telecommunications
regulations have been applied to VoIP services. The FCC does not require companies to hold an
authorization to provide VoIP services; however, the FCC does require providers of interconnected VoIP
services to comply with: 911 emergency service requirements; registration requirements; Communications
Assistance for Law Enforcement requirements; obligations to support Universal Service including the
Universal Service Fund (“USF”), TRS, FCC regulatory fees; NAMPA, and the Local Number Portability
Administration; CPNI requirements; disability access obligations; LNP requirements; service
discontinuance notification obligations; outage reporting requirements; and rural call completion reporting
and rules related to ring signal integrity. The FCC defines interconnected VoIP service as service that (i)
enables real-time, two-way voice communications, (ii) requires a broadband connection from the user’s
location, (iii) requires internet protocol compatible customer premises equipment, and (iv) permits users
generally to receive calls that originate on and terminate calls to the public switched telephone network.
Under this definition, the Fusion Licensees are providers of interconnected VoIP service. Should a Fusion
Licensee fail to meet any of the FCC requirements discussed above or fail to make required contributions
in the future, it could be subject to fines and/or penalties.

As a result of the FCC’s preemption of states’ ability to regulate certain aspects of VoIP service, and a
trend in state legislatures to affirmatively deregulate VoIP services for most purposes, the Company’s
VoIP services in the U.S. are subject to relatively few state regulatory requirements aside from a small
number of registrations, collection of state and local E911 fees and state Universal Service support
obligations. The state regulatory framework for Fusion Connect’s U.S. VoIP services continues to
evolve, so the Company, in conjunction with its professional advisors, monitors the actions of the various
state regulatory agencies and endeavors to ensure that it is in compliance with applicable state law,
including any new statutes or regulations that may be passed. However, there can be no assurance that
the Company will become aware of all applicable requirements on a timely basis, or that the Company
will always be fully compliant with applicable rules and regulations. Should the Company fail to be
compliant with applicable state regulations, or to file required reports with state regulatory agencies, the
relevant Fusion Licensee could be subject to fines and/or penalties. The Company expects to incur
ongoing operational, legal, and system costs in order to comply with these rules and regulations.

          E.        Debtors’ Existing Capital Structure

                         1. Prepetition Indebtedness

The following description is for informational purposes only and is qualified in its entirety by reference to
the documents setting forth the specific terms of such obligations and their respective related agreements.

                              (a)       Super Senior Loan Agreement

To obtain additional working capital during the weeks leading to the Commencement Date, the Debtors
entered into that certain Super Senior Secured Credit Agreement, dated as of May 9, 2019 (as amended,
supplemented, amended and restated or otherwise modified from time to time, the “Super Senior Loan
Agreement” and such obligations thereunder, the “Super Senior Loan Claims”) among Fusion Connect,
as borrower, the other Debtors, as guarantor subsidiaries, Wilmington Trust, National Association
(“Wilmington Trust”), as administrative agent and collateral agent, and the lenders party thereto




                                                         22
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57                 Main Document
                                                  Pg 451 of 565



(the “Super Senior Lenders”).6 As of the Commencement Date, the aggregate principal amount
outstanding under the Super Senior Loan Agreement was $20.0 million. Obligations under the Super
Senior Loan Agreement are secured by a lien on substantially all of the Debtors’ assets, including 100%
of the equity of non-Debtor Primus Management.

                              (b)       First Lien Credit Agreement

As of the Commencement Date, the Debtors had outstanding first lien secured debt obligations under that
certain First Lien Credit and Guaranty Agreement, dated as of May 4, 2018 (as amended, supplemented,
amended and restated or otherwise modified from time to time, the “First Lien Credit Agreement” and
such obligations thereunder, the “First Lien Claims”) among Fusion Connect, as borrower, the other
Debtors, as guarantor subsidiaries, Wilmington Trust, as administrative agent and collateral agent, and
the lenders party thereto (the “First Lien Lenders”). As of the Commencement Date, the aggregate
principal amount outstanding under the First Lien Credit Agreement was approximately
$573.7585.5 million, which amount consisted of the following tranches of debt, each secured by the same
collateral with pari passu lien priority: (i) approximately $43.344.2 million in “Tranche A” term loans
(the “Tranche A Term Loans”), (ii) approximately $490.9499.0 million in “Tranche B” term loans
(the “Tranche B Term Loans”), and (iii) $39.58 million in loans under a revolving facility
(the “Revolving Loans”), as well as approximately $512,000 in aggregate face amount of issued and
outstanding letters of credit. Obligations under the First Lien Credit Agreement are secured by a lien on
substantially all of the Debtors’ assets, with a junior priority to the Super Senior Loan Claims (other than,
in respect of the Vector Subordinated Note Collateral, the Prepetition First Lien Revolving Lenders and
the Prepetition Issuing Bank).

In connection with the closing of the First Lien Credit Agreement, Vector Fusion Holdings (Cayman),
Ltd. issued a subordinated note to Fusion Connect, dated as of May 4, 2018, in the aggregate principal
amount of $25.0 million (the “Vector Subordinated Note”). The Vector Subordinated Note and the
proceeds thereof are pledged to the collateral agent under the First Lien Credit Agreement for the benefit
of the secured parties thereunder. Under the first lien credit documents, the super senior loan documents,
and the DIP Order, any value received by suchthe first lien collateral agent or, the super senior collateral
agent, the DIP agent, or any secured partiesy under any of the foregoing facilities in respect of the Vector
Subordinated Note Collateral must be applied first toward the repayment of thein full of all obligations
owing to holders of the Revolving Loans prior to repayment of the obligations owing to holders of the
Tranche A Term Loans and Tranche B Term Loans.and the Prepetition Issuing Bank prior to any
application on any other secured obligations in respect of the DIP Facility, the Super Senior Loan
Agreement, or the First Lien Credit Agreement.

All rights, title and interest in the Vector Subordinated Note held by Fusion Connect shall vest in
Reorganized FCI upon the Effective Date. For the avoidance of doubt, nothing in the Second Amended
Plan shall impair the Revolving Lenders’ and Issuing Bank’s rights or priority with respect to the Vector
Subordinated Note Collateral under the Prepetition First Lien Credit Documents. Nothing herein shall be
deemed to be a finding that any rights set forth under the Prepetition First Lien Credit Documents are
valid and enforceable after the Effective Date, and nothing herein shall prejudice or constitute a waiver of
any right, remedy, claim, defense or counterclaim of any First Lien Lender pursuant to the First Lien
Credit Documents or otherwise, including, without limitation, any defenses it may raise in any action
commenced by any Revolving Lender or other party. Subject to applicable law, any value received on



6
      The Super Senior Lenders are a subset of lenders under the First Lien Credit Agreement.


                                                         23
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57           Main Document
                                                  Pg 452 of 565



account of the Vector Subordinated Note Collateral may be applied at the discretion of the Reorganized
Debtors.

                              (c)       Second Lien Credit Agreement

The Debtors have outstanding second lien term loan obligations under that certain Second Lien Credit and
Guaranty Agreement, dated as of May 4, 2018 (as amended, supplemented, amended and restated or
otherwise modified from time to time, the “Second Lien Credit Agreement” and such obligations
thereunder, the “Second Lien Claims”) among Fusion Connect, as borrower, the other Debtors, as
guarantor subsidiaries, GLAS Americas LLC (as successor to Wilmington Trust), as administrative agent
and collateral agent, and the lenders party thereto (the “Second Lien Lenders”). As of the
Commencement Date, the aggregate principal amount outstanding under the Second Lien Credit
Agreement was $85.0 million. Obligations under the Second Lien Credit Agreement are secured by a lien
on substantially all of the Debtors’ assets, with a junior priority to the Super Senior Loan Claims and the
First Lien Claims.

                              (d)       Intercreditor Agreements

The secured parties under the Super Senior Loan Agreement and the First Lien Credit Agreement are
subject to that certain Super Senior Intercreditor Agreement, dated as of May 9, 2019 (as amended,
supplemented, amended and restated or otherwise modified from time to time, the “Super Senior
Intercreditor Agreement”) among Wilmington Trust, in its capacities as super senior representative and
first lien obligations representative. The secured parties under the Super Senior Loan Agreement, the
First Lien Credit Agreement, and the Second Lien Credit Agreement are subject to that certain
Intercreditor Agreement, dated as of May 4, 2018 (as amended, supplemented, amended and restated or
otherwise modified from time to time, the “1L / 2L Intercreditor Agreement”, and, together with the
Super Senior Intercreditor Agreement, the “Intercreditor Agreements”) among Wilmington Trust, in its
capacities as additional first lien obligations representative and first lien obligations representative, and
GLAS Americas LLC (as successor to Wilmington Trust) as second lien obligations representative.

                              (e)       Green Note

Fusion Connect has an outstanding note obligation under that certain Subordinated Promissory Note,
dated as of May 4, 2018 (the “Green Note”) between Fusion Connect and Holcombe T. Green, Jr. As of
the Commencement Date, the aggregate principal amount outstanding under the Green Note was
$10.0 million. Obligations under the Green Note are unsecured.

                              (f)       Bircan Notes

Fusion BCHI is party to three (3) outstanding notes (collectively, the “Bircan Notes”): (i) that certain
Amended and Restated Subordinated Promissory Note, dated as of May 4, 2018, with a principal
outstanding amount of approximately $1.5 million; (ii) that certain Amended and Restated Subordinated
Promissory Note, dated as of May 4, 2018, with a principal outstanding amount of $1.3 million; and
(iii) that certain Amended and Restated Subordinated Promissory Note, dated as of May 4, 2018, with a
principal outstanding amount of $0.5 million. As of the Commencement Date, the aggregate principal
amount outstanding under the Bircan Notes was approximately $3.3 million. Obligations under each of
the Bircan Notes are unsecured.

                              (g)       Intercompany Note



                                                         24
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57           Main Document
                                                  Pg 453 of 565



Each of the Debtors, as well as the Canadian Subsidiaries, are party to that certain Global Intercompany
Note, dated as of May 9, 2019 (the “Intercompany Note”). All parties to the Intercompany Note are
both “payors” and “payees,” and the Intercompany Note does not contemplate any static principal amount
owing. The Intercompany Note governs the fluctuating balance of intercompany receivables and payables
between each of FCI’s subsidiaries. All obligations under the Intercompany Note are unsecured as
between payors and payees, other than an intercompany loan in the principal amount of $2.0 million made
by Fusion Connect to Primus Management, which is secured by a lien on certain assets of Primus
Management. Obligations under the Intercompany Note are pledged as security for all tranches of the
Company’s secured debt.

                      2.    Equity Ownership

As of the Commencement Date, 150,000,000 shares of Fusion Connect common stock, $0.01 par value
per share, were authorized and 81,967,263 shares of Fusion Connect common stock were issued and
outstanding. As of June 21, 2019, there were 646 record holders of the common stock, with
approximately 60.7% held by BCHI.7 As of the Commencement Date, 10,000,000 shares of Fusion
Connect preferred stock were authorized and 15,000 shares of Series D preferred stock were issued and
outstanding, all of which are held by BCHI. The Company was delisted from the NASDAQ Global
Market effective May 13, 2019.

                               III.
    CIRCUMSTANCES LEADING TO COMMENCEMENT OF CHAPTER 11 CASES

          A.        Birch Merger

The Company has historically driven its growth in substantial part through strategic acquisitions. On
August 26, 2017, in furtherance of that strategy, Fusion Connect and Fusion BCHI entered into a merger
agreement with Birch, which underlying transaction closed on May 4, 2018. Due to a number of factors,
including the fact that Birch was the larger entity and the previous Birch shareholders would acquire
65.2% of the outstanding shares of Fusion Common Stock, the transaction constituted a reverse merger
with FCI being the acquirer for legal purposes and Birch being the acquirer of FCI for accounting
purposes. In connection with the Birch Merger, the Company also spun-off Lingo Management, LLC
(“Lingo”),8 along with certain related subsidiaries, to the previous Birch shareholders.

To finance the Birch Merger, the Company entered into the First Lien Credit Agreement and the Second
Lien Credit Agreement.9 The Company used proceeds from the foregoing to: (i) refinance the Company’s
and its subsidiaries’ existing indebtedness, (ii) pay expenses related to the Birch Merger and associated
transactions, and (iii) pay down certain subordinated notes owed by Birch to Holcombe T. Green, Jr., R.




7
      Holcombe T. Green, Jr. is the managing member of BCHI and has voting and dispositive power over BCHI’s
      shares of Fusion Connect common stock.
8
      Lingo operated Birch’s business relating to its U.S.-based consumer customers, wireless customers, and
      small business customer base.
9
      On the same date, Fusion Connect entered into the Green Note and Fusion BCHI entered into the Bircan
      Notes.


                                                         25
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57          Main Document
                                                  Pg 454 of 565



Kirby Godsey, and Holcombe T. Green, III. The Company also applied a portion of the proceeds from
the First Lien Credit Agreement to pay a portion of the purchase price for MegaPath.

FCI pursued the Birch Merger with a vision of leveraging its existing processes and structures to create
synergies between Fusion Connect’s and Birch’s joined customer bases, combine network infrastructure
assets to improve operational efficiencies, and ultimately drive material growth in Fusion Connect’s and
Birch’s combined annual revenue. While the Company was able to improve operations and use the Birch
Merger as a platform for expansion, the Birch business plan proved to be overly aggressive in terms of
sustained customer bookings and price increases. A number of factors, including missed revenue
projections left the Company with significantly less liquidity than originally anticipated.

          B.        Amortization and Interest Payments

The Company’s liquidity position exposed it to default risk under both the First Lien Credit Agreement
and Second Lien Credit Agreement. By the end of March 2019, the Company faced a pending $6.7
million amortization payment under the First Lien Credit Agreement and a $300,000 interest payment on
the Green Note due on March 31, 2019 (together, the “Amortization and Interest Payments”). In light
of the Company’s limited working capital, it determined that it was unlikely to be able to make the
Amortization and Interest Payments, and such non-payment would likely trigger a cross-default under the
Second Lien Credit Agreement.

Thus, the Company began liaising with its key constituencies to obtain a waiver of existing defaults, and
to engage in negotiations regarding potential restructuring of the Company’s indebtedness. Meanwhile,
due to the Company’s failure to timely file its 2018 Form 10-K with the SEC and to pay certain
NASDAQ listing fees, NASDAQ delisted Fusion Connect’s common stock from its exchange, effective
May 13, 2019.

          C.        Vendor Relationships and Lingo Dispute

The Company’s precarious liquidity position forced it to stretch trade terms with its vendors. As a result,
the Company’s relationships with many of its vendors became increasingly strained.

The Company also is involved in disputes with Lingo regarding the value of the assets transferred to
Lingo in connection with the Birch Merger and also stemming from Lingo’s failure to remit payments
owed to the Company for certain services the Company has provided to Lingo since the Birch Merger
pursuant to a transition services agreement and a carrier services agreement. As of the Commencement
Date, outstanding amounts remain due and owing to the Company.

          D.        Pursuit of New Equity Investment

Weil, Gotshal & Manges LLP and FTI Consulting, Inc. were each retained in March 2019 to assist the
Company in exploring and evaluating potential transactions to improve its financial position. The
Company and its advisors began by engaging in discussions with the Company’s majority shareholder and
certain lenders regarding the possibility of a new capital infusion and amendments to the First Lien Credit
Agreement and the Second Lien Credit Agreement. By early April 2019, negotiations had progressed to a
point where the Company, the majority shareholder, and certain lenders were close to finalizing an
agreement in principle. Ultimately, however, the parties were unable to agree on final terms.

          E.        Forbearance Agreement



                                                         26
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57         Main Document
                                                  Pg 455 of 565



In light of the outstanding defaults under the First Lien Credit Agreement and Second Lien Credit
Agreement, the Company remained engaged in extensive discussions with the First Lien Lender Group,
certain lenders holding Tranche A Term Loans and Revolving Loans, the Second Lien Lenders, and each
of their respective advisors. Such discussions culminated in a forbearance agreement, dated
April 15, 2019 (the “Forbearance Agreement”) among Fusion Connect and substantially all of its
lenders under the First Lien Credit Agreement (collectively, the “Forbearing Lenders”). Pursuant to the
Forbearance Agreement, the Forbearing Lenders agreed not to exercise any remedies under the First Lien
Credit Agreement with respect to the Company’s then existing defaults until April 29, 2019. Certain
Forbearing Lenders subsequently extended the term of the Forbearance Agreement to June 3, 2019.

Although the Company was unable to reach an agreement with the Second Lien Lenders as to a similar
forbearance, the Second Lien Lenders were nonetheless barred from exercising remedies under the Second
Lien Credit Agreement due to a 150-day standstill provision set forth in the 1L / 2L Intercreditor
Agreement.

          F.        Super Senior Financing

As described above, during the forbearance period, the Company and the First Lien Lender Group
continued discussions to build a path toward a consensual sale or reorganization transaction. On May 9,
2019, the Company closed the Super Senior Loan Agreement, securing an additional $15.0 million in
liquidity, and on May 28, 2019 obtained an incremental $5.0 million thereunder.

          G.        Formation of Restructuring Committee and Special Committee

On May 10, 2019, in connection with the Company’s evaluation of strategic alternatives, Neal P.
Goldman was appointed to and as contemplated by the Super Senior Loan Agreement, Fusion Connect’s
board of directors (the “Board”). Further, on increased the size of the Board from seven (7) to eight (8)
members and appointed Neal P. Goldman to the Board. Given his experience and familiarity with the
restructuring situations, Mr. Goldman understood that he would take on a leading role with respect to the
Company’s potential restructuring.

The Board selected Mr. Goldman from a slate of candidates proposed to the Board by the Company’s
advisors after interviewing several such candidates and determining that Mr. Goldman possesses the
relevant and appropriate qualifications, experience, and skills to serve as a director. More details about
Mr. Goldman’s qualifications and experience are set forth in the Company’s Current Report on Form 8-K
filed with the SEC on May 14, 2019. Mr. Goldman’s representative board experience, which the Board
determined makes Mr. Goldman an ideal candidate to serve as a Director and as a member of the Special
Committee, includes his current positions as Chairman of the Board of Talos Energy Inc., and member of
the Boards of Ultra Petroleum Corporation and Ditech Holding Corporation.

As explained in the Form 8-K, there are “no arrangements or understandings between Mr. Goldman and
any other persons pursuant to which Mr. Goldman was selected as director. There are no family
relationships between Mr. Goldman and the Company’s existing directors and officers. There has been no
transaction, nor is there any currently proposed transaction, between Mr. Goldman and the Company that
would require disclosure” under Item 404 of Regulation S-K. Based on information submitted to and
known by the Board, the Board assessed Mr. Goldman’s independence and determined that Mr. Goldman
is independent in accordance with the rules of Nasdaq Stock Market.

Mr. Goldman also has no relationship or connections to the Company’s Lenders whatsoever, including
Vector Capital. To his best knowledge and belief, Mr. Goldman does not know and has never met any
member of the Ziff family or any affiliate of Vector. Mr. Goldman served as a Managing Director at Och

                                                         27
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57         Main Document
                                                  Pg 456 of 565



Ziff Capital Management, L.P. (“Och Ziff”) from 2014-2016. Och Ziff is one of the largest institutional
alternative asset managers in the world. Och Ziff was founded in 1994 by Daniel Och with financial
support (an initial investment into Mr. Och’s enterprise known as “seed money”) from the Ziff family.
When Mr. Goldman was employed by Och Ziff, to his knowledge and belief, there was no remaining
affiliation between the Ziff family and Och Ziff.

On May 28, 2019, the Board established and appointed Mr. Goldman, along with Michael J. Del Giudice,
Lewis W. Dickey, Jr., and Rafe de la Gueronniere (collectively, the “Independent Directors”) to serve on
the Restructuring Committee of the Board to, among other things, evaluate and negotiate potential sale
and restructuring transactions for the Company.

The Restructuring Committee has complete and exclusive authority over the Debtors’ restructuring,
including all matters related to the Chapter 11 Cases other than the matters within the purview of the
Special Committee. (as defined below).

          H.        Formation and Function of Special Committee

Separately, the Board established a special committee (the “Special Committee”) to review, investigate,
and determine whether to pursue any claims, remedies, or other appropriate actions with respect to
potential claims belonging to the Debtors and appointedCompany against affiliates. In line with the
mandate of the Special Committee, Mr. Goldman was appointed as the sole member of the Special
Committee. The Special Committee principally because Mr. Goldman (and only Mr. Goldman) was not
involved in any of the prior transactions involving the Company that were the subjects of the
investigation.

In connection with its investigation, Mr. Goldman has been advised by Weil, Gotshal & Manges LLP, as
legal counsel. The Special Committee has reviewed internal documents and communications, including,
among other documents, (i) all board of director meeting minutes and associated materials dating from
June 2017 through May 2018, (ii) all material documents pertaining to the Fusion and Birch Merger, (iii)
presentations by the Company’s financial advisor in connection with the merger, and (iv) a schedule
evidencing all Birch shareholder distributions and director payments from 2014-2016, along with
correspondence between Fusion and outside parties (including Lingo). The Special Committee also
interviewed four (4) Fusion current and former directors and officers, and interviewed the Company’s
outside auditor, Eisner Amper.

The Special Committee also conducted an analysis of potential claims the Debtors may have, including
against any current or former directors, officers, or affiliates of the Company. Among other things, the
Special Committee investigated claims for breaches of fiduciary duty, constructive fraudulent transfer,
and professional malpractice. Disclosure of the conclusions reached by the Special Committee, if any,
could prejudice these potential claims.

The Special Committee and the Company have also responded to document requests received from the
Creditors’ Committee (as defined below) and the Special Committee is coordinating with the Creditors’
Committee and the parties to the Restructuring Support Agreement regarding its investigation. Notably,
under the Second Amended Plan, the Special Committee willhas identifyied individuals and entities that
will not be released pursuant to the Second Amended Plan, including former directors and officers of the
Debtors as well as certain current directors of the Board and officers, to allow the Special Committee to
complete its work. The Special Committee is satisfied that none of the releases or exculpatory provisions
in the Second Amended Plan will impede the ability of the Litigation Trust Oversight Committee to
complete its investigation and, if appropriate, pursue claims. The Creditors’ Committee and the First Lien



                                                         28
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57          Main Document
                                                  Pg 457 of 565



Lender Group each agreed to the proposed releases and exculpations contemplated in the Second
Amended Plan.

          I.        H. Marketing Process

In May 2019, the Company and its advisors conducted the Prepetition Marketing Process. PJT Partners
LP (“PJT”), on behalf of the Company, contacted over forty (40) potential investors, with the aim of
attracting multiple proposals to either (i) provide a preferred or common equity investment or (ii) acquire
the Company’s business on a cash-free, debt-free basis. In connection with this solicitation, the Company
and its advisors prepared, among other things, a confidential information memorandum (“CIM”) and an
electronic data room to provide potential investors and bidders with adequate information upon which to
make a proposal. During this process, sixteen (16) interested investors executed confidentiality
agreements and were granted access to the CIM, which contains significant diligence and other
confidential information about the Company’s business. The deadline for interested investors to submit
initial bids was May 21, 2019. Although no formal IOIs were received, several of these parties indicated
ongoing interest, and the Company and its advisors continue to engage in discussions with these parties
and provide due diligence information (including access to an electronic data room). In support of the
Company’s Marketing Process, the Company obtained approval of bidding and auction procedures for the
orderly and value-maximizing marketing and sale of the Company’s business.

Following the Commencement Date, PJT contacted approximately one hundred and twenty-five (125)
additional potential investors, twenty-two (22) of which entered into non-disclosure agreements and
received access to the CIM. Pursuant to the Bidding Procedures Order, the deadline to submit non-
binding indications of interest was July 16, 2019. The Debtors received five (5) IOIs indications of
interest for the U.S. Business and six (6) IOIs for the Canadian Business. The Debtors, with the
assistance of their financial advisors, engaged in numerous discussions with the parties that submitted
IOIs in an attempt to increase the value of the bids contained therein.

Following extensive analysis of the IOIs received, and with the support of each of the Consultation Parties
(as defined in the Bidding Procedures Order), on August 27, 2019, the Debtors filed a Notice of Election
to Pursue Reorganization Transaction and Termination of U.S. Sale Process with the Bankruptcy Court
(the “Notice of Election”). Notably, none of the IOIs would have resulted in any recovery to the Second
Lien Lenders or other junior creditors. The Debtors considered this as a significant factor in their
valuation of the Reorganization Transaction. Pursuant to the Restructuring Support Agreement, New
Equity Interests and/or Special Warrants will be distributed to the holders of Allowed First Lien Claims.
Pursuant to the Restructuring Support Agreement, the Requisite First Lien Lenders have consented to the
termination of the Marketing Process for the U.S. Business and instead have elected to pursue the
Reorganization Transaction. Fusion Connect is continuing to pursue the Marketing Process with respect
to the Canadian Business.

          J.        I. Alternative Restructuring Proposals

Simultaneously with its negotiations with the First Lien Lender Group, the Company remained in
discussions with other key stakeholders. The Company and the First Lien Lender Group have continued
discussions with all key stakeholders during the Chapter 11 Cases.




                                                         29
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57          Main Document
                                                  Pg 458 of 565



                                              IV.
                                OVERVIEW OF THE CHAPTER 11 CASES

          A.        Commencement of Chapter 11 Cases and First Day Motions

On June 3, 2019, the Debtors commenced the Chapter 11 Cases. The Debtors continue to manage their
estates as debtors-in-possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. To that
end, the Debtors filed various motions seeking relief from the Bankruptcy Court to promote a seamless
transition between the Debtors’ prepetition and postpetition business operations, facilitate a smooth
restructuring through the Chapter 11 Cases, and minimize any disruptions to the Debtors’ operations (the
“First Day Motions”). At the first day hearing held on June 4, 2019 and continued on June 10, 2019, the
Bankruptcy Court granted substantially all of the relief requested in the First Day Motions and entered
various orders authorizing the Debtors to, among other things:

      continue paying employee wages and benefits;

      continue to use the Debtors’ cash management system, bank accounts, and business forms;

      pay certain critical vendors and obligations with respect to prepetition orders of goods and
        services to be delivered postpetition;

      pay prepetition claims of shippers, warehousemen, and other lien claimants;

      continue insurance and workers’ compensation programs, the processing of workers’
        compensation claims, and continue the Debtors’ surety bond program;

      continue to pay all taxes, fees, and similar charges and assessments, whether arising prepetition or
        postpetition, to the appropriate taxing, regulatory, or other governmental authority in the
        ordinary course;

      continue customer programs;

      establish procedures for utility companies to request adequate assurance of payment and to
        prohibit utility companies from altering or discontinuing services; and

      obtain debtor-in-possession financing and use cash collateral, as discussed in more detail herein.

          B.        DIP Facility and Cash Collateral

                    1.        DIP Facility

To pay their ordinary course operating expenses, finance the Chapter 11 Cases, and, ultimately, provide
the Debtors with the flexibility to consummate the transactions contemplated by the Restructuring Support
Agreement, the Debtors filed a motion (ECF No. 17) (the “DIP Motion”) to enter into the DIP Facility,
which consists of (i) up to $39.5 million in new money term loans and (ii) up to $20.0 million in roll-up
term loans. The DIP Facility ensures that the Debtors’ financing needs can be met during the Chapter 11
Cases. The term of the DIP Facility is four (4) months from the closing date of the DIP Facility, with an
option for up to three (3) extensions, each for a term of one (1) month, if approved by the Requisite
Lenders. The interim order granting the relief requested in the DIP Motion, including an interim draw of
up to $20.0 million under the DIP Facility, can be found at ECF No. 57 (the “Interim DIP Order”) and
the final order granting the relief requested in the DIP Motion, including a draw of up to $19.5 million

                                                         30
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57             Main Document
                                                  Pg 459 of 565



under the DIP Facility, can be found at ECF No. 160 (the “Final DIP Order”, and, together with the
Interim DIP Order, the “DIP Orders”).10

On October 4, 2019, the Debtors and the DIP Lenders executed an amendment to the Superpriority
Secured Debtor-in-Possession Credit and Guaranty Agreement which, among other things, moved the
Stated Maturity Date (as defined in the DIP Credit Agreement) from October 7, 2019 to November 7,
2019.

                    2.        Cash Collateral

In addition, the Debtors are authorized, on an interim basis, to consensually use the cash collateral of the
Prepetition Secured Parties. In exchange, the Debtors are providing the Prepetition Secured Parties with
the following:

                              (a)       Adequate Protection Liens.

The Prepetition Super Senior Agent, for itself and for the benefit of the Prepetition Super Senior
Lenders, has, in the amount of the Prepetition Super Senior Secured Parties’ Adequate
Protection Claims, a valid, perfected replacement security interest in and lien upon all of the DIP
Collateral, in each case subject and subordinate only to (i) the Carve Out and (ii) the DIP Liens and any
liens to which the DIP Liens are junior (including the Prepetition Permitted Prior Liens and Senior
Permitted Liens and, solely with respect to the Vector Subordinated Note Collateral, the liens securing the
claims of the Prepetition First Lien Revolving Lenders and the Prepetition Issuing Bank arising under the
Prepetition First Lien Credit Agreement).

The Prepetition First Lien Agent, for itself and for the benefit of the Prepetition First Lien Lenders, has, in
the amount of the Prepetition First Lien Lenders’ Adequate Protection Claims, a valid, perfected
replacement security interest in and lien upon all of the DIP Collateral, in each case subject and
subordinate only to (i) the Carve Out, (ii) the DIP Liens and any liens to which the DIP Liens are junior
(including the Prepetition Permitted Prior Liens and Senior Permitted Liens and, solely with respect to the
Vector Subordinated Note Collateral, the liens securing the claims of the Prepetition First Lien Revolving
Lenders and the Prepetition Issuing Bank arising under the Prepetition First Lien Credit Agreement), (iii)
the Super Senior Adequate Protection Liens, and (iv) Prepetition Super Senior Credit Facility Liens.

The Prepetition Second Lien Agent, for itself and for the benefit of the Prepetition Second Lie Lenders,
has, in the amount of the Prepetition Second Lien Lenders’ Adequate Protection Claims, a valid, perfected
replacement security interest in and lien upon all of the DIP Collateral, in each case subject and
subordinate only to (i) the Carve Out, (ii) the DIP Liens and any liens to which the DIP Liens are junior
(including the Prepetition Permitted Prior Liens and Senior Permitted Liens), (iii) the Super Senior
Adequate Protection Liens, (iv) the Prepetition Super Senior Credit Facility Liens, (v) the First Lien
Adequate Protection Liens, and (vi) the Prepetition First Lien Credit Facility Liens.

                              (b)       507(b) Claims.




10
      Capitalized terms used but not otherwise defined in this Section IV.B shall have the respective meanings
      ascribed to such terms in the DIP Orders.


                                                         31
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                                  Pg 460 of 565



The Prepetition Super Senior Agent, the Prepetition First Lien Agent, and the Prepetition Second Lien
Agent, for itself and for the benefit of each of the Prepetition Super Senior Lenders, the Prepetition First
Lien Lenders and the Prepetition Second Lien Lenders, respectively, are entitled to receive an
administrative expense claim pursuant to section 507(b) of the Bankruptcy Code, for and equal in amount
to the aggregate diminution in value of their collateral, if any, subject to the Carve-Out and the priorities
set forth in the DIP Facility.

                              (c)       Adequate Protection Payment and Interest Accrual.

Only after the DIP Obligations are fully discharged, the Prepetition Super Senior Agent, on behalf of the
Prepetition Super Senior Lenders, until the Prepetition Debt Refinancing occurs, and the Prepetition First
Lien Agent, on behalf of the Prepetition First Lien Lenders, will receive cash payments in an amount
equal to the amount of the net cash proceeds received by the Debtors of the sale of any Prepetition
Collateral (including, for the avoidance of doubt, net cash proceeds from the sale of Prepetition Collateral
in connection with an Asset Sale (as such term is defined in the DIP Credit Agreement)), payable not later
than the fifth business day following the date of receipt of such proceeds; provided, that, in the event that
payment of such cash payments would result in the Debtors’ having less cash on hand than the amount of
the Carve-Out, the costs associated with administering the Debtors’ estates payable under the Budget
prior to any wind-down of the Debtors’ estates, and the reasonable expected costs associated with the
wind-down of the Debtors’ estates (the “Reserve Amount”), such cash payments shall be reduced to the
extent that, following the payment of such cash payments, the Debtors’ cash on hand is equal to the
Reserve Amount. Until the Prepetition Debt Refinancing occurs, the Prepetition Super Senior Agent, on
behalf of the Prepetition Super Senior Lenders, received or will receive, as applicable, (x) on the date of
entry of the Interim DIP Order, all interest that accrued on the Prepetition Super Senior Loans and that
was due and payable on June 3, 2019, (y) on the last business day of each month, all interest that accrued
on the Prepetition Super Senior Loans during the monthly period (or portion thereof) ending on such last
business day and (z) on the date that the Prepetition Debt Refinancing occurs, all accrued and unpaid
interest on the Prepetition Super Senior Loans (with interest on the Prepetition Super Senior Loans, for
purposes of clauses (y) and (z) of this sentence, being calculated based upon the non-default “Base Rate”
plus the “Applicable Rate” applicable to “Base Rate Loans” as set forth in the Prepetition Super Senior
Credit Agreement). The Prepetition First Lien Agent, on behalf of the Prepetition First Lien Lenders,
received or will receive (i) on the date of entry of the Interim DIP Order, payment in-kind of all accrued
and unpaid interest on the Prepetition First Lien Loans (which interest shall be capitalized and added to
the principal amount of the applicable Prepetition First Lien Loans on the date hereof) and (ii) on the last
business day of each month, payment in-kind of all interest that accrued on the Prepetition First Lien
Loans during the monthly period (or portion thereof) ending on such last business day (which interest
shall be capitalized and added to the principal amount of the applicable Prepetition First Lien Loans on
such last business day), with interest on the Prepetition First Lien Loans, for purposes of this clauses (ii),
being calculated based upon the non-default “Base Rate” plus the “Applicable Rate” applicable to such
“Base Rate Loans” as set forth in the Prepetition First Lien Credit Agreement. In the event that it is
determined by a final order, which order shall not be subject to any appeal, stay, reversal or vacatur, that
(i) no Diminution in Collateral Value of any Prepetition First Lien Secured Party’s respective interests has
occurred or (ii) such Prepetition First Lien Secured Party is determined to be undersecured, then a party in
interest shall have the right to assert that such payments of adequate protection shall be applied toward
repayment of the principal amount due on such Prepetition First Lien Debt as is owing to such Prepetition
First Lien Secured Party.

                              (d)       Adequate Protection Fees and Expenses.




                                                         32
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57           Main Document
                                                  Pg 461 of 565



The Prepetition Super Senior Agent shall receive, for the benefit of the Prepetition Super Senior Lenders,
current cash payments of the reasonable and documented prepetition and postpetition fees and expenses of
the Prepetition Super Senior Agent under the Prepetition Super Senior Credit Documents and the First
Lien Lender Group, including, but not limited to, the reasonable and documented fees and out-of-pocket
expenses of Arnold & Porter Kaye Scholer LLP (solely in its capacity as counsel to the Prepetition Super
Senior Agent), Davis Polk & Wardwell LLP, Wiley Rein LLP, local counsel to the First Lien Lender
Group, if any, Greenhill & Co., Inc., Altman Vilandrie & Company and its sub-agents, and any other
advisors retained by the First Lien Lender Group, subject to the review procedures set forth in the DIP
Orders. The Prepetition First Lien Agent shall receive, for the benefit of the Prepetition First Lien
Lenders, current cash payments of the reasonable and documented prepetition and postpetition fees and
expenses of (1) the Prepetition First Lien Agent under the Prepetition First Lien Credit Documents and the
First Lien Lender Group, including, but not limited to, the reasonable and documented fees and out-of-
pocket expenses of Arnold & Porter Kaye Scholer LLP (solely in its capacity as counsel to the Prepetition
First Lien Agent), Davis Polk & Wardwell LLP, Wiley Rein LLP, local counsel to the First Lien Lender
Group, if any, Greenhill & Co., Inc., Altman Vilandrie & Company and its sub-agents, and any other
advisors retained by the First Lien Lender Group, to the extent not duplicative to the fees and expenses
paid as Super Senior Adequate Protection Fees and Expenses, and (2) certain of the Prepetition First Lien
Revolving Lenders constituting only those reasonable and documented fees and out-of-pocket
disbursements of Simpson Thacher & Bartlett LLP, incurred directly in connection with matters specific
to the Prepetition First Lien Revolving Lenders, each subject to the review procedures set forth in the DIP
Orders.

                              (e)       Adequate Protection Milestones.

The Prepetition Super Senior Secured Parties and Prepetition First Lien Secured Parties are entitled to
performance of certain Adequate Protection Milestones, which cannot be waived, amended, modified or
extended from time to time, in each case (i) as to the Prepetition Super Senior Secured Parties absent (a)
order of the Court or (b) prior written consent of the Super Senior Requisite Lenders and (ii) as to the
Prepetition First Lien Secured Parties, absent (a) order of the Court or (b) prior written consent of the
First Lien Requisite Lenders, in certain instances as amended and reflected in the Final DIP Order.

                              (f)       Financial Covenant Compliance.

The Prepetition Super Senior Secured Parties and the Prepetition First Lien Secured Parties are entitled to
compliance by the Debtors of those certain financial covenants set forth in section 6.7 of the DIP Credit
Agreement.

                              (g)       Information Rights.

The Debtors will promptly provide the Prepetition Super Senior Agent, on behalf of itself and on behalf of
the Prepetition Super Senior Lenders, the Prepetition First Lien Agent, on behalf of itself and on behalf of
the Prepetition First Lien Lenders, and the Prepetition Second Lien Agent, on behalf of itself and on
behalf of the Prepetition Second Lien Lenders, with all required written financial reporting and other
periodic reporting that is required to be provided to the DIP Agent or the DIP Lenders under the DIP
Documents.

                              (h)       Additional Adequate Protection.

In the event the Debtors file, support, make a proposal or counterproposal to any party relating to, or take
any other similar action in furtherance of (any of the foregoing, a “Non-Permitted Action”) a plan of
reorganization that does not propose to pay all claims on account of the Prepetition First Lien Debt in

                                                         33
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57         Main Document
                                                  Pg 462 of 565



cash or with such other consideration acceptable to the First Lien Requisite Lenders (such plan, a “Non-
Permitted Plan”), the Debtors shall provide notice to counsel to the First Lien Lender Group not less than
seven (7) business days before taking such Non-Permitted Action (the “Non-Permitted Plan Notice”).
Upon delivery of a Non-Permitted Plan Notice, the Prepetition First Lien Secured Parties shall have the
right to immediately terminate Debtors’ right to use Cash Collateral pursuant to the DIP Orders.

                              (i)       Vector Subordinated Note Collateral

Notwithstanding anything to the contrary in the DIP Orders or in any DIP Document, with respect to the
Vector Subordinated Note Collateral, (i) each of the DIP Liens, the DIP Priming Liens, the DIP
Superpriority Claims, the other Adequate Protection Liens, the other Adequate Protection Obligations,
and the other Adequate Protection 507(b) Claims shall not prime, but are junior and subordinate to, the
claims and Liens, including the First Lien 507(b) Claims, the First Lien Adequate Protection Liens and
the other Adequate Protection Obligations, of the Prepetition First Lien Revolving Lenders and the
Prepetition Issuing Bank in respect of the Vector Subordinated Note Collateral, and nothing therein shall
be deemed to release the obligations of Vector SPV arising out of or related to the Vector Subordinated
Note Collateral; and (ii) nothing in the DIP Orders or the DIP Documents shall impair the Prepetition
First Lien Revolving Lenders’ and the Prepetition Issuing Bank’s rights or priority with respect to the
Vector Subordinated Note Collateral.

          C.        Procedural Motions and Retention of Professionals

The Debtors have also filed several other motions that are common in chapter 11 proceedings of similar
size and complexity as the Chapter 11 Cases, including applications to retain various professionals to
assist the Debtors in the Chapter 11 Cases.

          D.        Appointment of the Creditors’ Committee

On June 18, 2019, the Creditors’ Committee was appointed by the Office of the United States Trustee for
Region 2 (the “U.S. Trustee”) pursuant to section 1102 of the Bankruptcy Code to represent the interests
of unsecured creditors in the Chapter 11 Cases (ECF No. 98). The members of the Creditors’ Committee
are Abante Rooter and Plumbing, Inc., AT&T Services, Inc., and Equinix, Inc. The Creditors’
Committee retained Cooley LLP as its counsel and AlixPartners as its financial advisor. The Debtors
intend to continue to consult with the Creditors’ Committee throughout the Chapter 11 Cases and have
participated in numerous teleconferences and an in-person meeting with advisors to the Creditors’
Committee to discuss and consult with respect to the administration of the Chapter 11 Cases, the
Marketing Process, and the Second Amended Plan. These discussions have resulted in, among other
positive outcomes, the Global Settlement.

          E.        Schedules and Statements; Rule 2015.3 Financial Reports

On July 16, 2019, the Debtors each filed their schedules of assets and liabilities and statements of
financial affairs (collectively, the “Schedules and Statements”) (ECF Nos. 6-8 and 191-228). The
Schedules and Statements, as may be amended from time to time, and are incorporated into this
Disclosure Statement by reference. On July 12, 2019, the Debtors filed a Rule 2015.3 financial report
(the “Rule 2015.3 Report”) (ECF No. 179). The Rule 2015.3 Report is incorporated into the Disclosure
Statement by reference.

          F.        Bar Date



                                                         34
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                                  Pg 463 of 565



On July 16, 2019, the Bankruptcy Court entered an order establishing (i) August 27, 2019 at 5:00 p.m.
(prevailing Eastern Time), as the deadline for all non-governmental units (as defined in section 101(27) of
the Bankruptcy Code) to file proofs of claim in the Chapter 11 Cases (the “General Bar Date”); (ii)
December 2, 2019 at 5:00 p.m. (prevailing Eastern Time) as the deadline for all governmental units (as
defined in section 101(27) of the Bankruptcy Code) to file proofs of claim in the Chapter 11 Cases (the
“Governmental Bar Date”); (iii) the later of (a) the General Bar Date or the Governmental Bar Date, as
applicable, and (b) 5:00 p.m. (prevailing Eastern Time) on the date that is thirty (30) days after entry of
an order approving rejection of any executory contract or unexpired lease of the Debtors as the deadline
by which persons or entities asserting claims resulting from such rejection must file proofs of claim in the
Chapter 11 Cases (the “Rejection Damages Bar Date”); and (iv) the later of the (a) General Bar Date or
the Governmental Bar Date, as applicable, and (b) 5:00 p.m. (prevailing Eastern Time) on the date that is
thirty (30) days from the date on which the Debtors provide notice of a previously unfiled Schedule or an
amendment or supplement to a Schedule as the deadline by which persons or entities affected by such
filing, amendment, or supplement must file proofs of claim in the Chapter 11 Cases (the “Amended
Schedules Bar Date”).

          G.        Lease Rejection Motions

On July 18, 2019Before and during the Chapter 11 Cases, the Debtors filed a motion seeking authority to
(i)and their advisors have conducted and are continuing to review their lease portfolio to identify leases
that are no longer required and/or are burdensome to the Debtors. In conjunction with this review and to
preserve value to the Estate, the Debtors have filed two (2) motions to reject certain unexpired leases of
non-residential real property in New York, New Jersey, and California (with such rejection effective as of
July 31, 2019) and (ii)and to abandon certain property in connection therewith (ECF Nos. 236), which
was, 365), and orders were entered granteding both motions on August 1, 2019 (ECF No. 281) and
September 16, 2019 (ECF No. 400), respectively. The Debtors may elect, in their sole discretion, to file
additional motions to reject non-residential real property on or after the Date of the Disclosure Statement.

          H.        Exclusivity

Section 1121(b) of the Bankruptcy Code provides for a period of 120 days after the commencement of a
chapter 11 case during which time a debtor has the exclusive right to file a plan of reorganization (the
“Exclusive Plan Period”). In addition, section 1121(c)(3) of the Bankruptcy Code provides that if a
debtor files a plan within the Exclusive Plan Period, it has a period of 180 days after commencement of
the chapter 11 case to obtain acceptances of such plan (the “Exclusive Solicitation Period,” and together
with the Exclusive Plan Period, the “Exclusive Periods”). Pursuant to section 1121(d) of the Bankruptcy
Code, the Bankruptcy Court may, upon a showing of cause, extend the Exclusive Periods.

On September 16, 2019, the Bankruptcy Court entered an order extending the Exclusive Plan Period to
December 30, 2019 and the Exclusive Solicitation Period to February 28, 2020 (ECF No. 399). The
Exclusive Periods may be further extended by the Bankruptcy Court subject to section 1121(d) of the
Bankruptcy Code.

          I.        H. Litigation Matters

In the ordinary course of business, the Debtors are involved in disputes with a variety of different parties.
The Company is also subject to regulatory and governmental examinations, information requests and
subpoenas, inquiries, investigations, and threatened legal actions and proceedings. In connection with
formal and informal inquiries, the Company receives occasional requests in connection with various
aspects of the Company’s activities.


                                                         35
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57        Main Document
                                                  Pg 464 of 565



                    1.        GrandSlam Capital Master Fund, Ltd. v. Rosen et al.

On June 7, 2019, a U.S. federal securities class action was filed in the Southern District of New York
against the following current and former officers of the Company, Matthew D. Rosen, Kevin M. Dotts,
and Keith Soldan. This case, captioned GrandSlam Capital Master Fund, Ltd. v. Rosen et al., No. 1:19-
cv-05362-PGG, asserts claims for monetary relief under Sections 10(b) and 20(a) of the Securities
Exchange Act of 1934, during a class period alleged to range from May 11, 2018 to April 2, 2019. On
July 23, 2019, the court appointed a lead plaintiff and lead counsel in this action. A class has not yet
been certified in this action.

                    2.        Lingo Dispute

Lingo and the Company are involved in a dispute regarding (i) the value of assets transferred to Lingo in
connection with the Company’s closing of the Birch Merger and (ii) Lingo’s failure to remit payments
owed to the Company in connection with certain services the Company has provided to Lingo since the
Birch Merger pursuant to a transition services agreement and a carrier services agreement. As of the
Commencement Date, outstanding amounts remain due and owing to the Company. The Company has
sent a litigation hold notice, demands for payment, and advised Lingo it will end service to Lingo absent
payment. No litigation has commenced and the parties are still attempting to informally resolve the
dispute.

                    3.        Other Litigation

As mentioned above, in the ordinary course of business, the Company is involved in occasional disputes,
including pending class action cases with the potential to result in high amounts of damages assessed
against the Company. All actions and claims asserted against the Debtors in such actions are stayed
pursuant to section 362 of the Bankruptcy Code during the pendency of the Chapter 11 Cases. On August
16, 2019, the Debtors filed a motion with the Court seeking an order approving a stipulation between the
Debtors and 75 Broad, LLC that will lift the automatic stay solely with respect to a certain enumerated
lawsuit between Fusion Telecommunications International, Inc. and 75 Broad LLC (ECF No. 336).

          J.        I. Marketing Process and Bidding Procedures

In support of the Marketing Process, the Debtors and their advisors developed bidding and auction
procedures for the marketing and sale of their business in the Chapter 11 Cases in an orderly and value
maximizing manner (the “Bidding Procedures”). Pursuant to the Bidding Procedures, parties had the
opportunity to submit bids for the purchase of the U.S. Business, the Canadian Business, or the U.S.
Business and the Canadian Business on a consolidated basis in accordance with the terms of the Bidding
Procedures. The Bidding Procedures are filed at ECF No. 36.

          K.        Creditors’ Committee’s Investigation

Since its formation and through the date hereof, the Creditors’ Committee has sought, and continues to
seek, informal discovery from the Debtors and other parties regarding the Litigation Trust Causes of
Action. The advisors to the Creditors’ Committee are continuing to analyze the documents produced by
the Debtors to date, and anticipate that the Debtors (and other parties) will be producing additional
documents and materials in response to the Creditors’ Committee’s requests.

While the Creditors’ Committee’s investigation is ongoing, the Creditors’ Committee believes that the
proceeds of any claims and causes of action may provide a meaningful source of potential value for
distribution to holders of General Unsecured Claims. The Creditors’ Committee has also determined that

                                                         36
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57               Main Document
                                                  Pg 465 of 565



the contribution of the Litigation Trust Initial Funding and Litigation Trust Loan Proceeds in exchange
for the support by the Creditors’ Committee of the Second Amended Plan’s limited release and
exculpatory provisions is reasonable under the circumstances and will provide the Litigation Trust with
the necessary initial funding to pursue any claims that it identifies for the benefit of holders of Allowed
General Unsecured Claims.

For the avoidance of doubt, the Second Amended Plan does not release any officers other than three
officers who will continue serving the Company and Mr. Goldman. The Second Amended Plan further
does not release: (a) the Released Parties from any claims arising out of a finding of gross negligence
willful misconduct, or fraud (as determined by a Final Order); (b) the obligations of Vector SPV arising
under the Vector Subordinated Note; (c) any post-Effective Date obligations of any Entity under the
Second Amended Plan, the Confirmation Order, the Litigation Trust Agreement, or any other document
executed to implement the Second Amended Plan; and (d) the Non-Released Parties. The Second
Amended Plan does release (a) current non-Officer employees, (b) the First Lien Lenders who have
provided significant consideration to the Debtors and their Estates as well as funding for the Litigation
Trust, and (c) preference claims against vendors.

          L.        J. Plan Settlement Negotiations and the Global Settlement

The Debtors filed the Initial Plan on July 1, 2019 with the support of the First Lien Lender Group. The
Creditors’ Committee, however, raised a number of informal concerns and potential objections with
respect thereto. Since filing the Initial Plan, the Debtors and the First Lien Lender Group engaged the
Creditors’ Committee regarding Plan-related issues to work towards a chapter 11 plan supported by the
Creditors’ Committee. The Debtors, the Creditors’ Committee, and the First Lien Lender Group have
reached a Global Settlement, the terms of which are incorporated in the Second Amended Plan filed
contemporaneously herewith. Pursuant to the Global Settlement, the Debtors, the Creditors’ Committee,
and the First Lien Lender Group have agreed to the following:

                             i.    the establishment of the Litigation Trust in accordance with Section 5.16 of
                                   the Second Amended Plan, and the governance and administration of the
                                   Litigation Trust with the Litigation Trust Agreement;

                            ii.    on the Effective Date, the Reorganized Debtors will transfer the Litigation
                                   Trust Causes of Action and the Litigation Trust Debtor Causes of Action and
                                   the Litigation Trust Initial Funding to the Litigation Trust, the proceeds of
                                   which (if any) will benefit holders of Allowed Second Lien Claims and
                                   Allowed General Unsecured Claims, and holders of Allowed First Lien
                                   Claims shall be deemed to transfer to the Litigation Trust any direct Causes
                                   of Action they may assert solely in their capacities as Lenders under the
                                   Prepetition First Lien Credit Agreement relating to the Debtors, which, for
                                   the avoidance of doubt, shall not include any Cause of Action against any
                                   Prepetition First Lien Lender or the Prepetition First Lien Administrative
                                   Agent, to the extent such Causes of Action are not released or subject to the
                                   exculpation provisions under the Second Amended Plan, each free and clear
                                   of all Liens, charges, Claims, encumbrances, and interests, in accordance
                                   with Section 1141 of the Bankruptcy Code;

                           iii.    on the Effective Date, the Reorganized Debtors will issue an interest-bearing
                                   loan in the amount of $3,500,000 to the Litigation Trust and will invest cash
                                   in the amount of $1,500,000 in the Litigation Trust, and the Litigation Trust



                                                          37
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57                  Main Document
                                                  Pg 466 of 565



                                   Loan shall accrue payment-in-kind interest at the same rate as the New First
                                   Lien Credit Facility;

                           iv.     on the Effective Date, all Preference Action against any Entity other than a
                                   Non-Released Party that the Debtors or the Estates would have been legally
                                   entitled to assert in their own right (whether individually or collectively) or
                                   on behalf of the holder of any Claim or Interest or other Person shall be
                                   deemed conclusively, absolutely, unconditionally, irrevocably and forever
                                   released;

                            v.     the Litigation Trust will be overseen and controlled by the Litigation Trust
                                   Oversight Committee in accordance with the Litigation Trust Agreement, and
                                   shall (a) have the authority to determine whether to enforce, settle, release, or
                                   compromise the Litigation Trust Causes of Action, and (b) be solely
                                   responsible for selecting and retaining advisors to the Litigation Trust;

                           vi.     payment of Litigation Trust Expenses shall be deemed to be made first from
                                   the Litigation Trust Initial Funding and then from the Litigation Trust Loan
                                   Proceeds. The Litigation Trust shall be prohibited from using any Litigation
                                   Trust Loan Proceeds until no payment of the Litigation Trust Initial Funding
                                   is remaining;

                          vii.     vi. the Litigation Trust Assets will be distributed to the Reorganized Debtors
                                   and the holders of the Litigation Trust Interests in accordance with the
                                   waterfall provisions set forth in Section 5.2(b)(vii) of the Second Amended
                                   Plan;

                         viii.     after payment of Litigation Trust Expenses pursuant to the Litigation Trust
                                   Agreement, any Litigation Trust Assets that are proceeds of the Litigation
                                   Trust First Lien Lender Causes of Action shall be distributed in accordance
                                   with Section 5.2(b)(viii) of the Second Amended Plan;

                           ix.     vii. holders of Second Lien Claims, on account of the Second Lien Deficiency
                                   Claim (subject to the terms and conditions of the Prepetition Intercreditor
                                   Agreement), and General Unsecured Claims shall be entitled to share Pro
                                   Rata in the Litigation Trust Assets that are not paid to Reorganized FCI.
                                   Holders of Allowed First Lien Claims willshall not be entitled to receive a
                                   distribution from the Litigation Trust on account of the Term Loan
                                   Deficiency Claim other than on account of the turnover provision of the
                                   Prepetition Intercreditor Agreement;

                            x.          holders of Allowed Second Lien Claims shall not be entitled to receive a
                                   distribution from the Litigation Trust on account of the Second Lien
                                   Deficiency Claim;

                           xi.     viii. Upon entry of the Confirmation Order, the Challenge Period (as defined
                                   in the Final DIP Order) will be deemed expired;

                          xii.     ix. The Litigation Trust may be terminated in accordance with Section 5.16
                                   of the Second Amended Plan and the Litigation Trust Agreement;



                                                           38
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57                Main Document
                                                  Pg 467 of 565



                         xiii.     x. The Litigation Trust shall have the authority and right on behalf of each of
                                   the Debtors, without the need for Bankruptcy Court approval (unless
                                   otherwise indicated), to, except to the extent Claims have been Allowed,
                                   control and effectuate the Claims reconciliation process of General Unsecured
                                   Claims, including to object to, seek to subordinate, compromise, or settle any
                                   and all General Unsecured Claims against the Debtors; and

                         xiv.      the Litigation Trust shall have authority under Bankruptcy Rule 2004 to
                                   issue subpoenas for documents and testimony in connection with the
                                   Litigation Trust Causes of Action;

                          xv.         on the Effective Date, Reorganized FCI shall enter into the Consulting
                                   Agreement;

                         xvi.          on the Effective Date, proofs of Claim nos. 724, 777 and 840 filed by
                                   Greenberg Traurig, LLP against the Debtors on account of services
                                   performed prior to the Commencement Date shall be deemed withdrawn and
                                   expunged with prejudice;

                        xvii.         the Other Officers and Directors shall be included in Section 10.8 of the
                                   Second Amended Plan;

                        xviii.        on the Effective Date, the Debtors shall pay the Settlement Restructuring
                                   Expenses;

                         xix.          on the Effective Date, the Debtors shall pay the Second Lien Lender
                                   Restructuring Expenses; and

                          xx.      xi. as a condition precedent to consummation of the Global Settlement, the
                                   Creditors’ Committee and, the First Lien Lender Group have agreed not to,
                                   the Second Lien Lender Group, and the Other Officers and Directors shall
                                   not object to the Disclosure Statement or the Second Amended Plan, or take
                                   any other action that is inconsistent with or that would reasonably be
                                   expected to prevent, interfere with, delay, or impede the confirmation and
                                   consummation of the Second Amended Plan or approval of the Global
                                   Settlement.

The Debtors, the First Lien Lender Group, the Second Lien Lender Group, and the Creditors’ Committee
believe the Global Settlement is fair and reasonable. The terms of the Global Settlement were negotiated
by sophisticated parties and their advisors at arm’s-length, and the agreement therein preserves and funds
potentially valuable causes of action for the benefit of the Reorganized Debtors and holders of allowed
General Unsecured Claims. The terms of the Global Settlement allow the Debtors to achieve their goal of
completing a speedy and efficient restructuring process that will allow the Debtors to emerge from chapter
11 with a de-levered balance sheet, enhanced liquidity, and the financing and support necessary to operate
a successful business.




                                                          39
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                                  Pg 468 of 565



                                          V.
                          SUMMARY OF AMENDED PLANAMENDED PLAN

This section of the Disclosure Statement summarizes the Second Amended Plan, a copy of which is
annexed hereto as Exhibit A.

          A.        Administrative Expense and Priority Claims.

                    1.        Administrative Expense Claims.

Except as otherwise set forth in the Second Amended Plan, and except to the extent that a holder of an
Allowed Administrative Expense Claim agrees to less favorable treatment, each holder of an Allowed
Administrative Expense Claim (other than a Fee Claim, a DIP Claim, or a Restructuring Expense) shall
receive, in full and final satisfaction of such Claim, Cash in an amount equal to such Allowed
Administrative Expense Claim on, or as soon thereafter as is reasonably practicable, the later of (a) the
Effective Date and (b) the first Business Day after the date that is thirty (30) calendar days after the date
such Administrative Expense Claim becomes an Allowed Administrative Expense Claim; provided, that
Allowed Administrative Expense Claims representing liabilities incurred in the ordinary course of
business by the Debtors, as Debtors in Possession, shall be paid by the Debtors or the Reorganized
Debtors, as applicable, in the ordinary course of business, consistent with past practice and in accordance
with the terms and subject to the conditions of any course of dealing or agreements governing, instruments
evidencing, or other documents relating to such transactions.

                    2.        Fee Claims.

                          (a)      All Entities seeking an award by the Bankruptcy Court of Fee Claims
shall file and serve on counsel to the Debtors or the Creditors’ Committee, as applicable, the U.S. Trustee,
and counsel to the First Lien Lender Group, on or before the date that is forty-five (45) days after the
Effective Date, their respective final applications for allowance of compensation for services rendered and
reimbursement of expenses incurred from the Commencement Date through the Effective Date.
Objections to any Fee Claims must be filed and served on counsel to the Debtors, counsel to the First Lien
Lender Group, and the requesting party no later than twenty-one (21) calendar days after the filing of the
final applications for compensation or reimbursement (unless otherwise agreed by the Debtors or the
Reorganized Debtors, as applicable, and the party requesting compensation of a Fee Claim).

                         (b)     Allowed Fee Claims shall be paid in full, in Cash, in such amounts as are
Allowed by the Bankruptcy Court (i) on the date upon which an order relating to any such Allowed Fee
Claim is entered or as soon as reasonably practicable thereafter; or (ii) upon such other terms as may be
mutually agreed upon between the holder of such an Allowed Fee Claim and the Debtors or the
Reorganized Debtors, as applicable. Notwithstanding the foregoing, any Fee Claims that are authorized
to be paid pursuant to any administrative orders entered by the Bankruptcy Court may be paid at the times
and in the amounts authorized pursuant to such orders.

                          (c)      On or about the Effective Date, holders of Fee Claims shall provide a
reasonable estimate of unpaid Fee Claims incurred in rendering services before the Effective Date to the
Debtors, and the Debtors or Reorganized Debtors, as applicable, shall escrow such estimated amounts for
the benefit of the holders of the Fee Claims until the fee applications related thereto are resolved by Final
Order or agreement of the parties. If a holder of a Fee Claim does not provide an estimate, the Debtors or
the Reorganized Debtors, as applicable, may estimate the unpaid and unbilled reasonable and necessary
fees and out-of-pocket expenses of such holder of a Fee Claim. When all such Allowed Fee Claims have


                                                         40
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57           Main Document
                                                  Pg 469 of 565



been paid in full, any remaining amount in such escrow shall promptly be released from such escrow and
revert to, and ownership thereof shall vest in, the Reorganized Debtors without any further action or order
of the Bankruptcy Court.

                         (d)    The Reorganized Debtors are authorized to pay compensation for
services rendered or reimbursement of expenses incurred after the Effective Date in the ordinary course
and without the need for Bankruptcy Court approval.

                    3.        Priority Tax Claims.

Except to the extent that a holder of an Allowed Priority Tax Claim agrees to less favorable treatment,
each holder of an Allowed Priority Tax Claim shall receive, in full and final satisfaction of such Allowed
Priority Tax Claim, at the sole option of the Debtors or the Reorganized Debtors, as applicable, (a) Cash
in an amount equal to such Allowed Priority Tax Claim on, or as soon thereafter as is reasonably
practicable, the later of (i) the Effective Date, to the extent such Claim is an Allowed Priority Tax Claim
on the Effective Date; (ii) the first Business Day after the date that is thirty (30) calendar days after the
date such Priority Tax Claim becomes an Allowed Priority Tax Claim; and (iii) the date such Allowed
Priority Tax Claim is due and payable in the ordinary course as such obligation becomes due; provided,
that the Debtor reserves the right to prepay all or a portion of any such amounts at any time under this
option without penalty or premium; or (b) equal annual Cash payments in an aggregate amount equal to
the amount of such Allowed Priority Tax Claim, together with interest at the applicable rate under section
511 of the Bankruptcy Code, over a period not exceeding five (5) years from and after the Commencement
Date.

                    4.        DIP Claims.

As of the Effective Date, the DIP Claims shall be Allowed in the full amount outstanding under the DIP
Credit Agreement, including principal, interest, fees, and expenses. On the Effective Date, in full and
final satisfaction of the DIP Claims, such claims shall be paid in full in Cash from the proceeds of the
New Exit Facility. Notwithstanding anything to the contrary in the Second Amended Plan or the
Confirmation Order, (i) the Contingent DIP Obligations shall survive the Effective Date and shall not be
discharged or released pursuant to the Second Amended Plan or the Confirmation Order, and (ii) the DIP
Documents shall continue in full force and effect after the Effective Date with respect to any obligations
thereunder governing (1) the Contingent DIP Obligations and (2) the relationships among the DIP Agent
and the DIP Lenders.

On the later of (1) the Effective Date and (2) the date on which such fees, expenses, or disbursements
would be required to be paid under the terms of the DIP Order, the Debtors or Reorganized Debtors (as
applicable) shall pay all fees, expenses, and disbursements of the DIP Agent and DIP Lenders, in each
case that have accrued and are unpaid as of the Effective Date and are required to be paid under or
pursuant to the DIP Order. After the Effective Date, the Reorganized Debtors shall continue to reimburse
the DIP Agent and the DIP Lenders for the reasonable fees and expenses (including reasonable and
documented legal fees and expenses) incurred by the DIP Agent and the DIP Lenders after the Effective
Date in accordance with the terms thereof and/or the DIP Order. The Reorganized Debtors shall pay all
of the amounts that may become payable to the DIP Agent or any of the DIP Lenders on account of any
Contingent DIP Obligations in accordance with the terms of the DIP Documents and the DIP Order.




                                                         41
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57         Main Document
                                                  Pg 470 of 565



                    5.        Restructuring Expenses.

During the period commencing on the Commencement Date through the Effective Date, the Debtors will
promptly pay in full in Cash any Restructuring Expenses in accordance with the terms of the RSA.
Without limiting the foregoing, to the extent that any Restructuring Expenses remain unpaid as of the
Business Day prior to the Effective Date, on the Effective Date, the Reorganized Debtors shall pay in full
in Cash any outstanding Restructuring Expenses that are invoiced without the requirement for the filing of
retention applications, fee applications, or any other applications in the Chapter 11 Cases, and without
any requirement for further notice or Bankruptcy Court review or approval. For the avoidance of doubt,
any Restructuring Expenses invoiced after the Effective Date shall be paid promptly, but no later than ten
(10) business days of receiving an invoice.

          B.        Classification of Claims and Interests.

                    1.        Classification in General.

A Claim or Interest is placed in a particular Class for all purposes, including voting, confirmation, and
distribution under the Second Amended Plan and under sections 1122 and 1123(a)(1) of the Bankruptcy
Code; provided, that a Claim or Interest is placed in a particular Class for the purpose of receiving
distributions pursuant to the Second Amended Plan only to the extent that such Claim or Interest is an
Allowed Claim or Allowed Interest in that Class and such Allowed Claim or Allowed Interest has not
been satisfied, released, or otherwise settled prior to the Effective Date.

                    2.        Summary of Classification.

The following table designates the Classes of Claims against and Interests in the Debtor and specifies
which of those Classes are (a) Impaired or Unimpaired by the Second Amended Plan; (b) entitled to vote
to accept or reject the Second Amended Plan in accordance with section 1126 of the Bankruptcy Code;
and (c) deemed to accept or reject the Second Amended Plan. In accordance with section 1123(a)(1) of
the Bankruptcy Code, Administrative Expense Claims and Priority Tax Claims have not been classified.

   Class                   Designation                   Treatment           Entitled to Vote
     1         Priority Non-Tax Claims                   Unimpaired       No (Presumed to accept)
     2         Other Secured Claims                      Unimpaired       No (Presumed to accept)
     3         First Lien Claims                          Impaired                  Yes
     4         Second Lien Claims                         Impaired                  Yes
     5         General Unsecured Claims                   Impaired                  Yes
     6         Intercompany Claims                       Unimpaired       No (Presumed to accept)
     7         Intercompany Interests                    Unimpaired       No (Presumed to accept)
     8         Parent Equity Interests                    Impaired         No (Deemed to reject)
     9         Subordinated Securities Claims             Impaired         No (Deemed to reject)

                    3.        Special Provision Governing Unimpaired Claims.

Nothing under the Second Amended Plan shall affect the rights of the Debtors or the Reorganized
Debtors, as applicable, in respect of any Unimpaired Claims, including all rights in respect of legal and
equitable defenses to, or setoffs or recoupments against, any such Unimpaired Claims.




                                                         42
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57               Main Document
                                                  Pg 471 of 565



                    4.        Elimination of Vacant Classes.

Any Class of Claims against or Interests in the Debtors that, as of the commencement of the Confirmation
Hearing, does not have at least one holder of a Claim or Interest that is Allowed in an amount greater than
zero for voting purposes shall be considered vacant, deemed eliminated from the Second Amended Plan
for purposes of voting to accept or reject the Second Amended Plan, and disregarded for purposes of
determining whether the Second Amended Plan satisfies section 1129(a)(8) of the Bankruptcy Code with
respect to that Class.

          C.        Treatment of Claims and Interests.

                    1.        Priority Non-Tax Claims (Class 1).

                              (a)       Classification: Class 1 consists of Priority Non-Tax Claims.

                          (b)     Treatment: Except to the extent that a holder of an Allowed Priority
Non-Tax Claim against the Debtors agrees to a less favorable treatment of such Claim, in full and final
satisfaction of such Allowed Priority Non-Tax Claim, at the sole option of the Debtors or the Reorganized
Debtors, as applicable: (i) each such holder shall receive payment in Cash in an amount equal to such
Claim, payable on the later of the Effective Date and the date that is ten (10) Business Days after the date
on which such Priority Non-Tax Claim becomes an Allowed Priority Non-Tax Claim, or as soon
thereafter as is reasonably practicable; (ii) such holder’s Allowed Priority Non-Tax Claim shall be
Reinstated; or (iii) such holder shall receive such other treatment so as to render such holder’s Allowed
Priority Non-Tax Claim Unimpaired.

                       (c)      Voting: Class 1 is Unimpaired, and holders of Priority Non-Tax Claims
are conclusively presumed to have accepted the Second Amended Plan pursuant to section 1126(f) of the
Bankruptcy Code. Therefore, holders of Priority Non-Tax Claims are not entitled to vote to accept or
reject the Second Amended Plan, and the votes of such holders will not be solicited with respect to
Priority Non-Tax Claims.

                    2.        Other Secured Claims (Class 2).

                         (a)      Classification: Class 2 consists of the Other Secured Claims. To the
extent that Other Secured Claims are secured by different collateral or different interests in the same
collateral, such Claims shall be treated as separate subclasses of Class 2 for purposes of voting to accept
or reject the Second Amended Plan and receiving distributions under the Second Amended Plan.

                         (b)     Treatment: Except to the extent that a holder of an Allowed Other
Secured Claim agrees to different treatment, on the later of the Effective Date and the date that is ten (10)
Business Days after the date such Other Secured Claim becomes an Allowed Claim, or as soon thereafter
as is reasonably practicable, each holder of an Allowed Other Secured Claim will receive, on account of
such Allowed Claim, at the sole option of the Debtors or the Reorganized Debtors, as applicable: (i) Cash
in an amount equal to the Allowed amount of such Claim; (ii) Reinstatement of such holder’s Allowed
Other Secured Claim; or (iii) such other treatment sufficient to render such holder’s Allowed Other
Secured Claim Unimpaired; or (iv) return of the applicable collateral in satisfaction of the Allowed
amount of such Other Secured Claim.

                       (c)    Voting: Class 2 is Unimpaired, and holders of Other Secured Claims are
conclusively presumed to have accepted the Second Amended Plan pursuant to section 1126(f) of the
Bankruptcy Code. Therefore, holders of Other Secured Claims are not entitled to vote to accept or reject

                                                           43
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57                  Main Document
                                                  Pg 472 of 565



the Second Amended Plan, and the votes of such holders will not be solicited with respect to such Other
Secured Claims.

                    3.        First Lien Claims (Class 3).

                              (a)       Classification: Class 3 consists of First Lien Claims.

                         (b)     Allowance: The First Lien Claims are Allowed pursuant to section
506(a) of the Bankruptcy Code against the Debtors in the aggregate principal amount of $585,481,310.80
consisting of (i) $545,150,569.11 in aggregate outstanding principal amount of term loans,
(ii) $39,818,694.44 in aggregate outstanding principal amount of revolving loans, and (iii) $512,047.25 in
aggregate outstanding face amount of letters of credit issued, in each case, under the Prepetition First Lien
Credit Agreement, plus accrued and unpaid prepetition interest, accrued and unpaid post-petition interest,
fees, expenses and other amounts arising under the Prepetition First Lien Credit Agreement.

                          (c)      Treatment: Except to the extent that a holder of a First Lien Claim
agrees to less favorable treatment, in full and final satisfaction, settlement, release, and discharge of, and
in exchange for such First Lien Claim, each such holder thereof (or, with respect to any New Equity
Interests to be issued pursuant to the First Lien Lender Equity Distribution, such holder’s permitted
designee) shall receive on the Effective Date such holder’s Pro Rata share of (a) the First Lien Lender
Equity Distribution; provided, that notwithstanding anything in the Second Amended Plan to the contrary,
the distribution of the First Lien Lender Equity Distribution shall be made pursuant to, and subject to the
terms and conditions of, the Equity Allocation Mechanism, less any New Equity Interests and/or Special
Warrants distributable to other classes of Claims in order for the Bankruptcy Court to determine that the
Amended Plan satisfies section 1129(a)(7) of the Bankruptcy Code; (b) the loans under the New First Lien
Credit Facility; and (c) cash or other proceeds, if any, from the sale of the Debtors’ Canadian business
unless otherwise agreed to by the Requisite First Lien Lenders.

For the avoidance of doubt, on the Effective Date, the Prepetition First Lien Credit Agreement shall be
deemed cancelled (except as set forth in Section 5.10 hereof5.09 of the Second Amended Plan) without
further action by or order of the Bankruptcy Court.

                           (d)      Voting: Class 3 is Impaired, and holders of First Lien Claims in Class 3
are entitled to vote to accept or reject the Second Amended Plan.

                    4.        Second Lien Claims (Class 4).

                        (a)      Classification: Class 4 consists of Second Lien Claims in the aggregate
principal amount of $85,000,000 of term loans issued under the Prepetition Second Lien Credit
Agreement, plus interest, fees, expenses and other amounts arising under the Prepetition Second Lien
Credit Agreement.

                 (b) Treatment: Except to the extent that a holder of an Allowed Second Lien Claim
agrees to less favorable treatment, in full and final satisfaction, settlement, release, and discharge of, and
in exchange for ansuch Allowed Second Lien Claim, on the Effective Date each such holder thereof shall
receive: on the Effective Date such holder’s Pro Rata share of the Second Lien Lender Special Warrant
Distribution.

                              (i) if Class 4 is an Accepting Class, holders of First Lien Claims shall be
deemed to have consented to a distribution to holders of Second Lien Claims of, and each holder of a
Second Lien Claim and Second Lien Deficiency Claim shall receive on the Effective Date, in full

                                                           44
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57                Main Document
                                                  Pg 473 of 565



satisfaction of its Allowed Second Lien Claim and Second Lien Deficiency Claim, such holder’s Pro Rata
share of Second Lien Warrants; provided, that, notwithstanding anything in the Amended Plan to the
contrary, the distribution of the Second Lien Warrants to the holders of Second Lien Claims shall be made
pursuant to and subject to Communications Act and the rules and regulations of the FCC as well as
applicable state laws and the rules and regulations of the State PUCs; or

                                        (ii) if Class 4 is not an Accepting Class, then each holder of a Second
Lien Claim will receive its Pro Rata share of (x) the Litigation Trust Interests on account of its Second
Lien Deficiency Claim (subject to the terms and conditions of the Prepetition Intercreditor Agreement) and
(y) the percentage of the New Equity Interests and/or Special Warrants in accordance with the Equity
Allocation Mechanism, as determined by the Bankruptcy Court to satisfy section 1129(a)(7) of the
Bankruptcy Code as to holders of Second Lien Claims (if any).

               For the avoidance of doubt, on the Effective Date, the Prepetition Second Lien Credit
Agreement shall be deemed cancelled (except as set forth in Section 5.10 hereof5.09 of the Second
Amended Plan) without further action by or order of the Bankruptcy Court.

                           (b)      (c) Voting: Class 4 is Impaired, and holders of Second Lien Claims are
entitled to vote to accept or reject the Second Amended Plan.

                    5.        General Unsecured Claims (Class 5).

                              (a)       Classification: Class 5 consists of General Unsecured Claims.

                         (b)     Treatment: Except to the extent that a holder of an Allowed General
Unsecured Claim agrees to less favorable treatment, in full and final satisfaction, settlement, release, and
discharge of, and in exchange for an Allowed General Unsecured Claim, each such holder thereof shall
receive such holder’s Pro Rata share of the Litigation Trust Interests on the Effective Date.

                           (c)      Voting: Class 5 is Impaired, and holders of General Unsecured Claims
are entitled to vote to accept or reject the Second Amended Plan.

                    6.        Intercompany Claims (Class 6).

                              (a)       Classification: Class 6 consists of Intercompany Claims.

                          (b)     Treatment: On or after the Effective Date, all Intercompany Claims will
be adjusted, continued, settled, reinstated, discharged, or eliminated as determined by the Debtors or the
Reorganized Debtors, as applicable, and the Requisite First Lien Lenders, in their respective reasonable
discretion, but not paid in Cash.

                       (c)    Voting: Class 6 is Unimpaired, and holders of Intercompany Claims are
conclusively presumed to have accepted the Second Amended Plan pursuant to section 1126(f) of the
Bankruptcy Code. Therefore, holders of Intercompany Claims are not entitled to vote to accept or reject
the Second Amended Plan, and the votes of such holders will not be solicited with respect to such
Intercompany Claims.

                    7.        Intercompany Interests (Class 7).

                              (a)       Classification: Class 7 consists of Intercompany Interests.



                                                           45
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57                 Main Document
                                                  Pg 474 of 565



                        (b)      Treatment: On or after the Effective Date, all Intercompany Interests
shall be cancelled, reinstated, or receive such other treatment as determined by the Debtors or the
Reorganized Debtors, as applicable, and the Requisite First Lien Lenders, in their respective reasonable
discretion.

                        (c)     Voting: Class 7 is Unimpaired, and holders of Intercompany Interests
are conclusively presumed to have accepted the Second Amended Plan pursuant to section 1126(f) of the
Bankruptcy Code. Therefore, holders of Intercompany Interests are not entitled to vote to accept or reject
the Second Amended Plan, and the votes of such holders will not be solicited with respect to such
Intercompany Interests.

                    8.        Parent Equity Interests (Class 8).

                              (a)       Classification: Class 8 consists of Parent Equity Interests.

                         (b)      Treatment: on the Effective Date, all Parent Equity Interests shall be
deemed cancelled without further action by or order of the Bankruptcy Court, and shall be of no further
force and effect, whether surrendered for cancellation or otherwise. To the extent permitted by applicable
law, on or promptly after the Effective Date, the Reorganized Debtors shall file with the SEC a Form 15
for the purpose of terminating the registration of any of FCI’s publicly traded securities.

                      (c)     Voting: Class 8 is Impaired, and holders of Parent Equity Interests are
conclusively deemed to have rejected the Second Amended Plan pursuant to section 1126(g) of the
Bankruptcy Code. Therefore, holders of Parent Equity Interests are not entitled to vote to accept or reject
the Second Amended Plan, and the votes of such holders will not be solicited with respect to such Parent
Equity Interests.

                    9.        Subordinated Securities Claims (Class 9).

                              (a)       Classification: Class 9 consists of Subordinated Securities Claims.

                         (b)      Treatment: Holders of Subordinated Securities Claims shall not receive
or retain any property under the Second Amended Plan on account of such Subordinated Securities
Claims. On the Effective Date, all Subordinated Securities Claims shall be deemed cancelled without
further action by or order of the Bankruptcy Court, and shall be of no further force and effect, whether
surrendered for cancellation or otherwise.

                         (c)     Voting: Class 9 is Impaired, and the holders of Subordinated Securities
Claims are conclusively deemed to have rejected the Second Amended Plan. Therefore, holders of
Subordinated Securities Claims are not entitled to vote to accept or reject the Second Amended Plan, and
the votes of such holders of Subordinated Securities Claims will not be solicited.

          D.        Means for Implementation.

                    1.        No Substantive Consolidation.

The Second Amended Plan is being proposed as a joint plan of reorganization of the Debtors for
administrative purposes only and constitutes a separate chapter 11 plan of reorganization for each Debtor.
The Plan is not premised However, this Plan contemplates and is predicated upon the deemed substantive
consolidation of the Debtors with respect to the Classes of Claims or Interests set forth in the Amended
Plan.Estate and Chapter 11 Case of each Debtor with the Estate and Chapter 11 Case of each other

                                                           46
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57             Main Document
                                                  Pg 475 of 565



Debtor for purposes of distributions made by the Litigation Trust only. On the Effective Date, each
Claim filed or to be filed against any Debtor shall be deemed filed only against Fusion Connect, Inc. and
shall be deemed a single Claim against and a single obligation of Fusion Connect, Inc. for purposes of
distributions made by the Litigation Trust only and the claims register shall be updated accordingly. This
limited substantive consolidation effected pursuant to this Section 5.1 of the Second Amended Plan shall
not affect the vesting of any Litigation Trust Cause of Action in the Litigation Trust, nor shall it affect the
prosecution of any Litigation Trust Cause of Action by the Litigation Trust.

                    2.        Compromise and Settlement of Claims, Interests, and Controversies.

                           (a)      Pursuant to sections 363 and 1123(b)(3) of the Bankruptcy Code and
Bankruptcy Rule 9019 and in consideration for the distributions and other benefits provided pursuant to
the Second Amended Plan, the provisions of the Second Amended Plan and the Global Settlement shall
constitute a good faith compromise of Claims, Interests, and controversies relating to the contractual,
legal, and subordination rights that a creditor or an Interest holder may have with respect to any Claim or
Interest or any distribution to be made on account of an Allowed Claim or Interest. The entry of the
Confirmation Order shall constitute the Bankruptcy Court’s approval of the compromise or settlement of
all such Claims, Interests, and controversies, as well as a finding by the Bankruptcy Court that such
compromise or settlement is in the best interests of the Debtors, their Estates, and holders of such Claims
and Interests, and is fair, equitable, and reasonable.

                         (b)    The Second Amended Plan incorporates and reflects the following
compromise and settlement by and among the Debtors, the Creditors’ Committee, and the Consenting
First Lien Lenders, and the Consenting Second Lien Lenders (the “Global Settlement”).

                                 (i)    On the Effective Date, the Litigation Trust shall be established in
accordance with Section 5.16 of the Second Amended Plan and shall be governed and administered in
accordance with the Litigation Trust Agreement.

                                  (ii)     On the Effective Date, or as soon as reasonably practicable
thereafter, (1) the Debtors shall be deemed to transfer to the Litigation Trust the Litigation Trust Debtor
Causes of Action, (2) the Reorganized Debtors shall transfer to the Litigation Trust the Litigation Trust
Initial Funding and (3) holders of Allowed First Lien Claims shall be deemed to transfer to the Litigation
Trust any direct Cause of Action they may assert solely in their capacities as lenders under the Prepetition
First Lien Credit Agreement relating to the Debtors, which, for the avoidance of doubt, shall not include
any Cause of Action against any Prepetition First Lien Lender or the Prepetition First Lien Administrative
Agent, to the extent such Causes of Action are not released or subject to the exculpation provisions under
the Second Amended Plan (the “Litigation Trust First Lien Lender Causes of Action”), each free and
clear of all Liens, charges, Claims, encumbrances, and interests, in accordance with Section 1141 of the
Bankruptcy Code. All of the Litigation Trust Assets, as well as the rights and powers of the Debtors’
Estates applicable to the Litigation Trust Assets, shall vest in the Litigation Trust, for the benefit of the
holders of Litigation Trust Interests and Reorganized FCI.

                                 (iii)  On the Effective Date, or as soon as reasonably practicable
thereafter, the Reorganized Debtors and Litigation Trust shall enter into the Litigation Trust Loan
Agreement pursuant to which the Reorganized Debtors shall agree to lend the Litigation Trust Loan
Proceeds to the Litigation Trust. The Litigation Trust Loan Proceeds shall be available to be drawn in
$1,000,000 installments six (6) and twelve (12) months after the Effective Date, and $500,000
installments eighteen (18), twenty-four (24), and thirty (30) months after the Effective Date. The
Litigation Trust Loan shall accrue payment-in-kind interest at same rate as the New First Lien Credit
Facility. The amount of the Litigation Trust Loan may be increased post-Effective Date upon the

                                                         47
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                                  Pg 476 of 565



agreement of the Reorganized Debtors and the Litigation Trust. In the event the Reorganized Debtors fail
to honor a Litigation Trust Loan draw installment when due, such failure shall be deemed to be an
automatic exercise of the Termination Right (as defined below) without the consent of the member the
Creditors’ Committee appointed to the Litigation Trust Oversight Committee.

                                  (iv)    On the Effective Date, all Preference Actions against any Entity
other than a Non-Released Party that the Debtors or the Estates would have been legally entitled to assert
in their own right (whether individually or collectively) or on behalf of the holder of any Claim or Interest
or other Person shall be deemed conclusively, absolutely, unconditionally, irrevocably and forever,
released.

                                (v)     The Litigation Trust shall be overseen and controlled by the
Litigation Trust Oversight Committee in accordance with the Litigation Trust Agreement. The Litigation
Trust Oversight Committee shall have the authority to determine whether to enforce, settle, release, or
compromise the Litigation Trust Causes of Action (or decline to do any of the foregoing). The Litigation
Trust Oversight Committee shall be solely responsible for selecting and retaining advisors to the
Litigation Trust.

                                 (vi)   In accordance with the Litigation Trust Agreement, payment of
Litigation Trust Expenses shall be deemed to be made first from the Litigation Trust Initial Funding and
then from the Litigation Trust Loan Proceeds. The Litigation Trust shall be deemed to be prohibited
from using any Litigation Trust Loan Proceeds until no portion of the Litigation Trust Initial Funding is
remaining.

                                   (vii) After payment of Litigation Trust Expenses pursuant to the
Litigation Trust Agreement, the Litigation Trust Assets (other than any proceeds of the Litigation Trust
First Lien Lender Causes of Action) shall be shared and distributed as follows: first, payment in full in
Cash of all amounts due to the Reorganized DebtorsFCI under the Litigation Trust Loan; second,
distribution of up to $180,000 to Reorganized FCI; third, distribution to the Litigation Trust for the
benefit of the holders of Litigation Trust Interests in accordance with the Second Amended Plan of up to
$1,500,000 (the “GUC Payment”); thirdfourth, to the extent the remaining Litigation Trust Assets are
equal to or less than $20,000,000, seventysixty percent (7060%) of such Litigation Trust Assets shall be
distributed to Reorganized FCI and thirtyforty percent (3040%) of such Litigation Trust Assets shall be
distributed to the Litigation Trust for the benefit of the holders of Litigation Trust Interests in accordance
with the Second Amended Plan; and fourthfifth, to the extent there are any remaining Litigation Trust
Assets greater than $20,000,000, fifty percent (50%) of such Litigation Trust Assets shall be distributed
to the Reorganized FCI and fifty percent (50%) of such Litigation Trust Assets shall be distributed to the
Litigation Trust for the benefit of the holders of Litigation Trust Interests in accordance with the Second
Amended Plan.

                                        (viii)
                                           After payment of Litigation Trust Expenses pursuant to the
Litigation Trust Agreement, any Litigation Trust Assets that are proceeds of the Litigation Trust First
Lien Lender Causes of Action shall be shared and distributed as follows: first, payment in full in Cash of
all amounts due to the Reorganized Debtors under the Litigation Trust Loan; second, eighty-five percent
(85%) of such Litigation Trust Assets shall be distributed to the Reorganized FCI and fifteen percent
(15%) of such Litigation Trust Assets shall be distributed to the Litigation Trust for the benefit of the
holders of Litigation Trust Interests in accordance with the Second Amended Plan.

                                (ix)    Holders of Second Lien Claims, on account of the Second Lien
Deficiency Claims (subject to the terms and conditions of the Prepetition Intercreditor Agreement), and
General Unsecured Claims shall be entitled to share Pro Rata in the Litigation Trust Assets that are not


                                                         48
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57                 Main Document
                                                  Pg 477 of 565



paid to Reorganized FCI. Holders of Allowed First Lien Claims shall not be entitled to receive a
distribution from the Litigation Trust on account of the Term Loan Deficiency Claim other than on
account.

                                   (x)      of the turnover provision of the Prepetition Intercreditor
Agreement, which the Prepetition First Lien Administrative Agent shall use commercially reasonable
efforts to enforce with respect to any distributions made by the Litigation Trust; in the event that hHolders
of Allowed FirstSecond Lien Claims shall not be entitled to receive a distribution from the Litigation
Trust on account of the Term LoanSecond Lien Deficiency Claim, such distribution shall be credited
against, and reduce, on a dollar-for-dollar basis, any distribution of Litigation Trust Assets that are
distributable to Reorganized FCI.

                                 (xi)     (x) Upon entry of the Confirmation Order, the Challenge Period
(as defined in the DIP Order) shall be deemed expired.

                               (xii) (xi) The Litigation Trust may be terminated in accordance with
Section 5.16 of the Second Amended Plan and the Litigation Trust Agreement.

                                        (xiii)    (xii) The Litigation Trust shall have the authority and right on
behalf of each of the Debtors, without the need for Bankruptcy Court approval (unless otherwise
indicated), to, except to the extent Claims have been Allowed, control and effectuate the Claims
reconciliation process of General Unsecured Claims, including to object to, seek to subordinate,
compromise or settle any and all General Unsecured Claims against the Debtors.

                                        (xiv)
                                      The Litigation Trust shall have authority under Bankruptcy Rule
2004 to issue subpoenas for documents and testimony in connection with the Litigation Trust Causes of
Action.

                                        (xv)      On the Effective Date, Reorganized FCI shall enter into the
Consulting Agreement.

                                        (xvi)
                                     On the Effective Date, proofs of Claim nos. 724, 777, and 840
filed by Greenberg Traurig, LLP against the Debtors on account of services performed prior to the
Commencement Date shall be deemed withdrawn and expunged with prejudice.

                                        (xvii) The Other Officers and Directors shall be included in Section
10.8 of the Second Amended Plan.

                                        (xviii) On the Effective Date, the Debtors shall pay the Settlement
Restructuring Expenses.

                                        (xix)     On the Effective Date, the Debtors shall pay the Second Lien
Lender Restructuring Expenses.

                                 (xx) (xiii) As a condition precedent to consummation of the Global
Settlement, the Creditors’ Committee and/or, the First Lien Lender Group, the Second Lien Lender Group,
and the Other Officers and Directors shall not object to the Disclosure Statement or the Second Amended
Plan, or take any other action that is inconsistent with or that would reasonably be expected to prevent,
interfere with, delay, or impede the confirmation and consummation of the Second Amended Plan or
approval of the Global Settlement.



                                                             49
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57              Main Document
                                                  Pg 478 of 565



                    3.        Sources of Consideration for Plan Distributions Implementing the
                              Reorganization Transaction.

The Debtors shall fund distributions and satisfy applicable Allowed Claims and Allowed Interests under
the Second Amended Plan with Cash on hand, the proceeds of the New Exit Facility, loans under the New
First Lien Credit Facility, the New Equity Interests, and the Special Warrants, and the Second Lien
Warrants (if any) and through the issuance and distribution of the Litigation Trust Interests.

The Litigation Trust Causes of Action exclude all Preference Actions against any Entity other than a Non-
Released Party, and on the Effective Date, all such Preference Actions will be released. Providing
vendors with assurance that they will not be subject to Preference Actions was necessary for the Debtors’
preservation of go-forward trade relationships and, absent such a provision, would have dampened the
Debtors’ business prospects and threatened the Debtors’ successful emergence from chapter 11. The
Debtors also believe that the value of any Preference Action claims would be very low, as the majority of
transfers or payments made to creditors within the ninety (90) days preceding commencement of the Cases
were made to vendors, suppliers, or services providers, many of whom are paid regularly under contracts
with the Debtors. The Debtors have disclosed all known transfers or payments made within the ninety
(90) days preceding the Commencement Date on their Schedules and Statements. The Debtors will be
assuming most of their vendor contracts upon Confirmation. The Debtors believe all of the Releases in
the Second Amended Plan are appropriate and note that both the Creditors’ Committee and the First Lien
Lender Group agreed to exclude these certain Preference Actions from the Litigation Trust Causes of
Action through arm’s-length negotiations, and as part of the Global Settlement.

                    4.        Reorganization Transaction.

                       (a)              The Debtors shall implement the Reorganization Transaction as set forth
in the Second Amended Plan.

                              (b)       New First Lien Credit Facility.

                                  (i)   On the Effective Date, the New First Lien Credit Agreement shall
be executed and delivered, and the Reorganized Debtors shall be authorized to execute, deliver and enter
into, the New First Lien Credit Documents, without the need for any further corporate, limited liability
partnership or limited liability company action and without further action by the holders of Claims or
Interests.

                                  (ii)    The obligations arising under the New First Lien Credit
Agreement shall be secured by a senior priority perfected security interest (junior to the liens securing the
New Exit Facility Credit Agreement) in substantially all present and after acquired property (whether
tangible, intangible, real, personal or mixed) of the Reorganized Debtors, wherever located, including,
without limitation, all accounts, inventory, equipment, capital stock in subsidiaries of the Reorganized
Debtors, investment property, instruments, chattel paper, real estate, leasehold interests, contracts,
patents, copyrights, trademarks and other general intangibles, and all products and proceeds thereof,
subject to any exceptions and materiality thresholds reasonably acceptable to the Requisite New First Lien
Lenders (as defined in the New First Lien Term Sheet).

                                   (iii)   The Reorganized Debtors shall be authorized to execute, deliver,
and enter into and perform under the New First Lien Credit Agreement without the need for any further
corporate, limited liability partnership or limited liability company action and without further action by
the holders of Claims or Interests.


                                                           50
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57         Main Document
                                                  Pg 479 of 565



                              (c)       New Exit Facility.

On the Effective Date, the Reorganized Debtors shall be authorized to execute, deliver, enter into and
perform under the New Exit Facility Credit Agreement without the need for any further corporate, limited
liability partnership or limited liability company action and without further action by the holders of
Claims or Interests.

                     (d)   Authorization and Issuance of New Equity Interests, and Special
Warrants, and Second Lien Warrants.

                                  (i)      On the Effective Date, the Debtors or the Reorganized Debtors,
as applicable, are authorized to issue or cause to be issued and shall issue the New Equity Interests, and
Special Warrants and Second Lien Warrants (if any) in accordance with the terms of the Second Amended
Plan, the Amended Organizational Documents, the Special Warrant Agreement, the Second Lien Warrant
Agreement (if any), and the Equity Allocation Mechanism without the need for any further corporate or
stockholder action. All of the New Equity Interests issuable under the Second Amended Plan, when so
issued, shall be duly authorized, validly issued, fully paid, and non-assessable, and the Special Warrants
issued pursuant to the Amended Plan shall be duly authorized and validly issued and the Second Lien
Warrants (if any) issued pursuant to the AmendedSecond Amended Plan shall be duly authorized and
validly issued. For the avoidance of doubt, the acceptance of New Equity Interests and/or Special
Warrants by a holder of an Allowed First Lien Claim or Second Lien Claim shall be deemed as such
holder’s agreement to the Amended Organizational Documents and/or the Special Warrant Agreement, as
applicable, as each may be amended or modified from time to time following the Effective Date in
accordance with the terms of such documents and for the avoidance of doubt, the acceptance of Second
Lien Warrants (if any) by a holder of an Allowed Second Lien Claim shall be deemed as such holder’s
agreement to the Amended Organizational Documents and/or the Second Lien Warrant Agreement, as
applicable, as each may be amended or modified from time to time following the Effective Date in
accordance with the terms of such documents..

                                  (ii)     The distribution of the New Equity Interests, and Special
Warrants and Second Lien Warrants (if any) pursuant to the Second Amended Plan may be made by
means of book-entry registration on the books of a transfer agent for shares of New Equity Interests, and
Special Warrants and Second Lien Warrants (if any) or by means of book-entry exchange through the
facilities of a transfer agent reasonably satisfactory to the Debtors, in accordance with the customary
practices of such agent, as and to the extent practicable.

                              (e)       Continued Corporate Existence.

                                 (i)     The Debtors shall continue to exist after the Effective Date as
Reorganized Debtors as a private company in accordance with the applicable laws of the respective
jurisdictions in which they are incorporated or organized and pursuant to the Amended Organizational
Documents unless otherwise determined in accordance with Section 5.105.09 of the Second Amended
Plan.

                               (ii)    On or after the Effective Date, the Reorganized Debtors may take
such reasonable action that may be necessary or appropriate as permitted by applicable law and the
Amended Organizational Documents, as the Reorganized Debtors may reasonably determine is reasonable
and appropriate to effect any transaction described in, approved by, or necessary or appropriate to
effectuate the Second Amended Plan, including, without limitation, taking necessary steps to dissolve or



                                                         51
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57           Main Document
                                                  Pg 480 of 565



merge out of existence any of the Reorganized Debtors that are reasonably determined to be unnecessary
for the continued successful performance of the Reorganized Debtors.

                              (f)       Officers and Board of Directors.

                                 (i)       Upon the Effective Date, the New Board shall consist of
seven (7) directors. If known, the identities of the directors and officers of the Reorganized Debtors shall
be disclosed prior to the Confirmation Hearing in accordance with section 1129(a)(5) of the Bankruptcy
Code.

                                 (ii)     Except to the extent that a member of the board of directors,
managers, or limited partners, as applicable, of a Debtor continues to serve as a director, manager, or
limited partner of such Debtor on and after the Effective Date, the members of the board of directors,
managers, or limited partners of each Debtor prior to the Effective Date, in their capacities as such, shall
have no continuing obligations to the Reorganized Debtors on or after the Effective Date and each such
director, manager or limited partner will be deemed to have resigned or shall otherwise cease to be a
director, manager or limited partner of the applicable Debtor on the Effective Date.

                              (g)       Reorganized Debtors’ Authority.

                                        (i)The Reorganized Debtors shall have the authority and right on
behalf of each of the Debtors, without the need for Bankruptcy Court approval (unless otherwise
indicated), to carry out and implement all provisions of the Second Amended Plan, including, without
limitation, to: (a) except to the extent Claims have been previously Allowed, control and effectuate the
Claims reconciliation process, including to object to, seek to subordinate, compromise or settle any and all
Claims against the Debtors, other than with respect to General Unsecured Claims; (b) make distributions
to holders of Allowed Claims in accordance with the Second Amended Plan, other than with respect to
General Unsecured Claims; (c) prosecute all Causes of Action on behalf of the Debtors, elect not to
pursue any Causes of Action, and determine whether and when to compromise, settle, abandon, dismiss,
or otherwise dispose of any such Causes of Action, other than with respect to the Litigation Trust Causes
of Action; (d) retain professionals to assist in performing their duties under the Second Amended Plan;
(e) maintain the books, records, and accounts of the Debtors; (f) complete and file, as necessary, all final
or otherwise required federal, state, and local tax returns for the Debtors; and (g) perform other duties and
functions that are consistent with the implementation of the Second Amended Plan.

                                (ii)    After the Effective Date, the Reorganized Debtors may operate
the Debtors’ business and may use, acquire, or dispose of property and compromise or settle any Claims,
Interests, or Causes of Action without approval by the Bankruptcy Court and free of any restrictions of
the Bankruptcy Code or Bankruptcy Rules.

                    5.        FCC Licenses and State PUC Authorizations

The required FCC Applications were filed prior to the date of the Second Amended Plan, as were
applications seeking the consent of State PUCs with jurisdiction over the Reorganized Debtors to the
transactions contemplated by the Reorganization Transaction (which, for the avoidance of doubt, excludes
any transactions which may occur on or after the Exercise Date, as defined in the Equity Allocation
Mechanism). As a result, any Entity that acquires a First Lien Claim may be issued Special Warrants in
lieu of any New Equity Interests that would otherwise be issued to such Entity under the Second Amended
Plan. In addition, the Debtors may request that the Bankruptcy Court implement restrictions on trading of




                                                         52
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57          Main Document
                                                  Pg 481 of 565



Claims and Interests that might adversely affect the FCC approval or State PUC approval processes that
will be sought on or prior to the Effective Date.

The Petition for Declaratory Ruling and the FCC and/or state transfer of control applications necessary to
enable the exercise of the Special Warrants (the “Post-Effective Date Transfer Applications”) shall be
filed as promptly as practicable following the Effective Date. The Debtors or the Reorganized Debtors, as
applicable, shall diligently prosecute all FCC Applications and the State PUC Applications associated
with the Reorganization Transaction and, after the Effective Date, the Post-Effective Date Transfer
Applications and the Petition for Declaratory Ruling. The Debtors or Reorganized Debtors, as
applicable, shall promptly provide such additional documents or information requested by the FCC or any
State PUC in connection with the respective agencies’ review of the foregoing applications.

                    6.        Employee Matters.

                         (a)     Subject to Section 5.6(c) of the Second Amended Plan, on the Effective
Date, the Reorganized Debtors shall be deemed (i) to have assumed all Benefit Plans and (ii) to have
rejected any employment agreements, offer letters, or award letters to which the Debtors are a party
(collectively, the “Employee Arrangements”), unless set forth on the Assumption Schedule. With
respect to any Benefit Plan and Employee Arrangement that is set forth on the Assumption Schedule, upon
the Effective Date such Benefit Plan and Employee Arrangement shall be deemed to be amended where
applicable to provide and clarify that the consummation of the Reorganization Transaction and any
associated organizational changes shall not constitute a “Change in Control,” be considered a “Good
Reason” event, or serve as a basis to trigger any rights or benefits under such Benefit Plan or Employee
Arrangement. To the extent that the Benefit Plans or any Employee Arrangements set forth on the
Assumption Schedule are executory contracts, pursuant to sections 365 and 1123 of the Bankruptcy Code,
unless an Assumption Dispute is timely filed and properly served, each of them will be deemed assumed
(as modified or terminated) as of the Effective Date with a Cure Amount of zero dollars. However,
notwithstanding anything else in the Second Amended Plan, the assumed Benefit Plans and Employee
Arrangements, if any, shall be subject to modification in accordance with the terms thereof at the
discretion of the Reorganized Debtors.

                          (b)     Following the Effective Date, the applicable Reorganized Debtors shall
enter into the Management Incentive Plan. All awards issued under the Management Incentive Plan will
be dilutive of all other New Equity Interests issued pursuant to the Second Amended Plan (including those
issued upon the exercise of any Special Warrants).

                        (c)      For the avoidance of doubt, if an Employee Arrangement or a Benefit
Plan provides for an award or potential award of Interests or consideration based on the value of Interests
prior to the Effective Date, such Interest shall be treated in accordance with Section 4.8 of the Second
Amended Plan and cancelled notwithstanding assumption of the applicable Employee Arrangement or
Benefit Plan.

                         (d)    On the Effective Date, the Reorganized Debtors shall be deemed to have
assumed all prepetition Key Employee Retention Agreements. Notwithstanding anything to the contrary
in Section 5.6(a), the consummation of the Restructuring Transactions and any associated organizational
changes shall constitute a “Change of Control” under all prepetition Key Employee Retention Agreements.

                    7.        Effectuating Documents; Further Transactions.

                        (a)    On or as soon as practicable after the Effective Date, the Reorganized
Debtors shall take such reasonable actions as may be or become necessary or appropriate to effect any

                                                         53
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57              Main Document
                                                  Pg 482 of 565



transaction described in, approved by, contemplated by, or necessary to effectuate the Second Amended
Plan and the Global Settlement, including (i) the execution and delivery of appropriate agreements or
other documents of merger, consolidation, restructuring, financing, conversion, disposition, transfer,
dissolution, or liquidation containing terms that are consistent with the terms of the Second Amended Plan
and that satisfy the applicable requirements of applicable law and any other terms to which the applicable
Entities may determine; (ii) the execution and delivery of appropriate instruments of transfer, assignment,
assumption, or delegation of any Asset, property, right, liability, debt, or obligation on terms consistent
with the terms of the Second Amended Plan and having other terms to which the applicable parties agree;
(iii) the filing of appropriate certificates or articles of incorporation, reincorporation, merger,
consolidation, conversion, or dissolution and the Amended Organizational Documents pursuant to
applicable state law; (iv) the issuance of securities, all of which shall be authorized and approved in all
respects, in each case, without further action being required under applicable law, regulation, order, or
rule; (v) the execution, delivery, or filing of contracts, instruments, releases, and other agreements to
effectuate and implement the distribution of the Litigation Trust Interests to be issued pursuant hereto
without the need for any approvals, authorizations, actions, or consents; and (vi) all other actions that the
applicable Entities determine to be necessary or appropriate, including making filings or recordings that
may be required by applicable law or to reincorporate in another jurisdiction, subject, in each case, to the
Amended Organizational Documents.

                           (b)    Each officer, manager, limited partner or member of the board of
directors of the Debtors is (and each officer, manager, limited partner or member of the board of directors
of the Reorganized Debtors shall be) authorized and directed to issue, execute, deliver, file, or record such
contracts, securities, instruments, releases, indentures, and other agreements or documents and take such
actions as may be necessary or appropriate to effectuate, implement, and further evidence the terms and
conditions of the Second Amended Plan and the securities issued pursuant to the Second Amended Plan in
the name of and on behalf of the Reorganized Debtors, all of which shall be authorized and approved in
all respects, in each case, without the need for any approvals, authorization, consents, or any further
action required under applicable law, regulation, order, or rule (including, without limitation, any action
by the stockholders, limited partners, directors or managers of the Debtors, the Reorganized Debtors)
except for those expressly required pursuant to the Second Amended Plan.

                           (c)      In order to preserve the Reorganized Debtors’ ability to utilize certain tax
attributes that exist as of the Effective Date, the charter, bylaws, and other organizational documents may
restrict certain transfers of the New Equity Interests.

                          (d)    The Reorganization Transaction and the Global Settlement, including the
creation of the Litigation Trust, shall be conducted in a manner that, in the business judgment of the
Debtors, with the consent of the Requisite First Lien Lenders (which consent shall not be unreasonably
withheld), ensures that the Reorganized Debtors receive favorable and efficient tax treatment, given the
totality of the circumstances.

                         (e)      All matters provided for in the Second Amended Plan involving the
corporate structure of the Debtors, Reorganized Debtors, to the extent applicable, or any corporate or
related action required by the Debtors, or the Reorganized Debtors in connection herewith shall be deemed
to have occurred and shall be in effect, without any requirement of further action by the stockholders,
members, limited partners, directors or managers of the Debtors or Reorganized Debtors, and with like
effect as though such action had been taken unanimously by the stockholders, members, limited partners,
directors, managers, or officers, as applicable, of the Debtors, or the Reorganized Debtors.




                                                         54
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57              Main Document
                                                  Pg 483 of 565



                    8.        Section 1145 Exemption.

                          (a)      The offer, issuance, and distribution of (i) the New Equity Interests and
the Special Warrants to holders of the First Lien Claims under Section 4.3 of the Amended Plan; (ii) the
Second LienSpecial Warrants (if any)hereunder to holders of the Second Lien Claims (if applicable); and
(iii) the Litigation Trust Interests (to the extent they are deemed to be securities) to holders of General
Unsecured Claims and holders of Second Lien Claims (if applicable) shall be exempt, pursuant to section
1145 of the Bankruptcy Code, without further act or action by any Entity, from registration under (a) the
Securities Act of 1933, as amended, and all rules and regulations promulgated thereunder and (b) any
state or local law requiring registration for the offer, issuance, or distribution of Securities.

                          (b)     The New Equity Interests shall be freely tradable by the recipients
thereof, subject to (i) the provisions of section 1145(b)(1) of the Bankruptcy Code relating to the
definition of an underwriter in section 2(a)(11) of the Securities Act of 1933; (ii) compliance with any
rules and regulations of the Securities and Exchange Commission, if any, applicable at the time of any
future transfer of such securities or instruments; (iii) any reasonable restrictions, to the extent necessary
for the Debtors to preserve their ability to utilize certain tax attributes that exist as of the Effective Date,
on the transferability and ownership of New Equity Interests; (iv) applicable regulatory approval; (v) the
Stockholders Agreement; (vi) the Amended Organizational Documents and (vii) any other applicable law.

                          (c) The Debtors do not intend for the Litigation Trust Interests to be “securities”
under applicable laws. Notwithstanding this intention, to the extent such units are deemed to be
“securities,” the issuance of such units under the Amended Plan is exempt, pursuant to (i) section 1145 of
the Bankruptcy Code (except with respect to an entity that is an “underwriter” as defined in subsection (b)
of section 1145 of the Bankruptcy Code) or (ii) pursuant to section 4(a)(2) under the Securities Act and/or
Regulation D thereunder (including with respect to an entity that is an “underwriter”).

                    9.        Cancellation of Existing Securities and Agreements.

                           (a)     Except for the purpose of evidencing a right to a distribution under the
Second Amended Plan and except as otherwise set forth in the Second Amended Plan, including with
respect to executory contracts or unexpired leases that shall be assumed by the Reorganized Debtors, and
subject in all respects to the Prepetition Intercreditor Agreement (as applicable), on the Effective Date, all
agreements, instruments, and other documents evidencing or issued pursuant to the DIP Documents, the
Prepetition First Lien Credit Documents, the Prepetition Second Lien Credit Agreement and any other
“Credit Document” as defined tin the Second Amended Plan, the Prepetition Subordinated Notes, or any
indebtedness or other obligations thereunder, and any Interest in any of the Debtors (other than
Intercompany Interests), or any other certificate, share, note, bond, indenture, purchase right, option,
warrant, call, put, award, commitment, registration rights, preemptive right, right of first refusal, right of
first offer, co-sale right, investor rights, or other instrument or document of any character directly or
indirectly evidencing or creating any indebtedness or obligation of or ownership interest in the Debtors
giving rise to any Claim or Interest, and any rights of any holder in respect thereof, shall be deemed
cancelled, discharged, and of no force or effect, and the obligations of the Debtors thereunder shall be
deemed fully satisfied, released, and discharged.

                         (b)      Notwithstanding such cancellation and discharge, the DIP Documents,
the Prepetition First Lien Credit Documents and the Prepetition Second Lien Credit Agreement, the
Prepetition Subordinated Notes and any other indenture or agreement that governs the rights of a holder of
an Allowed Claim shall continue in effect to the extent necessary (i) to allow the holders of such Claims to
receive distributions under the Second Amended Plan; (ii) to allow the Debtors, the Reorganized Debtors,
the DIP Agent, the Prepetition First Lien Administrative Agent, and the Prepetition Second Lien

                                                         55
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                                  Pg 484 of 565



Administrative Agent to make post-Effective Date distributions or take such other action pursuant to the
Second Amended Plan on account of such Claims and to otherwise exercise their rights and discharge
their obligations relating to the interests of the holders of such Claims; (iii) to allow holders of Claims to
retain their respective rights and obligations vis-à-vis other holders of Claims pursuant to any applicable
loan document or other agreement; (iv) to allow the DIP Agent, the Prepetition First Lien Administrative
Agent and the Prepetition Second Lien Administrative Agent to enforce their rights, claims, and interests
vis-à-vis any party other than the Debtors, including any rights with respect to priority of payment and/or
to exercise charging liens; (v) to preserve any rights of the DIP Agent, the Prepetition First Lien
Administrative Agent and the Prepetition Second Lien Administrative Agent to payment of fees, expenses,
and indemnification obligations as against any money or property distributable to lenders under the DIP
Documents, the Prepetition First Lien Credit Agreement and the Prepetition Second Lien Credit
Agreement, as applicable, including any rights to priority of payment and/or to exercise charging liens;
(vi) to allow the DIP Agent, the Prepetition First Lien Administrative Agent and the Prepetition Second
Lien Administrative Agent to enforce any obligations owed to it under the Second Amended Plan; (vii) to
allow the DIP Agent, the Prepetition First Lien Administrative Agent and the Prepetition Second Lien
Administrative Agent to exercise rights and obligations relating to the interests of lenders under the DIP
Documents, the Prepetition First Lien Credit Agreement and the Prepetition Second Lien Credit
Agreement, as applicable; (viii) to permit the DIP Agent, the Prepetition First Lien Administrative Agent
and the Prepetition Second Lien Administrative Agent to perform any function necessary to effectuate the
foregoing; (ix) to allow the DIP Agent, the Prepetition First Lien Administrative Agent and the Prepetition
Second Lien Administrative Agent to appear in the Chapter 11 Cases or in any proceeding in the
Bankruptcy Court or any other court relating to the DIP Documents, the Prepetition First Lien Credit
Agreement or the Prepetition Second Lien Credit Agreement; provided that, nothing in Section 5.105.9 of
the Second Amended Plan shall affect the discharge of Claims pursuant to the Bankruptcy Code, the
Confirmation Order, or the Second Amended Plan; and (x) to preserve all rights of the Prepetition First
Lien Lenders to the extent necessary for the Litigation Trust to pursue the Litigation Trust First Lien
Lender Causes of Action.

                         (c)     Except for the foregoing, subsequent to the performance by the DIP
Agent of its obligations pursuant to the Second Amended Plan, the DIP Agent and its agents shall be
relieved of all further duties and responsibilities related to the DIP Documents. Nothing in Section
5.105.9 of the Second Amended Plan shall in any way affect or diminish the rights of the DIP Agent to
exercise any charging lien against distributions to holders of DIP Claims with respect to any unpaid fees.

                          (d)     Except for the foregoing, subsequent to the performance by the
Prepetition First Lien Administrative Agent of its obligations pursuant to the Second Amended Plan, the
Prepetition First Lien Administrative Agent and its agents shall be relieved of all further duties and
responsibilities related to the Prepetition First Lien Credit Agreement. Nothing in Section 5.9 of the
Second Amended Plan shall in any way affect or diminish the rights of the Prepetition First Lien
Administrative Agent to exercise any charging lien against distributions to holders of First Lien Claims
with respect to any unpaid fees.

                           (e)     Except for the foregoing, subsequent to the performance by the
Prepetition Second Lien Administrative Agent of its obligations pursuant to the Second Amended Plan,
the Prepetition Second Lien Administrative Agent and its agents shall be relieved of all further duties and
responsibilities related to the Prepetition Second Lien Credit Agreement. Nothing in Section 5.9 of the
Second Amended Plan shall in any way affect or diminish the rights of the Prepetition Second Lien
Administrative Agent to exercise any charging lien against distributions to holders of Second Lien Claims
with respect to any unpaid fees.




                                                         56
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57         Main Document
                                                  Pg 485 of 565



                        (f)      Notwithstanding anything to the contrary in the Second Amended Plan,
all rights under the Prepetition First Lien Credit Agreement and the Prepetition Second Lien Credit
Agreement shall remain subject to the Prepetition Intercreditor Agreement.

                         (g)      Notwithstanding the foregoing, any provision in any document,
instrument, lease, or other agreement that causes or effectuates, or purports to cause or effectuate, a
default, termination, waiver, or other forfeiture of, or by, the Debtors as a result of the cancellations,
terminations, satisfaction, releases, or discharges provided for in the Second Amended Plan shall be
deemed null and void and shall be of no force and effect. Nothing contained in the Second Amended Plan
shall be deemed to cancel, terminate, release, or discharge the obligation of the Debtors or any of their
counterparties under any executory contract or unexpired lease to the extent such executory contract or
unexpired lease has been assumed by the Debtors pursuant to a Final Order of the Bankruptcy Court or
hereunder.

                    10.       Cancellation of Liens.

Except as otherwise specifically provided in the Second Amended Plan, on the Effective Date, any Lien
securing an Allowed Claim that is paid in full, in Cash, shall be deemed released, and the holder of such
Other Secured Claim shall be authorized and directed to release any collateral or other property of the
Debtors (including any Cash collateral) held by such holder and to take such actions as may be requested
by the Reorganized Debtors, to evidence the release of such Lien, including the execution, delivery and
filing or recording of such releases as may be requested by the Reorganized Debtors.

                    11.       Subordination Agreements.

Pursuant to section 510(a) of the Bankruptcy Code, all subordination agreements, including but not
limited to, the Prepetition Intercreditor Agreement, governing Claims or Interests shall be enforced in
accordance with such agreement’s terms.

                    12.       Nonconsensual Confirmation.

The Debtors intend to undertake to have the Bankruptcy Court confirm the Second Amended Plan under
section 1129(b) of the Bankruptcy Code as to any Classes that reject or are deemed to reject the Second
Amended Plan.

                    13.       Closing of Chapter 11 Cases.

After an Estate has been fully administered, the Reorganized Debtors shall seek authority from the
Bankruptcy Court to close the applicable Chapter 11 Case(s) in accordance with the Bankruptcy Code
and Bankruptcy Rules.

                    14.       Notice of Effective Date.

As soon as practicable, but not later than three (3) Business Days following the Effective Date, the
Debtors shall file a notice of the occurrence of the Effective Date with the Bankruptcy Court.

                    15.       Separability.

Notwithstanding the combination of the separate plans of reorganization for the Debtors set forth in the
Second Amended Plan for purposes of economy and efficiency, the Second Amended Plan constitutes a
separate chapter 11 plan for each Debtor. Accordingly, if the Bankruptcy Court does not confirm the

                                                         57
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57                 Main Document
                                                  Pg 486 of 565



Second Amended Plan with respect to one or more Debtors, it may still, subject to the consent of the
applicable Debtors, confirm the Second Amended Plan with respect to any other Debtor that satisfies the
confirmation requirements of section 1129 of the Bankruptcy Code.

                    16.       Litigation Trust

                              (a)       Interest in the Litigation Trust.

Any and all interests in the Litigation Trust will not constitute “securities” and will not be registered
pursuant to the Securities Act, as amended, or any state securities law. However, if it should be
determined that interests in the Litigation Trust constitute “securities,” the exemption provisions of
Section 1145 of the Bankruptcy Code will apply to the interests in the Litigation Trust. Any and all
interests in the Litigation Trust shall not be certificated, shall be subject to certain restrictions, and all
interests shall be non-transferable other than if transferred by will, intestate succession, or otherwise by
operation of law.

                              (b)       Creation and Governance of the Litigation Trust.

On the Effective Date, the Debtors shall be deemed to transfer the Litigation Trust Debtor Causes of
Action to the Litigation Trust, the Reorganized Debtors shall transfer the Litigation Trust Initial Funding
to the Litigation Trust, the holders of Allowed First Lien Claims shall be deemed to transfer the Litigation
Trust First Lien Lender Causes of Action to the Litigation Trust and the Reorganized Debtors (solely in
their capacity as successors to the Debtors), the Litigation Trust Oversight Committee and the Creditors’
Committee shall execute the Litigation Trust Agreement and shall take all steps necessary to establish the
Litigation Trust in accordance with the Second Amended Plan and the beneficial interests tin the Second
Amended Plan, which shall be for the benefit of the holders of Litigation Trust Interest and Reorganized
FCI. In the event of any conflict between the terms of the Second Amended Plan and the terms of the
Litigation Trust Agreement, the terms of the Second Amended Plan shall govern. Additionally, on the
Effective Date, (1) the Debtors shall be deemed to transfer to the Litigation Trust all of their rights, title
and interest in and to all of the Litigation Trust Debtor Causes of Action (2) the Reorganized Debtors
shall transfer to the Litigation Trust all of their rights, title and interest in and to all of the Litigation Trust
Initial Funding and (3) the holders of Allowed First Lien Claims shall be deemed to transfer to the
Litigation Trust all of their rights, title and interest in and to all of the Litigation Trust First Lien Lender
Causes of Action, and in accordance with section 1141 of the Bankruptcy Code, the Litigation Trust
Debtor Causes of Action, the Litigation Trust Initial Funding and the Litigation Trust First Lien Lender
Causes of Action shall automatically vest in the Litigation Trust free and clear of all Claims and Liens
and such transfer shall be exempt from any stamp, real estate transfer, mortgage reporting, sales, use or
other similar tax. The Litigation Trust Oversight Committee shall be the exclusive administrator of the
assets of the Litigation Trust for purposes of 31 U.S.C. § 3713(b) and 26 U.S.C. § 6012(b)(3), as well as
the representatives of the Estate of each of the Debtors appointed pursuant to section 1123(b)(3)(B) of the
Bankruptcy Code, solely for purposes of carrying out the Litigation Trust Oversight Committee’s duties
under the Litigation Trust Agreement. Notwithstanding the foregoing, all net proceeds of such Litigation
Trust Debtor Cause of Action shall be transferred to the Litigation Trust to be distributed in accordance
with the Second Amended Plan. The Litigation Trust shall be governed by the Litigation Trust
Agreement and administered by the Litigation Trust Oversight Committee. The powers, rights, and
responsibilities of the Litigation Trust Oversight Committee shall be specified in the Litigation Trust
Agreement and shall include the authority and responsibility to, among other things, take the actions set
forth in Section 5.16 of the Second Amended Plan. The Litigation Trust Oversight Committee shall hold
and distribute the Litigation Trust Assets in accordance with the provisions of the Second Amended Plan
and the Litigation Trust Agreement. Other rights and duties of the Litigation Trust Oversight Committee


                                                          58
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                                  Pg 487 of 565



shall be as set forth in the Litigation Trust Agreement. After the Effective Date, the Debtors and the
Reorganized Debtors shall have no interest in the Litigation Trust Assets except as set forth in the
Litigation Trust Agreement.

                              (c)       Litigation Trust Oversight Committee and Litigation Trust
Agreement.

The Litigation Trust Agreement generally will provide for, among other things: (i) the transfer of the
Litigation Trust Assets to the Litigation Trust; (ii) the payment of Litigation Trust Expenses; (iii) the
retention of counsel, accountants, financial advisors, or other professionals; (iv) litigation of any
Litigation Trust Causes of Action, which may include the prosecution, settlement, abandonment or
dismissal of any such Causes of Action; and (v) making distributions to holders of Litigation Trust
Interests and to Reorganized FCI, as provided in the Second Amended Plan and in the Litigation Trust
Agreement. The Litigation Trust Oversight Committee, on behalf of the Litigation Trust, may employ,
without further order of the Bankruptcy Court, professionals to assist in carrying out its duties hereunder
and may compensate and reimburse the reasonable expenses of those professionals without further order
of the Bankruptcy Court from the Litigation Trust Assets in accordance with the Second Amended Plan
and the Litigation Trust Agreement. The Litigation Trust Agreement shall include reasonable and
customary provisions that allow for indemnification of the Litigation Trust Oversight Committee by the
Litigation Trust. Any such indemnification shall be the sole responsibility of the Litigation Trust and
payable solely from the Litigation Trust Assets. The Litigation Trust Oversight Committee shall be
responsible for all decisions and duties with respect to the Litigation Trust and the Litigation Trust
Assets, except as otherwise provided in the Litigation Trust Agreement.

                              (d)       Cooperation of Reorganized Debtors.

The Reorganized Debtors shall reasonably cooperate with the Litigation Trust and its agents and
representatives in the administration of the Litigation Trust, including, providing reasonable access to
books and records and current employees and officers, including for interviews, deposition, or testimony,
with respect to (i) the investigation, prosecution, compromise, and/or settlement of the Litigation Trust
Causes of Action, (ii) contesting, settling, compromising, reconciling, and objecting to General Unsecured
Claims, and (iii) administering the Litigation Trust (collectively, “Trust Responsibilities”) and in each
case, the Litigation Trust agrees to reimburse reasonable out-of-pocket expenses incurred in connection
with such cooperation. The Reorganized Debtors shall take all reasonable efforts to assist the Litigation
Trust with the Trust Responsibilities and the Litigation Trust may enter into agreements with the
Reorganized Debtors and/or the Creditors’ Committee in order to obtain information from the
Reorganized Debtors and/or the Creditors’ Committee on a confidential basis, without being restricted by
or waiving any applicable work product, attorney-client, or other privilege. The Litigation Trust’s receipt
of documents, information or communications from the Reorganized Debtors shall not constitute a waiver
of any privilege. For the avoidance of doubt, the Litigation Trust shall not be responsible for legal fees, if
any, incurred by the Reorganized Debtors in fulfilling its obligations under this Section.

                              (e)       Cooperation Agreements.

To the extent requested by the Committee, with the consent of the First Lien Lender Group (not to be
unreasonably withheld), any of the Specified Officers and Directors shall enter into an agreement prior to
the Effective Date pursuant to which he will agree to cooperate with the Litigation Trust and provide
reasonable assistance to the Litigation Trust until the Litigation Trust is terminated, regardless of whether
he remains an officer of the Reorganized Debtors.



                                                         59
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57           Main Document
                                                  Pg 488 of 565



                              (f)       Litigation Trust Assets.

The Litigation Trust Oversight Committee shall have the exclusive right in respect of all Litigation Trust
Causes of Action to institute, file, prosecute, enforce, settle, compromise, release, abandon, or withdraw
any and all Litigation Trust Causes of Action without any further order of the Bankruptcy Court or
consent of any other party, except as otherwise provided in the Second Amended Plan or in the Litigation
Trust Agreement. From and after the Effective Date, the Litigation Trust Oversight Committee, in
accordance with section 1123(b)(3) of the Bankruptcy Code, and on behalf of the Litigation Trust, shall
serve as a representative of the Estates, solely for purposes of carrying out the Litigation Trust Oversight
Committee’s duties under the Litigation Trust Agreement. In connection with the investigation,
prosecution and/or compromise of the Litigation Trust Causes of Action, the Litigation Trust Oversight
Committee may expend such portion of the Litigation Trust Assets as the Litigation Trust Oversight
Committee deems necessary.

                              (g)       Litigation Trust Fees and Expenses.

From and after the Effective Date, the Litigation Trust, shall, in the ordinary course of business and
without the necessity of any approval by the Bankruptcy Court, pay the Litigation Trust Expenses,
including but not limited to reasonable fees and expenses of the Litigation Trust Oversight Committee and
the fees and expenses of any professionals retained by the Litigation Trust from the Litigation Trust
Assets, except as otherwise provided in the Litigation Trust Agreement. The Reorganized Debtors shall
not be responsible for any costs, fees, or expenses of the Litigation Trust.

                              (h)       Tax Treatment.

In furtherance of Section 5.16 of the Second Amended Plan, (i) the Litigation Trust shall be structured to
qualify as a “liquidating trust” within the meaning of Treasury Regulation section 301.7701-4(d) and in
compliance with Revenue Procedure 94-45, 1994-2 C.B. 684, and, thus, as a “grantor trust” within the
meaning of sections 671 through 679 of the Tax Code to the holders of Litigation Trust Interests,
consistent with the terms of the Second Amended Plan; (ii) the sole purpose of the Litigation Trust shall
be the liquidation and distribution of the Litigation Trust Assets in accordance with Treasury Regulation
section 301.7701-4(d), including the resolution of General Unsecured Claims in accordance with the
Second Amended Plan, with no objective to continue or engage in the conduct of a trade or business;
(iii) all parties (including the Debtors and the Estates, holders of Litigation Trust Interests and the
Litigation Trust Oversight Committee) shall report consistently with such treatment (including the deemed
receipt of the underlying assets, subject to applicable liabilities and obligations, by the holders of
Litigation Trust Interests, followed by the deemed transfer of such assets to the Litigation Trust); (iv) all
parties shall report consistently with the valuation of the Litigation Trust Assets transferred to the
Litigation Trust as determined by the Litigation Trust Oversight Committee (or its designee); (v) the
Litigation Trust Oversight Committee shall be responsible for filing returns for the Litigation Trust as a
grantor trust pursuant to Treasury Regulation section 1.671-4(a); and (vi) the Litigation Trust Oversight
Committee shall annually send to each holder of Litigation Trust Interests a separate statement regarding
the receipts and expenditures of the trust as relevant for U.S. federal income tax purposes. Subject to
definitive guidance from the Internal Revenue Service or a court of competent jurisdiction to the contrary
(including the receipt by the Litigation Trust Oversight Committee of a private letter ruling if the
Litigation Trust Oversight Committee so requests one, or the receipt of an adverse determination by the
Internal Revenue Service upon audit if not contested by the Litigation Trust Oversight Committee), the
Litigation Trust Oversight Committee, with the consent of the Requisite First Lien Lenders (which consent
shall not be unreasonably withheld or delayed), may timely elect to (i) treat any portion of the Litigation
Trust allocable to Disputed General Unsecured Claims as a “disputed ownership fund” governed by


                                                          60
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                                  Pg 489 of 565



Treasury Regulation section 1.468B-9 (and make any appropriate elections) and (ii) to the extent
permitted by applicable law, report consistently with the foregoing for state and local income tax
purposes. If a “disputed ownership fund” election is made, all parties (including the Debtors and the
Estates, holders of Litigation Trust Interests and the Litigation Trust Oversight Committee) shall report
for United States federal, state, and local income tax purposes consistently with the foregoing. As to any
assets allocable to, or retained on account of, Disputed General Unsecured Claims, all distributions shall
be net of any expenses, including taxes, relating to the retention or disposition of such assets, and the
Litigation Trust Oversight Committee shall be responsible for payment, out of the assets of such retained
assets, of any taxes imposed on or in respect of such assets. All parties (including, without limitation, the
Debtors, the Reorganized Debtors, the Litigation Trust and the holders of Litigation Trust Interests) will
be required to report for tax purposes consistently with the foregoing.

                              (i)       Termination and Dissolution of the Litigation Trust.

The Litigation Trust Oversight Committee shall have the right to terminate the Litigation Trust, when it
determines, in its sole discretion, that the pursuit of additional Litigation Trust Causes of Action is not
likely to yield sufficient additional proceeds to justify further pursuit of such claims (the “Termination
Right”). The Litigation Trust Oversight Committee and the Litigation Trust shall be discharged or
dissolved, as the case may be, at such time as (i) the Litigation Trust Oversight Committee exercises its
Termination Right and (ii) all distributions required to be made by the Litigation Trust Oversight
Committee under the Second Amended Plan and the Litigation Trust Agreement have been made. Upon
termination and dissolution of the Litigation Trust, any remaining Litigation Trust Proceeds shall be
distributed to holders of Litigation Trust Interests and Reorganized FCI in accordance with Section 5.2(b)
of the Second Amended Plan and the Litigation Trust Agreement; provided, that in the event the Litigation
Trust Oversight Committee exercises its Termination Right without the consent (which may not be
unreasonably withheld, conditioned or delayed) of the member appointed by the Creditors’ Committee to
the Litigation Trust Oversight Committee, the Litigation Trust shall distribute the GUC Payment before
making any other distributions pursuant to Section 5.2 of the Second Amended Plan (with the GUC
Payment deemed to have been made for purposes of the waterfall set forth in Section 5.2(b)(vi)); provided
that the member appointed by the Creditors’ Committee to the Litigation Trust Oversight Committee may
choose to use the GUC Payment to either (a) make a distribution to holders of Litigation Trust Interests
that are holders of Allowed General Unsecured Claims or (b) continue the Litigation Trust and prosecute
Litigation Trust Causes of Action for the sole benefit of holders of Litigation Trust Interests that are
holders of Allowed General Unsecured Claims.

                              (j)       Single Satisfaction of Allowed Claims From Litigation Trust.

Notwithstanding anything to the contrary in the Second Amended Plan, in no event shall holders of
Litigation Trust Interests recover more than the full amount of their Allowed Claims from the Litigation
Trust.

          E.        Distributions.

                    1.        Distributions Generally.

Except as otherwise provided in the Second Amended Plan and the Litigation Trust Agreement, one or
more Disbursing Agents shall make all distributions under the Second Amended Plan to the appropriate
holders of Allowed Claims in accordance with the terms of the Second Amended Plan.




                                                         61
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57           Main Document
                                                  Pg 490 of 565



                    2.        Distribution Record Date.

As of the close of business on the Distribution Record Date, the various transfer registers for each of the
Classes of Claims or Interests as maintained by the Debtors or their respective agents shall be deemed
closed for purposes of determining whether a holder of such a Claim or Interest is a record holder entitled
to distributions under the Second Amended Plan, and there shall be no further changes in the record
holders or the permitted designees of any such Claims or Interests. The Debtors, the Reorganized
Debtors, or the Litigation Trust Oversight Committee, as applicable, shall have no obligation to recognize
any transfer or designation of such Claims or Interests occurring after the close of business on the
Distribution Record Date. In addition, with respect to payment of any Cure Amounts or assumption
disputes, neither the Debtors nor the Disbursing Agent shall have any obligation to recognize or deal with
any party other than the non-Debtor party to the applicable executory contract or unexpired lease as of the
close of business on the Distribution Record Date, even if such non-Debtor party has sold, assigned, or
otherwise transferred its Claim for a Cure Amount.

                    3.        Date of Distributions.

Except as otherwise provided in the Second Amended Plan and in the Litigation Trust Agreement, any
distributions and deliveries to be made under the Second Amended Plan shall be made on the Effective
Date or as otherwise determined in accordance with the Second Amended Plan, including, without
limitation, the treatment provisions of Article IV V.C of the Second Amended Plan, or as soon as
practicable thereafter; provided, that the Litigation Trust Oversight Committee shall from time to time
determine distribution dates of Litigation Trust Assets as and when they determine to be appropriate.

                    4.        Disbursing Agent.

All distributions under the Second Amended Plan shall be made by the Disbursing Agent on and after the
Effective Date as provided in the Second Amended Plan. The Disbursing Agent shall not be required to
give any bond or surety or other security for the performance of its duties. The Reorganized Debtors shall
use all commercially reasonable efforts to provide the Disbursing Agent (if other than the Reorganized
Debtors) with the amounts of Claims and the identities and addresses of holders of Claims, in each case,
as set forth in the Debtors’ or the Reorganized Debtors’ books and records. The Reorganized Debtors
shall cooperate in good faith with the applicable Disbursing Agent (if other than the Reorganized Debtors)
to comply with the reporting and withholding requirements outlined in Section 6.19 of the Second
Amended Plan.

                    5.        Rights and Powers of Disbursing Agent.

                         (a)      From and after the Effective Date, the Disbursing Agent, solely in its
capacity as Disbursing Agent, shall be exculpated by all Entities, including, without limitation, holders of
Claims against and Interests in the Debtors and other parties in interest, from any and all Claims, Causes
of Action, and other assertions of liability arising out of the discharge of the powers and duties conferred
upon such Disbursing Agent by the Second Amended Plan or any order of the Bankruptcy Court entered
pursuant to or in furtherance of the Second Amended Plan, or applicable law, except for actions or
omissions to act arising out of the gross negligence or willful misconduct, fraud, malpractice, criminal
conduct, or ultra vires acts of such Disbursing Agent. No holder of a Claim or Interest or other party in
interest shall have or pursue any claim or Cause of Action against the Disbursing Agent, solely in its
capacity as Disbursing Agent, for making distributions in accordance with the Second Amended Plan or
for implementing provisions of the Second Amended Plan, except for actions or omissions to act arising



                                                         62
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57           Main Document
                                                  Pg 491 of 565



out of the gross negligence or willful misconduct, fraud, malpractice, criminal conduct, or ultra vires acts
of such Disbursing Agent.

                          (b)      A Disbursing Agent shall be empowered to (i) effect all reasonable
actions and execute all agreements, instruments, and other documents necessary to perform its duties
hereunder; (ii) make all distributions contemplated hereby; and (iii) exercise such other powers as may be
vested in the Disbursing Agent by order of the Bankruptcy Court, pursuant to the Second Amended Plan,
or as deemed by the Disbursing Agent to be necessary and proper to implement the provisions of the
Second Amended Plan.

                    6.        Expenses of Disbursing Agent.

Except as otherwise ordered by the Bankruptcy Court, any reasonable and documented fees and expenses
incurred by the Disbursing Agent acting in such capacity (including reasonable documented attorneys’
and other professional fees and expenses) on or after the Effective Date shall be paid in Cash.

                    7.        No Postpetition Interest on Claims.

Except as otherwise provided in the Second Amended Plan, the Confirmation Order, the DIP Order, or
another order of the Bankruptcy Court or required by the Bankruptcy Code (including postpetition interest
in accordance with sections 506(b) and 726(a)(5) of the Bankruptcy Code), interest shall not accrue or be
paid on any Claims on or after the Commencement Date; provided, that if interest is payable pursuant to
the preceding sentence, interest shall accrue at the federal judgment rate pursuant to 28 U.S.C. § 1961 on
a non-compounded basis from the date the obligation underlying the Claim becomes due and is not timely
paid through the date of payment.

                    8.        Delivery of Distributions.

                          (a)     Subject to Bankruptcy Rule 9010, all distributions to any holder or
permitted designee, as applicable, of an Allowed Claim or Interest shall be made to a Disbursing Agent,
who shall transmit such distribution to the applicable holders or permitted designees of Allowed Claims or
Interests on behalf of the Debtors. In the event that any distribution to any holder or permitted designee is
returned as undeliverable, no further distributions shall be made to such holder or such permitted designee
unless and until such Disbursing Agent is notified in writing of such holder’s or permitted designee’s, as
applicable, then-current address, at which time all currently-due, missed distributions shall be made to
such holder as soon as reasonably practicable thereafter without interest. Nothing in the Second Amended
Plan shall require the Disbursing Agent to attempt to locate holders or permitted designees, as applicable,
of undeliverable distributions and, if located, assist such holders or permitted designees, as applicable, in
complying with Section 6.19 of the Second Amended Plan.

                         (b)      Notwithstanding the foregoing, all distributions of Cash on account of
First Lien Claims or Second Lien Claims, if any, shall be deposited with the Prepetition First Lien
Administrative Agent and the Prepetition Second Lien Administrative Agent, as applicable, for
distribution to holders of First Lien Claims or Second Lien Claims in accordance with the terms of the
Prepetition Credit Agreement, the Prepetition Second Lien Credit Agreement and the Prepetition
Intercreditor Agreement. All distributions other than of Cash on account of First Lien Claims or Second
Lien Claims, if any, may, with the consent of the Prepetition First Lien Administrative Agent and the
Prepetition Second Lien Administrative Agent, be made by the Disbursing Agent directly to holders of
First Lien Claims and Second Lien Claims in accordance with the terms of the Second Amended Plan, the
Prepetition First Lien Credit Agreement, the Prepetition Second Lien Credit Agreement and the Prepetition
Intercreditor Agreement. To the extent the Prepetition First Lien Administrative Agent or the Prepetition

                                                         63
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57           Main Document
                                                  Pg 492 of 565



Second Lien Administrative Agent effectuates, or is requested to effectuate, any distributions hereunder,
the Prepetition First Lien Administrative Agent and the Prepetition Second Lien Administrative Agent
shall be deemed a “Disbursing Agent” for purposes of the Second Amended Plan.

                    9.        Distributions after Effective Date.

Distributions made after the Effective Date to holders of Disputed Claims that are not Allowed Claims as
of the Effective Date but which later become Allowed Claims shall be deemed to have been made on the
Effective Date.

                    10.       Unclaimed Property.

Undeliverable distributions or unclaimed distributions shall remain in the possession of the Debtors or the
Litigation Trust, as applicable, until such time as a distribution becomes deliverable or holder accepts
distribution, or such distribution reverts back to the Debtors, Reorganized Debtors, or Litigation Trust, as
applicable, and shall not be supplemented with any interest, dividends, or other accruals of any kind.
Such distributions shall be deemed unclaimed property under section 347(b) of the Bankruptcy Code at
the expiration of three hundred and sixty-five (365) days from the date of distribution. After such date all
unclaimed property or interest in property shall revert to the Reorganized Debtors or Litigation Trust, as
applicable, and the Claim of any other holder to such property or interest in property shall be discharged
and forever barred.

                    11.       Time Bar to Cash Payments.

Checks issued by the Disbursing Agent in respect of Allowed Claims shall be null and void if not
negotiated within one hundred and twenty (120) days after the date of issuance thereof. Thereafter, the
amount represented by such voided check shall irrevocably revert to the Reorganized Debtors or the
Litigation Trust, as applicable, and any Claim in respect of such voided check shall be discharged and
forever barred, notwithstanding any federal or state escheat laws to the contrary. Requests for re-issuance
of any check shall be made to the Disbursing Agent or Litigation Trust Oversight Committee, as
applicable, by the holder of the Allowed Claim to whom such check was originally issued.

                    12.       Manner of Payment under Plan.

Except as otherwise specifically provided in the Second Amended Plan, at the option of the Debtors, the
Reorganized Debtors, or Litigation Trust Oversight Committee, as applicable, any Cash payment to be
made hereunder may be made by a check or wire transfer or as otherwise required or provided in
applicable agreements or customary practices of the Debtors.

                    13.       Satisfaction of Claims.

Except as otherwise specifically provided in the Second Amended Plan, any distributions and deliveries to
be made on account of Allowed Claims under the Second Amended Plan shall be in complete and final
satisfaction, settlement, and discharge of and exchange for such Allowed Claims.

                    14.       Fractional Stock and Notes.

If any distributions of New Equity Interests pursuant to the Second Amended Plan would result in the
issuance of a fractional share of New Equity Interests, then the number of shares of New Equity Interests
to be issued in respect of such distribution will be calculated to one decimal place and rounded up or
down to the closest whole share (with a half share or greater rounded up and less than a half share

                                                         64
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57           Main Document
                                                  Pg 493 of 565



rounded down). The total number of shares of New Equity Interests to be distributed in connection with
the Second Amended Plan shall be adjusted as necessary to account for the rounding provided for in
Section 6.14 of the Second Amended Plan. No consideration shall be provided in lieu of fractional shares
that are rounded down. Neither the Reorganized Debtors, nor the Disbursing Agent shall have any
obligation to make a distribution that is less than one (1) share of New Equity Interests.

                    15.       Minimum Cash Distributions.

The Disbursing Agent shall not be required to make any distribution of Cash less than One Hundred
Dollars ($100) to any holder of an Allowed Claim; provided, that if any distribution is not made pursuant
to Section 6.15 of the Second Amended Plan, such distribution shall be added to any subsequent
distribution to be made on behalf of the holder’s Allowed Claim.

                    16.       Setoffs and Recoupments.

The Debtors or the Reorganized Debtors, as applicable, or such entity’s designee (including, without
limitation, the Disbursing Agent) may, but shall not be required to, set off or recoup against any Claim,
and any distribution to be made on account of such Claim, any and all claims, rights, and Causes of
Action of any nature whatsoever that the Debtors or the Reorganized Debtors may have against the holder
of such Claim pursuant to the Bankruptcy Code or applicable non-bankruptcy law; provided, that neither
the failure to do so nor the allowance of any Claim hereunder shall constitute a waiver or release by a
Debtor or Reorganized Debtor or its successor of any claims, rights, or Causes of Action that a Debtor or
Reorganized Debtor or its successor or assign may possess against the holder of such Claim.

                    17.       Allocation of Distributions between Principal and Interest.

Except as otherwise required by law (as reasonably determined by the Reorganized Debtors), distributions
with respect to an Allowed Claim shall be allocated first to the principal portion of such Allowed Claim
(as determined for United States federal income tax purposes) and, thereafter, to the remaining portion of
such Allowed Claim, if any.

                    18.       No Distribution in Excess of Amount of Allowed Claim.

Except as provided in Section 6.7 of the Second Amended Plan, no holder of an Allowed Claim shall
receive, on account of such Allowed Claim, distributions in excess of the Allowed amount of such Claim.

                    19.       Withholding and Reporting Requirements.

                              (a)       Withholding Rights.

In connection with the Second Amended Plan, any party issuing any instrument or making any
distribution described in the Second Amended Plan shall comply with all applicable withholding and
reporting requirements imposed by any federal, state, or local taxing authority, and all distributions
pursuant to the Second Amended Plan and all related agreements shall be subject to any such withholding
or reporting requirements. In the case of a non-Cash distribution that is subject to withholding, the
distributing party may withhold an appropriate portion of such distributed property and either (i) sell such
withheld property to generate Cash necessary to pay over the withholding tax (or reimburse the
distributing party for any advance payment of the withholding tax), or (ii) pay the withholding tax using
its own funds and retain such withheld property. Any amounts withheld pursuant to the preceding
sentence shall be deemed to have been distributed to and received by the applicable recipient for all
purposes of the Second Amended Plan. Notwithstanding the foregoing, each holder of an Allowed Claim

                                                         65
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57           Main Document
                                                  Pg 494 of 565



or any other Entity that receives a distribution pursuant to the Second Amended Plan shall have
responsibility for any taxes imposed by any governmental unit, including, without limitation, income,
withholding, and other taxes, on account of such distribution. Any party issuing any instrument or
making any distribution pursuant to the Second Amended Plan has the right, but not the obligation, to not
make a distribution until such holder has made arrangements satisfactory to such issuing or disbursing
party for payment of any such tax obligations.

                              (b)       Forms.

Any party entitled to receive any property as an issuance or distribution under the Second Amended Plan
shall, upon request, deliver to the Disbursing Agent or such other Entity designated by the Reorganized
Debtors or Litigation Trust, as applicable (which Entity shall subsequently deliver to the Disbursing
Agent any applicable IRS Form W-8 or Form W-9 received) an appropriate Form W-9 or (if the payee is
a foreign Entity) Form W-8. If such request is made by the Reorganized Debtors, the Disbursing Agent,
or such other Entity designated by the Reorganized Debtors or Disbursing Agent and the holder fails to
comply before the earlier of (i) the date that is one hundred and eighty (180) days after the request is made
and (ii) the date that is one hundred and eighty (180) days after the date of distribution, the amount of
such distribution shall irrevocably revert to the applicable Reorganized Debtor and any Claim in respect
of such distribution shall be discharged and forever barred from assertion against such Reorganized
Debtor or its respective property.

          F.        Procedures for Disputed Claims.

                    1.        Objections to Claims.

The Debtors, the Reorganized Debtors, or the Litigation Trust, as applicable, shall exclusively be entitled
to object to Claims. After the Effective Date, the Reorganized Debtors or the Litigation Trust Oversight
Committee, as applicable, shall have and retain any and all rights and defenses that the Debtors had with
regard to any Claim to which they may object, except with respect to any Claim that is Allowed. Any
objections to proofs of Claim shall be served and filed on or before the later of (a) one-hundred and eighty
(180) days after the Effective Date, and (b) on such later date as may be fixed by the Bankruptcy Court,
after notice and a hearing, upon a motion by the Reorganized Debtors that is filed before the date that is
one-hundred and eighty (180) days after the Effective Date. The expiration of such period shall not limit
or affect the Debtors’ or the Reorganized Debtors’ rights to dispute Claims asserted in the ordinary course
of business other than through a proof of Claim.

                    2.        Resolution of Disputed Claims.

On and after the Effective Date, (a) the Debtors or the Reorganized Debtors, as applicable, shall have the
authority to compromise, settle, otherwise resolve, or withdraw any objections to Claims (other than
General Unsecured Claims) without approval of the Bankruptcy Court, other than with respect to Fee
Claims; and (b) upon the creation of the Litigation Trust, the Litigation Trust Oversight Committee shall
have the exclusive authority to compromise, settle, otherwise resolve, or withdraw any objections to
General Unsecured Claims without approval of the Bankruptcy Court. The Debtors or the Reorganized
Debtors, as applicable, and the Litigation Trust Oversight Committee shall cooperate with respect to any
objections to Claims that seek to convert Claims into General Unsecured Claims or General Unsecured
Claims into other Claims. The rights and defenses of the Debtors, the Reorganized Debtors or the
Litigation Trust, as applicable, to any such objections are fully preserved.




                                                         66
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57           Main Document
                                                  Pg 495 of 565



                    3.        Payments and Distributions with Respect to Disputed Claims.

Notwithstanding anything in the Second Amended Plan to the contrary, if any portion of a Claim is a
Disputed Claim, no payment or distribution provided hereunder shall be made on account of such Claim
unless and until such Disputed Claim becomes an Allowed Claim.

                    4.        Distributions after Allowance.

After such time as a Disputed Claim becomes, in whole or in part, an Allowed Claim, the holder thereof
shall be entitled to distributions, if any, to which such holder is then entitled as provided in the Second
Amended Plan, without interest, as provided in Section 7.9 of the Second Amended Plan. Such
distributions shall be made as soon as practicable after the date that the order or judgment of the
Bankruptcy Court allowing such Disputed Claim (or portion thereof) becomes a Final Order.

                    5.        Disallowance of Claims.

Except to the extent otherwise agreed to by the Debtors, the Reorganized Debtors, or the Litigation Trust
Oversight Committee, as applicable, or as provided in Section .2(b) of the Second Amended Plan, any
Claims held by Entities from which property is recoverable under sections 542, 543, 550, or 553 of the
Bankruptcy Code or that is a transferee of a transfer avoidable under section 522(f), 522(h), 544, 545,
547, 548, 549, or 724(a) of the Bankruptcy Code, as determined by a Final Order, shall be deemed
disallowed pursuant to section 502(d) of the Bankruptcy Code, and holders of such Claims may not
receive any distributions on account of such Claims until such time as such Causes of Action against that
Entity have been settled or a Final Order with respect thereto has been entered and all sums due, if any, to
the Debtors by that Entity have been turned over or paid to the Debtors, the Reorganized Debtors, or the
Litigation Trust Oversight Committee, as applicable.

                    6.        Estimation of Claims.

The Debtors, the Reorganized Debtors, or the Litigation Trust Oversight Committee, as applicable, may
(a) determine, resolve and otherwise adjudicate all contingent, unliquidated, and Disputed Claims in the
Bankruptcy Court and (b) at any time request that the Bankruptcy Court estimate any contingent,
unliquidated, or Disputed Claim pursuant to section 502(c) of the Bankruptcy Code regardless of whether
the Debtors previously objected to such Claim or whether the Bankruptcy Court has ruled on any such
objection. The Bankruptcy Court will retain jurisdiction to estimate any Claim at any time during
litigation concerning any objection to any Claim, including, without limitation, during the pendency of
any appeal relating to any such objection. In the event that the Bankruptcy Court estimates any
contingent, unliquidated, or Disputed Claim, the amount so estimated shall constitute either the Allowed
amount of such Claim or a maximum limitation on such Claim, as determined by the Bankruptcy Court.
If the estimated amount constitutes a maximum limitation on the amount of such Claim, the Debtors, the
Reorganized Debtors, or the Litigation Trust Oversight Committee, as applicable, may pursue
supplementary proceedings to object to the allowance of such Claim; provided, that such limitation shall
not apply to Claims requested by the Debtors to be estimated for voting purposes only.

                    7.        No Distributions Pending Allowance.

If an objection, motion to estimate, or other challenge to a Claim is filed, no payment or distribution
provided under the Second Amended Plan shall be made on account of such Claim unless and until (and
only to the extent that) such Claim becomes an Allowed Claim.



                                                         67
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57         Main Document
                                                  Pg 496 of 565



                    8.        Claim Resolution Procedures Cumulative.

All of the objection, estimation, and resolution procedures in the Second Amended Plan are intended to be
cumulative and not exclusive of one another. Claims may be estimated and subsequently settled,
compromised, withdrawn, or resolved in accordance with the Second Amended Plan without further notice
or Bankruptcy Court approval.

                    9.        Interest.

To the extent that a Disputed Claim becomes an Allowed Claim after the Effective Date, the holder of
such Claim shall not be entitled to any interest that accrued thereon from and after the Effective Date,
except as provided in Section 6.7 of the Second Amended Plan.

                    10.       Insured Claims.

If any portion of an Allowed Claim is an Insured Claim, no distributions under the Second Amended Plan
shall be made on account of such Allowed Claim until the holder of such Allowed Claim has exhausted all
remedies with respect to any applicable insurance policies. To the extent that the Debtors’ insurers agree
to satisfy a Claim in whole or in part, then immediately upon such agreement, the portion of such Claim
so satisfied may be expunged without an objection to such Claim having to be filed and without any
further notice to or action, order or approval of the Court.

          G.        Executory Contracts and Unexpired Leases.

                    1.        General Treatment.

                          (a)     As of and subject to the occurrence of the Effective Date, all executory
contracts and unexpired leases to which any of the Debtors are parties shall be deemed rejected, unless
such contract or lease (i) was previously assumed or rejected by the Debtors pursuant to an order of the
Bankruptcy Court; (ii) previously expired or terminated pursuant to its own terms or by agreement of the
parties thereto; (iii) is the subject of a motion to assume filed by the Debtors on or before the
Confirmation Date; (iv) is identified in section 5.7(a) of the Second Amended Plan; (v) is identified in
section 8.4 of the Second Amended Plan; or (vi) is identified for assumption on the Assumption Schedule
included in the Plan Supplement.

                         (b)     Subject to the occurrence of the Effective Date, entry of the Confirmation
Order by the Bankruptcy Court shall constitute approval of the assumptions, assumptions and
assignments, or rejections provided for in the Second Amended Plan pursuant to sections 365(a) and 1123
of the Bankruptcy Code and a determination by the Bankruptcy Court that the Reorganized Debtors or the
Successful Bidder, as applicable, have provided adequate assurance of future performance under such
assumed executory contracts and unexpired leases. Each executory contract and unexpired lease assumed
or assumed and assigned pursuant to the Second Amended Plan shall vest in and be fully enforceable by
the Reorganized Debtors or the Successful Bidder, as applicable, in accordance with its terms, except as
modified by the provision of the Second Amended Plan, any order of the Bankruptcy Court authorizing
and providing for its assumption, or applicable law.

                    2.        Determination of Assumption Disputes and Deemed Consent.

                      (a)    Any Cure Amount shall be satisfied, pursuant to section 365(b)(1) of the
Bankruptcy Code, by payment of the Cure Amount, as reflected in the applicable cure notice, in Cash on


                                                         68
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                                  Pg 497 of 565



the Effective Date, subject to the limitations described below, or on such other terms as the parties to such
executory contracts or unexpired leases and the Debtors may otherwise agree.

                           (b)      The Debtors shall file, as part of the Plan Supplement, the Assumption
Schedule. The Debtors shall serve a notice on parties to executory contracts or unexpired leases to be
assumed or assumed and assigned reflecting the Debtors’ intention to assume or assume and assign the
contract or lease in connection with the Second Amended Plan and, where applicable, setting forth the
proposed Cure Amount (if any), in accordance with the Disclosure Statement Order. Any objection by a
counterparty to an executory contract or unexpired lease to the proposed assumption, assumption and
assignment, or related Cure Amount must be filed and served in accordance with the Disclosure Statement
Order. Any counterparty to an executory contract or unexpired lease that does not timely object to the
notice of the proposed assumption of such executory contract or unexpired lease shall be deemed to have
assented to assumption of the applicable executory contract or unexpired lease notwithstanding any
provision thereof that purports to (i) prohibit, restrict, or condition the transfer or assignment of such
contract or lease; (ii) terminate or modify, or permit the termination or modification of, a contract or lease
as a result of any direct or indirect transfer or assignment of the rights of any Debtor under such contract
or lease or a change, if any, in the ownership or control to the extent contemplated by the Second
Amended Plan; (iii) increase, accelerate, or otherwise alter any obligations or liabilities of any Debtor or
any Reorganized Debtor under such executory contract or unexpired lease; or (iv) create or impose a Lien
upon any property or Asset of any Debtor or any Reorganized Debtor, as applicable. Each such provision
shall be deemed to not apply to the assumption of such executory contract or unexpired lease pursuant to
the Second Amended Plan and counterparties to assumed executory contracts or unexpired leases that fail
to object to the proposed assumption in accordance with the terms set forth in Section 8.2(b) of the
Second Amended Plan, shall forever be barred and enjoined from objecting to the proposed assumption or
to the validity of such assumption (including with respect to any Cure Amounts or the provision of
adequate assurance of future performance), or taking actions prohibited by the foregoing or the
Bankruptcy Code on account of transactions contemplated by the Second Amended Plan.

                        (c)     If there is an Assumption Dispute pertaining to assumption of an
executory contract or unexpired lease (other than a dispute pertaining to a Cure Amount), such dispute
shall be heard by the Bankruptcy Court prior to such assumption being effective, provided, that the
Debtors or the Reorganized Debtors, as applicable, may settle any dispute regarding the Cure Amount or
the nature thereof without any further notice to any party or any action, order, or approval of the
Bankruptcy Court.

                           (d)    To the extent an Assumption Dispute relates solely to the Cure Amount,
the Debtors may assume and/or assume and assign the applicable executory contract or unexpired lease
prior to the resolution of such Assumption Dispute; provided, that the Debtors or the Reorganized Debtors
reserve Cash in an amount sufficient to pay the full amount reasonably asserted as the required cure
payment by the non-Debtor party to such executory contract or unexpired lease (or such smaller amount
as may be fixed or estimated by the Bankruptcy Court or otherwise agreed to by such non-Debtor party
and the applicable Reorganized Debtor).

                         (e)     Assumption or assumption and assignment of any executory contract or
unexpired lease pursuant to the Second Amended Plan or otherwise shall result in the full release and
satisfaction of any Claims against any Debtor or defaults by any Debtor, whether monetary or
nonmonetary, including defaults of provisions restricting the change in control or ownership interest
composition or other bankruptcy-related defaults, arising under any assumed executory contract or
unexpired lease at any time before the date that the Debtors assume or assume and assign such executory
contract or unexpired lease. Any proofs of Claim filed with respect to an executory contract or unexpired
lease that has been assumed or assumed and assigned shall be deemed disallowed and expunged, without

                                                         69
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57             Main Document
                                                  Pg 498 of 565



further notice to or action, order, or approval of the Bankruptcy Court or any other Entity, upon the
assumption of such executory contract or unexpired lease.

                    3.        Rejection Damages Claims.

In the event that the rejection of an executory contract or unexpired lease hereunder results in damages to
the other party or parties to such executory contract or unexpired lease, any Claim for such damages shall
be classified and treated in Class 5 (General Unsecured Claims). Such Claim shall be forever barred and
shall not be enforceable against the Debtors, the Reorganized Debtors, or the Litigation Trust, as
applicable, or their respective Estates, properties or interests in property as agents, successors, or assigns,
unless a proof of Claim is filed with the Bankruptcy Court and served upon counsel for the Debtors or the
Reorganized Debtors, as applicable, no later than forty-five (45) days after the filing and service of the
notice of the occurrence of the Effective Date.

                    4.        Insurance Policies.

Notwithstanding anything to the contrary in the Definitive Documents, the Second Amended Plan, the
Plan Supplement, any bar date notice or claim objection, and any other document related to any of the
foregoing,: on the Effective Date, (a) all insurance policies pursuant to whichissued or providing
coverage to the Debtors have any obligations in effect as of the Effective Date shall be deemed and treated
as executory contracts pursuant to the Amended Plan andand all related agreements shall be assumed in
their entirety by the Debtors or the Reorganized Debtors, as applicable, and pursuant to sections 105 and
365(a) of the Bankruptcy Code, shall continue in full force and effect thereafter in accordance with their
respective terms. All other insurance policies shall vest in, and upon such assumption, the Reorganized
Debtors. shall remain liable in full for any and all now existing or hereinafter arising obligations,
liabilities, terms, provisions, and covenants of any of the Debtors under such insurance policies and
agreements, without the need or requirement for an insurer to file a proof of Claim, Administrative Claim,
or objection to any cure amount; (b) the Debtors or the Reorganized Debtors, as applicable, shall not sell,
assign or otherwise transfer any insurance policies or related agreements except in accordance with the
terms of thereof and applicable non-bankruptcy law; and (c) the automatic stay of Bankruptcy Code
section 362(a) and the injunctions set forth in the Second Amended Plan, if and to the extent applicable,
shall be deemed lifted without further order of this Court, solely to permit: (i) claimants with valid
workers’ compensation claims or direct action claims against an insurer under applicable non-bankruptcy
law to proceed with their claims; and (ii) the insurers to administer, handle, defend, settle, and/or pay, in
the ordinary course of business and without further order of the Bankruptcy Court, (A) workers’
compensation claims, (B) claims where a claimant asserts a direct claim against any insurer under
applicable non-bankruptcy law, or an order has been entered by the Bankruptcy Court granting a claimant
relief from the automatic stay to proceed with its claim, and (C) all costs in relation to each of the
foregoing.

                    5.        Intellectual Property Licenses and Agreements.

Notwithstanding anything to the contrary in the Definitive Documents, the Second Amended Plan, the
Plan Supplement, any bar date notice or claim objection, and any other document related to any of the
foregoing, all intellectual property contracts, licenses, royalties, or other similar agreements to which the
Debtors have any rights or obligations in effect as of the date of the Confirmation Order shall be deemed
and treated as executory contracts pursuant to the Second Amended Plan and shall, with the consent of the
Requisite First Lien Lenders (which consent shall not be unreasonably withheld), be assumed by the
Debtors and Reorganized Debtors and shall continue in full force and effect unless any such intellectual
property contract, license, royalty, or other similar agreement otherwise is specifically rejected pursuant to
a separate order of the Bankruptcy Court or is the subject of a separate rejection motion filed by the

                                                         70
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                                  Pg 499 of 565



Debtors in accordance with Section 8.1 of the Second Amended Plan. Unless otherwise noted hereunder,
all other intellectual property contracts, licenses, royalties, or other similar agreements shall vest in the
Reorganized Debtors and the Reorganized Debtors may take all actions as may be necessary or
appropriate to ensure such vesting as contemplated in the Second Amended Plan.

                    6.        Tax Agreements.

Notwithstanding anything to the contrary in the Definitive Documents, the Second Amended Plan, the
Plan Supplement, any bar date notice or claim objection, and any other document related to any of the
foregoing, any tax sharing agreements to which the Debtors are a party (of which the principal purpose is
the allocation of taxes) in effect as of the date of the Confirmation Order shall be deemed and treated as
executory contracts pursuant to the Second Amended Plan and, to the extent the Debtors determine, with
the consent of the Requisite First Lien Lenders (which consent shall not be unreasonably withheld), that
such agreements are beneficial to the Debtors, shall be assumed by the Debtors and Reorganized Debtors
and shall continue in full force and effect thereafter in accordance with their respective terms, unless any
such tax sharing agreement (of which the principal purpose is the allocation of taxes) otherwise is
specifically rejected pursuant to a separate order of the Bankruptcy Court or is the subject of a separate
rejection motion filed by the Debtors in accordance with Section 8.1 of the Second Amended Plan. Unless
otherwise noted hereunder, all other tax sharing agreements to which the Debtors are a party (of which the
principal purpose is the allocation of taxes) shall vest in the Reorganized Debtors and the Reorganized
Debtors may take all actions as may be necessary or appropriate to ensure such vesting as contemplated in
the Second Amended Plan.

                    7.        Assignment.

To the extent provided under the Bankruptcy Code or other applicable law, any executory contract or
unexpired lease transferred and assigned hereunder shall remain in full force and effect for the benefit of
the transferee or assignee in accordance with its terms, notwithstanding any provision in such executory
contract or unexpired lease (including those of the type set forth in section 365(b)(2) of the Bankruptcy
Code) that prohibits, restricts, or conditions such transfer or assignment. To the extent provided under the
Bankruptcy Code or other applicable law, any provision that prohibits, restricts, or conditions the
assignment or transfer of any such executory contract or unexpired lease or that terminates or modifies
such executory contract or unexpired lease or allows the counterparty to such executory contract or
unexpired lease to terminate, modify, recapture, impose any penalty, condition renewal or extension, or
modify any term or condition upon any such transfer and assignment, constitutes an unenforceable anti-
assignment provision and is void and of no force or effect with respect to any assignment pursuant to the
Second Amended Plan.

                    8.        Modifications, Amendments, Supplements, Restatements, or Other
                              Agreements.

Unless otherwise provided in the Second Amended Plan or by separate order of the Bankruptcy Court,
each executory contract and unexpired lease that is assumed shall include any and all modifications,
amendments, supplements, restatements, or other agreements made directly or indirectly by any
agreement, instrument, or other document that in any manner affects such executory contract or unexpired
lease, without regard to whether such agreement, instrument, or other document is listed in the notice of
assumed contracts.




                                                         71
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456            Filed 10/07/19 Entered 10/07/19 15:38:57               Main Document
                                                       Pg 500 of 565



                    9.        Reservation of Rights.

                         (a)      The Debtors, with the consent of the Requisite First Lien Lenders, which
consent may not be unreasonably withheld, may amend the Assumption Schedule and any cure notice until
the Business Day immediately prior to the commencement of the Confirmation Hearing in order to (i) add,
delete, or reclassify any executory contract or unexpired lease or amend a proposed assignment and/or
(ii) amend the proposed Cure Amount; provided, that if the Confirmation Hearing is adjourned for a
period of more than two (2) consecutive calendar days, the Debtors’ right to amend such schedules and
notices shall be extended to the Business Day immediately prior to the adjourned date of the Confirmation
Hearing, with such extension applying in the case of any and all subsequent adjournments of the
Confirmation Hearing. The Debtors shall provide notice of such amendment to any affected counterparty
as soon as reasonably practicable.

                          (b)      Neither the exclusion nor inclusion of any contract or lease by the
Debtors on any exhibit, schedule, or other annex to the Second Amended Plan or in the Plan Supplement,
nor anything contained in the Second Amended Plan, will constitute an admission by the Debtors that any
such contract or lease is or is not in fact an executory contract or unexpired lease or that the Debtors, the
Reorganized Debtors or their respective Affiliates have any liability thereunder.

                        (c)     Except as otherwise provided in the Second Amended Plan, nothing in
the Second Amended Plan shall waive, excuse, limit, diminish, or otherwise alter any of the defenses,
Claims, Causes of Action, or other rights of the Debtors and the Reorganized Debtors under any
executory or non-executory contract or any unexpired or expired lease.

                          (d)      Nothing in the Second Amended Plan will increase, augment, or add to
any of the duties, obligations, responsibilities, or liabilities of the Debtors or the Reorganized Debtors, as
applicable, under any executory or non-executory contract or any unexpired or expired lease.

          H.        Conditions Precedent to Confirmation of Plan and Effective Date.

                              (a)            Conditions Precedent to Confirmation of Plan.

                                           The following are conditions precedent to entry of the Confirmation Order:

                                      i.      the Disclosure Statement Order shall have been entered and shall be in
                                             full force and effect and no stay thereof shall be in effect;

                                     ii.     the Plan Supplement and all of the schedules, documents, and exhibits
                                             contained tin the Second Amended Plan shall have been filed;

                                    iii.      the RSA shall not have been terminated and shall be in full force and
                                             effect; and

                                    iv.      the DIP Order and the DIP Documents shall be in full force and effect in
                                             accordance with the terms thereof, and no event of default shall have
                                             occurred and be continuing thereunder.




                                                                72
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456           Filed 10/07/19 Entered 10/07/19 15:38:57               Main Document
                                                    Pg 501 of 565



                              (b)        Conditions Precedent to Effective Date.

                                    i.     The following are conditions precedent to the Effective Date of the
                                           Second Amended Plan:

                                             1. the Confirmation Order shall have been entered and shall be in
                                                full force and effect and no stay thereof shall be in effect;

                                             2. no event of default under the DIP Documents shall have occurred
                                                or be continuing and an acceleration of the obligations or
                                                termination of the DIP Lenders’ commitments under the DIP
                                                Documents shall not have occurred;

                                             3. all actions, documents, and agreements necessary to implement
                                                and consummate the Second Amended Plan shall have been
                                                effected or executed and binding on all parties thereto and, to the
                                                extent required, filed with the applicable governmental units in
                                                accordance with applicable laws;

                                             4. all applicable governmental, regulatory and/or third-party
                                                approvals and consents, including FCC Approval, approval of
                                                State PUCs, and Bankruptcy Court approval, necessary in
                                                connection with the transactions contemplated by the Second
                                                Amended Plan shall have been obtained (including approval of
                                                the FCC Applications), not be subject to unfulfilled conditions,
                                                and be in full force and effect, and all applicable waiting periods
                                                shall have expired without any action being taken or threatened
                                                by any competent authority that would restrain, prevent, or
                                                otherwise impose materially adverse conditions on such
                                                transactions;

                                             5. the RSA shall not have been terminated and shall be in full force
                                                and effect, and no notice shall have been delivered in accordance
                                                with the RSA that, upon expiration of a cure period, would give
                                                rise to a Lender Termination Event (as defined in the RSA);

                                             6. the Global Settlement shall have been approved by the
                                                Bankruptcy Court without material modification (unless the
                                                modification is consented to by the Debtors, the Requisite First
                                                Lien Lenders, and the Creditors’ Committee);

                                             7. 6. all accrued and unpaid Restructuring Expenses, Second Lien
                                                Lender Restructuring Expenses, and Settlement Restructuring
                                                Expenses shall have been paid in Cash to the extent invoiced at
                                                least two (2) business days prior to the Effective Date (or such
                                                shorter period as the Debtors may agree); provided that, any
                                                modification to the Second Amended Plan that adversely affects
                                                the treatment of Second Lien Claims or the rights of the Second
                                                Lien Lender Group to receive the Second Lien Lender




                                                            73
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456            Filed 10/07/19 Entered 10/07/19 15:38:57                Main Document
                                                     Pg 502 of 565



                                                  Restructuring Expenses shall be in form and substance
                                                  reasonably acceptable to the Second Lien Lender Group;

                                              7. the Global Settlement shall have been approved without material
                                                  modification (unless the modification is consented to by the
                                                  Debtors, the Requisite First Lien Lenders and the Creditors’
                                                  Committee);

                                              8. the Amended Organizational Documents shall have been filed
                                                 with the appropriate governmental authority, as applicable;

                                              9. the Special Warrant Agreement shall have been executed and
                                                 delivered, and any conditions precedent to effectiveness
                                                 contained therein have been satisfied or waived in accordance
                                                 therewith; and

                                              10. the New First Lien Credit Documents and the New Exit Facility
                                                  Credit Documents, shall (i) have been (or deemed) executed and
                                                  delivered, and any conditions precedent to effectiveness
                                                  contained therein have been satisfied or waived in accordance
                                                  therewith, (ii) be in full force and effect and binding upon the
                                                  relevant parties; and (iii) contain terms and conditions consistent
                                                  in all material respects with the RSA.; and

                                              11. the Consulting Agreement shall have been executed and
                                                  delivered, and any conditions precedent therein shall have been
                                                  satisfied or waived in accordance therewith and be in full force
                                                  and effect and binding on the relevant parties.

                                    ii.     Notwithstanding when a condition precedent to the Effective Date
                                            occurs, for purposes of the Second Amended Plan, such condition
                                            precedent shall be deemed to have occurred simultaneously upon the
                                            occurrence of the applicable conditions precedent to the Effective Date;
                                            provided, that to the extent a condition precedent (a “Prerequisite
                                            Condition”) may be required to occur prior to another condition
                                            precedent (a “Subsequent Condition”) then, for purposes of the
                                            Second Amended Plan, the Prerequisite Condition shall be deemed to
                                            have occurred immediately prior to a Subsequent Condition regardless
                                            of when such Prerequisite Condition or Subsequent Condition shall
                                            have occurred.

                              (c)         Waiver of Conditions Precedent.

                                     i.     Except as otherwise provided in the Second Amended Plan, all actions
                                            required to be taken on the Effective Date shall take place and shall be
                                            deemed to have occurred simultaneously and no such action shall be
                                            deemed to have occurred prior to the taking of any other such action.
                                            Each of the conditions precedent in Section 9.1 and Section 9.2 of the
                                            Second Amended Plan may be waived in writing by the Debtors with
                                            the prior written consent of (i) the Requisite First Lien Lenders, which
                                            consent shall not be unreasonably withheld (and, (a) solely with respect


                                                             74
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456            Filed 10/07/19 Entered 10/07/19 15:38:57                Main Document
                                                     Pg 503 of 565



                                            to the condition set forth in Section 9.1(d) and 9.2(a)(ii) of the Second
                                            Amended Plan, with the consent of the DIP Agent, such consent not to
                                            be unreasonably withheld, and (b) solely with respect to the condition
                                            set forth in Section 9.2(a)(xi) of the Second Amended Plan, with the
                                            consent of Matthew D. Rosen, such consent not to be unreasonably
                                            withheld) without leave of or order of the Bankruptcy Court, and
                                            (ii) the Creditors’ Committee, with respect to Section 9.2(a)(vii) of the
                                            Second Amended Plan, which consent shall not be unreasonably
                                            withheld. If the Second Amended Plan is confirmed for fewer than all
                                            of the Debtors as provided for in Section 5.16 of the Second Amended
                                            Plan, only the conditions applicable to the Debtor or Debtors for which
                                            the Second Amended Plan is confirmed must be satisfied or waived for
                                            the Effective Date to occur as to such Debtors.

                                    ii.     The stay of the Confirmation Order pursuant to Bankruptcy Rule
                                            3020(e) shall be deemed waived by and upon the entry of the
                                            Confirmation Order, and the Confirmation Order shall take effect
                                            immediately upon its entry.

                              (d)         Effect of Failure of a Condition.

If the conditions listed in Section 9.2 of the Second Amended Plan are not satisfied or waived in
accordance with Section 9.2(c)(1i) of the Second Amended Plan on or before the first Business Day that
is more than sixty (60) days after the date on which the Confirmation Order is entered or by such later
date as set forth by the Debtors in a notice filed with the Bankruptcy Court prior to the expiration of such
period, the Second Amended Plan shall be null and void in all respects and nothing contained in the
Second Amended Plan or the Disclosure Statement shall (a) constitute a waiver or release of any Claims
by or against or any Interests in the Debtors, (b) prejudice in any manner the rights of any Entity, or
(c) constitute an admission, acknowledgement, offer, or undertaking by the Debtors, the Requisite First
Lien Lenders, or any other Entity.

          I.        Effect of Confirmation of Plan.

                              (a)         Vesting of Assets.

On the Effective Date, pursuant to sections 1141(b) and (c) of the Bankruptcy Code, all remaining
property of the Debtors’ Estates shall vest in the Reorganized Debtors free and clear of all Claims, Liens,
encumbrances, charges, and other interests, except as provided pursuant to the Second Amended Plan, the
Confirmation Order, the Litigation Trust Agreement, the New First Lien Credit Documents, or the New
Exit Facility Credit Documents. On and after the Effective Date, the Reorganized Debtors may take any
action, including, without limitation, the operation of its businesses; the use, acquisition, sale, lease and
disposition of property; and the entry into transactions, agreements, understandings, or arrangements,
whether in or other than in the ordinary course of business, and execute, deliver, implement, and fully
perform any and all obligations, instruments, documents, and papers or otherwise in connection with any
of the foregoing, free of any restrictions of the Bankruptcy Code or Bankruptcy Rules and in all respects
as if there were no pending cases under any chapter or provision of the Bankruptcy Code, except as
expressly provided in the Second Amended Plan. Without limiting the foregoing, the Reorganized Debtors
may pay the charges that they incur on or after the Effective Date for professional fees, disbursements,
expenses, or related support services without application to the Bankruptcy Court.



                                                             75
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456            Filed 10/07/19 Entered 10/07/19 15:38:57                Main Document
                                                     Pg 504 of 565



                              (b)         Binding Effect.

As of the Effective Date, the Second Amended Plan shall bind all holders of Claims against and Interests
in the Debtors and their respective successors and assigns, notwithstanding whether any such holders
(a) were Impaired or Unimpaired under the Second Amended Plan; (b) were deemed to accept or reject the
Second Amended Plan; (c) failed to vote to accept or reject the Second Amended Plan; (d) voted to reject
the Second Amended Plan; or (e) received any distribution under the Second Amended Plan.

                              (c)         Discharge of Claims and Termination of Interests.

Upon the Effective Date, and in consideration of the distributions to be made hereunder, except as
otherwise expressly provided under the Second Amended Plan, each holder (as well as any
representatives, trustees, or agents on behalf of each holder) of a Claim or Interest and any Affiliate of
such holder shall be deemed to have forever waived, released, and discharged the Debtors, to the fullest
extent permitted by section 1141 of the Bankruptcy Code, of and from any and all Claims, Interest, rights,
and liabilities that arose prior to the Effective Date. Upon the Effective Date, all such Entities shall be
forever precluded and enjoined, pursuant to section 524 of the Bankruptcy Code, from prosecuting or
asserting any such discharged Claim against or terminated Interest in the Debtors against the Debtors, the
Reorganized Debtors, or any of their Assets or property, whether or not such holder has filed a proof of
Claim and whether or not the facts or legal bases therefor were known or existed prior to the Effective
Date.

                              (d)         Term of Injunctions or Stays.

Unless otherwise provided under the Second Amended Plan, the Confirmation Order, or in a Final Order
of the Bankruptcy Court, all injunctions or stays arising under or entered during the Chapter 11 Cases
under section 105 or 362 of the Bankruptcy Code, or otherwise, and in existence on the Confirmation
Date, shall remain in full force and effect until the later of the Effective Date and the date indicated in the
order providing for such injunction or stay.

                              (e)         Injunction.

                                     i.     Upon entry of the Confirmation Order, all holders of Claims and
                                            Interests and other parties in interest, along with their respective
                                            present or former employees, agents, officers, directors, principals, and
                                            Affiliates, shall be enjoined from taking any actions to interfere with
                                            the implementation or consummation of the Second Amended Plan in
                                            relation to any Claim or Interest extinguished, discharged, or released
                                            pursuant to the Second Amended Plan.

                                    ii.     Except as expressly provided in the Second Amended Plan, the
                                            Confirmation Order, or a separate order of the Bankruptcy Court or as
                                            agreed to by the Debtors and a holder of a Claim against or Interest in
                                            the Debtors, all Entities who have held, hold, or may hold Claims
                                            against or Interests in the Debtors (whether proof of such Claims or
                                            Interests has been filed or not and whether or not such Entities vote in
                                            favor of, against or abstain from voting on the Second Amended Plan
                                            or are presumed to have accepted or deemed to have rejected the
                                            Second Amended Plan) and other parties in interest, along with their
                                            respective present or former employees, agents, officers, directors,
                                            principals, and Affiliates are permanently enjoined, on and after the

                                                             76
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456             Filed 10/07/19 Entered 10/07/19 15:38:57                   Main Document
                                                      Pg 505 of 565



                                             Effective Date, solely with respect to any Claims, Interests, and Causes
                                             of Action that will be or are extinguished, discharged, or released
                                             pursuant to the Second Amended Plan from (i) commencing,
                                             conducting, or continuing in any manner, directly or indirectly, any
                                             suit, action, or other proceeding of any kind (including, without
                                             limitation, any proceeding in a judicial, arbitral, administrative or other
                                             forum) against or affecting the Debtors, the Reorganized Debtors, or
                                             the Litigation Trust, or the property of any of the Debtors, the
                                             Reorganized Debtors, or the Litigation Trust; (ii) enforcing, levying,
                                             attaching (including, without limitation, any prejudgment attachment),
                                             collecting, or otherwise recovering by any manner or means, whether
                                             directly or indirectly, any judgment, award, decree, or order against the
                                             Debtors, the Reorganized Debtors, or the Litigation Trust, or the
                                             property of any of the Debtors, the Reorganized Debtors, or the
                                             Litigation Trust; (iii) creating, perfecting, or otherwise enforcing in any
                                             manner, directly or indirectly, any encumbrance of any kind against the
                                             Debtors, the Reorganized Debtors, or the Litigation Trust, or the
                                             property of any of the Debtors, the Reorganized Debtors, or the
                                             Litigation Trust; (iv) asserting any right of setoff, directly or indirectly,
                                             against any obligation due from the Debtors, the Reorganized Debtors,
                                             or the Litigation Trust, or against property or interests in property of
                                             any of the Debtors, the Reorganized Debtors, or the Litigation Trust,
                                             except as contemplated or Allowed by the Second Amended Plan; and
                                             (v) acting or proceeding in any manner, in any place whatsoever, that
                                             does not conform to or comply with the provisions of the Second
                                             Amended Plan.

                                    iii.     Each holder of an Allowed Claim or Interest extinguished, discharged,
                                             or released pursuant to the Second Amended Plan will be deemed to
                                             have affirmatively and specifically consented to be bound by the
                                             Second Amended Plan, including, without limitation, the injunctions set
                                             forth in section 10.5 of the Second Amended Plan.

                                    iv.      The injunctions in section 10.5 of the Second Amended Plan shall
                                             extend to any successors of the Debtors, the Reorganized Debtors, and
                                             the Litigation Trust, and their respective property and interests in
                                             property.

                              (f)          Releases.

                                      i.     Estate Releases.

As of the EffectiveConfirmation Date, pursuant to section 1123(b) of the Bankruptcy Code, except for the
rights that remain in effect from and after the EffectiveConfirmation Date to enforce the Second Amended
Plan and the Definitive Documents, for good and valuable consideration, the adequacy of which is hereby
confirmed, including, without limitation, the service of the Released Parties to facilitate the reorganization
of the Debtors and the implementation of the restructuring, and except as otherwise provided in the
Second Amended Plan or in the Confirmation Order, the Released Parties will be deemed expressly,
conclusively, absolutely, unconditionally, irrevocably and forever released and discharged, to the
maximum extent permitted by law, by the Debtors and their Estates, the Reorganized Debtors, and the
Litigation Trust, from any and all Claims, obligations, suits, judgments, damages, demands, debts, rights,

                                                                77
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456           Filed 10/07/19 Entered 10/07/19 15:38:57         Main Document
                                                    Pg 506 of 565



Causes of Action, remedies, losses, and liabilities whatsoever, including any derivative claims, asserted or
assertable on behalf of the Debtors, or the Reorganized Debtors, as applicable, the Litigation Trust, or the
Estates, or their respective successors, predecessors, assigns, and representatives and any and all other
Persons or Entities that may purport to assert any Cause of Action derivatively, by or through the
foregoing, whether liquidated or unliquidated, fixed or contingent, matured or unmatured, known or
unknown, foreseen or unforeseen, existing or hereafter arising, in law, equity, contract, tort, by statute,
violations of federal or state securities law, or otherwise, that the Debtors or the Reorganized Debtors (as
applicable), the Litigation Trust, or the Estates would have been legally entitled to assert in their own
right (whether individually or collectively) or on behalf of the holder of any Claim or Interest or other
Person, based on or relating to, or in any manner arising prior to the EffectiveConfirmation Date from, in
whole or in part, the Debtors, the Chapter 11 Cases, the pre- and postpetition marketing and sale process,
the purchase, sale, or rescission of the purchase or sale of any Security of the Debtors, the subject matter
of, or the transactions or events giving rise to, any Claim or Interest that is treated in the Second Amended
Plan, the Prepetition First Lien Credit Documents, the Prepetition Second Lien Credit Documents, the
Prepetition Super Senior Credit Documents, the Forbearance Agreement (as defined in the RSA), the DIP
Documents, the business or contractual arrangements between any of the Debtors and any Released Party,
the restructuring, the restructuring of any Claim or Interest before or during the Chapter 11 Cases, the
Disclosure Statement, the RSA, and the Second Amended Plan (including, for the avoidance of doubt, the
Plan Supplement) and related agreements, instruments, and other documents (including the Definitive
Documents), and the negotiation, formulation, or preparation of any documents or transactions in
connection with any of the foregoing, the solicitation of votes with respect to the Second Amended Plan,
the pursuit of the confirmation and consummation of the Second Amended Plan, or any other act or
omission, in all cases based upon any act or omission, transaction, agreement, event or other occurrence
taking place on or before the EffectiveConfirmation Date; provided, that nothing in Section 10.6(a) of the
Second Amended Plan shall be construed to release the Released Parties from gross negligence, willful
misconduct, or fraud as determined by a Final Order; provided, further, that nothing in Section 10.6(a) of
the Second Amended Plan shall be construed to release the obligations of Vector SPV (as defined in the
Prepetition First Lien Credit Agreement) arising under the Vector Subordinated Note (as defined in the
Prepetition First Lien Credit Agreement). The Debtors, the Reorganized Debtors and their Estates, and
the Litigation Trust, or their respective successors, predecessors, assigns, and representatives and any and
all other Persons or Entities that may purport to assert any Cause of Action derivatively, by or through
the foregoing, shall be permanently enjoined from prosecuting any of the foregoing Claims or Causes of
Action released under Section 10.6(a) of the Second Amended Plan against each of the Released Parties.
Notwithstanding anything to the contrary in the foregoing or in the Second Amended Plan, the releases set
forth above do not release any post-Effectivepost-Confirmation Date obligations of any Entity under the
Second Amended Plan, the Confirmation Order, the Litigation Trust Agreement, or any document,
instrument, or agreement (including those set forth in the Plan Supplement) executed to implement the
Second Amended Plan.

                                   ii.     Consensual Releases by Holders of Impaired Claims.

As of the EffectiveConfirmation Date, except (i) for the right to enforce the Second Amended Plan or any
right or obligation arising under the Definitive Documents that remains in effect or becomes effective after
the EffectiveConfirmation Date or (ii) as otherwise expressly provided in the Second Amended Plan or in
the Confirmation Order, in exchange for good and valuable consideration, the adequacy of which is
hereby confirmed, including the obligations of the Debtors under the Second Amended Plan and the
contributions of the Released Parties to facilitate and implement the Second Amended Plan, to the fullest
extent permissible under applicable law, as such law may be extended or integrated after the
EffectiveConfirmation Date, the Released Parties shall be deemed expressly, conclusively, absolutely,
unconditionally, irrevocably and forever, released, and discharged by:


                                                          78
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57             Main Document
                                                  Pg 507 of 565



                    a.        the holders of Impaired Claims who voted to accept the Second Amended
                          Plan;

                    b.        the Consenting First Lien Lenders;

                    c.        the Consenting Second Lien Lenders;

                    d.        c. the Creditors’ Committee and each of its members in their capacity as
                          such; and

                    e.        d. with respect to any Entity in the foregoing clauses (a) through (c), such
                          Entity’s (x) predecessors, successors and assigns, (y) subsidiaries, Affiliates,
                          managed accounts or funds, managed or controlled by such Entity and (z) all
                          Persons entitled to assert Claims through or on behalf of such Entities with
                          respect to the matters for which the releasing entities are providing releases.

in each case, from any and all Claims, Interests, or Causes of Action whatsoever, including any derivative
Claims asserted on behalf of a Debtor, whether known or unknown, foreseen or unforeseen, existing or
hereafter arising, in law, equity, contract, tort, by statute, violation of federal or state securities law, or
otherwise, that such Entity would have been legally entitled to assert (whether individually or
collectively), based on, relating to, or arising prior to the EffectiveConfirmation Date from, in whole or in
part, the Debtors, the restructuring, the Chapter 11 Cases, the pre- and postpetition marketing and sale
process, the purchase, sale or rescission of the purchase or sale of any security of the Debtors or
Reorganized Debtors, the subject matter of, or the transactions or events giving rise to, any Claim or
Interest that is treated in the Second Amended Plan, the Prepetition First Lien Credit Documents, the
Prepetition Second Lien Credit Documents, the Prepetition Super Senior Credit Documents, the
Forbearance Agreement (as defined in the RSA), the DIP Documents, the business or contractual
arrangements between any Debtor and any Released Party, the restructuring of Claims and Interests
before or during the Chapter 11 Cases, the negotiation, formulation, preparation, or consummation of the
Second Amended Plan (including the Plan Supplement), the RSA, the Definitive Documents, or any
related agreements, instruments, or other documents, the solicitation of votes with respect to the Second
Amended Plan, the pursuit of the confirmation and consummation of the Second Amended Plan, in all
cases based upon any act or omission, transaction, agreement, event or other occurrence taking place on
or before the EffectiveConfirmation Date; provided, that nothing in Section 10.6(b) of the Second
Amended Plan shall be construed to release the Released Parties from gross negligence, willful
misconduct, or fraud as determined by a Final Order. The Persons and Entities in (a) through (d) of
Section 10.6(b) of the Second Amended Plan shall be permanently enjoined from prosecuting any of the
foregoing Claims or Causes of Action released under Section 10.6(b) of the Second Amended Plan against
each of the Released Parties. Notwithstanding anything to the contrary in the foregoing or in the Second
Amended Plan, the releases set forth above do not release any post-Effectivepost-Confirmation Date
obligations of any Entity under the Second Amended Plan, the Confirmation Order, the Litigation Trust
Agreement, or any document, instrument, or agreement (including those set forth in the Plan Supplement)
executed to implement the Second Amended Plan.

                              (g)       Exculpation.

To the maximum extent permitted by applicable lawSection 1125(e) of the Bankruptcy Code and without
affecting or limiting either the estate release set forth in Section 10.56(a) of the Second Amended Plan or
the consensual releases by holders of Impaired Claims set forth in Section 10.6(b) of the Second Amended
Plan, and notwithstanding anything in the Second Amended Plan to the contrary, no Exculpated Party will
have or incur, and each Exculpated Party is hereby released and exculpated from, any claim, obligation,

                                                         79
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                                  Pg 508 of 565



suit, judgment, damage, demand, debt, right, cause of action, remedy, loss, and liability for any claim in
connection with or arising out of the administration of the Chapter 11 Cases, the postpetition marketing
and sale process, the postpetition purchase, sale, or rescission of the purchase or sale of any security of
the Debtors; the postpetition negotiation and pursuit of the Disclosure Statement, the RSA, the
Reorganization Transaction, the Second Amended Plan, the solicitation of votes for, or confirmation of,
the Second Amended Plan or the Litigation Trust Agreement; the funding or consummation of the Second
Amended Plan; the occurrence of the Effective Date; the administration of the Second Amended Plan or
the property to be distributed under the Second Amended Plan, including but not limited to the issuance
and distribution of the Litigation Trust Interests; the issuance of Securities under or in connection with the
Second Amended Plan; or the transactions in furtherance of any of the foregoing; provided, that nothing in
Section 10.7 of the Second Amended Plan shall be construed to release or exculpate an Exculpated Party
from gross negligence, willful misconduct, or fraud as determined by a Final Order; provided, further, that
nothing in Section 10.7 of the Second Amended Plan shall be construed to release the obligations of
Vector SPV (as defined in the Prepetition First Lien Credit Agreement) arising under the Vector
Subordinated Note (as defined in the Prepetition First Lien Credit Agreement). Each Exculpated Party
has, and upon consummation of the Amended Plan shall be deemed to have, participated in good faith and
in compliance with the applicable laws with regard to the restructuring of Claims and Interests in the
Chapter 11 Cases and in connection with the Reorganization Transaction, the negotiation, formulation, or
preparation of the agreements, instruments, or other documents pursuant to the Amended Plan, and the
solicitation and distribution of the Amended Plan and, therefore, is not, and on account of such
distributions shall not be, liable at any time for the violation of any applicable law, rule, or regulation
governing the solicitation of acceptances or rejections of the Amended Plan or such distributions made
pursuant to the Amended Plan.

                              (h)       Limitations on Executable Assets with Respect to Certain Causes
of Action.

AnyThe Independent Directors and Other Officers and Directors shall remain legally obligated to pay for
any wrongful acts to the extent of the Debtors’ available D&O Policies’ combined limits, subject to the
following: any recovery by or on behalf of the Litigation Trust (and the beneficiaries thereof) on account
of any Litigation Trust Causes of Action (other than with respect to claims for gross negligence, willful
misconduct, or fraud) or the Reorganized Debtors on account of any Causes of Action (other than with
respect to claims for gross negligence, willful misconduct, or fraud) against any Independent Directors ,or
Other officers and Directors, each solely in his capacity as a director or officer of the Debtors prior to the
Effective Date, including in each case by way of settlement or judgment, shall be limited to the Debtors’
available D&O Policies’ combined limits, after payment from such D&O Policies of any and all covered
costs and expenses incurred by the covered parties in connection with the defense of any such Causes of
Action (the “D&O Insurance Coverage”). No party, including the Litigation Trust or the Reorganized
Debtors, shall execute, garnish or otherwise attempt to collect on any settlement or judgment upon any
assets of the Independent Directors on account of any Litigation Trust Causes of Action or Causes of
Action (other than D&O Insurance Coverage to the extent that is an asset of the Independent Directors).
In the event D&O Insurance Coverage is denied for any settlement or judgment in the Litigation Trust’s or
the Reorganized Debtors’ favor, the Independent Directors shall assign any claims for coverage or other
rights of recovery they may have against the D&O Policy insurers to the Litigation Trust or the
Reorganized Debtors, as applicable. In agreeing to this, the Independent Directors do not admit liability
and can at no point confirm that there is D&O Insurance Coverage for any recovery by or on behalf of the
Litigation Trust (and the beneficiaries thereof) on account of any Litigation Trust Causes of Action or the
Reorganized Debtors on account of any Causes of Action against any Independent Director..




                                                         80
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57           Main Document
                                                  Pg 509 of 565



                              (i)       SEC Rights and Powers.

Notwithstanding any language to the contrary contained in the Second Amended Plan, Disclosure
Statement or the Confirmation Order, no provision of the Second Amended Plan or the Confirmation
Order shall (i) preclude the SEC from enforcing its police or regulatory powers; or (ii) enjoin, limit,
impair or delay the SEC from commencing or continuing any claims, causes of action, proceedings or
investigations against any non-Debtor person or non-Debtor entity in any forum.

                              (j)       FCC Rights and Powers.

No provision in the Second Amended Plan or the Confirmation Order relieves the Debtors or the
Reorganized Debtors from their obligations to comply with the Communications Act of 1934, as
amended, and the rules, regulations and orders promulgated thereunder by the FCC. No transfer of any
FCC license or authorization held by Debtors or transfer of control of any Debtor, or transfer of control
of a FCC licensee controlled by Debtors shall take place prior to the issuance of FCC regulatory approval
for such transfer pursuant to applicable FCC regulations. The FCC’s rights and powers to take any
action pursuant to its regulatory authority including, but not limited to, imposing any regulatory
conditions on any of the above described transfers, are fully preserved, and nothing in the Second
Amended Plan shall proscribe or constrain the FCC’s exercise of such power or authority.

                              (k)       Subordinated Claims.

The allowance, classification, and treatment of all Allowed Claims and Interests and the respective
distributions and treatments under the Second Amended Plan take into account and conform to the relative
priority and rights of the Claims and Interests in each Class in connection with any contractual, legal, and
equitable subordination rights relating thereto, whether arising under general principles of equitable
subordination, section 510(b) of the Bankruptcy Code, or otherwise. Pursuant to section 510 of the
Bankruptcy Code, the Debtors (or the Litigation Trust, solely with respect to General Unsecured Claims)
reserve the right, with the consent of the Required First Lien Lenders, which consent shall not be
unreasonably withheld, to reclassify any Allowed Claim or Interest in accordance with any contractual,
legal, or equitable subordination relating thereto.

                              (l)       Retention of Causes of Action/Reservation of Rights.

Except as otherwise provided in Sections 10.5, 10.6, and 10.7 of the Second Amended Plan, nothing
contained in the Second Amended Plan or the Confirmation Order shall be deemed to be a waiver or
relinquishment of any rights, Claims, Causes of Action (including, for the avoidance of doubt, Litigation
Trust Causes of Action), rights of setoff or recoupment, or other legal or equitable defenses that the
Debtors had immediately prior to the Effective Date on behalf of their Estates or itself in accordance with
any provision of the Bankruptcy Code or any applicable non-bankruptcy law, including, without
limitation, any affirmative Causes of Action against parties with a relationship with the Debtors including
actions arising under chapter 5 of the Bankruptcy Code. Except as provided in any order entered by the
Bankruptcy Court, the Reorganized Debtors or the Litigation Trust Oversight Committee, in connection
with the pursuit of Litigation Trust Causes of Action or objection to General Unsecured Claims, shall
have, retain, reserve, and be entitled to assert all such Claims, Causes of Action, rights of setoff or
recoupment, and other legal or equitable defenses as fully as if the Chapter 11 Cases had not been
commenced, and all of the Debtors’ legal and equitable rights in respect of any Unimpaired Claim may be
asserted after the Confirmation Date and Effective Date to the same extent as if the Chapter 11 Cases had
not been commenced. Notwithstanding the foregoing, the Debtors and the Reorganized Debtors shall not



                                                         81
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456           Filed 10/07/19 Entered 10/07/19 15:38:57             Main Document
                                                    Pg 510 of 565



retain any Claims or Causes of Action released or barred pursuant to the Second Amended Plan against
the Released Parties.

                              (m)        Solicitation of Plan.

As of and subject to the occurrence of the Confirmation Date: (a) the Debtors shall be deemed to have
solicited acceptances of the Second Amended Plan in good faith and in compliance with the applicable
provisions of the Bankruptcy Code, including without limitation, sections 1125(a) and (e) of the
Bankruptcy Code, and any applicable non-bankruptcy law, rule, or regulation governing the adequacy of
disclosure in connection with such solicitation; and (b) the Debtors and each of their respective directors,
officers, employees, Affiliates, agents, financial advisors, investment bankers, professionals, accountants,
and attorneys shall be deemed to have participated in good faith and in compliance with the applicable
provisions of the Bankruptcy Code in the offer and issuance of any securities under the Second Amended
Plan, and therefore are not, and on account of such offer, issuance, and solicitation shall not be, liable at
any time for any violation of any applicable law, rule, or regulation governing the solicitation of
acceptances or rejections of the Second Amended Plan or the offer and issuance of any securities under
the Second Amended Plan.

                              (n)        Corporate and Limited Liability Company Action.

Upon the Effective Date, all actions contemplated by the Second Amended Plan shall be deemed
authorized and approved in all respects, including (a) those set forth in Sections 5.5 and 5.6 of the Second
Amended Plan; (b) the performance of the RSA; and (c) all other actions contemplated by the Second
Amended Plan (whether to occur before, on, or after the Effective Date), in each case, in accordance with
and subject to the terms hereof. All matters provided for in the Second Amended Plan involving the
corporate, limited liability company or partnership structure of the Debtors or the Reorganized Debtors,
and any corporate, limited liability company or partnership action required by the Debtors or the
Reorganized Debtors in connection with the Second Amended Plan shall be deemed to have occurred and
shall be in effect, without any requirement of further action by the Security holders, directors, managers,
limited partners or officers of the Debtors or the Reorganized Debtors. On or (as applicable) before the
Effective Date, the authorized officers of the Debtors or the Reorganized Debtors, as applicable, shall be
authorized and directed to issue, execute, and deliver the agreements, documents, Securities, and
instruments contemplated by the Second Amended Plan (or necessary or desirable to effect the
transactions contemplated by the Second Amended Plan) in the name and on behalf of the Reorganized
Debtors, including, but not limited to: (i) the Amended Organizational Documents; (ii) the New First Lien
Credit Agreement; (iii) the New Exit Facility Credit Agreement; (iv) the Litigation Trust Agreement; and
(v) any and all other agreements, documents, securities, and instruments relating to the foregoing. The
authorizations and approvals contemplated by Section 10.11 of the Second Amended Plan shall be
effective notwithstanding any requirements under non-bankruptcy law.

          J.        Retention of Jurisdiction.

                              (a)        Retention of Jurisdiction.

On and after the Effective Date, the Bankruptcy Court shall retain non-exclusive jurisdiction over all
matters arising in, arising under, and related to the Chapter 11 Cases for, among other things, the
following purposes:

                                    i.     to hear and determine motions and/or applications for the assumption
                                           or rejection of executory contracts or unexpired leases, including


                                                           82
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456           Filed 10/07/19 Entered 10/07/19 15:38:57               Main Document
                                                    Pg 511 of 565



                                           Assumption Disputes, and the allowance, classification, priority,
                                           compromise, estimation, or payment of Claims resulting therefrom;

                                   ii.     to determine any motion, adversary proceeding, application, contested
                                           matter, and other litigated matter pending on or commenced after the
                                           Confirmation Date;

                                  iii.     to ensure that distributions to holders of Allowed Claims are
                                           accomplished as provided for in the Second Amended Plan and
                                           Confirmation Order and to adjudicate any and all disputes arising from
                                           or relating to distributions under the Second Amended Plan, including,
                                           cases, controversies, suits, disputes, or Causes of Action with respect
                                           to the repayment or return of distributions and the recovery of
                                           additional amounts owed by the holder of a Claim or Interest for
                                           amounts not timely paid;

                                  iv.      to consider the allowance, classification, priority, compromise,
                                           estimation, or payment of any Claim;

                                   v.      to resolve disputes concerning Disputed Claims or the administration
                                           thereof;

                                  vi.      to hear and determine all Fee Claims and Restructuring Expenses;

                                  vii.     to hear and resolve any dispute over the application to any Claim of
                                           any limit on the allowance of such Claim set forth in sections 502 or
                                           503 of the Bankruptcy Code, other than defenses or limits that are
                                           asserted under non-bankruptcy law pursuant to section 502(b)(1) of the
                                           Bankruptcy Code;

                                 viii.     to enter, implement, or enforce such orders as may be appropriate in
                                           the event the Confirmation Order is for any reason stayed, reversed,
                                           revoked, modified, or vacated;

                                  ix.      to issue injunctions, enter and implement other orders, and take such
                                           other actions as may be necessary or appropriate to restrain
                                           interference by any Entity with the consummation, implementation, or
                                           enforcement of the Second Amended Plan, the Confirmation Order, or
                                           any other order of the Bankruptcy Court;

                                   x.      to hear and determine any application to modify the Second Amended
                                           Plan in accordance with section 1127 of the Bankruptcy Code, to
                                           remedy any defect or omission or reconcile any inconsistency in the
                                           Second Amended Plan, or any order of the Bankruptcy Court,
                                           including the Confirmation Order, in such a manner as may be
                                           necessary to carry out the purposes and effects thereof;

                                  xi.      to hear and determine disputes arising in connection with the
                                           interpretation, implementation, or enforcement of the Second Amended
                                           Plan, the Plan Supplement, the Global Settlement, the Litigation Trust



                                                            83
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456             Filed 10/07/19 Entered 10/07/19 15:38:57                Main Document
                                                      Pg 512 of 565



                                             Agreement, the Confirmation Order, or any agreement, instrument, or
                                             other document governing or relating to any of the foregoing;

                                    xii.     to take any action and issue such orders as may be necessary to
                                             construe, interpret, enforce, implement, execute, and consummate the
                                             Second Amended Plan;

                                 xiii.       to determine such other matters and for such other purposes as may be
                                             provided in the Confirmation Order;

                                 xiv.        to hear and determine matters concerning state, local, and federal taxes
                                             in accordance with sections 346, 505, and 1146 of the Bankruptcy
                                             Code (including any requests for expedited determinations under
                                             section 505(b) of the Bankruptcy Code);

                                    xv.      to hear, adjudicate, decide, or resolve any and all matters related to
                                             Article X of the Second Amended Plan, including, without limitation,
                                             the releases, discharge, exculpations, and injunctions issued thereunder;

                                 xvi.        to recover all Assets of the Debtors and property of the Debtors’
                                             Estates, wherever located;

                                xvii.        to resolve any disputes concerning whether an Entity had sufficient
                                             notice of the Chapter 11 Cases, the Disclosure Statement, any
                                             solicitation conducted in connection with the Chapter 11 Cases, any
                                             bar date established in the Chapter 11 Cases, or any deadline for
                                             responding or objecting to a Cure Amount, in each case, for the
                                             purpose of determining whether a Claim or Interest is discharged
                                             hereunder or for any other purpose;

                               xviii.        to hear and determine any rights, Claims, or Causes of Action held by
                                             or accruing to the Reorganized Debtors or the Litigation Trust
                                             pursuant to the Bankruptcy Code or pursuant to any federal statute or
                                             legal theory;

                                 xix.        to enter one or more final decrees closing the Chapter 11 Cases; and

                                    xx.      to consider any motion brought under or in connection with
                                             Bankruptcy Rule 2004; and

                                 xxi.        xx. to hear and determine any other matters related hereto and not
                                             inconsistent with the Bankruptcy Code and title 28 of the United States
                                             Code.

                              (b)          Courts of Competent Jurisdiction.

If the Bankruptcy Court abstains from exercising, or declines to exercise, jurisdiction or is otherwise
without jurisdiction over any matter arising out of the Second Amended Plan, such abstention, refusal, or
failure of jurisdiction shall have no effect upon and shall not control, prohibit, or limit the exercise of
jurisdiction by any other court having competent jurisdiction with respect to such matter.



                                                              84
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57          Main Document
                                                  Pg 513 of 565



          K.        Miscellaneous Second Amended Plan Provisions.

                              (a)       Payment of Statutory Fees.

On the Effective Date and thereafter as may be required, the Reorganized Debtors shall pay all fees
incurred pursuant to sections 1911 through 1930 of chapter 123 of title 28 of the United States Code,
together with interest, if any, pursuant to section 3717 of title 31 of the United States Code with the
Chapter 11 Cases, or until such time as a final decree is entered closing the Chapter 11 Cases, a Final
Order converting the Chapter 11 Cases to cases under chapter 7 of the Bankruptcy Code is entered, or a
Final Order dismissing the Chapter 11 Cases is entered.

                              (b)       Substantial Consummation of the Second Amended Plan.

On the Effective Date, the Second Amended Plan shall be deemed to be substantially consummated under
sections 1101 and 1127(b) of the Bankruptcy Code.

                              (c)       Plan Supplement.

The Plan Supplement shall be filed with the Clerk of the Bankruptcy Court. Upon its filing with the
Bankruptcy Court, the Plan Supplement may be inspected in the office of the Clerk of the Bankruptcy
Court during normal court hours. Documents included in the Plan Supplement will be posted at the
website of the Debtors’ notice, claims, and solicitation agent.

                              (d)       Request for Expedited Determination of Taxes.

The Debtors shall have the right to request an expedited determination under section 505(b) of the
Bankruptcy Code with respect to tax returns filed, or to be filed, for any and all taxable periods ending
after the Commencement Date through the dissolution of the Debtors.

                              (e)       Exemption from Certain Transfer Taxes.

Pursuant to section 1146 of the Bankruptcy Code, (a) the issuance, transfer or exchange of any securities,
instruments or documents, (b) the creation of any Lien, mortgage, deed of trust, or other security interest,
(c) the making or assignment of any lease or sublease or the making or delivery of any deed or other
instrument of transfer under, pursuant to, in furtherance of, or in connection with the Second Amended
Plan, including, without limitation, any deeds, bills of sale, or assignments executed in connection with
any of the transactions contemplated under the Second Amended Plan or the reinvesting, transfer, or sale
of any real or personal property of the Debtors pursuant to, in implementation of or as contemplated in the
Second Amended Plan (whether to one or more of the Reorganized Debtors or otherwise), (d) the grant of
collateral under the New Exit Facility and the New First Lien Credit Facility, and (e) the issuance,
renewal, modification, or securing of indebtedness by such means, and the making, delivery or recording
of any deed or other instrument of transfer under, in furtherance of, or in connection with, the Second
Amended Plan, including, without limitation, the Confirmation Order, shall not be subject to any
document recording tax, stamp tax, conveyance fee, or other similar tax, mortgage tax, real estate transfer
tax, mortgage recording tax, Uniform Commercial Code filing or recording fee, regulatory filing or
recording fee, sales tax, use tax, or other similar tax or governmental assessment. Consistent with the
foregoing, each recorder of deeds or similar official for any county, city, or governmental unit in which
any instrument hereunder is to be recorded shall, pursuant to the Confirmation Order, be ordered and
directed to accept such instrument without requiring the payment of any filing fees, documentary stamp
tax, deed stamps, stamp tax, transfer tax, intangible tax, or similar tax.


                                                           85
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456            Filed 10/07/19 Entered 10/07/19 15:38:57             Main Document
                                                     Pg 514 of 565



                              (f)         Amendments.

                                     i.     Plan Modifications. Subject to the terms of the RSA, (i) the Debtors
                                            reserve the right, in accordance with the Bankruptcy Code and the
                                            Bankruptcy Rules, to amend or modify the Second Amended Plan
                                            prior to the entry of the Confirmation Order, including amendments or
                                            modifications to satisfy section 1129(b) of the Bankruptcy Code, and
                                            (ii) after entry of the Confirmation Order, the Debtors may, upon
                                            order of the Court, amend, modify or supplement the Second Amended
                                            Plan in the manner provided for by section 1127 of the Bankruptcy
                                            Code or as otherwise permitted by law, in each case without
                                            additional disclosure pursuant to section 1125 of the Bankruptcy
                                            Code. In addition, after the Confirmation Date, so long as such action
                                            does not materially and adversely affect the treatment of holders of
                                            Allowed Claims or Allowed Interests pursuant to the Second Amended
                                            Plan and subject to the reasonable consent of the Requisite First Lien
                                            Lenders (and the Creditors’ Committee, solely as it pertains to the
                                            Global Settlement or treatment of General Unsecured Claims), the
                                            Debtors may remedy any defect or omission or reconcile any
                                            inconsistencies in the Second Amended Plan or the Confirmation
                                            Order with respect to such matters as may be necessary to carry out
                                            the purposes or effects of the Second Amended Plan, and any holder
                                            of a Claim or Interest that has accepted the Second Amended Plan
                                            shall be deemed to have accepted the Second Amended Plan as
                                            amended, modified, or supplemented.

                                    ii.     Other Amendments. Subject to the terms of the RSA, before the
                                            Effective Date, the Debtors may make appropriate technical
                                            adjustments and modifications to the Second Amended Plan and the
                                            documents contained in the Plan Supplement without further order or
                                            approval of the Bankruptcy Court.

                              (g)         Effectuating Documents and Further Transactions.

Each of the officers, managers, limited partners or members of the Reorganized Debtors is authorized to
execute, deliver, file, or record such contracts, instruments, releases, indentures, and other agreements or
documents and take such reasonable actions as may be necessary or appropriate to effectuate and further
evidence the terms and conditions of the Second Amended Plan.

                              (h)         Revocation or Withdrawal of Plan.

Subject to the terms of the RSA, the Debtors reserve the right to revoke or withdraw the Second Amended
Plan prior to the Effective Date. If the Second Amended Plan has been revoked or withdrawn prior to the
Effective Date, or if confirmation or the occurrence of the Effective Date does not occur, then: (a) the
Second Amended Plan shall be null and void in all respects; (b) any settlement or compromise embodied
in the Second Amended Plan (including the fixing or limiting to an amount any Claim or Interest or Class
of Claims or Interests), assumption of executory contracts or unexpired leases affected by the Second
Amended Plan, and any document or agreement executed pursuant to the Second Amended Plan shall be
deemed null and void; and (c) nothing contained in the Second Amended Plan shall (i) constitute a waiver
or release of any Claim by or against, or any Interest in, the Debtors or any other Entity; (ii) prejudice in
any manner the rights of the Debtors or any other Entity; or (iii) constitute an admission of any sort by the

                                                            86
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57             Main Document
                                                  Pg 515 of 565



Debtors, any Consenting First Lien Lenders, or any other Entity. This provision shall have no impact on
the rights of the Consenting First Lien Lenders or the Debtors, as set forth in the RSA, in respect of any
such revocation or withdrawal.

                              (i)       Dissolution of Statutory Committees.

On the Effective Date, any statutory committee (a “Committee”) formed in these Chapter 11 Cases shall
dissolve and, on the Effective Date, each member (including each officer, director, employee, or agent
thereof) of such Committee and each professional retained by such Committee shall be released and
discharged from all rights, duties, responsibilities, and obligations arising from, or related to, the Debtors,
their membership on such Committee, the Second Amended Plan, or the Chapter 11 Cases, except with
respect to any matters concerning any Fee Claims held or asserted by any professional retained by such
Committee.

                              (j)       Severability of Plan Provisions.

If, before the entry of the Confirmation Order, any term or provision of the Second Amended Plan is held
by the Bankruptcy Court to be invalid, void, or unenforceable, the Bankruptcy Court, at the request of the
Debtors, shall have the power to alter and interpret such term or provision to make it valid or enforceable
to the maximum extent practicable, consistent with the original purpose of the term or provision held to be
invalid, void, or unenforceable, and such term or provision shall then be applicable as altered or
interpreted. Notwithstanding any such holding, alteration, or interpretation, the remainder of the terms
and provisions of the Second Amended Plan will remain in full force and effect and will in no way be
affected, impaired or invalidated by such holding, alteration, or interpretation. The Confirmation Order
shall constitute a judicial determination and shall provide that each term and provision of the Second
Amended Plan, as it may have been altered or interpreted in accordance with the foregoing, is (a) valid
and enforceable pursuant to its terms, (b) integral to the Second Amended Plan and may not be deleted or
modified without the consent of the Debtors or the Reorganized Debtors (as the case may be), and
(c) nonseverable and mutually dependent.

                              (k)       Governing Law.

Except to the extent that the Bankruptcy Code or other federal law is applicable, or to the extent an
exhibit hereto or a schedule in the Plan Supplement or a Definitive Document provides otherwise, the
rights, duties, and obligations arising under the Second Amended Plan shall be governed by, and
construed and enforced in accordance with, the laws of the State of New York, without giving effect to the
principles of conflict of laws thereof; provided, however, that corporate or entity governance matters
relating to any Debtors or Reorganized Debtors shall be governed by the laws of the state of incorporation
or organization of the applicable Debtors or Reorganized Debtors.

                              (l)       Time.

In computing any period of time prescribed or allowed by the Second Amended Plan, unless otherwise set
forth in the Second Amended Plan or determined by the Bankruptcy Court, the provisions of Bankruptcy
Rule 9006 shall apply.

                              (m)       Dates of Actions to Implement the Second Amended Plan.

In the event that any payment or act under the Second Amended Plan is required to be made or performed
on a date that is not a Business Day, then the making of such payment or the performance of such act may


                                                          87
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456           Filed 10/07/19 Entered 10/07/19 15:38:57           Main Document
                                                    Pg 516 of 565



be completed on or as soon as reasonably practicable after the next succeeding Business Day, but shall be
deemed to have been completed as of the required date.

                              (n)        Immediate Binding Effect.

Notwithstanding Bankruptcy Rules 3020(e), 6004(h), 7062, or otherwise, upon the occurrence of the
Effective Date, the terms of the Second Amended Plan and Plan Supplement shall be immediately effective
and enforceable and deemed binding upon and inure to the benefit of the Debtors, the holders of Claims
and Interests, the Released Parties, and each of their respective successors and assigns, including, without
limitation, the Reorganized Debtors.

                              (o)        Deemed Acts.

Subject to and conditioned on the occurrence of the Effective Date, whenever an act or event is expressed
under the Second Amended Plan to have been deemed done or to have occurred, it shall be deemed to have
been done or to have occurred without any further act by any party, by virtue of the Second Amended
Plan and the Confirmation Order.

                              (p)        Successor and Assigns.

The rights, benefits, and obligations of any Entity named or referred to in the Second Amended Plan shall
be binding on, and shall inure to the benefit of any heir, executor, administrator, successor, or permitted
assign, if any, of each Entity.

                              (q)        Entire Agreement.

On the Effective Date, the Second Amended Plan, the Plan Supplement, and the Confirmation Order shall
supersede all previous and contemporaneous negotiations, promises, covenants, agreements,
understandings, and representations on such subjects, all of which have become merged and integrated
into the Second Amended Plan.

                              (r)        Exhibits to Plan.

All exhibits, schedules, supplements, and appendices to the Second Amended Plan (including the Plan
Supplement) are incorporated into and are a part of the Second Amended Plan as if set forth in full in the
Second Amended Plan.

                              (s)        Notices.

All notices, requests, and demands hereunder to be effective shall be in writing (including by electronic
transmission) and, unless otherwise expressly provided in the Second Amended Plan, shall be deemed to
have been duly given or made when actually delivered as follows:

                                    i.     If to the Debtors or the Reorganized Debtors:

                              Fusion Connect, Inc.,
                              210 Interstate North Parkway, Suite 300,
                              Atlanta, Georgia 30339
                              Attn: James P. Prenetta, Jr., Executive Vice President and General Counsel
                              Email: JPrenetta@fusionconnect.com



                                                             88
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456           Filed 10/07/19 Entered 10/07/19 15:38:57         Main Document
                                                    Pg 517 of 565



                                         -and-

                              Weil, Gotshal & Manges LLP
                              767 Fifth Avenue
                              New York, New York 10153
                              Attn: Gary T. Holtzer
                                      Sunny Singh
                                      Gaby Smith
                              Telephone: (212) 310-8000
                              Email: gary.holtzer@weil.com
                                      sunny.singh@weil.com
                                      gaby.smith@weil.com

                                   ii.     If to the Consenting First Lien Lenders:

                              Davis Polk & Wardwell LLP
                              450 Lexington Avenue
                              New York, NY 10017
                              Attn: Damian S. Schaible
                                     Adam L. Shpeen
                              Email: damian.schaible@davispolk.com
                                      adam.shpeen@davispolk.com

                                  iii.     If to members of the Ad Hoc Group of Tranche A Term Loans /
                                           Revolving Lenders:

                              Simpson Thacher & Bartlett LLP
                              425 Lexington Avenue
                              New York, NY 10017
                              Attn: Sandeep Qusba
                                     Hyang Sook Lee
                                     Edward R. Linden
                              Email: squsba@stblaw.com
                                     slee@stblaw.com
                                     edward.linden@stblaw.com

After the Effective Date, the Debtors have authority to send a notice to Entities providing that, to continue
to receive documents pursuant to Bankruptcy Rule 2002, they must file a renewed request to receive
documents pursuant to Bankruptcy Rule 2002. After the Effective Date, the Debtors and the Reorganized
Debtors, as applicable, are authorized to limit the list of Entities receiving documents pursuant to
Bankruptcy Rule 2002 to those Entities who have filed such renewed requests.

                                       VI.
                            TRANSFER RESTRICTIONS AND
                    CONSEQUENCES UNDER FEDERAL SECURITIES LAWS

The offer, issuance, and distribution of the Special Warrants, and the New Equity Interests, and the
Second Lien Warrants (if any) shall be exempt, pursuant to section 1145 of the Bankruptcy Code, from
registration under the Securities Act and all rules and regulations promulgated thereunder, and any state
or local law requiring registration for the offer, issuance, and distribution of Securities.


                                                            89
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57              Main Document
                                                  Pg 518 of 565



Section 1145 of the Bankruptcy Code generally exempts from registration under the Securities Act the
offer, issuance, or sale under a chapter 11 plan of a security of the debtor, of an affiliate participating in a
joint plan with the debtor, or of a successor to the debtor under a plan, if such securities are offered or
sold in exchange for a claim against, or an interest in, the debtor or such affiliate, or principally in such
exchange and partly for cash. In reliance upon this exemption, the New Equity Interests, and the Special
Warrants, and the Second Lien Warrants, if applicable, will be exempt from the registration requirements
of the Securities Act, and state and local securities laws. These securities may be resold without
registration under the Securities Act or other federal or state securities laws pursuant to the exemption
provided by Section 4(a)(1) of the Securities Act, unless the holder is an “underwriter” with respect to
such securities, as that term is defined in section 1145(b) of the Bankruptcy Code. In addition, such
section 1145 exempt securities generally may be resold without registration under state securities laws
pursuant to various exemptions provided by the respective laws of the several states.

Section 1145(b) of the Bankruptcy Code defines “underwriter” for purposes of the Securities Act as one
who, except with respect to ordinary trading transactions, (a) purchases a claim with a view to
distribution of any security to be received in exchange for the claim, (b) offers to sell securities issued
under a plan for the holders of such securities, (c) offers to buy securities issued under a plan from
persons receiving such securities, if the offer to buy is made with a view to distribution or (d) is an issuer,
as used in Section 2(a)(11) of the Securities Act, with respect to such securities, which includes control
persons of the issuer. Further, based on the legislative history of Section 1145 of the Bankruptcy Code, a
creditor who owns 10% or more of the voting securities of a reorganized debtor and/or has the right to
appoint a director to the board of directors of a reorganized debtor may be presumed to be a control
person, and therefore, an underwriter.

Notwithstanding the foregoing, control person underwriters may be able to sell securities without
registration pursuant to the resale limitations of Rule 144 of the Securities Act which, in effect, permit the
resale of securities received by such underwriters pursuant to a chapter 11 plan, subject to applicable
volume limitations, notice and manner of sale requirements, and certain other conditions. Parties who
believe they may be statutory underwriters as defined in section 1145 of the Bankruptcy Code are advised
to consult with their own legal advisers as to the availability of the exemption provided by Rule 144.

In any case, recipients of New Equity Interests, Special Warrants, and/or Second LienSpecial Warrants, if
applicable, issued under the Second Amended Plan are advised to consult with their own legal advisers as
to the availability of any such exemption from registration under state law in any given instance and as to
any applicable requirements or conditions to such availability. In order to preserve the ability to utilize
tax attributes following the Effective Date, the charter, bylaws, and other organizational documents, as
applicable, of the Reorganized Debtors may restrict certain transfers of the New Equity Interests and/or
Special Warrants, and Second Lien Warrants, if applicable.

Legends. To the extent certificated, certificates evidencing New Equity Interests, and Special Warrants,
and Second Lien Warrants, if applicable, held by holders of 10% or more of the outstanding New Equity
Interests, and Special Warrants and Second Lien Warrants, if applicable, or who are otherwise
underwriters as defined in Section 1145(b) of the Bankruptcy Code, will bear a legend substantially in the
form below:

THE NEW EQUITY INTERESTS, AND SPECIAL WARRANTS, AND SECOND LIEN
WARRANTS, IF APPLICABLE, HAVE NOT BEEN REGISTERED UNDER THE SECURITIES
ACT OF 1933, AS AMENDED, OR UNDER THE SECURITIES LAWS OF ANY STATE OR
OTHER JURISDICTION AND MAY NOT BE SOLD, OFFERED FOR SALE OR OTHERWISE
TRANSFERRED UNLESS REGISTERED OR QUALIFIED UNDER SUCH ACT AND
APPLICABLE STATE SECURITIES LAWS OR UNLESS FUSION CONNECT RECEIVES AN

                                                         90
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57                Main Document
                                                  Pg 519 of 565



OPINION OF COUNSEL REASONABLY SATISFACTORY TO IT THAT SUCH REGISTRATION
OR QUALIFICATION IS NOT REQUIRED.

                                                   VII.
                                            REGULATORY MATTERS

The Debtors’ operations are subject to varying degrees of regulation by the FCC under the
Communications Act and the FCC rules and regulations promulgated thereunder, as well as by the State
PUCs and their respective authorizing statutes and regulations. Obtaining approval from the FCC and a
number of State PUCs is generally required for the issuance, renewal, transfer of control, assignment, or
modification of operating licenses.

The Fusion Licensees were required to submit applications notifying the FCC upon entry into chapter 11.
Following the Commencement Date, the Fusion Licensees filed the requisite applications informing the
FCC of the pro forma transfer of the FCC licenses to the Fusion Licensees as “debtors in possession”
under chapter 11. The FCC provided notice of those filings in a Public Notice dated June 13, 2019 and
labeled as Report No. TEL-01964, DA No. 19-552.11

On the Effective Date, Telecom Holdings, LLC (“Telecom Holdings”) will acquire over fifty percent
(50%) of the New Equity Interests, resulting in de jure control of Reorganized FCI. Consequently, the
emergence transaction will effect a transfer of control of the Fusion Licensees. The New Equity Interests
that are not issued to Telecom Holdings will be held by certain other holders of First Lien Claims, none of
whom will hold New Equity Interests that represent voting or equity interests of ten percent (10%) or
more of Reorganized FCI. On July 24, 2019 and August 2, 2019, 2019, the Fusion Licensees and
Telecom Holdings submitted applications to the FCC to obtain its consent for the proposed transfer of
control of the Fusion Licensees and separately filed applications to the requisite State PUCs on or prior to
August 9, 2019.

Following its review of the FCC Applications submitted by the Fusion Licensees, the FCC will issue a
public notice (or notices) announcing the acceptance of the FCC Applications for filing (each, a “Public
Notice”). For purposes of the wireless licenses, pursuant to Section 309(d) of the Communications Act
and related FCC rules, any party that qualifies as a “party in interest” may file a “petition to deny” the
FCC Applications within thirty (30) days of the date of a Public Notice. If such petitions to deny are
filed, the Fusion Licensees will have the opportunity to file oppositions and the petitioners will have the
opportunity to reply, with the formal pleading cycle closing approximately fifteen (15) days following the
deadline for petitions to deny (unless a different schedule is set by the FCC).

Pursuant to Section 214 of the Communications Act and related FCC rules, a party may file comments or
file a petition to deny the international and domestic Section 214 applications within fourteen (14) days of
the Public Notice. For domestic Section 214 applications, parties are also permitted to file reply
comments within twenty-one (21) days of the Public Notice. The Fusion Licensees will have the
opportunity to respond to any such comments. Thereafter, unless the FCC notifies the Fusion Licensees
otherwise, the Fusion Licensees may consummate the transfer of control on the thirty-first day (31st) after




11
      As a consequence of entry into chapter 11, the wireless licenses held by FCS were assigned to FCS, as debtor
      in possession, in File Nos. 000868350 and 0008686355, effective as of July 9, 2019.


                                                         91
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57           Main Document
                                                  Pg 520 of 565



the Public Notice with respect to the domestic Section 214 authority and on the fourteenth day (14th) after
the Public Notice with respect to the international Section 214 authority.

As a practical matter, however, the FCC is not expected to grant any of the applications until after all
required periods for the FCC Applications have passed. In any event, the Reorganization Transaction
cannot be consummated until, among other things, all required FCC Approvals have been obtained.

Following the Debtors’ emergence from Chapter 11 on the Effective Date, the proposed exercise of
Special Warrants or any other conditional interests issued pursuant to the Second Amended Plan will
result in (i) a second transfer of control of the Fusion Licensees because Telecom Holdings’ interests in
Reorganized FCI will drop below fifty (50) percent, constituting a “negative transfer of control” for FCC
purposes. Moreover, the exercise of the Special Warrants on the Exercise Date will result in the aggregate
foreign ownership of the Fusion Licensees exceeding twenty-five percent (25%), which is prohibited by
federal law unless the FCC issues a declaratory ruling as discussed below. Therefore, as soon as
practicable following the Effective Date, the Fusion Licensees and Telecom Holdings will file an
additional set of applications with the FCC and State PUCs (as required), as well as a Petition for
Declaratory Ruling seeking FCC approval for the proposed foreign ownership of the Fusion Licensees
that will take place on the Exercise Date. Consistent with the Second Amended Plan, no Special Warrants
or other conditional interests in Reorganized FCI that are issued on the Effective Date may be exercised
until all of the conditions for the Exercise Date have been met.

               A. State Public Service Commissions.

The Fusion Licensees were required to notify certain State PUCs upon entry into chapter 11. Following
the Commencement Date, therefore, the Fusion Licensees filed notices informing the State PUCs in all
states where the Fusion Licensees operate of the Fusion Licensees’ status as debtors in possession under
chapter 11.

The Fusion Licensees and Telecom Holdings were also required to submit applications to certain State
PUCs to request approval of the transfer of control of the Fusion Licensees to Telecom Holdings. The
Fusion Licensees and Telecom Holdings filed the requisite State PUC Applications in California,
Colorado, the District of Columbia Georgia, Hawaii, Indiana, Louisiana, Maryland, Minnesota,
Mississippi, Nebraska, New Jersey, New York, Ohio, Pennsylvania, Texas, Virginia and West Virginia
on behalf of each entity that holds intrastate telecommunications authority in these states. The level of
review undertaken by the State PUCs, and the length of time until an approval of a State PUC Application
will be granted, will vary by state. One or more State PUCs may issue its grant of approval contingent
upon issuance of approvals by the FCC and/or the Bankruptcy Court.

In order to comply with any applicable regulatory requirements in states where approval of a transfer of
control is not required and where a Fusion Licensee holds authority to provide telecommunications
services, the Fusion Licensees (together with Telecom Holdings) are filing the State PUC Notices with the
respective State PUCs regarding the transfer of control that will occur as a result of the Reorganization
Transaction.

In connection with the exercise of Special Warrants on the Exercise Date, and the resulting material
change to the ownership of the Fusion Licensees, advance approvals will have to be obtained from certain
State PUCs. Prior to the Exercise Date but after the Effective Date, the Fusion Licensees and Telecom
Holdings will file additional State PUC applications for such approvals as required and will file additional
State PUC notices in the states where notice (but not approval) is required for the change to ownership.



                                                         92
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57         Main Document
                                                  Pg 521 of 565



Consistent with the Second Amended Plan, no Special Warrants or other conditional interests in
Reorganized FCI that may be exercised until all of the conditions for the Exercise Date have been met.

The following is important information concerning the FCC approval process and the ownership
requirements and restrictions that must be met in order for parties to hold equity interests in
Reorganized FCI. The following summary of certain FCC rules and policies is for informational
purposes only and is not a substitute for careful planning and advice based upon the individual
circumstances pertaining to a Holder of an Allowed First Lien Claim or an Allowed Second Lien
Claim. Holders of Allowed First Lien Claims or Allowed Second Lien Claims are urged to consult
their own advisors as to FCC ownership issues and other consequences of the Second Amended Plan.

               B. Information Required from Prospective Stockholders of Reorganized FCI.

In processing applications for consent to a transfer of control or assignment of FCC licenses, the FCC
considers, among other things, whether the prospective owners or new licensee, as applicable, possess the
legal, character, and other qualifications to hold FCC licenses in a manner consistent with the public
interest.

As described in the Equity Allocation Mechanism, Holders of Allowed First Lien Claims will receive New
Equity Interests and/or Special Warrants on account of such Claims. Holders of Allowed Second Lien
Claims will receive Special Warrants on account of such Claims. In accordance with the terms of the
Special Warrant Agreement, the Special Warrants will automatically be exercised for New Equity
Interests, to the extent legally permissible, upon the Exercise Date, which will not occur until all
prerequisites are met, including upon obtaining a declaratory ruling from the FCC and grants of approvals
of the transfer of control of Reorganized FCI from the FCC and applicable State PUC approvals.

Each holder of an Allowed First Lien Claim must submit an Ownership Certification providing
information regarding the prospective stockholder to establish that issuance of the New Equity
Interests and/or Special Warrants to such holder would not result in a violation of law, impair the
qualifications of the Reorganized Debtors to hold FCC Licenses, or impede the grant of any FCC
Applications on behalf of the Reorganized Debtors.

Each holder of an Allowed First Lien Claim will be required to provide information regarding the
extent of their direct and indirect ownership and control by non-U.S. persons sufficient to establish
whether any non-U.S. persons will hold a direct or indirect ownership interest in Reorganized FCI.
Based on the Results of the Ownership Certifications, holders will receive a mix of New Equity
Interests and Special Warrants as set forth in the Warrant Agreement and the Equity Allocation
Mechanism.

Consistent with the Equity Allocation Mechanism and the Special Warrant Agreement, holders of
Allowed First Lien Claims or Allowed Second Lien Claims that are directly or indirectly owned or
controlled by a non-U.S. individual or entity will only be permitted to exercise Special Warrants upon the
Exercise Date, at which time, such holder may only exercise Special Warrants and/or other conditional
interest insofar as permitted by the FCC’s Declaratory Ruling. For the avoidance of doubt, holders of
Allowed First Lien Claims or Allowed Second Lien Claims shall not be permitted to exercise Special
Warrants if the non-U.S. ownership or voting percentage of such prospective holders, as calculated in
accordance with FCC rules, would result in an amount in excess of the foreign ownership amount
permitted by the Declaratory Ruling.

On September 323, 2019, and concurrently hereto, the Debtors are filingThe Court entered an order (ECF
No. 425) approving the Motion of Debtors for Authority to Establish Procedures for Compliance with

                                                         93
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                                  Pg 522 of 565



Federal Communications Law (the “Foreign Ownership Procedures Motion”) for entry of an order
(i) approving procedures to comply with foreign ownership restrictions and other ownership disclosure
requirement of the federal communications law and the FCC12, including the forms of Ownership
Certification and Notice of Ownership Certification Procedures and deadlines by which holders of
Allowed First Lien Claims must submit an Ownership Certification to Prime Clerk as the Certification
Agent to facilitate the allocation of New Equity Interests and Special Warrants under the Second
Amended Plan; and (ii) authorizing Prime Clerk to serve as the Certification Agent and to perform the
relevant services related to the certification process (each as defined in the Foreign Ownership Procedures
Motion).

Any holder that fails to timely provide an Ownership Certification by October 1725, 2019 (the
“Ownership Certification Deadline”) or that fails to deliver an Ownership Certification that allows the
Debtors to clearly determine such holder’s foreign ownership in compliance with the limitations set forth
in the Equity Allocation Mechanism will be treated as a one hundred percent (100%) foreign-owned, non-
U.S. holder, unless the Debtors, in their sole discretion, elect to treat an Ownership Certification delivered
after the Ownership Certification Deadline (but prior to the Effective Date) as if such Ownership
Certification had been delivered prior to the Ownership Certification Deadline.

A hearing to approve the Ownership Certification Procedures Motion is currently scheduled to occur on
September 10, 2019.




12
      See, e.g., 47 C.F.R. § 1.5000 et seq. (implementing the Ownership Limitations of Section 310 of the
      Communications Act for broadcast, common carrier, aeronautical en route, and aeronautical fixed radio
      station licensees and common carrier spectrum lessees); 47 C.F.R. § 63.04, 18) (requiring disclosure of
      certain equity ownership and voting interest in Section 214 transfer of control applications).


                                                         94
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                                  Pg 523 of 565



               C. FCC Foreign Ownership Restrictions and Ownership Disclosure Requirements.

On the Effective Date, Telecom Holdings will hold over fifty percent (50%) of the New Equity Interests.
The membership interests in Telecom Holdings on the Effective Date will be held by twelve (12) U.S.
Holders (as defined herein), none of whom will hold a direct or indirect economic interest in Reorganized
FCI of ten percent (10%) or more.

Section 310 of the Communications Act prohibits foreign individuals and foreign entities from having
direct or indirect ownership or voting rights totaling in the aggregate more than twenty-five percent (25%)
in a U.S. corporation that controls a U.S. broadcast, common carrier, or aeronautical fixed or en route
radio station licensee (“Licensee”). The FCC, which has adopted rules to implement Section 310(b), may
authorize aggregate foreign equity ownership or voting interests to exceed the twenty-five percent (25%)
limitation by granting a declaratory ruling in response to the filing of a Petition for Declaratory Ruling by
the applicable Licensee. In addition, if the parent company of a Licensee already has, or proposes to
have, foreign ownership that exceeds the twenty-five percent (25%) Ownership Limitations, any entity
(including entities subject to aggregation under applicable FCC rules) that has or would receive in excess
of either five percent (5%) or, in certain cases, ten percent (10%) of the equity ownership or voting rights
in the Licensee’s parent company must receive specific approval from the FCC (a “Specific Approval”).
The determination of whether the five percent (5%) or ten percent (10%) Specific Approval threshold
applies to an entity is determined pursuant to the FCC’s foreign ownership rules.

To ensure compliance with the twenty-five percent (25%) limitation, the distribution of New Equity
Interests to holders of Allowed First Lien Claims is being structured in a manner that will prevent the
aggregate foreign equity ownership or aggregate foreign voting percentage in Reorganized FCI from
exceeding twenty-two and one-half percent (22.5%) (the “22.5 Percent Limitation”). Any distribution of
New Equity Interests on the Effective Date in contravention of the preceding sentence will be deemed
automatically adjusted to the minimum extent necessary to comply with this limitation. Historically,
warrants and other future or conditional interests have not been taken into account in determining foreign
ownership compliance.

Ownership Limitations also apply to partnerships and limited liability companies. The FCC historically
has treated partnerships with foreign partners as foreign-controlled if there are any foreign general
partners. The interests of any foreign limited partners or foreign members of limited liability companies
are considered in determining the equity ownership and voting rights held by such entities. The interests
of limited partners or limited liability company members that are not properly insulated from active
involvement in the management or operation of the company are considered to have the same voting
interest in the licensee as the entity itself. Limited partners and members of limited liability companies
that are properly insulated are deemed to have a voting interest that is the same as their own equity
interest.




                                                         95
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57           Main Document
                                                  Pg 524 of 565



The FCC’s rules implementing Section 214 of the Communications Act require a U.S. company that holds
domestic and international Section 214 telecommunications service authority to disclose the identity of all
direct or indirect holders of ten percent (10%) or more of the voting or equity ownership in such company
when applying for authority or consent to a transfer of control or assignment. To ensure that the FCC
Applications have disclosed all such holders, with the exception of distributions to Telecom Holdings, the
distribution of New Equity Interests to any holders of Allowed First Lien Claims is being limited to nine
and three-quarters percent (9.75%) of the equity or voting percentage of Reorganized FCI (the “9.75
Percent Limitation”). Holders that are subject to restriction pursuant to the 9.75 Percent Limitation will
receive a mix of New Equity Interests and Special Warrants. Any distribution of New Equity Interests on
the Effective Date that would contravene the 9.75 Percent Limitation will be deemed automatically
adjusted to the minimum extent necessary to comply with this limitation.

In order to ensure Reorganized FCI’s compliance with the FCC’s foreign ownership rules, the Equity
Allocation Mechanism provides for the distribution of New Equity Interests and Special Warrants on the
Effective Date to Holders of Allowed First Lien Claims. Holders that receive Special Warrants will be
permitted to exercise their Special Warrants only in accordance with the terms of the Equity Allocation
MechanismSpecial Warrant Agreement on the Exercise Date, which is a date occurring within five (5)
business days of the satisfaction of the following conditions: (i) the FCC has issued all requisite approvals
for the transfer of control of Reorganized FCI that will result from the exercise of the Special Warrants;
(ii) for any common carrier radio station licenses held by FCS on the Exercise Date, the FCC has granted
the requisite approvals under Section 310 of the Communications Act for the transfer of control of a
wireless license that will arise from the exercise of the Special Warrants; (iii) the FCC has granted the
Declaratory Ruling allowing Reorganized FCI or its affiliates, as applicable, to exceed twenty-five percent
(25%) foreign ownership; and (iii) the State PUCs grant any requisite approvals for the change of
ownership that will arise from the exercise of the Special Warrants.

As set forth in the Equity Allocation MechanismSpecial Warrant Agreement, if the FCC adopts a
Declaratory Ruling allowing one hundred percent (100%) foreign ownership of Reorganized FCI (the
“100% Declaratory Ruling”), then, subject to having received any needed Specific Approval, all Non-
U.S. Holders that complete and deliver an Ownership Certification that is satisfactory to Reorganized FCI
will be deemed to have exercised their Special Warrants on the Exercise Date and will receive the
corresponding number of New Equity Interests; provided, however, that a Non-U.S. Holder of Special
Warrants may not hold more than five percent (5%) of the New Equity Interests until the requisite
Specific Approval has been obtained from the FCC.

If the FCC adopts a Declaratory Ruling allowing foreign ownership of Reorganized FCI between twenty-
five percent (25%) and ninety-nine and nine-tenths percent (99.9%) (the “Partial Declaratory Ruling
Percentage” and the “Partial Declaratory Ruling”), then, subject to having received any needed Specific
Approval, each Non-U.S. Holder of Special Warrants that completes and delivers an Ownership
Certification that is satisfactory to Reorganized FCI will have all or a portion of its Special Warrants
exercised and converted into New Equity Interests on the Exercise Date, according to the following
principles: (i) each such Non-U.S. Holder’s ownership of New Equity Interests will be maximized to the
extent possible taking into account such Non-U.S. Holder’s foreign equity and voting percentage and
Reorganized FCI’s aggregate foreign equity percentage upon completion of all such exercises; provided,
however, that Non-U.S. Holders of Special Warrants may not hold more than five percent (5%) of the
New Equity Interests until the requisite Specific Approval has been obtained from the FCC; (ii) each such
Non-U.S. Holder shall be entitled to receive New Equity Interests corresponding to its domestic equity
percentage and/or its domestic voting percentage, as determined by Reorganized FCI; and (iii) after taking
into account the exercise of the Special Warrants described above, the remaining Special Warrants held



                                                         96
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57          Main Document
                                                  Pg 525 of 565



by each such Non-U.S. Holder will be exercised on a pro rata basis based upon the aggregate number of
Special Warrants held by all such Non-U.S. Holders.

If the FCC does not issue a Declaratory Ruling, then Non-U.S. Holders may not elect to exercise their
Special Warrants and must either hold such Special Warrants or transfer them, except to the extent that
Reorganized FCI reasonably determines that such exercise will not cause a violation of the 22.5 Percent
Limitation, 9.75 Percent Limitation, or any other limitations on equity ownership set forth in the Special
Warrants.

 Because the proposed exercise of Special Warrants will cause Telecom Holdings to hold less than fifty
percent (50%) of the ownership of Reorganized FCI, Reorganized FCI and Telecom Holdings shall file
the requisite applications under Sections 214 and 310 of the Communications Act and any requisite State
PUC applications for consent to the transfer of control. If the exercise of the Special Warrants would
result in any holder, besides Telecom Holdings, holding ten percent (10%) or more of the New Equity
Interests, Reorganized FCI, and Telecom Holdings shall also disclose the identity or identities of such
holder(s) in the requisite applications. The FCC and applicable State PUCs must grant such applications
as a condition to such holders of a Special Warrant(s) to exercise its rights to exchange its Special
Warrant(s) for New Equity Interests.

               D. Commitment to Obtain Approvals.

The Debtors have agreed to use reasonable best efforts to file all notices and obtain all consents and
approvals of any governmental entity or third party required in connection with the Reorganization
Transaction. Regulators may object to the Reorganization Transaction and/or impose conditions or
restrictions on approvals that are materially adverse to the Debtors, Reorganized Debtors, and/or Telecom
Holdings. In no event will the Debtors, Reorganized Debtors, Telecom Holdings, or any of their affiliates
be required (i) to divest or hold separate assets, including any assets acquired by the Debtors, Reorganized
Debtors, Telecom Holdings, or any of their respective affiliates in connection with the Reorganization
Transaction, or agree to limit their future activities, method or place of doing business, (ii) to commence
any litigation against any person in order to facilitate the consummation of the Reorganization
Transaction, or (iii) to defend against any litigation filed with or brought by any governmental entity
seeking to prevent the consummation of, or impose limitations on, any of the transactions contemplated by
the Reorganization Transaction.

               E. Receipt of Regulatory Approvals.

The Debtors estimate that the requisite regulatory approvals to effectuate the Reorganization Transaction
pursuant to the Second Amended Plan will be obtained no later than December 30, 2019, although the
receipt of such approvals cannot be assured or guaranteed.

                               VIII.
 CERTAIN U.S. FEDERAL INCOME TAX CONSEQUENCES OF AMENDEDSECOND
                          AMENDED PLANN

The following discussion summarizes certain material U.S. federal income tax consequences of the
implementation of the Second Amended Plan to the Debtors (which, as used herein, includes the
Reorganized Debtors) and to holders of certain Claims. This discussion does not address the U.S. federal
income tax consequences to holders of Claims or equity interests who are unimpaired or deemed to reject
the Second Amended Plan (e.g., the holders of Parent Equity Interests).



                                                         97
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                                  Pg 526 of 565



The discussion of U.S. federal income tax consequences below is based on the Internal Revenue Code of
1986, as amended (the “Tax Code”), the Treasury regulations promulgated thereunder (the “Treasury
Regulations”), judicial authorities, published positions of the IRS, and other applicable authorities, all as
in effect on the date of this Disclosure Statement and all of which are subject to change or differing
interpretations (possibly with retroactive effect). The U.S. federal income tax consequences of the
contemplated transactions are complex and subject to significant uncertainties. The Debtors have not
requested an opinion of counsel or a ruling from the IRS or any other taxing authority with respect to any
of the tax aspects of the contemplated transactions, and the discussion below is not binding upon the IRS
or any court. No assurance can be given that the IRS will not assert, or that a court will not sustain, a
different position than any position discussed herein.

This summary does not address non-U.S., state, or local tax consequences of the contemplated
transactions, nor does it purport to address the U.S. federal income tax consequences of the transactions
to special classes of taxpayers (e.g., non-U.S. taxpayers, small business investment companies, regulated
investment companies, real estate investment trusts, banks and certain other financial institutions,
insurance companies, tax-exempt organizations, retirement plans, individual retirement and other tax-
deferred accounts, holders that are, or hold their Claims through, S corporations, partnerships or other
pass-through entities for U.S. federal income tax purposes, persons whose functional currency is not the
U.S. dollar, dealers in securities or foreign currency, traders that mark-to-market their securities, persons
subject to the “Medicare” tax on net investment income, persons subject to special accounting rules under
Section 451(b) of the Tax Code, and persons whose Claims are part of a straddle, hedging, constructive
sale, or conversion transaction). In addition, this discussion does not address U.S. federal taxes other
than income taxes, nor does it apply to any person that acquires any of the New Equity Interests or New
First Lien Term Loans in the secondary market, unless otherwise provided herein.

For purposes of the discussion below, all references to New Equity Interests are intended to apply equally
to the Special Warrants, which are economically equivalent to, and thus generally should be treated the
same as, the New Equity Interests for U.S. federal income tax purposes (unless otherwise indicated).

This discussion also assumes that the New Equity Interests, and the New First Lien Term Loans, and the
Second Lien Warrants will be held as “capital assets” (generally, property held for investment) within the
meaning of section 1221 of the Tax Code, and that the various debt and other arrangements to which any
of the Debtors is a party will be respected for U.S. federal income tax purposes in accordance with their
form.

The following summary of certain U.S. federal income tax consequences is for informational purposes
only and is not a substitute for careful tax planning and advice based upon the individual
circumstances of Claim holders. Holders are urged to consult their own tax advisor for the U.S.
federal, state, local, non-U.S., and other tax consequences applicable under the Second Amended
Plan.

          A.        Consequences to the Debtors.

For U.S. federal income tax purposes, Fusion Connect is a common parent of an affiliated group of
companies that files a single consolidated U.S. federal income tax return (the “Fusion Tax Group”), of
which the other Debtors are members or are disregarded entities directly or indirectly wholly-owned by a
member of the group. The Debtors estimate that, as of the Commencement Date, the Fusion Tax Group
had available net operating loss (“NOL”) carryforwards of at least approximately $150 million (which is
subject to certain existing annual and other limitations) and disallowed business interest carryforwards of
at least approximately $29 million, that may be used to offset current or future taxable income.
Technically, the Fusion Tax Group also has estimated additional NOL carryforwards of at least $500

                                                         98
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                                  Pg 527 of 565



million; however, due to existing limitations, such NOLs are effectively unusable against future taxable
income but are an available tax attribute for purposes of reduction under the cancellation of debt
(“COD”) rules, which are discussed below.

The amount of any NOL carryforwards and other tax attributes, as well as the application of any
limitations, remain subject to review and adjustment by the IRS. In addition, equity trading activity and
certain other actions prior to the Effective Date could result in an ownership change of Fusion Connect
independent of the Second Amended Plan which could adversely affect the ability to utilize the Fusion
Tax Group’s NOL carryforwards. In an attempt to minimize the likelihood of such an ownership change
occurring, at the inception of the Chapter 11 Cases the Debtors obtained an interim order from the
Bankruptcy Court authorizing certain protective equity trading and worthless stock deduction claim
procedures (ECF No. 52).

As discussed below, in connection with the implementation of the Reorganization Transaction, the
Debtors expect that the amount of the Fusion Tax Group’s NOLs, and possibly certain other tax
attributes, will be reduced. In addition, the subsequent utilization of any remaining NOLs and other tax
attributes remaining following the Effective Date may be severely restricted.

                    1.        Cancellation of Debt

In general, the Tax Code provides that a debtor in a bankruptcy case must reduce certain of its tax
attributes — such as NOL carryforwards (whether or not such NOLs can otherwise be used to offset
future taxable income) and current year NOLs, capital loss carryforwards, certain tax credits, and tax
basis in assets — by the amount of any COD incurred pursuant to a confirmed chapter 11 plan. Although
not free from doubt, it is expected that carryover of disallowed business interest expense would not be a
tax attribute subject to such reduction. In applying the attribute reduction rule to the tax basis in assets,
the tax law limits the reduction in tax basis to the amount by which the tax basis immediately following
the discharge exceeds the debtor’s post-emergence liabilities. The amount of COD incurred is generally
the amount by which the indebtedness discharged exceeds the value of any consideration given in
exchange therefor. Certain statutory or judicial exceptions may apply to limit the amount of COD
incurred for U.S. federal income tax purposes. If advantageous, the debtor can elect to reduce the basis of
depreciable property prior to any reduction in its NOL carryforwards or other tax attributes. Where the
debtor joins in the filing of a consolidated U.S. federal income tax return, applicable Treasury
Regulations require, in certain circumstances, that the tax attributes of the consolidated subsidiaries of the
debtor and other members of the group must also be reduced. Any reduction in tax attributes in respect of
COD generally does not occur until after the determination of the debtor’s net income or loss for the
taxable year in which the COD is incurred.

The Debtors expect to incur a substantial amount of COD as a result of the implementation of the Second
Amended Plan. The amount of such COD and resulting tax attribute reduction will depend primarily on
the fair market value of the New Equity Interests, the issue price (as defined below) of the New First Lien
Term Loan and the amount of any Net Cash Proceeds. Aside from any current year NOLs, the Debtors
expect that a significant portion of the required attribute reduction will reduce NOL carryforwards that
would otherwise be unusable. Accordingly, the Debtors expect that a substantial portion of the NOL
carryforwards and other tax attributes of the Fusion Tax Group currently available to offset future
taxable income will be unaffected by the required attribute reduction.

                    2.        Limitation of NOL Carryforwards and Other Tax Attributes

Following the Effective Date, any NOL carryforwards and certain other tax attributes (collectively, “Pre-
Change Losses”) may be subject to additional limitations under section 382 and 383 of the Tax Code.

                                                         99
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                                  Pg 528 of 565



Any such limitation applies in addition to, and not in lieu of, the reduction of tax attributes that results
from COD income arising in connection with the Second Amended Plan.

Under section 382 of the Tax Code, if a corporation (or consolidated group) undergoes an “ownership
change” and the corporation does not qualify for (or elects out of) the special bankruptcy exception in
section 382(l)(5) of the Tax Code discussed below, the amount of its Pre-Change Losses that may be
utilized to offset future taxable income or tax liability is subject to an annual limitation. The Debtors
anticipate that the distribution of the New Equity Interests pursuant to the Second Amended Plan will
result in an “ownership change” of the Fusion Tax Group.

In general, the amount of the annual limitation to which a corporation that undergoes an “ownership
change” will be subject is equal to the product of (a) the fair market value of the stock of the corporation
immediately before the “ownership change” (with certain adjustments) multiplied by (b) the “long-term
tax-exempt rate” in effect for the month in which the ownership change occurs (e.g., 1.891.77% for
ownership changes in SeptemberOctober 2019). As discussed below, this annual limitation potentially
may be increased in the event the corporation (or consolidated group) has an overall “built-in” gain in its
assets at the time of the ownership change. For a corporation (or consolidated group) in bankruptcy that
undergoes an ownership change pursuant to a confirmed bankruptcy plan, the fair market value of the
stock of the corporation (or the parent of the consolidated group) is generally determined immediately
after (rather than before) the ownership change, but subject to certain adjustments; in no event, however,
can the stock value for this purpose exceed the pre-change gross value of the corporation’s assets.

If the loss corporation (or consolidated group) has a net unrealized “built-in” gain at the time of an
ownership change (taking into account most assets and items of “built-in” income and deductions), any
built-in gains recognized (or, according to an IRS notice, treated as recognized) during the sixty (60)
month period following the ownership change (up to the amount of the original net unrealized built-in
gain) generally will increase the annual limitation in the year recognized, such that the loss corporation (or
consolidated group) would be permitted to use its Pre-Change Losses against such built-in gain income in
addition to its regular annual allowance. Alternatively, if a corporation (or consolidated group) has a net
unrealized built-in loss at the time of an ownership change (taking into account most assets and items of
“built-in” income and deductions), then built-in losses (including, but not limited to, amortization or
depreciation deductions attributable to such built-in losses) recognized during the sixty (60) month period
following the “ownership change” (up to the amount of the original net unrealized built-in loss) generally
will be treated as Pre-Change Losses, the deductibility of which will be subject to the annual limitation.
Although the rule applicable to net unrealized built-in losses generally applies to consolidated groups on a
consolidated basis, certain corporations that joined the consolidated group within the preceding five (5)
years may not be able to be taken into account in the group computation of net unrealized built-in loss.
Such corporations would nevertheless still be taken into account in determining whether the consolidated
group has a net unrealized built-in gain. In general, a corporation’s (or consolidated group’s) net
unrealized built-in loss will be deemed to be zero unless it is greater than the lesser of (a) $10,000,000 or
(b) fifteen percent (15%) of the fair market value of its assets (with certain adjustments) before the
ownership change. It is currently uncertain whether the Fusion Tax Group will have a net unrealized
built-in loss or a net unrealized built-in gain as of the Effective Date.

Any unused annual limitation may be carried forward and therefore available to be utilized in a
subsequent taxable year. However, if the corporation (or consolidated group) does not continue its
historic business or use a significant portion of its historic assets in a new business for at least two (2)
years after the ownership change, the regular annual limitation resulting from the ownership change is
reduced to zero, thereby precluding any utilization of the corporation’s Pre-Change Losses, absent any
increases due to recognized built-in gains. Where a corporation (or consolidated group) is subject to one



                                                         100
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                                  Pg 529 of 565



or more prior annual limitations, each annual limitation applies, effectively subjecting any Pre-Change
Losses which pre-date the prior ownership change to the more restrictive of the limitations.

Under section 382(l)(5) of the Tax Code, an exception to the foregoing annual limitation rules generally
applies where qualified creditors of a debtor corporation receive, in respect of their claims, at least fifty
percent (50%) of the vote and value of the stock of the reorganized debtor (or a controlling corporation if
also in bankruptcy) pursuant to a confirmed chapter 11 plan. The Debtors do not anticipate that such
exception will apply in the present case.

                    3.        Transfer of Assets to, and Continuing Interest in, the Litigation Trust

Pursuant to the Second Amended Plan, on the Effective Date, the Debtors will transfer the Litigation
Trust Assets (including all of the Debtors’ right, title and interest in the Litigation Causes of Action) to
the Litigation Trust, on behalf of the holders of Allowed Second Lien Claims (if applicable) and Allowed
General Unsecured Claims. In addition, the Debtors will retain an interest in the Litigation Trust Assets.
As structured, the Litigation Trust is intended to be treated as a “liquidating trust” for federal income tax
purposes, and the transfer of the Litigation Trust Assets by the Debtors to the Litigation Trust (other than
the Litigation Trust First Lien Lender Causes of Action) is intended to be treated as an exchange of an
undivided interest in such assets to holders of Allowed Second Lien Claims (if applicable) and Allowed
General Unsecured Claims in full or partial satisfaction of their Claims. See Section C, “Tax Treatment
of Litigation Trust and Holders of Litigation Trust Interests,” below. Accordingly, the transfer of assets
by the Debtors may result in the recognition of gain or income by the Debtors, depending in part on the
value of such assets on the Effective Date and the Debtors’ tax basis in such assets, and thus a current tax
liability to the Debtors, in the event or to the extent available NOL carryforwards are insufficient (due to
existing limitations) to offset such income or gain. In addition, the Debtors may have additional income
or gain over time in respect of its continued interest in the Litigation Trust Assets.

There is no assurance, however, that the IRS will not take a contrary position as to the ownership of the
Litigation Trust Assets for U.S. federal income tax purposes, due to the retained interest. For example, it
is possible that the Debtors could continue to be viewed for U.S. federal income tax purposes as owners of
the Litigation Trust Assets (other than possibly the Litigation Trust First Lien Lender Causes of Action),
with an obligation to make contingent payments to the holders of Claims that received Litigation Trust
Interests. In such event, the U.S. federal income tax treatment to the Debtors would differ from those
described, in that the Debtors could have increased income or gain over time as the underlying causes of
action are resolved (rather than recognizing any income or gain on the exchange date), potentially with
partially offsetting deductions in respect of any contingent amounts actually payable to holders of
Allowed Second Lien Claims and Allowed General Unsecured Claims. All holders of Claims are urged
to consult their tax advisors regarding the U.S. federal income tax treatment of the Litigation Trust.

          B.        Consequences to Holders of Certain Claims

This summary discusses the U.S. federal income tax consequences to holders of Allowed First Lien
Claims, Allowed Second Lien Claims, and Allowed General Unsecured Claims who are U.S. Holders and
does not discuss tax consequences for those who are not U.S. Holders. As used herein, the term “U.S.
Holder” means a beneficial owner that is, for U.S. federal income tax purposes:

          •         an individual who is a citizen or resident of the United States;




                                                         101
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57                Main Document
                                                  Pg 530 of 565



          •         a corporation, or other entity taxable as a corporation for U.S. federal income tax
                    purposes, created or organized in or under the laws of the United States, any state thereof
                    or the District of Columbia;

          •         an estate the income of which is subject to U.S. federal income taxation regardless of its
                    source; or

          •         a trust, if a court within the United States is able to exercise primary jurisdiction over its
                    administration and one or more U.S. persons have authority to control all of its
                    substantial decisions, or if the trust has a valid election in effect under applicable
                    Treasury regulations to be treated as a U.S. person.

If a partnership or other entity or arrangement taxable as a partnership for U.S. federal income tax
purposes holds First Lien Claims, Second Lien Claims, General Unsecured Claims, New First Lien Term
Loans, Second Lien Warrants, or New Equity Interests, the tax treatment of a partner in such partnership
generally will depend upon the status of the partner and the activities of the partnership. Any partner in
such a partnership holding any of such instruments should consult its own tax advisor.

The U.S. federal income tax consequences of the Second Amended Plan to a U.S. Holder of Allowed First
Lien Claims depends, in part, on whether such Claim constitutes a “security” of Fusion Connect for U.S.
federal income tax purposes – which can differ for the Revolving Loans, the Tranche A Term Loans and
the Tranche B Term Loans – and whether the New First Lien Term Loan constitutes a “security” of
Fusion Connect. Similarly, the U.S. federal income tax consequences to a U.S. Holder of an Allowed
Second Lien Claim depends, in part, on whether such Claim constitutes a “security” of Fusion Connect
for U.S. federal income tax purposes. See “—1. Consequences to Holders of First Lien Claims” and
“—2. Consequences to Holders of Second Lien Claims and General Unsecured Claims,” below.

The term “security” is not defined in the Tax Code or in the Treasury regulations and has not been clearly
defined by judicial decisions. The determination of whether a particular debt obligation constitutes a
“security” depends on an overall evaluation of the nature of the debt, including whether the holder of such
debt obligation is subject to a material level of entrepreneurial risk and whether a continuing proprietary
interest is intended or not. One of the most significant factors considered in determining whether a
particular debt obligation is a security is its original term. In general, debt obligations issued with a
weighted average maturity at issuance of less than five (5) years do not constitute securities, whereas debt
obligations with a weighted average maturity at issuance of ten (10) years or more constitute securities.
Additionally, the IRS has ruled that new debt obligations with a term of less than five (5) years issued in
exchange for and bearing the same terms (other than interest rate) as securities should also be classified as
securities for this purpose, since the new debt represents a continuation of the holder’s investment in the
corporation in substantially the same form. The Tranche A Term Loans and the Revolving Loans had a
four (4) year maturity at original issuance and the Tranche B Term Loans had a five (5) year maturity at
the time of original issuance. Such loans, however, underwent a deemed reissuance for U.S. federal
income tax purposes in mid-April 2019 as a result of certain modifications.

Although the determination of whether a new instrument issued in exchange for an original instrument
constitutes a security is generally made by looking to the terms of the new instrument, based on the IRS
ruling mentioned above, that determination may be governed by whether the original instrument
constituted a security. The Second Lien Term Loans had a five and a half (5 1/2) year maturity at original
issuance. The discussion herein takes no position as to whether any of the First Lien Claims or Second
Lien Claims constitutes a security, but does assume that the New First Lien Term Loans (which will have
a four (4) year maturity) do not constitute a security. Each holder of a First Lien Claim or / and a



                                                         102
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                                  Pg 531 of 565



Second Lien Claim is urged to consult its own tax advisor regarding the appropriate status for U.S.
federal income tax purposes of its Claim and, if applicable, the New First Lien Term Loan.

As indicated above, the Special Warrants are economically equivalent to, and generally should be treated
the same, as New Equity Interests for U.S. federal income tax purposes; thus, for purposes of the tax
discussion herein, all references to New Equity Interests are intended to apply equally to the Special
Warrants (unless otherwise indicated).

                    1.        Consequences to Holders of First Lien Claims

Pursuant to the Second Amended Plan, holders of Allowed First Lien Claims generally will receive New
Equity Interests (and/or Special Warrants) and New First Lien Term Loans in complete and final
satisfaction of their First Lien Claims. A holder of an Allowed First Lien Claim that would otherwise
receive Special Warrants may, in lieu thereof, receive an alternative distribution; the following discussion
assumes that each holder receives New Equity Interests and/or Special Warrants.

As mentioned above, the U.S. federal income tax consequences of the Second Amended Plan to a U.S.
Holder of Allowed First Lien Claims depends, in part, on whether such Claim constitutes a “security” of
Fusion Connect for U.S. federal income tax purposes – which can differ for the Revolving Loans, the
Tranche A Term Loans and the Tranche B Term Loans – and whether the New First Lien Term Loan
constitutes a “security” of Fusion Connect. If an Allowed First Lien Claim does not constitute a security,
the receipt of consideration in satisfaction of such Claim will be a fully taxable transaction. Alternatively,
if the Claim is a security of Fusion Connect, the transaction will qualify for “recapitalization” treatment
for U.S. federal income tax purposes. Each of these alternatives is discussed below.

         (a) Fully Taxable Transaction—First Lien Claim that does not constitute a Security. If an
Allowed First Lien Claim does not constitute a security, the distribution to such U.S. Holder will be a
fully taxable transaction. In such event, a U.S. Holder of an Allowed First Lien Claim should generally
recognize gain or loss in an amount equal to the difference, if any, between (i) the sum of the fair market
value of the New Equity Interests received, the amount of cash received and either (a) the issue price (as
defined below) of the New First Lien Term Loan received or (b) in the event the New First Lien Term
Loan is considered a contingent payment debt obligation (as discussed below in B.7.b. — “Ownership and
Disposition of the New First Lien Term Loan – Treatment as a Contingent Payment Debt Instrument”),
the issue price of the New First Lien Term Loan increased by the fair market value of any contingent
payments on the New First Lien Term Loan (other than any consideration received in respect of a First
Lien Claim for accrued but unpaid interest and possibly accrued original issue discount, “OID”), and (ii)
the holder’s adjusted tax basis in the Allowed First Lien Claim exchanged (other than any tax basis
attributable to accrued but unpaid interest and possibly accrued OID). See B.45 — “Character of Gain or
Loss,” below. In addition, a U.S. Holder of an Allowed First Lien Claim will have ordinary interest
income to the extent of any exchange consideration allocable to accrued but unpaid interest (or accrued
OID) not previously included in income. See B.34 — “Distributions in Discharge of Accrued Interest,”
below.

         The “issue price” of the New First Lien Term Loan for U.S. federal income tax purposes depends
on whether, at any time during the 31-day period ending 15 days after the Effective Date, the New First
Lien Term Loan or the Tranche B Term Loan (regardless whether the holder’s Claim is a Tranche B
Term Loan) is considered traded on an “established market.” Pursuant to applicable Treasury
regulations, an “established market” need not be a formal market. It is sufficient if there is a readily
available sales price for an executed purchase or sale of the New First Lien Term Loan or the Tranche B
Term Loan, or if there are one or more “firm quotes” or “indicative quotes” with respect to the New First
Lien Term Loan or for the Tranche B Term Loan, in each case as such terms are defined in applicable

                                                         103
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57          Main Document
                                                  Pg 532 of 565



Treasury Rregulations. If the New First Lien Term Loan received is considered traded on an established
market, the issue price of the New First Lien Term Loan for U.S. federal income tax purposes will equal
its fair market value as of the Effective Date. If the New First Lien Term Loan is not considered traded
on an established market but the Tranche B Term Loan is so treated, the issue price of the New First Lien
Term Loan will be based on the fair market value of the Tranche B Term Loan (with appropriate
adjustments, such as for the fair market value of the New Equity Interests and any cash received).
Alternatively, if neither the New First Lien Term Loan nor the Tranche B Term Loan is considered traded
on an established market, the issue price of the New First Lien Term Loan generally will be its stated
principal amount. If the Debtors determine that the New First Lien Term Loan or the Tranche B Term
Loan is traded on an established market, such determination and the determination of issue price will be
binding on a U.S. Holder unless such holder discloses, on a timely-filed U.S. federal income tax return for
the taxable year that includes the Effective Date that such holder’s determination is different from
Debtors’ determination, the reasons for such holder’s different determination and, if applicable, how such
holder determined the fair market value.

In the case of a taxable exchange, a U.S. Holder of an Allowed First Lien Claim will have a tax basis in
the New First Lien Term Loan received equal to its issue price and a tax basis in the New Equity Interests
received equal to their fair market value. The U.S. Holder’s holding period in such New First Lien Term
Loan and New Equity Interests received should begin on the day following the exchange date.

         (b)     Recapitalization Treatment—First Lien Claim that Constitutes a Security. If an Allowed
First Lien Claim constitutes a security for U.S. federal income tax purposes, the distribution to such U.S.
Holder will qualify for recapitalization treatment for U.S. federal income tax purposes. In such event, a
U.S. Holder of an Allowed First Lien Claim generally will not recognize loss, but will recognize gain
(computed as described above in the case of a fully taxable exchange) to the extent of any “boot” received,
i.e., any consideration other than stock or “securities” of Fusion Connect. In the present case, the boot
received would equal the sum of the amount of any cash received and the amount taken into account with
respect to the New First Lien Term Loan in determining the amount of gain or loss in a fully taxable
exchange (assuming, for purposes of the discussion herein as indicated above, that the New First Lien
Term Loan does not constitute a “security”). See B.1.a. — “Consequences to Holders of First Lien
Claims – Fully Taxable Transaction”. In addition, even within an otherwise tax-free exchange, a U.S.
Holder will have interest income to the extent of any exchange consideration allocable to accrued but
unpaid interest (or OID) not previously included in income. See B.34 — “Distributions in Discharge of
Accrued Interest,” below.

In a recapitalization exchange, a U.S. Holder’s aggregate tax basis in the New Equity Interests will equal
such holder’s aggregate adjusted tax basis in its Allowed First Lien Claim exchanged therefor, increased
by any gain or interest income recognized in the exchange and decreased by the amount of boot received
in the exchange and any deductions claimed in respect of any previously accrued but unpaid interest or
OID. The U.S. Holder’s holding period in the New Equity Interests will include its holding period in the
Allowed First Lien Claim exchanged therefor, except to the extent of any exchange consideration received
in respect of accrued but unpaid interest (and possibly OID, depending on whether the increase in a
holder’s adjusted basis for recently accrued OID retains its short-term character for holding period
purposes).

The U.S. Holder will have a tax basis in the New First Lien Term Loan received equal to the amount
taken into account as boot with respect to the New First Lien Term Loan. The holding period in the New
First Lien Term Loan received generally will begin on the day following the Effective Date.




                                                         104
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57           Main Document
                                                  Pg 533 of 565



                    2.        Consequences to Holders of Second Lien Claims and General
                              Unsecured Claims

Pursuant to the Amended Plan:

          • holders of Allowed Second Lien Claims will receive Second Lien Warrants or, alternatively, if
          the class of Second Lien Claims do not vote to accept the Amended Plan, Litigation Trust
          Interests and New Equity Interests (and/or Special Warrants), in complete and final satisfaction
          of their Second Lien Claims; and

Pursuant to the Second Amended Plan, holders of Allowed Second Lien Claims generally will receive
Special Warrants (which, as indicated above, are generally treated like New Equity Interests for U.S.
federal income tax purposes and are thus referred to as New Equity Interests in this section B) in complete
and final satisfaction of their Second Lien Claims. A holder of an Allowed Second Lien Claim that would
otherwise receive Special Warrants may, in lieu thereof, receive an alternative distribution; the following
discussion assumes that each holder of Allowed Second Lien Claims receives Special Warrants.

As mentioned above, the U.S. federal income tax consequences to a U.S. Holder of an Allowed Second
Lien Claim depends, in part, on whether such Claim constitutes a “security” of Fusion Connect for U.S.
federal income tax purposes. If an Allowed Second Lien Claim does not constitute a security, the receipt
of consideration in satisfaction of such Claim will be a fully taxable transaction. Alternatively, if the
Claim is a security of Fusion Connect, the transaction will qualify for “recapitalization” treatment for
U.S. federal income tax purposes. Each of these alternatives is discussed below.

        (a) Fully Taxable Transaction—Second Lien Claim that Does Not Constitute a Security. A
U.S. Holder of an Allowed Second Lien Claim that does not constitute a security for U.S. federal income
tax purposes should recognize gain or loss in an amount equal to the difference, if any, between (i) the fair
market value of any New Equity Interests received (other than any consideration received in respect of a
Claim for accrued but unpaid interest and possibly accrued OID) and (ii) the holder’s adjusted tax basis in
the Claim exchanged (other than any tax basis attributable to accrued but unpaid interest and possibly
accrued OID). See B.5 — “Character of Gain or Loss,” below. In addition, a U.S. Holder of an Allowed
Second Lien Claim will have ordinary interest income to the extent of any exchange consideration
allocable to accrued but unpaid interest (or accrued OID) not previously included in income. See B.4 —
“Distributions in Discharge of Accrued Interest,” below.

In the case of a taxable exchange, a U.S. Holder of Allowed Second Lien Claims will have a tax basis in
the New Equity Interests received equal to their fair market value. A U.S. Holder’s holding period in any
such New Equity Interests generally will begin the day following the exchange date.

        (b)     Recapitalization Treatment—Second Lien Claim Constitutes a Security. If an Allowed
Second Lien Claim constitutes a security for U.S. federal income tax purposes, the distribution to such
U.S. Holder will qualify for recapitalization treatment for U.S. federal income tax purposes. In such
event, a U.S. Holder of an Allowed Second Lien Claim generally will not recognize loss, and generally
will not recognize gain. Even within an otherwise tax-free exchange, a U.S. Holder will have interest
income to the extent of any exchange consideration allocable to accrued but unpaid interest (or OID) not
previously included in income. See B.4 — “Distributions in Discharge of Accrued Interest,” below.

In a recapitalization exchange, a U.S. Holder’s aggregate tax basis in the New Equity Interests generally
will equal such holder’s aggregate adjusted tax basis in its Allowed Second Lien Claim exchanged
therefor, increased by any gain or interest income recognized in the exchange and decreased by any
deductions claimed in respect of any previously accrued but unpaid interest or OID. The U.S. Holder’s

                                                         105
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57           Main Document
                                                  Pg 534 of 565



holding period in the New Equity Interests will include its holding period in the Allowed Second Lien
Claim exchanged therefor, except to the extent of any exchange consideration received in respect of
accrued but unpaid interest (and possibly OID, depending on whether the increase in a holder’s adjusted
basis for recently accrued OID retains its short-term character for holding period purposes).

                    3.        Consequences to Holders of General Unsecured Claims

•Pursuant to the Second Amended Plan, holders of Allowed General Unsecured Claims will receive
Litigation Trust Interests in complete and final satisfaction of their General Unsecured Claims.

As discussed below (see Section C, “Tax Treatment of Litigation Trust and Holders of Litigation Trust
Interests”), the Litigation Trust has been structured to qualify as a “grantor trust” for U.S. federal income
tax purposes. Accordingly, each holder of an Allowed General Unsecured Claim receiving a Litigation
Trust Interest is intended to be treated for U.S. federal income tax purposes as directly receiving, and as a
direct owner of, an undivided interest in the Litigation Trust Assets (consistent with its economic rights in
the trust). Accordingly, the following discussion assumes such treatment. However, due to the Debtors’
retained interest in the Litigation Trust Assets (other than the Litigation Trust First Lien Lender Causes of
Action), it is possible that the Debtors could continue to be viewed for U.S. federal income tax purposes
as the owners of such assets, with an obligation to make contingent payments to the Litigation Trust.
Each holder of a Second Lien Claim and General Unsecured Claim is urged to consult its tax advisor
regarding the U.S. federal income tax treatment of the Litigation Trust. Pursuant to the Second Amended
Plan, the Litigation Trust Oversight Committee will determine the fair market value of the non-cash assets
transferred to the Liquidating Trust, and all parties to the Liquidating Trust (including holders of Allowed
General Unsecured Claims receiving Liquidating Trust Interests) must consistently use such valuation for
all U.S. federal income tax purposes.

After the Effective Date, a holder’s share of any recoveries received on the assets of the Litigation Trust
(other than as a result of the subsequent disallowance of Disputed Claims) should not be included, for
federal income tax purposes, in the holder’s amount realized in respect of its Allowed Claim but should be
separately treated as amounts realized in respect of such holder's ownership interest in the underlying
assets of the Liquidating Trust.

As mentioned above, the U.S. federal income tax consequences to a U.S. Holder of an Allowed Second
Lien Claim depends, in part, on whether such Claim constitutes a “security” of Fusion Connect for U.S.
federal income tax purposes. If an Allowed Second Lien Claim does not constitute a security, the receipt
of consideration in satisfaction of such Claim will be a fully taxable transaction. Alternatively, if the
Claim is a security of Fusion Connect, the transaction will qualify for “recapitalization” treatment for
U.S. federal income tax purposes. Each of these alternatives is discussed below.

In addition, the U.S. federal income tax consequences to U.S. Holders of an Allowed General Unsecured
Claim and, if receiving Litigation Trust Interests, Allowed Second Lien Claims depends, in part, on the
treatment of such holders’ receipt of an undivided interest in the Litigation Trust First Lien Lender Causes
of Action. Pursuant to the Amended Plan, holders of Allowed First Lien Claims will transfer such causes
of actions to the Litigation Trust. It is possible that the fair market value of the undivided interest
received in suchthe Litigation Trust First Lien Lender cCauses of aAction may be treated as ordinary
income to U.S. Holders of Allowed General Unsecured Claims and, if receiving Litigation Trust Interests,
Allowed Second Lien Claims as some form of payment to accept or not to object to the Second Amended
Plan, rather than as additional consideration in respect of their Claim for purposes of determining gain or
loss. The following discussion assumes such amounts are treated as additional consideration in respect of
their Claims, but each holder should consult its own tax advisor.



                                                         106
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                                  Pg 535 of 565



        (a) Fully Taxable Transaction—Second Lien Claim that Does Not Constitute a Security and
General Unsecured Claims. A U.S. Holder of an Allowed Second Lien Claim that does not constitute a
security for U.S. federal income tax purposes andAccordingly, a U.S. Holder of an Allowed General
Unsecured Claim generally should recognize gain or loss in an amount equal to the difference, if any,
between (i) the sum of the fair market value of any Second Lien Warrants or New Equity Interests
received and, with respect to any Litigation Trust Interests received, the amount of any cash and the fair
market value of the undivided interest in the Litigation Trust Causes of Action deemed received by the
holder for U.S. federal income tax purposes (other than any consideration received in respect of a Claim
for accrued but unpaid interest and possibly accrued OID), and (ii) the holder’s adjusted tax basis in the
Claim exchanged (other than any tax basis attributable to accrued but unpaid interest and possibly
accrued OID). See B.45 — “Character of Gain or Loss,” below. In addition, a U.S. Holder of an
Allowed General Unsecured Claim will have ordinary interest income to the extent of any exchange
consideration allocable to accrued but unpaid interest (or accrued OID) not previously included in income.
See B.34 — “Distributions in Discharge of Accrued Interest,” below.

After the Effective Date, a holder’s share of any recoveries received on the assets of the Litigation Trust
(other than as a result of the subsequent disallowance of Disputed Claims) should not be included, for
federal income tax purposes, in the holder’s amount realized in respect of its Allowed General Unsecured
Claim but should be separately treated as amounts realized in respect of such holder's ownership interest
in the underlying assets of the Liquidating Trust.

In the event of the subsequent disallowance of any Disputed General Unsecured Claim, it is possible that a
holder of a previously Allowed Second Lien Claim (if also receiving Litigation Trust Interests) and a
holder of a previously Allowed General Unsecured Claim may receive additional distributions in respect
of its Claim. Accordingly, it is possible that the recognition of any loss realized by a holder with respect
to an Allowed Second Lien Claim or Allowed General Unsecured Claim may be deferred until all General
Unsecured Claims are Allowed or Disallowed. Alternatively, it is possible that a holder will have
additional gain in respect of any additional distributions received due to the disallowance of a Disputed
General Unsecured Claim. See also Section C, “Tax Treatment of Litigation Trust and Holders of
Litigation Trust Interests,” below.

In the case of a taxable exchange, a A U.S. Holder of Allowed Second LienGeneral Unsecured Claims
will have a tax basis in the New Second Lien Warrants or New Equity Interests received equal to their fair
market value. A U.S. holder’san aggregate tax basis in its undivided interest in the Litigation Trust
Assets will equal to the fair market value of such interest increased by its share of the Debtors’ liabilities
to which such assets remain subject upon transfer to the Litigation Trust. A U.S. Holder’s holding period
in any such Second Lien Warrants, New Equity Interests and Litigation Trust Assets generally will begin
the day following the exchange date.

         (b)    Recapitalization Treatment—Second Lien Claim Constitutes a Security. If an Allowed
Second Lien Claim constitutes a security for U.S. federal income tax purposes, the distribution to such
U.S. Holder will qualify for recapitalization treatment for U.S. federal income tax purposes. In such
event, a U.S. Holder of an Allowed Second Lien Claim generally will not recognize loss, but will
recognize gain (computed as described above in the case of a fully taxable exchange) to the extent of any
“boot” received, i.e., the amount of cash and the fair market value of its undivided interest in the
Litigation Trust Causes of Action deemed received. In addition, even within an otherwise tax-free
exchange, a U.S. Holder will have interest income to the extent of any exchange consideration allocable to
accrued but unpaid interest (or OID) not previously included in income. See B.3 — “Distributions in
Discharge of Accrued Interest,” below.




                                                         107
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                                  Pg 536 of 565



In the event of the subsequent disallowance of any Disputed General Unsecured Claim, it is possible that a
holder of a previously Allowed Second Lien Claim (if also receiving Litigation Trust Interests) and a
holder of a previously Allowed General Unsecured Claim may receive additional distributions in respect
of its Claim. Accordingly, it is possible that a holder will have additional gain in respect of any
additional distributions received due to the disallowance of a Disputed General Unsecured Claim. See
also Section C, “Tax Treatment of Litigation Trust and Holders of Litigation Trust Interests,” below.

In a recapitalization exchange, a U.S. Holder’s aggregate tax basis in the Second Lien Warrants or New
Equity Interests will equal such holder’s aggregate adjusted tax basis in its Allowed Second Lien Claim
exchanged therefor, increased by any gain or interest income recognized in the exchange and decreased by
the amount of boot received in the exchange and any deductions claimed in respect of any previously
accrued but unpaid interest or OID. The U.S. Holder’s holding period in the Second Lien Warrants or
New Equity Interests will include its holding period in the Allowed Second Lien Claim exchanged
therefor, except to the extent of any exchange consideration received in respect of accrued but unpaid
interest (and possibly OID, depending on whether the increase in a holder’s adjusted basis for recently
accrued OID retains its short-term character for holding period purposes).

A U.S. Holder’s aggregate tax basis in its undivided interest in the Liquidating Trust Assets, if received,
will equal the fair market value of such interest increased by its share of the Debtors’ liabilities to which
such assets remain subject upon transfer to the Liquidating Trust, and a holder’s holding period generally
will begin the day following the exchange date.

                    4.        3. Distributions in Discharge of Accrued Interest

In general, to the extent that any exchange consideration received pursuant to the Second Amended Plan
by a U.S. Holder of an Allowed First Lien Claim, Second Lien Claim or General Unsecured Claim
(whether stock, notes or cash) is received in satisfaction of interest accrued during its holding period, such
amount will be taxable to the holder as interest income (if not previously included in the holder’s gross
income). Conversely, a U.S. Holder may be entitled to recognize a deductible loss to the extent any
accrued interest or amortized OID was previously included in its gross income and is not paid in full.
However, the IRS has privately ruled that a holder of a “security” of a corporate issuer, in an otherwise
tax-free exchange, could not claim a current deduction with respect to any unpaid OID. Accordingly, it is
also unclear whether, by analogy, a U.S. Holder of an Allowed First Lien Claim or an Allowed Second
Lien Claim that does not constitute a “security” would be required to recognize a capital loss, rather than
an ordinary loss, with respect to previously included OID that is not paid in full.

The Second Amended Plan provides that, except as otherwise required by law (as reasonably determined
by the Debtors), consideration received in respect of an Allowed Claim is allocable first to the principal
amount of the Allowed Claim (as determined for U.S. federal income tax purposes) and then, to the extent
of any excess, to the remaining portion of the Allowed Claim. See Section 6.17 of the Second Amended
Plan. There is no assurance that the IRS will respect such allocation for U.S. federal income tax
purposes. Holders of Allowed Claims are urged to consult their own tax advisor regarding the
allocation of consideration received under the Second Amended Plan, as well as the deductibility of
accrued but unpaid interest (including OID) and the character of any loss claimed with respect to
accrued but unpaid interest (including OID) previously included in gross income for U.S. federal income
tax purposes.

                    5.        4. Character of Gain or Loss

Where gain or loss is recognized by a U.S. Holder, the character of such gain or loss as long-term or
short-term capital gain or loss or as ordinary income or loss will be determined by a number of factors,

                                                         108
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57             Main Document
                                                  Pg 537 of 565



including the tax status of the holder, whether the Claim constitutes a capital asset in the hands of the
holder and how long it has been held, whether the Claim was acquired at a market discount, and whether
and to what extent the holder previously claimed a bad debt deduction.

A U.S. Holder that purchased its Claims from a prior holder at a “market discount” (relative to the
principal amount of the Claims at the time of acquisition) may be subject to the market discount rules of
the Tax Code. In general, a debt instrument is considered to have been acquired with “market discount” if
the U.S. Holder’s adjusted tax basis in the debt instrument is less than (i) its stated principal amount or
(ii) in the case of a debt instrument issued with OID, its adjusted issue price, in each case, by at least a de
minimis amount. Under these rules, any gain recognized on the exchange of Claims (other than in respect
of a Claim for accrued but unpaid interest) generally will be treated as ordinary income to the extent of
the market discount accrued (on a straight line basis or, at the election of the holder, on a constant yield
basis) during the U.S. Holder’s period of ownership, unless the holder elected to include the market
discount in income as it accrued. If a U.S. Holder of a Claim did not elect to include market discount in
income as it accrued and, thus, under the market discount rules, was required to defer all or a portion of
any deductions for interest on debt incurred or maintained to purchase or carry its Claim, such deferred
amounts would become deductible at the time of the exchange but, if the exchange qualifies for
recapitalization treatment, only up to the amount of gain that the holder recognizes in the exchange.

In the case of an exchange of an Allowed First Lien Claim or Allowed Second Lien Claim that qualifies
for recapitalization treatment, the Tax Code indicates that any accrued market discount in respect of the
Claim should not be currently includible in income under Treasury Regulations to be issued. Any accrued
market discount that is not included in income should carry over to any nonrecognition property received
in exchange therefor, i.e., to the New Equity Interests or Second Lien Warrants received. Any gain
recognized by a U.S. Holder upon a subsequent disposition of such New Equity Interests or Second Lien
Warrants (or disposition of any New Equity Interests received upon exercise of the Second Lien
Warrants) should then be treated as ordinary income to the extent of any accrued market discount not
previously included in income. To date, specific Treasury Regulations implementing this rule have not
been issued.

                    5. Ownership and Disposition of Second Lien Warrants; Constructive
                         Distributions to Holders of New Equity Interests

A U.S. Holder of a Second Lien Warrant generally will not recognize gain or loss upon the exercise of
such warrant. A U.S. Holder’s tax basis in the New Equity Interests received upon exercise of a Second
Lien Warrant will be equal to the sum of the holder’s tax basis in the Second Lien Warrant and the
exercise price. The holder will commence a new holding period with respect to the New Equity Interests
received.

If the terms of the Second Lien Warrant provide for any adjustment to the number of shares of New
Equity Interests for which the Second Lien New Warrant may be exercised or to the exercise price of the
Second Lien Warrants, such adjustment may, under certain circumstances, result in constructive
distributions that could be taxable to the holder of the Second Lien Warrants. Conversely, the absence of
an appropriate adjustment may result in a constructive distribution that could be taxable to the holders of
the New Equity Interests.

Upon the lapse or disposition of a Second Lien Warrant, the U.S. Holder generally would recognize gain
or loss equal to the difference between the amount received (zero in the case of a lapse) and its tax basis in
the warrant. In general, such gain or loss would be a capital gain or loss, long-term or short-term,
depending on whether the requisite holding period was satisfied.


                                                         109
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57              Main Document
                                                  Pg 538 of 565



                    6.        Disposition of New Equity Interests

Unless a nonrecognition provision applies and subject to the discussion in the preceding section with
respect to market discount and the discussion below, U.S. Holders generally will recognize capital gain or
loss upon the sale or exchange of the New Equity Interests in an amount equal to the difference between
(i) the holder’s adjusted tax basis in the New Equity Interests held and (ii) the sum of the cash and the fair
market value of any property received from such disposition. Any such gain or loss generally should be
long-term capital gain or loss if the U.S. Holder’s holding period for its New Equity Interests is more than
one year at that time. A reduced tax rate on long-term capital gain may apply to non-corporate U.S.
Holders. The deductibility of capital loss is subject to significant limitations.

In general, any gain recognized by a U.S. Holder upon a disposition of the New Equity Interests (or any
stock or property received for such interests in a later tax-free exchange) received in exchange for an
Allowed First Lien Claim or an Allowed Second Lien Claim will be treated as ordinary income for U.S.
federal income tax purposes to the extent of (i) any ordinary loss deductions previously claimed as a result
of the write-down of the Claim, decreased by any income (other than interest income) recognized by the
holder upon exchange of the Claim, and (ii) with respect to a cash-basis holder and in addition to clause
(i) above, any amounts which would have been included in its gross income if the holder’s Claim had been
satisfied in full but which was not included by reason of the cash method of accounting.

                    7.        Ownership and Disposition of the New First Lien Term Loan

Based on the preliminary terms of the New First Lien Term Loan that mandate its repayment, in whole or
in part, upon the occurrence of certain contingencies (including excess cash flow), it is possible that, the
New First Lien Term Loan may be treated as a “contingent payment debt instrument” under the applicable
Treasury Regulations (unless such contingencies would be treated as “remote” thereunder). The terms of
the New First Lien Term Loan remain under negotiation and thus are subject to change. Ultimately, the
Debtors’ determination of whether the New First Lien Term Loan is a contingent payment debt instrument
will be made based on the facts and circumstances as of the Effective Date. However, the Debtors’
treatment of the New First Lien Term Loan is not binding on the IRS. Accordingly, holders are urged to
consult their tax advisors regarding the application of the contingent payment debt regulations to the
New First Lien Term Loan.

         The taxation of contingent payment debt instruments is complex. In general, the rules applicable
to such instruments could require a U.S. Holder to accrue ordinary income at a higher rate than the stated
interest rate and the rate that would otherwise be imputed under the OID rules, and to treat as ordinary
income (rather than capital gain) any gain recognized on the taxable disposition of the New First Lien
Term Loan.

         (a)     Not Treated as a Contingent Payment Debt Instrument. If the New First Lien Term
Loan is not treated as a contingent payment debt instrument, it will be subject to the OID provisions of the
Tax Code. The amount of OID will be equal to the excess of the “stated redemption price at maturity” of
such loan over its “issue price” (as defined above, see B.1.a. — Consequences to Holders of First Lien
Claims – Fully Taxable Transaction”). For this purpose, the general rule is that the stated redemption
price at maturity of a debt instrument is the sum of all payments provided by the debt instrument other
than payments of “qualified stated interest”. Stated interest is “qualified stated interest” if it is payable in
cash at least annually. All of the stated interest on the New First Lien Term Loan is payable in cash at a
constant rate, and so all the interest is expected to be treated as qualified stated interest. Such portion will
be includible in the U.S. Holder’s income in accordance with the holder’s regular method of accounting
for U.S. federal income tax purposes. Accordingly, the New First Lien Term Loan will be considered to


                                                         110
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                                  Pg 539 of 565



be issued with OID for U.S. federal income tax purposes only if the principal amount of the New First
Lien Term Loan exceeds the issue price by at least a de minimis amount.

A U.S. Holder will be required to include any OID in income for U.S. federal income tax purposes as it
accrues, regardless of its regular method of accounting, in accordance with a constant-yield method,
before the receipt of cash payments attributable to this income. Under this method, a U.S. Holder
generally will be required to include in income increasingly greater amounts of OID in successive accrual
periods.

Upon the sale or other taxable disposition of a New First Lien Term Loan, a U.S. Holder will recognize
taxable gain or loss equal to the difference between the amount realized on the sale or other taxable
disposition and its adjusted tax basis in the New First Lien Term Loan. A U.S. Holder’s adjusted tax
basis in a New First Lien Term Loan generally will equal its initial tax basis in the New First Lien Term
Loan, increased by any OID previously included in income with respect to the New First Lien Term Loan
and decreased by payments on the New First Lien Term Loan other than payments of qualified stated
interest. For these purposes, the amount realized does not include any amount attributable to accrued
interest, which will be taxable as interest if not previously included in income. Gain or loss recognized on
the sale or other taxable disposition of a New First Lien Term Loan will generally be capital gain or loss
and will be long-term capital gain or loss if, at the time of sale or other taxable disposition, the New First
Lien Term Loan is treated as held for more than one (1) year.

         (b)     Treatment as a Contingent Payment Debt Instrument. If the New First Lien Term Loan
is treated as a contingent payment debt instrument, the Debtors must construct a “projected payment
schedule.” U.S. Holders of contingent payment debt instruments generally must recognize all interest
income with respect to such loans (including stated interest) on a constant yield basis (regardless of their
method of accounting) at a rate determined based on the “issue price” and the projected payment schedule
for such loans, subject to certain adjustments if actual contingent payments differ from those projected. In
the present case, the projected payment schedule generally will be determined by including each
noncontingent payment and the “expected value” as of the issue date of each projected contingent payment
of principal and interest on the contingent payment debt instrument, adjusted as necessary so that the
projected payments discounted at the “comparable yield” (which is the greater of the yield at which the
Debtors would issue a fixed-rate debt instrument with terms and conditions similar to those of the
contingent payment debt instrument, as applicable, or the applicable federal rate) equals the issue price for
such debt.

The amount of interest that is treated as accruing during an accrual period on a contingent payment debt
instrument is the product of the “comparable yield” and debt’s adjusted issue price at the beginning of
such accrual period. The “adjusted issue price” of a contingent payment debt instrument is the issue price
of such debt increased by interest previously accrued on such instrument (determined without adjustments
for differences between the projected payments and the actual payments on such debt), and decreased by
the amount of any noncontingent payments and the projected amount of any contingent payments
previously made on such debt.

Except for adjustments made for differences between actual and projected payments, the amount of
interest included in income by a U.S. Holder of a contingent payment debt instrument is the portion that
accrues while such holder holds such instrument (with the amount attributable to each accrual period
allocated ratably to each day in such period). If actual payments differ from projected payments, then the
U.S. Holder generally would be required in any given taxable year either to include additional interest in
gross income (i.e., where the actual payments exceed projected payments in such taxable year) or to
reduce the amount of interest income otherwise accounted for on the contingent payment debt instrument
(i.e., where the actual payments are less than the projected payments in such taxable year), as applicable.

                                                         111
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57           Main Document
                                                  Pg 540 of 565



If the negative adjustment exceeds the interest for the taxable year that otherwise would have been
accounted for on the contingent payment debt instrument, the excess would be treated as ordinary loss.
However, the amount treated as an ordinary loss in any taxable year is limited to the amount by which the
U.S. Holder’s total interest inclusions on such contingent payment debt instrument exceed the total
amount of the net negative adjustments the U.S. Holder treated as ordinary loss on such contingent
payment debt instrument in prior taxable years. Any remaining excess would be a negative adjustment
carryforward and may be used to offset interest income in succeeding years. If a contingent term loan is
sold, exchanged or retired, any negative adjustment carryforward from the prior year would reduce the
U.S. Holder’s amount realized on the sale, exchange or retirement.

The yield, timing and amounts set forth on the projected payment schedules are for U.S. federal income
tax purposes only and are not assurances by the Debtors with respect to any aspect of the contingent
payment debt instrument. After issuance, any holder of a contingent payment debt instrument may obtain
the comparable yield, the projected payment schedule, the issue price, the amount of OID, and the issue
date for the contingent payment debt instrument by writing to the Debtors. For U.S. federal income tax
purposes, a U.S. Holder generally must use the Debtors’ comparable yield and projected payment
schedule for a contingent payment debt instrument in determining the amount and accrual of OID on such
loan unless such schedule is unreasonable and the U.S. Holder explicitly discloses in accordance with the
contingent payment debt regulations its differing position and why the Debtors’ schedule is unreasonable.
The IRS generally is bound by the Debtors’ comparable yield and projected payment schedule unless
either is unreasonable.

Upon a disposition of the New First Lien Term Loans and unless a non-recognition provision applies, a
U.S. Holder generally will recognize gain or loss upon the sale, redemption (including at maturity) or
other taxable disposition of a contingent payment debt instrument equal to the difference, if any, between
such holder’s adjusted tax basis in such debt and the amount realized on the sale, redemption or other
disposition (with any negative adjustment carryforward from the prior year reducing such holder’s amount
realized). Any gain recognized on the sale, redemption or other taxable disposition of a contingent
payment debt instrument generally will be ordinary interest income, and any loss will be an ordinary loss
to the extent a U.S. Holder’s total interest inclusions on such debt exceed the total amount of ordinary loss
such holder took into account through the date of the disposition with respect to differences between
actual payments and projected payments (and any additional loss generally will be a capital loss).

For purposes of computing gain or loss, a U.S. Holder’s adjusted tax basis in a contingent payment debt
instrument generally will equal the holder’s initial tax basis in such debt, increased by the amount of any
interest previously accrued on such debt (determined without adjustments for differences between the
projected payment schedule and the actual payments on such debt) up through the date of the sale,
redemption or taxable disposition, and decreased by the amount of any noncontingent payments and the
projected amount of any contingent payments previously made on such debt.

Each holder of a New First Lien Term Loan is urged to consult its tax advisor regarding the application
of the OID rules, including the contingent payment debt rules, to the New First Lien Term Loan.

                    8.        Recent legislation

Pursuant to recent legislation, for taxable years beginning after December 31, 2017 (and for taxable years
beginning after 2018 in the case of OID), an accrual method taxpayer that reports revenues on an
applicable financial statement generally must recognize income for U.S. federal income tax purposes no
later than the taxable year in which such income is taken into account as revenue in the applicable
financial statement. It is unclear how this rule applies to U.S. Holders of debt instruments issued with
OID or contingent payment debt instruments. Accordingly, this rule could potentially require such a

                                                         112
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57              Main Document
                                                  Pg 541 of 565



taxpayer to recognize income for U.S. federal income tax purposes with respect to the New First Lien
Term Loan prior to the time such income would otherwise have been recognized. Each holder is urged to
consult its tax advisor regarding the possible application of the recent legislation to the New First Lien
Term Loan.

          C.        Tax Treatment of Litigation Trust and Holders of Litigation Trust Interests

                    1.        Classification of a Liquidating Trust

The Litigation Trust is intended to qualify as a “liquidating trust” for U.S. federal income tax purposes.
In general, a liquidating trust is not a separate taxable entity but rather is treated for U.S. federal income
tax purposes as a “grantor” trust (i.e., a pass-through entity). The IRS, in Revenue Procedure 94-45,
1994-2 C.B. 684, set forth the general criteria for obtaining an IRS ruling as to the grantor trust status of
a liquidating trust under a chapter 11 plan. The Litigation Trust will be structured with the intention of
complying with such general criteria. In conformity with Revenue Procedure 94-45, all parties (including,
without limitation, the Debtors, the trustee of the Litigation Trust and holders of Allowed Claims that
receive a beneficial interest in the Litigation Trust) are required pursuant to the Second Amended Plan to
treat the transfer of assets to the Litigation Trust, except to the extent the Debtors retain an interest in the
Litigation Trust, as (1) a transfer of the assets (subject to any obligations relating to those assets) directly
to the holders of Allowed Claims that receive Litigation Trust Interests (other than to the extent any assets
are allocable to Disputed Claims), followed by (2) the transfer of the assets by such holders to the
Litigation Trust in exchange for Litigation Trust Interests. Accordingly, except in the event of contrary
definitive guidance, holders of Litigation Trust Interests will be treated, and required to report, for U.S.
federal income tax purposes as the grantors and direct owners of an undivided interest in their respective
share of the underlying assets of the Litigation Trust (other than such assets as are allocable to Disputed
Claims).

Although the following discussion assumes that the Litigation Trust will be respected as a liquidating trust
for U.S. federal income tax purposes, no ruling is currently contemplated from the IRS concerning the tax
status of the Litigation Trust as a grantor trust.      If the IRS were to successfully challenge such
classification, the U.S. federal income tax consequences to the trust and to U.S. Holders of Allowed
Claims receiving Litigation Trust Interests could vary from those discussed herein. Each holder of a
General Unsecured Claim and Second Lien Claim is urged to consult its own tax advisor regarding the
receipt and ownership of a Litigation Trust Interest.

                    2.        General Tax Reporting of a Liquidating Trust and Holders of
                              Liquidating Trust Interests

All parties will be required to treat the Litigation Trust as a grantor trust for all applicable U.S. federal
income tax purposes of which holders of Allowed Claims who receive Litigation Trust Interests are the
owners and grantors. The trustee of the Litigation Trust will file tax returns treating the Litigation Trust
as a grantor trust pursuant to section 1.671-4(a) of the Treasury Regulations. The trustee also will
annually provide to each holder a separate statement regarding the receipts and expenditures of the
Litigation Trust as relevant for U.S. federal income tax purposes.

Accordingly, each holder of a Litigation Trust Interest will be treated for U.S. federal income tax
purposes as the direct owner of an undivided interest in the underlying assets of the Litigation Trust (other
than any assets allocable to Disputed Claims), consistent with its economic interests therein. As discussed
above, however, there is a risk that the Litigation Trust may be treated as owning a right to contingent
payments from the Debtors, rather than having actual ownership of the Litigation Trust Assets (other than


                                                         113
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57             Main Document
                                                  Pg 542 of 565



the Litigation Trust First Lien Lender Causes of Action). See Section B.23, “Consequences to Holders of
Certain Claims – Consequences to Holders of Second Lien Claims and General Unsecured Claims,”
above.

All taxable income and loss of the Litigation Trust will be allocated among, and treated as directly earned
and incurred by, the holders of Litigation Trust Interests with respect to such holder’s interest in the assets
of the Litigation Trust (and not as income or loss with respect to its prior Claims), with the possible
exception of any taxable income and loss allocable to any assets allocable to, or retained on account of,
Disputed Claims. The character of any income and the character and ability to use any loss would depend
on the particular situation of the holder.

All parties will be required to report for U.S. federal income tax purposes consistent with the valuation of
the assets (and the amount of cash assets) transferred to the Litigation Trust as determined by the
Litigation Trust Oversight Committee (or its designee). The valuation will be made available, from time
to time, as relevant for tax reporting purposes.

The U.S. federal income tax obligations of a holder of Litigation Trust Interests will not be dependent on
the Litigation Trust distributing any cash or other proceeds. Thus, a holder may incur a U.S. federal
income tax liability with respect to its allocable share of Litigation Trust income even if the Litigation
Trust does not make a concurrent distribution to the holder. In general, other than in respect of cash
retained on account of Disputed Claims, a distribution of cash by the Litigation Trust will not be
separately taxable to a holder of Litigation Trust Interests since the holder will already be regarded for
U.S. federal income tax purposes as owning the underlying assets (and will have been taxed at the time
the cash was earned or received by the Litigation Trust). Holders of Allowed Claims are urged to consult
their tax advisors regarding the appropriate U.S. federal income tax treatment of any subsequent
distributions of cash originally retained by the Litigation Trust on account of Disputed Claims. See also
“—3. Tax Reporting for Assets Allocable to Disputed General Unsecured Claims,” below.

The trustee of the Litigation Trust will comply with all applicable governmental withholding requirements
(see section 6.19 of the Second Amended Plan).

                    3.        Tax Reporting for Assets Allocable to Disputed General Unsecured
                              Claims

Subject to definitive guidance from the IRS or a court of competent jurisdiction to the contrary (including
the receipt by the Litigation Trust Oversight Committee of an IRS private letter ruling if the Litigation
Trust Oversight Committee so requests, or the receipt of an adverse determination by the IRS upon audit
if not contested by the Litigation Trust Oversight Committee), the Litigation Trust Oversight Committee,
with the consent of the Requisite First Lien Lenders, which consent shall not be unreasonably withheld,
(A) may elect to treat any Litigation Trust Assets allocable to, or retained on account of, Disputed
General Unsecured Claims (herein referred to loosely as a reserve) as a “disputed ownership fund”
governed by section 1.468B-9 of the Treasury Regulations, if applicable, and (B) to the extent permitted
by applicable law, will report consistently for state and local income tax purposes.

Accordingly, if a “disputed ownership fund” election is made with respect to a Litigation Trust Assets
allocable to, or retained on account of, Disputed General Unsecured Claims, such reserve will be subject
to tax annually on a separate entity basis on any net income earned with respect to the Litigation Trust
Assets (including any gain recognized upon the disposition of such assets). All distributions from such
reserve (which distributions may be net of any expenses, including taxes, relating to the retention or
disposition of such assets) will be treated as received by holders in respect of their Claims as if distributed
by the Debtors. All parties (including, without limitation, the Debtors, the Litigation Trust and the

                                                         114
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57              Main Document
                                                  Pg 543 of 565



holders of Litigation Trust Interests) will be required to report for tax purposes consistently with the
foregoing.

The reserve will be responsible for payment, out of the assets of the reserve, of any taxes imposed on the
reserve or its assets. In the event, and to the extent, any cash of the reserve is insufficient to pay the
portion of any such taxes attributable to the taxable income arising from the assets of the reserve
(including any income that may arise upon the distribution of the assets in such reserve), assets of the
reserve may be sold to pay such taxes.

          D.        Information Reporting and Withholding

Payments of interest (including accruals of OID) or dividends and any other reportable payments, possibly
including amounts received pursuant to the Second Amended Plan and payments of proceeds from the
sale, retirement or other disposition of the exchange consideration, may be subject to “backup
withholding” (currently at a rate of 24%) if a recipient of those payments fails to furnish to the payor
certain identifying information and, in some cases, a certification that the recipient is not subject to
backup withholding. Backup withholding is not an additional tax. Any amounts deducted and withheld
generally should be allowed as a credit against that recipient’s U.S. federal income tax, provided that
appropriate proof is timely provided under rules established by the IRS. Furthermore, certain penalties
may be imposed by the IRS on a recipient of payments who is required to supply information but who
does not do so in the proper manner. Backup withholding generally should not apply with respect to
payments made to certain exempt recipients, such as corporations and financial institutions. Information
may also be required to be provided to the IRS concerning payments, unless an exemption applies. A
holder of a Claim is urged to consult its own tax advisor regarding its qualification for exemption from
backup withholding and information reporting and the procedures for obtaining such an exemption.

As indicated above, the foregoing discussion of the U.S. federal income tax consequences of the Second
Amended Plan does not generally address the consequences to non-U.S. holders; accordingly, such
holders should consult their tax advisors with respect to the U.S. federal income tax consequences of the
Second Amended Plan, including owning Litigation Trust Interests.

The foregoing summary has been provided for informational purposes only and does not discuss all
aspects of U.S. federal income taxation that may be relevant to a particular holder of a Claim. All
holders of Claims are urged to consult their tax advisors concerning the federal, state, local, non-U.S.,
and other tax consequences applicable under the Second Amended Plan.

                                            IX.
                           CERTAIN RISK FACTORS TO BE CONSIDERED

Prior to voting to accept or reject the Second Amended Plan, holders of Claims and Interests should read
and carefully consider the risk factors set forth below, in addition to the other information set forth in this
Disclosure Statement including any attachments, exhibits, or documents incorporated by reference.

THIS SECTION PROVIDES INFORMATION REGARDING POTENTIAL RISKS IN CONNECTION
WITH THE AMENDED PLANSECOND AMENDED PLAN. THE FACTORS BELOW SHOULD
NOT BE REGARDED AS THE ONLY RISKS ASSOCIATED WITH THE AMENDED
PLANSECOND AMENDED PLAN OR ITS IMPLEMENTATION. ADDITIONAL RISK FACTORS
IDENTIFIED IN THE COMPANY’S PUBLIC FILINGS WITH THE SEC MAY ALSO BE
APPLICABLE TO THE MATTERS SET OUT HEREIN AND SHOULD BE REVIEWED AND
CONSIDERED IN CONJUNCTION WITH THIS DISCLOSURE STATEMENT, TO THE EXTENT
APPLICABLE. THE RISK FACTORS SET FORTH IN FUSION CONNECT’S ANNUAL REPORT

                                                         115
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57         Main Document
                                                  Pg 544 of 565



ON FORM 10-K FOR THE FISCAL YEAR ENDED DECEMBER 31, 2017 FILED WITH THE SEC
ON MARCH 22, 2018, AS UPDATED BY THE QUARTERLY REPORT ON FORM 10-Q FOR THE
QUARTER ENDED MARCH 31, 2018 FILED WITH THE SEC ON MAY 6, 2018, THE
QUARTERLY REPORT ON FORM 10-Q FOR THE QUARTER ENDED JUNE 30, 2018 FILED
WITH THE SEC ON AUGUST 14, 2018, AND THE QUARTERLY REPORT ON FORM 10-Q FOR
THE QUARTER ENDED SEPTEMBER 30, 2018 FILED WITH THE SEC ON NOVEMBER 3, 2018
ARE HEREBY INCORPORATED BY REFERENCE. ANY CURRENT REPORTS ON FORM 8-K
(OTHER THAN INFORMATION FURNISHED PURSUANT TO ITEMS 2.02 OR 7.01 AND ANY
RELATED EXHIBITS OF ANY FORM 8-K, UNLESS EXPRESSLY STATED OTHERWISE
THEREIN), QUARTERLY REPORTS ON FORM 10-Q OR ANNUAL REPORTS ON FORM 10-K
FILED BY FUSION CONNECT WITH THE SEC AFTER THE DATE OF THIS DISCLOSURE
STATEMENT MAY ALSO INCLUDE RISK FACTORS AND WILL BE CONSIDERED A PART OF
THIS DISCLOSURE STATEMENT FROM THE DATE OF THE FILING OF SUCH DOCUMENTS.
NEW FACTORS, RISKS AND UNCERTAINTIES EMERGE FROM TIME TO TIME AND IT IS
NOT POSSIBLE TO PREDICT ALL SUCH FACTORS, RISKS AND UNCERTAINTIES.

          A.        Certain Bankruptcy Law Considerations

                    1.        General

While the Debtors believe that the Chapter 11 Cases will be of short duration and will not be materially
disruptive to the Company’s business, the Debtors cannot be certain that this will be the case. Although
the Second Amended Plan is designed to minimize the length of the Chapter 11 Cases, it is impossible to
predict with certainty the amount of time that the Debtors may spend in bankruptcy or to assure parties in
interest that the Second Amended Plan will be confirmed. Even if confirmed on a timely basis,
bankruptcy proceedings to confirm the Second Amended Plan could have an adverse effect on the
Company’s business. Among other things, it is possible that bankruptcy proceedings could adversely
affect the Company’s relationships with its key vendors, suppliers, customers and employees. In addition,
the bankruptcy proceedings may divert some of the attention of the Debtors’ management away from
business operations and the Company will incur additional expenses.

                    2.        Risk of Non-Confirmation of Second Amended Plan

Although the Debtors believe that the Second Amended Plan will satisfy all requirements necessary for
confirmation by the Bankruptcy Court, there can be no assurance that the Bankruptcy Court will reach the
same conclusion or that modifications to the Second Amended Plan will not be required for confirmation
or that such modifications will not necessitate re-solicitation of votes. Moreover, the Debtors can make
no assurances that they will receive the requisite acceptances to confirm the Second Amended Plan, and
even if the Voting Classes voted in favor of the Second Amended Plan or the requirements for
“cramdown” are met with respect to any Class that rejected the Second Amended Plan, the Bankruptcy
Court, which may exercise substantial discretion as a court of equity, may choose not to confirm the
Second Amended Plan. If the Second Amended Plan is not confirmed, it is unclear what distributions (if
any) holders of Claims or Interests ultimately would receive with respect to their Claims or Interests in a
subsequent plan of reorganization.

                    3.        Risk of Failing to Satisfy Vote Requirement

In the event that the Debtors are unable to obtain sufficient votes from the Voting Classes, the Debtors
may seek to accomplish an alternative chapter 11 plan. There can be no assurance that the terms of any



                                                         116
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57          Main Document
                                                  Pg 545 of 565



such alternative chapter 11 plan would be similar or as favorable to holders of Allowed Claims as those
proposed in the Second Amended Plan.

                    4.        Releases, Injunctions, and Exculpations Provisions May Not Be
                              Approved

Section 10 of the Second Amended Plan provides for certain releases, injunctions, and exculpations, for
claims and Causes of Action that may otherwise be asserted against the Debtors, the Reorganized
Debtors, the Exculpated Parties, or the Released Parties, as applicable. The releases, injunctions, and
exculpations provided in the Second Amended Plan are subject to objection by parties in interest and may
not be approved. If the releases and exculpations are not approved, certain parties may not be considered
Released Parties or Exculpated Parties, and certain Released Parties or Exculpated Parties may withdraw
their support for the Second Amended Plan.

                    5.        4. Risk of Non-Consensual Confirmation

In the event that any impaired class of Claims or Interests does not accept or is deemed not to accept the
Second Amended Plan, the Bankruptcy Court may nevertheless confirm such Second Amended Plan at the
request of the Debtors if at least one impaired class has accepted the Second Amended pPlan (with such
acceptance being determined without including the vote of any “insider” in such class), and as to each
impaired class that has not accepted the Second Amended pPlan, the Bankruptcy Court determines that
the Second Amended pPlan “does not discriminate unfairly” and is “fair and equitable” with respect to the
dissenting impaired classes. Should any Class vote to reject the Second Amended Plan, then these
requirements must be satisfied with respect to such rejecting Classes. The Debtors believe that the Second
Amended Plan satisfies these requirements.

                    6.        5. Risk of Non-Occurrence of Effective Date

There can be no assurance as to the timing of the Effective Date. If the conditions precedent to the
Effective Date set forth in the Second Amended Plan have not occurred or have not been waived as set
forth in Section 9.3 of the Second Amended Plan, then the Confirmation Order may be vacated, in which
event no distributions will be made under the Second Amended Plan, the Debtors and all holders of
Claims or Interests will be restored to the status quo as of the day immediately preceding the Confirmation
Date, and the Debtors’ obligations with respect to Claims and Interests would remain unchanged.




                                                         117
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57          Main Document
                                                  Pg 546 of 565



                    7.        6. Risk of Termination of Restructuring Support Agreement

The Restructuring Support Agreement contains certain provisions that give the parties the ability to
terminate the Restructuring Support Agreement if various conditions are not satisfied. As noted above,
termination of the Restructuring Support Agreement could result in protracted Chapter 11 Cases, which
could significantly and detrimentally impact the Company’s relationships with regulators, government
agencies, vendors, suppliers, employees, and customers. If the Restructuring Support Agreement is
terminated, each vote or any consent given by any Consenting First Lien Lender (as defined in the
Restructuring Support Agreement) prior to such termination will be deemed null and void ab initio. If the
termination of the Restructuring Support Agreement takes place when Bankruptcy Court approval is
required for a Consenting First Lien Lender to change or withdraw its vote to accept the Second Amended
Plan, the Company has agreed to support and not oppose any such attempt to change or withdraw a vote.
Future termination of the Restructuring Support Agreement is an “Event of Default” under the DIP
Facility. If the Debtors lose access to the DIP Facility, the Debtors may be forced to liquidate.

                    8.        7. Risk Related to Parties in Interest Objecting to Debtors’
                              Classification of Claims and Interests

Bankruptcy Code Section 1122 provides that a plan may place a claim or an interest in a particular class
only if such claim or interest is substantially similar to the other claims or interests in such class. The
Debtors believe that the classification of Claims and Interests under the Second Amended Plan complies
with the requirements set forth in the Bankruptcy Code. However, there can be no assurance that a party
in interest will not object or that the Bankruptcy Court will approve the classifications.

                    9.        8. Risk Related to Possible Objections to Second Amended Plan

There is a risk that certain parties could oppose and object to the Second Amended Plan in the Bankruptcy
Court either in its entirety or to specific provisions thereof. While the Debtors believe that the Second
Amended Plan complies with all relevant Bankruptcy Code provisions, there can be no guarantee that a
party in interest will not file an objection to the Second Amended Plan or that the Bankruptcy Court will
not sustain such an objection.

                    10.       9. Conversion to Chapter 7 Case

If no plan of reorganization is confirmed, or if the Bankruptcy Court otherwise finds that it would be in
the best interest of holders of Claims and Interests, the Chapter 11 Cases may be converted to cases under
chapter 7 of the Bankruptcy Code, pursuant to which a trustee would be appointed or elected to liquidate
the Debtors’ assets for distribution in accordance with the priorities established by the Bankruptcy Code.
See Article XIII.C hereof, as well as the Liquidation Analysis attached hereto as Exhibit D, for a
discussion of the effects that a chapter 7 liquidation would have on the recoveries of holders of Claims
and Interests.

          B.        Additional Factors Affecting Value of Reorganized Debtors

                    1.        Claims Could Be More than Projected

There can be no assurance that the estimated Allowed amount of Claims in certain Classes will not be
significantly more than projected, which, in turn, could cause the value of distributions to be reduced
substantially. Inevitably, some assumptions will not materialize, and unanticipated events and



                                                         118
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57             Main Document
                                                  Pg 547 of 565



circumstances may affect the ultimate results. Therefore, the actual amount of Allowed Claims may vary
from the Debtors’ projections and feasibility analysis, and the variation may be material.

                    2.        Projections and Other Forward-Looking Statements Are Not
                              Assured, and Actual Results May Vary

Certain of the information contained in this Disclosure Statement is, by nature, forward-looking, and
contains (i) estimates and assumptions that might ultimately prove to be incorrect and (ii) projections
which may be materially different from actual future experiences. There are uncertainties associated with
any projections and estimates, and they should not be considered assurances or guarantees of the amount
of funds or the amount of Claims in the various Classes that might be allowed. The future results of the
Reorganized Debtors are dependent upon various factors, many of which are beyond the control or
knowledge of the Debtors, and consequently are inherently difficult to project. The Reorganized Debtors’
actual future results may differ materially (positively or negatively) from the financial projections and as a
result, the actual total enterprise value of the Reorganized Debtors may be significantly higher or lower
than the estimated range herein.

          C.        Risks Relating to Debtors’ Business and Financial Condition

                    1.        Risks Associated with Debtors’ Business and Industry

The Debtors’ business is subject to extensive regulation by federal, state and local governmental and
regulatory authorities. Further, in recent years the policies, laws, rules and regulations applicable to the
Debtors’ business have been rapidly evolving. Such changes, as well as the actual or alleged failure to
comply with applicable federal, state, and local laws and regulations may have an adverse consequence on
the Company or its business, in addition to the following factors, risks or uncertainties that may affect the
Company or its business:

         Limitations, restrictions or complete bans on the Debtors’ business or various segments of the
          business;

         Damage to the Debtors’ reputation;

         Scrutiny of the industry by, and potential enforcement actions by, federal and state authorities;

         The substantial resources (including senior management time and attention) the Company devotes
          to, and the significant compliance costs the Company incurs in connection with, regulatory
          compliance and regulatory examinations and inquiries, and any redress, fines, penalties or similar
          payments made in connection with resolving such matters;

         Potential costs and uncertainties, including the effect on future revenues, associated with and
          arising from litigation, regulatory investigations, enforcements and other legal proceedings, and
          uncertainties relating to the reaction of key counterparties to the announcement of any such
          matters;

         Risks related to a significant amount of senior management turnover and employee reductions;

         Risks related to the substantial level of indebtedness, including ability to comply with covenants
          contained in debt agreements or obtain any necessary waivers or amendments, generate sufficient




                                                         119
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                                  Pg 548 of 565



          cash to service such indebtedness and refinance such indebtedness on favorable terms, if at all, as
          well as the ability to incur substantially more debt;

         The success of the business strategy in returning to sustained profitability;

         Risks and potential costs associated with technology and cybersecurity, including: the risks of
          technology failures and of cyber-attacks against the Company or its vendors; the Company’s
          ability to adequately respond to actual or attempted cyber-attacks; and the Company’s ability to
          implement adequate internal security measures and protect confidential customer information;

         Risks and potential costs associated with the implementation of new or more current technology,
          the use of vendors, or the transfer of the Company’s servers or other infrastructure to new data
          center facilities;

         Risks related to the Company’s reliance upon proprietary rights in the Company’s technology,
          systems, and business processes, including the potential risk that the compromise of such rights
          could impact the Company’s ability to compete or to achieve its projected business and financial
          results;

         Risks related to the Company’s deferred tax asset, risk of an “ownership change,” including
          uncertainties as to the Company’s ability to preserve the tax assets through and after a
          bankruptcy filing;

         The effects of competition on existing and potential future business, including the impact of
          competitors with greater financial resources and broader scopes of operation;

         The ability to comply with evolving and complex accounting rules, many of which involve
          significant judgment and assumptions;

         The ability to implement and maintain effective internal controls over financial reporting and
          disclosure controls and procedures;

         Increased taxation and / or government regulations of the cloud communications industry;

         Administrative fines and financial penalties;

         The adoption of new regulations, in addition to the potential that existing laws and regulations
          may be applied to telecommunications, cloud, VoIP, and/or internet service providers, which
          could hinder the Company’s growth

         Litigation, including class action lawsuits; and

         Civil and criminal liability.

                    2.        Downgrade in the Company’s Credit Ratings

Standard & Poor’s and Moody’s rate Fusion Connect’s debt securities. Certain of these ratings have been
downgraded in the past, and any of these ratings may be downgraded in the future. Any such downgrade
could adversely affect the Company, its financial condition, or results of operations.




                                                         120
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                                  Pg 549 of 565



                    3.        DIP Facility

The DIP Facility is intended to provide liquidity to the Debtors during the pendency of the Chapter 11
Cases. If the Chapter 11 Cases take longer than expected to conclude, the Debtors may exhaust or lose
access to their financing. There is no assurance that the Debtors will be able to obtain additional
financing from the Debtors’ existing lenders or otherwise. In either such case, the liquidity necessary for
the orderly functioning of the Debtors’ business may be materially impaired.

                    4.        Post-Effective Date Indebtedness

Following the Effective Date, in the Reorganization Transaction only, the Reorganized Debtors expect to
have outstanding funded debt of up to approximately $400 million. The Reorganized Debtors’ ability to
service their debt obligations will depend on, among other things, the Debtors’ compliance with
affirmative and negative covenants, the Debtors’ future operating performance, which depends partly on
economic, financial, competitive, and other factors beyond the Reorganized Debtors’ control. The
Reorganized Debtors may not be able to generate sufficient cash from operations to meet their debt service
obligations as well as fund necessary capital expenditures. In addition, if the Reorganized Debtors need
to refinance their debt, obtain additional financing, or sell assets or equity, they may not be able to do so
on commercially reasonable terms, if at all.

          D.        Factors Relating to Securities to be Issued Under Second Amended Plan,
                    Generally

                    1.        Market for Securities

There is currently no market for the New Equity Interests, or the Special Warrants, or the Second Lien
Warrants, and there can be no assurance as to the development or liquidity of any market for any such
securities. The Reorganized Debtors are under no obligation to list any securities on any national
securities exchange. Therefore, there can be no assurance that any of the foregoing securities will be
tradable or liquid at any time after the Effective Date. If a trading market does not develop or is not
maintained, holders of the foregoing securities may experience difficulty in reselling such securities or
may be unable to sell them at all. Even if such a market were to exist, such securities could trade at prices
higher or lower than the estimated value set forth in this Disclosure Statement depending upon many
factors including, without limitation, prevailing interest rates, markets for similar securities, industry
conditions, and the performance of, and investor expectations for, the Reorganized Debtors.

                    2.        Potential Dilution

The ownership percentage represented by the New Equity Interests distributed on the Effective Date under
the Second Amended Plan will be subject to dilution from the conversion of any options, warrants,
convertible securities, exercisable securities, or other securities that may be issued post-emergence,
including the Special Warrants, the Second Lien Warrants, or any securities issued under the Management
Incentive Plan.

In the future, similar to all companies, additional equity financings or other share issuances by any of the
Reorganized Debtors could adversely affect the value of the New Equity Interests, and/or the Special
Warrants, and or the Second Lien Warrants. The amount and dilutive effect of any of the foregoing could
be material.




                                                         121
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57              Main Document
                                                  Pg 550 of 565



                    3.        Risks Related to the Litigation Trust

There is no guarantee that the Litigation Trust Oversight Committee will choose to prosecute any of the
Litigation Trust Causes of Action. Furthermore, to the extent the Litigation Trust Oversight Committee
determines to prosecute a potential Litigation Trust Cause of Action, there is no guarantee as to the
success of the Litigation Trust Oversight Board in pursuing the Litigation Trust Causes of Action. The
success of the Litigation Trust Oversight Board in pursuing any Litigation Trust Cause of Action, as well
as the expenses incurred in investigating and prosecuting the Litigation Trust Causes of Action, may
materially affect the recoveries for the beneficiaries of the Litigation Trust Causes of Action.

          E.        Risk Related to Obtaining Exit Financing

During the course of these Chapter 11 Cases, the Debtors will solicit commitments to provide exit
financing to refinance the DIP Facility. However, there is no assurance that such commitments will be
obtained, which will hinder the Debtors’ ability to consummate the Reorganization Transaction.

          F.        Risks Related to Investment in New Equity Interests

                    1.        Significant Holders

Pursuant to the Second Amended Plan, certain holders of First Lien Claims may acquire a significant
ownership interest in the New Equity Interests. If such holders of New Equity Interests were to act as a
group, such holders would be in a position to control all actions requiring stockholder approval, including
the election of directors, without the approval of other stockholders. This concentration of ownership
could also facilitate or hinder a negotiated change of control of the Reorganized Debtors and,
consequently, have an impact upon the value of the New Equity Interests. In addition, the SEC has
special considerations in connection with its foreign ownership rules with respect to “groups.”

                    2.        New Equity Interests Subordinated to Reorganized Debtors’
                              Indebtedness

In any subsequent liquidation, dissolution, or winding up of the Reorganized Debtors, the New Equity
Interests will rank below all debt claims against the Reorganized Debtors. As a result, holders of the New
Equity Interests will not be entitled to receive any payment or other distribution of assets upon the
liquidation, dissolution, or winding up of the Reorganized Debtors until after all the Reorganized Debtors’
obligations to its debt holders have been satisfied.

                    3.        Implied Valuation of New Equity Interests Not Intended to Represent
                              Trading Value of New Equity Interests

The valuation of the Reorganized Debtors may not represent the trading value of the New Equity Interests
in public or private markets and is subject to additional uncertainties and contingencies, all of which are
difficult to predict. Actual market prices of such securities at issuance will depend upon, among other
things: (i) conditions in the financial markets; (ii) the anticipated initial securities holdings of prepetition
creditors, some of whom may prefer to liquidate their investment rather than hold it on a long-term basis;
and (iii) other factors that generally influence the prices of securities. The actual market price of the New
Equity Interests is likely to be volatile. Many factors including factors unrelated to the Reorganized
Debtors’ actual operating performance and other factors not possible to predict, could cause the market
price of the New Equity Interests to rise and fall. Accordingly, the implied value, stated herein and in the
Second Amended Plan, of the New Equity Interests, does not necessarily reflect, and should not be


                                                         122
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57          Main Document
                                                  Pg 551 of 565



construed as reflecting, values that will be attained for the New Equity Interests in the public or private
markets.

                    4.        No Intention to Pay Dividends

The Reorganized Debtors do not anticipate paying any dividends on the New Equity Interests as they
expect to retain any future cash flows for debt reduction and to support operations. As a result, the
success of an investment in the New Equity Interests will depend entirely upon any future appreciation in
the value of the New Equity Interests. There is, however, no guarantee that the New Equity Interests will
appreciate in value or even maintain its initial value. In addition, holders of Special Warrants or Second
Lien Warrants would likely not be able to participate in the distribution of any dividends.

          G.        Additional Factors

                    1.        Debtors Have No Duty to Update

The statements contained in this Disclosure Statement are made by the Debtors as of the date hereof,
unless otherwise specified herein, and the delivery of this Disclosure Statement after that date does not
imply that there has been no change in the information set forth herein since that date. The Debtors have
no duty to update this Disclosure Statement unless otherwise ordered to do so by the Bankruptcy Court.

                    2.        No Representations Outside Disclosure Statement are Authorized

No representations concerning or related to the Debtors, the Chapter 11 Cases, or the Second Amended
Plan are authorized by the Bankruptcy Court or the Bankruptcy Code, other than as set forth in this
Disclosure Statement. Any representations or inducements made to secure your acceptance or rejection of
the Second Amended Plan that are other than those contained in, or included with, this Disclosure
Statement should not be relied upon in making the decision to accept or reject the Second Amended Plan.

                    3.        No Legal or Tax Advice is Provided by Disclosure Statement

The contents of this Disclosure Statement should not be construed as legal, business, or tax advice. Each
Claim or Interest holder should consult their own legal counsel and accountant as to legal, tax, and other
matters concerning their Claim or Interest. This Disclosure Statement is not legal advice. This
Disclosure Statement may not be relied upon for any purpose other than to determine how to vote on the
Second Amended Plan.

                    4.        No Admission Made

Nothing contained herein or in the Second Amended Plan constitutes an admission of, or will be deemed
evidence of, the tax or other legal effects of the Second Amended Plan on the Debtors or on holders of
Claims or Interests.

                    5.        Certain Tax Consequences

For a discussion of certain tax considerations to the Debtors and certain holders of Claims in connection
with the implementation of the Second Amended Plan, see Article VIII thereof.




                                                         123
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57          Main Document
                                                  Pg 552 of 565



                                            X.
                            VOTING PROCEDURES AND REQUIREMENTS

Before voting to accept or reject the Second Amended Plan, each holder of a Claim in Class 3 (First Lien
Claims), Class 4 (Second Lien Claims), and Class 5 (General Unsecured Claims) (each, an “Eligible
Holder” and, collectively, the “Eligible Holders”) should carefully review the Second Amended Plan
attached hereto as Exhibit A. All descriptions of the Second Amended Plan set forth in this Disclosure
Statement are subject to the terms and conditions of the Second Amended Plan.

          A.        Voting Deadline

All Eligible Holders as of the Voting Record Date (September 1724, 2019) will be provided with a Ballot
together with this Disclosure Statement. Such holders should read the Ballot carefully and follow the
instructions therein. Only Eligible Holders are entitled to vote to accept or reject the Second Amended
Plan. Because Classes 1, 2, 6 and 7 are unimpaired and deemed to accept, and Classes 8 and 9 are
conclusively deemed to reject, only Classes 3, 4, and 5 are entitled to vote on the Second Amended Plan.

The Debtors have engaged Prime Clerk LLC as its voting agent (the “Voting Agent”) to assist in the
transmission of voting materials and in the tabulation of votes with respect to the Second Amended Plan.
FOR YOUR VOTE TO BE COUNTED, YOUR BALLOT MUST BE EXECUTED IN ACCORDANCE
WITH THE INSTRUCTIONS INCLUDED IN THE BALLOT AND RECEIVED BY THE VOTING
AGENT ON OR BEFORE THE VOTING DEADLINE OF 4:00 P.M., PREVAILING EASTERN
TIME, ON OCTOBER 17NOVEMBER 4, 2019, UNLESS EXTENDED BY THE DEBTORS WITH
THE CONSENT OF THE FIRST LIEN LENDER GROUP UPON RECEIPT OF AN ORDER FROM
THE COURT (THE “VOTING DEADLINE”).

IF A BALLOT IS DAMAGED OR LOST, YOU MAY CONTACT THE VOTING AGENT AT THE
NUMBER SET FORTH BELOW TO RECEIVE A REPLACEMENT BALLOT. ANY BALLOT
THAT IS EXECUTED AND RETURNED BUT WHICH DOES NOT INDICATE AN ACCEPTANCE
OR REJECTION OF THE AMENDED PLANSECOND AMENDED PLAN WILL NOT BE
COUNTED.

IF YOU HAVE ANY QUESTIONS CONCERNING VOTING PROCEDURES, YOU MAY
CONTACT THE VOTING AGENT AT:

                                                    Prime Clerk LLC
                         Telephone: (844) 230-7218 (toll free) or +1 (347) 859-8784 (international)
                      E-mail: Fusionconnectballots@Primeclerk.com with “Fusion Connect, Inc.” in the
                                                       subject line

Additional copies of this Disclosure Statement are available upon a request made to the Voting Agent, at
the telephone numbers or e-mail address set forth immediately above.

          B.        Voting Procedures

The Debtors are providing copies of this Disclosure Statement (including all exhibits and appendices) and
related materials and a Ballot (collectively, a “Solicitation Package”) to Eligible Holders. In order to
vote, Eligible Holders must provide all of the information requested by the Ballot and, as applicable,
should complete and deliver their completed Ballots pursuant to the instructions set forth on the Ballot so
that they are actually received by the Voting Agent no later than the Voting Deadline.


                                                         124
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                                  Pg 553 of 565



          C.        Parties Entitled to Vote

Under the Bankruptcy Code, only holders of claims or interests in “impaired” classes are entitled to vote
on a plan. Under section 1124 of the Bankruptcy Code, a class of claims or interests is deemed to be
“impaired” under a plan unless (i) the Second Amended pPlan leaves unaltered the legal, equitable, and
contractual rights to which such claim or interest entitles the holder thereof or (ii) notwithstanding any
legal right to an accelerated payment of such claim or interest, the Second Amended pPlan cures all
existing defaults (other than defaults resulting from the occurrence of events of bankruptcy) and reinstates
the maturity of such claim or interest as it existed before the default.

If, however, the holder of an impaired claim or interest will not receive or retain any distribution under the
Second Amended pPlan on account of such claim or interest, the Bankruptcy Code deems such holder to
have rejected the Second Amended pPlan, and, accordingly, holders of such claims and interests do not
actually vote on the Second Amended pPlan. If a claim or interest is not impaired by the Second
Amended pPlan, the Bankruptcy Code deems the holder of such claim or interest to have accepted the
Second Amended pPlan and, accordingly, holders of such claims and interests are not entitled to vote on
the Second Amended Plan.

A vote may be disregarded if the Bankruptcy Court determines, pursuant to section 1126(e) of the
Bankruptcy Code, that it was not solicited or procured in good faith or in accordance with the provisions
of the Bankruptcy Code.

The Bankruptcy Code defines “acceptance” of a plan by a class of: (i) claims as acceptance by creditors
in that class that hold at least two-thirds (2/3) in dollar amount and more than one-half (1/2) in number of
the claims that cast ballots for acceptance or rejection of the Second Amended pPlan; and (ii) interests as
acceptance by interest holders in that class that hold at least two-thirds (2/3) in dollar amount of the
interests that cast ballots for acceptance or rejection of the Second Amended pPlan.

Class 3 (First Lien Claims), Class 4 (Second Lien Claims), and Class 5 (General Unsecured Claims) are
impaired under the Second Amended Plan and the only Classes of Claims entitled to vote to accept or
reject the Second Amended Plan (the “Voting Classes” or the “Voting Claims”).

Claims in all other Classes are either unimpaired and deemed to accept or impaired and deemed to reject
the Second Amended Plan and are not entitled to vote. For a detailed description of the treatment of
Claims and Interests under the Second Amended Plan, see Article I of this Disclosure Statement.

The Debtors will request confirmation of the Second Amended Plan pursuant to section 1129(b) of the
Bankruptcy Code over the deemed rejection of the Second Amended Plan by all Parent Equity Interests
and Subordinated Securities Claims. Section 1129(b) of the Bankruptcy Code permits the confirmation of
a chapter 11 plan notwithstanding the rejection of such plan by one or more impaired classes of claims or
interests. Under section 1129(b), a plan may be confirmed by a bankruptcy court if it does not
“discriminate unfairly” and is “fair and equitable” with respect to each rejecting class. For a more
detailed description of the requirements for confirmation of a nonconsensual plan, see Article XII.C of
this Disclosure Statement.

                    1.        Miscellaneous

All Ballots must be signed by the Eligible Holder, or any person who has obtained a properly completed
Ballot proxy from the Eligible Holder by the Voting Record Date. Unless otherwise ordered by the
Bankruptcy Court, Ballots that are signed, dated, and timely received, but on which a vote to accept or
reject the Second Amended Plan has not been indicated, will not be counted. The Debtors, in their sole

                                                         125
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57           Main Document
                                                  Pg 554 of 565



discretion, may request that the Voting Agent attempt to contact such voters to cure any such Ballot
defects. Any Ballot marked to both accept and reject the Second Amended Plan will not be counted. If an
Eligible Holder casts more than one Ballot voting the same Claim(s) before the Voting Deadline, the last
valid Ballot received on or before the Voting Deadline will be deemed to reflect such Holder’s intent, and
thus, will supersede any prior Ballot. If an Eligible Holder casts Ballots received by the Voting Agent on
the same day, but which are voted inconsistently, such Ballots will not be counted.

The Ballots provided to Eligible Holders will reflect the amount of such Eligible Holder’s Claim;
however, when tabulating votes, the Voting Agent may adjust the amount of such Eligible Holder’s Claim
(as directed by the Debtors) by multiplying that amount by a factor that reflects all amounts accrued
between the Voting Record Date and the Commencement Date including, without limitation, interest.

Under the Bankruptcy Code, for purposes of determining whether the requisite votes for acceptance have
been received, only holders of the First Lien Claims who actually vote will be counted. The failure of a
holder to deliver a duly executed Ballot to the Voting Agent will be deemed to constitute an abstention by
such holder with respect to voting on the Second Amended Plan and such abstentions will not be counted
as votes for or against the Second Amended Plan.

Except as provided below, unless the Ballot, together with any other documents required by such Ballot, is
timely submitted to the Voting Agent before the Voting Deadline the Debtors may, in their sole discretion,
reject such Ballot as invalid, and therefore decline to utilize it in connection with seeking confirmation of
the Second Amended Plan.

                    2.        Fiduciaries and Other Representatives

If a Ballot is signed by a trustee, executor, administrator, guardian, attorney-in-fact, officer of a
corporation, or another, acting in a fiduciary or representative capacity, such person should indicate such
capacity when signing and, if requested, must submit proper evidence satisfactory to the Debtor of
authority to so act. Authorized signatories should submit a separate Ballot of each Eligible Holder for
whom they are voting.

UNLESS THE BALLOT IS SUBMITTED TO THE VOTING AGENT ON OR PRIOR TO THE
VOTING DEADLINE, SUCH BALLOT WILL BE REJECTED AS INVALID AND WILL NOT BE
COUNTED AS AN ACCEPTANCE OR REJECTION OF THE AMENDED PLANSECOND
AMENDED PLAN; PROVIDED, THAT THE DEBTORS RESERVE THE RIGHT, IN THEIR SOLE
DISCRETION, TO REQUEST THE BANKRUPTCY COURT TO ALLOW SUCH BALLOT TO BE
COUNTED.

                    3.        Agreements Upon Furnishing Ballots

The delivery of an accepting Ballot pursuant to one of the procedures set forth above will constitute the
agreement of the creditor with respect to such Ballot to accept: (i) all of the terms of, and conditions to,
the solicitation; and (ii) the terms of the Second Amended Plan including the injunction, releases, and
exculpations set forth in Sections 10.5, 10.6, and 10.7 of the Second Amended Plan. All parties in
interest retain their right to object to confirmation of the Second Amended Plan pursuant to section 1128
of the Bankruptcy Code, subject to any applicable terms of the Restructuring Support Agreement.

                    4.        Change of Vote

Subject to the terms of the Restructuring Support Agreement, any party that has previously submitted a
properly completed Ballot to the Voting Agent prior to the Voting Deadline may revoke such Ballot and

                                                         126
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                                  Pg 555 of 565



change its vote, subject to Local Bankruptcy Rule 3018, by submitting to the Voting Agent prior to the
Voting Deadline a subsequent, properly completed Ballot voting for acceptance or rejection of the Second
Amended Plan, upon Court approval.

                    5.        Waivers of Defects, Irregularities, etc.

Unless otherwise directed by the Bankruptcy Court, all questions as to the validity, form, eligibility
(including time of receipt), acceptance, and revocation or withdrawals of Ballots will be determined by the
Voting Agent and/or the Debtors, as applicable, in their sole discretion, which determination will be final
and binding. The Debtors reserve the right to reject any and all Ballots submitted that are not in proper
form, the acceptance of which would, in the opinion of the Debtors or their counsel, as applicable, be
unlawful. The Debtors further reserve their respective rights to waive any defects or irregularities or
conditions of delivery as to any particular Ballot by any Eligible Holder. The interpretation (including the
Ballot and the respective instructions thereto) by the applicable Debtor, unless otherwise directed by the
Bankruptcy Court, will be final and binding on all parties. Unless waived, any defects or irregularities in
connection with deliveries of Ballots must be cured within such time as the Debtors (or the Bankruptcy
Court) determines. Neither the Debtors nor any other person will be under any duty to provide
notification of defects or irregularities with respect to deliveries of Ballots nor will any of them incur any
liabilities for failure to provide such notification. Unless otherwise directed by the Bankruptcy Court,
delivery of such Ballots will not be deemed to have been made until such irregularities have been cured or
waived. Ballots previously furnished (and as to which any irregularities have not theretofore been cured
or waived) will be invalidated.

                    6.        Further Information, Additional Copies

Should an Eligible Holder have any questions or require further information about the
voting procedures, or about the packet of material received, or if an Eligible Holder wishes
to obtain an additional copy of the Second Amended Plan, this Disclosure Statement, or
any exhibits to such documents, please contact the Voting Agent at the telephone number
or email address set forth above.

                                           XI.
                          CONFIRMATION OF AMENDEDAMENDED PLAN

          A.        Confirmation Hearing

Section 1128(a) of the Bankruptcy Code requires the Bankruptcy Court to hold a confirmation hearing
upon appropriate notice to all required parties. The Debtors will request that the Bankruptcy Court
schedule the Confirmation Hearing. Subject to the Court’s availability, the Confirmation Hearing will be
held on October 30November 14, 2019 at 10:00 am, prevailing Eastern Time. Notice of the Confirmation
Hearing will be provided to all known creditors and equity holders or their representatives. The
Confirmation Hearing may be adjourned from time to time by the Bankruptcy Court without further notice
except for the announcement of the adjourned date made at the Confirmation Hearing, at any subsequent
adjourned Confirmation Hearing, or pursuant to a notice filed on the docket of the Chapter 11 Cases.

          B.        Objections to Confirmation

Section 1128(b) of the Bankruptcy Code provides that any party in interest may object to the confirmation
of a plan. Any objection to confirmation of the Second Amended Plan must (i) be in writing; (ii) state the
name and address of the objecting party and the amount and nature of the Claim or Interest of such party;


                                                         127
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57             Main Document
                                                  Pg 556 of 565



(iii) state with particularity the basis and nature of any objection, and provide proposed language that, if
accepted and incorporated by the Debtors, would obviate such objection; (iv) conform to the Bankruptcy
Rules and the Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court
for the Southern District of New York; (v) be filed with the Bankruptcy Court, with a copy to the
chambers of the United States Bankruptcy Judge appointed to the Chapter 11 Cases, together with proof
of service thereof by the plan confirmation objection deadline of 4:00 p.m., prevailing eastern time, on
November 4, 2019; and (vi) be served upon the following parties, including such other parties as the
Bankruptcy Court may order:

                              (a)       The Debtor at:

                              Fusion Connect, Inc.
                              210 Interstate North Parkway
                              Suite 300
                              Atlanta, Georgia 30339
                              Attn: James P. Prenetta, Jr., Executive Vice President and General Counsel

                              (b)       Office of the U.S. Trustee at:

                              Office of the U.S. Trustee for Region 2
                              U.S. Federal Office Building
                              201 Varick Street, Suite 1006
                              New York, New York 10014
                              Attn: Richard C. Morrissey
                                      Susan A. Arbeit

                              (c)       Counsel to the Debtors at:

                              Weil, Gotshal & Manges LLP
                              767 Fifth Avenue
                              New York, New York 10153
                              Attn: Gary T. Holtzer
                                      Sunny Singh
                                      Gaby Smith

                              (d)       Counsel to the First Lien Lender Group at:

                              Davis Polk & Wardwell LLP
                              450 Lexington Avenue
                              New York, New York, 10017
                              Attn: Damian S. Schaible
                                     Adam L. Shpeen

                              (e)       Counsel to the Ad Hoc Group of Tranche A Term Loans /
                                        Revolving Lenders:

                              Simpson Thacher & Bartlett LLP
                              425 Lexington Avenue
                              New York, NY 10017
                              Attn: Sandeep Qusba
                                     Hyang Sook Lee


                                                          128
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                                  Pg 557 of 565



                                        Edward R. Linden

                              (f)       (e) Counsel to the DIP Agent, Prepetition Super Senior Agent, and
                                        Prepetition First Lien Agent at:

                              Arnold & Porter Kaye Scholer LLP
                              70 West Madison Street, Suite 4200
                              Chicago, Illinois 60602
                              Attn: Michael D. Messersmith
                                     Sarah Gryll

                              (g)       (f) Counsel to the Creditors’ Committee at:

                              Cooley LLP
                              55 Hudson Yards
                              New York, New York 10001
                              Attn: Cathy Hershcopf
                                     Seth Van Aalten
                                     Robert Winning
                                     Sarah Carnes

 UNLESS AN OBJECTION TO CONFIRMATION IS TIMELY SERVED AND FILED, IT MAY
              NOT BE CONSIDERED BY THE BANKRUPTCY COURT.

          C.        Requirements for Confirmation of Second Amended Plan

               1.     Requirements of Section 1129(a) of Bankruptcy Code

                              (a)       General Requirements

At the Confirmation Hearing, the Bankruptcy Court will determine whether the confirmation requirements
specified in section 1129(a) of the Bankruptcy Code have been satisfied including, without limitation,
whether:

                    (i)       the Second Amended Plan complies with the applicable provisions of the
                              Bankruptcy Code;

                    (ii)      the Debtors have complied with the applicable provisions of the Bankruptcy
                              Code;

                    (iii)     the Second Amended Plan has been proposed in good faith and not by any means
                              forbidden by law;

                    (iv)      any payment made or promised by the Debtors or by a person issuing securities
                              or acquiring property under the Second Amended Plan, for services or for costs
                              and expenses in or in connection with the Chapter 11 Cases, or in connection
                              with the Second Amended Plan and incident to the Chapter 11 Cases, has been
                              disclosed to the Bankruptcy Court, and any such payment made before
                              confirmation of the Second Amended Plan is reasonable, or if such payment is to



                                                           129
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57                Main Document
                                                  Pg 558 of 565



                              be fixed after confirmation of the Second Amended Plan, such payment is subject
                              to the approval of the Bankruptcy Court as reasonable;

                    (v)       the Debtors have disclosed the identity and affiliations of any individual proposed
                              to serve, after confirmation of the Second Amended Plan, as a director or officer
                              of the Reorganized Debtors, an affiliate of the Debtors participating in the
                              Second Amended Plan with the Debtors, or a successor to the Debtors under the
                              Second Amended Plan, and the appointment to, or continuance in, such office of
                              such individual is consistent with the interests of the holders of Claims and
                              Interests and with public policy, and the Debtors have disclosed the identity of
                              any insider who will be employed or retained by the Reorganized Debtors, and
                              the nature of any compensation for such insider;

                    (vi)      with respect to each Class of Claims or Interests, each holder of an impaired
                              Claim or impaired Interest has either accepted the Second Amended Plan or will
                              receive or retain under the Second Amended Plan, on account of such holder’s
                              Claim or Interest, property of a value, as of the Effective Date of the Second
                              Amended Plan, that is not less than the amount such holder would receive or
                              retain if the Debtors were liquidated on the Effective Date of the Second
                              Amended Plan under chapter 7 of the Bankruptcy Code;

                    (vii)     except to the extent the Second Amended Plan meets the requirements of section
                              1129(b) of the Bankruptcy Code (as discussed further below), each Class of
                              Claims either accepted the Second Amended Plan or is not impaired under the
                              Second Amended Plan;

                    (viii)    except to the extent that the holder of a particular Claim has agreed to a different
                              treatment of such Claim, the Second Amended Plan provides that administrative
                              expenses and priority Claims, other than Priority Tax Claims, will be paid in full
                              on the Effective Date, and that Priority Tax Claims will receive either payment in
                              full on the Effective Date or deferred cash payments over a period not exceeding
                              five years after the Commencement Date, of a value, as of the Effective Date of
                              the Second Amended Plan, equal to the Allowed amount of such Claims;

                    (ix)      at least one (1) Class of impaired Claims has accepted the Second Amended Plan,
                              determined without including any acceptance of the Second Amended Plan by any
                              insider holding a Claim in such Class;

                    (x)       confirmation of the Second Amended Plan is not likely to be followed by the
                              liquidation, or the need for further financial reorganization, of the Debtors or any
                              successor to the Debtors under the Second Amended Plan; and

                    (xi)      all fees payable under section 1930 of title 28 of the United States Code, as
                              determined by the Bankruptcy Court at the Confirmation Hearing, have been paid
                              or the Second Amended Plan provides for the payment of all such fees on the
                              Effective Date of the Second Amended Plan.

                              (b)       Best Interests Test

As noted above, with respect to each impaired class of claims and equity interests, confirmation of a plan
requires that each such holder either (i) accept the Second Amended pPlan or (ii) receive or retain under


                                                              130
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57           Main Document
                                                  Pg 559 of 565



the Second Amended pPlan property of a value, as of the effective date of the Second Amended pPlan,
that is not less than the value such holder would receive or retain if the debtor was liquidated under
chapter 7 of the Bankruptcy Code. This requirement is referred to as the “best interests test.”

This test requires a bankruptcy court to determine what the holders of allowed claims and allowed equity
interests in each impaired class would receive from a liquidation of the debtor’s assets and properties in
the context of a liquidation under chapter 7 of the Bankruptcy Code. To determine if a plan is in the best
interests of each impaired class, the value of the distributions from the proceeds of the liquidation of the
debtor’s assets and properties (after subtracting the amounts attributable to the aforesaid claims) is then
compared with the value offered to such classes of claims and equity interests under the Second Amended
pPlan.

The Debtors believe that under the Second Amended Plan all holders of impaired Claims and Interests will
receive property with a value not less than the value such holder would receive in a liquidation under
chapter 7 of the Bankruptcy Code. The Debtors’ belief is based primarily on (i) consideration of the
effects that a chapter 7 liquidation would have on the ultimate proceeds available for distribution to
holders of impaired Claims and Interests and (ii) the liquidation analysis analyzing the effects that a
chapter 7 liquidation would have on the recoveries of holders of Claims and Interests (the “Liquidation
Analysis”).

The Debtors believe that any liquidation analysis is speculative, as it is necessarily premised on
assumptions and estimates which are inherently subject to significant uncertainties and contingencies,
many of which would be beyond the control of the Debtors. The Liquidation Analysis, which will be filed
shortlyis attached hereto as Exhibit D, is solely for the purpose of disclosing to holders of Claims and
Interests the effects of a hypothetical chapter 7 liquidation of the Debtors, subject to the assumptions set
forth therein. There can be no assurance as to values that would actually be realized in a chapter 7
liquidation nor can there be any assurance that a bankruptcy court will accept the Debtors’ conclusions or
concur with such assumptions in making its determinations under section 1129(a)(7) of the Bankruptcy
Code.

                              (c)       Feasibility

Also as noted above, section 1129(a)(11) of the Bankruptcy Code requires that a debtor demonstrate that
confirmation of a plan is not likely to be followed by liquidation or the need for further financial
reorganization. For purposes of determining whether the Second Amended Plan meets this requirement,
the Debtors have analyzed their ability to meet their obligations under the Second Amended Plan and
intends to prepare the projections upon conclusion of the Marketing Process. Moreover, Article XIX
hereof sets forth certain risk factors that could impact the feasibility of the Second Amended Plan.

                              (d)       Equitable Distribution of Voting Power

On or before the Effective Date, pursuant to and only to the extent required by section 1123(a)(6) of the
Bankruptcy Code, the organizational documents for the Debtors will be amended as necessary to satisfy
the provisions of the Bankruptcy Code and will include, among other things, pursuant to section
1123(a)(6) of the Bankruptcy Code, (i) a provision prohibiting the issuance of non-voting equity securities
and (ii) a provision setting forth an appropriate distribution of voting power among classes of equity
securities possessing voting power.




                                                         131
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                                  Pg 560 of 565



                    2.        The Estate Releases, Consensual Releases, and Exculpation Provisions

                              (a)       Estate Releases

Section 10.6(a) of the Second Amended Plan provides a release of certain claims and Causes of Action of
the Debtors, the Reorganized Debtors, and the Estates against the Released Parties in exchange for good
and valuable consideration and valuable compromises made by the Released Parties. The Debtors’
Releases do not release any claims or Causes of Action arising after the Effective Date against any party
or affect the rights of the Debtors or Reorganized Debtors to enforce the terms of the Second Amended
Plan or any right or obligation arising under the Definitive Documents that remain in effect after the
Effective Date.

The Second Amended Plan will be deemed to constitute a motion pursuant to sections 363 and 1123(b)(3)
of the Bankruptcy Code and Bankruptcy Rule 9019, seeking approval of the Global Settlement, including
the Estate Releases in connection therewith, and the entry of the Confirmation Order will constitute the
Bankruptcy Court’s approval of such motion and each of the compromises and settlements that comprise
the Global Settlement. The Estate Releases are fair and reasonable and in the best interests of the Debtors
and their creditors and fair consideration is being received in exchange for such releases.

The Debtors believe that the Estate Releases constitute a sound exercise of the Debtors’ business judgment
and are an essential component of the Second Amended Plan. It is well-settled that debtors are authorized
to settle or release their claims in a chapter 11 plan. See 11 U.S.C. § 1123(b)(3)(A) (permitting a plan to
provide for the “settlement or adjustment of any claim or interest belonging to the debtor or to the estate”);
see also In re Adelphia Commc’ns Corp., 368 B.R. 140, 263 n.289 (Bankr. S.D.N.Y. 2007) (debtor has
“considerable leeway” in releasing its own claims); In re Spiegel, Inc., Case No. 03-11540 (BRL), 2005
WL 1278094, at *11 (Bankr. S.D.N.Y. May 25, 2005) (approving debtor releases pursuant to section
1123(b)(3) of the Bankruptcy Code and Bankruptcy Rule 9019(a)); In re Bally Total Fitness of Greater
New York, Inc., Case No. 07-12395 (BRL), 2007 WL 2779438, at *12 (Bankr. S.D.N.Y. Sept. 17, 2007)
(“To the extent that a release or other provision in the Second Amended Plan constitutes a compromise of
a controversy, this Confirmation Order shall constitute an order under Bankruptcy Rule 9019 approving
such compromise.”). Debtor releases are granted by courts in the Second Circuit where the Debtors
establish that such releases are a valid exercise of the Debtors’ business judgment and in the best interests
of the estate. See JP Morgan Chase Bank, N.A. v. Charter Commc’ns Operating, LLC (In re Charter
Commc’ns), 419 B.R. 221, 257-61 (Bankr. S.D.N.Y. 2009) (“When reviewing releases in a debtor’s plan,
courts consider whether such releases are in the best interest of the estate.”); In re DBSD N. Am., Inc.,
419 B.R. 179, 217 (Bankr. S.D.N.Y. 2009), aff’d, Case No. 09 CIV. 10156 (LAK), 2010 WL 1223109
(S.D.N.Y. Mar. 24 2010), aff’d in part, rev’d in part, 627 F.3d 496 (2d Cir. 2010) (finding debtor
releases appropriate where they represented a valid exercise of the debtors’ business judgment and were in
the best interests of the estate).

The Estate Releases satisfy the business judgment standard because, in exchange for the Estate Releases,
the Debtors received valuable consideration from the Released Parties in the form of (i) financing of the
Prepetition Super Senior Credit Agreement, (ii) financing of the DIP Facility, (iii) granting the Debtors’
use of cash collateral to support their restructuring in addition to numerous other tangible and intangible
benefits key to effectuating the Debtors’ consensual restructuring.

                              (b)       Consensual Releases

The Consensual Releases in Section 10.6(b) of the Second Amended Plan provide for the release of claims
and Causes of Action by those parties voting in favor of the Second Amended Plan against the Released


                                                          132
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj             Doc 456       Filed 10/07/19 Entered 10/07/19 15:38:57        Main Document
                                                  Pg 561 of 565



Parties in exchange for good and valuable consideration and the valuable compromises made by the
Released Parties.

The Second Amended Plan provides that all holders of Claims who are entitled to vote on the Second
Amended Plan who vote to accept the Second Amended Plan will be granting a release of any claims or
rights they have or may have as against the Released Parties. The Consensual Releases include any and
all claims that such holders may have against the Released Parties which in any way relate to the
restructuring.

In the Second Circuit, third-party releases are permissible where “unusual circumstances” render the
release terms integral to the success of the Second Amended Plan. In re Metromedia Fiber Network, Inc.,
416 F.3d 136, 141 (2d Cir. 2005). “Unusual circumstances” include instances in which: (a) the estate
received a substantial contribution; (b) the enjoined claims were “channeled” to a settlement fund rather
than extinguished; (c) the enjoined claims would indirectly impact the debtors’ reorganization by way of
indemnity or contribution; (d) the Second Amended Plan otherwise provided for the full payment of the
enjoined claims; and (e) the affected creditors consent. Id. (emphasis added).

Pursuant to Section 10.6(b), only consenting creditors will be subject to the Second Amended Plan’s
release and exculpation provisions.

                              (c)       Exculpations

Section 10.7 of the Second Amended Plan provides for the exculpation of each Exculpated Party for acts
and omissions taken in connection with the Chapter 11 Cases after the Commencement Date. The Debtors
believe that the exculpation provision in Section 10.7 of the Second Amended Plan is an integral part of
the Second Amended Plan and otherwise satisfies the governing standards in the Second Circuit. This
provision provides customary protections to those parties in interest (whether estate fiduciaries or
otherwise) whose efforts were instrumental in achieving the confirmation of the Second Amended Plan
and the conclusion of these Chapter 11 Cases. In light of the record of these Chapter 11 Cases, the
protections afforded by the exculpation provisions are reasonable and appropriate.

At confirmation, the Debtors will demonstrate that in the Second Circuit, exculpation provisions that
include non-estate fiduciaries are frequently approved, including exculpatory provisions far broader than
those provided for in the Second Amended Plan. See, e.g., In re Cenveo, Inc., Case No. 17-22178 (RDD)
(Bankr. S.D.N.Y. Aug. 21, 2018) (ECF No. 685) (confirming plan containing exculpation for non-estate
fiduciaries); In re Cengage Learning, Inc., Case No. 13-44106 (ESS) (Bankr. E.D.N.Y. Mar. 14, 2014)
(ECF No. 1225) (same); In re Eastman Kodak Co., Case No. 12-10202 (ALG) (Bankr. S.D.N.Y. Aug.
23, 2013) (ECF No. 4996) (same).

                    3.        2. Additional Requirements for Non-Consensual Confirmation

In the event that any impaired Class of Claims or Interests does not accept or is deemed to reject the
Second Amended Plan, the Bankruptcy Court may still confirm the Second Amended Plan at the request
of the Debtors if, as to each impaired Class of Claims or Interests that has not accepted the Second
Amended Plan, the Second Amended Plan “does not discriminate unfairly” and is “fair and equitable”
with respect to such Classes of Claims or Interests, pursuant to section 1129(b) of the Bankruptcy Code.
Both of these requirements are in addition to other requirements established by case law interpreting the
statutory requirements.

Pursuant to the Second Amended Plan, holders of Claims and Interests in Class 4 (Second Lien Claims),
Class 5 (General Unsecured Claims), Class 8 (Parent Equity Interests), and Class 9 (Subordinated

                                                         133
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57              Main Document
                                                  Pg 562 of 565



Securities Claims) will not receive a distribution and are thereby deemed to reject the Second Amended
Plan. However, the Debtors submit that they satisfy the “unfair discrimination” and “fair and equitable”
tests, as discussed in further detail below.

                              (a)       Unfair Discrimination Test

The “unfair discrimination” test applies to classes of claims or interests that are of equal priority and are
receiving different treatment under a plan. A chapter 11 plan does not discriminate unfairly, within the
meaning of the Bankruptcy Code, if the legal rights of a dissenting class are treated in a manner consistent
with the treatment of other classes whose legal rights are substantially similar to those of the dissenting
class and if no class of claims or interests receives more than it legally is entitled to receive for its Claims
or Interests. This test does not require that the treatment be the same or equivalent, but that such
treatment is “fair.”

The Debtors believe the Second Amended Plan satisfies the “unfair discrimination” test. Claims of equal
priority are receiving comparable treatment and such treatment is fair under the circumstances.

                              (b)       Fair and Equitable Test

The “fair and equitable” test applies to classes of different priority and status (e.g., secured versus
unsecured) and includes the general requirement that no class of claims receive more than 100% of the
allowed amount of the claims in such class. As to dissenting classes, the test sets different standards
depending on the type of claims in such class. The Debtors believe that the Second Amended Plan
satisfies the “fair and equitable” test as further explained below.

                                        (i)       Other Secured Creditors

The Bankruptcy Code provides that each holder of an impaired secured claim either (i) retains its liens on
the property to the extent of the allowed amount of its secured claim and receives deferred cash payments
having a value, as of the effective date, of at least the allowed amount of such claim, (ii) has the right to
credit bid the amount of its claim if its property is sold and retains its liens on the proceeds of the sale or
(iii) receives the “indubitable equivalent” of its allowed secured claim.

                                        (ii)      Unsecured Creditors

The Bankruptcy Code provides that either (i) each holder of an impaired unsecured claim receives or
retains under the Second Amended pPlan of reorganization, property of a value equal to the amount of its
allowed claim or (ii) the holders of claims and equity interests that are junior to the claims of the
dissenting class will not receive any property under the Second Amended pPlan of reorganization. The
Second Amended Plan provides that the holders of General Unsecured Claims in Class 5 will receive the
treatment summarized above in Article V of this Disclosure Statement.

                                        (iii)     Parent Equity Interests

The Bankruptcy Code requires that either (a) each holder of an equity interest receive or retain under the
Second Amended pPlan property of a value equal to the greater of (i) the fixed liquidation preference or
redemption price, if any, of such stock and (ii) the value of the stock; or (b) the holders of equity interests
that are junior to any dissenting class of equity interests not receive any property under the Second
Amended pPlan. Pursuant to the Second Amended Plan, all Parent Equity Interests will be cancelled and




                                                           134
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                                  Pg 563 of 565



the holders of Parent Equity Interests will neither receive nor retain any property on account of such
interests.

                                XII.
      ALTERNATIVES TO CONFIRMATION AND CONSUMMATION OF SECOND
                            AMENDED PLAN

The Debtors have evaluated several alternatives to the Second Amended Plan. After studying these
alternatives, the Debtors have concluded that the Second Amended Plan is the best alternative and will
maximize recoveries to parties in interest, assuming confirmation and consummation of the Second
Amended Plan. If the Second Amended Plan is not confirmed and consummated, the alternatives to the
Second Amended Plan are (i) the preparation and presentation of an alternative plan of reorganization,
(ii) a sale of some or all of the Debtors’ assets pursuant to section 363 of the Bankruptcy Code, or (iii) a
liquidation under chapter 7 of the Bankruptcy Code.

          A.        Alternative Plan of Reorganization

If the Second Amended Plan is not confirmed, the Debtors (or if the Debtors’ exclusive period in which to
file a plan of reorganization has expired, any other party in interest) could attempt to formulate a different
plan. Such a plan might involve either: (i) a reorganization and continuation of the Debtors’ business or
(ii) an orderly liquidation of the Debtors’ assets. The Debtors, however, submit that the Second Amended
Plan, enables their creditors to realize the most value under the circumstances.

          B.        Sale Under Section 363 of Bankruptcy Code

If the Second Amended Plan is not confirmed, the Debtors could seek from the Bankruptcy Court, after
notice and a hearing, authorization to sell their assets through a stand-alone alternative transaction under
section 363 of the Bankruptcy Code. Upon analysis and consideration of this alternative, the Debtors do
not believe that a stand-alone alternative sale of their assets under section 363 of the Bankruptcy Code
would yield a higher recovery for holders of Claims and Interests than the Second Amended Plan.

          C.        Liquidation Under Chapter 7 or Applicable Non-Bankruptcy Law

If no plan can be confirmed, the Chapter 11 Cases may be converted to a case under chapter 7 of the
Bankruptcy Code in which a trustee would be elected or appointed to liquidate the assets of the Debtors
for distribution to the Debtors’ creditors in accordance with the priorities established by the Bankruptcy
Code.

As noted in Article XII of this Disclosure Statement, tThe Debtors believe that liquidation under chapter 7
would result in smaller distributions to creditors than those provided for in the Second Amended Plan
because of the delay resulting from the conversion of the cases and the additional administrative expenses
associated with the appointment of a trustee and the trustee’s retention of professionals who would be
required to become familiar with the many legal and factual issues in the Chapter 11 Cases.




                                                         135
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj           Doc 456         Filed 10/07/19 Entered 10/07/19 15:38:57            Main Document
                                                  Pg 564 of 565



                                             XIII.
                                CONCLUSION AND RECOMMENDATION

The Debtors believe the Second Amended Plan is in the best interests of all stakeholders and urge the
holders of Claims in Classes 3, 4, and 5 to vote in favor thereof.

Dated: September 3October 7, 2019


                                                         DEBTORS
                                                           FUSION CONNECT, INC.
                                                           FUSION BCHI ACQUISITION LLC
                                                           FUSION NBS ACQUISITION CORP.
                                                           FUSION LLC
                                                           FUSION MPHC HOLDING CORPORATION
                                                           FUSION MPHC GROUP, INC.
                                                           FUSION CLOUD COMPANY LLC
                                                           FUSION CLOUD SERVICES, LLC
                                                           FUSION CB HOLDINGS, INC.
                                                           FUSION COMMUNICATIONS, LLC
                                                           FUSION TELECOM, LLC
                                                           FUSION TEXAS HOLDINGS, INC.
                                                           FUSION TELECOM OF KANSAS, LLC
                                                           FUSION TELECOM OF OKLAHOMA, LLC
                                                           FUSION TELECOM OF MISSOURI, LLC
                                                           BIRCAN HOLDINGS, LLC
                                                           FUSION MANAGEMENT SERVICES LLC
                                                           FUSION PM HOLDINGS, INC.

                                                           By: /s/ James P. Prenetta, Jr.
                                                              Name: James P. Prenetta, Jr.
                                                              Title: Executive Vice President and
                                                              General Counsel

                                                           FUSION TELECOM OF TEXAS LTD., L.L.P.

                                                           BY: FUSION TEXAS HOLDINGS, INC., AS
                                                           LIMITED PARTNER


                                                           By: /s/ James P. Prenetta, Jr.
                                                              Name: James P. Prenetta, Jr.
                                                              Title: Executive Vice President and
                                                              General Counsel




                                   SIGNATURE PAGE TO DISCLOSURE STATEMENT
WEIL:\97171739\1\47019.0003WEIL:\97221055\1\47019.0003
19-11811-dsj   Doc 456   Filed 10/07/19 Entered 10/07/19 15:38:57   Main Document
                                    Pg 565 of 565




                                    Summary report:
          Litéra® Change-Pro TDC 10.1.0.800 Document comparison done on
                                  10/7/2019 3:04:49 PM
      Style name: Default Style
      Intelligent Table Comparison: Active
      Original filename: Fusion - Amended Disclosure Statement 9.3.19
      (FILING).docx
      Modified DMS: iw://WEILDMS/WEIL/97221055/1
      Changes:
      Add                                                          1118
      Delete                                                       588
      Move From                                                    43
      Move To                                                      43
      Table Insert                                                 3
      Table Delete                                                 4
      Table moves to                                               0
      Table moves from                                             0
      Embedded Graphics (Visio, ChemDraw, Images etc.)             0
      Embedded Excel                                               0
      Format changes                                               0
      Total Changes:                                               1799
